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                          Exhibit 1
     ADMINISTRATIVE RECORD INDEX
FOR THE I-495 & I-270 MANAGED LANES STUDY
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            00000001            00000220      9/19/2022 20:44 Edoc            2022‐08‐25_COMPLETE MLS FHWA ROD_signed.pdf          .\VOL001\IMAGES\IMAGES001\00000001.pdf
            00000221            00000701     10/27/2022 15:24 Edoc            MLS_FEIS_Combined_06‐09‐2022.pdf                     .\VOL001\IMAGES\IMAGES001\00000221.pdf

            00000702            00001501     10/13/2022 16:07 Edoc            MLS_FEIS_AppA_Traffic Tech Report_June 2022.pdf      .\VOL001\IMAGES\IMAGES001\00000702.pdf
                                                                              MLS_FEIS_App B_MDOT SHA Draft App IAPA & AppA‐
            00001502            00002024      11/1/2022 10:04 Edoc            E_June 2022.pdf                                      .\VOL001\IMAGES\IMAGES001\00001502.pdf
                                                                              MLS_FEIS_AppB_MDOT SHA Draft App IAPA_App
            00002025            00002036      11/1/2022 11:38 Edoc            F_Part1_June 2022.pdf                                .\VOL001\IMAGES\IMAGES001\00002025.pdf
                                                                              MLS_FEIS_AppB_MDOT SHA Draft App IAPA_App
            00002037            00002049      11/1/2022 11:49 Edoc            F_Part2_June 2022.pdf                                .\VOL001\IMAGES\IMAGES001\00002037.pdf
                                                                              MLS_FEIS_AppB_ MDOT SHA Draft App IAPA_App
            00002050            00002052       11/1/2022 9:50 Edoc            F_Part3_June 2022.pdf                                .\VOL001\IMAGES\IMAGES001\00002050.pdf
                                                                              MLS_FEIS_App B_MDOT SHA Draft App IAPA_App G‐
            00002053            00004318      11/1/2022 10:56 Edoc            K_June 2022.pdf                                      .\VOL001\IMAGES\IMAGES001\00002053.pdf

            00004319            00004690     10/13/2022 16:08 Edoc            MLS_FEIS_AppC_CovidMonitoringPlan_June 2022.pdf .\VOL001\IMAGES\IMAGES001\00004319.pdf

                                                                              MLS_FEIS_AppD_Compensatory Stormwater
            00004691            00005097       10/5/2022 9:57 Edoc            Mitigation Plan_June 2022.pdf                        .\VOL001\IMAGES\IMAGES001\00004691.pdf
                                                                              MLS_FEIS_AppE_EnvInvResourceMapping_June
            00005098            00005135      9/19/2022 15:51 Edoc            2022.pdf                                             .\VOL001\IMAGES\IMAGES001\00005098.pdf
            00005136            00005617      9/26/2022 17:58 Edoc            MLS_FEIS_AppF_CEAEJTR_June 2022.pdf                  .\VOL001\IMAGES\IMAGES001\00005136.pdf
                                                                              MLS_FEIS_AppG_Final Section 4(f) Evaluation_06‐10‐
            00005618            00005702      10/5/2022 13:44 Edoc            2022.pdf                                             .\VOL001\IMAGES\IMAGES001\00005618.pdf
            00005703            00005776       10/6/2022 8:34 Edoc            MLS_FEIS_AppH_Final VIA_June 2022.pdf                .\VOL001\IMAGES\IMAGES001\00005703.pdf
                                                                              MLS_TR_CR_Vol 1_Cover Report_June 2022_Part‐
            00005777            00006651      11/2/2022 13:30 Edoc            1.pdf                                                .\VOL001\IMAGES\IMAGES001\00005777.pdf
                                                                              MLS_TR_CR_Vol 1_Cover Report_June 2022_Part‐
            00006652            00006667      11/2/2022 13:30 Edoc            2.pdf                                                .\VOL001\IMAGES\IMAGES001\00006652.pdf

            00006668            00006871      11/2/2022 13:38 Edoc            MLS_TR_CR_Vol 2_Gap Analysis_June 2022_Part‐1.pdf .\VOL001\IMAGES\IMAGES001\00006668.pdf

            00006872            00006951      11/2/2022 13:46 Edoc            MLS_TR_CR_Vol 2_Gap Analysis_June 2022_Part‐2.pdf .\VOL001\IMAGES\IMAGES001\00006872.pdf

            00006952            00007423      11/2/2022 13:57 Edoc            MLS_TR_CR_Vol 3_Architecture_June 2022_Part‐1.pdf .\VOL001\IMAGES\IMAGES001\00006952.pdf

            00007424            00008215      11/2/2022 14:03 Edoc            MLS_TR_CR_Vol 3_Architecture_June 2022_Part‐2.pdf .\VOL001\IMAGES\IMAGES001\00007424.pdf

            00008216            00009459      11/2/2022 14:10 Edoc            MLS_TR_CR_Vol 3_Architecture_June 2022_Part‐3.pdf .\VOL001\IMAGES\IMAGES001\00008216.pdf

            00009460            00010651      11/2/2022 14:21 Edoc            MLS_TR_CR_Vol 3_Architecture_June 2022_Part‐4.pdf .\VOL001\IMAGES\IMAGES001\00009460.pdf

            00010652            00012169      11/2/2022 14:27 Edoc            MLS_TR_CR_Vol 3_Architecture_June 2022_Part‐5.pdf .\VOL001\IMAGES\IMAGES001\00010652.pdf
            00012170            00012727      11/2/2022 14:36 Edoc            MLS_TR_CR_Vol 4_Phase I_June 2022.pdf                 .\VOL001\IMAGES\IMAGES001\00012170.pdf
            00012728            00013061      11/2/2022 14:41 Edoc            MLS_TR_CR_Vol 5_C&O CanalPhI_June 2022.pdf            .\VOL001\IMAGES\IMAGES001\00012728.pdf
                                                                              MLS_TR_CR_Vol 6‐7_GWM_Stream_PhI‐II_June
            00013062            00013562      11/2/2022 14:43 Edoc            2022.pdf                                              .\VOL001\IMAGES\IMAGES001\00013062.pdf
                                                                              MLS_TR_CR_Vol 8‐9_StreamPhI_Morningstar_June
            00013563            00014282      11/2/2022 14:49 Edoc            2022.pdf                                              .\VOL001\IMAGES\IMAGES001\00013563.pdf
                                                                              MLS_FEIS_AppJ_ProgrammaticAgreement_June
            00014283            00014322     11/10/2022 15:46 Edoc            2022.pdf                                              .\VOL001\IMAGES\IMAGES001\00014283.pdf
                                                                              MLS_FEIS_AppK_FinalAirQualityTechncialReport_June
            00014323            00014573     10/26/2022 12:39 Edoc            2022.pdf                                              .\VOL002\IMAGES\IMAGES001\00014323.pdf
                                                                              MLS_FEIS_AppL_Final Noise Analysis Technical Report ‐
            00014574            00014913     10/26/2022 13:08 Edoc            June 2022.pdf                                         .\VOL002\IMAGES\IMAGES001\00014574.pdf
            00014914            00015086      10/5/2022 14:10 Edoc            MLS_FEIS_1_AppM_FinalNRTR_June 2022.pdf               .\VOL002\IMAGES\IMAGES001\00014914.pdf
            00015087            00015211      10/5/2022 14:11 Edoc            MLS_FEIS_AppM_NRTR_App A‐F_June 2022.pdf              .\VOL002\IMAGES\IMAGES001\00015087.pdf
                                                                              MLS_FEIS_AppM_NRTR_App
            00015212            00015378      10/5/2022 14:12 Edoc            G_FieldDatasheets_01_June 2022.pdf                    .\VOL002\IMAGES\IMAGES001\00015212.pdf
                                                                              MLS_FEIS_AppM_NRTR_App
            00015379            00015551      10/5/2022 14:13 Edoc            G_FieldDatasheets_02_June 2022.pdf                    .\VOL002\IMAGES\IMAGES001\00015379.pdf
                                                                              MLS_FEIS_AppM_NRTR_App
            00015552            00015654      10/5/2022 14:15 Edoc            G_FieldDatasheets_03_June 2022.pdf                    .\VOL002\IMAGES\IMAGES001\00015552.pdf
                                                                              MLS_FEIS_AppM_NRTR_App
            00015655            00015789      10/5/2022 13:59 Edoc            H_PhotoDocumentation_June 2022.pdf                    .\VOL002\IMAGES\IMAGES001\00015655.pdf
                                                                              MLS_FEIS_AppM_NRTR_App I_NPSAddlInfo_01_June
            00015790            00016072      10/5/2022 14:03 Edoc            2022.pdf                                              .\VOL002\IMAGES\IMAGES001\00015790.pdf
                                                                              MLS_FEIS_AppM_NRTR_App I_NPSAddlInfo_02_June
            00016073            00016209      10/5/2022 14:06 Edoc            2022.pdf                                              .\VOL002\IMAGES\IMAGES001\00016073.pdf
            00016210            00016997      10/5/2022 14:07 Edoc            MLS_FEIS_AppM_NRTR_App J‐R_June 2022.pdf              .\VOL002\IMAGES\IMAGES001\00016210.pdf
                                                                              MLS_FEIS_AppM_NRTR_AppS_MNCPPCTreeInvReport
            00016998            00017103      10/5/2022 14:08 Edoc            _June 2022.pdf                                        .\VOL002\IMAGES\IMAGES001\00016998.pdf
                                                                              MLS_FEIS_AppM_NRTR_AppT_ReforestMitSiteReport_
            00017104            00017680      10/5/2022 14:10 Edoc            June 2022.pdf                                         .\VOL002\IMAGES\IMAGES001\00017104.pdf
            00017681            00017780      11/8/2022 14:59 Edoc            MLS_FEIS_AppN_AMR_June 2022.pdf                       .\VOL002\IMAGES\IMAGES001\00017681.pdf

            00017781            00017954      10/5/2022 14:33 Edoc            MLS_FEIS_AppO_FinalCMP&AppA ‐ O ‐ June 2022.pdf .\VOL002\IMAGES\IMAGES001\00017781.pdf
                                                                              MLS_FEIS_AppO_FinalCMP_AppP_01_CA5PhaseIIRepo
            00017955            00018212      10/5/2022 14:34 Edoc            rt&DesignPlans ‐ June 2022.pdf                  .\VOL002\IMAGES\IMAGES001\00017955.pdf
                                                                              MLS_FEIS_AppO_FinalCMP_AppP_02_CA5SemiFinalDe
            00018213            00018533      10/5/2022 14:21 Edoc            signReport ‐ June 2022.pdf                      .\VOL002\IMAGES\IMAGES001\00018213.pdf
                                                                              MLS_FEIS_AppO_FinalCMP_AppP_03_RFP2FinalMitPla
            00018534            00018860      10/5/2022 14:31 Edoc            n ‐ June 2022.pdf                               .\VOL002\IMAGES\IMAGES001\00018534.pdf
                                                                              MLS_FEIS_AppO_FinalCMP_AppP_04_RFP2ESCPlan ‐
            00018861            00018878      10/5/2022 14:33 Edoc            June 2022.pdf                                   .\VOL002\IMAGES\IMAGES001\00018861.pdf
                                                                              MLS_FEIS_AppP_JPA_1_Appl_AgResp_ImpPlatesTables
            00018879            00019042      6/17/2022 14:46 Edoc            _June‐2022p.pdf                                 .\VOL002\IMAGES\IMAGES001\00018879.pdf
                                                                              MLS_FEIS_AppP_JPA_2_WetDelMemo_AppA‐
            00019043            00019337      6/17/2022 15:00 Edoc            F_01_June‐2022p.pdf                             .\VOL002\IMAGES\IMAGES001\00019043.pdf
                                                                              MLS_FEIS_AppP_JPA_3_WetDelMemo_AppF_02_Field
            00019338            00019510      6/17/2022 15:21 Edoc            Data_June‐2022p.pdf                             .\VOL002\IMAGES\IMAGES001\00019338.pdf
                                                                              MLS_FEIS_AppP_JPA_4_WetDelMemo_AppF_03_Field
            00019511            00019613      6/17/2022 15:32 Edoc            Data.pdf                                        .\VOL002\IMAGES\IMAGES001\00019511.pdf
                                                                              MLS_FEIS_AppP_JPA_5_WetDelMemo_AppG_01_Phot
            00019614            00019704      6/17/2022 15:43 Edoc            os_June‐2022p.pdf                               .\VOL002\IMAGES\IMAGES001\00019614.pdf
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            00019705            00019749       6/8/2022 15:36 Edoc            Photos_June‐2022p.pdf                           .\VOL002\IMAGES\IMAGES001\00019705.pdf
                                                                              MLS_FEIS_AppP_JPA_7_CompSWMWetDelReport_Jun
            00019750            00019790      6/17/2022 15:49 Edoc            e‐2022p.pdf                                     .\VOL002\IMAGES\IMAGES001\00019750.pdf

            00019791            00019891      6/17/2022 15:51 Edoc            MLS_FEIS_AppP_JPA_8_AMRReport_June‐2022p.pdf         .\VOL002\IMAGES\IMAGES001\00019791.pdf
                                                                              MLS_FEIS_AppP_JPA_9_CMPlan_AppA‐AppO_June‐
            00019892            00020064      6/17/2022 15:53 Edoc            2022p.pdf                                            .\VOL002\IMAGES\IMAGES001\00019892.pdf
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                                              53_MLS_FEIS_AppP_JPA_10_CMPlan_AppP_01_June‐
00020065   00020323     6/8/2022 15:31 Edoc   2022p.pdf                                           .\VOL002\IMAGES\IMAGES001\00020065.pdf
                                              MLS_FEIS_AppP_JPA_11_CMPlan_AppP_02_June‐
00020324   00020644    6/17/2022 15:56 Edoc   2022p.pdf                                           .\VOL002\IMAGES\IMAGES001\00020324.pdf
                                              55_MLS_FEIS_AppP_JPA_12_CMPlan_AppP_03_June‐
00020645   00020971     6/8/2022 15:40 Edoc   2022p.pdf                                           .\VOL002\IMAGES\IMAGES001\00020645.pdf
                                              56_MLS_FEIS_AppP_JPA_13_CMPlan_AppP_04_June‐
00020972   00021107     6/8/2022 15:41 Edoc   2022p.pdf                                           .\VOL002\IMAGES\IMAGES001\00020972.pdf

00021108   00021193     10/6/2022 8:25 Edoc   MLS_FEIS_AppQ_Final ICE Tech Report_June 2022.pdf   .\VOL002\IMAGES\IMAGES001\00021108.pdf
                                              58_MLS_FEIS_AppR_PublicInvAgCoordination_June‐
00021194   00021333      6/8/2022 8:15 Edoc   2022p.pdf                                           .\VOL002\IMAGES\IMAGES001\00021194.pdf
                                              59_MLS_FEIS_AppS_Select‐Agency‐
00021334   00021388      6/8/2022 8:16 Edoc   Correspondence_June‐2022p.pdf                       .\VOL002\IMAGES\IMAGES001\00021334.pdf
                                              MLS_FEIS_1 AppT DEIS & SDEIS C&R_Index_June
00021389   00021505    10/26/2022 9:44 Edoc   2022.pdf                                            .\VOL002\IMAGES\IMAGES001\00021389.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.1.A_Volume
00021506   00021811    10/26/2022 9:45 Edoc   1_June 2022.pdf                                     .\VOL002\IMAGES\IMAGES001\00021506.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.1.A_Volume
00021812   00022043    10/26/2022 9:40 Edoc   2_June 2022.pdf                                     .\VOL002\IMAGES\IMAGES001\00021812.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.1.B_June
00022044   00022210    10/26/2022 9:43 Edoc   2022.pdf                                            .\VOL002\IMAGES\IMAGES001\00022044.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.2.A_Volume
00022211   00022445    10/26/2022 9:48 Edoc   1_June 2022.pdf                                     .\VOL002\IMAGES\IMAGES001\00022211.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.2.A_Volume
00022446   00022633    10/26/2022 9:51 Edoc   2_June 2022.pdf                                     .\VOL002\IMAGES\IMAGES001\00022446.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.2.A_Volume
00022634   00022748    10/26/2022 9:51 Edoc   3_June 2022.pdf                                     .\VOL002\IMAGES\IMAGES001\00022634.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.2.B_Volume
00022749   00022944    10/26/2022 9:52 Edoc   1_June 2022.pdf                                     .\VOL002\IMAGES\IMAGES001\00022749.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.2.B_Volume
00022945   00023041    10/26/2022 9:54 Edoc   2_June 2022.pdf                                     .\VOL002\IMAGES\IMAGES001\00022945.pdf

00023042   00023260    10/26/2022 9:54 Edoc   MLS_FEIS_App T DEIS & SDEIS C&R_T.3_June 2022.pdf .\VOL002\IMAGES\IMAGES001\00023042.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.4‐T.5_ June
00023261   00023316    10/26/2022 9:54 Edoc   2022.pdf                                             .\VOL002\IMAGES\IMAGES001\00023261.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.6.A_June
00023317   00025913    10/26/2022 9:57 Edoc   2022.pdf                                             .\VOL003\IMAGES\IMAGES001\00023317.pdf
                                              MLS_FEIS_App T DEIS & SDEIS C&R_T.6.B_June
00025914   00027120    10/26/2022 9:58 Edoc   2022.pdf                                             .\VOL003\IMAGES\IMAGES001\00025914.pdf
                                              MLS_FEIS_App U_Environmental Assessment Form_
00027121   00027125    11/1/2022 19:57 Edoc   June 2022.pdf                                        .\VOL003\IMAGES\IMAGES001\00027121.pdf
                                              2022‐06 MLS_NPS Visitor and Ecological Impact
00027126   00027208    11/1/2022 20:01 Edoc   Study.pdf                                            .\VOL003\IMAGES\IMAGES001\00027126.pdf
00027209   00027342    11/1/2022 20:01 Edoc   MLS_SOF_20220519_w_attachments_low res.pdf           .\VOL003\IMAGES\IMAGES001\00027209.pdf
                                              I495&I270MLS_SDEIS_UpdatedSection4(f)_Combined.
00027343   00027630    9/19/2022 15:27 Edoc   pdf                                                  .\VOL003\IMAGES\IMAGES001\00027343.pdf
                                              I495&I270MLS_SDEIS_UpdatedSection4(f)_Combined_
00027631   00027918    9/19/2022 15:28 Edoc   Nov.pdf                                              .\VOL003\IMAGES\IMAGES001\00027631.pdf
                                              SDEIS_AppA_Alternative 9 Phase 1 South Traffic
00027919   00028126   10/13/2022 16:03 Edoc   Evaluation Memo_10.01.21_print.pdf                   .\VOL003\IMAGES\IMAGES001\00027919.pdf
                                              SDEIS_AppB_Plan for Monitoring and Evaluating Travel
                                              Impacts Due to COVID‐19 with
00028127   00028406   10/13/2022 16:06 Edoc   Attachments_10.01.21_print.pdf                       .\VOL003\IMAGES\IMAGES001\00028127.pdf
                                              AppC_Part 1_Comp SWM Plan
00028407   00028474     10/5/2022 9:44 Edoc   Report_10.01.21_print.pdf                            .\VOL003\IMAGES\IMAGES001\00028407.pdf
                                              AppC_Part 2_App A_Comp SWM
00028475   00028562     10/5/2022 9:45 Edoc   WR_10.01.21_print.pdf                                .\VOL003\IMAGES\IMAGES001\00028475.pdf
                                              AppC_Part 3_App B_Comp SWM
00028563   00028598     10/5/2022 9:45 Edoc   CR_10.01.21_print.pdf                                .\VOL003\IMAGES\IMAGES001\00028563.pdf
                                              AppC_Part 4_App C_Comp SWM
00028599   00028624     10/5/2022 9:39 Edoc   Forestry_10.01.21_print.pdf                          .\VOL003\IMAGES\IMAGES001\00028599.pdf
                                              AppC_Part 5_App D_Comp SWM
00028625   00030920     10/5/2022 9:44 Edoc   HAZMAT_10.01.21_print.pdf                            .\VOL003\IMAGES\IMAGES001\00028625.pdf
                                              AppC_Part 6_App E_Comp SWM
00030921   00030926     10/5/2022 9:44 Edoc   MOT_10.01.21_print.pdf                               .\VOL003\IMAGES\IMAGES001\00030921.pdf
                                              AppC_Part 7_App F_Comp SWM Wetlands and
00030927   00031842     10/5/2022 9:47 Edoc   Waterways_10.01.21_print.pdf                         .\VOL003\IMAGES\IMAGES001\00030927.pdf
                                              AppC_Part 8_App G_Comp SWM
00031843   00031846     10/5/2022 9:48 Edoc   ROW_10.01.21_print.pdf                               .\VOL003\IMAGES\IMAGES001\00031843.pdf
                                              AppC_Part 9_App H_Comp SWM
00031847   00031870     10/5/2022 9:48 Edoc   4(f)_10.01.21_print.pdf                              .\VOL003\IMAGES\IMAGES001\00031847.pdf
                                              AppC_Part 10_App I_Comp SWM
00031871   00031880     10/5/2022 9:48 Edoc   Structures_10.01.21_print.pdf                        .\VOL003\IMAGES\IMAGES001\00031871.pdf
                                              AppC_Part 11_App J_Comp SWM
00031881   00031886     10/5/2022 9:47 Edoc   Utitlities_10.01.21_print.pdf                        .\VOL003\IMAGES\IMAGES001\00031881.pdf
                                              AppC_Part 12_App K_Comp SWM
00031887   00031922     10/5/2022 9:47 Edoc   Constructability_10.01.21_print.pdf                  .\VOL003\IMAGES\IMAGES001\00031887.pdf
                                              AppC_Part 13_App M_Comp SWM Impact Summary
00031923   00031936     10/5/2022 9:47 Edoc   Tables_10.01.21_print.pdf                            .\VOL003\IMAGES\IMAGES001\00031923.pdf
                                              AppC_Part 14a_App L_Comp SWM Impact
00031937   00032044     10/5/2022 9:49 Edoc   Maps_print.pdf                                       .\VOL003\IMAGES\IMAGES001\00031937.pdf
                                              AppC_Part 14b_App L_Comp SWM Impact
00032045   00032152     10/5/2022 9:51 Edoc   Maps_print.pdf                                       .\VOL003\IMAGES\IMAGES001\00032045.pdf
                                              SDEIS_AppD_EnvInvResourceMapping_200ft_2021.09.
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                                              SDEIS_AppF_Natural Resources Impact
00032375   00032388    10/5/2022 14:41 Edoc   Tables_10.01.21_print.pdf                            .\VOL003\IMAGES\IMAGES001\00032375.pdf
00032389   00032531    10/5/2022 14:42 Edoc   SDEIS_AppG_NPS SOF_10.01.21_print.pdf                .\VOL003\IMAGES\IMAGES001\00032389.pdf

00032532   00032539    10/5/2022 14:47 Edoc   SDEIS_AppH_1_Acoustics Bat Study Plan_print.pdf     .\VOL003\IMAGES\IMAGES001\00032532.pdf
00032540   00032597    10/5/2022 14:48 Edoc   SDEIS_AppH_2_MLS Bat Bridge Survey_print.pdf        .\VOL003\IMAGES\IMAGES001\00032540.pdf
00032598   00032855    10/5/2022 14:50 Edoc   SDEIS_AppH_3_Acoustic Survey Report_print.pdf       .\VOL003\IMAGES\IMAGES001\00032598.pdf

00032856   00032881    10/5/2022 14:50 Edoc   SDEIS_AppH_4_RTE Plant Survey Report_print.pdf      .\VOL003\IMAGES\IMAGES001\00032856.pdf

00032882   00032951    10/5/2022 14:51 Edoc   SDEIS_AppH_5_RTE Plant Survey Report_print.pdf      .\VOL003\IMAGES\IMAGES001\00032882.pdf
                                              SDEIS_AppH_6_bald eagle and peregrine falcon
00032952   00032955    10/5/2022 14:43 Edoc   comment_print.pdf                                   .\VOL003\IMAGES\IMAGES001\00032952.pdf
                                              SDEIS_AppH_7‐MLS‐VA Wood Turtle
00032956   00033013    10/5/2022 14:43 Edoc   Report_10.01.21_print.pdf                           .\VOL003\IMAGES\IMAGES001\00032956.pdf
                                              SDEIS_AppH_8.1_MLS‐NPS Tree Inventory
00033014   00033023    10/5/2022 14:43 Edoc   Report_10.01.21_print.pdf                           .\VOL003\IMAGES\IMAGES001\00033014.pdf
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00033024   00033033    10/5/2022 14:43 Edoc   SH6ANJ~O.PDF                                  .\VOL003\IMAGES\IMAGES001\00033024.pdf
                                              SDEIS_AppH_8.3_Attachment_B_NPS_Trees_CO_CB_P
00033034   00033095    10/5/2022 14:45 Edoc   lan_10.01.21_print.pdf                        .\VOL003\IMAGES\IMAGES001\00033034.pdf
                                              SDEIS_AppH_8.4_Attachment_B_NPS_Trees_GW_Plan
00033096   00033151    10/5/2022 14:47 Edoc   _10.01.21_print.pdf                           .\VOL003\IMAGES\IMAGES001\00033096.pdf
                                              SDEIS_AppI_Final_Phase I South_HazMat
00033152   00035675   10/26/2022 17:45 Edoc   Report_10.01.21_print.pdf                     .\VOL003\IMAGES\IMAGES001\00033152.pdf
                                              SDEIS_AppJ_MLS VIA
00035676   00035683     10/6/2022 8:36 Edoc   Questionnaire_10.01.21_print.pdf              .\VOL003\IMAGES\IMAGES001\00035676.pdf

00035684   00035711    9/26/2022 17:52 Edoc   SDEIS_AppK_EJSCREEN Mapping_10.01.21_print.pdf       .\VOL003\IMAGES\IMAGES001\00035684.pdf
00035712   00036065   10/27/2022 15:24 Edoc   DEIS_June 2020_print.pdf                             .\VOL003\IMAGES\IMAGES001\00035712.pdf
00036066   00036115     9/21/2022 8:32 Edoc   DEIS_AppA_P&N_2018.11.19_print.pdf                   .\VOL003\IMAGES\IMAGES001\00036066.pdf
00036116   00036557    9/26/2022 16:30 Edoc   DEIS_AppB_Alts_May2020_print.pdf                     .\VOL003\IMAGES\IMAGES001\00036116.pdf
                                              DEIS_APP C_MLS_Traffic Tech
00036558   00038113   10/13/2022 16:02 Edoc   Report&Appendices_print&web.pdf                      .\VOL003\IMAGES\IMAGES001\00036558.pdf
00038114   00038329    9/19/2022 16:01 Edoc   DEIS_AppD_EnvMapping_print.pdf                       .\VOL003\IMAGES\IMAGES001\00038114.pdf
00038330   00038575    9/26/2022 17:45 Edoc   DEIS_AppE_CEA EJ Tech Report_print.pdf               .\VOL003\IMAGES\IMAGES001\00038330.pdf

00038576   00038975    10/5/2022 13:55 Edoc   DEIS_App F_Draft 4f Eval_May 2020_print&web.pdf      .\VOL004\IMAGES\IMAGES001\00038576.pdf
00038976   00039367    11/2/2022 14:59 Edoc   DEIS_AppG_CRTR_Volume1.pdf                           .\VOL004\IMAGES\IMAGES001\00038976.pdf
00039368   00039591    11/2/2022 15:07 Edoc   DEIS_AppG_CRTR_Volume_2.pdf                          .\VOL004\IMAGES\IMAGES001\00039368.pdf
00039592   00040409    11/2/2022 15:16 Edoc   DEIS_AppG_CRTR_Volume_3_Part 1.pdf                   .\VOL004\IMAGES\IMAGES001\00039592.pdf
00040410   00042001    11/2/2022 15:25 Edoc   DEIS_AppG_CRTR_Volume_3_Part 2.pdf                   .\VOL004\IMAGES\IMAGES001\00040410.pdf
00042002   00044012    11/2/2022 15:35 Edoc   DEIS_AppG_CRTR_Volume_3_Part 3.pdf                   .\VOL004\IMAGES\IMAGES001\00042002.pdf
00044013   00044317    11/2/2022 15:39 Edoc   DEIS_AppG_CRTR_Volume_4.pdf                          .\VOL004\IMAGES\IMAGES001\00044013.pdf
00044318   00044599    11/2/2022 15:53 Edoc   DEIS_AppG_CRTR_Volume_5.pdf                          .\VOL004\IMAGES\IMAGES001\00044318.pdf
00044600   00044901    11/2/2022 15:56 Edoc   DEIS_AppG_CRTR_Volume_6.pdf                          .\VOL004\IMAGES\IMAGES001\00044600.pdf
00044902   00044909    5/19/2020 17:01 Edoc   Programmatic Agreement.pdf                           .\VOL004\IMAGES\IMAGES001\00044902.pdf
00044910   00046849   10/26/2022 12:38 Edoc   DEIS_AppI_Air Quality TR & Appendices.pdf            .\VOL004\IMAGES\IMAGES001\00044910.pdf
                                              DEIS_AppJ_Noise Tech
00046850   00047354   10/26/2022 13:05 Edoc   Report_Exhibits_Appendices.pdf                       .\VOL004\IMAGES\IMAGES001\00046850.pdf
00047355   00047390   10/26/2022 17:49 Edoc   DEIS_AppK_HazMat.pdf                                 .\VOL004\IMAGES\IMAGES001\00047355.pdf
00047391   00047424   10/26/2022 17:49 Edoc   DEIS_AppK_HazMat‐AppA(PriorityTable).pdf             .\VOL004\IMAGES\IMAGES001\00047391.pdf
                                              DEIS_AppK_HazMat‐
00047425   00047491   10/26/2022 17:49 Edoc   AppB(700ft_SOC_AllAlts)_Part1.pdf                    .\VOL004\IMAGES\IMAGES001\00047425.pdf
                                              DEIS_AppK_HazMat‐
00047492   00047546   10/26/2022 17:50 Edoc   AppB(700ft_SOC_AllAlts)_Part2.pdf                    .\VOL004\IMAGES\IMAGES001\00047492.pdf
                                              DEIS_AppK_HazMat‐
00047547   00047572   10/26/2022 17:47 Edoc   AppB(700ft_SOC_AllAlts)_Part3.pdf                    .\VOL004\IMAGES\IMAGES001\00047547.pdf
00047573   00047636   10/26/2022 17:48 Edoc   DEIS_AppK_HazMat‐AppC(200ft_PECs).pdf                .\VOL004\IMAGES\IMAGES001\00047573.pdf
00047637   00050186   10/26/2022 17:48 Edoc   DEIS_AppK_HazMat‐AppD(EDRReports).pdf                .\VOL004\IMAGES\IMAGES001\00047637.pdf
00050187   00050300   10/26/2022 17:48 Edoc   DEIS_AppK_HazMat‐AppE(MDERecords).pdf                .\VOL004\IMAGES\IMAGES001\00050187.pdf
00050301   00050396   10/26/2022 17:49 Edoc   DEIS_AppK_HazMat‐AppF(Photolog).pdf                  .\VOL004\IMAGES\IMAGES001\00050301.pdf
00050397   00050604    10/5/2022 15:02 Edoc   DEIS_App L_NRTR_print.pdf                            .\VOL004\IMAGES\IMAGES001\00050397.pdf
00050605   00050649    10/5/2022 15:03 Edoc   NRTR_App A ‐ Impacts.pdf                             .\VOL004\IMAGES\IMAGES001\00050605.pdf
                                              NRTR_AppB ‐ Natural Resources Inventory
00050650   00050687    10/5/2022 15:12 Edoc   Mapbook_Part1.pdf                                    .\VOL004\IMAGES\IMAGES001\00050650.pdf
                                              NRTR_AppB ‐ Natural Resources Inventory
00050688   00050724    10/5/2022 15:14 Edoc   Mapbook_Part2.pdf                                    .\VOL004\IMAGES\IMAGES001\00050688.pdf
                                              NRTR_AppB ‐ Natural Resources Inventory
00050725   00050763    10/5/2022 15:16 Edoc   Mapbook_Part3.pdf                                    .\VOL004\IMAGES\IMAGES001\00050725.pdf
                                              NRTR_AppB ‐ Natural Resources Inventory
00050764   00050780    10/5/2022 15:18 Edoc   Mapbook_Part4.pdf                                    .\VOL004\IMAGES\IMAGES001\00050764.pdf
00050781   00050793    10/5/2022 15:03 Edoc   NRTR_App C ‐ Soils Table_05.05.2020.pdf              .\VOL004\IMAGES\IMAGES001\00050781.pdf

00050794   00050799    10/5/2022 15:03 Edoc   NRTR_App D ‐ Overview and Key Maps_05.05.2020.pdf .\VOL004\IMAGES\IMAGES001\00050794.pdf
                                              NRTR_App E ‐ Delineated Features
00050800   00050882    10/5/2022 15:03 Edoc   Table_05.05.2020.pdf                              .\VOL004\IMAGES\IMAGES001\00050800.pdf
00050883   00051013    10/5/2022 15:05 Edoc   NRTR_App F ‐ Delineated Features Mapbook.pdf      .\VOL004\IMAGES\IMAGES001\00050883.pdf

00051014   00052215    6/25/2020 12:03 Edoc   NRTR_App‐G‐Part‐1‐Field‐Datasheets_2020.06.25.pdf .\VOL004\IMAGES\IMAGES001\00051014.pdf

00052216   00053415    6/25/2020 12:38 Edoc   NRTR_App‐G‐Part‐2‐Field‐Datasheets_2020.06.25.pdf    .\VOL004\IMAGES\IMAGES001\00052216.pdf
                                              NRTR_App‐H‐Part‐1‐Photo‐
00053416   00053780    6/25/2020 12:49 Edoc   Documentation_2020.06.25.pdf                         .\VOL004\IMAGES\IMAGES001\00053416.pdf
                                              NRTR_App‐H‐Part‐2‐Photo‐
00053781   00053962    6/25/2020 13:12 Edoc   Documentation_2020.06.25.pdf                         .\VOL004\IMAGES\IMAGES001\00053781.pdf
                                              NRTR_App‐H‐Part‐3‐Photo‐
00053963   00054147    6/25/2020 13:08 Edoc   Documentation_2020.06.25.pdf                         .\VOL004\IMAGES\IMAGES001\00053963.pdf
                                              NRTR_App I ‐ NPS Property Additional
00054148   00054149    10/5/2022 15:05 Edoc   Information_05.05.2020.pdf                           .\VOL004\IMAGES\IMAGES001\00054148.pdf
00054150   00054163    10/5/2022 15:05 Edoc   NRTR_App J ‐ Wetland FV Table_2020.05.05.pdf         .\VOL004\IMAGES\IMAGES001\00054150.pdf
                                              NRTR_App K ‐ Aquatic Biota and Surface Water
00054164   00054165    10/5/2022 15:05 Edoc   Sampling Monitoring Map_2020.05.05.pdf               .\VOL004\IMAGES\IMAGES001\00054164.pdf
00054166   00054169    10/5/2022 15:03 Edoc   NRTR_App L ‐ Wildlife Table_2020.05.05.pdf           .\VOL004\IMAGES\IMAGES001\00054166.pdf
                                              NRTR_App M ‐ Aquatic Biota Monitoring
00054170   00054181    10/5/2022 15:03 Edoc   Table_05.05.2020.pdf                                 .\VOL004\IMAGES\IMAGES001\00054170.pdf
                                              NRTR_App N ‐ Agency
00054182   00054235    10/5/2022 15:04 Edoc   Correspondence_2020.05.13.pdf                        .\VOL004\IMAGES\IMAGES001\00054182.pdf

00054236   00054238    10/5/2022 15:04 Edoc   NRTR_App O ‐ Sampled Fish Table_2020.05.05.pdf       .\VOL004\IMAGES\IMAGES001\00054236.pdf
                                              NRTR_App P ‐ Bridge Survey Report for the NLEB and
00054239   00054391    10/5/2022 15:04 Edoc   IB_2020.05.05.pdf                                    .\VOL004\IMAGES\IMAGES001\00054239.pdf
                                              NRTR_App Q ‐ Unique and Sensitive Areas
00054392   00054393    10/5/2022 15:04 Edoc   Map_2020.05.05.pdf                                   .\VOL004\IMAGES\IMAGES001\00054392.pdf
                                              NRTR_App R ‐ RTE Plant Species
00054394   00054415    10/5/2022 15:06 Edoc   Survey_2020.05.05.pdf                                .\VOL004\IMAGES\IMAGES001\00054394.pdf
00054416   00054474    11/8/2022 14:59 Edoc   DEIS_APPM_AMR_web2.pdf                               .\VOL004\IMAGES\IMAGES001\00054416.pdf
00054475   00054507    10/5/2022 15:30 Edoc   DEIS_App N_Compensatory Mitigation Plan.pdf          .\VOL004\IMAGES\IMAGES001\00054475.pdf
                                              DEIS App N_Compensatory Mitigation Plan_
00054508   00054529    10/5/2022 15:30 Edoc   Appendices A and B.pdf                               .\VOL004\IMAGES\IMAGES001\00054508.pdf
                                              DEIS App N_Compensatory Mitigation Plan_
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                                              DEIS App N_Draft Compensatory Mitigation
00054615   00054872    10/5/2022 15:27 Edoc   Plan_Appendix E_Part1.pdf                            .\VOL004\IMAGES\IMAGES001\00054615.pdf
                                              DEIS App N_Draft Compensatory Mitigation
00054873   00054947    10/5/2022 15:28 Edoc   Plan_Appendix E_Part2.pdf                            .\VOL004\IMAGES\IMAGES001\00054873.pdf
                                              DEIS App N_Draft Compensatory Mitigation
00054948   00055015    10/5/2022 15:22 Edoc   Plan_Appendices F_G_and H.pdf                        .\VOL004\IMAGES\IMAGES001\00054948.pdf
                                              DEIS App N_Draft Compensatory Mitigation
00055016   00055084    10/5/2022 15:28 Edoc   Plan_Appendix I and J.pdf                            .\VOL004\IMAGES\IMAGES001\00055016.pdf
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00055111   00055168    10/5/2022 15:30 Edoc     Plan_Appendix L.pdf                                      .\VOL004\IMAGES\IMAGES001\00055111.pdf
                                                DEIS App N_Draft Compensatory Mitigation
00055169   00055170    10/5/2022 15:30 Edoc     Plan_Appendix M.pdf                                      .\VOL004\IMAGES\IMAGES001\00055169.pdf
00055171   00055268     10/6/2022 8:27 Edoc     DEIS_AppO_ ICE Tech Report_print.pdf                     .\VOL004\IMAGES\IMAGES001\00055171.pdf
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                                                DEIS_AppQ_Conceptual‐Mitigation‐Plan_May‐
00055544   00055586    6/19/2020 10:14 Edoc     2020_web.pdf                                             .\VOL004\IMAGES\IMAGES001\00055544.pdf

00055587   00055592    11/1/2022 19:56 Edoc     DEIS_AppS_Environmental Assessment Form_print.pdf .\VOL004\IMAGES\IMAGES001\00055587.pdf
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00055651   00055652    1/18/2018 12:58 Email    Traffic Model Topics                                .\VOL004\IMAGES\IMAGES001\00055651.pdf
00055653   00055655    1/18/2018 12:58 Attach   I‐270 I‐495 P3 ‐ Traffic Work Effort_ Jan 2018.docx .\VOL004\IMAGES\IMAGES001\00055653.pdf
00055656   00055657     1/22/2018 6:55 Email    RE: CMAQ Funding Questions                          .\VOL004\IMAGES\IMAGES001\00055656.pdf
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                                                FHWA Action Required: I‐495 and I‐270 Managed
00055661   00055663    2/13/2018 10:16 Email    Lanes Study‐ EIS Initiation Letter and Draft NOI    .\VOL004\IMAGES\IMAGES001\00055661.pdf

00055664   00055667    2/13/2018 10:16 Attach   I‐495 I‐270 REVISED EIS Initiation Letter_2‐13‐18.docx   .\VOL004\IMAGES\IMAGES001\00055664.pdf
                                                2018‐02‐19 FHWA Logical Termini Limits Discussion
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00055672   00055672    2/19/2018 16:37 Attach   Summary_02.20.18_CB.docx                                 .\VOL004\IMAGES\IMAGES001\00055672.pdf
00055673   00055674    2/20/2018 13:22 Attach   Briefing Summary_2‐20‐18.docx                            .\VOL004\IMAGES\IMAGES001\00055673.pdf
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                                                2018‐03‐01 Nomenclature Graphic for Admin
00055681   00055681      3/2/2018 9:30 Attach   Mtg.docx                                              .\VOL004\IMAGES\IMAGES001\00055681.pdf
00055682   00055684     3/2/2018 13:47 Attach   PriorConcurrence_Signed.pdf                           .\VOL004\IMAGES\IMAGES001\00055682.pdf
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                                                I‐495 and I‐270 Managed Lanes Study_EIS Initiation
00055687   00055689     3/2/2018 16:16 Attach   Letter 2‐20‐18.pdf                                    .\VOL004\IMAGES\IMAGES001\00055687.pdf
00055690   00055691      3/5/2018 9:25 Attach   Draft HEPE Concurrence Memo 495‐270.doc               .\VOL004\IMAGES\IMAGES001\00055690.pdf
                                                RE: I‐495/I‐270 Traffic ‐ CLRP and NEPA Travel Demand
00055692   00055693     3/5/2018 15:27 Email    Modeling                                              .\VOL004\IMAGES\IMAGES001\00055692.pdf
00055694   00055694     3/6/2018 12:55 Email    FINAL I‐495 & I‐270 MLS Notice of Intent              .\VOL004\IMAGES\IMAGES001\00055694.pdf
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                                                I‐495 and I‐270 Managed Lanes Study: Forecasting and
00055702   00055702     3/7/2018 18:49 Email    Traffic Analysis Methodology                          .\VOL004\IMAGES\IMAGES001\00055702.pdf
                                                I‐495 and I‐270 Managed Lanes Study: Forecasting and
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                                                2018‐03‐05_I‐495 and I‐270 Forecast Assumptions_I‐
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00055800   00055800      3/9/2018 7:34 Attach   2018‐02‐20 FHWA Coordination Meeting_Notes.docx .\VOL004\IMAGES\IMAGES001\00055800.pdf
00055801   00055802      3/9/2018 9:32 Attach   495 95 Study_2003 architecture letter.pdf                .\VOL004\IMAGES\IMAGES001\00055801.pdf
                                                RE: I‐495 & I‐270 P3 Project Traffic Modeling
00055803   00055805     3/9/2018 10:17 Email    Assumption Meeting No. 2                                 .\VOL004\IMAGES\IMAGES001\00055803.pdf
                                                I‐495/I‐270 Interagency Working Group Meeting
00055806   00055806     3/9/2018 12:18 Email    Agenda ‐ Wednesday March 14, 2018 at 10am                .\VOL004\IMAGES\IMAGES001\00055806.pdf
                                                I‐495 & I‐270 Interagency Working Group Meeting
00055807   00055807     3/9/2018 12:18 Attach   Agenda_March 14 2018.pdf                                 .\VOL004\IMAGES\IMAGES001\00055807.pdf
                                                RE: Confidential, Pre‐Decisional and Deliberative: I‐495
00055808   00055809    3/11/2018 13:34 Email    & I‐270 Southern Terminus                                .\VOL004\IMAGES\IMAGES001\00055808.pdf
00055810   00055811    3/11/2018 15:52 Email    Cooperating and Participating Agency Letters             .\VOL004\IMAGES\IMAGES001\00055810.pdf
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00055819   00055830    3/11/2018 15:52 Attach   11.docx                                                  .\VOL004\IMAGES\IMAGES001\00055819.pdf
                                                RE: I‐495/I‐95 Capital Beltway Study Architecture
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                                                I‐495 & I‐270 MLS MDOT SHA and FHWA Coordination
00055834   00055834    3/12/2018 20:16 Email    Meeting Agenda for March 20, 2018                        .\VOL004\IMAGES\IMAGES001\00055834.pdf

00055835   00055835    3/12/2018 20:16 Attach   2018‐03‐20 FHWA Coordination Mtg Agenda.docx             .\VOL004\IMAGES\IMAGES001\00055835.pdf

00055836   00055838    3/12/2018 20:16 Attach   2018‐03‐06 FHWA Coordination Meeting_Notes.docx          .\VOL004\IMAGES\IMAGES001\00055836.pdf

                                                RE: I‐495/I‐270 Interagency Working Group Meeting
00055839   00055840    3/13/2018 12:17 Email    Agenda ‐ Wednesday March 14, 2018 at 10am                .\VOL004\IMAGES\IMAGES001\00055839.pdf
                                                Re: I‐495/I‐270 Managed Lanes Study Interagency
00055841   00055843     3/14/2018 8:43 Email    Working Group Meeting                                    .\VOL004\IMAGES\IMAGES001\00055841.pdf
00055844   00055845    3/14/2018 12:58 Attach   I‐495_I‐270 IAWG 1 Notes_031418.docx                     .\VOL004\IMAGES\IMAGES001\00055844.pdf
00055846   00055847     3/15/2018 9:19 Attach   IAWG Mtg 1 Sign in Sheet03152018.pdf                     .\VOL004\IMAGES\IMAGES001\00055846.pdf

00055848   00055848    3/15/2018 15:16 Edoc     I‐495_I‐270_Print_Ad_9.97x10_FNP_2018_3_15.pdf           .\VOL004\IMAGES\IMAGES001\00055848.pdf
                                                RE: Confidential, Pre‐Decisional and Deliberative: I‐495
00055849   00055850    3/16/2018 12:35 Email    & I‐270 Southern Terminus                                .\VOL004\IMAGES\IMAGES001\00055849.pdf
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00055855   00055855     3/20/2018 9:44 Attach   2018‐03‐20 FHWA Coordination Mtg Agenda.docx             .\VOL004\IMAGES\IMAGES001\00055855.pdf
00055856   00055857    3/20/2018 19:52 Email    Requested Information: eNEPA and Tribe Info              .\VOL004\IMAGES\IMAGES001\00055856.pdf
00055858   00055859    3/21/2018 10:44 Email    RE: Cooperating and participating agencies               .\VOL004\IMAGES\IMAGES001\00055858.pdf
                                                I‐495 & I‐270 Managed Lanes Study_Invitation for
00055860   00055863    3/21/2018 12:44 Attach   Cooperating Agency_MNCPPC‐PG 2018.docx                   .\VOL004\IMAGES\IMAGES001\00055860.pdf
                                                I‐495 & I‐270 MLS Participating Agency
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                                               March 14, 2018 I‐495/I‐270 Interagency Working
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00055877   00055880    3/23/2018 8:34 Attach   Notes_2018‐03‐14.pdf                                    .\VOL004\IMAGES\IMAGES001\00055877.pdf

00055881   00055907    3/23/2018 8:34 Attach   I‐495_I‐270 MLS March 2018 IAWG Presentation.pdf .\VOL004\IMAGES\IMAGES001\00055881.pdf
                                               RE: I‐495 & I‐270 MLS FHWA Coordination Meeting 3‐6‐
00055908   00055909   3/23/2018 10:36 Email    18                                                   .\VOL004\IMAGES\IMAGES001\00055908.pdf
00055910   00055910   3/23/2018 11:07 Email    Connecticut Avenue                                   .\VOL004\IMAGES\IMAGES001\00055910.pdf
00055911   00055913   3/25/2018 12:07 Email    RE: I‐495 & I‐270 Managed Lanes Study                .\VOL004\IMAGES\IMAGES001\00055911.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
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                                               I‐495 & I‐270 Managed Lanes Study_Participating
00055920   00055925   3/26/2018 12:40 Attach   Agency_MCDOT.pdf                                     .\VOL004\IMAGES\IMAGES001\00055920.pdf

00055926   00055928   3/26/2018 16:20 Attach   2018‐03‐26_I495_National Park Seminary_bcc.pdf          .\VOL004\IMAGES\IMAGES001\00055926.pdf
                                               April 3, 2018 I‐495 & I‐270 MLS FHWA Coordination
00055929   00055929   3/27/2018 15:09 Email    Meeting                                                 .\VOL004\IMAGES\IMAGES001\00055929.pdf

00055930   00055930   3/27/2018 15:09 Attach   2018‐04‐03 FHWA Coordination Mtg Agenda.docx            .\VOL004\IMAGES\IMAGES001\00055930.pdf

00055931   00055933   3/27/2018 15:09 Attach   2018‐03‐20 FHWA Coordination Meeting_Notes.docx         .\VOL004\IMAGES\IMAGES001\00055931.pdf
00055934   00055937    3/28/2018 9:48 Attach   0002_001.pdf                                            .\VOL004\IMAGES\IMAGES001\00055934.pdf
00055938   00055941    3/28/2018 9:49 Attach   0003_001.pdf                                            .\VOL004\IMAGES\IMAGES001\00055938.pdf
00055942   00055945    3/28/2018 9:49 Attach   0004_001.pdf                                            .\VOL004\IMAGES\IMAGES001\00055942.pdf
                                               I‐495 & I‐270 MLS Reponse to Councilmember
00055946   00055949   3/28/2018 15:30 Attach   Richardson_3‐28‐18.pdf                                  .\VOL004\IMAGES\IMAGES001\00055946.pdf

00055950   00055950   3/28/2018 16:59 Email    I‐495 & I‐270 MLS Public Scoping Meeting Material       .\VOL004\IMAGES\IMAGES001\00055950.pdf
00055951   00055952   3/28/2018 16:59 Attach   I‐495_I‐270_Fact_Sheet_2018_3_26.pdf                    .\VOL004\IMAGES\IMAGES001\00055951.pdf
00055953   00055964   3/28/2018 16:59 Attach   I495 I270 Displays 2018‐03‐26.pdf                       .\VOL004\IMAGES\IMAGES001\00055953.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study_Participating
00055965   00055966    3/29/2018 9:07 Email    Agency Invitation                                       .\VOL004\IMAGES\IMAGES001\00055965.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
00055967   00055969    3/29/2018 9:07 Attach   Agency_MDP Response.pdf                                 .\VOL004\IMAGES\IMAGES001\00055967.pdf
00055970   00055975   3/29/2018 15:52 Attach   0009_001.pdf                                            .\VOL004\IMAGES\IMAGES001\00055970.pdf
00055976   00055981   3/29/2018 15:53 Attach   0011_001.pdf                                            .\VOL004\IMAGES\IMAGES001\00055976.pdf

00055982   00055983   3/29/2018 15:58 Edoc     I‐495_I‐270_Postcard_Mailing_9x6_2018_3_29.pdf          .\VOL004\IMAGES\IMAGES001\00055982.pdf
00055984   00055993   3/29/2018 16:02 Attach   Coop_Partic_agencies_letters.pdf                        .\VOL004\IMAGES\IMAGES001\00055984.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
00055994   00055994   3/29/2018 16:04 Email    Agency Status                                           .\VOL004\IMAGES\IMAGES001\00055994.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
00055995   00055995   3/29/2018 16:05 Email    Agency Invitation                                       .\VOL004\IMAGES\IMAGES001\00055995.pdf

                                               I‐495 & I‐270 Managed Lanes Study_Particpating
00055996   00056000   3/29/2018 16:07 Attach   Agency Invitation_VA Conservation_Recreation.pdf        .\VOL004\IMAGES\IMAGES001\00055996.pdf
00056001   00056016   3/29/2018 16:07 Attach   Partic_agencies_letters.pdf                             .\VOL004\IMAGES\IMAGES001\00056001.pdf
00056017   00056018   3/29/2018 16:16 Attach   FHWA_response_project_initiation_signed.pdf             .\VOL004\IMAGES\IMAGES001\00056017.pdf
00056019   00056019   3/29/2018 17:03 Email    FW_ I‐495_I‐270 Managed Lanes Study.pdf                 .\VOL004\IMAGES\IMAGES001\00056019.pdf
00056020   00056020   3/29/2018 17:03 Attach   I‐495_P3+Managed Lanes map.pdf                          .\VOL004\IMAGES\IMAGES001\00056020.pdf
00056021   00056022    3/30/2018 7:27 Email    Re: [EXTERNAL] I‐495/I‐270 Managed Lanes Study          .\VOL004\IMAGES\IMAGES001\00056021.pdf
00056023   00056023    3/30/2018 7:27 Attach   FWS_Participating_Reponse_Form.pdf                      .\VOL004\IMAGES\IMAGES001\00056023.pdf
00056024   00056025    3/30/2018 8:38 Email    Re: [EXTERNAL] I‐495/I‐270 Managed Lanes Study          .\VOL004\IMAGES\IMAGES001\00056024.pdf

00056026   00056026    3/30/2018 8:38 Attach   03302018 NPS Coop_Participating_response_form.pdf .\VOL004\IMAGES\IMAGES001\00056026.pdf
00056027   00056028    3/30/2018 9:51 Email    Re: MDOT SHA and NPS Staffing Agreement           .\VOL004\IMAGES\IMAGES001\00056027.pdf
00056029   00056029    4/2/2018 14:42 Attach   Brown 812958 Signed.pdf                           .\VOL004\IMAGES\IMAGES001\00056029.pdf
00056030   00056031    4/2/2018 16:23 Attach   2018‐04‐02_Longstreet.pdf                         .\VOL004\IMAGES\IMAGES001\00056030.pdf
00056032   00056032     4/3/2018 9:18 Email    Open House Materials                              .\VOL004\IMAGES\IMAGES001\00056032.pdf
00056033   00056034     4/3/2018 9:18 Attach   I‐495_I‐270_Fact_Sheet_2018_3_29.pdf              .\VOL004\IMAGES\IMAGES001\00056033.pdf

00056035   00056035     4/3/2018 9:18 Attach   I495 I270 Display_Board_Title_VI_2018_3_28V1.pdf        .\VOL004\IMAGES\IMAGES001\00056035.pdf
00056036   00056048     4/3/2018 9:18 Attach   I495 I270 Displays 2018‐03‐28.pdf                       .\VOL004\IMAGES\IMAGES001\00056036.pdf
00056049   00056049     4/3/2018 9:18 Attach   I495 I270 Section_106_8.5x11V1.pdf                      .\VOL004\IMAGES\IMAGES001\00056049.pdf
00056050   00056051    4/3/2018 11:45 Edoc     I‐495_I‐270_Postcard_Insert_9x6_2018_4_3.pdf            .\VOL004\IMAGES\IMAGES001\00056050.pdf
00056052   00056053    4/3/2018 11:54 Email    Draft lead agency 106 letter for 495 MLS                .\VOL004\IMAGES\IMAGES001\00056052.pdf
00056054   00056054    4/3/2018 11:54 Attach   FHWA to Other Fed Agencies for 495.docx                 .\VOL004\IMAGES\IMAGES001\00056054.pdf
                                               Participating Agency Response Letter ‐ Route I‐495,
00056055   00056055    4/3/2018 12:43 Email    MD                                                      .\VOL004\IMAGES\IMAGES001\00056055.pdf

00056056   00056058    4/3/2018 12:43 Attach   Participating Agency Letter_ I‐495 & I‐270 in MD.pdf    .\VOL004\IMAGES\IMAGES001\00056056.pdf
00056059   00056059    4/3/2018 17:28 Email    3‐22‐2018 FHWA Coordination Meeting Minutes             .\VOL004\IMAGES\IMAGES001\00056059.pdf
00056060   00056061    4/3/2018 17:39 Email    Fwd: I‐495 & I270 Managed Lanes Study                   .\VOL004\IMAGES\IMAGES001\00056060.pdf
                                               I‐495 I‐270 P3 Data Collection Request Log update 04‐
00056062   00056062    4/4/2018 10:36 Attach   04‐18 rck.xlsx                                          .\VOL004\IMAGES\IMAGES001\00056062.pdf   .\VOL004\NATIVES\NATIVES001\00056062.xlsx
00056063   00056063    4/4/2018 11:09 Email    FW: Message from "E174M260003"                          .\VOL004\IMAGES\IMAGES001\00056063.pdf
00056064   00056064    4/4/2018 11:09 Attach   20180404104842231.pdf                                   .\VOL004\IMAGES\IMAGES001\00056064.pdf
00056065   00056065    4/4/2018 11:16 Email    RE: Message from "E174M260003"                          .\VOL004\IMAGES\IMAGES001\00056065.pdf

00056066   00056068    4/4/2018 11:33 Attach   TRP‐Managed‐Lane‐Study‐Press‐Release‐03.27.18.pdf       .\VOL004\IMAGES\IMAGES001\00056066.pdf
00056069   00056071    4/4/2018 16:06 Attach   Murphy 812073 Signed.pdf                                .\VOL004\IMAGES\IMAGES001\00056069.pdf
00056072   00056072    4/4/2018 18:35 Email    Permitting                                              .\VOL004\IMAGES\IMAGES001\00056072.pdf
00056073   00056073    4/4/2018 22:23 Email    FW: EIS for Highway Project                             .\VOL004\IMAGES\IMAGES001\00056073.pdf
                                               I‐495 & I‐270 Managed Lanes Study Interagency
00056074   00056075    4/5/2018 12:42 Email    Working Group Meeting #2                                .\VOL004\IMAGES\IMAGES001\00056074.pdf
                                               I‐495 & I‐270 MLS 2nd IAWG Meeting Agenda_04‐12‐
00056076   00056076    4/5/2018 12:42 Attach   2018.pdf                                                .\VOL004\IMAGES\IMAGES001\00056076.pdf

                                               RE: [Non‐DoD Source] I‐495 & I‐270 Managed Lanes
00056077   00056079    4/5/2018 14:03 Email    Study Interagency Working Group Meeting #2              .\VOL004\IMAGES\IMAGES001\00056077.pdf

                                               FW: MDOT SHA Seeks Input for I‐495 & I‐270 Managed
                                               Lanes Study at Public Open Houses This Month in
00056080   00056080    4/5/2018 14:11 Email    Montgomery and Prince George's Counties            .\VOL004\IMAGES\IMAGES001\00056080.pdf

                                               2018.04.15_Jeffrey Russell_PIA Response
                                               Toll_Lane_proposal_for_MD_BeltwayRoute_495_betw
00056081   00056082    4/5/2018 18:00 Edoc     een_New_Hampshire_and_Connecticut_Av.pdf        .\VOL004\IMAGES\IMAGES001\00056081.pdf
00056083   00056084    4/6/2018 11:20 Attach   Tolling Considerations.docx                     .\VOL004\IMAGES\IMAGES001\00056083.pdf
                                               I‐495 & I‐270 MLS_Scoping Response to Ms
00056085   00056085    4/6/2018 11:54 Attach   Alexander_04‐05‐2018‐signed.pdf                 .\VOL004\IMAGES\IMAGES001\00056085.pdf
      Case 8:22-cv-02597-DKC                              Document 42-1                                     Filed 05/03/23                        Page 7 of 263

                                               Cooperating and Participating Agencies and other
00056086   00056086    4/6/2018 12:23 Email    Follow Up Items                                           .\VOL004\IMAGES\IMAGES001\00056086.pdf
                                               Updated I‐495 & I‐270 Section 106 Consulting Parties
00056087   00056087    4/6/2018 12:23 Attach   List_4‐6‐18.xlsx                                          .\VOL004\IMAGES\IMAGES001\00056087.pdf   .\VOL004\NATIVES\NATIVES001\00056087.xlsx
                                               FW: I‐495 & I‐270 Managed Lanes Study Interagency
00056088   00056089    4/6/2018 15:49 Email    Working Group Meeting #2                                  .\VOL004\IMAGES\IMAGES001\00056088.pdf
00056090   00056090    4/9/2018 12:56 Email    FHWA I‐495 and I‐270 Managed Lanes Study                  .\VOL004\IMAGES\IMAGES001\00056090.pdf
00056091   00056091    4/9/2018 14:52 Email    495 MLS Section 106 Lead agency letter                    .\VOL004\IMAGES\IMAGES001\00056091.pdf
00056092   00056092    4/11/2018 8:57 Email    I‐495 & I‐270 MLS FHWA Coordination Meeting               .\VOL004\IMAGES\IMAGES001\00056092.pdf

00056093   00056093    4/11/2018 8:57 Attach   2018‐04‐17 FHWA Coordination Mtg Agenda.docx              .\VOL004\IMAGES\IMAGES001\00056093.pdf
                                               I‐495 & I‐270 Managed Lanes Study Interagency
00056094   00056094   4/11/2018 10:00 Email    Working Group Meeting #2                                  .\VOL004\IMAGES\IMAGES001\00056094.pdf
                                               RE: FW: I‐495 & I‐270 Managed Lanes Study
00056095   00056098   4/11/2018 11:24 Email    Interagency Working Group Meeting #2                      .\VOL004\IMAGES\IMAGES001\00056095.pdf

00056099   00056100   4/11/2018 13:06 Email    RE: I‐495 & I‐270 MLS FHWA Coordination Meeting      .\VOL004\IMAGES\IMAGES001\00056099.pdf
                                               FHWA Action Required: I‐495 & I‐270 MLS: Purpose
00056101   00056101   4/11/2018 13:18 Email    and Need Statement                                   .\VOL004\IMAGES\IMAGES001\00056101.pdf
00056102   00056103   4/11/2018 13:55 Email    RE: I‐495/I‐270 Managed Lanes Study                  .\VOL004\IMAGES\IMAGES001\00056102.pdf
                                               Materials for I‐495 & I‐270 Managed Lanes Study
00056104   00056105    4/12/2018 8:36 Email    Interagency Working Group Meeting #2                 .\VOL004\IMAGES\IMAGES001\00056104.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting
00056106   00056106    4/12/2018 8:36 Attach   Agenda_April 12 2018.pdf                             .\VOL004\IMAGES\IMAGES001\00056106.pdf
                                               I‐495 & I‐270 MLS_IAWG Meeting No. 2
00056107   00056126    4/12/2018 8:36 Attach   Presentation_FINAL.PPTX                              .\VOL004\IMAGES\IMAGES001\00056107.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Purpose and
00056127   00056161    4/12/2018 8:36 Attach   Need Statement_April‐12‐2018.docx                    .\VOL004\IMAGES\IMAGES001\00056127.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
00056162   00056174    4/12/2018 8:36 Attach   Coordination Plan_2018‐04‐11.docx                    .\VOL004\IMAGES\IMAGES001\00056162.pdf
                                               FW: Materials for I‐495 & I‐270 Managed Lanes Study
00056175   00056176    4/12/2018 9:16 Email    Interagency Working Group Meeting #2                 .\VOL004\IMAGES\IMAGES001\00056175.pdf
                                               Fwd: Please remove the communist Vietnam Flag on
00056177   00056182   4/12/2018 17:11 Attach   MDOT Flyer & Website...                              .\VOL004\IMAGES\IMAGES001\00056177.pdf
00056183   00056186   4/12/2018 17:11 Attach   ?Vietnam Flag on MDOT Flyer                          .\VOL004\IMAGES\IMAGES001\00056183.pdf
                                               Please remove the Communist Vietnam Flag on MDOT
00056187   00056189   4/12/2018 17:11 Attach   Flyer & Website                                      .\VOL004\IMAGES\IMAGES001\00056187.pdf
00056190   00056193   4/12/2018 17:13 Attach   ?Vietnam Flag on MDOT Flyer                          .\VOL004\IMAGES\IMAGES001\00056190.pdf
                                               FW: Materials for I‐495 & I‐270 Managed Lanes Study
00056194   00056197    4/13/2018 8:32 Email    Interagency Working Group Meeting #2                 .\VOL004\IMAGES\IMAGES001\00056194.pdf
                                               Section 106 Notification Letter, I‐495/I‐270 Managed
00056198   00056198   4/13/2018 11:06 Email    Lanes Study (MLS)                                    .\VOL004\IMAGES\IMAGES001\00056198.pdf
                                               I‐495 & I‐270 MLS_Scoping Response to Ms
00056199   00056199   4/13/2018 12:26 Attach   Alexander_04‐05‐2018‐signed.pdf                      .\VOL004\IMAGES\IMAGES001\00056199.pdf
                                               I‐495 & I‐270 MLS Reponse to Councilmember
00056200   00056200   4/13/2018 12:26 Attach   Richardson_Email Transmittal_3‐28‐18.pdf             .\VOL004\IMAGES\IMAGES001\00056200.pdf

00056201   00056203   4/13/2018 12:26 Attach   I‐495 & I‐270 MLS Reponse to Ms. Warren 3‐25‐18.pdf .\VOL004\IMAGES\IMAGES001\00056201.pdf
                                               Erron Ramsey shared the folder "270 ICM Noise
00056204   00056204   4/13/2018 14:40 Email    Validation to FHWA" with you.                       .\VOL004\IMAGES\IMAGES001\00056204.pdf

00056205   00056206   4/13/2018 14:42 Email    RE: I‐495 & I‐270 MLS FHWA Coordination Meeting           .\VOL004\IMAGES\IMAGES001\00056205.pdf
                                               I‐495 & I‐270 MLS FHWA Coordination Mtg AGENDA
00056207   00056207   4/15/2018 13:33 Email    UPDATE                                                    .\VOL004\IMAGES\IMAGES001\00056207.pdf
                                               I‐495 & I‐270 Managed Lanes Study; Permitting
00056208   00056208   4/15/2018 13:57 Email    Discussion Notes                                          .\VOL004\IMAGES\IMAGES001\00056208.pdf
                                               I‐495 & I‐270 MLS Permiting Strategy Meeting
00056209   00056212   4/15/2018 13:57 Attach   Notes_2018‐04‐04.pdf                                      .\VOL004\IMAGES\IMAGES001\00056209.pdf
                                               REMINDER ‐ Visualize 2045 Public Forum This
00056213   00056213   4/16/2018 14:28 Email    Wednesday                                                 .\VOL004\IMAGES\IMAGES001\00056213.pdf
00056214   00056214   4/16/2018 14:28 Attach   Visualize 2045_Prince George's.pdf                        .\VOL004\IMAGES\IMAGES001\00056214.pdf
00056215   00056215   4/16/2018 14:28 Attach   Visualize 2045_Prince George's_Spanish.pdf                .\VOL004\IMAGES\IMAGES001\00056215.pdf
00056216   00056217   4/16/2018 14:42 Attach   Demographic Survey.pdf                                    .\VOL004\IMAGES\IMAGES001\00056216.pdf
00056218   00056218   4/16/2018 15:54 Email    POC ‐ FHWA MDof Transp‐ Apr 2018.pdf                      .\VOL004\IMAGES\IMAGES001\00056218.pdf
00056219   00056222   4/16/2018 15:54 Attach   POC ‐ FHWA MDof Transp‐ Apr 2018.pdf                      .\VOL004\IMAGES\IMAGES001\00056219.pdf
00056223   00056225   4/16/2018 16:06 Email    RE: I‐495/I‐270 Managed Lanes Study                       .\VOL004\IMAGES\IMAGES001\00056223.pdf
00056226   00056226   4/16/2018 16:06 Attach   [Untitled].pdf                                            .\VOL004\IMAGES\IMAGES001\00056226.pdf
00056227   00056228   4/16/2018 19:27 Email    Draft FAQs for Scoping Open Houses                        .\VOL004\IMAGES\IMAGES001\00056227.pdf
00056229   00056233   4/16/2018 19:27 Attach   495‐270‐FAQs4.13.18.docx                                  .\VOL004\IMAGES\IMAGES001\00056229.pdf
                                               Visualize 2045 Public Forum ‐ April 26, 2018 at the
00056234   00056234    4/17/2018 7:41 Email    Executive Office Building in Rockville                    .\VOL004\IMAGES\IMAGES001\00056234.pdf
00056235   00056235    4/17/2018 8:18 Email    Cooperating/Participating Agencies                        .\VOL004\IMAGES\IMAGES001\00056235.pdf

00056236   00056237   4/17/2018 10:39 Attach   Woodside Forest Letter to Comments SHA. 1.docx            .\VOL004\IMAGES\IMAGES001\00056236.pdf
                                               RE_ I‐495 & I‐270 MLS FHWA Coordination
00056238   00056239   4/17/2018 10:49 Email    Meeting.pdf                                               .\VOL004\IMAGES\IMAGES001\00056238.pdf
                                               495 MLS Section 106 Initiation Mailing ‐ Electronic
00056240   00056240   4/17/2018 14:39 Email    Copy                                                      .\VOL004\IMAGES\IMAGES001\00056240.pdf
                                               MO838A12_I‐495 I‐270 Managed Lanes Study‐
00056241   00056247   4/17/2018 14:39 Attach   Initiation_Final_4_12_18 .pdf                             .\VOL004\IMAGES\IMAGES001\00056241.pdf

00056248   00056249   4/17/2018 14:39 Attach   AT2 MLS_Known Resources List_Initiation Letter.pdf        .\VOL004\IMAGES\IMAGES001\00056248.pdf
00056250   00056253   4/17/2018 14:39 Attach   AT3 Consulting Parties_final.pdf                          .\VOL004\IMAGES\IMAGES001\00056250.pdf
                                               495 MLS Section 106 Initiation Mailing ‐ Electronic
00056254   00056254   4/17/2018 14:41 Email    Copy (APE Attachment 1)                                   .\VOL004\IMAGES\IMAGES001\00056254.pdf
                                               I495 I270 Architectural & Archaeological APE
00056255   00056260   4/17/2018 14:41 Attach   04112018_small_Part1.pdf                                  .\VOL004\IMAGES\IMAGES001\00056255.pdf
                                               RE: 495 MLS Section 106 Initiation Mailing ‐ Electronic
00056261   00056261   4/17/2018 14:41 Email    Copy (APE Attachment 2)                                   .\VOL004\IMAGES\IMAGES001\00056261.pdf
                                               RE: 495 MLS Section 106 Initiation Mailing ‐ Electronic
00056262   00056262   4/17/2018 14:42 Email    Copy (APE Attachment 3)                                   .\VOL004\IMAGES\IMAGES001\00056262.pdf
                                               I495 I270 Architectural & Archaeological APE
00056263   00056269   4/17/2018 14:42 Attach   04112018_small_Part3.pdf                                  .\VOL004\IMAGES\IMAGES001\00056263.pdf
                                               RE: 495 MLS Section 106 Initiation Mailing ‐ Electronic
00056270   00056270   4/17/2018 14:43 Email    Copy (APE Attachment 4 ‐ last)                            .\VOL004\IMAGES\IMAGES001\00056270.pdf
                                               I495 I270 Architectural & Archaeological APE
00056271   00056277   4/17/2018 14:43 Attach   04112018_small_Part4.pdf                                  .\VOL004\IMAGES\IMAGES001\00056271.pdf
                                               I‐495 & I‐270 MANAGED LANES STUDY Open House
00056278   00056278   4/17/2018 14:57 Email    Comments                                                  .\VOL004\IMAGES\IMAGES001\00056278.pdf
00056279   00056280   4/17/2018 15:23 Attach   Carderock Beltway Barrier MD.pdf                          .\VOL004\IMAGES\IMAGES001\00056279.pdf
00056281   00056282   4/17/2018 17:05 Email    Traffic Relief Plan Meeting notice                        .\VOL004\IMAGES\IMAGES001\00056281.pdf
                                               RE: 495 MLS Section 106 Meeting Agenda for
00056283   00056283    4/18/2018 8:08 Email    4/18/2018                                                 .\VOL004\IMAGES\IMAGES001\00056283.pdf
                                               I‐495 MLS_Survey and Evaluation_Methodology_To
00056284   00056285    4/18/2018 8:08 Attach   MHT.pdf                                                   .\VOL004\IMAGES\IMAGES001\00056284.pdf
      Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                        Page 8 of 263

00056286   00056286    4/18/2018 9:25 Email    Open Houses                                              .\VOL004\IMAGES\IMAGES001\00056286.pdf

00056287   00056287    4/18/2018 9:25 Attach   Scanned from a Xerox Multifunction Printer One.pdf       .\VOL004\IMAGES\IMAGES001\00056287.pdf

00056288   00056293    4/18/2018 9:25 Attach   Scanned from a Xerox Multifunction Printer Two.pdf       .\VOL004\IMAGES\IMAGES001\00056288.pdf
00056294   00056294    4/18/2018 9:25 Attach   Scanned from a Xerox Multifunction Printer.pdf           .\VOL004\IMAGES\IMAGES001\00056294.pdf
00056295   00056296   4/18/2018 15:50 Email    RE: Open Houses                                          .\VOL004\IMAGES\IMAGES001\00056295.pdf
                                               Comments on the 495/I‐270 Proposal ‐ Clarksburg HS
00056297   00056298   4/18/2018 23:37 Email    Open House                                               .\VOL004\IMAGES\IMAGES001\00056297.pdf
                                               495 MLS Section 106 Initiation Mailing ‐ Electronic
00056299   00056299    4/19/2018 7:02 Email    Copy (minus APE)                                         .\VOL004\IMAGES\IMAGES001\00056299.pdf
00056300   00056334    4/19/2018 8:51 Attach   Clarksburg Comments.pdf                                  .\VOL004\IMAGES\IMAGES001\00056300.pdf
00056335   00056335    4/19/2018 8:51 Attach   Clarksburg Elected Officials.pdf                         .\VOL004\IMAGES\IMAGES001\00056335.pdf
00056336   00056349    4/19/2018 8:51 Attach   Clarksburg General Sign In.pdf                           .\VOL004\IMAGES\IMAGES001\00056336.pdf
00056350   00056350    4/19/2018 8:51 Attach   Clarksburg Media.pdf                                     .\VOL004\IMAGES\IMAGES001\00056350.pdf
00056351   00056352    4/19/2018 8:51 Attach   Clarksburg Transit Coalition.pdf                         .\VOL004\IMAGES\IMAGES001\00056351.pdf
                                               I‐495 & I‐270 Managed Lanes Inquiry Regarding
00056353   00056353    4/19/2018 9:00 Email    Comment Deadline                                         .\VOL004\IMAGES\IMAGES001\00056353.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Mr. Zack Gerdes
00056354   00056354    4/19/2018 9:00 Attach   Response 04‐18‐2018‐signed.pdf                           .\VOL004\IMAGES\IMAGES001\00056354.pdf
                                               I‐495/I‐295 MLS Project ‐ Architectural History Survey
00056355   00056355   4/19/2018 10:17 Email    and Historic Context Methodologies                       .\VOL004\IMAGES\IMAGES001\00056355.pdf
                                               I‐495 MLS_Survey and Evaluation_Methodology_To
00056356   00056357   4/19/2018 10:17 Attach   MHT.docx                                                 .\VOL004\IMAGES\IMAGES001\00056356.pdf
00056358   00056359   4/19/2018 13:07 Email    RE: I‐495 & I‐270 P3 Program                             .\VOL004\IMAGES\IMAGES001\00056358.pdf
00056360   00056362   4/19/2018 16:11 Email    RE: Draft FAQs for Scoping Open Houses                   .\VOL004\IMAGES\IMAGES001\00056360.pdf
                                               FW: [Accept / Decline] U.S. MAIL RECEIVED re FHWA ‐
00056363   00056365    4/20/2018 7:42 Email    Roadway Impacts                                          .\VOL004\IMAGES\IMAGES001\00056363.pdf
00056366   00056371    4/20/2018 7:42 Attach   FHWA MD 270 495 FRA response.pdf                         .\VOL004\IMAGES\IMAGES001\00056366.pdf
00056372   00056372    4/20/2018 9:17 Email    Open Houses ‐‐‐ Three Down, One To Go                    .\VOL004\IMAGES\IMAGES001\00056372.pdf
00056373   00056419    4/20/2018 9:17 Attach   Bethesda Chevy Chase Comments 1 of 3.pdf                 .\VOL004\IMAGES\IMAGES001\00056373.pdf
00056420   00056457    4/20/2018 9:17 Attach   Bethesda Chevy Chase Comments 2 of 3.pdf                 .\VOL004\IMAGES\IMAGES001\00056420.pdf
00056458   00056465    4/20/2018 9:17 Attach   Bethesda Chevy Chase Comments 3 of 3.pdf                 .\VOL004\IMAGES\IMAGES001\00056458.pdf
00056466   00056466    4/20/2018 9:17 Attach   Bethesda Chevy Chase Elected Sign In.pdf                 .\VOL004\IMAGES\IMAGES001\00056466.pdf
00056467   00056489    4/20/2018 9:17 Attach   Bethesda Chevy Chase General Sign In.pdf                 .\VOL004\IMAGES\IMAGES001\00056467.pdf
00056490   00056490    4/20/2018 9:17 Attach   Bethesda Chevy Chase Media Sign In.pdf                   .\VOL004\IMAGES\IMAGES001\00056490.pdf
00056491   00056515    4/20/2018 9:17 Attach   Bethesda Chevy Chase Title VI.pdf                        .\VOL004\IMAGES\IMAGES001\00056491.pdf
                                               I‐495 & I‐270 Managed Lanes Study; Participating
00056516   00056516   4/20/2018 16:32 Email    Agency                                                   .\VOL004\IMAGES\IMAGES001\00056516.pdf

00056517   00056518   4/20/2018 21:11 Email    Re_ I‐495 & I‐270 Traffic Modeling Meeting No. 3.pdf     .\VOL004\IMAGES\IMAGES001\00056517.pdf

00056519   00056546   4/20/2018 21:11 Attach   DTALite Model Calibration and Validation Slid.pptx       .\VOL004\IMAGES\IMAGES001\00056519.pdf
00056547   00056547   4/20/2018 21:11 Attach   DRAFT Traffic Modeling Schedule 4.23.2018.xlsx           .\VOL004\IMAGES\IMAGES001\00056547.pdf   .\VOL004\NATIVES\NATIVES001\00056547.xlsx
00056548   00056548   4/22/2018 18:27 Email    Re: Beltway Widening Project.                            .\VOL004\IMAGES\IMAGES001\00056548.pdf
00056549   00056549    4/23/2018 7:50 Email    issues with beltway expansion                            .\VOL004\IMAGES\IMAGES001\00056549.pdf
00056550   00056550   4/23/2018 10:00 Email    I‐495 & I‐270 Traffic Modeling Meeting No. 3             .\VOL004\IMAGES\IMAGES001\00056550.pdf

00056551   00056552   4/23/2018 10:12 Email    RE_ I‐495 & I‐270 Traffic Modeling Meeting No. 3.pdf .\VOL004\IMAGES\IMAGES001\00056551.pdf
00056553   00056553   4/23/2018 10:36 Attach   495.pdf                                               .\VOL004\IMAGES\IMAGES001\00056553.pdf
                                               Comment on the Notice of Intent to widen I‐495, I‐270
00056554   00056554   4/23/2018 10:54 Email    and MD 295                                            .\VOL004\IMAGES\IMAGES001\00056554.pdf
                                               Resident Concerns about the Widening of the Beltway
00056555   00056555   4/23/2018 11:42 Email    and I‐270                                             .\VOL004\IMAGES\IMAGES001\00056555.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Elshafei
00056556   00056556   4/23/2018 13:08 Attach   Response. 04‐18‐2018‐signed.pdf                       .\VOL004\IMAGES\IMAGES001\00056556.pdf
00056557   00056558   4/23/2018 14:40 Email    Comments from 495‐270‐P3 Open House 4/18              .\VOL004\IMAGES\IMAGES001\00056557.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Russell
00056559   00056559   4/23/2018 15:21 Attach   Response_4‐19‐18‐signed.pdf                           .\VOL004\IMAGES\IMAGES001\00056559.pdf
00056560   00056560   4/23/2018 15:26 Email    Fw: I‐270 I‐495 alternative idea                      .\VOL004\IMAGES\IMAGES001\00056560.pdf
00056561   00056561   4/23/2018 21:46 Email    Proposed widening of the Capital Beltway              .\VOL004\IMAGES\IMAGES001\00056561.pdf
                                               I‐495 & I‐270 Managed Lanes Study; FHWA
00056562   00056562   4/24/2018 10:30 Email    Coordination Meeting Notes and Agenda                 .\VOL004\IMAGES\IMAGES001\00056562.pdf

00056563   00056563   4/24/2018 10:30 Attach   2018‐05‐01 FHWA Coordination Mtg Agenda.docx             .\VOL004\IMAGES\IMAGES001\00056563.pdf

00056564   00056566   4/24/2018 10:30 Attach   2018‐04‐17 FHWA Coordination Meeting_Notes.docx          .\VOL004\IMAGES\IMAGES001\00056564.pdf
00056567   00056567   4/24/2018 10:39 Email    Concerns about the P3 Project                            .\VOL004\IMAGES\IMAGES001\00056567.pdf
00056568   00056568   4/24/2018 10:48 Email    I‐270/495 Traffic Relief Plan                            .\VOL004\IMAGES\IMAGES001\00056568.pdf
00056569   00056576   4/24/2018 11:28 Attach   2989_001.pdf                                             .\VOL004\IMAGES\IMAGES001\00056569.pdf
00056577   00056578   4/24/2018 12:26 Email    RE: I‐495/I‐270 Managed Lanes Study                      .\VOL004\IMAGES\IMAGES001\00056577.pdf

                                               CAUTION ‐ RESIDENTIAL Communities WOULD BE
00056579   00056579   4/24/2018 12:28 Email    Impacted by Proposed Washington Beltway Widening         .\VOL004\IMAGES\IMAGES001\00056579.pdf
                                               FW: [Accept / Decline] U.S. MAIL RECEIVED re FHWA ‐
00056580   00056580   4/24/2018 13:01 Email    Roadway Impacts                                          .\VOL004\IMAGES\IMAGES001\00056580.pdf
00056581   00056582   4/24/2018 14:01 Email    I‐495 & I‐270 Managed Lanes Study                        .\VOL004\IMAGES\IMAGES001\00056581.pdf
                                               I‐495 & I‐270 MLS_IAWG Mtg No. 2
00056583   00056602   4/24/2018 14:01 Attach   Presentation_Final.pdf                                   .\VOL004\IMAGES\IMAGES001\00056583.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Purpose and
00056603   00056637   4/24/2018 14:01 Attach   Need Statement_April‐12‐2018.pdf                         .\VOL004\IMAGES\IMAGES001\00056603.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
00056638   00056649   4/24/2018 14:01 Attach   Coordination Plan_2018‐04‐11.pdf                         .\VOL004\IMAGES\IMAGES001\00056638.pdf
00056650   00056650   4/24/2018 14:39 Email    beltway expansion ‐ against                              .\VOL004\IMAGES\IMAGES001\00056650.pdf
00056651   00056651   4/24/2018 14:47 Email    I‐495 & I‐270 Managed Lanes Study                        .\VOL004\IMAGES\IMAGES001\00056651.pdf
                                               FW: Conference call minutes [ 02/09/18 ] ‐ I‐270
00056652   00056654   4/24/2018 15:37 Email    Conversion of HOV lanes to ETL                           .\VOL004\IMAGES\IMAGES001\00056652.pdf
00056655   00056656   4/24/2018 15:49 Email    RE: I‐495/I‐270 Managed Lanes Study                      .\VOL004\IMAGES\IMAGES001\00056655.pdf
00056657   00056657   4/24/2018 15:49 Attach   Participating Agency response FTA.pdf                    .\VOL004\IMAGES\IMAGES001\00056657.pdf
00056658   00056662   4/24/2018 22:34 Attach   Guidence (002).pdf                                       .\VOL004\IMAGES\IMAGES001\00056658.pdf

                                               https://www.fhwa.dot.gov/ipd/tolling_and_pricing/tol
00056663   00056663   4/24/2018 22:51 Email    ling_pricing/federal_tolling_programs.aspx           .\VOL004\IMAGES\IMAGES001\00056663.pdf
                                               https___www.fhwa.dot.gov_ipd_tolling_and_pricin....
00056664   00056664   4/24/2018 23:51 Email    pdf                                                  .\VOL004\IMAGES\IMAGES001\00056664.pdf
                                               Response to SHA Letter Dated April 6, 2018
00056665   00056665    4/25/2018 8:32 Email    Concerning The Traffic Relief Plan                   .\VOL004\IMAGES\IMAGES001\00056665.pdf
                                               Letter from Howard Diamond to MDOT on I‐495 Traffic
00056666   00056668    4/25/2018 8:32 Attach   Relief Plan ‐ April 25 2018.pdf                      .\VOL004\IMAGES\IMAGES001\00056666.pdf
                                               MDOT SHA I‐495 Managed Lanes Study Section 106
                                               Consulting Party Meeting Information ‐ Tuesday May
00056669   00056670    4/25/2018 9:10 Email    3, 2018 11am                                         .\VOL004\IMAGES\IMAGES001\00056669.pdf

00056671   00056671    4/25/2018 9:23 Email    I‐495 & I‐270 Traffic Modeling Meeting No. 4(1).pdf      .\VOL004\IMAGES\IMAGES001\00056671.pdf
      Case 8:22-cv-02597-DKC                              Document 42-1                                   Filed 05/03/23                        Page 9 of 263

                                               I‐495 & I‐270 Managed Lanes Study; Purpose and
00056672   00056673   4/25/2018 11:18 Email    Need and Agency Coordination Plan                       .\VOL004\IMAGES\IMAGES001\00056672.pdf
                                               HCC's history with HOP and the MD Division ‐ I‐495 / I‐
00056674   00056674   4/25/2018 11:22 Email    270 Managed Lanes Study EIS                             .\VOL004\IMAGES\IMAGES001\00056674.pdf
00056675   00056675   4/25/2018 11:25 Email    I‐495 & I‐270 Managed Lanes Study                       .\VOL004\IMAGES\IMAGES001\00056675.pdf

00056676   00056676   4/25/2018 11:39 Email    Follow‐up on the I‐495 _ I‐270 Managed Lanes St....pdf .\VOL004\IMAGES\IMAGES001\00056676.pdf
                                               RE: Follow‐up on the I‐495 / I‐270 Managed Lanes
00056677   00056678   4/25/2018 11:53 Email    Study in MD                                            .\VOL004\IMAGES\IMAGES001\00056677.pdf
                                               RE: MDOT SHA I‐495 Managed Lanes Study Section
                                               106 Consulting Party Meeting Information ‐ Tuesday
00056679   00056682   4/25/2018 12:03 Email    May 3, 2018 11am                                       .\VOL004\IMAGES\IMAGES001\00056679.pdf
                                               I495 I270 Architectural Archaeological APE
00056683   00056683   4/25/2018 12:03 Attach   04112018_VA_portion.pdf                                .\VOL004\IMAGES\IMAGES001\00056683.pdf
                                               Concerns with potential widening of the Washington
00056684   00056684   4/25/2018 13:04 Email    Beltway and I‐270                                      .\VOL004\IMAGES\IMAGES001\00056684.pdf
00056685   00056685   4/25/2018 13:59 Email    Comments regarding expanding I‐270                     .\VOL004\IMAGES\IMAGES001\00056685.pdf
                                               Widen Beltway and I‐270: Concerns for Silver Spring
00056686   00056686   4/25/2018 14:34 Email    National Park Seminary (NPS)                           .\VOL004\IMAGES\IMAGES001\00056686.pdf
                                               Fwd: Widen Beltway and I‐270: Concerns for Silver
00056687   00056687   4/25/2018 14:40 Email    Spring National Park Seminary (NPS)                    .\VOL004\IMAGES\IMAGES001\00056687.pdf
00056688   00056689   4/25/2018 16:01 Email    RE: I‐495/I‐270 Managed Lanes Study                    .\VOL004\IMAGES\IMAGES001\00056688.pdf
00056690   00056691   4/25/2018 16:01 Attach   I‐495&I‐270 CoopAgLetFHWA042518.pdf                    .\VOL004\IMAGES\IMAGES001\00056690.pdf
00056692   00056692   4/25/2018 16:01 Attach   I‐495&I‐270 CoopAgformFHWA042518.pdf                   .\VOL004\IMAGES\IMAGES001\00056692.pdf
                                               RE: MDOT SHA I‐495 Managed Lanes Study Section
                                               106 Consulting Party Meeting Information ‐ Tuesday
00056693   00056695   4/25/2018 16:12 Email    May 3, 2018 11am                                       .\VOL004\IMAGES\IMAGES001\00056693.pdf
                                               Concerns with potential widening of the Washington
00056696   00056696   4/25/2018 16:18 Email    Beltway and I‐270                                      .\VOL004\IMAGES\IMAGES001\00056696.pdf
                                               Concerns with potential widening of the Washington
00056697   00056697   4/25/2018 16:26 Email    Beltway and I‐270                                      .\VOL004\IMAGES\IMAGES001\00056697.pdf
                                               Concerns with potential widening of the Washington
00056698   00056698   4/25/2018 16:27 Email    Beltway and I‐270                                      .\VOL004\IMAGES\IMAGES001\00056698.pdf
00056699   00056699   4/25/2018 16:31 Email    Highway expansion concerns                             .\VOL004\IMAGES\IMAGES001\00056699.pdf
00056700   00056701   4/25/2018 17:14 Email    RE: Noise Approach                                     .\VOL004\IMAGES\IMAGES001\00056700.pdf
00056702   00056702   4/25/2018 18:44 Email    Public Comment on I495 and I270                        .\VOL004\IMAGES\IMAGES001\00056702.pdf
                                               Concerns with potential widening of the Washington
00056703   00056703   4/25/2018 19:25 Email    Beltway                                                .\VOL004\IMAGES\IMAGES001\00056703.pdf

00056704   00056704   4/25/2018 21:01 Email    I‐495 & I‐270 Public‐Private Partnership (P3) Program   .\VOL004\IMAGES\IMAGES001\00056704.pdf
00056705   00056705    4/26/2018 7:59 Email    495 Beltway Widening                                    .\VOL004\IMAGES\IMAGES001\00056705.pdf
                                               Concerns with potential widening of the Washington
00056706   00056706    4/26/2018 9:25 Email    Beltway and I‐270                                       .\VOL004\IMAGES\IMAGES001\00056706.pdf
00056707   00056707    4/26/2018 9:29 Email    I am opposed to the expansiion of the beltway           .\VOL004\IMAGES\IMAGES001\00056707.pdf
00056708   00056708    4/26/2018 9:55 Email    I‐495 and I‐270 plan                                    .\VOL004\IMAGES\IMAGES001\00056708.pdf
00056709   00056709   4/26/2018 16:38 Email    Email to Jitesh.pdf                                     .\VOL004\IMAGES\IMAGES001\00056709.pdf
00056710   00056710   4/26/2018 16:46 Email    Do not widen !!!                                        .\VOL004\IMAGES\IMAGES001\00056710.pdf
00056711   00056711   4/26/2018 18:37 Email    Opposed to widening of I‐495                            .\VOL004\IMAGES\IMAGES001\00056711.pdf

                                               Montgomery_Co_I‐495_LocustHillEstates_Taft_SR‐
00056712   00056712   4/26/2018 18:48 Attach   0315922_20170818.pdf                                    .\VOL004\IMAGES\IMAGES001\00056712.pdf
                                               Concerns with potential widening of the Washington
00056713   00056713   4/26/2018 19:46 Email    Beltway and I‐270                                       .\VOL004\IMAGES\IMAGES001\00056713.pdf
00056714   00056714    4/27/2018 9:02 Email    Cooperating/Participating                               .\VOL004\IMAGES\IMAGES001\00056714.pdf
00056715   00056715   4/27/2018 11:50 Email    I‐495/I‐270 Cooperating Agency Response                 .\VOL004\IMAGES\IMAGES001\00056715.pdf
00056716   00056716   4/27/2018 11:50 Attach   I495 & I270.CooperatingAgency.Form.pdf                  .\VOL004\IMAGES\IMAGES001\00056716.pdf
00056717   00056717   4/27/2018 12:19 Email    I‐495 widening                                          .\VOL004\IMAGES\IMAGES001\00056717.pdf
                                               Concerns with potential widening of the Washington
00056718   00056718   4/27/2018 13:17 Email    Beltway and I‐270                                       .\VOL004\IMAGES\IMAGES001\00056718.pdf
                                               RE: SECOND RESPONSE: CONSTITUENT CONCERN:
                                               Follow Up on Request for Noise Barrier Along
00056719   00056724   4/27/2018 13:17 Email    Interstate 495/95 (Exit 15A)                            .\VOL004\IMAGES\IMAGES001\00056719.pdf

00056725   00056725   4/27/2018 13:20 Edoc     Known Resources in APE_ArcOnline_CPMeeting1.xlsx        .\VOL004\IMAGES\IMAGES001\00056725.pdf   .\VOL004\NATIVES\NATIVES001\00056725.xlsx
                                               RE: SECOND RESPONSE: CONSTITUENT CONCERN:
                                               Follow Up on Request for Noise Barrier Along
00056726   00056732   4/27/2018 14:38 Email    Interstate 495/95 (Exit 15A)                            .\VOL004\IMAGES\IMAGES001\00056726.pdf
                                               Concerns with potential widening of the Washington
00056733   00056733   4/27/2018 16:34 Email    Beltway and I‐270                                       .\VOL004\IMAGES\IMAGES001\00056733.pdf
00056734   00056734   4/27/2018 16:38 Email    G. Slater Letter / MDOT                                 .\VOL004\IMAGES\IMAGES001\00056734.pdf
00056735   00056737   4/27/2018 16:38 Attach   ltrGregorySlaterMDOT_2018‐0426 Final.pdf                .\VOL004\IMAGES\IMAGES001\00056735.pdf
                                               Concerns with potential widening of the Washington
00056738   00056738   4/27/2018 16:57 Email    Beltway and I‐270                                       .\VOL004\IMAGES\IMAGES001\00056738.pdf
00056739   00056739   4/27/2018 17:59 Email    Widening of I‐270                                       .\VOL004\IMAGES\IMAGES001\00056739.pdf

                                               The potential widening of the Washington Beltway as
00056740   00056740   4/27/2018 21:49 Email    described in the recent Notice of Intent                .\VOL004\IMAGES\IMAGES001\00056740.pdf
                                               Concerns with potential widening of the Washington
00056741   00056741   4/29/2018 19:54 Email    Beltway and I‐270                                       .\VOL004\IMAGES\IMAGES001\00056741.pdf
00056742   00056742    4/30/2018 8:24 Email    Objections to Beltway Expansion Plan                    .\VOL004\IMAGES\IMAGES001\00056742.pdf
00056743   00056744    4/30/2018 8:43 Email    FW: M‐NCPPC Montgomery Parks GIS Layer                  .\VOL004\IMAGES\IMAGES001\00056743.pdf
00056745   00056745    4/30/2018 8:43 Attach   MNCPPC_MontgomeryCo_Parks.dbf                           .\VOL004\IMAGES\IMAGES001\00056745.pdf   .\VOL004\NATIVES\NATIVES001\00056745.dbf
                                               Concerns with potential widening of the Washington
00056746   00056746   4/30/2018 10:23 Email    Beltway and I‐270                                       .\VOL004\IMAGES\IMAGES001\00056746.pdf
                                               495‐270‐P3 ‐ MDOT SHA ‐ Scoping Comments ‐
00056747   00056747   4/30/2018 11:56 Email    Evergreen Community, Cabin John, MD                     .\VOL004\IMAGES\IMAGES001\00056747.pdf

00056748   00056752   4/30/2018 11:56 Attach   495‐270‐P3 Evergreen Community Letter 04‐2018.pdf       .\VOL004\IMAGES\IMAGES001\00056748.pdf
00056753   00056753   4/30/2018 13:32 Email    FW: Managed lanes study                                 .\VOL004\IMAGES\IMAGES001\00056753.pdf
00056754   00056754   4/30/2018 16:43 Email    Senator Lee Comment                                     .\VOL004\IMAGES\IMAGES001\00056754.pdf
                                               Concerns with potential widening of the Washington
00056755   00056755   4/30/2018 16:48 Email    Beltway and I‐270                                       .\VOL004\IMAGES\IMAGES001\00056755.pdf
00056756   00056758   4/30/2018 16:54 Email    RE: Noise Approach                                      .\VOL004\IMAGES\IMAGES001\00056756.pdf
00056759   00056761   4/30/2018 17:01 Email    RE: Noise Approach                                      .\VOL004\IMAGES\IMAGES001\00056759.pdf
                                               I‐495 & I‐270 Scoping Comments from Carderock
00056762   00056762   4/30/2018 17:58 Email    Springs Community                                       .\VOL004\IMAGES\IMAGES001\00056762.pdf
                                               CSCA resolution Beltway noise and air pollution
00056763   00056764   4/30/2018 17:58 Attach   mitigation.pdf                                          .\VOL004\IMAGES\IMAGES001\00056763.pdf
                                               PTA Board statement on noise and air pollution
00056765   00056766   4/30/2018 17:58 Attach   mitigation.pdf                                          .\VOL004\IMAGES\IMAGES001\00056765.pdf
00056767   00056767   4/30/2018 18:23 Email    495 additional lanes‐‐opposed                           .\VOL004\IMAGES\IMAGES001\00056767.pdf
00056768   00056768   4/30/2018 20:15 Email    Beltway expansion                                       .\VOL004\IMAGES\IMAGES001\00056768.pdf
00056769   00056769   4/30/2018 21:00 Email    Support for Beltway Expansion                           .\VOL004\IMAGES\IMAGES001\00056769.pdf
                                               Subject: Concerns with potential widening of the
00056770   00056770   4/30/2018 23:07 Email    Washington Beltway and I‐270                            .\VOL004\IMAGES\IMAGES001\00056770.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                          Page 10 of 263

00056771   00056805     5/1/2018 8:02 Attach   I‐495 I‐270 MLS PN FHWA comments.docx                 .\VOL004\IMAGES\IMAGES001\00056771.pdf

00056806   00056806     5/1/2018 8:34 Email    Concerns about the proposed widening of 495 Beltway .\VOL004\IMAGES\IMAGES001\00056806.pdf
                                               Concerns with potential widening of the Washington
00056807   00056807    5/1/2018 10:47 Email    Beltway and I‐270                                   .\VOL004\IMAGES\IMAGES001\00056807.pdf
                                               I‐495/I‐270 Managed Lanes Study ‐ NPS scoping
00056808   00056808    5/1/2018 11:39 Email    comments                                            .\VOL004\IMAGES\IMAGES001\00056808.pdf
00056809   00056813    5/1/2018 11:39 Attach   05012018 ‐ 495_270 ERTS Scoping Letter_final.pdf    .\VOL004\IMAGES\IMAGES001\00056809.pdf

00056814   00056815    5/1/2018 12:39 Email    I‐495 & I‐270 Managed Lanes Study Scope Comments      .\VOL004\IMAGES\IMAGES001\00056814.pdf
                                               Please Add Woodside Forest Civic Association to the
00056816   00056816    5/1/2018 13:17 Email    Comments Signatory of the Attached                    .\VOL004\IMAGES\IMAGES001\00056816.pdf
00056817   00056820    5/1/2018 13:17 Attach   270‐495 Comments.pdf                                  .\VOL004\IMAGES\IMAGES001\00056817.pdf
                                               Re: 495‐270‐P3 ‐ MDOT SHA ‐ Scoping Comments ‐
00056821   00056821    5/1/2018 14:55 Email    Cabin John Citizen's Association                      .\VOL004\IMAGES\IMAGES001\00056821.pdf
                                               2018_May 1 CJCA Letter re Scoping of Managed Lanes
00056822   00056824    5/1/2018 14:55 Attach   Study I495_I270_P3 Project.docx                       .\VOL004\IMAGES\IMAGES001\00056822.pdf

00056825   00056825    5/1/2018 14:56 Email    Please avoid negative impact of I‐495 Notice of Intent .\VOL004\IMAGES\IMAGES001\00056825.pdf

00056826   00056828    5/1/2018 15:01 Email    Comment on Scope of Managed Lanes NEPA Study          .\VOL004\IMAGES\IMAGES001\00056826.pdf
00056829   00056829    5/1/2018 16:14 Email    Fairfax County comment on I‐495 Scope                 .\VOL004\IMAGES\IMAGES001\00056829.pdf

00056830   00056831    5/1/2018 16:14 Attach   Fairfax County Letter Re Beltway in Maryland.pdf    .\VOL004\IMAGES\IMAGES001\00056830.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study; Purpose and
00056832   00056833    5/1/2018 16:24 Email    Need and Agency Coordination Plan                   .\VOL004\IMAGES\IMAGES001\00056832.pdf
                                               Wyngate Citizens Association comments on EIS study
00056834   00056834    5/1/2018 16:55 Email    scope of major managed lanes project                .\VOL004\IMAGES\IMAGES001\00056834.pdf
00056835   00056835    5/1/2018 16:55 Attach   WCA_AgainstWidening.docx                            .\VOL004\IMAGES\IMAGES001\00056835.pdf
00056836   00056839    5/1/2018 16:55 Attach   ScopingComments.pdf                                 .\VOL004\IMAGES\IMAGES001\00056836.pdf
00056840   00056840    5/1/2018 17:35 Email    Managed Lane Study                                  .\VOL004\IMAGES\IMAGES001\00056840.pdf
                                               WPCA Comments on Scoping for EIS Managed Lanes
00056841   00056841    5/1/2018 23:23 Email    Study                                               .\VOL004\IMAGES\IMAGES001\00056841.pdf
00056842   00056843    5/1/2018 23:23 Attach   WPCA_Scoping_Comments_2018.pdf                      .\VOL004\IMAGES\IMAGES001\00056842.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study ‐ Public
00056844   00056845    5/1/2018 23:47 Email    Comments                                            .\VOL004\IMAGES\IMAGES001\00056844.pdf
00056846   00056847    5/1/2018 23:47 Attach   Beltway Busway.docx                                 .\VOL004\IMAGES\IMAGES001\00056846.pdf
00056848   00056850    5/2/2018 10:14 Attach   hppscan1.pdf                                        .\VOL004\IMAGES\IMAGES001\00056848.pdf
00056851   00056851    5/2/2018 15:02 Email    MDOT SHA/FHWA/NPS Call tomorrow                     .\VOL004\IMAGES\IMAGES001\00056851.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Rolf Response_05‐
00056852   00056852    5/2/2018 16:56 Attach   02‐2018.pdf                                         .\VOL004\IMAGES\IMAGES001\00056852.pdf

00056853   00056854    5/2/2018 18:13 Email    Re: [EXTERNAL] MDOT SHA/FHWA/NPS Call tomorrow        .\VOL004\IMAGES\IMAGES001\00056853.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ MDOT SHA/NPS
00056855   00056855    5/3/2018 10:00 Email    Meeting                                               .\VOL004\IMAGES\IMAGES001\00056855.pdf
                                               I‐495 & I‐270 Managed Lanes Study; Purpose and
00056856   00056857    5/3/2018 11:31 Email    Need and Agency Coordination Plan                     .\VOL004\IMAGES\IMAGES001\00056856.pdf
                                               MLS_Consulting Parties Meeting No. 1
00056858   00056876    5/3/2018 12:19 Edoc     Presentation.pptx                                     .\VOL004\IMAGES\IMAGES001\00056858.pdf

00056877   00056877    5/3/2018 12:30 Email    RE: PDF of Today's Section 106 Consultation Meeting .\VOL004\IMAGES\IMAGES001\00056877.pdf
                                               MLS_Consulting Parties Meeting No. 1
00056878   00056896    5/3/2018 12:30 Attach   Presentation.pdf                                    .\VOL005\IMAGES\IMAGES001\00056878.pdf
                                               495_MLS_106_CP_Meeting_Agenda_May_3_2018.doc
00056897   00056897    5/3/2018 13:18 Edoc     x                                                   .\VOL005\IMAGES\IMAGES001\00056897.pdf
00056898   00056899    5/3/2018 13:28 Email    Managed Lanes‐ Coordination Follow‐Ups              .\VOL005\IMAGES\IMAGES001\00056898.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study; Purpose and
00056900   00056901    5/3/2018 14:37 Email    Need and Agency Coordination Plan                   .\VOL005\IMAGES\IMAGES001\00056900.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study; Purpose and
00056902   00056904    5/3/2018 16:25 Email    Need and Agency Coordination Plan                   .\VOL005\IMAGES\IMAGES001\00056902.pdf
                                               I495‐I270 Managed Lanes Purpose and Need_Parks
00056905   00056905    5/3/2018 16:25 Attach   Response.docx                                       .\VOL005\IMAGES\IMAGES001\00056905.pdf

                                               JBA COMMENTS: I‐495 & I‐270 Managed Lanes Study;
00056906   00056909    5/4/2018 10:16 Email    Purpose and Need and Agency Coordination Plan      .\VOL005\IMAGES\IMAGES001\00056906.pdf
00056910   00056911    5/4/2018 13:53 Attach   FHWA Project Team.docx                             .\VOL005\IMAGES\IMAGES001\00056910.pdf
00056912   00056914    5/4/2018 16:03 Email    RE: I‐495/I‐270 Managed Lanes Study                .\VOL005\IMAGES\IMAGES001\00056912.pdf
                                               FW: JBA COMMENTS: I‐495 & I‐270 Managed Lanes
                                               Study; Purpose and Need and Agency Coordination
00056915   00056918    5/4/2018 16:49 Email    Plan                                               .\VOL005\IMAGES\IMAGES001\00056915.pdf
00056919   00056919    5/4/2018 17:04 Email    Public Comment Protocol                            .\VOL005\IMAGES\IMAGES001\00056919.pdf
00056920   00056924    5/4/2018 17:04 Attach   I‐495 I‐270 Comment Protocols.docx                 .\VOL005\IMAGES\IMAGES001\00056920.pdf
00056925   00056925    5/4/2018 17:04 Email    Public Comment Protocol                            .\VOL005\IMAGES\IMAGES001\00056925.pdf
                                               Concerns with potential widening of the Washington
00056926   00056926    5/5/2018 12:20 Email    Beltway and I‐270                                  .\VOL005\IMAGES\IMAGES001\00056926.pdf
00056927   00056928    5/6/2018 13:25 Email    Re: I‐495 & I‐270 Managed Lanes Study              .\VOL005\IMAGES\IMAGES001\00056927.pdf
00056929   00056930     5/7/2018 7:45 Email    RE: I‐495/I‐270 MLS project                        .\VOL005\IMAGES\IMAGES001\00056929.pdf
00056931   00056931     5/7/2018 8:55 Email    Purpose and Need Comments                          .\VOL005\IMAGES\IMAGES001\00056931.pdf
00056932   00056933    5/7/2018 12:23 Email    RE: Electronic copy of APE map today?              .\VOL005\IMAGES\IMAGES001\00056932.pdf
00056934   00056934    5/7/2018 14:01 Attach   NPS Location.jpg                                   .\VOL005\IMAGES\IMAGES001\00056934.pdf
00056935   00056935    5/7/2018 14:01 Attach   NPS Location‐Zoomed In.jpg                         .\VOL005\IMAGES\IMAGES001\00056935.pdf
00056936   00056937    5/7/2018 14:05 Email    I‐495 & I‐270 Managed Lanes Study                  .\VOL005\IMAGES\IMAGES001\00056936.pdf
00056938   00056939    5/7/2018 14:25 Email    I‐495 & I‐270 Managed Lanes Study                  .\VOL005\IMAGES\IMAGES001\00056938.pdf
00056940   00056941    5/7/2018 14:40 Email    RE: I‐495 & I‐270 Managed Lanes Study              .\VOL005\IMAGES\IMAGES001\00056940.pdf
00056942   00056944     5/8/2018 9:26 Email    IAWG                                               .\VOL005\IMAGES\IMAGES001\00056942.pdf
00056945   00056946    5/8/2018 13:33 Email    I‐495 & I‐270 Managed Lanes Study                  .\VOL005\IMAGES\IMAGES001\00056945.pdf
00056947   00056947    5/8/2018 13:47 Email    I‐270/I‐495 P3 Project                             .\VOL005\IMAGES\IMAGES001\00056947.pdf
00056948   00056949    5/8/2018 17:08 Email    I‐495 & I‐270 MLS FHWA Coordination Mtg            .\VOL005\IMAGES\IMAGES001\00056948.pdf
00056950   00056952    5/9/2018 12:42 Email    RE: Noise Approach                                 .\VOL005\IMAGES\IMAGES001\00056950.pdf
00056953   00056954    5/9/2018 15:20 Email    RE: I‐495/I‐270 Managed Lanes Study                .\VOL005\IMAGES\IMAGES001\00056953.pdf
00056955   00057318    5/9/2018 15:20 Attach   I 270 I 495 letter.pdf                             .\VOL005\IMAGES\IMAGES001\00056955.pdf
00057319   00057324    5/10/2018 8:35 Attach   MDOT SHA Dorsey Files.pdf                          .\VOL005\IMAGES\IMAGES001\00057319.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057325   00057325   5/10/2018 17:11 Email    Public‐Private Partnership (P3)                    .\VOL005\IMAGES\IMAGES001\00057325.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057326   00057326   5/10/2018 17:12 Email    Public‐Private Partnership (P3)                    .\VOL005\IMAGES\IMAGES001\00057326.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057327   00057327   5/10/2018 17:12 Email    Public‐Private Partnership (P3)                    .\VOL005\IMAGES\IMAGES001\00057327.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057328   00057328   5/10/2018 17:12 Email    Public‐Private Partnership (P3)                    .\VOL005\IMAGES\IMAGES001\00057328.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057329   00057329   5/10/2018 17:13 Email    Public‐Private Partnership (P3)                    .\VOL005\IMAGES\IMAGES001\00057329.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057330   00057330   5/10/2018 17:13 Email    Public‐Private Partnership (P3)                    .\VOL005\IMAGES\IMAGES001\00057330.pdf
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                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057331   00057331   5/10/2018 17:13 Email    Public‐Private Partnership (P3)                     .\VOL005\IMAGES\IMAGES001\00057331.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057332   00057332   5/10/2018 17:14 Email    Public‐Private Partnership (P3)                     .\VOL005\IMAGES\IMAGES001\00057332.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057333   00057333   5/10/2018 17:14 Email    Public‐Private Partnership (P3)                     .\VOL005\IMAGES\IMAGES001\00057333.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00057334   00057334   5/10/2018 17:14 Email    Public‐Private Partnership (P3)                     .\VOL005\IMAGES\IMAGES001\00057334.pdf
00057335   00057335   5/10/2018 18:26 Email    Purpose and Need                                    .\VOL005\IMAGES\IMAGES001\00057335.pdf
                                               I‐495 & I‐270 Managed Lanes Study; Purpose and
00057336   00057337   5/11/2018 12:20 Email    Need Statement                                      .\VOL005\IMAGES\IMAGES001\00057336.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Purpose and
00057338   00057377   5/11/2018 12:20 Attach   Need Statement_05‐11‐2018.pdf                       .\VOL005\IMAGES\IMAGES001\00057338.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Purpose and
00057378   00057401   5/11/2018 12:20 Attach   Need Errata_5‐11‐2018.pdf                           .\VOL005\IMAGES\IMAGES001\00057378.pdf
00057402   00057403   5/11/2018 12:37 Email    RE: Scoping comments                                .\VOL005\IMAGES\IMAGES001\00057402.pdf
                                               I‐495 I‐270 Managed Lanes Study_Ross Response_5‐11‐
00057404   00057405   5/11/2018 12:37 Attach   2018.pdf                                            .\VOL005\IMAGES\IMAGES001\00057404.pdf
00057406   00057409   5/11/2018 13:18 Attach   May 11 Letter.pdf                                   .\VOL005\IMAGES\IMAGES001\00057406.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study; Purpose and
00057410   00057411    5/14/2018 7:30 Email    Need Statement                                      .\VOL005\IMAGES\IMAGES001\00057410.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study; Purpose and
00057412   00057413    5/14/2018 7:31 Email    Need Statement                                      .\VOL005\IMAGES\IMAGES001\00057412.pdf
00057414   00057414    5/14/2018 9:17 Email    I‐495 & I‐270 MLS ‐ Track Changes Version of P&N    .\VOL005\IMAGES\IMAGES001\00057414.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Purpose and
00057415   00057456    5/14/2018 9:17 Attach   Need Statement_05‐08‐2018.docx                      .\VOL005\IMAGES\IMAGES001\00057415.pdf
00057457   00057457   5/14/2018 11:52 Email    I‐495 & I‐270 Managed Lanes Study                   .\VOL005\IMAGES\IMAGES001\00057457.pdf
00057458   00057464   5/14/2018 12:59 Attach   0107_001.pdf                                        .\VOL005\IMAGES\IMAGES001\00057458.pdf
00057465   00057469   5/14/2018 13:00 Attach   0108_001.pdf                                        .\VOL005\IMAGES\IMAGES001\00057465.pdf
00057470   00057472   5/14/2018 13:00 Attach   0109_001.pdf                                        .\VOL005\IMAGES\IMAGES001\00057470.pdf
00057473   00057475   5/14/2018 13:01 Attach   0110_001.pdf                                        .\VOL005\IMAGES\IMAGES001\00057473.pdf
00057476   00057477   5/14/2018 15:45 Email    Scoping Comments                                    .\VOL005\IMAGES\IMAGES001\00057476.pdf
                                               I‐495_I‐270 Comment Database_Scoping Period
00057478   00057478   5/14/2018 15:45 Attach   through 5‐1‐18.xlsx                                 .\VOL005\IMAGES\IMAGES001\00057478.pdf      .\VOL005\NATIVES\NATIVES001\00057478.xlsx

00057479   00057479   5/14/2018 16:17 Email    Re_ I‐495 & I‐270 Traffic Modeling Meeting No. 4.pdf   .\VOL005\IMAGES\IMAGES001\00057479.pdf

00057480   00057512   5/14/2018 16:17 Attach   P3 project DTALite Model Calibration and Vali.pptx     .\VOL005\IMAGES\IMAGES001\00057480.pdf

00057513   00057529   5/14/2018 16:17 Attach   P3 project OD calibration tech memo‐05072018.pdf       .\VOL005\IMAGES\IMAGES001\00057513.pdf

00057530   00057555   5/14/2018 16:17 Attach   I‐495_I‐270 Managed Lanes_ExistingConditionsCa.pdf .\VOL005\IMAGES\IMAGES001\00057530.pdf

00057556   00057607   5/14/2018 16:17 Attach   I‐495_I‐270 Managed Lanes_ExistingConditionsCa.PDF .\VOL005\IMAGES\IMAGES001\00057556.pdf
00057608   00057608   5/14/2018 17:05 Attach   [Untitled].pdf                                        .\VOL005\IMAGES\IMAGES001\00057608.pdf
00057609   00057610   5/15/2018 12:09 Email    RE: Correspondence from the City of Rockville         .\VOL005\IMAGES\IMAGES001\00057609.pdf
00057611   00057612   5/15/2018 14:26 Email    FW: Department of Homeland Security                   .\VOL005\IMAGES\IMAGES001\00057611.pdf
00057613   00057671   5/15/2018 14:26 Attach   USDOT_CatastrophicEvents.pdf                          .\VOL005\IMAGES\IMAGES001\00057613.pdf
00057672   00057695   5/15/2018 14:26 Attach   FHWA_EmergencyTransportationOperations.pdf            .\VOL005\IMAGES\IMAGES001\00057672.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study; Purpose and
00057696   00057697   5/15/2018 15:25 Email    Need Statement                                        .\VOL005\IMAGES\IMAGES001\00057696.pdf
00057698   00057699   5/15/2018 15:33 Email    I‐495 & I‐270 Managed Lanes Study                     .\VOL005\IMAGES\IMAGES001\00057698.pdf
00057700   00057700   5/16/2018 12:08 Email    FW: Message from "E174M260999"                        .\VOL005\IMAGES\IMAGES001\00057700.pdf
00057701   00057704   5/16/2018 12:08 Attach   20180516121841172.pdf                                 .\VOL005\IMAGES\IMAGES001\00057701.pdf
                                               I‐495 & I‐270 Managed Lanes Study Interagency
00057705   00057706   5/16/2018 13:00 Email    Working Group Meeting #3                              .\VOL005\IMAGES\IMAGES001\00057705.pdf
                                               RE: FW: [Caution: Suspicious Attachment]I‐495 & I‐270
                                               Managed Lanes Study Interagency Working Group
00057707   00057709   5/16/2018 16:21 Email    Meeting #3                                            .\VOL005\IMAGES\IMAGES001\00057707.pdf
                                               Re: [Non‐DoD Source] I‐495 & I‐270 MLS IAWG
00057710   00057712   5/16/2018 20:11 Email    Meeting May 16th                                      .\VOL005\IMAGES\IMAGES001\00057710.pdf
00057713   00057713    5/17/2018 7:46 Email    Follow‐up: DEIS Public Hearing                        .\VOL005\IMAGES\IMAGES001\00057713.pdf
00057714   00057719    5/17/2018 9:52 Email    RE: I‐495 & I‐270 MLS IAWG Meeting May 16th           .\VOL005\IMAGES\IMAGES001\00057714.pdf
00057720   00057720   5/17/2018 10:13 Attach   814272 Diamond, Howard (Part 1).docx                  .\VOL005\IMAGES\IMAGES001\00057720.pdf
00057721   00057721   5/17/2018 10:13 Attach   814154 Jeffrey Russell (Part 1).docx                  .\VOL005\IMAGES\IMAGES001\00057721.pdf
00057722   00057723   5/17/2018 10:13 Attach   814154 Jeffrey Russell (Part 2).docx                  .\VOL005\IMAGES\IMAGES001\00057722.pdf
00057724   00057725   5/17/2018 10:13 Attach   814035 Howland.htm                                    .\VOL005\IMAGES\IMAGES001\00057724.pdf
00057726   00057726   5/17/2018 12:29 Email    FW: Letters                                           .\VOL005\IMAGES\IMAGES001\00057726.pdf
00057727   00057727   5/18/2018 12:21 Email    MDOT SHA I‐495 MLS Section 106 comments               .\VOL005\IMAGES\IMAGES001\00057727.pdf
                                               SHA MLS Parks comments on Preliminary APE May 18
00057728   00057730   5/18/2018 12:21 Attach   2018.pdf                                              .\VOL005\IMAGES\IMAGES001\00057728.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Keenan‐
00057731   00057731   5/20/2018 14:20 Attach   signed.pdf                                            .\VOL005\IMAGES\IMAGES001\00057731.pdf
00057732   00057778   5/20/2018 14:37 Attach   AppD_Survey Results.pdf                               .\VOL005\IMAGES\IMAGES001\00057732.pdf
00057779   00057839   5/20/2018 14:37 Attach   AppE_Public Comments.pdf                              .\VOL005\IMAGES\IMAGES001\00057779.pdf
00057840   00057853   5/20/2018 14:37 Attach   AppF_Agency Coordination Plan.pdf                     .\VOL005\IMAGES\IMAGES001\00057840.pdf
00057854   00057872   5/20/2018 14:37 Attach   AppG_Agency Scoping Comments.pdf                      .\VOL005\IMAGES\IMAGES001\00057854.pdf
00057873   00057873   5/20/2018 15:35 Email    I‐495 & I‐270 Managed Lanes Study                     .\VOL005\IMAGES\IMAGES001\00057873.pdf
                                               I‐495 & I‐270 MLS Purpose and Need Concurrence
00057874   00057874   5/20/2018 15:35 Attach   Form.doc                                              .\VOL005\IMAGES\IMAGES001\00057874.pdf
                                               I‐495 & I‐270 MLS Agency Coordination Plan
00057875   00057875   5/20/2018 15:35 Attach   Concurrence Form.doc                                  .\VOL005\IMAGES\IMAGES001\00057875.pdf
                                               I‐495 & I‐270 Managed Lanes Study; Concurrence
00057876   00057876   5/20/2018 15:41 Email    Forms                                                 .\VOL005\IMAGES\IMAGES001\00057876.pdf
00057877   00057877   5/21/2018 11:48 Email    I‐495 & I‐270 Traffic Modeling Meeting No. 5.pdf      .\VOL005\IMAGES\IMAGES001\00057877.pdf
                                               _9 I‐495_I‐270 Comment Database_Scoping Period
00057878   00057878   5/22/2018 11:05 Attach   through 5‐1‐18.xlsx                                   .\VOL005\IMAGES\IMAGES001\00057878.pdf    .\VOL005\NATIVES\NATIVES001\00057878.xlsx
                                               I‐495 & 270 EIS Purpose & Need Statement: JB
00057879   00057879   5/22/2018 11:06 Email    Andrews ‐ No Comment                                  .\VOL005\IMAGES\IMAGES001\00057879.pdf
00057880   00057880   5/22/2018 11:06 Attach   JBA No Comment ‐ Purpose Need Errata.pdf              .\VOL005\IMAGES\IMAGES001\00057880.pdf
00057881   00057882   5/22/2018 13:54 Email    I‐495 & I‐270 FHWA Coordination Meeting               .\VOL005\IMAGES\IMAGES001\00057881.pdf
00057883   00057883   5/22/2018 13:54 Attach   2018‐06‐05 FHWA Coordination Mtg Agenda.pdf           .\VOL005\IMAGES\IMAGES001\00057883.pdf
00057884   00057885   5/22/2018 15:56 Email    I‐495 & I‐270 MLS Air Quality Analysis Protocol       .\VOL005\IMAGES\IMAGES001\00057884.pdf
00057886   00057887   5/22/2018 16:37 Email    I‐495 & I‐270 Managed Lanes Study                     .\VOL005\IMAGES\IMAGES001\00057886.pdf
                                               I‐495 & I‐270 Managed Lanes Study IAWG Key
00057888   00057891   5/22/2018 16:37 Attach   Notes_2018‐03‐14.pdf                                  .\VOL005\IMAGES\IMAGES001\00057888.pdf
                                               I‐495 & I‐270 Managed Lanes Study IAWG Key
00057892   00057895   5/22/2018 16:37 Attach   Notes_2018‐04‐12.pdf                                  .\VOL005\IMAGES\IMAGES001\00057892.pdf
00057896   00057897   5/22/2018 16:37 Attach   TERP summary II.pdf                                   .\VOL005\IMAGES\IMAGES001\00057896.pdf

00057898   00057902   5/22/2018 16:37 Attach   Appendix A to the Purpose and Need Statement.pdf       .\VOL005\IMAGES\IMAGES001\00057898.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
00057903   00057915   5/22/2018 16:37 Attach   Coordination Plan_FINAL_2018‐05‐16.pdf                 .\VOL005\IMAGES\IMAGES001\00057903.pdf
                                               I‐495 & I‐270 MLS Agency Coordination Plan
00057916   00057916   5/22/2018 16:37 Attach   Concurrence Form.doc                                   .\VOL005\IMAGES\IMAGES001\00057916.pdf
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                                               I‐495 & I‐270 MLS Purpose and Need Concurrence
00057917   00057917   5/22/2018 16:37 Attach   Form.doc                                              .\VOL005\IMAGES\IMAGES001\00057917.pdf
00057918   00057919   5/22/2018 16:37 Email    I‐495 & I‐270 Managed Lanes Study                     .\VOL005\IMAGES\IMAGES001\00057918.pdf
00057920   00057922   5/22/2018 17:06 Email    RE: I‐495 & I‐270 Managed Lanes Study                 .\VOL005\IMAGES\IMAGES001\00057920.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Cooperating
00057923   00057926   5/22/2018 17:06 Attach   Agency Invitation_USDA BAR....pdf                     .\VOL005\IMAGES\IMAGES001\00057923.pdf
00057927   00057928   5/22/2018 17:32 Email    I‐495 & I‐270 Managed Lanes Study                     .\VOL005\IMAGES\IMAGES001\00057927.pdf
                                               FHWA NO ACTION REQUIRED: Tribal Notification for I‐
00057929   00057930   5/22/2018 17:42 Email    495/I‐270 Managed Lanes Study                         .\VOL005\IMAGES\IMAGES001\00057929.pdf
                                               FHWA ACTION REQUIRED by 5/24/18: ACHP
00057931   00057932   5/22/2018 17:44 Email    Notification for I‐495/I‐270 Managed Lanes Study      .\VOL005\IMAGES\IMAGES001\00057931.pdf
00057933   00057940   5/22/2018 17:44 Attach   AT1 e106 Instructions and form FINAL‐X.doc            .\VOL005\IMAGES\IMAGES001\00057933.pdf
00057941   00057943   5/23/2018 13:24 Email    RE: I‐495 & I‐270 Managed Lanes Study                 .\VOL005\IMAGES\IMAGES001\00057941.pdf
00057944   00057945   5/23/2018 16:10 Email    RE: I‐495/I‐270 Managed Lanes Study                   .\VOL005\IMAGES\IMAGES001\00057944.pdf
                                               FW_ I‐495 & I‐270 MLS Air Quality Analysis
00057946   00057946   5/24/2018 10:11 Email    Prot...(1).pdf                                        .\VOL005\IMAGES\IMAGES001\00057946.pdf

00057947   00057954   5/24/2018 10:11 Attach   I‐495 & I‐270 Managed Lanes Study_Draft Air Q.docx    .\VOL005\IMAGES\IMAGES001\00057947.pdf
                                               RE_ I‐495 & I‐270 MLS Air Quality Analysis
00057955   00057956   5/24/2018 10:31 Email    Prot...(4).pdf                                        .\VOL005\IMAGES\IMAGES001\00057955.pdf
00057957   00057957   5/24/2018 16:42 Email    RE: I‐495 & I‐270 Managed Lanes Study                 .\VOL005\IMAGES\IMAGES001\00057957.pdf
00057958   00057983   5/24/2018 17:04 Edoc     MDOT SHA 495 270 IWAG‐03.14.18_Draft4.pptx            .\VOL005\IMAGES\IMAGES001\00057958.pdf
00057984   00057985   5/24/2018 18:00 Email    RE: Draft letter to Virginia Tribes                   .\VOL005\IMAGES\IMAGES001\00057984.pdf
00057986   00057986   5/24/2018 18:04 Email    I‐495_I‐270 MLS Project.pdf                           .\VOL005\IMAGES\IMAGES001\00057986.pdf
00057987   00057988    5/25/2018 8:14 Email    RE: I‐495 & I‐270 Managed Lanes Study                 .\VOL005\IMAGES\IMAGES001\00057987.pdf
00057989   00057990    5/25/2018 8:14 Attach   P&N Coordination Plan‐05‐25‐010815.pdf                .\VOL005\IMAGES\IMAGES001\00057989.pdf
00057991   00057991    5/25/2018 9:10 Email    I‐495 & I‐270 MLS Agency Coordination Plan            .\VOL005\IMAGES\IMAGES001\00057991.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study; Agency
00057992   00057993    5/25/2018 9:24 Email    Coordination Plan                                     .\VOL005\IMAGES\IMAGES001\00057992.pdf
00057994   00057994    5/25/2018 9:24 Attach   [Untitled].pdf                                        .\VOL005\IMAGES\IMAGES001\00057994.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study; Agency
00057995   00057996    5/25/2018 9:24 Email    Coordination Plan                                     .\VOL005\IMAGES\IMAGES001\00057995.pdf
00057997   00057998   5/25/2018 11:25 Email    RE: I‐495 & I‐270 MLS Agency Coordination Plan        .\VOL005\IMAGES\IMAGES001\00057997.pdf
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00058000   00058000   5/25/2018 12:44 Email    Re: P&N for I‐495/I‐270 MLS project                   .\VOL005\IMAGES\IMAGES001\00058000.pdf
                                               I‐495 & I‐270 MLS Updated P&N Errata to Reflect
00058001   00058024   5/25/2018 12:44 Attach   FHWA Comments_5‐25‐18.docx                            .\VOL005\IMAGES\IMAGES001\00058001.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Purpose and
00058025   00058064   5/25/2018 12:44 Attach   Need _05‐25‐2018.docx                                 .\VOL005\IMAGES\IMAGES001\00058025.pdf

00058065   00058065   5/25/2018 15:01 Email    I‐495 & I‐270 MLS FHWA Coordination Mtg Minutes       .\VOL005\IMAGES\IMAGES001\00058065.pdf
                                               I‐495 & I‐270 Managed Lanes Study Interagency
00058066   00058067   5/29/2018 15:13 Email    Working Group Meeting Material                        .\VOL005\IMAGES\IMAGES001\00058066.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting
00058068   00058068   5/29/2018 15:13 Attach   Agenda_June 13 2018.pdf                               .\VOL005\IMAGES\IMAGES001\00058068.pdf
                                               I‐495 & I‐270 Managed Lanes Study IAWG Key
00058069   00058072   5/29/2018 15:13 Attach   Notes_2018‐05‐16.pdf                                  .\VOL005\IMAGES\IMAGES001\00058069.pdf
                                               I‐495 & I‐270 MLS Agency Coordination Plan
00058073   00058073   5/29/2018 15:13 Attach   Concurrence Form.pdf                                  .\VOL005\IMAGES\IMAGES001\00058073.pdf
00058074   00058074    5/30/2018 9:04 Email    Concurrence Forms                                     .\VOL005\IMAGES\IMAGES001\00058074.pdf
00058075   00058076    5/30/2018 9:04 Attach   img‐530090459‐0001.pdf                                .\VOL005\IMAGES\IMAGES001\00058075.pdf
00058077   00058078   5/30/2018 12:46 Email    RE: I‐495 & I‐270 MLS Agency Coordination Plan        .\VOL005\IMAGES\IMAGES001\00058077.pdf
00058079   00058079   5/30/2018 12:46 Attach   FRA Response 5‐30‐18.pdf                              .\VOL005\IMAGES\IMAGES001\00058079.pdf
00058080   00058080    5/31/2018 9:41 Email    Federal Properties                                    .\VOL005\IMAGES\IMAGES001\00058080.pdf
                                               MDOT SHA I‐495 & I‐270 Managed Lanes Study
00058081   00058081   5/31/2018 10:07 Email    OpenHouse meetings                                    .\VOL005\IMAGES\IMAGES001\00058081.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Inciardi
00058082   00058082   5/31/2018 10:07 Attach   Response_5‐31‐2018‐signed.pdf                         .\VOL005\IMAGES\IMAGES001\00058082.pdf
                                               MDOT SHA I‐495 & I‐270 Managed Lanes Study
00058083   00058083   5/31/2018 10:09 Email    OpenHouse meetings                                    .\VOL005\IMAGES\IMAGES001\00058083.pdf
                                               RE: MDOT SHA I‐495 and I‐270 Managed Lane Study
00058084   00058086   5/31/2018 15:42 Attach   (MLS) Public‐Private Partnership (P3)                 .\VOL005\IMAGES\IMAGES001\00058084.pdf
00058087   00058087    6/1/2018 12:51 Attach   PG6985280 Final Review Comments                       .\VOL005\IMAGES\IMAGES001\00058087.pdf
                                               I‐495/I‐270 Managed Lanes Study ‐ Purpose & Need
00058088   00058088    6/1/2018 13:21 Email    Statement Concurrence                                 .\VOL005\IMAGES\IMAGES001\00058088.pdf
00058089   00058089    6/3/2018 17:15 Email    MDOT SHA I‐‐495 & I‐270 P3 Program                    .\VOL005\IMAGES\IMAGES001\00058089.pdf
00058090   00058090    6/3/2018 17:15 Attach   2018‐06‐01_Lantian.pdf                                .\VOL005\IMAGES\IMAGES001\00058090.pdf
                                               RE: I‐495/I‐270 Managed Lanes Study FHWA/MDOT
00058091   00058092    6/4/2018 10:15 Email    SHA Coordination Meeting                              .\VOL005\IMAGES\IMAGES001\00058091.pdf
00058093   00058094    6/4/2018 10:53 Email    FW: Maryland SHA EDC5 Contact                         .\VOL005\IMAGES\IMAGES001\00058093.pdf
00058095   00058095    6/4/2018 18:16 Email    I‐495 & I‐270 MLS: Property Access                    .\VOL005\IMAGES\IMAGES001\00058095.pdf
00058096   00058096    6/4/2018 18:16 Attach   JBA_Areas in Corridor Boundary.pdf                    .\VOL005\IMAGES\IMAGES001\00058096.pdf
00058097   00058097    6/5/2018 13:58 Email    I‐495 & I‐270 MLS Logical Termini Discussion          .\VOL005\IMAGES\IMAGES001\00058097.pdf
00058098   00058098    6/5/2018 15:01 Email    RE: NEPA Study along I‐495 and I‐270                  .\VOL005\IMAGES\IMAGES001\00058098.pdf
00058099   00058099    6/5/2018 15:01 Attach   smime.p7s                                             .\VOL005\IMAGES\IMAGES001\00058099.pdf   .\VOL005\NATIVES\NATIVES001\00058099.p7s
00058100   00058101    6/5/2018 16:14 Email    FW: NEPA Study along I‐495 and I‐270                  .\VOL005\IMAGES\IMAGES001\00058100.pdf

00058102   00058103    6/5/2018 16:53 Email    RE: PLC ‐ Project AW518_11 ‐ Web user comments        .\VOL005\IMAGES\IMAGES001\00058102.pdf

00058104   00058105    6/5/2018 16:55 Email    RE: PLC ‐ Project AW518_11 ‐ Web user comments        .\VOL005\IMAGES\IMAGES001\00058104.pdf

00058106   00058107    6/5/2018 16:57 Email    RE: PLC ‐ Project AW518_11 ‐ Web user comments        .\VOL005\IMAGES\IMAGES001\00058106.pdf

00058108   00058109    6/5/2018 17:00 Email    RE: PLC ‐ Project AW518_11 ‐ Web user comments        .\VOL005\IMAGES\IMAGES001\00058108.pdf
00058110   00058111    6/5/2018 17:57 Email    Purpose and Need                                      .\VOL005\IMAGES\IMAGES001\00058110.pdf

00058112   00058113    6/5/2018 18:00 Attach   RE: PLC ‐ Project AW518_11 ‐ Web user comments        .\VOL005\IMAGES\IMAGES001\00058112.pdf

00058114   00058115    6/6/2018 10:00 Email    I‐270/I‐495 P3 Project Overview, Maryland Division    .\VOL005\IMAGES\IMAGES001\00058114.pdf
00058116   00058116    6/6/2018 10:40 Email    Call Follow‐up/Meeting Invite                         .\VOL005\IMAGES\IMAGES001\00058116.pdf
                                               RE_ I‐270_I‐495 P3 Project Overview, Maryland
00058117   00058118    6/6/2018 10:55 Email    D...(1).pdf                                           .\VOL005\IMAGES\IMAGES001\00058117.pdf

00058119   00058143    6/6/2018 10:55 Attach   I‐495 & I‐270 MLS FHWA presentation_June 2018.pptx .\VOL005\IMAGES\IMAGES001\00058119.pdf
00058144   00058144    6/6/2018 10:55 Attach   [Unnamed Document]                                 .\VOL005\IMAGES\IMAGES001\00058144.pdf
00058145   00058145    6/6/2018 11:18 Email    I‐270/I‐495 AQ approach                            .\VOL005\IMAGES\IMAGES001\00058145.pdf
                                               I‐495 I‐270 Managed Lanes Study_Draft Air Quality
00058146   00058146    6/6/2018 12:24 Email    Analysis Methodology_May 2018 hepn                 .\VOL005\IMAGES\IMAGES001\00058146.pdf
00058147   00058147    6/6/2018 12:42 Email    FW_ I‐270_I‐495 AQ approach(2).pdf                 .\VOL005\IMAGES\IMAGES001\00058147.pdf
00058148   00058152    6/6/2018 14:04 Email    RE: I‐495 & I‐270 Managed Lanes Study              .\VOL005\IMAGES\IMAGES001\00058148.pdf
00058153   00058157    6/6/2018 14:55 Email    RE: I‐495 & I‐270 Managed Lanes Study              .\VOL005\IMAGES\IMAGES001\00058153.pdf
                                               RE_ Follow‐up on the I‐495 _ I‐270 Managed
00058158   00058159    6/6/2018 15:51 Edoc     Lane....pdf                                        .\VOL005\IMAGES\IMAGES001\00058158.pdf
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00058160   00058162    6/6/2018 15:51 Edoc     FW_ Conference call minutes [ 02_09_18 ] ‐ I‐27....pdf .\VOL005\IMAGES\IMAGES001\00058160.pdf
00058163   00058164    6/6/2018 17:23 Email    RE: Purpose and Need                                   .\VOL005\IMAGES\IMAGES001\00058163.pdf
00058165   00058167    6/6/2018 17:45 Email    Re: Purpose and Need                                   .\VOL005\IMAGES\IMAGES001\00058165.pdf
                                               MLS__P&N_AgencyConcurrence_ErrataSheet_5‐25‐
00058168   00058193    6/6/2018 17:45 Attach   2018.docx                                              .\VOL005\IMAGES\IMAGES001\00058168.pdf
                                               Fwd: REsponse to MDOT's I‐495 & I‐270 MANAGED
00058194   00058194    6/6/2018 18:10 Email    LANES STUDY.                                           .\VOL005\IMAGES\IMAGES001\00058194.pdf
00058195   00058195     6/7/2018 9:14 Email    RE: I‐495 I‐270 Project in MD                          .\VOL005\IMAGES\IMAGES001\00058195.pdf
00058196   00058196    6/7/2018 10:14 Email    RE_ I‐495 I‐270 Project in MD(1).pdf                   .\VOL005\IMAGES\IMAGES001\00058196.pdf
                                               RE: REsponse to MDOT's I‐495 & I‐270 MANAGED
00058197   00058198    6/7/2018 14:56 Email    LANES STUDY.                                           .\VOL005\IMAGES\IMAGES001\00058197.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Simms_2018‐06‐
00058199   00058200    6/7/2018 14:56 Attach   07‐signed.pdf                                          .\VOL005\IMAGES\IMAGES001\00058199.pdf
00058201   00058201    6/7/2018 15:28 Email    RE: Managed Lanes Study                                .\VOL005\IMAGES\IMAGES001\00058201.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Kaplan_2018‐06‐
00058202   00058202    6/7/2018 15:28 Attach   07.pdf                                                 .\VOL005\IMAGES\IMAGES001\00058202.pdf
00058203   00058203    6/7/2018 17:12 Email    I‐495 & I‐270 Managed Lanes Study                      .\VOL005\IMAGES\IMAGES001\00058203.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Mourat_2018‐06‐
00058204   00058204    6/7/2018 17:12 Attach   07‐signed.pdf                                          .\VOL005\IMAGES\IMAGES001\00058204.pdf
00058205   00058205    6/7/2018 17:13 Email    FW: I‐495 & I‐270 Managed Lanes Study                  .\VOL005\IMAGES\IMAGES001\00058205.pdf
00058206   00058206    6/7/2018 17:18 Email    I‐495 & I‐270 Managed Lanes Study                      .\VOL005\IMAGES\IMAGES001\00058206.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Nelson‐
00058207   00058208    6/7/2018 17:18 Attach   Drake_2018‐6‐6‐signed.pdf                              .\VOL005\IMAGES\IMAGES001\00058207.pdf
00058209   00058209    6/7/2018 17:20 Email    I‐495 & I‐270 Managed Lanes Study                      .\VOL005\IMAGES\IMAGES001\00058209.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Taylor_2018‐06‐
00058210   00058211    6/7/2018 17:20 Attach   07‐signed.pdf                                          .\VOL005\IMAGES\IMAGES001\00058210.pdf
00058212   00058214    6/7/2018 17:37 Email    RE: Purpose and Need                                   .\VOL005\IMAGES\IMAGES001\00058212.pdf
00058215   00058217    6/7/2018 18:10 Email    Re: Purpose and Need                                   .\VOL005\IMAGES\IMAGES001\00058215.pdf
                                               I‐495 & I‐270 MLS Purpose and Need
00058218   00058219    6/7/2018 18:10 Attach   Concurrence_NCPC.pdf                                   .\VOL005\IMAGES\IMAGES001\00058218.pdf
                                               I495‐I270 Purpose and Need_MC Parks Response
00058220   00058221    6/7/2018 18:10 Attach   5.31.2018.pdf                                          .\VOL005\IMAGES\IMAGES001\00058220.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
00058222   00058234    6/7/2018 18:10 Attach   Coordination Plan_FINAL_2018‐05‐16.pdf                 .\VOL005\IMAGES\IMAGES001\00058222.pdf
00058235   00058238    6/7/2018 18:10 Email    Re: Purpose and Need                                   .\VOL005\IMAGES\IMAGES001\00058235.pdf

00058239   00058240    6/7/2018 19:31 Email    FW_ I‐495 & I‐270 MLS Air Quality Analysis Prot....pdf   .\VOL005\IMAGES\IMAGES001\00058239.pdf
                                               I‐495/I‐270 Managed Lanes Study FHWA/MDOT SHA
00058241   00058241     6/8/2018 7:38 Email    Coordination Meeting Notes                               .\VOL005\IMAGES\IMAGES001\00058241.pdf

00058242   00058244     6/8/2018 7:38 Attach   2018‐06‐05 FHWA Coordination Meeting_Notes.pdf           .\VOL005\IMAGES\IMAGES001\00058242.pdf

00058245   00058246     6/8/2018 8:37 Email    RE: M‐NCPPC/MLS P3 Parks Coordination Meeting            .\VOL005\IMAGES\IMAGES001\00058245.pdf
                                               RE_ I‐495 & I‐270 MLS Air Quality Analysis
00058247   00058248     6/8/2018 9:08 Email    Prot...(3).pdf                                           .\VOL005\IMAGES\IMAGES001\00058247.pdf
                                               RE_ I‐495 & I‐270 MLS Air Quality Analysis
00058249   00058250     6/8/2018 9:46 Email    Prot...(2).pdf                                           .\VOL005\IMAGES\IMAGES001\00058249.pdf
00058251   00058253    6/8/2018 10:01 Email    RE_ I‐270_I‐495 AQ approach(1).pdf                       .\VOL005\IMAGES\IMAGES001\00058251.pdf
                                               RE_ I‐495 & I‐270 MLS Air Quality Analysis
00058254   00058255    6/8/2018 16:30 Email    Prot...(1).pdf                                           .\VOL005\IMAGES\IMAGES001\00058254.pdf

00058256   00058257    6/8/2018 16:35 Email    FW_ I‐495 & I‐270 MLS Air Quality Analysis Prot....pdf   .\VOL005\IMAGES\IMAGES001\00058256.pdf

                                               I‐495 & I‐270 Managed Lanes Study; Conceptual Draft
00058258   00058259    6/8/2018 17:13 Email    Purpose and Need Chapter and Need Justification     .\VOL005\IMAGES\IMAGES001\00058258.pdf

00058260   00058262    6/8/2018 17:16 Email    RE_ I‐495 & I‐270 MLS Air Quality Analysis Prot....pdf   .\VOL005\IMAGES\IMAGES001\00058260.pdf
00058263   00058263   6/10/2018 16:25 Email    FHWA Comments Needed                                     .\VOL005\IMAGES\IMAGES001\00058263.pdf
00058264   00058264    6/11/2018 8:39 Email    I‐495 & I‐270 MLS; Public Involvement Plan               .\VOL005\IMAGES\IMAGES001\00058264.pdf
                                               I‐495/I‐270 Existing Traffic Files + 2040 Volumes
00058265   00058266    6/11/2018 8:50 Email    Question                                                 .\VOL005\IMAGES\IMAGES001\00058265.pdf

00058267   00058268    6/11/2018 9:50 Email    I‐495_I‐270 Existing Traffic Files + 2040 Volum....pdf   .\VOL005\IMAGES\IMAGES001\00058267.pdf
00058269   00058269    6/11/2018 9:50 Attach   Future No‐Build Volume Comparisons.xlsx                  .\VOL005\IMAGES\IMAGES001\00058269.pdf   .\VOL005\NATIVES\NATIVES001\00058269.xlsx
00058270   00058270   6/11/2018 13:49 Email    Upcoming Policy update ‐ HOV to ETL                      .\VOL005\IMAGES\IMAGES001\00058270.pdf
00058271   00058271   6/11/2018 14:10 Email    I‐495/I‐270 MLS project schedule                         .\VOL005\IMAGES\IMAGES001\00058271.pdf
00058272   00058272   6/11/2018 14:10 Attach   NEPA P3 schedule.pdf                                     .\VOL005\IMAGES\IMAGES001\00058272.pdf
00058273   00058274   6/11/2018 16:06 Email    RE: FHWA Comments Needed                                 .\VOL005\IMAGES\IMAGES001\00058273.pdf
00058275   00058275    6/12/2018 7:03 Email    RE: Upcoming Policy update ‐ HOV to ETL                  .\VOL005\IMAGES\IMAGES001\00058275.pdf
00058276   00058276   6/12/2018 10:43 Email    RE: Agenda Additional                                    .\VOL005\IMAGES\IMAGES001\00058276.pdf
00058277   00058277   6/12/2018 10:43 Attach   NEPA Schedule_6‐12‐2018.pdf                              .\VOL005\IMAGES\IMAGES001\00058277.pdf
00058278   00058278   6/12/2018 10:43 Attach   I‐495_I‐270 Study_NPS Resource Map.pdf                   .\VOL005\IMAGES\IMAGES001\00058278.pdf
                                               I‐495 & I‐270 MLS NPS and MDOT SHA Coordination
00058279   00058279   6/12/2018 10:43 Attach   Meeting Agenda_06‐12‐2018.docx                           .\VOL005\IMAGES\IMAGES001\00058279.pdf
00058280   00058280   6/12/2018 10:49 Email    FW: I‐495 & I‐270 MLS; Public Involvement Plan           .\VOL005\IMAGES\IMAGES001\00058280.pdf
                                               I‐495 I‐270 PublicInvolvementPlan_06‐11‐
00058281   00058284   6/12/2018 10:49 Attach   2018_FINAL.docx                                          .\VOL005\IMAGES\IMAGES001\00058281.pdf

                                               I‐495 & I‐270 Managed Lanes Study; Conceptual Draft
00058285   00058287   6/12/2018 13:52 Email    Purpose and Need Chapter and Need Justification     .\VOL005\IMAGES\IMAGES001\00058285.pdf

00058288   00058289   6/12/2018 15:24 Email    FW_ I‐495 & I‐270 MLS Logical Termini Discussion.pdf .\VOL005\IMAGES\IMAGES001\00058288.pdf
00058290   00058290   6/12/2018 16:30 Email    Logical Termini comments.pdf                         .\VOL005\IMAGES\IMAGES001\00058290.pdf
00058291   00058292   6/12/2018 18:08 Email    Revised Scoping Report                               .\VOL005\IMAGES\IMAGES001\00058291.pdf
                                               495_270 DRAFT Scoping Report_06‐12‐18_FHWA
00058293   00058309   6/12/2018 18:08 Attach   Response.docx                                        .\VOL005\IMAGES\IMAGES001\00058293.pdf
00058310   00058403   6/12/2018 18:08 Attach   AppE_Public Comments_Rev.pdf                         .\VOL005\IMAGES\IMAGES001\00058310.pdf
00058404   00058404   6/12/2018 19:28 Email    cment on June 11 Public Meetimg                      .\VOL005\IMAGES\IMAGES001\00058404.pdf
00058405   00058405    6/13/2018 8:09 Email    NPS comments                                         .\VOL005\IMAGES\IMAGES001\00058405.pdf
00058406   00058407   6/13/2018 13:21 Email    RE: I‐495 & I‐270 MLS Logical Termini Discussion     .\VOL005\IMAGES\IMAGES001\00058406.pdf
                                               DRAFT I‐495 I‐270 MLS Logical Termini_060518 KPBJJM
00058408   00058417   6/13/2018 13:21 Attach   comments.docx                                        .\VOL005\IMAGES\IMAGES001\00058408.pdf
00058418   00058419   6/13/2018 13:21 Email    RE: I‐495 & I‐270 MLS Logical Termini Discussion     .\VOL005\IMAGES\IMAGES001\00058418.pdf
                                               I‐495 I‐270 PublicInvolvementPlan_06‐11‐
00058420   00058423   6/14/2018 15:27 Attach   2018_FINAL.docx                                      .\VOL005\IMAGES\IMAGES001\00058420.pdf
                                               I‐495 & I‐270 MLS FHWA Coordination Meeting
00058424   00058424   6/15/2018 10:20 Email    Agenda 6.18.19                                       .\VOL005\IMAGES\IMAGES001\00058424.pdf
00058425   00058425    6/18/2018 9:01 Email    NEPA Schedule                                        .\VOL005\IMAGES\IMAGES001\00058425.pdf
00058426   00058426    6/18/2018 9:01 Attach   DRAFT DETAILED Schedule_061518.xlsx                  .\VOL005\IMAGES\IMAGES001\00058426.pdf       .\VOL005\NATIVES\NATIVES001\00058426.xlsx
                                               FW: I‐495 & I‐270 MLS FHWA Coordination Meeting
00058427   00058428   6/18/2018 12:39 Email    Agenda 6.18.19                                       .\VOL005\IMAGES\IMAGES001\00058427.pdf
                                               495/270 MLS MHT Initiation letter and concurrence
00058429   00058429   6/18/2018 13:29 Email    sheet                                                .\VOL005\IMAGES\IMAGES001\00058429.pdf
00058430   00058431   6/18/2018 15:44 Email    RE: I‐495 & I‐270 MLS; Public Involvement Plan       .\VOL005\IMAGES\IMAGES001\00058430.pdf
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00058432   00058433   6/18/2018 15:44 Email    RE: I‐495 & I‐270 MLS; Public Involvement Plan           .\VOL005\IMAGES\IMAGES001\00058432.pdf
                                               RE_ I‐270_I‐495 P3 Project Overview, Maryland
00058434   00058436   6/18/2018 16:20 Email    D....pdf                                                 .\VOL005\IMAGES\IMAGES001\00058434.pdf

00058437   00058437   6/18/2018 16:31 Email    Canceled_ I‐495 & I‐270 Traffic Modeling Meetin....pdf .\VOL005\IMAGES\IMAGES001\00058437.pdf
                                               FW_ I‐495 & I‐270 MLS FHWA Coordination
00058438   00058439   6/18/2018 16:37 Email    Meeting....pdf                                         .\VOL005\IMAGES\IMAGES001\00058438.pdf

00058440   00058440   6/18/2018 16:37 Attach   2018‐06‐19 FHWA Coordination Mtg Agenda.docx             .\VOL005\IMAGES\IMAGES001\00058440.pdf
00058441   00058442    6/19/2018 9:44 Edoc     I‐495_I‐270_Postcard_Insert_9x6_2018_6_19.pdf            .\VOL005\IMAGES\IMAGES001\00058441.pdf

00058443   00058443    6/19/2018 9:46 Edoc     I‐495_I‐270_Print_Ad_10.25x5_PGS_2018_6_19.pdf           .\VOL005\IMAGES\IMAGES001\00058443.pdf
00058444   00058449   6/19/2018 12:35 Attach   2015.12.16 Knudsen to Hogan I‐270 Spur HOT.pdf           .\VOL005\IMAGES\IMAGES001\00058444.pdf

00058450   00058451   6/19/2018 12:41 Email    I‐495 & I‐270 Managed Lanes Study; Status Update         .\VOL005\IMAGES\IMAGES001\00058450.pdf
00058452   00058454   6/19/2018 13:18 Edoc     I‐495_I‐270_Newletter_2018‐06‐19V1.pdf                   .\VOL005\IMAGES\IMAGES001\00058452.pdf
00058455   00058455   6/19/2018 16:18 Email    July Public Workshops                                    .\VOL005\IMAGES\IMAGES001\00058455.pdf
00058456   00058461   6/19/2018 16:18 Attach   2018‐06‐18 PublicWorkshopEventPlan.docx                  .\VOL005\IMAGES\IMAGES001\00058456.pdf

00058462   00058462   6/19/2018 17:14 Email    Emailing: Interstate Access Approval Process.docx        .\VOL005\IMAGES\IMAGES001\00058462.pdf
00058463   00058467   6/19/2018 17:14 Attach   Interstate Access Approval Process.docx                  .\VOL005\IMAGES\IMAGES001\00058463.pdf
                                               FW: Request: Staff Technical Support on Maryland I‐
00058468   00058469   6/19/2018 18:22 Email    295/I‐495 P3 Project                                     .\VOL005\IMAGES\IMAGES001\00058468.pdf
                                               I‐495 & I‐270_0 Winding Rose Dr_Acct
00058470   00058471    6/20/2018 9:39 Attach   02930851_CityOfRockville_Denied.pdf                      .\VOL005\IMAGES\IMAGES001\00058470.pdf
                                               Re: I‐495 & I‐270 Interagency Working Group (IAWG)
00058472   00058473   6/20/2018 12:37 Email    Meeting                                                  .\VOL005\IMAGES\IMAGES001\00058472.pdf
00058474   00058475   6/20/2018 13:02 Email    FW: SHA's Position Paper ‐ HOV and ETL                   .\VOL005\IMAGES\IMAGES001\00058474.pdf
00058476   00058477   6/20/2018 13:02 Email    FW: SHA's Position Paper ‐ HOV and ETL                   .\VOL005\IMAGES\IMAGES001\00058476.pdf
00058478   00058479   6/20/2018 13:20 Email    RE: SHA's Position Paper ‐ HOV and ETL                   .\VOL005\IMAGES\IMAGES001\00058478.pdf
00058480   00058481   6/20/2018 13:20 Email    RE: SHA's Position Paper ‐ HOV and ETL                   .\VOL005\IMAGES\IMAGES001\00058480.pdf
00058482   00058482   6/20/2018 13:46 Email    FW: Preliminary Range of Alternatives                    .\VOL005\IMAGES\IMAGES001\00058482.pdf
00058483   00058505   6/20/2018 14:36 Attach   MLS_NPS ARPA Permit_Signed.pdf                           .\VOL005\IMAGES\IMAGES001\00058483.pdf
                                               Fw: MDOT SHA I‐495 & I‐270 Managed Lanes Study
00058506   00058507   6/20/2018 14:36 Email    Archaeological Study on NPS Properties                   .\VOL005\IMAGES\IMAGES001\00058506.pdf
00058508   00058509   6/20/2018 14:51 Email    RE: SHA's Position Paper ‐ HOV and ETL                   .\VOL005\IMAGES\IMAGES001\00058508.pdf
00058510   00058511   6/20/2018 15:14 Email    RE: SHA's Position Paper ‐ HOV and ETL                   .\VOL005\IMAGES\IMAGES001\00058510.pdf
00058512   00058514   6/20/2018 15:30 Attach   I‐270HOV Conversion.docx                                 .\VOL005\IMAGES\IMAGES001\00058512.pdf
00058515   00058517   6/20/2018 15:30 Email    FW: SHA's Position Paper ‐ HOV and ETL                   .\VOL005\IMAGES\IMAGES001\00058515.pdf
00058518   00058519   6/20/2018 15:43 Email    RE: SHA's Position Paper ‐ HOV and ETL                   .\VOL005\IMAGES\IMAGES001\00058518.pdf
00058520   00058521   6/20/2018 15:53 Email    RE: I‐270 HOV Conversion Request                         .\VOL005\IMAGES\IMAGES001\00058520.pdf
00058522   00058525   6/20/2018 16:07 Email    RE: HQ Request HOV Conversion in MD                      .\VOL005\IMAGES\IMAGES001\00058522.pdf
00058526   00058529   6/20/2018 16:19 Email    RE: HQ Request HOV Conversion in MD                      .\VOL005\IMAGES\IMAGES001\00058526.pdf
00058530   00058531   6/20/2018 16:28 Attach   Mengering_Response.pdf                                   .\VOL005\IMAGES\IMAGES001\00058530.pdf
00058532   00058535   6/21/2018 12:36 Attach   Navy_Partic_agencies_letter.pdf                          .\VOL005\IMAGES\IMAGES001\00058532.pdf
00058536   00058538   6/21/2018 17:45 Email    Re: I‐495/I‐270 MLS project                              .\VOL005\IMAGES\IMAGES001\00058536.pdf
00058539   00058539    6/22/2018 8:55 Attach   Duncan 814653 Incoming.pdf                               .\VOL005\IMAGES\IMAGES001\00058539.pdf

00058540   00058542   6/22/2018 14:35 Edoc     I‐495_I‐270_Vertical_Newletter_2018‐06‐22V3.pdf          .\VOL005\IMAGES\IMAGES001\00058540.pdf
00058543   00058543   6/22/2018 14:39 Edoc     Laurel Leader Print Ad‐ July 2018 Meetings.pdf           .\VOL005\IMAGES\IMAGES001\00058543.pdf
00058544   00058544   6/22/2018 14:39 Edoc     Howard County Times Print Ad‐ July 2018.pdf              .\VOL005\IMAGES\IMAGES001\00058544.pdf
00058545   00058545   6/22/2018 14:41 Edoc     Prince Georges Sentinel Print Ad‐ July 2018.pdf          .\VOL005\IMAGES\IMAGES001\00058545.pdf
00058546   00058546   6/22/2018 14:42 Edoc     El Tiempo Latino_English_Print Ad‐ July 2018.pdf         .\VOL005\IMAGES\IMAGES001\00058546.pdf

00058547   00058547   6/22/2018 14:43 Edoc     Washington Hispanic_English_Print Ad‐ July 2‐18.pdf      .\VOL005\IMAGES\IMAGES001\00058547.pdf
00058548   00058548   6/22/2018 15:01 Edoc     Frederick News‐Post Print Ad‐ July 2018.pdf              .\VOL005\IMAGES\IMAGES001\00058548.pdf
                                               FINAL‐APPROVED‐Press‐Release_for‐July‐Open‐
00058549   00058551   6/22/2018 16:28 Edoc     Houses.pdf                                               .\VOL005\IMAGES\IMAGES001\00058549.pdf
00058552   00058554    6/27/2018 9:29 Edoc     I‐495_I‐270_Newletter_Spreads_June 2018.pdf              .\VOL005\IMAGES\IMAGES001\00058552.pdf
                                               FW: Request for information on the upcoming
00058555   00058557    6/27/2018 9:51 Email    495&270 P3 Public Meeting                                .\VOL005\IMAGES\IMAGES001\00058555.pdf

00058558   00058559   6/27/2018 10:44 Edoc     I‐495_I‐270 Washington Post PC Insert_July2018.pdf       .\VOL005\IMAGES\IMAGES001\00058558.pdf

00058560   00058560   6/27/2018 10:56 Email    RE: Emailing: Interstate Access Approval Process.docx    .\VOL005\IMAGES\IMAGES001\00058560.pdf
00058561   00058562   6/27/2018 12:00 Email    RE: Commission Meeting                                   .\VOL005\IMAGES\IMAGES001\00058561.pdf
                                               I‐495 & I‐270 Managed Lanes Study; Newsletter and
00058563   00058564   6/27/2018 12:06 Email    Upcoming July Workshops                                  .\VOL005\IMAGES\IMAGES001\00058563.pdf
00058565   00058567    6/28/2018 8:41 Email    RE: Purpose and Need                                     .\VOL005\IMAGES\IMAGES001\00058565.pdf
                                               FW: Request for information on the upcoming
00058568   00058571   6/28/2018 16:35 Email    495&270 P3 Public Meeting                                .\VOL005\IMAGES\IMAGES001\00058568.pdf
                                               I‐495 & I‐270 Traffic Modeling Meeting No. 5 ‐
00058572   00058572    6/29/2018 8:38 Email    Rescheduled                                              .\VOL005\IMAGES\IMAGES001\00058572.pdf

00058573   00058573    6/29/2018 9:38 Email    I‐495 & I‐270 Traffic Modeling Meeting No. 5 ‐ ....pdf   .\VOL005\IMAGES\IMAGES001\00058573.pdf
00058574   00058574   6/29/2018 16:32 Email    Purpose and Need                                         .\VOL005\IMAGES\IMAGES001\00058574.pdf
00058575   00058575    7/2/2018 10:51 Edoc     I495 I270 Display Right‐of‐Way 2018‐7‐2.pdf              .\VOL005\IMAGES\IMAGES001\00058575.pdf
00058576   00058580    7/2/2018 11:41 Edoc     choh_metadata.xml                                        .\VOL005\IMAGES\IMAGES001\00058576.pdf
00058581   00058582    7/2/2018 12:28 Email    July Public Workshops                                    .\VOL005\IMAGES\IMAGES001\00058581.pdf

00058583   00058596    7/2/2018 12:28 Attach   2018‐06‐28 PublicWorkshopEventPlanFINALv2.docx           .\VOL005\IMAGES\IMAGES001\00058583.pdf
00058597   00058611    7/2/2018 12:28 Attach   I495 I270 Displays 2018‐7‐2INFORMATIONAL.pdf             .\VOL005\IMAGES\IMAGES001\00058597.pdf
00058612   00058616    7/2/2018 12:28 Attach   I‐495‐I‐270 Prel Range of Alts display_draft6.pdf        .\VOL005\IMAGES\IMAGES001\00058612.pdf
00058617   00058618    7/2/2018 12:28 Attach   I495 I270 Small Working Group Table‐Noise.pdf            .\VOL005\IMAGES\IMAGES001\00058617.pdf
00058619   00058619    7/2/2018 12:28 Attach   I495 I270 Display Right‐of‐Way 2018‐7‐2.pdf              .\VOL005\IMAGES\IMAGES001\00058619.pdf
00058620   00058621    7/2/2018 18:07 Edoc     I495 I270 Small Working Group Table‐Noise.pdf            .\VOL005\IMAGES\IMAGES001\00058620.pdf
00058622   00058624    7/3/2018 10:15 Edoc     I‐495_I‐270_Handout_2018_7_3.pdf                         .\VOL005\IMAGES\IMAGES001\00058622.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting
00058625   00058625    7/3/2018 14:07 Attach   Agenda_July 11 2018.pdf                                  .\VOL005\IMAGES\IMAGES001\00058625.pdf
00058626   00058626    7/3/2018 16:30 Email    I‐495/I‐270 MLS project                                  .\VOL005\IMAGES\IMAGES001\00058626.pdf
00058627   00058628    7/3/2018 16:30 Attach   MLS FLA sec 106_JBA.pdf                                  .\VOL005\IMAGES\IMAGES001\00058627.pdf
00058629   00058629    7/3/2018 16:34 Email    I‐495/I‐270 MLS project                                  .\VOL005\IMAGES\IMAGES001\00058629.pdf
00058630   00058631    7/3/2018 16:34 Attach   MLS FLA sec 106_NPS.pdf                                  .\VOL005\IMAGES\IMAGES001\00058630.pdf
00058632   00058632    7/3/2018 16:36 Email    I‐495/I‐270 MLS project                                  .\VOL005\IMAGES\IMAGES001\00058632.pdf
00058633   00058634    7/3/2018 16:36 Attach   MLS FLA sec 106_ACOE.pdf                                 .\VOL005\IMAGES\IMAGES001\00058633.pdf
00058635   00058635    7/3/2018 16:39 Email    I‐495/I‐270 MLS project                                  .\VOL005\IMAGES\IMAGES001\00058635.pdf
00058636   00058637    7/3/2018 16:39 Attach   MLS FLA sec 106_BARC.pdf                                 .\VOL005\IMAGES\IMAGES001\00058636.pdf
00058638   00058638    7/3/2018 16:41 Email    I‐495/I‐270 MLS project                                  .\VOL005\IMAGES\IMAGES001\00058638.pdf
00058639   00058640    7/3/2018 16:41 Attach   MLS FLA sec 106_USPS.pdf                                 .\VOL005\IMAGES\IMAGES001\00058639.pdf
00058641   00058641    7/3/2018 16:44 Email    I‐495/I‐270 MLS project                                  .\VOL005\IMAGES\IMAGES001\00058641.pdf
00058642   00058643    7/3/2018 16:44 Attach   MLS FLA sec 106_FRA.pdf                                  .\VOL005\IMAGES\IMAGES001\00058642.pdf
00058644   00058644    7/3/2018 16:48 Email    I‐495/I‐270 MLS project                                  .\VOL005\IMAGES\IMAGES001\00058644.pdf
00058645   00058646    7/3/2018 16:48 Attach   MLS FLA sec 106_FTA.pdf                                  .\VOL005\IMAGES\IMAGES001\00058645.pdf
00058647   00058647    7/3/2018 16:51 Email    I‐495/I‐270 MLS project                                  .\VOL005\IMAGES\IMAGES001\00058647.pdf
00058648   00058649    7/3/2018 16:51 Attach   MLS FLA sec 106_NCPC.pdf                                 .\VOL005\IMAGES\IMAGES001\00058648.pdf
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00058650   00058650    7/3/2018 16:54 Email    I‐495/I‐270 MLS project                          .\VOL005\IMAGES\IMAGES001\00058650.pdf
00058651   00058652    7/3/2018 16:54 Attach   MLS FLA sec 106_USCG.pdf                         .\VOL005\IMAGES\IMAGES001\00058651.pdf
00058653   00058653    7/3/2018 16:58 Email    I‐495/I‐270 MLS project                          .\VOL005\IMAGES\IMAGES001\00058653.pdf
00058654   00058655    7/3/2018 16:58 Attach   MLS FLA sec 106_Army.pdf                         .\VOL005\IMAGES\IMAGES001\00058654.pdf
00058656   00058656    7/3/2018 17:00 Email    I‐495/I‐270 MLS project                          .\VOL005\IMAGES\IMAGES001\00058656.pdf
                                               I‐495 & I‐270 MLS NPS and MDOT SHA Coordination
00058657   00058659     7/5/2018 8:11 Attach   Meeting Notes_rev07052018.docx                   .\VOL005\IMAGES\IMAGES001\00058657.pdf
00058660   00058661     7/5/2018 8:32 Email    RE: I‐495/I‐270 MLS project                      .\VOL005\IMAGES\IMAGES001\00058660.pdf
00058662   00058666    7/5/2018 13:27 Edoc     495‐270_small working group table boards.pdf     .\VOL005\IMAGES\IMAGES001\00058662.pdf
                                               FW: I‐495 & I‐270 MLS Interagency Working Group
00058667   00058668    7/5/2018 13:56 Email    Meeting No. 4 Agenda                             .\VOL005\IMAGES\IMAGES001\00058667.pdf
                                               Smart_Signals_News_Releases2017_2017_Oct_25_Go
00058669   00058670    7/5/2018 14:34 Attach   v_.pdf                                           .\VOL005\IMAGES\IMAGES001\00058669.pdf
00058671   00058671    7/5/2018 15:20 Edoc     choh_boundary.prj                                .\VOL005\IMAGES\IMAGES001\00058671.pdf
00058672   00058672    7/5/2018 15:20 Edoc     choh_boundary.dbf                                .\VOL005\IMAGES\IMAGES001\00058672.pdf        .\VOL005\NATIVES\NATIVES001\00058672.dbf
00058673   00058673    7/5/2018 15:22 Edoc     choh_tracts.dbf                                  .\VOL005\IMAGES\IMAGES001\00058673.pdf        .\VOL005\NATIVES\NATIVES001\00058673.dbf
                                               I‐495_I‐
                                               270_Handout_Printer_Spreads_Oversized_2018_7_6.p
00058674   00058675    7/6/2018 11:38 Edoc     df                                               .\VOL005\IMAGES\IMAGES001\00058674.pdf

00058676   00058676    7/6/2018 15:08 Attach   2018‐07‐17 FHWA Coordination Mtg Agenda.docx          .\VOL005\IMAGES\IMAGES001\00058676.pdf
00058677   00058678     7/9/2018 9:17 Email    RE: I‐495/I‐270 MLS project                           .\VOL005\IMAGES\IMAGES001\00058677.pdf
00058679   00058679    7/9/2018 15:46 Email    Attorney Client Privilege: M‐NCPPC                    .\VOL005\IMAGES\IMAGES001\00058679.pdf
00058680   00058680   7/10/2018 12:55 Email    Documents to forward to FHWA                          .\VOL005\IMAGES\IMAGES001\00058680.pdf

00058681   00058681   7/10/2018 14:49 Email    FW: Managed Lane EIS Participating Agency Response .\VOL005\IMAGES\IMAGES001\00058681.pdf
00058682   00058683   7/10/2018 14:49 Attach   Managed Lane EIS Participating agency form.pdf       .\VOL005\IMAGES\IMAGES001\00058682.pdf
00058684   00058684   7/10/2018 15:03 Email    I‐495/I‐270 MLS project                              .\VOL005\IMAGES\IMAGES001\00058684.pdf
00058685   00058685   7/10/2018 15:03 Attach   USCG_Coop_Consulting party.pdf                       .\VOL005\IMAGES\IMAGES001\00058685.pdf
00058686   00058687   7/10/2018 15:34 Email    FHWA Deliverables                                    .\VOL005\IMAGES\IMAGES001\00058686.pdf
                                               I‐495 I‐270 MLS Logical Termini_ Revised with Track
00058688   00058698   7/10/2018 15:34 Attach   Changes 07‐10‐18.docx                                .\VOL005\IMAGES\IMAGES001\00058688.pdf
00058699   00058714   7/10/2018 15:34 Attach   I‐495 I‐270 MLS ICE Methodology 7‐9‐18.docx          .\VOL005\IMAGES\IMAGES001\00058699.pdf
00058715   00058716    7/11/2018 7:52 Email    RE: July Public Workshops                            .\VOL005\IMAGES\IMAGES001\00058715.pdf
00058717   00058718    7/11/2018 8:35 Email    I‐495 & I‐270 MLS Agency Coordination Plan           .\VOL005\IMAGES\IMAGES001\00058717.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
                                               Coordination Plan_ORIGINAL_05‐16‐2018_REVISED 6‐
00058719   00058731    7/11/2018 8:35 Attach   15‐18.pdf                                            .\VOL005\IMAGES\IMAGES001\00058719.pdf
00058732   00058733    7/11/2018 8:35 Email    I‐495 & I‐270 MLS Agency Coordination Plan           .\VOL005\IMAGES\IMAGES001\00058732.pdf
                                               FW: I‐495 & I‐270 Interagency Working Group (IAWG)
00058734   00058734   7/11/2018 10:00 Email    Meeting                                              .\VOL005\IMAGES\IMAGES001\00058734.pdf
                                               Fw: I‐495 & I‐270 Interagency Working Group (IAWG)
00058735   00058735   7/11/2018 10:00 Email    Meeting                                              .\VOL005\IMAGES\IMAGES001\00058735.pdf
                                               FW: MDOT SHA and VDOT Environmental and Traffic
00058736   00058736   7/11/2018 13:00 Email    Technical Staff Coordination Meeting                 .\VOL005\IMAGES\IMAGES001\00058736.pdf
00058737   00058739    7/12/2018 8:11 Attach   O'Connor 814470 Signed.pdf                           .\VOL005\IMAGES\IMAGES001\00058737.pdf
                                               Attachment 1 CEA Methodology_Block
00058740   00058744   7/12/2018 10:27 Attach   Group_Community Detail.pdf                           .\VOL005\IMAGES\IMAGES001\00058740.pdf
                                               Attachment 2 CEA
                                               Methodology_CommunityProfileEffects 7‐10‐
00058745   00058746   7/12/2018 10:27 Attach   18pdf.pdf                                            .\VOL005\IMAGES\IMAGES001\00058745.pdf
00058747   00058751   7/12/2018 11:46 Edoc     PIP_EJ_LEP_Map_071218.pdf                            .\VOL005\IMAGES\IMAGES001\00058747.pdf
                                               I‐495_I‐270_Spanish_Newletter_Spreads_2018‐07‐
00058752   00058754   7/12/2018 14:33 Edoc     12.pdf                                               .\VOL005\IMAGES\IMAGES001\00058752.pdf
                                               I‐495_I‐
                                               270_Handout_Printer_Spreads_Oversized_Central_20
00058755   00058756   7/12/2018 14:49 Edoc     18_7_12.pdf                                          .\VOL005\IMAGES\IMAGES001\00058755.pdf
                                               I‐495_I‐
                                               270_Handout_Printer_Spreads_Oversized_Greenbelt_
00058757   00058758   7/12/2018 14:51 Edoc     2018_7_12.pdf                                        .\VOL005\IMAGES\IMAGES001\00058757.pdf
                                               I‐495_I‐
                                               270_Handout_Printer_Spreads_Oversized_Pyle_2018_
00058759   00058760   7/12/2018 14:53 Edoc     7_12.pdf                                             .\VOL005\IMAGES\IMAGES001\00058759.pdf
                                               I‐495_I‐
                                               270_Handout_Printer_Spreads_Oversized_Clarksburg_
00058761   00058762   7/12/2018 14:54 Edoc     2018_7_12.pdf                                        .\VOL005\IMAGES\IMAGES001\00058761.pdf
                                               I‐495_I‐
                                               270_Handout_Printer_Spreads_Oversized_Pyle_Altern
00058763   00058764   7/12/2018 15:11 Edoc     ative_2018_7_12.pdf                                  .\VOL005\IMAGES\IMAGES001\00058763.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Cooperating
00058765   00058765   7/12/2018 19:34 Edoc     Agency_USCG‐Letter 6‐26‐2018.pdf                     .\VOL005\IMAGES\IMAGES001\00058765.pdf
00058766   00058767   7/13/2018 12:00 Email    I‐495 & I‐270 MLS Public Involvement Plan            .\VOL005\IMAGES\IMAGES001\00058766.pdf
                                               I‐495 & I‐270 MLS_Revised Public Involvement Plan_7‐
00058768   00058773   7/13/2018 12:00 Attach   13‐18.docx                                           .\VOL005\IMAGES\IMAGES001\00058768.pdf
                                               I‐495 & I‐270 MLS_Track Changes_ Public Involvement
00058774   00058779   7/13/2018 12:00 Attach   Plan_7‐13‐18.docx                                    .\VOL005\IMAGES\IMAGES001\00058774.pdf
00058780   00058784   7/13/2018 12:00 Attach   Attachment 1 EJ Map and Outreach Plan.pdf            .\VOL005\IMAGES\IMAGES001\00058780.pdf

00058785   00058785   7/13/2018 12:13 Attach   2018‐07‐17 FHWA Coordination Mtg Agenda.docx          .\VOL005\IMAGES\IMAGES001\00058785.pdf
00058786   00058787   7/13/2018 14:26 Attach   I‐495 I‐270 July Workshops_Updates.pptx               .\VOL005\IMAGES\IMAGES001\00058786.pdf
                                               Fw: Friends of Sligo Creek informational meeting on
00058788   00058789   7/13/2018 14:55 Email    495                                                   .\VOL005\IMAGES\IMAGES001\00058788.pdf
00058790   00058790   7/13/2018 15:28 Email    Concurrence Forms and Follow‐up Letter                .\VOL005\IMAGES\IMAGES001\00058790.pdf
00058791   00058791    7/14/2018 7:39 Email    495‐270 p3 comment                                    .\VOL005\IMAGES\IMAGES001\00058791.pdf
00058792   00058792    7/14/2018 7:39 Email    FW: 495‐270 p3 comment                                .\VOL005\IMAGES\IMAGES001\00058792.pdf
                                               I‐495 & I‐270 Managed Lanes Study in Maryland and
00058793   00058793    7/16/2018 7:35 Email    Virginia; Request for Information                     .\VOL005\IMAGES\IMAGES001\00058793.pdf
00058794   00058794    7/16/2018 7:35 Attach   I‐495 & I‐270 Corridor Boundary.jpg                   .\VOL005\IMAGES\IMAGES001\00058794.pdf
                                               495/270 P3 Technical‐Commercial Coordination:
00058795   00058795    7/16/2018 8:00 Email    Updated O‐D Analysis                                  .\VOL005\IMAGES\IMAGES001\00058795.pdf
00058796   00058802    7/16/2018 8:00 Attach   SUMMARIZE_OD_v4.pdf                                   .\VOL005\IMAGES\IMAGES001\00058796.pdf
00058803   00058803   7/16/2018 11:42 Email    Setting up a table at the public workshops            .\VOL005\IMAGES\IMAGES001\00058803.pdf
00058804   00058805   7/16/2018 12:18 Edoc     Greenbelt‐Handout.pdf                                 .\VOL005\IMAGES\IMAGES001\00058804.pdf
                                               495_270 Public Workshop Hot Topics (Final) July 10
00058806   00058809   7/16/2018 14:22 Edoc     2018.docx                                             .\VOL005\IMAGES\IMAGES001\00058806.pdf
00058810   00058832   7/16/2018 15:08 Edoc     I495 I270 Spanish Displays 2018‐7‐16.pdf              .\VOL005\IMAGES\IMAGES001\00058810.pdf

00058833   00058855   7/16/2018 15:38 Attach   I‐495 I‐270 MLS CEA Methodology 7‐10‐18 (003).docx    .\VOL005\IMAGES\IMAGES001\00058833.pdf
00058856   00058857   7/16/2018 16:45 Email    RE: US495                                             .\VOL005\IMAGES\IMAGES001\00058856.pdf

00058858   00058858   7/16/2018 17:30 Email    RE: 495/270 P3 ‐ Potential Direct Access Locations    .\VOL005\IMAGES\IMAGES001\00058858.pdf
00058859   00058859    7/17/2018 9:03 Email    IAWG Presentation                                     .\VOL005\IMAGES\IMAGES001\00058859.pdf
00058860   00058879   7/17/2018 12:05 Edoc     I495 I270 Displays 2018_FINAL_7‐17‐18.pdf             .\VOL005\IMAGES\IMAGES001\00058860.pdf
00058880   00058929   7/17/2018 12:44 Attach   I‐495 I‐270 MNCPPC Presentation.pptx                  .\VOL005\IMAGES\IMAGES001\00058880.pdf
00058930   00058930   7/17/2018 13:06 Email    Spanish Translation                                   .\VOL005\IMAGES\IMAGES001\00058930.pdf
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00058931   00058953   7/17/2018 13:09 Attach   I495 I270 Spanish Displays 2018‐7‐16.pdf            .\VOL005\IMAGES\IMAGES001\00058931.pdf
                                               I‐495_I‐270_Spanish_Newletter_Spreads_2018‐07‐
00058954   00058956   7/17/2018 13:09 Attach   12.pdf                                              .\VOL005\IMAGES\IMAGES001\00058954.pdf
                                               I‐495 I‐270 MNCPPC Commission Briefing FINAL 7‐18‐
00058957   00059007    7/18/2018 7:38 Edoc     18_PRINT TO PDF.pdf                                 .\VOL005\IMAGES\IMAGES001\00058957.pdf
00059008   00059023    7/18/2018 8:27 Edoc     Eleanor July Title VI.pdf                           .\VOL005\IMAGES\IMAGES001\00059008.pdf
                                               Concurrence: Section 106 Lead Federal Agency for I‐
00059024   00059024   7/18/2018 11:17 Email    495/I‐270 Managed Lanes                             .\VOL005\IMAGES\IMAGES001\00059024.pdf
                                               I‐495 & I‐270 Managed Lanes Study/Range of
00059025   00059026   7/18/2018 23:05 Email    Alternatives Comments                               .\VOL005\IMAGES\IMAGES001\00059025.pdf
00059027   00059027   7/18/2018 23:05 Attach   Example of Median Bus Station.jpg                   .\VOL005\IMAGES\IMAGES001\00059027.pdf
                                               I‐495_I‐270 Managed Lanes Study‐Range of
00059028   00059029   7/18/2018 23:05 Attach   Alternatives COMMENTS.pdf                           .\VOL005\IMAGES\IMAGES001\00059028.pdf
                                               I‐495 I‐270 Managed Lanes Scoping Open House
00059030   00059032    7/19/2018 8:11 Edoc     Summations ‐ JULY 07.19.18.docx                     .\VOL005\IMAGES\IMAGES001\00059030.pdf
                                               RE: M‐NCPPC Montgomery County's Scoping Comment
00059033   00059033   7/19/2018 18:00 Email    Letter                                              .\VOL005\IMAGES\IMAGES001\00059033.pdf
                                               M‐NCPPC Montgomery County Dept Parks_Memo on
00059034   00059035   7/19/2018 18:00 Attach   Purpose and Need.pdf                                .\VOL005\IMAGES\IMAGES001\00059034.pdf
00059036   00059037   7/20/2018 10:49 Email    RE: I‐495/I‐270 MLS project                         .\VOL005\IMAGES\IMAGES001\00059036.pdf
00059038   00059040   7/20/2018 14:31 Attach   Griffen_Response_bcc.pdf                            .\VOL005\IMAGES\IMAGES001\00059038.pdf
00059041   00059041   7/20/2018 15:56 Email    FW: I‐495 Noise Abatement Inquiry                   .\VOL005\IMAGES\IMAGES001\00059041.pdf
00059042   00059044   7/20/2018 15:56 Attach   Lee_Response_bcc.pdf                                .\VOL005\IMAGES\IMAGES001\00059042.pdf
                                               I‐495 & I‐270 Managed Lanes Study/Range of
00059045   00059045   7/22/2018 20:40 Email    Alternatives Comments                               .\VOL005\IMAGES\IMAGES001\00059045.pdf
00059046   00059047   7/22/2018 22:48 Email    Contact information of two experts                  .\VOL005\IMAGES\IMAGES001\00059046.pdf

00059048   00059049    7/23/2018 9:51 Attach   2018‐07‐17 FHWA Coordination Meeting_Notes.docx .\VOL005\IMAGES\IMAGES001\00059048.pdf
00059050   00059051    7/23/2018 9:54 Email    FW: I‐495 & I‐270 MLS IAWG No. 4 Meeting Notes        .\VOL005\IMAGES\IMAGES001\00059050.pdf
                                               I‐495_I‐
                                               270_Handout_Printer_Spreads_Oversized_Pyle_2018_
00059052   00059053   7/23/2018 10:26 Edoc     7_23(1).pdf                                           .\VOL005\IMAGES\IMAGES001\00059052.pdf
                                               I‐495 I‐270 MLS_Revised Public Involvement Plan_7‐13‐
00059054   00059059   7/23/2018 11:03 Attach   18_revised 7‐23‐18.docx                               .\VOL005\IMAGES\IMAGES001\00059054.pdf
00059060   00059060   7/23/2018 11:03 Email    RE: I‐495 & I‐270 MLS Public Involvement Plan         .\VOL005\IMAGES\IMAGES001\00059060.pdf

00059061   00059061   7/23/2018 11:23 Email    FW: Your PRD Trilogy Review has been completed         .\VOL005\IMAGES\IMAGES001\00059061.pdf
00059062   00059063   7/23/2018 11:23 Attach   I495_I270 MLS WHS Review Response.pdf                  .\VOL005\IMAGES\IMAGES001\00059062.pdf
                                               I495 & I270 MLS DNR‐WHS Review Response July
00059064   00059065   7/23/2018 11:39 Attach   2018.pdf                                               .\VOL005\IMAGES\IMAGES001\00059064.pdf
00059066   00059066   7/23/2018 12:48 Email    RE: I‐495/I‐270 Schedule                               .\VOL005\IMAGES\IMAGES001\00059066.pdf
                                               I‐495 I‐270 Managed Lanes Alternative Open House
00059067   00059069   7/23/2018 15:53 Edoc     Summations ‐ JULY 07.23.18.docx                        .\VOL005\IMAGES\IMAGES001\00059067.pdf
                                               RE: Action: One Federal Decision Roll Out (OFD)
00059070   00059071    7/24/2018 8:14 Email    Tuesday, July 24 at 1:00 PM                            .\VOL005\IMAGES\IMAGES001\00059070.pdf
                                               Executive Order 13807_List of Questions for
00059072   00059073    7/24/2018 8:14 Attach   FHWA.docx                                              .\VOL005\IMAGES\IMAGES001\00059072.pdf
00059074   00059090   7/24/2018 13:25 Attach   MD Amended PA signed 12‐19‐17.pdf                      .\VOL005\IMAGES\IMAGES001\00059074.pdf
                                               RE: HOA‐1 Meeting with S‐1: One Federal Decision‐
                                               270/I‐495 project in MD : Briefing Materials Needed by
00059091   00059094   7/24/2018 14:57 Email    July 25                                                .\VOL005\IMAGES\IMAGES001\00059091.pdf

00059095   00059095   7/24/2018 15:14 Email    Conference Call with MDOT SHA_VDOT_and FHWA.pdf .\VOL005\IMAGES\IMAGES001\00059095.pdf
                                               RE: HOA‐1 Meeting with S‐1: One Federal Decision‐
                                               270/I‐495 project in MD : Briefing Materials Needed by
00059096   00059099    7/25/2018 7:39 Email    July 25                                                .\VOL005\IMAGES\IMAGES001\00059096.pdf
00059100   00059107    7/25/2018 8:57 Edoc     Central High July Comments.pdf                         .\VOL005\IMAGES\IMAGES001\00059100.pdf
00059108   00059114    7/25/2018 8:58 Edoc     Central High July General Sign In.pdf                  .\VOL005\IMAGES\IMAGES001\00059108.pdf
00059115   00059121    7/25/2018 8:59 Edoc     Central High July Title VI.pdf                         .\VOL005\IMAGES\IMAGES001\00059115.pdf
                                               I‐495 I‐270 Managed Lanes Alternative Open House
00059122   00059124    7/25/2018 9:03 Edoc     Summations ‐ JULY 07.25.18.docx                        .\VOL005\IMAGES\IMAGES001\00059122.pdf
                                               I‐495_I‐270_Postcard_Insert_July
00059125   00059126    7/25/2018 9:31 Edoc     Meetings_Chinese.pdf                                   .\VOL005\IMAGES\IMAGES001\00059125.pdf
00059127   00059129   7/25/2018 12:35 Email    FW: MLS ‐ Agency Field Review                          .\VOL005\IMAGES\IMAGES001\00059127.pdf

00059130   00059130   7/25/2018 13:39 Email    Comments on I‐495 & I‐270 Managed Lanes Study        .\VOL005\IMAGES\IMAGES001\00059130.pdf
                                               Tolling and Pricing Opportunities ‐ Expression of
00059131   00059131   7/25/2018 15:13 Email    Interest                                             .\VOL005\IMAGES\IMAGES001\00059131.pdf
00059132   00059132   7/25/2018 23:10 Email    Comments to the Managed Lanes Study                  .\VOL005\IMAGES\IMAGES001\00059132.pdf
00059133   00059134   7/25/2018 23:10 Attach   BELTWAY EXPANSION Comments.docx                      .\VOL005\IMAGES\IMAGES001\00059133.pdf
                                               RE_ Conference Call with MDOT SHA_VDOT_and
00059135   00059135    7/26/2018 8:50 Email    FHWA.pdf                                             .\VOL005\IMAGES\IMAGES001\00059135.pdf

00059136   00059136   7/26/2018 10:15 Attach   Conference Call with MDOT SHA/VDOT/and FHWA          .\VOL005\IMAGES\IMAGES001\00059136.pdf
00059137   00059178   7/26/2018 10:35 Edoc     Pyly July General Sign‐In.pdf                        .\VOL005\IMAGES\IMAGES001\00059137.pdf
                                               I‐495 I‐270 Managed Lanes Alternative Open House
00059179   00059181   7/26/2018 11:12 Edoc     Summations ‐ JULY 07.26.18.docx                      .\VOL005\IMAGES\IMAGES001\00059179.pdf
00059182   00059182   7/27/2018 14:47 Email    RE: OFD Memo for Brandye                             .\VOL005\IMAGES\IMAGES001\00059182.pdf
00059183   00059183   7/27/2018 18:03 Email    FW_ FHWA Deliverables.pdf                            .\VOL005\IMAGES\IMAGES001\00059183.pdf

00059184   00059207   7/27/2018 18:03 Attach   Preliminary Screened Alternatives_FHWA Discus.docx .\VOL005\IMAGES\IMAGES001\00059184.pdf

00059208   00059208   7/30/2018 14:13 Email    FW_ MD I‐270 I‐495 Briefing draft 7‐30‐2018‐.pptx.pdf .\VOL005\IMAGES\IMAGES001\00059208.pdf
00059209   00059209   7/30/2018 15:13 Edoc     map of I‐270.docx                                     .\VOL005\IMAGES\IMAGES001\00059209.pdf
                                               Comments on the I‐270 part of the I‐495 & I‐270
00059210   00059217   7/30/2018 16:41 Email    Managed Lanes Study                                   .\VOL005\IMAGES\IMAGES001\00059210.pdf
                                               Comments_180730_to_MDOT‐SHA_re_I‐270_I‐
00059218   00059226   7/30/2018 16:41 Attach   495_Managed_LanesStudy_v2B.docx                       .\VOL005\IMAGES\IMAGES001\00059218.pdf
00059227   00059227   7/30/2018 17:56 Email    I‐495_I‐270 MLS preliminary alternates.pdf            .\VOL005\IMAGES\IMAGES001\00059227.pdf
00059228   00059229   7/31/2018 10:50 Email    FW: OFD Memo for Brandye                              .\VOL005\IMAGES\IMAGES001\00059228.pdf

00059230   00059234   7/31/2018 11:26 Email    RE: 495/270 P3 ‐ Potential Direct Access Locations   .\VOL005\IMAGES\IMAGES001\00059230.pdf
00059235   00059237   7/31/2018 12:54 Email    RE: OFD Memo for Brandye                             .\VOL005\IMAGES\IMAGES001\00059235.pdf

00059238   00059238   7/31/2018 13:39 Attach   2018‐08‐07 FHWA Coordination Mtg Agenda.docx        .\VOL005\IMAGES\IMAGES001\00059238.pdf
                                               B‐W Parkway possible transfer, widening of the road
00059239   00059239   7/31/2018 14:47 Email    (and replacing trees) and adding tolls              .\VOL005\IMAGES\IMAGES001\00059239.pdf
00059240   00059242   7/31/2018 16:01 Email    Re: Direct Access analysis and schedule             .\VOL005\IMAGES\IMAGES001\00059240.pdf
                                               FW: BRIEFING MEMO:: Update for Brandye on One
00059243   00059244   7/31/2018 16:26 Email    Federal Decision                                    .\VOL005\IMAGES\IMAGES001\00059243.pdf
                                               FW: FHWA & MDOT SHA Coordination Meeting
00059245   00059246     8/1/2018 7:39 Email    Agenda for August 7                                 .\VOL005\IMAGES\IMAGES001\00059245.pdf
                                               RE: FHWA & MDOT SHA Coordination Meeting Agenda
00059247   00059248     8/1/2018 7:40 Email    for August 7                                        .\VOL005\IMAGES\IMAGES001\00059247.pdf
00059249   00059249     8/1/2018 7:53 Email    FW: I‐270 Request for Sound Barrier                 .\VOL005\IMAGES\IMAGES001\00059249.pdf
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00059250   00059252     8/1/2018 7:53 Attach   I‐495_I‐270_Vertical_Newletter_2018‐06‐22V3.pdf        .\VOL005\IMAGES\IMAGES001\00059250.pdf
00059253   00059255     8/1/2018 7:53 Attach   Wong_Response_bcc.pdf                                  .\VOL005\IMAGES\IMAGES001\00059253.pdf
00059256   00059256     8/1/2018 8:33 Email    I‐270 & I‐495 MLS discussion points                    .\VOL005\IMAGES\IMAGES001\00059256.pdf
00059257   00059258     8/1/2018 9:11 Attach   2018‐07‐31_Public_Comment_Erin_Cline.pdf               .\VOL005\IMAGES\IMAGES001\00059257.pdf
00059259   00059261    8/1/2018 10:56 Email    RE: MD I‐270 I‐495 Briefing draft 7‐30‐2018‐.pptx      .\VOL005\IMAGES\IMAGES001\00059259.pdf
00059262   00059262    8/1/2018 12:00 Email    FW: I‐495 Request for Sound Barrier                    .\VOL005\IMAGES\IMAGES001\00059262.pdf
00059263   00059265    8/1/2018 12:00 Attach   Mason_Response_bcc.pdf                                 .\VOL005\IMAGES\IMAGES001\00059263.pdf
00059266   00059267    8/1/2018 13:38 Email    RE: I‐270 & I‐495 MLS discussion points                .\VOL005\IMAGES\IMAGES001\00059266.pdf
                                               RE: FHWA comments on Alternatives Discussion
00059268   00059269    8/1/2018 18:39 Email    Paper?                                                 .\VOL005\IMAGES\IMAGES001\00059268.pdf
                                               Preliminary Screened Alternatives_FHWA Discussion
00059270   00059291    8/1/2018 18:39 Attach   Paper 7‐10‐18 FHWA Comments.docx                       .\VOL005\IMAGES\IMAGES001\00059270.pdf
00059292   00059292     8/2/2018 7:12 Email    FW: MD I‐270 I‐495 Briefing draft 8‐2‐2018.pptx        .\VOL005\IMAGES\IMAGES001\00059292.pdf
00059293   00059293     8/2/2018 7:50 Email    FW: MD I‐270 I‐495 Briefing draft 8‐2‐2018.pptx        .\VOL005\IMAGES\IMAGES001\00059293.pdf
00059294   00059294     8/2/2018 9:59 Email    I‐495 & I‐270 Managed Lanes Study Inquiry              .\VOL005\IMAGES\IMAGES001\00059294.pdf
00059295   00059296     8/2/2018 9:59 Attach   Davis Correspondence‐signed.pdf                        .\VOL005\IMAGES\IMAGES001\00059295.pdf
00059297   00059297    8/2/2018 10:11 Email    I‐495 & I‐270 Managed Lanes Study Inquiry              .\VOL005\IMAGES\IMAGES001\00059297.pdf
00059298   00059299    8/2/2018 10:11 Attach   Schoem Correspondence‐signed.pdf                       .\VOL005\IMAGES\IMAGES001\00059298.pdf
00059300   00059300    8/2/2018 10:14 Email    I‐495 & I‐270 Managed lanes Study Inquiry              .\VOL005\IMAGES\IMAGES001\00059300.pdf
00059301   00059302    8/2/2018 10:14 Attach   Howell Correspondence‐signed.pdf                       .\VOL005\IMAGES\IMAGES001\00059301.pdf
                                               RE: FHWA comments on Alternatives Discussion
00059303   00059304    8/2/2018 10:58 Email    Paper?                                                 .\VOL005\IMAGES\IMAGES001\00059303.pdf
                                               I‐495 & I‐270 Managed Lanes Study; Wetland
00059305   00059305     8/3/2018 8:00 Email    Delineation Field Review                               .\VOL005\IMAGES\IMAGES001\00059305.pdf
00059306   00059306     8/3/2018 9:22 Email    [No Subject]                                           .\VOL005\IMAGES\IMAGES001\00059306.pdf
00059307   00059310     8/3/2018 9:22 Attach   Ross 815345 Signed.pdf                                 .\VOL005\IMAGES\IMAGES001\00059307.pdf
00059311   00059311    8/4/2018 16:00 Email    495‐270‐P3 Survey Response                             .\VOL005\IMAGES\IMAGES001\00059311.pdf
00059312   00059313    8/5/2018 16:53 Email    RE: 495‐270‐P3 Survey Response                         .\VOL005\IMAGES\IMAGES001\00059312.pdf
00059314   00059317     8/6/2018 7:25 Attach   2018‐07‐25 DOI‐NPS Scoping Response.pdf                .\VOL005\IMAGES\IMAGES001\00059314.pdf
00059318   00059318    8/6/2018 15:38 Attach   0248_001.pdf                                           .\VOL005\IMAGES\IMAGES001\00059318.pdf
00059319   00059319    8/6/2018 16:39 Email    I‐495 & I‐270 MLS Issue Resolution Process             .\VOL005\IMAGES\IMAGES001\00059319.pdf
                                               Issue Resolution Hierarchy and Process‐DRAFT_7‐20‐
00059320   00059321    8/6/2018 16:39 Attach   18.docx                                                .\VOL005\IMAGES\IMAGES001\00059320.pdf
00059322   00059322    8/6/2018 16:39 Email    I‐495 & I‐270 MLS Issue Resolution Process             .\VOL005\IMAGES\IMAGES001\00059322.pdf
00059323   00059323     8/7/2018 9:44 Attach   0246_001.pdf                                           .\VOL005\IMAGES\IMAGES001\00059323.pdf
00059324   00059325    8/7/2018 11:05 Email    Re: [EXTERNAL] I‐495/I‐270 MLS project                 .\VOL005\IMAGES\IMAGES001\00059324.pdf
00059326   00059326    8/7/2018 22:39 Email    Documents to forward to FHWA                           .\VOL005\IMAGES\IMAGES001\00059326.pdf
00059327   00059327    8/8/2018 10:11 Email    [No Subject]                                           .\VOL005\IMAGES\IMAGES001\00059327.pdf
00059328   00059335    8/8/2018 10:11 Attach   letter to Lisa.pdf                                     .\VOL005\IMAGES\IMAGES001\00059328.pdf
00059336   00059336    8/8/2018 10:11 Attach   letter to Lisa envelope.pdf                            .\VOL005\IMAGES\IMAGES001\00059336.pdf
00059337   00059337    8/8/2018 10:11 Attach   public workshop comments front page.pdf                .\VOL005\IMAGES\IMAGES001\00059337.pdf
00059338   00059339    8/8/2018 10:11 Attach   public workshop comments.pdf                           .\VOL005\IMAGES\IMAGES001\00059338.pdf
                                               Widening of 495 at American Legion Bridge and into
00059340   00059340    8/8/2018 22:26 Email    MD                                                     .\VOL005\IMAGES\IMAGES002\00059340.pdf
00059341   00059341     8/9/2018 7:21 Email    Updated 495 MLS 106 Schedule                           .\VOL005\IMAGES\IMAGES002\00059341.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study in Maryland
00059342   00059345     8/9/2018 7:46 Email    and Virginia; Request for Information                  .\VOL005\IMAGES\IMAGES002\00059342.pdf
00059346   00059347     8/9/2018 9:55 Email    RE: Cooperating Agency Status                          .\VOL005\IMAGES\IMAGES002\00059346.pdf
00059348   00059348    8/9/2018 10:31 Email    permitting dashboard                                   .\VOL005\IMAGES\IMAGES002\00059348.pdf
00059349   00059352    8/9/2018 14:01 Attach   0261_001.pdf                                           .\VOL005\IMAGES\IMAGES002\00059349.pdf
00059353   00059353    8/9/2018 14:01 Attach   0262_001.pdf envelope.pdf                              .\VOL005\IMAGES\IMAGES002\00059353.pdf
00059354   00059355    8/9/2018 15:46 Attach   M‐NCPPC Coordination to‐date.docx                      .\VOL005\IMAGES\IMAGES002\00059354.pdf
00059356   00059358    8/9/2018 15:46 Email    RE: Cooperating Agency Status                          .\VOL005\IMAGES\IMAGES002\00059356.pdf

                                               FW: I‐495 & I‐270 Managed Lanes Study_Cooperating
00059359   00059360    8/9/2018 16:22 Email    and Participating Agency Invitation                    .\VOL005\IMAGES\IMAGES002\00059359.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study_Request for
00059361   00059362    8/9/2018 16:23 Email    Cooperating and Participating Agency Status            .\VOL005\IMAGES\IMAGES002\00059361.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Cooperating
00059363   00059370    8/9/2018 16:23 Attach   Agency_DNR.pdf                                         .\VOL005\IMAGES\IMAGES002\00059363.pdf

                                               FW: I‐495 & I‐270 Managed Lanes Study_Cooperating
00059371   00059372    8/9/2018 16:23 Email    and Participating Agency Invitation                    .\VOL005\IMAGES\IMAGES002\00059371.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Cooperating
00059373   00059380    8/9/2018 16:23 Attach   Agency_MHT.pdf                                         .\VOL005\IMAGES\IMAGES002\00059373.pdf

                                               FW: I‐495 & I‐270 Managed Lanes Study_Cooperating
00059381   00059382    8/9/2018 16:23 Email    and Participating Agency Invitation                    .\VOL005\IMAGES\IMAGES002\00059381.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Cooperating
00059383   00059390    8/9/2018 16:23 Attach   Agency_MNCPPC_MO.pdf                                   .\VOL005\IMAGES\IMAGES002\00059383.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study_ Cooperating
00059391   00059392    8/9/2018 16:23 Email    and Participating Agency Invitation                    .\VOL005\IMAGES\IMAGES002\00059391.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Cooperating
00059393   00059400    8/9/2018 16:23 Attach   Agency_VDOT.pdf                                        .\VOL005\IMAGES\IMAGES002\00059393.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study_Participating
00059401   00059402    8/9/2018 16:24 Email    Agency Invitation                                      .\VOL005\IMAGES\IMAGES002\00059401.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
00059403   00059408    8/9/2018 16:24 Attach   Agency_BPW.pdf                                         .\VOL005\IMAGES\IMAGES002\00059403.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study_Participating
00059409   00059410    8/9/2018 16:24 Email    Agency Invitation                                      .\VOL005\IMAGES\IMAGES002\00059409.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
00059411   00059416    8/9/2018 16:24 Attach   Agency_MDP.pdf                                         .\VOL005\IMAGES\IMAGES002\00059411.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study_Participating
00059417   00059418    8/9/2018 16:24 Email    Agency Invitation                                      .\VOL005\IMAGES\IMAGES002\00059417.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
00059419   00059424    8/9/2018 16:24 Attach   Agency_MdTA.pdf                                        .\VOL005\IMAGES\IMAGES002\00059419.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study_Participating
00059425   00059426    8/9/2018 16:24 Email    Agency Invitation                                      .\VOL005\IMAGES\IMAGES002\00059425.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
00059427   00059432    8/9/2018 16:24 Attach   Agency_MTA.pdf                                         .\VOL005\IMAGES\IMAGES002\00059427.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study_Participating
00059433   00059434    8/9/2018 16:24 Email    Agency Invitation                                      .\VOL005\IMAGES\IMAGES002\00059433.pdf
                                               I‐495 & I‐270 Managed Lanes Study_Participating
00059435   00059440    8/9/2018 16:24 Attach   Agency_MWCOG.pdf                                       .\VOL005\IMAGES\IMAGES002\00059435.pdf
00059441   00059441    8/9/2018 17:30 Email    I‐495__‐270 NEPA Study Limits.pdf                      .\VOL005\IMAGES\IMAGES002\00059441.pdf

00059442   00059442    8/9/2018 17:35 Email    Objection to 270 expansion in Rockville/Gaithersburg   .\VOL005\IMAGES\IMAGES002\00059442.pdf
00059443   00059443   8/10/2018 16:32 Email    M‐NCPPC comment on April Purpose and Need              .\VOL005\IMAGES\IMAGES002\00059443.pdf
00059444   00059498   8/10/2018 16:32 Attach   M‐NCPPC_Joint P&N Comments_8‐3‐18.pdf                  .\VOL005\IMAGES\IMAGES002\00059444.pdf
00059499   00059500   8/10/2018 16:49 Email    FW:                                                    .\VOL005\IMAGES\IMAGES002\00059499.pdf
00059501   00059501   8/10/2018 17:06 Email    Air quality modeling approach                          .\VOL005\IMAGES\IMAGES002\00059501.pdf
                                               FW: Section 106 Correspondence: I‐495 & I‐270 MLS
00059502   00059502    8/13/2018 9:45 Email    Cultural Resources Gap Analysis                        .\VOL005\IMAGES\IMAGES002\00059502.pdf
00059503   00059505    8/13/2018 9:45 Attach   MLS Gap Analysis Transmittal_2018‐08‐08.pdf            .\VOL005\IMAGES\IMAGES002\00059503.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                          Page 18 of 263

00059506   00059506    8/14/2018 8:39 Email    I‐495 / I‐270                                         .\VOL005\IMAGES\IMAGES002\00059506.pdf
                                               I‐495 & I‐270 MLS Issue Resolution Process_1_August
00059507   00059507   8/14/2018 11:22 Attach   2018.pdf                                              .\VOL005\IMAGES\IMAGES002\00059507.pdf

00059508   00059510   8/14/2018 11:22 Email    I‐495 & I‐270 MLS IAWG Meeting No. 5‐ CANCELLED       .\VOL005\IMAGES\IMAGES002\00059508.pdf
00059511   00059511   8/14/2018 11:41 Email    FHWA/MDOT SHA Coordination Meeting                    .\VOL005\IMAGES\IMAGES002\00059511.pdf
00059512   00059513   8/14/2018 13:30 Email    Section 106 Schedule                                  .\VOL005\IMAGES\IMAGES002\00059512.pdf

00059514   00059515   8/14/2018 13:30 Attach   Proposed MHT Section 106 Review Schedule.docx          .\VOL005\IMAGES\IMAGES002\00059514.pdf
00059516   00059517   8/14/2018 14:06 Email    RE: FHWA/MDOT SHA Coordination Meeting                 .\VOL005\IMAGES\IMAGES002\00059516.pdf
00059518   00059519   8/14/2018 16:14 Email    RE: FHWA/MDOT SHA Coordination Meeting                 .\VOL005\IMAGES\IMAGES002\00059518.pdf
00059520   00059521   8/14/2018 17:02 Email    Additional Questions related to EO 13807               .\VOL005\IMAGES\IMAGES002\00059520.pdf
00059522   00059522   8/14/2018 19:33 Attach   What properties will be destroyed?                     .\VOL005\IMAGES\IMAGES002\00059522.pdf
                                               Possible Effects to 404 Watts Branch Parkway Rockville
00059523   00059523   8/14/2018 19:33 Attach   MD 20854                                               .\VOL005\IMAGES\IMAGES002\00059523.pdf
00059524   00059524   8/15/2018 12:28 Email    I‐495 & I‐270 Managed Lanes Study Inquiry              .\VOL005\IMAGES\IMAGES002\00059524.pdf
00059525   00059525   8/15/2018 12:28 Attach   Cerrelli Correspondence.pdf                            .\VOL005\IMAGES\IMAGES002\00059525.pdf
00059526   00059526   8/15/2018 12:31 Email    I‐495 & I‐270 Managed Lanes Study Inquiry              .\VOL005\IMAGES\IMAGES002\00059526.pdf
00059527   00059527   8/15/2018 12:31 Attach   David de la pena Correspondence Revised.pdf            .\VOL005\IMAGES\IMAGES002\00059527.pdf
00059528   00059532    8/16/2018 7:53 Edoc     I‐495‐ I‐270 Prel Range of Alts display_FINAL.pdf      .\VOL005\IMAGES\IMAGES002\00059528.pdf
00059533   00059533   8/16/2018 14:37 Email    495 MLS Info                                           .\VOL005\IMAGES\IMAGES002\00059533.pdf
00059534   00059559   8/16/2018 14:37 Attach   495_APE_low_res_scan.pdf                               .\VOL005\IMAGES\IMAGES002\00059534.pdf
00059560   00059560   8/16/2018 17:10 Email    M‐NCPPC Contacts                                       .\VOL005\IMAGES\IMAGES002\00059560.pdf
00059561   00059575    8/17/2018 8:39 Edoc     I495 I270 Displays_Chinese_FINAL.pdf                   .\VOL005\IMAGES\IMAGES002\00059561.pdf
00059576   00059577   8/17/2018 10:09 Email    RE: Proposed widening of I‐270                         .\VOL005\IMAGES\IMAGES002\00059576.pdf
00059578   00059579   8/17/2018 10:09 Attach   Possible Physical Widening of I‐270.pdf                .\VOL005\IMAGES\IMAGES002\00059578.pdf
00059580   00059598   8/17/2018 12:55 Edoc     I495 I270 Displays_Spanish_FINAL.pdf                   .\VOL005\IMAGES\IMAGES002\00059580.pdf
                                               2018‐08‐16 FHWA Meeting Re M‐NCPPC
00059599   00059599   8/17/2018 16:48 Attach   Coordination_Notes (1).docx                            .\VOL005\IMAGES\IMAGES002\00059599.pdf
00059600   00059600   8/19/2018 12:21 Email    495‐270                                                .\VOL005\IMAGES\IMAGES002\00059600.pdf
                                               comments in response to I‐495 & I‐270 Managed Lanes
00059601   00059602   8/19/2018 13:43 Email    Study                                                  .\VOL005\IMAGES\IMAGES002\00059601.pdf
00059603   00059603   8/19/2018 20:16 Email    I‐270 widening proposals                               .\VOL005\IMAGES\IMAGES002\00059603.pdf
00059604   00059604   8/19/2018 20:16 Email    FW: I‐270 widening proposals                           .\VOL005\IMAGES\IMAGES002\00059604.pdf
00059605   00059605   8/20/2018 17:15 Email    Beltway‐270 widening                                   .\VOL005\IMAGES\IMAGES002\00059605.pdf
00059606   00059607   8/20/2018 17:31 Email    Don't widen 270, there are better options!             .\VOL005\IMAGES\IMAGES002\00059606.pdf
00059608   00059608   8/20/2018 17:56 Email    No physical widening of I270 through Rockville         .\VOL005\IMAGES\IMAGES002\00059608.pdf
00059609   00059609   8/20/2018 20:48 Email    I‐495 and I‐270 lane widening                          .\VOL005\IMAGES\IMAGES002\00059609.pdf
00059610   00059610    8/21/2018 8:42 Email    Managed Lanes Study: Comments from SMTA                .\VOL005\IMAGES\IMAGES002\00059610.pdf

00059611   00059612    8/21/2018 8:42 Attach   LETTER TO MDOT ON MANAGED LANES STUDY.docx            .\VOL005\IMAGES\IMAGES002\00059611.pdf
00059613   00059613    8/21/2018 9:55 Email    I‐495/1‐270 Expansion                                 .\VOL005\IMAGES\IMAGES002\00059613.pdf
00059614   00059614   8/21/2018 10:19 Email    Against Widening of the Beltway                       .\VOL005\IMAGES\IMAGES002\00059614.pdf
00059615   00059616   8/21/2018 10:58 Edoc     Christy Shannon letter.pdf                            .\VOL005\IMAGES\IMAGES002\00059615.pdf
00059617   00059620   8/21/2018 11:06 Edoc     Darlo Weddle.pdf                                      .\VOL005\IMAGES\IMAGES002\00059617.pdf
00059621   00059622   8/21/2018 11:08 Edoc     Edith Kropp.pdf                                       .\VOL005\IMAGES\IMAGES002\00059621.pdf
00059623   00059624   8/21/2018 11:10 Edoc     Harvey Strine.pdf                                     .\VOL005\IMAGES\IMAGES002\00059623.pdf
00059625   00059626   8/21/2018 11:12 Edoc     Claire Funkhouser.pdf                                 .\VOL005\IMAGES\IMAGES002\00059625.pdf
00059627   00059629   8/21/2018 11:19 Edoc     Rebecca Batt.pdf                                      .\VOL005\IMAGES\IMAGES002\00059627.pdf
00059630   00059630   8/21/2018 11:57 Email    Opposed: Rt. 270 Widening Proposal                    .\VOL005\IMAGES\IMAGES002\00059630.pdf
00059631   00059631   8/21/2018 12:48 Email    Proposed widening of I‐270                            .\VOL005\IMAGES\IMAGES002\00059631.pdf
00059632   00059634   8/21/2018 13:39 Email    RE: I495 and I270 Managed Lanes Study                 .\VOL005\IMAGES\IMAGES002\00059632.pdf
00059635   00059637   8/21/2018 14:23 Email    RE: I495 and I270 Managed Lanes Study                 .\VOL005\IMAGES\IMAGES002\00059635.pdf
00059638   00059639   8/21/2018 14:40 Attach   Atrakchi Correspondence.pdf                           .\VOL005\IMAGES\IMAGES002\00059638.pdf
00059640   00059644   8/21/2018 19:45 Attach   I‐270 Comment Letter Sirimal R Mukerjee.pdf           .\VOL005\IMAGES\IMAGES002\00059640.pdf
00059645   00059645   8/21/2018 21:19 Email    Proposed I‐270 Widening                               .\VOL005\IMAGES\IMAGES002\00059645.pdf
00059646   00059647    8/22/2018 9:36 Email    Widening of I‐270 Proposal                            .\VOL005\IMAGES\IMAGES002\00059646.pdf
00059648   00059648   8/22/2018 10:17 Email    Widening of I‐270 ‐ NO, NO, NO!                       .\VOL005\IMAGES\IMAGES002\00059648.pdf
                                               RE: I‐495 & I‐270 MLS IAWG Meeting No. 5‐
00059649   00059652   8/22/2018 10:42 Email    CANCELLED                                             .\VOL005\IMAGES\IMAGES002\00059649.pdf
00059653   00059653   8/22/2018 15:53 Email    Concerns about highway plan                           .\VOL005\IMAGES\IMAGES002\00059653.pdf
00059654   00059655   8/22/2018 18:59 Email    RE: FHWA/MDOT SHA Coordination Meeting                .\VOL005\IMAGES\IMAGES002\00059654.pdf
00059656   00059656   8/22/2018 21:27 Email    Managed Lane Study I‐495 and I‐270                    .\VOL005\IMAGES\IMAGES002\00059656.pdf
00059657   00059657   8/22/2018 21:29 Email    Proposed Widening of I‐270                            .\VOL005\IMAGES\IMAGES002\00059657.pdf
                                               Comments regarding the Managed Lanes Study of 495
00059658   00059658   8/22/2018 23:54 Email    and 270                                               .\VOL005\IMAGES\IMAGES002\00059658.pdf
00059659   00059659    8/23/2018 8:27 Email    RE: Planning for M‐NCPPC Meeting                      .\VOL005\IMAGES\IMAGES002\00059659.pdf
00059660   00059662    8/23/2018 9:56 Attach   Degennaro Correspondence.docx                         .\VOL005\IMAGES\IMAGES002\00059660.pdf
00059663   00059665    8/23/2018 9:57 Attach   Elaine Amir.pdf                                       .\VOL005\IMAGES\IMAGES002\00059663.pdf
00059666   00059666   8/23/2018 12:47 Email    Possible Widening of I‐270                            .\VOL005\IMAGES\IMAGES002\00059666.pdf
                                               Upcoming Review: Section 4(f) outline I‐495/I‐270 MLS
00059667   00059667   8/23/2018 14:46 Email    project in MD                                         .\VOL005\IMAGES\IMAGES002\00059667.pdf
                                               2018‐09‐05 USACE_MDE Coordination Meeting
00059668   00059668   8/23/2018 16:02 Attach   Agenda.pdf                                            .\VOL005\IMAGES\IMAGES002\00059668.pdf
00059669   00059669   8/23/2018 19:24 Email    Comments from the City of Rockville                   .\VOL005\IMAGES\IMAGES002\00059669.pdf
00059670   00059670   8/23/2018 19:24 Attach   MDOT I20 I495 Comments 082318.pdf                     .\VOL005\IMAGES\IMAGES002\00059670.pdf
                                               I‐495 & I‐270 P3 Program: Rockville Resident
00059671   00059671   8/23/2018 22:36 Email    Comments                                              .\VOL005\IMAGES\IMAGES002\00059671.pdf
00059672   00059672    8/24/2018 8:57 Email    I‐270 widening????? RU kidding me....                 .\VOL005\IMAGES\IMAGES002\00059672.pdf
00059673   00059674   8/24/2018 10:48 Attach   1149_001.pdf                                          .\VOL005\IMAGES\IMAGES002\00059673.pdf
00059675   00059675   8/24/2018 10:51 Email    Attached Image                                        .\VOL005\IMAGES\IMAGES002\00059675.pdf
00059676   00059677   8/24/2018 10:51 Attach   1153_001.pdf                                          .\VOL005\IMAGES\IMAGES002\00059676.pdf
00059678   00059678   8/24/2018 10:55 Email    Attached Image                                        .\VOL005\IMAGES\IMAGES002\00059678.pdf
00059679   00059681   8/24/2018 10:55 Attach   1158_001.pdf                                          .\VOL005\IMAGES\IMAGES002\00059679.pdf
00059682   00059683   8/24/2018 10:58 Attach   1162_001.pdf                                          .\VOL005\IMAGES\IMAGES002\00059682.pdf
00059684   00059684   8/24/2018 12:20 Email    495 Expansion                                         .\VOL005\IMAGES\IMAGES002\00059684.pdf

00059685   00059685   8/24/2018 15:53 Email    Fw: Prince George's Comments ‐ Managed Lanes Study .\VOL005\IMAGES\IMAGES002\00059685.pdf
                                               I‐495 I‐270 Managed Lanes Study_Purpose and Need
00059686   00059738   8/24/2018 15:53 Attach   Statement_2018‐07‐30 V3 CSH.docx                   .\VOL005\IMAGES\IMAGES002\00059686.pdf
00059739   00059740   8/24/2018 15:53 Attach   DPRManaged Lanes Comments.pdf                      .\VOL005\IMAGES\IMAGES002\00059739.pdf
00059741   00059741   8/24/2018 15:53 Attach   DPRAttachment.pdf                                  .\VOL005\IMAGES\IMAGES002\00059741.pdf
00059742   00059743   8/24/2018 16:08 Attach   Hyman.pdf                                          .\VOL005\IMAGES\IMAGES002\00059742.pdf
                                               Comment about the I‐495 & I‐270 Managed Lanes
00059744   00059744   8/24/2018 23:10 Email    Study                                              .\VOL005\IMAGES\IMAGES002\00059744.pdf
                                               Very Concerned about the I‐270 and I‐495 proposed
00059745   00059746   8/25/2018 10:05 Email    expansions/environmental study                     .\VOL005\IMAGES\IMAGES002\00059745.pdf
00059747   00059748   8/25/2018 14:29 Email    495‐270 comments from MoCo Sierra Club             .\VOL005\IMAGES\IMAGES002\00059747.pdf
00059749   00059750   8/25/2018 19:15 Email    Feedback on I‐270/495 study                        .\VOL005\IMAGES\IMAGES002\00059749.pdf
                                               Comments on Managed Lanes Study for I‐495 and I‐
00059751   00059754   8/25/2018 22:25 Email    270                                                .\VOL005\IMAGES\IMAGES002\00059751.pdf
00059755   00059755   8/25/2018 23:33 Email    I‐495 & I‐270 P3 Plan                              .\VOL005\IMAGES\IMAGES002\00059755.pdf
00059756   00059757   8/25/2018 23:33 Attach   MDOT Letter dated 82518.pdf                        .\VOL005\IMAGES\IMAGES002\00059756.pdf
00059758   00059758   8/25/2018 23:33 Email    FW: I‐495 & I‐270 P3 Plan                          .\VOL005\IMAGES\IMAGES002\00059758.pdf
00059759   00059763   8/26/2018 10:16 Attach   GFCA Testimony ‐ I‐270 Expansion.docx              .\VOL005\IMAGES\IMAGES002\00059759.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                         Page 19 of 263

00059764   00059765   8/26/2018 11:52 Email    Public Comments on Engineering                        .\VOL005\IMAGES\IMAGES002\00059764.pdf
00059766   00059766   8/26/2018 16:22 Email    RE: Comments on Managed Lanes Study                   .\VOL005\IMAGES\IMAGES002\00059766.pdf
                                               Comments on Managed Lanes Study for I‐495 and I‐
00059767   00059770   8/26/2018 16:22 Attach   270                                                   .\VOL005\IMAGES\IMAGES002\00059767.pdf
00059771   00059771   8/26/2018 16:22 Attach   Public Comments on Public/Private Partnership         .\VOL005\IMAGES\IMAGES002\00059771.pdf
00059772   00059772   8/26/2018 16:22 Attach   Public Comments on Engineering                        .\VOL005\IMAGES\IMAGES002\00059772.pdf
00059773   00059774   8/26/2018 16:22 Attach   Public Comments on Engineering                        .\VOL005\IMAGES\IMAGES002\00059773.pdf
00059775   00059775   8/26/2018 16:22 Attach   Public Comments on Multi‐Modal Connectivity           .\VOL005\IMAGES\IMAGES002\00059775.pdf
00059776   00059776   8/26/2018 16:34 Email    Possible Widening of I‐270                            .\VOL005\IMAGES\IMAGES002\00059776.pdf
                                               Comments and observations regarding the Managed
00059777   00059777   8/26/2018 17:23 Email    Lanes Study of 495 and 270.                           .\VOL005\IMAGES\IMAGES002\00059777.pdf
                                               August 26, 2018 Submission of Comment on I‐495 & I‐
00059778   00059779   8/26/2018 17:36 Email    270 Managed Lanes Study                               .\VOL005\IMAGES\IMAGES002\00059778.pdf

                                               Comments Regarding the Alternatives Public
00059780   00059783   8/26/2018 19:15 Email    Workshop for the I‐495 & I‐270 Managed Lanes Study .\VOL005\IMAGES\IMAGES002\00059780.pdf

00059784   00059784   8/26/2018 20:50 Email    Managed Lanes Study Public Workshop Comments          .\VOL005\IMAGES\IMAGES002\00059784.pdf
00059785   00059787   8/26/2018 20:50 Attach   495 270 P3 Comments.docx                              .\VOL005\IMAGES\IMAGES002\00059785.pdf
00059788   00059789   8/26/2018 21:31 Email    Comments on Beltway Alternatives Analysis             .\VOL005\IMAGES\IMAGES002\00059788.pdf
00059790   00059790   8/26/2018 22:16 Email    Managed Lane Study for Interstates 495 and 270        .\VOL005\IMAGES\IMAGES002\00059790.pdf

00059791   00059791   8/26/2018 23:24 Email    Maryland Sierra Club comments on 495‐270‐p3 study     .\VOL005\IMAGES\IMAGES002\00059791.pdf
00059792   00059796   8/26/2018 23:24 Attach   MD Sierra Club on 495‐270 study 8‐26‐2018.doc         .\VOL005\IMAGES\IMAGES002\00059792.pdf

00059797   00059801    8/27/2018 0:08 Email    Personal Statement regarding 495‐270 expansion        .\VOL005\IMAGES\IMAGES002\00059797.pdf
00059802   00059802    8/27/2018 7:24 Email    please do not widen I‐495                             .\VOL005\IMAGES\IMAGES002\00059802.pdf
00059803   00059803    8/27/2018 8:44 Email    Comment of 495‐270 Expansion                          .\VOL005\IMAGES\IMAGES002\00059803.pdf
00059804   00059804    8/27/2018 8:44 Attach   LEVIN Comment on 270 Expansion.docx                   .\VOL005\IMAGES\IMAGES002\00059804.pdf
                                               Sierra Club MD comments on 495‐270 Managed Lanes
00059805   00059805    8/27/2018 9:42 Email    Study                                                 .\VOL005\IMAGES\IMAGES002\00059805.pdf

00059806   00059810   8/27/2018 10:22 Email    RE: Comments on Managed Lane Study Alternatives       .\VOL005\IMAGES\IMAGES002\00059806.pdf
00059811   00059813   8/27/2018 11:33 Attach   VoNCC Comments on Managed Lane Study .pdf             .\VOL005\IMAGES\IMAGES002\00059811.pdf
00059814   00059815   8/27/2018 12:29 Email    RE: Don't Widen the I‐270 Footprint                   .\VOL005\IMAGES\IMAGES002\00059814.pdf
00059816   00059817   8/27/2018 12:56 Email    Against physical widening of I‐270                    .\VOL005\IMAGES\IMAGES002\00059816.pdf
                                               FW: Greenbelt Comment Letter on Managed Lane
00059818   00059818   8/27/2018 14:17 Email    Study Project Alternatives                            .\VOL005\IMAGES\IMAGES002\00059818.pdf
00059819   00059820   8/27/2018 14:17 Attach   Managed Lane letter alernatives.pdf                   .\VOL005\IMAGES\IMAGES002\00059819.pdf
00059821   00059821   8/27/2018 15:36 Email    I‐495 and I‐270 Managed Lane Study Comments           .\VOL005\IMAGES\IMAGES002\00059821.pdf

00059822   00059828   8/27/2018 15:36 Attach   2018.08.24 CSG Comments re 495‐270 Study.FINAL.pdf .\VOL005\IMAGES\IMAGES002\00059822.pdf
00059829   00059829   8/27/2018 15:53 Attach   D20LetterBeltwayWidening_Final.pdf                    .\VOL005\IMAGES\IMAGES002\00059829.pdf
                                               FW: D20 Comment on I‐495 and I‐270 Managed Lanes
00059830   00059830   8/27/2018 15:55 Email    Study                                                 .\VOL005\IMAGES\IMAGES002\00059830.pdf
00059831   00059832   8/27/2018 16:29 Email    I‐495 & I‐270 Managed Lanes Study                     .\VOL005\IMAGES\IMAGES002\00059831.pdf
00059833   00059834   8/27/2018 16:34 Email    P3 proposal                                           .\VOL005\IMAGES\IMAGES002\00059833.pdf
00059835   00059836   8/27/2018 16:34 Attach   The 270 Problem.doc                                   .\VOL005\IMAGES\IMAGES002\00059835.pdf
                                               I‐495 & I‐270 Managed Lanes Study comment ‐ hybrid
00059837   00059838   8/27/2018 16:51 Email    of alternatives 9 and 11 for Beltway traffic          .\VOL005\IMAGES\IMAGES002\00059837.pdf
00059839   00059840   8/27/2018 17:08 Email    Comments on Managed Lanes Alternatives                .\VOL005\IMAGES\IMAGES002\00059839.pdf
                                               Comments on Beltway Alternatives Analysis‐‐corrected‐
00059841   00059842   8/27/2018 18:10 Email    a‐few‐typos                                           .\VOL005\IMAGES\IMAGES002\00059841.pdf
                                               Submission: 627 comments collected on 495‐270‐p3
00059843   00059843   8/27/2018 18:43 Email    study                                                 .\VOL005\IMAGES\IMAGES002\00059843.pdf
00059844   00059844   8/27/2018 18:43 Attach   Sierra Club ‐ Highway Expansion Comments.xlsx         .\VOL005\IMAGES\IMAGES002\00059844.pdf   .\VOL005\NATIVES\NATIVES002\00059844.xlsx
                                               RE: Submission: 627 comments collected on 495‐270‐
00059845   00059846   8/27/2018 18:46 Email    p3 study                                              .\VOL005\IMAGES\IMAGES002\00059845.pdf
00059847   00059847   8/27/2018 19:19 Email    Opposed to 495 expansion                              .\VOL005\IMAGES\IMAGES002\00059847.pdf
                                               I‐495 & I‐270 P3 Program: Rockville Resident
00059848   00059848   8/27/2018 19:51 Email    Comments                                              .\VOL005\IMAGES\IMAGES002\00059848.pdf
00059849   00059849   8/27/2018 20:28 Email    I‐270–No physical widening                            .\VOL005\IMAGES\IMAGES002\00059849.pdf
00059850   00059850   8/27/2018 21:18 Email    Comment for Public Record: 495‐270‐P3                 .\VOL005\IMAGES\IMAGES002\00059850.pdf
                                               495‐270‐P3‐public‐comment‐actionnetwork‐
00059851   00059925   8/27/2018 21:18 Attach   petition.pdf                                          .\VOL005\IMAGES\IMAGES002\00059851.pdf
00059926   00059926   8/27/2018 21:23 Email    PLEASE, DO NOT WIDEN I270                             .\VOL005\IMAGES\IMAGES002\00059926.pdf
00059927   00059927   8/27/2018 21:44 Email    I‐270–No physical widening                            .\VOL005\IMAGES\IMAGES002\00059927.pdf
00059928   00059929   8/27/2018 21:49 Email    Re: Comments on Managed Lanes Alternatives            .\VOL005\IMAGES\IMAGES002\00059928.pdf
00059930   00059930   8/27/2018 22:08 Email    270 expansion                                         .\VOL005\IMAGES\IMAGES002\00059930.pdf
00059931   00059931   8/27/2018 22:17 Email    No more lanes on 270!                                 .\VOL005\IMAGES\IMAGES002\00059931.pdf
00059932   00059932   8/27/2018 22:50 Email    I‐495 & I‐270 Managed Lanes Study                     .\VOL005\IMAGES\IMAGES002\00059932.pdf
00059933   00059933   8/27/2018 22:52 Email    do not expand 270 near rockville                      .\VOL005\IMAGES\IMAGES002\00059933.pdf
                                               Comment Letter re: I‐495 & I‐270 Managed Lanes
00059934   00059934   8/27/2018 23:14 Email    Study                                                 .\VOL005\IMAGES\IMAGES002\00059934.pdf

00059935   00059936    8/28/2018 7:39 Attach   2018‐08‐21 FHWA Coordination Meeting_Notes.pdf        .\VOL005\IMAGES\IMAGES002\00059935.pdf
00059937   00059939    8/28/2018 9:27 Attach   Degennaro_bcc.pdf                                     .\VOL005\IMAGES\IMAGES002\00059937.pdf
00059940   00059941    8/28/2018 9:34 Email    FW: Dont Widen 270                                    .\VOL005\IMAGES\IMAGES002\00059940.pdf
00059942   00059947   8/28/2018 10:02 Attach   P3 Social Media Content Suggestions.docx              .\VOL005\IMAGES\IMAGES002\00059942.pdf
00059948   00059949   8/28/2018 14:05 Email    Public Workshop Comments 270‐495                      .\VOL005\IMAGES\IMAGES002\00059948.pdf
00059950   00059950   8/28/2018 14:05 Attach   270‐495 Public Comment Period.doc                     .\VOL005\IMAGES\IMAGES002\00059950.pdf

                                               Comments/Suggestions regarding I‐270/I‐495 Purpose
00059951   00059951   8/28/2018 16:02 Email    & Need, Alternatives, and Screening Criteria          .\VOL005\IMAGES\IMAGES002\00059951.pdf
00059952   00059955   8/28/2018 16:02 Attach   MCDOT_Alts_Screening_Comments.pdf                     .\VOL005\IMAGES\IMAGES002\00059952.pdf
00059956   00059957   8/28/2018 16:02 Attach   MCDOT_PN_Comments.pdf                                 .\VOL005\IMAGES\IMAGES002\00059956.pdf
00059958   00059962   8/28/2018 16:12 Email    Montgomery County Poor Farm                           .\VOL005\IMAGES\IMAGES002\00059958.pdf
                                               Resp‐2018.08.26‐Email‐I270.Lanes‐Nadler‐Low‐
00059963   00059965   8/29/2018 10:38 Attach   0006(final)_bccs.pdf                                  .\VOL005\IMAGES\IMAGES002\00059963.pdf
00059966   00059971   8/29/2018 12:19 Email    RE: Montgomery County Poor Farm                       .\VOL005\IMAGES\IMAGES002\00059966.pdf
00059972   00059972   8/29/2018 12:19 Attach   DSCF4615.JPG                                          .\VOL005\IMAGES\IMAGES002\00059972.pdf
00059973   00059978   8/29/2018 12:38 Email    RE: Montgomery County Poor Farm                       .\VOL005\IMAGES\IMAGES002\00059973.pdf
00059979   00059979   8/29/2018 12:38 Attach   DSCF4615.pdf                                          .\VOL005\IMAGES\IMAGES002\00059979.pdf
00059980   00059980   8/29/2018 12:38 Attach   DSCF4616 00.pdf                                       .\VOL005\IMAGES\IMAGES002\00059980.pdf
00059981   00059987   8/29/2018 15:55 Email    Re: Montgomery County Poor Farm                       .\VOL005\IMAGES\IMAGES002\00059981.pdf
00059988   00059989   8/29/2018 16:11 Email    RE: I‐495 & I‐270 P3 Program                          .\VOL005\IMAGES\IMAGES002\00059988.pdf
00059990   00059992   8/29/2018 16:40 Email    RE: MLS Archaeology Field Visit tomorrow              .\VOL005\IMAGES\IMAGES002\00059990.pdf

                                               Re: Facilitation Request: Stakeholders Meeting for
00059993   00059993    8/30/2018 5:40 Email    Project Delivery under Presidential Executive Order   .\VOL005\IMAGES\IMAGES002\00059993.pdf
00059994   00059994   8/30/2018 10:50 Email    Fw: Against 270 widening                              .\VOL005\IMAGES\IMAGES002\00059994.pdf
00059995   00059997   8/30/2018 13:36 Attach   1185_001.pdf                                          .\VOL005\IMAGES\IMAGES002\00059995.pdf
00059998   00060010   8/30/2018 13:39 Attach   1186_001.pdf                                          .\VOL005\IMAGES\IMAGES002\00059998.pdf
00060011   00060011   8/31/2018 16:02 Email    Widening Route 270                                    .\VOL005\IMAGES\IMAGES002\00060011.pdf
00060012   00060012     9/4/2018 9:00 Email    FW:                                                   .\VOL005\IMAGES\IMAGES002\00060012.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                           Page 20 of 263

00060013   00060014     9/4/2018 9:00 Attach   Eugene Salvo.pdf                                     .\VOL005\IMAGES\IMAGES002\00060013.pdf
00060015   00060016     9/4/2018 9:00 Attach   Stephen Fischer.pdf                                  .\VOL005\IMAGES\IMAGES002\00060015.pdf
00060017   00060018     9/4/2018 9:00 Attach   Terri Workman.pdf                                    .\VOL005\IMAGES\IMAGES002\00060017.pdf
00060019   00060020     9/4/2018 9:00 Attach   Daniel Videlock.pdf                                  .\VOL005\IMAGES\IMAGES002\00060019.pdf
00060021   00060022     9/4/2018 9:00 Attach   Name Unknown.pdf                                     .\VOL005\IMAGES\IMAGES002\00060021.pdf
00060023   00060025     9/4/2018 9:00 Attach   The Promenade.pdf                                    .\VOL005\IMAGES\IMAGES002\00060023.pdf
00060026   00060030     9/4/2018 9:00 Attach   Dan Willett.pdf                                      .\VOL005\IMAGES\IMAGES002\00060026.pdf
00060031   00060035     9/4/2018 9:00 Attach   Mae Novak.pdf                                        .\VOL005\IMAGES\IMAGES002\00060031.pdf
00060036   00060038     9/4/2018 9:00 Attach   Evelynne Carpentier.pdf                              .\VOL005\IMAGES\IMAGES002\00060036.pdf
00060039   00060040     9/4/2018 9:00 Attach   Patrick Capentier.pdf                                .\VOL005\IMAGES\IMAGES002\00060039.pdf
00060041   00060043     9/4/2018 9:00 Attach   James Savage.pdf                                     .\VOL005\IMAGES\IMAGES002\00060041.pdf
00060044   00060045     9/4/2018 9:00 Attach   The Batt's.pdf                                       .\VOL005\IMAGES\IMAGES002\00060044.pdf
00060046   00060047     9/4/2018 9:00 Attach   Dorothy Davis.pdf                                    .\VOL005\IMAGES\IMAGES002\00060046.pdf
                                               Resp‐2018.08.28‐Email‐Sierra.Club.Ditzler‐High‐0007‐
00060048   00060051     9/4/2018 9:26 Attach   bcc.pdf                                              .\VOL005\IMAGES\IMAGES002\00060048.pdf
                                               Resp‐2018.08.28‐Email‐270.Widening‐St.Claire‐Low‐
00060052   00060054     9/4/2018 9:29 Attach   0010 ‐ bcc.pdf                                       .\VOL005\IMAGES\IMAGES002\00060052.pdf
                                               Resp‐2018.08.24‐Email‐495.Bridge‐Fuller‐Low‐0008 ‐
00060055   00060058     9/4/2018 9:32 Attach   bcc.pdf                                              .\VOL005\IMAGES\IMAGES002\00060055.pdf
                                               Resp‐2018.08.26‐email‐Transit.Amazon‐Karakashian‐
00060059   00060062     9/4/2018 9:40 Attach   Low‐0005 ‐ bcc.pdf                                   .\VOL005\IMAGES\IMAGES002\00060059.pdf
                                               2018‐07‐30 I‐495 NEXT Final Meeting Summary VDOT‐
00060063   00060068    9/4/2018 14:46 Attach   MDOT Tech Mtg 3.docx                                 .\VOL005\IMAGES\IMAGES002\00060063.pdf
                                               FW: M‐NCPPC meeting with Federal Highway
00060069   00060070     9/5/2018 8:16 Email    Administration                                       .\VOL005\IMAGES\IMAGES002\00060069.pdf
00060071   00060071     9/5/2018 9:37 Email    Draft meeting discussion ‐ MNCPPC                    .\VOL005\IMAGES\IMAGES002\00060071.pdf
00060072   00060073    9/5/2018 12:11 Edoc     Baltimore 5‐Plotroom_20180831_132357.pdf             .\VOL005\IMAGES\IMAGES002\00060072.pdf
00060074   00060074    9/5/2018 13:10 Email    Follow‐up Email/Discussion with Peter Field          .\VOL005\IMAGES\IMAGES002\00060074.pdf
00060075   00060075    9/5/2018 13:55 Email    RE: Draft meeting discussion ‐ MNCPPC                .\VOL005\IMAGES\IMAGES002\00060075.pdf
00060076   00060076    9/5/2018 14:35 Email    RE: MD I‐270 I‐495 Briefing draft 8‐2‐2018.pptx      .\VOL005\IMAGES\IMAGES002\00060076.pdf
00060077   00060081    9/5/2018 17:40 Attach   Christopher Conklin 2.pdf                            .\VOL005\IMAGES\IMAGES002\00060077.pdf
00060082   00060084    9/5/2018 17:40 Attach   Christopher Conklin.pdf                              .\VOL005\IMAGES\IMAGES002\00060082.pdf
00060085   00060086    9/5/2018 17:40 Attach   City of Rockville.pdf                                .\VOL005\IMAGES\IMAGES002\00060085.pdf
00060087   00060090    9/5/2018 17:40 Attach   Dept. of Parks & Recreation.pdf                      .\VOL005\IMAGES\IMAGES002\00060087.pdf
00060091   00060093    9/5/2018 17:40 Attach   Elvera Wolverton.pdf                                 .\VOL005\IMAGES\IMAGES002\00060091.pdf
00060094   00060095    9/5/2018 17:40 Attach   Gaithersburg Chamber of Commerce.pdf                 .\VOL005\IMAGES\IMAGES002\00060094.pdf
00060096   00060098    9/5/2018 17:40 Attach   William Yeaman.pdf                                   .\VOL005\IMAGES\IMAGES002\00060096.pdf
                                               RE: M‐NCPPC meeting with Federal Highway
00060099   00060100     9/6/2018 7:37 Email    Administration                                       .\VOL005\IMAGES\IMAGES002\00060099.pdf
                                               I495 I270 Displays 2018_FINAL_9‐6‐
00060101   00060120    9/6/2018 12:06 Edoc     18_NEWPHOTO.pdf                                      .\VOL005\IMAGES\IMAGES002\00060101.pdf
00060121   00060121    9/6/2018 12:49 Email    I‐495 & I‐270 P3 Program: No to widening             .\VOL005\IMAGES\IMAGES002\00060121.pdf

                                               I‐495 I‐270 July
00060122   00060166    9/6/2018 13:44 Edoc     Workshops_widescreen_FINAL090618NEWPHOTO.pdf .\VOL005\IMAGES\IMAGES002\00060122.pdf
00060167   00060167    9/6/2018 14:12 Email    RE: Answer requested on alternatives study   .\VOL005\IMAGES\IMAGES002\00060167.pdf
00060168   00060168    9/6/2018 15:39 Email    Follow Up Call to Casey Anderson             .\VOL005\IMAGES\IMAGES002\00060168.pdf
00060169   00060171    9/6/2018 16:04 Email    RE: Answer requested on alternatives study   .\VOL005\IMAGES\IMAGES002\00060169.pdf
00060172   00060174    9/6/2018 16:07 Email    RE: Answer requested on alternatives study   .\VOL005\IMAGES\IMAGES002\00060172.pdf
00060175   00060175    9/7/2018 15:00 Email    RE: FHWA meeting request                     .\VOL005\IMAGES\IMAGES002\00060175.pdf
00060176   00060177    9/7/2018 15:00 Email    FW: Comments on Managed Lanes Alternatives   .\VOL005\IMAGES\IMAGES002\00060176.pdf
00060178   00060179    9/7/2018 16:37 Email    RE: concurrence form                         .\VOL005\IMAGES\IMAGES002\00060178.pdf
00060180   00060180    9/7/2018 16:37 Attach   FHWA concur P&N.pdf                          .\VOL005\IMAGES\IMAGES002\00060180.pdf

00060181   00060182   9/10/2018 10:26 Email    FW: [Non‐DoD Source] FW: I‐495/I‐270 MLS project    .\VOL005\IMAGES\IMAGES002\00060181.pdf
00060183   00060184   9/10/2018 10:26 Attach   MLS FLA sec 106_Navy.pdf                            .\VOL005\IMAGES\IMAGES002\00060183.pdf
00060185   00060185   9/10/2018 13:30 Email    FHWA Coordination Meeting                           .\VOL005\IMAGES\IMAGES002\00060185.pdf
                                               I‐495 & I‐270 Managed Lanes Study Logical Termini
00060186   00060187   9/10/2018 14:01 Email    and Independent Utility                             .\VOL005\IMAGES\IMAGES002\00060186.pdf
                                               I‐495 & I‐270 Managed Lanes Study Logical Termini
00060188   00060188   9/10/2018 14:45 Email    and Independent Utility                             .\VOL005\IMAGES\IMAGES002\00060188.pdf
00060189   00060189   9/10/2018 17:50 Email    Re: Citizen Air Quality Question follow up          .\VOL005\IMAGES\IMAGES002\00060189.pdf

00060190   00060190    9/11/2018 9:36 Email    FHWA/SHA/MNCPPC Meeting ‐ Peter Field facilitator .\VOL005\IMAGES\IMAGES002\00060190.pdf
00060191   00060191   9/11/2018 13:20 Email    FW: MCC Briefing                                     .\VOL005\IMAGES\IMAGES002\00060191.pdf
00060192   00060192   9/11/2018 13:57 Email    FW: MCC Briefing                                     .\VOL005\IMAGES\IMAGES002\00060192.pdf
00060193   00060199   9/11/2018 14:12 Attach   Burch,Timm,David Heltemes.pdf                        .\VOL005\IMAGES\IMAGES002\00060193.pdf
00060200   00060201   9/11/2018 16:21 Email    RE: I‐495/I‐270 MLS project                          .\VOL005\IMAGES\IMAGES002\00060200.pdf
00060202   00060202   9/11/2018 16:53 Email    RE: FHWA meeting request                             .\VOL005\IMAGES\IMAGES002\00060202.pdf
00060203   00060204   9/12/2018 11:40 Attach   2018.0981x.mopg.pdf                                  .\VOL005\IMAGES\IMAGES002\00060203.pdf
00060205   00060205   9/12/2018 19:12 Email    Montgomery County Council                            .\VOL005\IMAGES\IMAGES002\00060205.pdf
00060206   00060207    9/13/2018 7:01 Email    FW: Montgomery County Council                        .\VOL005\IMAGES\IMAGES002\00060206.pdf
00060208   00060209    9/13/2018 8:32 Email    Re: Montgomery County Council                        .\VOL005\IMAGES\IMAGES002\00060208.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study; Agency Points
00060210   00060213   9/13/2018 17:17 Attach   of Contact                                           .\VOL005\IMAGES\IMAGES002\00060210.pdf
00060214   00060215   9/14/2018 13:18 Email    FW: MNCPPC Comments to P & N                         .\VOL005\IMAGES\IMAGES002\00060214.pdf
                                               Priced Managed Lanes Position Paper_2018‐09‐
00060216   00060220   9/14/2018 15:25 Attach   14.docx                                              .\VOL005\IMAGES\IMAGES002\00060216.pdf
                                               Priced Managed Lanes Position Paper and Discussion
00060221   00060222   9/14/2018 15:25 Email    Paper                                                .\VOL005\IMAGES\IMAGES002\00060221.pdf
00060223   00060224   9/17/2018 11:17 Email    I‐495 & I‐270 IAWG Field Trip September 28th         .\VOL005\IMAGES\IMAGES002\00060223.pdf
00060225   00060225   9/17/2018 11:17 Attach   Quince Orchard_Gaithersburg PnR Lot.JPG              .\VOL005\IMAGES\IMAGES002\00060225.pdf

                                               FW: RUSH CIRCULAND FHWA ACTION REQUIRED BY
                                               9/17/2018: Request for Concurrence on Section 4(f)
                                               Temporary Occupancy Criteria for Clara Barton
00060226   00060227   9/17/2018 14:45 Email    Parkway and C&O Canal National Historical Park        .\VOL005\IMAGES\IMAGES002\00060226.pdf
                                               I495 over CB and C&O MHT NAE and Temp Occ
00060228   00060233   9/17/2018 14:45 Attach   Concurrence_4‐17‐18.pdf                               .\VOL005\IMAGES\IMAGES002\00060228.pdf
                                               CO Canal SIGNED 4(f) concurrence I‐495 Bridge
00060234   00060236   9/17/2018 14:45 Attach   cleaning paint 9‐6‐18.pdf                             .\VOL005\IMAGES\IMAGES002\00060234.pdf
                                               GWMP SIGNED 4(f) concurrence I‐495 Bridge painting
00060237   00060241   9/17/2018 14:45 Attach   9‐6‐18.pdf                                            .\VOL005\IMAGES\IMAGES002\00060237.pdf
                                               RE_ Priced Managed Lanes Position Paper and
00060242   00060243   9/17/2018 15:31 Email    Dis...(1).pdf                                         .\VOL005\IMAGES\IMAGES002\00060242.pdf
00060244   00060245   9/17/2018 17:12 Email    RE: Question on Session with Pete Fields              .\VOL005\IMAGES\IMAGES002\00060244.pdf
00060246   00060248    9/18/2018 9:52 Email    FW_ MNCPPC Comments to P & N.pdf                      .\VOL005\IMAGES\IMAGES002\00060246.pdf
00060249   00060249   9/18/2018 14:00 Email    RE: Rail options                                      .\VOL005\IMAGES\IMAGES002\00060249.pdf
                                               McGeeney‐2018.09.12‐Transit.Options.14a.14b.‐Email‐
00060250   00060251   9/18/2018 14:00 Attach   0012‐Res.pdf                                          .\VOL005\IMAGES\IMAGES002\00060250.pdf
00060252   00060253   9/18/2018 14:12 Email    RE: Montgomery County Council                         .\VOL005\IMAGES\IMAGES002\00060252.pdf
00060254   00060254   9/18/2018 14:18 Email    One Federal Decision Info                             .\VOL005\IMAGES\IMAGES002\00060254.pdf
00060255   00060256    9/19/2018 8:11 Email    I‐495 & I‐270 MLS Design Year Position Paper          .\VOL005\IMAGES\IMAGES002\00060255.pdf
                                               I‐495 & I‐270 MLS Design Year Position Paper_2018‐09‐
00060257   00060258    9/19/2018 8:11 Attach   19.docx                                               .\VOL005\IMAGES\IMAGES002\00060257.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                         Page 21 of 263

                                               RE: I‐495 & I‐270 Managed Lanes Study Logical Termini
00060259   00060260    9/19/2018 8:51 Email    and Independent Utility                               .\VOL005\IMAGES\IMAGES002\00060259.pdf
00060261   00060263   9/19/2018 12:06 Email    RE: MNCPPC Comments to P & N                          .\VOL005\IMAGES\IMAGES002\00060261.pdf
00060264   00060267   9/19/2018 12:07 Email    RE_ MNCPPC Comments to P & N.pdf                      .\VOL005\IMAGES\IMAGES002\00060264.pdf
00060268   00060269   9/19/2018 12:46 Email    Section 106 Schedule                                  .\VOL005\IMAGES\IMAGES002\00060268.pdf
                                               Revised Section 106 Review Schedule_2018‐09‐
00060270   00060271   9/19/2018 12:46 Attach   19.docx                                               .\VOL005\IMAGES\IMAGES002\00060270.pdf
00060272   00060272   9/19/2018 22:21 Attach   08‐01_09‐14‐2018PIRequest‐EmailedAB.xlsx              .\VOL005\IMAGES\IMAGES002\00060272.pdf   .\VOL005\NATIVES\NATIVES002\00060272.xlsx
00060273   00060276    9/20/2018 7:06 Email    FW: MNCPPC Comments to P & N                          .\VOL005\IMAGES\IMAGES002\00060273.pdf
                                               08‐01_09‐14‐2018_PIA
00060277   00060372    9/20/2018 9:48 Edoc     Request.WebsiteComments.pdf                           .\VOL005\IMAGES\IMAGES002\00060277.pdf
00060373   00060374   9/20/2018 10:49 Email    One more discussion topic                             .\VOL005\IMAGES\IMAGES002\00060373.pdf

00060375   00060376   9/20/2018 12:10 Email    RE: MNCPPC/MDOT/FHWA Executive Level Meeting          .\VOL005\IMAGES\IMAGES002\00060375.pdf

00060377   00060378   9/20/2018 13:01 Email    RE: MNCPPC/MDOT/FHWA Executive Level Meeting          .\VOL005\IMAGES\IMAGES002\00060377.pdf

00060379   00060381   9/20/2018 13:42 Email    RE: MNCPPC/MDOT/FHWA Executive Level Meeting          .\VOL005\IMAGES\IMAGES002\00060379.pdf

00060382   00060387   9/20/2018 16:23 Email    RE: DRAFT Agenda for MDOT MNCPPC FHWA Meeting .\VOL005\IMAGES\IMAGES002\00060382.pdf

00060388   00060388   9/20/2018 16:23 Attach   MDOT_MNCPPC_FHWA_Sept25_Agenda_JM.docx                .\VOL005\IMAGES\IMAGES002\00060388.pdf

00060389   00060445   9/20/2018 23:02 Attach   Copy of 08‐01_09‐14‐2018PIRequest‐Emailed KBK.pdf .\VOL005\IMAGES\IMAGES002\00060389.pdf

00060446   00060446   9/20/2018 23:02 Attach   Copy of 08‐01_09‐14‐2018PIRequest‐Emailed KBK.xlsx .\VOL005\IMAGES\IMAGES002\00060446.pdf      .\VOL005\NATIVES\NATIVES002\00060446.xlsx

00060447   00060452    9/21/2018 8:37 Email    RE: DRAFT Agenda for MDOT MNCPPC FHWA Meeting .\VOL005\IMAGES\IMAGES002\00060447.pdf
                                               MDOT_MNCPPC_FHWA_Sept25_Agenda_Final_Draft_
00060453   00060454    9/21/2018 8:58 Edoc     KP.docx                                             .\VOL005\IMAGES\IMAGES002\00060453.pdf
                                               MDOT_MNCPPC_FHWA_Sept25_Agenda_Final_Draft_
00060455   00060456    9/21/2018 9:00 Attach   KP.docx                                             .\VOL005\IMAGES\IMAGES002\00060455.pdf
                                               FW: Final Draft agenda for next week's meeting with
00060457   00060457    9/21/2018 9:02 Email    MNCPPC                                              .\VOL005\IMAGES\IMAGES002\00060457.pdf
                                               MDOT_MNCPPC_FHWA_Sept25_Agenda_Final_Draft_
00060458   00060459    9/21/2018 9:02 Attach   KP.docx                                             .\VOL005\IMAGES\IMAGES002\00060458.pdf

00060460   00060632    9/21/2018 9:36 Edoc     08‐01_09‐14‐2018_PIA Request_ALLCOMMENTS.PDF          .\VOL005\IMAGES\IMAGES002\00060460.pdf
00060633   00060634   9/21/2018 10:15 Email    OFD Slide                                             .\VOL005\IMAGES\IMAGES002\00060633.pdf
00060635   00060635   9/21/2018 10:15 Attach   OFD slide.pptx                                        .\VOL005\IMAGES\IMAGES002\00060635.pdf
00060636   00060637   9/21/2018 10:56 Email    RE: Presentation                                      .\VOL005\IMAGES\IMAGES002\00060636.pdf

00060638   00060654   9/21/2018 10:56 Attach   I‐495 I‐270 MLS_Issue Resolution Presentation.pptx    .\VOL005\IMAGES\IMAGES002\00060638.pdf
00060655   00060655   9/21/2018 11:12 Email    project schedule                                      .\VOL005\IMAGES\IMAGES002\00060655.pdf
00060656   00060656   9/21/2018 11:32 Email    RE: project schedule                                  .\VOL005\IMAGES\IMAGES002\00060656.pdf
00060657   00060658   9/21/2018 11:39 Email    RE: Deliverables                                      .\VOL005\IMAGES\IMAGES002\00060657.pdf
                                               RE: Final Draft agenda for next week's meeting with
00060659   00060659   9/21/2018 11:40 Email    MNCPPC                                                .\VOL005\IMAGES\IMAGES002\00060659.pdf
00060660   00060660   9/21/2018 12:00 Email    CEQ Memo                                              .\VOL005\IMAGES\IMAGES002\00060660.pdf
00060661   00060667   9/21/2018 12:00 Attach   CEQ Cooperating Agency Guidelines.pdf                 .\VOL005\IMAGES\IMAGES002\00060661.pdf
                                               RE: Final Draft agenda for next week's meeting with
00060668   00060669   9/21/2018 12:04 Email    MNCPPC                                                .\VOL005\IMAGES\IMAGES002\00060668.pdf
00060670   00060670   9/21/2018 12:04 Attach   MDOT_MNCPPC_FHWA_Sept25_Agenda.docx                   .\VOL005\IMAGES\IMAGES002\00060670.pdf
00060671   00060671   9/21/2018 12:16 Email    FW: CEQ Memo                                          .\VOL005\IMAGES\IMAGES002\00060671.pdf
                                               FW_ Priced Managed Lanes Position Paper and
00060672   00060673   9/21/2018 17:20 Email    Dis...(1).pdf                                         .\VOL005\IMAGES\IMAGES002\00060672.pdf
00060674   00060675   9/21/2018 17:53 Email    RE: Deliverables                                      .\VOL005\IMAGES\IMAGES002\00060674.pdf
00060676   00060677   9/21/2018 17:53 Attach   elevated roadway option FHWA comments.docx            .\VOL005\IMAGES\IMAGES002\00060676.pdf
00060678   00060678    9/23/2018 7:35 Email    MLS ppt presentation                                  .\VOL005\IMAGES\IMAGES002\00060678.pdf

00060679   00060704    9/23/2018 7:35 Attach   I‐495 I‐270 MLS_Partnering Presentation FHWA.pptx     .\VOL005\IMAGES\IMAGES002\00060679.pdf
00060705   00060705   9/24/2018 10:29 Email    presentation                                          .\VOL005\IMAGES\IMAGES002\00060705.pdf

00060706   00060731   9/24/2018 10:29 Attach   I‐495 I‐270 MLS_Partnering Presentation FHWA.pptx     .\VOL005\IMAGES\IMAGES002\00060706.pdf
00060732   00060732   9/24/2018 11:29 Email    Final Presentation M‐NCPPC Meeting Sept 25th          .\VOL005\IMAGES\IMAGES002\00060732.pdf

00060733   00060733   9/24/2018 11:38 Email    RE: Final Presentation M‐NCPPC Meeting Sept 25th  .\VOL005\IMAGES\IMAGES002\00060733.pdf
00060734   00060735   9/24/2018 11:45 Email    RE: I‐495 & I‐270 MLS Design Year Position Paper  .\VOL005\IMAGES\IMAGES002\00060734.pdf
00060736   00060737   9/24/2018 12:38 Email    RE: I‐495 & I‐270 MLS Design Year Position Paper  .\VOL005\IMAGES\IMAGES002\00060736.pdf
00060738   00060738   9/24/2018 14:01 Email    NEED CONFIRMATION                                 .\VOL005\IMAGES\IMAGES002\00060738.pdf
                                               MDOT SHA I‐495/I‐270 Managed Lanes Study Section
00060739   00060740   9/24/2018 15:12 Email    106 Update                                        .\VOL005\IMAGES\IMAGES002\00060739.pdf
                                               Re: MDOT SHA I‐495/I‐270 Managed Lanes Study
00060741   00060742   9/24/2018 15:20 Email    Section 106 Update                                .\VOL005\IMAGES\IMAGES002\00060741.pdf
                                               MDOT SHA I‐495_I‐270 Managed Lanes Study
00060743   00060744   9/24/2018 16:12 Email    Sectio...(1).pdf                                  .\VOL005\IMAGES\IMAGES002\00060743.pdf
00060745   00060746   9/24/2018 16:46 Email    RE: Presentation                                  .\VOL005\IMAGES\IMAGES002\00060745.pdf
                                               Re: MDOT SHA I‐495/I‐270 Managed Lanes Study
00060747   00060748   9/24/2018 16:54 Email    Section 106 Update                                .\VOL005\IMAGES\IMAGES002\00060747.pdf
                                               Re: MDOT SHA I‐495/I‐270 Managed Lanes Study
00060749   00060751   9/24/2018 21:15 Email    Section 106 Update                                .\VOL005\IMAGES\IMAGES002\00060749.pdf
                                               Re: [EXTERNAL] MDOT SHA I‐495/I‐270 Managed Lanes
00060752   00060753    9/25/2018 7:35 Email    Study Section 106 Update                          .\VOL005\IMAGES\IMAGES002\00060752.pdf
                                               RE: MDOT SHA I‐495/I‐270 Managed Lanes Study
00060754   00060756   9/25/2018 10:18 Email    Section 106 Update                                .\VOL005\IMAGES\IMAGES002\00060754.pdf
00060757   00060757   9/25/2018 10:33 Email    Today's final presentation                        .\VOL005\IMAGES\IMAGES002\00060757.pdf
                                               RE: I‐495 & I‐270 MLS_ FHWA/MDOT SHA/M‐NCPPC
00060758   00060758   9/25/2018 11:10 Email    Discussion Meeting                                .\VOL005\IMAGES\IMAGES002\00060758.pdf
                                               I‐495 & I‐270 MLS_ FHWA/MDOT SHA/M‐NCPPC
00060759   00060759   9/25/2018 13:00 Email    Discussion Meeting                                .\VOL005\IMAGES\IMAGES002\00060759.pdf
                                               2018.08.29 MCDOT to SHA P3 Office IAWG
00060760   00060765   9/25/2018 17:03 Attach   comments.pdf                                      .\VOL005\IMAGES\IMAGES002\00060760.pdf
                                               FW: Updates on MIPs for EO 13807 working group on
00060766   00060766    9/26/2018 8:29 Email    Thursday                                          .\VOL005\IMAGES\IMAGES002\00060766.pdf
                                               RE: Updates on MIPs for EO 13807 working group on
00060767   00060767    9/26/2018 8:48 Email    Thursday                                          .\VOL005\IMAGES\IMAGES002\00060767.pdf
00060768   00060768    9/26/2018 8:54 Email    One more                                          .\VOL005\IMAGES\IMAGES002\00060768.pdf
00060769   00060770    9/26/2018 8:57 Email    FW: EO‐ Permitting Milestone Table                .\VOL005\IMAGES\IMAGES002\00060769.pdf

00060771   00060773    9/26/2018 9:14 Email    FW: MNCPPC/MDOT/FHWA Executive Level Meeting          .\VOL005\IMAGES\IMAGES002\00060771.pdf

00060774   00060776    9/26/2018 9:46 Email    Re: MNCPPC/MDOT/FHWA Executive Level Meeting          .\VOL005\IMAGES\IMAGES002\00060774.pdf

00060777   00060779    9/26/2018 9:50 Email    RE: MNCPPC/MDOT/FHWA Executive Level Meeting          .\VOL005\IMAGES\IMAGES002\00060777.pdf
00060780   00060780   9/26/2018 11:40 Email    FHWA Coordination                                     .\VOL005\IMAGES\IMAGES002\00060780.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                            Page 22 of 263

00060781   00060782   9/26/2018 11:40 Attach   2018‐09‐18 FHWA Coordination Meeting_Notes.docx       .\VOL005\IMAGES\IMAGES002\00060781.pdf

00060783   00060783   9/26/2018 11:40 Attach   2018‐10‐02_ FHWA Coordination Mtg Agenda.docx         .\VOL005\IMAGES\IMAGES002\00060783.pdf
                                               I‐495 I‐270 Managed Lane Study Cooperating and
00060784   00060785   9/26/2018 13:56 Attach   Participating Agencies.pptx                           .\VOL005\IMAGES\IMAGES002\00060784.pdf
                                               RE: Updates on MIPs for EO 13807 working group on
00060786   00060787   9/26/2018 13:56 Email    Thursday                                              .\VOL005\IMAGES\IMAGES002\00060786.pdf
00060788   00060789   9/26/2018 22:04 Email    RE: I‐495 & I‐270 MLS Design Year Position Paper      .\VOL005\IMAGES\IMAGES002\00060788.pdf
00060790   00060790    9/27/2018 8:12 Email    RE: Nov 19th meeting goal                             .\VOL005\IMAGES\IMAGES002\00060790.pdf

00060791   00060792    9/27/2018 9:05 Email    FW_ I‐495 & I‐270 MLS Design Year Position Paper.pdf .\VOL005\IMAGES\IMAGES002\00060791.pdf

00060793   00060794    9/27/2018 9:05 Attach   I‐495 I‐270 MLS Design Year Position Paper_2.docx     .\VOL005\IMAGES\IMAGES002\00060793.pdf
00060795   00060797    9/27/2018 9:33 Email    RE: I‐495 & I‐270 MLS Design Year Position Paper      .\VOL005\IMAGES\IMAGES002\00060795.pdf
00060798   00060799   9/27/2018 11:22 Email    I‐495 & I‐270 MLS Agency Field Trip                   .\VOL005\IMAGES\IMAGES002\00060798.pdf
                                               RE: Updates on MIPs for EO 13807 working group on
00060800   00060801   9/27/2018 11:34 Email    Thursday                                              .\VOL005\IMAGES\IMAGES002\00060800.pdf

                                               RE: I‐495 & I‐270 Managed Lane Study: FHWA
00060802   00060802   9/27/2018 11:34 Email    Executive Level Meeting with MDOT and M‐NCPPC         .\VOL005\IMAGES\IMAGES002\00060802.pdf
00060803   00060805   10/1/2018 15:04 Email    Follow‐up to 9_25 meeting with FHWA.pdf               .\VOL005\IMAGES\IMAGES002\00060803.pdf

00060806   00060806   10/1/2018 16:39 Email    I‐270 Managed Lane Project‐‐VPPP Option Alternative   .\VOL005\IMAGES\IMAGES002\00060806.pdf
00060807   00060808   10/1/2018 17:16 Email    RE_ I‐495_I‐270 MLS section 4f outline(1).pdf         .\VOL005\IMAGES\IMAGES002\00060807.pdf
00060809   00060809   10/1/2018 18:49 Email    I‐495/I‐270 MLS MNCPPC notes                          .\VOL005\IMAGES\IMAGES002\00060809.pdf
                                               I‐495/I‐270 Managed Lanes Study Section 106
00060810   00060812    10/2/2018 9:47 Email    Consultation                                          .\VOL005\IMAGES\IMAGES002\00060810.pdf
00060813   00060813   10/2/2018 12:59 Email    FW: I‐495 & I‐270 MLS Design Year Position Paper      .\VOL005\IMAGES\IMAGES002\00060813.pdf

                                               Meeting Summary_I‐495 and I‐270 MLS_Partnering
00060814   00060837   10/2/2018 14:55 Attach   Presentation FHWA_9‐25‐18....pdf                      .\VOL005\IMAGES\IMAGES002\00060814.pdf

00060838   00060842   10/2/2018 14:55 Attach   MDOT_MNCPPC_FHWA_Sept25_FINAL NOTES.PDF              .\VOL005\IMAGES\IMAGES002\00060838.pdf
                                               FW: I‐495 & I‐270 MLS_ FHWA/MDOT SHA/M‐NCPPC
00060843   00060843   10/2/2018 14:59 Email    Discussion Meeting                                   .\VOL005\IMAGES\IMAGES002\00060843.pdf
00060844   00060844   10/2/2018 15:20 Email    RE: I‐495 & I‐270 MLS Design Year Position Paper     .\VOL005\IMAGES\IMAGES002\00060844.pdf
00060845   00060846   10/2/2018 16:22 Email    RE: Phones                                           .\VOL005\IMAGES\IMAGES002\00060845.pdf
                                               FW: Executive Meeting with Maryland National Capital
00060847   00060849    10/4/2018 8:54 Email    Park and Planning Commission                         .\VOL005\IMAGES\IMAGES002\00060847.pdf

                                               FW: I‐270 Draft Response‐8‐9‐2018 nmf edits‐smr
00060850   00060851    10/4/2018 9:33 Email    comment 8‐13‐2018 REVISED 1300‐CLEAN (002).doc       .\VOL005\IMAGES\IMAGES002\00060850.pdf
                                               RE: Executive Meeting with Maryland National Capital
00060852   00060854    10/4/2018 9:40 Email    Park and Planning Commission                         .\VOL005\IMAGES\IMAGES002\00060852.pdf

                                               RE: I‐495 & I‐270 Managed Lane Study: FHWA
00060855   00060855   10/4/2018 10:07 Email    Executive Level Meeting with MDOT and M‐NCPPC         .\VOL005\IMAGES\IMAGES002\00060855.pdf

                                               RE: I‐495 & I‐270 Managed Lane Study: FHWA
00060856   00060856   10/4/2018 10:43 Email    Executive Level Meeting with MDOT and M‐NCPPC         .\VOL005\IMAGES\IMAGES002\00060856.pdf
00060857   00060859   10/4/2018 10:45 Email    FW: I‐270 HOV Conversion Request                      .\VOL005\IMAGES\IMAGES002\00060857.pdf
00060860   00060861   10/4/2018 10:45 Attach   I‐270 HOV Conversion Request.pdf                      .\VOL005\IMAGES\IMAGES002\00060860.pdf
00060862   00060864   10/4/2018 12:16 Email    RE: I‐270 HOV Conversion Request                      .\VOL005\IMAGES\IMAGES002\00060862.pdf
00060865   00060867   10/4/2018 12:23 Email    RE: I‐270 HOV Conversion Request                      .\VOL005\IMAGES\IMAGES002\00060865.pdf

                                               RE: I‐495 & I‐270 Managed Lane Study: FHWA
00060868   00060869   10/4/2018 12:57 Email    Executive Level Meeting with MDOT and M‐NCPPC         .\VOL005\IMAGES\IMAGES002\00060868.pdf
00060870   00060870   10/4/2018 13:13 Email    FW: Preliminary Range of Alternatives                 .\VOL005\IMAGES\IMAGES002\00060870.pdf
00060871   00060876   10/4/2018 13:35 Attach   20181001111205875 (1).pdf                             .\VOL005\IMAGES\IMAGES002\00060871.pdf

00060877   00060878   10/4/2018 13:37 Email    FW: I‐495 & I‐270 MLS Air Quality Analysis Protocol   .\VOL005\IMAGES\IMAGES002\00060877.pdf
                                               RE: Confidential, Deliberative and Pre‐Decisional:
00060879   00060880   10/4/2018 13:52 Email    Alternatives                                          .\VOL005\IMAGES\IMAGES002\00060879.pdf

00060881   00060882   10/4/2018 13:58 Email    RE: Pre‐NOI Activities for One Federal Decision Projects .\VOL005\IMAGES\IMAGES002\00060881.pdf
00060883   00060883   10/4/2018 14:06 Email    Confidential, Pre‐Decisional and Deliberative            .\VOL005\IMAGES\IMAGES002\00060883.pdf
                                               FW: Confidential, Deliberative and Pre‐Decisional:
00060884   00060885   10/4/2018 14:21 Email    Alternatives                                             .\VOL005\IMAGES\IMAGES002\00060884.pdf

                                               RE: I‐495 & I‐270 Managed Lane Study: FHWA
00060886   00060887   10/4/2018 15:14 Email    Executive Level Meeting with MDOT and M‐NCPPC         .\VOL005\IMAGES\IMAGES002\00060886.pdf
                                               REVIEW REQUESTED_ I‐495 & I‐270 MLS
00060888   00060889   10/4/2018 17:51 Email    Preliminary....pdf                                    .\VOL005\IMAGES\IMAGES002\00060888.pdf

00060890   00060919   10/4/2018 17:52 Attach   Preliminary Screened Alternatives_FHWA Discus.docx    .\VOL005\IMAGES\IMAGES002\00060890.pdf
00060920   00060923   10/4/2018 17:52 Attach   I‐495‐I‐270 Prel Range of Alts display_draft6.pdf     .\VOL005\IMAGES\IMAGES002\00060920.pdf
00060924   00060925   10/4/2018 17:52 Attach   Prior Con Memo 06062018.pdf                           .\VOL005\IMAGES\IMAGES002\00060924.pdf
00060926   00060926   10/4/2018 21:24 Email    Press Release                                         .\VOL005\IMAGES\IMAGES002\00060926.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060927   00060928    10/5/2018 7:37 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060927.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study; Agency
00060929   00060933    10/5/2018 8:24 Email    Points of Contact                                     .\VOL005\IMAGES\IMAGES002\00060929.pdf
00060934   00060934    10/5/2018 8:31 Email    P and plus one for M‐NCPPC                            .\VOL005\IMAGES\IMAGES002\00060934.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
00060935   00060936    10/5/2018 8:49 Email    Prelimi...(1).pdf                                     .\VOL005\IMAGES\IMAGES002\00060935.pdf
00060937   00060938    10/5/2018 9:21 Email    RE: P and plus one for M‐NCPPC                        .\VOL005\IMAGES\IMAGES002\00060937.pdf

                                               RE: I‐495 & I‐270 Managed Lane Study: FHWA
00060939   00060940   10/5/2018 10:28 Email    Executive Level Meeting with MDOT and M‐NCPPC         .\VOL005\IMAGES\IMAGES002\00060939.pdf
                                               RE_ MDOT SHA I‐495_I‐270 Managed Lanes Study
00060941   00060942   10/5/2018 13:02 Email    Se...(1).pdf                                          .\VOL005\IMAGES\IMAGES002\00060941.pdf
                                               2018‐10‐09 I‐495 NEXT VDOT MDOT Workshop
00060943   00060943   10/5/2018 13:34 Attach   #4_Agenda.pdf                                         .\VOL005\IMAGES\IMAGES002\00060943.pdf
00060944   00060945    10/7/2018 9:16 Email    RE: I‐495 & I‐270 Highway Option                      .\VOL005\IMAGES\IMAGES002\00060944.pdf
00060946   00060947   10/8/2018 15:16 Edoc     495‐270‐Website‐Report_100418a.docx                   .\VOL005\IMAGES\IMAGES002\00060946.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060948   00060949   10/9/2018 14:01 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060948.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060950   00060951   10/9/2018 15:23 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060950.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060952   00060953   10/9/2018 15:32 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060952.pdf
                                               FW: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060954   00060955   10/9/2018 15:34 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060954.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                  Filed 05/03/23                         Page 23 of 263

                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060956   00060958    10/9/2018 16:46 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060956.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060959   00060961    10/10/2018 8:05 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060959.pdf
00060962   00060962   10/10/2018 10:35 Email    follow up discussion on coordination meeting          .\VOL005\IMAGES\IMAGES002\00060962.pdf
                                                FW: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060963   00060965   10/10/2018 10:42 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060963.pdf
                                                Donoso‐2018.09.30‐Noise.Barriers‐Email‐
00060966   00060968   10/10/2018 11:15 Attach   0017_Resp_bcc.pdf                                     .\VOL005\IMAGES\IMAGES002\00060966.pdf
                                                Schindler‐2018.09.30‐Highway.Widening‐Email‐0018‐
00060969   00060971   10/10/2018 13:22 Attach   Resp_bcc.pdf                                          .\VOL005\IMAGES\IMAGES002\00060969.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060972   00060974   10/10/2018 14:25 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060972.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060975   00060977   10/10/2018 14:32 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060975.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060978   00060979   10/10/2018 14:40 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060978.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060980   00060981   10/10/2018 14:52 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060980.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060982   00060983   10/10/2018 15:09 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060982.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060984   00060986   10/10/2018 15:10 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060984.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060987   00060989    10/11/2018 8:50 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060987.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00060990   00060992   10/11/2018 11:19 Email    Preliminary Range of Alternatives                     .\VOL005\IMAGES\IMAGES002\00060990.pdf
00060993   00060993   10/11/2018 14:42 Edoc     FHWA HQ Comments on Prelim Alternatives.xlsx          .\VOL005\IMAGES\IMAGES002\00060993.pdf   .\VOL005\NATIVES\NATIVES002\00060993.xlsx
00060994   00060994    10/12/2018 8:04 Email    FW: I‐495 270 ML Study Comments.docx                  .\VOL005\IMAGES\IMAGES002\00060994.pdf
00060995   00060995    10/12/2018 8:11 Email    FW: I‐495 270 ML Study Comments.docx                  .\VOL005\IMAGES\IMAGES002\00060995.pdf
00060996   00060996   10/12/2018 10:29 Email    FW: I‐495 270 ML Study Comments.docx                  .\VOL005\IMAGES\IMAGES002\00060996.pdf
00060997   00060997   10/12/2018 10:31 Email    RE: I‐495 270 ML Study Comments.docx                  .\VOL005\IMAGES\IMAGES002\00060997.pdf

00060998   00060998   10/12/2018 11:40 Email    WaPo‐UMd poll shows narrow opposition to tolls on . . .\VOL005\IMAGES\IMAGES002\00060998.pdf
                                                RE: WaPo‐UMd poll shows narrow opposition to tolls
00060999   00060999   10/12/2018 11:54 Email    on . .                                                .\VOL005\IMAGES\IMAGES002\00060999.pdf
                                                RE: WaPo‐UMd poll shows narrow opposition to tolls
00061000   00061001   10/12/2018 12:16 Email    on . .                                                .\VOL005\IMAGES\IMAGES002\00061000.pdf
                                                RE: WaPo‐UMd poll shows narrow opposition to tolls
00061002   00061003   10/12/2018 12:22 Email    on . .                                                .\VOL005\IMAGES\IMAGES002\00061002.pdf
00061004   00061004   10/12/2018 12:42 Email    FW: I‐495 270 ML Study Comments.docx                  .\VOL005\IMAGES\IMAGES002\00061004.pdf
                                                RE: I‐495 & I‐270 MLS Preliminary Range of
00061005   00061006   10/12/2018 13:44 Email    Alternatives                                          .\VOL005\IMAGES\IMAGES002\00061005.pdf
                                                RE: I‐495 & I‐270 MLS Preliminary Range of
00061007   00061008   10/12/2018 14:00 Email    Alternatives                                          .\VOL005\IMAGES\IMAGES002\00061007.pdf
00061009   00061009   10/12/2018 21:58 Email    No beltway expansion!!                                .\VOL005\IMAGES\IMAGES002\00061009.pdf
                                                I‐495 & I‐270 MLS Interagency Working Group Meeting
00061010   00061011    10/15/2018 8:23 Email    October 17th                                          .\VOL005\IMAGES\IMAGES002\00061010.pdf
00061012   00061018    10/15/2018 8:23 Attach   2018‐09‐10_Leadership_Ladder.pdf                      .\VOL005\IMAGES\IMAGES002\00061012.pdf
                                                I‐495 & I‐270 Interagency Working Group Meeting
00061019   00061019    10/15/2018 8:23 Attach   Agenda_October 17 2018.pdf                            .\VOL005\IMAGES\IMAGES002\00061019.pdf
                                                I‐495 & I‐270 MLS Interagency Working Group Meeting
00061020   00061022    10/15/2018 8:23 Email    October 17th                                          .\VOL005\IMAGES\IMAGES002\00061020.pdf
                                                FW: I‐495 & I‐270 Managed Lanes Study; Conceptual
                                                Draft Purpose and Need Chapter and Need
00061023   00061025   10/15/2018 10:22 Email    Justification                                         .\VOL005\IMAGES\IMAGES002\00061023.pdf
00061026   00061026   10/15/2018 15:15 Email    AASHTO handbook #3                                    .\VOL005\IMAGES\IMAGES002\00061026.pdf

00061027   00061043   10/15/2018 15:15 Attach   AASHTO Practitioner's Handbook 03 ‐ Tollling.pdf      .\VOL005\IMAGES\IMAGES002\00061027.pdf
00061044   00061044    10/16/2018 8:07 Attach   2018‐10‐16 FHWA Coordination Mtg Agenda.pdf           .\VOL005\IMAGES\IMAGES002\00061044.pdf
                                                RE_ I‐495 & I‐270 MLS Preliminary Range of
00061045   00061046    10/16/2018 8:23 Email    Alte...(2).pdf                                        .\VOL005\IMAGES\IMAGES002\00061045.pdf
00061047   00061047   10/16/2018 11:51 Email    Agenda and Handout for today                          .\VOL005\IMAGES\IMAGES002\00061047.pdf
00061048   00061048   10/16/2018 11:51 Attach   AGENDA10_16_18.pdf                                    .\VOL005\IMAGES\IMAGES002\00061048.pdf
                                                Revised 2018.10.16_Proposed MHT Section 106
00061049   00061050   10/16/2018 11:51 Attach   Review Schedule.docx                                  .\VOL005\IMAGES\IMAGES002\00061049.pdf
                                                FW: I‐495 & I‐270 MLS Preliminary Range of
00061051   00061052   10/16/2018 13:20 Email    Alternatives                                          .\VOL005\IMAGES\IMAGES002\00061051.pdf
                                                RE: I‐495 & I‐270 MLS Preliminary Range of
00061053   00061055   10/16/2018 13:27 Email    Alternatives                                          .\VOL005\IMAGES\IMAGES002\00061053.pdf
                                                RE: I‐495 & I‐270 MLS Preliminary Range of
00061056   00061058   10/16/2018 13:27 Email    Alternatives                                          .\VOL005\IMAGES\IMAGES002\00061056.pdf
                                                FW: I‐495 & I‐270 MLS Preliminary Range of
00061059   00061061   10/16/2018 13:28 Email    Alternatives                                          .\VOL005\IMAGES\IMAGES002\00061059.pdf
00061062   00061062    10/17/2018 8:32 Email    OFD Fact Sheet                                        .\VOL005\IMAGES\IMAGES002\00061062.pdf
00061063   00061063    10/17/2018 8:32 Attach   ofd‐fact‐sheet.pdf                                    .\VOL005\IMAGES\IMAGES002\00061063.pdf

00061064   00061065   10/17/2018 10:00 Email    I‐495 & I‐270 MLS October IAWG Meeting ‐ Skype Link .\VOL005\IMAGES\IMAGES002\00061064.pdf
00061066   00061067   10/17/2018 10:00 Email    I‐495 & I‐270 MLS October IAWG Meeting              .\VOL005\IMAGES\IMAGES002\00061066.pdf
                                                FW: I‐495 & I‐270 Managed Lanes Study; Conceptual
                                                Draft Purpose and Need Chapter and Need
00061068   00061068   10/17/2018 10:59 Email    Justification                                       .\VOL005\IMAGES\IMAGES002\00061068.pdf

                                                I‐495/I‐270 MLS Section 106 Consultation: documents
00061069   00061070   10/17/2018 14:50 Email    available and November 13 Consulting Party Meeting .\VOL005\IMAGES\IMAGES002\00061069.pdf

                                                I‐495/I‐270 MLS Section 106 Consultation: documents
00061071   00061073   10/17/2018 14:50 Email    available and November 13 Consulting Party Meeting    .\VOL005\IMAGES\IMAGES002\00061071.pdf
                                                I‐495_I‐270 MLS Section 106 Consultation_
00061074   00061075   10/17/2018 15:53 Email    docum...(1).pdf                                       .\VOL005\IMAGES\IMAGES002\00061074.pdf
                                                Re: I‐495/I‐270 MLS Section 106 Consultation:
                                                documents available and November 13 Consulting
00061076   00061078   10/17/2018 16:43 Email    Party Meeting                                         .\VOL005\IMAGES\IMAGES002\00061076.pdf
00061079   00061079   10/17/2018 18:12 Email    October 23rd meeting                                  .\VOL005\IMAGES\IMAGES002\00061079.pdf
                                                2018‐10‐25_NPS and MDOT SHA Coordination
00061080   00061080    10/18/2018 8:56 Attach   Meeting Agenda.pdf                                    .\VOL005\IMAGES\IMAGES002\00061080.pdf
                                                Re: I‐495/I‐270 MLS Section 106 Consultation:
                                                documents available and November 13 Consulting
00061081   00061083    10/18/2018 9:34 Email    Party Meeting                                         .\VOL005\IMAGES\IMAGES002\00061081.pdf
                                                I‐495 & I‐270 MLS_IAWG Meeting No. 6
00061084   00061104   10/18/2018 11:15 Attach   Presentation.pdf                                      .\VOL005\IMAGES\IMAGES002\00061084.pdf
00061105   00061106   10/18/2018 11:15 Email    I‐495 & I‐270 October 17th IAWG Presentation          .\VOL005\IMAGES\IMAGES002\00061105.pdf
                                                Re: I‐495/I‐270 MLS Section 106 Consultation:
                                                documents available and November 13 Consulting
00061107   00061109   10/18/2018 13:50 Email    Party Meeting                                         .\VOL005\IMAGES\IMAGES002\00061107.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 24 of 263

                                                RE: I‐495/I‐270 MLS Section 106 Consultation:
                                                documents available and November 13 Consulting
00061110   00061112   10/18/2018 15:59 Email    Party Meeting                                           .\VOL005\IMAGES\IMAGES002\00061110.pdf
                                                Fwd: [EXTERNAL] I‐495/I‐270 MLS Section 106
                                                Consultation: documents available and November 13
00061113   00061116   10/19/2018 10:06 Email    Consulting Party Meeting                                .\VOL005\IMAGES\IMAGES002\00061113.pdf

                                                RE: I‐495 & I‐270 Managed Lane Study: FHWA
00061117   00061119   10/19/2018 11:35 Email    Executive Level Meeting with MDOT and M‐NCPPC           .\VOL005\IMAGES\IMAGES002\00061117.pdf

                                                RE: I‐495 & I‐270 Managed Lane Study: FHWA
00061120   00061122   10/19/2018 12:52 Email    Executive Level Meeting with MDOT and M‐NCPPC           .\VOL005\IMAGES\IMAGES002\00061120.pdf
                                                Strongly Against the Widening of Beltway‐495 and
00061123   00061123   10/19/2018 14:33 Email    Route 270                                               .\VOL005\IMAGES\IMAGES002\00061123.pdf
00061124   00061125   10/22/2018 10:59 Email    Revised ARDS Discussion Paper                           .\VOL005\IMAGES\IMAGES002\00061124.pdf
                                                RE: I‐495/I‐270 MLS Section 106 Consultation:
                                                documents available and November 13 Consulting
00061126   00061128   10/22/2018 13:37 Email    Party Meeting                                           .\VOL005\IMAGES\IMAGES002\00061126.pdf
                                                DRAFT ARDS Discussion Paper for FHWA_10‐22‐2018
00061129   00061170    10/23/2018 9:23 Edoc     (003) KP.docx                                           .\VOL005\IMAGES\IMAGES002\00061129.pdf
                                                DRAFT ARDS Discussion Paper for FHWA_10‐22‐
00061171   00061212   10/23/2018 10:03 Attach   2018.docx                                               .\VOL005\IMAGES\IMAGES002\00061171.pdf
                                                Response to FHWA HQ Comments on ARDS Paper_10‐
00061213   00061219   10/23/2018 10:03 Attach   22‐2018.docx                                            .\VOL005\IMAGES\IMAGES002\00061213.pdf
                                                REVIEW REQUESTED_ I‐495 & I‐270 MLS
00061220   00061221   10/23/2018 11:03 Email    Alternative...(1).pdf                                   .\VOL005\IMAGES\IMAGES002\00061220.pdf
                                                FW: Discussion of M‐NCPPC Critical Issues Related to
00061222   00061222   10/23/2018 14:00 Email    P&N                                                     .\VOL005\IMAGES\IMAGES002\00061222.pdf
00061223   00061224   10/23/2018 15:39 Email    FW: TPB LRTP                                            .\VOL005\IMAGES\IMAGES002\00061223.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061225   00061227   10/23/2018 16:44 Email    Alternatives Retained for Detailed Study                .\VOL005\IMAGES\IMAGES002\00061225.pdf
00061228   00061228   10/23/2018 16:46 Email    Follow up                                               .\VOL005\IMAGES\IMAGES002\00061228.pdf
00061229   00061229   10/23/2018 19:46 Email    RE: Follow up                                           .\VOL005\IMAGES\IMAGES002\00061229.pdf
00061230   00061230   10/23/2018 19:50 Email    Re: Follow up                                           .\VOL005\IMAGES\IMAGES002\00061230.pdf
00061231   00061231    10/24/2018 8:38 Email    1990 Guidance on Purpose and Need                       .\VOL005\IMAGES\IMAGES002\00061231.pdf
00061232   00061232   10/24/2018 11:11 Email    FW: ICC FEIS Ch 3 ‐ Alternates Considered               .\VOL005\IMAGES\IMAGES002\00061232.pdf
00061233   00061291   10/24/2018 11:11 Attach   ICC FEIS ARDS ch 3.pdf                                  .\VOL005\IMAGES\IMAGES002\00061233.pdf
00061292   00061292   10/24/2018 15:09 Email    RE: ICC FEIS Ch 3 ‐ Alternates Considered               .\VOL005\IMAGES\IMAGES002\00061292.pdf

                                                RE: I‐495 & I‐270 Managed Lane Study: FHWA
00061293   00061294   10/24/2018 15:27 Email    Executive Level Meeting with MDOT and M‐NCPPC           .\VOL005\IMAGES\IMAGES002\00061293.pdf
00061295   00061296   10/24/2018 16:51 Attach   Ashman_816388.pdf                                       .\VOL005\IMAGES\IMAGES002\00061295.pdf
00061297   00061298   10/24/2018 17:40 Email    Revised DRAFT ARDS Paper                                .\VOL005\IMAGES\IMAGES002\00061297.pdf
00061299   00061300   10/24/2018 17:40 Email    Revised DRAFT ARDS Paper                                .\VOL005\IMAGES\IMAGES002\00061299.pdf
00061301   00061301    10/25/2018 7:34 Email    Re: Agenda item for next Tuesday                        .\VOL005\IMAGES\IMAGES002\00061301.pdf
                                                REVIEW REQUESTED_ I‐495 & I‐270 MLS
00061302   00061304    10/25/2018 9:07 Email    Alternative...(1).pdf                                   .\VOL005\IMAGES\IMAGES002\00061302.pdf
                                                REVIEW REQUESTED_ I‐495 & I‐270 MLS
00061305   00061307    10/25/2018 9:07 Email    Alternative....pdf                                      .\VOL005\IMAGES\IMAGES002\00061305.pdf
00061308   00061310    10/25/2018 9:37 Email    RE: Revised DRAFT ARDS Paper                            .\VOL005\IMAGES\IMAGES002\00061308.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061311   00061314    10/25/2018 9:40 Email    Alternatives Retained for Detailed Study                .\VOL005\IMAGES\IMAGES002\00061311.pdf
00061315   00061316   10/25/2018 15:16 Email    RE: Revised DRAFT ARDS Paper                            .\VOL005\IMAGES\IMAGES002\00061315.pdf
00061317   00061318   10/25/2018 15:28 Email    RE: Revised DRAFT ARDS Paper                            .\VOL005\IMAGES\IMAGES002\00061317.pdf
                                                I‐495 I‐270 Managed Lanes Study_Purpose and Need
00061319   00061363   10/25/2018 15:52 Edoc     Statement_05‐11‐2018.pdf                                .\VOL005\IMAGES\IMAGES002\00061319.pdf
00061364   00061366   10/25/2018 15:54 Email    RE: Revised DRAFT ARDS Paper                            .\VOL005\IMAGES\IMAGES002\00061364.pdf
00061367   00061367   10/26/2018 11:14 Email    RE: Follow up I‐495                                     .\VOL005\IMAGES\IMAGES003\00061367.pdf
00061368   00061369   10/26/2018 15:07 Email    RE: Revised DRAFT ARDS Paper                            .\VOL005\IMAGES\IMAGES003\00061368.pdf
                                                RE: this project and I‐270 Corridor Innovative
00061370   00061370   10/26/2018 15:31 Email    Congestion Management                                   .\VOL005\IMAGES\IMAGES003\00061370.pdf
00061371   00061372   10/26/2018 15:31 Attach   Walter_Resp.pdf                                         .\VOL005\IMAGES\IMAGES003\00061371.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061373   00061376   10/26/2018 16:01 Email    Alternatives Retained for Detailed Study                .\VOL005\IMAGES\IMAGES003\00061373.pdf
                                                Suggested outline for the one‐pager briefing with
00061377   00061377    10/29/2018 9:18 Email    Emily                                                   .\VOL005\IMAGES\IMAGES003\00061377.pdf
                                                RE: Suggested outline for the one‐pager briefing with
00061378   00061378    10/29/2018 9:49 Email    Emily                                                   .\VOL005\IMAGES\IMAGES003\00061378.pdf
                                                Re: Suggested outline for the one‐pager briefing with
00061379   00061379    10/29/2018 9:57 Email    Emily                                                   .\VOL005\IMAGES\IMAGES003\00061379.pdf
00061380   00061380   10/29/2018 10:42 Email    RE: Draft ARDS comments 10‐24‐18                        .\VOL005\IMAGES\IMAGES003\00061380.pdf
00061381   00061381   10/29/2018 10:46 Email    FW_ Draft ARDS comments 10‐24‐18.pdf                    .\VOL005\IMAGES\IMAGES003\00061381.pdf
00061382   00061382   10/29/2018 13:08 Email    RE: Follow up I‐495                                     .\VOL005\IMAGES\IMAGES003\00061382.pdf
00061383   00061383   10/29/2018 14:49 Email    Question regarding a contact                            .\VOL005\IMAGES\IMAGES003\00061383.pdf
00061384   00061386   10/29/2018 16:38 Email    RE: Deliverables                                        .\VOL005\IMAGES\IMAGES003\00061384.pdf

00061387   00061391   10/29/2018 16:38 Attach   Priced Managed Lanes Position Paper_2018‐10‐29.pdf      .\VOL005\IMAGES\IMAGES003\00061387.pdf
00061392   00061394   10/29/2018 16:38 Email    RE: Deliverables                                        .\VOL005\IMAGES\IMAGES003\00061392.pdf
                                                RE: I‐495/I‐270 MLS Section 106 Consultation:
                                                documents available and November 13 Consulting
00061395   00061396    10/30/2018 9:40 Email    Party Meeting                                           .\VOL005\IMAGES\IMAGES003\00061395.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061397   00061400   10/30/2018 10:05 Email    Alternatives Retained for Detailed Study                .\VOL005\IMAGES\IMAGES003\00061397.pdf
00061401   00061401   10/30/2018 10:08 Email    RE: Question regarding a contact                        .\VOL005\IMAGES\IMAGES003\00061401.pdf
00061402   00061403   10/30/2018 10:11 Email    RE: Question regarding a contact                        .\VOL005\IMAGES\IMAGES003\00061402.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061404   00061407   10/30/2018 11:35 Email    Alternatives Retained for Detailed Study                .\VOL005\IMAGES\IMAGES003\00061404.pdf
                                                FW: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061408   00061411   10/30/2018 11:56 Email    Alternatives Retained for Detailed Study                .\VOL005\IMAGES\IMAGES003\00061408.pdf
00061412   00061412   10/30/2018 12:09 Email    RE: Question regarding a contact                        .\VOL005\IMAGES\IMAGES003\00061412.pdf
                                                FW: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061413   00061416   10/30/2018 13:04 Email    Alternatives Retained for Detailed Study                .\VOL005\IMAGES\IMAGES003\00061413.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061417   00061421   10/30/2018 15:14 Email    Alternatives Retained for Detailed Study                .\VOL005\IMAGES\IMAGES003\00061417.pdf
                                                I‐495 & I‐270 Managed Lanes Study IAWG Final Key
00061422   00061426   10/30/2018 16:27 Attach   Notes_2018‐10‐17.pdf                                    .\VOL005\IMAGES\IMAGES003\00061422.pdf
00061427   00061429   10/30/2018 16:37 Email    RE: Revised DRAFT ARDS Paper                            .\VOL005\IMAGES\IMAGES003\00061427.pdf

00061430   00061432   10/30/2018 16:45 Email    RE: Prince George's County IAWG/Workshop follow‐up .\VOL005\IMAGES\IMAGES003\00061430.pdf
                                                I‐495 & I‐270 MLS Outreach for Scoping and
00061433   00061436   10/30/2018 16:45 Attach   Alternatives.pdf                                   .\VOL005\IMAGES\IMAGES003\00061433.pdf
00061437   00061440    10/31/2018 7:40 Email    RE: Revised DRAFT ARDS Paper                       .\VOL005\IMAGES\IMAGES003\00061437.pdf
00061441   00061444    10/31/2018 7:56 Email    RE: Revised DRAFT ARDS Paper                       .\VOL005\IMAGES\IMAGES003\00061441.pdf
00061445   00061448    10/31/2018 8:03 Email    FW: Revised DRAFT ARDS Paper                       .\VOL005\IMAGES\IMAGES003\00061445.pdf
     Case 8:22-cv-02597-DKC                               Document 42-1                                   Filed 05/03/23                         Page 25 of 263

00061449   00061451    10/31/2018 9:37 Email    Follow‐up to 10_23 discussion of Purpose and Ne....pdf .\VOL005\IMAGES\IMAGES003\00061449.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061452   00061455    11/1/2018 12:52 Email    Alternatives Retained for Detailed Study               .\VOL005\IMAGES\IMAGES003\00061452.pdf
00061456   00061456    11/1/2018 13:48 Email    Draft ARDS with FHWA comments                          .\VOL005\IMAGES\IMAGES003\00061456.pdf
00061457   00061457    11/1/2018 14:43 Email    I‐495/I‐270 MLS draft ARD comments                     .\VOL005\IMAGES\IMAGES003\00061457.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061458   00061461    11/1/2018 16:07 Email    Alternatives Retained for Detailed Study               .\VOL005\IMAGES\IMAGES003\00061458.pdf
00061462   00061464    11/1/2018 16:51 Email    FW: Revised DRAFT ARDS Paper                           .\VOL005\IMAGES\IMAGES003\00061462.pdf
00061465   00061465    11/1/2018 18:19 Edoc     11_13_18_CP_Mtg Agenda_Draft.docx                      .\VOL005\IMAGES\IMAGES003\00061465.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00061466   00061469    11/6/2018 15:43 Email    Alternatives Retained for Detailed Study               .\VOL005\IMAGES\IMAGES003\00061466.pdf
00061470   00061471     11/7/2018 7:36 Email    Tolling and I495/270                                   .\VOL005\IMAGES\IMAGES003\00061470.pdf
00061472   00061473     11/7/2018 8:53 Email    Tolling and I495/270                                   .\VOL005\IMAGES\IMAGES003\00061472.pdf
00061474   00061475     11/7/2018 9:19 Email    RE: Tolling and I495/270                               .\VOL005\IMAGES\IMAGES003\00061474.pdf
                                                I 495/I‐270 Managed Lanes Study Agenda and
                                                online/call‐in information for Section 106 Consulting
00061476   00061477    11/7/2018 14:13 Email    Party Meeting Tuesday, November 13                     .\VOL005\IMAGES\IMAGES003\00061476.pdf
                                                I 495/I‐270 Managed Lanes Study Agenda and
                                                online/call‐in information for Section 106 Consulting
00061478   00061480    11/7/2018 14:13 Email    Party Meeting Tuesday, November 13                     .\VOL005\IMAGES\IMAGES003\00061478.pdf
                                                I 495_I‐270 Managed Lanes Study Agenda and
00061481   00061482    11/7/2018 14:14 Email    onli...(1).pdf                                         .\VOL005\IMAGES\IMAGES003\00061481.pdf
00061483   00061483    11/7/2018 14:14 Attach   11_13_18_495270_106_CP_Mtg Agenda_.pdf                 .\VOL005\IMAGES\IMAGES003\00061483.pdf
                                                FW: I 495/I‐270 Managed Lanes Study Agenda and
                                                online/call‐in information for Section 106 Consulting
00061484   00061485    11/7/2018 14:16 Email    Party Meeting Tuesday, November 13                     .\VOL005\IMAGES\IMAGES003\00061484.pdf
00061486   00061486    11/7/2018 14:34 Email    RE: Talking Points                                     .\VOL005\IMAGES\IMAGES003\00061486.pdf

00061487   00061488    11/7/2018 14:34 Attach   FHWA HQ ARDS Talking PointsVersion2 ‐ FJ edits.docx     .\VOL005\IMAGES\IMAGES003\00061487.pdf
00061489   00061489    11/7/2018 15:09 Email    RE: Notes/talking points                                .\VOL005\IMAGES\IMAGES003\00061489.pdf
00061490   00061490    11/7/2018 15:10 Email    FW: Notes/talking points                                .\VOL005\IMAGES\IMAGES003\00061490.pdf
00061491   00061491    11/7/2018 15:38 Email    ARDS ‐ Summary of our discussion today                  .\VOL005\IMAGES\IMAGES003\00061491.pdf
00061492   00061493    11/7/2018 15:38 Email    ARDS ‐ Summary of our discussion today                  .\VOL005\IMAGES\IMAGES003\00061492.pdf
00061494   00061494    11/7/2018 15:43 Email    I‐495/I‐270 HQ Comments                                 .\VOL005\IMAGES\IMAGES003\00061494.pdf
00061495   00061495    11/7/2018 15:43 Email    I‐495_I‐270 HQ Comments.pdf                             .\VOL005\IMAGES\IMAGES003\00061495.pdf
00061496   00061496    11/7/2018 15:43 Attach   FHWA HQ ARDS Talking Points.docx                        .\VOL005\IMAGES\IMAGES003\00061496.pdf
00061497   00061498    11/7/2018 15:52 Email    RE: ARDS ‐ Summary of our discussion today              .\VOL005\IMAGES\IMAGES003\00061497.pdf
00061499   00061499     11/8/2018 8:48 Email    FW: Notes/talking points                                .\VOL005\IMAGES\IMAGES003\00061499.pdf
00061500   00061500     11/8/2018 9:40 Email    Re: Notes/talking points                                .\VOL005\IMAGES\IMAGES003\00061500.pdf
00061501   00061502    11/8/2018 15:02 Email    July Public Workshop Summary Report                     .\VOL005\IMAGES\IMAGES003\00061501.pdf
                                                I‐495 & I‐270 Managed Lanes Study_July Public
00061503   00061521    11/8/2018 15:02 Attach   Workshop Summary Report_11‐2018.docx                    .\VOL005\IMAGES\IMAGES003\00061503.pdf
00061522   00061528    11/8/2018 15:02 Attach   Appendix A.pdf                                          .\VOL005\IMAGES\IMAGES003\00061522.pdf
00061529   00061555    11/8/2018 15:03 Attach   Appendix B.pdf                                          .\VOL005\IMAGES\IMAGES003\00061529.pdf
00061556   00061751    11/8/2018 15:04 Attach   Appendix C.pdf                                          .\VOL005\IMAGES\IMAGES003\00061556.pdf
00061752   00061753    11/8/2018 15:49 Email    Priority: Alternatives Screening Process                .\VOL005\IMAGES\IMAGES003\00061752.pdf
00061754   00061755    11/8/2018 15:49 Email    Priority: Alternatives Screening Process                .\VOL005\IMAGES\IMAGES003\00061754.pdf
00061756   00061756    11/8/2018 16:36 Attach   Alternatives Screening Process_2018‐11.pdf              .\VOL005\IMAGES\IMAGES003\00061756.pdf
00061757   00061758    11/8/2018 16:36 Email    FW: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061757.pdf
                                                I‐495 & I‐270 MLS_Response to M‐NCPPC P&N
00061759   00061763     11/9/2018 7:08 Attach   Comments_11‐2018.pdf                                    .\VOL005\IMAGES\IMAGES003\00061759.pdf
00061764   00061765     11/9/2018 8:08 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061764.pdf
00061766   00061767     11/9/2018 8:10 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061766.pdf
00061768   00061770     11/9/2018 8:11 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061768.pdf
00061771   00061772     11/9/2018 8:41 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061771.pdf
00061773   00061775     11/9/2018 9:16 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061773.pdf

00061776   00061777     11/9/2018 9:19 Email    FW_ Priority_ Alternatives Screening Process.pdf        .\VOL005\IMAGES\IMAGES003\00061776.pdf
00061778   00061780     11/9/2018 9:35 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061778.pdf
00061781   00061782     11/9/2018 9:36 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061781.pdf
00061783   00061784     11/9/2018 9:48 Email    FW: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061783.pdf
00061785   00061787    11/9/2018 10:36 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061785.pdf
00061788   00061791    11/9/2018 11:12 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061788.pdf
00061792   00061796    11/9/2018 14:01 Email    RE: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061792.pdf

00061797   00061797    11/9/2018 15:59 Email    I‐495/I‐270 Managed Lanes ‐ Alternatives Screening      .\VOL005\IMAGES\IMAGES003\00061797.pdf
00061798   00061799    11/9/2018 15:59 Attach   FW: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061798.pdf
                                                Fwd: I 495/I‐270 Managed Lanes Study Agenda and
                                                online/call‐in information for Section 106 Consulting
00061800   00061802   11/13/2018 11:48 Email    Party Meeting Tuesday, November 13                      .\VOL005\IMAGES\IMAGES003\00061800.pdf
                                                I‐495 & I‐270 Interagency Working Group Meeting
00061803   00061803   11/13/2018 13:38 Attach   Agenda_2018‐11‐14.pdf                                   .\VOL005\IMAGES\IMAGES003\00061803.pdf
00061804   00061805   11/13/2018 13:38 Email    I‐495 & I‐270 MLS November IAWG Agenda                  .\VOL005\IMAGES\IMAGES003\00061804.pdf
00061806   00061807   11/13/2018 13:43 Email    FW: I‐495 & I‐270 MLS November IAWG Agenda              .\VOL005\IMAGES\IMAGES003\00061806.pdf
                                                FW: CANCELLED: I‐495 & I‐270 MLS November 14th
00061808   00061809   11/13/2018 20:27 Email    IAWG Meeting                                            .\VOL005\IMAGES\IMAGES003\00061808.pdf
00061810   00061810   11/15/2018 10:25 Email    Legal Mtg: Need Information                             .\VOL005\IMAGES\IMAGES003\00061810.pdf
00061811   00061815   11/15/2018 11:19 Email    FW: Priority: Alternatives Screening Process            .\VOL005\IMAGES\IMAGES003\00061811.pdf
                                                FW: I‐495 & I‐270 MLS Interagency Working Group
00061816   00061818   11/15/2018 12:02 Email    Meeting October 17th                                    .\VOL005\IMAGES\IMAGES003\00061816.pdf
00061819   00061819   11/16/2018 10:37 Email    Montgomery County Poor Farm                             .\VOL005\IMAGES\IMAGES003\00061819.pdf
00061820   00061824   11/16/2018 10:37 Attach   MCCI‐R Poor_Farm ID#196.pdf                             .\VOL005\IMAGES\IMAGES003\00061820.pdf

00061825   00061826   11/16/2018 10:42 Email    Re: Contributing Resource Lists in Eligible Districts   .\VOL005\IMAGES\IMAGES003\00061825.pdf
00061827   00061828   11/16/2018 15:33 Email    RE: Montgomery County Poor Farm                         .\VOL005\IMAGES\IMAGES003\00061827.pdf
00061829   00061845   11/16/2018 15:33 Attach   Poor Farm History 8‐28‐18.docx                          .\VOL005\IMAGES\IMAGES003\00061829.pdf
00061846   00061847   11/16/2018 15:49 Email    RE: Montgomery County Poor Farm                         .\VOL005\IMAGES\IMAGES003\00061846.pdf
00061848   00061849    11/19/2018 9:07 Attach   2019 Visualize2045.19.24TIP Conformity.pdf              .\VOL005\IMAGES\IMAGES003\00061848.pdf
                                                I‐495 & I‐270 MLS Final Post Concurrence P&N
00061850   00061874   11/19/2018 12:26 Attach   Errata_November 2018.pdf                                .\VOL005\IMAGES\IMAGES003\00061850.pdf
00061875   00061876   11/19/2018 12:26 Email    I‐495 & I‐270 MLS: Final Purpose and Need               .\VOL005\IMAGES\IMAGES003\00061875.pdf
                                                I‐495 & I‐270 MLS Final Purpose and Need_November
00061877   00061877   11/19/2018 12:26 Attach   2018.pdf                                                .\VOL005\IMAGES\IMAGES003\00061877.pdf
00061878   00061878   11/19/2018 12:26 Email    I‐495 & I‐270 MLS: Final Purpose and Need               .\VOL005\IMAGES\IMAGES003\00061878.pdf
00061879   00061881   11/19/2018 12:38 Email    RE: I‐495 & I‐270 MLS: Final Purpose and Need           .\VOL005\IMAGES\IMAGES003\00061879.pdf
00061882   00061885   11/19/2018 16:25 Email    Re: I‐495 & I‐270 MLS: Final Purpose and Need           .\VOL005\IMAGES\IMAGES003\00061882.pdf
00061886   00061887   11/19/2018 16:49 Email    FHWA Coordination Meetings                              .\VOL005\IMAGES\IMAGES003\00061886.pdf
00061888   00061888   11/19/2018 16:50 Email    MNCPPC Cultural Resources 106 comments                  .\VOL005\IMAGES\IMAGES003\00061888.pdf

00061889   00061891   11/19/2018 16:50 Attach   MNCPPC combined 495_270 Comments_Nov 2018.pdf .\VOL005\IMAGES\IMAGES003\00061889.pdf
00061892   00061892   11/19/2018 17:38 Attach   MPI 495.270 Sec 106 letter.docx               .\VOL005\IMAGES\IMAGES003\00061892.pdf
00061893   00061893   11/20/2018 10:20 Email    RE: Chronology                                .\VOL005\IMAGES\IMAGES003\00061893.pdf
00061894   00061894   11/20/2018 11:03 Email    FW: Chronology                                .\VOL005\IMAGES\IMAGES003\00061894.pdf
00061895   00061899   11/20/2018 11:03 Attach   revisedChronology.docx                        .\VOL005\IMAGES\IMAGES003\00061895.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                  Filed 05/03/23                         Page 26 of 263

00061900   00061905   11/20/2018 11:17 Edoc     20181119170142188.pdf                                 .\VOL005\IMAGES\IMAGES003\00061900.pdf
00061906   00061906   11/20/2018 12:29 Email    Notes and Inventory for C&O Canal Sites               .\VOL005\IMAGES\IMAGES003\00061906.pdf
00061907   00061907   11/20/2018 12:29 Attach   495 270 CO CANAL INVENTORY 11.16.18 (1).xlsx          .\VOL005\IMAGES\IMAGES003\00061907.pdf   .\VOL005\NATIVES\NATIVES003\00061907.xlsx
00061908   00061951   11/20/2018 12:29 Attach   S 12‐13 STP Forms.pdf                                 .\VOL005\IMAGES\IMAGES003\00061908.pdf
                                                I‐495/I‐270 Managed Lanes Study Follow‐up from
00061952   00061953   11/20/2018 12:57 Email    11/13 Section 106 Consulting Party meeting            .\VOL005\IMAGES\IMAGES003\00061952.pdf
                                                I‐495/I‐270 Managed Lanes Study Follow‐up from
00061954   00061955   11/20/2018 12:57 Email    11/13 Section 106 Consulting Party meeting            .\VOL005\IMAGES\IMAGES003\00061954.pdf
                                                I‐495_I‐270 Managed Lanes Study Follow‐up from
00061956   00061957   11/20/2018 12:58 Email    ...(1).pdf                                            .\VOL005\IMAGES\IMAGES003\00061956.pdf

00061958   00061975   11/20/2018 12:58 Attach   MLS_Consulting Parties Meeting No. 2 Presentat.pdf    .\VOL005\IMAGES\IMAGES003\00061958.pdf
                                                RE: Beltway widening ‐ Silver Spring Advisory Board
00061976   00061979    11/21/2018 9:12 Email    Conversation ‐ 11/26                                  .\VOL005\IMAGES\IMAGES003\00061976.pdf
00061980   00061980   11/26/2018 11:46 Email    Interstate 495‐Interstate 270 expansion project       .\VOL005\IMAGES\IMAGES003\00061980.pdf
00061981   00061984    11/27/2018 9:54 Email    FW: Contact information of two experts please         .\VOL005\IMAGES\IMAGES003\00061981.pdf
00061985   00061985   11/28/2018 10:55 Email    MHT Completed Review                                  .\VOL005\IMAGES\IMAGES003\00061985.pdf
00061986   00062082   11/28/2018 13:03 Attach   18‐21TIP_Office_of_the_Secretary_and_SHA .pdf         .\VOL005\IMAGES\IMAGES003\00061986.pdf
                                                FW: Peerless Rockville's comments on Rockville
00062083   00062083   11/29/2018 12:04 Email    Properties for I‐270/495 expansion                    .\VOL005\IMAGES\IMAGES003\00062083.pdf
00062084   00062084   11/29/2018 12:38 Email    dashboard                                             .\VOL005\IMAGES\IMAGES003\00062084.pdf
00062085   00062085   11/29/2018 12:38 Attach   reasonsfor changeofdates.docx                         .\VOL005\IMAGES\IMAGES003\00062085.pdf
00062086   00062086   11/29/2018 15:37 Email    RE: dashboard                                         .\VOL005\IMAGES\IMAGES003\00062086.pdf
00062087   00062088   11/29/2018 16:09 Edoc     495‐270‐Website‐Report_112918a.docx                   .\VOL005\IMAGES\IMAGES003\00062087.pdf
                                                2018‐12‐04 USACE_MDE Coordination Meeting
00062089   00062089   11/29/2018 16:34 Attach   Agenda.pdf                                            .\VOL005\IMAGES\IMAGES003\00062089.pdf

00062090   00062090   11/29/2018 17:06 Attach   2018‐12‐04 FHWA Coordination Mtg Agenda.docx          .\VOL005\IMAGES\IMAGES003\00062090.pdf
00062091   00062093   11/30/2018 11:15 Email    RE: NEPA Schedule                                     .\VOL005\IMAGES\IMAGES003\00062091.pdf

                                                RE: I‐495 & I‐270 Managed Lane Study: FHWA
00062094   00062094   11/30/2018 15:44 Email    Executive Level Meeting with MDOT and M‐NCPPC         .\VOL005\IMAGES\IMAGES003\00062094.pdf
00062095   00062095    12/2/2018 20:21 Email    civic association letter concerning the study         .\VOL005\IMAGES\IMAGES003\00062095.pdf

00062096   00062098    12/2/2018 20:21 Attach   WCA Letter re Beltway Expansion ‐ 11.30.2018.pdf   .\VOL005\IMAGES\IMAGES003\00062096.pdf
00062099   00062101     12/4/2018 8:20 Email    FW: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062099.pdf
00062102   00062104     12/4/2018 8:31 Email    FW: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062102.pdf
                                                2018‐12‐03_I‐495 & I‐270 MLS_Revised Draft
                                                Alternatives Screening Paper_Executive Summary
00062105   00062113     12/4/2018 9:34 Attach   Only.docx                                          .\VOL005\IMAGES\IMAGES003\00062105.pdf
                                                2018‐12‐03_I‐495 & I‐270 MLS_Revised Draft
00062114   00062163     12/4/2018 9:34 Attach   Alternatives Screening Paper.docx                  .\VOL005\IMAGES\IMAGES003\00062114.pdf
00062164   00062164    12/4/2018 10:26 Email    RE: I‐495/270 Revised ARDS Discussion              .\VOL005\IMAGES\IMAGES003\00062164.pdf
00062165   00062165    12/4/2018 10:28 Email    RE: I‐495/270 Revised ARDS Discussion              .\VOL005\IMAGES\IMAGES003\00062165.pdf
                                                FW: I‐495 & I‐270 MLS Revised Draft Alternatives
00062166   00062167    12/4/2018 11:56 Email    Screening Paper                                    .\VOL005\IMAGES\IMAGES003\00062166.pdf
                                                RE: I‐495 & I‐270 MLS Revised Draft Alternatives
00062168   00062170    12/4/2018 12:02 Email    Screening Paper                                    .\VOL005\IMAGES\IMAGES003\00062168.pdf
                                                2018‐11‐08_Response to FHWA Specific Comments Re
00062171   00062174    12/6/2018 10:19 Edoc     ARDS.docx                                          .\VOL005\IMAGES\IMAGES003\00062171.pdf
00062175   00062175    12/6/2018 11:25 Email    Screening Paper comments                           .\VOL005\IMAGES\IMAGES003\00062175.pdf
00062176   00062176    12/6/2018 14:17 Email    file w my comments                                 .\VOL005\IMAGES\IMAGES003\00062176.pdf
00062177   00062178    12/6/2018 14:22 Attach   doc_20181206151235.pdf                             .\VOL005\IMAGES\IMAGES003\00062177.pdf
00062179   00062181    12/6/2018 14:36 Email    RE: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062179.pdf
00062182   00062182    12/6/2018 15:00 Email    FHWA MDOT SHA meetings and IAWG                    .\VOL005\IMAGES\IMAGES003\00062182.pdf
00062183   00062186    12/6/2018 15:02 Email    RE: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062183.pdf
00062187   00062187    12/6/2018 19:17 Email    FW: file w my comments                             .\VOL005\IMAGES\IMAGES003\00062187.pdf
                                                FW: I‐495 & I‐270 MLS; December 12th IAWG Meeting‐
00062188   00062189   12/10/2018 15:47 Email    CANCELLED                                          .\VOL005\IMAGES\IMAGES003\00062188.pdf

00062190   00062192   12/10/2018 16:48 Attach   2018‐12‐04 FHWA Coordination Meeting_Notes.pdf     .\VOL005\IMAGES\IMAGES003\00062190.pdf
00062193   00062196    12/11/2018 8:17 Email    FW: Contact information of two experts please      .\VOL005\IMAGES\IMAGES003\00062193.pdf
                                                RE: I‐495 & I‐270 MLS; December 12th IAWG Meeting‐
00062197   00062199    12/11/2018 8:41 Email    CANCELLED                                          .\VOL005\IMAGES\IMAGES003\00062197.pdf
00062200   00062204    12/11/2018 8:43 Email    FW: Contact information of two experts please      .\VOL005\IMAGES\IMAGES003\00062200.pdf
                                                Re: I‐495 & I‐270 Managed Lanes Study ‐ DNR ERP
00062205   00062206    12/11/2018 8:55 Email    Review Request                                     .\VOL005\IMAGES\IMAGES003\00062205.pdf
00062207   00062208    12/11/2018 8:55 Attach   2018.0981.mopg.pdf                                 .\VOL005\IMAGES\IMAGES003\00062207.pdf
00062209   00062214   12/11/2018 18:37 Email    FW: Contact information of two experts please      .\VOL005\IMAGES\IMAGES003\00062209.pdf
                                                RE: Question for your meeting with SHA: replanting
                                                Carderock Springs area between the Beltway and our
00062215   00062221    12/12/2018 8:57 Email    Carderock Springs community                        .\VOL005\IMAGES\IMAGES003\00062215.pdf
00062222   00062259    12/12/2018 9:20 Attach   PSR_Final_inc Cover Letter.pdf                     .\VOL005\IMAGES\IMAGES003\00062222.pdf
00062260   00062263   12/12/2018 10:31 Email    RE: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062260.pdf
00062264   00062268   12/12/2018 10:37 Email    RE: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062264.pdf
                                                FW: Comments of Carderock Springs and South
                                                Carderock residents on SHA Beltway Expansion
00062269   00062269   12/12/2018 13:49 Email    Alternatives                                       .\VOL005\IMAGES\IMAGES003\00062269.pdf
00062270   00062275    12/13/2018 7:45 Email    FW: Contact information of two experts please      .\VOL005\IMAGES\IMAGES003\00062270.pdf
00062276   00062276   12/13/2018 11:41 Edoc     495‐270‐Website‐Report_121318a.docx                .\VOL005\IMAGES\IMAGES003\00062276.pdf
00062277   00062282    12/14/2018 9:57 Email    FW: Contact information of two experts please      .\VOL005\IMAGES\IMAGES003\00062277.pdf
                                                2018.12.14_Steffan Navedo‐Perez_PIA 10‐Day Close
00062283   00062283   12/14/2018 10:02 Edoc     Out Letter.pdf                                     .\VOL005\IMAGES\IMAGES003\00062283.pdf
                                                FHWA/MDOT SHA Coordination Mtg Notes from 12/11
00062284   00062284   12/14/2018 12:10 Email    Mtg                                                .\VOL005\IMAGES\IMAGES003\00062284.pdf
00062285   00062286   12/17/2018 10:23 Email    RE: I‐495/I‐270 MLS project in MD                  .\VOL005\IMAGES\IMAGES003\00062285.pdf
00062287   00062288   12/17/2018 10:33 Email    RE: I‐495/I‐270 MLS project in MD                  .\VOL005\IMAGES\IMAGES003\00062287.pdf
                                                I‐495/I‐270 MLS Section 106 Documents and
00062289   00062290   12/17/2018 11:48 Email    Determination‐of‐Eligibility forms (link)          .\VOL005\IMAGES\IMAGES003\00062289.pdf
                                                I‐495/I‐270 MLS Section 106 Documents and
00062291   00062293   12/17/2018 11:48 Email    Determination‐of‐Eligibility forms (link)          .\VOL005\IMAGES\IMAGES003\00062291.pdf
                                                I‐495_I‐270 MLS Section 106 Documents and
00062294   00062295   12/17/2018 11:50 Email    Deter....pdf                                       .\VOL005\IMAGES\IMAGES003\00062294.pdf
00062296   00062298   12/17/2018 13:12 Email    FW: I‐495/I‐270 MLS project in MD                  .\VOL005\IMAGES\IMAGES003\00062296.pdf
00062299   00062299   12/17/2018 14:56 Email    FW: I‐495/I‐270 permitting milestones              .\VOL005\IMAGES\IMAGES003\00062299.pdf
00062300   00062301   12/17/2018 17:55 Email    FW: Cooperating and Participating Agency List      .\VOL005\IMAGES\IMAGES003\00062300.pdf
00062302   00062303   12/17/2018 17:55 Attach   Cooperating and Participating Agency List.docx     .\VOL005\IMAGES\IMAGES003\00062302.pdf
00062304   00062306   12/17/2018 18:03 Email    FW: I‐495/I‐270 MLS project in MD                  .\VOL005\IMAGES\IMAGES003\00062304.pdf
00062307   00062310   12/18/2018 11:58 Email    FW: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062307.pdf
00062311   00062311   12/18/2018 11:58 Attach   OFD Coordination Plan Milestones 8.21.18.xlsx      .\VOL005\IMAGES\IMAGES003\00062311.pdf      .\VOL005\NATIVES\NATIVES003\00062311.xlsx
00062312   00062312   12/18/2018 12:19 Email    Draft response to MD regarding MIP project         .\VOL005\IMAGES\IMAGES003\00062312.pdf
00062313   00062316   12/18/2018 12:28 Email    FW: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062313.pdf
00062317   00062317   12/18/2018 12:48 Email    FW: Draft response to MD regarding MIP project     .\VOL005\IMAGES\IMAGES003\00062317.pdf
00062318   00062319   12/18/2018 13:24 Email    RE: Draft response to MD regarding MIP project     .\VOL005\IMAGES\IMAGES003\00062318.pdf
00062320   00062324   12/18/2018 13:27 Email    RE: NEPA Schedule                                  .\VOL005\IMAGES\IMAGES003\00062320.pdf
     Case 8:22-cv-02597-DKC                               Document 42-1                                    Filed 05/03/23                           Page 27 of 263

                                                MD Revised Permitting Milestone Table_12‐18
00062325   00062325   12/18/2018 13:27 Attach   (002).docx                                               .\VOL005\IMAGES\IMAGES003\00062325.pdf
00062326   00062330   12/18/2018 13:40 Email    FW: NEPA Schedule                                        .\VOL005\IMAGES\IMAGES003\00062326.pdf
00062331   00062335   12/18/2018 13:40 Email    RE: NEPA Schedule                                        .\VOL005\IMAGES\IMAGES003\00062331.pdf
00062336   00062337   12/18/2018 19:21 Attach   P3 Letter of Support.docx                                .\VOL005\IMAGES\IMAGES003\00062336.pdf
00062338   00062424   12/19/2018 10:47 Attach   19‐22TIP_Office_of_the_Secretary_and_SHA.pdf             .\VOL005\IMAGES\IMAGES003\00062338.pdf
00062425   00062430   12/19/2018 14:48 Email    FW: NEPA Schedule                                        .\VOL005\IMAGES\IMAGES003\00062425.pdf
00062431   00062436   12/19/2018 16:55 Email    RE: NEPA Schedule                                        .\VOL005\IMAGES\IMAGES003\00062431.pdf

00062437   00062437   12/20/2018 10:38 Email    I‐495/I‐270 Managed Lanes Study Coordination Plan        .\VOL005\IMAGES\IMAGES003\00062437.pdf
00062438   00062438   12/20/2018 14:02 Email    I‐495/I‐270 Permits for phased construction              .\VOL005\IMAGES\IMAGES003\00062438.pdf
00062439   00062439   12/20/2018 14:29 Email    One Federal Decision and Guidance                        .\VOL005\IMAGES\IMAGES003\00062439.pdf
00062440   00062442    12/21/2018 8:42 Email    RE: I‐495/I‐270 Permits for phased construction          .\VOL005\IMAGES\IMAGES003\00062440.pdf
00062443   00062443    12/21/2018 9:55 Email    MHT Completed Review                                     .\VOL005\IMAGES\IMAGES003\00062443.pdf
00062444   00062445    12/21/2018 9:55 Attach   Managed Lanes Batch 1 MHT Response.pdf                   .\VOL005\IMAGES\IMAGES003\00062444.pdf
00062446   00062446   12/21/2018 11:54 Email    Fw: Air Quality Call with Petra Jacobs 12/21/18          .\VOL005\IMAGES\IMAGES003\00062446.pdf
                                                MDOT SHA I‐495 & I‐270 Managed Lanes Study; Air
00062447   00062447   12/21/2018 11:58 Email    Quality Analysis                                         .\VOL005\IMAGES\IMAGES003\00062447.pdf
00062448   00062449   12/28/2018 15:15 Email    RE: Questions Regarding Permitting Timetable             .\VOL005\IMAGES\IMAGES003\00062448.pdf
00062450   00062453    12/31/2018 9:22 Email    RE: I‐495/I‐270 Permits for phased construction          .\VOL005\IMAGES\IMAGES003\00062450.pdf
00062454   00062454     1/1/2019 18:34 Email    I‐495 widening                                           .\VOL005\IMAGES\IMAGES003\00062454.pdf
00062455   00062458      1/2/2019 8:29 Email    RE: I‐495/I‐270 Permits for phased construction          .\VOL005\IMAGES\IMAGES003\00062455.pdf
                                                One Federal Decision: Request for Review of Draft
00062459   00062460      1/2/2019 9:28 Email    Permitting Timetable                                     .\VOL005\IMAGES\IMAGES003\00062459.pdf
00062461   00062461     1/2/2019 14:42 Email    Re: Sierra Club                                          .\VOL005\IMAGES\IMAGES003\00062461.pdf
                                                I‐495_I‐270 MLS Section 106 Determination‐of‐
00062462   00062463     1/3/2019 12:06 Email    El...(1).pdf                                             .\VOL005\IMAGES\IMAGES003\00062462.pdf
                                                FHWA/MDOT SHA Coordination Mtg; I‐495 & I‐270
00062464   00062465     1/3/2019 15:56 Email    MLS                                                      .\VOL005\IMAGES\IMAGES003\00062464.pdf

00062466   00062466     1/3/2019 15:56 Attach   2019‐01‐08 FHWA Coordination Mtg Agenda.docx          .\VOL005\IMAGES\IMAGES003\00062466.pdf
00062467   00062468     1/3/2019 16:31 Email    IAWG                                                  .\VOL005\IMAGES\IMAGES003\00062467.pdf
                                                FW: One Federal Decision: Request for Review of Draft
00062469   00062470     1/7/2019 10:51 Email    Permitting Timetable                                  .\VOL005\IMAGES\IMAGES003\00062469.pdf
00062471   00062472     1/7/2019 10:51 Attach   Draft Permitting Milestone Table_1‐2‐19.docx          .\VOL005\IMAGES\IMAGES003\00062471.pdf
                                                Re: Draft "Eligible" Properties under 50 years
00062473   00062474     1/7/2019 16:13 Email    disclaimer language for DOE forms                     .\VOL005\IMAGES\IMAGES003\00062473.pdf
00062475   00062476      1/8/2019 9:17 Email    FW: FHWA Coordination Mtg; I‐495 & I‐270              .\VOL005\IMAGES\IMAGES003\00062475.pdf
00062477   00062484      1/8/2019 9:17 Attach   MLS DEIS_Outline_Draft_1‐7‐19.docx                    .\VOL005\IMAGES\IMAGES003\00062477.pdf
00062485   00062485     1/8/2019 11:05 Email    Fwd: File for FHWA Air/Noise Staff                    .\VOL005\IMAGES\IMAGES003\00062485.pdf
00062486   00062488     1/8/2019 11:05 Attach   I‐495‐I‐270 MLS Noise Traff Eval.pdf                  .\VOL005\IMAGES\IMAGES003\00062486.pdf

00062489   00062490     1/8/2019 12:42 Email    [adc50] Documentation of likely‐eligible proper....pdf   .\VOL005\IMAGES\IMAGES003\00062489.pdf
00062491   00062493     1/8/2019 12:44 Edoc     495270MLS_AdvertisingPlan010719.docx                     .\VOL005\IMAGES\IMAGES003\00062491.pdf

00062494   00062496     1/8/2019 13:30 Email    Re_ [adc50] Documentation of likely‐eligible pr....pdf   .\VOL005\IMAGES\IMAGES003\00062494.pdf
00062497   00062497    1/10/2019 16:28 Email    I495/ 270 schedule                                       .\VOL005\IMAGES\IMAGES003\00062497.pdf
                                                2019.01.11_Dan Schere_PIA 10‐Day Close Out
00062498   00062499     1/11/2019 7:19 Edoc     Letter.pdf                                               .\VOL005\IMAGES\IMAGES003\00062498.pdf
                                                Re: [EXTERNAL] One Federal Decision: Request for
00062500   00062502    1/11/2019 15:09 Email    Review of Draft Permitting Timetable                     .\VOL005\IMAGES\IMAGES003\00062500.pdf
00062503   00062504    1/14/2019 13:51 Email    Federal RTE Coordination ‐ I‐495 & I‐270 MLS             .\VOL005\IMAGES\IMAGES003\00062503.pdf
                                                I‐495 & I‐270 Managed Lanes Study_Request for
00062505   00062505    1/14/2019 13:51 Attach   Species Information_NMFS_7‐13‐18‐signed.pdf              .\VOL005\IMAGES\IMAGES003\00062505.pdf
                                                Re: [EXTERNAL] One Federal Decision: Request for
00062506   00062508    1/14/2019 13:51 Attach   Review of Draft Permitting Timetable                     .\VOL005\IMAGES\IMAGES003\00062506.pdf
                                                Species List_Chesapeake Bay Ecological Services Field
00062509   00062516    1/14/2019 13:51 Attach   Office.pdf                                               .\VOL005\IMAGES\IMAGES003\00062509.pdf

00062517   00062522    1/14/2019 13:51 Attach   Species List_Virginia Ecological Services Field Office.pdf .\VOL005\IMAGES\IMAGES003\00062517.pdf
                                                Fw: I‐495 & I‐270 Managed Lanes Study in Maryland
00062523   00062525    1/14/2019 19:09 Email    and Virginia; Request for Information                      .\VOL005\IMAGES\IMAGES003\00062523.pdf
00062526   00062526    1/15/2019 12:45 Email    FW: I‐495 and I‐270 Study                                  .\VOL005\IMAGES\IMAGES003\00062526.pdf
00062527   00062527    1/15/2019 16:35 Email    FW: draft comment for Caryn Brookman                       .\VOL005\IMAGES\IMAGES003\00062527.pdf

00062528   00062528    1/15/2019 16:55 Attach   I‐495 I‐270 MLS Agency Coordination Plan_USACE .pdf .\VOL005\IMAGES\IMAGES003\00062528.pdf

00062529   00062529    1/15/2019 16:55 Attach   I‐495 & I‐270 MLS Agency Coordination Plan_NPS .pdf .\VOL005\IMAGES\IMAGES003\00062529.pdf

00062530   00062530    1/15/2019 16:55 Attach   I‐495 & I‐270 MLS Agency Coordination Plan_EPA.pdf       .\VOL005\IMAGES\IMAGES003\00062530.pdf

00062531   00062532    1/15/2019 16:55 Attach   I‐495 & I‐270 MLS Agency Coordination Plan_NCPC.pdf .\VOL005\IMAGES\IMAGES003\00062531.pdf
00062533   00062533    1/15/2019 16:55 Attach   I‐495 & I‐270 Agency Coordination Plan_DNR.pdf      .\VOL005\IMAGES\IMAGES003\00062533.pdf
00062534   00062534    1/15/2019 16:55 Attach   I‐495 & I‐270 Agency Coordination Plan_MDE.pdf      .\VOL005\IMAGES\IMAGES003\00062534.pdf
                                                I‐495 & I‐270 Agency Coordination
00062535   00062535    1/15/2019 16:55 Attach   Plan_MNCPPC_PG.pdf                                  .\VOL005\IMAGES\IMAGES003\00062535.pdf
                                                I‐495 & I‐270 MLS Agency Coordination Plan_MNCPPC‐
00062536   00062537    1/15/2019 16:55 Attach   MO.pdf                                              .\VOL005\IMAGES\IMAGES003\00062536.pdf

00062538   00062538    1/15/2019 16:55 Attach   I‐495 & I‐270 MLS Agency Coordination Plan_VDOT.pdf .\VOL005\IMAGES\IMAGES003\00062538.pdf
                                                I‐495 I‐270 MLS Purpose and Need Concurrence‐
00062539   00062540    1/15/2019 16:59 Attach   NPS.pdf                                             .\VOL005\IMAGES\IMAGES003\00062539.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00062541   00062541    1/15/2019 16:59 Attach   Concurrence_EPA.pdf                                 .\VOL005\IMAGES\IMAGES003\00062541.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00062542   00062542    1/15/2019 16:59 Attach   Concurrence_MDE.pdf                                 .\VOL005\IMAGES\IMAGES003\00062542.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00062543   00062543    1/15/2019 16:59 Attach   Concurrence_DNR.pdf                                 .\VOL005\IMAGES\IMAGES003\00062543.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00062544   00062544    1/15/2019 16:59 Attach   Concurrence_VDOT.pdf                                .\VOL005\IMAGES\IMAGES003\00062544.pdf
00062545   00062546    1/16/2019 14:07 Email    FW: draft comment for Caryn Brookman                .\VOL005\IMAGES\IMAGES003\00062545.pdf
00062547   00062547    1/16/2019 18:17 Email    OFD Project Tracker                                 .\VOL005\IMAGES\IMAGES003\00062547.pdf
                                                revised 1_16_19
                                                OFD_TrackingSpreadsheet_MD_VA_IL_113018
00062548   00062548    1/16/2019 18:17 Attach   (002).xlsx                                          .\VOL005\IMAGES\IMAGES003\00062548.pdf          .\VOL005\NATIVES\NATIVES003\00062548.xlsx
00062549   00062552    1/16/2019 18:39 Email    RE: NEPA Schedule                                   .\VOL005\IMAGES\IMAGES003\00062549.pdf
00062553   00062556     1/17/2019 8:44 Email    RE: NEPA Schedule                                   .\VOL005\IMAGES\IMAGES003\00062553.pdf
                                                MDOT SHA Section 106 Correspondence_ 2018
00062557   00062557     1/17/2019 9:16 Email    Annua....pdf                                        .\VOL005\IMAGES\IMAGES003\00062557.pdf
00062558   00062558    1/17/2019 16:06 Edoc     495‐270‐Website‐Report_011719a.docx                 .\VOL005\IMAGES\IMAGES003\00062558.pdf
00062559   00062559    1/17/2019 17:39 Email    I‐495_I‐270 MLS P3 project in Maryland.pdf          .\VOL005\IMAGES\IMAGES003\00062559.pdf
                                                495 Tech Report‐EIS Review
00062560   00062561    1/17/2019 17:39 Attach   Schedule_FHWACoopA.docx                             .\VOL005\IMAGES\IMAGES003\00062560.pdf

00062562   00062566    1/18/2019 14:12 Email    Re: Historic Boundary at BARC for I‐495 & I‐270 MLS      .\VOL005\IMAGES\IMAGES003\00062562.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                         Page 28 of 263

00062567   00062568   1/18/2019 16:08 Email    RE: draft comment for Caryn Brookman                    .\VOL005\IMAGES\IMAGES003\00062567.pdf
00062569   00062569   1/18/2019 16:11 Email    Proposed Bill Update                                    .\VOL005\IMAGES\IMAGES003\00062569.pdf
                                               Invitation to the Carderock Community Meeting on
                                               Beltway Expansion: Sunday, February 10th, 6‐8 pm,
00062570   00062570   1/21/2019 20:20 Email    Carderock Springs, Bethesda                             .\VOL005\IMAGES\IMAGES003\00062570.pdf
00062571   00062573   1/21/2019 20:20 Attach   20180430132259328 (2).pdf                               .\VOL005\IMAGES\IMAGES003\00062571.pdf
                                               FW: CONFIDENTIAL, DELIBERATIVE AND PRE‐
00062574   00062575   1/22/2019 10:24 Email    DECISIONAL: Draft IAWG Email                            .\VOL005\IMAGES\IMAGES003\00062574.pdf
                                               RE: CONFIDENTIAL, DELIBERATIVE AND PRE‐
00062576   00062577   1/22/2019 10:28 Email    DECISIONAL: Draft IAWG Email                            .\VOL005\IMAGES\IMAGES003\00062576.pdf
00062578   00062580   1/22/2019 11:50 Email    I‐495 & I‐270 MLS: IAWG Update                          .\VOL005\IMAGES\IMAGES003\00062578.pdf
00062581   00062583   1/22/2019 12:02 Email    FW: I‐495 & I‐270 MLS: IAWG Update                      .\VOL005\IMAGES\IMAGES003\00062581.pdf
00062584   00062586   1/22/2019 12:02 Email    FW: I‐495 & I‐270 MLS: IAWG Update                      .\VOL005\IMAGES\IMAGES003\00062584.pdf
00062587   00062587   1/22/2019 16:42 Email    I‐495 & I‐270                                           .\VOL005\IMAGES\IMAGES003\00062587.pdf
00062588   00062589   1/22/2019 16:42 Attach   Gregory‐ Response.pdf                                   .\VOL005\IMAGES\IMAGES003\00062588.pdf

                                               Re: Invitation to the Carderock Community Meeting on
                                               Beltway Expansion: Sunday, February 10th, 6‐8 pm,
00062590   00062591   1/22/2019 18:37 Email    Carderock Springs, Bethesda                          .\VOL005\IMAGES\IMAGES003\00062590.pdf

00062592   00062619   1/23/2019 13:50 Edoc     495_270MLSPublicWorkhsopSummary_AppendixD.pdf .\VOL005\IMAGES\IMAGES003\00062592.pdf

00062620   00062621   1/23/2019 14:35 Email    Re: Friends of Sligo Creek: Beltway expansion question .\VOL005\IMAGES\IMAGES003\00062620.pdf

00062622   00062628   1/23/2019 15:09 Edoc     495_270MLSPublicWorkhsopSummary_AppendixA.pdf .\VOL005\IMAGES\IMAGES003\00062622.pdf

00062629   00062677   1/23/2019 15:15 Edoc     495_270MLSPublicWorkhsopSummary_AppendixC.pdf .\VOL005\IMAGES\IMAGES003\00062629.pdf
00062678   00062679    1/24/2019 8:38 Email    RE: Supplemental Survey Requirements          .\VOL005\IMAGES\IMAGES003\00062678.pdf

00062680   00062686   1/24/2019 13:19 Attach   FINAL Planning Requirements Guidance_050118.docx        .\VOL005\IMAGES\IMAGES003\00062680.pdf
00062687   00062687   1/24/2019 13:41 Edoc     495‐270‐Website‐Report_012419a.docx                     .\VOL005\IMAGES\IMAGES003\00062687.pdf
00062688   00062817   1/24/2019 14:12 Edoc     495270MLS_PW_Summary012418_FINAL.pdf                    .\VOL005\IMAGES\IMAGES003\00062688.pdf
00062818   00062819   1/25/2019 16:23 Email    NEPA Schedule                                           .\VOL005\IMAGES\IMAGES003\00062818.pdf
00062820   00062820   1/25/2019 16:23 Attach   NEPA‐IAWG elements schedule_1‐15‐2019.pdf               .\VOL005\IMAGES\IMAGES003\00062820.pdf
00062821   00062821   1/25/2019 16:23 Email    NEPA Schedule                                           .\VOL005\IMAGES\IMAGES003\00062821.pdf
00062822   00062822   1/25/2019 17:05 Email    EIS Outline                                             .\VOL005\IMAGES\IMAGES003\00062822.pdf
00062823   00062825   1/28/2019 10:21 Email    RE: I‐495 & I‐270 MLS‐ Mitigation Discussion            .\VOL005\IMAGES\IMAGES003\00062823.pdf
00062826   00062826   1/28/2019 13:36 Email    Draft EIS Outline comments                              .\VOL005\IMAGES\IMAGES003\00062826.pdf
00062827   00062829   1/28/2019 13:52 Email    RE: I‐495 & I‐270 MLS: IAWG Update                      .\VOL005\IMAGES\IMAGES003\00062827.pdf
00062830   00062832   1/28/2019 15:25 Email    RE: EIS Outline                                         .\VOL005\IMAGES\IMAGES003\00062830.pdf
00062833   00062834   1/30/2019 13:20 Email    I 495 I 270 Study draft EIS outline                     .\VOL005\IMAGES\IMAGES003\00062833.pdf
00062835   00062837   1/31/2019 11:34 Email    RE: Words to the wise ...                               .\VOL005\IMAGES\IMAGES003\00062835.pdf
00062838   00062841   1/31/2019 14:17 Email    Re: SHP File of Clarified GWMP                          .\VOL005\IMAGES\IMAGES003\00062838.pdf
00062842   00062842   1/31/2019 16:29 Edoc     495‐270‐Website‐Report_013119a.docx                     .\VOL005\IMAGES\IMAGES003\00062842.pdf
00062843   00062843    2/1/2019 10:11 Email    American Legion Bridge Article                          .\VOL005\IMAGES\IMAGES003\00062843.pdf
00062844   00062845    2/1/2019 15:08 Email    FHWA/MDOT SHA Coordination Meeting Agenda               .\VOL005\IMAGES\IMAGES003\00062844.pdf

00062846   00062846    2/1/2019 15:08 Attach   2019‐02‐05 FHWA Coordination Mtg Agenda.docx            .\VOL005\IMAGES\IMAGES003\00062846.pdf
00062847   00062848     2/4/2019 9:36 Email    RE: American Legion Bridge Article                      .\VOL005\IMAGES\IMAGES003\00062847.pdf

                                               Re: [EXTERNAL] I‐495/I‐270 MLS Section 106
                                               Determination‐of‐Eligibility forms, Batch 3 Posted,
00062849   00062851    2/4/2019 14:55 Email    comments requested by February 1, 2019                .\VOL005\IMAGES\IMAGES003\00062849.pdf
                                               FW: One Federal Decision: Request for Review of Draft
00062852   00062854    2/4/2019 16:36 Email    Permitting Timetable                                  .\VOL005\IMAGES\IMAGES003\00062852.pdf
00062855   00062855    2/4/2019 17:13 Email    OFD questions                                         .\VOL005\IMAGES\IMAGES003\00062855.pdf
                                               2019‐02‐06 I‐495 NEXT AGENDA VA‐MD Technical
00062856   00062856    2/4/2019 17:23 Attach   Meeting#5_CB comments.docx                            .\VOL005\IMAGES\IMAGES003\00062856.pdf
                                               RE: CDM Smith Third Lane Between GW Parkway and I‐
00062857   00062859    2/4/2019 18:43 Email    270 Spur Results                                      .\VOL005\IMAGES\IMAGES003\00062857.pdf

00062860   00062863    2/4/2019 18:43 Attach   2019_02_04 Capacity Increase Sensitivity Test Alt 9.pdf .\VOL005\IMAGES\IMAGES003\00062860.pdf

00062864   00062864     2/5/2019 9:20 Email    FHWA/MDOT SHA 495 & 270 Coordination Meeting            .\VOL005\IMAGES\IMAGES003\00062864.pdf
                                               495 Tech Report‐EIS Review
00062865   00062866     2/5/2019 9:20 Attach   Schedule_FHWA&CoopAg.docx                               .\VOL005\IMAGES\IMAGES003\00062865.pdf
                                               MLS DEIS_Outline_Draft_Rev_01‐31‐19_Response to
00062867   00062874     2/5/2019 9:20 Attach   FHWA comments.docx                                      .\VOL005\IMAGES\IMAGES003\00062867.pdf

00062875   00062876     2/5/2019 9:20 Attach   2019‐02‐05_5 Month Look Ahead_Alternatives.docx         .\VOL005\IMAGES\IMAGES003\00062875.pdf
                                               2019‐01‐17_I‐495 I‐270 Noise Analysis Approach
00062877   00062879     2/5/2019 9:20 Attach   Modification_Response to FHWA comment.docx              .\VOL005\IMAGES\IMAGES003\00062877.pdf
00062880   00062883     2/5/2019 9:20 Attach   April Advertising Plan for Workshops.docx               .\VOL005\IMAGES\IMAGES003\00062880.pdf

00062884   00062884     2/5/2019 9:20 Email    FHWA/MDOT SHA 495 & 270 Coordination Meeting            .\VOL005\IMAGES\IMAGES003\00062884.pdf
00062885   00062886     2/5/2019 9:37 Email    RE: OFD questions                                       .\VOL005\IMAGES\IMAGES003\00062885.pdf
                                               FW: RE: Current Ownership of the American Legion
00062887   00062889    2/5/2019 11:58 Email    Bridge                                                  .\VOL005\IMAGES\IMAGES003\00062887.pdf
                                               RE: RE: Current Ownership of the American Legion
00062890   00062892    2/5/2019 12:07 Email    Bridge                                                  .\VOL005\IMAGES\IMAGES003\00062890.pdf
00062893   00062894    2/5/2019 14:31 Email    RE: OFD questions                                       .\VOL005\IMAGES\IMAGES003\00062893.pdf

00062895   00062897     2/6/2019 8:05 Email    RE: VA ‐ 495 Express Lanes to American Legion Bridge    .\VOL005\IMAGES\IMAGES003\00062895.pdf
00062898   00062899    2/7/2019 10:30 Email    FW: two VDOT reports                                    .\VOL005\IMAGES\IMAGES003\00062898.pdf

00062900   00062940    2/7/2019 10:30 Attach   VDOTCRL_9_029_011_NOVA_19861201 JMU 1986.pdf .\VOL005\IMAGES\IMAGES003\00062900.pdf

00062941   00063055    2/7/2019 10:30 Attach   VDOTCRL‐9‐029‐082_NOVA Gray and Pape 2001.pdf           .\VOL005\IMAGES\IMAGES003\00062941.pdf
00063056   00063088    2/7/2019 12:46 Attach   2019‐02‐10_Caderock_Presentation_v1.pptx                .\VOL005\IMAGES\IMAGES003\00063056.pdf
                                               I‐495/I‐270 MLS Section 106 Determination of
                                               Eligibility forms, Batch 4 Posted, comments requested
00063089   00063091    2/7/2019 14:43 Email    by Feb. 28, and additional info                         .\VOL005\IMAGES\IMAGES003\00063089.pdf
                                               I‐495_I‐270 MLS Section 106 Determination of
00063092   00063094    2/7/2019 14:45 Email    El...(2).pdf                                            .\VOL005\IMAGES\IMAGES003\00063092.pdf
00063095   00063095     2/8/2019 7:28 Edoc     495‐270‐Website‐Report_020719a.docx                     .\VOL005\IMAGES\IMAGES003\00063095.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study; February
00063096   00063097   2/12/2019 11:17 Email    Interagency Working Group Meeting                       .\VOL005\IMAGES\IMAGES003\00063096.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting
00063098   00063098   2/12/2019 11:17 Attach   Agenda_2019‐02‐13.pdf                                   .\VOL005\IMAGES\IMAGES003\00063098.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study; February
00063099   00063100   2/12/2019 11:38 Email    Interagency Working Group Meeting                       .\VOL005\IMAGES\IMAGES003\00063099.pdf
                                               draft20180418_SHA‐FHWA Coord Mtg Minutes WT‐
00063101   00063108   2/12/2019 15:58 Attach   JK.doc                                                  .\VOL005\IMAGES\IMAGES003\00063101.pdf
                                               Re: Question about archaeological resources near I‐
00063109   00063114   2/13/2019 12:42 Email    495, Fairfax County                                     .\VOL005\IMAGES\IMAGES003\00063109.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                          Page 29 of 263

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                                               602_PH_AE_Survey_Mt_Vernon_Trail_Extension_GW
00063115   00063274   2/13/2019 12:42 Attach   MP_2006_EACA_report.pdf                               .\VOL005\IMAGES\IMAGES003\00063115.pdf
                                               RE: Question about archaeological resources near I‐
00063275   00063280   2/13/2019 12:51 Email    495, Fairfax County                                   .\VOL005\IMAGES\IMAGES003\00063275.pdf
00063281   00063281   2/13/2019 14:41 Email    Here is what we said on I‐495 / I‐270                 .\VOL005\IMAGES\IMAGES003\00063281.pdf
00063282   00063285   2/13/2019 15:39 Edoc     I‐495_I‐270_Newsletter_Feb_2019_FINAL.pdf             .\VOL005\IMAGES\IMAGES003\00063282.pdf
00063286   00063286   2/14/2019 11:28 Email    KP ‐ PP05 Schedule                                    .\VOL005\IMAGES\IMAGES003\00063286.pdf
00063287   00063288   2/14/2019 12:05 Email    RE: MDOT and SHA regarding...Traffic congestion       .\VOL005\IMAGES\IMAGES003\00063287.pdf
                                               Question about Environmental analysis of screened
00063289   00063289   2/14/2019 13:27 Email    alternatives                                          .\VOL005\IMAGES\IMAGES003\00063289.pdf
                                               FW: Guidance Request‐Rock Creek Stream Valley Park
00063290   00063294   2/14/2019 14:49 Email    Evaluation                                            .\VOL005\IMAGES\IMAGES003\00063290.pdf
00063295   00063295    2/15/2019 7:41 Email    FW: Website Updates                                   .\VOL005\IMAGES\IMAGES003\00063295.pdf
                                               Re: I‐495 & I‐270 Manged Lanes Study ‐ Alternatives
00063296   00063299    2/15/2019 9:52 Email    Update                                                .\VOL005\IMAGES\IMAGES003\00063296.pdf
                                               Fw: I‐495 & I‐270 Manged Lanes Study ‐ Alternatives
00063300   00063303   2/15/2019 10:07 Email    Update                                                .\VOL005\IMAGES\IMAGES003\00063300.pdf
00063304   00063304   2/15/2019 10:12 Email    Community Presentation Request                        .\VOL005\IMAGES\IMAGES003\00063304.pdf
00063305   00063306   2/15/2019 10:12 Attach   LHCA !‐495 Delegation Testimony.pdf                   .\VOL005\IMAGES\IMAGES003\00063305.pdf

00063307   00063308   2/15/2019 10:21 Email    RE: I‐495/I‐270 Project Update due Friday 2/22/2019 .\VOL005\IMAGES\IMAGES003\00063307.pdf
00063309   00063310   2/15/2019 11:08 Email    Wrong move.                                            .\VOL005\IMAGES\IMAGES003\00063309.pdf
                                               Re: I‐495 & I‐270 Manged Lanes Study ‐ Alternatives
00063311   00063314   2/15/2019 11:27 Email    Update                                                 .\VOL005\IMAGES\IMAGES003\00063311.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study ‐ Alternatives
00063315   00063319   2/15/2019 12:15 Email    Update                                                 .\VOL005\IMAGES\IMAGES003\00063315.pdf
                                               RE: I‐495 & I‐270 Manged Lanes Study ‐ Alternatives
00063320   00063323   2/15/2019 12:17 Email    Update                                                 .\VOL005\IMAGES\IMAGES003\00063320.pdf
                                               FW: Planning Board Will Be Briefed on Draft Guidelines
                                               for Montgomery County Burial Sites Inventory on
00063324   00063327   2/15/2019 14:29 Email    February 21                                            .\VOL005\IMAGES\IMAGES003\00063324.pdf
00063328   00063329   2/15/2019 15:43 Edoc     495‐270‐Website‐Report_021419c.docx                    .\VOL005\IMAGES\IMAGES003\00063328.pdf
                                               Thomas Branch Issues, SHA AW073A11 I‐495 & I‐270
00063330   00063330   2/18/2019 10:40 Email    (P3) GEC Office NMP# 18‐026                            .\VOL005\IMAGES\IMAGES003\00063330.pdf

00063331   00063332   2/18/2019 15:41 Edoc     I‐495_I‐270_Postcard_Insert_9x6_2019_2_18V2.pdf       .\VOL005\IMAGES\IMAGES003\00063331.pdf

00063333   00063333   2/18/2019 15:42 Edoc     I‐495_I‐270_Print_Ad_9.66x4.75_2019_2_18V2.pdf         .\VOL005\IMAGES\IMAGES003\00063333.pdf
00063334   00063334   2/19/2019 10:38 Email    Re: [EXTERNAL] 495 & 270 MLS                           .\VOL005\IMAGES\IMAGES003\00063334.pdf
00063335   00063335   2/22/2019 13:17 Edoc     495‐270‐Website‐Report_022119a.docx                    .\VOL005\IMAGES\IMAGES003\00063335.pdf
                                               I‐495/I‐270 Archaeological Work in Virginia ‐ Tribal
00063336   00063336   2/25/2019 11:47 Email    Consultation                                           .\VOL005\IMAGES\IMAGES003\00063336.pdf
                                               FW: Evergreen Support of MD SB442 and SB781 +
00063337   00063337   2/25/2019 13:05 Email    HB102, HB91 and HB663                                  .\VOL005\IMAGES\IMAGES003\00063337.pdf
00063338   00063346   2/25/2019 13:05 Attach   Evergreen Final ‐ Susan Lee ‐ 2.24.18.pdf              .\VOL005\IMAGES\IMAGES003\00063338.pdf
                                               FW: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063347   00063349   2/25/2019 13:19 Email    Draft Screened Alternatives Paper                      .\VOL005\IMAGES\IMAGES003\00063347.pdf
                                               FW: Wyngate Citizens Association comments on EIS
00063350   00063350   2/25/2019 14:07 Attach   study scope of major managed lanes project             .\VOL005\IMAGES\IMAGES003\00063350.pdf
                                               FW: request a meeting with Wyngate Citizens
00063351   00063351   2/25/2019 14:07 Attach   Association, Bethesda, MD in September                 .\VOL005\IMAGES\IMAGES003\00063351.pdf
                                               13227 Priority 1 SWM Remed Retrofit MHT 2‐2019
00063352   00063359   2/25/2019 14:43 Attach   REV.pdf                                                .\VOL005\IMAGES\IMAGES003\00063352.pdf
00063360   00063360   2/25/2019 16:21 Email    FW: CSX alignment                                      .\VOL005\IMAGES\IMAGES003\00063360.pdf
                                               FW: Wyngate Citizens Association comments on EIS
00063361   00063361   2/25/2019 17:23 Attach   study scope of major managed lanes project             .\VOL005\IMAGES\IMAGES003\00063361.pdf
                                               FW: request a meeting with Wyngate Citizens
00063362   00063362   2/25/2019 17:23 Attach   Association, Bethesda, MD in September                 .\VOL005\IMAGES\IMAGES003\00063362.pdf
00063363   00063363   2/26/2019 15:00 Email    MHT Completed Review                                   .\VOL005\IMAGES\IMAGES003\00063363.pdf
00063364   00063365   2/26/2019 15:00 Attach   MLS Batch 2 Response.pdf                               .\VOL005\IMAGES\IMAGES003\00063364.pdf
00063366   00063366   2/26/2019 15:08 Email    FW: MHT Completed Review                               .\VOL005\IMAGES\IMAGES003\00063366.pdf
00063367   00063369   2/26/2019 15:59 Email    FW: Call Today at 3:00 p.m. with Mr. Garson            .\VOL005\IMAGES\IMAGES003\00063367.pdf
00063370   00063370   2/26/2019 15:59 Attach   Transportation February 2019 rev.xlsx                  .\VOL005\IMAGES\IMAGES003\00063370.pdf   .\VOL005\NATIVES\NATIVES003\00063370.xlsx
00063371   00063372   2/27/2019 10:35 Email    Re: I‐495 & I‐270 Managed Lanes Study Updates          .\VOL005\IMAGES\IMAGES003\00063371.pdf
                                               Cabin John Citizens Association Support of MD SB442
00063373   00063373   2/27/2019 17:26 Email    and SB781 + HB102, HB91 and HB663                      .\VOL005\IMAGES\IMAGES003\00063373.pdf
                                               2019_2_27 Cabin John Letter Supporting Legislation on
00063374   00063376   2/27/2019 17:26 Attach   Beltway Expansion Issues.pdf                           .\VOL005\IMAGES\IMAGES003\00063374.pdf
                                               RE: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063377   00063379    2/28/2019 8:59 Email    Draft Screened Alternatives Paper                      .\VOL005\IMAGES\IMAGES003\00063377.pdf
                                               RE: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063380   00063381    2/28/2019 9:34 Email    Draft Screened Alternatives Paper                      .\VOL005\IMAGES\IMAGES003\00063380.pdf
                                               RE: Question about Environmental analysis of
00063382   00063384   2/28/2019 10:49 Email    screened alternatives                                  .\VOL005\IMAGES\IMAGES003\00063382.pdf
                                               RE: Question about Environmental analysis of
00063385   00063387   2/28/2019 10:53 Email    screened alternatives                                  .\VOL005\IMAGES\IMAGES003\00063385.pdf
                                               RE: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063388   00063390   2/28/2019 11:18 Email    Draft Screened Alternatives Paper                      .\VOL005\IMAGES\IMAGES003\00063388.pdf
                                               Re: Question about Environmental analysis of
00063391   00063393   2/28/2019 11:26 Email    screened alternatives                                  .\VOL005\IMAGES\IMAGES003\00063391.pdf
                                               495‐270 Managed Lanes Study Social Media Campaign
00063394   00063396   2/28/2019 11:32 Edoc     Phase I_2‐28‐19_v2.pdf                                 .\VOL005\IMAGES\IMAGES003\00063394.pdf
                                               RE: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063397   00063399   2/28/2019 11:51 Email    Draft Screened Alternatives Paper                      .\VOL005\IMAGES\IMAGES003\00063397.pdf
                                               Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063400   00063401   2/28/2019 11:51 Attach   Draft Screened Alternatives Paper                      .\VOL005\IMAGES\IMAGES003\00063400.pdf
                                               RE: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063402   00063404   2/28/2019 11:52 Email    Draft Screened Alternatives Paper                      .\VOL005\IMAGES\IMAGES003\00063402.pdf
00063405   00063405   2/28/2019 18:16 Email    PAPAI                                                  .\VOL005\IMAGES\IMAGES003\00063405.pdf
                                               495‐270 Managed Lanes Study Social Media Campaign
00063406   00063407    3/1/2019 10:14 Edoc     Phase II 3‐01‐19.pdf                                   .\VOL005\IMAGES\IMAGES003\00063406.pdf
00063408   00063408    3/1/2019 12:45 Edoc     495‐270‐Website‐Report_022819a.docx                    .\VOL005\IMAGES\IMAGES003\00063408.pdf
00063409   00063411    3/1/2019 14:23 Email    RE: I 495 I 270 Study draft EIS outline                .\VOL005\IMAGES\IMAGES003\00063409.pdf
00063412   00063422    3/1/2019 14:58 Email    FW: Invitation to Four Cities meeting                  .\VOL005\IMAGES\IMAGES003\00063412.pdf
00063423   00063458    3/1/2019 14:58 Attach   I‐270_Induced_Travel_Briefing_Paper.pdf                .\VOL005\IMAGES\IMAGES003\00063423.pdf
00063459   00063494    3/1/2019 14:58 Attach   20190122‐743_Technical_Advisory.pdf                    .\VOL005\IMAGES\IMAGES003\00063459.pdf
                                               FW: FW: I‐495/I‐270 Managed Lanes Study Interagency
00063495   00063497    3/1/2019 22:59 Email    Working Group Meeting                                  .\VOL005\IMAGES\IMAGES003\00063495.pdf
                                               Meeting Outreach‐
                                               Record_WyngateCitizenAssociationMtg_030319AB.do
00063498   00063503     3/4/2019 9:28 Edoc     cx                                                     .\VOL005\IMAGES\IMAGES003\00063498.pdf

00063504   00063504    3/4/2019 12:09 Edoc     495‐270 MD HOAs with Emails_FINAL_03‐04‐19.xlsx       .\VOL005\IMAGES\IMAGES003\00063504.pdf    .\VOL005\NATIVES\NATIVES003\00063504.XLSX
00063505   00063505    3/4/2019 13:37 Email    Confidential, Pre‐Decisional and Deliberative         .\VOL005\IMAGES\IMAGES003\00063505.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                         Page 30 of 263

00063506   00063508    3/5/2019 10:51 Edoc     TRP‐Managed‐Lane‐Study‐Press‐Release‐030719.docx         .\VOL005\IMAGES\IMAGES003\00063506.pdf
00063509   00063509    3/5/2019 11:07 Email    495/270 5 Month Look Ahead                               .\VOL005\IMAGES\IMAGES003\00063509.pdf
                                               RE: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063510   00063512    3/5/2019 11:18 Email    Draft Screened Alternatives Paper                        .\VOL005\IMAGES\IMAGES003\00063510.pdf
                                               RE: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063513   00063515    3/5/2019 11:28 Email    Draft Screened Alternatives Paper                        .\VOL005\IMAGES\IMAGES003\00063513.pdf
                                               RE: Pre‐Decisional and Deliberative: I‐495 & I‐270 MLS
00063516   00063519    3/5/2019 11:34 Email    Draft Screened Alternatives Paper                        .\VOL005\IMAGES\IMAGES003\00063516.pdf
00063520   00063520    3/5/2019 13:25 Email    RE: PAPAI                                                .\VOL005\IMAGES\IMAGES003\00063520.pdf

00063521   00063521    3/5/2019 14:56 Email    NSA Bethesda's comments on Screened Alternatives  .\VOL005\IMAGES\IMAGES003\00063521.pdf
                                               495‐270 Managed Lanes Study Social Media Campaign
00063522   00063525    3/5/2019 15:59 Edoc     Phase I_Ad#1 Analytics_3‐05‐19.pdf                .\VOL005\IMAGES\IMAGES003\00063522.pdf
                                               FW: MDP Comments on the Pre‐Decisional and
                                               Deliberative: I‐495 & I‐270 MLS Draft Screened
00063526   00063529    3/6/2019 14:54 Email    Alternatives Paper                                .\VOL005\IMAGES\IMAGES003\00063526.pdf
00063530   00063531    3/6/2019 17:45 Email    RE: PAPAI                                         .\VOL005\IMAGES\IMAGES003\00063530.pdf

                                               Re: MDOT SHA to Hold Six Public Workshops on
                                               Alternatives for the I‐495 & I‐270 Managed Lanes
00063532   00063536    3/7/2019 11:47 Email    Study in Montgomery and Prince George’s Counties         .\VOL005\IMAGES\IMAGES003\00063532.pdf

                                               Re: MDOT SHA to Hold Six Public Workshops on
                                               Alternatives for the I‐495 & I‐270 Managed Lanes
00063537   00063538    3/7/2019 11:47 Email    Study in Montgomery and Prince George’s Counties         .\VOL005\IMAGES\IMAGES003\00063537.pdf

                                               Re: MDOT SHA to Hold Six Public Workshops on
                                               Alternatives for the I‐495 & I‐270 Managed Lanes
00063539   00063540    3/7/2019 11:47 Email    Study in Montgomery and Prince George’s Counties         .\VOL005\IMAGES\IMAGES003\00063539.pdf
                                               Meeting Outreach‐
00063541   00063544    3/7/2019 12:01 Edoc     Record_MontCoCivicFed_022819.docx                        .\VOL005\IMAGES\IMAGES003\00063541.pdf

                                               RE: MDOT SHA to Hold Six Public Workshops on
                                               Alternatives for the I‐495 & I‐270 Managed Lanes
00063545   00063550    3/7/2019 13:04 Email    Study in Montgomery and Prince George’s Counties         .\VOL005\IMAGES\IMAGES003\00063545.pdf
                                               Corps comments on the Draft Alternatives Screening
00063551   00063553    3/7/2019 15:50 Email    Alternatives Paper                                       .\VOL005\IMAGES\IMAGES003\00063551.pdf
00063554   00063556    3/7/2019 16:11 Email    RE: PAPAI                                                .\VOL005\IMAGES\IMAGES003\00063554.pdf
                                               I‐495/I‐270 MLS Section 106 Determination of
                                               Eligibility forms, Batch 5 Posted, comments requested
00063557   00063558    3/7/2019 16:17 Email    by March 28                                              .\VOL005\IMAGES\IMAGES003\00063557.pdf
                                               I‐495_I‐270 MLS Section 106 Determination of
00063559   00063560    3/7/2019 16:18 Email    El...(1).pdf                                             .\VOL005\IMAGES\IMAGES003\00063559.pdf
00063561   00063561    3/8/2019 11:47 Edoc     495‐270‐Website‐Report_030719b.docx                      .\VOL005\IMAGES\IMAGES003\00063561.pdf
00063562   00063565    3/8/2019 13:12 Attach   I‐495_I‐270_Newsletter_Feb_2019_FINAL.pdf                .\VOL005\IMAGES\IMAGES003\00063562.pdf
                                               2019‐03‐13 USACE_MDE Coordination Meeting
00063566   00063566   3/11/2019 12:07 Attach   Agenda.docx                                              .\VOL005\IMAGES\IMAGES003\00063566.pdf

00063567   00063567   3/11/2019 15:04 Email    RE: Agency Comments on Screened Alternatives Paper .\VOL005\IMAGES\IMAGES003\00063567.pdf
00063568   00063572    3/12/2019 8:18 Email    RE: H                                               .\VOL005\IMAGES\IMAGES003\00063568.pdf
                                               Copy of 2019.02.27_Large Land Owner Spreadsheet ‐
00063573   00063573   3/12/2019 12:51 Attach   P3 Team for Meetings.xlsx                           .\VOL005\IMAGES\IMAGES003\00063573.pdf        .\VOL005\NATIVES\NATIVES003\00063573.xlsx
                                               FW: I‐495 & I‐270 MLS Screened Alternatives Paper ‐
00063574   00063575   3/12/2019 16:48 Email    ALL Agency Comments                                 .\VOL005\IMAGES\IMAGES003\00063574.pdf
00063576   00063582   3/12/2019 16:48 Attach   Carol Rubin doc March 6.pdf                         .\VOL005\IMAGES\IMAGES003\00063576.pdf
00063583   00063638   3/12/2019 16:48 Attach   Exhibit A.pdf                                       .\VOL005\IMAGES\IMAGES003\00063583.pdf

00063639   00063640   3/12/2019 16:48 Attach   Draft MDE Comments I‐495 I‐270 Screening.docx            .\VOL005\IMAGES\IMAGES003\00063639.pdf
                                               FW: I‐495 & I‐270 MLS Screened Alternatives Paper ‐
00063641   00063642   3/12/2019 16:48 Email    ALL Agency Comments                                      .\VOL005\IMAGES\IMAGES003\00063641.pdf
00063643   00063650   3/12/2019 18:30 Attach   MDOT TRP Letter.pdf                                      .\VOL005\IMAGES\IMAGES003\00063643.pdf
                                               AAA Support Letter I‐495 and I‐270 P3 Program 10‐26‐
00063651   00063652   3/12/2019 18:30 Attach   2018.doc                                                 .\VOL005\IMAGES\IMAGES003\00063651.pdf
00063653   00063653   3/12/2019 18:30 Attach   AIAI_LetterofSupport.pdf                                 .\VOL005\IMAGES\IMAGES003\00063653.pdf
00063654   00063654   3/13/2019 10:30 Email    IAWG No. 8 ‐ PowerPoint                                  .\VOL005\IMAGES\IMAGES003\00063654.pdf
                                               I‐495 & I‐270 MLS_IAWG Meeting No. 8 DRAFT
00063655   00063671   3/13/2019 10:30 Attach   Presentation v1.pdf                                      .\VOL005\IMAGES\IMAGES003\00063655.pdf

                                               495‐270 Managed Lanes Study Social Media Campaign
00063672   00063677   3/13/2019 14:32 Edoc     Phase I_Ad#1 &Ad#2 Analytics_3‐13‐19.pdf          .\VOL005\IMAGES\IMAGES003\00063672.pdf

00063678   00063679   3/13/2019 14:55 Email    Some thoughts on the proposed I‐495/I‐270 Expansion .\VOL005\IMAGES\IMAGES003\00063678.pdf
                                               Fw: Montgomery County Burial Sites Inventory and
00063680   00063682    3/14/2019 7:11 Email    Guidelines                                          .\VOL005\IMAGES\IMAGES003\00063680.pdf
00063683   00063683    3/14/2019 8:55 Email    Agencies' comments on screened alternatives         .\VOL005\IMAGES\IMAGES003\00063683.pdf
                                               I‐495 & I‐270 MLS Screened Alternatives Paper ‐ ALL
00063684   00063684    3/14/2019 8:55 Attach   Agency Comments                                     .\VOL005\IMAGES\IMAGES003\00063684.pdf
00063685   00063696    3/14/2019 8:55 Attach   Exhibit B.pdf                                       .\VOL005\IMAGES\IMAGES003\00063685.pdf

00063697   00063697    3/14/2019 9:04 Email    RE: Agencies' comments on screened alternatives   .\VOL005\IMAGES\IMAGES003\00063697.pdf
                                               495‐270 Managed Lanes Study Social Media Campaign
                                               Phase I_Ad#1 &Ad#2 Analytics_Completed_3‐14‐
00063698   00063705    3/14/2019 9:09 Edoc     19.pdf                                            .\VOL005\IMAGES\IMAGES003\00063698.pdf
00063706   00063706   3/14/2019 12:03 Email    FW: IAWG No. 8 ‐ PowerPoint                       .\VOL005\IMAGES\IMAGES003\00063706.pdf

                                               RE: Confidential, Pre‐Decisional and Deliberative: I‐495
00063707   00063708   3/14/2019 15:41 Email    & I‐270 MLS DRAFT ARDS paper                             .\VOL005\IMAGES\IMAGES003\00063707.pdf

00063709   00063710   3/14/2019 16:05 Email    RE: Agencies' comments on screened alternatives          .\VOL005\IMAGES\IMAGES003\00063709.pdf

                                               FW: Confidential, Pre‐Decisional and Deliberative: I‐
00063711   00063712   3/14/2019 16:12 Email    495 & I‐270 MLS DRAFT ARDS paper                      .\VOL005\IMAGES\IMAGES003\00063711.pdf
                                               2019‐02‐
                                               27_I495_I270_MLS_BARC_MitigationCoordination_Me
00063713   00063715   3/14/2019 16:18 Attach   etingMinutes.docx                                     .\VOL005\IMAGES\IMAGES003\00063713.pdf
00063716   00063716   3/15/2019 11:00 Edoc     495‐270‐Website‐Report_031419a.docx                   .\VOL005\IMAGES\IMAGES003\00063716.pdf
00063717   00063719   3/15/2019 19:41 Edoc     L2696_F11‐13_1960.pdf                                 .\VOL005\IMAGES\IMAGES003\00063717.pdf
00063720   00063720   3/15/2019 19:41 Edoc     SHA Plat 29013.pdf                                    .\VOL005\IMAGES\IMAGES003\00063720.pdf
00063721   00063721   3/15/2019 19:41 Edoc     SHA Plat 29010.pdf                                    .\VOL005\IMAGES\IMAGES003\00063721.pdf
00063722   00063722   3/15/2019 19:41 Edoc     SHA Plat 29011.pdf                                    .\VOL005\IMAGES\IMAGES003\00063722.pdf
00063723   00063726   3/15/2019 19:41 Edoc     L3199_F506‐509_1964.pdf                               .\VOL005\IMAGES\IMAGES003\00063723.pdf
00063727   00063727   3/15/2019 19:41 Edoc     SHA Plat 29012.pdf                                    .\VOL005\IMAGES\IMAGES003\00063727.pdf
00063728   00063731   3/15/2019 19:41 Edoc     L4512_F407‐410_1974.pdf                               .\VOL005\IMAGES\IMAGES003\00063728.pdf
00063732   00063732   3/15/2019 19:41 Edoc     SHA Plat 29009.pdf                                    .\VOL005\IMAGES\IMAGES003\00063732.pdf
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00063733   00063733   3/15/2019 19:41 Edoc     SHA Plat 29014.pdf                                       .\VOL005\IMAGES\IMAGES003\00063733.pdf
00063734   00063734   3/15/2019 19:41 Edoc     SHA Plat 29016.pdf                                       .\VOL005\IMAGES\IMAGES003\00063734.pdf
00063735   00063735   3/15/2019 19:41 Edoc     SHA Plat 29035.pdf                                       .\VOL005\IMAGES\IMAGES003\00063735.pdf
00063736   00063736   3/15/2019 19:41 Edoc     SHA Plat 29038.pdf                                       .\VOL005\IMAGES\IMAGES003\00063736.pdf
00063737   00063737   3/15/2019 19:41 Edoc     SHA Plat 29022.pdf                                       .\VOL005\IMAGES\IMAGES003\00063737.pdf
00063738   00063738   3/15/2019 19:41 Edoc     SHA Plat 29018.pdf                                       .\VOL005\IMAGES\IMAGES003\00063738.pdf
00063739   00063739   3/15/2019 19:41 Edoc     SHA Plat 29015.pdf                                       .\VOL005\IMAGES\IMAGES003\00063739.pdf
00063740   00063740   3/15/2019 19:41 Edoc     SHA Plat 29037.pdf                                       .\VOL005\IMAGES\IMAGES003\00063740.pdf
00063741   00063741   3/15/2019 19:41 Edoc     SHA Plat 29032.pdf                                       .\VOL005\IMAGES\IMAGES003\00063741.pdf
00063742   00063742   3/15/2019 19:41 Edoc     SHA Plat 29262.pdf                                       .\VOL005\IMAGES\IMAGES003\00063742.pdf
00063743   00063743   3/15/2019 19:41 Edoc     SHA Plat 29263.pdf                                       .\VOL005\IMAGES\IMAGES003\00063743.pdf
00063744   00063745   3/15/2019 19:41 Edoc     L3098_F577‐578_1960.pdf                                  .\VOL005\IMAGES\IMAGES003\00063744.pdf
00063746   00063750   3/15/2019 19:50 Edoc     Baltimore 5‐Plotroom_20190315_115825.pdf                 .\VOL005\IMAGES\IMAGES003\00063746.pdf
00063751   00063752   3/16/2019 12:38 Attach   Cairo 817319 Signed.pdf                                  .\VOL005\IMAGES\IMAGES003\00063751.pdf
00063753   00063753   3/17/2019 17:07 Email    I‐495 & I‐270 MLS April Public Workshop Flyer            .\VOL005\IMAGES\IMAGES003\00063753.pdf
                                               I‐495 & I‐270 MLS April Public Workhop
00063754   00063754   3/17/2019 17:07 Attach   Flyer_2019.pdf                                           .\VOL005\IMAGES\IMAGES003\00063754.pdf
00063755   00063755   3/17/2019 17:09 Email    I‐495 & I‐270 MLS April Public Workshops                 .\VOL005\IMAGES\IMAGES003\00063755.pdf
00063756   00063756    3/18/2019 9:11 Email    FW: ARDS Paper                                           .\VOL005\IMAGES\IMAGES003\00063756.pdf
00063757   00063757    3/18/2019 9:48 Email    RE: Agenda items                                         .\VOL005\IMAGES\IMAGES003\00063757.pdf
                                               FW_ Confidential, Pre‐Decisional and
00063758   00063759   3/18/2019 10:23 Email    Deliberati...(1).pdf                                     .\VOL005\IMAGES\IMAGES003\00063758.pdf

00063760   00063808   3/18/2019 10:23 Attach   2018‐03‐14_495 & 270 MLS_DRAFT ARDS Paper.docx           .\VOL005\IMAGES\IMAGES003\00063760.pdf

00063809   00063809   3/18/2019 10:56 Email    FW_ Confidential, Pre‐Decisional and Deliberati....pdf   .\VOL005\IMAGES\IMAGES003\00063809.pdf
                                               Meeting Outreach‐
00063810   00063815   3/18/2019 11:29 Edoc     Record_TownOfCheverly_031419.docx                        .\VOL005\IMAGES\IMAGES003\00063810.pdf
00063816   00063825   3/18/2019 11:53 Email    Fw: Old African American Graveyard                       .\VOL005\IMAGES\IMAGES003\00063816.pdf
00063826   00063827   3/18/2019 13:50 Email    RE: ARDS Paper                                           .\VOL005\IMAGES\IMAGES003\00063826.pdf
                                               2019.03.18_CAV_Talking Points_for Village of North
00063828   00063828   3/18/2019 16:03 Edoc     Chevy Chase.docx                                         .\VOL005\IMAGES\IMAGES003\00063828.pdf
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT ARDS
00063829   00063829    3/19/2019 9:29 Email    paper                                                    .\VOL005\IMAGES\IMAGES003\00063829.pdf
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT ARDS
00063830   00063830    3/19/2019 9:29 Email    paper                                                    .\VOL005\IMAGES\IMAGES003\00063830.pdf
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT ARDS
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                                               REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT ARDS
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                                               REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT ARDS
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                                               REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT ARDS
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                                               REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT ARDS
00063835   00063835   3/19/2019 10:04 Email    paper                                                    .\VOL005\IMAGES\IMAGES003\00063835.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00063836   00063837   3/19/2019 10:10 Email    ARDS paper                                               .\VOL005\IMAGES\IMAGES003\00063836.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00063838   00063839   3/19/2019 10:16 Email    ARDS paper                                               .\VOL005\IMAGES\IMAGES003\00063838.pdf
                                               2019‐03‐19_I‐495 & I‐270 Managed Lanes
00063840   00063841   3/19/2019 11:02 Attach   Study_Community and EJ Outreach.pdf                      .\VOL005\IMAGES\IMAGES003\00063840.pdf
                                               REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT ARDS
00063842   00063842   3/19/2019 11:04 Email    ....pdf                                                  .\VOL005\IMAGES\IMAGES003\00063842.pdf

00063843   00063891   3/19/2019 11:04 Attach   2018‐03‐14_495 & 270 MLS_DRAFT ARDS Paper.docx .\VOL005\IMAGES\IMAGES003\00063843.pdf
                                               REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT ARDS
00063892   00063892   3/19/2019 11:04 Email    ....pdf                                               .\VOL005\IMAGES\IMAGES003\00063892.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00063893   00063894   3/19/2019 11:16 Email    A....pdf                                              .\VOL005\IMAGES\IMAGES003\00063893.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
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                                               FW: I‐495/I‐270 Traffic ‐ CLRP and NEPA Travel
00063897   00063898   3/19/2019 16:39 Email    Demand Modeling                                       .\VOL005\IMAGES\IMAGES003\00063897.pdf
                                               RE: I‐495/I‐270 Traffic ‐ CLRP and NEPA Travel Demand
00063899   00063900   3/19/2019 16:39 Attach   Modeling                                              .\VOL005\IMAGES\IMAGES003\00063899.pdf
                                               RE: I‐495/I‐270 Traffic ‐ CLRP and NEPA Travel Demand
00063901   00063902    3/20/2019 6:20 Email    Modeling                                              .\VOL005\IMAGES\IMAGES003\00063901.pdf

00063903   00063904   3/20/2019 13:58 Email    Re: [EXTERNAL] USFWS Coordination‐ Conference Call       .\VOL005\IMAGES\IMAGES003\00063903.pdf
                                               2018‐03‐14_495 270 MLS_DRAFT ARDS Breck
00063905   00063905   3/20/2019 16:25 Email    comments.docx                                            .\VOL005\IMAGES\IMAGES003\00063905.pdf
                                               2018‐03‐14_495 270 MLS_DRAFT ARDS Breck
00063906   00063954   3/20/2019 16:25 Attach   comments.docx                                            .\VOL005\IMAGES\IMAGES003\00063906.pdf
00063955   00063955   3/20/2019 16:38 Email    Comments on P3 ARDS                                      .\VOL005\IMAGES\IMAGES003\00063955.pdf

00063956   00064004   3/20/2019 16:38 Attach   2018‐03‐14_495 270 MLS_DRAFT ARDS Paper JP.docx          .\VOL005\IMAGES\IMAGES003\00063956.pdf
00064005   00064053   3/20/2019 17:12 Edoc     MLS_DRAFT ARDS Paper KPcomments.docx                     .\VOL005\IMAGES\IMAGES003\00064005.pdf
00064054   00064054   3/20/2019 18:59 Email    I‐495/I‐270 MLS ARDS                                     .\VOL005\IMAGES\IMAGES003\00064054.pdf
00064055   00064103   3/20/2019 18:59 Attach   MLS_DRAFT ARDS paper_JM comments.docx                    .\VOL005\IMAGES\IMAGES003\00064055.pdf

00064104   00064152    3/21/2019 7:12 Edoc     MLS_DRAFT ARDS Paper KP, BJ, JP, JM comments.docx .\VOL005\IMAGES\IMAGES003\00064104.pdf
                                               2019‐03‐13_MLS_Screened Alternatives_Agency
00064153   00064180    3/21/2019 8:26 Edoc     Comments_ErrataSheet.docx                         .\VOL005\IMAGES\IMAGES003\00064153.pdf

00064181   00064314    3/21/2019 8:27 Edoc     Screened Alternatives Paper_AGENCY COMMENTS.pdf .\VOL005\IMAGES\IMAGES003\00064181.pdf
00064315   00064326    3/21/2019 8:27 Edoc     Exhibit C.pdf                                   .\VOL005\IMAGES\IMAGES003\00064315.pdf
00064327   00064336    3/21/2019 8:27 Edoc     ScreenedAlternativesMCDOT03062019.pdf           .\VOL005\IMAGES\IMAGES003\00064327.pdf

00064337   00064337    3/21/2019 8:27 Edoc     Navy_Screened Alternatives Comments_letter_201.pdf .\VOL005\IMAGES\IMAGES004\00064337.pdf
00064338   00064338   3/21/2019 14:36 Edoc     Draft ARDS Comments.docx                           .\VOL005\IMAGES\IMAGES004\00064338.pdf
                                               FW_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064339   00064339   3/21/2019 14:46 Email    A...(1).pdf                                        .\VOL005\IMAGES\IMAGES004\00064339.pdf

00064340   00064388   3/21/2019 14:46 Attach   2018‐03‐14_495 & 270 MLS_DRAFT ARDS Paper.docx           .\VOL005\IMAGES\IMAGES004\00064340.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064389   00064390   3/21/2019 14:48 Email    A...(2).pdf                                              .\VOL005\IMAGES\IMAGES004\00064389.pdf
00064391   00064392   3/21/2019 15:08 Email    RE: General Comments                                     .\VOL005\IMAGES\IMAGES004\00064391.pdf
00064393   00064393    3/22/2019 6:27 Edoc     495‐270‐Website‐Report_032119a.docx                      .\VOL005\IMAGES\IMAGES004\00064393.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064394   00064395   3/22/2019 11:52 Email    A....pdf                                                 .\VOL005\IMAGES\IMAGES004\00064394.pdf
                                               RE_REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064396   00064397   3/22/2019 12:04 Email    AR....pdf                                                .\VOL005\IMAGES\IMAGES004\00064396.pdf
                                               RE_REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064398   00064399   3/22/2019 12:04 Email    AR....pdf                                                .\VOL005\IMAGES\IMAGES004\00064398.pdf
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00064400   00064400   3/23/2019 14:49 Email    I‐270 and MD 187 Noise Abatement                      .\VOL005\IMAGES\IMAGES004\00064400.pdf
00064401   00064402   3/23/2019 14:49 Attach   Nelson‐2019.03.25‐signed.pdf                          .\VOL005\IMAGES\IMAGES004\00064401.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00064403   00064403    3/25/2019 9:16 Email    ARDS paper                                            .\VOL005\IMAGES\IMAGES004\00064403.pdf
                                               FW: Pre‐Decisional and Deliberative: Division
00064404   00064404    3/25/2019 9:31 Email    Comments on I‐495 & I‐270 ARDS                        .\VOL005\IMAGES\IMAGES004\00064404.pdf
00064405   00064405   3/25/2019 10:01 Email    I object to the Beltway Expansion                     .\VOL005\IMAGES\IMAGES004\00064405.pdf
00064406   00064408   3/25/2019 14:19 Email    RE: PAPAI                                             .\VOL005\IMAGES\IMAGES004\00064406.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00064409   00064410   3/26/2019 10:49 Email    ARDS paper                                            .\VOL005\IMAGES\IMAGES004\00064409.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00064411   00064412   3/26/2019 11:34 Email    ARDS paper                                            .\VOL005\IMAGES\IMAGES004\00064411.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00064413   00064414   3/26/2019 11:34 Email    ARDS paper                                            .\VOL005\IMAGES\IMAGES004\00064413.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064415   00064416   3/26/2019 11:49 Email    A...(3).pdf                                           .\VOL005\IMAGES\IMAGES004\00064415.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00064417   00064418   3/26/2019 15:30 Email    ARDS paper                                            .\VOL005\IMAGES\IMAGES004\00064417.pdf
00064419   00064444   3/26/2019 16:09 Edoc     BARC_L4053_F130‐155_1972.pdf                          .\VOL005\IMAGES\IMAGES004\00064419.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064445   00064446   3/26/2019 16:30 Email    A...(5).pdf                                           .\VOL005\IMAGES\IMAGES004\00064445.pdf
                                               RE: comments for I‐495/I‐270 MLS Section 106
00064447   00064448    3/27/2019 8:38 Email    Consultation: comments on Batch 5                     .\VOL005\IMAGES\IMAGES004\00064447.pdf
00064449   00064458    3/27/2019 8:38 Attach   M; 30‐47_John Henry O'Neale House.pdf                 .\VOL005\IMAGES\IMAGES004\00064449.pdf
                                               Re: FW: comments for I‐495/I‐270 MLS Section 106
00064459   00064461    3/27/2019 9:06 Email    Consultation: comments on Batch 5                     .\VOL005\IMAGES\IMAGES004\00064459.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00064462   00064464    3/27/2019 9:30 Email    ARDS paper                                            .\VOL005\IMAGES\IMAGES004\00064462.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00064465   00064467    3/27/2019 9:33 Email    ARDS paper                                            .\VOL005\IMAGES\IMAGES004\00064465.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064468   00064470   3/27/2019 10:30 Email    A...(4).pdf                                           .\VOL005\IMAGES\IMAGES004\00064468.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00064471   00064472   3/27/2019 12:12 Email    ARDS paper                                            .\VOL005\IMAGES\IMAGES004\00064471.pdf
00064473   00064473   3/27/2019 13:34 Email    MHT Completed Review                                  .\VOL005\IMAGES\IMAGES004\00064473.pdf
00064474   00064475   3/27/2019 13:34 Attach   MHT Concurrence Sheets 3‐27‐19.pdf                    .\VOL005\IMAGES\IMAGES004\00064474.pdf
00064476   00064477   3/27/2019 13:34 Attach   MLS Batch 4 Response.pdf                              .\VOL005\IMAGES\IMAGES004\00064476.pdf
                                               RE: Upcoming Public Workshops on I‐495 & I‐270
00064478   00064479   3/27/2019 16:21 Email    Managed Lanes Study                                   .\VOL005\IMAGES\IMAGES004\00064478.pdf
00064480   00064480   3/27/2019 16:54 Email    I‐270 Inquiry                                         .\VOL005\IMAGES\IMAGES004\00064480.pdf
00064481   00064482   3/27/2019 16:54 Attach   Shannon.2019‐03‐27.FrederickMeeting.pdf               .\VOL005\IMAGES\IMAGES004\00064481.pdf
00064483   00064488    3/28/2019 3:13 Attach   NAprocess_BOGIC_2019‐03‐28_mgmSr.docx                 .\VOL005\IMAGES\IMAGES004\00064483.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00064489   00064490    3/28/2019 8:15 Email    A...(7).pdf                                           .\VOL005\IMAGES\IMAGES004\00064489.pdf
                                               Meeting Outreach‐
00064491   00064501    3/28/2019 9:32 Edoc     Record_VillageNorthChevyChase_031919.docx             .\VOL005\IMAGES\IMAGES004\00064491.pdf
                                               MNCPPC_MOCO Planning_2019.3.28.Batch 5
00064502   00064503   3/28/2019 15:04 Attach   Comments.docx                                         .\VOL005\IMAGES\IMAGES004\00064502.pdf
                                               Meeting Outreach‐Record_Upcounty
00064504   00064509   3/28/2019 15:29 Edoc     Citizens_031819_SLT.docx                              .\VOL005\IMAGES\IMAGES004\00064504.pdf
                                               National Park Service Land Record No. 593 1968 05
00064510   00064512   3/28/2019 16:18 Edoc     13.PDF                                                .\VOL005\IMAGES\IMAGES004\00064510.pdf
00064513   00064514   3/28/2019 16:44 Attach   270Batch5comments.pdf                                 .\VOL005\IMAGES\IMAGES004\00064513.pdf
00064515   00064517   3/28/2019 17:28 Email    RE: PAPAI                                             .\VOL005\IMAGES\IMAGES004\00064515.pdf

                                               RE: PERMITTING DASHBOARD: Target Completion
00064518   00064519   3/28/2019 17:28 Email    Date Approaching for I‐95 Access Improvements         .\VOL005\IMAGES\IMAGES004\00064518.pdf
                                               Re: Upcoming Public Workshops on I‐495 & I‐270
00064520   00064522   3/29/2019 10:13 Email    Managed Lanes Study                                   .\VOL005\IMAGES\IMAGES004\00064520.pdf

00064523   00064526   3/29/2019 10:15 Edoc     Meeting Outreach‐Record_FourCities_013019.docx        .\VOL005\IMAGES\IMAGES004\00064523.pdf

00064527   00064527   3/29/2019 10:23 Edoc     I‐495 at Section B_Retaining Wall cross section.pdf   .\VOL005\IMAGES\IMAGES004\00064527.pdf

00064528   00064528   3/29/2019 10:24 Edoc     I‐495 at Section A_Retaining Wall cross section.pdf   .\VOL005\IMAGES\IMAGES004\00064528.pdf
00064529   00064529   3/29/2019 12:17 Edoc     Meeting Outreach‐Record_SMTA_02072019.docx            .\VOL005\IMAGES\IMAGES004\00064529.pdf
00064530   00064533   3/29/2019 13:43 Email    RE: PAPAI                                             .\VOL005\IMAGES\IMAGES004\00064530.pdf

                                               RE: PERMITTING DASHBOARD: Target Completion
00064534   00064535   3/29/2019 14:09 Email    Date Approaching for I‐95 Access Improvements         .\VOL005\IMAGES\IMAGES004\00064534.pdf

                                               RE: PERMITTING DASHBOARD: Target Completion
00064536   00064538   3/29/2019 14:14 Email    Date Approaching for I‐95 Access Improvements         .\VOL005\IMAGES\IMAGES004\00064536.pdf
00064539   00064539   3/29/2019 17:50 Edoc     I‐495 at Section B_Open cross section.pdf             .\VOL005\IMAGES\IMAGES004\00064539.pdf
00064540   00064540   3/29/2019 17:51 Edoc     I‐495 Section A_Open cross section.pdf                .\VOL005\IMAGES\IMAGES004\00064540.pdf
                                               Meeting Outreach‐
                                               Record_GreaterBethesdaChambOfComm_032719.doc
00064541   00064543    4/1/2019 12:57 Edoc     x                                                     .\VOL005\IMAGES\IMAGES004\00064541.pdf
                                               I‐495 & I‐270 MLS March 13, 2019 IAWG Meeting
00064544   00064545    4/1/2019 12:58 Email    Notes                                                 .\VOL005\IMAGES\IMAGES004\00064544.pdf
                                               I‐495 I‐270 Managed Lanes Study IAWG Key
00064546   00064550    4/1/2019 12:58 Attach   Notes_2019‐03‐13.pdf                                  .\VOL005\IMAGES\IMAGES004\00064546.pdf
00064551   00064551    4/2/2019 12:00 Email    VDOT Coordination                                     .\VOL005\IMAGES\IMAGES004\00064551.pdf
00064552   00064552    4/2/2019 12:03 Edoc     I‐495_I‐270_Flyer_2019_4_2_FINAL.pdf                  .\VOL005\IMAGES\IMAGES004\00064552.pdf
00064553   00064553    4/2/2019 15:46 Edoc     I‐495_I‐270_Flyer_Spanish_rd06_FINAL.pdf              .\VOL005\IMAGES\IMAGES004\00064553.pdf
00064554   00064563    4/2/2019 16:22 Attach   sha_noise_policy 2011.pdf                             .\VOL005\IMAGES\IMAGES004\00064554.pdf
00064564   00064564    4/3/2019 12:11 Email    FHWA Logo                                             .\VOL005\IMAGES\IMAGES004\00064564.pdf

00064565   00064566    4/4/2019 11:50 Email    I‐485 & I‐270 MLS; Screened Alternatives Paper Errata .\VOL005\IMAGES\IMAGES004\00064565.pdf
                                               2019‐04‐03_MLS_Screened Alternatives_Agency
00064567   00064607    4/4/2019 11:50 Attach   Comments_Errata Response_.pdf                         .\VOL005\IMAGES\IMAGES004\00064567.pdf
00064608   00064609    4/4/2019 12:00 Email    May 2019 Public Workshops                             .\VOL005\IMAGES\IMAGES004\00064608.pdf
00064610   00064611    4/4/2019 12:00 Email    May 2019 Public Workshops                             .\VOL005\IMAGES\IMAGES004\00064610.pdf
00064612   00064612    4/4/2019 16:08 Edoc     495‐270‐Website‐Report_032819a .docx                  .\VOL005\IMAGES\IMAGES004\00064612.pdf
00064613   00064613    4/4/2019 16:09 Edoc     495‐270‐Website‐Report_040419a.docx                   .\VOL005\IMAGES\IMAGES004\00064613.pdf
00064614   00064614    4/4/2019 17:32 Attach   495‐270 General ARDS FHWA Comments.docx               .\VOL005\IMAGES\IMAGES004\00064614.pdf
                                               MLS_DRAFT ARDS Paper FHWA comments 3‐
00064615   00064663    4/4/2019 17:32 Attach   2019.docx                                             .\VOL005\IMAGES\IMAGES004\00064615.pdf
00064664   00064693     4/5/2019 9:19 Attach   Statewide SWM Remedial MHT 2‐2019.pdf                 .\VOL005\IMAGES\IMAGES004\00064664.pdf
                                               Statewide SWM Priority 1 Remediation MHT Concur 3‐
00064694   00064694     4/5/2019 9:19 Attach   28‐19.pdf                                             .\VOL005\IMAGES\IMAGES004\00064694.pdf
00064695   00064699    4/8/2019 11:17 Email    RE: Road Surfaces                                     .\VOL005\IMAGES\IMAGES004\00064695.pdf

00064700   00064700    4/8/2019 11:26 Edoc     Montgomery Co. Public Schools_Meeting Record.docx .\VOL005\IMAGES\IMAGES004\00064700.pdf
00064701   00064701    4/8/2019 13:57 Email    FW: FHWA MIPS                                     .\VOL005\IMAGES\IMAGES004\00064701.pdf
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00064702   00064703    4/8/2019 14:05 Email    FW: FHWA MIPS                                           .\VOL005\IMAGES\IMAGES004\00064702.pdf
00064704   00064705    4/8/2019 16:26 Email    I‐495 & I‐270 MLS IAWG Meeting Agenda                   .\VOL005\IMAGES\IMAGES004\00064704.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting
00064706   00064706    4/8/2019 16:26 Attach   Agenda_2019‐04‐10.pdf                                   .\VOL005\IMAGES\IMAGES004\00064706.pdf
00064707   00064708    4/8/2019 16:26 Email    I‐495 & I‐270 MLS IAWG Meeting Agenda                   .\VOL005\IMAGES\IMAGES004\00064707.pdf
                                               495‐270 Managed Lanes Study Social Media Campaign
00064709   00064712    4/8/2019 22:10 Edoc     Phase II_Ad#1 Analytics_4‐08‐19.pdf                     .\VOL005\IMAGES\IMAGES004\00064709.pdf
                                               I‐495 & I‐270 MLS_Revised ARDS Paper_April
00064713   00064771     4/9/2019 8:55 Attach   2019.pdf.docx                                           .\VOL005\IMAGES\IMAGES004\00064713.pdf
                                               I‐495 & I‐270 MLS_Draft ARDS Paper_FINAL FHWA
00064772   00064783     4/9/2019 8:55 Attach   Errata_April 2019.pdf                                   .\VOL005\IMAGES\IMAGES004\00064772.pdf
00064784   00064785     4/9/2019 8:55 Email    Revised ARDS Paper and Errata                           .\VOL005\IMAGES\IMAGES004\00064784.pdf
00064786   00064787     4/9/2019 9:00 Email    FW: Revised ARDS Paper and Errata                       .\VOL005\IMAGES\IMAGES004\00064786.pdf
00064788   00064789     4/9/2019 9:31 Email    Upcoming I‐495/I‐270 MLS Public Workshops               .\VOL005\IMAGES\IMAGES004\00064788.pdf
00064790   00064792    4/9/2019 13:40 Edoc     Holy Cross Hospital_Meeting Record.docx                 .\VOL005\IMAGES\IMAGES004\00064790.pdf
                                               Following Up ‐ Section 106 Consulting Party Invitation,
00064793   00064795    4/9/2019 17:30 Email    Chesapeake Bay Crossing Study                           .\VOL005\IMAGES\IMAGES004\00064793.pdf
00064796   00064798    4/9/2019 17:30 Attach   Re‐Sending_BCS CP Invitation letter 11 2018.pdf         .\VOL005\IMAGES\IMAGES004\00064796.pdf
00064799   00064799    4/9/2019 17:30 Attach   Attachment 01 Study Area Map.pdf                        .\VOL005\IMAGES\IMAGES004\00064799.pdf
00064800   00064800    4/9/2019 17:30 Attach   Attachment 02 Response Form_03252019.pdf                .\VOL005\IMAGES\IMAGES004\00064800.pdf
00064801   00064803    4/9/2019 17:30 Attach   Attachment 03 List of All Parties.pdf                   .\VOL005\IMAGES\IMAGES004\00064801.pdf
                                               RE_ I‐495_I‐270 MLS Section 106 Determination
00064804   00064806    4/9/2019 17:51 Email    o....pdf                                                .\VOL005\IMAGES\IMAGES004\00064804.pdf
00064807   00064809    4/10/2019 8:18 Email    RE: May 2019 Public Workshops                           .\VOL005\IMAGES\IMAGES004\00064807.pdf
00064810   00064810    4/10/2019 9:56 Edoc     YMCA by US 29 Meeting Record.docx                       .\VOL005\IMAGES\IMAGES004\00064810.pdf
00064811   00064812   4/10/2019 10:16 Email    IAWG No. 9 April 10th ‐ PowerPoint Presentation         .\VOL005\IMAGES\IMAGES004\00064811.pdf
                                               I‐495 & I‐270 MLS_IAWG Meeting No. 9
00064813   00064842   4/10/2019 10:16 Attach   Presentation.pdf                                        .\VOL005\IMAGES\IMAGES004\00064813.pdf
00064843   00064844   4/10/2019 10:16 Email    IAWG No. 9 April 10th ‐ PowerPoint Presentation         .\VOL005\IMAGES\IMAGES004\00064843.pdf
                                               I‐495 & I‐270 MLS_IAWG Meeting No. 9
00064845   00064874   4/10/2019 10:16 Attach   Presentation.pdf                                        .\VOL005\IMAGES\IMAGES004\00064845.pdf

00064875   00064877   4/10/2019 12:28 Attach   April2019PublicWorkshops_Staffing_040919.docx .\VOL005\IMAGES\IMAGES004\00064875.pdf
00064878   00064896   4/10/2019 12:28 Attach   AprilWorkshop_Key Messages_04022019.pdf       .\VOL005\IMAGES\IMAGES004\00064878.pdf
                                               I‐495_I‐
00064897   00064923   4/10/2019 12:28 Attach   270_Displays_2019_4_8FINAL_Low_ResFINAL.pdf   .\VOL005\IMAGES\IMAGES004\00064897.pdf
00064924   00064924   4/10/2019 12:28 Email    FW: Upcoming I‐495/I‐270 MLS Public Workshops .\VOL005\IMAGES\IMAGES004\00064924.pdf
                                               I‐495_I‐
                                               270_Workshop_Handout_2019_4_8FINAL_Low_Res_Si
00064925   00064940   4/10/2019 12:28 Attach   ngleFINAL.pdf                                 .\VOL005\IMAGES\IMAGES004\00064925.pdf

00064941   00064944   4/10/2019 12:28 Attach   April2019PublicWorkshops_Staffing_040919.docx      .\VOL005\IMAGES\IMAGES004\00064941.pdf
00064945   00064963   4/10/2019 12:28 Attach   AprilWorkshop_Key Messages_04022019.pdf            .\VOL005\IMAGES\IMAGES004\00064945.pdf
                                               ARDSPublicWorkshopPreparednessMeeting_DRAFT03
00064964   00065001   4/10/2019 12:28 Attach   262019_FINAL_red.pdf                               .\VOL005\IMAGES\IMAGES004\00064964.pdf
                                               I‐495_I‐
00065002   00065028   4/10/2019 12:28 Attach   270_Displays_2019_4_8FINAL_Low_ResFINAL.pdf        .\VOL005\IMAGES\IMAGES004\00065002.pdf
                                               Fwd: FHWA and MDOT SHA to Hold Eight Public
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065029   00065033   4/10/2019 13:54 Email    George’s Counties                                  .\VOL005\IMAGES\IMAGES004\00065029.pdf
                                               Re: FHWA and MDOT SHA to Hold Eight Public
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065034   00065038   4/10/2019 14:35 Email    George’s Counties                                  .\VOL005\IMAGES\IMAGES004\00065034.pdf
                                               Re: FHWA and MDOT SHA to Hold Eight Public
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065039   00065044   4/10/2019 15:00 Email    George’s Counties                                  .\VOL005\IMAGES\IMAGES004\00065039.pdf

                                               FHWA and MDOT SHA to Hold Eight Public Workshops
                                               on Alternatives for the I‐495 & I‐270 Managed Lanes
00065045   00065049   4/10/2019 17:02 Email    Study in Montgomery and Prince George’s Counties    .\VOL005\IMAGES\IMAGES004\00065045.pdf

                                               CONFIDENTIAL, PRE‐DECISIONAL AND DELIBERATIVE: I‐
00065050   00065051   4/10/2019 18:00 Email    495 & I‐270 MLS DRAFT ARDS PAPER                  .\VOL005\IMAGES\IMAGES004\00065050.pdf
                                               2019‐04‐10_ I‐495 & I‐270 ARDS Paper_DRAFT AND
00065052   00065103   4/10/2019 18:00 Attach   PRE‐DECISIONAL.docx                               .\VOL005\IMAGES\IMAGES004\00065052.pdf
                                               2019‐04‐10_495 & 270_DRAFT ARDS
00065104   00065108   4/10/2019 18:00 Attach   Paper_Attachment 1.pdf                            .\VOL005\IMAGES\IMAGES004\00065104.pdf
00065109   00065109    4/11/2019 7:45 Edoc     MLS_2.pdf                                         .\VOL005\IMAGES\IMAGES004\00065109.pdf
00065110   00065120    4/11/2019 7:45 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065110.pdf
00065121   00065121    4/11/2019 7:47 Edoc     MLS_3.pdf                                         .\VOL005\IMAGES\IMAGES004\00065121.pdf
00065122   00065132    4/11/2019 7:47 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065122.pdf
00065133   00065133    4/11/2019 7:50 Edoc     MLS_4.pdf                                         .\VOL005\IMAGES\IMAGES004\00065133.pdf
00065134   00065144    4/11/2019 7:50 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065134.pdf
00065145   00065145    4/11/2019 7:53 Edoc     MLS_5.pdf                                         .\VOL005\IMAGES\IMAGES004\00065145.pdf
00065146   00065156    4/11/2019 7:53 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065146.pdf
00065157   00065157    4/11/2019 7:56 Edoc     MLS_6.pdf                                         .\VOL005\IMAGES\IMAGES004\00065157.pdf
00065158   00065168    4/11/2019 7:56 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065158.pdf
00065169   00065169    4/11/2019 7:59 Edoc     MLS_7.pdf                                         .\VOL005\IMAGES\IMAGES004\00065169.pdf
00065170   00065180    4/11/2019 7:59 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065170.pdf
00065181   00065181    4/11/2019 8:02 Edoc     MLS_8.pdf                                         .\VOL005\IMAGES\IMAGES004\00065181.pdf
00065182   00065192    4/11/2019 8:02 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065182.pdf
00065193   00065193    4/11/2019 8:07 Edoc     MLS_9.pdf                                         .\VOL005\IMAGES\IMAGES004\00065193.pdf
00065194   00065204    4/11/2019 8:07 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065194.pdf
00065205   00065205    4/11/2019 8:18 Edoc     MLS_10.pdf                                        .\VOL005\IMAGES\IMAGES004\00065205.pdf
00065206   00065216    4/11/2019 8:18 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065206.pdf
00065217   00065217    4/11/2019 8:22 Edoc     MLS_12.pdf                                        .\VOL005\IMAGES\IMAGES004\00065217.pdf
00065218   00065228    4/11/2019 8:22 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065218.pdf
00065229   00065229    4/11/2019 8:26 Edoc     MLS_13.pdf                                        .\VOL005\IMAGES\IMAGES004\00065229.pdf
00065230   00065240    4/11/2019 8:26 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065230.pdf
00065241   00065241    4/11/2019 8:33 Edoc     MLS_14.pdf                                        .\VOL005\IMAGES\IMAGES004\00065241.pdf
00065242   00065252    4/11/2019 8:33 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065242.pdf
                                               RE: FHWA and MDOT SHA to Hold Eight Public
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065253   00065258    4/11/2019 8:51 Email    George’s Counties                                 .\VOL005\IMAGES\IMAGES004\00065253.pdf
00065259   00065259    4/11/2019 8:54 Edoc     MLS_15.pdf                                        .\VOL005\IMAGES\IMAGES004\00065259.pdf
00065260   00065270    4/11/2019 8:54 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065260.pdf
00065271   00065271    4/11/2019 8:56 Edoc     MLS_16.pdf                                        .\VOL005\IMAGES\IMAGES004\00065271.pdf
00065272   00065282    4/11/2019 8:56 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065272.pdf
00065283   00065283    4/11/2019 8:59 Edoc     MLS_17.pdf                                        .\VOL005\IMAGES\IMAGES004\00065283.pdf
00065284   00065294    4/11/2019 8:59 Attach   Press Quality(test).joboptions                    .\VOL005\IMAGES\IMAGES004\00065284.pdf
00065295   00065295    4/11/2019 9:01 Edoc     MLS_18.pdf                                        .\VOL005\IMAGES\IMAGES004\00065295.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                              Page 34 of 263

00065296   00065306    4/11/2019 9:01 Attach   Press Quality(test).joboptions                       .\VOL005\IMAGES\IMAGES004\00065296.pdf
00065307   00065307    4/11/2019 9:05 Edoc     MLS_19.pdf                                           .\VOL005\IMAGES\IMAGES004\00065307.pdf
00065308   00065318    4/11/2019 9:05 Attach   Press Quality(test).joboptions                       .\VOL005\IMAGES\IMAGES004\00065308.pdf
00065319   00065319    4/11/2019 9:25 Edoc     MLS_20.pdf                                           .\VOL005\IMAGES\IMAGES004\00065319.pdf
00065320   00065330    4/11/2019 9:25 Attach   Press Quality(test).joboptions                       .\VOL005\IMAGES\IMAGES004\00065320.pdf
00065331   00065333   4/11/2019 10:57 Attach   815690 Cline, Erin (Signed).pdf                      .\VOL005\IMAGES\IMAGES004\00065331.pdf
00065334   00065336   4/11/2019 12:39 Attach   817711 Collins, Ann.pdf                              .\VOL005\IMAGES\IMAGES004\00065334.pdf
                                               Re: FHWA and MDOT SHA to Hold Eight Public
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065337   00065338   4/11/2019 12:46 Email    George’s Counties                                    .\VOL005\IMAGES\IMAGES004\00065337.pdf
00065339   00065341   4/11/2019 14:49 Attach   817455 Worth, Brian (Signed).pdf                     .\VOL005\IMAGES\IMAGES004\00065339.pdf
00065342   00065344   4/11/2019 15:01 Attach   818067 Zbar, Beryl (Signed).pdf                      .\VOL005\IMAGES\IMAGES004\00065342.pdf

00065345   00065352   4/11/2019 15:17 Edoc     Meeting Outreach‐Record_LocustHill_032119.docx       .\VOL005\IMAGES\IMAGES004\00065345.pdf

00065353   00065358   4/11/2019 15:19 Edoc     Meeting Outreach‐Record_Promenade_032019.docx .\VOL005\IMAGES\IMAGES004\00065353.pdf
                                               Fwd: Gibson Grove/Moses Hall Church and Cemetery ‐
00065359   00065360    4/12/2019 8:43 Email    495‐270 P3 Project                                 .\VOL005\IMAGES\IMAGES004\00065359.pdf
00065361   00065369    4/12/2019 8:43 Attach   BILLS‐116hr1179ih.pdf                              .\VOL005\IMAGES\IMAGES004\00065361.pdf
                                               Re: FHWA and MDOT SHA to Hold Eight Public
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065370   00065374    4/12/2019 8:55 Email    George’s Counties                                  .\VOL005\IMAGES\IMAGES004\00065370.pdf
                                               RE: FHWA and MDOT SHA to Hold Eight Public
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065375   00065380    4/12/2019 9:01 Email    George’s Counties                                  .\VOL005\IMAGES\IMAGES004\00065375.pdf
                                               RE: Gibson Grove/Moses Hall Church and Cemetery ‐
00065381   00065382    4/15/2019 6:56 Email    495‐270 P3 Project                                 .\VOL005\IMAGES\IMAGES004\00065381.pdf
00065383   00065383    4/15/2019 7:09 Edoc     495‐270‐Website‐Report_041119a.docx                .\VOL005\IMAGES\IMAGES004\00065383.pdf
00065384   00065385   4/15/2019 16:00 Email    I‐495 & I‐270 MLS‐ Coordination Meeting Agenda     .\VOL005\IMAGES\IMAGES004\00065384.pdf

00065386   00065386   4/15/2019 16:00 Attach   2019‐04‐16_FHWA Coordination Mtg Agenda.docx              .\VOL005\IMAGES\IMAGES004\00065386.pdf
00065387   00065391   4/15/2019 16:17 Attach   VDOT_Rev LOD AOP .docx                                    .\VOL005\IMAGES\IMAGES004\00065387.pdf
00065392   00065392   4/15/2019 16:17 Attach   VDOT_Rev LOD Cost_Est.pdf                                 .\VOL005\IMAGES\IMAGES004\00065392.pdf
                                               FW: Gibson Grove/Moses Hall Church and Cemetery ‐
00065393   00065395   4/15/2019 16:34 Email    495‐270 P3 Project                                        .\VOL005\IMAGES\IMAGES004\00065393.pdf
                                               2019‐04‐17_NPS and MDOT SHA Coordination
00065396   00065396   4/15/2019 16:58 Attach   Meeting Agenda.docx                                       .\VOL005\IMAGES\IMAGES004\00065396.pdf
                                               02042019 NPS comments ‐ American Legion
00065397   00065399   4/15/2019 16:58 Attach   Bridge.docx                                               .\VOL005\IMAGES\IMAGES004\00065397.pdf
00065400   00065403   4/15/2019 17:55 Email    RE: PAPAI                                                 .\VOL005\IMAGES\IMAGES004\00065400.pdf
                                               495‐270 Managed Lanes Study Social Media Campaign
00065404   00065406   4/15/2019 18:01 Edoc     Phase II_Analytics_4‐15‐19.docx                           .\VOL005\IMAGES\IMAGES004\00065404.pdf
00065407   00065407   4/15/2019 19:45 Email    Affected property                                         .\VOL005\IMAGES\IMAGES004\00065407.pdf
00065408   00065408   4/15/2019 19:45 Attach   495 Expansion.PNG                                         .\VOL005\IMAGES\IMAGES004\00065408.pdf
00065409   00065409    4/16/2019 7:16 Email    I‐495 and I‐270 MLS Interstate Access .pdf                .\VOL005\IMAGES\IMAGES004\00065409.pdf
00065410   00065410    4/16/2019 7:16 Email    I‐495 and I‐270 MLS Interstate Access                     .\VOL005\IMAGES\IMAGES004\00065410.pdf
00065411   00065414    4/16/2019 7:59 Email    RE: PAPAI                                                 .\VOL005\IMAGES\IMAGES004\00065411.pdf
00065415   00065416    4/16/2019 9:24 Email    St. Barnabas Village HOA ‐ Noise Barrier Request          .\VOL005\IMAGES\IMAGES004\00065415.pdf
00065417   00065419    4/16/2019 9:27 Email    FW: I‐495 & I‐270 MLS: NPS Agenda                         .\VOL005\IMAGES\IMAGES004\00065417.pdf
                                               2019‐04‐17_NPS and MDOT SHA Coordination
00065420   00065420    4/16/2019 9:27 Attach   Meeting Agenda.docx                                       .\VOL005\IMAGES\IMAGES004\00065420.pdf
                                               02042019 NPS comments ‐ American Legion
00065421   00065423    4/16/2019 9:27 Attach   Bridge.docx                                               .\VOL005\IMAGES\IMAGES004\00065421.pdf
00065424   00065426    4/16/2019 9:27 Email    FW: I‐495 & I‐270 MLS: NPS Agenda                         .\VOL005\IMAGES\IMAGES004\00065424.pdf
00065427   00065427   4/16/2019 10:58 Email    FHWA Meeting Handout ‐ Direct Access                      .\VOL005\IMAGES\IMAGES004\00065427.pdf
00065428   00065428   4/16/2019 11:02 Edoc     Direct Access.jpg                                         .\VOL005\IMAGES\IMAGES004\00065428.pdf
00065429   00065429   4/17/2019 15:15 Email    MHT Completed Review                                      .\VOL005\IMAGES\IMAGES004\00065429.pdf
00065430   00065431   4/17/2019 15:15 Attach   MLS Batch 5 Response.pdf                                  .\VOL005\IMAGES\IMAGES004\00065430.pdf
00065432   00065432   4/18/2019 10:03 Email    Managed Lanes Access Locations                            .\VOL005\IMAGES\IMAGES004\00065432.pdf
                                               I‐495 & I‐270 Managed Lanes Study ‐ Interstate Access
00065433   00065434   4/18/2019 14:25 Email    Request Clarifications                                    .\VOL005\IMAGES\IMAGES004\00065433.pdf
                                               (4) I‐495 I‐270 MLS_Managed Lanes Access
00065435   00065435   4/18/2019 14:25 Attach   Locations.pdf                                             .\VOL005\IMAGES\IMAGES004\00065435.pdf
00065436   00065436   4/18/2019 14:25 Attach   (2) Project limits P3.pdf                                 .\VOL005\IMAGES\IMAGES004\00065436.pdf
00065437   00065437   4/18/2019 14:25 Attach   (3) 495 and 270 MLS Potential Phasing.pdf                 .\VOL005\IMAGES\IMAGES004\00065437.pdf
00065438   00065438   4/18/2019 14:25 Attach   (1) P3 Program slide.pdf                                  .\VOL005\IMAGES\IMAGES004\00065438.pdf
                                               (5) Interstate Access Approval Process ‐ clean version 6‐
00065439   00065444   4/18/2019 14:25 Attach   26‐18.docx                                                .\VOL005\IMAGES\IMAGES004\00065439.pdf
00065445   00065445   4/18/2019 17:05 Email    Do not widen I‐270 or I‐495                               .\VOL005\IMAGES\IMAGES004\00065445.pdf
00065446   00065447    4/19/2019 8:56 Email    Managed Lanes Access Locations                            .\VOL005\IMAGES\IMAGES004\00065446.pdf

00065448   00065448    4/19/2019 8:56 Attach   Managed Lanes Access Locations Map_041619.pdf        .\VOL005\IMAGES\IMAGES004\00065448.pdf
00065449   00065450    4/19/2019 8:56 Email    Managed Lanes Access Locations                       .\VOL005\IMAGES\IMAGES004\00065449.pdf

00065451   00065451    4/19/2019 8:56 Attach   Managed Lanes Access Locations Map_041619.pdf        .\VOL005\IMAGES\IMAGES004\00065451.pdf
                                               Comment for the record on ARDS ‐ American Legion
00065452   00065452   4/20/2019 23:24 Email    Bridge                                               .\VOL005\IMAGES\IMAGES004\00065452.pdf
                                               Comment for the record on ARDS ‐ American Legion
00065453   00065453   4/20/2019 23:24 Email    Bridge                                               .\VOL005\IMAGES\IMAGES004\00065453.pdf
                                               comments for the record on ARDS ‐‐ multimodal
00065454   00065455   4/20/2019 23:50 Email    mobility and connectivity                            .\VOL005\IMAGES\IMAGES004\00065454.pdf
                                               comments for the record on ARDS ‐‐ multimodal
00065456   00065457   4/20/2019 23:50 Email    mobility and connectivity                            .\VOL005\IMAGES\IMAGES004\00065456.pdf
00065458   00065459    4/22/2019 7:50 Email    RE: 66 Decibel Contour                               .\VOL005\IMAGES\IMAGES004\00065458.pdf
00065460   00065461    4/22/2019 9:09 Email    RE: I‐270 Sound Barrier                              .\VOL005\IMAGES\IMAGES004\00065460.pdf
00065462   00065463    4/22/2019 9:09 Attach   Noise Displays.pdf                                   .\VOL005\IMAGES\IMAGES004\00065462.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study; Purpose and
00065464   00065465    4/22/2019 9:19 Email    Need Form                                            .\VOL005\IMAGES\IMAGES004\00065464.pdf
00065466   00065468    4/22/2019 9:19 Attach   DCR 18‐010.docx                                      .\VOL005\IMAGES\IMAGES004\00065466.pdf
                                               I‐495 & I‐270 MLS Purpose and Need Concurrence
00065469   00065469    4/22/2019 9:19 Attach   Form (1).doc                                         .\VOL005\IMAGES\IMAGES004\00065469.pdf
                                               75927, EO TABLE, MDOT I‐495 & I‐270 MANAGED
00065470   00065470    4/22/2019 9:19 Attach   LANES STUDY (3).xlsx                                 .\VOL005\IMAGES\IMAGES004\00065470.pdf        .\VOL005\NATIVES\NATIVES004\00065470.xlsx
00065471   00065471   4/22/2019 11:34 Edoc     MLS_1.pdf                                            .\VOL005\IMAGES\IMAGES004\00065471.pdf
00065472   00065482   4/22/2019 11:34 Attach   Press Quality(test).joboptions                       .\VOL005\IMAGES\IMAGES004\00065472.pdf
00065483   00065483   4/22/2019 11:51 Edoc     MLS_11.pdf                                           .\VOL005\IMAGES\IMAGES004\00065483.pdf
00065484   00065494   4/22/2019 11:51 Attach   Press Quality(test).joboptions                       .\VOL005\IMAGES\IMAGES004\00065484.pdf
00065495   00065495   4/22/2019 13:30 Email    I‐495 & I‐270 Managed Lane Study Overview .pdf       .\VOL005\IMAGES\IMAGES004\00065495.pdf
00065496   00065496    4/24/2019 7:22 Edoc     PlanSheetKeyMap.pdf                                  .\VOL005\IMAGES\IMAGES004\00065496.pdf
00065497   00065499   4/24/2019 14:14 Email    FW: DOT MIP Permitting Timetables Follow‐Up          .\VOL005\IMAGES\IMAGES004\00065497.pdf
00065500   00065504   4/24/2019 14:14 Attach   NOI List DOT (Aug 2017‐ Sept 2018) final.docx        .\VOL005\IMAGES\IMAGES004\00065500.pdf
00065505   00065505   4/24/2019 14:14 Attach   NOI List DOT (Sept 2018 ‐ Dec 2018) v1.docx          .\VOL005\IMAGES\IMAGES004\00065505.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                            Page 35 of 263

                                               495/270 Managed Lanes Study: Greenbelt Park NR
00065506   00065508   4/24/2019 16:15 Email    eligibility                                            .\VOL005\IMAGES\IMAGES004\00065506.pdf
00065509   00065510   4/25/2019 14:02 Email    RE: FHWA OFD Projects                                  .\VOL005\IMAGES\IMAGES004\00065509.pdf
00065511   00065514   4/25/2019 14:22 Email    RE: DOT MIP Permitting Timetables Follow‐Up            .\VOL005\IMAGES\IMAGES004\00065511.pdf
00065515   00065516   4/25/2019 14:56 Email    FW: FHWA OFD Projects                                  .\VOL005\IMAGES\IMAGES004\00065515.pdf
00065517   00065518   4/26/2019 17:22 Edoc     MLS Gap and Context MHT Response.pdf                   .\VOL005\IMAGES\IMAGES004\00065517.pdf
00065519   00065523   4/26/2019 17:38 Edoc     MLS Context Batch 1 Transmittal_Text.pdf               .\VOL005\IMAGES\IMAGES004\00065519.pdf
00065524   00065524   4/26/2019 22:06 Email    Citizen Feedback                                       .\VOL005\IMAGES\IMAGES004\00065524.pdf
00065525   00065525   4/26/2019 22:06 Email    FW: Citizen Feedback                                   .\VOL005\IMAGES\IMAGES004\00065525.pdf
00065526   00065529    4/29/2019 9:01 Email    FW: DOT MIP Permitting Timetables Follow‐Up            .\VOL005\IMAGES\IMAGES004\00065526.pdf
00065530   00065530   4/29/2019 10:25 Email    RE: Parks?                                             .\VOL005\IMAGES\IMAGES004\00065530.pdf
00065531   00065534   4/29/2019 10:40 Email    RE: DOT MIP Permitting Timetables Follow‐Up            .\VOL005\IMAGES\IMAGES004\00065531.pdf
00065535   00065538   4/29/2019 10:53 Email    RE: DOT MIP Permitting Timetables Follow‐Up            .\VOL005\IMAGES\IMAGES004\00065535.pdf
00065539   00065555   4/29/2019 12:37 Edoc     Induced and Latent Demand Talking Points.pdf           .\VOL005\IMAGES\IMAGES004\00065539.pdf
00065556   00065557   4/29/2019 15:04 Attach   SMTA_P3 Letter of Support.pdf                          .\VOL005\IMAGES\IMAGES004\00065556.pdf

00065558   00065559   4/29/2019 15:04 Attach   BWI Business Partnership_P3 Designation support.pdf    .\VOL005\IMAGES\IMAGES004\00065558.pdf
00065560   00065562   4/29/2019 15:04 Attach   Coalition Traffic Relief Plan Letter ‐ FINAL.pdf       .\VOL005\IMAGES\IMAGES004\00065560.pdf
                                               Greater Washington Board of Trade Letter in Support
00065563   00065563   4/29/2019 15:04 Attach   of P3.pdf                                              .\VOL005\IMAGES\IMAGES004\00065563.pdf
00065564   00065564   4/29/2019 15:04 Attach   MCCC Letter re P3.pdf                                  .\VOL005\IMAGES\IMAGES004\00065564.pdf
00065565   00065566   4/29/2019 15:04 Attach   MMTA.pdf                                               .\VOL005\IMAGES\IMAGES004\00065565.pdf
00065567   00065567   4/29/2019 15:04 Attach   MTBMA P3 Letter of Support.pdf                         .\VOL005\IMAGES\IMAGES004\00065567.pdf
00065568   00065569   4/29/2019 15:50 Attach   ARTBA MD BPW P3 letter 4‐19.pdf                        .\VOL005\IMAGES\IMAGES004\00065568.pdf
00065570   00065571   4/29/2019 16:01 Email    FW: FHWA OFD Projects                                  .\VOL005\IMAGES\IMAGES004\00065570.pdf

00065572   00065572   4/29/2019 16:01 Attach   OFD_TrackingSpreadsheet_MD_VA_IL_042419.xlsx           .\VOL005\IMAGES\IMAGES004\00065572.pdf      .\VOL005\NATIVES\NATIVES004\00065572.xlsx
00065573   00065574   4/29/2019 16:28 Email    RE: FHWA OFD Projects                                  .\VOL005\IMAGES\IMAGES004\00065573.pdf

00065575   00065575   4/29/2019 16:53 Email    RE: Question about the inter‐agency working group      .\VOL005\IMAGES\IMAGES004\00065575.pdf
                                               I‐495 & I‐270 MLS_Cooperating and Participating
00065576   00065577   4/29/2019 16:53 Attach   Agencies.pdf                                           .\VOL005\IMAGES\IMAGES004\00065576.pdf
00065578   00065580    4/30/2019 7:57 Email    FW: FHWA OFD Projects                                  .\VOL005\IMAGES\IMAGES004\00065578.pdf
00065581   00065583    4/30/2019 8:15 Email    RE: FHWA OFD Projects                                  .\VOL005\IMAGES\IMAGES004\00065581.pdf
00065584   00065586    4/30/2019 9:09 Email    RE: FHWA OFD Projects                                  .\VOL005\IMAGES\IMAGES004\00065584.pdf
00065587   00065589   4/30/2019 13:23 Email    RE: FHWA OFD Projects                                  .\VOL005\IMAGES\IMAGES004\00065587.pdf
00065590   00065594   4/30/2019 14:34 Email    RE: DOT MIP Permitting Timetables Follow‐Up            .\VOL005\IMAGES\IMAGES004\00065590.pdf
00065595   00065596   4/30/2019 14:34 Attach   FHWA MIP Permitting Timetable.docx                     .\VOL005\IMAGES\IMAGES004\00065595.pdf

                                               Re: [EXTERNAL] CONFIDENTIAL, PRE‐DECISIONAL AND
00065597   00065598   4/30/2019 14:36 Email    DELIBERATIVE: I‐495 & I‐270 MLS DRAFT ARDS PAPER .\VOL005\IMAGES\IMAGES004\00065597.pdf
00065599   00065599   4/30/2019 14:36 Attach   NPS ARDS Comments_04302019.xlsx                  .\VOL005\IMAGES\IMAGES004\00065599.pdf            .\VOL005\NATIVES\NATIVES004\00065599.xlsx

                                               Re: CONFIDENTIAL, PRE‐DECISIONAL AND
00065600   00065601    5/1/2019 14:26 Email    DELIBERATIVE: I‐495 & I‐270 MLS DRAFT ARDS PAPER       .\VOL005\IMAGES\IMAGES004\00065600.pdf
                                               RE: GWMP Phase I Survey and Phase II Evaluation ‐‐
00065602   00065606    5/1/2019 14:56 Email    mapping                                                .\VOL005\IMAGES\IMAGES004\00065602.pdf
                                               FW: Service Routing Alert (MDOT Workflow 819727)
00065607   00065607    5/1/2019 20:15 Email    (Intranet Quorum IMA00382411)                          .\VOL005\IMAGES\IMAGES004\00065607.pdf
00065608   00065610    5/1/2019 20:15 Attach   Rabinowitz‐Buchanan 819727 Response.docx               .\VOL005\IMAGES\IMAGES004\00065608.pdf
00065611   00065611    5/1/2019 20:15 Attach   Rabinowitz‐Buchanan 819727 Incoming.pdf                .\VOL005\IMAGES\IMAGES004\00065611.pdf
00065612   00065614    5/2/2019 13:37 Email    RE: DOT MIP Permitting Timetables Follow‐Up            .\VOL005\IMAGES\IMAGES004\00065612.pdf
00065615   00065619    5/2/2019 13:37 Email    RE: DOT MIP Permitting Timetables Follow‐Up            .\VOL005\IMAGES\IMAGES004\00065615.pdf
00065620   00065621    5/2/2019 14:52 Edoc     Meeting Outreach‐Record_CABE_041819.docx               .\VOL005\IMAGES\IMAGES004\00065620.pdf
00065622   00065623    5/2/2019 17:27 Email    Re: FHWA Major Project Delivery Process                .\VOL005\IMAGES\IMAGES004\00065622.pdf
                                               Re: In the Woods Boundary Revision ‐ I‐495 & I‐270
00065624   00065626    5/3/2019 13:04 Email    MLS                                                    .\VOL005\IMAGES\IMAGES004\00065624.pdf
00065627   00065629    5/3/2019 16:03 Attach   Popovich 817947 Signed.pdf                             .\VOL005\IMAGES\IMAGES004\00065627.pdf
00065630   00065632    5/3/2019 16:11 Attach   Beavers 819310 Signed.pdf                              .\VOL005\IMAGES\IMAGES004\00065630.pdf
00065633   00065633    5/4/2019 11:00 Email    Please Reconsider Your Plans                           .\VOL005\IMAGES\IMAGES004\00065633.pdf
                                               Do you have some DVD's which you made during your
00065634   00065634    5/4/2019 16:53 Email    April Public Workshops?                                .\VOL005\IMAGES\IMAGES004\00065634.pdf

00065635   00065635    5/4/2019 21:12 Email    FW: I‐495 & I‐270 Public‐Private Partnership Program   .\VOL005\IMAGES\IMAGES004\00065635.pdf
00065636   00065636    5/5/2019 13:12 Email    Draft ARDS Errata Sheet                                .\VOL005\IMAGES\IMAGES004\00065636.pdf
                                               NSAB COMMENTS FOR I‐495 AND I‐270 P‐3 PROJECT
                                               ENVIRONMENTAL IMPACT STATEMENT ‐ DRAFT
                                               ALTERNATIVES RECOMMENDED FOR DETAILED
00065637   00065637     5/6/2019 7:39 Attach   STUDY.pdf                                              .\VOL005\IMAGES\IMAGES004\00065637.pdf
00065638   00065639     5/6/2019 8:21 Email    MNCPPC                                                 .\VOL005\IMAGES\IMAGES004\00065638.pdf
00065640   00065640    5/6/2019 10:23 Email    Relieving Traffic Congestion                           .\VOL005\IMAGES\IMAGES004\00065640.pdf
00065641   00065642    5/6/2019 12:59 Email    I‐495 & I‐270 Managed Lanes Study Comments             .\VOL005\IMAGES\IMAGES004\00065641.pdf
00065643   00065643    5/6/2019 12:59 Attach   Highway BRT station example.jpg                        .\VOL005\IMAGES\IMAGES004\00065643.pdf
00065644   00065644    5/6/2019 12:59 Attach   Montgomery Mall BRT station example.jpg                .\VOL005\IMAGES\IMAGES004\00065644.pdf
00065645   00065645    5/6/2019 12:59 Attach   I‐66 OTB express lane project overview.png             .\VOL005\IMAGES\IMAGES004\00065645.pdf
                                               I‐495_I‐270 Managed Lanes Study
00065646   00065647    5/6/2019 12:59 Attach   COMMENTS_050619.pdf                                    .\VOL005\IMAGES\IMAGES004\00065646.pdf

00065648   00065649    5/6/2019 13:00 Email    FW: I‐495 & I‐270 Managed Lanes Study Comments    .\VOL005\IMAGES\IMAGES004\00065648.pdf
00065650   00065653    5/6/2019 13:06 Attach   Todhunter 819854 Incoming.pdf                     .\VOL005\IMAGES\IMAGES004\00065650.pdf
00065654   00065655    5/6/2019 13:28 Email    FW: MNCPPC                                        .\VOL005\IMAGES\IMAGES004\00065654.pdf
                                               FW: Managed Lane/P3 EIS ‐ NSA Bethesda's comments
00065656   00065657    5/6/2019 15:55 Email    on Draft ARDS Paper                               .\VOL005\IMAGES\IMAGES004\00065656.pdf

00065658   00065658    5/6/2019 18:42 Edoc     MHT Concurrence_495‐270 MLS APE_2018‐05‐17.pdf         .\VOL005\IMAGES\IMAGES004\00065658.pdf

00065659   00065687     5/7/2019 8:06 Attach   MLS_ARDS_Agency Comments_Errata Response.docx          .\VOL005\IMAGES\IMAGES004\00065659.pdf
00065688   00065688    5/7/2019 10:48 Email    I‐495 & I‐270 Managed Lanes Study                      .\VOL005\IMAGES\IMAGES004\00065688.pdf

00065689   00065692    5/7/2019 11:14 Edoc     Meeting Outreach‐Record_Carderock_021019.docx          .\VOL005\IMAGES\IMAGES004\00065689.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting
00065693   00065693    5/7/2019 12:00 Attach   Agenda_2019‐05‐08.pdf                                  .\VOL005\IMAGES\IMAGES004\00065693.pdf
00065694   00065695    5/7/2019 12:00 Email    I‐495 & I‐270 MLS IAWG Meeting Agenda,                 .\VOL005\IMAGES\IMAGES004\00065694.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting
00065696   00065696    5/7/2019 12:00 Attach   Agenda_2019‐05‐08.pdf                                  .\VOL005\IMAGES\IMAGES004\00065696.pdf
00065697   00065723    5/7/2019 13:02 Attach   495_270_TRP AOP 2‐21‐18.docx                           .\VOL005\IMAGES\IMAGES004\00065697.pdf

00065724   00065729    5/7/2019 14:46 Edoc     495270MLS_AdvertisingPrinceGeorgesSpecific.docx           .\VOL005\IMAGES\IMAGES004\00065724.pdf
00065730   00065731    5/7/2019 14:51 Email    RE: interactive map interpretation                        .\VOL005\IMAGES\IMAGES004\00065730.pdf
                                               2019.04.01 Wujcik to Rahn 819886 (tolls, I‐270, I‐495, I‐
00065732   00065732    5/7/2019 15:38 Attach   95 bypass).pdf                                            .\VOL005\IMAGES\IMAGES004\00065732.pdf
00065733   00065733    5/7/2019 15:51 Email    Re: interactive map interpretation                        .\VOL005\IMAGES\IMAGES004\00065733.pdf
00065734   00065734    5/7/2019 19:34 Attach   Twist 819823 Incoming.pdf                                 .\VOL005\IMAGES\IMAGES004\00065734.pdf
00065735   00065735    5/7/2019 20:33 Email    Feedback and Questions                                    .\VOL005\IMAGES\IMAGES004\00065735.pdf
00065736   00065736    5/7/2019 21:03 Email    RE: I‐495 & I‐270 Managed Lanes Study                     .\VOL005\IMAGES\IMAGES004\00065736.pdf
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00065737   00065737     5/8/2019 8:57 Email    Please Review: MDOT SHA APE update letter          .\VOL005\IMAGES\IMAGES004\00065737.pdf
00065738   00065742     5/8/2019 8:57 Attach   MLS‐Revised APE.docx                               .\VOL005\IMAGES\IMAGES004\00065738.pdf
00065743   00065745     5/8/2019 8:57 Attach   VDOT and MLS LODs_red.pdf                          .\VOL005\IMAGES\IMAGES004\00065743.pdf
00065746   00065746     5/8/2019 9:39 Email    Re: I‐495 & I‐270 Managed Lanes Study              .\VOL005\IMAGES\IMAGES004\00065746.pdf
00065747   00065748    5/8/2019 10:00 Email    I‐495 & I‐270 MLS IAWG Meeting                     .\VOL005\IMAGES\IMAGES004\00065747.pdf
00065749   00065750    5/8/2019 10:06 Email    FW: I‐495 & I‐270 Managed Lanes Study              .\VOL005\IMAGES\IMAGES004\00065749.pdf
00065751   00065753    5/8/2019 10:26 Attach   818889 Kraus, Christine (Signed).pdf               .\VOL005\IMAGES\IMAGES004\00065751.pdf
00065754   00065754    5/8/2019 10:29 Email    RE: 495 & 270 MLS IAWG PPT ‐ Draft 05.07.19        .\VOL005\IMAGES\IMAGES004\00065754.pdf
00065755   00065757    5/8/2019 10:30 Attach   818075 Taylor, Vicki (Signed).pdf                  .\VOL005\IMAGES\IMAGES004\00065755.pdf

00065758   00065758    5/8/2019 11:08 Edoc     I‐495_I‐270_Workshop_Alternatives_11x17_copy.pdf   .\VOL005\IMAGES\IMAGES004\00065758.pdf

00065759   00065759    5/8/2019 11:28 Email    FW_ 495 & 270 MLS IAWG PPT ‐ Draft 05.07.19(1).pdf .\VOL005\IMAGES\IMAGES004\00065759.pdf

00065760   00065782    5/8/2019 11:28 Attach   I‐495 & I‐270 MLS_IAWG Meeting No. 10 DRAFT P.pptx .\VOL005\IMAGES\IMAGES004\00065760.pdf
00065783   00065783    5/8/2019 12:17 Email    No Highway Expansion                                   .\VOL005\IMAGES\IMAGES004\00065783.pdf
00065784   00065785    5/8/2019 12:35 Email    I‐495 & I‐270 MLS IAWG Meeting 10 Presentation         .\VOL005\IMAGES\IMAGES004\00065784.pdf
                                               I‐495 I‐270 MLS_IAWG Meeting No. 10 DRAFT
00065786   00065805    5/8/2019 12:35 Attach   Presentation v1.pdf                                    .\VOL005\IMAGES\IMAGES004\00065786.pdf
                                               Re: FHWA and MDOT SHA to Hold Remaining Two
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065806   00065807    5/8/2019 14:17 Email    George’s Counties                                      .\VOL005\IMAGES\IMAGES004\00065806.pdf
                                               FW: FHWA and MDOT SHA to Hold Remaining Two
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065808   00065810    5/8/2019 14:17 Email    George’s Counties                                      .\VOL005\IMAGES\IMAGES004\00065808.pdf
                                               Re: FHWA and MDOT SHA to Hold Remaining Two
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00065811   00065812    5/8/2019 14:17 Email    George’s Counties                                      .\VOL005\IMAGES\IMAGES004\00065811.pdf
00065813   00065813    5/8/2019 16:25 Email    reduce cars! Increase safe Buses!                      .\VOL005\IMAGES\IMAGES004\00065813.pdf
                                               RE_ I‐495_I‐270 MLS Section 106 DOE forms,
00065814   00065816    5/9/2019 17:04 Email    Batc...(2).pdf                                         .\VOL005\IMAGES\IMAGES004\00065814.pdf
00065817   00065817    5/10/2019 0:48 Email    MIS‐MANAGED TRAFFIC LANES                              .\VOL005\IMAGES\IMAGES004\00065817.pdf
00065818   00065818    5/10/2019 0:48 Attach   LRT‐68.png                                             .\VOL005\IMAGES\IMAGES004\00065818.pdf
00065819   00065820    5/10/2019 7:55 Email    RE: Feedback and Questions                             .\VOL005\IMAGES\IMAGES004\00065819.pdf
00065821   00065822    5/10/2019 8:36 Email    RE: Feedback and Questions                             .\VOL005\IMAGES\IMAGES004\00065821.pdf
00065823   00065824   5/10/2019 11:40 Email    FW: Managed Lanes and Transit                          .\VOL005\IMAGES\IMAGES004\00065823.pdf
00065825   00065825   5/13/2019 12:15 Email    I‐495 & I‐270 MLS ‐ Public Workshops                   .\VOL005\IMAGES\IMAGES004\00065825.pdf
00065826   00065827   5/13/2019 12:49 Email    RE: I‐495 & I‐270 MLS ‐ Public Workshops               .\VOL005\IMAGES\IMAGES004\00065826.pdf
                                               FW: Poll: 61 percent of D.C.‐area residents favor plan
00065828   00065828   5/13/2019 12:58 Email    to add toll lanes to Beltway, I‐270                    .\VOL005\IMAGES\IMAGES004\00065828.pdf
00065829   00065830   5/13/2019 12:59 Email    RE: I‐495 & I‐270 MLS ‐ Public Workshops               .\VOL005\IMAGES\IMAGES004\00065829.pdf
                                               RE: Gibson Grove/Moses Hall Church and Cemetery ‐
00065831   00065832   5/13/2019 22:32 Email    495‐270 P3 Project                                     .\VOL005\IMAGES\IMAGES004\00065831.pdf
00065833   00065836    5/14/2019 9:33 Email    I‐495_I‐270 MLS Section 106 APE Update (1).pdf         .\VOL005\IMAGES\IMAGES004\00065833.pdf
00065837   00065843    5/14/2019 9:33 Attach   MLS‐Revised APE_05_142019s.pdf                         .\VOL005\IMAGES\IMAGES004\00065837.pdf
00065844   00065844    5/14/2019 9:52 Email    FW: OFD Preferred Alternative I‐495/I‐270              .\VOL005\IMAGES\IMAGES004\00065844.pdf
00065845   00065845   5/14/2019 10:03 Email    RE: OFD Preferred Alternative I‐495/I‐270              .\VOL005\IMAGES\IMAGES004\00065845.pdf
00065846   00065847   5/14/2019 10:15 Email    Re: Automatic reply: 495‐270 PPP                       .\VOL005\IMAGES\IMAGES004\00065846.pdf
                                               Transit Coordination Meeting Presentation_20190517‐
00065848   00065873   5/14/2019 13:34 Attach   1.0.pptx                                               .\VOL005\IMAGES\IMAGES004\00065848.pdf
00065874   00065874   5/14/2019 13:42 Attach   Forbes 819879 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00065874.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065875   00065876   5/14/2019 14:08 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065875.pdf
00065877   00065877   5/14/2019 14:08 Edoc     MLSb Tuscarora Nation.pdf                              .\VOL005\IMAGES\IMAGES004\00065877.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065878   00065879   5/14/2019 14:11 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065878.pdf
00065880   00065880   5/14/2019 14:11 Edoc     MLSb Eastern Shawnee Tribe.pdf                         .\VOL005\IMAGES\IMAGES004\00065880.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065881   00065881   5/14/2019 14:12 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065881.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065882   00065882   5/14/2019 14:12 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065882.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
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                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
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                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065885   00065886   5/14/2019 14:14 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065885.pdf
00065887   00065887   5/14/2019 14:14 Edoc     MLSb Delaware Tribe of Indians.pdf                     .\VOL005\IMAGES\IMAGES004\00065887.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065888   00065889   5/14/2019 14:14 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065888.pdf
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                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065891   00065892   5/14/2019 14:14 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065891.pdf
00065893   00065893   5/14/2019 14:14 Edoc     MLSb Saint Regis Mohawk.pdf                            .\VOL005\IMAGES\IMAGES004\00065893.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065894   00065895   5/14/2019 14:15 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065894.pdf
00065896   00065896   5/14/2019 14:15 Edoc     MLSb Seneca_Cayuga Nation.pdf                          .\VOL005\IMAGES\IMAGES004\00065896.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065897   00065898   5/14/2019 14:15 Edoc     (ML....pdf                                             .\VOL005\IMAGES\IMAGES004\00065897.pdf
00065899   00065899   5/14/2019 14:15 Edoc     MLSb Shawnee Tribe.pdf                                 .\VOL005\IMAGES\IMAGES004\00065899.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
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00065903   00065903   5/14/2019 14:16 Edoc     1MLSb Absentee_Shawnee Tribe of Oklahoma.pdf       .\VOL005\IMAGES\IMAGES004\00065903.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
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                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00065908   00065910   5/14/2019 14:17 Edoc     (ML....pdf                                         .\VOL005\IMAGES\IMAGES004\00065908.pdf
00065911   00065911   5/14/2019 14:17 Edoc     1MLSb Oneida.pdf                                   .\VOL005\IMAGES\IMAGES004\00065911.pdf
00065912   00065912   5/14/2019 18:02 Edoc     2Onondaga SHA Tribal Notification Form.pdf         .\VOL005\IMAGES\IMAGES004\00065912.pdf

00065913   00065913   5/14/2019 18:02 Edoc     5Seneca‐Cayuga SHA Tribal Notification Form.pdf    .\VOL005\IMAGES\IMAGES004\00065913.pdf

00065914   00065914   5/14/2019 18:02 Edoc     3StRegisMohawk SHA Tribal Notification Form.pdf    .\VOL005\IMAGES\IMAGES004\00065914.pdf
00065915   00065915   5/14/2019 18:02 Edoc     4Tuscarora SHA Tribal Notification Form.pdf        .\VOL005\IMAGES\IMAGES004\00065915.pdf
00065916   00065916   5/14/2019 18:02 Edoc     9ShawneeTribe SHA Tribal Notification Form.pdf     .\VOL005\IMAGES\IMAGES004\00065916.pdf
                                               7AbsenteeShawneeTribeOK SHA Tribal Notification
00065917   00065917   5/14/2019 18:02 Edoc     Form.pdf                                           .\VOL005\IMAGES\IMAGES004\00065917.pdf

00065918   00065918   5/14/2019 18:02 Edoc     6DelawareNation SHA Tribal Notification Form.pdf   .\VOL005\IMAGES\IMAGES004\00065918.pdf
                                               8EasternShawneeTribe SHA Tribal Notification
00065919   00065919   5/14/2019 18:02 Edoc     Form.pdf                                           .\VOL005\IMAGES\IMAGES004\00065919.pdf
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00065920   00065920   5/14/2019 18:02 Edoc     6DelawareTribe SHA Tribal Notification Form.pdf    .\VOL005\IMAGES\IMAGES004\00065920.pdf
00065921   00065921   5/14/2019 18:02 Edoc     Tribal Notification MLM.docx                       .\VOL005\IMAGES\IMAGES004\00065921.pdf
00065922   00065922   5/14/2019 18:04 Edoc     MLSb Eastern Shawnee Tribe.pdf                     .\VOL005\IMAGES\IMAGES004\00065922.pdf
00065923   00065923   5/14/2019 18:04 Edoc     MLSb Seneca_Cayuga Nation.pdf                      .\VOL005\IMAGES\IMAGES004\00065923.pdf
00065924   00065924   5/14/2019 18:04 Edoc     MLSb Saint Regis Mohawk.pdf                        .\VOL005\IMAGES\IMAGES004\00065924.pdf
00065925   00065925   5/14/2019 18:04 Edoc     MLSb Onondaga.pdf                                  .\VOL005\IMAGES\IMAGES004\00065925.pdf
00065926   00065926   5/14/2019 18:04 Edoc     1MLSb The Delaware Nation.pdf                      .\VOL005\IMAGES\IMAGES004\00065926.pdf
00065927   00065927   5/14/2019 18:04 Edoc     MLSb Shawnee Tribe.pdf                             .\VOL005\IMAGES\IMAGES004\00065927.pdf

00065928   00065928   5/14/2019 18:04 Edoc     1MLSb Absentee_Shawnee Tribe of Oklahoma.pdf           .\VOL005\IMAGES\IMAGES004\00065928.pdf
00065929   00065929   5/14/2019 18:04 Edoc     MLSb Tuscarora Nation.pdf                              .\VOL005\IMAGES\IMAGES004\00065929.pdf
00065930   00065930   5/14/2019 18:04 Edoc     MLSb Delaware Tribe of Indians.pdf                     .\VOL005\IMAGES\IMAGES004\00065930.pdf
00065931   00065931   5/14/2019 18:04 Edoc     1MLSb Oneida.pdf                                       .\VOL005\IMAGES\IMAGES004\00065931.pdf
00065932   00065932   5/14/2019 18:05 Edoc     State Recognized MD.xlsx                               .\VOL005\IMAGES\IMAGES004\00065932.pdf   .\VOL005\NATIVES\NATIVES004\00065932.xlsx
00065933   00065933   5/14/2019 18:46 Email    FW: Transit and Managed Lanes                          .\VOL005\IMAGES\IMAGES004\00065933.pdf
00065934   00065934   5/14/2019 18:46 Email    FW: Transit and Managed Lanes                          .\VOL005\IMAGES\IMAGES004\00065934.pdf
00065935   00065939   5/14/2019 21:52 Email    FW: I‐495/I‐270 MLS Section 106 APE Update             .\VOL005\IMAGES\IMAGES004\00065935.pdf
                                               I‐495 & I‐270 Managed Lanes Study: Information for
00065940   00065941   5/14/2019 22:07 Email    May 16th IAWG                                          .\VOL005\IMAGES\IMAGES004\00065940.pdf
00065942   00065943    5/15/2019 7:50 Email    FW: OFD Preferred Alternative I‐495/I‐270              .\VOL005\IMAGES\IMAGES004\00065942.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study (P3) ‐ Letter of
00065944   00065946    5/15/2019 8:15 Email    Intent Discussion                                      .\VOL005\IMAGES\IMAGES004\00065944.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study (P3) ‐ Letter of
00065947   00065949    5/15/2019 8:36 Email    Intent Discussion                                      .\VOL005\IMAGES\IMAGES004\00065947.pdf
00065950   00065950   5/15/2019 14:59 Email    IQ Letters                                             .\VOL005\IMAGES\IMAGES004\00065950.pdf
00065951   00065951   5/15/2019 14:59 Attach   Belemvire 819988 Incoming.pdf                          .\VOL005\IMAGES\IMAGES004\00065951.pdf
00065952   00065952   5/15/2019 14:59 Attach   Thomas 819994 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00065952.pdf
00065953   00065953   5/15/2019 14:59 Attach   Maahs 819995 Incoming.pdf                              .\VOL005\IMAGES\IMAGES004\00065953.pdf
00065954   00065954   5/15/2019 14:59 Attach   Moore 819993 Incoming.pdf                              .\VOL005\IMAGES\IMAGES004\00065954.pdf
00065955   00065957   5/15/2019 14:59 Attach   Belemvire 819988 Response.docx                         .\VOL005\IMAGES\IMAGES004\00065955.pdf
00065958   00065958   5/15/2019 15:55 Email    495/270 toll lanes                                     .\VOL005\IMAGES\IMAGES004\00065958.pdf
00065959   00065959   5/15/2019 17:04 Attach   Fuentevilla 820006 Incoming.pdf                        .\VOL005\IMAGES\IMAGES004\00065959.pdf
00065960   00065960   5/15/2019 20:40 Attach   Saner 820017 Incoming.pdf                              .\VOL005\IMAGES\IMAGES004\00065960.pdf
00065961   00065962   5/15/2019 20:40 Attach   Schroeder 820008 Incoming.pdf                          .\VOL005\IMAGES\IMAGES004\00065961.pdf
00065963   00065963   5/15/2019 20:40 Attach   Melnick 820021 Incoming.pdf                            .\VOL005\IMAGES\IMAGES004\00065963.pdf
00065964   00065964   5/15/2019 20:52 Email    270 expansion                                          .\VOL005\IMAGES\IMAGES004\00065964.pdf
                                               FW: Update: MDOT‐SHA Request for Dedicated Staff
00065965   00065966    5/16/2019 8:45 Email    for I‐495/I‐270 P3 Project                             .\VOL005\IMAGES\IMAGES004\00065965.pdf
00065967   00065967    5/16/2019 9:41 Email    Interstate Access at GWMP.pdf                          .\VOL005\IMAGES\IMAGES004\00065967.pdf
00065968   00065968    5/16/2019 9:41 Email    Interstate Access at GWMP                              .\VOL005\IMAGES\IMAGES004\00065968.pdf
00065969   00065974   5/16/2019 10:49 Email    RE: I‐495/I‐270 MLS Section 106 APE Update             .\VOL005\IMAGES\IMAGES004\00065969.pdf
00065975   00065975   5/16/2019 11:03 Email    IQ Letters for Filing                                  .\VOL005\IMAGES\IMAGES004\00065975.pdf
00065976   00065976   5/16/2019 11:03 Attach   Clark 819987 Incoming.pdf                              .\VOL005\IMAGES\IMAGES004\00065976.pdf
00065977   00065977   5/16/2019 11:03 Attach   York 820005 Incoming.pdf                               .\VOL005\IMAGES\IMAGES004\00065977.pdf
00065978   00065978   5/16/2019 11:03 Attach   Proctor 820015 Incoming.pdf                            .\VOL005\IMAGES\IMAGES004\00065978.pdf
00065979   00065979   5/16/2019 11:03 Attach   Davy 820018 Incoming.pdf                               .\VOL005\IMAGES\IMAGES004\00065979.pdf
00065980   00065980   5/16/2019 11:03 Attach   Barkley 820020 Incoming.pdf                            .\VOL005\IMAGES\IMAGES004\00065980.pdf
00065981   00065981   5/16/2019 11:03 Attach   Hougham 820019 Incoming.pdf                            .\VOL005\IMAGES\IMAGES004\00065981.pdf
00065982   00065982   5/16/2019 11:03 Attach   Clifford 820024 Incoming.pdf                           .\VOL005\IMAGES\IMAGES004\00065982.pdf
00065983   00065983   5/16/2019 11:03 Attach   Silnicky 820046 Incoming.pdf                           .\VOL005\IMAGES\IMAGES004\00065983.pdf
00065984   00065984   5/16/2019 11:03 Attach   Ciconte 820044 Incoming.pdf                            .\VOL005\IMAGES\IMAGES004\00065984.pdf
00065985   00065985   5/16/2019 11:03 Attach   Shakin 820012 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00065985.pdf
00065986   00065986   5/16/2019 11:12 Attach   Rosenberg 819997 Incoming.pdf                          .\VOL005\IMAGES\IMAGES004\00065986.pdf
00065987   00065987   5/16/2019 11:12 Attach   Wilson 820022 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00065987.pdf
00065988   00065988   5/16/2019 11:14 Attach   Reisen 820013 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00065988.pdf
                                               FW: Transit Coordination Meeting Presentation and
00065989   00065990   5/16/2019 11:16 Email    Agenda                                                 .\VOL005\IMAGES\IMAGES004\00065989.pdf
00065991   00065996   5/16/2019 12:32 Email    RE: I‐495/I‐270 MLS Section 106 APE Update             .\VOL005\IMAGES\IMAGES004\00065991.pdf
00065997   00065997   5/16/2019 12:37 Attach   Shakin 820012 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00065997.pdf
00065998   00065998   5/16/2019 12:39 Attach   Fuentevilla 820006 Incoming.pdf                        .\VOL005\IMAGES\IMAGES004\00065998.pdf
00065999   00065999   5/16/2019 12:46 Email    RE: IQ Letter                                          .\VOL005\IMAGES\IMAGES004\00065999.pdf
00066000   00066000   5/16/2019 12:46 Attach   Reisen 820013 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00066000.pdf
00066001   00066001   5/16/2019 12:56 Email    RE: IQ Letter                                          .\VOL005\IMAGES\IMAGES004\00066001.pdf
00066002   00066002   5/16/2019 12:56 Attach   Kahn 820014 Incoming.pdf                               .\VOL005\IMAGES\IMAGES004\00066002.pdf
00066003   00066003   5/16/2019 12:56 Attach   Kingery 820010 Incoming.pdf                            .\VOL005\IMAGES\IMAGES004\00066003.pdf
00066004   00066004   5/16/2019 12:56 Attach   Ritter 820000 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00066004.pdf
00066005   00066005   5/16/2019 12:56 Attach   Wilbur 820001 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00066005.pdf
00066006   00066007   5/16/2019 13:10 Email    RE: Interstate Access at GWMP                          .\VOL005\IMAGES\IMAGES004\00066006.pdf
                                               FW: I495/270 Managed Lanes Information
00066008   00066010   5/16/2019 13:46 Email    Presentation                                           .\VOL005\IMAGES\IMAGES004\00066008.pdf
00066011   00066011   5/16/2019 14:08 Email    FW: Transit and Managed Lanes                          .\VOL005\IMAGES\IMAGES004\00066011.pdf
00066012   00066013   5/16/2019 14:13 Email    RE: IQ Letter                                          .\VOL005\IMAGES\IMAGES004\00066012.pdf
00066014   00066015   5/16/2019 14:13 Attach   Brown 820051 Incoming.pdf                              .\VOL005\IMAGES\IMAGES004\00066014.pdf
00066016   00066016   5/16/2019 14:13 Attach   Gallun 820049 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00066016.pdf
00066017   00066018   5/16/2019 14:13 Attach   Rossetti 820068 Incoming.pdf                           .\VOL005\IMAGES\IMAGES004\00066017.pdf
00066019   00066019   5/16/2019 14:13 Attach   Saner 820017 Incoming.pdf                              .\VOL005\IMAGES\IMAGES004\00066019.pdf
                                               Re: [EXTERNAL] 495/270 Managed Lanes Study:
00066020   00066025   5/16/2019 15:30 Email    Greenbelt Park NR eligibility                          .\VOL005\IMAGES\IMAGES004\00066020.pdf
00066026   00066026    5/17/2019 7:24 Email    I don't think it will work                             .\VOL005\IMAGES\IMAGES004\00066026.pdf
00066027   00066027    5/17/2019 7:24 Email    FW: I don't think it will work                         .\VOL005\IMAGES\IMAGES004\00066027.pdf
                                               I‐495 / I‐270 P3 Managed Lanes Transit Coordination
                                               Working Group Kickoff Meeting ‐‐ Call in: 443‐409‐
00066028   00066030    5/17/2019 9:00 Email    5228 Conference ID: 34465764#                          .\VOL005\IMAGES\IMAGES004\00066028.pdf
                                               Managed Lanes Transit Work Group Meeting
00066031   00066052    5/17/2019 9:00 Attach   Presentation_20190517‐FINAL.pdf                        .\VOL005\IMAGES\IMAGES004\00066031.pdf
00066053   00066053   5/17/2019 14:56 Email    Study and EIS process                                  .\VOL005\IMAGES\IMAGES004\00066053.pdf
00066054   00066111   5/17/2019 15:21 Attach   2019.05.20_ARDS Paper_REV.docx                         .\VOL005\IMAGES\IMAGES004\00066054.pdf
00066112   00066113   5/17/2019 15:21 Email    Revised ARDS Paper                                     .\VOL005\IMAGES\IMAGES004\00066112.pdf
00066114   00066115   5/17/2019 17:16 Email    Public Comment Submittal No. 1                         .\VOL005\IMAGES\IMAGES004\00066114.pdf
00066116   00066116   5/17/2019 17:16 Email    Public Comment Submittal No. 1                         .\VOL005\IMAGES\IMAGES004\00066116.pdf
00066117   00066120    5/19/2019 9:34 Attach   Daroff 820050 Incoming.pdf                             .\VOL005\IMAGES\IMAGES004\00066117.pdf
00066121   00066121    5/19/2019 9:34 Attach   Lauer 820067 Incoming.pdf                              .\VOL005\IMAGES\IMAGES004\00066121.pdf
00066122   00066122   5/19/2019 10:30 Email    RE: Study and EIS process                              .\VOL005\IMAGES\IMAGES004\00066122.pdf
00066123   00066123   5/19/2019 13:16 Email    Re: Parks?                                             .\VOL005\IMAGES\IMAGES004\00066123.pdf
                                               RE: Montgomery Square Community Association
00066124   00066125   5/19/2019 16:25 Email    Meeting                                                .\VOL005\IMAGES\IMAGES004\00066124.pdf
00066126   00066128   5/19/2019 17:43 Email    Re: FHWA Major Project Delivery Process                .\VOL005\IMAGES\IMAGES004\00066126.pdf
00066129   00066130   5/19/2019 17:43 Email    Re: FHWA Major Project Delivery Process                .\VOL005\IMAGES\IMAGES004\00066129.pdf
00066131   00066132    5/20/2019 7:45 Email    FW: Revised ARDS Paper                                 .\VOL005\IMAGES\IMAGES004\00066131.pdf
00066133   00066135    5/20/2019 7:56 Edoc     2019.05.20_Josh Tulkin_PIA Follow Up Letter.pdf        .\VOL005\IMAGES\IMAGES004\00066133.pdf
                                               FW: Transit Coordination Meeting Presentation and
00066136   00066137    5/20/2019 8:39 Email    Agenda                                                 .\VOL005\IMAGES\IMAGES004\00066136.pdf

00066138   00066138   5/20/2019 10:01 Edoc     I‐495_I‐270_VDOT_Displays_Phasing_2019_final.pdf   .\VOL005\IMAGES\IMAGES004\00066138.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                           Page 38 of 263

00066139   00066140   5/20/2019 10:18 Email    FW: Revised ARDS Paper                               .\VOL005\IMAGES\IMAGES004\00066139.pdf
                                               Meeting Outreach‐Record_Montgomery
00066141   00066145   5/20/2019 10:23 Edoc     Square_052019.docx                                   .\VOL005\IMAGES\IMAGES004\00066141.pdf
00066146   00066147   5/20/2019 11:27 Email    I‐495 & I‐270 MLS Revised ARDS and Errata            .\VOL005\IMAGES\IMAGES004\00066146.pdf
00066148   00066148   5/20/2019 12:25 Email    Confidential, Pre‐Decisional and Deliberative        .\VOL005\IMAGES\IMAGES004\00066148.pdf
00066149   00066149   5/20/2019 13:14 Edoc     I‐495_I‐270_VDOT_Display_ARDS_2019_final.pdf         .\VOL005\IMAGES\IMAGES004\00066149.pdf
00066150   00066151   5/20/2019 15:08 Email    FW: I‐270                                            .\VOL005\IMAGES\IMAGES004\00066150.pdf
00066152   00066153   5/20/2019 17:03 Email    RE: I‐270                                            .\VOL005\IMAGES\IMAGES004\00066152.pdf

00066154   00066155   5/20/2019 19:00 Email    Montgomery Square Community Association Meeting      .\VOL005\IMAGES\IMAGES004\00066154.pdf
00066156   00066157   5/20/2019 22:28 Email    suggestion for presentation of alternatives          .\VOL005\IMAGES\IMAGES004\00066156.pdf
00066158   00066158   5/20/2019 22:28 Attach   mdotAlternatives.pdf                                 .\VOL005\IMAGES\IMAGES004\00066158.pdf
00066159   00066160   5/20/2019 22:29 Email    FW: suggestion for presentation of alternatives      .\VOL005\IMAGES\IMAGES004\00066159.pdf
00066161   00066161   5/20/2019 22:29 Attach   mdotAlternatives.docx                                .\VOL005\IMAGES\IMAGES004\00066161.pdf
00066162   00066162   5/20/2019 22:29 Attach   mdotAlternatives.pdf                                 .\VOL005\IMAGES\IMAGES004\00066162.pdf

00066163   00066163   5/20/2019 23:51 Email    FW: Confidential, Pre‐Decisional and Deliberative    .\VOL005\IMAGES\IMAGES004\00066163.pdf

00066164   00066164   5/20/2019 23:51 Email    FW: Confidential, Pre‐Decisional and Deliberative    .\VOL005\IMAGES\IMAGES004\00066164.pdf
00066165   00066165   5/21/2019 10:31 Email    Noise Abatement Question                             .\VOL005\IMAGES\IMAGES004\00066165.pdf
00066166   00066166   5/21/2019 10:37 Email    Re: The comments                                     .\VOL005\IMAGES\IMAGES004\00066166.pdf
00066167   00066168   5/21/2019 10:52 Email    RE: Noise Abatement Question                         .\VOL005\IMAGES\IMAGES004\00066167.pdf
00066169   00066170   5/21/2019 11:24 Email    RE: OFD Preferred Alternative I‐495/I‐270            .\VOL005\IMAGES\IMAGES004\00066169.pdf
00066171   00066175   5/21/2019 12:37 Attach   MCDOT ARDS Comments ‐ Memo.pdf                       .\VOL005\IMAGES\IMAGES004\00066171.pdf
00066176   00066178   5/21/2019 13:46 Email    RE: Noise Abatement Question                         .\VOL005\IMAGES\IMAGES004\00066176.pdf

00066179   00066179   5/21/2019 15:15 Email    I‐495 & I‐270 Managed Lane Study Presentation ‐....pdf .\VOL005\IMAGES\IMAGES004\00066179.pdf
                                               Transit Benefits Meeting Notes_05172019(Draft
00066180   00066186   5/21/2019 15:15 Attach   2.0).docx                                              .\VOL005\IMAGES\IMAGES004\00066180.pdf
00066187   00066187   5/21/2019 23:19 Email    Transit Antipathy                                      .\VOL005\IMAGES\IMAGES004\00066187.pdf
00066188   00066188   5/21/2019 23:19 Email    FW: Transit Antipathy                                  .\VOL005\IMAGES\IMAGES004\00066188.pdf
                                               Meeting Outreach‐Record_Woodmoor‐
00066189   00066193   5/22/2019 10:27 Edoc     Pinecrest_052219.docx                                  .\VOL005\IMAGES\IMAGES004\00066189.pdf
00066194   00066195   5/22/2019 11:24 Email    Meeting Attendees ‐ Email Addresses                    .\VOL005\IMAGES\IMAGES004\00066194.pdf
                                               I‐495_I‐
00066196   00066223   5/22/2019 15:17 Attach   270_Displays_2019_4_9FINALV1_HighRes_W.pdf             .\VOL005\IMAGES\IMAGES004\00066196.pdf
00066224   00066261   5/22/2019 15:52 Attach   DRAFT MLS ARDS Errata_5‐20‐19.docx                     .\VOL005\IMAGES\IMAGES004\00066224.pdf

00066262   00066263   5/22/2019 15:52 Email    FW: Confidential, Pre‐Decisional and Deliberative    .\VOL005\IMAGES\IMAGES004\00066262.pdf

00066264   00066265   5/22/2019 15:58 Email    RE: Confidential, Pre‐Decisional and Deliberative    .\VOL005\IMAGES\IMAGES004\00066264.pdf
00066266   00066268   5/22/2019 17:38 Email    I‐495 & I‐270 MLS Revised ARDS Paper                 .\VOL005\IMAGES\IMAGES004\00066266.pdf
                                               MLS_ARDS_Agency Comments_Errata
00066269   00066306   5/22/2019 17:38 Attach   Response_052219.pdf                                  .\VOL005\IMAGES\IMAGES004\00066269.pdf
00066307   00066370   5/22/2019 17:38 Attach   2019.05.22_ARDS Paper_REV.pdf                        .\VOL005\IMAGES\IMAGES004\00066307.pdf
                                               [Non‐DoD Source] I‐495 & I‐270 MLS Revised ARDS
00066371   00066373   5/22/2019 17:42 Attach   Paper                                                .\VOL005\IMAGES\IMAGES004\00066371.pdf
00066374   00066376    5/23/2019 7:30 Email    RE: I‐495 & I‐270 MLS Revised ARDS Paper             .\VOL005\IMAGES\IMAGES004\00066374.pdf
00066377   00066377   5/23/2019 12:04 Email    Beltway Project                                      .\VOL005\IMAGES\IMAGES004\00066377.pdf

00066378   00066379   5/23/2019 12:04 Attach   Letter re Beltway widening‐to Jeffrey Folden.docx    .\VOL005\IMAGES\IMAGES004\00066378.pdf
                                               FW: I‐495/I‐270 Manage Lane Study (from the George
                                               Washington Parkway into VA to I‐95 in Maryland) ‐
00066380   00066382   5/23/2019 12:46 Email    PHASE 1                                              .\VOL005\IMAGES\IMAGES004\00066380.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00066383   00066384   5/24/2019 10:08 Email    ARDS paper                                           .\VOL005\IMAGES\IMAGES004\00066383.pdf
                                               Public Comment Submittal No. 1_FHWA_May 17
00066385   00066595   5/24/2019 10:14 Edoc     2019.pdf                                             .\VOL005\IMAGES\IMAGES004\00066385.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00066596   00066597   5/24/2019 11:08 Email    A....pdf                                             .\VOL005\IMAGES\IMAGES004\00066596.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00066598   00066599   5/24/2019 11:08 Email    A...(8).pdf                                          .\VOL005\IMAGES\IMAGES004\00066598.pdf
00066600   00066603   5/24/2019 11:18 Attach   Todhunter 819854 Signed.pdf                          .\VOL005\IMAGES\IMAGES004\00066600.pdf
00066604   00066604   5/24/2019 11:36 Email    Direct Access Meeting                                .\VOL005\IMAGES\IMAGES004\00066604.pdf
00066605   00066605   5/24/2019 11:36 Email    Direct Access Meeting                                .\VOL005\IMAGES\IMAGES005\00066605.pdf

                                               2019‐05‐
00066606   00066785   5/24/2019 12:05 Attach   23_I495I270_WeeklyFHWA_CommentExport.docx            .\VOL005\IMAGES\IMAGES005\00066606.pdf
                                               I‐495 & I‐270 Public Comment Export ‐ Through May
00066786   00066787   5/24/2019 12:05 Email    23, 2019                                             .\VOL005\IMAGES\IMAGES005\00066786.pdf

                                               2019‐05‐
00066788   00066967   5/24/2019 12:05 Attach   23_I495I270_WeeklyFHWA_CommentExport.docx            .\VOL005\IMAGES\IMAGES005\00066788.pdf

                                               2019‐05‐
00066968   00067147   5/24/2019 21:19 Attach   23_I495I270_WeeklyFHWA_CommentExport.docx            .\VOL005\IMAGES\IMAGES005\00066968.pdf
                                               FW: I‐495 & I‐270 Public Comment Export ‐ Through
00067148   00067149   5/24/2019 21:19 Email    May 23, 2019                                         .\VOL005\IMAGES\IMAGES005\00067148.pdf
00067150   00067150    5/25/2019 9:19 Email    Opposed to 495‐285‐270 widening                      .\VOL005\IMAGES\IMAGES005\00067150.pdf
00067151   00067151   5/26/2019 14:22 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067151.pdf
00067152   00067152   5/26/2019 21:52 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067152.pdf
00067153   00067153   5/27/2019 14:43 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067153.pdf
00067154   00067154    5/28/2019 8:04 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067154.pdf
00067155   00067155    5/28/2019 9:58 Email    FW: Fix 495 & 270 Now!                               .\VOL005\IMAGES\IMAGES005\00067155.pdf
00067156   00067156    5/28/2019 9:58 Email    FW: Fix 495 & 270 Now!                               .\VOL005\IMAGES\IMAGES005\00067156.pdf
00067157   00067157    5/28/2019 9:59 Email    FW: Fix 495 & 270 Now!                               .\VOL005\IMAGES\IMAGES005\00067157.pdf

                                               2019‐05‐
00067158   00067337   5/28/2019 10:43 Attach   23_I495I270_WeeklyFHWA_CommentExport.docx            .\VOL005\IMAGES\IMAGES005\00067158.pdf
00067338   00067338   5/28/2019 10:59 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067338.pdf
                                               Section 106 Consultation: I‐495/I‐270 MLS
00067339   00067340   5/28/2019 16:50 Email    Archaeology scope                                    .\VOL005\IMAGES\IMAGES005\00067339.pdf
00067341   00067382   5/28/2019 16:50 Attach   MLS‐VA Arch Scope 5‐28‐19.pdf                        .\VOL005\IMAGES\IMAGES005\00067341.pdf
00067383   00067383   5/28/2019 20:59 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067383.pdf
00067384   00067384   5/29/2019 10:06 Email    FW: Fix 495 & 270 Now!                               .\VOL005\IMAGES\IMAGES005\00067384.pdf
00067385   00067385   5/29/2019 10:06 Email    FW: Fix 495 & 270 Now!                               .\VOL005\IMAGES\IMAGES005\00067385.pdf
00067386   00067386   5/29/2019 10:06 Email    FW: Fix 495 & 270 Now!                               .\VOL005\IMAGES\IMAGES005\00067386.pdf
00067387   00067387   5/29/2019 14:08 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067387.pdf
00067388   00067388   5/29/2019 14:21 Email    Handouts from P3/NPS Update Meeting                  .\VOL005\IMAGES\IMAGES005\00067388.pdf

00067389   00067389   5/29/2019 14:21 Attach   Potential Impacts to NPS Property_05282019.docx      .\VOL005\IMAGES\IMAGES005\00067389.pdf
00067390   00067390   5/29/2019 14:21 Attach   B‐W Pkwy HCS_Weaving_Summary.xlsx                    .\VOL005\IMAGES\IMAGES005\00067390.pdf     .\VOL005\NATIVES\NATIVES005\00067390.xlsx
00067391   00067391   5/29/2019 14:24 Email    Beltway expansion                                    .\VOL005\IMAGES\IMAGES005\00067391.pdf
00067392   00067392   5/29/2019 14:25 Email    FW: Beltway expansion                                .\VOL005\IMAGES\IMAGES005\00067392.pdf
00067393   00067393   5/29/2019 14:34 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067393.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                         Page 39 of 263

                                               FW: REVIEW REQUESTED: I‐495 & I‐270 MLS DRAFT
00067394   00067395   5/29/2019 15:12 Email    ARDS paper                                     .\VOL005\IMAGES\IMAGES005\00067394.pdf
00067396   00067396   5/29/2019 15:13 Email    Fix 495 & 270 Now!                             .\VOL005\IMAGES\IMAGES005\00067396.pdf
00067397   00067397   5/29/2019 15:36 Email    Fix 495 & 270 Now!                             .\VOL005\IMAGES\IMAGES005\00067397.pdf
                                               FW_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00067398   00067399   5/29/2019 16:12 Email    A....pdf                                       .\VOL005\IMAGES\IMAGES005\00067398.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS DRAFT
00067400   00067402   5/29/2019 17:36 Email    A...(9).pdf                                    .\VOL005\IMAGES\IMAGES005\00067400.pdf
00067403   00067403   5/29/2019 21:20 Email    FW: Fix 495 & 270 Now!                         .\VOL005\IMAGES\IMAGES005\00067403.pdf
00067404   00067404   5/29/2019 21:22 Email    FW: Fix 495 & 270 Now!                         .\VOL005\IMAGES\IMAGES005\00067404.pdf
00067405   00067405    5/30/2019 8:53 Email    Fix 495 & 270 Now!                             .\VOL005\IMAGES\IMAGES005\00067405.pdf
00067406   00067408    5/30/2019 9:10 Attach   3231 Park View Road.docx                       .\VOL005\IMAGES\IMAGES005\00067406.pdf
                                               I495I270_ManagedLanes_Study_AQ_Traffic_Memo.do
00067409   00067411   5/30/2019 11:44 Attach   cx                                             .\VOL005\IMAGES\IMAGES005\00067409.pdf

00067412   00067413   5/30/2019 13:54 Email    FW: Confidential Pre‐Decisional and Deliberative     .\VOL005\IMAGES\IMAGES005\00067412.pdf
00067414   00067415   5/30/2019 13:58 Email    RE: Confidential Pre‐Decisional and Deliberative     .\VOL005\IMAGES\IMAGES005\00067414.pdf

                                               Post‐Spring
                                               Workshop_CAM_Presentation_052919Coalition for
00067416   00067446   5/30/2019 14:02 Edoc     Sustainable Transportation_withoutnotes_V2 (5).pdf   .\VOL005\IMAGES\IMAGES005\00067416.pdf
00067447   00067450   5/30/2019 14:40 Attach   ARDS Nonconcurrence letter to SHA 5.29.19.pdf        .\VOL005\IMAGES\IMAGES005\00067447.pdf

00067451   00067452   5/30/2019 14:40 Email    FW: Confidential Pre‐Decisional and Deliberative     .\VOL005\IMAGES\IMAGES005\00067451.pdf

00067453   00067454   5/30/2019 16:15 Email    FW: Confidential Pre‐Decisional and Deliberative     .\VOL005\IMAGES\IMAGES005\00067453.pdf
                                               FW: M‐NCPPC: ARDS Nonconcurrence (Need Meeting
00067455   00067457   5/30/2019 16:15 Email    Before June 6)                                       .\VOL005\IMAGES\IMAGES005\00067455.pdf
00067458   00067458   5/30/2019 19:30 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067458.pdf
00067459   00067459   5/30/2019 23:13 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067459.pdf
00067460   00067460    5/31/2019 8:55 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067460.pdf
00067461   00067461    5/31/2019 8:56 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067461.pdf
00067462   00067462    5/31/2019 9:38 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067462.pdf
00067463   00067463   5/31/2019 10:15 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067463.pdf
00067464   00067464   5/31/2019 11:17 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067464.pdf
00067465   00067465   5/31/2019 11:39 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067465.pdf

00067466   00067467   5/31/2019 13:29 Edoc     2019.05.31_Elliott P Levine_PIA 10‐Day Letter.pdf    .\VOL005\IMAGES\IMAGES005\00067466.pdf
00067468   00067468   5/31/2019 13:38 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067468.pdf
00067469   00067469   5/31/2019 13:51 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067469.pdf
00067470   00067470   5/31/2019 14:07 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067470.pdf
                                               I‐495 & I‐270 Public Comment Export ‐ Through May
00067471   00067472   5/31/2019 15:01 Email    31, 2019                                             .\VOL005\IMAGES\IMAGES005\00067471.pdf

                                               2019‐05‐
00067473   00067685   5/31/2019 15:13 Attach   31_I495I270_WeeklyFHWA_CommentExport.docx            .\VOL005\IMAGES\IMAGES005\00067473.pdf
                                               RE: I‐495 & I‐270 Public Comment Export ‐ Through
00067686   00067687   5/31/2019 15:14 Email    May 31, 2019                                         .\VOL005\IMAGES\IMAGES005\00067686.pdf
00067688   00067688   5/31/2019 15:17 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067688.pdf

00067689   00067691   5/31/2019 16:12 Edoc     Duffie Companies_Meeting Record_05.20.19.docx        .\VOL005\IMAGES\IMAGES005\00067689.pdf
00067692   00067692   5/31/2019 16:40 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067692.pdf
00067693   00067693   5/31/2019 16:51 Email    SHA Toll Road Proposal                               .\VOL005\IMAGES\IMAGES005\00067693.pdf
00067694   00067694   5/31/2019 16:55 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067694.pdf
00067695   00067695     6/1/2019 5:51 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067695.pdf
00067696   00067696     6/1/2019 6:45 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067696.pdf
00067697   00067697    6/1/2019 10:27 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067697.pdf
00067698   00067698    6/1/2019 10:43 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067698.pdf
00067699   00067699    6/1/2019 10:44 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067699.pdf
00067700   00067700    6/1/2019 14:02 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067700.pdf
00067701   00067701    6/1/2019 17:37 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067701.pdf
00067702   00067702    6/1/2019 18:29 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067702.pdf
00067703   00067703    6/1/2019 19:47 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067703.pdf
00067704   00067705    6/2/2019 10:53 Email    I‐495 and I‐270                                      .\VOL005\IMAGES\IMAGES005\00067704.pdf
00067706   00067707    6/2/2019 10:55 Attach   I‐495 and I‐270                                      .\VOL005\IMAGES\IMAGES005\00067706.pdf
00067708   00067708     6/3/2019 6:37 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067708.pdf
00067709   00067709     6/3/2019 9:29 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067709.pdf
00067710   00067710     6/3/2019 9:33 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067710.pdf
00067711   00067711     6/3/2019 9:57 Email    MHT Completed Review ‐ MLS Batch 6                   .\VOL005\IMAGES\IMAGES005\00067711.pdf
00067712   00067713     6/3/2019 9:57 Attach   MLS Batch 6 Response.pdf                             .\VOL005\IMAGES\IMAGES005\00067712.pdf
00067714   00067714    6/3/2019 10:16 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067714.pdf
00067715   00067715    6/3/2019 11:29 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067715.pdf
00067716   00067716    6/3/2019 11:31 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067716.pdf
00067717   00067717    6/3/2019 11:33 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067717.pdf
00067718   00067718    6/3/2019 11:35 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067718.pdf
00067719   00067719    6/3/2019 11:44 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067719.pdf
00067720   00067720    6/3/2019 11:53 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067720.pdf
00067721   00067721    6/3/2019 12:03 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067721.pdf
00067722   00067722    6/3/2019 12:05 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067722.pdf
00067723   00067723    6/3/2019 12:12 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067723.pdf
00067724   00067724    6/3/2019 12:38 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067724.pdf
00067725   00067725    6/3/2019 12:52 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067725.pdf
00067726   00067726    6/3/2019 13:08 Attach   ARDS S+1 Meeting Sign‐In Sheet.pdf                   .\VOL005\IMAGES\IMAGES005\00067726.pdf
00067727   00067727    6/3/2019 13:27 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067727.pdf
00067728   00067728    6/3/2019 13:40 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067728.pdf
00067729   00067729    6/3/2019 14:01 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067729.pdf
00067730   00067731    6/3/2019 14:37 Email    Re: I‐495 & I‐270 MLS ‐ Town of Glenarden            .\VOL005\IMAGES\IMAGES005\00067730.pdf
00067732   00067732    6/3/2019 14:40 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067732.pdf
00067733   00067734    6/3/2019 16:07 Email    RE: 495 P3 DOEs Complete (First Half‐ish)            .\VOL005\IMAGES\IMAGES005\00067733.pdf
                                               M;26‐6_Poor Farm Site‐
00067735   00067735    6/3/2019 16:07 Attach   Cemetery_MIHPAddendum.doc                            .\VOL005\IMAGES\IMAGES005\00067735.pdf
00067736   00067736    6/3/2019 16:07 Attach   M;36‐36_Dismer Property _MIHPAddendum.doc            .\VOL005\IMAGES\IMAGES005\00067736.pdf

00067737   00067737    6/3/2019 16:07 Attach   M; 20‐15_Gaither‐Howes House_MIHPAddendum.doc        .\VOL005\IMAGES\IMAGES005\00067737.pdf
00067738   00067738    6/3/2019 16:25 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067738.pdf
00067739   00067739    6/3/2019 16:29 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067739.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study: FHWA
00067740   00067741    6/3/2019 17:32 Email    Coordination Meeting                                 .\VOL005\IMAGES\IMAGES005\00067740.pdf

00067742   00067742    6/3/2019 17:32 Attach   2019‐06‐04_FHWA Coordination Mtg Agenda.docx         .\VOL005\IMAGES\IMAGES005\00067742.pdf
00067743   00067743    6/3/2019 18:01 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067743.pdf
00067744   00067744    6/3/2019 20:36 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067744.pdf
00067745   00067745    6/3/2019 20:42 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067745.pdf
00067746   00067746    6/3/2019 20:59 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067746.pdf
00067747   00067747    6/3/2019 22:33 Email    Fix 495 & 270 Now!                                   .\VOL005\IMAGES\IMAGES005\00067747.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 40 of 263

                                              FW: Next 72 hours: 495/270 press confs., forums, and
00067748   00067759    6/4/2019 7:44 Email    Board of Public Works meeting                           .\VOL005\IMAGES\IMAGES005\00067748.pdf
                                              RE: Next 72 hours: 495/270 press confs., forums, and
00067760   00067760    6/4/2019 7:55 Email    Board of Public Works meeting                           .\VOL005\IMAGES\IMAGES005\00067760.pdf
                                              FW: FW: connecting with Stuart Batterman re: Air
00067761   00067765    6/4/2019 8:02 Attach   Pollution                                               .\VOL005\IMAGES\IMAGES005\00067761.pdf
                                              Zhang et al ‐ Vehicle Emissions in Congestion ‐ Atmos
00067766   00067776    6/4/2019 8:02 Attach   Environ 2011.pdf                                        .\VOL005\IMAGES\IMAGES005\00067766.pdf
00067777   00067778    6/4/2019 8:05 Edoc     2019.06.04_Josh Tulkin_PIA 10‐Day Letter.pdf            .\VOL005\IMAGES\IMAGES005\00067777.pdf
00067779   00067780    6/4/2019 8:28 Email    Oppose beltway expansion                                .\VOL005\IMAGES\IMAGES005\00067779.pdf
00067781   00067781    6/4/2019 8:37 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067781.pdf
00067782   00067782    6/4/2019 8:52 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067782.pdf
00067783   00067783    6/4/2019 9:45 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067783.pdf
00067784   00067784    6/4/2019 9:47 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067784.pdf
                                              Questions‐Responses_Janeen Miller_Four
00067785   00067791   6/4/2019 10:25 Edoc     Cities_060419_FINAL.docx                                .\VOL005\IMAGES\IMAGES005\00067785.pdf
00067792   00067792   6/4/2019 12:02 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067792.pdf
00067793   00067793   6/4/2019 12:07 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067793.pdf
                                              Message in opposition to proceeding with pre‐
00067794   00067794   6/4/2019 13:26 Email    solicitation for Beltway/270 Expansion project          .\VOL005\IMAGES\IMAGES005\00067794.pdf
00067795   00067795   6/4/2019 13:34 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067795.pdf
00067796   00067797   6/4/2019 14:42 Attach   Alban 820315 Incoming.pdf                               .\VOL005\IMAGES\IMAGES005\00067796.pdf
00067798   00067798   6/4/2019 14:51 Attach   ATT00001.htm                                            .\VOL005\IMAGES\IMAGES005\00067798.pdf
00067799   00067808   6/4/2019 14:51 Attach   Climate Change Impacts of proposed project.pdf          .\VOL005\IMAGES\IMAGES005\00067799.pdf

00067809   00067812   6/4/2019 14:51 Attach   Issues with P3 for Highways and Financial Risk.pdf      .\VOL005\IMAGES\IMAGES005\00067809.pdf

                                              Modeling Issues & Optimism Bias in the Proposed
00067813   00067816   6/4/2019 14:51 Attach   Beltway_I270 Managed Lanes Widening Project.pdf         .\VOL005\IMAGES\IMAGES005\00067813.pdf

                                              Comprehensive Transit‐Land Use ‐ Demand
00067817   00067819   6/4/2019 14:51 Attach   Management Alternative to Toll Lanes ‐ FINAL.pdf        .\VOL005\IMAGES\IMAGES005\00067817.pdf
00067820   00067821   6/4/2019 14:51 Attach   Inneffectiveness of Traffic Relief Plan.pdf             .\VOL005\IMAGES\IMAGES005\00067820.pdf
00067822   00067823   6/4/2019 14:51 Attach   Stormwater issues with I‐495 and I‐270 plan.pdf         .\VOL005\IMAGES\IMAGES005\00067822.pdf
                                              Process and lack of transparency with MDOT
00067824   00067828   6/4/2019 14:51 Attach   procurement.pdf                                         .\VOL005\IMAGES\IMAGES005\00067824.pdf
00067829   00067829   6/4/2019 15:07 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067829.pdf
00067830   00067830   6/4/2019 15:09 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067830.pdf
                                              Widening I‐495 and I‐270 is a 20th century NON‐
00067831   00067831   6/4/2019 17:28 Email    solution to 21st century crisis                         .\VOL005\IMAGES\IMAGES005\00067831.pdf
00067832   00067832   6/4/2019 18:56 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067832.pdf
00067833   00067833   6/4/2019 19:42 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067833.pdf
00067834   00067834   6/4/2019 19:47 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067834.pdf
00067835   00067835   6/4/2019 21:36 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067835.pdf
00067836   00067836   6/4/2019 21:36 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067836.pdf
00067837   00067837   6/4/2019 22:15 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067837.pdf
00067838   00067838   6/4/2019 22:23 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067838.pdf
                                              Climate Change Impacts of proposed project ‐ Key
00067839   00067850   6/4/2019 23:27 Attach   points.docx                                             .\VOL005\IMAGES\IMAGES005\00067839.pdf
00067851   00067851    6/5/2019 7:29 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00067851.pdf

                                              RE: 3rd Quarterly Coordination FHWA VA & MD
00067852   00067853    6/5/2019 7:51 Email    Offices: I‐495 & I‐270 Managed Lanes & I‐495 NEXT         .\VOL005\IMAGES\IMAGES005\00067852.pdf
00067854   00067854    6/5/2019 8:44 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067854.pdf
00067855   00067855    6/5/2019 8:50 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067855.pdf
00067856   00067856    6/5/2019 9:43 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067856.pdf
00067857   00067859   6/5/2019 10:13 Email    RE: next steps/prior concurrence                          .\VOL005\IMAGES\IMAGES005\00067857.pdf
00067860   00067861   6/5/2019 10:19 Email    FW: Revised ARDS Paper                                    .\VOL005\IMAGES\IMAGES005\00067860.pdf
00067862   00067862   6/5/2019 11:45 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067862.pdf
00067863   00067863   6/5/2019 11:55 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067863.pdf
00067864   00067864   6/5/2019 12:45 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067864.pdf
00067865   00067865   6/5/2019 16:52 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067865.pdf
00067866   00067866   6/5/2019 17:18 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067866.pdf
00067867   00067867   6/5/2019 17:32 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067867.pdf
00067868   00067868   6/5/2019 17:37 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067868.pdf
00067869   00067869   6/5/2019 17:40 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067869.pdf
00067870   00067870   6/5/2019 17:41 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067870.pdf
00067871   00067871   6/5/2019 17:44 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067871.pdf
00067872   00067872   6/5/2019 18:15 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067872.pdf
00067873   00067873   6/5/2019 18:23 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067873.pdf
00067874   00067874   6/5/2019 18:44 Email    495 270 vote                                              .\VOL005\IMAGES\IMAGES005\00067874.pdf
00067875   00067875   6/5/2019 18:52 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067875.pdf
00067876   00067876   6/5/2019 19:27 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067876.pdf
00067877   00067877   6/5/2019 19:51 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067877.pdf
00067878   00067878   6/5/2019 20:16 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067878.pdf
00067879   00067879   6/5/2019 21:36 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067879.pdf
00067880   00067880   6/5/2019 21:36 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067880.pdf
00067881   00067881   6/5/2019 23:36 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067881.pdf
00067882   00067882    6/6/2019 7:00 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067882.pdf
00067883   00067883    6/6/2019 7:06 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067883.pdf
00067884   00067884    6/6/2019 7:15 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067884.pdf
00067885   00067885    6/6/2019 7:53 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067885.pdf
00067886   00067886    6/6/2019 8:07 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067886.pdf
00067887   00067887    6/6/2019 8:21 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067887.pdf
00067888   00067889    6/6/2019 8:57 Email    RE: follow‐up                                             .\VOL005\IMAGES\IMAGES005\00067888.pdf
00067890   00067890   6/6/2019 10:25 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067890.pdf
00067891   00067891   6/6/2019 12:33 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067891.pdf
00067892   00067892   6/6/2019 12:47 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067892.pdf
00067893   00067893   6/6/2019 13:03 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067893.pdf
00067894   00067894   6/6/2019 13:05 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067894.pdf
00067895   00067895   6/6/2019 13:06 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067895.pdf
00067896   00067896   6/6/2019 13:52 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067896.pdf
                                              [EXTERNAL] 19‐CHOH‐2 ‐ Supplemental Phase I at the
00067897   00067900   6/6/2019 14:37 Attach   C&O and Clara Barton Parkway                              .\VOL005\IMAGES\IMAGES005\00067897.pdf
00067901   00067906   6/6/2019 14:37 Attach   !C&O‐ClaraBarton Supp_PhI Scope.pdf                       .\VOL005\IMAGES\IMAGES005\00067901.pdf
00067907   00067909   6/6/2019 14:37 Attach   ATT2a VDOT and MLS LODs_red.pdf                           .\VOL005\IMAGES\IMAGES005\00067907.pdf
00067910   00067920   6/6/2019 14:37 Attach   ARPA Permit 19‐CHOH‐2 TRC Phase II 2‐27‐19.pdf            .\VOL005\IMAGES\IMAGES005\00067910.pdf
                                              Fwd: I‐495 & I‐270 Managed Lanes Study in Maryland
00067921   00067924   6/6/2019 15:27 Email    and Virginia; Request for Information                     .\VOL005\IMAGES\IMAGES005\00067921.pdf
00067925   00067925    6/7/2019 7:45 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067925.pdf
00067926   00067926    6/7/2019 9:30 Email    Support Widening 270 and 495                              .\VOL005\IMAGES\IMAGES005\00067926.pdf
00067927   00067927   6/7/2019 11:43 Email    Fix 495 & 270 Now!                                        .\VOL005\IMAGES\IMAGES005\00067927.pdf
                                              Confidential, Pre‐Decisional and Deliberative: I‐495 & I‐
00067928   00067929   6/7/2019 12:57 Email    270 MLS Request for ARDS Concurrence                      .\VOL005\IMAGES\IMAGES005\00067928.pdf
00067930   00067932   6/7/2019 15:56 Attach   Belton 820288 Signed.pdf                                  .\VOL005\IMAGES\IMAGES005\00067930.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                         Page 41 of 263

00067933   00067934    6/7/2019 15:56 Attach   Belton 820288 Incoming.pdf                              .\VOL005\IMAGES\IMAGES005\00067933.pdf

00067935   00067946    6/7/2019 16:27 Edoc     Spring 2019 FHWA Summary_060719 Revised.docx          .\VOL005\IMAGES\IMAGES005\00067935.pdf
                                               I‐495 & I‐270 Public Comment Export ‐ Through June 7,
00067947   00067948    6/7/2019 16:42 Email    2019                                                  .\VOL005\IMAGES\IMAGES005\00067947.pdf

                                               2019‐06‐
00067949   00068180    6/7/2019 16:42 Attach   07_I495I270_WeeklyFHWA_CommentExport.docx               .\VOL005\IMAGES\IMAGES005\00067949.pdf
00068181   00068182    6/7/2019 17:29 Email    FHWA Concurrence Supporting Documentation               .\VOL005\IMAGES\IMAGES005\00068181.pdf
00068183   00068184    6/10/2019 9:15 Attach   CCF06102019.pdf                                         .\VOL005\IMAGES\IMAGES005\00068183.pdf
                                               RE: I‐495/I‐270 MLS Section 106 DOE forms, Batch 8,
00068185   00068187   6/10/2019 13:07 Email    Consulting Party Meeting reminder 6/17 1pm              .\VOL005\IMAGES\IMAGES005\00068185.pdf
                                               RE_ I‐495_I‐270 MLS Section 106 DOE forms,
00068188   00068190   6/10/2019 14:07 Email    Batc...(1).pdf                                          .\VOL005\IMAGES\IMAGES005\00068188.pdf
00068191   00068191    6/11/2019 8:27 Edoc     MLS_Impacts_04032019.xlsx                               .\VOL005\IMAGES\IMAGES005\00068191.pdf   .\VOL005\NATIVES\NATIVES005\00068191.xlsx

00068192   00068193    6/11/2019 9:58 Email    FW: Confidential Pre‐Decisional and Deliberative        .\VOL005\IMAGES\IMAGES005\00068192.pdf
                                               FW: M‐NCPPC: ARDS Nonconcurrence (Need Meeting
00068194   00068196    6/11/2019 9:58 Email    Before June 6)                                          .\VOL005\IMAGES\IMAGES005\00068194.pdf
00068197   00068197   6/11/2019 10:08 Email    Confidential Pre‐Decisional and Deliberative            .\VOL005\IMAGES\IMAGES005\00068197.pdf
00068198   00068198   6/11/2019 10:08 Attach   20190607_MDOT_495‐270_phasing.jpg                       .\VOL005\IMAGES\IMAGES005\00068198.pdf
                                               RE: Next 72 hours: 495/270 press confs., forums, and
00068199   00068210   6/11/2019 11:45 Email    Board of Public Works meeting                           .\VOL005\IMAGES\IMAGES005\00068199.pdf
00068211   00068212   6/11/2019 13:20 Email    RE: MLS recommendation                                  .\VOL005\IMAGES\IMAGES005\00068211.pdf
                                               2019.06.11 I‐495 I‐270 MLS ARDS Summary and
00068213   00068213   6/11/2019 13:37 Email    Concurrence Form.pdf                                    .\VOL005\IMAGES\IMAGES005\00068213.pdf
                                               2019.06.11 I‐495 I‐270 MLS ARDS Summary and
00068214   00068218   6/11/2019 13:37 Attach   Concurrence Form.pdf                                    .\VOL005\IMAGES\IMAGES005\00068214.pdf
                                               MLS_Consulting Parties Meeting No. 3
00068219   00068231   6/11/2019 14:55 Attach   Presentation_sa.pptx                                    .\VOL005\IMAGES\IMAGES005\00068219.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting
00068232   00068232   6/11/2019 15:34 Attach   Agenda_2019‐06‐12.pdf                                   .\VOL005\IMAGES\IMAGES005\00068232.pdf
00068233   00068234   6/11/2019 15:34 Email    I‐495 & I‐270 MLS IAWG Agenda                           .\VOL005\IMAGES\IMAGES005\00068233.pdf
00068235   00068235   6/11/2019 20:41 Email    [No Subject]                                            .\VOL005\IMAGES\IMAGES005\00068235.pdf
00068236   00068236   6/11/2019 22:02 Email    Comments from North Chevy Chase Community               .\VOL005\IMAGES\IMAGES005\00068236.pdf
00068237   00068238   6/11/2019 22:02 Attach   HSF ‐ BELTWAY EXPANSION‐ 2‐ Comments.docx               .\VOL005\IMAGES\IMAGES005\00068237.pdf
00068239   00068239    6/12/2019 6:40 Email    Comment on Managed Lanes Study                          .\VOL005\IMAGES\IMAGES005\00068239.pdf
00068240   00068240    6/12/2019 8:05 Email    Re: Support Widening 270 and 495                        .\VOL005\IMAGES\IMAGES005\00068240.pdf
00068241   00068242    6/12/2019 9:13 Email    Re: Support Widening 270 and 495                        .\VOL005\IMAGES\IMAGES005\00068241.pdf
00068243   00068245    6/12/2019 9:21 Email    Re: Support Widening 270 and 495                        .\VOL005\IMAGES\IMAGES005\00068243.pdf
00068246   00068247    6/12/2019 9:23 Email    Re: Support Widening 270 and 495                        .\VOL005\IMAGES\IMAGES005\00068246.pdf
00068248   00068249   6/12/2019 11:57 Attach   2806_001.pdf                                            .\VOL005\IMAGES\IMAGES005\00068248.pdf
00068250   00068251   6/12/2019 13:32 Email    FW: Support Widening 270 and 495                        .\VOL005\IMAGES\IMAGES005\00068250.pdf
                                               June 17 2019 Section 106 Consulting Parties Mtg
00068252   00068252   6/12/2019 14:43 Edoc     Agenda.docx                                             .\VOL005\IMAGES\IMAGES005\00068252.pdf
                                               Questions‐Responses_NorthCollege
00068253   00068257   6/12/2019 15:18 Edoc     Park_061319_final.docx                                  .\VOL005\IMAGES\IMAGES005\00068253.pdf

                                               I‐495/I‐270 MLS Section Consulting Party Meeting 6/17
00068258   00068259   6/12/2019 15:48 Email    ‐ Agenda, Materials, Remote Access Information        .\VOL005\IMAGES\IMAGES005\00068258.pdf
00068260   00068261   6/12/2019 16:43 Edoc     Affected Properties Preliminary.docx                  .\VOL005\IMAGES\IMAGES005\00068260.pdf
                                               I‐495_I‐270 MLS Section Consulting Party
00068262   00068263   6/12/2019 16:48 Email    Meetin...(1).pdf                                      .\VOL005\IMAGES\IMAGES005\00068262.pdf

00068264   00068264   6/12/2019 16:48 Attach   June 17 2019 Section 106 Consulting Parties Mt.pdf      .\VOL005\IMAGES\IMAGES005\00068264.pdf

00068265   00068266   6/12/2019 16:48 Attach   495_270_Affected Properties Preliminary_6_17_2.pdf      .\VOL005\IMAGES\IMAGES005\00068265.pdf
                                               495_270_MLS_PROGRAMMATIC
00068267   00068270   6/12/2019 16:48 Attach   AGREEMENT_CONCEPT_OUT.pdf                               .\VOL005\IMAGES\IMAGES005\00068267.pdf
00068271   00068272   6/12/2019 18:02 Email    OFD POCs for MLS project in MD                          .\VOL005\IMAGES\IMAGES005\00068271.pdf
00068273   00068273   6/12/2019 20:33 Email    Managed lane study                                      .\VOL005\IMAGES\IMAGES005\00068273.pdf
                                               Poor Farm Cemetery : I‐495/I‐270 MLS Section 106
                                               DOE forms, Batch 8, Consulting Party Meeting
00068274   00068277    6/13/2019 6:52 Email    reminder 6/17 1pm                                       .\VOL005\IMAGES\IMAGES005\00068274.pdf
00068278   00068285    6/13/2019 8:32 Attach   Letter to Mar Choplin_Signed.pdf                        .\VOL005\IMAGES\IMAGES005\00068278.pdf
00068286   00068299    6/13/2019 8:32 Attach   Appendix to Letter dated June 12, 2019.pdf              .\VOL005\IMAGES\IMAGES005\00068286.pdf
00068300   00068313    6/13/2019 8:32 Attach   Exhibit A ‐ Basic Agreement.pdf                         .\VOL005\IMAGES\IMAGES005\00068300.pdf
                                               FW: PG County Leaders Bash Hogan's Highway
00068314   00068316    6/13/2019 8:41 Email    Widening Plan                                           .\VOL005\IMAGES\IMAGES005\00068314.pdf
                                               Transit Benefits Meeting Notes_05172019(FINAL)
00068317   00068322    6/13/2019 9:29 Attach   (004).docx                                              .\VOL005\IMAGES\IMAGES005\00068317.pdf
                                               Comment on the Maryland Department of
                                               Transportation State Highway Administration on the I‐
00068323   00068323   6/13/2019 10:49 Email    495 and I‐270 Managed Lanes Study                       .\VOL005\IMAGES\IMAGES005\00068323.pdf
                                               FW: Comment on the Maryland Department of
                                               Transportation State Highway Administration on the I‐
00068324   00068325   6/13/2019 10:49 Email    495 and I‐270 Managed Lanes Study                       .\VOL005\IMAGES\IMAGES005\00068324.pdf
                                               Comments on Managed Lanes Study I‐495 & I‐270 P3
00068326   00068328   6/13/2019 10:59 Email    Program                                                 .\VOL005\IMAGES\IMAGES005\00068326.pdf
                                               Meeting Outreach‐Record_North College
00068329   00068334   6/13/2019 11:15 Edoc     Park_061319.docx                                        .\VOL005\IMAGES\IMAGES005\00068329.pdf

00068335   00068335   6/13/2019 12:11 Email    FW: FHWA Concurrence Supporting Documentation           .\VOL005\IMAGES\IMAGES005\00068335.pdf
00068336   00068339   6/13/2019 12:11 Attach   ARD Summary.pdf                                         .\VOL005\IMAGES\IMAGES005\00068336.pdf
00068340   00068341   6/13/2019 14:25 Email    RE: draft ARDS memo                                     .\VOL005\IMAGES\IMAGES005\00068340.pdf
                                               I‐495 & I‐270 MLS_IAWG Meeting No. 11 DRAFT
00068342   00068355   6/13/2019 15:06 Attach   Presentation_to FHWA.pptx                               .\VOL005\IMAGES\IMAGES005\00068342.pdf
00068356   00068357   6/13/2019 15:06 Email    FW: June 12th IAWG No. 11 Presentation                  .\VOL005\IMAGES\IMAGES005\00068356.pdf
00068358   00068358   6/13/2019 15:15 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00068358.pdf
00068359   00068359   6/13/2019 15:29 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00068359.pdf
00068360   00068360   6/13/2019 15:46 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00068360.pdf
00068361   00068361   6/13/2019 16:18 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00068361.pdf
00068362   00068362   6/13/2019 17:22 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00068362.pdf
00068363   00068363   6/13/2019 20:31 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00068363.pdf
00068364   00068364    6/14/2019 5:33 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00068364.pdf
00068365   00068365    6/14/2019 5:57 Email    Fix 495 & 270 Now!                                      .\VOL005\IMAGES\IMAGES005\00068365.pdf

                                               Walt Whitman High School PTSA Cluster statement in
00068366   00068366    6/14/2019 9:43 Email    support of Beltway Noise and Air Pollution Mitigation .\VOL005\IMAGES\IMAGES005\00068366.pdf
                                               Beltway_Whitman_Cluster_PTSA_signed_June_2019.p
00068367   00068368    6/14/2019 9:43 Attach   df                                                    .\VOL005\IMAGES\IMAGES005\00068367.pdf

                                               Comments on the Alternatives Retained for Detailed
00068369   00068370   6/14/2019 11:00 Attach   Study (ARDS) accepted through June 14, 2019_.pdf        .\VOL005\IMAGES\IMAGES005\00068369.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                         Page 42 of 263

                                               FHWA and MDOT SHA to Hold Eight Public Workshops
                                               on Alternatives for the I‐495 & I‐270 Managed Lanes
                                               Study in Montgomery and Prince George’s
00068371   00068374   6/14/2019 11:00 Attach   Counties.pdf                                          .\VOL005\IMAGES\IMAGES005\00068371.pdf
                                               FHWA and MDOT SHA to Hold Remaining Two
                                               Workshops on Alternatives for the I‐495 & I‐270
                                               Managed Lanes Study in Montgomery and Prince
00068375   00068378   6/14/2019 11:00 Attach   George’s Counties.pdf                                 .\VOL005\IMAGES\IMAGES005\00068375.pdf
                                               I‐495 & I‐270 Manged Lanes Study ‐ Alternatives
00068379   00068381   6/14/2019 11:00 Attach   Update.pdf                                            .\VOL005\IMAGES\IMAGES005\00068379.pdf
                                               MDOT SHA to Hold Six Public Workshops on
                                               Alternatives for the I‐495 & I‐270 Managed Lanes
                                               Study in Montgomery and Prince George’s Counties
00068382   00068384   6/14/2019 11:00 Attach   2.pdf                                                 .\VOL005\IMAGES\IMAGES005\00068382.pdf
                                               MDOT SHA to Hold Six Public Workshops on
                                               Alternatives for the I‐495 & I‐270 Managed Lanes
                                               Study in Montgomery and Prince George’s
00068385   00068387   6/14/2019 11:00 Attach   Counties.pdf                                          .\VOL005\IMAGES\IMAGES005\00068385.pdf
00068388   00068388   6/14/2019 11:56 Email    I‐495 and MD I‐270                                    .\VOL005\IMAGES\IMAGES005\00068388.pdf
00068389   00068389   6/14/2019 12:01 Email    Fix 495 & 270 Now!                                    .\VOL005\IMAGES\IMAGES005\00068389.pdf
00068390   00068390   6/14/2019 12:02 Email    Public comment re 4/24/2019 ARDS Workshop             .\VOL005\IMAGES\IMAGES005\00068390.pdf
00068391   00068391   6/14/2019 12:03 Email    Fix 495 & 270 Now!                                    .\VOL005\IMAGES\IMAGES005\00068391.pdf
00068392   00068392   6/14/2019 12:16 Email    Fix 495 & 270 Now!                                    .\VOL005\IMAGES\IMAGES005\00068392.pdf
00068393   00068393   6/14/2019 12:32 Email    Fix 495 & 270 Now!                                    .\VOL005\IMAGES\IMAGES005\00068393.pdf
00068394   00068395   6/14/2019 13:49 Email    Draft ARDS memo 06‐14‐19                              .\VOL005\IMAGES\IMAGES005\00068394.pdf
00068396   00068396   6/14/2019 14:11 Email    RE: HEP's Involvement in EISs                         .\VOL005\IMAGES\IMAGES005\00068396.pdf
                                               Comments on the Alternatives Retained for Detailed
00068397   00068397   6/14/2019 14:33 Email    Study                                                 .\VOL005\IMAGES\IMAGES005\00068397.pdf
00068398   00068400   6/14/2019 14:33 Attach   Widening Alternatives Letter from D. Glaros.pdf       .\VOL005\IMAGES\IMAGES005\00068398.pdf
00068401   00068402   6/14/2019 15:34 Email    RE: HEP's Involvement in EISs                         .\VOL005\IMAGES\IMAGES005\00068401.pdf
                                               MLS_Consulting Parties Meeting No. 3
00068403   00068415   6/14/2019 15:49 Edoc     Presentation_sa_JPS.pptx                              .\VOL005\IMAGES\IMAGES005\00068403.pdf
00068416   00068416   6/14/2019 17:23 Email    Fix 495 & 270 Now!                                    .\VOL005\IMAGES\IMAGES005\00068416.pdf
00068417   00068419   6/14/2019 17:34 Email    RE: Draft ARDS memo 06‐14‐19                          .\VOL005\IMAGES\IMAGES005\00068417.pdf
                                               DRAFT AND PRE‐DECISIONAL ‐ Natural Resources
00068420   00068422   6/14/2019 18:43 Email    Technical Report                                      .\VOL005\IMAGES\IMAGES005\00068420.pdf
                                               Comment ‐ objections to the latest phasing and its
00068423   00068423   6/14/2019 18:47 Email    justification                                         .\VOL005\IMAGES\IMAGES005\00068423.pdf
00068424   00068424   6/14/2019 21:46 Email    Managed Lanes Study Comments                          .\VOL005\IMAGES\IMAGES005\00068424.pdf
00068425   00068425   6/14/2019 21:46 Attach   Managed Lanes Comments 061419.docx                    .\VOL005\IMAGES\IMAGES005\00068425.pdf
00068426   00068427   6/14/2019 22:53 Email    I‐495 & I‐270                                         .\VOL005\IMAGES\IMAGES005\00068426.pdf
00068428   00068429   6/14/2019 23:41 Email    WPCA Comments of ARDS Managed Lanes Study             .\VOL005\IMAGES\IMAGES005\00068428.pdf
00068430   00068432   6/14/2019 23:41 Attach   WPCA_ARDS.pdf                                         .\VOL005\IMAGES\IMAGES005\00068430.pdf
00068433   00068433    6/15/2019 0:00 Email    495‐270‐P3 comments                                   .\VOL005\IMAGES\IMAGES005\00068433.pdf
00068434   00068435    6/15/2019 0:00 Attach   2019‐06‐14 comments SHA 495‐270‐P3.docx               .\VOL005\IMAGES\IMAGES005\00068434.pdf
00068436   00068438   6/15/2019 12:45 Attach   Traffic Relief Plan Letter ‐ Final.pdf                .\VOL005\IMAGES\IMAGES005\00068436.pdf
00068439   00068441    6/16/2019 9:17 Email    RE: Inquiry re 495/270 noise abatement                .\VOL005\IMAGES\IMAGES005\00068439.pdf
00068442   00068442    6/16/2019 9:27 Email    RE: Compensation                                      .\VOL005\IMAGES\IMAGES005\00068442.pdf
00068443   00068443    6/16/2019 9:27 Attach   FAQs‐Property Needs.pdf                               .\VOL005\IMAGES\IMAGES005\00068443.pdf
00068444   00068444    6/16/2019 9:27 Email    RE: Compensation                                      .\VOL005\IMAGES\IMAGES005\00068444.pdf
00068445   00068445    6/16/2019 9:27 Attach   Property Afftected.pdf                                .\VOL005\IMAGES\IMAGES005\00068445.pdf
00068446   00068446    6/16/2019 9:27 Attach   FAQs‐Property Needs.pdf                               .\VOL005\IMAGES\IMAGES005\00068446.pdf
00068447   00068448    6/16/2019 9:54 Email    RE: 6821 Tammy Court Questions                        .\VOL005\IMAGES\IMAGES005\00068447.pdf
00068449   00068449    6/17/2019 7:59 Email    Fw: Fix 495 & 270 Now!                                .\VOL005\IMAGES\IMAGES005\00068449.pdf
00068450   00068451    6/17/2019 9:29 Email    RE: I‐495 and MD I‐270                                .\VOL005\IMAGES\IMAGES005\00068450.pdf
00068452   00068458    6/17/2019 9:59 Edoc     LargePropertyOutreach_CityofGlenarden.pdf             .\VOL005\IMAGES\IMAGES005\00068452.pdf
00068459   00068460   6/17/2019 10:20 Email    RE: briefing with Gloria                              .\VOL005\IMAGES\IMAGES005\00068459.pdf
00068461   00068462   6/17/2019 10:22 Email    RE: briefing with Gloria                              .\VOL005\IMAGES\IMAGES005\00068461.pdf
00068463   00068464   6/17/2019 10:29 Email    RE_ I‐495 and MD I‐270.pdf                            .\VOL005\IMAGES\IMAGES005\00068463.pdf
                                               FW: 2019.06.11 I‐495 I‐270 MLS ARDS Summary and
00068465   00068465   6/17/2019 11:39 Email    Concurrence Form.pdf                                  .\VOL005\IMAGES\IMAGES005\00068465.pdf
                                               2019.06.11 I‐495 I‐270 MLS ARDS Summary and
00068466   00068470   6/17/2019 11:39 Attach   Concurrence Form.pdf                                  .\VOL005\IMAGES\IMAGES005\00068466.pdf
                                               Meeting Outreach‐Record_City of Glenarden
00068471   00068474   6/17/2019 13:02 Edoc     2_061719.docx                                         .\VOL005\IMAGES\IMAGES005\00068471.pdf
00068475   00068476   6/17/2019 13:08 Email    ARDS Concurrence Forms (to date)                      .\VOL005\IMAGES\IMAGES005\00068475.pdf
00068477   00068478   6/17/2019 13:08 Attach   ARDS Concurrence_NPS_6‐11‐19.pdf                      .\VOL005\IMAGES\IMAGES005\00068477.pdf
00068479   00068480   6/17/2019 13:08 Attach   ARDS Concurrence_USACE_6‐11‐19.pdf                    .\VOL005\IMAGES\IMAGES005\00068479.pdf

00068481   00068485   6/17/2019 13:08 Attach   2019.06.11 I‐495 I‐270 MLS ARDS Summary and C.pdf .\VOL005\IMAGES\IMAGES005\00068481.pdf
00068486   00068488   6/17/2019 13:08 Attach   ARDS Concurrence_DNR_6‐11‐19.pdf                      .\VOL005\IMAGES\IMAGES005\00068486.pdf
00068489   00068490   6/17/2019 13:29 Email    RE: ARDS Concurrence Forms (to date)                  .\VOL005\IMAGES\IMAGES005\00068489.pdf
                                               I‐495 & I‐270 MLS ‐ List of Public Comment Themes on
00068491   00068492   6/17/2019 13:47 Email    ARDS                                                  .\VOL005\IMAGES\IMAGES005\00068491.pdf
                                               Spring2019_SubmissionCommentsSummary_061719.d
00068493   00068497   6/17/2019 13:47 Attach   ocx                                                   .\VOL005\IMAGES\IMAGES005\00068493.pdf
                                               RE: I‐495 & I‐270 MLS ‐ List of Public Comment Themes
00068498   00068499   6/17/2019 13:50 Email    on ARDS                                               .\VOL005\IMAGES\IMAGES005\00068498.pdf
                                               FW_ I‐270 Managed Lane Project‐‐VPPP Option
00068500   00068501   6/17/2019 16:35 Email    Alt....pdf                                            .\VOL005\IMAGES\IMAGES005\00068500.pdf
00068502   00068504   6/17/2019 16:48 Email    RE: Draft ARDS memo 06‐14‐19                          .\VOL005\IMAGES\IMAGES005\00068502.pdf
00068505   00068507   6/18/2019 10:17 Email    FW: Inquiry re 495/270 noise abatement                .\VOL005\IMAGES\IMAGES005\00068505.pdf
                                               Prince George's Co. Public Schools_Meeting
00068508   00068509   6/18/2019 10:55 Edoc     Record.docx                                           .\VOL005\IMAGES\IMAGES005\00068508.pdf
00068510   00068510   6/18/2019 14:14 Email    RE: I‐495/I‐270 MLS ARDS Memo to HQ                   .\VOL005\IMAGES\IMAGES005\00068510.pdf
00068511   00068513   6/18/2019 15:27 Edoc     CPMtg3_signin sheet_061718.pdf                        .\VOL005\IMAGES\IMAGES005\00068511.pdf
00068514   00068515   6/18/2019 15:39 Attach   Belton 820288 Incoming.pdf                            .\VOL005\IMAGES\IMAGES005\00068514.pdf
00068516   00068538   6/18/2019 15:57 Edoc     I‐495 I‐270 MLS CEA Methodology 7‐10‐18.docx          .\VOL005\IMAGES\IMAGES005\00068516.pdf
                                               FHWA NO ACTION REQUIRED: 495/270 Managed
00068539   00068540   6/19/2019 11:45 Email    Lanes Study (MLS)                                     .\VOL005\IMAGES\IMAGES005\00068539.pdf
00068541   00068541   6/19/2019 14:24 Email    I‐495 I‐270 Transit Working Group                     .\VOL005\IMAGES\IMAGES005\00068541.pdf

00068542   00068547   6/19/2019 14:24 Attach   Transit Benefits Meeting Notes_05172019_FINAL.PDF .\VOL005\IMAGES\IMAGES005\00068542.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Transit Work Group ‐‐
00068548   00068550   6/19/2019 14:24 Email    Meeting #1                                            .\VOL005\IMAGES\IMAGES005\00068548.pdf
                                               RE: I‐495 & I‐270 MLS ARDS Concurrence Form ‐ status
00068551   00068553   6/19/2019 15:02 Email    request                                               .\VOL005\IMAGES\IMAGES005\00068551.pdf
00068554   00068554   6/19/2019 15:02 Attach   Comments ARDS epa attach 061919.docx                  .\VOL005\IMAGES\IMAGES005\00068554.pdf
                                               I‐495 I‐270 MLS ARDS Summary&Concurrence epa
00068555   00068559   6/19/2019 15:02 Attach   061919.pdf                                            .\VOL005\IMAGES\IMAGES005\00068555.pdf
                                               FW: I‐495 & I‐2170 MLS ARDS Concurrence Forms ‐
00068560   00068560   6/19/2019 16:19 Email    MDE, USEPA, and VDOT                                  .\VOL005\IMAGES\IMAGES005\00068560.pdf
00068561   00068562   6/19/2019 16:19 Attach   ARDS Concurrence_MDE_6‐19‐2019.pdf                    .\VOL005\IMAGES\IMAGES005\00068561.pdf
00068563   00068564   6/19/2019 16:19 Attach   ARDS Concurrence_USEPA_6‐19‐2019.pdf                  .\VOL005\IMAGES\IMAGES005\00068563.pdf
00068565   00068566   6/19/2019 16:19 Attach   ARDS Concurrence_VDOT_6‐14‐19.pdf                     .\VOL005\IMAGES\IMAGES005\00068565.pdf
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00068567   00068567   6/19/2019 16:19 Attach   2019‐06‐14 VDOT ARDS Concur.pdf                       .\VOL005\IMAGES\IMAGES005\00068567.pdf
00068568   00068568   6/19/2019 18:53 Email    MLS project                                           .\VOL005\IMAGES\IMAGES005\00068568.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
                                               Coordination Plan_ORIGINAL_2018‐05‐16_REVISED 6‐
00068569   00068580   6/19/2019 18:53 Attach   15‐18_REVISED 10‐26‐18.docx                           .\VOL005\IMAGES\IMAGES005\00068569.pdf
00068581   00068582   6/19/2019 18:53 Attach   NCPC_Partic_agencies_letter.pdf                       .\VOL005\IMAGES\IMAGES005\00068581.pdf
00068583   00068583   6/19/2019 18:53 Attach   NCPC‐partic_agency.pdf                                .\VOL005\IMAGES\IMAGES005\00068583.pdf
00068584   00068587   6/19/2019 19:18 Email    RE: Inquiry re 495/270 noise abatement                .\VOL005\IMAGES\IMAGES005\00068584.pdf
                                               I‐495/I‐270 MLS Section 106: Slides from 6/17 Meeting
00068588   00068589    6/20/2019 8:43 Email    and Next Steps                                        .\VOL005\IMAGES\IMAGES005\00068588.pdf
                                               I‐495_I‐270 MLS Section 106_ Slides from 6_17
00068590   00068591    6/20/2019 9:44 Email    M...(1).pdf                                           .\VOL005\IMAGES\IMAGES005\00068590.pdf

00068592   00068604    6/20/2019 9:44 Attach   MLS_Consulting Parties Meeting No. 3 Presentat.pdf   .\VOL005\IMAGES\IMAGES005\00068592.pdf
00068605   00068605   6/20/2019 10:58 Email    NCPC Comment Letters                                 .\VOL005\IMAGES\IMAGES005\00068605.pdf
                                               7984 I‐270‐495 Managed Lanes Study ‐ Capper‐
00068606   00068630   6/20/2019 10:58 Attach   Cramton Graphic Letter FINAL2.pdf                    .\VOL005\IMAGES\IMAGES005\00068606.pdf

                                               7984 I‐270‐495 Managed Lanes Study ‐ Alternatives
00068631   00068632   6/20/2019 10:58 Attach   Screening Report Review Comments Letter FINAL.pdf    .\VOL005\IMAGES\IMAGES005\00068631.pdf
00068633   00068639   6/20/2019 12:03 Edoc     MLS ARDS HQ memo 06_18_19.pdf                        .\VOL005\IMAGES\IMAGES005\00068633.pdf
00068640   00068640   6/20/2019 12:26 Email    Fw: Elected Officials                                .\VOL005\IMAGES\IMAGES005\00068640.pdf
                                               RE: FSHA/FHWA Coordination meeting minutes: I‐495
00068641   00068642   6/20/2019 16:11 Email    and I‐270 MLS                                        .\VOL005\IMAGES\IMAGES005\00068641.pdf
00068643   00068643   6/20/2019 18:38 Email    Natural Resources Technical Report                   .\VOL005\IMAGES\IMAGES005\00068643.pdf
00068644   00068745   6/20/2019 18:38 Attach   Draft_WetDelMemo_06‐14‐19.pdf                        .\VOL005\IMAGES\IMAGES005\00068644.pdf
00068746   00068746   6/20/2019 18:50 Email    tech reports                                         .\VOL005\IMAGES\IMAGES005\00068746.pdf
00068747   00068747   6/20/2019 18:50 Attach   I495 Tech Report review scheduleI.docx               .\VOL005\IMAGES\IMAGES005\00068747.pdf

00068748   00068749    6/21/2019 9:03 Edoc     Meeting Outreach‐Record_JHU Oasis_090419.docx        .\VOL005\IMAGES\IMAGES005\00068748.pdf
00068750   00068753   6/23/2019 16:26 Edoc     2019.06.23_Response_Thayer.pdf                       .\VOL005\IMAGES\IMAGES005\00068750.pdf
00068754   00068754   6/23/2019 16:31 Email    RE: copy of 495‐270‐P3 comments                      .\VOL005\IMAGES\IMAGES005\00068754.pdf
00068755   00068757   6/23/2019 16:31 Attach   2019.06.23_Response_Thayer.pdf                       .\VOL005\IMAGES\IMAGES005\00068755.pdf
00068758   00068760   6/23/2019 16:38 Email    RE: I‐495 and I 250 expansion                        .\VOL005\IMAGES\IMAGES005\00068758.pdf
00068761   00068765   6/24/2019 15:43 Edoc     EJ_T6Comparison.docx                                 .\VOL005\IMAGES\IMAGES005\00068761.pdf

00068766   00068770   6/25/2019 11:07 Attach   I495_I270_MLS_AMM_Field Meeting_20190612.docx .\VOL005\IMAGES\IMAGES005\00068766.pdf
00068771   00068771   6/25/2019 11:51 Email    I‐495/270                                         .\VOL005\IMAGES\IMAGES005\00068771.pdf
                                               2019‐06‐11_National Park Seminary Comment
00068772   00068772    6/26/2019 9:23 Attach   Letter.pdf                                        .\VOL005\IMAGES\IMAGES005\00068772.pdf
                                               Re: [EXTERNAL] DRAFT AND PRE‐DECISIONAL ‐ Natural
00068773   00068777    6/26/2019 9:30 Email    Resources Technical Report                        .\VOL005\IMAGES\IMAGES005\00068773.pdf
00068778   00068781   6/26/2019 10:17 Attach   20190620_Lerner_Letter.pdf                        .\VOL005\IMAGES\IMAGES005\00068778.pdf
                                               Meeting Outreach‐Record_Seven Oaks & Park
00068782   00068796   6/26/2019 12:21 Edoc     Hills_050819.docx                                 .\VOL005\IMAGES\IMAGES005\00068782.pdf
                                               RE: I‐495 & I‐270 MLS M‐NCPPC Non‐Concurrence to
00068797   00068798   6/26/2019 15:01 Email    ARDS                                              .\VOL005\IMAGES\IMAGES005\00068797.pdf
00068799   00068801   6/26/2019 16:52 Attach   Suraci 819309 Signed.pdf                          .\VOL005\IMAGES\IMAGES005\00068799.pdf
00068802   00068802   6/26/2019 16:52 Attach   Suraci 819309 Incoming.pdf                        .\VOL005\IMAGES\IMAGES005\00068802.pdf
00068803   00068803   6/26/2019 17:06 Email    FW: Confidential                                  .\VOL005\IMAGES\IMAGES005\00068803.pdf
                                               RE: I‐495 & I‐270 MLS M‐NCPPC Non‐Concurrence to
00068804   00068804   6/26/2019 17:06 Attach   ARDS                                              .\VOL005\IMAGES\IMAGES005\00068804.pdf

00068805   00068811   6/26/2019 17:34 Attach   M‐NCPPC Non‐Concurrence Response‐signed.pdf          .\VOL005\IMAGES\IMAGES005\00068805.pdf
00068812   00068813   6/26/2019 17:34 Email    FW: M‐NCPPC Response Letter                          .\VOL005\IMAGES\IMAGES005\00068812.pdf
00068814   00068815    6/27/2019 7:14 Email    Re: M‐NCPPC Response Letter                          .\VOL005\IMAGES\IMAGES005\00068814.pdf
00068816   00068816   6/27/2019 10:00 Email    FW: I‐495 I‐270 Managed Lane Project and VPPP        .\VOL005\IMAGES\IMAGES005\00068816.pdf
                                               RE: I‐270 Managed Lane Project‐‐VPPP Option
00068817   00068818   6/27/2019 10:00 Attach   Alternative                                          .\VOL005\IMAGES\IMAGES005\00068817.pdf
00068819   00068820   6/27/2019 10:00 Attach   doc_20180820145052.pdf                               .\VOL005\IMAGES\IMAGES005\00068819.pdf
00068821   00068821   6/27/2019 10:11 Email    I‐495 I‐270 Managed Lanes Study.pdf                  .\VOL005\IMAGES\IMAGES005\00068821.pdf
                                               I‐495 & I‐270 MLS ARDS Summary and
00068822   00068826   6/27/2019 10:11 Attach   Concurrence.pdf                                      .\VOL005\IMAGES\IMAGES005\00068822.pdf
00068827   00068828   6/27/2019 13:39 Attach   820540 Calvary Lutheran Church Incoming.pdf          .\VOL005\IMAGES\IMAGES005\00068827.pdf
00068829   00068830   6/27/2019 13:39 Attach   Michels 820540 Signed.pdf                            .\VOL005\IMAGES\IMAGES005\00068829.pdf
                                               MDOT SHA Response to M‐NCPPC ARDS Non‐
00068831   00068838    6/28/2019 8:11 Attach   Concurrence 20190628.pdf                             .\VOL005\IMAGES\IMAGES005\00068831.pdf
00068839   00068840   6/28/2019 12:20 Email    FHWA Coordination Mtg‐ Tuesday July 2nd              .\VOL005\IMAGES\IMAGES005\00068839.pdf

00068841   00068841   6/28/2019 12:20 Attach   2019‐07‐02_FHWA Coordination Mtg Agenda.docx         .\VOL005\IMAGES\IMAGES005\00068841.pdf
00068842   00068842   6/28/2019 14:23 Email    RE: tech reports                                     .\VOL005\IMAGES\IMAGES005\00068842.pdf
00068843   00068843   6/28/2019 14:23 Attach   MD MLS Tech Report review schedule.docx              .\VOL005\IMAGES\IMAGES005\00068843.pdf
                                               REVIEW REQUESTED: I‐495/270 MLS ‐ Natural
00068844   00068844   6/28/2019 14:53 Email    Resources Technical Report                           .\VOL005\IMAGES\IMAGES005\00068844.pdf
00068845   00068847     7/1/2019 7:46 Edoc     2019.07.01_Josh Tulkin_PIA Close Out Letter.pdf      .\VOL005\IMAGES\IMAGES005\00068845.pdf
00068848   00068849     7/1/2019 8:47 Edoc     2019.06.12 Incoming_Thayer.pdf                       .\VOL005\IMAGES\IMAGES005\00068848.pdf
00068850   00068851     7/1/2019 8:55 Edoc     2019.06.13 Incoming_Carni.pdf                        .\VOL005\IMAGES\IMAGES005\00068850.pdf

00068852   00068852    7/1/2019 10:12 Attach   2019‐06‐24 Sign‐in Sheet_GWMP Connections.pdf        .\VOL005\IMAGES\IMAGES005\00068852.pdf

00068853   00068864    7/1/2019 10:44 Edoc     Spring 2019 FHWA Summary_060719 Revised.docx         .\VOL005\IMAGES\IMAGES005\00068853.pdf
00068865   00068870    7/1/2019 11:29 Edoc     2019.06.27 City of Frederick Briefing.docx           .\VOL005\IMAGES\IMAGES005\00068865.pdf
                                               SummaryPoints_I270‐I495ManagedLanes_2019‐03‐
00068871   00068873    7/1/2019 12:22 Edoc     04.docx                                              .\VOL005\IMAGES\IMAGES005\00068871.pdf
                                               2019.06.27_Elected Official
00068874   00068878    7/1/2019 13:37 Edoc     Meeting_FrederickCityCounty.docx                     .\VOL005\IMAGES\IMAGES005\00068874.pdf
                                               DRAFT AND PRE‐DECISIONAL ‐ Hazardous Materials,
00068879   00068880    7/1/2019 15:40 Email    ICE, and CEA Technical Reports                       .\VOL005\IMAGES\IMAGES005\00068879.pdf
00068881   00068881    7/1/2019 16:44 Email    VA tribal letters (1 of 2 emails)                    .\VOL005\IMAGES\IMAGES005\00068881.pdf
00068882   00068890    7/1/2019 16:44 Attach   2019 letter_Monacan.pdf                              .\VOL005\IMAGES\IMAGES005\00068882.pdf
00068891   00068899    7/1/2019 16:44 Attach   2019 letter_Pamunkey.pdf                             .\VOL005\IMAGES\IMAGES005\00068891.pdf
00068900   00068901     7/2/2019 9:51 Email    Today's FHWA Meeting Handouts                        .\VOL005\IMAGES\IMAGES005\00068900.pdf

00068902   00068902     7/2/2019 9:51 Attach   2019‐07‐02_FHWA Coordination Mtg Agenda.docx         .\VOL005\IMAGES\IMAGES005\00068902.pdf
00068903   00068904     7/2/2019 9:51 Attach   2019.07.02_DRAFT RPA Process.docx                    .\VOL005\IMAGES\IMAGES005\00068903.pdf
00068905   00068905     7/2/2019 9:51 Attach   Tech Reports‐RPA‐DEIS schedule_7‐2‐2019.pdf          .\VOL005\IMAGES\IMAGES005\00068905.pdf
00068906   00068907     7/2/2019 9:58 Email    RE: Today's FHWA Meeting Handouts                    .\VOL005\IMAGES\IMAGES005\00068906.pdf
00068908   00068916    7/2/2019 12:27 Edoc     2019 letter_Monacan.pdf                              .\VOL005\IMAGES\IMAGES005\00068908.pdf
00068917   00068925    7/2/2019 12:27 Edoc     2019 letter_Pamunkey.pdf                             .\VOL005\IMAGES\IMAGES005\00068917.pdf
00068926   00068934    7/2/2019 12:27 Edoc     2019 letter_Chickahominy.pdf                         .\VOL005\IMAGES\IMAGES005\00068926.pdf
00068935   00068943    7/2/2019 12:27 Edoc     2019 letter_Nansemond.pdf                            .\VOL005\IMAGES\IMAGES005\00068935.pdf
00068944   00068952    7/2/2019 12:27 Edoc     2019 letter_Upper Mattaponi.pdf                      .\VOL005\IMAGES\IMAGES005\00068944.pdf
00068953   00068961    7/2/2019 12:27 Edoc     2019 letter_Chick_Eastern.pdf                        .\VOL005\IMAGES\IMAGES005\00068953.pdf
00068962   00068970    7/2/2019 12:27 Edoc     2019 letter_Rappahanock.pdf                          .\VOL005\IMAGES\IMAGES005\00068962.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 44 of 263

                                               Comment Letter on Potentially Affected Historic
00068971   00068972    7/2/2019 12:28 Edoc     Properties.pdf                                           .\VOL005\IMAGES\IMAGES005\00068971.pdf

00068973   00068979    7/2/2019 12:29 Edoc     I‐495 I‐270 Pop‐up Events Approach_061819.docx           .\VOL005\IMAGES\IMAGES005\00068973.pdf
00068980   00068981     7/3/2019 7:57 Email    I‐270 HOV lane conversion & VPPP                         .\VOL005\IMAGES\IMAGES005\00068980.pdf
                                               I‐495 and I‐270 Managed Lanes Study_ Section
00068982   00068983     7/3/2019 8:52 Email    10...(6).pdf                                             .\VOL005\IMAGES\IMAGES005\00068982.pdf
00068984   00068985    7/3/2019 10:13 Email    I‐270 HOV lane conversion & VPPP                         .\VOL005\IMAGES\IMAGES005\00068984.pdf
00068986   00068986    7/3/2019 11:07 Email    Proposed language to drop Alternative #5                 .\VOL005\IMAGES\IMAGES005\00068986.pdf
00068987   00068987    7/3/2019 11:16 Email    RE: Proposed language to drop Alternative #5             .\VOL005\IMAGES\IMAGES005\00068987.pdf
00068988   00068988    7/3/2019 13:22 Edoc     Alternative 5.docx                                       .\VOL005\IMAGES\IMAGES005\00068988.pdf
00068989   00068989    7/3/2019 14:12 Email    Confidential Pre‐Decisional and Deliberative             .\VOL005\IMAGES\IMAGES005\00068989.pdf

                                               FW: Comment Letter on Preliminary List of Adversely
00068990   00068991    7/3/2019 15:10 Email    and Potentially Adversely Affected Historic Properties   .\VOL005\IMAGES\IMAGES005\00068990.pdf
                                               RE: I‐495/I‐270 MLS Section 106 DOE forms, Batch 8,
00068992   00068995    7/3/2019 15:47 Email    Consulting Party Meeting reminder 6/17 1pm               .\VOL005\IMAGES\IMAGES005\00068992.pdf
                                               RE: I‐495/I‐270 MLS Section 106 DOE forms, Batch 8,
00068996   00069000    7/3/2019 17:05 Email    Consulting Party Meeting reminder 6/17 1pm               .\VOL005\IMAGES\IMAGES005\00068996.pdf
00069001   00069001    7/4/2019 15:10 Email    I‐495 & I‐270 Managed Lanes Study                        .\VOL005\IMAGES\IMAGES005\00069001.pdf
00069002   00069004    7/6/2019 10:40 Attach   Kriston 819887 Signed.pdf                                .\VOL005\IMAGES\IMAGES005\00069002.pdf
00069005   00069005    7/6/2019 10:40 Attach   Kriston 819887 Incoming.pdf                              .\VOL005\IMAGES\IMAGES005\00069005.pdf
00069006   00069008    7/6/2019 10:41 Attach   Hodges 820064 Signed.pdf                                 .\VOL005\IMAGES\IMAGES005\00069006.pdf
00069009   00069009    7/6/2019 10:41 Attach   Hodges 820064 Incoming.pdf                               .\VOL005\IMAGES\IMAGES005\00069009.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Natural
00069010   00069011     7/8/2019 8:14 Email    Resources Technical Report                               .\VOL005\IMAGES\IMAGES005\00069010.pdf
                                               REVIEW REQUESTED: I‐495/270 MLS ‐ Natural
00069012   00069013     7/8/2019 8:16 Email    Resources Technical Report                               .\VOL005\IMAGES\IMAGES005\00069012.pdf
00069014   00069201     7/8/2019 8:16 Attach   DRAFT_NRTR_061419.pdf                                    .\VOL005\IMAGES\IMAGES005\00069014.pdf
00069202   00069205    7/8/2019 11:34 Edoc     2019.07.08_Response_Carmi.pdf                            .\VOL005\IMAGES\IMAGES005\00069202.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study: Section 106
00069206   00069209    7/8/2019 13:45 Email    Consulting Party Update                                  .\VOL005\IMAGES\IMAGES005\00069206.pdf
00069210   00069210    7/8/2019 16:06 Email    RE: Natural Resources Technical Report                   .\VOL005\IMAGES\IMAGES005\00069210.pdf
00069211   00069212    7/8/2019 16:23 Email    I‐495/I‐270 MLS Section 106 DOE forms, Batch 9           .\VOL005\IMAGES\IMAGES005\00069211.pdf
                                               Re: [EXTERNAL] I‐495/I‐270 MLS Section 106 DOE
00069213   00069216    7/8/2019 16:25 Email    forms, Batch 9                                           .\VOL005\IMAGES\IMAGES005\00069213.pdf
                                               I‐495_I‐270 MLS Section 106 DOE forms, Batch 9
00069217   00069220    7/8/2019 17:39 Email    (1).pdf                                                  .\VOL005\IMAGES\IMAGES005\00069217.pdf
00069221   00069223     7/9/2019 9:21 Attach   2019‐06‐25_MTOC Comment Response.docx                    .\VOL005\IMAGES\IMAGES005\00069221.pdf
00069224   00069225     7/9/2019 9:24 Attach   2019‐06‐14 comments SHA 495‐270‐P3.docx                  .\VOL005\IMAGES\IMAGES005\00069224.pdf

00069226   00069227    7/9/2019 10:08 Edoc     2019‐07‐09_MTOC Comment Response‐signed.pdf              .\VOL005\IMAGES\IMAGES005\00069226.pdf
                                               FW: Beltway expansion: Comments of Carderock
                                               Springs and South Carderock residents about
00069228   00069228   7/10/2019 13:34 Email    Alternatives Retained for Detailed Study                 .\VOL005\IMAGES\IMAGES005\00069228.pdf
00069229   00069231   7/10/2019 13:34 Attach   201906111711.pdf                                         .\VOL005\IMAGES\IMAGES005\00069229.pdf
                                               RE: Beltway expansion: Comments of Carderock
                                               Springs and South Carderock residents about
00069232   00069232   7/10/2019 13:34 Email    Alternatives Retained for Detailed Study                 .\VOL005\IMAGES\IMAGES005\00069232.pdf
00069233   00069235   7/10/2019 13:34 Attach   820541 Orrick ‐signed.pdf                                .\VOL005\IMAGES\IMAGES005\00069233.pdf
                                               RE: Regulatory and statutory references for legal
                                               sufficiency, prior concurrence, and leveraging State
00069236   00069238   7/10/2019 15:35 Email    environmental reviews                                    .\VOL005\IMAGES\IMAGES005\00069236.pdf
00069239   00069241   7/10/2019 16:41 Attach   Brown 820051 Signed.pdf                                  .\VOL005\IMAGES\IMAGES005\00069239.pdf
                                               FW: Regulatory and statutory references for legal
                                               sufficiency, prior concurrence, and leveraging State
00069242   00069244   7/10/2019 16:50 Email    environmental reviews                                    .\VOL005\IMAGES\IMAGES005\00069242.pdf
00069245   00069297   7/10/2019 18:21 Attach   DRAFT_NRTR_Appendices_A_D.pdf                            .\VOL005\IMAGES\IMAGES005\00069245.pdf
00069298   00069334   7/10/2019 18:21 Attach   DRAFT_NRTR_Appendices_M_O.pdf                            .\VOL005\IMAGES\IMAGES005\00069298.pdf
00069335   00069336    7/11/2019 8:42 Email    FW: Natural Resources Technical Report                   .\VOL005\IMAGES\IMAGES005\00069335.pdf

00069337   00069364    7/11/2019 8:48 Edoc     I495&I270HazMatTechReport‐AppA(PriorityTable).pdf        .\VOL005\IMAGES\IMAGES005\00069337.pdf
00069365   00069411    7/11/2019 8:50 Edoc     I495I270HazMatTechRpt_07‐01‐19 (1).docx                  .\VOL005\IMAGES\IMAGES005\00069365.pdf
00069412   00069416   7/11/2019 13:00 Attach   2019‐07‐11_NCPC_TentativeAgenda.pdf                      .\VOL005\IMAGES\IMAGES005\00069412.pdf
                                               RE_ I‐495_I‐270 MLS Section 106_ Slides from
00069417   00069419   7/11/2019 17:17 Email    6_...(5).pdf                                             .\VOL005\IMAGES\IMAGES005\00069417.pdf
00069420   00069420   7/12/2019 10:52 Email    FW: I‐495/270                                            .\VOL005\IMAGES\IMAGES005\00069420.pdf
00069421   00069422   7/12/2019 17:56 Email    July 16th FHWA Coordination Mtg Agenda                   .\VOL005\IMAGES\IMAGES005\00069421.pdf

00069423   00069423   7/12/2019 17:56 Attach   2019‐07‐16_FHWA Coordination Mtg Agenda.docx      .\VOL005\IMAGES\IMAGES005\00069423.pdf
00069424   00069424   7/13/2019 12:09 Attach   Traffic Congestion and Greenhouse Gases           .\VOL005\IMAGES\IMAGES005\00069424.pdf
                                               access35_Traffic_Congestion_and_Grenhouse_Gases.p
00069425   00069432   7/13/2019 12:09 Attach   df                                                .\VOL005\IMAGES\IMAGES005\00069425.pdf
00069433   00069435   7/13/2019 12:09 Attach   RE: Traffic Congestion and Greenhouse Gases       .\VOL005\IMAGES\IMAGES005\00069433.pdf

00069436   00069441    7/15/2019 8:27 Email    RE: I‐495/I‐270 MLS Section 106 DOE forms, Batch 9       .\VOL005\IMAGES\IMAGES005\00069436.pdf

00069442   00069447    7/15/2019 8:27 Email    RE: I‐495/I‐270 MLS Section 106 DOE forms, Batch 9       .\VOL005\IMAGES\IMAGES005\00069442.pdf

00069448   00069448    7/15/2019 9:54 Attach   2019‐07‐16_FHWA Coordination Mtg Agenda_v3.docx          .\VOL005\IMAGES\IMAGES005\00069448.pdf
00069449   00069638   7/15/2019 10:00 Attach   Report 203.PDF                                           .\VOL005\IMAGES\IMAGES005\00069449.pdf
00069639   00069641   7/15/2019 10:11 Edoc     Burning Tree Golf Club_Meeting Record.docx               .\VOL005\IMAGES\IMAGES005\00069639.pdf
00069642   00069642   7/15/2019 11:33 Email    RE: NEPA MDOT I‐495 & I‐270 Extensions                   .\VOL005\IMAGES\IMAGES005\00069642.pdf
00069643   00069643   7/15/2019 12:14 Email    RE: NEPA MDOT I‐495 & I‐270 Extensions                   .\VOL005\IMAGES\IMAGES005\00069643.pdf
00069644   00069646    7/16/2019 8:48 Email    RE: July 16th FHWA Coordination Mtg Agenda               .\VOL005\IMAGES\IMAGES005\00069644.pdf
00069647   00069649    7/16/2019 9:55 Email    RE: July 16th FHWA Coordination Mtg Agenda               .\VOL005\IMAGES\IMAGES005\00069647.pdf

00069650   00069651    7/16/2019 9:55 Attach   2019‐07‐16_FHWA Coordination Mtg Agenda_v3.docx .\VOL005\IMAGES\IMAGES005\00069650.pdf
                                               RPA‐DEIS schedule_Revised per MD 200 Diversion
00069652   00069652    7/16/2019 9:55 Attach   Alternative_7‐15‐2019.pdf                        .\VOL005\IMAGES\IMAGES005\00069652.pdf
                                               Potential Rev Schedule Based on MD 200 Diversion
00069653   00069653    7/16/2019 9:55 Attach   Alt_07‐15‐2019.pdf                               .\VOL005\IMAGES\IMAGES005\00069653.pdf
                                               Montgomery County Regional Transportation
00069654   00069654    7/16/2019 9:55 Attach   Plan_July 2019 Version 6.pdf                     .\VOL005\IMAGES\IMAGES005\00069654.pdf
00069655   00069655   7/16/2019 10:44 Email    Additional Handout                               .\VOL005\IMAGES\IMAGES005\00069655.pdf
                                               FHWA Major Projects Requirements Milestones
00069656   00069656   7/16/2019 10:44 Attach   15Jul19.xlsx                                     .\VOL005\IMAGES\IMAGES005\00069656.pdf           .\VOL005\NATIVES\NATIVES005\00069656.xlsx
00069657   00069657   7/16/2019 11:14 Edoc     MD MLS Tech Report review schedule.docx          .\VOL005\IMAGES\IMAGES005\00069657.pdf
00069658   00069658   7/16/2019 15:11 Email    FW: NEPA MDOT I‐495 & I‐270 Extensions           .\VOL005\IMAGES\IMAGES005\00069658.pdf
00069659   00069660   7/17/2019 12:52 Attach   I‐270 HOV lane conversion & VPPP                 .\VOL005\IMAGES\IMAGES005\00069659.pdf
00069661   00069661   7/17/2019 14:12 Email    I‐495 & I‐270 Widening Impact Areas              .\VOL005\IMAGES\IMAGES005\00069661.pdf
                                               2019.07.17_StakeholderMeetingSummary_BIAMoCo.d
00069662   00069663   7/17/2019 14:23 Edoc     ocx                                              .\VOL005\IMAGES\IMAGES005\00069662.pdf
00069664   00069710   7/17/2019 15:49 Attach   I495I270HazMatTechRpt_07‐01‐19 (1).docx          .\VOL005\IMAGES\IMAGES005\00069664.pdf
00069711   00069823   7/17/2019 15:57 Attach   I‐495 I‐270 CEA Tech Report_Draft_07‐01‐19.docx  .\VOL005\IMAGES\IMAGES005\00069711.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                         Page 45 of 263

00069824   00069825   7/17/2019 17:20 Edoc     Bethesda Country Club_Meeting Record.docx             .\VOL005\IMAGES\IMAGES005\00069824.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 Managed Lanes
00069826   00069827    7/18/2019 8:49 Email    Study ‐ Hazmat Technical Report                       .\VOL005\IMAGES\IMAGES005\00069826.pdf
                                               RE: I‐495 & I‐270 MLS M‐NCPPC Non‐Concurrence to
00069828   00069830   7/18/2019 10:55 Email    ARDS                                                  .\VOL005\IMAGES\IMAGES005\00069828.pdf

00069831   00069831   7/18/2019 12:21 Attach   ICC Managed Lanes Alternative ‐ NCPC Comments.pdf .\VOL005\IMAGES\IMAGES005\00069831.pdf

00069832   00069834   7/18/2019 12:21 Email    FW: MD 200 Diversion Alternative Conference Call      .\VOL005\IMAGES\IMAGES005\00069832.pdf

00069835   00069835   7/18/2019 12:21 Attach   ICC Managed Lanes Alternative ‐ NCPC Comments.pdf .\VOL005\IMAGES\IMAGES005\00069835.pdf

00069836   00069837   7/18/2019 12:49 Attach   USACE_Cooperating Agency Documentation_1.pdf          .\VOL005\IMAGES\IMAGES005\00069836.pdf
00069838   00069840   7/18/2019 12:49 Attach   NPS_Cooperating Agency Documentation.pdf              .\VOL005\IMAGES\IMAGES005\00069838.pdf
00069841   00069845   7/18/2019 12:49 Attach   EPA_Cooperating Agency Documentation.pdf              .\VOL005\IMAGES\IMAGES005\00069841.pdf
00069846   00069851   7/18/2019 12:49 Attach   NCPC_Cooperating Agency Documentation.pdf             .\VOL005\IMAGES\IMAGES005\00069846.pdf

00069852   00069854   7/18/2019 13:39 Email    FW: MD 200 Diversion Alternative Conference Call      .\VOL005\IMAGES\IMAGES005\00069852.pdf

00069855   00069855   7/18/2019 13:39 Attach   ICC Managed Lanes Alternative ‐ NCPC Comments.pdf .\VOL005\IMAGES\IMAGES005\00069855.pdf
00069856   00069856   7/18/2019 14:04 Email    RE: I‐495 & I‐270 Widening Impact Areas           .\VOL005\IMAGES\IMAGES005\00069856.pdf

00069857   00069857   7/18/2019 14:04 Email    Undeliverable: I‐495 & I‐270 Widening Impact Areas    .\VOL005\IMAGES\IMAGES005\00069857.pdf
00069858   00069858   7/20/2019 14:50 Email    RE: 495‐270‐P3 comments                               .\VOL005\IMAGES\IMAGES005\00069858.pdf
00069859   00069861   7/20/2019 14:50 Attach   2019‐07‐19_Sawin_Response‐signed.pdf                  .\VOL005\IMAGES\IMAGES006\00069859.pdf
00069862   00069862   7/21/2019 16:10 Email    Direct Access Location Follow Up Mtg                  .\VOL005\IMAGES\IMAGES006\00069862.pdf
00069863   00069890   7/21/2019 18:03 Attach   Transit Work Group #1_20190627‐2.0_ .pptx             .\VOL005\IMAGES\IMAGES006\00069863.pdf
00069891   00069892    7/22/2019 8:00 Email    RE: Direct Access Location Follow Up Mtg              .\VOL005\IMAGES\IMAGES006\00069891.pdf
00069893   00069894    7/22/2019 8:03 Email    RE: Direct Access Location Follow Up Mtg              .\VOL005\IMAGES\IMAGES006\00069893.pdf
00069895   00069896   7/22/2019 10:56 Email    RE: Direct Access Location Follow Up Mtg              .\VOL005\IMAGES\IMAGES006\00069895.pdf
00069897   00069897   7/22/2019 11:38 Email    I‐495 & I‐270 Managed Lanes Transit Work Group        .\VOL005\IMAGES\IMAGES006\00069897.pdf

                                               FW: 495 and 270 MLS: M‐NCPPC ARDS Non‐
00069898   00069898   7/22/2019 15:03 Email    Concurrence, M‐NCPPC Response to SHA Response         .\VOL005\IMAGES\IMAGES006\00069898.pdf

00069899   00069900   7/22/2019 15:30 Email    DRAFT AND PRE‐DECISIONAL ‐ Traffic Technical Report .\VOL005\IMAGES\IMAGES006\00069899.pdf

00069901   00069901   7/22/2019 15:30 Email    DRAFT AND PRE‐DECISIONAL ‐ Traffic Technical Report .\VOL005\IMAGES\IMAGES006\00069901.pdf

00069902   00069914    7/23/2019 9:17 Attach   ARDS Nonconcurrence Response to SHA 7.22.19.pdf       .\VOL005\IMAGES\IMAGES006\00069902.pdf

                                               RE: 495 and 270 MLS: M‐NCPPC ARDS Non‐
00069915   00069916    7/23/2019 9:31 Email    Concurrence, M‐NCPPC Response to SHA Response   .\VOL005\IMAGES\IMAGES006\00069915.pdf
                                               FW: REVIEW REQUESTED: I‐495/270 MLS ‐ Natural
00069917   00069918   7/23/2019 11:03 Email    Resources Technical Report                      .\VOL005\IMAGES\IMAGES006\00069917.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Community
00069919   00069920   7/23/2019 11:39 Email    Effects Assessment Technical Report             .\VOL005\IMAGES\IMAGES006\00069919.pdf
                                               I‐495 I‐270 CEA Tech Report_Draft_07‐01‐
00069921   00070033   7/23/2019 11:39 Attach   19_BW_HEPE Comments.docx                        .\VOL005\IMAGES\IMAGES006\00069921.pdf
                                               2019.07.22_StakeholderMeeting_MCCCRahnSlaterUpd
00070034   00070036   7/23/2019 12:30 Edoc     ate.docx                                        .\VOL005\IMAGES\IMAGES006\00070034.pdf

00070037   00070057   7/23/2019 12:57 Edoc     Meeting Outreach‐Record_LocustHill_061019.docx        .\VOL005\IMAGES\IMAGES006\00070037.pdf
00070058   00070058   7/23/2019 14:57 Email    FW: tech reports                                      .\VOL005\IMAGES\IMAGES006\00070058.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Natural
00070059   00070060   7/23/2019 15:18 Email    Resources Technical Report                            .\VOL005\IMAGES\IMAGES006\00070059.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Natural
00070061   00070062   7/23/2019 15:28 Email    Resources Technical Report                            .\VOL005\IMAGES\IMAGES006\00070061.pdf
                                               FW: DRAFT AND PRE‐DECISIONAL ‐ Traffic Technical
00070063   00070065   7/23/2019 18:42 Email    Report                                                .\VOL005\IMAGES\IMAGES006\00070063.pdf
00070066   00070067   7/24/2019 12:35 Email    Additional Direct Access Locations                    .\VOL005\IMAGES\IMAGES006\00070066.pdf
00070068   00070071   7/24/2019 12:35 Attach   Additional Direct Access Locations.docx               .\VOL005\IMAGES\IMAGES006\00070068.pdf
00070072   00070073   7/24/2019 13:14 Email    RE: Additional Direct Access Locations                .\VOL005\IMAGES\IMAGES006\00070072.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 Managed Lanes
00070074   00070075   7/24/2019 15:56 Email    Study ‐ Hazmat Technical Report                       .\VOL005\IMAGES\IMAGES006\00070074.pdf
00070076   00070078   7/25/2019 11:10 Email    I‐495 & I‐270 Managed Lanes Study: Update             .\VOL005\IMAGES\IMAGES006\00070076.pdf
00070079   00070079   7/25/2019 11:10 Attach   ICC Diversion Alternative_Map_July 25 2019.pdf        .\VOL005\IMAGES\IMAGES006\00070079.pdf
00070080   00070080   7/25/2019 11:11 Attach   I‐495 & I‐270 Managed Lanes Study: Update             .\VOL005\IMAGES\IMAGES006\00070080.pdf
00070081   00070083   7/25/2019 12:59 Email    FW: I‐495 & I‐270 Managed Lanes Study: Update         .\VOL005\IMAGES\IMAGES006\00070081.pdf
00070084   00070084   7/25/2019 19:01 Email    Traffic Technical Report.pdf                          .\VOL005\IMAGES\IMAGES006\00070084.pdf
00070085   00070088    7/26/2019 8:30 Email    FW: I‐495 & I‐270 Managed Lanes Study: Update         .\VOL005\IMAGES\IMAGES006\00070085.pdf
00070089   00070092    7/26/2019 8:40 Email    Re: I‐495 & I‐270 Managed Lanes Study: Update         .\VOL005\IMAGES\IMAGES006\00070089.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Natural Resources
00070093   00070094   7/26/2019 15:08 Email    Technical Report                                      .\VOL005\IMAGES\IMAGES006\00070093.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Hazardous
00070095   00070096   7/26/2019 15:10 Email    Materials, ICE, and CEA Technical Reports             .\VOL005\IMAGES\IMAGES006\00070095.pdf
                                               Re: Sierra Club: Thank you and following up on our
00070097   00070100   7/26/2019 16:22 Email    meeting                                               .\VOL005\IMAGES\IMAGES006\00070097.pdf
                                               Re: Sierra Club: Thank you and following up on our
00070101   00070104   7/26/2019 16:30 Email    meeting                                               .\VOL005\IMAGES\IMAGES006\00070101.pdf
00070105   00070108    7/29/2019 7:18 Email    FW: I‐495 & I‐270 Managed Lanes Study: Update         .\VOL005\IMAGES\IMAGES006\00070105.pdf
                                               FW_ I‐495 & I‐270 Managed Lanes Study_
00070109   00070112    7/29/2019 8:18 Email    Update(1).pdf                                         .\VOL005\IMAGES\IMAGES006\00070109.pdf

00070113   00070113   7/29/2019 14:00 Attach   20190729‐Transit Work Group #1 Agenda‐FINAL.docx .\VOL005\IMAGES\IMAGES006\00070113.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Transit Work Group ‐‐
00070114   00070117   7/29/2019 14:01 Email    Meeting #1                                            .\VOL005\IMAGES\IMAGES006\00070114.pdf

00070118   00070143   7/29/2019 14:01 Attach   I‐495 & I‐270 Managed Lanes Meeting #1 ‐ 7‐29‐19.pdf .\VOL005\IMAGES\IMAGES006\00070118.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Transit Work Group ‐‐
00070144   00070147   7/29/2019 14:01 Email    Meeting #1                                            .\VOL005\IMAGES\IMAGES006\00070144.pdf

00070148   00070173   7/29/2019 14:01 Attach   I‐495 & I‐270 Managed Lanes Meeting #1 ‐ 7‐29‐19.pdf .\VOL005\IMAGES\IMAGES006\00070148.pdf
00070174   00070174    7/30/2019 8:15 Email    I‐495 & I‐270 Managed Lanes Study                    .\VOL005\IMAGES\IMAGES006\00070174.pdf
00070175   00070176    7/30/2019 8:20 Email    FW: I‐495 & I‐270 Managed Lanes Study                .\VOL005\IMAGES\IMAGES006\00070175.pdf
                                               DRAFT AND PRE‐DECISIONAL ‐ Alternatives Technical
00070177   00070178   7/30/2019 15:51 Email    Report                                               .\VOL005\IMAGES\IMAGES006\00070177.pdf
                                               M; 36‐87_Rock Creek Stream Valley Park, Units 2 and
00070179   00070211   7/30/2019 16:02 Edoc     3.pdf                                                .\VOL005\IMAGES\IMAGES006\00070179.pdf

00070212   00070212   7/30/2019 18:28 Email    I‐495/I‐270 FHWA Comments on Technical Reports        .\VOL005\IMAGES\IMAGES006\00070212.pdf

00070213   00070217    7/31/2019 8:12 Email    RE: Federal Tolling Authorization Sec. 166 and VPPP   .\VOL005\IMAGES\IMAGES006\00070213.pdf
                                               GWMP Phase I Management Summary
00070218   00070267   7/31/2019 11:04 Attach   Rev_reTrack.docx                                      .\VOL005\IMAGES\IMAGES006\00070218.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                          Page 46 of 263

00070268   00070269   7/31/2019 14:03 Edoc     Meeting Outreach‐Record_Cabin Branch_073119.docx .\VOL005\IMAGES\IMAGES006\00070268.pdf
                                               RE_ I‐495_I‐270 MLS Section 106_ Slides from
00070270   00070272   7/31/2019 15:52 Email    6_...(3).pdf                                      .\VOL005\IMAGES\IMAGES006\00070270.pdf
00070273   00070274   7/31/2019 15:53 Attach   Secretary Pete K Rahn letter to TPB 7.31.2019.pdf .\VOL005\IMAGES\IMAGES006\00070273.pdf

00070275   00070277   7/31/2019 16:09 Email    RE_ I‐495_I‐270 MLS Section 106_ Slides from 6_....pdf .\VOL005\IMAGES\IMAGES006\00070275.pdf

00070278   00070278    8/1/2019 13:00 Email    I‐495 & I‐270 MLS: Direct Access Follow Up Meeting    .\VOL005\IMAGES\IMAGES006\00070278.pdf

00070279   00070279    8/1/2019 15:41 Email    RE: Federal Tolling Authorization Sec. 166 and VPPP   .\VOL005\IMAGES\IMAGES006\00070279.pdf
00070280   00070280    8/1/2019 15:41 Attach   20190802 ‐ Mtg Agenda.pdf                             .\VOL005\IMAGES\IMAGES006\00070280.pdf
00070281   00070282    8/1/2019 15:41 Attach   GenericHOVDiagram.pdf                                 .\VOL005\IMAGES\IMAGES006\00070281.pdf
00070283   00070283    8/1/2019 16:14 Email    Draft Alternatives Technical Report                   .\VOL005\IMAGES\IMAGES006\00070283.pdf
                                               FW: DRAFT AND PRE‐DECISIONAL ‐ Alternatives
00070284   00070286    8/1/2019 16:19 Email    Technical Report                                      .\VOL005\IMAGES\IMAGES006\00070284.pdf
00070287   00070287    8/1/2019 17:14 Email    Draft Alternatives Technical Report .pdf              .\VOL005\IMAGES\IMAGES006\00070287.pdf

00070288   00070288    8/2/2019 11:07 Attach   2019‐08‐06_FHWA Coordination Mtg Agenda.docx          .\VOL005\IMAGES\IMAGES006\00070288.pdf
00070289   00070289    8/2/2019 11:07 Attach   MLS Adjusted NEPA Schedule_7‐31‐19.pdf                .\VOL005\IMAGES\IMAGES006\00070289.pdf
00070290   00070290    8/2/2019 11:07 Email    FHWA Coordination Meeting‐ August 6th                 .\VOL005\IMAGES\IMAGES006\00070290.pdf

00070291   00070291    8/2/2019 11:07 Attach   2019‐08‐06_FHWA Coordination Mtg Agenda.docx          .\VOL005\IMAGES\IMAGES006\00070291.pdf
00070292   00070292    8/2/2019 11:07 Attach   MLS Adjusted NEPA Schedule_7‐31‐19.pdf                .\VOL005\IMAGES\IMAGES006\00070292.pdf
                                               495 270 MLS_Tech Report‐EIS Review
00070293   00070293    8/2/2019 11:07 Attach   Schedule_Rev_07‐31‐19.docx                            .\VOL005\IMAGES\IMAGES006\00070293.pdf

00070294   00070298     8/5/2019 8:23 Email    FW: I‐495/I‐270 MLS Section 106 DOE forms, Batch 9    .\VOL005\IMAGES\IMAGES006\00070294.pdf
00070299   00070299    8/5/2019 10:01 Edoc     I‐270_Study_P3_Program_map_2019_7_31.pdf              .\VOL005\IMAGES\IMAGES006\00070299.pdf
00070300   00070302    8/5/2019 10:03 Email    FW: CCA                                               .\VOL005\IMAGES\IMAGES006\00070300.pdf
00070303   00070303    8/5/2019 10:35 Edoc     19MTR103_CAMSmap_R7A.pdf                              .\VOL005\IMAGES\IMAGES006\00070303.pdf
00070304   00070304    8/5/2019 10:36 Edoc     19MTR112_2018‐CAMSmap_R2A.pdf                         .\VOL005\IMAGES\IMAGES006\00070304.pdf
00070305   00070305    8/6/2019 10:56 Email    Direct access                                         .\VOL005\IMAGES\IMAGES006\00070305.pdf
                                               Proposed Managed Lanes Access Locations‐
00070306   00070306    8/6/2019 10:56 Attach   TRANSIT_08‐02‐2019.pdf                                .\VOL005\IMAGES\IMAGES006\00070306.pdf
00070307   00070307    8/6/2019 11:47 Email    FW: Info for meeting with NCPC                        .\VOL005\IMAGES\IMAGES006\00070307.pdf
                                               REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic Analysis
00070308   00070308    8/6/2019 12:02 Email    Tech Report                                           .\VOL005\IMAGES\IMAGES006\00070308.pdf
                                               MLS_Traffic Tech Report_Draft_to_FHWA_2019‐07‐
00070309   00070446    8/6/2019 12:02 Attach   22.docx                                               .\VOL005\IMAGES\IMAGES006\00070309.pdf

00070447   00070449    8/6/2019 12:50 Email    FW: Federal Tolling Authorization Sec. 166 and VPPP   .\VOL005\IMAGES\IMAGES006\00070447.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00070450   00070450    8/6/2019 13:43 Email    Analysis Tech Report                                  .\VOL005\IMAGES\IMAGES006\00070450.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00070451   00070452    8/6/2019 13:54 Email    Analysis Tech Report                                  .\VOL005\IMAGES\IMAGES006\00070451.pdf
00070453   00070454     8/7/2019 7:10 Edoc     Grosvenor Place_Meeting Record.docx                   .\VOL005\IMAGES\IMAGES006\00070453.pdf

00070455   00070457    8/7/2019 14:53 Email    RE: Federal Tolling Authorization Sec. 166 and VPPP .\VOL005\IMAGES\IMAGES006\00070455.pdf
00070458   00070458    8/7/2019 15:51 Edoc     Path forward.docx                                   .\VOL005\IMAGES\IMAGES006\00070458.pdf
00070459   00070461     8/8/2019 8:01 Attach   Draft Notes for August 7 Meeting w NCPC.docx        .\VOL005\IMAGES\IMAGES006\00070459.pdf
                                               Draft Notes for August 7 Meeting w NCPC_KP
00070462   00070464     8/8/2019 9:31 Edoc     comments.docx                                       .\VOL005\IMAGES\IMAGES006\00070462.pdf
                                               I‐495_I‐
                                               270_Workshop_Handout_Two_Sided_2019_8_8_PQ_
00070465   00070466    8/8/2019 15:06 Edoc     Bleeds.pdf                                          .\VOL005\IMAGES\IMAGES006\00070465.pdf
                                               I‐495_I‐
                                               270_Workshop_Handout_Two_Sided_2019_8_8_PQ.p
00070467   00070468    8/8/2019 15:08 Edoc     df                                                  .\VOL005\IMAGES\IMAGES006\00070467.pdf
                                               Re: [EXTERNAL] RE: DRAFT AND PRE‐DECISIONAL ‐
00070469   00070470     8/9/2019 8:30 Email    Natural Resources Technical Report                  .\VOL005\IMAGES\IMAGES006\00070469.pdf

00070471   00070471     8/9/2019 8:30 Attach   Nat Res Tech Report NPS Comments_08092019.xlsx        .\VOL005\IMAGES\IMAGES006\00070471.pdf    .\VOL005\NATIVES\NATIVES006\00070471.xlsx
00070472   00070472    8/9/2019 15:44 Email    RE: Please review and add notes/edit                  .\VOL005\IMAGES\IMAGES006\00070472.pdf
00070473   00070491    8/9/2019 17:07 Attach   AppC_Attachment_061419_PH_Online.pdf                  .\VOL005\IMAGES\IMAGES006\00070473.pdf
00070492   00070494    8/9/2019 17:07 Attach   AppC_Attachment_061419_RP_Online.pdf                  .\VOL005\IMAGES\IMAGES006\00070492.pdf
00070495   00070497    8/9/2019 17:07 Attach   AppC_Attachment_061419_WPCA_Email.pdf                 .\VOL005\IMAGES\IMAGES006\00070495.pdf
00070498   00070498    8/12/2019 9:08 Email    Section 4f                                            .\VOL005\IMAGES\IMAGES006\00070498.pdf
00070499   00070514   8/12/2019 12:13 Attach   T‐305_Tred Avon Ferry.pdf                             .\VOL005\IMAGES\IMAGES006\00070499.pdf
00070515   00070591   8/12/2019 12:13 Attach   NR‐1420_Oxford HD.pdf                                 .\VOL005\IMAGES\IMAGES006\00070515.pdf
                                               I‐495 I‐270 CEA Discussion Points in followup to
00070592   00070594   8/12/2019 16:22 Attach   FHWAEPA comments_080819.docx                          .\VOL005\IMAGES\IMAGES006\00070592.pdf

00070595   00070595   8/12/2019 17:29 Attach   MD MLS Tech Report review schedule_Aug 2019.docx .\VOL005\IMAGES\IMAGES006\00070595.pdf
00070596   00070596   8/12/2019 17:29 Attach   MD MLS review schedule Aug 2019.docx              .\VOL005\IMAGES\IMAGES006\00070596.pdf
                                               FW: REVIEW REQUESTED: I‐495/270 MLS ‐ Community
00070597   00070597   8/13/2019 11:14 Email    Effects Assessment Technical Report               .\VOL005\IMAGES\IMAGES006\00070597.pdf
                                               FW: REVIEW REQUESTED: I‐495/270 MLS ‐ Community
00070598   00070599   8/13/2019 11:21 Email    Effects Assessment Technical Report               .\VOL005\IMAGES\IMAGES006\00070598.pdf
00070600   00070605   8/13/2019 14:10 Edoc     naca_metadata.xml                                 .\VOL005\IMAGES\IMAGES006\00070600.pdf
                                               I‐495 and I‐270 Managed Lanes Study: Section 106
00070606   00070608   8/13/2019 14:46 Email    Consulting Party Update ‐ August 2019             .\VOL005\IMAGES\IMAGES006\00070606.pdf
                                               Meeting Outreach‐Record_City of
00070609   00070616   8/13/2019 14:59 Edoc     Glenarden_052319.docx                             .\VOL005\IMAGES\IMAGES006\00070609.pdf
00070617   00070619   8/13/2019 15:01 Email    RE: phone call                                    .\VOL005\IMAGES\IMAGES006\00070617.pdf
00070620   00070622   8/13/2019 15:05 Email    RE: phone call                                    .\VOL005\IMAGES\IMAGES006\00070620.pdf
                                               I‐495 and I‐270 Managed Lanes Study_ Section
00070623   00070625   8/13/2019 15:46 Email    10...(4).pdf                                      .\VOL005\IMAGES\IMAGES006\00070623.pdf
                                               7984 I270‐495 Managed Lanes Study EIS ‐ NCPC ARDS
00070626   00070628   8/13/2019 16:51 Attach   Comment Letter FINAL081219.pdf                    .\VOL005\IMAGES\IMAGES006\00070626.pdf
00070629   00070629   8/14/2019 10:32 Email    GWMP‐ Preliminary Signing Plan                    .\VOL005\IMAGES\IMAGES006\00070629.pdf
                                               GWP Prelim Signing Exhibit_Options 1‐2_MDOT
00070630   00070632   8/14/2019 10:32 Attach   SHA.pdf                                           .\VOL005\IMAGES\IMAGES006\00070630.pdf
00070633   00070633   8/14/2019 16:01 Email    495/270 MLS ARDS Paper                            .\VOL005\IMAGES\IMAGES006\00070633.pdf
00070634   00070635   8/14/2019 17:02 Attach   I‐495 270_Typical Sections.pdf                    .\VOL005\IMAGES\IMAGES006\00070634.pdf
00070636   00070637    8/15/2019 8:48 Email    RE: I‐495/I‐270 MLS Typical Sections              .\VOL005\IMAGES\IMAGES006\00070636.pdf
00070638   00070640   8/15/2019 11:07 Email    FW: CEA/EJ Report‐ Follow Up                      .\VOL005\IMAGES\IMAGES006\00070638.pdf
00070641   00070645   8/15/2019 11:09 Email    FW: CEA/EJ Report‐ Follow Up                      .\VOL005\IMAGES\IMAGES006\00070641.pdf
00070646   00070650   8/15/2019 11:10 Email    FW: CEA/EJ Report‐ Follow Up                      .\VOL005\IMAGES\IMAGES006\00070646.pdf
00070651   00070655   8/15/2019 11:10 Email    FW: CEA/EJ Report‐ Follow Up                      .\VOL005\IMAGES\IMAGES006\00070651.pdf
                                               I‐495 I‐270 CEA Tech Report_Draft_07‐01‐
00070656   00070656   8/15/2019 11:27 Email    19_BW_HEPE Comments.docx                          .\VOL005\IMAGES\IMAGES006\00070656.pdf
                                               I‐495 I‐270 CEA Tech Report_Draft_07‐01‐
00070657   00070769   8/15/2019 11:27 Attach   19_BW_HEPE Comments.docx                          .\VOL005\IMAGES\IMAGES006\00070657.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 47 of 263

                                               RE: I‐495 I‐270 CEA Tech Report_Draft_07‐01‐
00070770   00070770   8/15/2019 11:30 Email    19_BW_HEPE Comments.docx                             .\VOL005\IMAGES\IMAGES006\00070770.pdf
00070771   00070771   8/15/2019 16:00 Email    I‐495/I‐270 MLS Project Overview                     .\VOL005\IMAGES\IMAGES006\00070771.pdf
00070772   00070772    8/16/2019 9:33 Email    495/270 Traffic Data                                 .\VOL005\IMAGES\IMAGES006\00070772.pdf
00070773   00070774   8/16/2019 10:29 Email    RE: 495/270 Traffic Data                             .\VOL005\IMAGES\IMAGES006\00070773.pdf
00070775   00070776   8/16/2019 12:50 Email    RE: 495/270 Traffic Data                             .\VOL005\IMAGES\IMAGES006\00070775.pdf
00070777   00070779   8/16/2019 13:31 Email    RE: 495/270 Traffic Data                             .\VOL005\IMAGES\IMAGES006\00070777.pdf
00070780   00070780   8/16/2019 13:57 Email    Draft Prior Concurrence Memo                         .\VOL005\IMAGES\IMAGES006\00070780.pdf
00070781   00070782   8/16/2019 14:53 Attach   HPMS 2017 Query 295_270_495.pdf                      .\VOL005\IMAGES\IMAGES006\00070781.pdf
00070783   00070785   8/16/2019 14:53 Email    RE: 495/270 Traffic Data                             .\VOL005\IMAGES\IMAGES006\00070783.pdf
00070786   00070788   8/16/2019 15:53 Email    RE: 495/270 Traffic Data                             .\VOL005\IMAGES\IMAGES006\00070786.pdf
                                               FW: DRAFT AND PRE‐DECISIONAL ‐ Air Quality
00070789   00070791    8/19/2019 9:58 Email    Technical Report                                     .\VOL005\IMAGES\IMAGES006\00070789.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Air Quality Technical
00070792   00070795   8/19/2019 10:30 Email    Report                                               .\VOL005\IMAGES\IMAGES006\00070792.pdf
00070796   00070797   8/19/2019 11:22 Email    FW: Section 4f                                       .\VOL005\IMAGES\IMAGES006\00070796.pdf
00070798   00070800   8/19/2019 11:24 Email    RE: Section 4f                                       .\VOL005\IMAGES\IMAGES006\00070798.pdf
00070801   00070802   8/19/2019 12:22 Email    FW_ Section 4f(1).pdf                                .\VOL005\IMAGES\IMAGES006\00070801.pdf
00070803   00070803   8/19/2019 12:22 Attach   Revised Section 4f Outline_08122019.docx             .\VOL005\IMAGES\IMAGES006\00070803.pdf
                                               REVIEW REQUESTED: I‐495/270 MLS ‐ Air Quality Tech
00070804   00070804   8/19/2019 13:08 Email    Report                                               .\VOL005\IMAGES\IMAGES006\00070804.pdf

00070805   00070937   8/19/2019 13:08 Attach   Air Impacts Technical Report_Draft_08‐11‐19.docx         .\VOL005\IMAGES\IMAGES006\00070805.pdf
                                               REVIEW REQUESTED_ I‐495_270 MLS ‐ Air Quality
00070938   00070938   8/19/2019 14:08 Email    T....pdf                                                 .\VOL005\IMAGES\IMAGES006\00070938.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Air Quality
00070939   00070940   8/19/2019 14:11 Email    Tech Report                                              .\VOL005\IMAGES\IMAGES006\00070939.pdf
00070941   00070941   8/19/2019 14:57 Email    reasonable alternatives                                  .\VOL005\IMAGES\IMAGES006\00070941.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Air
00070942   00070943   8/19/2019 15:11 Email    Quali...(1).pdf                                          .\VOL005\IMAGES\IMAGES006\00070942.pdf

00070944   00070946   8/19/2019 16:32 Attach   Mericle‐2019.08.19‐Letter response‐Signed LC.pdf         .\VOL005\IMAGES\IMAGES006\00070944.pdf
00070947   00070949    8/20/2019 8:15 Email    RE: Section 4f                                           .\VOL005\IMAGES\IMAGES006\00070947.pdf

00070950   00070950    8/20/2019 9:03 Email    RE: Question for Greg Slater: Response Requested    .\VOL005\IMAGES\IMAGES006\00070950.pdf
00070951   00070953    8/20/2019 9:05 Email    RE: Section 4f                                      .\VOL005\IMAGES\IMAGES006\00070951.pdf
00070954   00070955   8/20/2019 11:38 Edoc     ATU_Meeting Record.docx                             .\VOL005\IMAGES\IMAGES006\00070954.pdf
00070956   00070958   8/20/2019 11:45 Edoc     PR2 Woodmore_Meeting Record.docx                    .\VOL005\IMAGES\IMAGES006\00070956.pdf
00070959   00070961   8/20/2019 11:49 Edoc     DC Radio Assets_Meeting Record.docx                 .\VOL005\IMAGES\IMAGES006\00070959.pdf
00070962   00070962   8/20/2019 12:01 Email    RE: 495/270 CEA Tech Report Comments                .\VOL005\IMAGES\IMAGES006\00070962.pdf
00070963   00070965   8/20/2019 12:21 Edoc     Calvary Lutheran Church_Meeting Record.docx         .\VOL005\IMAGES\IMAGES006\00070963.pdf
                                               Revenue Authority of Prince George's County_Meeting
00070966   00070967   8/20/2019 12:24 Edoc     Record.docx                                         .\VOL005\IMAGES\IMAGES006\00070966.pdf
                                               FW: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00070968   00070971    8/21/2019 9:37 Email    Analysis Tech Report                                .\VOL005\IMAGES\IMAGES006\00070968.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00070972   00070975    8/21/2019 9:46 Email    Analysis Tech Report                                .\VOL005\IMAGES\IMAGES006\00070972.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00070976   00070977   8/21/2019 10:02 Email    Analysis Tech Report                                .\VOL005\IMAGES\IMAGES006\00070976.pdf

00070978   00070978   8/21/2019 14:14 Email    I‐495 and I‐270 MLS Traffic Technical Report ‐ ....pdf   .\VOL005\IMAGES\IMAGES006\00070978.pdf
                                               FW: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00070979   00070980   8/21/2019 16:55 Email    Analysis Tech Report                                     .\VOL005\IMAGES\IMAGES006\00070979.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00070981   00070982    8/22/2019 8:03 Email    Analysis Tech Report                                     .\VOL005\IMAGES\IMAGES006\00070981.pdf
00070983   00070983   8/22/2019 10:25 Email    NPS meetings ‐ direct access ramp options                .\VOL005\IMAGES\IMAGES006\00070983.pdf
00070984   00070984   8/22/2019 12:30 Email    FW: Comments on Traffic Technical Report                 .\VOL005\IMAGES\IMAGES006\00070984.pdf
00070985   00070985   8/22/2019 13:16 Email    RE: Comments on Traffic Technical Report                 .\VOL005\IMAGES\IMAGES006\00070985.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00070986   00070989   8/22/2019 17:47 Email    Analysis Tech Report                                     .\VOL005\IMAGES\IMAGES006\00070986.pdf
                                               MLS_Traffic Tech Report_Draft_to_FHWA_2019‐07‐
00070990   00071127   8/22/2019 17:47 Attach   22.SY BG 8‐12 comments.docx                              .\VOL006\IMAGES\IMAGES001\00070990.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Traffic Technical
00071128   00071132   8/23/2019 13:29 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00071128.pdf
                                               MLS_Traffic Tech Report_Draft_to_FHWA_2019‐08‐
00071133   00071272   8/23/2019 13:29 Attach   23_FHWA comments.docx                                    .\VOL006\IMAGES\IMAGES001\00071133.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Traffic
00071273   00071276   8/23/2019 13:29 Email    Analysis Tech Report                                     .\VOL006\IMAGES\IMAGES001\00071273.pdf
                                               DRAFT AND PRE‐DECISIONAL ‐ Draft Section 4(f)
00071277   00071278   8/23/2019 16:31 Email    Evaluation                                               .\VOL006\IMAGES\IMAGES001\00071277.pdf

                                               RE: UPDATE — remove barrier // I‐370 & Shady Grove
00071279   00071284   8/24/2019 12:17 Email    interchange AND I‐270 Managed Lanes Study                .\VOL006\IMAGES\IMAGES001\00071279.pdf
00071285   00071285   8/24/2019 12:21 Email    I‐495 & I‐270 Managed Lanes Study                        .\VOL006\IMAGES\IMAGES001\00071285.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Air
00071286   00071287   8/26/2019 11:32 Email    Quali...(3).pdf                                          .\VOL006\IMAGES\IMAGES001\00071286.pdf
                                               FW: DRAFT AND PRE‐DECISIONAL ‐ Draft Section 4(f)
00071288   00071290   8/26/2019 13:58 Email    Evaluation                                               .\VOL006\IMAGES\IMAGES001\00071288.pdf
00071291   00071291   8/26/2019 14:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group           .\VOL006\IMAGES\IMAGES001\00071291.pdf
00071292   00071292   8/26/2019 14:00 Attach   [Unnamed Calendar Entry]                                 .\VOL006\IMAGES\IMAGES001\00071292.pdf
00071293   00071294   8/26/2019 14:00 Attach   [Unnamed Calendar Entry]                                 .\VOL006\IMAGES\IMAGES001\00071293.pdf
00071295   00071296   8/26/2019 14:00 Attach   [Unnamed Calendar Entry]                                 .\VOL006\IMAGES\IMAGES001\00071295.pdf
00071297   00071298   8/26/2019 14:00 Attach   [Unnamed Calendar Entry]                                 .\VOL006\IMAGES\IMAGES001\00071297.pdf

00071299   00071299   8/26/2019 14:00 Attach   20190923‐Transit Work Group Agenda #3_FINAL.pdf          .\VOL006\IMAGES\IMAGES001\00071299.pdf

00071300   00071303   8/26/2019 14:00 Attach   Transit Benefits Meeting Notes_08262019_FINAL.pdf        .\VOL006\IMAGES\IMAGES001\00071300.pdf
00071304   00071305   8/26/2019 14:00 Attach   [Unnamed Calendar Entry]                                 .\VOL006\IMAGES\IMAGES001\00071304.pdf

00071306   00071311   8/26/2019 14:00 Attach   Transit Benefits Meeting Notes_09232019_FINAL.pdf        .\VOL006\IMAGES\IMAGES001\00071306.pdf

00071312   00071312   8/26/2019 14:00 Attach   20191028‐Transit Work Group Agenda #4_FINAL.pdf          .\VOL006\IMAGES\IMAGES001\00071312.pdf
00071313   00071314   8/26/2019 14:00 Attach   I‐495 & I‐270 Managed Lanes Transit Work Group           .\VOL006\IMAGES\IMAGES001\00071313.pdf
00071315   00071316   8/26/2019 14:02 Email    Re: I‐495 & I‐270 Managed Lanes Study                    .\VOL006\IMAGES\IMAGES001\00071315.pdf

00071317   00071317   8/26/2019 14:12 Email    RE: I‐495 & I‐270 Managed Lanes Transit Work Group       .\VOL006\IMAGES\IMAGES001\00071317.pdf
00071318   00071356   8/26/2019 14:12 Attach   Managed Lanes Workgroup#2 8‐26‐19.pdf                    .\VOL006\IMAGES\IMAGES001\00071318.pdf
                                               I‐495 I‐270 CEA Tech Report_Draft_07‐01‐
00071357   00071469   8/26/2019 14:23 Edoc     19_BW_HEPE_CLN Comments.docx                             .\VOL006\IMAGES\IMAGES001\00071357.pdf
00071470   00071471   8/26/2019 14:25 Email    FW: 495/270 Project Technical Report                     .\VOL006\IMAGES\IMAGES001\00071470.pdf
                                               FW: DRAFT AND PRE‐DECISIONAL ‐ Draft Section 4(f)
00071472   00071475   8/27/2019 10:48 Email    Evaluation                                               .\VOL006\IMAGES\IMAGES001\00071472.pdf
00071476   00071476   8/27/2019 12:44 Edoc     Draft ARDS Prior Concurrence Memo_v2.docx                .\VOL006\IMAGES\IMAGES001\00071476.pdf
00071477   00071477   8/27/2019 14:12 Attach   Microsoft_Excel_Worksheet2.xlsx                          .\VOL006\IMAGES\IMAGES001\00071477.pdf   .\VOL006\NATIVES\NATIVES001\00071477.xlsx
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                          Page 48 of 263

00071478   00071478   8/27/2019 14:55 Email    RE: I‐495/270 MLS ‐ ARDS Prior Concurrence Email      .\VOL006\IMAGES\IMAGES001\00071478.pdf

                                               FW: I‐495/270 Managed Lanes Study Prior
00071479   00071479   8/27/2019 16:13 Email    Concurrence ‐ Alternatives Retained for Detailed Study .\VOL006\IMAGES\IMAGES001\00071479.pdf

                                               FW: I‐495/270 Managed Lanes Study Prior
00071480   00071480   8/27/2019 16:31 Email    Concurrence ‐ Alternatives Retained for Detailed Study .\VOL006\IMAGES\IMAGES001\00071480.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study ‐ Conference
00071481   00071482   8/28/2019 14:43 Email    Call                                                   .\VOL006\IMAGES\IMAGES001\00071481.pdf
00071483   00071484     9/3/2019 9:28 Email    Today's FHWA Meeting ‐ Handout                         .\VOL006\IMAGES\IMAGES001\00071483.pdf
                                               Potential Rev Schedule Based on MD 200 Diversion
00071485   00071485     9/3/2019 9:28 Attach   Alt_08‐28‐2019.pdf                                     .\VOL006\IMAGES\IMAGES001\00071485.pdf

00071486   00071487     9/3/2019 9:30 Attach   2019‐09‐03_FHWA Coordination Mtg Agenda.docx          .\VOL006\IMAGES\IMAGES001\00071486.pdf
00071488   00071488     9/4/2019 9:45 Edoc     I‐270_Study_P3_Program_map_2019_7_31.pdf              .\VOL006\IMAGES\IMAGES001\00071488.pdf
                                               FW: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00071489   00071491    9/4/2019 16:41 Email    Report                                                .\VOL006\IMAGES\IMAGES001\00071489.pdf
00071492   00071505    9/4/2019 16:50 Edoc     270_NTR_Mapping.pdf                                   .\VOL006\IMAGES\IMAGES001\00071492.pdf
00071506   00071506    9/4/2019 16:50 Edoc     295_NTR_Mapping.pdf                                   .\VOL006\IMAGES\IMAGES001\00071506.pdf
00071507   00071515    9/4/2019 16:50 Edoc     Appendix A TNM runs.pdf                               .\VOL006\IMAGES\IMAGES001\00071507.pdf
00071516   00071518    9/4/2019 16:50 Edoc     Appendix B MLS Traffic Summary.pdf                    .\VOL006\IMAGES\IMAGES001\00071516.pdf
00071519   00071543    9/4/2019 16:50 Edoc     Appendix C Validation Results.pdf                     .\VOL006\IMAGES\IMAGES001\00071519.pdf
00071544   00071594    9/4/2019 16:50 Edoc     Appendix D Impact Analysis Results.pdf                .\VOL006\IMAGES\IMAGES001\00071544.pdf

00071595   00071664    9/4/2019 16:50 Edoc     Appendix E Traffic Noise Monitoring Field Notes.pdf   .\VOL006\IMAGES\IMAGES001\00071595.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00071665   00071667    9/4/2019 17:02 Email    Report                                                .\VOL006\IMAGES\IMAGES001\00071665.pdf
                                               REVIEW REQUESTED_ I‐495_270 MLS ‐ Noise Tech
00071668   00071668    9/4/2019 18:01 Email    Re....pdf                                             .\VOL006\IMAGES\IMAGES001\00071668.pdf
                                               REVIEW REQUESTED_ I‐495_270 MLS ‐ Noise Tech
00071669   00071669    9/4/2019 18:01 Email    Re....pdf                                             .\VOL006\IMAGES\IMAGES001\00071669.pdf
00071670   00071908    9/4/2019 18:01 Attach   Noise Tech Report_FHWA_090419.docx                    .\VOL006\IMAGES\IMAGES001\00071670.pdf
00071909   00071911     9/5/2019 7:26 Email    FW: FHWA Coordination Meetings                        .\VOL006\IMAGES\IMAGES001\00071909.pdf
00071912   00071914     9/5/2019 8:49 Email    RE: FHWA Coordination Meetings                        .\VOL006\IMAGES\IMAGES001\00071912.pdf
00071915   00071915    9/5/2019 15:00 Email    Welcome Back! Monday 9/9/19                           .\VOL006\IMAGES\IMAGES001\00071915.pdf
00071916   00071917     9/6/2019 9:12 Email    RE: Monday's Meeting                                  .\VOL006\IMAGES\IMAGES001\00071916.pdf
                                               RE: FHWA, MDOT SHA Meeting with Federal
00071918   00071920    9/6/2019 12:24 Email    Cooperating Agencies ‐ I‐495/I‐270 MLS                .\VOL006\IMAGES\IMAGES001\00071918.pdf
00071921   00071922    9/6/2019 16:40 Email    RE_ I495_270 MLS .pdf                                 .\VOL006\IMAGES\IMAGES001\00071921.pdf
00071923   00071923    9/8/2019 19:12 Email    finalizing letter to MDOT SHA                         .\VOL006\IMAGES\IMAGES001\00071923.pdf
00071924   00071924     9/9/2019 8:08 Email    Please finalize the letter                            .\VOL006\IMAGES\IMAGES001\00071924.pdf
                                               RE: Maryland Sierra Club Consulting Party Managed
00071925   00071926     9/9/2019 8:55 Email    Lanes                                                 .\VOL006\IMAGES\IMAGES001\00071925.pdf
                                               RE: Maryland Sierra Club Consulting Party Managed
00071927   00071928     9/9/2019 9:03 Email    Lanes                                                 .\VOL006\IMAGES\IMAGES001\00071927.pdf
00071929   00071931    9/9/2019 12:40 Attach   FHWA letter ARDS 09_09_2019.pdf                       .\VOL006\IMAGES\IMAGES001\00071929.pdf
00071932   00071943    9/9/2019 13:22 Edoc     I495 I270 Displays 2018‐04‐12_Packaged.pdf            .\VOL006\IMAGES\IMAGES001\00071932.pdf
00071944   00071979    9/9/2019 13:30 Edoc     I‐495_I‐270_Displays_2019_4_10FINAL.pdf               .\VOL006\IMAGES\IMAGES001\00071944.pdf
00071980   00071981    9/9/2019 15:10 Edoc     Jabbok Ministries_Meeting Record.docx                 .\VOL006\IMAGES\IMAGES001\00071980.pdf
00071982   00071982    9/9/2019 15:59 Email    RE_ I495_270 MLS (10).pdf                             .\VOL006\IMAGES\IMAGES001\00071982.pdf
00071983   00071984    9/9/2019 16:25 Email    RE_ I495_270 MLS (1).pdf                              .\VOL006\IMAGES\IMAGES001\00071983.pdf
00071985   00071988    9/9/2019 20:22 Email    RE: Back To You With A Few Quick Followups            .\VOL006\IMAGES\IMAGES001\00071985.pdf
00071989   00071991    9/10/2019 9:58 Edoc     Promenade Towers_Meeting Record.docx                  .\VOL006\IMAGES\IMAGES001\00071989.pdf
00071992   00071993   9/10/2019 10:51 Email    RE_ I495_270 MLS (2).pdf                              .\VOL006\IMAGES\IMAGES001\00071992.pdf
00071994   00071994   9/10/2019 11:47 Email    RE: Section 4(f) Call ‐ Thursday                      .\VOL006\IMAGES\IMAGES001\00071994.pdf
00071995   00071996   9/10/2019 12:52 Email    RE: Section 4(f) Call ‐ Thursday                      .\VOL006\IMAGES\IMAGES001\00071995.pdf
00071997   00071997   9/10/2019 13:00 Email    FW_ Section 4(f) Call ‐ Thursday(2).pdf               .\VOL006\IMAGES\IMAGES001\00071997.pdf
00071998   00072000   9/10/2019 13:00 Attach   Draft Notes for August 7 Meeting w NCPC.DOCX          .\VOL006\IMAGES\IMAGES001\00071998.pdf
00072001   00072002   9/10/2019 13:35 Email    RE: FHWA Traffic Tech Report Comments                 .\VOL006\IMAGES\IMAGES001\00072001.pdf
00072003   00072003   9/10/2019 14:17 Email    RE: Section 4(f) Call ‐ Thursday                      .\VOL006\IMAGES\IMAGES001\00072003.pdf
00072004   00072004   9/10/2019 15:37 Email    FW_ Section 4(f) Call ‐ Thursday(1).pdf               .\VOL006\IMAGES\IMAGES001\00072004.pdf
00072005   00072005   9/10/2019 16:43 Attach   AT A GLANCE.doc                                       .\VOL006\IMAGES\IMAGES001\00072005.pdf
                                               USACE concurrence on preferred alternative for VA
00072006   00072006   9/10/2019 17:33 Email    OFD project                                           .\VOL006\IMAGES\IMAGES001\00072006.pdf
                                               I‐495 & I‐270 MLS Traffic Tech Report ‐ FHWA
00072007   00072007   9/11/2019 10:55 Email    Co...(2).pdf                                          .\VOL006\IMAGES\IMAGES001\00072007.pdf
00072008   00072011   9/11/2019 11:30 Attach   Capper Cramton Act.pdf                                .\VOL006\IMAGES\IMAGES001\00072008.pdf
00072012   00072016   9/11/2019 11:30 Attach   495 270 CCA slide.pdf                                 .\VOL006\IMAGES\IMAGES001\00072012.pdf
00072017   00072031   9/11/2019 11:30 Attach   NCPC_M‐NCPPC agreement.pdf                            .\VOL006\IMAGES\IMAGES001\00072017.pdf
00072032   00072060   9/11/2019 11:30 Attach   Purple_Line_NCPC Staff_Report_Mar2018.pdf             .\VOL006\IMAGES\IMAGES001\00072032.pdf
                                               2019‐09‐16_495 & 270 MNCPPC Coordination Mtg
00072061   00072061   9/11/2019 11:43 Attach   Rock Creek_Agenda.pdf                                 .\VOL006\IMAGES\IMAGES001\00072061.pdf
                                               I‐495 & I‐270 MLS Traffic Tech Report ‐ FHWA
00072062   00072062   9/11/2019 12:48 Email    Co...(1).pdf                                          .\VOL006\IMAGES\IMAGES001\00072062.pdf
00072063   00072064   9/11/2019 16:43 Email    NCPC Mtg                                              .\VOL006\IMAGES\IMAGES001\00072063.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Air Quality
00072065   00072066   9/11/2019 17:14 Email    Tech Report                                           .\VOL006\IMAGES\IMAGES001\00072065.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Air Quality
00072067   00072068   9/11/2019 17:17 Email    Tech Report                                           .\VOL006\IMAGES\IMAGES001\00072067.pdf
00072069   00072069   9/11/2019 17:55 Attach   2019‐09‐17_FHWA Coordination Mtg Agenda.pdf           .\VOL006\IMAGES\IMAGES001\00072069.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Air
00072070   00072071   9/11/2019 17:58 Email    Quali....pdf                                          .\VOL006\IMAGES\IMAGES001\00072070.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Air
00072072   00072073   9/11/2019 18:14 Email    Quali...(1).pdf                                       .\VOL006\IMAGES\IMAGES001\00072072.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Air
00072074   00072075   9/11/2019 18:17 Email    Quali...(2).pdf                                       .\VOL006\IMAGES\IMAGES001\00072074.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Air Quality
00072076   00072077    9/12/2019 7:43 Email    Tech Report                                           .\VOL006\IMAGES\IMAGES001\00072076.pdf
00072078   00072078   9/12/2019 10:07 Attach   NCPC letter ICC scoping.pdf                           .\VOL006\IMAGES\IMAGES001\00072078.pdf

00072079   00072087   9/12/2019 10:07 Attach   NCPC submission guidelines from ICC project NE.pdf .\VOL006\IMAGES\IMAGES001\00072079.pdf
00072088   00072092   9/12/2019 10:07 Attach   NCPC DEIS comments on ICC with responses.pdf       .\VOL006\IMAGES\IMAGES001\00072088.pdf
                                               IMPLEMENTATION OF THE NATIONAL
00072093   00072093   9/12/2019 14:25 Email    ENVIRONMENTAL POLICY ACT for NCPC.                 .\VOL006\IMAGES\IMAGES001\00072093.pdf
00072094   00072095   9/12/2019 15:21 Email    FW: Permitting Dashboard                           .\VOL006\IMAGES\IMAGES001\00072094.pdf
00072096   00072096   9/12/2019 15:54 Email    I495/270 MLS                                       .\VOL006\IMAGES\IMAGES001\00072096.pdf
                                               Air Impacts Technical Report_Draft_08‐11‐19
00072097   00072229   9/12/2019 15:54 Attach   HEPN.docx                                          .\VOL006\IMAGES\IMAGES001\00072097.pdf
                                               Re: Maryland Sierra Club Consulting Party Managed
00072230   00072232   9/12/2019 17:36 Email    Lanes                                              .\VOL006\IMAGES\IMAGES001\00072230.pdf
                                               FINAL_SummaryPublicStakeholderEngagementRecARD
00072233   00072706   9/13/2019 10:56 Edoc     S_wApp.pdf                                         .\VOL006\IMAGES\IMAGES001\00072233.pdf
                                               RE: M‐NCPPC /MDOT SHA Montgomery County Parks
00072707   00072708   9/13/2019 11:53 Email    Coordination Mtg‐ Rock Creek                       .\VOL006\IMAGES\IMAGES001\00072707.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 49 of 263

                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Air Quality Technical
00072709   00072710   9/13/2019 12:00 Email    Report                                               .\VOL006\IMAGES\IMAGES001\00072709.pdf
00072711   00072712   9/13/2019 14:39 Edoc     Forest Village United LLC_Meeting Record.docx        .\VOL006\IMAGES\IMAGES001\00072711.pdf
00072713   00072713   9/13/2019 15:14 Email    FW: 495/270 expansion                                .\VOL006\IMAGES\IMAGES001\00072713.pdf
00072714   00072715   9/13/2019 16:07 Email    FHWA Meeting Notes ‐ 9/3/2019                        .\VOL006\IMAGES\IMAGES001\00072714.pdf

00072716   00072718   9/13/2019 16:07 Attach   2019‐09‐03_FHWA Coordination Meeting Notes.docx .\VOL006\IMAGES\IMAGES001\00072716.pdf
00072719   00072720    9/16/2019 7:39 Email    RE: FHWA Meeting Notes ‐ 9/3/2019                    .\VOL006\IMAGES\IMAGES001\00072719.pdf
00072721   00072723    9/16/2019 8:40 Email    RE: FHWA Meeting Notes ‐ 9/3/2019                    .\VOL006\IMAGES\IMAGES001\00072721.pdf
00072724   00072726   9/16/2019 12:29 Email    RE: Permitting Dashboard                             .\VOL006\IMAGES\IMAGES001\00072724.pdf
                                               I‐495_I‐
                                               270_Newsletter_Sept2019_rd24_combined_proof_FIN
00072727   00072732   9/16/2019 13:01 Edoc     AL.pdf                                               .\VOL006\IMAGES\IMAGES001\00072727.pdf
00072733   00072734    9/17/2019 8:26 Email     I‐495 Sound Barrier Request                         .\VOL006\IMAGES\IMAGES001\00072733.pdf
                                               2019‐09‐17_FHWA Coordination Mtg
00072735   00072735    9/17/2019 9:34 Attach   Agenda_revised.pdf                                   .\VOL006\IMAGES\IMAGES001\00072735.pdf
00072736   00072736   9/17/2019 10:17 Email    NCPC Mtg                                             .\VOL006\IMAGES\IMAGES001\00072736.pdf
00072737   00072738   9/17/2019 11:42 Email    RE_ I495_270 MLS (4).pdf                             .\VOL006\IMAGES\IMAGES001\00072737.pdf
00072739   00072740   9/17/2019 12:32 Email    FW: I495/270 MLS                                     .\VOL006\IMAGES\IMAGES001\00072739.pdf
00072741   00072741   9/17/2019 12:57 Email    RE_ I495_270 MLS .pdf                                .\VOL006\IMAGES\IMAGES001\00072741.pdf
00072742   00072742   9/17/2019 13:38 Email    RE_ I495_270 MLS .pdf                                .\VOL006\IMAGES\IMAGES001\00072742.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Air Quality Technical
00072743   00072745   9/17/2019 16:42 Email    Report                                               .\VOL006\IMAGES\IMAGES001\00072743.pdf
00072746   00072747    9/18/2019 7:55 Email    Re: FW: I‐495 Sound Barrier Request                  .\VOL006\IMAGES\IMAGES001\00072746.pdf
00072748   00072749    9/18/2019 9:36 Attach    I‐495 Sound Barrier Request                         .\VOL006\IMAGES\IMAGES001\00072748.pdf
                                               Re: I‐495 & I‐270 P3 Program September 2019
00072750   00072753   9/18/2019 10:36 Email    Newsletter‐ P3 Program Update                        .\VOL006\IMAGES\IMAGES001\00072750.pdf

00072754   00072755   9/18/2019 10:50 Email    I‐495 & I‐270 MLS ‐ Deeds to Capper Cramton Parks     .\VOL006\IMAGES\IMAGES001\00072754.pdf
                                               FW: I‐495 & I‐270 P3 Program September 2019
00072756   00072760   9/18/2019 10:52 Email    Newsletter‐ P3 Program Update                         .\VOL006\IMAGES\IMAGES001\00072756.pdf
                                               Re: I‐495 & I‐270 P3 Program September 2019
00072761   00072765   9/18/2019 10:52 Email    Newsletter‐ P3 Program Update                         .\VOL006\IMAGES\IMAGES001\00072761.pdf
                                               Re: I‐495 & I‐270 P3 Program September 2019
00072766   00072769   9/18/2019 12:39 Email    Newsletter‐ P3 Program Update                         .\VOL006\IMAGES\IMAGES001\00072766.pdf
00072770   00072770   9/18/2019 12:39 Attach   LRT‐137.png                                           .\VOL006\IMAGES\IMAGES001\00072770.pdf
                                               FW: I‐495 & I‐270 P3 Program September 2019
00072771   00072774   9/18/2019 15:31 Email    Newsletter‐ P3 Program Update                         .\VOL006\IMAGES\IMAGES001\00072771.pdf
                                               Re: I‐495 & I‐270 P3 Program September 2019
00072775   00072778   9/18/2019 15:31 Email    Newsletter‐ P3 Program Update                         .\VOL006\IMAGES\IMAGES001\00072775.pdf
                                               FW: I‐495 & I‐270 P3 Program September 2019
00072779   00072782   9/18/2019 16:39 Email    Newsletter‐ P3 Program Update                         .\VOL006\IMAGES\IMAGES001\00072779.pdf
                                               Re: I‐495 & I‐270 P3 Program September 2019
00072783   00072786   9/18/2019 16:39 Email    Newsletter‐ P3 Program Update                         .\VOL006\IMAGES\IMAGES001\00072783.pdf
                                               FW: I‐495 & I‐270 P3 Program September 2019
00072787   00072790   9/18/2019 16:59 Email    Newsletter‐ P3 Program Update                         .\VOL006\IMAGES\IMAGES001\00072787.pdf
                                               RE: I‐495 & I‐270 MLS ‐ Deeds to Capper Cramton
00072791   00072792   9/19/2019 12:16 Email    Parks                                                 .\VOL006\IMAGES\IMAGES001\00072791.pdf
00072793   00072795   9/19/2019 12:48 Attach   Anmalsetty 821564 Signed.pdf                          .\VOL006\IMAGES\IMAGES001\00072793.pdf
00072796   00072796   9/19/2019 12:48 Attach   Anmalsetty 821564 Incoming.pdf                        .\VOL006\IMAGES\IMAGES001\00072796.pdf
00072797   00072797   9/19/2019 15:26 Attach   95_NTR_Mapping.pdf                                    .\VOL006\IMAGES\IMAGES001\00072797.pdf
00072798   00072807   9/19/2019 15:35 Attach   270spurs_NTR_Mapping.pdf.pdf                          .\VOL006\IMAGES\IMAGES001\00072798.pdf
00072808   00072809   9/19/2019 16:15 Email    Preliminary Draft 4(f) comments                       .\VOL006\IMAGES\IMAGES001\00072808.pdf
                                               RE: I‐495 & I‐270 MLS ‐ Revised CEA and EJ for FHWA
00072810   00072811   9/23/2019 10:09 Email    Review (2nd)                                          .\VOL006\IMAGES\IMAGES001\00072810.pdf
                                               Prince George's County ‐ Managed Lanes, Potential
00072812   00072813   9/23/2019 10:30 Email    Transit Services                                      .\VOL006\IMAGES\IMAGES001\00072812.pdf

00072814   00072816   9/23/2019 12:47 Email    RE: I‐495 & I‐270 Managed Lanes Transit Work Group    .\VOL006\IMAGES\IMAGES001\00072814.pdf
00072817   00072850   9/23/2019 12:47 Attach   Transit Work Group 9‐23‐19.pdf                        .\VOL006\IMAGES\IMAGES001\00072817.pdf

00072851   00072853   9/23/2019 12:47 Email    RE: I‐495 & I‐270 Managed Lanes Transit Work Group    .\VOL006\IMAGES\IMAGES001\00072851.pdf
00072854   00072854   9/23/2019 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group        .\VOL006\IMAGES\IMAGES001\00072854.pdf
00072855   00072855   9/23/2019 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group        .\VOL006\IMAGES\IMAGES001\00072855.pdf
00072856   00072858   9/23/2019 13:12 Email    RE: Preliminary Draft 4(f) comments                   .\VOL006\IMAGES\IMAGES001\00072856.pdf

00072859   00072861   9/23/2019 14:26 Email    RE: I‐495 & I‐270 Managed Lanes Transit Work Group .\VOL006\IMAGES\IMAGES001\00072859.pdf
00072862   00072863   9/23/2019 15:38 Email    Review Requested: Revised ARDS Paper                    .\VOL006\IMAGES\IMAGES001\00072862.pdf
                                               2019.09.23_ARDS Paper_REV‐
00072864   00072923   9/23/2019 15:38 Attach   ALT5_Clean&Highlight.docx                               .\VOL006\IMAGES\IMAGES001\00072864.pdf
00072924   00072925   9/23/2019 15:38 Email    Review Requested: Revised ARDS Paper                    .\VOL006\IMAGES\IMAGES001\00072924.pdf
                                               2019‐09‐19_MDNR Reforestation Letter_Owens‐
00072926   00072928   9/23/2019 17:11 Attach   signed.pdf                                              .\VOL006\IMAGES\IMAGES001\00072926.pdf
00072929   00072930   9/24/2019 16:15 Attach   Abi letter 2.pdf                                        .\VOL006\IMAGES\IMAGES001\00072929.pdf
                                               A_Applying GWMP sign standards for Interstate
00072931   00072966   9/24/2019 16:15 Attach   495_20190917.pdf                                        .\VOL006\IMAGES\IMAGES001\00072931.pdf
                                               FW: A CCMS ticket has been assigned to Jeffrey Folden ‐
00072967   00072967   9/24/2019 19:31 Email    Case #: SR‐0398494                                      .\VOL006\IMAGES\IMAGES001\00072967.pdf
00072968   00072969   9/24/2019 19:31 Attach   Banov Incoming CCMS.pdf                                 .\VOL006\IMAGES\IMAGES001\00072968.pdf
00072970   00072971   9/24/2019 19:31 Attach    I‐495 Sound Barrier Request                            .\VOL006\IMAGES\IMAGES001\00072970.pdf
00072972   00072976    9/25/2019 8:30 Edoc     gwmp_metadata.xml                                       .\VOL006\IMAGES\IMAGES001\00072972.pdf

00072977   00072979    9/25/2019 8:55 Email    FW_ I‐495 & I‐270 MLS ‐ Revised CEA and EJ for ....pdf .\VOL006\IMAGES\IMAGES001\00072977.pdf
00072980   00072982    9/25/2019 9:17 Edoc     Tower Companies_Meeting Record.docx                    .\VOL006\IMAGES\IMAGES001\00072980.pdf
                                               2019.09.23_ARDS Paper_REV‐
00072983   00073042   9/25/2019 11:12 Edoc     ALT5_CleanHighlight_KP_comments.docx                   .\VOL006\IMAGES\IMAGES001\00072983.pdf

00073043   00073043   9/25/2019 13:48 Email    Connecting on Section 106 for Managed Lanes Study     .\VOL006\IMAGES\IMAGES001\00073043.pdf
00073044   00073045   9/25/2019 14:05 Email    FW: Review Requested: Revised ARDS Paper              .\VOL006\IMAGES\IMAGES001\00073044.pdf
00073046   00073050   9/26/2019 10:39 Email    Re: Preliminary Draft 4(f) comments                   .\VOL006\IMAGES\IMAGES001\00073046.pdf
                                               RE: I‐495 & I‐270 MLS ‐ Revised CEA and EJ for FHWA
00073051   00073054   9/26/2019 16:40 Email    Review (2nd)                                          .\VOL006\IMAGES\IMAGES001\00073051.pdf
                                               RE: I‐495 & I‐270 MLS Section 4f FHWA Comment
00073055   00073056   9/26/2019 19:21 Email    Discussion                                            .\VOL006\IMAGES\IMAGES001\00073055.pdf
00073057   00073057    9/27/2019 4:30 Email    Revised ARDS comments                                 .\VOL006\IMAGES\IMAGES001\00073057.pdf
00073058   00073060   9/27/2019 14:50 Edoc     Brandywine Research LLC_Meeting Record.docx           .\VOL006\IMAGES\IMAGES001\00073058.pdf
                                               RE: I‐495 & I‐270 MLS ‐ Revised CEA and EJ for FHWA
00073061   00073065    9/30/2019 8:37 Email    Review (2nd)                                          .\VOL006\IMAGES\IMAGES001\00073061.pdf
00073066   00073067   9/30/2019 11:48 Email    RE: Review Requested: Revised ARDS Paper              .\VOL006\IMAGES\IMAGES001\00073066.pdf
00073068   00073068   9/30/2019 12:57 Email    Revised ARDS Comments                                 .\VOL006\IMAGES\IMAGES001\00073068.pdf
                                               2019.09.23_ARDS Paper_REV‐
00073069   00073128   9/30/2019 12:57 Attach   ALT5_CleanHighlight_HEPE.docx                         .\VOL006\IMAGES\IMAGES001\00073069.pdf
00073129   00073130   9/30/2019 13:48 Email    FW: Review Requested: Revised ARDS Paper              .\VOL006\IMAGES\IMAGES001\00073129.pdf
00073131   00073131   9/30/2019 13:58 Email    slides for PA discussion                              .\VOL006\IMAGES\IMAGES001\00073131.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 50 of 263

00073132   00073147   9/30/2019 13:58 Attach   FHWA Internal P3 Presentation ‐ Oct 2, 2019 JM.pptx      .\VOL006\IMAGES\IMAGES001\00073132.pdf

00073148   00073148   9/30/2019 18:31 Email    I‐495/I‐270 FHWA Coordination Sept 17 Meeting Notes .\VOL006\IMAGES\IMAGES001\00073148.pdf
                                               20190917‐I‐270_FHWA Coordination Meeting Notes
00073149   00073150   9/30/2019 18:31 Attach   (final).pdf                                         .\VOL006\IMAGES\IMAGES001\00073149.pdf
00073151   00073152   10/1/2019 12:44 Email    FW: Environmental Impact to 8810 Earl Court         .\VOL006\IMAGES\IMAGES001\00073151.pdf
                                               RE_ FHWA MD and PA Division ‐ I‐495 & I‐270
00073153   00073154   10/1/2019 13:14 Email    MLS...(2).pdf                                       .\VOL006\IMAGES\IMAGES001\00073153.pdf

                                               I‐495 I‐270 CEA Tech
00073155   00073274   10/1/2019 16:07 Edoc     Report_WORKINGDraft_Track_092319_FHWA.docx               .\VOL006\IMAGES\IMAGES001\00073155.pdf
                                               RE: I‐495 & I‐270 MLS ‐ Revised CEA and EJ for FHWA
00073275   00073278   10/1/2019 16:25 Email    Review (2nd)                                             .\VOL006\IMAGES\IMAGES001\00073275.pdf
                                               RE: I‐495 & I‐270 MLS ‐ Revised CEA and EJ for FHWA
00073279   00073283   10/1/2019 16:30 Email    Review (2nd)                                             .\VOL006\IMAGES\IMAGES001\00073279.pdf
                                               RE_ I‐495 & I‐270 MLS ‐ Revised CEA and EJ for
00073284   00073287   10/1/2019 17:10 Email    ...(1).pdf                                               .\VOL006\IMAGES\IMAGES001\00073284.pdf

00073288   00073291   10/1/2019 17:12 Email    RE_ I‐495 & I‐270 MLS ‐ Revised CEA and EJ for ....pdf   .\VOL006\IMAGES\IMAGES001\00073288.pdf
                                               2019.09.23_ARDS Paper_REV‐ALT5t_FHWA
00073292   00073351   10/1/2019 17:36 Attach   comments.docx                                            .\VOL006\IMAGES\IMAGES001\00073292.pdf
                                               RE: I‐495 & I‐270 MLS Section 4f FHWA Comment
00073352   00073353   10/1/2019 17:42 Email    Discussion                                               .\VOL006\IMAGES\IMAGES001\00073352.pdf
00073354   00073354    10/2/2019 8:23 Edoc     GWMP_boundary.prj                                        .\VOL006\IMAGES\IMAGES001\00073354.pdf
00073355   00073355    10/2/2019 8:23 Edoc     GWMP_boundary.dbf                                        .\VOL006\IMAGES\IMAGES001\00073355.pdf   .\VOL006\NATIVES\NATIVES001\00073355.dbf
00073356   00073356    10/2/2019 8:23 Edoc     NACA_boundary.dbf                                        .\VOL006\IMAGES\IMAGES001\00073356.pdf   .\VOL006\NATIVES\NATIVES001\00073356.dbf
00073357   00073357    10/2/2019 8:36 Edoc     GWMP_tracts.dbf                                          .\VOL006\IMAGES\IMAGES001\00073357.pdf   .\VOL006\NATIVES\NATIVES001\00073357.dbf
00073358   00073358    10/2/2019 8:36 Edoc     NACA_tracts.dbf                                          .\VOL006\IMAGES\IMAGES001\00073358.pdf   .\VOL006\NATIVES\NATIVES001\00073358.dbf
00073359   00073360   10/2/2019 11:05 Attach   Preliminary Draft 4(f) comments                          .\VOL006\IMAGES\IMAGES001\00073359.pdf

                                               I‐495_I‐
00073361   00073362   10/2/2019 11:33 Edoc     270_Workshop_Handout_Two_Sided_2019_10_2.pdf             .\VOL006\IMAGES\IMAGES001\00073361.pdf
00073363   00073363   10/2/2019 15:51 Email    MD 495_270 EIS Notice of Intent..pdf                     .\VOL006\IMAGES\IMAGES001\00073363.pdf
                                               FW: REVIEW REQUESTED: I‐495/270 MLS ‐ Noise Tech
00073364   00073365    10/3/2019 8:57 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00073364.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study ‐ Interstate
00073366   00073367    10/3/2019 9:12 Email    Access Request Follow‐up                                 .\VOL006\IMAGES\IMAGES001\00073366.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Noise
00073368   00073369    10/3/2019 9:53 Email    Tec....pdf                                               .\VOL006\IMAGES\IMAGES001\00073368.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Noise
00073370   00073370    10/3/2019 9:53 Email    Tec....pdf                                               .\VOL006\IMAGES\IMAGES001\00073370.pdf
00073371   00073610   10/3/2019 10:47 Attach   Noise Tech Report_FHWA_090419 HEPN.DOCX                  .\VOL006\IMAGES\IMAGES001\00073371.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00073611   00073613   10/3/2019 11:18 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00073611.pdf
                                               ExSummary_Noise Tech Report_FHWA_090419
00073614   00073617   10/3/2019 11:18 Attach   HEP.docx                                                 .\VOL006\IMAGES\IMAGES001\00073614.pdf
00073618   00073857   10/3/2019 11:18 Attach   Noise Tech Report_FHWA_090419 HEP.DOCX                   .\VOL006\IMAGES\IMAGES001\00073618.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Noise
00073858   00073859   10/3/2019 11:47 Email    Tec...(1).pdf                                            .\VOL006\IMAGES\IMAGES001\00073858.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_270 MLS ‐ Noise
00073860   00073861   10/3/2019 12:00 Email    Tec...(2).pdf                                            .\VOL006\IMAGES\IMAGES001\00073860.pdf
00073862   00073863   10/3/2019 13:54 Email    Re: I‐495/I‐270 FHWA Coordination                        .\VOL006\IMAGES\IMAGES001\00073862.pdf
00073864   00073865   10/3/2019 15:19 Email    MD 200 Diversion Alternative Results                     .\VOL006\IMAGES\IMAGES001\00073864.pdf
                                               MD 200 Diversion Alternative Results_FHWA 10‐4‐
00073866   00073876   10/3/2019 15:48 Attach   19.pdf                                                   .\VOL006\IMAGES\IMAGES001\00073866.pdf
00073877   00073878   10/3/2019 15:48 Email    FW: MD 200 Diversion Alternative Results                 .\VOL006\IMAGES\IMAGES001\00073877.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00073879   00073882   10/3/2019 17:11 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00073879.pdf
00073883   00073884    10/4/2019 8:35 Email    RE: MD 200 Diversion Alternative Results                 .\VOL006\IMAGES\IMAGES001\00073883.pdf
00073885   00073885    10/4/2019 9:58 Attach   Agenda 10‐7‐2019 fnl.docx                                .\VOL006\IMAGES\IMAGES001\00073885.pdf
00073886   00073886   10/4/2019 11:21 Email    NEPA Cooperating Agencies                                .\VOL006\IMAGES\IMAGES001\00073886.pdf
00073887   00073889   10/4/2019 14:32 Email    Review Requested: FINAL Revised ARDS Paper               .\VOL006\IMAGES\IMAGES001\00073887.pdf
                                               2019‐10‐04_Revised ARDS Paper_Final for FHWA
00073890   00073948   10/4/2019 14:32 Attach   Review.docx                                              .\VOL006\IMAGES\IMAGES001\00073890.pdf
                                               RE_ FHWA MD and PA Division ‐ I‐495 & I‐270
00073949   00073950   10/4/2019 15:25 Email    MLS....pdf                                               .\VOL006\IMAGES\IMAGES001\00073949.pdf
                                               FW: REVIEW REQUESTED: I‐495/270 MLS ‐ Noise Tech
00073951   00073953   10/4/2019 15:41 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00073951.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00073954   00073956   10/4/2019 17:12 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00073954.pdf
                                               NOISE TECHNICAL REPORT_FHWA
00073957   00074196   10/4/2019 17:12 Attach   _10_2019_comments.docx                                   .\VOL006\IMAGES\IMAGES001\00073957.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00074197   00074199   10/4/2019 17:12 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00074197.pdf
00074200   00074202    10/7/2019 9:09 Email    FW: MD 200 Diversion Alternative Results                 .\VOL006\IMAGES\IMAGES001\00074200.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00074203   00074206   10/7/2019 11:22 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00074203.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00074207   00074210   10/7/2019 11:22 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00074207.pdf
                                               RE: I‐495 & I‐270 MLS ‐ Revised CEA and EJ for FHWA
00074211   00074213   10/7/2019 11:32 Email    Review (2nd)                                             .\VOL006\IMAGES\IMAGES001\00074211.pdf
00074214   00074217   10/7/2019 11:42 Attach   Noise Ex Summary FHWA comments.docx                      .\VOL006\IMAGES\IMAGES001\00074214.pdf
                                               RE: DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00074218   00074221   10/7/2019 11:42 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00074218.pdf
00074222   00074223   10/7/2019 12:44 Email    FW: I‐495/I‐270 FHWA Coordination                        .\VOL006\IMAGES\IMAGES001\00074222.pdf
00074224   00074225   10/7/2019 12:46 Email    FW: I‐495/I‐270 FHWA Coordination                        .\VOL006\IMAGES\IMAGES001\00074224.pdf
00074226   00074226   10/7/2019 12:46 Attach   2019‐10‐08_FHWA Coordination Mtg Agenda.pdf              .\VOL006\IMAGES\IMAGES001\00074226.pdf
                                               2019‐10‐07_MNCPPC Coordination Meeting Sligo
00074227   00074227   10/7/2019 13:00 Attach   Northwest_Agenda.pdf                                     .\VOL006\IMAGES\IMAGES001\00074227.pdf
                                               RE: REVIEW REQUESTED: I‐495/270 MLS ‐ Noise Tech
00074228   00074230   10/7/2019 16:17 Email    Report                                                   .\VOL006\IMAGES\IMAGES001\00074228.pdf
00074231   00074232   10/7/2019 16:40 Email    Re: 295 Coalition Meeting request                        .\VOL006\IMAGES\IMAGES001\00074231.pdf
00074233   00074234    10/8/2019 8:11 Email    FW_ GW Parkway Signing Option(1).pdf                     .\VOL006\IMAGES\IMAGES001\00074233.pdf
00074235   00074235    10/8/2019 8:11 Attach   Combined Options ‐Cantilever.pdf                         .\VOL006\IMAGES\IMAGES001\00074235.pdf
00074236   00074236    10/8/2019 8:11 Attach   Combined Options ‐ Butterfly.pdf                         .\VOL006\IMAGES\IMAGES001\00074236.pdf
00074237   00074238    10/8/2019 9:24 Email    FW: I‐495/I‐270 FHWA Coordination                        .\VOL006\IMAGES\IMAGES001\00074237.pdf
00074239   00074240    10/8/2019 9:51 Email    MLS FHWA Coordination Mtg Handouts                       .\VOL006\IMAGES\IMAGES001\00074239.pdf
                                               RPA‐DEIS schedule_Revised per MD 200 Diversion
00074241   00074241    10/8/2019 9:51 Attach   Alternative_10‐8‐2019 for FHWA.pdf                       .\VOL006\IMAGES\IMAGES001\00074241.pdf
00074242   00074243   10/8/2019 13:31 Email    FW: M‐NCPPC Response Letter                              .\VOL006\IMAGES\IMAGES001\00074242.pdf
00074244   00074245   10/8/2019 15:25 Email    Fwd: VDOT Comments on GWMP Sign Concepts                 .\VOL006\IMAGES\IMAGES001\00074244.pdf
00074246   00074246   10/8/2019 15:25 Attach   Curb Offset Layout for a Tangent Guardrail.pdf           .\VOL006\IMAGES\IMAGES001\00074246.pdf
                                               I‐495 I‐270 P3 Email and Toll‐
00074247   00074252   10/8/2019 16:21 Edoc     free_Protocols_September2019_revised.docx                .\VOL006\IMAGES\IMAGES001\00074247.pdf
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00074253   00074273    10/9/2019 16:29 Attach   i‐495 & i‐270 mls_ncpc presentation 10‐10‐19.pdf      .\VOL006\IMAGES\IMAGES001\00074253.pdf

                                                Fwd: Beltway expansion: Comments of Carderock
                                                Springs and South Carderock residents about
00074274   00074275    10/9/2019 20:24 Email    Alternatives Retained for Detailed Study              .\VOL006\IMAGES\IMAGES001\00074274.pdf
                                                Letter to SHA October 2019 regarding designation of
00074276   00074277    10/9/2019 20:24 Attach   Historic Properties ....pdf                           .\VOL006\IMAGES\IMAGES001\00074276.pdf
00074278   00074279   10/10/2019 11:42 Email    MD 200 Diversion Alternative Memo for Review          .\VOL006\IMAGES\IMAGES001\00074278.pdf

00074280   00074282   10/10/2019 15:26 Email    FW: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074280.pdf

00074283   00074310   10/10/2019 15:26 Attach   2019.10.10_MD 200 Diversion Alt_Tech Results.docx     .\VOL006\IMAGES\IMAGES001\00074283.pdf
                                                FW: REVIEW REQUESTED: MD 200 Diversion
00074311   00074313   10/10/2019 16:25 Email    Alternative Memo                                      .\VOL006\IMAGES\IMAGES001\00074311.pdf

00074314   00074316   10/10/2019 16:48 Email    RE: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074314.pdf

00074317   00074319   10/10/2019 16:59 Email    FW: Review Requested: FINAL Revised ARDS Paper        .\VOL006\IMAGES\IMAGES001\00074317.pdf
                                                2019.09.23_ARDS Paper_REV‐ALT5_Final FHWA
00074320   00074378   10/10/2019 16:59 Attach   review.docx                                           .\VOL006\IMAGES\IMAGES001\00074320.pdf

00074379   00074382   10/10/2019 16:59 Email    FW: Review Requested: FINAL Revised ARDS Paper        .\VOL006\IMAGES\IMAGES001\00074379.pdf

00074383   00074386   10/10/2019 17:28 Email    RE: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074383.pdf

                                                FW: [EXTERNAL] FW: MDOT SHA I‐495 Managed Lanes
                                                Study Section 106 Consulting Party Meeting
00074387   00074389   10/11/2019 13:29 Email    Information ‐ Tuesday May 3, 2018 11am             .\VOL006\IMAGES\IMAGES001\00074387.pdf
00074390   00074390   10/11/2019 13:29 Attach   2127_001.pdf                                       .\VOL006\IMAGES\IMAGES001\00074390.pdf
                                                2019.10.10_MD 200 Diversion Alt_Tech
00074391   00074419   10/11/2019 16:00 Edoc     Results_HEPE.docx                                  .\VOL006\IMAGES\IMAGES001\00074391.pdf
                                                RE: REVIEW REQUESTED: MD 200 Diversion Alternative
00074420   00074423   10/11/2019 16:11 Email    Memo                                               .\VOL006\IMAGES\IMAGES001\00074420.pdf

00074424   00074427   10/11/2019 16:13 Email    RE: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074424.pdf

00074428   00074431   10/13/2019 10:38 Email    Re: Review Requested: FINAL Revised ARDS Paper        .\VOL006\IMAGES\IMAGES001\00074428.pdf
                                                2019.10.13_ARDS Paper_REV‐ALT5_Final FHWA
00074432   00074490   10/13/2019 10:38 Attach   Version.docx                                          .\VOL006\IMAGES\IMAGES001\00074432.pdf
                                                I‐495 & I‐270 Interagency Working Group Meeting
00074491   00074491    10/14/2019 9:38 Attach   Agenda_2019‐10‐16.pdf                                 .\VOL006\IMAGES\IMAGES001\00074491.pdf
00074492   00074493    10/14/2019 9:38 Email    I‐495 & I‐270 MLS IAWG Meeting‐ AGENDA                .\VOL006\IMAGES\IMAGES001\00074492.pdf
00074494   00074495   10/15/2019 13:46 Email    FW: Revised ARDS Paper                                .\VOL006\IMAGES\IMAGES001\00074494.pdf
                                                2019.10.10_MD 200 Diversion Alt_Tech Results.FHWA
00074496   00074523   10/15/2019 15:59 Attach   HEPP comments.docx                                    .\VOL006\IMAGES\IMAGES001\00074496.pdf
                                                2019.10.10_MD 200 Diversion Alt_Tech Results
00074524   00074551   10/15/2019 17:11 Attach   Breck.docx                                            .\VOL006\IMAGES\IMAGES001\00074524.pdf

00074552   00074554   10/15/2019 17:11 Email    RE: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074552.pdf
00074555   00074555   10/15/2019 17:14 Attach   FHWA October 2019 ARDS Concurrence.pdf                .\VOL006\IMAGES\IMAGES001\00074555.pdf

00074556   00074558   10/15/2019 17:42 Email    RE: MD 200 Diversion Alternative Memo for Review    .\VOL006\IMAGES\IMAGES001\00074556.pdf
                                                2019.10.11_MD 200 Diversion Alt_Tech
00074559   00074586   10/15/2019 17:42 Attach   Results_KP_comments.docx                            .\VOL006\IMAGES\IMAGES001\00074559.pdf
                                                i‐495 & i‐270 mls_iawg meeting no. 12 draft
00074587   00074620   10/15/2019 17:49 Attach   presentation_v2.pdf                                 .\VOL006\IMAGES\IMAGES001\00074587.pdf
00074621   00074622    10/16/2019 7:59 Email    FW: IAWG Presentation                               .\VOL006\IMAGES\IMAGES001\00074621.pdf
00074623   00074623    10/16/2019 8:59 Email    FW_ IAWG Presentation.pdf                           .\VOL006\IMAGES\IMAGES001\00074623.pdf
00074624   00074625   10/16/2019 14:42 Email    FW: Revised Signing Plan for GWMP                   .\VOL006\IMAGES\IMAGES001\00074624.pdf
                                                RE_ FHWA MD and PA Division ‐ I‐495 & I‐270
00074626   00074628   10/16/2019 16:20 Email    MLS...(1).pdf                                       .\VOL006\IMAGES\IMAGES001\00074626.pdf
                                                Review Requested: I‐495 & I‐270 MLS Revised ARDS
00074629   00074630   10/16/2019 17:56 Email    Paper                                               .\VOL006\IMAGES\IMAGES001\00074629.pdf
                                                RE: Review Requested: I‐495 & I‐270 MLS Revised
00074631   00074633   10/17/2019 10:47 Email    ARDS Paper                                          .\VOL006\IMAGES\IMAGES001\00074631.pdf
00074634   00074634   10/17/2019 13:27 Email    Figure 2G‐29.pdf                                    .\VOL006\IMAGES\IMAGES001\00074634.pdf
00074635   00074635   10/17/2019 13:27 Attach   MUTCD Managed Lanes ‐ Crossroads.pdf                .\VOL006\IMAGES\IMAGES001\00074635.pdf
00074636   00074636   10/17/2019 13:27 Email    Figure 2G‐29                                        .\VOL006\IMAGES\IMAGES001\00074636.pdf
00074637   00074637   10/17/2019 13:51 Attach   2019‐10‐22_FHWA Coordination Mtg Agenda.pdf         .\VOL006\IMAGES\IMAGES001\00074637.pdf
00074638   00074642   10/17/2019 14:53 Email    FW_ GW Parkway Signing Option.pdf                   .\VOL006\IMAGES\IMAGES001\00074638.pdf
00074643   00074643   10/17/2019 14:53 Attach   image004.png                                        .\VOL006\IMAGES\IMAGES001\00074643.pdf
00074644   00074644   10/17/2019 14:53 Attach   image009.png                                        .\VOL006\IMAGES\IMAGES001\00074644.pdf
                                                I‐495/I‐270 FHWA Coordination: I‐270 Pre‐NEPA Notes
00074645   00074645   10/17/2019 16:09 Email    (October 8)                                         .\VOL006\IMAGES\IMAGES001\00074645.pdf
                                                20191008‐I‐270_FHWA Coordination Meeting
00074646   00074647   10/17/2019 16:09 Attach   Notes.pdf                                           .\VOL006\IMAGES\IMAGES001\00074646.pdf
                                                I‐495/I‐270 FHWA Coordination: I‐495/I‐270 MLS
00074648   00074648   10/17/2019 16:09 Email    Notes (October 8)                                   .\VOL006\IMAGES\IMAGES001\00074648.pdf
                                                2019‐10‐08_FHWA Coordination Meeting
00074649   00074651   10/17/2019 16:09 Attach   Notes_MLS.pdf                                       .\VOL006\IMAGES\IMAGES001\00074649.pdf
                                                I‐495/I‐270 FHWA Coordination: P3 Program (October
00074652   00074652   10/17/2019 16:10 Email    8)                                                  .\VOL006\IMAGES\IMAGES001\00074652.pdf
                                                2019‐10‐08_FHWA Coordination Meeting Notes_P3
00074653   00074654   10/17/2019 16:10 Attach   Program.pdf                                         .\VOL006\IMAGES\IMAGES001\00074653.pdf
                                                20191005_GermantownOktoberfest_Summary
00074655   00074656   10/17/2019 16:32 Edoc     jtt.docx                                            .\VOL006\IMAGES\IMAGES001\00074655.pdf
                                                FW: I‐495/I‐270 FHWA Coordination: I‐495/I‐270 MLS
00074657   00074658    10/18/2019 7:37 Email    Notes (October 8)                                   .\VOL006\IMAGES\IMAGES001\00074657.pdf
00074659   00074660   10/18/2019 12:32 Email    REVISED MD 200 Diversion Alternative Memo           .\VOL006\IMAGES\IMAGES001\00074659.pdf

00074661   00074662   10/18/2019 12:53 Email    FW: REVISED MD 200 Diversion Alternative Memo         .\VOL006\IMAGES\IMAGES001\00074661.pdf
                                                2019.10.18_MD 200 Diversion Alt_Tech
00074663   00074693   10/18/2019 12:53 Attach   Results_FHWAcomments_track.docx                       .\VOL006\IMAGES\IMAGES001\00074663.pdf

00074694   00074696   10/18/2019 13:52 Email    RE: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074694.pdf
00074697   00074698   10/20/2019 11:49 Email    IAWG No. 12‐ Presentation Material                    .\VOL006\IMAGES\IMAGES001\00074697.pdf
                                                I‐495 & I‐270 MLS IAWG Meeting No. 12
00074699   00074733   10/20/2019 11:49 Attach   Presentation_PDF.pdf                                  .\VOL006\IMAGES\IMAGES001\00074699.pdf
                                                RE: I‐495/I‐270 FHWA Coordination: I‐495/I‐270 MLS
00074734   00074735    10/21/2019 9:06 Email    Notes (October 8)                                     .\VOL006\IMAGES\IMAGES001\00074734.pdf

00074736   00074739   10/21/2019 12:13 Email    RE: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074736.pdf
00074740   00074740   10/21/2019 12:52 Attach   P3 Civil Rights Meeting Agenda v1.docx                .\VOL006\IMAGES\IMAGES001\00074740.pdf

00074741   00074744   10/21/2019 13:36 Email    RE: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074741.pdf
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00074745   00074745   10/21/2019 15:07 Email    FHWA_MDOT SHA Civil Rights Meeting Agenda.pdf            .\VOL006\IMAGES\IMAGES001\00074745.pdf

00074746   00074749   10/21/2019 16:04 Email    FW: MD 200 Diversion Alternative Memo for Review         .\VOL006\IMAGES\IMAGES001\00074746.pdf

00074750   00074753   10/21/2019 16:04 Email    FW: MD 200 Diversion Alternative Memo for Review         .\VOL006\IMAGES\IMAGES001\00074750.pdf

00074754   00074757   10/21/2019 16:04 Email    FW: MD 200 Diversion Alternative Memo for Review         .\VOL006\IMAGES\IMAGES001\00074754.pdf

00074758   00074761   10/21/2019 16:38 Email    RE: MD 200 Diversion Alternative Memo for Review      .\VOL006\IMAGES\IMAGES001\00074758.pdf
                                                MDOT SHA Briefing on the MD 200 Diversion
00074762   00074762    10/22/2019 8:42 Attach   Alternative                                           .\VOL006\IMAGES\IMAGES001\00074762.pdf
                                                RE: I‐495/I‐270 FHWA Coordination: I‐495/I‐270 MLS
00074763   00074764    10/22/2019 8:48 Email    Notes (October 8)                                     .\VOL006\IMAGES\IMAGES001\00074763.pdf
00074765   00074765    10/22/2019 9:08 Email    Missing meeting minutes                               .\VOL006\IMAGES\IMAGES001\00074765.pdf
                                                RE: FHWA Civil Rights Program and P3 ‐ possible
00074766   00074770    10/22/2019 9:19 Email    session                                               .\VOL006\IMAGES\IMAGES001\00074766.pdf
                                                FW: Review Requested: I‐495 & I‐270 MLS Revised
00074771   00074774    10/22/2019 9:32 Email    ARDS Paper                                            .\VOL006\IMAGES\IMAGES001\00074771.pdf
00074775   00074775    10/22/2019 9:37 Email    Meeting on Friday                                     .\VOL006\IMAGES\IMAGES001\00074775.pdf
                                                I‐495 & I‐270 MLS: MD 200 Diversion Alternative
00074776   00074777   10/22/2019 10:00 Email    Technical Paper                                       .\VOL006\IMAGES\IMAGES001\00074776.pdf
                                                2019.10.22_MD 200 Diversion Alt_Tech
00074778   00074806   10/22/2019 10:00 Attach   Results_Final.pdf                                     .\VOL006\IMAGES\IMAGES001\00074778.pdf
                                                I‐495 & I‐270 Managed Lanes Study ‐ Interstate Access
00074807   00074808   10/22/2019 13:10 Email    Request                                               .\VOL006\IMAGES\IMAGES001\00074807.pdf

00074809   00074810   10/22/2019 14:10 Email    I‐495 & I‐270 Managed Lanes Study ‐ Interstate ....pdf   .\VOL006\IMAGES\IMAGES001\00074809.pdf

00074811   00074811   10/22/2019 14:10 Attach   (3) Proposed Managed Lanes Access Locations 10.pdf       .\VOL006\IMAGES\IMAGES001\00074811.pdf

00074812   00074817   10/22/2019 14:10 Attach   (4) Interstate Access Approval Process ‐ clea.docx       .\VOL006\IMAGES\IMAGES001\00074812.pdf
00074818   00074822   10/22/2019 15:32 Attach   L3388_F604‐608_1965_SRC to MNCPPC.pdf                    .\VOL006\IMAGES\IMAGES001\00074818.pdf
00074823   00074823   10/22/2019 15:32 Attach   SRC ROW Plat 30267_1964.pdf                              .\VOL006\IMAGES\IMAGES001\00074823.pdf
00074824   00074824   10/22/2019 15:32 Attach   SRC ROW Plat 30268_1964_Chevy Chase Park.pdf             .\VOL006\IMAGES\IMAGES001\00074824.pdf
00074825   00074825   10/22/2019 15:32 Attach   SRC ROW Plat 30269_1964.pdf                              .\VOL006\IMAGES\IMAGES001\00074825.pdf
00074826   00074826   10/22/2019 15:32 Attach   Plat 1545_US Navy to M‐NCPPC_1942.pdf                    .\VOL006\IMAGES\IMAGES001\00074826.pdf

00074827   00074828   10/22/2019 17:44 Email    Re_ I‐495 & I‐270 Managed Lanes Study ‐ Interst....pdf   .\VOL006\IMAGES\IMAGES001\00074827.pdf
00074829   00074829    10/23/2019 7:42 Email    FW: 3.7 acres of Rock Creek Park                         .\VOL006\IMAGES\IMAGES001\00074829.pdf
00074830   00074830    10/23/2019 9:59 Email    FW: MLS ‐ Rock Creek Park impacts                        .\VOL006\IMAGES\IMAGES001\00074830.pdf
                                                RE_ I‐495 & I‐270 Managed Lanes Study ‐
00074831   00074832   10/23/2019 11:23 Email    Interst...(1).pdf                                        .\VOL006\IMAGES\IMAGES001\00074831.pdf

00074833   00074835   10/23/2019 11:28 Attach   FW: I‐495 & I‐270 MLS: RTE Habitat Survey Findings       .\VOL006\IMAGES\IMAGES001\00074833.pdf
                                                2019‐08_RTE Plant Survey Report for I‐495 I‐270
00074836   00074856   10/23/2019 11:28 Attach   MLS.pdf                                                  .\VOL006\IMAGES\IMAGES001\00074836.pdf
00074857   00074857   10/23/2019 13:00 Attach   20191023_DNR_ForestService_Agenda.pdf                    .\VOL006\IMAGES\IMAGES001\00074857.pdf
00074858   00074858   10/23/2019 13:12 Email    FW: Info for meeting with NCPC                           .\VOL006\IMAGES\IMAGES001\00074858.pdf
00074859   00074861   10/23/2019 16:28 Attach   2019‐05‐16_PG DPWT ARDS Comment Letter.pdf               .\VOL006\IMAGES\IMAGES001\00074859.pdf
00074862   00074866   10/23/2019 16:28 Attach   MCDOT ARDS Comments ‐ Memo.pdf                           .\VOL006\IMAGES\IMAGES001\00074862.pdf
00074867   00074882   10/23/2019 16:28 Attach   MNCPPC_ARDS Paper comments.pdf                           .\VOL006\IMAGES\IMAGES001\00074867.pdf
00074883   00074883    10/24/2019 7:57 Email    Re: Capper Crampton Parks ‐ acres of impact              .\VOL006\IMAGES\IMAGES001\00074883.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study ‐ Interstate
00074884   00074884   10/24/2019 10:17 Email    Access Request                                           .\VOL006\IMAGES\IMAGES001\00074884.pdf
00074885   00074886   10/24/2019 10:31 Email    FW: Capper Crampton Parks ‐ acres of impact              .\VOL006\IMAGES\IMAGES001\00074885.pdf
                                                (RESPONSE) I‐495 & I‐270 Managed Lanes Study Draft
00074887   00074887   10/24/2019 15:47 Email    EIS public hearings                                      .\VOL006\IMAGES\IMAGES001\00074887.pdf
                                                Re: (RESPONSE) I‐495 & I‐270 Managed Lanes Study
00074888   00074889   10/24/2019 15:51 Email    Draft EIS public hearings                                .\VOL006\IMAGES\IMAGES001\00074888.pdf
00074890   00074890   10/24/2019 16:06 Email    History of FHWA Review of CEA and EJ Analysis            .\VOL006\IMAGES\IMAGES001\00074890.pdf
00074891   00074892   10/25/2019 10:50 Email    FW: Capper Crampton Parks ‐ acres of impact              .\VOL006\IMAGES\IMAGES001\00074891.pdf
00074893   00074894   10/25/2019 11:20 Email    NCPC Commission                                          .\VOL006\IMAGES\IMAGES001\00074893.pdf
00074895   00074896   10/25/2019 17:36 Email    Response to request for consulting party status          .\VOL006\IMAGES\IMAGES001\00074895.pdf
00074897   00074900   10/28/2019 11:08 Edoc     WildwoodManor_maps_combined.pdf                          .\VOL006\IMAGES\IMAGES001\00074897.pdf
00074901   00074922   10/28/2019 12:49 Attach   Transit Work Group #4 10‐28‐19.pdf                       .\VOL006\IMAGES\IMAGES001\00074901.pdf

00074923   00074925   10/28/2019 12:49 Email    RE: I‐495 & I‐270 Managed Lanes Transit Work Group       .\VOL006\IMAGES\IMAGES001\00074923.pdf
00074926   00074926   10/28/2019 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group           .\VOL006\IMAGES\IMAGES001\00074926.pdf

00074927   00074927   10/28/2019 15:37 Attach   Proposed GW Memorial to 495 Express_Internal.pdf    .\VOL006\IMAGES\IMAGES001\00074927.pdf
                                                Re: Review Requested: I‐495 & I‐270 MLS Revised
00074928   00074929   10/28/2019 15:50 Email    ARDS Paper                                          .\VOL006\IMAGES\IMAGES001\00074928.pdf
                                                RE: Review Requested: I‐495 & I‐270 MLS Revised
00074930   00074931   10/28/2019 17:03 Email    ARDS Paper                                          .\VOL006\IMAGES\IMAGES001\00074930.pdf
                                                FW: Review Requested: I‐495 & I‐270 MLS Revised
00074932   00074933    10/29/2019 7:28 Email    ARDS Paper                                          .\VOL006\IMAGES\IMAGES001\00074932.pdf
00074934   00074935    10/29/2019 7:28 Attach   revised ARDS I495‐I270mls eis102819.pdf             .\VOL006\IMAGES\IMAGES001\00074934.pdf
                                                FW: [EXTERNAL] Review Requested: I‐495 & I‐270 MLS
00074936   00074938    10/29/2019 7:30 Email    Revised ARDS Paper                                  .\VOL006\IMAGES\IMAGES001\00074936.pdf
                                                20191028 I‐495 & I‐270 ARDS Concurrence
00074939   00074940    10/29/2019 7:30 Attach   Form_October 2019_NPS.pdf                           .\VOL006\IMAGES\IMAGES001\00074939.pdf
                                                FW: Review Requested: I‐495 & I‐270 MLS Revised
00074941   00074942    10/29/2019 7:32 Email    ARDS Paper                                          .\VOL006\IMAGES\IMAGES001\00074941.pdf
00074943   00074944    10/29/2019 7:32 Attach   ARDS Concurrence Form_October_16_2019.pdf           .\VOL006\IMAGES\IMAGES001\00074943.pdf
                                                FW: Review Requested: I‐495 & I‐270 MLS Revised
00074945   00074946    10/29/2019 9:01 Email    ARDS Paper                                          .\VOL006\IMAGES\IMAGES001\00074945.pdf
                                                I‐495 & I‐270 ARDS Concurrence Form_October
00074947   00074947    10/29/2019 9:01 Attach   2019.pdf                                            .\VOL006\IMAGES\IMAGES001\00074947.pdf
                                                2019‐10‐30_MNCPPC Prince George's Parks
00074948   00074948   10/29/2019 17:49 Attach   Coordination Mtg.pdf                                .\VOL006\IMAGES\IMAGES001\00074948.pdf
00074949   00074951   10/29/2019 18:21 Attach   2019.09.23 USCG_ALB_ExemptionLetter.pdf             .\VOL006\IMAGES\IMAGES001\00074949.pdf
                                                I‐495/I‐270 FHWA Coordination Notes (Oct 22): I‐270
00074952   00074952   10/29/2019 18:39 Email    Pre‐NEPA                                            .\VOL006\IMAGES\IMAGES001\00074952.pdf
                                                20191022‐I‐270_FHWA Coordination Meeting
00074953   00074954   10/29/2019 18:39 Attach   Notes.docx                                          .\VOL006\IMAGES\IMAGES001\00074953.pdf
                                                I‐495/I‐270 FHWA Coordination Notes (Oct 22): P3
00074955   00074955   10/29/2019 18:39 Email    Program                                             .\VOL006\IMAGES\IMAGES001\00074955.pdf
                                                2019‐10‐08_FHWA Coordination Meeting Notes_P3
00074956   00074957   10/29/2019 18:39 Attach   Program.docx                                        .\VOL006\IMAGES\IMAGES001\00074956.pdf
                                                2019‐10‐22_FHWA Coordination Meeting Notes_P3
00074958   00074958   10/29/2019 18:39 Attach   Program.docx                                        .\VOL006\IMAGES\IMAGES001\00074958.pdf
00074959   00074960   10/29/2019 18:41 Email    ARDS Re‐Concurrence                                 .\VOL006\IMAGES\IMAGES001\00074959.pdf
                                                RE: FHWA MD and PA Division ‐ I‐495 & I‐270 MLS
00074961   00074963   10/30/2019 11:27 Email    Project Involvement                                 .\VOL006\IMAGES\IMAGES001\00074961.pdf
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00074964   00074964   10/30/2019 11:33 Email    Scoping post NOI                                       .\VOL006\IMAGES\IMAGES001\00074964.pdf
                                                interim‐policy‐one‐federal‐decision‐implementation‐
00074965   00074986   10/30/2019 11:33 Attach   081919.pdf                                             .\VOL006\IMAGES\IMAGES001\00074965.pdf
                                                RE_ FHWA MD and PA Division ‐ I‐495 & I‐270
00074987   00074990   10/30/2019 12:27 Email    MLS...(4).pdf                                          .\VOL006\IMAGES\IMAGES001\00074987.pdf
                                                RE: FHWA MD and PA Division ‐ I‐495 & I‐270 MLS
00074991   00074994   10/30/2019 13:00 Email    Project Involvement                                    .\VOL006\IMAGES\IMAGES001\00074991.pdf
                                                RE_ FHWA MD and PA Division ‐ I‐495 & I‐270
00074995   00074999   10/30/2019 14:00 Email    MLS...(3).pdf                                          .\VOL006\IMAGES\IMAGES001\00074995.pdf
00075000   00075000   10/30/2019 17:31 Email    Distribution Requested: Draft CEA/EJ Analysis          .\VOL006\IMAGES\IMAGES001\00075000.pdf

00075001   00075002    10/31/2019 8:58 Email    FW: Distribution Requested: Draft CEA/EJ Analysis      .\VOL006\IMAGES\IMAGES001\00075001.pdf

00075003   00075004    10/31/2019 9:10 Email    RE: Distribution Requested: Draft CEA/EJ Analysis    .\VOL006\IMAGES\IMAGES001\00075003.pdf
                                                I‐495 & I‐270 Managed Lanes Study ‐ RTE Plant Survey
00075005   00075005    10/31/2019 9:34 Email    Report                                               .\VOL006\IMAGES\IMAGES001\00075005.pdf
                                                2019‐11‐05_FHWA Coordination Mtg Agenda ‐ Final
00075006   00075006   10/31/2019 12:11 Attach   .docx                                                .\VOL006\IMAGES\IMAGES001\00075006.pdf
                                                (RESPONSE) I‐495 & I‐270 Managed Lanes Study Draft
00075007   00075009   10/31/2019 17:11 Email    EIS public hearings                                  .\VOL006\IMAGES\IMAGES001\00075007.pdf
                                                Re: (RESPONSE) I‐495 & I‐270 Managed Lanes Study
00075010   00075013   10/31/2019 17:12 Email    Draft EIS public hearings                            .\VOL006\IMAGES\IMAGES001\00075010.pdf
00075014   00075014   10/31/2019 17:36 Email    RE: OFD Spreadsheet                                  .\VOL006\IMAGES\IMAGES001\00075014.pdf
                                                Potential OFD
00075015   00075015   10/31/2019 17:36 Attach   Projects_HEP_working10_28_19_mc.xlsb.xlsx            .\VOL006\IMAGES\IMAGES001\00075015.pdf     .\VOL006\NATIVES\NATIVES001\00075015.xlsx
00075016   00075016     11/1/2019 7:37 Email    My notes for the meeting                             .\VOL006\IMAGES\IMAGES001\00075016.pdf
00075017   00075018     11/1/2019 7:37 Attach   FHWA NCPC Nov 1 Meeting Notes.docx                   .\VOL006\IMAGES\IMAGES001\00075017.pdf
00075019   00075019     11/1/2019 7:52 Email    RE: OFD Spreadsheet                                  .\VOL006\IMAGES\IMAGES001\00075019.pdf
00075020   00075020     11/1/2019 9:20 Edoc     FHWA NCPC Nov 1 Meeting Notes.docx                   .\VOL006\IMAGES\IMAGES001\00075020.pdf
00075021   00075021    11/1/2019 11:08 Email    Few questions on 495                                 .\VOL006\IMAGES\IMAGES001\00075021.pdf
                                                I‐495 & I‐270 MLS project: Feedback on Direct Access
00075022   00075022    11/1/2019 15:00 Email    to/from managed lanes                                .\VOL006\IMAGES\IMAGES001\00075022.pdf
00075023   00075024    11/1/2019 15:00 Attach   doc_20191101150020.pdf                               .\VOL006\IMAGES\IMAGES001\00075023.pdf
00075025   00075027    11/3/2019 19:04 Email    FW: BWP results                                      .\VOL006\IMAGES\IMAGES001\00075025.pdf
00075028   00075028     11/4/2019 4:35 Email    Re:                                                  .\VOL006\IMAGES\IMAGES001\00075028.pdf
00075029   00075030     11/4/2019 7:57 Email    FW: MNCPPC Notes                                     .\VOL006\IMAGES\IMAGES001\00075029.pdf
                                                2019‐09‐16‐2019 I‐495 I‐270 MLS_M‐NCPPC
00075031   00075034     11/4/2019 7:57 Attach   Coordination Meeting Summary.pdf                     .\VOL006\IMAGES\IMAGES001\00075031.pdf
                                                2019‐10‐07 I‐495 I‐270 MLS_M‐NCPPC Coordination
00075035   00075039     11/4/2019 7:57 Attach   Meeting Summary.pdf                                  .\VOL006\IMAGES\IMAGES001\00075035.pdf
                                                FW: I‐495 & I‐270 Managed Lanes Study Logical
00075040   00075042    11/4/2019 11:18 Email    Termini and Independent Utility                      .\VOL006\IMAGES\IMAGES001\00075040.pdf
00075043   00075052    11/4/2019 11:18 Attach   Final I‐495 I‐270 MLS Logical Termini_9‐10‐18.pdf    .\VOL006\IMAGES\IMAGES001\00075043.pdf
00075053   00075053    11/4/2019 13:34 Email    Wednesday's OFD Meeting                              .\VOL006\IMAGES\IMAGES001\00075053.pdf
00075054   00075055    11/4/2019 14:20 Edoc     2019.11.04_Questions_Division.docx                   .\VOL006\IMAGES\IMAGES001\00075054.pdf
00075056   00075057    11/4/2019 14:21 Edoc     Options for I‐495 and BWP.pdf                        .\VOL006\IMAGES\IMAGES001\00075056.pdf
00075058   00075059    11/4/2019 15:36 Email    FW: ARDS Re‐Concurrence                              .\VOL006\IMAGES\IMAGES001\00075058.pdf
00075060   00075060    11/4/2019 15:36 Attach   VDOT ARDS Re‐Concurrence 2019‐10‐28.pdf              .\VOL006\IMAGES\IMAGES001\00075060.pdf
00075061   00075062     11/5/2019 8:01 Email    RE: Wednesday's OFD Meeting                          .\VOL006\IMAGES\IMAGES001\00075061.pdf
                                                2019‐11‐06_OFD Coordination Meeting Agenda FHWA
00075063   00075064     11/5/2019 8:01 Attach   Comments.docx                                        .\VOL006\IMAGES\IMAGES001\00075063.pdf
00075065   00075090     11/5/2019 8:52 Attach   1941 Mont. county Parkway Agreement.pdf              .\VOL006\IMAGES\IMAGES001\00075065.pdf

00075091   00075093     11/5/2019 9:36 Email    RE: PA Division access to I‐495 & I‐270 MLS Project .\VOL006\IMAGES\IMAGES001\00075091.pdf
                                                Meeting Outreach‐Record_Wildwood
00075094   00075095    11/5/2019 12:37 Edoc     Manor_110619.docx                                   .\VOL006\IMAGES\IMAGES001\00075094.pdf
                                                2019‐11‐06_OFD Coordination Meeting Agenda FHWA
00075096   00075096    11/5/2019 12:39 Attach   Comments.pdf                                        .\VOL006\IMAGES\IMAGES001\00075096.pdf
                                                7984 I270‐495 Managed Lanes Study Information
00075097   00075108    11/5/2019 13:30 Attach   Presentation Summary3 ‐ NCPC only slides.pdf        .\VOL006\IMAGES\IMAGES001\00075097.pdf
00075109   00075125    11/5/2019 16:28 Attach   1957 Agreement.pdf                                  .\VOL006\IMAGES\IMAGES001\00075109.pdf
00075126   00075127    11/5/2019 16:28 Email    FW: Relevant Capper Cramton Agreements              .\VOL006\IMAGES\IMAGES001\00075126.pdf
00075128   00075128    11/5/2019 20:49 Edoc     8_5X11Section4f_Impact Display_GWPKWY.pdf           .\VOL006\IMAGES\IMAGES001\00075128.pdf

00075129   00075129    11/5/2019 20:49 Edoc     8_5X11Section4f_Impact Display_SuitlandPkwy.pdf        .\VOL006\IMAGES\IMAGES001\00075129.pdf
00075130   00075130    11/5/2019 20:49 Edoc     Suitland Parkway ROW_WTB_03012019.pdf                  .\VOL006\IMAGES\IMAGES001\00075130.pdf
                                                8_5X11Section4f_Impact
00075131   00075131    11/5/2019 20:49 Edoc     Display_BWPKWY_GreenbeltPark.pdf                       .\VOL006\IMAGES\IMAGES001\00075131.pdf
00075132   00075132    11/5/2019 20:49 Edoc     Section4fDiscussionMapping_RecordedArea.pdf            .\VOL006\IMAGES\IMAGES001\00075132.pdf
                                                8_5X11Section4f_Impact
00075133   00075133    11/5/2019 20:49 Edoc     Display_COCanal_ClaraBarton.pdf                        .\VOL006\IMAGES\IMAGES001\00075133.pdf
00075134   00075134     11/6/2019 9:27 Email    Notes                                                  .\VOL006\IMAGES\IMAGES001\00075134.pdf

00075135   00075136     11/6/2019 9:27 Attach   NCPC FHWA November 1 2019 Meeting Notes.docx           .\VOL006\IMAGES\IMAGES001\00075135.pdf
00075137   00075137    11/6/2019 13:18 Email    RE: Notes                                              .\VOL006\IMAGES\IMAGES001\00075137.pdf
00075138   00075139    11/6/2019 13:35 Email    I‐495 & I‐270 MLS ‐ OCR Request                        .\VOL006\IMAGES\IMAGES001\00075138.pdf
00075140   00075140    11/6/2019 14:14 Email    RE: Notes                                              .\VOL006\IMAGES\IMAGES001\00075140.pdf
00075141   00075143    11/6/2019 16:28 Email    FW: I‐495 & I‐270 MLS ‐ OCR Request                    .\VOL006\IMAGES\IMAGES001\00075141.pdf
00075144   00075146    11/6/2019 16:28 Email    FW: I‐495 & I‐270 MLS ‐ OCR Request                    .\VOL006\IMAGES\IMAGES001\00075144.pdf
00075147   00075154     11/7/2019 8:15 Attach   I270 Widening Project 11‐2‐19.doc                      .\VOL006\IMAGES\IMAGES001\00075147.pdf
00075155   00075164    11/7/2019 12:35 Edoc     295 Coalition_maps_combined.pdf                        .\VOL006\IMAGES\IMAGES001\00075155.pdf
00075165   00075166    11/7/2019 13:51 Email    FW: ARDS Re‐Concurrence                                .\VOL006\IMAGES\IMAGES001\00075165.pdf

                                                RE: 1330 Piccard Dr, Rockville Acct # 00145756 & 620
00075167   00075169    11/7/2019 14:38 Email    Professional Dr, Gaithersburg Acct # 03352641          .\VOL006\IMAGES\IMAGES001\00075167.pdf
00075170   00075170    11/7/2019 14:38 Attach   00145756 & 03352641_Scope of Work.pdf                  .\VOL006\IMAGES\IMAGES001\00075170.pdf

00075171   00075171     11/8/2019 5:29 Email    RE: NCPC FHWA November 1 2019 Meeting Notes            .\VOL006\IMAGES\IMAGES001\00075171.pdf

00075172   00075174     11/8/2019 8:50 Edoc     Meeting Outreach‐Record_295 Coalition_110919.docx .\VOL006\IMAGES\IMAGES001\00075172.pdf
                                                I‐495_I‐
                                                270_Workshop_Handout_Two_Sided_2019_11_8_REV
00075175   00075176    11/8/2019 11:44 Edoc     ISED_NOTFINAL.pdf                                 .\VOL006\IMAGES\IMAGES001\00075175.pdf
00075177   00075178    11/8/2019 15:52 Email    OFD Coordination Meeting‐ Follow up               .\VOL006\IMAGES\IMAGES001\00075177.pdf

00075179   00075179    11/8/2019 15:52 Attach   DEIS‐JPA Review+Approval Schedule_11‐08‐2019.pdf .\VOL006\IMAGES\IMAGES001\00075179.pdf
00075180   00075187    11/8/2019 15:52 Attach   MLS DEIS_Outline_Draft_Nov2019.pdf               .\VOL006\IMAGES\IMAGES001\00075180.pdf
00075188   00075189    11/8/2019 15:52 Email    OFD Coordination Meeting‐ Follow up              .\VOL006\IMAGES\IMAGES001\00075188.pdf
                                                I‐495_I‐
                                                270_Workshop_Handout_Two_Sided_2019_11_8V2.p
00075190   00075191   11/11/2019 15:18 Edoc     df                                               .\VOL006\IMAGES\IMAGES001\00075190.pdf
00075192   00075193   11/11/2019 16:02 Email    I‐495 & I‐270 MLS: LOD Sheets                    .\VOL006\IMAGES\IMAGES001\00075192.pdf
00075194   00075194   11/11/2019 16:02 Attach   US Navy Medical Center_Perimeter Road.pdf        .\VOL006\IMAGES\IMAGES001\00075194.pdf

00075195   00075195   11/11/2019 16:02 Attach   US Navy Medical Center_CSX Line and Linden Lane.pdf .\VOL006\IMAGES\IMAGES001\00075195.pdf
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00075196   00075196   11/11/2019 16:02 Attach   USNavalSurfaceWarfareCenter_Clara Barton.pdf            .\VOL006\IMAGES\IMAGES001\00075196.pdf
00075197   00075198   11/11/2019 16:02 Email    I‐495 & I‐270 MLS: LOD Sheets                           .\VOL006\IMAGES\IMAGES001\00075197.pdf
00075199   00075200    11/12/2019 9:09 Email    RPA                                                     .\VOL006\IMAGES\IMAGES001\00075199.pdf

00075201   00075201   11/12/2019 10:11 Edoc     2019.06.29_Summerfest_Gaithersburg_Summary.docx .\VOL006\IMAGES\IMAGES001\00075201.pdf
                                                2019.07.13_LakeArborJazzFest_Mitchellville_Summary
00075202   00075202   11/12/2019 10:12 Edoc     .docx                                              .\VOL006\IMAGES\IMAGES001\00075202.pdf
00075203   00075203   11/12/2019 10:32 Edoc     2019.08.06_NationalNightOut_Summary.docx           .\VOL006\IMAGES\IMAGES001\00075203.pdf

00075204   00075204   11/12/2019 10:33 Edoc     2019.08_Montgomery County Fair_Summary.docx             .\VOL006\IMAGES\IMAGES001\00075204.pdf

                                                FW: Governor Northam, Governor Hogan Announce
                                                Historic ‘Capital Beltway Accord’ to Rebuild American
00075205   00075207   11/12/2019 10:33 Email    Legion Bridge, Connect Interstate Highway System        .\VOL006\IMAGES\IMAGES001\00075205.pdf

00075208   00075208   11/12/2019 10:34 Edoc     2019.08.21_Frederick Keys Baseball_Summary.docx .\VOL006\IMAGES\IMAGES001\00075208.pdf
00075209   00075210   11/12/2019 10:45 Edoc     2019_PG County Fair_Summary.docx                .\VOL006\IMAGES\IMAGES001\00075209.pdf
00075211   00075213   11/12/2019 10:47 Edoc     2019_Frederick County Fair_Summary.docx         .\VOL006\IMAGES\IMAGES001\00075211.pdf
                                                I‐495_I‐
                                                270_Workshop_Handout_Two_Sided_2019_11_12V1.
00075214   00075215   11/12/2019 10:59 Edoc     pdf                                             .\VOL006\IMAGES\IMAGES001\00075214.pdf
                                                20190930_Health Expo & Dance
00075216   00075216   11/12/2019 11:13 Edoc     Fitness_Summary.docx                            .\VOL006\IMAGES\IMAGES001\00075216.pdf
00075217   00075218    11/13/2019 7:16 Email    FW: I‐495 & I‐270 MLS: LOD Sheets               .\VOL006\IMAGES\IMAGES001\00075217.pdf
00075219   00075219   11/13/2019 10:55 Edoc     20191013_KentlandsOktoberfest_Summary.docx      .\VOL006\IMAGES\IMAGES001\00075219.pdf
00075220   00075220   11/13/2019 13:41 Edoc     20191019_Rockville Car Show_Summary.docx        .\VOL006\IMAGES\IMAGES001\00075220.pdf
00075221   00075223   11/13/2019 15:43 Email    FW: Milestone dates for MLS project in MD       .\VOL006\IMAGES\IMAGES001\00075221.pdf
00075224   00075251    11/14/2019 9:27 Edoc     20191106_Wildwood Manor_final.pdf               .\VOL006\IMAGES\IMAGES001\00075224.pdf

00075252   00075252    11/14/2019 9:28 Email    FW: Notes of FHWA NCPC November 1 2019 Meeting          .\VOL006\IMAGES\IMAGES001\00075252.pdf
00075253   00075254   11/14/2019 12:51 Email    USACE ARDS Discussion                                   .\VOL006\IMAGES\IMAGES001\00075253.pdf
00075255   00075257   11/14/2019 13:32 Email    FW: USACE ARDS Discussion                               .\VOL006\IMAGES\IMAGES001\00075255.pdf

00075258   00075258   11/14/2019 16:25 Email    I‐495/I‐270 FHWA Coordination Notes (Nov 5): MLS        .\VOL006\IMAGES\IMAGES001\00075258.pdf
                                                2019‐11‐05_FHWA Coordination Meeting
00075259   00075260   11/14/2019 16:25 Attach   Notes_MLS.docx                                          .\VOL006\IMAGES\IMAGES001\00075259.pdf
                                                I‐495/I‐270 FHWA Coordination Notes (Nov 5): I‐270
00075261   00075261   11/14/2019 16:25 Email    Pre‐NEPA                                                .\VOL006\IMAGES\IMAGES001\00075261.pdf

00075262   00075262   11/14/2019 16:25 Email    I‐495/I‐270 FHWA Coordination Notes (Nov 5): MLS        .\VOL006\IMAGES\IMAGES001\00075262.pdf

00075263   00075263   11/14/2019 17:09 Attach   2019‐11‐19_FHWA Coordination Mtg Agenda.docx            .\VOL006\IMAGES\IMAGES001\00075263.pdf
00075264   00075264   11/14/2019 17:09 Email    I‐495/I‐270 FHWA Coordination Meeting Agenda            .\VOL006\IMAGES\IMAGES001\00075264.pdf

00075265   00075265   11/14/2019 17:09 Attach   2019‐11‐19_FHWA Coordination Mtg Agenda.docx            .\VOL006\IMAGES\IMAGES001\00075265.pdf
00075266   00075267   11/15/2019 10:40 Email    FW: NPS/MDOT SHA Coordination Meeting                   .\VOL006\IMAGES\IMAGES001\00075266.pdf
                                                2019‐11‐18_NPS and MDOT SHA ROW Coordination
00075268   00075268   11/15/2019 10:40 Attach   Meeting Agenda.pdf                                      .\VOL006\IMAGES\IMAGES001\00075268.pdf
00075269   00075269   11/15/2019 10:40 Attach   Greenbelt Park Area Map.pdf                             .\VOL006\IMAGES\IMAGES001\00075269.pdf
00075270   00075271   11/18/2019 10:07 Email    FW: NPS/MDOT SHA Coordination Meeting                   .\VOL006\IMAGES\IMAGES001\00075270.pdf

00075272   00075272   11/18/2019 13:00 Attach   20191118‐Transit Work Group Agenda _FINAL.pdf           .\VOL006\IMAGES\IMAGES001\00075272.pdf
00075273   00075279   11/18/2019 13:00 Attach   Transit Benefits Meeting Notes_10282019.pdf             .\VOL006\IMAGES\IMAGES001\00075273.pdf
00075280   00075297   11/18/2019 13:00 Attach   Transit Work Group _5_20191118_FINAL.pdf                .\VOL006\IMAGES\IMAGES001\00075280.pdf
00075298   00075299   11/18/2019 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group          .\VOL006\IMAGES\IMAGES001\00075298.pdf
00075300   00075301   11/18/2019 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group          .\VOL006\IMAGES\IMAGES001\00075300.pdf
                                                2019.10.22_MD 200 Diversion Alt_Tech
00075302   00075330   11/18/2019 14:47 Edoc     Results_Final.docx                                      .\VOL006\IMAGES\IMAGES001\00075302.pdf
00075331   00075331   11/18/2019 15:02 Email    HQ access to I‐495/& I‐270 MLS Project                  .\VOL006\IMAGES\IMAGES001\00075331.pdf
00075332   00075333   11/18/2019 16:05 Email    RE: Recommended Preferred Alternative                   .\VOL006\IMAGES\IMAGES001\00075332.pdf
00075334   00075335   11/20/2019 14:10 Email    FW: Relevant Capper Cramton Agreements                  .\VOL006\IMAGES\IMAGES001\00075334.pdf

00075336   00075519   11/20/2019 14:37 Attach   Suburbanization Context Addendum_Final‐2019.pdf         .\VOL006\IMAGES\IMAGES001\00075336.pdf
                                                RE: Managed Lane EIS SHA/MDOT discussion on
00075520   00075522    11/21/2019 7:28 Email    installation fence line impacts                         .\VOL006\IMAGES\IMAGES001\00075520.pdf
                                                Meeting Minutes ‐ Managed Lanes EIS NAVY MDOT
00075523   00075528    11/21/2019 7:28 Attach   FHWA meeting 20191114.pdf                               .\VOL006\IMAGES\IMAGES001\00075523.pdf
00075529   00075530    11/21/2019 7:51 Email    RE_ HQ access to I‐495_& I‐270 MLS Project.pdf          .\VOL006\IMAGES\IMAGES001\00075529.pdf
00075531   00075532   11/21/2019 11:01 Email    RE: I‐495/I‐270 MLS ‐ VA noise                          .\VOL006\IMAGES\IMAGES001\00075531.pdf
00075533   00075533   11/21/2019 12:29 Email    response to ACOE comments                               .\VOL006\IMAGES\IMAGES001\00075533.pdf
00075534   00075535   11/21/2019 13:58 Email    FW: response to ACOE comments                           .\VOL006\IMAGES\IMAGES001\00075534.pdf
00075536   00075536   11/21/2019 15:53 Attach   Direct Access at BW Parkway ‐ ADT.pdf                   .\VOL006\IMAGES\IMAGES001\00075536.pdf
                                                RE: Corps preliminary draft comments on the Revised
00075537   00075538   11/21/2019 16:29 Email    ML ARDS Paper                                           .\VOL006\IMAGES\IMAGES001\00075537.pdf
                                                RE: Corps preliminary draft comments on the Revised
00075539   00075542   11/21/2019 21:24 Email    ML ARDS Paper                                           .\VOL006\IMAGES\IMAGES001\00075539.pdf
00075543   00075543   11/21/2019 22:48 Email    11/21/19 P3 Public Workshop ‐ Gaithersburg              .\VOL006\IMAGES\IMAGES001\00075543.pdf
                                                RE: I‐495 & I‐270 P3 Program Press/Media Report ‐
00075544   00075556    11/22/2019 8:39 Email    11/21/2019                                              .\VOL006\IMAGES\IMAGES001\00075544.pdf
                                                RE: I‐495 & I‐270 P3 Program Press/Media Report ‐
00075557   00075570    11/22/2019 8:41 Email    11/21/2019                                              .\VOL006\IMAGES\IMAGES001\00075557.pdf
                                                RE: I‐495 & I‐270 P3 Program Press/Media Report ‐
00075571   00075583    11/22/2019 8:42 Email    11/21/2019                                              .\VOL006\IMAGES\IMAGES001\00075571.pdf
                                                RE: I‐495 & I‐270 P3 Program Press/Media Report ‐
00075584   00075596    11/22/2019 9:07 Email    11/21/2019                                              .\VOL006\IMAGES\IMAGES001\00075584.pdf
                                                RE_ Corps preliminary draft comments on the
00075597   00075600   11/22/2019 11:46 Email    Rev....pdf                                              .\VOL006\IMAGES\IMAGES001\00075597.pdf
                                                Corps revised ARDS concurrence with comments
00075601   00075603   11/25/2019 15:48 Attach   20191125.pdf                                            .\VOL006\IMAGES\IMAGES001\00075601.pdf
00075604   00075605   11/25/2019 17:16 Email    CEA Review Date                                         .\VOL006\IMAGES\IMAGES001\00075604.pdf
00075606   00075607   11/25/2019 18:06 Email    RE: CEA Review Date                                     .\VOL006\IMAGES\IMAGES001\00075606.pdf
00075608   00075608   11/26/2019 11:22 Email    Rebuild the American Legion Bridge                      .\VOL006\IMAGES\IMAGES001\00075608.pdf
00075609   00075609   11/26/2019 11:22 Attach   LRT‐170.png                                             .\VOL006\IMAGES\IMAGES001\00075609.pdf
00075610   00075610   11/26/2019 12:09 Attach   Scanned from a Xerox Multifunction Printer.pdf          .\VOL006\IMAGES\IMAGES001\00075610.pdf
00075611   00075617   11/26/2019 16:00 Attach   2019‐11‐26_MNCPPC Coordination and Data.pdf             .\VOL006\IMAGES\IMAGES001\00075611.pdf
                                                RE: Distribution Requested: Draft CEA/EJ Analysis &
00075618   00075619   11/26/2019 16:07 Email    others                                                  .\VOL006\IMAGES\IMAGES002\00075618.pdf
00075620   00075620   11/26/2019 16:24 Email    OFD call on MLS.pdf                                     .\VOL006\IMAGES\IMAGES002\00075620.pdf
                                                I‐495_I‐270 MLS Section 106 DOE forms, Batch
00075621   00075623   11/26/2019 17:20 Email    10....pdf                                               .\VOL006\IMAGES\IMAGES002\00075621.pdf
00075624   00075626   11/26/2019 17:20 Attach   MLS DOE Batch Transmittal_10_APEnc.pdf                  .\VOL006\IMAGES\IMAGES002\00075624.pdf

00075627   00075631   11/26/2019 17:41 Email    RE_ PA Division access to I‐495 & I‐270 MLS Pr....pdf   .\VOL006\IMAGES\IMAGES002\00075627.pdf

00075632   00075637   11/26/2019 17:41 Email    RE: PA Division access to I‐495 & I‐270 MLS Project     .\VOL006\IMAGES\IMAGES002\00075632.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 55 of 263

                                                FW: Action Required: I‐495 & I‐270 Recommended
00075638   00075639   11/26/2019 17:49 Email    Preferred Alternative DRAFT Discussion Document         .\VOL006\IMAGES\IMAGES002\00075638.pdf
                                                I‐495/I‐270 FHWA Coordination Notes (Nov 19): I‐270
00075640   00075640   11/26/2019 18:16 Email    Pre‐NEPA                                                .\VOL006\IMAGES\IMAGES002\00075640.pdf
                                                20191119‐I‐270_FHWA Coordination Meeting
00075641   00075642   11/26/2019 18:16 Attach   Notes.docx                                              .\VOL006\IMAGES\IMAGES002\00075641.pdf

00075643   00075643   11/26/2019 18:16 Email    I‐495/I‐270 FHWA Coordination Notes (Nov 19): MLS       .\VOL006\IMAGES\IMAGES002\00075643.pdf

                                                RE: Action Required: I‐495 & I‐270 Recommended
00075644   00075645   11/26/2019 21:59 Email    Preferred Alternative DRAFT Discussion Document         .\VOL006\IMAGES\IMAGES002\00075644.pdf

00075646   00075648    11/27/2019 6:39 Email    FW: Response to request for consulting party status     .\VOL006\IMAGES\IMAGES002\00075646.pdf
                                                FW: Response to Sierra Club, request for consulting
00075649   00075651    11/27/2019 6:39 Email    party status                                            .\VOL006\IMAGES\IMAGES002\00075649.pdf
                                                FW: VDOT I‐495/I‐270 MLS Section 106 DOE forms,
00075652   00075655    11/27/2019 8:20 Email    Batch 10, APE Update                                    .\VOL006\IMAGES\IMAGES002\00075652.pdf

00075656   00075656   11/27/2019 10:18 Attach   2019‐12‐03_FHWA Coordination Mtg Agenda.docx        .\VOL006\IMAGES\IMAGES002\00075656.pdf
                                                Re: FW: Response to request for consulting party
00075657   00075660   11/27/2019 10:46 Email    status                                              .\VOL006\IMAGES\IMAGES002\00075657.pdf
00075661   00075662   11/27/2019 11:54 Email    RE: OFD question                                    .\VOL006\IMAGES\IMAGES002\00075661.pdf
00075663   00075665   11/27/2019 12:07 Attach   Urbana_Gburg Public Workshops_Nov 2019.docx         .\VOL006\IMAGES\IMAGES002\00075663.pdf
                                                I495/I270 Managed Lanes Study‐Alternatives Retained
00075666   00075666   11/27/2019 15:57 Email    for Detailed Study                                  .\VOL006\IMAGES\IMAGES002\00075666.pdf
                                                2019.11.29_Honorable Alfred C Carr Jr_PIA 10‐Day
00075667   00075668   11/29/2019 11:06 Edoc     Letter.pdf                                          .\VOL006\IMAGES\IMAGES002\00075667.pdf
                                                FW: I495/I270 Managed Lanes Study‐Alternatives
00075669   00075669   11/29/2019 15:58 Email    Retained for Detailed Study                         .\VOL006\IMAGES\IMAGES002\00075669.pdf

                                                Letter Re I495 and I270 Managed Lanes Study
00075670   00075675   11/29/2019 15:58 Attach   Alternatives Retained for Detailed Study 11.27.19.pdf   .\VOL006\IMAGES\IMAGES002\00075670.pdf
                                                I‐495 I‐270 MLS ARDS Summary and Concurrence
00075676   00075676   11/29/2019 15:58 Attach   Form_Page_5 (REVISED) 11‐27‐19.pdf                      .\VOL006\IMAGES\IMAGES002\00075676.pdf

00075677   00075677     12/2/2019 8:53 Attach   2019‐12‐03_FHWA Coordination Mtg Agenda.docx            .\VOL006\IMAGES\IMAGES002\00075677.pdf
                                                FW: Archeology Reporting MLS American Legion
00075678   00075679     12/3/2019 9:49 Email    Bridge Area                                             .\VOL006\IMAGES\IMAGES002\00075678.pdf
                                                VDOT‐Consulting Parties Review of Arch
00075680   00075681     12/3/2019 9:49 Attach   Study_20191030.pdf                                      .\VOL006\IMAGES\IMAGES002\00075680.pdf
                                                FW: Archeology Reporting MLS American Legion
00075682   00075683     12/3/2019 9:57 Email    Bridge Area                                             .\VOL006\IMAGES\IMAGES002\00075682.pdf
                                                VDOT‐VA‐SHPO‐Letter‐DOE‐Review‐Arch‐Study_I‐
00075684   00075692     12/3/2019 9:57 Attach   495_20191030.pdf                                        .\VOL006\IMAGES\IMAGES002\00075684.pdf
00075693   00075694    12/3/2019 13:32 Email    FW: Response to NCPC Questions                          .\VOL006\IMAGES\IMAGES002\00075693.pdf
00075695   00075696    12/3/2019 13:32 Attach   2019‐11‐26 RESPONSE TO NCPC QUESTIONS.docx              .\VOL006\IMAGES\IMAGES002\00075695.pdf
00075697   00075698    12/3/2019 13:34 Email    RE: Response to NCPC Questions                          .\VOL006\IMAGES\IMAGES002\00075697.pdf
00075699   00075700     12/4/2019 6:58 Attach   Response to request for consulting party status         .\VOL006\IMAGES\IMAGES002\00075699.pdf

00075701   00075703     12/4/2019 6:58 Attach   FW: Response to request for consulting party status     .\VOL006\IMAGES\IMAGES002\00075701.pdf
00075704   00075705    12/4/2019 11:52 Edoc     2019.12.03_Brad J German_PIA 10‐Day Letter.pdf          .\VOL006\IMAGES\IMAGES002\00075704.pdf

00075706   00075714    12/4/2019 12:34 Attach   2019‐12‐04_MNCPPC Coordination and Data.docx            .\VOL006\IMAGES\IMAGES002\00075706.pdf
00075715   00075716    12/4/2019 13:26 Email    FW: BPW                                                 .\VOL006\IMAGES\IMAGES002\00075715.pdf
00075717   00075723    12/4/2019 13:26 Attach   19‐GM (amended).pdf                                     .\VOL006\IMAGES\IMAGES002\00075717.pdf
00075724   00075725     12/5/2019 7:24 Email    FW: Alternative 9 Modified                              .\VOL006\IMAGES\IMAGES002\00075724.pdf

                                                RE: Action Required: I‐495 & I‐270 Recommended
00075726   00075727     12/5/2019 7:26 Email    Preferred Alternative DRAFT Discussion Document         .\VOL006\IMAGES\IMAGES002\00075726.pdf
00075728   00075729     12/5/2019 7:28 Email    RE: NPS Coordination Follow Up                          .\VOL006\IMAGES\IMAGES002\00075728.pdf
00075730   00075730    12/6/2019 16:32 Email    Ice & Hazmat tech reports.pdf                           .\VOL006\IMAGES\IMAGES002\00075730.pdf

00075731   00075733    12/9/2019 15:36 Edoc     Grosvenor Mews and Square_maps_combined.pdf             .\VOL006\IMAGES\IMAGES002\00075731.pdf
00075734   00075735    12/10/2019 7:24 Email    FW: Updated RPA                                         .\VOL006\IMAGES\IMAGES002\00075734.pdf
00075736   00075736   12/10/2019 10:13 Email    Comments on Pre NEPA Draft P&N I‐270                    .\VOL006\IMAGES\IMAGES002\00075736.pdf
                                                FW: Wyngate Citizens Association statement in
                                                support of M‐NCPPC non‐concurrence of the MDOT
00075737   00075738   12/10/2019 16:17 Attach   alternatives retained for detailed study                .\VOL006\IMAGES\IMAGES002\00075737.pdf
00075739   00075740    12/11/2019 7:17 Email    FW: Updated RPA                                         .\VOL006\IMAGES\IMAGES002\00075739.pdf
00075741   00075742   12/11/2019 11:51 Email    FW: Can you confirm?                                    .\VOL006\IMAGES\IMAGES002\00075741.pdf
00075743   00075744   12/11/2019 13:12 Edoc     I‐495_I‐270_FACTSHEET_FINAL_NOV2019.pdf                 .\VOL006\IMAGES\IMAGES002\00075743.pdf
00075745   00075745   12/11/2019 13:27 Email    FW: MLS RPA Comments                                    .\VOL006\IMAGES\IMAGES002\00075745.pdf

                                                Gibson Grove Church ‐ Historic and Cultural Resources
00075746   00075746   12/11/2019 13:30 Email    for the I‐495 and I‐270 Managed Lanes Study project .\VOL006\IMAGES\IMAGES002\00075746.pdf

00075747   00075750   12/11/2019 13:34 Email    FW: [EXTERNAL] OFD Coordination Meeting‐ Follow up .\VOL006\IMAGES\IMAGES002\00075747.pdf

00075751   00075751   12/11/2019 14:47 Email    Agenda items for 12/17 FHWA/SHA Coordination Mtg .\VOL006\IMAGES\IMAGES002\00075751.pdf

00075752   00075752   12/11/2019 17:19 Email    I‐495/I‐270 FHWA Coordination Notes (Dec 3): MLS        .\VOL006\IMAGES\IMAGES002\00075752.pdf
                                                2019‐12‐03_FHWA Coordination Meeting
00075753   00075754   12/11/2019 17:19 Attach   Notes_MLS.docx                                          .\VOL006\IMAGES\IMAGES002\00075753.pdf
00075755   00075755   12/11/2019 17:25 Email    Review Requested: 495/270 RPA Memo                      .\VOL006\IMAGES\IMAGES002\00075755.pdf
                                                2019‐11‐25_495 270_ PA Discussion Document FHWA
00075756   00075776   12/11/2019 17:25 Attach   Comments.docx                                           .\VOL006\IMAGES\IMAGES002\00075756.pdf

00075777   00075777   12/11/2019 17:27 Attach   2019‐12‐17_FHWA Coordination Mtg Agenda.docx            .\VOL006\IMAGES\IMAGES002\00075777.pdf
                                                2019‐12‐03_FHWA Coordination Meeting Notes_P3
00075778   00075778    12/12/2019 9:49 Attach   Program.docx                                            .\VOL006\IMAGES\IMAGES002\00075778.pdf
00075779   00075780   12/12/2019 12:44 Email    IAWG No. 12 ‐ Sign‐in Sheet                             .\VOL006\IMAGES\IMAGES002\00075779.pdf
00075781   00075785   12/12/2019 12:44 Attach   2019‐10‐16_IAWG No 12_Sign‐In.pdf                       .\VOL006\IMAGES\IMAGES002\00075781.pdf
                                                I‐495_I‐
00075786   00075787   12/12/2019 15:00 Edoc     270_FACTSHEET_FINAL_NOV2019_SPANISH.pdf                 .\VOL006\IMAGES\IMAGES002\00075786.pdf
00075788   00075788   12/13/2019 12:55 Email    GWM Parkway                                             .\VOL006\IMAGES\IMAGES002\00075788.pdf
00075789   00075789   12/13/2019 19:04 Email    draft emails                                            .\VOL006\IMAGES\IMAGES002\00075789.pdf
00075790   00075790   12/13/2019 19:04 Attach   Response to Agency Comments.docx                        .\VOL006\IMAGES\IMAGES002\00075790.pdf
00075791   00075791   12/13/2019 19:04 Attach   disclaminer Alt 5.docx                                  .\VOL006\IMAGES\IMAGES002\00075791.pdf
00075792   00075792   12/13/2019 19:29 Email    RE: ACOE meeting                                        .\VOL006\IMAGES\IMAGES002\00075792.pdf
                                                2019.12.16_Honorable Alfred C Carr Jr_PIA 10‐Day
00075793   00075794    12/16/2019 8:04 Edoc     Letter.pdf                                              .\VOL006\IMAGES\IMAGES002\00075793.pdf
                                                RE: Comments on Pre NEPA Draft P&N I‐270 and
00075795   00075795    12/16/2019 8:19 Email    Logical Termini Paper Comments                          .\VOL006\IMAGES\IMAGES002\00075795.pdf
00075796   00075797   12/16/2019 11:15 Email    RE: MLS RPA Comments                                    .\VOL006\IMAGES\IMAGES002\00075796.pdf
     Case 8:22-cv-02597-DKC                               Document 42-1                                    Filed 05/03/23                         Page 56 of 263

00075798   00075799   12/16/2019 11:22 Email    Alternative 9 Modified Discussion Document               .\VOL006\IMAGES\IMAGES002\00075798.pdf
                                                2019.12.16_Alternative 9 Modified Discussion
00075800   00075810   12/16/2019 11:22 Attach   Document.docx                                            .\VOL006\IMAGES\IMAGES002\00075800.pdf

00075811   00075811   12/16/2019 13:00 Attach   20191216‐Transit Work Group Agenda _FINAL.pdf            .\VOL006\IMAGES\IMAGES002\00075811.pdf

00075812   00075817   12/16/2019 13:00 Attach   Transit Benefits Meeting Notes_11182019_FINAL.pdf        .\VOL006\IMAGES\IMAGES002\00075812.pdf
00075818   00075838   12/16/2019 13:00 Attach   Transit Work Group #6_20191216.pdf                       .\VOL006\IMAGES\IMAGES002\00075818.pdf
00075839   00075845   12/16/2019 13:00 Attach   Anne Arundel County ‐ Regional Needs.pdf                 .\VOL006\IMAGES\IMAGES002\00075839.pdf
00075846   00075847   12/16/2019 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group           .\VOL006\IMAGES\IMAGES002\00075846.pdf
00075848   00075849   12/16/2019 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group           .\VOL006\IMAGES\IMAGES002\00075848.pdf
                                                RE: Comments on Pre NEPA Draft P&N I‐270 and
00075850   00075850   12/16/2019 14:56 Email    Logical Termini Paper Comments                           .\VOL006\IMAGES\IMAGES002\00075850.pdf
00075851   00075851   12/16/2019 15:42 Email    Status of action items                                   .\VOL006\IMAGES\IMAGES002\00075851.pdf
00075852   00075852   12/17/2019 16:32 Email    495/270 ‐ Tolling Approach in DEIS                       .\VOL006\IMAGES\IMAGES002\00075852.pdf
00075853   00075854   12/17/2019 16:32 Attach   doc_20191217164759.pdf                                   .\VOL006\IMAGES\IMAGES002\00075853.pdf
00075855   00075856   12/18/2019 10:42 Email    Toll Text‐ DEIS Outline                                  .\VOL006\IMAGES\IMAGES002\00075855.pdf
00075857   00075858   12/18/2019 10:51 Email    Alternative 9 Modified‐ Discussion Document              .\VOL006\IMAGES\IMAGES002\00075857.pdf
                                                2019.12.16_Alternative 9 Modified Discussion
00075859   00075869   12/18/2019 10:51 Attach   Document.docx                                            .\VOL006\IMAGES\IMAGES002\00075859.pdf
00075870   00075870   12/18/2019 11:16 Attach   2019‐12‐18_495_270 Permit Schedule.pdf                   .\VOL006\IMAGES\IMAGES002\00075870.pdf

00075871   00075872   12/18/2019 14:01 Email    I‐495 _ I‐270 Managed Lane Study ‐ Interstate A....pdf   .\VOL006\IMAGES\IMAGES002\00075871.pdf
00075873   00075873   12/18/2019 14:30 Email    RE: Bus on Shoulders Study (2013)                        .\VOL006\IMAGES\IMAGES002\00075873.pdf
                                                RE_ I‐495 _ I‐270 Managed Lane Study ‐
00075874   00075875   12/18/2019 14:56 Email    Intersta...(11).pdf                                      .\VOL006\IMAGES\IMAGES002\00075874.pdf
                                                RE: I‐495 / I‐270 Managed Lane Study ‐ Interstate
00075876   00075878   12/18/2019 14:56 Email    Access coordination                                      .\VOL006\IMAGES\IMAGES002\00075876.pdf
00075879   00075879   12/18/2019 15:06 Email    I‐495 & I‐270 Managed Lanes Transit Work Group           .\VOL006\IMAGES\IMAGES002\00075879.pdf
00075880   00075880   12/18/2019 15:06 Attach   Bus on Shoulders Study (2013)                            .\VOL006\IMAGES\IMAGES002\00075880.pdf
00075881   00075881   12/18/2019 15:17 Email    I‐270 Draft P&N                                          .\VOL006\IMAGES\IMAGES002\00075881.pdf
                                                Draft 4 I‐270 Purpose and Need 120319 FHWA
00075882   00075917   12/18/2019 15:17 Attach   Comments.docx                                            .\VOL006\IMAGES\IMAGES002\00075882.pdf
                                                RE_ I‐495 _ I‐270 Managed Lane Study ‐
00075918   00075919   12/18/2019 15:19 Email    Intersta...(10).pdf                                      .\VOL006\IMAGES\IMAGES002\00075918.pdf
                                                FW: Review Requested: I‐495 & I‐270 MLS Revised
00075920   00075921   12/18/2019 15:22 Email    ARDS Paper                                               .\VOL006\IMAGES\IMAGES002\00075920.pdf
00075922   00075981   12/18/2019 15:22 Attach   2019.10.16_REV ARDS Paper_FINAL.pdf                      .\VOL006\IMAGES\IMAGES002\00075922.pdf
                                                I‐495 & I‐270 ARDS Concurrence Form_October
00075982   00075982   12/18/2019 15:22 Attach   2019.doc                                                 .\VOL006\IMAGES\IMAGES002\00075982.pdf
                                                RE_ I‐495 _ I‐270 Managed Lane Study ‐
00075983   00075985   12/18/2019 15:27 Email    Intersta...(9).pdf                                       .\VOL006\IMAGES\IMAGES002\00075983.pdf
                                                RE_ I‐495 _ I‐270 Managed Lane Study ‐
00075986   00075987   12/18/2019 15:47 Email    Intersta...(8).pdf                                       .\VOL006\IMAGES\IMAGES002\00075986.pdf
                                                RE: Comments on Pre NEPA Draft P&N I‐270 and
00075988   00075989   12/18/2019 16:33 Email    Logical Termini Paper Comments                           .\VOL006\IMAGES\IMAGES002\00075988.pdf
                                                Draft I‐270 Logical Termini_11‐18‐19 FHWA
00075990   00075999   12/18/2019 16:33 Attach   Comments_KP.docx                                         .\VOL006\IMAGES\IMAGES002\00075990.pdf
00076000   00076001   12/18/2019 17:21 Email    FW: HQ access to the P3 Projects                         .\VOL006\IMAGES\IMAGES002\00076000.pdf
00076002   00076003   12/18/2019 17:29 Email    RE: HQ access to the P3 Projects                         .\VOL006\IMAGES\IMAGES002\00076002.pdf
                                                Review Requested: I‐270 Pre‐NEPA Logical Termini
00076004   00076004   12/18/2019 17:50 Email    Paper                                                    .\VOL006\IMAGES\IMAGES002\00076004.pdf
00076005   00076006    12/19/2019 7:38 Email    RE: HQ access to the P3 Projects                         .\VOL006\IMAGES\IMAGES002\00076005.pdf
                                                Outline of Proposed MLS DEIS Toll Text (Neel's
00076007   00076008    12/19/2019 8:49 Attach   comments).docx                                           .\VOL006\IMAGES\IMAGES002\00076007.pdf

00076009   00076081   12/19/2019 10:27 Edoc     495270MLS_PITR_AppendixA_Combined_122719.pdf .\VOL006\IMAGES\IMAGES002\00076009.pdf

00076082   00076115   12/19/2019 11:06 Edoc     495270MLS_PITR_AppendixB_Combined_122719.pdf             .\VOL006\IMAGES\IMAGES002\00076082.pdf

00076116   00076127   12/19/2019 11:25 Edoc     495270MLS_PITR_AppendixC_Combined_122719.pdf             .\VOL006\IMAGES\IMAGES002\00076116.pdf
00076128   00076128   12/19/2019 12:45 Email    Logical Termini with KP, JM and my comments              .\VOL006\IMAGES\IMAGES002\00076128.pdf
00076129   00076130   12/19/2019 13:50 Email    Draft MNCPPC Email                                       .\VOL006\IMAGES\IMAGES002\00076129.pdf
                                                RE_ I‐495 _ I‐270 Managed Lane Study ‐
00076131   00076133   12/19/2019 14:29 Email    Intersta...(7).pdf                                       .\VOL006\IMAGES\IMAGES002\00076131.pdf
00076134   00076136   12/19/2019 15:24 Email    RE: Draft MNCPPC Email                                   .\VOL006\IMAGES\IMAGES002\00076134.pdf
00076137   00076139   12/19/2019 16:02 Email    FW: Toll Text‐ DEIS Outline                              .\VOL006\IMAGES\IMAGES002\00076137.pdf
00076140   00076142   12/19/2019 16:37 Email    RE: Draft MNCPPC Email                                   .\VOL006\IMAGES\IMAGES002\00076140.pdf
00076143   00076144    12/20/2019 9:24 Email    RE: Toll Rate Range Discussion ‐ Monday                  .\VOL006\IMAGES\IMAGES002\00076143.pdf
00076145   00076145   12/20/2019 12:32 Email    RE: I‐270 P&N                                            .\VOL006\IMAGES\IMAGES002\00076145.pdf
                                                Draft 4 I‐270 Purpose and Need 122019 FHWA
00076146   00076181   12/20/2019 12:32 Attach   Comments.docx                                            .\VOL006\IMAGES\IMAGES002\00076146.pdf
00076182   00076182   12/23/2019 10:23 Email    My notes for the call                                    .\VOL006\IMAGES\IMAGES002\00076182.pdf
00076183   00076185   12/23/2019 12:28 Email    RE: Logical Termini Paper                                .\VOL006\IMAGES\IMAGES002\00076183.pdf
                                                RE_ I‐495 _ I‐270 Managed Lane Study ‐
00076186   00076188   12/23/2019 13:43 Email    Intersta...(6).pdf                                       .\VOL006\IMAGES\IMAGES002\00076186.pdf
                                                RE: I‐495 / I‐270 Managed Lane Study ‐ Interstate
00076189   00076192   12/23/2019 13:43 Email    Access coordination                                      .\VOL006\IMAGES\IMAGES002\00076189.pdf
                                                RE: DEIS Review Schedule and Mandatory Referral
00076193   00076195   12/23/2019 15:22 Email    Process                                                  .\VOL006\IMAGES\IMAGES002\00076193.pdf
                                                FW: DEIS Review Schedule and Mandatory Referral
00076196   00076198   12/23/2019 15:24 Email    Process                                                  .\VOL006\IMAGES\IMAGES002\00076196.pdf
00076199   00076200   12/23/2019 16:10 Email    Re: [EXTERNAL] question about a 1987 project             .\VOL006\IMAGES\IMAGES002\00076199.pdf
00076201   00076232   12/23/2019 16:10 Attach   Radar_Survey_Poor_Farm_Cemetery_1986.pdf                 .\VOL006\IMAGES\IMAGES002\00076201.pdf
00076233   00076234   12/23/2019 16:10 Attach   MO‐Ritchie Pkwy.pdf                                      .\VOL006\IMAGES\IMAGES002\00076233.pdf
00076235   00076245   12/23/2019 16:10 Attach   Poor_Farm_Archeology_Rhodes.pdf                          .\VOL006\IMAGES\IMAGES002\00076235.pdf

                                                Action Required: I‐495 & I‐270 Recommended
00076246   00076246   12/24/2019 19:15 Email    Preferred Alternative DRAFT Discussion Document          .\VOL006\IMAGES\IMAGES002\00076246.pdf
00076247   00076248   12/26/2019 10:01 Email    I‐495 & I‐270 MLS DEIS Review                            .\VOL006\IMAGES\IMAGES002\00076247.pdf
                                                2019‐12‐16 Sign‐in Sheet_Meeting w NPS I‐495NEXT‐
00076249   00076252   12/26/2019 11:20 Attach   GWMP.pdf                                                 .\VOL006\IMAGES\IMAGES002\00076249.pdf
                                                NPS ‐ 495 NEXT GWMP 106 Meeting 12‐16‐2019
00076253   00076285   12/26/2019 11:20 Attach   Vers1.pdf                                                .\VOL006\IMAGES\IMAGES002\00076253.pdf
                                                RE: MDOT SHA I‐495 and I‐270 Managed Lane Study
00076286   00076288   12/26/2019 17:23 Email    (MLS) ‐‐ Revised APE                                     .\VOL006\IMAGES\IMAGES002\00076286.pdf

00076289   00076365   12/27/2019 10:15 Edoc     495270MLS_PITR_AppendixD_Combined_122719.pdf             .\VOL006\IMAGES\IMAGES002\00076289.pdf
00076366   00076367   12/27/2019 11:52 Email    FW: I‐495 & I‐270 MLS DEIS Review                        .\VOL006\IMAGES\IMAGES002\00076366.pdf
00076368   00076369   12/27/2019 12:07 Email    Re: Draft NCPC Email                                     .\VOL006\IMAGES\IMAGES002\00076368.pdf
                                                FW: 2040 vs 2045 Traffic Model Comparison Memo
00076370   00076372   12/27/2019 14:22 Email    and Revised RPA Discussion Document                      .\VOL006\IMAGES\IMAGES002\00076370.pdf
                                                2040 vs 2045 Model Comparison Memo ‐ 12‐20‐
00076373   00076376   12/27/2019 14:22 Attach   19.docx                                                  .\VOL006\IMAGES\IMAGES002\00076373.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                              Filed 05/03/23                             Page 57 of 263

00076377   00076399   12/27/2019 14:22 Attach   2040 vs 2045 Model Comparison_Attachment A‐C.pdf .\VOL006\IMAGES\IMAGES002\00076377.pdf
                                                2019‐12‐20_495 270_ REVISED PA Discussion
00076400   00076421   12/27/2019 14:22 Attach   Document.docx                                    .\VOL006\IMAGES\IMAGES002\00076400.pdf
                                                2019‐11‐25_495 270_ PA Discussion Document_FHWA
00076422   00076442   12/27/2019 14:22 Attach   Comment Responses.docx                           .\VOL006\IMAGES\IMAGES002\00076422.pdf
00076443   00076444    12/30/2019 9:20 Email    DEIS Chapter 9‐ List of Preparers                .\VOL006\IMAGES\IMAGES002\00076443.pdf
00076445   00076446   12/30/2019 10:32 Email    FW: DEIS Chapter 9‐ List of Preparers            .\VOL006\IMAGES\IMAGES002\00076445.pdf
00076447   00076448   12/30/2019 13:22 Email    FW: Action items from today's call               .\VOL006\IMAGES\IMAGES002\00076447.pdf
00076449   00076450   12/30/2019 13:58 Email    Administrative Draft EIS                         .\VOL006\IMAGES\IMAGES002\00076449.pdf
                                                2019‐12‐31_NEPA Considerations for I‐495
00076451   00076451   12/31/2019 14:13 Edoc     Topside.docx                                     .\VOL006\IMAGES\IMAGES002\00076451.pdf

                                                FW: FHWA NO ACTION REQUIRED: Tribal Notification:
00076452   00076452   12/31/2019 14:23 Email    Revised APE for I‐495/I‐270 Managed Lanes Study   .\VOL006\IMAGES\IMAGES002\00076452.pdf
00076453   00076454      1/2/2020 7:38 Email    RE: DEIS Chapter 9‐ List of Preparers             .\VOL006\IMAGES\IMAGES002\00076453.pdf
                                                Gibson Grove A.M.E. Church ‐ one more consulting
00076455   00076455     1/2/2020 15:02 Email    party                                             .\VOL006\IMAGES\IMAGES002\00076455.pdf

00076456   00076456     1/2/2020 21:39 Attach   2020‐01‐07_FHWA Coordination Mtg Agenda.docx      .\VOL006\IMAGES\IMAGES002\00076456.pdf
00076457   00076458     1/3/2020 15:14 Email    FW: I‐495/I‐270 FHWA Coordination                 .\VOL006\IMAGES\IMAGES002\00076457.pdf
                                                2019‐12‐17_FHWA Coordination Meeting Notes_P3
00076459   00076459     1/4/2020 17:48 Attach   Program.docx                                      .\VOL006\IMAGES\IMAGES002\00076459.pdf
                                                2019‐12‐17_FHWA Coordination Meeting
00076460   00076461     1/4/2020 17:49 Attach   Notes_MLS.docx                                    .\VOL006\IMAGES\IMAGES002\00076460.pdf
                                                20191217‐I‐270_FHWA Coordination Meeting
00076462   00076463     1/4/2020 17:50 Attach   Notes.docx                                        .\VOL006\IMAGES\IMAGES002\00076462.pdf
00076464   00076464     1/6/2020 11:44 Email    [No Subject]                                      .\VOL006\IMAGES\IMAGES002\00076464.pdf
00076465   00076466     1/6/2020 12:09 Email    RE: Response to NCPC Questions                    .\VOL006\IMAGES\IMAGES002\00076465.pdf
00076467   00076468     1/6/2020 14:22 Email    I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS           .\VOL006\IMAGES\IMAGES002\00076467.pdf
00076469   00076470     1/6/2020 14:39 Email    FW: I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS       .\VOL006\IMAGES\IMAGES002\00076469.pdf
00076471   00076473     1/6/2020 17:00 Email    RE: Response to NCPC Questions                    .\VOL006\IMAGES\IMAGES002\00076471.pdf
00076474   00076475     1/6/2020 17:45 Email    RE: DEIS Chapter 9‐ List of Preparers             .\VOL006\IMAGES\IMAGES002\00076474.pdf

00076476   00076476     1/6/2020 18:14 Attach   2020‐01‐07_FHWA Coordination Mtg Agenda_v2.docx .\VOL006\IMAGES\IMAGES002\00076476.pdf

00076477   00076479      1/7/2020 8:32 Attach   2020‐01‐06_RESPONSE TO NCPC QUESTIONS.docx         .\VOL006\IMAGES\IMAGES002\00076477.pdf
00076480   00076481      1/7/2020 8:42 Email    FW: MLS Schedule                                   .\VOL006\IMAGES\IMAGES002\00076480.pdf
00076482   00076484     1/7/2020 11:58 Email    FW: I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS        .\VOL006\IMAGES\IMAGES002\00076482.pdf
                                                RE: 2040 vs 2045 Traffic Model Comparison Memo and
00076485   00076487     1/7/2020 12:45 Email    Revised RPA Discussion Document                    .\VOL006\IMAGES\IMAGES002\00076485.pdf
00076488   00076490      1/8/2020 8:52 Email    RE: I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS        .\VOL006\IMAGES\IMAGES002\00076488.pdf
                                                Proposed MLS DEIS Toll Text_V5_01‐03 to FHWA
00076491   00076497      1/8/2020 8:52 Attach   (neel's edits).docx                                .\VOL006\IMAGES\IMAGES002\00076491.pdf
00076498   00076498      1/8/2020 9:33 Email    Agenda for 11 am meeting                           .\VOL006\IMAGES\IMAGES002\00076498.pdf

00076499   00076499      1/8/2020 9:33 Attach   Jan 7 20 Internal DO and MC Meeting Agenda.docx      .\VOL006\IMAGES\IMAGES002\00076499.pdf
                                                RE: 2040 vs 2045 Traffic Model Comparison Memo and
00076500   00076501     1/8/2020 10:47 Email    Revised RPA Discussion Document                      .\VOL006\IMAGES\IMAGES002\00076500.pdf
00076502   00076502     1/8/2020 12:09 Email    BPW Video                                            .\VOL006\IMAGES\IMAGES002\00076502.pdf
00076503   00076503     1/8/2020 12:10 Email    FW: BPW Video                                        .\VOL006\IMAGES\IMAGES002\00076503.pdf
                                                REVIEW REQUESTED_ I‐495 & I‐270 MLS ‐‐ Toll
00076504   00076505     1/8/2020 12:34 Email    Tex....pdf                                           .\VOL006\IMAGES\IMAGES002\00076504.pdf
00076506   00076507     1/8/2020 13:39 Email    RE: BPW Video                                        .\VOL006\IMAGES\IMAGES002\00076506.pdf
00076508   00076510     1/8/2020 13:51 Email    FW: I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS          .\VOL006\IMAGES\IMAGES002\00076508.pdf
00076511   00076511     1/8/2020 15:51 Email     I‐270 Pre‐NEPA Logical Termini Paper                .\VOL006\IMAGES\IMAGES002\00076511.pdf
00076512   00076513     1/8/2020 16:03 Email    FW: Detailed Schedule                                .\VOL006\IMAGES\IMAGES002\00076512.pdf
00076514   00076515     1/8/2020 16:09 Email    Draft ARDS Response to Cooperating Agencies          .\VOL006\IMAGES\IMAGES002\00076514.pdf
                                                Summary of Agency_Comments_Rev ARDS Paper with
00076516   00076519     1/8/2020 16:09 Attach   responses.docx                                       .\VOL006\IMAGES\IMAGES002\00076516.pdf
                                                Summary of Agency_Comments_Rev ARDS Paper with
00076520   00076523     1/8/2020 16:09 Attach   responses.docx                                       .\VOL006\IMAGES\IMAGES002\00076520.pdf
00076524   00076526     1/8/2020 16:20 Email    FW: I‐495 & I‐270 Managed Lanes Study                .\VOL006\IMAGES\IMAGES002\00076524.pdf
00076527   00076530      1/9/2020 6:32 Email    RE: I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS          .\VOL006\IMAGES\IMAGES002\00076527.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll Text
00076531   00076533      1/9/2020 8:36 Email    for DEIS                                             .\VOL006\IMAGES\IMAGES002\00076531.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll Text
00076534   00076537      1/9/2020 9:10 Email    for DEIS                                             .\VOL006\IMAGES\IMAGES002\00076534.pdf
00076538   00076540     1/9/2020 10:33 Email    RE: I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS          .\VOL006\IMAGES\IMAGES002\00076538.pdf
                                                Proposed MLS DEIS Toll Text_V5_01‐03 to FHWA ‐
00076541   00076547     1/9/2020 10:33 Attach   FHWA Comments.docx                                   .\VOL006\IMAGES\IMAGES002\00076541.pdf
00076548   00076550     1/9/2020 12:29 Email    FW: Detailed Schedule                                .\VOL006\IMAGES\IMAGES002\00076548.pdf
                                                I‐495 and I‐270 Managed Lanes Study_ Section
00076551   00076552     1/9/2020 16:34 Email    10...(2).pdf                                         .\VOL006\IMAGES\IMAGES002\00076551.pdf
00076553   00076566     1/9/2020 16:34 Attach   MLS TechReport Transmittal_1_10_19.pdf               .\VOL006\IMAGES\IMAGES002\00076553.pdf
                                                I‐495 and I‐270 Managed Lanes Study: Section 106
                                                Technical Reports Updates, Comments Requested by
00076567   00076569     1/9/2020 16:34 Email    March 16                                             .\VOL006\IMAGES\IMAGES002\00076567.pdf
00076570   00076571     1/9/2020 16:39 Email    RE: PRIORITY: Email                                  .\VOL006\IMAGES\IMAGES002\00076570.pdf
00076572   00076573     1/9/2020 16:51 Email    I‐495 & I‐270 MLS                                    .\VOL006\IMAGES\IMAGES002\00076572.pdf
                                                I‐495 and I‐270 Managed Lanes Study: Section 106
                                                Technical Reports Updates, Comments Requested by
00076574   00076575     1/9/2020 16:53 Email    March 16                                             .\VOL006\IMAGES\IMAGES002\00076574.pdf
00076576   00076578     1/9/2020 17:18 Email    FW: PRIORITY: Email                                  .\VOL006\IMAGES\IMAGES002\00076576.pdf
00076579   00076581     1/9/2020 17:19 Email    RE: I‐495 & I‐270 MLS                                .\VOL006\IMAGES\IMAGES002\00076579.pdf
00076582   00076583     1/9/2020 17:21 Email    FW: I‐495 & I‐270 MLS                                .\VOL006\IMAGES\IMAGES002\00076582.pdf
00076584   00076586     1/9/2020 17:22 Email    RE: I‐495 & I‐270 MLS                                .\VOL006\IMAGES\IMAGES002\00076584.pdf
                                                I‐495 and I‐270 Managed Lanes Study: Section 106
                                                Technical Reports Updates, Comments Requested by
00076587   00076588     1/10/2020 7:40 Email    March 16                                             .\VOL006\IMAGES\IMAGES002\00076587.pdf
                                                I‐495 and I‐270 Managed Lanes Study: Section 106
                                                Technical Reports Updates, Comments Requested by
00076589   00076590    1/10/2020 10:20 Email    March 16                                             .\VOL006\IMAGES\IMAGES002\00076589.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll Text
00076591   00076594    1/10/2020 11:00 Email    for DEIS                                             .\VOL006\IMAGES\IMAGES002\00076591.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll Text
00076595   00076598    1/10/2020 11:20 Email    for DEIS                                             .\VOL006\IMAGES\IMAGES002\00076595.pdf

00076599   00076600    1/10/2020 11:40 Email    RE: Draft ARDS Response to Cooperating Agencies   .\VOL006\IMAGES\IMAGES002\00076599.pdf

00076601   00076606    1/10/2020 13:28 Email    RE_ PA Division access to I‐495 & I‐270 MLS Pr....pdf .\VOL006\IMAGES\IMAGES002\00076601.pdf
                                                RE: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll Text
00076607   00076610    1/10/2020 15:21 Email    for DEIS                                              .\VOL006\IMAGES\IMAGES002\00076607.pdf
                                                Proposed MLS DEIS Toll Text_V5_01‐03 to FHWA af
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                                               2020‐01‐13_M‐NCPPC ARDS Non‐
00076618   00076624   1/10/2020 16:08 Attach   Concurrence_Response_Letter.docx                     .\VOL006\IMAGES\IMAGES002\00076618.pdf
                                               2020‐01‐13_M‐NCPPC ARDS Non‐
00076625   00076628   1/10/2020 16:08 Attach   Concurrence_Response_Attachment 1.docx               .\VOL006\IMAGES\IMAGES002\00076625.pdf
                                               FW: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00076629   00076632   1/10/2020 17:00 Email    MLS Administrative Draft DEIS Submittal              .\VOL006\IMAGES\IMAGES002\00076629.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll Text
00076633   00076637   1/10/2020 18:29 Email    for DEIS                                             .\VOL006\IMAGES\IMAGES002\00076633.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS ‐‐
00076638   00076641   1/10/2020 18:30 Email    Toll...(1).pdf                                       .\VOL006\IMAGES\IMAGES002\00076638.pdf
                                               FW: 2040 vs 2045 Traffic Model Comparison Memo
00076642   00076645   1/10/2020 18:58 Email    and Revised RPA Discussion Document                  .\VOL006\IMAGES\IMAGES002\00076642.pdf
                                               FW: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll
00076646   00076649    1/13/2020 8:41 Email    Text for DEIS                                        .\VOL006\IMAGES\IMAGES002\00076646.pdf
                                               FW: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll
00076650   00076654    1/13/2020 8:41 Email    Text for DEIS                                        .\VOL006\IMAGES\IMAGES002\00076650.pdf
                                               2020‐01‐13‐Request for Information on Beltway
00076655   00076656   1/13/2020 16:19 Attach   Changes Implications.pdf                             .\VOL006\IMAGES\IMAGES002\00076655.pdf
                                               FW_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00076657   00076660   1/13/2020 16:52 Email    27....pdf                                            .\VOL006\IMAGES\IMAGES002\00076657.pdf
                                               FW_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00076661   00076663   1/13/2020 16:52 Email    27...(1).pdf                                         .\VOL006\IMAGES\IMAGES002\00076661.pdf
                                               LargePropertyOutreach_GrosvenorParkTownhouseCo
00076664   00076665    1/14/2020 7:00 Edoc     ndominium_combined.pdf                               .\VOL006\IMAGES\IMAGES002\00076664.pdf
00076666   00076859    1/14/2020 8:10 Edoc     AppK_NRTR DRAFT_01_07_2020.pdf                       .\VOL006\IMAGES\IMAGES002\00076666.pdf
                                               GrosvenorParkTownhouseCondo_combined maps with
00076860   00076862    1/14/2020 8:14 Edoc     ARDS.pdf                                             .\VOL006\IMAGES\IMAGES002\00076860.pdf
00076863   00076864    1/14/2020 9:42 Email    RE: Draft ARDS Response Letter to MNCPPC             .\VOL006\IMAGES\IMAGES002\00076863.pdf
00076865   00076865   1/14/2020 10:55 Email    Downloaded files                                     .\VOL006\IMAGES\IMAGES002\00076865.pdf
                                               2020‐01‐13_M‐NCPPC ARDS Non‐
00076866   00076872   1/14/2020 15:09 Edoc     Concurrence_Response_Letter_KP.docx                  .\VOL006\IMAGES\IMAGES002\00076866.pdf
00076873   00076874   1/14/2020 15:10 Email    RE: Draft ARDS Response Letter to MNCPPC             .\VOL006\IMAGES\IMAGES002\00076873.pdf
                                               RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00076875   00076878   1/14/2020 15:47 Email    27...(6).pdf                                         .\VOL006\IMAGES\IMAGES002\00076875.pdf
00076879   00076879   1/14/2020 15:47 Attach   image004.png                                         .\VOL006\IMAGES\IMAGES002\00076879.pdf
00076880   00076881   1/14/2020 16:38 Email    RE: Draft ARDS Response Letter to MNCPPC             .\VOL006\IMAGES\IMAGES002\00076880.pdf
                                               RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00076882   00076885    1/15/2020 7:07 Email    27...(5).pdf                                         .\VOL006\IMAGES\IMAGES002\00076882.pdf
                                               RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00076886   00076889    1/15/2020 8:06 Email    27...(4).pdf                                         .\VOL006\IMAGES\IMAGES002\00076886.pdf
00076890   00076933    1/15/2020 9:12 Edoc     App A ‐ Raw Traffic Data.pdf                         .\VOL006\IMAGES\IMAGES002\00076890.pdf
00076934   00076970    1/15/2020 9:12 Edoc     App B ‐ Alternative Concepts.pdf                     .\VOL006\IMAGES\IMAGES002\00076934.pdf
00076971   00077023    1/15/2020 9:13 Edoc     App C ‐ Traffic Rankings.pdf                         .\VOL006\IMAGES\IMAGES002\00076971.pdf
00077024   00077048    1/15/2020 9:13 Edoc     App D ‐ MOVES RunSpecs CO.pdf                        .\VOL006\IMAGES\IMAGES002\00077024.pdf
00077049   00077884    1/15/2020 9:13 Edoc     App E ‐ CAL3QHC Input and Output.pdf                 .\VOL006\IMAGES\IMAGES002\00077049.pdf
00077885   00078214    1/15/2020 9:13 Edoc     App F ‐ MOVES RunSpecs MSATs.pdf                     .\VOL006\IMAGES\IMAGES002\00077885.pdf
00078215   00078223    1/15/2020 9:15 Edoc     Appendix A TNM runs.pdf                              .\VOL006\IMAGES\IMAGES002\00078215.pdf
00078224   00078226    1/15/2020 9:15 Edoc     Appendix B MLS Traffic Summary.pdf                   .\VOL006\IMAGES\IMAGES002\00078224.pdf
00078227   00078251    1/15/2020 9:15 Edoc     Appendix C Validation Results.pdf                    .\VOL006\IMAGES\IMAGES002\00078227.pdf
00078252   00078302    1/15/2020 9:15 Edoc     Appendix D Impact Analysis Results.pdf               .\VOL006\IMAGES\IMAGES002\00078252.pdf

00078303   00078372    1/15/2020 9:16 Edoc     Appendix E Traffic Noise Monitoring Field Notes.pdf    .\VOL006\IMAGES\IMAGES002\00078303.pdf
                                               MLS_NRTR_Agency Comments_Errata
00078373   00078399    1/15/2020 9:16 Edoc     Response_12132019.pdf                                  .\VOL006\IMAGES\IMAGES002\00078373.pdf
00078400   00078446    1/15/2020 9:17 Edoc     NRTR_App A ‐ Impacts.pdf                               .\VOL006\IMAGES\IMAGES002\00078400.pdf
                                               NRTR_App B ‐ Natural Resources Inventory
00078447   00078577    1/15/2020 9:23 Edoc     Mapbook.pdf                                            .\VOL006\IMAGES\IMAGES002\00078447.pdf
00078578   00078663    1/15/2020 9:24 Edoc     NRTR_App E ‐ Delineated Features Table.pdf             .\VOL006\IMAGES\IMAGES002\00078578.pdf
00078664   00078669    1/15/2020 9:24 Edoc     NRTR_App D ‐ Overview and Key Maps.pdf                 .\VOL006\IMAGES\IMAGES002\00078664.pdf
                                               NRTR_App I ‐ NPS Property Wetland and Waterway
00078670   00078672    1/15/2020 9:24 Edoc     Feature Impacts.pdf                                    .\VOL006\IMAGES\IMAGES002\00078670.pdf
00078673   00078686    1/15/2020 9:25 Edoc     NRTR_App J ‐ Wetland FV Table.pdf                      .\VOL006\IMAGES\IMAGES002\00078673.pdf
                                               NRTR_App K ‐ Aquatic Biota and Surface Water
00078687   00078688    1/15/2020 9:25 Edoc     Sampling Monitoring Map.pdf                            .\VOL006\IMAGES\IMAGES002\00078687.pdf
00078689   00078692    1/15/2020 9:25 Edoc     NRTR_App L ‐ Wildlife Table.pdf                        .\VOL006\IMAGES\IMAGES002\00078689.pdf

00078693   00078704    1/15/2020 9:25 Edoc     NRTR_App M ‐ Aquatic Biota Monitoring Table.pdf        .\VOL006\IMAGES\IMAGES002\00078693.pdf
00078705   00078739    1/15/2020 9:25 Edoc     NRTR_App N ‐ Agency Correspondence.pdf                 .\VOL006\IMAGES\IMAGES002\00078705.pdf
00078740   00078742    1/15/2020 9:25 Edoc     NRTR_App O ‐ Sampled Fish Table.pdf                    .\VOL006\IMAGES\IMAGES002\00078740.pdf

00078743   00078744    1/15/2020 9:26 Edoc     NRTR_App Q ‐ Unique and Sensitive Areas Map.pdf        .\VOL006\IMAGES\IMAGES002\00078743.pdf
00078745   00078766    1/15/2020 9:26 Edoc     NRTR_App R ‐ RTE Plant Species Survey.pdf              .\VOL006\IMAGES\IMAGES002\00078745.pdf
                                               NRTR_App P ‐ Bridge Survey Report for the NLEB and
00078767   00078919    1/15/2020 9:26 Edoc     IB.pdf                                                 .\VOL006\IMAGES\IMAGES002\00078767.pdf
00078920   00079050    1/15/2020 9:28 Edoc     NRTR_App F ‐ Delineated Features Mapbook.pdf           .\VOL006\IMAGES\IMAGES002\00078920.pdf
00079051   00081254    1/15/2020 9:36 Edoc     NRTR_App H ‐ Photo Documentation.pdf                   .\VOL006\IMAGES\IMAGES002\00079051.pdf
00081255   00083662    1/15/2020 9:39 Edoc     NRTR_App G ‐ Field Datasheets.pdf                      .\VOL006\IMAGES\IMAGES002\00081255.pdf
00083663   00083801    1/15/2020 9:40 Edoc     App H_Air Tech Report.pdf                              .\VOL006\IMAGES\IMAGES002\00083663.pdf

00083802   00083892    1/15/2020 9:43 Edoc     APP O_495&270_ICE Tech Report Draft_12‐10‐19.pdf       .\VOL006\IMAGES\IMAGES002\00083802.pdf
00083893   00083919    1/15/2020 9:45 Edoc     App Q_Conceptual Mitigation Plan.pdf                   .\VOL006\IMAGES\IMAGES002\00083893.pdf

00083920   00083922   1/15/2020 11:35 Attach   2020‐01‐06_RESPONSE TO NCPC QUESTIONS.docx             .\VOL006\IMAGES\IMAGES002\00083920.pdf
00083923   00083923   1/15/2020 11:35 Email    FW: Response to M‐NCPPC                                .\VOL006\IMAGES\IMAGES002\00083923.pdf

                                               RE: Preliminary Design Files for M‐NCPPC Parkland in
00083924   00083932   1/15/2020 16:59 Email    Montgomery and Prince George's Counties                .\VOL006\IMAGES\IMAGES002\00083924.pdf

00083933   00083935    1/16/2020 6:54 Email    RE: Program Management Group Meeting Updates           .\VOL006\IMAGES\IMAGES002\00083933.pdf
00083936   00084227    1/16/2020 9:43 Edoc     Draft Section 4f Evaluation_print version.pdf          .\VOL006\IMAGES\IMAGES002\00083936.pdf
00084228   00084395    1/16/2020 9:48 Edoc     App A_Alternatives Technical Report.pdf                .\VOL006\IMAGES\IMAGES002\00084228.pdf
                                               APP G_495_270_MLS_PROGRAMMATIC
00084396   00084399    1/16/2020 9:49 Edoc     AGREEMENT_CONCEPT_OUTLINE_Draft_1.pdf                  .\VOL006\IMAGES\IMAGES002\00084396.pdf
00084400   00084691    1/16/2020 9:49 Edoc     App E_Draft Section 4(f) Evaluation.pdf                .\VOL006\IMAGES\IMAGES002\00084400.pdf
00084692   00084763    1/16/2020 9:49 Edoc     APP P_Public Inv&AgencyCoord Tech Report.pdf           .\VOL006\IMAGES\IMAGES002\00084692.pdf
00084764   00084764    1/16/2020 9:49 Edoc     App C_Env Mapping.pdf                                  .\VOL006\IMAGES\IMAGES002\00084764.pdf   .\VOL006\NATIVES\NATIVES002\00084764.pdf
                                               MLS_Traffic Tech Report_Draft_December_2019 ‐ For
00084765   00084906    1/16/2020 9:52 Edoc     DEIS Submittal.pdf                                     .\VOL007\IMAGES\IMAGES001\00084765.pdf

                                               Traffic Tech Report_Appendices_December_2019 ‐ For
00084907   00086264    1/16/2020 9:52 Edoc     DEIS Submittal.pdf                                 .\VOL007\IMAGES\IMAGES001\00084907.pdf
00086265   00086328    1/16/2020 9:58 Edoc     NTR_Mapping.pdf                                    .\VOL007\IMAGES\IMAGES001\00086265.pdf
                                               I‐495/I‐270 FHWA Coordination (Jan 7): P3 Program
00086329   00086330   1/16/2020 10:21 Email    Notes                                              .\VOL007\IMAGES\IMAGES001\00086329.pdf
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                                               2020‐01‐07_FHWA Coordination Meeting Notes_P3
00086331   00086331   1/16/2020 10:21 Attach   Program.docx                                        .\VOL007\IMAGES\IMAGES001\00086331.pdf
                                               I‐495/I‐270 FHWA Coordination (Jan 7): I‐270 Pre‐
00086332   00086333   1/16/2020 10:22 Email    NEPA Notes                                          .\VOL007\IMAGES\IMAGES001\00086332.pdf
                                               20200107‐I‐270_FHWA Coordination Meeting
00086334   00086334   1/16/2020 10:22 Attach   Notes.docx                                          .\VOL007\IMAGES\IMAGES001\00086334.pdf

00086335   00086335   1/16/2020 10:25 Attach   2020‐01‐21_FHWA Coordination Mtg Agenda.docx        .\VOL007\IMAGES\IMAGES001\00086335.pdf
                                               FW: I‐495 & I‐270 MLS Section 106 Tech Report ‐
00086336   00086337   1/16/2020 10:59 Email    Unredacted Version to Consulting Parties            .\VOL007\IMAGES\IMAGES001\00086336.pdf
00086338   00086373   1/16/2020 11:11 Edoc     AppJ_HazMatTechReport.pdf                           .\VOL007\IMAGES\IMAGES001\00086338.pdf

00086374   00086466   1/16/2020 11:11 Edoc     AppJ_HazmatTechReport‐AppE(MDERecords).pdf          .\VOL007\IMAGES\IMAGES001\00086374.pdf
00086467   00089007   1/16/2020 11:11 Edoc     AppJ_HazMatTechReport‐AppD(EDRReports).pdf          .\VOL007\IMAGES\IMAGES001\00086467.pdf
00089008   00089069   1/16/2020 11:11 Edoc     AppJ_HazMatTechReport‐AppC(PECMap).pdf              .\VOL007\IMAGES\IMAGES001\00089008.pdf
                                               AppJ_HazMatTechReport‐
00089070   00089098   1/16/2020 11:11 Edoc     AppB(SitesofConcernMap).pdf                         .\VOL007\IMAGES\IMAGES001\00089070.pdf

00089099   00089126   1/16/2020 11:12 Edoc     AppJ_HazMatTechReport‐AppA(PriorityTable).pdf      .\VOL007\IMAGES\IMAGES001\00089099.pdf
00089127   00089211   1/16/2020 11:12 Edoc     AppJHazMatTechReport‐AppF(Photolog).pdf            .\VOL007\IMAGES\IMAGES001\00089127.pdf
00089212   00089405   1/16/2020 11:15 Edoc     AppK_NRTR DRAFT_01_07_2020.pdf                     .\VOL007\IMAGES\IMAGES001\00089212.pdf
                                               RE: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00089406   00089409   1/16/2020 11:23 Email    MLS Administrative Draft DEIS Submittal            .\VOL007\IMAGES\IMAGES001\00089406.pdf
                                               RE_ I‐495 _ I‐270 Managed Lane Study ‐
00089410   00089413   1/16/2020 12:24 Email    Intersta...(5).pdf                                 .\VOL007\IMAGES\IMAGES001\00089410.pdf
00089414   00089416   1/16/2020 12:33 Edoc     2020.01.16_Katie Shaver_PIA 10‐Day Letter.pdf      .\VOL007\IMAGES\IMAGES001\00089414.pdf
                                               Cultural Resources_Tech Report_ Volume 1_Cover
00089417   00089464   1/16/2020 12:56 Edoc     Report.pdf                                         .\VOL007\IMAGES\IMAGES001\00089417.pdf
                                               Cultural Resources_Tech Report_ Volume
00089465   00089615   1/16/2020 12:58 Edoc     2_Gap_Analysis_Unredacted.pdf                      .\VOL007\IMAGES\IMAGES001\00089465.pdf
00089616   00089733   1/16/2020 13:11 Edoc     Volume 5_Appendices.pdf                            .\VOL007\IMAGES\IMAGES001\00089616.pdf
                                               Cultural Resources_Tech Report_Volume 5_C&O Ph1
00089734   00089897   1/16/2020 13:11 Edoc     Ph2_unredacted.pdf                                 .\VOL007\IMAGES\IMAGES001\00089734.pdf
                                               Cultural Resources_Tech Report_Volume 6_GWMP
00089898   00090104   1/16/2020 13:12 Edoc     Ph1 Ph2_unredacted.pdf                             .\VOL007\IMAGES\IMAGES001\00089898.pdf
00090105   00090143   1/16/2020 13:12 Edoc     Volume 6_Appendix 2.pdf                            .\VOL007\IMAGES\IMAGES001\00090105.pdf
00090144   00090156   1/16/2020 13:13 Edoc     Volume 6_Appendix 3.pdf                            .\VOL007\IMAGES\IMAGES001\00090144.pdf
00090157   00090162   1/16/2020 13:13 Edoc     Volume 6_Appendix 4.pdf                            .\VOL007\IMAGES\IMAGES001\00090157.pdf
                                               RE: I‐495 / I‐270 Managed Lane Study ‐ Interstate
00090163   00090167   1/16/2020 14:27 Email    Access coordination                                .\VOL007\IMAGES\IMAGES001\00090163.pdf
                                               2020‐01‐13_M‐NCPPC ARDS Non‐
00090168   00090174   1/16/2020 15:43 Attach   Concurrence_Response_Letter FHWA.docx              .\VOL007\IMAGES\IMAGES001\00090168.pdf
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS Administrative
00090175   00090175   1/16/2020 15:53 Email    DEIS                                               .\VOL007\IMAGES\IMAGES001\00090175.pdf
00090176   00090426   1/16/2020 15:56 Edoc     Noise Techncial Report.pdf                         .\VOL007\IMAGES\IMAGES001\00090176.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00090427   00090428   1/16/2020 16:01 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00090427.pdf
00090429   00090431   1/16/2020 16:10 Email    RE: Draft ARDS Response Letter to MNCPPC           .\VOL007\IMAGES\IMAGES001\00090429.pdf
                                               REVIEW REQUESTED_ I‐495 & I‐270 MLS
00090432   00090433   1/16/2020 16:38 Email    Administrat....pdf                                 .\VOL007\IMAGES\IMAGES001\00090432.pdf
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS Administrative
00090434   00090434   1/16/2020 16:49 Email    DEIS                                               .\VOL007\IMAGES\IMAGES001\00090434.pdf
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS Administrative
00090435   00090435   1/16/2020 17:13 Email    DEIS                                               .\VOL007\IMAGES\IMAGES001\00090435.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00090436   00090437   1/16/2020 17:20 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00090436.pdf
                                               RE: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00090438   00090441    1/17/2020 9:44 Email    MLS Administrative Draft DEIS Submittal            .\VOL007\IMAGES\IMAGES001\00090438.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00090442   00090443    1/17/2020 9:48 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00090442.pdf
                                               RE_ I‐495 _ I‐270 Managed Lane Study ‐
00090444   00090447   1/17/2020 11:23 Email    Intersta...(3).pdf                                 .\VOL007\IMAGES\IMAGES001\00090444.pdf
                                               I‐495 & I‐270 MLS: Response Comments on Revised
00090448   00090449   1/17/2020 11:59 Email    ARDS                                               .\VOL007\IMAGES\IMAGES001\00090448.pdf
                                               I‐495 & I‐270 MLS: Response Comments on Revised
00090450   00090450   1/17/2020 11:59 Email    ARDS                                               .\VOL007\IMAGES\IMAGES001\00090450.pdf
                                               FW_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
00090451   00090452   1/17/2020 12:30 Email    Adminis....pdf                                     .\VOL007\IMAGES\IMAGES001\00090451.pdf
                                               2020‐01‐16_Adjusted NEPA Schedule_Talking
00090453   00090453   1/17/2020 12:32 Edoc     Points.docx                                        .\VOL007\IMAGES\IMAGES001\00090453.pdf
                                               FW: I‐495 & I‐270 MLS: Response Comments on
00090454   00090455   1/17/2020 13:28 Email    Revised ARDS                                       .\VOL007\IMAGES\IMAGES001\00090454.pdf
                                               2020‐01‐17_Errata Reponses to Agency
00090456   00090459   1/17/2020 13:28 Attach   Comments_Revised ARDS.pdf                          .\VOL007\IMAGES\IMAGES001\00090456.pdf
                                               Addressing Cooperating Agencies' Comments with the
00090460   00090461   1/17/2020 13:28 Attach   Revised ARDS Concurrence                           .\VOL007\IMAGES\IMAGES001\00090460.pdf
00090462   00090464   1/17/2020 13:31 Email    FW: Draft ARDS Response Letter to MNCPPC           .\VOL007\IMAGES\IMAGES001\00090462.pdf
00090465   00090469   1/17/2020 14:21 Attach   RE: Road Surfaces                                  .\VOL007\IMAGES\IMAGES001\00090465.pdf
                                               I‐495 & I‐270 MLS: MDOT SHA Response to November
00090470   00090471   1/17/2020 16:39 Email    27, 2019 M‐NCPPC Letter                            .\VOL007\IMAGES\IMAGES001\00090470.pdf
                                               2020‐01‐17_MDOT SHA Response to MNCPPC ARDS
00090472   00090481   1/17/2020 18:40 Attach   Non Concurrence.pdf                                .\VOL007\IMAGES\IMAGES001\00090472.pdf
                                               RE: 2040 vs 2045 Traffic Model Comparison Memo and
00090482   00090486    1/21/2020 6:58 Email    Revised RPA Discussion Document                    .\VOL007\IMAGES\IMAGES001\00090482.pdf
                                               RE_ I‐495 _ I‐270 Managed Lane Study ‐
00090487   00090491    1/21/2020 7:39 Email    Intersta...(2).pdf                                 .\VOL007\IMAGES\IMAGES001\00090487.pdf
                                               RE: 2040 vs 2045 Traffic Model Comparison Memo and
00090492   00090494    1/21/2020 7:49 Email    Revised RPA Discussion Document                    .\VOL007\IMAGES\IMAGES001\00090492.pdf
                                               RE_ I‐495 _ I‐270 Managed Lane Study ‐
00090495   00090498    1/21/2020 7:50 Email    Intersta...(1).pdf                                 .\VOL007\IMAGES\IMAGES001\00090495.pdf
00090499   00090634    1/21/2020 9:05 Edoc     App H_Air Tech Report.pdf                          .\VOL007\IMAGES\IMAGES001\00090499.pdf
00090635   00091470    1/21/2020 9:06 Edoc     App E ‐ CAL3QHC Input and Output.pdf               .\VOL007\IMAGES\IMAGES001\00090635.pdf
00091471   00091800    1/21/2020 9:06 Edoc     App F ‐ MOVES RunSpecs MSATs.pdf                   .\VOL007\IMAGES\IMAGES001\00091471.pdf
00091801   00091809    1/21/2020 9:07 Edoc     NTR_App A.pdf                                      .\VOL007\IMAGES\IMAGES001\00091801.pdf
00091810   00091812    1/21/2020 9:07 Edoc     NTR_App B.pdf                                      .\VOL007\IMAGES\IMAGES001\00091810.pdf
00091813   00091837    1/21/2020 9:07 Edoc     NTR_App C.pdf                                      .\VOL007\IMAGES\IMAGES001\00091813.pdf
00091838   00091888    1/21/2020 9:07 Edoc     NTR_App D.pdf                                      .\VOL007\IMAGES\IMAGES001\00091838.pdf
00091889   00091958    1/21/2020 9:07 Edoc     NTR_App E.pdf                                      .\VOL007\IMAGES\IMAGES001\00091889.pdf
00091959   00092152    1/21/2020 9:10 Edoc     AppK_NRTR DRAFT_01_07_2020.pdf                     .\VOL007\IMAGES\IMAGES001\00091959.pdf
                                               MLS_NRTR_Agency Comments_Errata
00092153   00092179    1/21/2020 9:10 Edoc     Response_12132019.pdf                              .\VOL007\IMAGES\IMAGES001\00092153.pdf
00092180   00092226    1/21/2020 9:10 Edoc     NRTR_App A ‐ Impacts.pdf                           .\VOL007\IMAGES\IMAGES001\00092180.pdf
00092227   00092239    1/21/2020 9:10 Edoc     NRTR_App C ‐ Soils Table.pdf                       .\VOL007\IMAGES\IMAGES001\00092227.pdf
00092240   00092245    1/21/2020 9:10 Edoc     NRTR_App D ‐ Overview and Key Maps.pdf             .\VOL007\IMAGES\IMAGES001\00092240.pdf
00092246   00092331    1/21/2020 9:11 Edoc     NRTR_App E ‐ Delineated Features Table.pdf         .\VOL007\IMAGES\IMAGES001\00092246.pdf
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                                               NRTR_App B ‐ Natural Resources Inventory
00092332   00092462    1/21/2020 9:12 Edoc     Mapbook.pdf                                              .\VOL007\IMAGES\IMAGES001\00092332.pdf
                                               NRTR_App I ‐ NPS Property Wetland and Waterway
00092463   00092465    1/21/2020 9:14 Edoc     Feature Impacts.pdf                                      .\VOL007\IMAGES\IMAGES001\00092463.pdf
00092466   00092479    1/21/2020 9:14 Edoc     NRTR_App J ‐ Wetland FV Table.pdf                        .\VOL007\IMAGES\IMAGES001\00092466.pdf
00092480   00094887    1/21/2020 9:14 Edoc     NRTR_App G ‐ Field Datasheets.pdf                        .\VOL007\IMAGES\IMAGES001\00092480.pdf
                                               NRTR_App K ‐ Aquatic Biota and Surface Water
00094888   00094889    1/21/2020 9:14 Edoc     Sampling Monitoring Map.pdf                              .\VOL007\IMAGES\IMAGES001\00094888.pdf
00094890   00094893    1/21/2020 9:14 Edoc     NRTR_App L ‐ Wildlife Table.pdf                          .\VOL007\IMAGES\IMAGES001\00094890.pdf

00094894   00094905    1/21/2020 9:15 Edoc     NRTR_App M ‐ Aquatic Biota Monitoring Table.pdf          .\VOL007\IMAGES\IMAGES001\00094894.pdf
00094906   00094908    1/21/2020 9:15 Edoc     NRTR_App O ‐ Sampled Fish Table.pdf                      .\VOL007\IMAGES\IMAGES001\00094906.pdf
                                               NRTR_App P ‐ Bridge Survey Report for the NLEB and
00094909   00095061    1/21/2020 9:16 Edoc     IB.pdf                                                   .\VOL007\IMAGES\IMAGES001\00094909.pdf

00095062   00095063    1/21/2020 9:16 Edoc     NRTR_App Q ‐ Unique and Sensitive Areas Map.pdf          .\VOL007\IMAGES\IMAGES001\00095062.pdf

00095064   00095154    1/21/2020 9:18 Edoc     APP O_495&270_ICE Tech Report Draft_12‐10‐19.pdf         .\VOL007\IMAGES\IMAGES001\00095064.pdf
                                               GHG emission impact methodology in I‐495 and I‐270
00095155   00095155   1/21/2020 10:58 Email    Environmental Impact Statement                           .\VOL007\IMAGES\IMAGES001\00095155.pdf

00095156   00095157   1/21/2020 10:58 Attach   2020‐01‐21‐Letter re Beltway GHG Methodology.pdf         .\VOL007\IMAGES\IMAGES001\00095156.pdf
                                               FW: 2040 vs 2045 Traffic Model Comparison Memo
00095158   00095160   1/21/2020 11:44 Email    and Revised RPA Discussion Document                      .\VOL007\IMAGES\IMAGES001\00095158.pdf
                                               2020.01.21_Brittney Poppell_PIA 10‐Day Close Out
00095161   00095161   1/21/2020 14:42 Edoc     Letter.pdf                                               .\VOL007\IMAGES\IMAGES001\00095161.pdf
                                               Cultural Resources_Tech Report_ Volume 1_Cover
00095162   00095209   1/21/2020 15:10 Edoc     Report.pdf                                               .\VOL007\IMAGES\IMAGES001\00095162.pdf
00095210   00095211   1/21/2020 15:10 Edoc     Volume 1_Appendix B.pdf                                  .\VOL007\IMAGES\IMAGES001\00095210.pdf
00095212   00095370   1/21/2020 15:11 Edoc     Volume 1_Appendix A.pdf                                  .\VOL007\IMAGES\IMAGES001\00095212.pdf
00095371   00095371   1/21/2020 15:15 Edoc     Volume 2_Appendix A.pdf                                  .\VOL007\IMAGES\IMAGES001\00095371.pdf
00095372   00095382   1/21/2020 15:15 Edoc     Volume 2_Appendix E.pdf                                  .\VOL007\IMAGES\IMAGES001\00095372.pdf
00095383   00095412   1/21/2020 15:17 Edoc     Volume 2_Appendix C.pdf                                  .\VOL007\IMAGES\IMAGES001\00095383.pdf
00095413   00095442   1/21/2020 15:17 Edoc     Volume 2_Appendix F.pdf                                  .\VOL007\IMAGES\IMAGES001\00095413.pdf
                                               Cultural Resources_Tech Report_ Volume
00095443   00095474   1/21/2020 15:20 Edoc     3_Architecture Report.pdf                                .\VOL007\IMAGES\IMAGES001\00095443.pdf
00095475   00095485   1/21/2020 15:21 Edoc     Volume 3_Appendix B.pdf                                  .\VOL007\IMAGES\IMAGES001\00095475.pdf
                                               Cultural Resources_Tech Report_ Volume
00095486   00095635   1/21/2020 15:23 Edoc     2_Gap_Analysis_Redacted.pdf                              .\VOL007\IMAGES\IMAGES001\00095486.pdf
00095636   00096035   1/21/2020 15:30 Edoc     Volume 3_Appendix C_Part 1.pdf                           .\VOL007\IMAGES\IMAGES001\00095636.pdf
00096036   00096435   1/21/2020 15:30 Edoc     Volume 3_Appendix C_Part 2.pdf                           .\VOL007\IMAGES\IMAGES001\00096036.pdf
00096436   00096465   1/21/2020 15:31 Edoc     Volume 3_Appendix A.pdf                                  .\VOL007\IMAGES\IMAGES001\00096436.pdf
00096466   00096865   1/21/2020 15:36 Edoc     Volume 3_Appendix C_Part 3.pdf                           .\VOL007\IMAGES\IMAGES001\00096466.pdf
00096866   00097265   1/21/2020 15:37 Edoc     Volume 3_Appendix C_Part 4.pdf                           .\VOL007\IMAGES\IMAGES001\00096866.pdf
00097266   00097665   1/21/2020 15:38 Edoc     Volume 3_Appendix C_Part 5.pdf                           .\VOL007\IMAGES\IMAGES001\00097266.pdf
00097666   00098065   1/21/2020 15:46 Edoc     Volume 3_Appendix C_Part 8.pdf                           .\VOL007\IMAGES\IMAGES001\00097666.pdf
00098066   00098465   1/21/2020 15:48 Edoc     Volume 3_Appendix C_Part 6.pdf                           .\VOL007\IMAGES\IMAGES001\00098066.pdf
00098466   00098865   1/21/2020 15:49 Edoc     Volume 3_Appendix C_Part 7.pdf                           .\VOL007\IMAGES\IMAGES001\00098466.pdf
00098866   00098963   1/21/2020 15:53 Edoc     Volume 3_Appendix C_Part 9.pdf                           .\VOL007\IMAGES\IMAGES001\00098866.pdf
00098964   00098968   1/21/2020 15:55 Email    FW_ NEPA_NHPA Process Question(1).pdf                    .\VOL007\IMAGES\IMAGES001\00098964.pdf
00098969   00098998   1/21/2020 15:55 Edoc     Volume 3_Appendix D.pdf                                  .\VOL007\IMAGES\IMAGES001\00098969.pdf
00098999   00099004   1/21/2020 15:57 Edoc     Volume 4_Appendix A.pdf                                  .\VOL007\IMAGES\IMAGES001\00098999.pdf
00099005   00099054   1/21/2020 15:58 Edoc     Volume 4_Appendix C.pdf                                  .\VOL007\IMAGES\IMAGES001\00099005.pdf

                                               Cultural Resources_Tech Report_Volume 4_ Phase I
00099055   00099298   1/21/2020 15:58 Edoc     Archaeology Report_redacted 1 17 2020.pdf        .\VOL007\IMAGES\IMAGES001\00099055.pdf
00099299   00100368   1/21/2020 15:59 Edoc     Volume 3_Appendix E.pdf                          .\VOL007\IMAGES\IMAGES001\00099299.pdf
                                               Cultural Resources_Tech Report_Volume 5_C&O Ph1
00100369   00100650   1/21/2020 16:02 Edoc     Ph2_REDACTED.pdf                                 .\VOL007\IMAGES\IMAGES001\00100369.pdf
                                               Cultural Resources_Tech Report_Volume 6_GWMP
00100651   00100952   1/21/2020 16:03 Edoc     Ph1 Ph2_REDACTED.pdf                             .\VOL007\IMAGES\IMAGES001\00100651.pdf
00100953   00101203   1/21/2020 16:06 Edoc     Noise Techncial Report.pdf                       .\VOL007\IMAGES\IMAGES001\00100953.pdf
                                               Meeting Outreach‐Record_Grosvenor Park Townhome
00101204   00101206   1/21/2020 16:18 Edoc     Condo_012020.docx                                .\VOL007\IMAGES\IMAGES001\00101204.pdf
00101207   00101314   1/21/2020 17:25 Attach   App D_CEAEJ Tech Report.pdf                      .\VOL007\IMAGES\IMAGES001\00101207.pdf
00101315   00101432   1/21/2020 17:25 Attach   App D_CEAEJTR_Appendices.pdf                     .\VOL007\IMAGES\IMAGES001\00101315.pdf
00101433   00101434    1/22/2020 7:29 Email    FW: February FHWA Coordination Meetings          .\VOL007\IMAGES\IMAGES001\00101433.pdf

                                               I‐495 and I‐270 Managed Lanes Study, Section 106
00101435   00101436    1/22/2020 8:39 Email    Technical Report ‐ corrected digital file available      .\VOL007\IMAGES\IMAGES001\00101435.pdf
00101437   00101437   1/22/2020 10:40 Email    Original 106 MLS Initiation letter from 2018             .\VOL007\IMAGES\IMAGES001\00101437.pdf
00101438   00101438   1/22/2020 14:39 Email    20190912_Draft_AgencyBusTourItinerary_v3.xlsx            .\VOL007\IMAGES\IMAGES001\00101438.pdf
00101439   00101439   1/22/2020 14:39 Attach   20190912_Draft_AgencyBusTourItinerary_v3.xlsx            .\VOL007\IMAGES\IMAGES001\00101439.pdf   .\VOL007\NATIVES\NATIVES001\00101439.xlsx
                                               I‐495 and I‐270 Managed Lanes Study: Section 106
                                               Technical Reports Updates, Comments Requested by
00101440   00101441   1/22/2020 15:26 Attach   March 16                                                 .\VOL007\IMAGES\IMAGES001\00101440.pdf

                                               I‐495 and I‐270 Managed Lanes Study, Section 106
00101442   00101443   1/22/2020 15:26 Attach   Technical Report ‐ corrected digital file available      .\VOL007\IMAGES\IMAGES001\00101442.pdf

00101444   00101444   1/22/2020 16:20 Email    Traffic and AlternativesJ technical s for MLS p....pdf   .\VOL007\IMAGES\IMAGES001\00101444.pdf
00101445   00101612   1/22/2020 16:20 Attach   App A_Alternatives Technical Report.pdf                  .\VOL007\IMAGES\IMAGES001\00101445.pdf

00101613   00101754   1/22/2020 16:20 Attach   MLS_Traffic Tech Report_Draft_December_2019 ‐ .pdf .\VOL007\IMAGES\IMAGES001\00101613.pdf
                                               Whitley Park Condominium Association_Meeting
00101755   00101756   1/22/2020 16:24 Edoc     Record .docx                                         .\VOL007\IMAGES\IMAGES001\00101755.pdf
00101757   00101757   1/22/2020 16:53 Attach   2020‐01‐22 GWMP Revised Signs.pdf                    .\VOL007\IMAGES\IMAGES001\00101757.pdf
                                               FW: I‐495 and I‐270 Managed Lanes Study: Section 106
                                               Technical Reports Updates, Comments Requested by
00101758   00101759    1/23/2020 9:13 Email    March 16                                             .\VOL007\IMAGES\IMAGES001\00101758.pdf

                                               I‐495 and I‐270 Managed Lanes Study, Section 106
00101760   00101760    1/23/2020 9:13 Attach   Technical Report ‐ corrected digital file available      .\VOL007\IMAGES\IMAGES001\00101760.pdf
00101761   00101761    1/23/2020 9:48 Email    NPS Meeting Files                                        .\VOL007\IMAGES\IMAGES001\00101761.pdf
00101762   00101764    1/23/2020 9:48 Attach   Plan View Sign Layout ‐ GWMP.PDF                         .\VOL007\IMAGES\IMAGES001\00101762.pdf
                                               Email‐ from Maureen Joseph_Re_ [EXTERNAL]
00101765   00101766    1/23/2020 9:48 Attach   Comparison Table for GWMP Wall....pdf                    .\VOL007\IMAGES\IMAGES001\00101765.pdf

00101767   00101795    1/23/2020 9:48 Attach   NPS ‐ 495 NEXT GWMP 106 Meeting 1‐23‐2020.pdf     .\VOL007\IMAGES\IMAGES001\00101767.pdf
00101796   00101797   1/23/2020 10:15 Email    Proposed Public Hearing Schedule/Format           .\VOL007\IMAGES\IMAGES001\00101796.pdf
                                               495270 Public Hearing Schedule‐
00101798   00101798   1/23/2020 10:15 Attach   LocationsREV012320.docx                           .\VOL007\IMAGES\IMAGES001\00101798.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study (MLS)
00101799   00101802   1/23/2020 10:46 Email    ‐ Archaeology Reports for your Review             .\VOL007\IMAGES\IMAGES001\00101799.pdf
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                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00101803   00101804   1/23/2020 12:43 Email    Administrative DEIS                                     .\VOL007\IMAGES\IMAGES001\00101803.pdf
                                               RE: MDOT SHA I‐495 and I‐270 Managed Lane Study
00101805   00101808   1/23/2020 12:52 Email    (MLS) ‐‐ Archaeology Reports for Review                 .\VOL007\IMAGES\IMAGES001\00101805.pdf
                                               RE: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00101809   00101812   1/23/2020 13:26 Email    MLS Administrative Draft DEIS Submittal                 .\VOL007\IMAGES\IMAGES001\00101809.pdf
                                               RE: ACTION DUE 1/28/2020: Monthly Consolidated
00101813   00101814   1/23/2020 14:21 Email    Report                                                  .\VOL007\IMAGES\IMAGES001\00101813.pdf
00101815   00101816   1/23/2020 14:21 Attach   I‐495 I‐270 MLS Milestone Report .docx                  .\VOL007\IMAGES\IMAGES001\00101815.pdf

                                               FHWA NO ACTION REQUIRED: Tribal Notification:
00101817   00101818   1/23/2020 14:58 Email    Revised APE for I‐495/I‐270 Managed Lanes Study    .\VOL007\IMAGES\IMAGES001\00101817.pdf
                                               RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00101819   00101823   1/23/2020 15:55 Email    27...(1).pdf                                       .\VOL007\IMAGES\IMAGES001\00101819.pdf
                                               RE: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00101824   00101828   1/23/2020 15:55 Email    MLS Administrative Draft DEIS Submittal            .\VOL007\IMAGES\IMAGES001\00101824.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00101829   00101833   1/24/2020 10:28 Edoc     (ML....pdf                                         .\VOL007\IMAGES\IMAGES001\00101829.pdf
00101834   00101834   1/24/2020 10:28 Edoc     MLSd Tuscarora Nation.pdf                          .\VOL007\IMAGES\IMAGES001\00101834.pdf
                                               MDOT SHA I‐495 and I‐270 Managed Lane Study
00101835   00101839   1/24/2020 10:29 Edoc     (ML....pdf                                         .\VOL007\IMAGES\IMAGES001\00101835.pdf
00101840   00101840   1/24/2020 10:29 Edoc     MLSd Shawnee Tribe.pdf                             .\VOL007\IMAGES\IMAGES001\00101840.pdf
                                               FW: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00101841   00101845   1/24/2020 13:51 Email    MLS Administrative Draft DEIS Submittal            .\VOL007\IMAGES\IMAGES001\00101841.pdf
                                               RE: ACTION DUE 1/28/2020: Monthly Consolidated
00101846   00101847   1/24/2020 14:36 Email    Report                                             .\VOL007\IMAGES\IMAGES001\00101846.pdf
                                               I‐495 I‐270 MLS Milestone
00101848   00101849   1/24/2020 14:36 Attach   Report_KP_JMcomments.docx                          .\VOL007\IMAGES\IMAGES001\00101848.pdf
                                               RE: Grosvenor Park Townhome Condo ‐ I495 & i270 P3
00101850   00101851   1/24/2020 15:44 Email    Program & Managed Lanes Study                      .\VOL007\IMAGES\IMAGES001\00101850.pdf
                                               20200120_Grosvenor Park Townhome
00101852   00101875   1/24/2020 15:44 Attach   Condo_NVikor_resize.pdf                            .\VOL007\IMAGES\IMAGES001\00101852.pdf
00101876   00101876   1/24/2020 16:22 Email    495/270 MLS DEIS                                   .\VOL007\IMAGES\IMAGES001\00101876.pdf

00101877   00101878   1/25/2020 17:05 Email    I‐495/I‐270 FHWA Coordination (Jan 7): MLS Notes        .\VOL007\IMAGES\IMAGES001\00101877.pdf
                                               2020‐01‐07_FHWA Coordination Meeting
00101879   00101879   1/25/2020 17:05 Attach   Notes_MLS.docx                                          .\VOL007\IMAGES\IMAGES001\00101879.pdf

00101880   00101881   1/25/2020 17:05 Email    I‐495/I‐270 FHWA Coordination (Jan 7): MLS Notes        .\VOL007\IMAGES\IMAGES001\00101880.pdf
                                               Confidential and Pre‐Decisional: I‐495 & I‐270 MLS:
                                               Logical Termini Documentation and Origin Destination
00101882   00101883    1/27/2020 9:06 Email    Memo                                                    .\VOL007\IMAGES\IMAGES001\00101882.pdf
                                               FW: Confidential and Pre‐Decisional: I‐495 & I‐270
                                               MLS: Logical Termini Documentation and Origin
00101884   00101885    1/27/2020 9:34 Email    Destination Memo                                        .\VOL007\IMAGES\IMAGES001\00101884.pdf
                                               2020‐01‐25_I‐495_I‐270 Origin‐Destination Analysis
00101886   00101895    1/27/2020 9:34 Attach   Memo.pdf                                                .\VOL007\IMAGES\IMAGES001\00101886.pdf
                                               RE: Managed Lane EIS SHA/MDOT discussion on
00101896   00101899   1/27/2020 17:13 Email    installation fence line impacts                         .\VOL007\IMAGES\IMAGES001\00101896.pdf
00101900   00101901   1/28/2020 10:06 Edoc     June 2020 Public Hearings Ad Content.docx               .\VOL007\IMAGES\IMAGES001\00101900.pdf
00101902   00101902   1/28/2020 11:27 Email    RE: MLS Traffic Technical Report                        .\VOL007\IMAGES\IMAGES001\00101902.pdf
00101903   00101903   1/28/2020 11:36 Email    I‐495/270 MLS DEIS: OFD Chapter                         .\VOL007\IMAGES\IMAGES001\00101903.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00101904   00101904   1/28/2020 13:15 Email    Administrative DEIS                                     .\VOL007\IMAGES\IMAGES001\00101904.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
00101905   00101905   1/28/2020 13:15 Email    Adminis...(7).pdf                                       .\VOL007\IMAGES\IMAGES001\00101905.pdf
                                               RE: RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00101906   00101906   1/28/2020 15:12 Email    Administrative DEIS                                     .\VOL007\IMAGES\IMAGES001\00101906.pdf
00101907   00101907   1/28/2020 15:36 Email    admin draft DEIS I‐495/I‐270                            .\VOL007\IMAGES\IMAGES001\00101907.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata Table
00101908   00101909   1/28/2020 15:40 Attach   Buford 495‐270.docx                                     .\VOL007\IMAGES\IMAGES001\00101908.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00101910   00101911   1/28/2020 15:52 Email    Administrative DEIS                                     .\VOL007\IMAGES\IMAGES001\00101910.pdf
00101912   00101915    1/29/2020 7:10 Edoc     Rock Creek_maps and ARDS.pdf                            .\VOL007\IMAGES\IMAGES001\00101912.pdf
                                               FW: Rebeccah Ballo ‐‐‐ Invitation to IAWG Meeting #1:
                                               I‐270 from I‐370 to I‐70 Pre‐NEPA Activities (RSVP by
00101916   00101919   1/29/2020 12:03 Email    7/31/2019)                                              .\VOL007\IMAGES\IMAGES001\00101916.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00101920   00101921   1/29/2020 12:06 Email    Administrative DEIS                                     .\VOL007\IMAGES\IMAGES001\00101920.pdf
                                               SSChamber_Stakeholder_Meeting Record_2020‐01‐
00101922   00101924   1/29/2020 12:13 Edoc     28.docx                                                 .\VOL007\IMAGES\IMAGES001\00101922.pdf

                                               RE: Invitation to IAWG Meeting #1: I‐270 from I‐370 to
00101925   00101929   1/29/2020 12:23 Email    I‐70 Pre‐NEPA Activities (RSVP by 7/31/2019)           .\VOL007\IMAGES\IMAGES001\00101925.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00101930   00101931   1/29/2020 13:30 Email    Administrative DEIS                                    .\VOL007\IMAGES\IMAGES001\00101930.pdf
                                               Meeting Outreach‐Record_Rock Creek
00101932   00101933   1/29/2020 14:15 Edoc     Conservancy_020320.docx                                .\VOL007\IMAGES\IMAGES001\00101932.pdf
00101934   00102072   1/29/2020 14:30 Edoc     PA Comments App H_Air Tech Report.pdf                  .\VOL007\IMAGES\IMAGES001\00101934.pdf

                                               RE: MDOT/SHA Noise Policy ‐ SHA response to FHWA
                                               comments ‐ FHWA ACTION REQUIRED:
00102073   00102077   1/29/2020 15:01 Email    Approval/Response requested by week of 1/27/2020 .\VOL007\IMAGES\IMAGES001\00102073.pdf
00102078   00102079   1/29/2020 16:56 Email    RE: Proposed Public Hearing Schedule/Format          .\VOL007\IMAGES\IMAGES001\00102078.pdf
00102080   00102080   1/29/2020 17:05 Email    RE: I‐495/270 MLS DEIS: OFD Chapter                  .\VOL007\IMAGES\IMAGES001\00102080.pdf
00102081   00102082   1/29/2020 18:04 Email    RE: Proposed Public Hearing Schedule/Format          .\VOL007\IMAGES\IMAGES001\00102081.pdf
                                               495270 Public Hearing Schedule‐
00102083   00102083   1/29/2020 18:04 Attach   LocationsREV012320.docx                              .\VOL007\IMAGES\IMAGES001\00102083.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102084   00102085    1/30/2020 8:57 Email    Administrative DEIS and Draft 4(f)                   .\VOL007\IMAGES\IMAGES001\00102084.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll Text
00102086   00102090   1/30/2020 10:16 Email    for DEIS                                             .\VOL007\IMAGES\IMAGES001\00102086.pdf
                                               I‐495 & I‐270 Managed Lanes Study ‐ Traffic Tech
00102091   00102091   1/30/2020 10:50 Email    Report ‐ 1 of 2 Emails                               .\VOL007\IMAGES\IMAGES001\00102091.pdf
                                               MLS_Traffic Tech Report_Draft_December_2019 ‐ For
00102092   00102233   1/30/2020 10:50 Attach   DEIS Submittal.pdf                                   .\VOL007\IMAGES\IMAGES001\00102092.pdf
00102234   00102234   1/30/2020 11:42 Attach   Fisher Ltr 012120.pdf                                .\VOL007\IMAGES\IMAGES001\00102234.pdf

00102235   00102237   1/30/2020 11:53 Attach   2020‐01‐29_MDOT SHA Response to Sierra Club.docx        .\VOL007\IMAGES\IMAGES001\00102235.pdf
                                               FW_ REVIEW REQUESTED_ I‐495 & I‐270 MLS ‐‐
00102238   00102241   1/30/2020 14:27 Email    Toll....pdf                                             .\VOL007\IMAGES\IMAGES001\00102238.pdf
00102242   00102248   1/30/2020 14:27 Attach   Combined FHWA Comments on Toll.docx                     .\VOL007\IMAGES\IMAGES001\00102242.pdf
00102249   00102249   1/30/2020 16:03 Email    RE: I‐495/270 MLS DEIS: OFD Chapter                     .\VOL007\IMAGES\IMAGES001\00102249.pdf
00102250   00102251   1/30/2020 18:10 Email    RE: Proposed Public Hearing Schedule/Format             .\VOL007\IMAGES\IMAGES001\00102250.pdf
00102252   00102253    1/31/2020 9:02 Email    RE: Questions                                           .\VOL007\IMAGES\IMAGES001\00102252.pdf
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00102254   00102254    1/31/2020 9:02 Email    FW: CEA/EJ technical report comments                 .\VOL007\IMAGES\IMAGES001\00102254.pdf
                                               REVIEW REQUESTED_ I‐495 & I‐270 MLS
00102255   00102257   1/31/2020 10:00 Email    Administrat...(1).pdf                                .\VOL007\IMAGES\IMAGES001\00102255.pdf
                                               RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00102258   00102263   1/31/2020 10:06 Email    27...(4).pdf                                         .\VOL007\IMAGES\IMAGES001\00102258.pdf
00102264   00102264   1/31/2020 14:00 Email    RE: MD 495                                           .\VOL007\IMAGES\IMAGES001\00102264.pdf

00102265   00102269   1/31/2020 14:12 Email    I‐495 & I‐270 MLS ICE Tech Doc Review and Comments .\VOL007\IMAGES\IMAGES001\00102265.pdf
00102270   00102271   1/31/2020 14:15 Email    RE: MD 495                                         .\VOL007\IMAGES\IMAGES001\00102270.pdf
                                               David Clarke MLS_Admin Draft ‐ DEIS_Comment Errata
00102272   00102275   1/31/2020 14:15 Attach   Table.docx                                         .\VOL007\IMAGES\IMAGES001\00102272.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102276   00102277   1/31/2020 14:31 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00102276.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102278   00102279   1/31/2020 14:48 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00102278.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
00102280   00102282   1/31/2020 16:57 Email    Adminis...(9).pdf                                  .\VOL007\IMAGES\IMAGES001\00102280.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
00102283   00102284   1/31/2020 19:40 Email    Adminis...(10).pdf                                 .\VOL007\IMAGES\IMAGES001\00102283.pdf

00102285   00102287   1/31/2020 19:40 Attach   MLS_Admin Draft ‐ DEIS_Comment Errata Table.docx     .\VOL007\IMAGES\IMAGES001\00102285.pdf
00102288   00102288   1/31/2020 19:40 Attach   2019‐09 AVM Alternatives Summary Notes.xlsx          .\VOL007\IMAGES\IMAGES001\00102288.pdf        .\VOL007\NATIVES\NATIVES001\00102288.xlsx
                                               MLS_Traffic Tech Report_Draft_to_FHWA_2019‐08‐
00102289   00102428    2/1/2020 11:36 Edoc     23_KP review.docx                                    .\VOL007\IMAGES\IMAGES001\00102289.pdf
00102429   00102430    2/1/2020 12:16 Email    RE: Sierra Club Letter                               .\VOL007\IMAGES\IMAGES001\00102429.pdf

00102431   00102432    2/1/2020 20:13 Edoc     TSC Flowers LTD Liability Co_Meeting Record.docx     .\VOL007\IMAGES\IMAGES001\00102431.pdf

00102433   00102434    2/1/2020 20:29 Edoc     First Baptist Chruch of Rockville_Meeting Record.docx .\VOL007\IMAGES\IMAGES001\00102433.pdf
00102435   00102436    2/1/2020 21:02 Edoc     8400 Westphalia Rd LLC_Meeting Record.docx            .\VOL007\IMAGES\IMAGES001\00102435.pdf

00102437   00102438    2/1/2020 21:06 Edoc     American Tower Corporation_Meeting Record.docx       .\VOL007\IMAGES\IMAGES001\00102437.pdf
                                               Response letter to NCPC Regarding December ARDS
00102439   00102439    2/2/2020 13:54 Email    Letter                                               .\VOL007\IMAGES\IMAGES001\00102439.pdf
                                               RE: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00102440   00102444     2/3/2020 8:35 Email    MLS Administrative Draft DEIS Submittal              .\VOL007\IMAGES\IMAGES001\00102440.pdf
00102445   00102445     2/3/2020 8:51 Email    RE: 1‐on‐1 with Megan                                .\VOL007\IMAGES\IMAGES001\00102445.pdf
                                               RE: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00102446   00102451    2/3/2020 10:54 Email    MLS Administrative Draft DEIS Submittal              .\VOL007\IMAGES\IMAGES001\00102446.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS ‐‐
00102452   00102456    2/3/2020 12:08 Email    Toll....pdf                                          .\VOL007\IMAGES\IMAGES001\00102452.pdf
                                               RE: I‐495 & I‐270 MLS ICE Tech Doc Review and
00102457   00102462    2/3/2020 12:16 Email    Comments                                             .\VOL007\IMAGES\IMAGES001\00102457.pdf
                                               FW: REVIEW REQUESTED: I‐495 & I‐270 MLS ‐‐ Toll
00102463   00102467    2/3/2020 13:08 Email    Text for DEIS                                        .\VOL007\IMAGES\IMAGES001\00102463.pdf
                                               2020‐02‐03_MDOT SHA Response to NCPC ARDS
00102468   00102474    2/3/2020 13:18 Attach   Let.docx                                             .\VOL007\IMAGES\IMAGES001\00102468.pdf
                                               7984 I270‐495 Managed Lanes Study ‐ NCPC
00102475   00102477    2/3/2020 13:18 Attach   Novem.pdf                                            .\VOL007\IMAGES\IMAGES001\00102475.pdf
                                               RE: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00102478   00102482    2/3/2020 13:54 Email    MLS Administrative Draft DEIS Submittal              .\VOL007\IMAGES\IMAGES001\00102478.pdf
                                               RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00102483   00102487    2/3/2020 13:54 Email    27...(6).pdf                                         .\VOL007\IMAGES\IMAGES001\00102483.pdf
00102488   00102488    2/3/2020 14:28 Email    RE: GHG response                                     .\VOL007\IMAGES\IMAGES001\00102488.pdf

00102489   00102490    2/3/2020 15:58 Email    RE: Traffic and AlternativesJ technical s for MLS project .\VOL007\IMAGES\IMAGES001\00102489.pdf
00102491   00102496    2/3/2020 17:46 Edoc     DEIS Cultural Resources Section.docx                      .\VOL007\IMAGES\IMAGES001\00102491.pdf
00102497   00102497    2/3/2020 19:22 Email    I‐495                                                     .\VOL007\IMAGES\IMAGES001\00102497.pdf

00102498   00102500    2/3/2020 19:22 Attach   MLS_Admin Draft ‐ DEIS_Comment Errata Table.docx     .\VOL007\IMAGES\IMAGES001\00102498.pdf
00102501   00102710    2/3/2020 19:22 Attach   DEIS_PrintVersion_01‐10‐20 CN comments.pdf           .\VOL007\IMAGES\IMAGES001\00102501.pdf
                                               RE: 495/270 MLS: Elevated alignments options
00102711   00102711     2/4/2020 7:53 Email    considered                                           .\VOL007\IMAGES\IMAGES001\00102711.pdf
00102712   00102712     2/4/2020 7:53 Email    RE: MLS Traffic Technical Report                     .\VOL007\IMAGES\IMAGES001\00102712.pdf
00102713   00102714     2/4/2020 7:59 Email    FW: GHG response                                     .\VOL007\IMAGES\IMAGES001\00102713.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
00102715   00102716     2/4/2020 8:57 Email    Adminis...(12).pdf                                   .\VOL007\IMAGES\IMAGES001\00102715.pdf
00102717   00102718    2/4/2020 10:00 Edoc     Montgomery Mall LLC_Meeting Record .docx             .\VOL007\IMAGES\IMAGES001\00102717.pdf
00102719   00102753    2/4/2020 10:00 Edoc     20200203_Rock Creek Conservancy_PDF.pdf              .\VOL007\IMAGES\IMAGES001\00102719.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
00102754   00102756    2/4/2020 10:19 Email    Adminis...(13).pdf                                   .\VOL007\IMAGES\IMAGES001\00102754.pdf
00102757   00102758    2/4/2020 10:24 Email    MDOT SHA Response to Sierra Club                     .\VOL007\IMAGES\IMAGES001\00102757.pdf
                                               2020‐02‐03_MDOT SHA Response to Sierra Club‐
00102759   00102760    2/4/2020 10:28 Attach   signed.pdf                                           .\VOL007\IMAGES\IMAGES001\00102759.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102761   00102762    2/4/2020 10:30 Email    Administrative DEIS                                  .\VOL007\IMAGES\IMAGES001\00102761.pdf
                                               RE: Response letter to NCPC Regarding December
00102763   00102764    2/4/2020 10:31 Email    ARDS Letter                                          .\VOL007\IMAGES\IMAGES001\00102763.pdf

00102765   00102766    2/4/2020 11:34 Edoc     Montgomery Co. Public Schoolsl_Meeting Record.docx .\VOL007\IMAGES\IMAGES001\00102765.pdf
00102767   00102770    2/4/2020 11:45 Attach   Attachment 1‐ NCPC ARDS Response Letter.pdf        .\VOL007\IMAGES\IMAGES001\00102767.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata
00102771   00102773    2/4/2020 12:23 Edoc     Table_KP_DEIS.docx                                 .\VOL007\IMAGES\IMAGES001\00102771.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102774   00102775    2/4/2020 15:32 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00102774.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata
00102776   00102778    2/4/2020 15:32 Attach   Table.BG.docx                                      .\VOL007\IMAGES\IMAGES001\00102776.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102779   00102780    2/4/2020 16:43 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00102779.pdf
                                               RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00102781   00102786    2/4/2020 17:00 Email    27...(7).pdf                                       .\VOL007\IMAGES\IMAGES001\00102781.pdf
                                               RE_ I‐495 and I‐270 Managed Lanes Study_
00102787   00102789    2/4/2020 18:02 Email    Sectio...(3).pdf                                   .\VOL007\IMAGES\IMAGES001\00102787.pdf
00102790   00102790     2/5/2020 8:24 Email    RE: MLS Traffic Technical Report                   .\VOL007\IMAGES\IMAGES001\00102790.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata
00102791   00102793     2/5/2020 9:00 Attach   Table_K.docx                                       .\VOL007\IMAGES\IMAGES001\00102791.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata
00102794   00102795     2/5/2020 9:00 Attach   Table_K.docx                                       .\VOL007\IMAGES\IMAGES001\00102794.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata
00102796   00102798     2/5/2020 9:00 Attach   Table_S.docx                                       .\VOL007\IMAGES\IMAGES001\00102796.pdf
00102799   00102800     2/5/2020 9:00 Attach   MLS_Admin Draft ‐ DEIS_Comments Breck.docx         .\VOL007\IMAGES\IMAGES001\00102799.pdf
00102801   00102802     2/5/2020 9:00 Attach   MLS_Admin Draft ‐ DEIS_Comments FEG.docx           .\VOL007\IMAGES\IMAGES001\00102801.pdf
00102803   00102804     2/5/2020 9:00 Attach   MLS_Admin Draft ‐ DEIS_JM_.docx                    .\VOL007\IMAGES\IMAGES001\00102803.pdf

00102805   00102806     2/5/2020 9:00 Attach   MLS_Admin Draft ‐ Section 4(f) _Comment Errat.docx   .\VOL007\IMAGES\IMAGES001\00102805.pdf
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                                               MLS_Community Effects_Comment Errata
00102807   00102808     2/5/2020 9:00 Attach   Table_PA.docx                                          .\VOL007\IMAGES\IMAGES001\00102807.pdf

00102809   00102810     2/5/2020 9:00 Attach   MLS_ICE Tech Doc Comment Errata Table Otto.docx        .\VOL007\IMAGES\IMAGES001\00102809.pdf
                                               MLS_Natural Resources Tech Report_Comment
00102811   00102813     2/5/2020 9:00 Attach   Err.docx                                               .\VOL007\IMAGES\IMAGES001\00102811.pdf

00102814   00102816     2/5/2020 9:00 Attach   MLS_Noise Tech Doc Comment Errata Table Otto.docx .\VOL007\IMAGES\IMAGES001\00102814.pdf
                                               MLS_Admin Draft ‐ Air Quality_FHWA Comment
00102817   00102819     2/5/2020 9:00 Attach   Er.docx                                           .\VOL007\IMAGES\IMAGES001\00102817.pdf

00102820   00102825     2/5/2020 9:00 Attach   MLS_Admin Draft ‐ DEIS_Comment Errata Table J.docx .\VOL007\IMAGES\IMAGES001\00102820.pdf

00102826   00102828    2/5/2020 10:17 Edoc     MLS_Noise Tech Doc Comment Errata Table Otto.docx .\VOL007\IMAGES\IMAGES001\00102826.pdf

00102829   00102830    2/5/2020 10:30 Edoc     MLS_ICE Tech Doc Comment Errata Table Otto.docx    .\VOL007\IMAGES\IMAGES001\00102829.pdf
00102831   00102831    2/5/2020 12:54 Attach   2020‐02‐06 I‐495 NEXT GWMP Agenda.pdf              .\VOL007\IMAGES\IMAGES001\00102831.pdf
                                               PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270 MLS
00102832   00102832    2/5/2020 13:45 Email    Administrative Draft DEIS Submittal                .\VOL007\IMAGES\IMAGES001\00102832.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102833   00102834    2/5/2020 15:25 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00102833.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102835   00102836    2/5/2020 15:38 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00102835.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS
00102837   00102839    2/5/2020 15:43 Email    Administrative DEIS                                .\VOL007\IMAGES\IMAGES001\00102837.pdf
                                               RE: 2040 vs 2045 Traffic Model Comparison Memo and
00102840   00102843    2/5/2020 16:08 Email    Revised RPA Discussion Document                    .\VOL007\IMAGES\IMAGES001\00102840.pdf
00102844   00102844    2/5/2020 17:05 Edoc     General Comments on DEIS.docx                      .\VOL007\IMAGES\IMAGES001\00102844.pdf

00102845   00102845    2/5/2020 17:41 Attach   2020‐02‐11_FHWA Coordination Mtg Agenda.docx          .\VOL007\IMAGES\IMAGES001\00102845.pdf
00102846   00102849     2/6/2020 2:29 Edoc     Mo Co Public Schools_02032020‐signed.pdf              .\VOL007\IMAGES\IMAGES001\00102846.pdf
00102850   00102857     2/6/2020 2:39 Edoc     City of Greenbelt_02032020.docx                       .\VOL007\IMAGES\IMAGES001\00102850.pdf
00102858   00102865     2/6/2020 2:39 Edoc     City of Greenbelt_02032020‐signed.pdf                 .\VOL007\IMAGES\IMAGES001\00102858.pdf
00102866   00102870     2/6/2020 2:42 Edoc     City of Gaithersburg_02032020‐signed.pdf              .\VOL007\IMAGES\IMAGES001\00102866.pdf
                                               Fw: Managed Lane EIS SHA/MDOT discussion on
00102871   00102874    2/6/2020 11:10 Email    installation fence line impacts                       .\VOL007\IMAGES\IMAGES001\00102871.pdf
                                               RE: Response letter to NCPC Regarding December
00102875   00102877    2/6/2020 12:17 Email    ARDS Letter                                           .\VOL007\IMAGES\IMAGES001\00102875.pdf
                                               RE: Response letter to NCPC Regarding December
00102878   00102881    2/6/2020 12:21 Email    ARDS Letter                                           .\VOL007\IMAGES\IMAGES001\00102878.pdf
                                               MLS ‐ Project Team Call with HCR ‐ CEA and Title VI ‐
00102882   00102882    2/6/2020 13:55 Edoc     02 06 2020.docx                                       .\VOL007\IMAGES\IMAGES001\00102882.pdf
00102883   00102883    2/6/2020 16:09 Edoc     OCR Big Risk Areas.docx                               .\VOL007\IMAGES\IMAGES001\00102883.pdf
00102884   00102887    2/6/2020 16:13 Edoc     City of New Carollton_02032020‐signed.pdf             .\VOL007\IMAGES\IMAGES001\00102884.pdf
00102888   00102898    2/6/2020 20:40 Edoc     City of Rockville_02032020‐signed.pdf                 .\VOL007\IMAGES\IMAGES001\00102888.pdf
                                               Fwd: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00102899   00102902    2/7/2020 10:08 Email    MLS Administrative Draft DEIS Submittal               .\VOL007\IMAGES\IMAGES001\00102899.pdf
                                               FW: PRE‐DECISIONAL & DELIBERATIVE: I‐495 & I‐270
00102903   00102907    2/7/2020 10:37 Email    MLS Administrative Draft DEIS Submittal               .\VOL007\IMAGES\IMAGES001\00102903.pdf
00102908   00102908    2/7/2020 10:39 Email    In‐person Section 106 and 4(f) meetings               .\VOL007\IMAGES\IMAGES001\00102908.pdf
00102909   00102909    2/7/2020 11:45 Email    Support the Maryland Traffic Relief Plan!             .\VOL007\IMAGES\IMAGES001\00102909.pdf
00102910   00102910    2/7/2020 13:17 Email    HCR/Division Meeting Minutes                          .\VOL007\IMAGES\IMAGES001\00102910.pdf
00102911   00102911    2/7/2020 17:20 Email    Support the Maryland Traffic Relief Plan!             .\VOL007\IMAGES\IMAGES001\00102911.pdf
00102912   00102912    2/7/2020 17:20 Email    Support the Maryland Traffic Relief Plan!             .\VOL007\IMAGES\IMAGES001\00102912.pdf
00102913   00102913    2/7/2020 17:57 Email    Support the Maryland Traffic Relief Plan!             .\VOL007\IMAGES\IMAGES001\00102913.pdf
00102914   00102914    2/7/2020 18:04 Email    Support the Maryland Traffic Relief Plan!             .\VOL007\IMAGES\IMAGES001\00102914.pdf
00102915   00102915    2/7/2020 18:30 Email    Support the Maryland Traffic Relief Plan!             .\VOL007\IMAGES\IMAGES001\00102915.pdf
00102916   00102916    2/7/2020 18:54 Email    Support the Maryland Traffic Relief Plan!             .\VOL007\IMAGES\IMAGES001\00102916.pdf
00102917   00102917    2/8/2020 12:43 Email    Support the Maryland Traffic Relief Plan!             .\VOL007\IMAGES\IMAGES001\00102917.pdf
00102918   00102919   2/10/2020 13:43 Email    RE: DEIS Comments                                     .\VOL007\IMAGES\IMAGES001\00102918.pdf
                                               RE: Wyngate Citizens Association statement in support
                                               of M‐NCPPC non‐concurrence of the MDOT
00102920   00102921   2/10/2020 14:05 Email    alternatives retained for detailed study              .\VOL007\IMAGES\IMAGES001\00102920.pdf

00102922   00102926   2/10/2020 14:05 Attach   2020‐02‐10_Wyngate Response Letter‐signed.pdf          .\VOL007\IMAGES\IMAGES001\00102922.pdf
00102927   00102927   2/10/2020 14:11 Email    FHWA Comments ‐ Administrative Draft DEIS.pdf          .\VOL007\IMAGES\IMAGES001\00102927.pdf
                                               MLS_Admin Draft ‐
00102928   00102983   2/10/2020 15:20 Attach   DEIS_Comments_FHWA_02.10.20.docx                       .\VOL007\IMAGES\IMAGES001\00102928.pdf
00102984   00102984   2/10/2020 16:12 Email    administrative DEIS I‐495 I‐270                        .\VOL007\IMAGES\IMAGES001\00102984.pdf
                                               20200205 Appendix B Traffic MLS_Admin Draft ‐
00102985   00102986   2/10/2020 16:12 Attach   DEIS_Comment Errata Table.docx                         .\VOL007\IMAGES\IMAGES001\00102985.pdf
                                               20200210 Appendix A Admin Draft ‐ DEIS_Comment
00102987   00102988   2/10/2020 16:12 Attach   Errata Table.docx                                      .\VOL007\IMAGES\IMAGES001\00102987.pdf

                                               20200210 Appendix K natural resources MLS_Admin
00102989   00102990   2/10/2020 16:12 Attach   Draft ‐ DEIS_Comment Errata Table.docx                 .\VOL007\IMAGES\IMAGES001\00102989.pdf
                                               20200210 MLS_Admin Draft ‐ DEIS_Comment Errata
00102991   00102993   2/10/2020 16:12 Attach   Table (Autosaved).docx                                 .\VOL007\IMAGES\IMAGES001\00102991.pdf
                                               20200207 Corps OC Comments on 495‐270 Managed
00102994   00102997   2/10/2020 16:12 Attach   Lanes Study.docx                                       .\VOL007\IMAGES\IMAGES001\00102994.pdf
00102998   00102998   2/10/2020 16:21 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00102998.pdf
                                               RE_ I‐495 and I‐270 Managed Lanes Study_
00102999   00103001    2/11/2020 7:44 Email    Sectio...(1).pdf                                       .\VOL007\IMAGES\IMAGES001\00102999.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study: Section 106
                                               Technical Reports Updates, Comments Requested by
00103002   00103005    2/11/2020 7:55 Email    March 16                                               .\VOL007\IMAGES\IMAGES001\00103002.pdf
                                               September 27, 1984 Correspondence between NPS
                                               and SHA regarding siting of field offices for 495
00103006   00103008    2/11/2020 9:34 Edoc     project.pdf                                            .\VOL007\IMAGES\IMAGES001\00103006.pdf
                                               April 24, 1981 correspondence between MDoT and
00103009   00103011    2/11/2020 9:34 Edoc     NPS summarizing meeting.pdf                            .\VOL007\IMAGES\IMAGES001\00103009.pdf
                                               November 5, 1984 Amendment to Permit
00103012   00103013    2/11/2020 9:34 Edoc     6_800_0151.pdf                                         .\VOL007\IMAGES\IMAGES001\00103012.pdf

                                               November 8, 1960 Correspondence regarding land
                                               ownership and permits and October 24, 1960 brief
00103014   00103015    2/11/2020 9:34 Edoc     letter discussing using a permit rather than a p.pdf   .\VOL007\IMAGES\IMAGES001\00103014.pdf
00103016   00103031    2/11/2020 9:35 Edoc     851_80036 (2).pdf                                      .\VOL007\IMAGES\IMAGES001\00103016.pdf
00103032   00103068    2/11/2020 9:35 Edoc     6‐800‐0151.pdf                                         .\VOL007\IMAGES\IMAGES001\00103032.pdf
00103069   00103079    2/11/2020 9:35 Edoc     1984‐02‐21.pdf                                         .\VOL007\IMAGES\IMAGES001\00103069.pdf

00103080   00103080   2/11/2020 13:00 Attach   2020‐02‐11_FHWA Coordination Mtg Agenda.docx           .\VOL007\IMAGES\IMAGES001\00103080.pdf
                                               RE: Response letter to NCPC Regarding December
00103081   00103082   2/11/2020 15:52 Email    ARDS Letter                                            .\VOL007\IMAGES\IMAGES001\00103081.pdf
00103083   00103084   2/11/2020 15:55 Email    FW: BPW Agenda ‐ Approved                              .\VOL007\IMAGES\IMAGES001\00103083.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                         Page 64 of 263

00103085   00103090   2/11/2020 15:55 Attach   2020‐Jan‐8‐23‐GM.pdf                                   .\VOL007\IMAGES\IMAGES001\00103085.pdf
00103091   00103091   2/11/2020 17:59 Email    FW: Support the Maryland Traffic Relief Plan!          .\VOL007\IMAGES\IMAGES001\00103091.pdf
00103092   00103092   2/11/2020 18:03 Email    FW: Support the Maryland Traffic Relief Plan!          .\VOL007\IMAGES\IMAGES001\00103092.pdf
00103093   00103093   2/11/2020 18:03 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00103093.pdf
00103094   00103094   2/11/2020 18:06 Email    FW: Support the Maryland Traffic Relief Plan!          .\VOL007\IMAGES\IMAGES001\00103094.pdf
00103095   00103095   2/11/2020 18:06 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00103095.pdf
00103096   00103096   2/11/2020 18:09 Email    FW: Support the Maryland Traffic Relief Plan!          .\VOL007\IMAGES\IMAGES001\00103096.pdf
00103097   00103097   2/11/2020 18:09 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00103097.pdf
00103098   00103098   2/11/2020 18:11 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00103098.pdf
00103099   00103099   2/11/2020 18:12 Email    FW: Support the Maryland Traffic Relief Plan!          .\VOL007\IMAGES\IMAGES001\00103099.pdf
00103100   00103100   2/11/2020 18:20 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00103100.pdf
00103101   00103101   2/11/2020 21:41 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00103101.pdf
00103102   00103102   2/11/2020 21:42 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00103102.pdf
00103103   00103103   2/11/2020 21:43 Email    Support the Maryland Traffic Relief Plan!              .\VOL007\IMAGES\IMAGES001\00103103.pdf
                                               I‐270 Pre‐NEPA Draft Purpose and Need_Highlighted
00103104   00103104    2/12/2020 8:18 Attach   Errata_20200123.xlsx                                   .\VOL007\IMAGES\IMAGES001\00103104.pdf   .\VOL007\NATIVES\NATIVES001\00103104.xlsx
00103105   00103139    2/12/2020 8:18 Attach   Draft I‐270 Purpose and Need 01.23.20.docx             .\VOL007\IMAGES\IMAGES001\00103105.pdf

00103140   00103141    2/12/2020 8:35 Email    MDOT SHA Response to National Planning Commission .\VOL007\IMAGES\IMAGES001\00103140.pdf

00103142   00103143    2/12/2020 8:35 Email    MDOT SHA Response to National Planning Commission .\VOL007\IMAGES\IMAGES001\00103142.pdf
                                               FW_ I‐495 _ I‐270 FHWA Coordination ‐ Specific
00103144   00103145    2/12/2020 8:55 Email    ...(3).pdf                                           .\VOL007\IMAGES\IMAGES001\00103144.pdf
00103146   00103221    2/12/2020 8:55 Attach   IAPA Methodology_20200207 (1).pdf                    .\VOL008\IMAGES\IMAGES001\00103146.pdf
                                               FW: I‐495 / I‐270 FHWA Coordination ‐ Specific Issue
00103222   00103223    2/12/2020 8:55 Email    Meeting (IAPA)                                       .\VOL008\IMAGES\IMAGES001\00103222.pdf
00103224   00103224    2/12/2020 9:07 Email    RE: Alt 9M                                           .\VOL008\IMAGES\IMAGES001\00103224.pdf
00103225   00103226    2/12/2020 9:16 Email    Fw: Alt 9M Metrics ‐ Top Side Only                   .\VOL008\IMAGES\IMAGES001\00103225.pdf
00103227   00103227   2/12/2020 10:10 Email    discussion items for 11 am meeting.pdf               .\VOL008\IMAGES\IMAGES001\00103227.pdf

00103228   00103231   2/12/2020 10:10 Attach   Alt 9M Traffic Metrics I‐495 North Side Compa.pptx   .\VOL008\IMAGES\IMAGES001\00103228.pdf
00103232   00103235   2/12/2020 11:35 Edoc     851_80036_reduced.pdf                                .\VOL008\IMAGES\IMAGES001\00103232.pdf
00103236   00103236   2/12/2020 11:48 Email    Support the Maryland Traffic Relief Plan!            .\VOL008\IMAGES\IMAGES001\00103236.pdf
00103237   00103237   2/12/2020 13:53 Email    MLS ‐ Air Quality SME Meeting                        .\VOL008\IMAGES\IMAGES001\00103237.pdf
                                               RE: I‐495 / I‐270 FHWA Coordination ‐ Specific Issue
00103238   00103239   2/12/2020 14:11 Email    Meeting (IAPA)                                       .\VOL008\IMAGES\IMAGES001\00103238.pdf
                                               FW_ I‐495 _ I‐270 FHWA Coordination ‐ Specific
00103240   00103242   2/12/2020 14:28 Email    ...(2).pdf                                           .\VOL008\IMAGES\IMAGES001\00103240.pdf
00103243   00103243   2/12/2020 15:49 Email    FW: MLS‐ ROW & ALB Area Follow‐Ups                   .\VOL008\IMAGES\IMAGES001\00103243.pdf
                                               WSSC Potomac Intake FONSI Oct 2017 ‐ SOF and D and
00103244   00103304   2/12/2020 15:49 Attach   E.pdf                                                .\VOL008\IMAGES\IMAGES001\00103244.pdf
00103305   00103305   2/12/2020 15:49 Attach   Maryland LWCF grants.xlsx                            .\VOL008\IMAGES\IMAGES001\00103305.pdf     .\VOL008\NATIVES\NATIVES001\00103305.xlsx
00103306   00103306   2/12/2020 15:49 Attach   ClaraBarton_SHA_02102020.pdf                         .\VOL008\IMAGES\IMAGES001\00103306.pdf
00103307   00103307   2/12/2020 15:49 Attach   Permit Records_ALB_022020.xlsx                       .\VOL008\IMAGES\IMAGES001\00103307.pdf     .\VOL008\NATIVES\NATIVES001\00103307.xlsx
00103308   00103317   2/12/2020 15:49 Attach   6‐800‐0234.pdf                                       .\VOL008\IMAGES\IMAGES001\00103308.pdf
00103318   00103318   2/12/2020 15:58 Email    RE: MLS ‐ Agency Comments on Admin Draft DEIS        .\VOL008\IMAGES\IMAGES001\00103318.pdf
00103319   00103319   2/12/2020 16:01 Email    495/270 MLS ‐ Alt 9 Modified Preliminary Results     .\VOL008\IMAGES\IMAGES001\00103319.pdf

00103320   00103320   2/12/2020 16:02 Email    FW_ MLS ‐ Agency Comments on Admin Draft DEIS.pdf .\VOL008\IMAGES\IMAGES001\00103320.pdf

00103321   00103332   2/12/2020 16:03 Attach   MLS_Admin DEIS_Agency Comment Errata Table.docx .\VOL008\IMAGES\IMAGES001\00103321.pdf
                                               MLS_Admin DEIS_MNCPPC Comments Errata
00103333   00103344   2/12/2020 16:03 Attach   Table.docx                                        .\VOL008\IMAGES\IMAGES001\00103333.pdf
00103345   00103346   2/12/2020 16:31 Email    FW: MLS ‐ Air Quality SME Meeting                 .\VOL008\IMAGES\IMAGES001\00103345.pdf
00103347   00103347   2/12/2020 16:34 Email    Alt 9M                                            .\VOL008\IMAGES\IMAGES001\00103347.pdf
00103348   00103348   2/12/2020 16:36 Email    FW_ Alt 9M.pdf                                    .\VOL008\IMAGES\IMAGES001\00103348.pdf
                                               2020‐02‐12_MDOT SHA Response to NCPC ARDS Letter‐
00103349   00103358   2/12/2020 16:40 Edoc     signed.pdf                                        .\VOL008\IMAGES\IMAGES001\00103349.pdf
                                               FW_ MDOT SHA Response to National Planning
00103359   00103360   2/12/2020 16:41 Email    Comm....pdf                                       .\VOL008\IMAGES\IMAGES001\00103359.pdf
00103361   00103364   2/12/2020 16:45 Email    RE: MLS ‐ Noise SME Meeting                       .\VOL008\IMAGES\IMAGES001\00103361.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata
00103365   00103420   2/12/2020 16:45 Attach   Table_FHWA_02.10.20_Internal.docx                 .\VOL008\IMAGES\IMAGES001\00103365.pdf
00103421   00103424   2/12/2020 16:51 Email    RE: MLS ‐ Noise SME Meeting                       .\VOL008\IMAGES\IMAGES001\00103421.pdf
00103425   00103427   2/12/2020 17:05 Email    RE: MLS ‐ Noise SME Meeting                       .\VOL008\IMAGES\IMAGES001\00103425.pdf
00103428   00103429   2/12/2020 18:31 Email    RE: MLS ‐ Agency Comments on Admin Draft DEIS     .\VOL008\IMAGES\IMAGES001\00103428.pdf
00103430   00103431   2/12/2020 18:31 Email    RE: MLS ‐ Agency Comments on Admin Draft DEIS     .\VOL008\IMAGES\IMAGES001\00103430.pdf

00103432   00103432    2/13/2020 7:37 Email    RE: 495/270 MLS ‐ Alt 9 Modified Preliminary Results   .\VOL008\IMAGES\IMAGES001\00103432.pdf

00103433   00103434    2/13/2020 8:53 Email    RE: 495/270 MLS ‐ Alt 9 Modified Preliminary Results   .\VOL008\IMAGES\IMAGES001\00103433.pdf

00103435   00103436    2/13/2020 8:57 Email    FW_ MLS ‐ Agency Comments on Admin Draft DEIS.pdf .\VOL008\IMAGES\IMAGES001\00103435.pdf
                                               APPENDIX E_Admin DEIS_Agency Comment Errata
00103437   00103452    2/13/2020 8:57 Attach   T.docx                                               .\VOL008\IMAGES\IMAGES001\00103437.pdf
00103453   00103454   2/13/2020 11:38 Email    FW: MLS ‐ Air Quality SME Meeting                    .\VOL008\IMAGES\IMAGES001\00103453.pdf
00103455   00103456   2/13/2020 11:40 Email    RE: MLS ‐ Air Quality SME Meeting                    .\VOL008\IMAGES\IMAGES001\00103455.pdf
00103457   00103458   2/13/2020 13:38 Email    FW: Alt 9M                                           .\VOL008\IMAGES\IMAGES001\00103457.pdf
00103459   00103460   2/13/2020 13:38 Email    FW: Alt 9M Metrics ‐ Top Side Only                   .\VOL008\IMAGES\IMAGES001\00103459.pdf
                                               RE: I‐495 / I‐270 FHWA Coordination ‐ Specific Issue
00103461   00103463   2/13/2020 14:40 Email    Meeting (IAPA)                                       .\VOL008\IMAGES\IMAGES001\00103461.pdf
                                               Fwd: NO MORE ROAD WIDENING SCHEMES ON I‐270
00103464   00103465   2/13/2020 14:54 Email    AND BELTWAY                                          .\VOL008\IMAGES\IMAGES001\00103464.pdf
00103466   00103467   2/13/2020 15:39 Attach   Culver_2132020_21548PM_signed 823176.pdf             .\VOL008\IMAGES\IMAGES001\00103466.pdf
00103468   00103468   2/13/2020 15:49 Attach   2132020_21348PM_Culver 823176 Incoming.pdf           .\VOL008\IMAGES\IMAGES001\00103468.pdf
00103469   00103471   2/13/2020 15:49 Attach   2132020_21548PM_signed 823176 bcc.pdf                .\VOL008\IMAGES\IMAGES001\00103469.pdf
00103472   00103473   2/13/2020 16:52 Attach   Culver_2132020_21548PM_signed 823176.pdf             .\VOL008\IMAGES\IMAGES001\00103472.pdf

00103474   00103474   2/13/2020 17:17 Email    RE_ RE_ I‐495 _ I‐270 FHWA Coordination ‐ Speci....pdf .\VOL008\IMAGES\IMAGES001\00103474.pdf
00103475   00103479   2/13/2020 17:17 Attach   Traffic Operation Memo.docx                            .\VOL008\IMAGES\IMAGES001\00103475.pdf
00103480   00103481   2/13/2020 17:25 Email    Additional results for Alternative 9M                  .\VOL008\IMAGES\IMAGES001\00103480.pdf
00103482   00103483   2/13/2020 17:25 Attach   3491_001.pdf                                           .\VOL008\IMAGES\IMAGES001\00103482.pdf
00103484   00103485   2/13/2020 17:35 Email    MLS ‐ Endangered Species SME Meeting                   .\VOL008\IMAGES\IMAGES001\00103484.pdf
00103486   00103487   2/13/2020 17:35 Email    MLS ‐ EJ / Title VI SME Meeting                        .\VOL008\IMAGES\IMAGES001\00103486.pdf
00103488   00103489   2/13/2020 17:35 Email    MLS ‐ Endangered Species SME Meeting                   .\VOL008\IMAGES\IMAGES001\00103488.pdf

00103490   00103491    2/14/2020 8:26 Email    FW: 495/270 MLS ‐ Alt 9 Modified Preliminary Results   .\VOL008\IMAGES\IMAGES001\00103490.pdf
00103492   00103497    2/14/2020 9:47 Attach   77_2019Peer_NPS.pptx                                   .\VOL008\IMAGES\IMAGES001\00103492.pdf
00103498   00103499   2/14/2020 10:53 Email    RE: MLS ‐ EJ / Title VI SME Meeting                    .\VOL008\IMAGES\IMAGES001\00103498.pdf
00103500   00103500   2/14/2020 10:53 Email    Notifying DOI for 495 NHL's                            .\VOL008\IMAGES\IMAGES001\00103500.pdf
00103501   00103503   2/14/2020 11:02 Email    RE: MLS ‐ Endangered Species SME Meeting               .\VOL008\IMAGES\IMAGES001\00103501.pdf

00103504   00103555   2/14/2020 11:16 Attach   2019_04_29 GLEC Final CSSA (508 Compliant) (1).pdf     .\VOL008\IMAGES\IMAGES001\00103504.pdf
00103556   00103556   2/14/2020 12:03 Email    RE: Working Group Leaders                              .\VOL008\IMAGES\IMAGES001\00103556.pdf
00103557   00103558   2/14/2020 12:03 Attach   20200217‐WGL Mtg Agenda Final.docx                     .\VOL008\IMAGES\IMAGES001\00103557.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                         Page 65 of 263

00103559   00103559   2/14/2020 13:57 Email    MLS DEIS Comments                                  .\VOL008\IMAGES\IMAGES001\00103559.pdf
00103560   00103560   2/14/2020 14:32 Email    Alt 9M                                             .\VOL008\IMAGES\IMAGES001\00103560.pdf
00103561   00103563   2/14/2020 15:30 Email    RE: Alt 9M Metrics ‐ Top Side Only                 .\VOL008\IMAGES\IMAGES001\00103561.pdf
00103564   00103566   2/14/2020 15:30 Email    RE: Alt 9M Metrics ‐ Top Side Only                 .\VOL008\IMAGES\IMAGES001\00103564.pdf
00103567   00103568   2/16/2020 15:24 Email    FW_ Cooperating Agency Working Session.pdf         .\VOL008\IMAGES\IMAGES001\00103567.pdf
00103569   00103570   2/16/2020 15:24 Email    FW: Cooperating Agency Working Session             .\VOL008\IMAGES\IMAGES001\00103569.pdf
00103571   00103572   2/16/2020 15:28 Email    RE_ Cooperating Agency Working Session.pdf         .\VOL008\IMAGES\IMAGES001\00103571.pdf
00103573   00103574   2/16/2020 15:28 Email    RE: Cooperating Agency Working Session             .\VOL008\IMAGES\IMAGES001\00103573.pdf
                                               Re_ Cooperating Agency DEIS Comment Working
00103575   00103575   2/16/2020 15:44 Email    Ses....pdf                                         .\VOL008\IMAGES\IMAGES001\00103575.pdf
                                               MLS ‐ Tech Reports Agency Comments (Administrative
00103576   00103577    2/17/2020 7:56 Email    Draft)                                             .\VOL008\IMAGES\IMAGES001\00103576.pdf
                                               MLS ‐ Tech Reports Agency Comments (Administrative
00103578   00103579    2/17/2020 7:56 Email    Draft)                                             .\VOL008\IMAGES\IMAGES001\00103578.pdf
                                               FW_ MLS ‐ Tech Reports Agency Comments
00103580   00103581   2/17/2020 10:52 Email    (Adminis....pdf                                    .\VOL008\IMAGES\IMAGES001\00103580.pdf
                                               APPENDIX Q_Admin DEIS_Agency Comment Errata
00103582   00103582   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103582.pdf
                                               APPENDIX A_Admin DEIS_Agency Comment Errata
00103583   00103583   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103583.pdf
                                               APPENDIX B_Admin DEIS_Agency Comment Errata
00103584   00103585   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103584.pdf
                                               APPENDIX C_Admin DEIS_Agency Comment Errata
00103586   00103586   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103586.pdf
                                               APPENDIX D_Admin DEIS_Agency Comment Errata
00103587   00103588   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103587.pdf
                                               APPENDIX G_Admin DEIS_Agency Comment Errata
00103589   00103589   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103589.pdf
                                               APPENDIX J_Admin DEIS_Agency Comment Errata
00103590   00103590   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103590.pdf
                                               APPENDIX K_Admin DEIS_Agency Comment Errata
00103591   00103593   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103591.pdf
                                               APPENDIX N_Admin DEIS_Agency Comment Errata
00103594   00103594   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103594.pdf
                                               APPENDIX O_Admin DEIS_Agency Comment Errata
00103595   00103596   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103595.pdf
                                               APPENDIX P_Admin DEIS_Agency Comment Errata
00103597   00103597   2/17/2020 10:52 Attach   T.docx                                             .\VOL008\IMAGES\IMAGES001\00103597.pdf
                                               FW: MLS ‐ Tech Reports Agency Comments
00103598   00103599   2/17/2020 10:52 Email    (Administrative Draft)                             .\VOL008\IMAGES\IMAGES001\00103598.pdf
00103600   00103601   2/17/2020 13:37 Email    Critical Path Item                                 .\VOL008\IMAGES\IMAGES001\00103600.pdf
00103602   00103603   2/17/2020 13:42 Email    FW: Critical Path Item                             .\VOL008\IMAGES\IMAGES001\00103602.pdf
00103604   00103605   2/17/2020 15:22 Email    Alternative 9M                                     .\VOL008\IMAGES\IMAGES001\00103604.pdf
00103606   00103606   2/17/2020 15:25 Email    Re: MLS archaeology email to Virginia Tribes       .\VOL008\IMAGES\IMAGES001\00103606.pdf
00103607   00103608   2/17/2020 16:30 Email    RE: Critical Path Item                             .\VOL008\IMAGES\IMAGES001\00103607.pdf
00103609   00103610    2/18/2020 7:16 Email    FW: Alternative 9M                                 .\VOL008\IMAGES\IMAGES001\00103609.pdf
00103611   00103612    2/18/2020 7:21 Email    FW: Critical Path Item                             .\VOL008\IMAGES\IMAGES001\00103611.pdf
00103613   00103614    2/18/2020 7:23 Email    FW_ Alternative 9M.pdf                             .\VOL008\IMAGES\IMAGES001\00103613.pdf
00103615   00103616    2/18/2020 7:23 Email    FW: Alternative 9M                                 .\VOL008\IMAGES\IMAGES001\00103615.pdf
00103617   00103618    2/18/2020 7:28 Email    FW: Alternative 9M                                 .\VOL008\IMAGES\IMAGES001\00103617.pdf
00103619   00103620    2/18/2020 7:28 Email    FW: Alternative 9M                                 .\VOL008\IMAGES\IMAGES001\00103619.pdf

00103621   00103635    2/18/2020 8:18 Attach   1987 NPS Archaeological Investigations at the .pdf     .\VOL008\IMAGES\IMAGES001\00103621.pdf

00103636   00103648    2/18/2020 8:18 Attach   relevant pages of 1877 Md state report on alms.pdf     .\VOL008\IMAGES\IMAGES001\00103636.pdf
00103649   00103650    2/18/2020 8:18 Email    FW: Alternative 9M                                     .\VOL008\IMAGES\IMAGES001\00103649.pdf
00103651   00103651    2/18/2020 9:08 Edoc     842_80062.pdf                                          .\VOL008\IMAGES\IMAGES001\00103651.pdf
00103652   00103661    2/18/2020 9:08 Edoc     842_80143.pdf                                          .\VOL008\IMAGES\IMAGES001\00103652.pdf
00103662   00103669    2/18/2020 9:08 Edoc     842_80346.pdf                                          .\VOL008\IMAGES\IMAGES001\00103662.pdf
00103670   00103671    2/18/2020 9:08 Edoc     842_80361.pdf                                          .\VOL008\IMAGES\IMAGES001\00103670.pdf
00103672   00103713    2/18/2020 9:08 Edoc     842_80435.pdf                                          .\VOL008\IMAGES\IMAGES001\00103672.pdf

00103714   00103714    2/18/2020 9:09 Edoc     NACE MDSHA Capital Beltway BW Pkwy 6 22 1962.pdf .\VOL008\IMAGES\IMAGES001\00103714.pdf

00103715   00103716    2/18/2020 9:09 Edoc     NACE MDSHA Capital Beltway BW Pkwy 6 24 1963.pdf       .\VOL008\IMAGES\IMAGES001\00103715.pdf
00103717   00103742    2/18/2020 9:09 Edoc     LR0593.pdf                                             .\VOL008\IMAGES\IMAGES001\00103717.pdf
00103743   00103752    2/18/2020 9:12 Edoc     GWMP 120‐003.pdf                                       .\VOL008\IMAGES\IMAGES001\00103743.pdf
00103753   00103785    2/18/2020 9:12 Edoc     GWMP 119‐043.pdf                                       .\VOL008\IMAGES\IMAGES001\00103753.pdf
00103786   00103853    2/18/2020 9:12 Edoc     GWMP 119‐040 and 120‐001.pdf                           .\VOL008\IMAGES\IMAGES001\00103786.pdf
00103854   00103855    2/18/2020 9:12 Edoc     GWMP 119‐034.pdf                                       .\VOL008\IMAGES\IMAGES001\00103854.pdf
00103856   00103870    2/18/2020 9:13 Edoc     CHOH 14‐133.pdf                                        .\VOL008\IMAGES\IMAGES001\00103856.pdf
00103871   00103873    2/18/2020 9:13 Edoc     851_82610.pdf                                          .\VOL008\IMAGES\IMAGES001\00103871.pdf
00103874   00103874    2/18/2020 9:13 Edoc     Area of Relocated Rock Run.pdf                         .\VOL008\IMAGES\IMAGES001\00103874.pdf
00103875   00103875    2/18/2020 9:13 Edoc     851_82487.pdf                                          .\VOL008\IMAGES\IMAGES001\00103875.pdf
00103876   00103876    2/18/2020 9:13 Edoc     851_82439.pdf                                          .\VOL008\IMAGES\IMAGES001\00103876.pdf
00103877   00103877    2/18/2020 9:13 Edoc     851_82434.pdf                                          .\VOL008\IMAGES\IMAGES001\00103877.pdf
00103878   00103884    2/18/2020 9:13 Edoc     851_82433.pdf                                          .\VOL008\IMAGES\IMAGES001\00103878.pdf
00103885   00103916    2/18/2020 9:13 Edoc     851_82409.pdf                                          .\VOL008\IMAGES\IMAGES001\00103885.pdf
00103917   00103919    2/18/2020 9:13 Edoc     851_82418.pdf                                          .\VOL008\IMAGES\IMAGES001\00103917.pdf
00103920   00103920    2/18/2020 9:13 Edoc     851_82091.pdf                                          .\VOL008\IMAGES\IMAGES001\00103920.pdf
00103921   00103923    2/18/2020 9:13 Edoc     851_82402.pdf                                          .\VOL008\IMAGES\IMAGES001\00103921.pdf
00103924   00103926    2/18/2020 9:14 Edoc     851_82405.pdf                                          .\VOL008\IMAGES\IMAGES001\00103924.pdf
00103927   00103938    2/18/2020 9:15 Edoc     851_82427.pdf                                          .\VOL008\IMAGES\IMAGES001\00103927.pdf
00103939   00103940    2/18/2020 9:16 Edoc     834_80220.pdf                                          .\VOL008\IMAGES\IMAGES001\00103939.pdf
00103941   00103941    2/18/2020 9:16 Edoc     834_80228.pdf                                          .\VOL008\IMAGES\IMAGES001\00103941.pdf
00103942   00103942    2/18/2020 9:16 Edoc     834_80229.pdf                                          .\VOL008\IMAGES\IMAGES001\00103942.pdf
00103943   00103956    2/18/2020 9:17 Edoc     834_80223.pdf                                          .\VOL008\IMAGES\IMAGES001\00103943.pdf

00103957   00103958    2/18/2020 9:46 Email    RE: 495/270 MLS ‐ Alt 9 Modified Preliminary Results .\VOL008\IMAGES\IMAGES001\00103957.pdf
                                               20200218_Mitigation_Meeting_PowerPoint_reduced.
00103959   00104020   2/18/2020 10:07 Attach   pdf                                                  .\VOL008\IMAGES\IMAGES001\00103959.pdf

00104021   00104022   2/18/2020 11:59 Email    RE: 495/270 MLS ‐ Alt 9 Modified Preliminary Results   .\VOL008\IMAGES\IMAGES001\00104021.pdf
00104023   00104023   2/18/2020 12:50 Email    FW: Support the Maryland Traffic Relief Plan!          .\VOL008\IMAGES\IMAGES001\00104023.pdf
00104024   00104026   2/18/2020 13:58 Email    RE_ MLS ‐ Air Quality SME Meeting(2).pdf               .\VOL008\IMAGES\IMAGES001\00104024.pdf
                                               Recap of 495 and 270 Managed Lanes Cultural
00104027   00104027   2/18/2020 14:00 Email    Res...(1).pdf                                          .\VOL008\IMAGES\IMAGES001\00104027.pdf
00104028   00104029   2/18/2020 14:14 Email    RE: MLS ‐ EJ / Title VI SME Meeting                    .\VOL008\IMAGES\IMAGES001\00104028.pdf
00104030   00104032   2/18/2020 14:51 Email    RE: Scheduling meeting for February 20                 .\VOL008\IMAGES\IMAGES001\00104030.pdf
00104033   00104033   2/18/2020 15:01 Email    admin draft DEIS for MLS                               .\VOL008\IMAGES\IMAGES001\00104033.pdf
00104034   00104035   2/18/2020 15:07 Email    RE: MLS ‐ EJ / Title VI SME Meeting                    .\VOL008\IMAGES\IMAGES001\00104034.pdf
00104036   00104037   2/18/2020 15:07 Attach   RE: MLS ‐ EJ / Title VI SME Meeting                    .\VOL008\IMAGES\IMAGES001\00104036.pdf

00104038   00104039   2/18/2020 15:22 Email    RE: 495/270 MLS ‐ Alt 9 Modified Preliminary Results   .\VOL008\IMAGES\IMAGES001\00104038.pdf
00104040   00104041   2/18/2020 15:37 Email    FW_ Alternative 9M.pdf                                 .\VOL008\IMAGES\IMAGES001\00104040.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                  Filed 05/03/23                          Page 66 of 263

00104042   00110782   2/18/2020 15:37 Attach   doc.kml                                                .\VOL008\IMAGES\IMAGES001\00104042.pdf

00110783   00110785   2/18/2020 15:37 Attach   2020_02_17_Alternative 9 M Description and Ma.docx .\VOL008\IMAGES\IMAGES001\00110783.pdf

00110786   00110789   2/18/2020 15:37 Attach   Alt 9M Speed Maps (15‐minutes) ‐ FHWA Request.pdf .\VOL008\IMAGES\IMAGES001\00110786.pdf

00110790   00110805   2/18/2020 15:37 Attach   MLS_Alternative 9M Handout_FHWA Meeting.pdf            .\VOL008\IMAGES\IMAGES001\00110790.pdf
00110806   00110807   2/18/2020 16:19 Email    FW: Megan‐‐Our Thanks                                  .\VOL008\IMAGES\IMAGES001\00110806.pdf
00110808   00110809   2/18/2020 16:40 Email    RE: Megan‐‐Our Thanks                                  .\VOL008\IMAGES\IMAGES001\00110808.pdf

                                               FW: I‐495 and I‐270 Managed Lanes Study‐‐Phase I and
00110810   00110810   2/18/2020 16:53 Email    Phase II archaeological survey, Fairfax Co. (2018‐0251) .\VOL008\IMAGES\IMAGES001\00110810.pdf
                                               RE: Recap of 495 and 270 Managed Lanes Cultural
00110811   00110812   2/18/2020 20:49 Email    Resources discussion                                    .\VOL008\IMAGES\IMAGES001\00110811.pdf

00110813   00110813    2/19/2020 8:23 Email    FW: 495/270 MLS ‐ Alt 9 Modified Preliminary Results .\VOL008\IMAGES\IMAGES001\00110813.pdf

00110814   00110814    2/19/2020 8:23 Email    FW: 495/270 MLS ‐ Alt 9 Modified Preliminary Results .\VOL008\IMAGES\IMAGES001\00110814.pdf

00110815   00110817    2/19/2020 8:24 Email    FW: 495/270 MLS ‐ Alt 9 Modified Preliminary Results .\VOL008\IMAGES\IMAGES001\00110815.pdf

00110818   00110820    2/19/2020 8:27 Email    RE: 495/270 MLS ‐ Alt 9 Modified Preliminary Results   .\VOL008\IMAGES\IMAGES001\00110818.pdf

00110821   00110823    2/19/2020 8:40 Email    RE: 495/270 MLS ‐ Alt 9 Modified Preliminary Results   .\VOL008\IMAGES\IMAGES001\00110821.pdf

00110824   00110826    2/19/2020 8:40 Email    RE: 495/270 MLS ‐ Alt 9 Modified Preliminary Results .\VOL008\IMAGES\IMAGES001\00110824.pdf
00110827   00110828    2/19/2020 8:55 Email    RE_ Alternative 9M.pdf                                .\VOL008\IMAGES\IMAGES001\00110827.pdf
00110829   00110833    2/19/2020 9:21 Email    FW: MLS ‐ Endangered Species SME Meeting              .\VOL008\IMAGES\IMAGES001\00110829.pdf
00110834   00110835    2/19/2020 9:25 Email    RE: Megan‐‐Our Thanks                                 .\VOL008\IMAGES\IMAGES001\00110834.pdf
00110836   00110837   2/19/2020 11:50 Email    FW_ MLS ‐ EJ _ Title VI SME Meeting.pdf               .\VOL008\IMAGES\IMAGES001\00110836.pdf
00110838   00110840   2/19/2020 11:58 Email    RE_ MLS ‐ EJ _ Title VI SME Meeting(1).pdf            .\VOL008\IMAGES\IMAGES001\00110838.pdf
00110841   00110842   2/19/2020 16:21 Email    FW: DEIS Availability                                 .\VOL008\IMAGES\IMAGES001\00110841.pdf
00110843   00110846   2/19/2020 16:48 Email    RE: Alternative 9M                                    .\VOL008\IMAGES\IMAGES001\00110843.pdf
00110847   00110850   2/19/2020 16:48 Email    RE_ Alternative 9M.pdf                                .\VOL008\IMAGES\IMAGES001\00110847.pdf
                                               20190718_Letter from USFWS_IB and NLEB
00110851   00110853   2/19/2020 17:27 Attach   Coordination_MLS.pdf                                  .\VOL008\IMAGES\IMAGES001\00110851.pdf
                                               Citizens for Sound Walls and Environmental Protection
                                               Measures for Maryland Communities along the
00110854   00110854   2/19/2020 21:28 Email    Beltway                                               .\VOL008\IMAGES\IMAGES001\00110854.pdf
00110855   00110856   2/19/2020 21:28 Attach   20200218Letter Sound Barrier Wall.docx                .\VOL008\IMAGES\IMAGES001\00110855.pdf
00110857   00110860    2/20/2020 4:41 Email    RE: MLS ‐ EJ / Title VI SME Meeting                   .\VOL008\IMAGES\IMAGES001\00110857.pdf
00110861   00110864    2/20/2020 7:09 Email    RE: Alternative 9M                                    .\VOL008\IMAGES\IMAGES001\00110861.pdf
00110865   00110867    2/20/2020 9:40 Email    RE: Potential COI Letters                             .\VOL008\IMAGES\IMAGES001\00110865.pdf
00110868   00110870    2/20/2020 9:41 Email    RE_ MLS ‐ Air Quality SME Meeting(3).pdf              .\VOL008\IMAGES\IMAGES001\00110868.pdf
00110871   00110873   2/20/2020 14:05 Email    RE: Potential COI Letters                             .\VOL008\IMAGES\IMAGES001\00110871.pdf
                                               RE: I‐495 / I‐270 Managed Lane Study ‐ Interstate
00110874   00110878   2/20/2020 14:55 Email    Access coordination                                   .\VOL008\IMAGES\IMAGES001\00110874.pdf
                                               FW: Confidential and Pre‐Decisional: I‐495 & I‐270
                                               MLS: Logical Termini Documentation and Origin
00110879   00110880   2/20/2020 15:15 Email    Destination Memo                                      .\VOL008\IMAGES\IMAGES001\00110879.pdf
                                               FW: I‐495 / I‐270 FHWA Coordination ‐ Specific Issue
00110881   00110882   2/20/2020 15:20 Email    Meeting (IAPA)                                        .\VOL008\IMAGES\IMAGES001\00110881.pdf
                                               FW: RE: I‐495 / I‐270 FHWA Coordination ‐ Specific
00110883   00110883   2/20/2020 15:20 Email    Issue Meeting (IAPA)                                  .\VOL008\IMAGES\IMAGES001\00110883.pdf
                                               RE: I‐495 / I‐270 Managed Lane Study ‐ Interstate
00110884   00110889   2/20/2020 15:50 Email    Access coordination                                   .\VOL008\IMAGES\IMAGES001\00110884.pdf
00110890   00110892   2/20/2020 16:31 Email    FW: Draft IAWG Email Update                           .\VOL008\IMAGES\IMAGES001\00110890.pdf
00110893   00110894   2/20/2020 17:15 Email    RE: DEIS                                              .\VOL008\IMAGES\IMAGES001\00110893.pdf
                                               FW: Recap of 495 and 270 Managed Lanes Cultural
00110895   00110897   2/20/2020 17:27 Email    Resources discussion                                  .\VOL008\IMAGES\IMAGES001\00110895.pdf
                                               2020‐02‐11_FHWA Coordination Meeting Notes_P3
00110898   00110898   2/20/2020 23:50 Attach   Program.docx                                          .\VOL008\IMAGES\IMAGES001\00110898.pdf
                                               I‐495/I‐270 FHWA Coordination: MLS Notes (February
00110899   00110900   2/20/2020 23:51 Email    11)                                                   .\VOL008\IMAGES\IMAGES001\00110899.pdf
                                               I‐495/I‐270 FHWA Coordination: I‐270 Pre‐NEPA Notes
00110901   00110902   2/20/2020 23:52 Email    (February 11)                                         .\VOL008\IMAGES\IMAGES001\00110901.pdf
                                               20200211‐I‐270_FHWA Coordination Meeting
00110903   00110904   2/20/2020 23:52 Attach   Notes.docx                                            .\VOL008\IMAGES\IMAGES001\00110903.pdf
                                               FW_ I‐495_I‐270 FHWA Coordination_ MLS Notes
00110905   00110906    2/21/2020 7:42 Email    (F....pdf                                             .\VOL008\IMAGES\IMAGES001\00110905.pdf
                                               2020‐02‐11_FHWA Coordination Meeting
00110907   00110909    2/21/2020 7:42 Attach   Notes_ML.DOCX                                         .\VOL008\IMAGES\IMAGES001\00110907.pdf
                                               FW: DEIS Comment Errata Table ‐ Prince George's
00110910   00110910    2/21/2020 8:24 Email    Parks                                                 .\VOL008\IMAGES\IMAGES001\00110910.pdf
                                               JH‐MLS_Admin Draft ‐ DEIS_Comment Errata Table
00110911   00110918    2/21/2020 8:24 Attach   Prince George's Parks.docx                            .\VOL008\IMAGES\IMAGES001\00110911.pdf
                                               FW: NPS ‐ Clara Barton Parkway at C&O Canal National
00110919   00110920    2/21/2020 8:35 Email    Park (Map 1)                                          .\VOL008\IMAGES\IMAGES001\00110919.pdf
                                               FW: DEIS Comment Errata Table ‐ Prince George's
00110921   00110922    2/21/2020 8:37 Email    Parks                                                 .\VOL008\IMAGES\IMAGES001\00110921.pdf
                                               RE: I‐495 / I‐270 Managed Lane Study ‐ Interstate
00110923   00110928    2/21/2020 9:23 Email    Access coordination                                   .\VOL008\IMAGES\IMAGES001\00110923.pdf
00110929   00110930   2/21/2020 12:06 Email    FW: FHWA Coordination Meetings for March              .\VOL008\IMAGES\IMAGES001\00110929.pdf
                                               FW_ NPS ‐ Clara Barton Parkway at C&O Canal
00110931   00110932   2/21/2020 12:41 Email    Nat....pdf                                            .\VOL008\IMAGES\IMAGES001\00110931.pdf

00110933   00110933   2/21/2020 12:41 Attach   NPS C&O Canal ‐ MDOT Potomac River Bridge Pe.xlsx      .\VOL008\IMAGES\IMAGES001\00110933.pdf    .\VOL008\NATIVES\NATIVES001\00110933.xlsx
                                               FW_ NPS ‐ Clara Barton Parkway at C&O Canal
00110934   00110935   2/21/2020 12:41 Email    Nat....pdf                                             .\VOL008\IMAGES\IMAGES001\00110934.pdf
00110936   00110936   2/21/2020 12:47 Attach   Zwack 822827 Incoming.pdf                              .\VOL008\IMAGES\IMAGES001\00110936.pdf
00110937   00110937   2/21/2020 12:47 Attach   McCullough 822826 Incoming.pdf                         .\VOL008\IMAGES\IMAGES001\00110937.pdf
00110938   00110939   2/21/2020 13:11 Email    Agenda for Monday's DEIS Working Session#2             .\VOL008\IMAGES\IMAGES001\00110938.pdf
                                               2020‐02‐24 Agenda FHWA DEIS Working Session
00110940   00110940   2/21/2020 13:11 Attach   #2.docx                                                .\VOL008\IMAGES\IMAGES001\00110940.pdf
00110941   00110943   2/21/2020 14:27 Email    FW: Draft IAWG Email Update                            .\VOL008\IMAGES\IMAGES001\00110941.pdf
                                               JH‐MLS_Admin Draft ‐ DEIS_Comment Errata Table
00110944   00110951   2/21/2020 16:17 Edoc     Prince George's Parks.docx                             .\VOL008\IMAGES\IMAGES001\00110944.pdf
00110952   00110954   2/21/2020 16:55 Email    RE: Draft IAWG Email Update                            .\VOL008\IMAGES\IMAGES001\00110952.pdf
                                               MLS_Admin DEIS_NPS ROW Comment Errata
00110955   00110955   2/22/2020 16:11 Attach   Table.docx                                             .\VOL008\IMAGES\IMAGES001\00110955.pdf
                                               NPS APPENDIX E_Admin DEIS Comment Errata
00110956   00110957   2/22/2020 16:11 Attach   Tabl.docx                                              .\VOL008\IMAGES\IMAGES001\00110956.pdf
00110958   00110959    2/24/2020 6:54 Email    Re: FW: VA tribal letters                              .\VOL008\IMAGES\IMAGES001\00110958.pdf
00110960   00110961    2/24/2020 9:51 Email    Re: Moses Hall Cemetery cleanup/meeting                .\VOL008\IMAGES\IMAGES001\00110960.pdf
00110962   00110962    2/24/2020 9:51 Attach   Moses Hall Volunteer Clean‐Up Day.pdf                  .\VOL008\IMAGES\IMAGES001\00110962.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 67 of 263

                                               2020‐02‐12_MDOT SHA Response to NCPC ARDS Letter‐
00110963   00110972   2/24/2020 11:15 Edoc     signed.pdf                                        .\VOL008\IMAGES\IMAGES001\00110963.pdf

00110973   00110973   2/24/2020 12:39 Email    Follow‐up_ Interstate Access Process for I‐495 ....pdf   .\VOL008\IMAGES\IMAGES001\00110973.pdf
00110974   00110976   2/24/2020 13:10 Email    RE: Moses Hall Cemetery cleanup/meeting                  .\VOL008\IMAGES\IMAGES001\00110974.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata Table
00110977   00110984   2/24/2020 13:36 Edoc     Prince George's Parks.docx                               .\VOL008\IMAGES\IMAGES001\00110977.pdf

00110985   00110985   2/24/2020 13:39 Email    Follow‐up_ Interstate Access Process for I‐495 ....pdf   .\VOL008\IMAGES\IMAGES001\00110985.pdf
                                               Follow‐up: Interstate Access Process for I‐495 & I‐270
00110986   00110986   2/24/2020 13:39 Email    MLS                                                      .\VOL008\IMAGES\IMAGES001\00110986.pdf
00110987   00110998   2/24/2020 18:10 Attach   I‐495_I‐270_Brochure_Mailer_2020_2_24V2.pdf              .\VOL008\IMAGES\IMAGES001\00110987.pdf
00110999   00111000   2/24/2020 18:10 Email    I‐495 & I‐270 MLS DRAFT Hearing Brochure                 .\VOL008\IMAGES\IMAGES001\00110999.pdf
00111001   00111001   2/24/2020 22:03 Email    FW: Support the Maryland Traffic Relief Plan!            .\VOL008\IMAGES\IMAGES001\00111001.pdf
00111002   00111002    2/25/2020 7:40 Edoc     Maryland 495_270 managed lane Notes.docx                 .\VOL008\IMAGES\IMAGES001\00111002.pdf
00111003   00111021    2/25/2020 8:21 Attach   2014MDRC‐GeneralPermit.pdf                               .\VOL008\IMAGES\IMAGES001\00111003.pdf
00111022   00111024    2/25/2020 8:31 Email    I‐495 & I‐270 MLS‐ February Agency Update                .\VOL008\IMAGES\IMAGES001\00111022.pdf
00111025   00111025    2/25/2020 9:00 Email    GWMP Ramps Connections                                   .\VOL008\IMAGES\IMAGES001\00111025.pdf
00111026   00111028    2/25/2020 9:14 Email    FW: Critical Path Item                                   .\VOL008\IMAGES\IMAGES001\00111026.pdf
00111029   00111046    2/25/2020 9:30 Attach   I‐270 Pre‐NEPA_Draft P&N_ Errata_20200224.pdf            .\VOL008\IMAGES\IMAGES001\00111029.pdf
00111047   00111050    2/25/2020 9:45 Email    Re: Moses Hall Cemetery cleanup/meeting                  .\VOL008\IMAGES\IMAGES001\00111047.pdf

00111051   00111051   2/25/2020 10:06 Attach   2020‐02‐25_FHWA Coordination Mtg Agenda_v2.docx          .\VOL008\IMAGES\IMAGES001\00111051.pdf
00111052   00111055   2/25/2020 10:33 Attach   5312 Re‐AOP 8‐30‐2004.pdf                                .\VOL008\IMAGES\IMAGES001\00111052.pdf
00111056   00111072   2/25/2020 10:33 Attach   5312 Re‐AOP 9‐29‐04.pdf                                  .\VOL008\IMAGES\IMAGES001\00111056.pdf
00111073   00111077   2/25/2020 10:45 Email    RE: Moses Hall Cemetery cleanup/meeting                  .\VOL008\IMAGES\IMAGES001\00111073.pdf
                                               i‐495 & i‐270 mls_deis cooperating agency working
00111078   00111092   2/25/2020 11:36 Attach   session.pptx                                             .\VOL008\IMAGES\IMAGES001\00111078.pdf
00111093   00111168   2/25/2020 13:09 Edoc     Maryland_IAPA Methodology_20200207 (1).pdf               .\VOL008\IMAGES\IMAGES001\00111093.pdf
00111169   00111169   2/25/2020 15:59 Email    I‐270 Draft P&N                                          .\VOL008\IMAGES\IMAGES001\00111169.pdf
00111170   00111170   2/25/2020 16:12 Email    master errata for 495                                    .\VOL008\IMAGES\IMAGES001\00111170.pdf
                                               MLS ‐ FHWA EJ Coordination Meeting (Admin DEIS
00111171   00111172    2/26/2020 9:00 Email    Comments)                                                .\VOL008\IMAGES\IMAGES001\00111171.pdf
00111173   00111178    2/26/2020 9:30 Email    Re: Moses Hall Cemetery cleanup/meeting                  .\VOL008\IMAGES\IMAGES001\00111173.pdf

00111179   00111180   2/26/2020 10:00 Attach   270 Process to Request Transfer of National P.docx .\VOL008\IMAGES\IMAGES001\00111179.pdf
00111181   00111187   2/26/2020 10:24 Email    RE: Moses Hall Cemetery cleanup/meeting            .\VOL008\IMAGES\IMAGES001\00111181.pdf
00111188   00111188   2/26/2020 10:29 Email    GWMP‐ CLI                                          .\VOL008\IMAGES\IMAGES001\00111188.pdf
00111189   00111339   2/26/2020 10:42 Attach   GWMP_2009_CLI.pdf                                  .\VOL008\IMAGES\IMAGES001\00111189.pdf
00111340   00111340   2/26/2020 10:42 Email    FW: GWMP‐ CLI                                      .\VOL008\IMAGES\IMAGES001\00111340.pdf
                                               Managed Lanes Project Consulting Party Status for
00111341   00111341   2/26/2020 12:11 Email    Cabin John Citizens Association                    .\VOL008\IMAGES\IMAGES001\00111341.pdf
                                               George_Washington_Memorial_Parkway_North_Secti.
00111342   00111483   2/26/2020 12:36 Attach   pdf                                                .\VOL008\IMAGES\IMAGES001\00111342.pdf
                                               20200205 I495 & I270 MLS Admin Draft‐ DEIS NPS
00111484   00111484   2/26/2020 12:51 Attach   Comments.xlsx                                      .\VOL008\IMAGES\IMAGES001\00111484.pdf         .\VOL008\NATIVES\NATIVES001\00111484.xlsx

                                               2020_2_26 Letter requesting Consultant Status for
00111485   00111485   2/26/2020 13:13 Attach   CJCA with REgard to Moses Hall and Cemetery.docx         .\VOL008\IMAGES\IMAGES001\00111485.pdf
                                               RE: Managed Lanes Project Consulting Party Status for
00111486   00111487   2/26/2020 13:23 Email    Cabin John Citizens Association                          .\VOL008\IMAGES\IMAGES001\00111486.pdf
00111488   00111488   2/26/2020 15:10 Email    NPS DEIS and App E Comments                              .\VOL008\IMAGES\IMAGES001\00111488.pdf
                                               20200205 I495 I270 MLS Admin Draft‐ DEIS NPS
00111489   00111489   2/26/2020 15:10 Attach   Comments.xlsx                                            .\VOL008\IMAGES\IMAGES001\00111489.pdf   .\VOL008\NATIVES\NATIVES001\00111489.xlsx
00111490   00111491   2/26/2020 17:59 Email    RE_ call number and meeting(1).pdf                       .\VOL008\IMAGES\IMAGES001\00111490.pdf

00111492   00111492   2/26/2020 17:59 Attach   Copy of 20200205 I495 I270 MLS Admin Draft‐ .xlsx        .\VOL008\IMAGES\IMAGES001\00111492.pdf   .\VOL008\NATIVES\NATIVES001\00111492.xlsx
00111493   00111494   2/26/2020 17:59 Email    RE: call number and meeting                              .\VOL008\IMAGES\IMAGES001\00111493.pdf
00111495   00111496   2/26/2020 17:59 Email    RE: call number and meeting                              .\VOL008\IMAGES\IMAGES001\00111495.pdf
00111497   00111498   2/26/2020 20:24 Email    FW: call number and meeting                              .\VOL008\IMAGES\IMAGES001\00111497.pdf
00111499   00111499   2/26/2020 20:39 Email    Mitigation                                               .\VOL008\IMAGES\IMAGES001\00111499.pdf

00111500   00111501    2/27/2020 8:06 Attach   2020‐02‐10_NPS Mitigation Coordination Meetin.docx .\VOL008\IMAGES\IMAGES001\00111500.pdf

00111502   00111503    2/27/2020 8:06 Attach   2020‐02‐27_NPS Mitigation Coordination Meetin.docx .\VOL008\IMAGES\IMAGES001\00111502.pdf
00111504   00111505    2/27/2020 8:18 Email    Predicational ‐FW: Mitigation                      .\VOL008\IMAGES\IMAGES001\00111504.pdf

00111506   00111506    2/27/2020 9:30 Email    Cooperating Agency DEIS Comment Working Session          .\VOL008\IMAGES\IMAGES001\00111506.pdf
                                               FW: I‐495 & I‐270 Cooperating Agency Working
00111507   00111508    2/27/2020 9:31 Email    Session                                                  .\VOL008\IMAGES\IMAGES001\00111507.pdf
00111509   00111512   2/27/2020 12:20 Edoc     2020.02.27_Paula Posas_PIA 10‐Day Letter.pdf             .\VOL008\IMAGES\IMAGES001\00111509.pdf
00111513   00111514   2/27/2020 13:05 Email    FW: call number and meeting                              .\VOL008\IMAGES\IMAGES001\00111513.pdf
00111515   00111523   2/27/2020 13:50 Attach   DO_20.pdf                                                .\VOL008\IMAGES\IMAGES001\00111515.pdf
00111524   00111524   2/27/2020 16:23 Email    FW: NCPC DEIS Administrative Draft Comments              .\VOL008\IMAGES\IMAGES001\00111524.pdf

00111525   00111525   2/27/2020 16:23 Email    FW_ NCPC DEIS Administrative Draft Comments.pdf          .\VOL008\IMAGES\IMAGES001\00111525.pdf
00111526   00111526   2/27/2020 16:43 Email    RE: I‐270 Draft P&N                                      .\VOL008\IMAGES\IMAGES001\00111526.pdf
00111527   00111528   2/27/2020 18:14 Email    Cooperating Agency DEIS Working Session                  .\VOL008\IMAGES\IMAGES001\00111527.pdf
                                               2020‐02‐28_Cooperating Agency DEIS Comments
00111529   00111530   2/27/2020 18:14 Attach   Working Session.docx                                     .\VOL008\IMAGES\IMAGES001\00111529.pdf
00111531   00111532   2/27/2020 18:14 Email    Cooperating Agency DEIS Working Session                  .\VOL008\IMAGES\IMAGES001\00111531.pdf
00111533   00111534   2/27/2020 18:19 Email    RE: I‐270 Draft P&N                                      .\VOL008\IMAGES\IMAGES001\00111533.pdf
00111535   00111543   2/27/2020 18:51 Email    Re: Moses Hall Cemetery cleanup/meeting                  .\VOL008\IMAGES\IMAGES001\00111535.pdf
                                               FW: Confidential, Deliberative and Pre‐Decisional:
00111544   00111545    2/28/2020 6:23 Attach   Alternatives                                             .\VOL008\IMAGES\IMAGES001\00111544.pdf
00111546   00111547    2/28/2020 7:23 Email    IAPA Monthly meetings                                    .\VOL008\IMAGES\IMAGES001\00111546.pdf
00111548   00111548    2/28/2020 9:03 Email    NPS lands                                                .\VOL008\IMAGES\IMAGES001\00111548.pdf
00111549   00111550    2/28/2020 9:03 Attach   NPS Avoidance and Minimization.docx                      .\VOL008\IMAGES\IMAGES001\00111549.pdf

00111551   00111551    2/28/2020 9:30 Email    Cooperating Agency DEIS Comment Working Session          .\VOL008\IMAGES\IMAGES001\00111551.pdf
                                               2020.02.28_Adrian R Gardner_PIA Response
00111552   00111560   2/28/2020 13:14 Edoc     Signed.pdf                                               .\VOL008\IMAGES\IMAGES001\00111552.pdf
00111561   00111569   2/28/2020 13:18 Attach   823719 Adrian Gardner PIA Response‐signed.pdf            .\VOL008\IMAGES\IMAGES001\00111561.pdf
00111570   00111571   2/28/2020 13:31 Email    RE: I‐270 Draft P&N                                      .\VOL008\IMAGES\IMAGES001\00111570.pdf
00111572   00111574   2/28/2020 15:02 Email    RE: I‐270 Draft P&N                                      .\VOL008\IMAGES\IMAGES001\00111572.pdf
00111575   00111576     3/2/2020 8:55 Edoc     2020.02.28_IAPA Monthly meetings.pdf                     .\VOL008\IMAGES\IMAGES001\00111575.pdf
                                               FW: Confidential, Deliberative and Pre‐Decisional:
00111577   00111578     3/2/2020 8:55 Email    Alternatives                                             .\VOL008\IMAGES\IMAGES001\00111577.pdf
00111579   00111638    3/2/2020 14:58 Attach   CHOH_FD_2013.pdf                                         .\VOL008\IMAGES\IMAGES001\00111579.pdf
00111639   00111640    3/2/2020 14:58 Email    FW: Foundation Documents                                 .\VOL008\IMAGES\IMAGES001\00111639.pdf
00111641   00111643    3/2/2020 15:49 Email    FW: Example Projects in NEPA with toll rates             .\VOL008\IMAGES\IMAGES001\00111641.pdf
00111644   00111645    3/2/2020 16:12 Email    RE: Foundation Documents                                 .\VOL008\IMAGES\IMAGES001\00111644.pdf
00111646   00111648    3/2/2020 17:26 Email    FW: I‐495 & I‐270 MLS DRAFT Hearing Brochure             .\VOL008\IMAGES\IMAGES001\00111646.pdf
00111649   00111650     3/3/2020 6:59 Email    RE: IAPA Monthly meetings                                .\VOL008\IMAGES\IMAGES001\00111649.pdf
00111651   00111652     3/3/2020 7:24 Email    RE: IAPA Monthly meetings                                .\VOL008\IMAGES\IMAGES001\00111651.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                   Filed 05/03/23                         Page 68 of 263

00111653   00111655     3/3/2020 8:06 Email    RE: IAPA Path Forward                                   .\VOL008\IMAGES\IMAGES001\00111653.pdf
00111656   00111657     3/3/2020 8:06 Email    RE: IAPA Monthly meetings                               .\VOL008\IMAGES\IMAGES001\00111656.pdf
                                               FW: Confidential, Deliberative and Pre‐Decisional:
00111658   00111659     3/3/2020 8:06 Attach   Alternatives                                            .\VOL008\IMAGES\IMAGES001\00111658.pdf
00111660   00111662     3/3/2020 8:22 Email    RE: I‐495 & I‐270 MLS DRAFT Hearing Brochure            .\VOL008\IMAGES\IMAGES001\00111660.pdf
                                               FW: Confidential, Deliberative and Pre‐Decisional:
00111663   00111664     3/3/2020 8:27 Attach   Alternatives                                            .\VOL008\IMAGES\IMAGES001\00111663.pdf
00111665   00111667     3/3/2020 8:51 Email    RE: IAPA Path Forward                                   .\VOL008\IMAGES\IMAGES001\00111665.pdf
                                               2020‐02‐14 I‐495 I‐270 MLS_VDOT Noise Analysis
00111668   00111669     3/3/2020 9:14 Attach   Coordination Meeting Notes.pdf                          .\VOL008\IMAGES\IMAGES001\00111668.pdf

00111670   00111671    3/3/2020 10:04 Email    Fw: NPS Property and Transportation Use Discrepancy .\VOL008\IMAGES\IMAGES001\00111670.pdf
                                               FW: Confidential, Deliberative and Pre‐Decisional:
00111672   00111673    3/3/2020 10:17 Attach   Alternatives                                        .\VOL008\IMAGES\IMAGES001\00111672.pdf

00111674   00111676    3/3/2020 10:27 Attach   NACE NPS Permit to MDSHA for Capital Beltway a.pdf      .\VOL008\IMAGES\IMAGES001\00111674.pdf

00111677   00111679    3/3/2020 10:27 Attach   NACE MDSHA Capital Beltway BW Pkwy 6 11 1963.pdf        .\VOL008\IMAGES\IMAGES001\00111677.pdf
                                               NACE MDSHA Capital Beltway BW Pkwy 10 04
00111680   00111682    3/3/2020 10:27 Attach   1962.pdf                                                .\VOL008\IMAGES\IMAGES001\00111680.pdf
00111683   00111689    3/3/2020 10:27 Attach   1962‐06‐27_2.pdf                                        .\VOL008\IMAGES\IMAGES001\00111683.pdf
00111690   00111694    3/3/2020 14:43 Edoc     2020.03.03_Ian Fisher_PIA 10‐Day Letter.pdf             .\VOL008\IMAGES\IMAGES001\00111690.pdf
                                               I‐495 & I‐270 Managed Lanes Study ‐ Compensatory
00111695   00111696     3/4/2020 6:16 Email    Mitigation Plan Meeting Notes                           .\VOL008\IMAGES\IMAGES001\00111695.pdf
                                               I‐495 & I‐270 Managed Lanes Study ‐ Compensatory
00111697   00111698     3/4/2020 6:16 Email    Mitigation Plan Meeting Notes                           .\VOL008\IMAGES\IMAGES001\00111697.pdf
00111699   00111708     3/4/2020 6:16 Attach   2020‐02‐18_I495_I270_Meeting Notes.docx                 .\VOL008\IMAGES\IMAGES001\00111699.pdf
00111709   00111712     3/4/2020 8:53 Attach   1963 Beltway Agreement.pdf                              .\VOL008\IMAGES\IMAGES001\00111709.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata Table
00111713   00111718     3/4/2020 8:53 Attach   NC.PDF                                                  .\VOL008\IMAGES\IMAGES001\00111713.pdf
00111719   00111720     3/4/2020 8:53 Email    FW: NCPC DEIS Administrative Draft Comments             .\VOL008\IMAGES\IMAGES001\00111719.pdf
00111721   00111721    3/4/2020 16:01 Email    Re: I‐495 & I‐270 MLS DRAFT Hearing Brochure            .\VOL008\IMAGES\IMAGES001\00111721.pdf
                                               2020.02.28_Adrian R Gardner_PIA MDOT
00111722   00111731     3/5/2020 8:48 Edoc     Response.pdf                                            .\VOL008\IMAGES\IMAGES001\00111722.pdf
00111732   00111734    3/5/2020 11:46 Email    RE: MLS ‐ Air Quality SME Meeting                       .\VOL008\IMAGES\IMAGES001\00111732.pdf
                                               FW: I‐495/I‐270 Existing Traffic Files + 2040 Volumes
00111735   00111736    3/5/2020 13:59 Email    Question                                                .\VOL008\IMAGES\IMAGES001\00111735.pdf
00111737   00111738    3/5/2020 14:05 Attach   Morning Star Lodge 88 Deed 3148 672.pdf                 .\VOL008\IMAGES\IMAGES001\00111737.pdf
00111739   00111739    3/5/2020 14:05 Attach   Morning Star Lode 88 Plat 23509.pdf                     .\VOL008\IMAGES\IMAGES001\00111739.pdf
                                               Morningside Tabernacle Deed 7BDD781B‐D4CC‐4349‐
00111740   00111740    3/5/2020 14:05 Attach   A459B42AB43CC8D5.pdf                                    .\VOL008\IMAGES\IMAGES001\00111740.pdf
                                               Sign‐In Sheet Attached: I‐495 NEXT VDOT MDOT
00111741   00111741    3/5/2020 14:08 Attach   Workshop #4                                             .\VOL008\IMAGES\IMAGES001\00111741.pdf
                                               Document Attached: October 9, 2018 VDOT I‐495
                                               NEXT / MDOT 495/270 Managed Lane Study ‐
00111742   00111742    3/5/2020 14:08 Attach   Technical Workshop #4                                   .\VOL008\IMAGES\IMAGES001\00111742.pdf
00111743   00111743    3/5/2020 14:08 Attach   2018‐10‐05 MLS Data Request Status.pdf                  .\VOL008\IMAGES\IMAGES001\00111743.pdf
                                               Agenda Attached: October 9, 2018 VDOT I‐495 NEXT /
                                               MDOT 495/270 Managed Lane Study ‐ Technical
00111744   00111744    3/5/2020 14:08 Attach   Workshop #4                                             .\VOL008\IMAGES\IMAGES001\00111744.pdf

                                               FW: I‐495/270 Managed Lanes Study Prior
00111745   00111745    3/6/2020 14:35 Email    Concurrence ‐ Alternatives Retained for Detailed Study .\VOL008\IMAGES\IMAGES001\00111745.pdf
00111746   00111746    3/6/2020 14:38 Attach   Air Raid Spotter Map_1950.pdf                          .\VOL008\IMAGES\IMAGES001\00111746.pdf
00111747   00111747    3/6/2020 14:38 Attach   AircraftSpottersKeepWatch_1942.pdf                     .\VOL008\IMAGES\IMAGES001\00111747.pdf
00111748   00111748    3/6/2020 14:38 Attach   ChryslerSirenDC_1954.pdf                               .\VOL008\IMAGES\IMAGES001\00111748.pdf
                                               CivilDefense_MetroWashingtonSystem_PAGE‐A‐
00111749   00111749    3/6/2020 14:38 Attach   7.pdf.url                                              .\VOL008\IMAGES\IMAGES001\00111749.pdf
                                               Duck and cover‐ No, find the remote ‐ Baltimore
00111750   00111750    3/6/2020 14:38 Attach   Sun.url                                                .\VOL008\IMAGES\IMAGES001\00111750.pdf
00111751   00111751    3/6/2020 14:38 Attach   Montgomery‐FirstRaidSiren_1952.pdf                     .\VOL008\IMAGES\IMAGES001\00111751.pdf
00111752   00111752    3/6/2020 14:38 Attach   MontgomerySiren‐ChevyChasePhoto_1942.pdf               .\VOL008\IMAGES\IMAGES001\00111752.pdf
                                               Records of the Defense Civil Preparedness Agency
00111753   00111753    3/6/2020 14:38 Attach   [DCPA] ‐ National Archives.url                         .\VOL008\IMAGES\IMAGES001\00111753.pdf
                                               Search results for Washington DC Sectional
                                               Aeronautical Chart, Available Online, Sectional
                                               aeronautical charts ‐ [United States].
00111754   00111754    3/6/2020 14:38 Attach   (g3701pm.gct00089‐) ‐ Library of Congress.url          .\VOL008\IMAGES\IMAGES001\00111754.pdf
                                               VictorySiren.com ‐ Chrysler Air Raid Siren ‐
00111755   00111755    3/6/2020 14:38 Attach   Photographs.url                                        .\VOL008\IMAGES\IMAGES001\00111755.pdf
00111756   00111759    3/8/2020 20:42 Edoc     I‐495_I‐270_Online_Ad_728x90_2020_rd03.pdf             .\VOL008\IMAGES\IMAGES001\00111756.pdf
                                               I‐495/I‐270 FHWA Coordination (2/25/20): I‐270 Pre‐
00111760   00111761    3/8/2020 21:58 Email    NEPA                                                   .\VOL008\IMAGES\IMAGES001\00111760.pdf

00111762   00111763    3/8/2020 22:07 Email    I‐495/I‐270 FHWA Coordination (2/25/20): P3 Program .\VOL008\IMAGES\IMAGES001\00111762.pdf
                                               2020‐02‐25_FHWA Coordination Meeting Notes_P3
00111764   00111764    3/8/2020 22:07 Attach   Program.docx                                        .\VOL008\IMAGES\IMAGES001\00111764.pdf
00111765   00111765     3/9/2020 9:13 Edoc     I‐495_I‐270_Workshop_Handout_March2020.pdf          .\VOL008\IMAGES\IMAGES001\00111765.pdf
                                               I‐495_I‐270_VDOT_Displays_2pgs_3_5_2020‐BMK‐
00111766   00111767    3/9/2020 10:19 Edoc     6.pdf                                               .\VOL008\IMAGES\IMAGES001\00111766.pdf
00111768   00111770    3/9/2020 11:15 Attach   2019.09.23 USCG_ALB_ExemptionLetter.pdf             .\VOL008\IMAGES\IMAGES001\00111768.pdf
                                               I‐495_I‐270_VDOT_Displays_2pgs_3_5_2020‐BMK‐
00111771   00111772    3/9/2020 11:27 Edoc     8.pdf                                               .\VOL008\IMAGES\IMAGES001\00111771.pdf
                                               I‐495_I‐270_VDOT_Displays_2pgs_3_5_2020‐BMK‐
00111773   00111774    3/9/2020 13:02 Edoc     9.pdf                                               .\VOL008\IMAGES\IMAGES001\00111773.pdf
00111775   00111775    3/9/2020 14:26 Edoc     Screened_Alternatives_Graphic_Winter2020.pdf        .\VOL008\IMAGES\IMAGES001\00111775.pdf
                                               Managed Lanes Project Consulting Party Status
00111776   00111776    3/9/2020 18:19 Email    Request for Friends of Moses Hall                   .\VOL008\IMAGES\IMAGES001\00111776.pdf

00111777   00111778    3/9/2020 18:19 Attach   2020 Moses Hall Consulting Party Request Letter.pdf .\VOL008\IMAGES\IMAGES001\00111777.pdf
                                               RE: Managed Lanes Project Consulting Party Status
00111779   00111780    3/10/2020 6:41 Email    Request for Friends of Moses Hall                     .\VOL008\IMAGES\IMAGES001\00111779.pdf
                                               Citizens for Sound Walls and Environmental Protection
                                               Measures for Maryland Communities along the
00111781   00111781    3/10/2020 9:59 Email    Beltway                                               .\VOL008\IMAGES\IMAGES001\00111781.pdf
00111782   00111783    3/10/2020 9:59 Attach   Bronheim Letter Sound Barrier Wall.docx               .\VOL008\IMAGES\IMAGES001\00111782.pdf
00111784   00111785   3/10/2020 10:32 Email    FW: 270 PN                                            .\VOL008\IMAGES\IMAGES001\00111784.pdf
                                               I‐270 Pre‐NEPA Draft Purpose and Need Errata
00111786   00111786   3/10/2020 10:32 Attach   Summary for FHWA_20200310.pdf                         .\VOL008\IMAGES\IMAGES001\00111786.pdf
00111787   00111788   3/10/2020 10:33 Email    FW: 270 PN                                            .\VOL008\IMAGES\IMAGES001\00111787.pdf
                                               I‐270 Pre‐NEPA Draft Purpose and Need Coop Agency
00111789   00111789   3/10/2020 10:33 Attach   Errata_20200310.pdf                                   .\VOL008\IMAGES\IMAGES001\00111789.pdf
                                               I‐270 Pre‐NEPA Draft Purpose and Need Part Agency
00111790   00111803   3/10/2020 10:33 Attach   Errata_20200310.pdf                                   .\VOL008\IMAGES\IMAGES001\00111790.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                          Page 69 of 263

                                               I‐270 Pre‐NEPA Draft Purpose and Need FHWA
00111804   00111804   3/10/2020 10:33 Attach   Errata_20200310.pdf                                   .\VOL008\IMAGES\IMAGES001\00111804.pdf
00111805   00111807    3/11/2020 8:14 Email    FW: I‐270 Pre‐NEPA Handouts from 3/10                 .\VOL008\IMAGES\IMAGES001\00111805.pdf
                                               I‐270 Study_Pre‐NEPA Activities
00111808   00111808    3/11/2020 8:14 Attach   schedule_03.03.2020.pdf                               .\VOL008\IMAGES\IMAGES001\00111808.pdf
00111809   00111810   3/11/2020 11:44 Email    NPS Language for DEIS                                 .\VOL008\IMAGES\IMAGES001\00111809.pdf
00111811   00111812   3/11/2020 12:30 Email    Follow Up from Permitting Discussion                  .\VOL008\IMAGES\IMAGES001\00111811.pdf
00111813   00111813   3/11/2020 14:26 Email    I‐495 I‐270 MLS Project ‐ 4 week look ahead.pdf       .\VOL008\IMAGES\IMAGES001\00111813.pdf
00111814   00111815   3/11/2020 14:28 Email    FW: I‐495 I‐270 MLS Project ‐ 4 week look ahead       .\VOL008\IMAGES\IMAGES001\00111814.pdf

00111816   00111817   3/11/2020 15:28 Email    FW_ I‐495 I‐270 MLS Project ‐ 4 week look ahead.pdf   .\VOL008\IMAGES\IMAGES001\00111816.pdf
00111818   00111818   3/13/2020 11:14 Email    RE: MNCPPC Request                                    .\VOL008\IMAGES\IMAGES001\00111818.pdf
00111819   00111819   3/13/2020 11:20 Email    MLS‐ JPA and Hearings                                 .\VOL008\IMAGES\IMAGES001\00111819.pdf
00111820   00111821   3/13/2020 11:39 Email    Re: MLS‐ JPA and Hearings                             .\VOL008\IMAGES\IMAGES001\00111820.pdf
                                               MLS ‐ Administrative Draft No. 2 Documents for
00111822   00111823   3/13/2020 15:02 Email    Review                                                .\VOL008\IMAGES\IMAGES001\00111822.pdf
                                               RE: MLS ‐ Administrative Draft No. 2 Documents for
00111824   00111826   3/13/2020 15:48 Email    Review                                                .\VOL008\IMAGES\IMAGES001\00111824.pdf
00111827   00111827   3/13/2020 16:01 Email    DOI Letter‐ PRIORITY                                  .\VOL008\IMAGES\IMAGES001\00111827.pdf
00111828   00111966   3/15/2020 20:00 Edoc     Air Tech Report_March 2020.docx                       .\VOL008\IMAGES\IMAGES001\00111828.pdf
                                               RE: MLS ‐ Administrative Draft No. 2 Documents for
00111967   00111969   3/15/2020 20:13 Email    Review                                                .\VOL008\IMAGES\IMAGES001\00111967.pdf
                                               Cabin John Citizen Association Comments Regard the
00111970   00111971    3/16/2020 1:27 Email    Technical Report December 2019                        .\VOL008\IMAGES\IMAGES001\00111970.pdf
                                               2020_3_16 CJCA Consulting Party Comments to the
00111972   00111973    3/16/2020 1:27 Attach   Draft Technical Report.docx                           .\VOL008\IMAGES\IMAGES001\00111972.pdf
00111974   00111975    3/16/2020 9:49 Email    RE: MLS‐ JPA and Hearings                             .\VOL008\IMAGES\IMAGES001\00111974.pdf

00111976   00111976   3/16/2020 10:02 Email    MNCPPC Montgomery County Section 106 comments .\VOL008\IMAGES\IMAGES001\00111976.pdf
                                               MNCPPC March 2020 Section 106
00111977   00111983   3/16/2020 10:02 Attach   comments_final.docx                           .\VOL008\IMAGES\IMAGES001\00111977.pdf

                                               Friends of Moses Hall Consulting Party Comments to
00111984   00111987   3/16/2020 10:05 Email    Cultural Resources Technical Report                   .\VOL008\IMAGES\IMAGES001\00111984.pdf

                                               Fw: Friends of Moses Hall Consulting Party Comments
00111988   00111991   3/16/2020 10:14 Email    to Cultural Resources Technical Report              .\VOL008\IMAGES\IMAGES001\00111988.pdf
                                               Fw: Cabin John Citizen Association Comments Regard
00111992   00111993   3/16/2020 10:15 Email    the Technical Report December 2019                  .\VOL008\IMAGES\IMAGES001\00111992.pdf

00111994   00111995   3/16/2020 11:17 Email    RE: Virtual public hearings and COVID‐19 ‐ I‐495/I‐270 .\VOL008\IMAGES\IMAGES001\00111994.pdf
                                               Comments of Carderock Springs Citizens Association ‐
                                               Draft Cultural Resources Technical Report on I‐495
00111996   00111996   3/16/2020 11:19 Email    widening                                               .\VOL008\IMAGES\IMAGES001\00111996.pdf
                                               Montgomery Preservation comments on SHA
00111997   00111997   3/16/2020 11:44 Email    I270/I495 Managed Lanes Report                         .\VOL008\IMAGES\IMAGES001\00111997.pdf
00111998   00111999   3/16/2020 11:55 Email    FW: MLS‐ JPA and Hearings                              .\VOL008\IMAGES\IMAGES001\00111998.pdf
00112000   00112001   3/16/2020 12:55 Email    FW_ MLS‐ JPA and Hearings.pdf                          .\VOL008\IMAGES\IMAGES001\00112000.pdf
00112002   00112002   3/16/2020 14:07 Email    Re: draft DOI letter                                   .\VOL008\IMAGES\IMAGES001\00112002.pdf
00112003   00112005   3/16/2020 14:07 Attach   NHL_sa.docx                                            .\VOL008\IMAGES\IMAGES001\00112003.pdf
00112006   00112006   3/16/2020 17:34 Email    National Historic Landmarks                            .\VOL008\IMAGES\IMAGES001\00112006.pdf
00112007   00112007   3/16/2020 18:35 Email    National Historic Landmarks(1).pdf                     .\VOL008\IMAGES\IMAGES001\00112007.pdf
00112008   00112009   3/16/2020 18:35 Attach   email DOI_NHL letter.pdf                               .\VOL008\IMAGES\IMAGES001\00112008.pdf
                                               Peerless Rockville letter on SHA I270 Managed Lanes
00112010   00112010   3/16/2020 18:40 Email    Report                                                 .\VOL008\IMAGES\IMAGES001\00112010.pdf
00112011   00112012   3/16/2020 18:40 Attach   DOTSHAI270 ‐ March 2020.rtf                            .\VOL008\IMAGES\IMAGES001\00112011.pdf
                                               495_270_Section_106_Tech_Report_Comment_Form_
00112013   00112016    3/17/2020 7:37 Attach   MRVcomments.docx                                       .\VOL008\IMAGES\IMAGES001\00112013.pdf
                                               CHOH_Comments_495_270_Section_106_Tech_Repor
00112017   00112022    3/17/2020 7:37 Attach   t_Comment_Form.docx                                    .\VOL008\IMAGES\IMAGES001\00112017.pdf
                                               495_270_Section_106_Tech_Report_Comment_Form_
00112023   00112026    3/17/2020 7:37 Attach   KSmith‐NPS‐03‐10‐20.docx                               .\VOL008\IMAGES\IMAGES001\00112023.pdf
                                               mjoseph495_270_Section_106_Tech_Report_Commen
00112027   00112030    3/17/2020 7:37 Attach   t_Form (1).docx                                        .\VOL008\IMAGES\IMAGES001\00112027.pdf
                                               FW_ MLS ‐ Administrative Draft No. 2 Documents
00112031   00112033    3/17/2020 9:37 Email    ....pdf                                                .\VOL008\IMAGES\IMAGES001\00112031.pdf
00112034   00112034    3/17/2020 9:46 Edoc     HAZMAT_Agency Comment Errata Table.docx                .\VOL008\IMAGES\IMAGES001\00112034.pdf
00112035   00112036    3/17/2020 9:51 Edoc     ICE_Agency Comment Errata Table.docx                   .\VOL008\IMAGES\IMAGES001\00112035.pdf

00112037   00112037    3/17/2020 9:55 Edoc     DEIS Chapter 1_Agency Comment Errata Table.docx       .\VOL008\IMAGES\IMAGES001\00112037.pdf

                                               Re: Friends of Moses Hall Consulting Party Comments
00112038   00112041   3/17/2020 10:47 Email    to Cultural Resources Technical Report                .\VOL008\IMAGES\IMAGES001\00112038.pdf
00112042   00112045   3/17/2020 11:35 Email    FW: Thursday and Friday                               .\VOL008\IMAGES\IMAGES001\00112042.pdf
00112046   00112050   3/17/2020 11:37 Email    RE: Thursday and Friday                               .\VOL008\IMAGES\IMAGES001\00112046.pdf
                                               I‐495 & I‐270 Managed Lanes Study ‐ USFWS
00112051   00112052   3/17/2020 12:08 Email    Coordination Summary [RESPONSE REQUESTED]             .\VOL008\IMAGES\IMAGES001\00112051.pdf
00112053   00112053   3/17/2020 12:12 Email    RE: Air Quality SME follow up                         .\VOL008\IMAGES\IMAGES001\00112053.pdf
00112054   00112058   3/17/2020 12:12 Email    RE: Thursday and Friday                               .\VOL008\IMAGES\IMAGES001\00112054.pdf
00112059   00112060   3/17/2020 13:05 Email    I‐270 Pre‐NEPA Purpose & Need Report                  .\VOL008\IMAGES\IMAGES001\00112059.pdf
                                               I‐270 Pre‐NEPA Purpose and Need Report_03‐17‐
00112061   00112100   3/17/2020 13:05 Attach   2020.docx                                             .\VOL008\IMAGES\IMAGES001\00112061.pdf
00112101   00112101   3/17/2020 13:14 Email    Draft Email to Gloria on Public Hearings              .\VOL008\IMAGES\IMAGES001\00112101.pdf
00112102   00112106   3/17/2020 13:19 Email    RE: Thursday and Friday                               .\VOL008\IMAGES\IMAGES001\00112102.pdf
                                               FW_ I‐495 & I‐270 Managed Lanes Study ‐ USFWS
00112107   00112108   3/17/2020 13:22 Email    C....pdf                                              .\VOL008\IMAGES\IMAGES001\00112107.pdf
00112109   00112112   3/17/2020 13:22 Attach   2020‐03‐16_Letter to USFWS_NLEB_IB.pdf                .\VOL008\IMAGES\IMAGES001\00112109.pdf
                                               Re: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
                                               USFWS Coordination Summary [RESPONSE
00112113   00112114   3/17/2020 13:29 Email    REQUESTED]                                            .\VOL008\IMAGES\IMAGES001\00112113.pdf

00112115   00112115   3/17/2020 13:30 Email    RE: Disposition of FHWA and Agencies' Comments        .\VOL008\IMAGES\IMAGES001\00112115.pdf
                                               RE: MLS ‐ Administrative Draft No. 2 Documents for
00112116   00112117   3/17/2020 13:33 Email    Review                                                .\VOL008\IMAGES\IMAGES001\00112116.pdf
                                               RE: MLS ‐ Administrative Draft No. 2 Documents for
00112118   00112119   3/17/2020 13:33 Email    Review                                                .\VOL008\IMAGES\IMAGES001\00112118.pdf
                                               FW: MLS ‐ Administrative Draft No. 2 Documents for
00112120   00112121   3/17/2020 13:46 Email    Review                                                .\VOL008\IMAGES\IMAGES001\00112120.pdf
00112122   00112123   3/17/2020 14:28 Email    RE: NPS Language for DEIS                             .\VOL008\IMAGES\IMAGES001\00112122.pdf
00112124   00112125   3/17/2020 14:28 Email    RE: NPS Language for DEIS                             .\VOL008\IMAGES\IMAGES001\00112124.pdf
                                               FW_ Disposition of FHWA and Agencies'
00112126   00112127   3/17/2020 14:38 Email    Comments.pdf                                          .\VOL008\IMAGES\IMAGES001\00112126.pdf

00112128   00112128   3/17/2020 14:38 Attach   DEIS Chapter 7_Agency Comment Errata Table.docx       .\VOL008\IMAGES\IMAGES001\00112128.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                            Page 70 of 263

                                               FW_ MLS ‐ Administrative Draft No. 2 Documents
00112129   00112130   3/17/2020 14:46 Email    ...(1).pdf                                            .\VOL008\IMAGES\IMAGES001\00112129.pdf
                                               FW_ MLS ‐ Administrative Draft No. 2 Documents
00112131   00112133   3/17/2020 14:55 Email    ...(2).pdf                                            .\VOL008\IMAGES\IMAGES001\00112131.pdf
00112134   00112135   3/17/2020 15:28 Email    Re: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112134.pdf
00112136   00112137   3/17/2020 15:28 Email    RE_ NPS Language for DEIS .pdf                        .\VOL008\IMAGES\IMAGES001\00112136.pdf

00112138   00112139   3/17/2020 16:28 Email    Re_ [EXTERNAL] National Historic Landmarks(1).pdf     .\VOL008\IMAGES\IMAGES001\00112138.pdf
00112140   00112140   3/17/2020 17:00 Email    MLS Cultural Resource Tech report comments            .\VOL008\IMAGES\IMAGES001\00112140.pdf
                                               MLS Cultural Resources
00112141   00112142   3/17/2020 17:00 Attach   FHWA_3_16_20_comments.docx                            .\VOL008\IMAGES\IMAGES001\00112141.pdf
00112143   00112144   3/17/2020 17:53 Email    Virtual Meetings                                      .\VOL008\IMAGES\IMAGES001\00112143.pdf

00112145   00112146    3/18/2020 4:41 Email    Re: Following up on drainage issues at Gibson Grove   .\VOL008\IMAGES\IMAGES001\00112145.pdf
00112147   00112148    3/18/2020 8:53 Email    Re: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112147.pdf
00112149   00112150    3/18/2020 8:53 Email    Fw: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112149.pdf
00112151   00112152    3/18/2020 8:55 Email    Re: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112151.pdf
00112153   00112155    3/18/2020 8:57 Email    Re: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112153.pdf
00112156   00112158    3/18/2020 9:08 Email    Re: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112156.pdf
00112159   00112161    3/18/2020 9:10 Email    Re: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112159.pdf
00112162   00112164    3/18/2020 9:12 Email    Fw: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112162.pdf
00112165   00112167    3/18/2020 9:48 Email    RE: [EXTERNAL] National Historic Landmarks            .\VOL008\IMAGES\IMAGES001\00112165.pdf
                                               Maryland I‐495 & I‐270 Managed Lanes Study and
00112168   00112170   3/18/2020 10:18 Email    ...(1).pdf                                            .\VOL008\IMAGES\IMAGES001\00112168.pdf
00112171   00112309   3/18/2020 11:51 Edoc     Air Tech Report_March 2020_rev.docx                   .\VOL008\IMAGES\IMAGES001\00112171.pdf

                                               Re: Friends of Moses Hall Consulting Party Comments
00112310   00112314   3/18/2020 12:25 Email    to Cultural Resources Technical Report                .\VOL008\IMAGES\IMAGES001\00112310.pdf
00112315   00112316   3/18/2020 13:31 Email    RE: Virtual Meetings                                  .\VOL008\IMAGES\IMAGES001\00112315.pdf
00112317   00112318   3/18/2020 13:36 Email    FW: Virtual Meetings                                  .\VOL008\IMAGES\IMAGES001\00112317.pdf

                                               Re: Friends of Moses Hall Consulting Party Comments
00112319   00112323   3/18/2020 13:48 Email    to Cultural Resources Technical Report                .\VOL008\IMAGES\IMAGES001\00112319.pdf

                                               Re: Friends of Moses Hall Consulting Party Comments
00112324   00112329   3/18/2020 14:07 Email    to Cultural Resources Technical Report                .\VOL008\IMAGES\IMAGES001\00112324.pdf
                                               REVIEW REQUESTED_ I‐495_I‐270 MLS Air Quality
00112330   00112330   3/18/2020 14:58 Email    T....pdf                                              .\VOL008\IMAGES\IMAGES001\00112330.pdf
00112331   00112334   3/18/2020 15:35 Email    RE: Virtual Meetings                                  .\VOL008\IMAGES\IMAGES001\00112331.pdf
00112335   00112336   3/18/2020 15:41 Email    Re: NPS lands                                         .\VOL008\IMAGES\IMAGES001\00112335.pdf

                                               Re: Friends of Moses Hall Consulting Party Comments
00112337   00112341   3/18/2020 16:49 Email    to Cultural Resources Technical Report                .\VOL008\IMAGES\IMAGES001\00112337.pdf

                                               Re: Friends of Moses Hall Consulting Party Comments
00112342   00112346   3/18/2020 16:52 Email    to Cultural Resources Technical Report                .\VOL008\IMAGES\IMAGES001\00112342.pdf

                                               Re: Friends of Moses Hall Consulting Party Comments
00112347   00112351   3/18/2020 16:59 Email    to Cultural Resources Technical Report                .\VOL008\IMAGES\IMAGES001\00112347.pdf
00112352   00112352   3/18/2020 17:47 Email    I‐495 & I‐270 MLS DEIS                                .\VOL008\IMAGES\IMAGES001\00112352.pdf
00112353   00112354    3/19/2020 7:06 Email    FW: [EXTERNAL] I‐495 & I‐270 MLS DEIS                 .\VOL008\IMAGES\IMAGES001\00112353.pdf
00112355   00112356   3/19/2020 13:44 Email    RE: [EXTERNAL] I‐495 & I‐270 MLS DEIS                 .\VOL008\IMAGES\IMAGES001\00112355.pdf
00112357   00112358   3/19/2020 15:11 Email    RE: tolling in P&N                                    .\VOL008\IMAGES\IMAGES001\00112357.pdf
00112359   00112360   3/19/2020 15:15 Email    RE: tolling in P&N                                    .\VOL008\IMAGES\IMAGES001\00112359.pdf
00112361   00112362   3/19/2020 15:18 Email    RE: tolling in P&N                                    .\VOL008\IMAGES\IMAGES001\00112361.pdf
00112363   00112364   3/19/2020 15:26 Email    RE: tolling in P&N                                    .\VOL008\IMAGES\IMAGES001\00112363.pdf
00112365   00112366   3/19/2020 15:33 Email    RE: tolling in P&N                                    .\VOL008\IMAGES\IMAGES001\00112365.pdf
00112367   00112368   3/19/2020 15:34 Email    FW: tolling in P&N                                    .\VOL008\IMAGES\IMAGES001\00112367.pdf
00112369   00112371   3/19/2020 15:46 Email    RE: tolling in P&N                                    .\VOL008\IMAGES\IMAGES001\00112369.pdf
00112372   00112374   3/19/2020 15:47 Email    RE: tolling in P&N                                    .\VOL008\IMAGES\IMAGES001\00112372.pdf

                                               RE: Friends of Moses Hall Consulting Party Comments
00112375   00112379   3/19/2020 16:11 Email    to Cultural Resources Technical Report                .\VOL008\IMAGES\IMAGES001\00112375.pdf

                                               RE: Friends of Moses Hall Consulting Party Comments
00112380   00112384   3/19/2020 16:17 Email    to Cultural Resources Technical Report                   .\VOL008\IMAGES\IMAGES001\00112380.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112385   00112387    3/20/2020 9:02 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112385.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00112388   00112389    3/20/2020 9:12 Email    Quali....pdf                                             .\VOL008\IMAGES\IMAGES001\00112388.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112390   00112393    3/20/2020 9:16 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112390.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112394   00112397   3/20/2020 10:35 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112394.pdf
                                               FW: tolling ‐ Just remembered the perfect tolling EA
00112398   00112401   3/20/2020 10:36 Email    for the USACOE                                           .\VOL008\IMAGES\IMAGES001\00112398.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112402   00112405   3/20/2020 11:09 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112402.pdf
00112406   00112406   3/20/2020 11:17 Email    Morningstar Moses Cemetery list of interments            .\VOL008\IMAGES\IMAGES001\00112406.pdf

00112407   00112410   3/20/2020 11:17 Attach   Morningstar Moses Cemetery Deaths & Burials.pdf       .\VOL008\IMAGES\IMAGES001\00112407.pdf

00112411   00112411   3/20/2020 11:32 Email    RE: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112411.pdf
                                               FW: Action Section 10 Rivers and Harbors Act of 1899
                                               and Section 404 Clean Water Act for Project I‐495/I‐
                                               270 Managed Lanes Study has a milestone target date
00112412   00112412   3/20/2020 11:46 Email    within 10                                                .\VOL008\IMAGES\IMAGES001\00112412.pdf
00112413   00112415   3/20/2020 11:46 Email    Re: MLS‐ JPA and Hearings                                .\VOL008\IMAGES\IMAGES001\00112413.pdf
                                               FW: Action Section 10 Rivers and Harbors Act of 1899
                                               and Section 404 Clean Water Act for Project I‐495/I‐
                                               270 Managed Lanes Study has a milestone target date
00112416   00112417   3/20/2020 11:49 Email    within 10                                                .\VOL008\IMAGES\IMAGES001\00112416.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112418   00112422   3/20/2020 11:56 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112418.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112423   00112427   3/20/2020 11:59 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112423.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112428   00112431   3/20/2020 12:00 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112428.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112432   00112436   3/20/2020 12:00 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112432.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112437   00112440   3/20/2020 12:07 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112437.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112441   00112444   3/20/2020 12:09 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES001\00112441.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 71 of 263

00112445   00112445   3/20/2020 12:13 Email    Re: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112445.pdf

00112446   00112447   3/20/2020 12:22 Email    RE: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112446.pdf
00112448   00112450   3/20/2020 12:29 Email    FW: MLS‐ JPA and Hearings                                .\VOL008\IMAGES\IMAGES001\00112448.pdf

00112451   00112452   3/20/2020 13:12 Email    Re: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112451.pdf

00112453   00112455   3/20/2020 13:20 Email    RE: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112453.pdf
00112456   00112458   3/20/2020 13:29 Email    FW_ MLS‐ JPA and Hearings(1).pdf                         .\VOL008\IMAGES\IMAGES001\00112456.pdf
00112459   00112461   3/20/2020 13:56 Email    RE: MLS‐ JPA and Hearings                                .\VOL008\IMAGES\IMAGES001\00112459.pdf

00112462   00112464   3/20/2020 13:58 Email    RE: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112462.pdf

00112465   00112467   3/20/2020 14:28 Email    Re: Morningstar Moses Cemetery list of interments    .\VOL008\IMAGES\IMAGES001\00112465.pdf
00112468   00112471   3/20/2020 14:47 Email    RE_ MLS‐ JPA and Hearings.pdf                        .\VOL008\IMAGES\IMAGES001\00112468.pdf
                                               Screened_Alternatives_Development_Graphic_Spring2
00112472   00112472   3/20/2020 15:05 Edoc     020.pdf                                              .\VOL008\IMAGES\IMAGES001\00112472.pdf
                                               RE: Action Section 10 Rivers and Harbors Act of 1899
                                               and Section 404 Clean Water Act for Project I‐495/I‐
                                               270 Managed Lanes Study has a milestone target date
00112473   00112474   3/20/2020 16:00 Email    within 10                                            .\VOL008\IMAGES\IMAGES001\00112473.pdf
                                               RE: Action Section 10 Rivers and Harbors Act of 1899
                                               and Section 404 Clean Water Act for Project I‐495/I‐
                                               270 Managed Lanes Study has a milestone target date
00112475   00112476   3/20/2020 16:02 Email    within 10                                            .\VOL008\IMAGES\IMAGES001\00112475.pdf

00112477   00112480   3/20/2020 16:25 Email    RE: Morningstar Moses Cemetery list of interments   .\VOL008\IMAGES\IMAGES001\00112477.pdf
                                               Screened_Alternatives_Development_Graphic_Spring2
00112481   00112481   3/20/2020 16:44 Edoc     020_Final.pdf                                       .\VOL008\IMAGES\IMAGES001\00112481.pdf
                                               MLS_Admin Draft ‐
00112482   00112492   3/21/2020 13:37 Attach   DEIS_Comments_FHWA_03212020.docx                    .\VOL008\IMAGES\IMAGES001\00112482.pdf
00112493   00112493    3/23/2020 8:10 Email    RE: Where is Megan? 3/23 ‐ TW                       .\VOL008\IMAGES\IMAGES001\00112493.pdf
00112494   00112494    3/23/2020 8:11 Email    RE: Where is Megan? 3/23 ‐ TW                       .\VOL008\IMAGES\IMAGES001\00112494.pdf
                                               FW: Status of receiving final draft of DEIS for our
00112495   00112495    3/23/2020 8:29 Email    review                                              .\VOL008\IMAGES\IMAGES001\00112495.pdf
                                               FW_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00112496   00112497    3/23/2020 9:05 Email    Quali....pdf                                        .\VOL008\IMAGES\IMAGES001\00112496.pdf
                                               FHWA Comments Errata Table_DEIS Ch 1‐7‐8_App
00112498   00112503    3/23/2020 9:05 Attach   .docx                                               .\VOL008\IMAGES\IMAGES001\00112498.pdf

00112504   00112504    3/23/2020 9:29 Email    FW_ Status of receiving final draft of DEIS for....pdf   .\VOL008\IMAGES\IMAGES001\00112504.pdf

00112505   00112507    3/23/2020 9:29 Email    Re: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112505.pdf

00112508   00112510    3/23/2020 9:56 Email    RE: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112508.pdf

00112511   00112514   3/23/2020 10:09 Email    Re: Morningstar Moses Cemetery list of interments        .\VOL008\IMAGES\IMAGES001\00112511.pdf

00112515   00112517   3/23/2020 10:34 Email    Re: Morningstar Moses Cemetery list of interments .\VOL008\IMAGES\IMAGES001\00112515.pdf
00112518   00112519   3/23/2020 12:07 Edoc     0049_001.pdf                                      .\VOL008\IMAGES\IMAGES001\00112518.pdf
00112520   00112521   3/23/2020 12:07 Edoc     0605_001.pdf                                      .\VOL008\IMAGES\IMAGES002\00112520.pdf
                                               2020_3_16 CJCA Consulting Party Comments to the
00112522   00112523   3/23/2020 12:07 Edoc     Draft Technical Report.docx                       .\VOL008\IMAGES\IMAGES002\00112522.pdf
                                               ayoungmarch12comments495_270_Section_106_Tech
00112524   00112526   3/23/2020 12:07 Edoc     _Report_Comment_Form.docx                         .\VOL008\IMAGES\IMAGES002\00112524.pdf

00112527   00112529   3/23/2020 12:08 Edoc     Friends of Moses Hall Comments to CRTR 03.07.20.pdf .\VOL008\IMAGES\IMAGES002\00112527.pdf

00112530   00112533   3/23/2020 12:09 Edoc     MPI SHA letter Managed Lanes Study March 2020.docx .\VOL008\IMAGES\IMAGES002\00112530.pdf
00112534   00112542   3/23/2020 12:09 Edoc     scan.pdf                                           .\VOL008\IMAGES\IMAGES002\00112534.pdf
                                               TRC Managed Lanes Study CR Technical Report
00112543   00112544   3/23/2020 12:10 Edoc     Volumes 45_ RAP review_March 2020.doc              .\VOL008\IMAGES\IMAGES002\00112543.pdf
                                               VDOT_I‐495 and I‐270 Managed Lanes Study_ Section
                                               106 Technical Reports Updates, Comments Requested
00112545   00112547   3/23/2020 12:24 Edoc     by March 16.pdf                                    .\VOL008\IMAGES\IMAGES002\00112545.pdf
00112548   00112551   3/23/2020 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group     .\VOL008\IMAGES\IMAGES002\00112548.pdf
00112552   00112552   3/23/2020 13:00 Attach   P3 Transit Work Group Agenda 03.23.2020.docx       .\VOL008\IMAGES\IMAGES002\00112552.pdf
00112553   00112560   3/23/2020 13:00 Attach   Transit Benefits Meeting Notes_12162019.docx       .\VOL008\IMAGES\IMAGES002\00112553.pdf
00112561   00112562   3/23/2020 13:00 Email    I‐495 & I‐270 Managed Lanes Transit Work Group     .\VOL008\IMAGES\IMAGES002\00112561.pdf
00112563   00112563   3/23/2020 13:00 Attach   P3 Transit Work Group Agenda 03.23.2020.docx       .\VOL008\IMAGES\IMAGES002\00112563.pdf
00112564   00112565   3/23/2020 13:18 Email    MLS Revised DEIS/Draft Section 4(f) Evaluation     .\VOL008\IMAGES\IMAGES002\00112564.pdf
                                               FW: MDOT SHA Response to National Planning
00112566   00112567   3/23/2020 13:57 Email    Commission                                         .\VOL008\IMAGES\IMAGES002\00112566.pdf
                                               Transit Work Group Meeting #6 ‐ Power Point
00112568   00112568   3/23/2020 14:06 Email    Presentation                                       .\VOL008\IMAGES\IMAGES002\00112568.pdf

00112569   00112583   3/23/2020 14:06 Attach   P3 Transit Work Group Meeting No. 6 03.23.2020.pptx .\VOL008\IMAGES\IMAGES002\00112569.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00112584   00112585    3/24/2020 8:26 Email    Quali...(1).pdf                                          .\VOL008\IMAGES\IMAGES002\00112584.pdf
00112586   00112587   3/24/2020 10:00 Email    I‐495/I‐270 FHWA Coordination                            .\VOL008\IMAGES\IMAGES002\00112586.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112588   00112591   3/24/2020 10:52 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES002\00112588.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112592   00112595   3/24/2020 10:53 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES002\00112592.pdf
                                               RE: tolling ‐ Just remembered the perfect tolling EA for
00112596   00112599   3/24/2020 10:55 Email    the USACOE                                               .\VOL008\IMAGES\IMAGES002\00112596.pdf
00112600   00112605   3/24/2020 11:07 Email    Re: [EXTERNAL] RE: REVISED Survey Protocol               .\VOL008\IMAGES\IMAGES002\00112600.pdf
00112606   00112607   3/24/2020 15:51 Email    RE: briefing with Gloria                                 .\VOL008\IMAGES\IMAGES002\00112606.pdf
                                               FW: REVIEW REQUESTED: I‐495/I‐270 MLS Air Quality
00112608   00112609   3/24/2020 15:51 Email    Tech Report                                              .\VOL008\IMAGES\IMAGES002\00112608.pdf

00112610   00112613   3/24/2020 15:51 Attach   Admin Draft 2 ‐ Comment Errata Table_HEPN.docx           .\VOL008\IMAGES\IMAGES002\00112610.pdf
00112614   00112615   3/24/2020 15:58 Email    RE: briefing with Gloria                                 .\VOL008\IMAGES\IMAGES002\00112614.pdf
00112616   00112617   3/24/2020 15:59 Email    RE: briefing with Gloria                                 .\VOL008\IMAGES\IMAGES002\00112616.pdf
00112618   00112619   3/24/2020 16:01 Email    RE: briefing with Gloria                                 .\VOL008\IMAGES\IMAGES002\00112618.pdf
00112620   00112622   3/24/2020 16:02 Email    RE: briefing with Gloria                                 .\VOL008\IMAGES\IMAGES002\00112620.pdf
00112623   00112627   3/24/2020 16:15 Edoc     2020.03.24_Paula Posas_PIA Close Out Letter.pdf          .\VOL008\IMAGES\IMAGES002\00112623.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00112628   00112629   3/24/2020 16:33 Email    Quali...(2).pdf                                          .\VOL008\IMAGES\IMAGES002\00112628.pdf
                                               FW_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00112630   00112631   3/24/2020 16:51 Email    Quali...(1).pdf                                          .\VOL008\IMAGES\IMAGES002\00112630.pdf
                                               RE: I‐495 & I‐270 MLS Revised DEIS/Draft Section 4(f)
00112632   00112634   3/24/2020 17:16 Email    Evaluation                                               .\VOL008\IMAGES\IMAGES002\00112632.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 72 of 263

                                               DEIS_Admin DEIS_Agency Comment Errata
00112635   00112643   3/24/2020 17:16 Attach   Master_USACE_3.24.2020.docx                            .\VOL008\IMAGES\IMAGES002\00112635.pdf
                                               RE: I‐495 & I‐270 MLS: Revised DEIS/Draft Section 4(f)
00112644   00112646   3/24/2020 17:17 Email    Evaluation                                             .\VOL008\IMAGES\IMAGES002\00112644.pdf
00112647   00112647   3/24/2020 17:32 Email    FW: MLS questions                                      .\VOL008\IMAGES\IMAGES002\00112647.pdf
                                               AppC_MLS_Traffic Tech Report_Updated March 2020 ‐
00112648   00112804   3/24/2020 18:28 Edoc     For FHWA Submittal ‐ Clean.docx                        .\VOL008\IMAGES\IMAGES002\00112648.pdf
00112805   00112813   3/24/2020 18:29 Edoc     Appendix A TNM runs_March 2020.pdf                     .\VOL008\IMAGES\IMAGES002\00112805.pdf

00112814   00112816   3/24/2020 18:30 Edoc     Appendix B MLS Traffic Summary_March 2020.pdf            .\VOL008\IMAGES\IMAGES002\00112814.pdf
00112817   00112841   3/24/2020 18:30 Edoc     Appendix C Validation Results_March 2020.pdf             .\VOL008\IMAGES\IMAGES002\00112817.pdf
                                               APP C_Appendices for Traffic Technical Report ‐
00112842   00114229   3/24/2020 18:30 Edoc     Updated March 2020 ‐ For FHWA Submittal.pdf              .\VOL008\IMAGES\IMAGES002\00112842.pdf
                                               APP B_2020‐03‐20 Alternatives Technical Report
                                               Appendix A_MD 200 Diversion Alternative Results
00114230   00114356   3/24/2020 18:58 Edoc     Paper.pdf                                                .\VOL008\IMAGES\IMAGES002\00114230.pdf
00114357   00114358    3/25/2020 7:08 Email    RE: Moses Hall Cemetery cleanup/meeting                  .\VOL008\IMAGES\IMAGES002\00114357.pdf
                                               FW: I‐495 & I‐270 MLS Revised DEIS: Review
00114359   00114363    3/25/2020 7:26 Email    Requested                                                .\VOL008\IMAGES\IMAGES002\00114359.pdf
00114364   00114364    3/25/2020 8:46 Email    MLS Traffic Tech Report                                  .\VOL008\IMAGES\IMAGES002\00114364.pdf

00114365   00114368    3/25/2020 9:02 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00114365.pdf
00114369   00114370    3/25/2020 9:07 Email    FW: DEIS                                             .\VOL008\IMAGES\IMAGES002\00114369.pdf
                                               DEIS_Admin DEIS_MNCPPC Comment Errata
00114371   00114418    3/25/2020 9:11 Edoc     Table_Responses_03‐24‐2020.docx                      .\VOL008\IMAGES\IMAGES002\00114371.pdf
                                               DEIS_Admin DEIS_Agency Comment Errata Master
00114419   00114476    3/25/2020 9:11 Edoc     3.24.2020.docx                                       .\VOL008\IMAGES\IMAGES002\00114419.pdf
00114477   00114478    3/25/2020 9:19 Email    RE: DEIS                                             .\VOL008\IMAGES\IMAGES002\00114477.pdf
00114479   00114479    3/25/2020 9:43 Email    RE: MLS Traffic Tech Report                          .\VOL008\IMAGES\IMAGES002\00114479.pdf

00114480   00114484    3/25/2020 9:46 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00114480.pdf
00114485   00114500   3/25/2020 10:09 Edoc     DEIS_Chp3_Traffic_03‐2020.docx                       .\VOL008\IMAGES\IMAGES002\00114485.pdf
00114501   00114620   3/25/2020 10:10 Edoc     DEIS_Chp4_Env_MASTER_03‐24‐2020.docx                 .\VOL008\IMAGES\IMAGES002\00114501.pdf
00114621   00114621   3/25/2020 10:10 Edoc     Microsoft_Excel_Worksheet.xlsx                       .\VOL008\IMAGES\IMAGES002\00114621.pdf       .\VOL008\NATIVES\NATIVES002\00114621.xlsx
00114622   00114641   3/25/2020 10:11 Edoc     DEIS_Chp5_4F_03‐23‐2020.docx                         .\VOL008\IMAGES\IMAGES002\00114622.pdf
00114642   00114653   3/25/2020 10:11 Edoc     DEIS_Chp6_OFD_Rev_03‐24‐2020.docx                    .\VOL008\IMAGES\IMAGES002\00114642.pdf
00114654   00114657   3/25/2020 10:12 Edoc     DEIS_Ch9_Distribution List_03‐24‐2020.docx           .\VOL008\IMAGES\IMAGES002\00114654.pdf
00114658   00114666   3/25/2020 10:13 Edoc     DEIS_Chp10_Ref_03‐24‐2020.docx                       .\VOL008\IMAGES\IMAGES002\00114658.pdf
00114667   00114675   3/25/2020 10:13 Edoc     DEIS_Chp7_PI&Ag Coord_Rev_03‐13‐2020.docx            .\VOL008\IMAGES\IMAGES002\00114667.pdf
00114676   00114678   3/25/2020 10:14 Edoc     DEIS_Chp8_Preparers_03‐13‐2020.docx                  .\VOL008\IMAGES\IMAGES002\00114676.pdf
00114679   00114694   3/25/2020 10:14 Edoc     DEIS_ExSummary_3‐24‐2020.docx                        .\VOL008\IMAGES\IMAGES002\00114679.pdf

00114695   00114812   3/25/2020 10:17 Edoc     495270MLS_CEAEJTR_Appendices_03‐20‐2020.pdf              .\VOL008\IMAGES\IMAGES002\00114695.pdf
00114813   00114813   3/25/2020 10:19 Edoc     Microsoft_Excel_Worksheet2.xlsx                          .\VOL008\IMAGES\IMAGES002\00114813.pdf   .\VOL008\NATIVES\NATIVES002\00114813.xlsx
00114814   00114814   3/25/2020 10:19 Edoc     Microsoft_Excel_Worksheet1.xlsx                          .\VOL008\IMAGES\IMAGES002\00114814.pdf   .\VOL008\NATIVES\NATIVES002\00114814.xlsx
                                               2020‐03‐19_NOISE TECHNICAL
00114815   00115056   3/25/2020 10:21 Edoc     REPORT_Formatted_Clean.docx                              .\VOL008\IMAGES\IMAGES002\00114815.pdf

00115057   00115107   3/25/2020 10:22 Edoc     Appendix D Impact Analysis Results_March 2020.pdf        .\VOL008\IMAGES\IMAGES002\00115057.pdf
00115108   00115177   3/25/2020 10:22 Edoc     Appendix E_March 2020.pdf                                .\VOL008\IMAGES\IMAGES002\00115108.pdf
00115178   00115179   3/25/2020 10:27 Email    RE: MLS Traffic Tech Report                              .\VOL008\IMAGES\IMAGES002\00115178.pdf
00115180   00115273   3/25/2020 10:28 Edoc     APP O_ICE Tech Report Draft_March 2020.docx              .\VOL008\IMAGES\IMAGES002\00115180.pdf
00115274   00115274   3/25/2020 10:28 Edoc     Microsoft_Excel_Worksheet.xlsx                           .\VOL008\IMAGES\IMAGES002\00115274.pdf   .\VOL008\NATIVES\NATIVES002\00115274.xlsx
00115275   00115471   3/25/2020 10:28 Edoc     I‐495 NRTR DRAFT_03_23_2020_CLEAN.docx                   .\VOL008\IMAGES\IMAGES002\00115275.pdf
                                               App I NPS Property Additional Information March
00115472   00115476   3/25/2020 10:29 Edoc     2020.pdf                                                 .\VOL008\IMAGES\IMAGES002\00115472.pdf
00115477   00115524   3/25/2020 11:40 Edoc     APP A_P&N_2018.11.19.docx                                .\VOL008\IMAGES\IMAGES002\00115477.pdf
                                               APP C_MLS_Traffic Tech Report_Updated March
00115525   00115682   3/25/2020 11:53 Edoc     2020_Clean.docx                                          .\VOL008\IMAGES\IMAGES002\00115525.pdf
                                               I‐495 & I‐270 MLS: Interstate Access Request ‐ FHWA
00115683   00115683   3/25/2020 12:09 Email    review                                                   .\VOL008\IMAGES\IMAGES002\00115683.pdf
                                               FW_ I‐495 & I‐270 MLS Revised DEIS_ Review
00115684   00115688   3/25/2020 12:58 Email    Requ...(3).pdf                                           .\VOL008\IMAGES\IMAGES002\00115684.pdf

00115689   00115689   3/25/2020 13:09 Email    I‐495 & I‐270 MLS_ Interstate Access Request ‐ ....pdf   .\VOL008\IMAGES\IMAGES002\00115689.pdf
                                               REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115690   00115690   3/25/2020 13:53 Email    Draft #2                                                 .\VOL008\IMAGES\IMAGES002\00115690.pdf
                                               FW: I‐495 & I‐270 MLS Revised DEIS: Review
00115691   00115694   3/25/2020 14:04 Email    Requested                                                .\VOL008\IMAGES\IMAGES002\00115691.pdf

00115695   00115699   3/25/2020 14:13 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00115695.pdf
                                               REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115700   00115700   3/25/2020 14:20 Email    Draft #2                                             .\VOL008\IMAGES\IMAGES002\00115700.pdf
                                               REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115701   00115701   3/25/2020 14:38 Email    Draft #2                                             .\VOL008\IMAGES\IMAGES002\00115701.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115702   00115703   3/25/2020 14:42 Email    Draft #2                                             .\VOL008\IMAGES\IMAGES002\00115702.pdf
                                               REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115704   00115704   3/25/2020 14:48 Email    Draft #2                                             .\VOL008\IMAGES\IMAGES002\00115704.pdf
                                               2020‐03‐16‐MDOT‐SHA PIA Request Response
00115705   00115708   3/25/2020 14:50 Attach   Letter.pdf                                           .\VOL008\IMAGES\IMAGES002\00115705.pdf
                                               REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115709   00115709   3/25/2020 14:54 Email    Draft #2                                             .\VOL008\IMAGES\IMAGES002\00115709.pdf
                                               DEIS Admin Draft_FHWA Comments_Responses_03‐24‐
00115710   00115758   3/25/2020 14:54 Attach   2020.docx                                            .\VOL008\IMAGES\IMAGES002\00115710.pdf
                                               REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS Admin
00115759   00115760   3/25/2020 15:38 Email    Dr....pdf                                            .\VOL008\IMAGES\IMAGES002\00115759.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115761   00115762   3/25/2020 15:45 Email    Draft #2                                             .\VOL008\IMAGES\IMAGES002\00115761.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115763   00115764   3/25/2020 15:49 Email    Draft #2                                             .\VOL008\IMAGES\IMAGES002\00115763.pdf
                                               REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00115765   00115765   3/25/2020 16:38 Email    Draft #2                                             .\VOL008\IMAGES\IMAGES002\00115765.pdf

00115766   00115770   3/25/2020 17:21 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00115766.pdf
                                               REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS Admin
00115771   00115771   3/25/2020 17:32 Email    Dr....pdf                                            .\VOL008\IMAGES\IMAGES002\00115771.pdf
00115772   00115825   3/25/2020 17:32 Attach   DEIS_Chp2_Alts Dev_03‐24‐2020.docx                   .\VOL008\IMAGES\IMAGES002\00115772.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00115826   00115826   3/25/2020 17:36 Email    Admi...(1).pdf                                       .\VOL008\IMAGES\IMAGES002\00115826.pdf

00115827   00115831   3/25/2020 17:43 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00115827.pdf

00115832   00115837   3/25/2020 18:04 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00115832.pdf
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00115838   00115844   3/25/2020 18:48 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00115838.pdf
00115845   00115845   3/25/2020 19:01 Edoc     Lockheed Martin_Meeting Record.docx                  .\VOL008\IMAGES\IMAGES002\00115845.pdf
                                               RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
00115846   00115852   3/25/2020 19:48 Email    Requ...(3).pdf                                       .\VOL008\IMAGES\IMAGES002\00115846.pdf
00115853   00115858   3/25/2020 19:48 Attach   MHT Comments on I‐495 I‐270 MLS.pdf                  .\VOL008\IMAGES\IMAGES002\00115853.pdf
00115859   00115861   3/25/2020 19:48 Attach   CCF02142020.pdf                                      .\VOL008\IMAGES\IMAGES002\00115859.pdf

00115862   00115863   3/25/2020 19:48 Attach   RE_ Recap of 495 and 270 Managed Lanes Cultura.pdf     .\VOL008\IMAGES\IMAGES002\00115862.pdf
                                               Cultural Resources ‐ DEIS_Comments_FHWA_MDOT
00115864   00115869   3/25/2020 19:48 Attach   .docx                                                  .\VOL008\IMAGES\IMAGES002\00115864.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00115870   00115871    3/26/2020 7:29 Email    Admi....pdf                                            .\VOL008\IMAGES\IMAGES002\00115870.pdf
                                               FW: REVIEW REQUESTED: I‐495/I‐270 MLS Air Quality
00115872   00115873    3/26/2020 7:29 Attach   Tech Report                                            .\VOL008\IMAGES\IMAGES002\00115872.pdf
00115874   00115880    3/26/2020 7:59 Email    RE: Moses Hall Cemetery cleanup/meeting                .\VOL008\IMAGES\IMAGES002\00115874.pdf
00115881   00115881    3/26/2020 7:59 Attach   Fig127Unredacted.pdf                                   .\VOL008\IMAGES\IMAGES002\00115881.pdf

00115882   00115900   3/26/2020 10:10 Edoc     Meeting Outreach‐Record_CabinJohn_032719.docx          .\VOL008\IMAGES\IMAGES002\00115882.pdf
00115901   00115902   3/26/2020 13:20 Email    FW: MDOT SHA Noise Policy                              .\VOL008\IMAGES\IMAGES002\00115901.pdf
00115903   00115904   3/26/2020 16:45 Email    Draft Contingency Plan                                 .\VOL008\IMAGES\IMAGES002\00115903.pdf
00115905   00115906   3/26/2020 16:48 Email    FW: Draft Contingency Plan                             .\VOL008\IMAGES\IMAGES002\00115905.pdf
00115907   00115908   3/26/2020 16:51 Email    Re: Update on Moses Hall Fieldwork                     .\VOL008\IMAGES\IMAGES002\00115907.pdf
                                               2020‐03_DEIS_Hearing Contingency Plan‐
00115909   00115909   3/26/2020 17:03 Attach   FHWA_DRAFT.docx                                        .\VOL008\IMAGES\IMAGES002\00115909.pdf
00115910   00115911   3/26/2020 17:03 Email    FW: Draft Contingency Plan                             .\VOL008\IMAGES\IMAGES002\00115910.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00115912   00115913   3/26/2020 17:29 Email    Admi...(1).pdf                                         .\VOL008\IMAGES\IMAGES002\00115912.pdf
00115914   00115914   3/26/2020 19:08 Email    Traffic technical report.pdf                           .\VOL008\IMAGES\IMAGES002\00115914.pdf

00115915   00115917   3/26/2020 19:08 Attach   2nd DEIS Admin Draft_FHWA traffic_Responses_03.pdf .\VOL008\IMAGES\IMAGES002\00115915.pdf

00115918   00116082   3/26/2020 19:08 Attach   APP C_Traffic Tech Report_Updated_March 2020 .docx .\VOL008\IMAGES\IMAGES002\00115918.pdf
00116083   00116084    3/27/2020 9:13 Email    RE: Draft Contingency Plan                           .\VOL008\IMAGES\IMAGES002\00116083.pdf
00116085   00116087    3/27/2020 9:18 Email    RE: Draft Contingency Plan                           .\VOL008\IMAGES\IMAGES002\00116085.pdf
00116088   00116090    3/27/2020 9:22 Email    RE: Draft Contingency Plan                           .\VOL008\IMAGES\IMAGES002\00116088.pdf
00116091   00116093    3/27/2020 9:24 Email    RE: Draft Contingency Plan                           .\VOL008\IMAGES\IMAGES002\00116091.pdf
                                               Admin Draft ‐ Comment Errata Table ICE Tech Otto
00116094   00116094   3/27/2020 12:04 Edoc     032720.docx                                          .\VOL008\IMAGES\IMAGES002\00116094.pdf
                                               APP O_ICE Tech Report Draft_March 2020 Otto
00116095   00116188   3/27/2020 12:04 Edoc     markup 032720.docx                                   .\VOL008\IMAGES\IMAGES002\00116095.pdf
                                               I‐495 MLS ICE Tech Report ‐ final comments to Jitesh
00116189   00116189   3/27/2020 12:16 Edoc     032720.pdf                                           .\VOL008\IMAGES\IMAGES002\00116189.pdf
00116190   00116190   3/27/2020 12:20 Email    RE: I‐495 MLS ICE Tech Report ‐ final comments       .\VOL008\IMAGES\IMAGES002\00116190.pdf
                                               Re: Morningstar Moses Cemetery list of interments,
00116191   00116191   3/27/2020 12:22 Email    updated                                              .\VOL008\IMAGES\IMAGES002\00116191.pdf
                                               updated Morningstar Moses Cemetery Deaths &
00116192   00116196   3/27/2020 12:22 Attach   Burials.pdf                                          .\VOL008\IMAGES\IMAGES002\00116192.pdf
                                               RE: Morningstar Moses Cemetery list of interments,
00116197   00116197   3/27/2020 12:56 Email    updated                                              .\VOL008\IMAGES\IMAGES002\00116197.pdf
00116198   00116198   3/27/2020 13:10 Email    I‐495 MLS ICE Tech Report ‐ final comments.pdf       .\VOL008\IMAGES\IMAGES002\00116198.pdf

00116199   00116199   3/27/2020 13:10 Attach   Admin Draft ‐ Comment Errata Table ICE Tech O.docx     .\VOL008\IMAGES\IMAGES002\00116199.pdf

00116200   00116201   3/27/2020 14:02 Email    RE_ I‐495 MLS ICE Tech Report ‐ final comments.pdf .\VOL008\IMAGES\IMAGES002\00116200.pdf
                                               DEIS Admin Draft_FHWA Comments_Responses_03‐24‐
00116202   00116250   3/27/2020 17:24 Edoc     2020.docx                                          .\VOL008\IMAGES\IMAGES002\00116202.pdf
                                               FW_ I‐495 & I‐270 MLS Revised DEIS_ Review
00116251   00116257   3/27/2020 17:41 Email    Requ...(1).pdf                                     .\VOL008\IMAGES\IMAGES002\00116251.pdf

00116258   00116259   3/27/2020 17:41 Attach   RE_ Recap of 495 and 270 Managed Lanes Cultura.pdf     .\VOL008\IMAGES\IMAGES002\00116258.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00116260   00116261   3/30/2020 11:10 Email    Admi...(10).pdf                                        .\VOL008\IMAGES\IMAGES002\00116260.pdf
                                               RE: Action Section 10 Rivers and Harbors Act of 1899
                                               and Section 404 Clean Water Act for Project I‐495/I‐
                                               270 Managed Lanes Study has a milestone target date
00116262   00116264   3/30/2020 11:12 Email    within 10                                              .\VOL008\IMAGES\IMAGES002\00116262.pdf
                                               Re: Morningstar Moses Cemetery list of interments,
00116265   00116266   3/30/2020 13:17 Email    updated                                                .\VOL008\IMAGES\IMAGES002\00116265.pdf
                                               updated Morningstar Moses Cemetery Deaths &
00116267   00116272   3/30/2020 13:17 Attach   Burials.pdf                                            .\VOL008\IMAGES\IMAGES002\00116267.pdf
                                               RE: Morningstar Moses Cemetery list of interments,
00116273   00116274   3/30/2020 13:22 Email    updated                                                .\VOL008\IMAGES\IMAGES002\00116273.pdf
                                               Re: Morningstar Moses Cemetery list of interments,
00116275   00116277   3/30/2020 14:11 Email    updated                                                .\VOL008\IMAGES\IMAGES002\00116275.pdf
                                               KP_Comments_APP C_Traffic Tech
00116278   00116442   3/30/2020 15:02 Edoc     Report_Updated_March 2020.docx                         .\VOL008\IMAGES\IMAGES002\00116278.pdf

00116443   00116444   3/30/2020 15:09 Email    FW_ Release of FHWA Traffic Noise Model V3.0.pdf       .\VOL008\IMAGES\IMAGES002\00116443.pdf

00116445   00116447   3/30/2020 15:10 Email    RE_ Release of FHWA Traffic Noise Model V3.0.pdf       .\VOL008\IMAGES\IMAGES002\00116445.pdf

00116448   00116450   3/30/2020 15:16 Email    RE_ Release of FHWA Traffic Noise Model V3.0(2).pdf    .\VOL008\IMAGES\IMAGES002\00116448.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00116451   00116452   3/30/2020 16:51 Email    Admi...(4).pdf                                         .\VOL008\IMAGES\IMAGES002\00116451.pdf

00116453   00116455   3/30/2020 16:51 Attach   Admin Draft 2 ‐ Comment Errata Table_VBM.docx          .\VOL008\IMAGES\IMAGES002\00116453.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00116456   00116457   3/30/2020 16:51 Email    Admi...(9).pdf                                         .\VOL008\IMAGES\IMAGES002\00116456.pdf
00116458   00116459   3/30/2020 19:13 Email    Re: Update on Moses Hall Fieldwork                     .\VOL008\IMAGES\IMAGES002\00116458.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00116460   00116462   3/30/2020 20:09 Email    Admi...(6).pdf                                         .\VOL008\IMAGES\IMAGES002\00116460.pdf
00116463   00116465    3/31/2020 6:53 Email    RE: Update on Moses Hall Fieldwork                     .\VOL008\IMAGES\IMAGES002\00116463.pdf
00116466   00116467    3/31/2020 7:07 Attach   CR Report Volume 1 Cover Sheet_sa_CB.pdf               .\VOL008\IMAGES\IMAGES002\00116466.pdf
00116468   00116471    3/31/2020 8:04 Email    Re: Update on Moses Hall Fieldwork                     .\VOL008\IMAGES\IMAGES002\00116468.pdf
00116472   00116475    3/31/2020 8:22 Email    RE: Update on Moses Hall Fieldwork                     .\VOL008\IMAGES\IMAGES002\00116472.pdf
                                               MDOT SHA Response to VDOT Noise Letter_2020 03
00116476   00116476    3/31/2020 9:28 Attach   30.pdf                                                 .\VOL008\IMAGES\IMAGES002\00116476.pdf
00116477   00116480    3/31/2020 9:46 Edoc     03312020_P3 Program March Newsletter.pdf               .\VOL008\IMAGES\IMAGES002\00116477.pdf
00116481   00116483   3/31/2020 11:53 Email    RE: Need guidance on fieldwork                         .\VOL008\IMAGES\IMAGES002\00116481.pdf

00116484   00116484   3/31/2020 12:21 Email    RE_ I‐495 MLS AQ Tech Report ‐ final comments(1).pdf .\VOL008\IMAGES\IMAGES002\00116484.pdf
00116485   00116487   3/31/2020 12:21 Attach   Admin Draft ‐ Comment Errata Table DLSS.docx         .\VOL008\IMAGES\IMAGES002\00116485.pdf

00116488   00116488   3/31/2020 12:34 Email    RE_ I‐495 MLS AQ Tech Report ‐ final comments.pdf      .\VOL008\IMAGES\IMAGES002\00116488.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                           Page 74 of 263

                                               RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
00116489   00116496   3/31/2020 12:59 Email    Requ....pdf                                         .\VOL008\IMAGES\IMAGES002\00116489.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00116497   00116498   3/31/2020 13:47 Email    Draft #2                                            .\VOL008\IMAGES\IMAGES002\00116497.pdf
00116499   00116500   3/31/2020 13:47 Attach   Admin Draft 2 ‐ Comment Errata Table_AR.docx        .\VOL008\IMAGES\IMAGES002\00116499.pdf
                                               FW_ I‐495 & I‐270 MLS Revised DEIS_ Review
00116501   00116508   3/31/2020 14:16 Email    Requ....pdf                                         .\VOL008\IMAGES\IMAGES002\00116501.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00116509   00116510   3/31/2020 14:36 Email    Draft #2                                            .\VOL008\IMAGES\IMAGES002\00116509.pdf
00116511   00116512   3/31/2020 15:04 Email    RE: Schedule                                        .\VOL008\IMAGES\IMAGES002\00116511.pdf
                                               RE: Briefing on cemetery properties (Moses Hall and
00116513   00116522   3/31/2020 15:21 Email    Poor Farm)                                          .\VOL008\IMAGES\IMAGES002\00116513.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00116523   00116526   3/31/2020 15:37 Email    Admi...(8).pdf                                      .\VOL008\IMAGES\IMAGES002\00116523.pdf
                                               DEIS Admin Draft_FHWA Comments_Responses_03‐
00116527   00116575   3/31/2020 15:37 Attach   2.docx                                              .\VOL008\IMAGES\IMAGES002\00116527.pdf
                                               FW: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00116576   00116577   3/31/2020 15:46 Email    Draft #2                                            .\VOL008\IMAGES\IMAGES002\00116576.pdf
00116578   00116578   3/31/2020 16:23 Email    I‐495 MLS Noise Tech Report comments                .\VOL008\IMAGES\IMAGES002\00116578.pdf
00116579   00116579   3/31/2020 16:23 Email    RE: I‐270 April 2 IAWG Meeting                      .\VOL008\IMAGES\IMAGES002\00116579.pdf
00116580   00116580   3/31/2020 16:27 Email    RE: I‐270 April 2 IAWG Meeting                      .\VOL008\IMAGES\IMAGES002\00116580.pdf
00116581   00116581   3/31/2020 16:28 Email    RE: I‐495 MLS Noise Tech Report comments            .\VOL008\IMAGES\IMAGES002\00116581.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00116582   00116583   3/31/2020 16:28 Attach   Draft #2                                            .\VOL008\IMAGES\IMAGES002\00116582.pdf
00116584   00116585   3/31/2020 16:33 Email    RE: I‐270 April 2 IAWG Meeting                      .\VOL008\IMAGES\IMAGES002\00116584.pdf
                                               FW_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00116586   00116588   3/31/2020 16:46 Email    Admi....pdf                                         .\VOL008\IMAGES\IMAGES002\00116586.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00116589   00116591   3/31/2020 16:50 Email    Draft #2                                            .\VOL008\IMAGES\IMAGES002\00116589.pdf
00116592   00116592   3/31/2020 17:28 Email    RE_ I‐495 MLS Noise Tech Report comments.pdf        .\VOL008\IMAGES\IMAGES002\00116592.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00116593   00116594   3/31/2020 17:28 Attach   Draft #2                                            .\VOL008\IMAGES\IMAGES002\00116593.pdf
00116595   00116597   3/31/2020 18:53 Email    I‐495 & I‐270 MLS: IAWG March Updates               .\VOL008\IMAGES\IMAGES002\00116595.pdf
00116598   00116600   3/31/2020 18:53 Email    I‐495 & I‐270 MLS: IAWG March Updates               .\VOL008\IMAGES\IMAGES002\00116598.pdf
00116601   00116603     4/1/2020 8:14 Email    Re: I‐495 & I‐270 MLS: IAWG March Updates           .\VOL008\IMAGES\IMAGES002\00116601.pdf
00116604   00116606     4/1/2020 8:18 Email    RE: I‐495 & I‐270 MLS: IAWG March Updates           .\VOL008\IMAGES\IMAGES002\00116604.pdf
00116607   00116607     4/1/2020 8:47 Email    RE: MLS Traffic Tech Report                         .\VOL008\IMAGES\IMAGES002\00116607.pdf

00116608   00116609     4/1/2020 9:03 Email    RE_ I‐495 & I‐270 MLS_ IAWG March Updates(1).pdf   .\VOL008\IMAGES\IMAGES002\00116608.pdf
00116610   00116612     4/1/2020 9:03 Attach   Re: MLS‐ JPA and Hearings                          .\VOL008\IMAGES\IMAGES002\00116610.pdf

00116613   00116615     4/1/2020 9:14 Email    Re_ I‐495 & I‐270 MLS_ IAWG March Updates(2).pdf   .\VOL008\IMAGES\IMAGES002\00116613.pdf
00116616   00116618     4/1/2020 9:18 Email    RE_ I‐495 & I‐270 MLS_ IAWG March Updates.pdf      .\VOL008\IMAGES\IMAGES002\00116616.pdf
                                               RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
00116619   00116626    4/1/2020 10:23 Email    Requ...(3).pdf                                     .\VOL008\IMAGES\IMAGES002\00116619.pdf

00116627   00116629    4/1/2020 11:29 Email    Re_ I‐495 & I‐270 MLS_ IAWG March Updates(1).pdf .\VOL008\IMAGES\IMAGES002\00116627.pdf
00116630   00116632    4/1/2020 11:34 Email    Re_ I‐495 & I‐270 MLS_ IAWG March Updates.pdf      .\VOL008\IMAGES\IMAGES002\00116630.pdf
00116633   00116634    4/1/2020 12:00 Email    RE: Schedule                                       .\VOL008\IMAGES\IMAGES002\00116633.pdf
00116635   00116636    4/1/2020 12:01 Email    FW: Schedule                                       .\VOL008\IMAGES\IMAGES002\00116635.pdf
00116637   00116638    4/1/2020 13:10 Email    RE: 495 Project                                    .\VOL008\IMAGES\IMAGES002\00116637.pdf
00116639   00116640    4/1/2020 13:19 Email    RE: MLS Traffic Tech Report                        .\VOL008\IMAGES\IMAGES002\00116639.pdf
00116641   00116641    4/1/2020 15:24 Email    Fw: Meeting to discuss EJ                          .\VOL008\IMAGES\IMAGES002\00116641.pdf
                                               FAQs_March2020_Existing_Clean_CommsCondensed.
00116642   00116664    4/1/2020 15:27 Edoc     docx                                               .\VOL008\IMAGES\IMAGES002\00116642.pdf
00116665   00116665    4/1/2020 16:51 Email    FW: DEIS Cover Page                                .\VOL008\IMAGES\IMAGES002\00116665.pdf
00116666   00116667    4/1/2020 16:51 Attach   MLS DEIS Signature Page_Draft_04‐01‐2020.docx      .\VOL008\IMAGES\IMAGES002\00116666.pdf
                                               FW: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
                                               USFWS Coordination Summary [RESPONSE
00116668   00116669    4/1/2020 17:04 Email    REQUESTED]                                         .\VOL008\IMAGES\IMAGES002\00116668.pdf
                                               2020‐03‐19_NOISE TECHNICAL
00116670   00116911    4/1/2020 17:10 Edoc     REPORT_Formatted_Clean Otto markup.docx            .\VOL008\IMAGES\IMAGES002\00116670.pdf
00116912   00116913    4/2/2020 10:57 Email    FW: Draft Contingency Plan                         .\VOL008\IMAGES\IMAGES002\00116912.pdf
00116914   00116915    4/2/2020 10:58 Email    RE: Draft Contingency Plan                         .\VOL008\IMAGES\IMAGES002\00116914.pdf
00116916   00116932    4/2/2020 16:03 Edoc     DEIS_Chp3_Traffic_03‐2020_KP comments.docx         .\VOL008\IMAGES\IMAGES002\00116916.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00116933   00116934    4/2/2020 16:35 Email    Draft #2                                           .\VOL008\IMAGES\IMAGES002\00116933.pdf
00116935   00117227    4/2/2020 17:17 Edoc     AppF_Revised Draft 4f Eval_03232020.docx           .\VOL008\IMAGES\IMAGES002\00116935.pdf
00117228   00117347    4/2/2020 17:37 Edoc     DEIS_Chp4_Env_MASTER_03‐24‐2020.docx               .\VOL008\IMAGES\IMAGES002\00117228.pdf
                                               GHG comments RE_ REVIEW REQUESTED_ I‐495_I‐270
00117348   00117349    4/2/2020 19:20 Email    ....pdf                                            .\VOL008\IMAGES\IMAGES002\00117348.pdf

                                               DEIS Admin Draft_FHWA Comments_Responses_03‐24‐
00117350   00117398     4/3/2020 6:22 Edoc     2020 ‐ jpc review.docx                          .\VOL008\IMAGES\IMAGES002\00117350.pdf
                                               MDOT SHA Relocation Assistance Program Summary‐
00117399   00117399     4/3/2020 8:20 Email    MLS Project                                     .\VOL008\IMAGES\IMAGES002\00117399.pdf

                                               DEIS Admin Draft_FHWA Comments_Responses_03‐24‐
00117400   00117405     4/3/2020 9:18 Edoc     2020 Cam notes for Noise.docx                   .\VOL008\IMAGES\IMAGES002\00117400.pdf
00117406   00117406     4/3/2020 9:41 Email    RE_ SHA using ICE.pdf                           .\VOL008\IMAGES\IMAGES002\00117406.pdf
00117407   00117409    4/3/2020 10:03 Email    RE: IAPA Path Forward                           .\VOL008\IMAGES\IMAGES002\00117407.pdf

00117410   00117410    4/3/2020 10:37 Email    I‐495 MLS Noise Tech Report ‐ final comments.pdf   .\VOL008\IMAGES\IMAGES002\00117410.pdf

00117411   00117412    4/3/2020 10:37 Attach   Admin Draft ‐ Comment Errata Noise Tech Rpt O.docx .\VOL008\IMAGES\IMAGES002\00117411.pdf

00117413   00117413    4/3/2020 10:49 Email    RE_ I‐495 MLS Noise Tech Report ‐ final comments.pdf .\VOL008\IMAGES\IMAGES002\00117413.pdf
00117414   00117417    4/3/2020 10:58 Email    FW: IAPA Path Forward                                .\VOL008\IMAGES\IMAGES002\00117414.pdf
                                               RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
00117418   00117425    4/3/2020 10:58 Email    Requ...(1).pdf                                       .\VOL008\IMAGES\IMAGES002\00117418.pdf
00117426   00117429    4/3/2020 10:58 Email    FW: IAPA Path Forward                                .\VOL008\IMAGES\IMAGES002\00117426.pdf
00117430   00117433    4/3/2020 10:59 Email    FW_ IAPA Path Forward.pdf                            .\VOL008\IMAGES\IMAGES002\00117430.pdf
00117434   00117436    4/3/2020 11:51 Email    Re_ call number and meeting.pdf                      .\VOL008\IMAGES\IMAGES002\00117434.pdf
                                               FW: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
                                               USFWS Coordination Summary [RESPONSE
00117437   00117438    4/3/2020 11:53 Email    REQUESTED]                                           .\VOL008\IMAGES\IMAGES002\00117437.pdf
                                               RE: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
                                               USFWS Coordination Summary [RESPONSE
00117439   00117440    4/3/2020 12:16 Email    REQUESTED]                                           .\VOL008\IMAGES\IMAGES002\00117439.pdf
                                               [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
                                               USFWS Coordination Summary [RESPONSE
00117441   00117441    4/3/2020 12:21 Email    REQUESTED]                                           .\VOL008\IMAGES\IMAGES002\00117441.pdf
                                               RE: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
                                               USFWS Coordination Summary [RESPONSE
00117442   00117444    4/3/2020 13:02 Email    REQUESTED]                                           .\VOL008\IMAGES\IMAGES002\00117442.pdf
     Case 8:22-cv-02597-DKC                            Document 42-1                                  Filed 05/03/23                         Page 75 of 263

                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS Air Quality
00117445   00117446   4/3/2020 14:03 Email    Tech Report                                           .\VOL008\IMAGES\IMAGES002\00117445.pdf
                                              REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00117447   00117447   4/3/2020 14:03 Attach   Draft #2                                              .\VOL008\IMAGES\IMAGES002\00117447.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS Air Quality
00117448   00117449   4/3/2020 14:49 Email    Tech Report                                           .\VOL008\IMAGES\IMAGES002\00117448.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00117450   00117451   4/3/2020 15:03 Email    Quali...(4).pdf                                       .\VOL008\IMAGES\IMAGES002\00117450.pdf
                                              REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00117452   00117452   4/3/2020 15:03 Attach   Draft #2                                              .\VOL008\IMAGES\IMAGES002\00117452.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00117453   00117454   4/3/2020 15:49 Email    Quali...(5).pdf                                       .\VOL008\IMAGES\IMAGES002\00117453.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00117455   00117456   4/3/2020 15:49 Email    Quali...(4).pdf                                       .\VOL008\IMAGES\IMAGES002\00117455.pdf
                                              2020‐03‐10_FHWA Coordination Meeting
00117457   00117458   4/3/2020 15:59 Attach   Notes_MLS.DOCX                                        .\VOL008\IMAGES\IMAGES002\00117457.pdf
                                              RE: I‐495/I‐270 FHWA Coordination I‐270 Pre‐NEPA
00117459   00117459   4/3/2020 16:10 Email    Meeting Notes (March 10)                              .\VOL008\IMAGES\IMAGES002\00117459.pdf
                                              20200310‐I‐270_FHWA Coordination Meeting
00117460   00117461   4/3/2020 16:10 Attach   Notes.docx                                            .\VOL008\IMAGES\IMAGES002\00117460.pdf

                                              Comments ‐ MDOT SHA Relocation Assistance Program
00117462   00117462   4/3/2020 16:34 Email    Summary‐ Appendix B of CEA/EJ Tech Report         .\VOL008\IMAGES\IMAGES002\00117462.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00117463   00117465   4/3/2020 16:49 Email    Admi....pdf                                       .\VOL008\IMAGES\IMAGES002\00117463.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS Air Quality
00117466   00117467   4/3/2020 17:02 Email    Tech Report                                       .\VOL008\IMAGES\IMAGES002\00117466.pdf

00117468   00117470   4/3/2020 17:02 Attach   Admin Draft 2 ‐ Comment Errata Table_HEPN).docx       .\VOL008\IMAGES\IMAGES002\00117468.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS Air Quality
00117471   00117473   4/3/2020 17:20 Email    Tech Report                                           .\VOL008\IMAGES\IMAGES002\00117471.pdf
                                              DEIS_Admin DEIS_Agency Comment Errata Master
00117474   00117531   4/3/2020 17:28 Edoc     3.24.2020.docx                                        .\VOL008\IMAGES\IMAGES002\00117474.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00117532   00117534   4/3/2020 18:02 Email    Quali...(6).pdf                                       .\VOL008\IMAGES\IMAGES002\00117532.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00117535   00117537   4/3/2020 18:20 Email    Quali...(7).pdf                                       .\VOL008\IMAGES\IMAGES002\00117535.pdf
00117538   00117546   4/3/2020 22:20 Email    RE: Moses Hall Cemetery cleanup/meeting               .\VOL008\IMAGES\IMAGES002\00117538.pdf

00117547   00117547   4/3/2020 22:20 Attach   Plan_Sheet_Gibson_Grove_Moses_Hall_1961.pdf      .\VOL008\IMAGES\IMAGES002\00117547.pdf
00117548   00117840   4/3/2020 22:51 Edoc     DEIS#2_Managed Lanes Study_03.24.2020.pdf        .\VOL008\IMAGES\IMAGES002\00117548.pdf
                                              FW: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00117841   00117842   4/4/2020 11:04 Email    Draft #2                                         .\VOL008\IMAGES\IMAGES002\00117841.pdf
00117843   00117843    4/6/2020 8:00 Email    I‐495 MLS Cultural Resources comments.pdf        .\VOL008\IMAGES\IMAGES002\00117843.pdf

00117844   00117844    4/6/2020 8:31 Email    RE_ I‐495 MLS Cultural Resources comments(7).pdf      .\VOL008\IMAGES\IMAGES002\00117844.pdf

00117845   00117845    4/6/2020 9:22 Email    RE_ I‐495 MLS Cultural Resources comments(6).pdf      .\VOL008\IMAGES\IMAGES002\00117845.pdf
                                              RE: Briefing on cemetery properties (Moses Hall and
00117846   00117856    4/6/2020 9:55 Email    Poor Farm)                                            .\VOL008\IMAGES\IMAGES002\00117846.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00117857   00117858   4/6/2020 10:11 Email    Draft #2                                              .\VOL008\IMAGES\IMAGES002\00117857.pdf
                                              FW: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
                                              USFWS Coordination Summary [RESPONSE
00117859   00117860   4/6/2020 10:12 Email    REQUESTED]                                            .\VOL008\IMAGES\IMAGES002\00117859.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00117861   00117862   4/6/2020 10:29 Email    Draft #2                                              .\VOL008\IMAGES\IMAGES002\00117861.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS Air Quality
00117863   00117865   4/6/2020 11:26 Email    Tech Report                                           .\VOL008\IMAGES\IMAGES002\00117863.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00117866   00117869   4/6/2020 11:26 Email    Draft #2                                              .\VOL008\IMAGES\IMAGES002\00117866.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS Air Quality
00117870   00117873   4/6/2020 11:41 Email    Tech Report                                           .\VOL008\IMAGES\IMAGES002\00117870.pdf
00117874   00117874   4/6/2020 12:15 Email    RE_ call(1).pdf                                       .\VOL008\IMAGES\IMAGES002\00117874.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00117875   00117877   4/6/2020 12:26 Email    Quali...(8).pdf                                       .\VOL008\IMAGES\IMAGES002\00117875.pdf
00117878   00117878   4/6/2020 12:27 Email    RE_ call.pdf                                          .\VOL008\IMAGES\IMAGES002\00117878.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS Air
00117879   00117883   4/6/2020 12:41 Email    Quali...(9).pdf                                       .\VOL008\IMAGES\IMAGES002\00117879.pdf
00117884   00117885   4/6/2020 13:27 Email    FW: Two questions                                     .\VOL008\IMAGES\IMAGES002\00117884.pdf
00117886   00117886   4/6/2020 13:53 Email    I‐495 MLS Natural Resources Comments                  .\VOL008\IMAGES\IMAGES002\00117886.pdf
                                              9M Memo ‐ Appendix B of Alternatives Technical
00117887   00117887   4/6/2020 14:44 Email    Report                                                .\VOL008\IMAGES\IMAGES002\00117887.pdf
00117888   00117888   4/6/2020 14:48 Email    RE: I‐495 MLS Natural Resources Comments              .\VOL008\IMAGES\IMAGES002\00117888.pdf
00117889   00117889   4/6/2020 14:53 Email    I‐495 MLS Natural Resources Comments.pdf              .\VOL008\IMAGES\IMAGES002\00117889.pdf
00117890   00117890   4/6/2020 14:53 Email    I‐495 MLS Natural Resources Comments.pdf              .\VOL008\IMAGES\IMAGES002\00117890.pdf

00117891   00117892   4/6/2020 14:53 Attach   Admin Draft ‐ Comment Errata ‐ Appendix K Nat.docx    .\VOL008\IMAGES\IMAGES002\00117891.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00117893   00117894   4/6/2020 15:14 Email    Draft #2                                              .\VOL008\IMAGES\IMAGES002\00117893.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00117895   00117896   4/6/2020 15:39 Email    Draft #2                                              .\VOL008\IMAGES\IMAGES002\00117895.pdf
                                              Re: 9M Memo ‐ Appendix B of Alternatives Technical
00117897   00117897   4/6/2020 16:07 Email    Report                                                .\VOL008\IMAGES\IMAGES002\00117897.pdf
00117898   00117898   4/6/2020 16:20 Email    RE: I‐495 and I‐270 Managed Lanes                     .\VOL008\IMAGES\IMAGES002\00117898.pdf
                                              2020‐03‐23 Alternatives Tech Report Appendix
00117899   00118020   4/6/2020 16:20 Attach   B_Alternative 9M Memo.pdf                             .\VOL008\IMAGES\IMAGES002\00117899.pdf
00118021   00118021   4/6/2020 16:58 Email    RE: I‐495 MLS Natural Resources Comments              .\VOL008\IMAGES\IMAGES002\00118021.pdf

00118022   00118023   4/6/2020 17:12 Edoc     Admin Draft 2 ‐ Comment Errata Table_ Roberts.docx .\VOL008\IMAGES\IMAGES002\00118022.pdf
00118024   00118024   4/6/2020 17:58 Email    RE_ I‐495 MLS Natural Resources Comments.pdf          .\VOL008\IMAGES\IMAGES002\00118024.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00118025   00118026    4/7/2020 8:41 Email    Draft #2                                              .\VOL008\IMAGES\IMAGES002\00118025.pdf
                                              RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00118027   00118031    4/7/2020 9:10 Email    Draft #2                                              .\VOL008\IMAGES\IMAGES002\00118027.pdf
00118032   00118033    4/7/2020 9:38 Email    FW: Logical termini paper                             .\VOL008\IMAGES\IMAGES002\00118032.pdf
                                              Re: [EXTERNAL] RE: I‐495 & I‐270 MLS: Revised
00118034   00118037   4/7/2020 10:30 Email    DEIS/Draft Section 4(f) Evaluation                    .\VOL008\IMAGES\IMAGES002\00118034.pdf
                                              Katz‐2020.04.07‐IQ=824269‐
                                              Request.to.delay.the.Process.and.EIS.Schedule.due.to.
00118038   00118038   4/7/2020 10:35 Edoc     COVID‐19‐Email‐0198‐Inc.pdf                           .\VOL008\IMAGES\IMAGES002\00118038.pdf

                                              Re: Comments ‐ MDOT SHA Relocation Assistance
00118039   00118041   4/7/2020 10:40 Email    Program Summary‐ Appendix B of CEA/EJ Tech Report .\VOL008\IMAGES\IMAGES002\00118039.pdf
00118042   00118043   4/7/2020 11:39 Email    RE: I‐495 MLS Natural Resources Comments          .\VOL008\IMAGES\IMAGES002\00118042.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                         Page 76 of 263

00118044   00118045    4/7/2020 11:49 Email    Re: Following up on drainage issues at Gibson Grove .\VOL008\IMAGES\IMAGES002\00118044.pdf
00118046   00118047    4/7/2020 11:56 Email    RE: I‐495 MLS Natural Resources Comments            .\VOL008\IMAGES\IMAGES002\00118046.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Admin
00118048   00118050    4/7/2020 15:11 Email    Draft #2                                            .\VOL008\IMAGES\IMAGES002\00118048.pdf
00118051   00118051    4/7/2020 16:28 Email    I‐495 MLS Community Resources and EJ..pdf           .\VOL008\IMAGES\IMAGES002\00118051.pdf
00118052   00118052    4/7/2020 17:42 Email    RE_ I‐495 MLS Community Resources and EJ..pdf       .\VOL008\IMAGES\IMAGES002\00118052.pdf
                                               MLS_Admin Draft ‐ App B_Alternatives TR_Comment
00118053   00118055     4/8/2020 8:34 Edoc     Errata_KP.docx                                      .\VOL008\IMAGES\IMAGES002\00118053.pdf
                                               MLS_Admin Draft ‐ DEIS_Comment Errata
00118056   00118058     4/8/2020 8:47 Edoc     Table_KP.docx                                       .\VOL008\IMAGES\IMAGES002\00118056.pdf
00118059   00118063    4/8/2020 11:39 Edoc     Admin Draft 2 ‐ Comment Errata Table_CLN.docx       .\VOL008\IMAGES\IMAGES002\00118059.pdf
00118064   00118065    4/8/2020 13:20 Email    RE: Agenda for our 12:30 meeting                    .\VOL008\IMAGES\IMAGES002\00118064.pdf
                                               DEIS_Admin DEIS_Agency Comment Errata Master
00118066   00118123    4/8/2020 13:20 Attach   3.24.2020.docx                                      .\VOL008\IMAGES\IMAGES002\00118066.pdf
                                               DEIS Admin Draft_FHWA Comments_Responses_03‐24‐
00118124   00118172    4/8/2020 13:20 Attach   2020.docx                                           .\VOL008\IMAGES\IMAGES002\00118124.pdf
00118173   00118174    4/8/2020 15:47 Email    FW_ US 15 Conference Call.pdf                       .\VOL008\IMAGES\IMAGES002\00118173.pdf
00118175   00118176    4/9/2020 13:14 Email    RE: Meeting notes from yesterday.                   .\VOL008\IMAGES\IMAGES002\00118175.pdf
00118177   00118178    4/9/2020 13:16 Email    RE: Meeting notes from yesterday.                   .\VOL008\IMAGES\IMAGES002\00118177.pdf
                                               Admin Draft 2 ‐ Comment Errata Table_FHWA
00118179   00118188    4/9/2020 14:12 Edoc     MC.docx                                             .\VOL008\IMAGES\IMAGES002\00118179.pdf
00118189   00118193    4/9/2020 15:42 Email    RE: IAPA Path Forward                               .\VOL008\IMAGES\IMAGES002\00118189.pdf
00118194   00118199    4/9/2020 15:44 Edoc     2020.04.09_RE_ IAPA Path Forward.pdf                .\VOL008\IMAGES\IMAGES002\00118194.pdf
00118200   00118201   4/10/2020 11:15 Edoc     2020.04.10_Paul Panugaling_10‐Day Letter.pdf        .\VOL008\IMAGES\IMAGES002\00118200.pdf

00118202   00118219   4/10/2020 16:48 Edoc     Admin Draft 2 ‐ Comment Errata Table_FHWA HQ.docx .\VOL008\IMAGES\IMAGES002\00118202.pdf
00118220   00118221   4/10/2020 17:53 Attach   Admin Draft ‐ Comment Errata Table ‐ PCS.docx     .\VOL008\IMAGES\IMAGES002\00118220.pdf
00118222   00118224   4/10/2020 19:29 Edoc     Admin Draft ‐ Comment Errata Table DM.docx        .\VOL008\IMAGES\IMAGES002\00118222.pdf
00118225   00118227   4/10/2020 19:34 Attach   Admin Draft ‐ Comment Errata Table_LG.DOCX        .\VOL008\IMAGES\IMAGES002\00118225.pdf
                                               I‐495 and I‐270 Managed Lanes Study Section
00118228   00118229    4/13/2020 7:59 Email    106...(2).pdf                                     .\VOL008\IMAGES\IMAGES002\00118228.pdf
00118230   00118230    4/13/2020 8:20 Email    FW: I‐495 MLS Cultural Resources comments         .\VOL008\IMAGES\IMAGES002\00118230.pdf

                                               DEIS Admin Draft_FHWA Comments_Responses_03‐24‐
00118231   00118279    4/13/2020 8:23 Edoc     2020_FHWA HQ.docx                               .\VOL008\IMAGES\IMAGES002\00118231.pdf
00118280   00118281    4/13/2020 8:29 Email    RE: Comments                                    .\VOL008\IMAGES\IMAGES002\00118280.pdf
00118282   00118283    4/13/2020 8:38 Email    RE: Comments                                    .\VOL008\IMAGES\IMAGES002\00118282.pdf
00118284   00118284    4/13/2020 9:20 Email    FW_ I‐495 MLS Cultural Resources comments.pdf   .\VOL008\IMAGES\IMAGES002\00118284.pdf

00118285   00118286    4/13/2020 9:20 Attach   Admin Draft ‐ Comment Errata Cultural Resourc.docx .\VOL008\IMAGES\IMAGES002\00118285.pdf
00118287   00118289    4/13/2020 9:20 Attach   Admin Draft ‐ Comment Errata Table DM.docx          .\VOL008\IMAGES\IMAGES002\00118287.pdf
00118290   00118290    4/13/2020 9:50 Email    RE: I‐495 MLS Cultural Resources comments           .\VOL008\IMAGES\IMAGES002\00118290.pdf
                                               FW: I‐495 and I‐270 Managed Lanes Study Section 106
00118291   00118292    4/13/2020 9:52 Email    Update                                              .\VOL008\IMAGES\IMAGES002\00118291.pdf
00118293   00118297   4/13/2020 10:19 Email    RE_ IAPA Path Forward.pdf                           .\VOL008\IMAGES\IMAGES002\00118293.pdf
00118298   00118302   4/13/2020 10:19 Email    RE: IAPA Path Forward                               .\VOL008\IMAGES\IMAGES002\00118298.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study Section 106
00118303   00118305   4/13/2020 10:50 Email    Update                                              .\VOL008\IMAGES\IMAGES002\00118303.pdf
                                               review letter Cultural Resources Technical Report
                                               Volume 4 I‐495 I‐270 Managed Lanes Study_jas 13
00118306   00118308   4/13/2020 10:50 Attach   March 2020.pdf                                      .\VOL008\IMAGES\IMAGES002\00118306.pdf
00118309   00118309   4/13/2020 12:02 Email    Your comments                                       .\VOL008\IMAGES\IMAGES002\00118309.pdf
00118310   00118315   4/13/2020 12:04 Email    RE: IAPA Path Forward                               .\VOL008\IMAGES\IMAGES002\00118310.pdf
                                               Re: FW: I‐495 and I‐270 Managed Lanes Study Section
00118316   00118317   4/13/2020 12:17 Email    106 Update                                          .\VOL008\IMAGES\IMAGES002\00118316.pdf
00118318   00118318   4/13/2020 14:14 Email    RE: Your comments                                   .\VOL008\IMAGES\IMAGES002\00118318.pdf
00118319   00118320   4/13/2020 16:48 Email    4f OWJ‐ Locals                                      .\VOL008\IMAGES\IMAGES002\00118319.pdf
00118321   00118322   4/13/2020 16:48 Attach   City of Gaithersburg_4f Response.pdf                .\VOL008\IMAGES\IMAGES002\00118321.pdf
00118323   00118325   4/13/2020 16:48 Attach   City of Greenbelt_4f Response.pdf                   .\VOL008\IMAGES\IMAGES002\00118323.pdf
                                               City of Greenbelt_MDOT SHA Response to Qs re 4f
00118326   00118326   4/13/2020 16:48 Attach   letter.pdf                                          .\VOL008\IMAGES\IMAGES002\00118326.pdf

00118327   00118327   4/13/2020 16:48 Attach   City of New Carrollton_4f Letter and Follow Up.pdf    .\VOL008\IMAGES\IMAGES002\00118327.pdf
00118328   00118328   4/13/2020 16:48 Attach   Mont Co Public Schools_4f Response.pdf                .\VOL008\IMAGES\IMAGES002\00118328.pdf
                                               Admin Draft ‐ Comment Errata Table DM
00118329   00118332   4/13/2020 18:29 Attach   combine.docx                                          .\VOL008\IMAGES\IMAGES002\00118329.pdf
00118333   00118334   4/13/2020 22:21 Email    RE: I‐495 MLS Cultural Resources comments             .\VOL008\IMAGES\IMAGES002\00118333.pdf
00118335   00118336    4/14/2020 7:05 Email    RE: I‐495 MLS Cultural Resources comments             .\VOL008\IMAGES\IMAGES002\00118335.pdf

00118337   00118338    4/14/2020 8:03 Email    RE_ I‐495 MLS Cultural Resources comments(3).pdf      .\VOL008\IMAGES\IMAGES002\00118337.pdf
00118339   00118339    4/14/2020 9:43 Email    Issue Resolution Process                              .\VOL008\IMAGES\IMAGES002\00118339.pdf
00118340   00118344   4/14/2020 10:03 Edoc     2020.04.14_Ian Fisher_PIA Follow Up Letter.pdf        .\VOL008\IMAGES\IMAGES002\00118340.pdf
00118345   00118346   4/14/2020 10:40 Email    Clarification on Toll Comments                        .\VOL008\IMAGES\IMAGES002\00118345.pdf
00118347   00118348   4/14/2020 10:45 Email    RE: Clarification on Toll Comments                    .\VOL008\IMAGES\IMAGES002\00118347.pdf

00118349   00118352   4/14/2020 16:53 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00118349.pdf

00118353   00118357   4/14/2020 17:07 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00118353.pdf
                                               FW: I‐495 & I‐270 MLS Revised DEIS: Review
00118358   00118362   4/14/2020 17:08 Email    Requested                                            .\VOL008\IMAGES\IMAGES002\00118358.pdf

00118363   00118367   4/14/2020 17:11 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00118363.pdf

00118368   00118372   4/14/2020 17:13 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00118368.pdf
00118373   00118374   4/14/2020 17:13 Email    Clarification on Toll Comments.pdf                   .\VOL008\IMAGES\IMAGES002\00118373.pdf

00118375   00118379   4/14/2020 17:15 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00118375.pdf

00118380   00118384   4/14/2020 17:22 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00118380.pdf

00118385   00118389   4/14/2020 17:47 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00118385.pdf
                                               FHWA Comments ‐ 2nd Administrative Draft DEIS
00118390   00118390   4/14/2020 18:04 Email    I....pdf                                             .\VOL008\IMAGES\IMAGES002\00118390.pdf

00118391   00118426   4/14/2020 18:04 Attach   Admin Draft 2 ‐ FHWA Comment Errata Table_04..docx .\VOL008\IMAGES\IMAGES002\00118391.pdf
                                               Admin Draft 2 ‐ Comment Errata
00118427   00118462   4/14/2020 18:04 Attach   Table_ALL_FHWA.docx                                .\VOL008\IMAGES\IMAGES002\00118427.pdf

00118463   00118467    4/15/2020 7:02 Email    RE: Following up on drainage issues at Gibson Grove   .\VOL008\IMAGES\IMAGES002\00118463.pdf

00118468   00118472    4/15/2020 7:33 Email    RE: I‐495 & I‐270 MLS Revised DEIS: Review Requested .\VOL008\IMAGES\IMAGES002\00118468.pdf

00118473   00118477    4/15/2020 8:53 Email    Re: Following up on drainage issues at Gibson Grove   .\VOL008\IMAGES\IMAGES002\00118473.pdf
00118478   00118479    4/15/2020 9:56 Email    RE: I‐270 P&N Concurrence                             .\VOL008\IMAGES\IMAGES002\00118478.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 77 of 263

00118480   00118480   4/15/2020 11:01 Email    RE: Toll Comments                                        .\VOL008\IMAGES\IMAGES002\00118480.pdf
00118481   00118481   4/15/2020 12:58 Email    pl review                                                .\VOL008\IMAGES\IMAGES002\00118481.pdf
00118482   00118483   4/15/2020 14:21 Email    RE: Tolling                                              .\VOL008\IMAGES\IMAGES002\00118482.pdf
00118484   00118484   4/15/2020 15:30 Attach   FW: Delay EIS Schedule                                   .\VOL008\IMAGES\IMAGES002\00118484.pdf
00118485   00118485   4/15/2020 15:30 Attach   FW: Delay in EIS Schedule for Beltway Decisions          .\VOL008\IMAGES\IMAGES002\00118485.pdf
00118486   00118486   4/15/2020 15:30 Attach   FW: Delay P3 project                                     .\VOL008\IMAGES\IMAGES002\00118486.pdf
00118487   00118487   4/15/2020 15:30 Attach   FW: Delay the EIS schedule                               .\VOL008\IMAGES\IMAGES002\00118487.pdf
00118488   00118488   4/15/2020 15:30 Attach   FW: I‐495 & I‐270 Expansion EIS schedule                 .\VOL008\IMAGES\IMAGES002\00118488.pdf
                                               FW_ FHWA Comments ‐ 2nd Administrative Draft
00118489   00118490   4/15/2020 17:35 Email    DE....pdf                                                .\VOL008\IMAGES\IMAGES002\00118489.pdf

00118491   00118526   4/15/2020 17:35 Attach   Admin Draft 2 ‐ FHWA Comment Errata Table_04..docx .\VOL008\IMAGES\IMAGES002\00118491.pdf
                                               Admin Draft 2 ‐ Comment Errata
00118527   00118562   4/15/2020 17:35 Attach   Table_ALL_FHWA.docx                                .\VOL008\IMAGES\IMAGES002\00118527.pdf
                                               FW_ FHWA Comments ‐ 2nd Administrative Draft
00118563   00118564   4/15/2020 17:35 Email    DE....pdf                                          .\VOL008\IMAGES\IMAGES002\00118563.pdf

00118565   00118600   4/15/2020 17:35 Attach   Admin Draft 2 ‐ FHWA Comment Errata Table_04..docx .\VOL008\IMAGES\IMAGES002\00118565.pdf
                                               Admin Draft 2 ‐ Comment Errata
00118601   00118636   4/15/2020 17:35 Attach   Table_ALL_FHWA.docx                                .\VOL008\IMAGES\IMAGES002\00118601.pdf
                                               FW_ FHWA Comments ‐ 2nd Administrative Draft
00118637   00118638   4/15/2020 17:35 Email    DE....pdf                                          .\VOL008\IMAGES\IMAGES002\00118637.pdf
                                               I‐495 & I‐270 Managed Lanes Study ‐ JPA Package
00118639   00118640   4/15/2020 18:47 Email    Submittal                                          .\VOL008\IMAGES\IMAGES002\00118639.pdf
00118641   00118645    4/16/2020 8:30 Email    RE: IAPA Path Forward                              .\VOL008\IMAGES\IMAGES002\00118641.pdf
00118646   00118650    4/16/2020 8:59 Email    RE: IAPA Path Forward                              .\VOL008\IMAGES\IMAGES002\00118646.pdf
00118651   00118652   4/16/2020 10:01 Email    I‐495 & I‐270 P3 Program Newsletter                .\VOL008\IMAGES\IMAGES002\00118651.pdf
00118653   00118654   4/16/2020 10:02 Email    I‐495 & I‐270 P3 Program Newsletter                .\VOL008\IMAGES\IMAGES002\00118653.pdf
00118655   00118657   4/16/2020 10:20 Email    Re: I‐495 & I‐270 P3 Program Newsletter            .\VOL008\IMAGES\IMAGES002\00118655.pdf
00118658   00118659   4/16/2020 10:25 Email    Re: I‐495 & I‐270 P3 Program Newsletter            .\VOL008\IMAGES\IMAGES002\00118658.pdf
00118660   00118661   4/16/2020 10:55 Email    Re: I‐495 & I‐270 P3 Program Newsletter            .\VOL008\IMAGES\IMAGES002\00118660.pdf
00118662   00118664   4/16/2020 11:32 Email    Re: I‐495 & I‐270 P3 Program Newsletter            .\VOL008\IMAGES\IMAGES002\00118662.pdf

00118665   00118665   4/16/2020 12:21 Attach   2020‐04‐16_DEIS 2 FHWA Working Session #1.docx           .\VOL008\IMAGES\IMAGES002\00118665.pdf
                                               Re: [EXTERNAL] RE: I‐495 & I‐270 MLS: Revised
00118666   00118669   4/16/2020 12:24 Attach   DEIS/Draft Section 4(f) Evaluation                       .\VOL008\IMAGES\IMAGES002\00118666.pdf
                                               20200205 I495 & I270 MLS Admin Draft‐ DEIS NPS
00118670   00118670   4/16/2020 12:24 Attach   Comments (1).xlsx                                        .\VOL008\IMAGES\IMAGES002\00118670.pdf   .\VOL008\NATIVES\NATIVES002\00118670.xlsx
                                               MLS_Admin Draft ‐ DEIS_Comment Errata Table Corps
00118671   00118673   4/16/2020 12:24 Attach   2020.04.08.docx                                          .\VOL008\IMAGES\IMAGES002\00118671.pdf
00118674   00118675   4/16/2020 12:31 Email    Re: I‐495 & I‐270 P3 Program Newsletter                  .\VOL008\IMAGES\IMAGES002\00118674.pdf
00118676   00118676   4/16/2020 14:52 Email    Discuss Drainage at Gibson Grove Church                  .\VOL008\IMAGES\IMAGES002\00118676.pdf
00118677   00118677   4/16/2020 14:52 Attach   LOD at Gibson Grove.jpg                                  .\VOL008\IMAGES\IMAGES002\00118677.pdf
                                               Gibson Grove AME Church, 7700 Seven Locks Rd in
00118678   00118687   4/16/2020 15:47 Email    Bethesda ‐ Drainage Issue 20‐DM‐MO‐004                   .\VOL008\IMAGES\IMAGES002\00118678.pdf
00118688   00118688   4/16/2020 15:47 Attach   0454_001.pdf                                             .\VOL008\IMAGES\IMAGES002\00118688.pdf
00118689   00118690   4/16/2020 16:44 Email    I495 & I‐270 MLS SME ‐ Noise                             .\VOL008\IMAGES\IMAGES002\00118689.pdf

00118691   00118692   4/16/2020 16:44 Email    I495 & I‐270 MLS SME ‐ Section 4(f) and Section 106 .\VOL008\IMAGES\IMAGES002\00118691.pdf
00118693   00118694   4/16/2020 16:44 Email    I495 & I‐270 MLS SME ‐ Air Quality                  .\VOL008\IMAGES\IMAGES002\00118693.pdf
00118695   00118697   4/16/2020 16:49 Email    RE: I495 & I‐270 MLS SME ‐ Noise                    .\VOL008\IMAGES\IMAGES002\00118695.pdf
                                               DEIS#2_FHWA Comment Errata
00118698   00118723   4/16/2020 17:24 Attach   Table_04.14.20_TeamNotes_4f.docx                    .\VOL008\IMAGES\IMAGES002\00118698.pdf
                                               Re: Gibson Grove AME Church, 7700 Seven Locks Rd in
00118724   00118733    4/17/2020 7:19 Email    Bethesda ‐ Drainage Issue 20‐DM‐MO‐004              .\VOL008\IMAGES\IMAGES002\00118724.pdf

00118734   00118734    4/17/2020 7:19 Attach   Plan_Sheet_Gibson_Grove_Moses_Hall_1961.pdf          .\VOL008\IMAGES\IMAGES002\00118734.pdf
00118735   00118737    4/17/2020 7:41 Email    RE: SME Meetings                                     .\VOL008\IMAGES\IMAGES002\00118735.pdf
                                               FHWA Transmittal Letter‐Noise Guidelines Rev 2020 04
00118738   00118739   4/17/2020 11:55 Attach   16.pdf                                               .\VOL008\IMAGES\IMAGES002\00118738.pdf
00118740   00118741   4/17/2020 13:05 Email    RE: MDOT SHA Response to VDOT Noise Letter           .\VOL008\IMAGES\IMAGES002\00118740.pdf
00118742   00118744   4/17/2020 13:55 Email    RE: MDOT SHA Response to VDOT Noise Letter           .\VOL008\IMAGES\IMAGES002\00118742.pdf
                                               RE: I‐495 & I‐270 MLS DEIS SME ‐ Environmental
00118745   00118745   4/17/2020 13:56 Email    Justice                                              .\VOL008\IMAGES\IMAGES002\00118745.pdf
                                               DEIS#2_FHWA Comment Errata Table_04.14.20_EJ
00118746   00118749   4/17/2020 13:56 Attach   Only Comments.docx                                   .\VOL008\IMAGES\IMAGES002\00118746.pdf
                                               RE: Briefing on cemetery properties (Moses Hall and
00118750   00118760   4/17/2020 14:36 Email    Poor Farm)                                           .\VOL008\IMAGES\IMAGES002\00118750.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study ‐ JPA Package
00118761   00118762   4/17/2020 15:52 Email    Submittal                                            .\VOL008\IMAGES\IMAGES002\00118761.pdf

00118763   00118763   4/17/2020 17:35 Edoc     2020‐04‐21_FHWA Coordination Mtg Agenda.docx             .\VOL008\IMAGES\IMAGES002\00118763.pdf
00118764   00118766    4/20/2020 7:25 Email    FW: Tolling                                              .\VOL008\IMAGES\IMAGES002\00118764.pdf
                                               Admin Draft 2 ‐ Comment Errata
00118767   00118802    4/20/2020 8:54 Edoc     Table_ALL_FHWA_Internal (002).docx                       .\VOL008\IMAGES\IMAGES002\00118767.pdf
                                               FW: Briefing on cemetery properties (Moses Hall and
00118803   00118814   4/20/2020 11:52 Email    Poor Farm)                                               .\VOL008\IMAGES\IMAGES002\00118803.pdf
00118815   00118817   4/20/2020 17:28 Email    RE: Discuss Drainage at Gibson Grove Church              .\VOL008\IMAGES\IMAGES002\00118815.pdf
00118818   00118818   4/20/2020 17:28 Attach   SWM Concept Sheet 1.pdf                                  .\VOL008\IMAGES\IMAGES002\00118818.pdf
00118819   00118819   4/20/2020 17:28 Attach   SWM Concept Sheet 2.pdf                                  .\VOL008\IMAGES\IMAGES002\00118819.pdf
00118820   00118848   4/20/2020 17:28 Attach   SWM Comps 2012‐08‐20.pdf                                 .\VOL008\IMAGES\IMAGES002\00118820.pdf
00118849   00118850   4/20/2020 17:28 Attach   SWM Concept Approval Letter 2012‐10‐02.pdf               .\VOL008\IMAGES\IMAGES002\00118849.pdf
00118851   00118851    4/21/2020 9:54 Email    tolling/operations                                       .\VOL008\IMAGES\IMAGES002\00118851.pdf
00118852   00118853    4/21/2020 9:54 Attach   RE: Tolling                                              .\VOL008\IMAGES\IMAGES002\00118852.pdf
00118854   00118856    4/21/2020 9:54 Attach   RE: Tolling                                              .\VOL008\IMAGES\IMAGES002\00118854.pdf
00118857   00118858   4/21/2020 10:25 Email    RE: MLS ‐ FHWA Comments on AQ                            .\VOL008\IMAGES\IMAGES002\00118857.pdf
                                               DEIS#2_FHWA Comment Errata
00118859   00118884   4/21/2020 10:25 Attach   Table_04.14.20_TeamNotes_AQ_CLB.docx                     .\VOL008\IMAGES\IMAGES002\00118859.pdf
00118885   00118887   4/21/2020 11:09 Attach   04212020 Lisa Greg_Rockville Citizen.pdf                 .\VOL008\IMAGES\IMAGES002\00118885.pdf
00118888   00118888    4/22/2020 8:12 Email    Tolling options‐ pl review                               .\VOL008\IMAGES\IMAGES002\00118888.pdf
00118889   00118890    4/22/2020 8:47 Email    RE: Tolling options‐ pl review                           .\VOL008\IMAGES\IMAGES002\00118889.pdf
00118891   00118891    4/22/2020 8:49 Email    RE: FHWA Internal Coordination Meeting                   .\VOL008\IMAGES\IMAGES002\00118891.pdf
00118892   00118892    4/22/2020 8:52 Email    RE: I‐495 & I‐270 MLS SME ‐ Air Quality                  .\VOL008\IMAGES\IMAGES002\00118892.pdf

00118893   00118896    4/22/2020 9:34 Attach   DEIS#2_FHWA Comment Errata Table_Air Quality.docx .\VOL008\IMAGES\IMAGES002\00118893.pdf
00118897   00118899    4/22/2020 9:42 Email    RE: Response to Letter                               .\VOL008\IMAGES\IMAGES002\00118897.pdf
00118900   00118900    4/22/2020 9:42 Attach   I‐270 Traffic Station History Data.pdf               .\VOL008\IMAGES\IMAGES002\00118900.pdf
00118901   00118903   4/22/2020 11:03 Email    FW_ Tolling options.pdf                              .\VOL008\IMAGES\IMAGES002\00118901.pdf
                                               RE: I‐495 & I‐270 MLS SME ‐ Section 4(f) and Section
00118904   00118904   4/22/2020 11:12 Email    106                                                  .\VOL008\IMAGES\IMAGES002\00118904.pdf

00118905   00118905   4/22/2020 12:12 Email    RE_ I‐495 & I‐270 MLS SME ‐ Section 4(f) and Se....pdf   .\VOL008\IMAGES\IMAGES002\00118905.pdf

00118906   00118910   4/22/2020 12:12 Attach   Admin Draft 2 ‐ FHWA Comment Errata Table_4f .docx .\VOL008\IMAGES\IMAGES002\00118906.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                         Page 78 of 263

                                               RE: Pls Send MHT Letter Concurrence and Additional
00118911   00118911    4/23/2020 8:23 Email    Comments ML Study                                    .\VOL008\IMAGES\IMAGES002\00118911.pdf
00118912   00118913    4/23/2020 8:57 Email    RE: Tolling options                                  .\VOL008\IMAGES\IMAGES002\00118912.pdf
00118914   00118917   4/23/2020 12:12 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00118914.pdf
00118918   00118918   4/23/2020 12:13 Email    RE: I‐495 & I‐270 MLS SME ‐ Noise                    .\VOL008\IMAGES\IMAGES002\00118918.pdf
                                               Admin Draft 2 ‐ FHWA Comment Errata
00118919   00118921   4/23/2020 12:13 Attach   Table_Noise.docx                                     .\VOL008\IMAGES\IMAGES002\00118919.pdf
00118922   00118925   4/23/2020 12:49 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00118922.pdf
00118926   00118928   4/23/2020 12:49 Attach   RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00118926.pdf
00118929   00118931   4/23/2020 14:41 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00118929.pdf
00118932   00118932   4/23/2020 14:42 Email    EJ Analysis                                          .\VOL008\IMAGES\IMAGES002\00118932.pdf
00118933   00118934   4/23/2020 15:12 Email    RE: MLS FHWA comment on ICE DEIS Section             .\VOL008\IMAGES\IMAGES002\00118933.pdf
00118935   00118936   4/23/2020 15:12 Email    RE: MLS FHWA comment on ICE DEIS Section             .\VOL008\IMAGES\IMAGES002\00118935.pdf
00118937   00118937   4/23/2020 16:35 Email    I‐495 MLS DEIS and FEIS activities list              .\VOL008\IMAGES\IMAGES002\00118937.pdf
00118938   00118939   4/23/2020 17:16 Email    RE_ I‐495 MLS DEIS and FEIS activities list.pdf      .\VOL008\IMAGES\IMAGES002\00118938.pdf
00118940   00118943   4/23/2020 17:30 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00118940.pdf
00118944   00118944   4/23/2020 17:35 Email    I‐495 MLS DEIS and FEIS activities list.pdf          .\VOL008\IMAGES\IMAGES002\00118944.pdf
                                               I‐495_I‐270_VDOT_Displays_2pgs_3_5_2020‐BMK‐
00118945   00118946   4/23/2020 17:56 Attach   9.pdf                                                .\VOL008\IMAGES\IMAGES002\00118945.pdf
00118947   00118947   4/23/2020 18:31 Email    Re: I‐495 MLS DEIS and FEIS activities list          .\VOL008\IMAGES\IMAGES002\00118947.pdf
00118948   00118948   4/23/2020 19:32 Email    Re_ I‐495 MLS DEIS and FEIS activities list.pdf      .\VOL008\IMAGES\IMAGES002\00118948.pdf
                                               Cultural Resource Tech Report_Errata
00118949   00118973    4/24/2020 1:57 Edoc     Table_Responses_JPS.docx                             .\VOL008\IMAGES\IMAGES002\00118949.pdf
00118974   00118974    4/24/2020 8:59 Email    FW_ I‐495 MLS DEIS and FEIS activities list.pdf      .\VOL008\IMAGES\IMAGES002\00118974.pdf
00118975   00118977    4/24/2020 8:59 Attach   DEIS and FEIS Actions list for 495 MLS.docx          .\VOL008\IMAGES\IMAGES002\00118975.pdf
00118978   00118978   4/24/2020 10:26 Attach   1910_IndustrialSchool‐Building.pdf                   .\VOL008\IMAGES\IMAGES002\00118978.pdf
00118979   00118979   4/24/2020 10:26 Attach   1910_IndustrialSchoolPlanned.pdf                     .\VOL008\IMAGES\IMAGES002\00118979.pdf

00118980   00118980   4/24/2020 10:26 Attach   1910_ProposedIndustrialSchool‐MapPresented.pdf       .\VOL008\IMAGES\IMAGES002\00118980.pdf
00118981   00118981   4/24/2020 10:26 Attach   1911_AME‐Zion_Dedicated.pdf                          .\VOL008\IMAGES\IMAGES002\00118981.pdf

00118982   00118982   4/24/2020 10:26 Attach   1911_ColoredGoodSamaritanHall_GibsonGrove.pdf     .\VOL008\IMAGES\IMAGES002\00118982.pdf
00118983   00118983   4/24/2020 10:26 Attach   1914_JDWMooreObit.pdf                             .\VOL008\IMAGES\IMAGES002\00118983.pdf
00118984   00118984   4/24/2020 10:26 Attach   1921_GibsonGrove‐Cornerstone.pdf                  .\VOL008\IMAGES\IMAGES002\00118984.pdf
00118985   00118985   4/24/2020 10:26 Attach   1936_EmmaJones‐ClaraBarton.pdf                    .\VOL008\IMAGES\IMAGES002\00118985.pdf
00118986   00118986   4/24/2020 10:26 Attach   1898_SarahGibson to GibsonGroveAME.pdf            .\VOL008\IMAGES\IMAGES002\00118986.pdf
00118987   00118987   4/24/2020 10:26 Attach   1905_SarahGibson‐Donation.PNG                     .\VOL008\IMAGES\IMAGES002\00118987.pdf
00118988   00118988   4/24/2020 10:26 Attach   1906_ScotlandCemetery.pdf                         .\VOL008\IMAGES\IMAGES002\00118988.pdf
00118989   00118989   4/24/2020 10:26 Attach   1907_GibsonGroveRepairs_School10.pdf              .\VOL008\IMAGES\IMAGES002\00118989.pdf
                                               DEIS#2_USACE Comment Errata
00118990   00118992   4/24/2020 13:19 Attach   Table_TeamNotes.docx                              .\VOL008\IMAGES\IMAGES002\00118990.pdf
00118993   00118993   4/24/2020 15:16 Email    Revised Section 4(f) Mapping                      .\VOL008\IMAGES\IMAGES002\00118993.pdf
00118994   00118995   4/24/2020 15:16 Email    Revised Section 4(f) Mapping                      .\VOL008\IMAGES\IMAGES002\00118994.pdf
                                               cemeteries276‐300_Montgomery County_BallFamily is
00118996   00119014   4/24/2020 17:46 Attach   279.pdf                                           .\VOL008\IMAGES\IMAGES002\00118996.pdf
00119015   00119015   4/24/2020 17:46 Attach   279_BallFamilyCemetery_MoCoInventory.pdf          .\VOL008\IMAGES\IMAGES002\00119015.pdf
                                               279_Ball_Family_Rockville_2018_Survey (Montgomery
00119016   00119023   4/24/2020 17:46 Attach   Preservation).pdf                                 .\VOL008\IMAGES\IMAGES002\00119016.pdf

00119024   00119024   4/27/2020 11:03 Attach   moses lodge cemetery bamboo area next to highw.jpg .\VOL008\IMAGES\IMAGES002\00119024.pdf

00119025   00119025   4/27/2020 11:03 Attach   moses lodge cemetery bamboo area next to highw.jpg .\VOL008\IMAGES\IMAGES002\00119025.pdf
00119026   00119026   4/27/2020 11:03 Attach   looking down hill from the bamboo area.jpg         .\VOL008\IMAGES\IMAGES002\00119026.pdf

00119027   00119027   4/27/2020 11:03 Attach   looking down hill from the bamboo area other c.jpg   .\VOL008\IMAGES\IMAGES002\00119027.pdf
00119028   00119028   4/27/2020 11:03 Attach   allen white 1973.jpg                                 .\VOL008\IMAGES\IMAGES002\00119028.pdf
00119029   00119029   4/27/2020 11:03 Attach   james cooper 1943.jpg                                .\VOL008\IMAGES\IMAGES002\00119029.pdf
00119030   00119030   4/27/2020 11:03 Attach   leroy dove 1910.jpg                                  .\VOL008\IMAGES\IMAGES002\00119030.pdf

00119031   00119031   4/27/2020 11:03 Attach   Gibson grove church on other side of the highw.jpg   .\VOL008\IMAGES\IMAGES002\00119031.pdf
00119032   00119032   4/27/2020 11:03 Attach   closeup of gibson grove church falling down.jpg      .\VOL008\IMAGES\IMAGES002\00119032.pdf
00119033   00119038   4/27/2020 12:29 Email    RE: IAPA Path Forward                                .\VOL008\IMAGES\IMAGES002\00119033.pdf
00119039   00119039   4/27/2020 16:15 Email    Agenda/Topics for 4/28 Quarterly Meeting             .\VOL008\IMAGES\IMAGES002\00119039.pdf
00119040   00119040   4/27/2020 16:15 Attach   AGENDA4_28_2020.pdf                                  .\VOL008\IMAGES\IMAGES002\00119040.pdf
00119041   00119041   4/27/2020 17:39 Email    NPS Errata from DEIS Admin Draft #1                  .\VOL008\IMAGES\IMAGES002\00119041.pdf
00119042   00119042    4/28/2020 9:06 Email    MLS DEIS Notice of Availability                      .\VOL008\IMAGES\IMAGES002\00119042.pdf
00119043   00119046   4/28/2020 13:20 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00119043.pdf
00119047   00119047   4/28/2020 17:36 Email    Revised NPS Errata                                   .\VOL008\IMAGES\IMAGES002\00119047.pdf
00119048   00119048   4/28/2020 17:36 Email    Revised NPS Errata                                   .\VOL008\IMAGES\IMAGES002\00119048.pdf
00119049   00119049   4/28/2020 18:37 Email    EJ Tech Report and Errata                            .\VOL008\IMAGES\IMAGES002\00119049.pdf

00119050   00119050   4/28/2020 20:52 Attach   2020‐04‐28_DRAFT Errata Responses for NPS Com.xlsx .\VOL008\IMAGES\IMAGES002\00119050.pdf     .\VOL008\NATIVES\NATIVES002\00119050.xlsx
                                               I‐495/I‐270 MLS & City of Rockville FCE Coordination
00119051   00119051    4/29/2020 7:55 Email    Meeting Summary ‐ 4/10/20                            .\VOL008\IMAGES\IMAGES002\00119051.pdf
00119052   00119053    4/29/2020 8:27 Email    RE: NPS FPO                                          .\VOL008\IMAGES\IMAGES002\00119052.pdf
00119054   00119055    4/29/2020 8:31 Email    RE: NPS FPO                                          .\VOL008\IMAGES\IMAGES002\00119054.pdf
00119056   00119056   4/29/2020 10:45 Email    Opening                                              .\VOL008\IMAGES\IMAGES002\00119056.pdf
00119057   00119061   4/29/2020 10:50 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00119057.pdf
00119062   00119065   4/29/2020 10:50 Attach   Updated DEIS tolling text.docx                       .\VOL008\IMAGES\IMAGES002\00119062.pdf
00119066   00119067   4/29/2020 12:24 Email    FHWA/NPS/MDOT SHA MLS meeting                        .\VOL008\IMAGES\IMAGES002\00119066.pdf
00119068   00119072   4/29/2020 13:15 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00119068.pdf
00119073   00119077   4/29/2020 13:28 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00119073.pdf
00119078   00119082   4/29/2020 13:33 Email    FW: Tolling                                          .\VOL008\IMAGES\IMAGES002\00119078.pdf
00119083   00119088   4/29/2020 13:44 Email    RE: Tolling                                          .\VOL008\IMAGES\IMAGES002\00119083.pdf
00119089   00119092   4/29/2020 13:44 Attach   Updated DEIS tolling text‐Draft2.docx                .\VOL008\IMAGES\IMAGES003\00119089.pdf
00119093   00119093   4/29/2020 14:44 Email    Re: FHWA/ACOE/MDOT SHA MLS meeting                   .\VOL008\IMAGES\IMAGES003\00119093.pdf
                                               2020‐04‐29_MLS DEIS V2_USACE Errata Draft
00119094   00119096   4/29/2020 14:44 Attach   Responses.docx                                       .\VOL008\IMAGES\IMAGES003\00119094.pdf
00119097   00119097   4/29/2020 16:20 Email    Revised Toll Language.pdf                            .\VOL008\IMAGES\IMAGES003\00119097.pdf
00119098   00119101   4/29/2020 16:20 Attach   Updated DEIS tolling text‐Draft2 JP.docx             .\VOL008\IMAGES\IMAGES003\00119098.pdf
00119102   00119105   4/29/2020 16:32 Email    RE: Fixes to I‐495/220 project in PAPAI              .\VOL008\IMAGES\IMAGES003\00119102.pdf
00119106   00119109   4/29/2020 16:50 Email    RE: Fixes to I‐495/220 project in PAPAI              .\VOL008\IMAGES\IMAGES003\00119106.pdf
00119110   00119113   4/29/2020 16:59 Email    RE: Fixes to I‐495/220 project in PAPAI              .\VOL008\IMAGES\IMAGES003\00119110.pdf
00119114   00119117   4/29/2020 17:03 Email    RE: Fixes to I‐495/220 project in PAPAI              .\VOL008\IMAGES\IMAGES003\00119114.pdf
00119118   00119118   4/29/2020 17:13 Email    Revised EJ Analysis Tech Report                      .\VOL008\IMAGES\IMAGES003\00119118.pdf
00119119   00119119   4/29/2020 17:13 Email    Revised EJ Analysis Tech Report                      .\VOL008\IMAGES\IMAGES003\00119119.pdf
00119120   00119122    4/30/2020 8:45 Email    I‐495 & I‐270 MLS IAWG April Updates                 .\VOL008\IMAGES\IMAGES003\00119120.pdf
00119123   00119125    4/30/2020 8:45 Email    I‐495 & I‐270 MLS IAWG April Updates                 .\VOL008\IMAGES\IMAGES003\00119123.pdf
00119126   00119126    4/30/2020 9:52 Email    MLS Team Members                                     .\VOL008\IMAGES\IMAGES003\00119126.pdf
00119127   00119128    4/30/2020 9:52 Attach   MLS Team Members.docx                                .\VOL008\IMAGES\IMAGES003\00119127.pdf
00119129   00119131    4/30/2020 9:57 Email    RE: MLS DEIS ‐ Chapter 9 Distribution List           .\VOL008\IMAGES\IMAGES003\00119129.pdf
00119132   00119134    4/30/2020 9:57 Email    RE: MLS DEIS ‐ Chapter 9 Distribution List           .\VOL008\IMAGES\IMAGES003\00119132.pdf
00119135   00119136   4/30/2020 10:22 Email    FW: Revised EJ Analysis Tech Report                  .\VOL008\IMAGES\IMAGES003\00119135.pdf
00119137   00119139   4/30/2020 10:23 Email    FW: MLS DEIS ‐ Chapter 9 Distribution List           .\VOL008\IMAGES\IMAGES003\00119137.pdf
00119140   00119141   4/30/2020 10:33 Email    Toll Rate Text in DEIS                               .\VOL008\IMAGES\IMAGES003\00119140.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                            Page 79 of 263

00119142   00119142   4/30/2020 10:53 Email    RE: MLS Team Members                                .\VOL008\IMAGES\IMAGES003\00119142.pdf
00119143   00119146   4/30/2020 11:55 Attach   Updated DEIS tolling text‐Draft2 JP.docx            .\VOL008\IMAGES\IMAGES003\00119143.pdf
                                               Att5_USFWS Response_MLS_record correction and
00119147   00119149   4/30/2020 12:02 Attach   Final 4d Rule contingency plan.pdf                  .\VOL008\IMAGES\IMAGES003\00119147.pdf
00119150   00119151   4/30/2020 12:02 Email    I‐495 & I‐270 MLS FHWA Errata with Responses        .\VOL008\IMAGES\IMAGES003\00119150.pdf
                                               2020.05.01_Fatemah Paryavi_PIA 10‐Day Close Out
00119152   00119153   4/30/2020 13:16 Edoc     Letter.pdf                                          .\VOL008\IMAGES\IMAGES003\00119152.pdf
                                               FW_ I‐495 & I‐270 MLS FHWA Errata with
00119154   00119155   4/30/2020 13:19 Email    Responses.pdf                                       .\VOL008\IMAGES\IMAGES003\00119154.pdf
                                               Toll Projects_Environmental
00119156   00119157   4/30/2020 14:35 Attach   Documents_20Dec19.docx                              .\VOL008\IMAGES\IMAGES003\00119156.pdf

00119158   00119161   4/30/2020 14:41 Email    RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Errata   .\VOL008\IMAGES\IMAGES003\00119158.pdf

00119162   00119165   4/30/2020 14:41 Email    RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Errata   .\VOL008\IMAGES\IMAGES003\00119162.pdf
00119166   00119168   4/30/2020 15:13 Email    Pl Review ‐ RE: Toll Rate Text in DEIS              .\VOL008\IMAGES\IMAGES003\00119166.pdf
00119169   00119169   4/30/2020 15:48 Email    MLS Team Listing                                    .\VOL008\IMAGES\IMAGES003\00119169.pdf
00119170   00119171   4/30/2020 15:48 Attach   MLS Team Members.docx                               .\VOL008\IMAGES\IMAGES003\00119170.pdf
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA Errata
00119172   00119173   4/30/2020 15:49 Email    with Responses                                      .\VOL008\IMAGES\IMAGES003\00119172.pdf

00119174   00119177   4/30/2020 16:01 Email    RE: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Errata   .\VOL008\IMAGES\IMAGES003\00119174.pdf

                                               Att2_FHWA Comment #3_Revised DEIS Chapter 3
00119178   00119179   4/30/2020 16:01 Attach   Forecasting Methodology Text.bg comment.docx        .\VOL008\IMAGES\IMAGES003\00119178.pdf
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA Errata
00119180   00119180   4/30/2020 16:15 Email    with Responses                                      .\VOL008\IMAGES\IMAGES003\00119180.pdf

00119181   00119184   4/30/2020 16:23 Email    FW: REVIEW REQUESTED: I‐495/I‐270 MLS DEIS Errata .\VOL008\IMAGES\IMAGES003\00119181.pdf
                                               REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119185   00119186   4/30/2020 16:49 Email    Errata....pdf                                     .\VOL008\IMAGES\IMAGES003\00119185.pdf

00119187   00119188   4/30/2020 17:00 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses    .\VOL008\IMAGES\IMAGES003\00119187.pdf
                                               REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119189   00119189   4/30/2020 17:15 Email    Errata...(1).pdf                                    .\VOL008\IMAGES\IMAGES003\00119189.pdf
                                               RE_ I‐495 & I‐270 MLS FHWA Errata with
00119190   00119191   4/30/2020 18:00 Email    Responses.pdf                                       .\VOL008\IMAGES\IMAGES003\00119190.pdf
                                               FW_ I‐495 & I‐270 MLS FHWA Errata with
00119192   00119194   4/30/2020 18:02 Email    Responses(1).pdf                                    .\VOL008\IMAGES\IMAGES003\00119192.pdf
                                               FW_ I‐495 & I‐270 MLS FHWA Errata with
00119195   00119196   4/30/2020 18:03 Email    Responses.pdf                                       .\VOL008\IMAGES\IMAGES003\00119195.pdf
                                               Att1_FHWA Comment #3_Alt 9M Memo_
00119197   00119197   4/30/2020 18:03 Attach   Forecasting.docx                                    .\VOL008\IMAGES\IMAGES003\00119197.pdf
                                               Att2_FHWA Comment #3_Revised DEIS Chapter 3
00119198   00119199   4/30/2020 18:03 Attach   F.docx                                              .\VOL008\IMAGES\IMAGES003\00119198.pdf
                                               Att3_FHWA Comment #122_MLS Noise Abatement
00119200   00119204   4/30/2020 18:03 Attach   Su.docx                                             .\VOL008\IMAGES\IMAGES003\00119200.pdf
                                               Att4_FHWA Comments #252&253_Revised MSAT
00119205   00119207   4/30/2020 18:03 Attach   Text.docx                                           .\VOL008\IMAGES\IMAGES003\00119205.pdf
00119208   00119208   4/30/2020 18:31 Email    RE_ Revised Toll Language.pdf                       .\VOL008\IMAGES\IMAGES003\00119208.pdf
                                               Cultural Resource Tech Report_Errata
00119209   00119243   4/30/2020 20:49 Edoc     Table_Responses to Consulting Parties.docx          .\VOL008\IMAGES\IMAGES003\00119209.pdf

00119244   00119246     5/1/2020 7:00 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses    .\VOL008\IMAGES\IMAGES003\00119244.pdf
00119247   00119253     5/1/2020 9:08 Email    RE: Tolling                                         .\VOL008\IMAGES\IMAGES003\00119247.pdf
                                               RE_ I‐495 & I‐270 MLS FHWA Errata with
00119254   00119256    5/1/2020 10:24 Email    Responses(1).pdf                                    .\VOL008\IMAGES\IMAGES003\00119254.pdf
00119257   00119263    5/1/2020 14:07 Email    RE: Tolling                                         .\VOL008\IMAGES\IMAGES003\00119257.pdf

00119264   00119267    5/1/2020 14:07 Attach   Updated DEIS tolling text‐Draft2 JP Response.docx    .\VOL008\IMAGES\IMAGES003\00119264.pdf
00119268   00119269    5/1/2020 14:10 Email    RE: Toll Rate Text in DEIS                           .\VOL008\IMAGES\IMAGES003\00119268.pdf
00119270   00119271    5/1/2020 14:10 Email    RE: Toll Rate Text in DEIS                           .\VOL008\IMAGES\IMAGES003\00119270.pdf
                                               Cohen 824390 Response: Request to Pause I‐495 and I‐
00119272   00119273    5/1/2020 16:06 Email    270 P3 Project Inquiry                               .\VOL008\IMAGES\IMAGES003\00119272.pdf
                                               Wald 824393 Response: Give us time to read the 270
00119274   00119275    5/1/2020 16:12 Email    Environmental Impact Statement ‐ Inquiry             .\VOL008\IMAGES\IMAGES003\00119274.pdf

00119276   00119277    5/1/2020 16:20 Email    Magary 824316 Response: Delay P3 Project ‐ Inquiry     .\VOL008\IMAGES\IMAGES003\00119276.pdf
                                               Triner 824315 Response: I‐495 & I‐270 Expansion EIS
00119278   00119279    5/1/2020 16:24 Email    Schedule ‐ Inquiry                                     .\VOL008\IMAGES\IMAGES003\00119278.pdf
                                               Patt‐Corner 824314 Response: Delay in EIS Schedule
00119280   00119281    5/1/2020 16:30 Email    for Beltway Decisions ‐ Inquiry                        .\VOL008\IMAGES\IMAGES003\00119280.pdf
                                               Rizzi 824313 Response: Please Pause and Listen to Us ‐
00119282   00119283    5/1/2020 16:36 Email    Inquiry                                                .\VOL008\IMAGES\IMAGES003\00119282.pdf
                                               Lenahan 824310 Response: Delay EIS Schedule ‐
00119284   00119285    5/1/2020 16:42 Email    Inquiry                                                .\VOL008\IMAGES\IMAGES003\00119284.pdf
                                               Jaffe 824309 Response: I‐495 & I‐270 Managed Lane
00119286   00119287    5/1/2020 16:46 Email    Study ‐ Inquiry                                        .\VOL008\IMAGES\IMAGES003\00119286.pdf

                                               Seigel 824308 Response: Delay the EIS Schedule &
00119288   00119289    5/1/2020 16:57 Email    Pause the DEIS During This Pandemic ‐ Inquiries      .\VOL008\IMAGES\IMAGES003\00119288.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: P3 Program
00119290   00119291    5/1/2020 18:41 Email    notes (4.21.20)                                      .\VOL008\IMAGES\IMAGES003\00119290.pdf
                                               2020‐04‐21_FHWA Coordination Meeting Notes_P3
00119292   00119293    5/1/2020 18:41 Attach   Program.docx                                         .\VOL008\IMAGES\IMAGES003\00119292.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: I‐270 Pre‐
00119294   00119295    5/1/2020 18:45 Email    NEPA notes (4.21.20)                                 .\VOL008\IMAGES\IMAGES003\00119294.pdf
                                               20200421‐I‐270_FHWA Coordination Meeting
00119296   00119297    5/1/2020 18:45 Attach   Notes.docx                                           .\VOL008\IMAGES\IMAGES003\00119296.pdf
00119298   00119298     5/4/2020 7:52 Attach   FW: P3 project                                       .\VOL008\IMAGES\IMAGES003\00119298.pdf
00119299   00119300     5/4/2020 7:52 Attach   Cline 824389 Response: P3 Project Inquiry            .\VOL008\IMAGES\IMAGES003\00119299.pdf
00119301   00119301     5/4/2020 7:52 Attach   FW: Request to pause I‐495 and I‐270 P3 project      .\VOL008\IMAGES\IMAGES003\00119301.pdf
                                               Cohen 824390 Response: Request to Pause I‐495 and I‐
00119302   00119303     5/4/2020 7:52 Attach   270 P3 Project Inquiry                               .\VOL008\IMAGES\IMAGES003\00119302.pdf
00119304   00119304     5/4/2020 7:52 Attach   FW: I‐495 & I‐270 Managed Lane Study.                .\VOL008\IMAGES\IMAGES003\00119304.pdf
                                               Jaffe 824309 Response: I‐495 & I‐270 Managed Lane
00119305   00119306     5/4/2020 7:52 Attach   Study ‐ Inquiry                                      .\VOL008\IMAGES\IMAGES003\00119305.pdf
                                               FW: Comment period for DEIS for the I‐495 & I‐270
00119307   00119307     5/4/2020 7:52 Attach   Managed Lane Study                                   .\VOL008\IMAGES\IMAGES003\00119307.pdf

                                               Johnson 824392 Response: Comment Period for DEIS
00119308   00119309     5/4/2020 7:52 Attach   for the I‐495 & I‐270 Managed Lane Study Inquiry    .\VOL008\IMAGES\IMAGES003\00119308.pdf
                                               Lenahan 824310 Response: Delay EIS Schedule ‐
00119310   00119311     5/4/2020 7:52 Attach   Inquiry                                             .\VOL008\IMAGES\IMAGES003\00119310.pdf
00119312   00119312     5/4/2020 7:52 Attach   FW: Delay EIS Schedule                              .\VOL008\IMAGES\IMAGES003\00119312.pdf
     Case 8:22-cv-02597-DKC                            Document 42-1                                   Filed 05/03/23                         Page 80 of 263

00119313   00119313    5/4/2020 7:52 Attach   FW: Delay P3 project                                   .\VOL008\IMAGES\IMAGES003\00119313.pdf

00119314   00119315    5/4/2020 7:52 Attach   Magary 824316 Response: Delay P3 Project ‐ Inquiry     .\VOL008\IMAGES\IMAGES003\00119314.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119316   00119316    5/4/2020 8:03 Email    Errata with Responses                                  .\VOL008\IMAGES\IMAGES003\00119316.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119317   00119318    5/4/2020 8:33 Email    Errata with Responses                                  .\VOL008\IMAGES\IMAGES003\00119317.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119319   00119320    5/4/2020 8:48 Email    Errata with Responses                                  .\VOL008\IMAGES\IMAGES003\00119319.pdf
00119321   00119321    5/4/2020 8:52 Email    DEIS Deliverable Schedule                              .\VOL008\IMAGES\IMAGES003\00119321.pdf

00119322   00119322    5/4/2020 8:52 Attach   2020‐05‐01 DEIS Deliverable Schedule_FHWA.docx         .\VOL008\IMAGES\IMAGES003\00119322.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119323   00119324    5/4/2020 9:03 Email    Errata with Responses                                  .\VOL008\IMAGES\IMAGES003\00119323.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119325   00119326    5/4/2020 9:09 Email    Errata with Responses                                  .\VOL008\IMAGES\IMAGES003\00119325.pdf
00119327   00119328    5/4/2020 9:18 Email    RE: DEIS Deliverable Schedule                          .\VOL008\IMAGES\IMAGES003\00119327.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119329   00119331    5/4/2020 9:24 Email    Er...(1).pdf                                           .\VOL008\IMAGES\IMAGES003\00119329.pdf
00119332   00119332    5/4/2020 9:29 Attach   Schedule                                               .\VOL008\IMAGES\IMAGES003\00119332.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119333   00119334    5/4/2020 9:33 Email    Er...(2).pdf                                           .\VOL008\IMAGES\IMAGES003\00119333.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119335   00119336    5/4/2020 9:48 Email    Er...(3).pdf                                           .\VOL008\IMAGES\IMAGES003\00119335.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119337   00119339    5/4/2020 9:58 Email    Errata with Responses                                  .\VOL008\IMAGES\IMAGES003\00119337.pdf
00119340   00119341   5/4/2020 10:03 Email    FW: Revised EJ Analysis Tech Report                    .\VOL008\IMAGES\IMAGES003\00119340.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119342   00119344   5/4/2020 10:03 Email    Er...(4).pdf                                           .\VOL008\IMAGES\IMAGES003\00119342.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119345   00119346   5/4/2020 10:09 Email    Er...(5).pdf                                           .\VOL008\IMAGES\IMAGES003\00119345.pdf

                                              COMMUNITY EFFECTS ASSESSMENT AND
00119347   00119475   5/4/2020 10:45 Attach   ENVIRONMENTAL JUSTICE ANALYSIS_COMPARE.DOCX .\VOL008\IMAGES\IMAGES003\00119347.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119476   00119478   5/4/2020 10:58 Email    Er...(6).pdf                                 .\VOL008\IMAGES\IMAGES003\00119476.pdf
                                              Comments due today on revised EJ Technical
00119479   00119479   5/4/2020 12:02 Email    Report.pdf                                   .\VOL008\IMAGES\IMAGES003\00119479.pdf

00119480   00119482   5/4/2020 13:14 Email    FW: I‐495 & I‐270 MLS FHWA Errata with Responses       .\VOL008\IMAGES\IMAGES003\00119480.pdf

00119483   00119485   5/4/2020 13:46 Email    FW: I‐495 & I‐270 MLS FHWA Errata with Responses       .\VOL008\IMAGES\IMAGES003\00119483.pdf
00119486   00119487   5/4/2020 13:54 Email    RE: previous EJ Tech Report                            .\VOL008\IMAGES\IMAGES003\00119486.pdf

00119488   00119490   5/4/2020 14:00 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses       .\VOL008\IMAGES\IMAGES003\00119488.pdf

00119491   00119493   5/4/2020 14:10 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses       .\VOL008\IMAGES\IMAGES003\00119491.pdf
00119494   00119496   5/4/2020 14:15 Email    Re: previous EJ Tech Report                            .\VOL008\IMAGES\IMAGES003\00119494.pdf
                                              Gaudet 824408 Response: Pause the I‐270 and I‐495
00119497   00119498   5/4/2020 15:03 Email    P3 Project ‐ Inquiry                                   .\VOL008\IMAGES\IMAGES003\00119497.pdf
00119499   00119500   5/4/2020 15:12 Email    Caswell 824409 Response: I 270 Expansion               .\VOL008\IMAGES\IMAGES003\00119499.pdf
00119501   00119502   5/4/2020 15:16 Email    Rafats 824410 Response: I270 ‐ Inquiry                 .\VOL008\IMAGES\IMAGES003\00119501.pdf
                                              Marble 824416 Response: Pause the P3 Project ‐
00119503   00119504   5/4/2020 15:23 Email    Inquiry                                                .\VOL008\IMAGES\IMAGES003\00119503.pdf

00119505   00119506   5/4/2020 15:51 Email    Smith 824417 Response: P3 Widening of I‐270 ‐ Inquiry .\VOL008\IMAGES\IMAGES003\00119505.pdf
                                              Rosendorf 824418 Response: Pause the P3 Program ‐
00119507   00119508   5/4/2020 16:08 Email    Inquiry                                               .\VOL008\IMAGES\IMAGES003\00119507.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119509   00119511   5/4/2020 16:19 Email    Er...(7).pdf                                          .\VOL008\IMAGES\IMAGES003\00119509.pdf
00119512   00119512   5/4/2020 16:45 Email    EJ Comments                                           .\VOL008\IMAGES\IMAGES003\00119512.pdf
                                              Klein 824427: Pause the I‐270 and I‐495 P3 Project ‐
00119513   00119514   5/4/2020 16:45 Email    Inquiry                                               .\VOL008\IMAGES\IMAGES003\00119513.pdf

00119515   00119515   5/4/2020 16:53 Email    Review Required: Alternative 5 Modified Language       .\VOL008\IMAGES\IMAGES003\00119515.pdf
00119516   00119517   5/4/2020 16:53 Attach   Alternative 5 Modified Language_5‐4‐20.docx            .\VOL008\IMAGES\IMAGES003\00119516.pdf

00119518   00119518   5/4/2020 16:53 Email    Review Required: Alternative 5 Modified Language       .\VOL008\IMAGES\IMAGES003\00119518.pdf

                                              Alexander 824414 Response: Request to delay I‐270
00119519   00119520   5/4/2020 17:34 Email    and I‐495 expansion process for COVID ‐ Inquiry        .\VOL008\IMAGES\IMAGES003\00119519.pdf
                                              RE_ Comments due today on revised EJ Technical
00119521   00119522   5/4/2020 17:49 Email    ....pdf                                                .\VOL008\IMAGES\IMAGES003\00119521.pdf
00119523   00119524   5/4/2020 18:39 Email    RE: Revised EJ Analysis Tech Report                    .\VOL008\IMAGES\IMAGES003\00119523.pdf
00119525   00119526   5/4/2020 18:39 Email    RE: Revised EJ Analysis Tech Report                    .\VOL008\IMAGES\IMAGES003\00119525.pdf
00119527   00119528    5/5/2020 7:40 Email    FW: Revised EJ Analysis Tech Report                    .\VOL008\IMAGES\IMAGES003\00119527.pdf
00119529   00119532    5/5/2020 9:11 Email    RE: Cap on Toll rates                                  .\VOL008\IMAGES\IMAGES003\00119529.pdf
00119533   00119533    5/5/2020 9:11 Email    RE: Cap on Toll rates                                  .\VOL008\IMAGES\IMAGES003\00119533.pdf
00119534   00119535    5/5/2020 9:20 Email    RE: Cap on Toll rates                                  .\VOL008\IMAGES\IMAGES003\00119534.pdf
00119536   00119539    5/5/2020 9:24 Email    RE: Cap on Toll rates                                  .\VOL008\IMAGES\IMAGES003\00119536.pdf
00119540   00119545   5/5/2020 10:35 Email    RE: IAPA Path Forward                                  .\VOL008\IMAGES\IMAGES003\00119540.pdf
00119546   00119547   5/5/2020 11:17 Email    RE: Final DEIS Version                                 .\VOL008\IMAGES\IMAGES003\00119546.pdf
00119548   00119549   5/5/2020 11:17 Email    RE: Final DEIS Version                                 .\VOL008\IMAGES\IMAGES003\00119548.pdf
00119550   00119550   5/5/2020 13:46 Attach   FW: Pause the P3 Project                               .\VOL008\IMAGES\IMAGES003\00119550.pdf
                                              Marble 824416 Response: Pause the P3 Project ‐
00119551   00119552   5/5/2020 13:46 Attach   Inquiry                                                .\VOL008\IMAGES\IMAGES003\00119551.pdf
00119553   00119553   5/5/2020 13:46 Attach   FW: I270                                               .\VOL008\IMAGES\IMAGES003\00119553.pdf
00119554   00119555   5/5/2020 13:46 Attach   Rafats 824410 Response: I270 ‐ Inquiry                 .\VOL008\IMAGES\IMAGES003\00119554.pdf
                                              Rosendorf 824418 Response: Pause the P3 Program ‐
00119556   00119557   5/5/2020 13:46 Attach   Inquiry                                                .\VOL008\IMAGES\IMAGES003\00119556.pdf
00119558   00119558   5/5/2020 13:46 Attach   FW: P3 widening of route 270                           .\VOL008\IMAGES\IMAGES003\00119558.pdf
00119559   00119559   5/5/2020 13:47 Attach   FW: I‐270                                              .\VOL008\IMAGES\IMAGES003\00119559.pdf
                                              FW: Request to delay I‐270 and I‐495 expansion
00119560   00119560   5/5/2020 13:47 Attach   process for COVID                                      .\VOL008\IMAGES\IMAGES003\00119560.pdf
00119561   00119561   5/5/2020 13:47 Attach   FW: I 270 expansion                                    .\VOL008\IMAGES\IMAGES003\00119561.pdf
00119562   00119563   5/5/2020 13:47 Attach   Caswell 824409 Response: I 270 Expansion               .\VOL008\IMAGES\IMAGES003\00119562.pdf
00119564   00119564   5/5/2020 13:47 Attach   FW: Pause the I‐270 and I‐495 P3 Project               .\VOL008\IMAGES\IMAGES003\00119564.pdf
                                              Gaudet 824408 Response: Pause the I‐270 and I‐495
00119565   00119566   5/5/2020 13:47 Attach   P3 Project ‐ Inquiry                                   .\VOL008\IMAGES\IMAGES003\00119565.pdf
00119567   00119567   5/5/2020 13:47 Attach   FW: Pause the I‐270 and I‐495 P3 Project               .\VOL008\IMAGES\IMAGES003\00119567.pdf
                                              Klein 824427: Pause the I‐270 and I‐495 P3 Project ‐
00119568   00119569   5/5/2020 13:47 Attach   Inquiry                                                .\VOL008\IMAGES\IMAGES003\00119568.pdf

00119570   00119571   5/5/2020 14:09 Edoc     Alternative 5 Modified Language_5‐4‐20 JP_MC.docx      .\VOL008\IMAGES\IMAGES003\00119570.pdf
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00119572   00119573   5/5/2020 14:12 Attach   Alternative 5 Modified Language_5‐4‐20 JP_MC.docx        .\VOL008\IMAGES\IMAGES003\00119572.pdf
00119574   00119574   5/5/2020 14:54 Email    Agenda for tomorrow's internal meeting                   .\VOL008\IMAGES\IMAGES003\00119574.pdf

00119575   00119576   5/5/2020 15:25 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses         .\VOL008\IMAGES\IMAGES003\00119575.pdf
00119577   00119577   5/5/2020 15:29 Email    Comment 46                                               .\VOL008\IMAGES\IMAGES003\00119577.pdf

00119578   00119580   5/5/2020 15:35 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses         .\VOL008\IMAGES\IMAGES003\00119578.pdf
00119581   00119581   5/5/2020 15:35 Email    RE: Agenda for tomorrow's internal meeting               .\VOL008\IMAGES\IMAGES003\00119581.pdf
                                              Alternative 5 Modified Language_5‐4‐20 JP_MC_JM
00119582   00119583   5/5/2020 15:46 Attach   (003).docx                                               .\VOL008\IMAGES\IMAGES003\00119582.pdf
                                              RE: DEIS ‐ Discuss responses to FHWA comments
00119584   00119584    5/6/2020 8:20 Email    Round 2                                                  .\VOL008\IMAGES\IMAGES003\00119584.pdf
00119585   00119585    5/6/2020 8:45 Email    per my message                                           .\VOL008\IMAGES\IMAGES003\00119585.pdf
                                              Alternative 5 Modified Language_5‐4‐20 JP_MC_JM
00119586   00119588    5/6/2020 8:45 Attach   jmv.docx                                                 .\VOL008\IMAGES\IMAGES003\00119586.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119589   00119591    5/6/2020 9:06 Email    Errata with Responses                                    .\VOL008\IMAGES\IMAGES003\00119589.pdf
                                              Att3_FHWA Comment #122_MLS Noise Abatement
00119592   00119596    5/6/2020 9:15 Edoc     Summary Table.docx                                       .\VOL008\IMAGES\IMAGES003\00119592.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00119597   00119599   5/6/2020 10:06 Email    Er...(8).pdf                                             .\VOL008\IMAGES\IMAGES003\00119597.pdf
00119600   00119600   5/6/2020 10:12 Email    2018 Calibration Memo                                    .\VOL008\IMAGES\IMAGES003\00119600.pdf
                                              FW: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119601   00119603   5/6/2020 11:00 Email    Errata with Responses                                    .\VOL008\IMAGES\IMAGES003\00119601.pdf
                                              MDOT SHA TFAD VISSIM Modeling Guidance 11‐21‐
00119604   00119623   5/6/2020 11:14 Edoc     2016.pdf                                                 .\VOL008\IMAGES\IMAGES003\00119604.pdf
                                              Beltway Expansion Statement (Apr. 2020) ‐ v2
00119624   00119626   5/6/2020 12:05 Attach   (003).docx                                               .\VOL008\IMAGES\IMAGES003\00119624.pdf
00119627   00119627   5/6/2020 12:15 Email    Alternative 5                                            .\VOL008\IMAGES\IMAGES003\00119627.pdf

00119628   00119630   5/6/2020 12:15 Attach   Alternative 5 Modified Language_5‐4‐20 FHWA.docx .\VOL008\IMAGES\IMAGES003\00119628.pdf
00119631   00119631   5/6/2020 12:53 Email    9M memo                                                  .\VOL008\IMAGES\IMAGES003\00119631.pdf
                                              2020‐03‐23 Alternatives Tech Report Appendix
00119632   00119753   5/6/2020 12:53 Attach   B_Alternative 9M Memo.pdf                                .\VOL008\IMAGES\IMAGES003\00119632.pdf
                                              Follow‐up call to discuss outstanding items ‐ Interstate
00119754   00119754   5/6/2020 13:05 Email    Access Request I‐495/I‐270 MLS                           .\VOL008\IMAGES\IMAGES003\00119754.pdf
                                              RE: Follow‐up call to discuss outstanding items ‐
00119755   00119755   5/6/2020 13:07 Email    Interstate Access Request I‐495/I‐270 MLS                .\VOL008\IMAGES\IMAGES003\00119755.pdf
00119756   00119756   5/6/2020 13:29 Attach   FW: Beltway and I‐270 DEIS: need pause                   .\VOL008\IMAGES\IMAGES003\00119756.pdf

00119757   00119757   5/6/2020 14:05 Email    Follow‐up call to discuss outstanding items ‐ I...(1).pdf .\VOL008\IMAGES\IMAGES003\00119757.pdf
00119758   00119759   5/6/2020 14:50 Email    Re: FHWA/NPS/MDOT SHA MLS meeting                         .\VOL008\IMAGES\IMAGES003\00119758.pdf

00119760   00119762   5/6/2020 14:55 Email    RE_ Follow‐up call to discuss outstanding items....pdf   .\VOL008\IMAGES\IMAGES003\00119760.pdf

00119763   00119765   5/6/2020 15:07 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses         .\VOL008\IMAGES\IMAGES003\00119763.pdf

00119766   00119768   5/6/2020 15:07 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses         .\VOL008\IMAGES\IMAGES003\00119766.pdf
                                              Re: [EXTERNAL] Re: FHWA/NPS/MDOT SHA MLS
00119769   00119770   5/6/2020 15:27 Email    meeting                                                  .\VOL008\IMAGES\IMAGES003\00119769.pdf
00119771   00119771   5/6/2020 15:27 Edoc     2020.05.06_2018 Calibration Memo.pdf                     .\VOL008\IMAGES\IMAGES003\00119771.pdf
                                              Alternative 5 Modified Language_5‐4‐20
00119772   00119774   5/6/2020 15:33 Edoc     FHWA_v2.docx                                             .\VOL008\IMAGES\IMAGES003\00119772.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119775   00119778   5/6/2020 15:36 Email    Errata with Responses                                    .\VOL008\IMAGES\IMAGES003\00119775.pdf
                                              Cole 824440 Response: 270/495 Toll Lane Project ‐
00119779   00119780   5/6/2020 15:41 Email    Inquiry                                                  .\VOL008\IMAGES\IMAGES003\00119779.pdf
00119781   00119782   5/6/2020 15:54 Attach   Board testimony.docx                                     .\VOL008\IMAGES\IMAGES003\00119781.pdf
                                              Ambler 824441 Response: Beltway and I‐270 DEIS:
00119783   00119785   5/6/2020 16:01 Email    Need Pause ‐ Inquiry                                     .\VOL008\IMAGES\IMAGES003\00119783.pdf
00119786   00119786   5/6/2020 16:16 Email    FHWA Response to comment 270                             .\VOL008\IMAGES\IMAGES003\00119786.pdf
                                              FW: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119787   00119790   5/6/2020 16:17 Email    Errata with Responses                                    .\VOL008\IMAGES\IMAGES003\00119787.pdf
00119791   00119791   5/6/2020 16:18 Email    Re: FHWA Response to comment 270                         .\VOL008\IMAGES\IMAGES003\00119791.pdf
                                              Re_ [EXTERNAL] Re_ FHWA_NPS_MDOT SHA MLS
00119792   00119793   5/6/2020 16:27 Email    meeting(1).pdf                                           .\VOL008\IMAGES\IMAGES003\00119792.pdf

00119794   00119794   5/6/2020 16:27 Attach   2020‐04‐29_DRAFT Errata Responses for NPS Com.xlsx .\VOL008\IMAGES\IMAGES003\00119794.pdf          .\VOL008\NATIVES\NATIVES003\00119794.xlsx
00119795   00119795   5/6/2020 16:43 Email    alt 5                                              .\VOL008\IMAGES\IMAGES003\00119795.pdf
                                              Alternative 5 Modified Language_5‐4‐20
00119796   00119797   5/6/2020 16:43 Attach   FHWA_v2.docx                                       .\VOL008\IMAGES\IMAGES003\00119796.pdf

00119798   00119799   5/6/2020 16:56 Email    RE: Review Required: Alternative 5 Modified Language .\VOL008\IMAGES\IMAGES003\00119798.pdf

00119800   00119801   5/6/2020 16:56 Email    RE: Review Required: Alternative 5 Modified Language .\VOL008\IMAGES\IMAGES003\00119800.pdf
                                              RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119802   00119805   5/6/2020 17:04 Email    Errata with Responses                                .\VOL008\IMAGES\IMAGES003\00119802.pdf
00119806   00119806   5/6/2020 17:18 Email    Re_ FHWA Response to comment 270.pdf                 .\VOL008\IMAGES\IMAGES003\00119806.pdf
                                              Martinez 824439 Response: 270 Widening P3 Project ‐
00119807   00119808   5/6/2020 17:35 Attach   Inquiry                                              .\VOL008\IMAGES\IMAGES003\00119807.pdf
00119809   00119809   5/6/2020 17:35 Attach   FW: 270/495 toll lane project                        .\VOL008\IMAGES\IMAGES003\00119809.pdf
                                              FW: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00119810   00119813   5/6/2020 17:50 Email    Errata with Responses                                .\VOL008\IMAGES\IMAGES003\00119810.pdf

00119814   00119814   5/6/2020 18:07 Email    Review Requested: Alternative 5 Rationale for DEIS       .\VOL008\IMAGES\IMAGES003\00119814.pdf
00119815   00119816   5/6/2020 22:44 Email    MLS DEIS NOA ‐ Contingency Plan                          .\VOL008\IMAGES\IMAGES003\00119815.pdf

00119817   00119817   5/6/2020 23:10 Email    MLS ‐ DEIS Public Hearing Materials ‐ FHWA Review        .\VOL008\IMAGES\IMAGES003\00119817.pdf
                                              RE: MLS ‐ DEIS Public Hearing Materials ‐ FHWA
00119818   00119819   5/6/2020 23:16 Email    Review                                                   .\VOL008\IMAGES\IMAGES003\00119818.pdf
                                              RE: MLS ‐ DEIS Public Hearing Materials ‐ FHWA
00119820   00119821   5/6/2020 23:19 Email    Review                                                   .\VOL008\IMAGES\IMAGES003\00119820.pdf
                                              FW: MLS ‐ DEIS Public Hearing Materials ‐ FHWA
00119822   00119823    5/7/2020 7:06 Email    Review                                                   .\VOL008\IMAGES\IMAGES003\00119822.pdf
00119824   00119825    5/7/2020 7:07 Email    FW: MLS DEIS NOA ‐ Contingency Plan                      .\VOL008\IMAGES\IMAGES003\00119824.pdf
00119826   00119826    5/7/2020 7:15 Email    FW: M‐NCPPC                                              .\VOL008\IMAGES\IMAGES003\00119826.pdf
00119827   00119829   5/7/2020 10:29 Email    RE_ Agenda for Moses Hall meeting_(1).pdf                .\VOL008\IMAGES\IMAGES003\00119827.pdf
                                              Re: I‐495/I‐270 MLS & City of Rockville FCE
00119830   00119831   5/7/2020 11:33 Email    Coordination Meeting Summary ‐ 4/10/20                   .\VOL008\IMAGES\IMAGES003\00119830.pdf
                                              Moses Hall Cemetery Discussion/MLS Section 106
                                              Consulting Party Responses‐ Agenda and Confidential
00119832   00119833   5/7/2020 12:01 Email    Materials                                                .\VOL008\IMAGES\IMAGES003\00119832.pdf
00119834   00119834   5/7/2020 12:13 Email    495/270 ‐ upcoming dates                                 .\VOL008\IMAGES\IMAGES003\00119834.pdf
00119835   00119835   5/7/2020 12:17 Email    RE: 495/270 ‐ upcoming dates                             .\VOL008\IMAGES\IMAGES003\00119835.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                              Page 82 of 263

                                               Att2_FHWA Comment #3_Revised DEIS Chapter 3
00119836   00119837    5/7/2020 13:37 Attach   Forecasting Methodology Text_050520.docx            .\VOL008\IMAGES\IMAGES003\00119836.pdf

00119838   00119839    5/7/2020 13:37 Attach   RE: I‐495 & I‐270 MLS FHWA Errata with Responses         .\VOL008\IMAGES\IMAGES003\00119838.pdf
                                               1963 a tiny fraction of a sliver of land from Morninstar
00119840   00119840    5/7/2020 14:39 Attach   to Jones.pdf                                             .\VOL008\IMAGES\IMAGES003\00119840.pdf
                                               RE: Moses Hall Cemetery Discussion/MLS Section 106
                                               Consulting Party Responses‐ Agenda and Confidential
00119841   00119842    5/7/2020 14:46 Email    Materials                                                .\VOL008\IMAGES\IMAGES003\00119841.pdf
00119843   00119843    5/7/2020 17:02 Email    A few Gibson Grove/Moses Hall Updates                    .\VOL008\IMAGES\IMAGES003\00119843.pdf
00119844   00119844    5/7/2020 17:13 Email    A few Gibson Grove/Moses Hall Updates                    .\VOL008\IMAGES\IMAGES003\00119844.pdf
00119845   00119848    5/7/2020 18:29 Email    Response to MDTA Board Meeting Questions                 .\VOL008\IMAGES\IMAGES003\00119845.pdf
00119849   00119851     5/8/2020 9:04 Email    Re: A few Gibson Grove/Moses Hall Updates                .\VOL008\IMAGES\IMAGES003\00119849.pdf
                                               Cole 824470 Response: Proposed Widening of 270 ‐
00119852   00119855     5/8/2020 9:05 Email    Inquiries 5/5 & 5/6                                      .\VOL008\IMAGES\IMAGES003\00119852.pdf
                                               Liriano 824471 Response: Proposed Widening of 270 ‐
00119856   00119857     5/8/2020 9:13 Email    Inquiry                                                  .\VOL008\IMAGES\IMAGES003\00119856.pdf
00119858   00119860     5/8/2020 9:55 Email    Re: A few Gibson Grove/Moses Hall Updates                .\VOL008\IMAGES\IMAGES003\00119858.pdf

00119861   00119862    5/8/2020 10:09 Attach   RE: I‐495 & I‐270 MLS FHWA Errata with Responses    .\VOL008\IMAGES\IMAGES003\00119861.pdf
00119863   00119864    5/8/2020 12:51 Email    RE: 2018 Calibration Memo                           .\VOL008\IMAGES\IMAGES003\00119863.pdf
                                               I‐495_I‐270 Managed
                                               Lanes_ExistingConditionsCalibrationMemo_5‐11‐2018 ‐
00119865   00119890    5/8/2020 12:51 Attach   CT comments.pdf                                     .\VOL008\IMAGES\IMAGES003\00119865.pdf
                                               Cole 824470 Response: Proposed Widening of 270 ‐
00119891   00119894    5/8/2020 16:01 Attach   Inquiries 5/5 & 5/6                                 .\VOL008\IMAGES\IMAGES003\00119891.pdf
00119895   00119896    5/8/2020 16:36 Email    Revised draft Alternative 5                         .\VOL008\IMAGES\IMAGES003\00119895.pdf
                                               MLS Noise Abatement Summary Table_UPDATED
00119897   00119901    5/9/2020 10:11 Attach   DRAFT_May2020.docx                                  .\VOL008\IMAGES\IMAGES003\00119897.pdf
00119902   00119903    5/9/2020 10:11 Email    DEIS‐ Noise Table Comment Responses                 .\VOL008\IMAGES\IMAGES003\00119902.pdf
                                               2020.05.11_Comments_CT_RE_ 2018 Calibration
00119904   00119905    5/11/2020 6:13 Edoc     Memo.pdf                                            .\VOL008\IMAGES\IMAGES003\00119904.pdf
00119906   00120025    5/11/2020 6:13 Edoc     DTA VOL XIV.pdf                                     .\VOL008\IMAGES\IMAGES003\00119906.pdf
00120026   00120027    5/11/2020 9:27 Email    RE: DEIS‐ Noise Table Comment Responses             .\VOL008\IMAGES\IMAGES003\00120026.pdf
00120028   00120030    5/11/2020 9:33 Email    FW: DEIS‐ Noise Table Comment Responses             .\VOL008\IMAGES\IMAGES003\00120028.pdf
00120031   00120033   5/11/2020 10:27 Email    RE_ DEIS‐ Noise Table Comment Responses.pdf         .\VOL008\IMAGES\IMAGES003\00120031.pdf
00120034   00120036   5/11/2020 10:52 Email    Re_ DEIS‐ Noise Table Comment Responses.pdf         .\VOL008\IMAGES\IMAGES003\00120034.pdf
                                               I‐495_I‐270 Managed
                                               Lanes_ExistingConditionsCalibrationMemo_5‐11‐2018 ‐
00120037   00120062   5/11/2020 11:07 Attach   CT comments.pdf                                     .\VOL008\IMAGES\IMAGES003\00120037.pdf
00120063   00120065   5/11/2020 11:31 Email    FW: 2018 Calibration Memo                           .\VOL008\IMAGES\IMAGES003\00120063.pdf

00120066   00120077   5/11/2020 13:10 Attach   I‐495_I‐270_Brochure_Mailer_2020_rd12_FHWA.pdf .\VOL008\IMAGES\IMAGES003\00120066.pdf
                                               I‐495_I‐270_Displays_Public
00120078   00120118   5/11/2020 13:10 Attach   Hearing_2020_40x30_rd52_FHWA.pdf                     .\VOL008\IMAGES\IMAGES003\00120078.pdf
                                               MLS_PublicHearingVideo2020_OverviewVideo_REVIE
00120119   00120142   5/11/2020 13:10 Attach   W3_clean.pdf                                         .\VOL008\IMAGES\IMAGES003\00120119.pdf
                                               Malich 824486 Response: Please put widening 270 on
00120143   00120144   5/11/2020 14:54 Email    hold ‐ Inquiry                                       .\VOL008\IMAGES\IMAGES003\00120143.pdf
                                               Wilder 824484 Response: Please reassess the need for
00120145   00120146   5/11/2020 14:54 Email    toll road ‐ Inquiry                                  .\VOL008\IMAGES\IMAGES003\00120145.pdf
00120147   00120148   5/11/2020 14:55 Email    Hess 824488 Response: 270/495 Project ‐ Inquiry      .\VOL008\IMAGES\IMAGES003\00120147.pdf
                                               Re: I‐495/I‐270: Updated NEPA and Procurement
00120149   00120149   5/11/2020 15:26 Email    Schedules please                                     .\VOL008\IMAGES\IMAGES003\00120149.pdf
                                               Lansworth 824485 Response: Maryland Beltway P3
00120150   00120151   5/11/2020 15:27 Attach   Toll Lane Project ‐ Inquiry                          .\VOL008\IMAGES\IMAGES003\00120150.pdf
                                               Malich 824486 Response: Please put widening 270 on
00120152   00120153   5/11/2020 15:27 Attach   hold ‐ Inquiry                                       .\VOL008\IMAGES\IMAGES003\00120152.pdf
00120154   00120154   5/11/2020 16:43 Email    Public Hearing and USACE                             .\VOL008\IMAGES\IMAGES003\00120154.pdf
                                               RE: MLS ‐ DEIS Public Hearing Materials ‐ FHWA
00120155   00120156    5/12/2020 7:49 Email    Review                                               .\VOL008\IMAGES\IMAGES003\00120155.pdf
00120157   00120162    5/12/2020 9:33 Email    RE: 3 Arrowood Terrace, Bethesda, MD 20817           .\VOL008\IMAGES\IMAGES003\00120157.pdf
00120163   00120164    5/12/2020 9:49 Email    RE: MLS DEIS NOA ‐ Contingency Plan                  .\VOL008\IMAGES\IMAGES003\00120163.pdf
00120165   00120166   5/12/2020 10:30 Email    HOV 3+/VPPP                                          .\VOL008\IMAGES\IMAGES003\00120165.pdf
00120167   00120168   5/12/2020 10:44 Email    FW: HOV 3+/VPPP                                      .\VOL008\IMAGES\IMAGES003\00120167.pdf
00120169   00120170   5/12/2020 11:16 Email    FW: HOV 3+/VPPP                                      .\VOL008\IMAGES\IMAGES003\00120169.pdf
00120171   00120296   5/12/2020 11:30 Attach   SHA Public Involvement Manual .pdf                   .\VOL008\IMAGES\IMAGES003\00120171.pdf
00120297   00120299   5/12/2020 13:18 Email    RE: HOV 3+/VPPP                                      .\VOL008\IMAGES\IMAGES003\00120297.pdf
00120300   00120302   5/12/2020 14:20 Email    RE_ HOV 3+_VPPP(1).pdf                               .\VOL008\IMAGES\IMAGES003\00120300.pdf
00120303   00120305   5/12/2020 14:40 Email    RE_ HOV 3+_VPPP.pdf                                  .\VOL008\IMAGES\IMAGES003\00120303.pdf
00120306   00120309   5/12/2020 14:57 Email    FW: HOV 3+/VPPP                                      .\VOL008\IMAGES\IMAGES003\00120306.pdf
                                               DEIS#2_FHWA Comment Errata
00120310   00120311   5/12/2020 15:12 Attach   Table_5.12.2020_MSAT.docx                            .\VOL008\IMAGES\IMAGES003\00120310.pdf
00120312   00120313   5/12/2020 15:14 Email    RE: HOV 3+/VPPP                                      .\VOL008\IMAGES\IMAGES003\00120312.pdf
00120314   00120315   5/12/2020 15:14 Email    RE: HOV 3+/VPPP                                      .\VOL008\IMAGES\IMAGES003\00120314.pdf
00120316   00120316   5/12/2020 16:30 Email    RE: 495/270 ‐ upcoming dates                         .\VOL008\IMAGES\IMAGES003\00120316.pdf
00120317   00120317   5/12/2020 16:32 Email    FW: 495/270 ‐ upcoming dates                         .\VOL008\IMAGES\IMAGES003\00120317.pdf
00120318   00120320   5/12/2020 17:27 Email    RE: 2018 Calibration Memo                            .\VOL008\IMAGES\IMAGES003\00120318.pdf
00120321   00120322   5/12/2020 18:08 Email    RE: 495/270 ‐ upcoming dates                         .\VOL008\IMAGES\IMAGES003\00120321.pdf
00120323   00120323    5/13/2020 8:25 Email    Transit Coordination Report                          .\VOL008\IMAGES\IMAGES003\00120323.pdf
00120324   00120438    5/13/2020 8:25 Attach   Transit Coordination Report May 2020.pdf             .\VOL008\IMAGES\IMAGES003\00120324.pdf
00120439   00120441    5/13/2020 8:36 Email    RE: Morningstar Cemetery photographs                 .\VOL008\IMAGES\IMAGES003\00120439.pdf

00120442   00120442    5/13/2020 8:36 Attach   Morningstar_Raw_Data_All_Grave_Conditions.xls         .\VOL008\IMAGES\IMAGES003\00120442.pdf      .\VOL008\NATIVES\NATIVES003\00120442.xls
00120443   00120443   5/13/2020 10:00 Email    Model Calibration                                     .\VOL008\IMAGES\IMAGES003\00120443.pdf
00120444   00120444   5/13/2020 10:46 Email    RE: I'm on a call you back after the call             .\VOL008\IMAGES\IMAGES003\00120444.pdf
00120445   00120446   5/13/2020 10:46 Attach   I‐495 I‐270 Managed Lanes Study ‐ Traffic Update      .\VOL008\IMAGES\IMAGES003\00120445.pdf
                                               to FHWA I‐270 & I‐495 P3 ‐ Traffic Work Effort_
00120447   00120450   5/13/2020 10:46 Attach   July2018.docx                                         .\VOL008\IMAGES\IMAGES003\00120447.pdf
                                               to
                                               FHWA_DRAFT_Outline_TrafficTechReport_I270I495ML
00120451   00120452   5/13/2020 10:46 Attach   _08.15.18docx.docx                                    .\VOL008\IMAGES\IMAGES003\00120451.pdf
                                               FW: I‐495/I‐270 Existing Traffic Files + 2040 Volumes
00120453   00120454   5/13/2020 10:46 Email    Question                                              .\VOL008\IMAGES\IMAGES003\00120453.pdf
                                               Katsouros 822811 Response/Update: Managed Lanes
00120455   00120456   5/13/2020 11:39 Email    Proposal                                              .\VOL008\IMAGES\IMAGES003\00120455.pdf
                                               Samuels 822807 Response/Update: Managed Lanes
00120457   00120458   5/13/2020 11:39 Email    Proposal                                              .\VOL008\IMAGES\IMAGES003\00120457.pdf
                                               Jacobson 822824 Response/Update: Managed Lanes
00120459   00120460   5/13/2020 11:40 Email    Proposal                                              .\VOL008\IMAGES\IMAGES003\00120459.pdf
                                               Batt 822817 Response/Update: Managed Lanes
00120461   00120462   5/13/2020 11:40 Email    Proposal                                              .\VOL008\IMAGES\IMAGES003\00120461.pdf
                                               Greene 822757 Response/Update: Managed Lanes
00120463   00120464   5/13/2020 11:41 Email    Proposal                                              .\VOL008\IMAGES\IMAGES003\00120463.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                          Page 83 of 263

00120465   00120466   5/13/2020 11:42 Email    Jung 824514 Response: No tolls and don't widen I‐270 .\VOL008\IMAGES\IMAGES003\00120465.pdf

00120467   00120469   5/13/2020 11:42 Email    Yaffe‐Oziel&Oziel 824527 Response : I 270 project    .\VOL008\IMAGES\IMAGES003\00120467.pdf
                                               Stumpf 824523 Response: I‐270 tolls and post‐Covid
00120470   00120471   5/13/2020 11:42 Email    realities                                            .\VOL008\IMAGES\IMAGES003\00120470.pdf
                                               Todhunter 824521 Response: Thoughts on the I‐495 &
00120472   00120473   5/13/2020 11:43 Email    I‐270 P3 Project                                     .\VOL008\IMAGES\IMAGES003\00120472.pdf
00120474   00120475   5/13/2020 11:44 Email    Bagin 824529 Response: Stop the 270 expansion        .\VOL008\IMAGES\IMAGES003\00120474.pdf
00120476   00120477   5/13/2020 11:52 Email    I‐495 and I‐270 MLS Section 106 Next Steps           .\VOL008\IMAGES\IMAGES003\00120476.pdf
00120478   00120478   5/13/2020 12:02 Email    VISSIM Calibration Memo                              .\VOL008\IMAGES\IMAGES003\00120478.pdf
00120479   00120637   5/13/2020 12:02 Attach   APP D of Traffic Tech Report.pdf                     .\VOL008\IMAGES\IMAGES003\00120479.pdf
00120638   00120639   5/13/2020 14:52 Email    I‐495 and I‐270 MLS Section 106 Next Steps           .\VOL008\IMAGES\IMAGES003\00120638.pdf
00120640   00120641   5/13/2020 15:07 Email    RE: Model Calibration                                .\VOL008\IMAGES\IMAGES003\00120640.pdf

00120642   00120643   5/13/2020 15:52 Email    I‐495 and I‐270 MLS Section 106 Next Steps(1).pdf    .\VOL008\IMAGES\IMAGES003\00120642.pdf
00120644   00120646   5/13/2020 18:33 Email    RE: Morningstar Cemetery photographs                 .\VOL008\IMAGES\IMAGES003\00120644.pdf
00120647   00120647   5/13/2020 18:33 Attach   Morningstart Marker Photo Log_5‐13‐20.xlsx           .\VOL008\IMAGES\IMAGES003\00120647.pdf    .\VOL008\NATIVES\NATIVES003\00120647.xlsx
                                               I‐495/I‐270 FHWA Coordination Meeting: I‐270 Pre‐
00120648   00120649   5/13/2020 21:46 Email    NEPA notes (5.5.20)                                  .\VOL008\IMAGES\IMAGES003\00120648.pdf
                                               20200505‐I‐270_FHWA Coordination Meeting
00120650   00120650   5/13/2020 21:46 Attach   Notes.docx                                           .\VOL008\IMAGES\IMAGES003\00120650.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: P3 Program
00120651   00120652   5/13/2020 21:48 Email    notes (5.5.20)                                       .\VOL008\IMAGES\IMAGES003\00120651.pdf
                                               2020‐05‐05_FHWA Coordination Meeting Notes_P3
00120653   00120653   5/13/2020 21:48 Attach   Program.docx                                         .\VOL008\IMAGES\IMAGES003\00120653.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: MLS notes
00120654   00120655   5/13/2020 21:48 Email    (5.5.20)                                             .\VOL008\IMAGES\IMAGES003\00120654.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: MLS notes
00120656   00120657   5/13/2020 21:48 Email    (5.5.20)                                             .\VOL008\IMAGES\IMAGES003\00120656.pdf
                                               FW: I‐495/I‐270 FHWA Coordination Meeting: MLS
00120658   00120659    5/14/2020 7:24 Email    notes (5.5.20)                                       .\VOL008\IMAGES\IMAGES003\00120658.pdf
                                               2020‐05‐05_FHWA Coordination Meeting
00120660   00120661    5/14/2020 7:24 Attach   Notes_MLS.DOCX                                       .\VOL008\IMAGES\IMAGES003\00120660.pdf
00120662   00120664    5/14/2020 8:01 Email    RE: I‐495 and I‐270 MLS Section 106 Next Steps       .\VOL008\IMAGES\IMAGES003\00120662.pdf
00120665   00120667    5/14/2020 8:01 Email    RE: I‐495 and I‐270 MLS Section 106 Next Steps       .\VOL008\IMAGES\IMAGES003\00120665.pdf

00120668   00120670    5/14/2020 9:01 Email    RE_ I‐495 and I‐270 MLS Section 106 Next Steps(4).pdf .\VOL008\IMAGES\IMAGES003\00120668.pdf
00120671   00120671    5/14/2020 9:33 Email    cover sheet                                           .\VOL008\IMAGES\IMAGES003\00120671.pdf

00120672   00120673    5/14/2020 9:33 Attach   MLS DEIS Signature Page_Draft_04‐01‐2020_mc.docx     .\VOL008\IMAGES\IMAGES003\00120672.pdf
00120674   00120674    5/14/2020 9:45 Email    RE: cover sheet                                      .\VOL008\IMAGES\IMAGES003\00120674.pdf

                                               Goddard 823321 Response: Do not move forward on I‐
00120675   00120677   5/14/2020 11:35 Email    495/I‐270 until environmental reviews are complete! .\VOL008\IMAGES\IMAGES003\00120675.pdf
                                               Ryan 824524 Response: Expanding I‐270 and the
00120678   00120679   5/14/2020 11:35 Email    Beltway                                             .\VOL008\IMAGES\IMAGES003\00120678.pdf
                                               Pachtman 822819 Response/Update: Managed Lanes
00120680   00120681   5/14/2020 11:36 Email    Proposal                                            .\VOL008\IMAGES\IMAGES003\00120680.pdf
                                               Gollub 823170 Response/Update: Managed Lanes
00120682   00120683   5/14/2020 11:36 Email    Proposal                                            .\VOL008\IMAGES\IMAGES003\00120682.pdf
                                               Subramanian 822823 Response/Update: Managed
00120684   00120685   5/14/2020 11:36 Email    Lanes Proposal                                      .\VOL008\IMAGES\IMAGES003\00120684.pdf
                                               Aronson 823177 Response/Update: Managed Lanes
00120686   00120687   5/14/2020 11:36 Email    Proposal                                            .\VOL008\IMAGES\IMAGES003\00120686.pdf
                                               Longo 823178 Response/Update: Managed Lanes
00120688   00120689   5/14/2020 11:36 Email    Proposal                                            .\VOL008\IMAGES\IMAGES003\00120688.pdf
                                               Kaplan 823150 Response/Update: Managed Lanes
00120690   00120691   5/14/2020 11:36 Email    Proposal                                            .\VOL008\IMAGES\IMAGES003\00120690.pdf
                                               Miller 823225 Response/Update: Managed Lanes
00120692   00120694   5/14/2020 11:36 Email    Proposal                                            .\VOL008\IMAGES\IMAGES003\00120692.pdf

00120695   00120697   5/14/2020 13:15 Email    RE_ I‐495 and I‐270 MLS Section 106 Next Steps(1).pdf .\VOL008\IMAGES\IMAGES003\00120695.pdf

00120698   00120700   5/14/2020 13:30 Email    RE_ I‐495 and I‐270 MLS Section 106 Next Steps.pdf   .\VOL008\IMAGES\IMAGES003\00120698.pdf
00120701   00120702   5/14/2020 13:35 Email    Re: Model Calibration                                .\VOL008\IMAGES\IMAGES003\00120701.pdf
                                               Tarbox 823194 Response/Update: Managed Lanes
00120703   00120704   5/14/2020 13:42 Email    Proposal                                             .\VOL008\IMAGES\IMAGES003\00120703.pdf
00120705   00120706   5/14/2020 14:10 Email    RE: EIS filing using e‐NEPA                          .\VOL008\IMAGES\IMAGES003\00120705.pdf
00120707   00120707   5/14/2020 14:52 Email    cover sheet                                          .\VOL008\IMAGES\IMAGES003\00120707.pdf
                                               Fw: MLS ‐ Public Hearing Agency Coordination
00120708   00120710   5/14/2020 15:17 Attach   Summary                                              .\VOL008\IMAGES\IMAGES003\00120708.pdf
00120711   00120713   5/14/2020 15:47 Email    RE: NPS Permit for I‐495 over Suitland Parkway       .\VOL008\IMAGES\IMAGES003\00120711.pdf
00120714   00120714   5/14/2020 15:49 Edoc     NOA.docx                                             .\VOL008\IMAGES\IMAGES003\00120714.pdf
00120715   00120717   5/14/2020 18:13 Edoc     MLS Batch 10 Response.pdf                            .\VOL008\IMAGES\IMAGES003\00120715.pdf
00120718   00120719   5/14/2020 18:13 Edoc     MLS Batch 8 Response.pdf                             .\VOL008\IMAGES\IMAGES003\00120718.pdf
00120720   00120721   5/14/2020 18:13 Edoc     MLS Batch 9 Response.pdf                             .\VOL008\IMAGES\IMAGES003\00120720.pdf
00120722   00120722    5/15/2020 8:58 Email    NPS/MDOT SHA Mitigation Discussion                   .\VOL008\IMAGES\IMAGES003\00120722.pdf

00120723   00120724    5/15/2020 8:58 Attach   2020‐02‐27_NPS Mitigation List near BW Parkway.docx .\VOL008\IMAGES\IMAGES003\00120723.pdf
00120725   00120726    5/15/2020 8:58 Email    NPS/MDOT SHA Mitigation Discussion                  .\VOL008\IMAGES\IMAGES003\00120725.pdf
00120727   00120728    5/15/2020 8:58 Attach   2020‐02‐10_NPS Mitigation List Near ALB.docx        .\VOL008\IMAGES\IMAGES003\00120727.pdf
00120729   00120744    5/15/2020 9:24 Attach   2020.05.12 FHWA Nason_Presentation.pdf              .\VOL008\IMAGES\IMAGES003\00120729.pdf
00120745   00120745   5/15/2020 10:08 Email    Re: DEIS Cover Page                                 .\VOL008\IMAGES\IMAGES003\00120745.pdf
00120746   00120746   5/15/2020 10:38 Email    RE: DEIS Cover Page                                 .\VOL008\IMAGES\IMAGES003\00120746.pdf
00120747   00120748   5/15/2020 11:04 Attach   BUILD Grant SMRT_Letter of Support.pdf              .\VOL008\IMAGES\IMAGES003\00120747.pdf
00120749   00120749   5/15/2020 11:49 Email    Re: DEIS Cover Page                                 .\VOL008\IMAGES\IMAGES003\00120749.pdf

00120750   00120750   5/15/2020 11:49 Attach   MLS DEIS Signature Page_Draft_05‐15‐2020 (1).docx    .\VOL008\IMAGES\IMAGES003\00120750.pdf
                                               RE: MLS ‐ DEIS Public Hearing Materials ‐ FHWA
00120751   00120753   5/15/2020 12:06 Email    Review                                               .\VOL008\IMAGES\IMAGES003\00120751.pdf
00120754   00120759   5/15/2020 12:27 Email    RE: Response to MDTA Board Meeting Questions         .\VOL008\IMAGES\IMAGES003\00120754.pdf
00120760   00120761   5/15/2020 12:59 Email    RE: DEIS Cover Page                                  .\VOL008\IMAGES\IMAGES003\00120760.pdf
00120762   00120762   5/15/2020 12:59 Attach   MLS DEIS Signature Page_Draft comments.docx          .\VOL008\IMAGES\IMAGES003\00120762.pdf
                                               Brown 824560 Response: I‐270 project needs to be
00120763   00120764   5/15/2020 14:14 Attach   delayed                                              .\VOL008\IMAGES\IMAGES003\00120763.pdf
00120765   00120766   5/15/2020 14:14 Attach   Chang 824554 Response: Pause P3 Project              .\VOL008\IMAGES\IMAGES003\00120765.pdf
00120767   00120767   5/15/2020 14:14 Attach   Longo 823178 Incoming.pdf                            .\VOL008\IMAGES\IMAGES003\00120767.pdf
                                               Longo 823178 Response/Update: Managed Lanes
00120768   00120769   5/15/2020 14:14 Attach   Proposal                                             .\VOL008\IMAGES\IMAGES003\00120768.pdf
00120770   00120770   5/15/2020 14:14 Attach   Miller 823225 Incoming_2020.01.14.pdf                .\VOL008\IMAGES\IMAGES003\00120770.pdf
                                               Miller 823225 Response/Update: Managed Lanes
00120771   00120773   5/15/2020 14:14 Attach   Proposal                                             .\VOL008\IMAGES\IMAGES003\00120771.pdf
00120774   00120774   5/15/2020 14:14 Attach   Subramanian 822823 Incoming.pdf                      .\VOL008\IMAGES\IMAGES003\00120774.pdf
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00120775   00120776   5/15/2020 14:14 Attach   Lanes Proposal                                         .\VOL008\IMAGES\IMAGES003\00120775.pdf
                                               Tarbox 823194 Response/Update: Managed Lanes
00120777   00120778   5/15/2020 14:14 Attach   Proposal                                               .\VOL008\IMAGES\IMAGES003\00120777.pdf
00120779   00120779   5/15/2020 14:14 Attach   Batt 822817 Incoming.pdf                               .\VOL008\IMAGES\IMAGES003\00120779.pdf
                                               Batt 822817 Response/Update: Managed Lanes
00120780   00120781   5/15/2020 14:14 Attach   Proposal                                               .\VOL008\IMAGES\IMAGES003\00120780.pdf
00120782   00120782   5/15/2020 14:14 Attach   Forbes 822846 Incoming.pdf                             .\VOL008\IMAGES\IMAGES003\00120782.pdf
                                               Forbes 822846 Response/Update: Managed Lanes
00120783   00120784   5/15/2020 14:14 Attach   Proposal                                               .\VOL008\IMAGES\IMAGES003\00120783.pdf
00120785   00120785   5/15/2020 14:14 Attach   Greene 822757 Incoming.pdf                             .\VOL008\IMAGES\IMAGES003\00120785.pdf
                                               Greene 822757 Response/Update: Managed Lanes
00120786   00120787   5/15/2020 14:14 Attach   Proposal                                               .\VOL008\IMAGES\IMAGES003\00120786.pdf

00120788   00120789   5/15/2020 14:14 Attach   Jung 824514 Response: No tolls and don't widen I‐270   .\VOL008\IMAGES\IMAGES003\00120788.pdf
00120790   00120791   5/15/2020 14:14 Attach   Knauer 824512 Response: P‐3 Project                    .\VOL008\IMAGES\IMAGES003\00120790.pdf
00120792   00120793   5/15/2020 14:14 Attach   Kochan 824513 Response: Don't widen 270                .\VOL008\IMAGES\IMAGES003\00120792.pdf
                                               Kraus‐Jakobsberg 824525 Response: Put the PP3
00120794   00120795   5/15/2020 14:14 Attach   project on hold                                        .\VOL008\IMAGES\IMAGES003\00120794.pdf
                                               Stewart 824522 Response: PLEASE pause the toll‐road
00120796   00120797   5/15/2020 14:14 Attach   project ASAP                                           .\VOL008\IMAGES\IMAGES003\00120796.pdf
                                               Stolar 824528 Response: Please put the P3 project on
00120798   00120799   5/15/2020 14:14 Attach   hold                                                   .\VOL008\IMAGES\IMAGES003\00120798.pdf
00120800   00120801   5/15/2020 15:39 Email    Public hearing materials comments                      .\VOL008\IMAGES\IMAGES003\00120800.pdf
00120802   00120803   5/17/2020 10:18 Email    RE: Public hearing materials comments                  .\VOL008\IMAGES\IMAGES003\00120802.pdf
00120804   00120804    5/18/2020 8:55 Email    FW: Traffic Model Topics                               .\VOL008\IMAGES\IMAGES003\00120804.pdf
00120805   00120807    5/18/2020 8:58 Email    RE: Traffic Model Topics                               .\VOL008\IMAGES\IMAGES003\00120805.pdf
00120808   00120810    5/18/2020 9:59 Email    FW_ Model Calibration(1).pdf                           .\VOL008\IMAGES\IMAGES003\00120808.pdf
00120811   00120813    5/18/2020 9:59 Attach   IAPA Calibration_05182020.pdf                          .\VOL008\IMAGES\IMAGES003\00120811.pdf
00120814   00120817    5/18/2020 9:59 Email    FW: Model Calibration                                  .\VOL008\IMAGES\IMAGES003\00120814.pdf
00120818   00120818   5/18/2020 10:15 Email    FW: VISSIM Calibration Memo                            .\VOL008\IMAGES\IMAGES003\00120818.pdf
00120819   00120819   5/18/2020 11:35 Edoc     2020.05.18_FW_ VISSIM Calibration Memo.pdf             .\VOL008\IMAGES\IMAGES003\00120819.pdf
                                               Ziek 824041 Response/Update: Managed Lanes
00120820   00120821   5/18/2020 16:29 Email    Proposal                                               .\VOL008\IMAGES\IMAGES003\00120820.pdf
                                               PRIORITY: I‐495 & I‐270 MLS Final DEIS/Draft Section
00120822   00120823   5/18/2020 16:37 Email    4(f) Evaluation                                        .\VOL008\IMAGES\IMAGES003\00120822.pdf
                                               PRIORITY: I‐495 & I‐270 MLS Final DEIS/Draft Section
00120824   00120825   5/18/2020 16:37 Email    4(f) Evaluation                                        .\VOL008\IMAGES\IMAGES003\00120824.pdf
00120826   00120984   5/18/2020 17:11 Edoc     DEIS_AppB_Alts_May2020.docx                            .\VOL008\IMAGES\IMAGES003\00120826.pdf
00120985   00121376   5/18/2020 17:31 Edoc     CulturalResourcesTR_Volume_1.pdf                       .\VOL008\IMAGES\IMAGES003\00120985.pdf
00121377   00121676   5/18/2020 17:31 Edoc     CulturalResourcesTR_Volume_4.pdf                       .\VOL008\IMAGES\IMAGES003\00121377.pdf

00121677   00121677   5/18/2020 17:45 Edoc     Appendix G MSAT Affected Network Development.pdf .\VOL008\IMAGES\IMAGES003\00121677.pdf

00121678   00121933   5/18/2020 17:48 Edoc     2020‐05‐18_NOISE TECHNICAL REPORT_final.docx           .\VOL008\IMAGES\IMAGES003\00121678.pdf
00121934   00121947   5/18/2020 18:01 Edoc     AMR_Appendices_April2020.pdf                           .\VOL008\IMAGES\IMAGES003\00121934.pdf
00121948   00122025   5/18/2020 18:04 Edoc     APP P_PITR_May2020.docx                                .\VOL008\IMAGES\IMAGES003\00121948.pdf
00122026   00122221   5/18/2020 18:05 Edoc     PITR_Appendices_May2020.pdf                            .\VOL008\IMAGES\IMAGES003\00122026.pdf

00122222   00122263   5/18/2020 18:05 Edoc     APPQ_Conceptual Mitigation Plan_May 2020.docx          .\VOL009\IMAGES\IMAGES001\00122222.pdf
00122264   00122275   5/18/2020 18:05 Edoc     APP_R_JPA_Part1.pdf                                    .\VOL009\IMAGES\IMAGES001\00122264.pdf
00122276   00122389   5/18/2020 18:06 Edoc     APP_R_JPA_Part10.pdf                                   .\VOL009\IMAGES\IMAGES001\00122276.pdf
00122390   00122474   5/18/2020 18:06 Edoc     APP_R_JPA_Part11.pdf                                   .\VOL009\IMAGES\IMAGES001\00122390.pdf
00122475   00122543   5/18/2020 18:06 Edoc     APP_R_JPA_Part14.pdf                                   .\VOL009\IMAGES\IMAGES001\00122475.pdf
00122544   00122611   5/18/2020 18:06 Edoc     APP_R_JPA_Part13.pdf                                   .\VOL009\IMAGES\IMAGES001\00122544.pdf
00122612   00122613   5/18/2020 18:06 Edoc     APP_R_JPA_Part17.pdf                                   .\VOL009\IMAGES\IMAGES001\00122612.pdf
00122614   00122639   5/18/2020 18:06 Edoc     APP_R_JPA_Part15.pdf                                   .\VOL009\IMAGES\IMAGES001\00122614.pdf
00122640   00122972   5/18/2020 18:06 Edoc     APP_R_JPA_Part12.pdf                                   .\VOL009\IMAGES\IMAGES001\00122640.pdf
00122973   00123030   5/18/2020 18:06 Edoc     APP_R_JPA_Part16.pdf                                   .\VOL009\IMAGES\IMAGES001\00122973.pdf
00123031   00123036   5/18/2020 18:07 Edoc     APP_R_JPA_Part4.pdf                                    .\VOL009\IMAGES\IMAGES001\00123031.pdf
00123037   00123369   5/18/2020 18:07 Edoc     APP_R_JPA_Part3.pdf                                    .\VOL009\IMAGES\IMAGES001\00123037.pdf
00123370   00123396   5/18/2020 18:07 Edoc     APP_R_JPA_Part7.pdf                                    .\VOL009\IMAGES\IMAGES001\00123370.pdf
00123397   00123527   5/18/2020 18:09 Edoc     APP_R_JPA_Part5.pdf                                    .\VOL009\IMAGES\IMAGES001\00123397.pdf
                                               Re: PRIORITY: I‐495 & I‐270 MLS Final DEIS/Draft
00123528   00123530   5/18/2020 18:30 Email    Section 4(f) Evaluation                                .\VOL009\IMAGES\IMAGES001\00123528.pdf
00123531   00123543   5/18/2020 19:27 Edoc     App C ‐ Soils Table_05.05.2020.pdf                     .\VOL009\IMAGES\IMAGES001\00123531.pdf
00123544   00123549   5/18/2020 19:27 Edoc     App D ‐ Overview and Key Maps_05.05.2020.pdf           .\VOL009\IMAGES\IMAGES001\00123544.pdf
00123550   00123563   5/18/2020 19:27 Edoc     App J ‐ Wetland FV Table_2020.05.05.pdf                .\VOL009\IMAGES\IMAGES001\00123550.pdf
00123564   00123567   5/18/2020 19:27 Edoc     App L ‐ Wildlife Table_2020.05.05.pdf                  .\VOL009\IMAGES\IMAGES001\00123564.pdf
                                               App K ‐ Aquatic Biota and Surface Water Sampling
00123568   00123569   5/18/2020 19:27 Edoc     Monitoring Map_2020.05.05.pdf                          .\VOL009\IMAGES\IMAGES001\00123568.pdf
                                               App M ‐ Aquatic Biota Monitoring
00123570   00123581   5/18/2020 19:28 Edoc     Table_05.05.2020.pdf                                   .\VOL009\IMAGES\IMAGES001\00123570.pdf
00123582   00123584   5/18/2020 19:28 Edoc     App O ‐ Sampled Fish Table_2020.05.05.pdf              .\VOL009\IMAGES\IMAGES001\00123582.pdf
                                               App Q ‐ Unique and Sensitive Areas
00123585   00123586   5/18/2020 19:28 Edoc     Map_2020.05.05.pdf                                     .\VOL009\IMAGES\IMAGES001\00123585.pdf
00123587   00123608   5/18/2020 19:28 Edoc     App R ‐ RTE Plant Species Survey_2020.05.05.pdf        .\VOL009\IMAGES\IMAGES001\00123587.pdf
                                               App P ‐ Bridge Survey Report for the NLEB and
00123609   00123761   5/18/2020 19:28 Edoc     IB_2020.05.05.pdf                                      .\VOL009\IMAGES\IMAGES001\00123609.pdf
                                               2020‐04‐30_MLS FHWA Errata with Responses DEIS
00123762   00123798    5/19/2020 7:40 Attach   V2_FHWAv2.docx                                         .\VOL009\IMAGES\IMAGES001\00123762.pdf

00123799   00123800    5/19/2020 7:40 Attach   RE: I‐495 & I‐270 MLS FHWA Errata with Responses  .\VOL009\IMAGES\IMAGES001\00123799.pdf
                                               App I ‐ NPS Property Additional
00123801   00123802    5/19/2020 8:10 Edoc     Information_05.05.2020.pdf                        .\VOL009\IMAGES\IMAGES001\00123801.pdf
00123803   00123806    5/19/2020 9:43 Email    REVIEW REQUESTED: 495/270 MLS Final DEIS          .\VOL009\IMAGES\IMAGES001\00123803.pdf
                                               DEIS_APPB_Appendix B_Alternative 9 Modified
00123807   00123928    5/19/2020 9:45 Edoc     Preliminary Evaluation Memorandum.pdf             .\VOL009\IMAGES\IMAGES001\00123807.pdf
                                               DEIS_APPB_Appendix A_MD 200 Diversion Alternative
00123929   00124056    5/19/2020 9:45 Edoc     Results Paper.pdf                                 .\VOL009\IMAGES\IMAGES001\00123929.pdf
                                               APP C_MLS_Traffic Tech Report_Updated May
00124057   00124214    5/19/2020 9:47 Edoc     2020.docx                                         .\VOL009\IMAGES\IMAGES001\00124057.pdf
                                               APP C_Appendices for Traffic Technical Report ‐
00124215   00125602    5/19/2020 9:51 Edoc     Updated May 2020.pdf                              .\VOL009\IMAGES\IMAGES001\00124215.pdf
00125603   00125816    5/19/2020 9:56 Edoc     AppendixD_Reduced.pdf                             .\VOL009\IMAGES\IMAGES001\00125603.pdf
00125817   00125820   5/19/2020 10:43 Email    REVIEW REQUESTED_ 495_270 MLS Final DEIS.pdf      .\VOL009\IMAGES\IMAGES001\00125817.pdf
00125821   00125821   5/19/2020 14:54 Email    Fw: Priority Letters                              .\VOL009\IMAGES\IMAGES001\00125821.pdf
00125822   00125828   5/19/2020 14:54 Attach   Montgomery County MDOT Priority Letter.pdf        .\VOL009\IMAGES\IMAGES001\00125822.pdf
00125829   00125842   5/19/2020 14:54 Attach   PG Co Priority Letter.pdf                         .\VOL009\IMAGES\IMAGES001\00125829.pdf
00125843   00125843   5/19/2020 15:21 Email    Final DEIS Comments                               .\VOL009\IMAGES\IMAGES001\00125843.pdf
00125844   00125844   5/19/2020 16:16 Email    FINAL DEIS.pdf                                    .\VOL009\IMAGES\IMAGES001\00125844.pdf
00125845   00125962   5/19/2020 16:50 Edoc     CEAEJTR_Appendices_051520.pdf                     .\VOL009\IMAGES\IMAGES001\00125845.pdf
00125963   00126415   5/19/2020 17:02 Edoc     AQTR_AppH.pdf                                     .\VOL009\IMAGES\IMAGES001\00125963.pdf

00126416   00126547   5/19/2020 17:03 Edoc     DEIS_AppI_AQ TR_May 2020.docx.o41kky0.partial          .\VOL009\IMAGES\IMAGES001\00126416.pdf
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00126548   00126637   5/19/2020 17:07 Edoc     Noise Tech Report Exhibits_May 2020.pdf              .\VOL009\IMAGES\IMAGES001\00126548.pdf

00126638   00126639   5/19/2020 17:44 Edoc     RE_ I‐495 and I‐270 MLS Section 106 Next Steps.pdf   .\VOL009\IMAGES\IMAGES001\00126638.pdf
                                               FW_ PRIORITY_ I‐495 & I‐270 MLS Final
00126640   00126643   5/19/2020 18:00 Email    DEIS_Draf...(1).pdf                                  .\VOL009\IMAGES\IMAGES001\00126640.pdf
00126644   00126841   5/19/2020 18:10 Edoc     I‐495 NRTR DRAFT_2020.05.14_CLEAN.docx               .\VOL009\IMAGES\IMAGES001\00126644.pdf
00126842   00126886   5/19/2020 18:12 Edoc     App A ‐ Impacts.pdf                                  .\VOL009\IMAGES\IMAGES001\00126842.pdf

00126887   00126969   5/19/2020 18:12 Edoc     App E ‐ Delineated Features Table_05.05.2020.pdf     .\VOL009\IMAGES\IMAGES001\00126887.pdf
                                               App F ‐ Delineated Features
00126970   00127100   5/19/2020 18:14 Edoc     Mapbook_05.05.2020.pdf.57mnfy9.partial               .\VOL009\IMAGES\IMAGES001\00126970.pdf
00127101   00127154   5/19/2020 18:15 Edoc     App N ‐ Agency Correspondence_2020.05.13.pdf         .\VOL009\IMAGES\IMAGES001\00127101.pdf
00127155   00127248   5/19/2020 18:16 Edoc     MLS_ ICE Tech Report_May 2020.docx                   .\VOL009\IMAGES\IMAGES001\00127155.pdf
00127249   00127293   5/19/2020 18:17 Edoc     AMR_April2020.pdf                                    .\VOL009\IMAGES\IMAGES001\00127249.pdf
00127294   00127326   5/19/2020 18:17 Edoc     DRAFT_CMP.pdf                                        .\VOL009\IMAGES\IMAGES001\00127294.pdf
00127327   00127364   5/19/2020 18:18 Edoc     DEIS_AppK_HazMat _May 2020.docx                      .\VOL009\IMAGES\IMAGES001\00127327.pdf
00127365   00127365   5/20/2020 13:28 Email    Final DEIS Chapter 4 Comments                        .\VOL009\IMAGES\IMAGES001\00127365.pdf
00127366   00127366   5/20/2020 13:28 Attach   Final DEIS Ch 4 Comments.docx                        .\VOL009\IMAGES\IMAGES001\00127366.pdf
00127367   00127367   5/20/2020 13:53 Email    Chapter 4 ‐ one additional comment                   .\VOL009\IMAGES\IMAGES001\00127367.pdf
00127368   00127368   5/20/2020 14:24 Edoc     MLS_052020_1.pdf                                     .\VOL009\IMAGES\IMAGES001\00127368.pdf
00127369   00127369   5/20/2020 14:25 Edoc     MLS_052020_2.pdf                                     .\VOL009\IMAGES\IMAGES001\00127369.pdf
00127370   00127370   5/20/2020 14:26 Edoc     MLS_052020_4.pdf                                     .\VOL009\IMAGES\IMAGES001\00127370.pdf
00127371   00127371   5/20/2020 14:27 Edoc     MLS_052020_5.pdf                                     .\VOL009\IMAGES\IMAGES001\00127371.pdf
00127372   00127372   5/20/2020 14:28 Edoc     MLS_052020_6.pdf                                     .\VOL009\IMAGES\IMAGES001\00127372.pdf
00127373   00127373   5/20/2020 14:29 Edoc     MLS_052020_7.pdf                                     .\VOL009\IMAGES\IMAGES001\00127373.pdf
00127374   00127374   5/20/2020 14:30 Edoc     MLS_052020_8.pdf                                     .\VOL009\IMAGES\IMAGES001\00127374.pdf
00127375   00127375   5/20/2020 14:31 Edoc     MLS_052020_9.pdf                                     .\VOL009\IMAGES\IMAGES001\00127375.pdf
00127376   00127376   5/20/2020 14:32 Edoc     MLS_052020_10.pdf                                    .\VOL009\IMAGES\IMAGES001\00127376.pdf
00127377   00127377   5/20/2020 14:33 Edoc     MLS_052020_11.pdf                                    .\VOL009\IMAGES\IMAGES001\00127377.pdf
00127378   00127378   5/20/2020 14:33 Edoc     MLS_052020_12.pdf                                    .\VOL009\IMAGES\IMAGES001\00127378.pdf
00127379   00127379   5/20/2020 14:34 Edoc     MLS_052020_13.pdf                                    .\VOL009\IMAGES\IMAGES001\00127379.pdf
00127380   00127380   5/20/2020 14:35 Edoc     MLS_052020_14.pdf                                    .\VOL009\IMAGES\IMAGES001\00127380.pdf
00127381   00127381   5/20/2020 14:36 Edoc     MLS_052020_15.pdf                                    .\VOL009\IMAGES\IMAGES001\00127381.pdf
00127382   00127382   5/20/2020 14:37 Edoc     MLS_052020_16.pdf                                    .\VOL009\IMAGES\IMAGES001\00127382.pdf
00127383   00127383   5/20/2020 14:38 Edoc     MLS_052020_17.pdf                                    .\VOL009\IMAGES\IMAGES001\00127383.pdf
00127384   00127384   5/20/2020 14:39 Edoc     MLS_052020_18.pdf                                    .\VOL009\IMAGES\IMAGES001\00127384.pdf
00127385   00127385   5/20/2020 14:40 Edoc     MLS_052020_19.pdf                                    .\VOL009\IMAGES\IMAGES001\00127385.pdf
00127386   00127386   5/20/2020 14:40 Edoc     MLS_052020_20.pdf                                    .\VOL009\IMAGES\IMAGES001\00127386.pdf
00127387   00127387   5/20/2020 14:41 Edoc     MLS_052020_21.pdf                                    .\VOL009\IMAGES\IMAGES001\00127387.pdf
00127388   00127388   5/20/2020 14:42 Edoc     MLS_052020_22.pdf                                    .\VOL009\IMAGES\IMAGES001\00127388.pdf
00127389   00127390   5/20/2020 14:49 Attach   Batt Response‐signed.pdf                             .\VOL009\IMAGES\IMAGES001\00127389.pdf
                                               Batt 822817 Response/Update: Managed Lanes
00127391   00127392   5/20/2020 14:49 Attach   Proposal                                             .\VOL009\IMAGES\IMAGES001\00127391.pdf
                                               Re: PRIORITY: I‐495 & I‐270 MLS Final DEIS/Draft
00127393   00127393   5/20/2020 15:25 Email    Section 4(f) Evaluation                              .\VOL009\IMAGES\IMAGES001\00127393.pdf
                                               FW: Action Items/Notes from GWMP Archaeological
00127394   00127396   5/20/2020 16:00 Email    Sites discussion 5/20/2020                           .\VOL009\IMAGES\IMAGES001\00127394.pdf
                                               RE: PRIORITY: I‐495 & I‐270 MLS Final DEIS/Draft
00127397   00127400   5/20/2020 16:23 Email    Section 4(f) Evaluation                              .\VOL009\IMAGES\IMAGES001\00127397.pdf
00127401   00127401   5/20/2020 16:29 Email    Final DEIS Chapter 6 comments                        .\VOL009\IMAGES\IMAGES001\00127401.pdf
00127402   00127402   5/20/2020 16:29 Attach   Final DEIS Chapter 6 Comments.docx                   .\VOL009\IMAGES\IMAGES001\00127402.pdf
                                               Re: PRIORITY: I‐495 & I‐270 MLS Final DEIS/Draft
00127403   00127404   5/20/2020 16:52 Email    Section 4(f) Evaluation                              .\VOL009\IMAGES\IMAGES001\00127403.pdf
                                               FW_ Action Items_Notes from GWMP
00127405   00127407   5/20/2020 17:00 Email    Archaeological...(1).pdf                             .\VOL009\IMAGES\IMAGES001\00127405.pdf
                                               FW_ PRIORITY_ I‐495 & I‐270 MLS Final
00127408   00127409   5/20/2020 17:41 Email    DEIS_Draf....pdf                                     .\VOL009\IMAGES\IMAGES001\00127408.pdf
00127410   00127411    5/21/2020 8:01 Email    Zenzen 824624 Response: I‐270 P3 Project             .\VOL009\IMAGES\IMAGES001\00127410.pdf

00127412   00127414    5/21/2020 8:25 Email    RE: I‐495 & I‐270 MLS FHWA Errata with Responses     .\VOL009\IMAGES\IMAGES001\00127412.pdf
00127415   00127431    5/21/2020 8:43 Attach   MLS_ExecSummary_05‐18‐2020.pdf                       .\VOL009\IMAGES\IMAGES001\00127415.pdf
00127432   00127773    5/21/2020 8:43 Attach   MLS_DEIS_05‐18‐2020.pdf                              .\VOL009\IMAGES\IMAGES001\00127432.pdf
                                               RE_ I‐495 & I‐270 MLS FHWA Errata with
00127774   00127775    5/21/2020 9:25 Email    Responses.pdf                                        .\VOL009\IMAGES\IMAGES001\00127774.pdf

00127776   00127778    5/21/2020 9:25 Attach   DEIS_APPB_Appendix B_Alternative 9 Modified Pr.pdf   .\VOL009\IMAGES\IMAGES001\00127776.pdf
00127779   00127795    5/21/2020 9:25 Attach   MLS_DEIS_05‐18‐2020 CH3.pdf                          .\VOL009\IMAGES\IMAGES001\00127779.pdf
00127796   00127796   5/21/2020 11:12 Attach   Support the Maryland Traffic Relief Plan!            .\VOL009\IMAGES\IMAGES001\00127796.pdf
00127797   00127801   5/21/2020 11:53 Email    RE: REVIEW REQUESTED: 495/270 MLS Final DEIS         .\VOL009\IMAGES\IMAGES001\00127797.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00127802   00127805   5/21/2020 11:53 Attach   Errata with Responses                                .\VOL009\IMAGES\IMAGES001\00127802.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00127806   00127809   5/21/2020 11:57 Attach   Errata with Responses                                .\VOL009\IMAGES\IMAGES001\00127806.pdf
00127810   00127811   5/21/2020 12:18 Email    FW: REVIEW REQUESTED: 495/270 MLS Final DEIS         .\VOL009\IMAGES\IMAGES001\00127810.pdf
00127812   00127813   5/21/2020 12:18 Email    FW: REVIEW REQUESTED: 495/270 MLS Final DEIS         .\VOL009\IMAGES\IMAGES001\00127812.pdf
00127814   00127814   5/21/2020 12:20 Email    Appendix F Section 4(f) Comments                     .\VOL009\IMAGES\IMAGES001\00127814.pdf
00127815   00127815   5/21/2020 12:20 Attach   App F FInal DEIS Comments.docx                       .\VOL009\IMAGES\IMAGES001\00127815.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00127816   00127819   5/21/2020 12:53 Attach   Errata with Responses                                .\VOL009\IMAGES\IMAGES001\00127816.pdf
00127820   00127820   5/21/2020 13:03 Email    PA and 106 Volume 1                                  .\VOL009\IMAGES\IMAGES001\00127820.pdf
00127821   00127828   5/21/2020 13:35 Attach   Programmatic Agreement.pdf                           .\VOL009\IMAGES\IMAGES001\00127821.pdf
00127829   00127829   5/21/2020 13:35 Email    RE: DEIS comment                                     .\VOL009\IMAGES\IMAGES001\00127829.pdf
00127830   00127830   5/21/2020 13:50 Email    DEIS additional comments Chapter 2                   .\VOL009\IMAGES\IMAGES001\00127830.pdf
00127831   00127831   5/21/2020 13:51 Email    FW: PA and 106 Volume 1                              .\VOL009\IMAGES\IMAGES001\00127831.pdf
00127832   00127832   5/21/2020 13:52 Email    FW: DEIS additional comments Chapter 2               .\VOL009\IMAGES\IMAGES001\00127832.pdf
00127833   00127833   5/21/2020 14:04 Email    Re: DEIS additional comments Chapter 2               .\VOL009\IMAGES\IMAGES001\00127833.pdf
00127834   00127834   5/21/2020 14:05 Email    national register nomination form                    .\VOL009\IMAGES\IMAGES001\00127834.pdf
00127835   00127835   5/21/2020 14:16 Email    Re: national register nomination form                .\VOL009\IMAGES\IMAGES001\00127835.pdf
00127836   00127837   5/21/2020 15:40 Email    RE_ national register nomination form .pdf           .\VOL009\IMAGES\IMAGES001\00127836.pdf

00127838   00128093   5/21/2020 16:20 Edoc     2020‐05‐18_NOISE TECHNICAL REPORT_final.docx         .\VOL009\IMAGES\IMAGES001\00127838.pdf

00128094   00128094   5/21/2020 16:21 Edoc     2020‐05‐22_MLS FHWA Errata Otto Noise TBR.docx       .\VOL009\IMAGES\IMAGES001\00128094.pdf
00128095   00128095   5/21/2020 16:29 Email    Appendix F‐ Additional Comments                      .\VOL009\IMAGES\IMAGES001\00128095.pdf
00128096   00128101   5/21/2020 16:40 Email    RE: REVIEW REQUESTED: 495/270 MLS Final DEIS         .\VOL009\IMAGES\IMAGES001\00128096.pdf
00128102   00128102   5/21/2020 16:58 Email    Appendix J 495 MLS Noise TBR final review            .\VOL009\IMAGES\IMAGES001\00128102.pdf
00128103   00128103   5/21/2020 16:59 Email    RE: 495 MLS Noise TBR final review                   .\VOL009\IMAGES\IMAGES001\00128103.pdf
00128104   00128104   5/21/2020 17:06 Email    RE: Compiling of comments on Final DEIS              .\VOL009\IMAGES\IMAGES001\00128104.pdf
00128105   00128105   5/21/2020 17:17 Email    RE: Appendix F‐ Additional Comments                  .\VOL009\IMAGES\IMAGES001\00128105.pdf
                                               RE: REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA
00128106   00128109   5/21/2020 17:26 Attach   Errata with Responses                                .\VOL009\IMAGES\IMAGES001\00128106.pdf
                                               RE_ REVIEW REQUESTED_ 495_270 MLS Final
00128110   00128113   5/21/2020 17:40 Email    DEIS(3).pdf                                          .\VOL009\IMAGES\IMAGES001\00128110.pdf
                                               Final DEIS Toll Related Comments from FHWA
00128114   00128115   5/21/2020 17:43 Attach   05_19_2020.docx                                      .\VOL009\IMAGES\IMAGES001\00128114.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                           Page 86 of 263

00128116   00128116   5/21/2020 17:47 Email    Re: Appendix F‐ Additional Comments                  .\VOL009\IMAGES\IMAGES001\00128116.pdf

00128117   00128118    5/22/2020 7:15 Email    Fwd: May 22nd GWMP ‐ VDOT meeting (River Road)       .\VOL009\IMAGES\IMAGES001\00128117.pdf
00128119   00128119    5/22/2020 7:15 Attach   River Road Interchange May 22, 2020.pdf              .\VOL009\IMAGES\IMAGES001\00128119.pdf
00128120   00128121    5/22/2020 8:42 Email    RE: Appendix F‐ Additional Comments                  .\VOL009\IMAGES\IMAGES001\00128120.pdf
00128122   00128122   5/22/2020 10:47 Email    RE: Toll Related Comments                            .\VOL009\IMAGES\IMAGES001\00128122.pdf
00128123   00128125   5/22/2020 12:21 Attach   Carsondale.docx                                      .\VOL009\IMAGES\IMAGES001\00128123.pdf
00128126   00128126   5/22/2020 14:12 Attach   Boswell 823757 Incoming.pdf                          .\VOL009\IMAGES\IMAGES001\00128126.pdf
                                               Boswell 823757 Response/Update: Support of the I‐
00128127   00128128   5/22/2020 14:12 Attach   495 and I‐270 P3 Program                             .\VOL009\IMAGES\IMAGES001\00128127.pdf
                                               Costello 823760 Response/Update: Support of the I‐
00128129   00128130   5/22/2020 14:12 Attach   495 and I‐270 P3 Program                             .\VOL009\IMAGES\IMAGES001\00128129.pdf
00128131   00128131   5/22/2020 14:12 Attach   Crumley 823759 Incoming.pdf                          .\VOL009\IMAGES\IMAGES001\00128131.pdf
                                               Crumley 823759 Response/Update: Support of the I‐
00128132   00128133   5/22/2020 14:12 Attach   495 and I‐270 P3 Program                             .\VOL009\IMAGES\IMAGES001\00128132.pdf
00128134   00128134   5/22/2020 14:12 Attach   Grahm 823762 Incoming.pdf                            .\VOL009\IMAGES\IMAGES001\00128134.pdf
                                               Graham 823762 Response/Update: Support of the I‐
00128135   00128136   5/22/2020 14:12 Attach   495 and I‐270 P3 Program                             .\VOL009\IMAGES\IMAGES001\00128135.pdf
00128137   00128137   5/22/2020 14:12 Attach   Henry 823763 Incoming.pdf                            .\VOL009\IMAGES\IMAGES001\00128137.pdf
                                               Henry 823763 Response/Update: Support of the I‐495
00128138   00128139   5/22/2020 14:12 Attach   and I‐270 P3 Program                                 .\VOL009\IMAGES\IMAGES001\00128138.pdf
00128140   00128140   5/22/2020 14:12 Attach   Snyder 823766 Incoming.pdf                           .\VOL009\IMAGES\IMAGES001\00128140.pdf
                                               Snyder 823766 Response/Update: Support of the I‐495
00128141   00128142   5/22/2020 14:12 Attach   and I‐270 P3 Program                                 .\VOL009\IMAGES\IMAGES001\00128141.pdf
00128143   00128143   5/22/2020 14:12 Attach   Gigante 823761 Incoming.pdf                          .\VOL009\IMAGES\IMAGES001\00128143.pdf
                                               Giganti 823761 Response/Update: Support of the I‐495
00128144   00128144   5/22/2020 14:12 Attach   and I‐270 P3 Program                                 .\VOL009\IMAGES\IMAGES001\00128144.pdf
                                               RE_ REVIEW REQUESTED_ 495_270 MLS Final
00128145   00128149   5/22/2020 14:25 Email    DEIS(4).pdf                                          .\VOL009\IMAGES\IMAGES001\00128145.pdf
00128150   00128150   5/22/2020 15:05 Email    Carsondale Historic District                         .\VOL009\IMAGES\IMAGES001\00128150.pdf
00128151   00128151   5/22/2020 15:14 Email    Response to comments on final DEIS                   .\VOL009\IMAGES\IMAGES001\00128151.pdf
00128152   00128152   5/22/2020 15:14 Email    Response to comments on final DEIS                   .\VOL009\IMAGES\IMAGES001\00128152.pdf
00128153   00128154   5/22/2020 15:19 Email    FW: Carsondale Historic District                     .\VOL009\IMAGES\IMAGES001\00128153.pdf

00128155   00128156   5/22/2020 15:48 Email    FW: I‐495 & I‐270 MLS FHWA Errata with Responses     .\VOL009\IMAGES\IMAGES001\00128155.pdf
00128157   00128158   5/22/2020 17:34 Email    Fwd: Revised draft Alternative 5                     .\VOL009\IMAGES\IMAGES001\00128157.pdf
00128159   00128160   5/22/2020 21:21 Email    FW: Response to comments on final DEIS               .\VOL009\IMAGES\IMAGES001\00128159.pdf

00128161   00128161   5/22/2020 21:40 Attach   Review Requested: Alternative 5 Rationale for DEIS   .\VOL009\IMAGES\IMAGES001\00128161.pdf
00128162   00128162   5/22/2020 21:49 Email    Appendix I Comment                                   .\VOL009\IMAGES\IMAGES001\00128162.pdf
00128163   00128163    5/26/2020 9:00 Attach   image001.jpg                                         .\VOL009\IMAGES\IMAGES001\00128163.pdf
00128164   00128164    5/26/2020 9:00 Attach   image002.jpg                                         .\VOL009\IMAGES\IMAGES001\00128164.pdf
                                               I‐495 I‐270 MLS_Draft Air Quality Analysis
00128165   00128173   5/26/2020 10:07 Attach   Methodology_May 2018 hepn 3.docx                     .\VOL009\IMAGES\IMAGES001\00128165.pdf
                                               FW_ REVIEW REQUESTED_ I‐495 & I‐270 MLS FHWA
00128174   00128177   5/26/2020 10:16 Email    Er....pdf                                            .\VOL009\IMAGES\IMAGES001\00128174.pdf
00128178   00128179   5/26/2020 10:28 Email    RE: MLS OFD text                                     .\VOL009\IMAGES\IMAGES001\00128178.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS AQ
00128180   00128184   5/26/2020 10:33 Email    Meth....pdf                                          .\VOL009\IMAGES\IMAGES001\00128180.pdf
00128185   00128189   5/26/2020 10:36 Email    RE: REVIEW REQUESTED: 495/270 MLS Final DEIS         .\VOL009\IMAGES\IMAGES001\00128185.pdf
00128190   00128191   5/26/2020 10:44 Email    FW: AQ reports                                       .\VOL009\IMAGES\IMAGES001\00128190.pdf
00128192   00128195   5/26/2020 11:03 Email    RE: REVIEW REQUESTED: 495/270 MLS Final DEIS         .\VOL009\IMAGES\IMAGES001\00128192.pdf
00128196   00128196   5/26/2020 11:25 Email    Exec Summary & OFD Comments                          .\VOL009\IMAGES\IMAGES001\00128196.pdf
00128197   00128198   5/26/2020 11:34 Email    FW: REVIEW REQUESTED: 495/270 MLS Final DEIS         .\VOL009\IMAGES\IMAGES001\00128197.pdf
                                               RE_ REVIEW REQUESTED_ 495_270 MLS Final
00128199   00128203   5/26/2020 11:36 Email    DEIS(1).pdf                                          .\VOL009\IMAGES\IMAGES001\00128199.pdf

00128204   00128207   5/26/2020 12:03 Email    RE_ REVIEW REQUESTED_ 495_270 MLS Final DEIS.pdf .\VOL009\IMAGES\IMAGES001\00128204.pdf
                                               DRAFT FOR Sharon Vaughn ‐ Please double check FW:
                                               REVIEW REQUESTED: I‐495 & I‐270 MLS FHWA Errata
00128208   00128212   5/26/2020 12:10 Email    with Responses                                    .\VOL009\IMAGES\IMAGES001\00128208.pdf
00128213   00128213   5/26/2020 13:00 Email    NPS Comments/Chapter 4                            .\VOL009\IMAGES\IMAGES001\00128213.pdf
00128214   00128214   5/26/2020 13:01 Edoc     MLS DEIS_Final Revisions.docx                     .\VOL009\IMAGES\IMAGES001\00128214.pdf
00128215   00128215   5/26/2020 13:13 Email    MLS DEIS comments                                 .\VOL009\IMAGES\IMAGES001\00128215.pdf
00128216   00128232   5/26/2020 13:57 Attach   FHWA Comments on 05‐18‐2020 DEIS.DOCX             .\VOL009\IMAGES\IMAGES001\00128216.pdf

00128233   00128234   5/26/2020 14:39 Email    RE_ PRIORITY_ I‐495 & I‐270 MLS Final DEIS_Draf....pdf .\VOL009\IMAGES\IMAGES001\00128233.pdf
00128235   00128236   5/26/2020 15:19 Attach   4(f) DC.docx                                           .\VOL009\IMAGES\IMAGES001\00128235.pdf
00128237   00128238   5/26/2020 16:09 Email    RE: 770 Seven Locks Rd Development Plans               .\VOL009\IMAGES\IMAGES001\00128237.pdf
00128239   00128239   5/26/2020 16:17 Attach   Decker 823790 Incoming.pdf                             .\VOL009\IMAGES\IMAGES001\00128239.pdf
00128240   00128240   5/26/2020 16:17 Attach   Kim 823792 Incoming.pdf                                .\VOL009\IMAGES\IMAGES001\00128240.pdf
00128241   00128241   5/26/2020 16:17 Attach   Hines 823789 Incoming.pdf                              .\VOL009\IMAGES\IMAGES001\00128241.pdf
00128242   00128242   5/26/2020 16:17 Attach   Walters 823767 Incoming.pdf                            .\VOL009\IMAGES\IMAGES001\00128242.pdf
00128243   00128243   5/26/2020 16:17 Attach   Miles 823794 Incoming.pdf                              .\VOL009\IMAGES\IMAGES001\00128243.pdf
00128244   00128244   5/26/2020 16:17 Attach   Paul 823796 Incoming.pdf                               .\VOL009\IMAGES\IMAGES001\00128244.pdf
00128245   00128245   5/26/2020 16:17 Attach   Ramakrishnan 823795 Incoming.pdf                       .\VOL009\IMAGES\IMAGES001\00128245.pdf
00128246   00128246   5/26/2020 16:17 Attach   Williams 823798 Incoming.pdf                           .\VOL009\IMAGES\IMAGES001\00128246.pdf
00128247   00128247   5/26/2020 16:17 Attach   Nulsen 823797 Incoming.pdf                             .\VOL009\IMAGES\IMAGES001\00128247.pdf
00128248   00128248   5/26/2020 16:23 Email    Moses Hall, Carsondale                                 .\VOL009\IMAGES\IMAGES001\00128248.pdf
00128249   00128250   5/26/2020 16:39 Email    FW_ Carsondale Historic District(1).pdf                .\VOL009\IMAGES\IMAGES001\00128249.pdf
00128251   00128252   5/26/2020 16:40 Email    FW_ Carsondale Historic District.pdf                   .\VOL009\IMAGES\IMAGES001\00128251.pdf
                                               Freedman 824772 Response: Please pause the
00128253   00128254   5/26/2020 17:25 Email    expansion project                                      .\VOL009\IMAGES\IMAGES001\00128253.pdf
00128255   00128255   5/26/2020 17:53 Email    FW_ Moses Hall, Carsondale.pdf                         .\VOL009\IMAGES\IMAGES001\00128255.pdf
00128256   00128257   5/26/2020 18:06 Email    Re: REVIEW REQUESTED: 495/270 MLS Final DEIS           .\VOL009\IMAGES\IMAGES001\00128256.pdf
00128258   00128258   5/26/2020 18:09 Email    Re: Moses Hall, Carsondale                             .\VOL009\IMAGES\IMAGES001\00128258.pdf
00128259   00128260   5/26/2020 18:44 Email    FW: REVIEW REQUESTED: 495/270 MLS Final DEIS           .\VOL009\IMAGES\IMAGES001\00128259.pdf
                                               FW_ REVIEW REQUESTED_ 495_270 MLS Final
00128261   00128262   5/26/2020 19:44 Email    DEIS(1).pdf                                            .\VOL009\IMAGES\IMAGES001\00128261.pdf
00128263   00128265    5/27/2020 8:09 Email    RE: REVIEW REQUESTED: 495/270 MLS Final DEIS           .\VOL009\IMAGES\IMAGES001\00128263.pdf
00128266   00128267    5/27/2020 8:35 Email    RE: FINAL DEIS                                         .\VOL009\IMAGES\IMAGES001\00128266.pdf
00128268   00128269    5/27/2020 8:37 Email    RE: REVIEW REQUESTED: 495/270 MLS Final DEIS           .\VOL009\IMAGES\IMAGES001\00128268.pdf
00128270   00128271    5/27/2020 8:39 Email    RE: Moses Hall, Carsondale                             .\VOL009\IMAGES\IMAGES001\00128270.pdf
                                               RE_ REVIEW REQUESTED_ 495_270 MLS Final
00128272   00128274    5/27/2020 9:09 Email    DEIS(12).pdf                                           .\VOL009\IMAGES\IMAGES001\00128272.pdf
00128275   00128276    5/27/2020 9:13 Email    RE_ FINAL DEIS.pdf                                     .\VOL009\IMAGES\IMAGES001\00128275.pdf
                                               Ramakrishnan 823795 Response/Update: Support of
00128277   00128278   5/27/2020 11:37 Attach   the I‐495 and I‐270 P3 Program                         .\VOL009\IMAGES\IMAGES001\00128277.pdf
                                               Decker 823790 Response/Update: Support of the I‐495
00128279   00128280   5/27/2020 11:37 Attach   and I‐270 P3 Program                                   .\VOL009\IMAGES\IMAGES001\00128279.pdf
                                               Hines 823789 Response/Update: Support of the I‐495
00128281   00128282   5/27/2020 11:37 Attach   and I‐270 P3 Program                                   .\VOL009\IMAGES\IMAGES001\00128281.pdf
                                               Kim 823792 Response/Update: Support of the I‐495
00128283   00128284   5/27/2020 11:37 Attach   and I‐270 P3 Program                                   .\VOL009\IMAGES\IMAGES001\00128283.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                         Page 87 of 263

                                               Walters 823767 Response/Update: Support of the I‐
00128285   00128286   5/27/2020 11:37 Attach   495 and I‐270 P3 Program                              .\VOL009\IMAGES\IMAGES001\00128285.pdf
                                               Williams 823798 Response/Update: Support of the I‐
00128287   00128288   5/27/2020 11:38 Attach   495 and I‐270 P3 Program                              .\VOL009\IMAGES\IMAGES001\00128287.pdf
00128289   00128289   5/27/2020 11:38 Attach   Windley 823768 Incoming.pdf                           .\VOL009\IMAGES\IMAGES001\00128289.pdf
                                               Windley 823768 Response/Update: Support of the I‐
00128290   00128291   5/27/2020 11:38 Attach   495 and I‐270 P3 Program                              .\VOL009\IMAGES\IMAGES001\00128290.pdf
                                               Miles 823794 Response/Update: Support of the I‐495
00128292   00128293   5/27/2020 11:38 Attach   and I‐270 P3 Program                                  .\VOL009\IMAGES\IMAGES001\00128292.pdf
00128294   00128294   5/27/2020 11:38 Attach   Mullican 823805 Incoming.pdf                          .\VOL009\IMAGES\IMAGES001\00128294.pdf
                                               Mullican 823805 Response/Update: Support of the I‐
00128295   00128296   5/27/2020 11:38 Attach   495 and I‐270 P3 Program                              .\VOL009\IMAGES\IMAGES001\00128295.pdf
                                               Paul 823796 Response/Update: Support of the I‐495
00128297   00128298   5/27/2020 11:38 Attach   and I‐270 P3 Program                                  .\VOL009\IMAGES\IMAGES001\00128297.pdf
                                               Freedman 824772 Response: Please pause the
00128299   00128300   5/27/2020 11:38 Attach   expansion project                                     .\VOL009\IMAGES\IMAGES001\00128299.pdf
00128301   00128302   5/27/2020 11:49 Email    RE: I495/I270 Project                                 .\VOL009\IMAGES\IMAGES001\00128301.pdf
00128303   00128304   5/27/2020 12:25 Email    FW: DEIS Errata                                       .\VOL009\IMAGES\IMAGES001\00128303.pdf
                                               FW: TBP Conformity Determination FY21‐24 TIP and
00128305   00128306   5/27/2020 13:17 Email    LRP                                                   .\VOL009\IMAGES\IMAGES001\00128305.pdf
00128307   00128307   5/27/2020 13:22 Email    Re: DEIS Errata                                       .\VOL009\IMAGES\IMAGES001\00128307.pdf
00128308   00128309   5/27/2020 13:37 Email    FW_ DEIS Errata.pdf                                   .\VOL009\IMAGES\IMAGES001\00128308.pdf
00128310   00128311   5/27/2020 14:26 Email    FW_ DEIS Errata.pdf                                   .\VOL009\IMAGES\IMAGES001\00128310.pdf
00128312   00128349   5/27/2020 14:26 Attach   FHWA Comments on 05‐18‐2020 DEIS.docx                 .\VOL009\IMAGES\IMAGES001\00128312.pdf
00128350   00128350   5/27/2020 14:47 Email    DEIS Signature Page                                   .\VOL009\IMAGES\IMAGES001\00128350.pdf
00128351   00128352   5/27/2020 14:54 Email    FW: DEIS Signature Page                               .\VOL009\IMAGES\IMAGES001\00128351.pdf
00128353   00128354   5/27/2020 15:16 Email    RE: DEIS Signature Page                               .\VOL009\IMAGES\IMAGES001\00128353.pdf
00128355   00128356   5/27/2020 15:29 Email    RE: DEIS Signature Page                               .\VOL009\IMAGES\IMAGES001\00128355.pdf
00128357   00128357   5/27/2020 15:58 Email    FW: DEIS Errata                                       .\VOL009\IMAGES\IMAGES001\00128357.pdf
00128358   00128359   5/27/2020 16:56 Email    MLS DEIS ‐ Updated Files                              .\VOL009\IMAGES\IMAGES001\00128358.pdf
00128360   00128361   5/27/2020 16:56 Email    MLS DEIS ‐ Updated Files                              .\VOL009\IMAGES\IMAGES001\00128360.pdf
00128362   00128364   5/27/2020 16:57 Email    FW: MLS DEIS ‐ Updated Files                          .\VOL009\IMAGES\IMAGES001\00128362.pdf

00128365   00128366   5/27/2020 18:04 Email    RE: I‐495 & I‐270 MLS ‐ NPS BW Parkway Discussion     .\VOL009\IMAGES\IMAGES001\00128365.pdf

00128367   00128368   5/27/2020 18:10 Email    RE: I‐495 & I‐270 MLS ‐ NPS BW Parkway Discussion     .\VOL009\IMAGES\IMAGES001\00128367.pdf

00128369   00128370   5/27/2020 18:41 Email    FW: I‐495 & I‐270 MLS ‐ NPS BW Parkway Discussion     .\VOL009\IMAGES\IMAGES001\00128369.pdf
                                               FW_ I‐495 & I‐270 MLS ‐ NPS BW Parkway
00128371   00128372   5/27/2020 20:25 Email    Discussion.pdf                                        .\VOL009\IMAGES\IMAGES001\00128371.pdf
00128373   00128373   5/28/2020 10:37 Email    memo formatting                                       .\VOL009\IMAGES\IMAGES001\00128373.pdf
00128374   00128375   5/28/2020 11:10 Edoc     495 270 MLS DEIS prior concurrence.docx               .\VOL009\IMAGES\IMAGES001\00128374.pdf
                                               Re: [EXTERNAL] RE: I‐495 & I‐270 MLS ‐ NPS BW
00128376   00128378   5/28/2020 12:16 Email    Parkway Discussion                                    .\VOL009\IMAGES\IMAGES001\00128376.pdf
00128379   00128383   5/28/2020 12:34 Email    RE: MDOT P3: 5 7 2020 Meeting Summary                 .\VOL009\IMAGES\IMAGES001\00128379.pdf
00128384   00128388   5/28/2020 12:41 Email    RE: MDOT P3: 5 7 2020 Meeting Summary                 .\VOL009\IMAGES\IMAGES001\00128384.pdf
                                               20200527_Rockville_I‐495 & I‐270 P3 Program
00128389   00128389   5/28/2020 12:41 Attach   slides.pptx                                           .\VOL009\IMAGES\IMAGES001\00128389.pdf   .\VOL009\NATIVES\NATIVES001\00128389.pptx
00128390   00128392   5/28/2020 13:13 Email    RE: MLS DEIS ‐ Updated Files                          .\VOL009\IMAGES\IMAGES001\00128390.pdf
00128393   00128524   5/28/2020 13:14 Edoc     DEIS_AppI_Air Quality TR_May 2020.docx                .\VOL009\IMAGES\IMAGES001\00128393.pdf
                                               Section 106 Correspondence: MDOT SHA I‐495 and I‐
                                               270 Managed Lanes Study re: GWMP Archaeological
00128525   00128525   5/28/2020 13:15 Email    District                                              .\VOL009\IMAGES\IMAGES001\00128525.pdf
00128526   00128530   5/28/2020 13:15 Attach   MDOT response to VDHR Letter_2020‐05‐28.pdf           .\VOL009\IMAGES\IMAGES001\00128526.pdf
                                               Section 106 Correspondence: MDOT SHA I‐495 and I‐
                                               270 Managed Lanes Study re: Responses to NPS
00128531   00128531   5/28/2020 13:15 Email    GWMP Archaeology Comments                             .\VOL009\IMAGES\IMAGES001\00128531.pdf

00128532   00128534   5/28/2020 13:15 Attach   MDOT response to NPS‐Virta Letter_2020‐05‐28.pdf      .\VOL009\IMAGES\IMAGES001\00128532.pdf
                                               2020‐05‐28_NPS BW Parkway Coordination Meeting
00128535   00128536   5/28/2020 13:30 Attach   Agenda.docx                                           .\VOL009\IMAGES\IMAGES001\00128535.pdf
                                               FW: meeting follow‐up re federal land transfer for
00128537   00128537   5/28/2020 15:46 Email    Suitland Parkway                                      .\VOL009\IMAGES\IMAGES001\00128537.pdf
00128538   00128540   5/28/2020 16:46 Attach   NPS consent federal land transfer 2‐9‐2018.pdf        .\VOL009\IMAGES\IMAGES001\00128538.pdf
00128541   00128541   5/28/2020 19:04 Email    RE_ I495_I270 project meeting.pdf                     .\VOL009\IMAGES\IMAGES001\00128541.pdf
00128542   00128883    5/29/2020 8:16 Edoc     MLS_DEIS_05‐28‐2020.pdf                               .\VOL009\IMAGES\IMAGES001\00128542.pdf
00128884   00129042    5/29/2020 8:36 Edoc     DEIS_AppB_Alts_May2020.docx                           .\VOL009\IMAGES\IMAGES001\00128884.pdf
00129043   00129165    5/29/2020 8:40 Edoc     CEA EJ Tech Report_May2020.docx                       .\VOL009\IMAGES\IMAGES001\00129043.pdf
00129166   00129283    5/29/2020 8:41 Edoc     CEAEJTR_Appendices_052720.pdf                         .\VOL009\IMAGES\IMAGES001\00129166.pdf
00129284   00129675    5/29/2020 9:27 Edoc     CulturalResourcesTR_Volume1.pdf                       .\VOL009\IMAGES\IMAGES001\00129284.pdf
00129676   00129975    5/29/2020 9:52 Edoc     CulturalResourcesTR_Volume_4.pdf                      .\VOL009\IMAGES\IMAGES001\00129676.pdf
00129976   00130283   5/29/2020 10:00 Edoc     Draft 4f Eval_withAppA_May 2020.docx                  .\VOL009\IMAGES\IMAGES001\00129976.pdf
00130284   00130285   5/29/2020 10:01 Email    FW: memo formatting                                   .\VOL009\IMAGES\IMAGES001\00130284.pdf
00130286   00130483   5/29/2020 10:08 Edoc     I‐495 NRTR DRAFT_2020.05.26_CLEAN.docx                .\VOL009\IMAGES\IMAGES001\00130286.pdf
00130484   00130615   5/29/2020 10:14 Edoc     DEIS_AppI_Air Quality TR_May 2020.docx                .\VOL009\IMAGES\IMAGES001\00130484.pdf

00130616   00130871   5/29/2020 10:15 Edoc     2020‐05‐27_NOISE TECHNICAL REPORT_final.docx          .\VOL009\IMAGES\IMAGES001\00130616.pdf

00130872   00130874   5/29/2020 10:43 Email    RE: AADT and congestion excerpts for MD 495/270       .\VOL009\IMAGES\IMAGES001\00130872.pdf

00130875   00130876   5/29/2020 10:43 Email    RE: I‐495 & I‐270 MLS ‐ NPS BW Parkway Discussion     .\VOL009\IMAGES\IMAGES001\00130875.pdf
00130877   00130878   5/29/2020 11:05 Email    RE: memo formatting                                   .\VOL009\IMAGES\IMAGES001\00130877.pdf
00130879   00130881   5/29/2020 11:13 Email    RE: memo formatting                                   .\VOL009\IMAGES\IMAGES001\00130879.pdf
                                               I‐495_I‐270 Managed Lanes DEIS Prior
00130882   00130882   5/29/2020 12:34 Email    Concurrence.pdf                                       .\VOL009\IMAGES\IMAGES001\00130882.pdf
                                               FW_ I‐495_I‐270 Managed Lanes DEIS Prior
00130883   00130883   5/29/2020 12:38 Email    Concur....pdf                                         .\VOL009\IMAGES\IMAGES001\00130883.pdf
00130884   00130885   5/29/2020 13:02 Email    RE: Virtual Public Hearing                            .\VOL009\IMAGES\IMAGES001\00130884.pdf
                                               Re_ I‐495_I‐270 Managed Lanes DEIS Prior
00130886   00130886   5/29/2020 13:43 Email    Concur....pdf                                         .\VOL009\IMAGES\IMAGES001\00130886.pdf
00130887   00130889   5/29/2020 15:39 Email    RE: MLS DEIS ‐ Updated Files                          .\VOL009\IMAGES\IMAGES001\00130887.pdf
                                               MDOT SHA P3 Office Response: Delay I‐495 & I‐270
00130890   00130892   5/29/2020 16:36 Attach   Managed Lanes Study EIS_Katz 824269                   .\VOL009\IMAGES\IMAGES001\00130890.pdf
00130893   00130894   5/29/2020 18:02 Edoc     2020‐05‐01_City of Greenbelt_Lisa Choplin.pdf         .\VOL009\IMAGES\IMAGES001\00130893.pdf
00130895   00130896   5/29/2020 20:38 Edoc     City of Gaithersburg_4f Response.pdf                  .\VOL009\IMAGES\IMAGES001\00130895.pdf
00130897   00130897   5/29/2020 20:38 Edoc     Mont Co Public Schools_4f Response.pdf                .\VOL009\IMAGES\IMAGES001\00130897.pdf
                                               City of Rockville_Meeting rev5February14 2020 ‐
00130898   00130900   5/29/2020 20:43 Edoc     minutes.docx                                          .\VOL009\IMAGES\IMAGES001\00130898.pdf
00130901   00130902    6/1/2020 12:30 Email    FW: MLS DEIS                                          .\VOL009\IMAGES\IMAGES001\00130901.pdf
                                               Re: FW: I‐495 and I‐270 Managed Lanes Study Section
00130903   00130905    6/1/2020 13:14 Email    106 Update                                            .\VOL009\IMAGES\IMAGES001\00130903.pdf
00130906   00130907    6/1/2020 13:30 Email    FW_ MLS DEIS.pdf                                      .\VOL009\IMAGES\IMAGES001\00130906.pdf
00130908   00130908    6/1/2020 14:32 Email    Fw: NPS updated mitigation list                       .\VOL009\IMAGES\IMAGES001\00130908.pdf
                                               RE: FW: I‐495 and I‐270 Managed Lanes Study Section
00130909   00130911    6/1/2020 14:33 Email    106 Update                                            .\VOL009\IMAGES\IMAGES001\00130909.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                            Page 88 of 263

                                               Re: FW: I‐495 and I‐270 Managed Lanes Study Section
00130912   00130914    6/1/2020 14:39 Email    106 Update                                          .\VOL009\IMAGES\IMAGES001\00130912.pdf
00130915   00130915    6/1/2020 18:55 Email    DEIS Distribution List                              .\VOL009\IMAGES\IMAGES001\00130915.pdf
00130916   00130916     6/2/2020 8:36 Attach   Ex Summary‐Language‐6‐1‐20.docx                     .\VOL009\IMAGES\IMAGES001\00130916.pdf
                                               Batt 822817 Response/Update: Managed Lanes
00130917   00130918    6/2/2020 10:10 Attach   Proposal                                            .\VOL009\IMAGES\IMAGES001\00130917.pdf
00130919   00130920    6/2/2020 10:57 Attach   20200602 Lisa Greg_Citizen Letter.pdf               .\VOL009\IMAGES\IMAGES001\00130919.pdf
00130921   00130921    6/2/2020 10:57 Attach   Batt Response‐signed.pdf                            .\VOL009\IMAGES\IMAGES001\00130921.pdf
00130922   00130923    6/2/2020 11:59 Email    RE: DEIS Distribution List                          .\VOL009\IMAGES\IMAGES001\00130922.pdf
00130924   00130925    6/2/2020 11:59 Email    RE: DEIS Distribution List                          .\VOL009\IMAGES\IMAGES001\00130924.pdf
00130926   00130926    6/2/2020 12:52 Email    I‐495 & I‐270 MLS DEIS                              .\VOL009\IMAGES\IMAGES001\00130926.pdf
00130927   00130928    6/2/2020 12:52 Email    I‐495 & I‐270 MLS DEIS                              .\VOL009\IMAGES\IMAGES001\00130927.pdf
                                               Section 106 correspondence: I‐495/I‐270 Managed
00130929   00130929    6/2/2020 15:03 Email    Lanes Study                                         .\VOL009\IMAGES\IMAGES001\00130929.pdf
                                               Section 106 correspondence: I‐495/I‐270 Managed
00130930   00130930    6/2/2020 15:06 Email    Lanes Study                                         .\VOL009\IMAGES\IMAGES001\00130930.pdf
                                               Section 106 correspondence: I‐495/I‐270 Managed
00130931   00130931    6/2/2020 15:11 Email    Lanes Study                                         .\VOL009\IMAGES\IMAGES001\00130931.pdf
                                               Section 106 correspondence: I‐495/I‐270 Managed
00130932   00130932    6/2/2020 15:17 Email    Lanes Study                                         .\VOL009\IMAGES\IMAGES001\00130932.pdf
                                               Section 106 correspondence: I‐495/I‐270 Managed
00130933   00130933    6/2/2020 15:20 Email    Lanes Study                                         .\VOL009\IMAGES\IMAGES001\00130933.pdf
                                               Section 106 correspondence: I‐495/I‐270 Managed
00130934   00130934    6/2/2020 15:24 Email    Lanes Study                                         .\VOL009\IMAGES\IMAGES001\00130934.pdf
                                               RE: Section 106 correspondence: I‐495/I‐270 Managed
00130935   00130937    6/2/2020 16:47 Email    Lanes Study                                         .\VOL009\IMAGES\IMAGES001\00130935.pdf
00130938   00130940     6/3/2020 9:26 Email    FW: I‐495 & I‐270 MLS IAWG Update                   .\VOL009\IMAGES\IMAGES001\00130938.pdf
                                               Katz 824771 Response: Critical Alternative to be
00130941   00130945    6/3/2020 10:22 Attach   examined by I‐495 & I‐270 Managed Lanes Study       .\VOL009\IMAGES\IMAGES001\00130941.pdf

00130946   00130951    6/3/2020 13:46 Attach   I495_I270_MLS Tree Inventory Protocol_060320.pdf   .\VOL009\IMAGES\IMAGES001\00130946.pdf
00130952   00130952    6/3/2020 13:46 Email    I‐495 & I‐270 MLS NPS Tree Survey                  .\VOL009\IMAGES\IMAGES001\00130952.pdf
00130953   00130953    6/3/2020 16:25 Email    I‐495 I‐270 MLS Final DEIS                         .\VOL009\IMAGES\IMAGES001\00130953.pdf

00130954   00130954    6/3/2020 16:38 Email    Re: [EXTERNAL] I‐495 & I‐270 MLS NPS Tree Survey     .\VOL009\IMAGES\IMAGES001\00130954.pdf
00130955   00130956     6/4/2020 8:14 Email    Another questions                                    .\VOL009\IMAGES\IMAGES001\00130955.pdf
                                               I‐495 & I‐270 MLS ‐ MDE and USACE Permit
00130957   00130957     6/4/2020 9:41 Email    Coordination Meeting (5/28/2020)                     .\VOL009\IMAGES\IMAGES001\00130957.pdf
                                               MLS_MDE and USACE Permit Coordination Mtg
00130958   00130961     6/4/2020 9:41 Attach   Minutes_20200528_Final.pdf                           .\VOL009\IMAGES\IMAGES001\00130958.pdf
                                               Re: [EXTERNAL] NPS Coordination Meeting Follow‐ups ‐
00130962   00130963    6/4/2020 11:54 Email    BW Parkway Existing Interchange                      .\VOL009\IMAGES\IMAGES001\00130962.pdf
                                               FW: I‐495 & I‐270 MLS project: Feedback on Direct
00130964   00130965    6/4/2020 14:42 Email    Access to/from managed lanes                         .\VOL009\IMAGES\IMAGES001\00130964.pdf

                                               Re: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00130966   00130968    6/4/2020 16:33 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00130966.pdf

                                               Re: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00130969   00130971    6/4/2020 16:33 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00130969.pdf

                                               FW: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00130972   00130974    6/4/2020 16:47 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00130972.pdf

                                               RE: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00130975   00130978    6/5/2020 11:59 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00130975.pdf

                                               RE: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00130979   00130982    6/5/2020 12:02 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00130979.pdf
                                               Krichevsky 822815 Response/Update: Managed Lanes
00130983   00130984    6/5/2020 14:07 Email    Proposal                                              .\VOL009\IMAGES\IMAGES001\00130983.pdf
                                               Magary 822808 Response/Update: Managed Lanes
00130985   00130986    6/5/2020 14:07 Email    Proposal                                              .\VOL009\IMAGES\IMAGES001\00130985.pdf
                                               Brener 823580 Response/Update: Managed Lanes
00130987   00130988    6/5/2020 14:07 Email    Proposal                                              .\VOL009\IMAGES\IMAGES001\00130987.pdf
00130989   00130990    6/5/2020 15:07 Attach   Brener 823580 Incoming.pdf                            .\VOL009\IMAGES\IMAGES001\00130989.pdf
                                               Brener 823580 Response/Update: Managed Lanes
00130991   00130992    6/5/2020 15:07 Attach   Proposal                                              .\VOL009\IMAGES\IMAGES001\00130991.pdf
00130993   00130993    6/5/2020 15:07 Attach   Magary 822808 Incoming.pdf                            .\VOL009\IMAGES\IMAGES001\00130993.pdf
                                               Magary 822808 Response/Update: Managed Lanes
00130994   00130995    6/5/2020 15:07 Attach   Proposal                                              .\VOL009\IMAGES\IMAGES001\00130994.pdf
00130996   00130996    6/5/2020 15:07 Attach   Schroeder 823165 Incoming.pdf                         .\VOL009\IMAGES\IMAGES001\00130996.pdf
                                               Schroeder 823165 Response/Update: Managed Lanes
00130997   00130998    6/5/2020 15:07 Attach   Proposal                                              .\VOL009\IMAGES\IMAGES001\00130997.pdf
00130999   00131000    6/8/2020 11:03 Email    DEIS Distribution                                     .\VOL009\IMAGES\IMAGES001\00130999.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study Section 106
00131001   00131003    6/8/2020 15:54 Email    Update                                                .\VOL009\IMAGES\IMAGES001\00131001.pdf

00131004   00131005    6/8/2020 16:38 Email    Re: [EXTERNAL] I‐495 & I‐270 MLS NPS Tree Survey   .\VOL009\IMAGES\IMAGES001\00131004.pdf

00131006   00131007    6/8/2020 16:38 Email    Re: [EXTERNAL] I‐495 & I‐270 MLS NPS Tree Survey   .\VOL009\IMAGES\IMAGES001\00131006.pdf
00131008   00131009    6/8/2020 17:25 Email    MNCPPC Conflict Resolution                         .\VOL009\IMAGES\IMAGES001\00131008.pdf

                                               RE: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00131010   00131014    6/9/2020 10:13 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00131010.pdf
00131015   00131016    6/9/2020 11:11 Email    RE: DEIS Distribution                                 .\VOL009\IMAGES\IMAGES001\00131015.pdf
                                               RE: Service Routing Alert (MDOT Workflow 823196)
00131017   00131018    6/9/2020 13:07 Email    (Intranet Quorum IMA00401200)                         .\VOL009\IMAGES\IMAGES001\00131017.pdf
                                               P3 Montgomery Co Council T and E Committee
00131019   00131047    6/9/2020 13:14 Attach   Presentation 06.04.2020 (003).pptx                    .\VOL009\IMAGES\IMAGES001\00131019.pdf
00131048   00131048    6/9/2020 17:28 Email    MLS Public Hearing and DEIS Availability Plan         .\VOL009\IMAGES\IMAGES001\00131048.pdf
                                               RE: [EXTERNAL] Draft No Adverse Effect Language for
00131049   00131051   6/10/2020 14:06 Email    Suitland Parkway                                      .\VOL009\IMAGES\IMAGES001\00131049.pdf
00131052   00131052   6/10/2020 17:22 Email    DEIS Cover Sheet                                      .\VOL009\IMAGES\IMAGES001\00131052.pdf
00131053   00131053   6/10/2020 17:22 Attach   I‐495_I‐270_DEIS Cover_8.5x11_rd13_proof.pdf          .\VOL009\IMAGES\IMAGES001\00131053.pdf
00131054   00131054   6/10/2020 17:22 Email    DEIS Cover Sheet                                      .\VOL009\IMAGES\IMAGES001\00131054.pdf
00131055   00131055   6/10/2020 17:22 Attach   I‐495_I‐270_DEIS Cover_8.5x11_rd13_proof.pdf          .\VOL009\IMAGES\IMAGES001\00131055.pdf
00131056   00131057    6/11/2020 7:31 Email    RE: DEIS Cover Sheet                                  .\VOL009\IMAGES\IMAGES001\00131056.pdf
00131058   00131058    6/11/2020 7:31 Attach   I‐495_I‐270_DEIS Cover_8.5x11_rd13_proof.pdf          .\VOL009\IMAGES\IMAGES001\00131058.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                            Page 89 of 263

00131059   00131059   6/11/2020 11:06 Email    T&E #1‐ transit service coordination report             .\VOL009\IMAGES\IMAGES001\00131059.pdf
00131060   00131120   6/11/2020 11:06 Attach   T&E #1 Transit Service Coordination.pdf                 .\VOL009\IMAGES\IMAGES001\00131060.pdf
00131121   00131122   6/11/2020 13:09 Email    RE: DEIS Cover Sheet                                    .\VOL009\IMAGES\IMAGES001\00131121.pdf
00131123   00131124   6/11/2020 13:09 Email    RE: DEIS Cover Sheet                                    .\VOL009\IMAGES\IMAGES001\00131123.pdf
00131125   00131125   6/11/2020 13:55 Email    Re: Tolling Meeting                                     .\VOL009\IMAGES\IMAGES001\00131125.pdf
                                               I‐495 & I‐270 Managed Lanes Study ‐ BW Parkway
00131126   00131127   6/11/2020 16:18 Email    Interchange Option 3 Signing Plan                       .\VOL009\IMAGES\IMAGES001\00131126.pdf
00131128   00131128   6/11/2020 16:18 Attach   pSN‐Rollmap02_md295‐Opt3.pdf                            .\VOL009\IMAGES\IMAGES001\00131128.pdf
00131129   00131129   6/11/2020 16:18 Attach   pSN‐Rollmap01_md295‐Opt3.pdf                            .\VOL009\IMAGES\IMAGES001\00131129.pdf
                                               I‐495 & I‐270 Managed Lanes Study ‐ BW Parkway
00131130   00131131   6/11/2020 16:18 Email    Interchange Option 3 Signing Plan                       .\VOL009\IMAGES\IMAGES001\00131130.pdf
                                               Section 106 Compliance_ Request for
00131132   00131133   6/11/2020 17:17 Email    Determinati....pdf                                      .\VOL009\IMAGES\IMAGES001\00131132.pdf
00131134   00131180   6/11/2020 17:17 Attach   !GWMP District Ltr_to_Keeper 6‐11‐2020.pdf              .\VOL009\IMAGES\IMAGES001\00131134.pdf
                                               RE_ Section 106 Compliance_ Request for
00131181   00131181   6/11/2020 17:44 Email    Determi....pdf                                          .\VOL009\IMAGES\IMAGES001\00131181.pdf
00131182   00131182   6/12/2020 15:01 Email    MLS ‐ Hearing Flyer                                     .\VOL009\IMAGES\IMAGES001\00131182.pdf

00131183   00131184   6/12/2020 15:01 Attach   I‐495_I‐270_Hearing_Flyer_8x10.375_rd32_proof.pdf       .\VOL009\IMAGES\IMAGES001\00131183.pdf
00131185   00131186   6/12/2020 15:01 Email    MLS ‐ Hearing Flyer                                     .\VOL009\IMAGES\IMAGES001\00131185.pdf

00131187   00131188   6/12/2020 15:01 Attach   I‐495_I‐270_Hearing_Flyer_8x10.375_rd32_proof.pdf       .\VOL009\IMAGES\IMAGES001\00131187.pdf
                                               I‐495/I‐270 FHWA Coordination ‐ Updated Document
00131189   00131190   6/12/2020 18:32 Email    Review Schedule                                         .\VOL009\IMAGES\IMAGES001\00131189.pdf
                                               I‐495/I‐270 FHWA Coordination ‐ Updated Document
00131191   00131192   6/12/2020 18:32 Email    Review Schedule                                         .\VOL009\IMAGES\IMAGES001\00131191.pdf
00131193   00131195   6/15/2020 13:33 Email    Re: Model Calibration                                   .\VOL009\IMAGES\IMAGES001\00131193.pdf

00131196   00131196   6/15/2020 14:46 Email    Re: DEIS NOA and Public Hearing Plan FHWA Briefing .\VOL009\IMAGES\IMAGES001\00131196.pdf
                                               495270MLS_HearingOverview_2020‐06‐12_Handout‐
00131197   00131200   6/15/2020 14:46 Attach   July‐Sept.docx                                             .\VOL009\IMAGES\IMAGES001\00131197.pdf
00131201   00131202   6/15/2020 17:26 Email    FW_ Model Calibration.pdf                                  .\VOL009\IMAGES\IMAGES001\00131201.pdf
00131203   00131204   6/15/2020 17:26 Email    FW: Model Calibration                                      .\VOL009\IMAGES\IMAGES001\00131203.pdf
00131205   00131235   6/15/2020 17:26 Attach   IAPA Calibration_06122020.pdf                              .\VOL009\IMAGES\IMAGES001\00131205.pdf
                                               I495.270_P3Program_DocumentSchedule.6.12.20_FH
00131236   00131236    6/16/2020 7:38 Attach   WA.XLSX                                                    .\VOL009\IMAGES\IMAGES001\00131236.pdf   .\VOL009\NATIVES\NATIVES001\00131236.XLSX
00131237   00131237    6/16/2020 9:31 Email    Fw: BW Parkway Follow‐Up Comments                          .\VOL009\IMAGES\IMAGES001\00131237.pdf
00131238   00131238   6/16/2020 10:19 Email    DEIS NOA and Hearings                                      .\VOL009\IMAGES\IMAGES001\00131238.pdf
                                               2020‐06‐11 PublicHearingAdvertisingPlanDraft
00131239   00131242   6/16/2020 10:19 Attach   (1).docx                                                   .\VOL009\IMAGES\IMAGES001\00131239.pdf
00131243   00131243   6/16/2020 10:19 Email    DEIS NOA and Hearings                                      .\VOL009\IMAGES\IMAGES001\00131243.pdf
                                               2020‐06‐11 PublicHearingAdvertisingPlanDraft
00131244   00131247   6/16/2020 10:19 Attach   (1).docx                                                   .\VOL009\IMAGES\IMAGES001\00131244.pdf
                                               Availability for Virtual and In‐person Hearings for the I‐
                                               495 & I‐270 Managed Lanes Study Joint Public
00131248   00131250   6/16/2020 10:41 Email    Hearings                                                   .\VOL009\IMAGES\IMAGES001\00131248.pdf
00131251   00131252   6/16/2020 11:13 Email    Re: FHWA Meeting                                           .\VOL009\IMAGES\IMAGES001\00131251.pdf

00131253   00131253   6/16/2020 11:18 Edoc     495270_SupportingEJ_OutreachLocations_Schools.xlsx .\VOL009\IMAGES\IMAGES001\00131253.pdf           .\VOL009\NATIVES\NATIVES001\00131253.XLSX
00131254   00131255   6/16/2020 12:29 Email    Regional Air Quality Conformity‐ MLS                .\VOL009\IMAGES\IMAGES001\00131254.pdf
00131256   00131256   6/16/2020 12:47 Email    Re: MNCPPC Conflict Resolution                      .\VOL009\IMAGES\IMAGES001\00131256.pdf
                                               Re: FW: I‐495 and I‐270 Managed Lanes Study Section
00131257   00131260   6/16/2020 13:17 Email    106 Update                                          .\VOL009\IMAGES\IMAGES001\00131257.pdf
                                               Re: FW: I‐495 and I‐270 Managed Lanes Study Section
00131261   00131264   6/16/2020 13:17 Email    106 Update                                          .\VOL009\IMAGES\IMAGES001\00131261.pdf
                                               RE: FW: I‐495 and I‐270 Managed Lanes Study Section
00131265   00131269   6/16/2020 13:29 Email    106 Update                                          .\VOL009\IMAGES\IMAGES001\00131265.pdf
                                               RE: FW: I‐495 and I‐270 Managed Lanes Study Section
00131270   00131274   6/16/2020 13:29 Email    106 Update                                          .\VOL009\IMAGES\IMAGES001\00131270.pdf
00131275   00131275   6/16/2020 15:26 Email    FW_ BW Parkway Follow‐Up Comments(1).pdf            .\VOL009\IMAGES\IMAGES001\00131275.pdf
                                               2020‐05‐28_NPS BW Parkway Coordination
00131276   00131278   6/16/2020 15:26 Attach   Meetin.docx                                         .\VOL009\IMAGES\IMAGES001\00131276.pdf
00131279   00131279   6/16/2020 15:36 Email    Public Comment period                               .\VOL009\IMAGES\IMAGES001\00131279.pdf
00131280   00131280   6/16/2020 15:36 Email    Public Comment period                               .\VOL009\IMAGES\IMAGES001\00131280.pdf
                                               FW: I‐270 Pre‐NEPA: Purpose & Need Errata for
00131281   00131282   6/16/2020 15:50 Email    Review                                              .\VOL009\IMAGES\IMAGES001\00131281.pdf
00131283   00131315   6/16/2020 15:50 Attach   I‐270 Pre‐NEPA P&N Errata.docx                      .\VOL009\IMAGES\IMAGES001\00131283.pdf
00131316   00131317   6/16/2020 16:32 Email    RE: Regional Air Quality Conformity‐ MLS            .\VOL009\IMAGES\IMAGES001\00131316.pdf
                                               495270MLS_Social Distancing Protocol Memo ‐
00131318   00131322   6/17/2020 11:41 Edoc     Updated 6.17.20.docx                                .\VOL009\IMAGES\IMAGES001\00131318.pdf
00131323   00131324   6/17/2020 12:43 Email    RE: DEIS NOA and Hearings                           .\VOL009\IMAGES\IMAGES001\00131323.pdf
00131325   00131325   6/17/2020 13:20 Attach   All Meeting Locations.pdf                           .\VOL009\IMAGES\IMAGES001\00131325.pdf

                                               Re: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
00131326   00131327   6/17/2020 13:53 Email    DEIS Chapters 4 and 6 and Tree Survey Protocol          .\VOL009\IMAGES\IMAGES001\00131326.pdf

                                               Re: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
00131328   00131330   6/17/2020 13:54 Email    DEIS Chapters 4 and 6 and Tree Survey Protocol      .\VOL009\IMAGES\IMAGES001\00131328.pdf
                                               Re: FW: I‐495 and I‐270 Managed Lanes Study Section
00131331   00131334   6/17/2020 14:45 Email    106 Update                                          .\VOL009\IMAGES\IMAGES001\00131331.pdf
                                               Re: FW: I‐495 and I‐270 Managed Lanes Study Section
00131335   00131339   6/17/2020 14:45 Email    106 Update                                          .\VOL009\IMAGES\IMAGES001\00131335.pdf

00131340   00131341   6/17/2020 15:08 Email    Re: Corps involvement in the MLS public hearings        .\VOL009\IMAGES\IMAGES001\00131340.pdf
00131342   00131342   6/17/2020 15:45 Attach   All Meeting Locations.pdf                               .\VOL009\IMAGES\IMAGES001\00131342.pdf

00131343   00131344   6/17/2020 16:08 Email    RE: Corps involvement in the MLS public hearings        .\VOL009\IMAGES\IMAGES001\00131343.pdf
00131345   00131346   6/18/2020 12:08 Email    FW: Regional Air Quality Conformity‐ MLS                .\VOL009\IMAGES\IMAGES001\00131345.pdf
                                               May 2020 Joint Approval letter ‐ TPB 5.27.20.pdf with
00131347   00131348   6/18/2020 12:08 Attach   TGC sign 5 27 2020.._.pdf                               .\VOL009\IMAGES\IMAGES001\00131347.pdf
                                               Metro DC Visualize 2045 LRTP and FY 2021‐2024 TIP
00131349   00131358   6/18/2020 12:08 Attach   TSD Signatures.pdf                                      .\VOL009\IMAGES\IMAGES001\00131349.pdf
00131359   00131359   6/18/2020 12:08 Attach   MDOT STIP 19‐61 approval.pdf                            .\VOL009\IMAGES\IMAGES001\00131359.pdf
00131360   00131361   6/18/2020 13:08 Email    FW_ Regional Air Quality Conformity‐ MLS.pdf            .\VOL009\IMAGES\IMAGES001\00131360.pdf

                                               Re: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
00131362   00131365   6/18/2020 14:48 Email    DEIS Chapters 4 and 6 and Tree Survey Protocol          .\VOL009\IMAGES\IMAGES001\00131362.pdf

                                               Re: [EXTERNAL] I‐495 & I‐270 Managed Lanes Study ‐
00131366   00131369   6/18/2020 14:48 Email    DEIS Chapters 4 and 6 and Tree Survey Protocol          .\VOL009\IMAGES\IMAGES001\00131366.pdf
00131370   00131371   6/18/2020 15:24 Email    FW: Status of Moses Lodge / Morningstar Farm            .\VOL009\IMAGES\IMAGES001\00131370.pdf
00131372   00131373   6/18/2020 17:22 Email    RE: Regional Air Quality Conformity‐ MLS                .\VOL009\IMAGES\IMAGES001\00131372.pdf
00131374   00131374   6/18/2020 18:13 Email    DEIS Cost Schedule                                      .\VOL009\IMAGES\IMAGES001\00131374.pdf
00131375   00131376   6/18/2020 18:13 Attach   2020‐06‐16_DEIS Cost Schedule.docx                      .\VOL009\IMAGES\IMAGES001\00131375.pdf
00131377   00131379   6/18/2020 18:29 Email    RE_ Regional Air Quality Conformity‐ MLS(2).pdf         .\VOL009\IMAGES\IMAGES001\00131377.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                         Page 90 of 263

00131380   00131380   6/19/2020 12:11 Attach   DEIS Corps comments 202006.docx                   .\VOL009\IMAGES\IMAGES001\00131380.pdf
00131381   00131382   6/19/2020 12:31 Email    In‐Person Public Hearings                         .\VOL009\IMAGES\IMAGES001\00131381.pdf
00131383   00131385   6/22/2020 10:45 Email    RE: Couple Follow‐Ups                             .\VOL009\IMAGES\IMAGES001\00131383.pdf
00131386   00131386   6/22/2020 10:45 Attach   PE SHA Letter.pdf                                 .\VOL009\IMAGES\IMAGES001\00131386.pdf
                                               495270_SupportingEJ_OutreachLocations_AffordHousi
00131387   00131387   6/22/2020 11:25 Edoc     ng.xlsx                                           .\VOL009\IMAGES\IMAGES001\00131387.pdf          .\VOL009\NATIVES\NATIVES001\00131387.XLSX
                                               FW: RE: How Do your State DOT's develop their
                                               Environmental Document SOW's \ Contracts with
00131388   00131389   6/22/2020 16:28 Email    Consultants                                       .\VOL009\IMAGES\IMAGES001\00131388.pdf
00131390   00131391   6/22/2020 16:54 Email    RE: Regional Air Quality Conformity‐ MLS          .\VOL009\IMAGES\IMAGES001\00131390.pdf
00131392   00131393   6/22/2020 16:54 Email    RE: Regional Air Quality Conformity‐ MLS          .\VOL009\IMAGES\IMAGES001\00131392.pdf
00131394   00131395   6/22/2020 17:02 Email    FW: Regional Air Quality Conformity‐ MLS          .\VOL009\IMAGES\IMAGES001\00131394.pdf
00131396   00131397   6/22/2020 17:54 Email    RE_ Regional Air Quality Conformity‐ MLS(3).pdf   .\VOL009\IMAGES\IMAGES001\00131396.pdf
00131398   00131401   6/23/2020 11:43 Edoc     2020.06.23_Ian Fisher_PIA Follow Up Letter.pdf    .\VOL009\IMAGES\IMAGES001\00131398.pdf
00131402   00131404   6/23/2020 11:46 Email    RE: NPS Signing                                   .\VOL009\IMAGES\IMAGES001\00131402.pdf

00131405   00131406   6/23/2020 14:00 Attach   Agency Handout ‐‐ DEIS Availability Logistics (3).docx   .\VOL009\IMAGES\IMAGES001\00131405.pdf
00131407   00131407   6/23/2020 14:51 Attach   Brightwell 823758 Incoming.pdf                           .\VOL009\IMAGES\IMAGES001\00131407.pdf
00131408   00131408    6/24/2020 8:56 Email    FW_ NPS Signing.pdf                                      .\VOL009\IMAGES\IMAGES001\00131408.pdf
00131409   00131409    6/24/2020 8:56 Email    FW: NPS Signing                                          .\VOL009\IMAGES\IMAGES001\00131409.pdf
00131410   00131410    6/24/2020 8:56 Attach   pSN‐Rollmap02_md295.pdf                                  .\VOL009\IMAGES\IMAGES001\00131410.pdf
00131411   00131412   6/24/2020 10:58 Email    RE: NPS Signing                                          .\VOL009\IMAGES\IMAGES001\00131411.pdf
00131413   00131413   6/24/2020 14:09 Edoc     2020.06.24_FW_ NPS Signing.pdf                           .\VOL009\IMAGES\IMAGES001\00131413.pdf
00131414   00131415   6/24/2020 14:10 Edoc     2020.06.24_Tarsem_RE_ NPS Signing.pdf                    .\VOL009\IMAGES\IMAGES001\00131414.pdf
00131416   00131417   6/25/2020 13:07 Attach   In‐Person Public Hearings                                .\VOL009\IMAGES\IMAGES001\00131416.pdf
00131418   00131418   6/25/2020 13:07 Attach   DEIS Cost Schedule                                       .\VOL009\IMAGES\IMAGES001\00131418.pdf
00131419   00131420   6/25/2020 13:07 Attach   2020‐06‐16_DEIS Cost Schedule.docx                       .\VOL009\IMAGES\IMAGES001\00131419.pdf
00131421   00131421   6/25/2020 13:07 Attach   DEIS NOA and Hearings                                    .\VOL009\IMAGES\IMAGES001\00131421.pdf
                                               2020‐06‐11 PublicHearingAdvertisingPlanDraft
00131422   00131425   6/25/2020 13:07 Attach   (1).docx                                                 .\VOL009\IMAGES\IMAGES001\00131422.pdf
00131426   00131426   6/25/2020 13:37 Email    Drainage Investigation ‐ Moses Hall Cemetery             .\VOL009\IMAGES\IMAGES001\00131426.pdf
00131427   00131427   6/25/2020 15:19 Email    FW: Hearing Flyer                                        .\VOL009\IMAGES\IMAGES001\00131427.pdf

00131428   00131429   6/25/2020 15:24 Attach   I‐495_I‐270_Hearing_Flyer_8x10.375_rd47_proof.pdf        .\VOL009\IMAGES\IMAGES001\00131428.pdf
00131430   00131472    6/26/2020 9:31 Attach   Maryland‐Action‐Plan‐2011.pdf                            .\VOL009\IMAGES\IMAGES001\00131430.pdf
00131473   00131474   6/26/2020 12:15 Email    MLS Public Hearings                                      .\VOL009\IMAGES\IMAGES001\00131473.pdf
00131475   00131475   6/26/2020 12:19 Email    FW: MLS Public Hearings                                  .\VOL009\IMAGES\IMAGES001\00131475.pdf
00131476   00131478   6/26/2020 12:45 Email    RE: MLS Public Hearings                                  .\VOL009\IMAGES\IMAGES001\00131476.pdf
00131479   00131482   6/26/2020 13:07 Email    RE: MLS Public Hearings                                  .\VOL009\IMAGES\IMAGES001\00131479.pdf
00131483   00131486   6/26/2020 13:08 Email    FW: MLS Public Hearings                                  .\VOL009\IMAGES\IMAGES001\00131483.pdf
00131487   00131488   6/26/2020 15:25 Email    RE: Outreach Plan                                        .\VOL009\IMAGES\IMAGES001\00131487.pdf

00131489   00131490   6/26/2020 15:25 Attach   I‐495_I‐270_Hearing_Flyer_8x10.375_rd49_proof.pdf        .\VOL009\IMAGES\IMAGES001\00131489.pdf

00131491   00131492   6/26/2020 15:34 Attach   I‐495_I‐270_Hearing_Flyer_8x10.375_rd49_proof.pdf        .\VOL009\IMAGES\IMAGES001\00131491.pdf
00131493   00131494   6/26/2020 16:14 Email    RE: Outreach Plan                                        .\VOL009\IMAGES\IMAGES001\00131493.pdf
00131495   00131497   6/26/2020 16:14 Attach   RE: MLS Public Hearings                                  .\VOL009\IMAGES\IMAGES001\00131495.pdf
00131498   00131500   6/26/2020 16:36 Email    RE: Outreach Plan                                        .\VOL009\IMAGES\IMAGES001\00131498.pdf
00131501   00131503   6/26/2020 16:44 Email    RE: Outreach Plan                                        .\VOL009\IMAGES\IMAGES001\00131501.pdf
00131504   00131504   6/29/2020 10:21 Email    NOA will be on July 10                                   .\VOL009\IMAGES\IMAGES001\00131504.pdf

00131505   00131506   6/29/2020 15:12 Email    RE: Drainage Investigation ‐ Moses Hall Cemetery   .\VOL009\IMAGES\IMAGES001\00131505.pdf
                                               RE: Service Routing Alert (MDOT Workflow 825112)
00131507   00131508   6/29/2020 15:19 Email    (Intranet Quorum IMA00401871)                      .\VOL009\IMAGES\IMAGES001\00131507.pdf
                                               Martinez 825112 Response: Follow Up ‐ 270 Widening
00131509   00131513   6/29/2020 15:49 Email    P3 Project Inquiry                                 .\VOL009\IMAGES\IMAGES001\00131509.pdf

00131514   00131515   6/29/2020 16:13 Email    Re: Drainage Investigation ‐ Moses Hall Cemetery         .\VOL009\IMAGES\IMAGES001\00131514.pdf
00131516   00131519   6/29/2020 17:01 Email    I‐495 & I‐270 MLS FHWA GHG Analysis                      .\VOL009\IMAGES\IMAGES001\00131516.pdf
00131520   00131523    6/30/2020 8:55 Email    RE: Outreach Plan                                        .\VOL009\IMAGES\IMAGES001\00131520.pdf

                                               I‐495_I‐
00131524   00131525    6/30/2020 8:55 Attach   270_Hearing_Flyer_8x10.375_rd51_proof_Final.pdf          .\VOL009\IMAGES\IMAGES001\00131524.pdf
                                               RockvilleMayorCityCouncil_MDOT I270&I495 Final
00131526   00131527   6/30/2020 10:39 Edoc     063020.pdf                                               .\VOL009\IMAGES\IMAGES001\00131526.pdf

00131528   00131528   6/30/2020 11:02 Email    Correspondence from the Rockville Mayor and Council .\VOL009\IMAGES\IMAGES001\00131528.pdf
00131529   00131530   6/30/2020 11:02 Attach   MDOT I270&I495 Final 063020.pdf                     .\VOL009\IMAGES\IMAGES001\00131529.pdf
00131531   00131554   6/30/2020 11:54 Attach   DEIS_Ch4_Env_Section4.21_EJ.pdf                     .\VOL009\IMAGES\IMAGES001\00131531.pdf
                                               FW_ Response to NPS regarding NRHP‐eligibility
00131555   00131555   6/30/2020 12:13 Email    ...(1).pdf                                          .\VOL009\IMAGES\IMAGES001\00131555.pdf
00131556   00131558   6/30/2020 12:13 Attach   CCF06302020.pdf                                     .\VOL009\IMAGES\IMAGES001\00131556.pdf
                                               FW_ I‐495 and I‐270 Managed Lanes Study‐‐Dead
00131559   00131560   6/30/2020 14:00 Email    R....pdf                                            .\VOL009\IMAGES\IMAGES001\00131559.pdf
00131561   00131563   6/30/2020 14:00 Attach   CCF06302020.pdf                                     .\VOL009\IMAGES\IMAGES001\00131561.pdf
                                               MDOTSHA_R_Newman I495 I270 Managed Lane Study
00131564   00131566   6/30/2020 14:30 Attach   (MLS) Arch Rpts for Review.pdf                      .\VOL009\IMAGES\IMAGES001\00131564.pdf

00131567   00131569   6/30/2020 17:38 Email    MLS email text, Tribal Info forms and contact info  .\VOL009\IMAGES\IMAGES001\00131567.pdf
00131570   00131570   6/30/2020 17:38 Attach   MLS_Absentee Shawnee Tribe of Oklahoma.pdf          .\VOL009\IMAGES\IMAGES001\00131570.pdf
00131571   00131571   6/30/2020 17:38 Attach   MLS_Delaware Nation.pdf                             .\VOL009\IMAGES\IMAGES001\00131571.pdf
00131572   00131572   6/30/2020 17:38 Attach   MLS_Delaware Tribe of Indians.pdf                   .\VOL009\IMAGES\IMAGES001\00131572.pdf
00131573   00131573   6/30/2020 17:38 Attach   MLS_Eastern Shawnee Tribe.pdf                       .\VOL009\IMAGES\IMAGES001\00131573.pdf
00131574   00131574   6/30/2020 17:38 Attach   MLS_Oneida.pdf                                      .\VOL009\IMAGES\IMAGES001\00131574.pdf
00131575   00131575   6/30/2020 17:38 Attach   MLS_Onondaga.pdf                                    .\VOL009\IMAGES\IMAGES001\00131575.pdf
00131576   00131576   6/30/2020 17:38 Attach   MLS_Saint Regis Mohawk.pdf                          .\VOL009\IMAGES\IMAGES001\00131576.pdf
00131577   00131577   6/30/2020 17:38 Attach   MLS_Seneca‐Cayuga Nation.pdf                        .\VOL009\IMAGES\IMAGES001\00131577.pdf
00131578   00131578   6/30/2020 17:38 Attach   MLS_Shawnee Tribe.pdf                               .\VOL009\IMAGES\IMAGES001\00131578.pdf
00131579   00131579   6/30/2020 17:38 Attach   MLS_Tuscarora Nation.pdf                            .\VOL009\IMAGES\IMAGES001\00131579.pdf
00131580   00131580     7/1/2020 7:28 Email    PH Flyer                                            .\VOL009\IMAGES\IMAGES001\00131580.pdf
00131581   00131581     7/1/2020 7:45 Email    RE: PH Flyer                                        .\VOL009\IMAGES\IMAGES001\00131581.pdf
                                               RE: Section 106 correspondence: I‐495/I‐270 Managed
00131582   00131583    7/1/2020 13:13 Email    Lanes Study                                         .\VOL009\IMAGES\IMAGES001\00131582.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: P3 Program
00131584   00131585    7/1/2020 13:55 Email    notes (6.16.20)                                     .\VOL009\IMAGES\IMAGES001\00131584.pdf
                                               2020‐06‐16_FHWA Coordination Meeting Notes_P3
00131586   00131587    7/1/2020 13:55 Attach   Program.docx                                        .\VOL009\IMAGES\IMAGES001\00131586.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: MLS notes
00131588   00131589    7/1/2020 13:55 Email    (6.16.20)                                           .\VOL009\IMAGES\IMAGES001\00131588.pdf
                                               2020‐06‐16_FHWA Coordination Meeting
00131590   00131590    7/1/2020 13:55 Attach   Notes_MLS.DOCX                                      .\VOL009\IMAGES\IMAGES001\00131590.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: MLS notes
00131591   00131592    7/1/2020 13:55 Email    (6.16.20)                                           .\VOL009\IMAGES\IMAGES001\00131591.pdf
                                               2020‐06‐16_FHWA Coordination Meeting
00131593   00131593    7/1/2020 13:55 Attach   Notes_MLS.DOCX                                      .\VOL009\IMAGES\IMAGES001\00131593.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                             Page 91 of 263

                                               I‐495/I‐270 FHWA Coordination Meeting: I‐270 Pre‐
00131594   00131595    7/1/2020 13:56 Email    NEPA notes (6.16.20)                                   .\VOL009\IMAGES\IMAGES001\00131594.pdf
                                               20200616‐I‐270_FHWA Coordination Meeting
00131596   00131596    7/1/2020 13:56 Attach   Notes.docx                                             .\VOL009\IMAGES\IMAGES001\00131596.pdf
                                               Project NEXT ‐ RFP Conceptual SAPML Roll Plots ‐ 2020‐
00131597   00131604    7/1/2020 14:02 Attach   04‐10.pdf                                              .\VOL009\IMAGES\IMAGES001\00131597.pdf
00131605   00131606    7/1/2020 14:09 Email    FW: Model Calibration                                  .\VOL009\IMAGES\IMAGES001\00131605.pdf
00131607   00131608    7/1/2020 14:50 Email    RE: Model Calibration                                  .\VOL009\IMAGES\IMAGES001\00131607.pdf

                                               Re: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00131609   00131614    7/1/2020 17:07 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00131609.pdf

                                               FW: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00131615   00131621    7/1/2020 17:50 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00131615.pdf

                                               FW: Request for Extension of Public Comment Period
                                               for “Draft Environmental Impact Statement for I‐495 &
00131622   00131628    7/1/2020 17:50 Email    I‐270 Public‐Private Partnership (P3) Program         .\VOL009\IMAGES\IMAGES001\00131622.pdf
00131629   00131631     7/2/2020 8:25 Email    RE: Model Calibration                                 .\VOL009\IMAGES\IMAGES001\00131629.pdf
00131632   00131633     7/2/2020 8:42 Email    RE: PH Flyer                                          .\VOL009\IMAGES\IMAGES001\00131632.pdf

                                               Drainage Investigation, I‐495 at Moses Lodge
00131634   00131635     7/2/2020 9:00 Email    Cemetery Property ‐ 20‐DM‐MO‐007 ‐ (OP3) ‐ N18‐026 .\VOL009\IMAGES\IMAGES001\00131634.pdf

                                               Drainage Investigation, I‐495 at Moses Lodge
00131636   00131637     7/2/2020 9:00 Email    Cemetery Property ‐ 20‐DM‐MO‐007 ‐ (OP3) ‐ N18‐026 .\VOL009\IMAGES\IMAGES001\00131636.pdf
00131638   00131641    7/2/2020 12:25 Email    RE: Model Calibration                              .\VOL009\IMAGES\IMAGES001\00131638.pdf
00131642   00131646    7/2/2020 12:44 Email    RE: Model Calibration                              .\VOL009\IMAGES\IMAGES001\00131642.pdf
00131647   00131647    7/2/2020 13:31 Edoc     El Tiempo Insertion.docx                           .\VOL009\IMAGES\IMAGES001\00131647.pdf
00131648   00131650    7/2/2020 14:32 Email    RE: Model Calibration                              .\VOL009\IMAGES\IMAGES001\00131648.pdf
00131651   00131651    7/2/2020 15:15 Edoc     Sun Gazette Fairfax Insertion.docx                 .\VOL009\IMAGES\IMAGES001\00131651.pdf
00131652   00131652    7/2/2020 15:17 Edoc     Fairfax County Times Insertion.docx                .\VOL009\IMAGES\IMAGES002\00131652.pdf
00131653   00131653    7/2/2020 15:54 Edoc     Enquirer Gazette Insertion.docx                    .\VOL009\IMAGES\IMAGES002\00131653.pdf

00131654   00131655    7/2/2020 15:55 Edoc     I‐495_I‐270_Hearing_Flyer_8.5x10.875_rd51_ES.pdf   .\VOL009\IMAGES\IMAGES002\00131654.pdf
00131656   00131656    7/2/2020 15:58 Edoc     FredNewsPost Insertion.docx                        .\VOL009\IMAGES\IMAGES002\00131656.pdf
00131657   00131657    7/2/2020 16:12 Edoc     Washington Hispanic Insertion.docx                 .\VOL009\IMAGES\IMAGES002\00131657.pdf
00131658   00131658    7/2/2020 16:24 Edoc     HowardCountyTimes Insertion.docx                   .\VOL009\IMAGES\IMAGES002\00131658.pdf
00131659   00131659    7/2/2020 16:25 Edoc     LaurelLeader Insertion.docx                        .\VOL009\IMAGES\IMAGES002\00131659.pdf
00131660   00131660    7/2/2020 16:27 Email    MLS Documents Total Pages and File Size Table      .\VOL009\IMAGES\IMAGES002\00131660.pdf
                                               I‐495 & I‐270 MLS Reforestation Opportunities on
                                               USDA GWCC Campus‐ Summary of 5/14 Meeting &
00131661   00131669    7/2/2020 16:38 Email    6/12 Field Investigation                           .\VOL009\IMAGES\IMAGES002\00131661.pdf
00131670   00131671    7/2/2020 16:42 Email    MLS DEIS ‐ Virtual Hearing Attendance              .\VOL009\IMAGES\IMAGES002\00131670.pdf

00131672   00131673    7/2/2020 18:08 Edoc     I‐495_I‐270_Hearing_Flyer_8.5x10.875_rd51_FRE.pdf .\VOL009\IMAGES\IMAGES002\00131672.pdf

00131674   00131675    7/2/2020 20:46 Edoc     I‐495_I‐270_Hearing_Flyer_8.5x10.875_rd51_AM.pdf   .\VOL009\IMAGES\IMAGES002\00131674.pdf

00131676   00131678     7/6/2020 9:51 Edoc     495‐270MLS_PublicEmail_Hearings_06252020.docx      .\VOL009\IMAGES\IMAGES002\00131676.pdf
00131679   00131679    7/6/2020 10:56 Edoc     PG Post Insertion.docx                             .\VOL009\IMAGES\IMAGES002\00131679.pdf
00131680   00131681    7/6/2020 13:29 Email    RE: NPS Signing                                    .\VOL009\IMAGES\IMAGES002\00131680.pdf
00131682   00131686    7/6/2020 13:51 Email    RE: NPS Signing                                    .\VOL009\IMAGES\IMAGES002\00131682.pdf
00131687   00131688    7/6/2020 14:05 Email    RE: NPS Signing                                    .\VOL009\IMAGES\IMAGES002\00131687.pdf
00131689   00131691    7/6/2020 15:16 Email    RE: NPS Signing                                    .\VOL009\IMAGES\IMAGES002\00131689.pdf

00131692   00131692    7/6/2020 15:17 Attach   2020‐07‐07_FHWA Coordination Mtg Agenda.docx       .\VOL009\IMAGES\IMAGES002\00131692.pdf

                                               I‐495_I‐
00131693   00131693    7/6/2020 15:30 Edoc     270_Print_Ad_10.75x10_Spanish_2020_rd01_PQ.pdf     .\VOL009\IMAGES\IMAGES002\00131693.pdf

00131694   00131694    7/6/2020 20:04 Edoc     FINAL_DEIS Public Viewing ‐ ALL Locations 6‐29‐20.xlsx .\VOL009\IMAGES\IMAGES002\00131694.pdf   .\VOL009\NATIVES\NATIVES002\00131694.XLSX
00131695   00131696     7/7/2020 7:42 Email    FW: MLS DEIS ‐ Virtual Hearing Attendance              .\VOL009\IMAGES\IMAGES002\00131695.pdf
                                               FW: I‐495 & I‐270 FHWA Coordination Meeting
00131697   00131698    7/7/2020 11:18 Email    Schedule                                               .\VOL009\IMAGES\IMAGES002\00131697.pdf
00131699   00131700    7/7/2020 11:54 Edoc     I‐495 I‐270_Digital Ad_160x600_rd01_proof.pdf          .\VOL009\IMAGES\IMAGES002\00131699.pdf
00131701   00131704    7/7/2020 11:59 Attach   MLS Meeting Discussion_07‐07‐20.docx                   .\VOL009\IMAGES\IMAGES002\00131701.pdf
                                               FW: I‐495 & I‐270 FHWA Coordination Meeting
00131705   00131707    7/7/2020 12:42 Email    Schedule                                               .\VOL009\IMAGES\IMAGES002\00131705.pdf
                                               RE: I‐495 & I‐270 FHWA Coordination Meeting
00131708   00131710    7/7/2020 12:44 Email    Schedule                                               .\VOL009\IMAGES\IMAGES002\00131708.pdf

00131711   00131712    7/7/2020 12:57 Edoc     I‐495 I‐270_Digital Ad_300x50_2020_rd01_proof.pdf .\VOL009\IMAGES\IMAGES002\00131711.pdf
                                               RE: I‐495 & I‐270 FHWA Coordination Meeting
00131713   00131715    7/7/2020 15:11 Email    Schedule                                          .\VOL009\IMAGES\IMAGES002\00131713.pdf
00131716   00131745    7/7/2020 15:35 Attach   Gude_Wootton_SlideDeck_20200706.pptx              .\VOL009\IMAGES\IMAGES002\00131716.pdf
00131746   00131746    7/8/2020 10:39 Email    RE: NPS Signing                                   .\VOL009\IMAGES\IMAGES002\00131746.pdf
00131747   00131748    7/8/2020 10:46 Email    RE: NPS Signing                                   .\VOL009\IMAGES\IMAGES002\00131747.pdf
00131749   00131749    7/8/2020 14:54 Edoc     Draft AutoReply_MLSNEPA_and_P3Email.docx          .\VOL009\IMAGES\IMAGES002\00131749.pdf
00131750   00131750    7/8/2020 17:27 Edoc     HomepageSliderMLS_NEPAReview.docx                 .\VOL009\IMAGES\IMAGES002\00131750.pdf
00131751   00131751     7/9/2020 5:05 Edoc     DEIS‐JPA‐DocumentAvailability‐071020.pdf          .\VOL009\IMAGES\IMAGES002\00131751.pdf
00131752   00131752     7/9/2020 7:12 Edoc     FINAL_All Meeting Locations Map.pdf               .\VOL009\IMAGES\IMAGES002\00131752.pdf
                                               495‐
                                               270MLS_ElectedOfficialEmail_Hearings_06252020.doc
00131753   00131755     7/9/2020 8:33 Edoc     x                                                 .\VOL009\IMAGES\IMAGES002\00131753.pdf
00131756   00131757    7/9/2020 10:40 Email    I‐495 & I‐270 MLS DEIS Availability               .\VOL009\IMAGES\IMAGES002\00131756.pdf
00131758   00131759    7/9/2020 10:40 Email    I‐495 & I‐270 MLS DEIS Availability               .\VOL009\IMAGES\IMAGES002\00131758.pdf
00131760   00131762    7/9/2020 11:38 Email    FW: I‐495 & I‐270 MLS DEIS Availability           .\VOL009\IMAGES\IMAGES002\00131760.pdf
                                               Admin DEIS_MNCPPC Comment Errata
00131763   00131820    7/9/2020 17:30 Attach   Table_Responses_FINAL_June 2020.pdf               .\VOL009\IMAGES\IMAGES002\00131763.pdf
                                               20200710_press release_I‐495 I‐270 DEIS Published
00131821   00131823    7/10/2020 7:40 Edoc     and Public Hearings Scheduled.pdf                 .\VOL009\IMAGES\IMAGES002\00131821.pdf
                                               Signing question/advice for managed lanes in
00131824   00131824    7/10/2020 9:24 Email    Maryland.                                         .\VOL009\IMAGES\IMAGES002\00131824.pdf
                                               Conceptual Guide Signing_B‐W Parkway at I‐495
00131825   00131826    7/10/2020 9:24 Attach   Interchange_05.28.20.pdf                          .\VOL009\IMAGES\IMAGES002\00131825.pdf
00131827   00131827    7/10/2020 9:24 Attach   NPS Conceptial Guide Signing.pdf                  .\VOL009\IMAGES\IMAGES002\00131827.pdf

                                               FHWA and MDOT SHA releases I‐495 & I‐270 Managed
                                               Lanes Study Draft Environmental Impact Statement
00131828   00131830   7/10/2020 10:04 Email    (DEIS) and Draft Section 4(f) Evaluation         .\VOL009\IMAGES\IMAGES002\00131828.pdf
     Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                         Page 92 of 263

                                               FHWA and MDOT SHA releases I‐495 & I‐270 Managed
                                               Lanes Study Draft Environmental Impact Statement
00131831   00131833   7/10/2020 10:04 Email    (DEIS) and Draft Section 4(f) Evaluation         .\VOL009\IMAGES\IMAGES002\00131831.pdf

                                               Re: FHWA and MDOT SHA releases I‐495 & I‐270
                                               Managed Lanes Study Draft Environmental Impact
00131834   00131837   7/10/2020 10:40 Email    Statement (DEIS) and Draft Section 4(f) Evaluation      .\VOL009\IMAGES\IMAGES002\00131834.pdf

00131838   00131840   7/10/2020 13:46 Email    RE: MLS DEIS ‐ Virtual Hearing Attendance Logistics     .\VOL009\IMAGES\IMAGES002\00131838.pdf
00131841   00131842   7/10/2020 15:18 Email    RE: MD Action Plan                                      .\VOL009\IMAGES\IMAGES002\00131841.pdf

                                               Re: FHWA and MDOT SHA releases I‐495 & I‐270
                                               Managed Lanes Study Draft Environmental Impact
00131843   00131846   7/10/2020 22:30 Email    Statement (DEIS) and Draft Section 4(f) Evaluation      .\VOL009\IMAGES\IMAGES002\00131843.pdf
00131847   00131848    7/13/2020 8:59 Email    FW: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00131847.pdf
00131849   00131849   7/13/2020 10:14 Email    Schedule                                                .\VOL009\IMAGES\IMAGES002\00131849.pdf
                                               RE: Signing question/advice for managed lanes in
00131850   00131851    7/14/2020 9:49 Email    Maryland.                                               .\VOL009\IMAGES\IMAGES002\00131850.pdf
                                               FW_ MDOT SHA I‐495 and I‐270 Managed Lane
00131852   00131862   7/14/2020 11:29 Email    Study...(1).pdf                                         .\VOL009\IMAGES\IMAGES002\00131852.pdf
                                               I‐495_I‐
00131863   00131863   7/14/2020 11:29 Edoc     270_Hearing_Flyer_11x17_Eng_rd02_proof.pdf              .\VOL009\IMAGES\IMAGES002\00131863.pdf

00131864   00131864   7/14/2020 11:49 Edoc     I‐495_I‐270_Hearing_Flyer_11x17_ES_rd02_proof.pdf .\VOL009\IMAGES\IMAGES002\00131864.pdf
                                               I‐495_I‐
00131865   00131865   7/14/2020 11:52 Edoc     270_Hearing_Flyer_11x17_FRE_rd02_proof.pdf         .\VOL009\IMAGES\IMAGES002\00131865.pdf
                                               RE: USACE Dashboard updates to I‐495/I‐270 Managed
00131866   00131867   7/14/2020 11:53 Email    Lanes Study (UNCLASSIFIED)                         .\VOL009\IMAGES\IMAGES002\00131866.pdf

00131868   00131868   7/14/2020 11:54 Edoc     I‐495_I‐270_Hearing_Flyer_11x17_AM_rd02_proof.pdf .\VOL009\IMAGES\IMAGES002\00131868.pdf
00131869   00131869   7/14/2020 13:47 Email    I‐495 & I‐270 MLS DEIS‐ Errata Response               .\VOL009\IMAGES\IMAGES002\00131869.pdf
                                               DEIS_Admin DEIS_Agency Comment Errata
00131870   00131871   7/14/2020 13:47 Attach   Master_DNR_June2020.pdf                               .\VOL009\IMAGES\IMAGES002\00131870.pdf
00131872   00131872   7/14/2020 13:49 Email    I‐495 & I‐270 MLS‐ DEIS Errata Response               .\VOL009\IMAGES\IMAGES002\00131872.pdf
                                               DEIS_Admin DEIS_Agency Comment Errata
00131873   00131877   7/14/2020 13:49 Attach   Master_EPA_June2020.pdf                               .\VOL009\IMAGES\IMAGES002\00131873.pdf
                                               RE: USACE Dashboard updates to I‐495/I‐270 Managed
00131878   00131879   7/14/2020 16:22 Email    Lanes Study (UNCLASSIFIED)                            .\VOL009\IMAGES\IMAGES002\00131878.pdf
                                               RE: USACE Dashboard updates to I‐495/I‐270 Managed
00131880   00131881   7/14/2020 16:47 Email    Lanes Study (UNCLASSIFIED)                            .\VOL009\IMAGES\IMAGES002\00131880.pdf
                                               RE: USACE Dashboard updates to I‐495/I‐270 Managed
00131882   00131883   7/14/2020 16:54 Email    Lanes Study (UNCLASSIFIED)                            .\VOL009\IMAGES\IMAGES002\00131882.pdf
00131884   00131884    7/15/2020 8:41 Email    draft MDOT SHA letter                                 .\VOL009\IMAGES\IMAGES002\00131884.pdf
                                               Extend the I‐495 and I‐270 comment period to at least
00131885   00131885    7/15/2020 9:39 Email    120 days                                              .\VOL009\IMAGES\IMAGES002\00131885.pdf
                                               RE: I‐495 & I‐270 FHWA Coordination Meeting
00131886   00131889   7/15/2020 10:44 Email    Schedule                                              .\VOL009\IMAGES\IMAGES002\00131886.pdf
                                               Extend the I‐495 and I‐270 comment period to at least
00131890   00131890   7/15/2020 11:30 Email    120 days                                              .\VOL009\IMAGES\IMAGES002\00131890.pdf
                                               RE: I‐495 & I‐270 FHWA Coordination Meeting
00131891   00131895   7/15/2020 11:59 Email    Schedule                                              .\VOL009\IMAGES\IMAGES002\00131891.pdf
                                               Extend the I‐495 and I‐270 comment period to at least
00131896   00131896   7/15/2020 21:49 Email    120 days                                              .\VOL009\IMAGES\IMAGES002\00131896.pdf

00131897   00131899    7/16/2020 9:15 Edoc     MLS_HearingFlyerCoverletter_EJOrgs_Mail_PGC.docx .\VOL009\IMAGES\IMAGES002\00131897.pdf

00131900   00131902    7/16/2020 9:24 Edoc     MLS_HearingFlyerCoverletter_EJOrgs_Mail_MC.docx         .\VOL009\IMAGES\IMAGES002\00131900.pdf

00131903   00131923   7/16/2020 10:27 Attach   Multistate‐Truck‐ZEV‐Governors‐MOU‐20200714.pdf         .\VOL009\IMAGES\IMAGES002\00131903.pdf
                                               M; 35‐12_Morningstar Tabernacle No 88 Moses Hall
00131924   00131943   7/16/2020 12:03 Attach   and Cemetery.pdf                                        .\VOL009\IMAGES\IMAGES002\00131924.pdf
00131944   00131950   7/16/2020 14:09 Attach   City of Rockville Response_July 15 2020.pdf             .\VOL009\IMAGES\IMAGES002\00131944.pdf
                                               2020‐07‐07_FHWA Coordination Meeting
00131951   00131952   7/16/2020 14:56 Edoc     Notes_MLS.DOCX                                          .\VOL009\IMAGES\IMAGES002\00131951.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: P3 Program
00131953   00131954   7/16/2020 14:59 Email    notes (7.7.20)                                          .\VOL009\IMAGES\IMAGES002\00131953.pdf
                                               2020‐07‐07_FHWA Coordination Meeting Notes_P3
00131955   00131956   7/16/2020 14:59 Attach   Program.docx                                            .\VOL009\IMAGES\IMAGES002\00131955.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: I‐270 Pre‐
00131957   00131958   7/16/2020 15:00 Email    NEPA notes (7.7.20)                                     .\VOL009\IMAGES\IMAGES002\00131957.pdf
                                               20200707‐I‐270_FHWA Coordination Meeting
00131959   00131959   7/16/2020 15:00 Attach   Notes.docx                                              .\VOL009\IMAGES\IMAGES002\00131959.pdf
00131960   00131962   7/16/2020 15:02 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00131960.pdf
00131963   00131965   7/16/2020 15:04 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00131963.pdf
                                               RE: Signing question/advice for managed lanes in
00131966   00131968   7/16/2020 15:10 Email    Maryland.                                               .\VOL009\IMAGES\IMAGES002\00131966.pdf
                                               2020‐07‐07_FHWA Coordination Meeting
00131969   00131970   7/16/2020 15:11 Edoc     Notes_MLS_v2.docx                                       .\VOL009\IMAGES\IMAGES002\00131969.pdf
                                               FW: Letter from Congressman Raskin re: I‐495/I‐270
00131971   00131971   7/16/2020 15:46 Email    DEIS                                                    .\VOL009\IMAGES\IMAGES002\00131971.pdf
                                               Extend the I‐495 and I‐270 comment period to at least
00131972   00131972   7/16/2020 16:22 Email    120 days                                                .\VOL009\IMAGES\IMAGES002\00131972.pdf
                                               RE: Signing question/advice for managed lanes in
00131973   00131976    7/17/2020 8:32 Email    Maryland.                                               .\VOL009\IMAGES\IMAGES002\00131973.pdf
00131977   00131980   7/17/2020 12:15 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00131977.pdf
00131981   00131984   7/17/2020 12:20 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00131981.pdf
00131985   00131988   7/17/2020 12:28 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00131985.pdf
00131989   00131992   7/17/2020 12:28 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00131989.pdf

00131993   00131993   7/17/2020 12:31 Edoc     495270_OutreachLocations_all_EmailAddresses.xlsx .\VOL009\IMAGES\IMAGES002\00131993.pdf          .\VOL009\NATIVES\NATIVES002\00131993.XLSX
                                               MLS_HearingFlyerCoverletter_EJOrgs_Email_MCPGC.d
00131994   00131996   7/17/2020 12:34 Edoc     ocx                                              .\VOL009\IMAGES\IMAGES002\00131994.pdf
                                               MLS_HearingFlyerCoverletter_EJOrgs_Email_MCPGC.p
00131997   00131999   7/17/2020 12:35 Edoc     df                                               .\VOL009\IMAGES\IMAGES002\00131997.pdf
00132000   00132003   7/17/2020 12:40 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS             .\VOL009\IMAGES\IMAGES002\00132000.pdf
00132004   00132007   7/17/2020 12:41 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS             .\VOL009\IMAGES\IMAGES002\00132004.pdf
00132008   00132009   7/17/2020 12:48 Email    FW: PH Flyer                                     .\VOL009\IMAGES\IMAGES002\00132008.pdf

00132010   00132010   7/17/2020 12:48 Attach   I‐495_I‐270_Print Ad_12x10.5_rd04_proof_Final.pdf       .\VOL009\IMAGES\IMAGES002\00132010.pdf
00132011   00132015   7/17/2020 13:17 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00132011.pdf
00132016   00132020   7/17/2020 13:38 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                    .\VOL009\IMAGES\IMAGES002\00132016.pdf
                                               REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270 DEIS
00132021   00132021   7/17/2020 13:43 Email    response                                                .\VOL009\IMAGES\IMAGES002\00132021.pdf
00132022   00132023   7/17/2020 16:23 Attach   MD DEIS Comment Period Letter .pdf                      .\VOL009\IMAGES\IMAGES002\00132022.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                     Filed 05/03/23                         Page 93 of 263

00132024   00132024    7/20/2020 9:49 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                      .\VOL009\IMAGES\IMAGES002\00132024.pdf
                                               FW: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132025   00132026    7/20/2020 9:54 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132025.pdf
                                               RE: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132027   00132028    7/20/2020 9:59 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132027.pdf
00132029   00132029   7/20/2020 10:04 Email    RE: draft MDOT SHA letter                                 .\VOL009\IMAGES\IMAGES002\00132029.pdf
                                               RE: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132030   00132031   7/20/2020 10:23 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132030.pdf
00132032   00132038   7/20/2020 10:36 Edoc     City of Rockville Response_July 15 2020.pdf               .\VOL009\IMAGES\IMAGES002\00132032.pdf
                                               FW: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132039   00132040   7/20/2020 12:35 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132039.pdf
                                               RE: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132041   00132043   7/20/2020 12:51 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132041.pdf
00132044   00132046   7/20/2020 13:16 Email    RE: NPS Signing                                           .\VOL009\IMAGES\IMAGES002\00132044.pdf

00132047   00132047   7/20/2020 14:03 Attach   2020‐07‐21_FHWA Coordination Mtg Agenda.docx              .\VOL009\IMAGES\IMAGES002\00132047.pdf
                                               RE: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132048   00132050   7/20/2020 14:12 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132048.pdf
                                               FW: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132051   00132051   7/20/2020 16:05 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132051.pdf
                                               RE: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132052   00132053   7/20/2020 16:29 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132052.pdf
00132054   00132054   7/20/2020 16:29 Attach   RE: eNEPA                                                 .\VOL009\IMAGES\IMAGES002\00132054.pdf
                                               RE: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132055   00132056   7/20/2020 16:29 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132055.pdf
                                               RE: REVIEW REQUESTED: Rep. Raskin re: I‐495/I‐270
00132057   00132058   7/20/2020 16:31 Email    DEIS response                                             .\VOL009\IMAGES\IMAGES002\00132057.pdf
00132059   00132061    7/21/2020 9:07 Email    FW: MLS Public Hearings                                   .\VOL009\IMAGES\IMAGES002\00132059.pdf
                                               AI168251_Day 45 comments_P3 MLS_20‐NT‐
00132062   00132084   7/21/2020 11:26 Attach   0114_Response.pdf                                         .\VOL009\IMAGES\IMAGES002\00132062.pdf
                                               Missing Reference from Managed Lane Study Draft
00132085   00132085   7/21/2020 12:40 Email    Environmental Impact Statement                            .\VOL009\IMAGES\IMAGES002\00132085.pdf
                                               Fw: I‐495 & I‐270 Managed Lanes Study‐ Draft
                                               Environmental Impact Statement and Draft Section
00132086   00132088   7/21/2020 13:14 Email    4(f) Evaluation Notice of Availability                    .\VOL009\IMAGES\IMAGES002\00132086.pdf
00132089   00132090    7/22/2020 6:53 Email    MLS ‐ Response from Monacan Nation                        .\VOL009\IMAGES\IMAGES002\00132089.pdf
00132091   00132092    7/22/2020 6:53 Attach   Monacan_decline_6_3_2020_495_MLS.pdf                      .\VOL009\IMAGES\IMAGES002\00132091.pdf
00132093   00132094    7/22/2020 9:47 Email    Re: Moses Cemetery Property Question                      .\VOL009\IMAGES\IMAGES002\00132093.pdf
00132095   00132095   7/23/2020 12:57 Attach   MLS_Tuscarora Nation.pdf                                  .\VOL009\IMAGES\IMAGES002\00132095.pdf
                                               I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00132096   00132098   7/23/2020 15:35 Email    Section 106 Update and Materials                          .\VOL009\IMAGES\IMAGES002\00132096.pdf
                                               Fwd: I‐495 & I‐270 Managed Lanes Study‐ Draft
                                               Environmental Impact Statement and Draft Section
00132099   00132101   7/23/2020 15:43 Email    4(f) Evaluation Notice of Availability                    .\VOL009\IMAGES\IMAGES002\00132099.pdf
                                               2020‐497 I‐495 & I‐270 Managed Lanes Study‐ Draft
                                               Environmental Impact Statement and Draft Section
00132102   00132102   7/23/2020 15:43 Attach   4(f) Evaluation Notice of Availability.pdf                .\VOL009\IMAGES\IMAGES002\00132102.pdf

00132103   00132104   7/23/2020 16:35 Email    I‐495 and I‐270 Managed Lanes Study ‐ July 2020....pdf .\VOL009\IMAGES\IMAGES002\00132103.pdf
00132105   00132118   7/23/2020 16:35 Attach   MLS Update Letter_2020_July_23.pdf                     .\VOL009\IMAGES\IMAGES002\00132105.pdf
00132119   00132119   7/23/2020 16:43 Attach   MLS_Tuscarora Nation.pdf                               .\VOL009\IMAGES\IMAGES002\00132119.pdf
00132120   00132120   7/23/2020 16:44 Attach   MLS_Onondaga.pdf                                       .\VOL009\IMAGES\IMAGES002\00132120.pdf
00132121   00132121   7/23/2020 16:44 Attach   MLS_Eastern Shawnee Tribe.pdf                          .\VOL009\IMAGES\IMAGES002\00132121.pdf
00132122   00132122   7/23/2020 16:44 Attach   MLS_Oneida.pdf                                         .\VOL009\IMAGES\IMAGES002\00132122.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00132123   00132125   7/23/2020 21:13 Email    Section 106 Update and Materials                       .\VOL009\IMAGES\IMAGES002\00132123.pdf
00132126   00132128    7/24/2020 9:40 Edoc     2020.07.24_Ian Fisher_Follow Up Letter.pdf             .\VOL009\IMAGES\IMAGES002\00132126.pdf
00132129   00132129   7/24/2020 15:18 Edoc     MLS_Onondaga.pdf                                       .\VOL009\IMAGES\IMAGES002\00132129.pdf
00132130   00132130   7/24/2020 15:18 Edoc     MLS_Seneca‐Cayuga Nation.pdf                           .\VOL009\IMAGES\IMAGES002\00132130.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ July 23,
00132131   00132132   7/24/2020 15:26 Email    2020 Section 106 Update and Materials                  .\VOL009\IMAGES\IMAGES002\00132131.pdf
00132133   00132134    7/27/2020 8:39 Email    495 and 270 MLS Keeper Submittal update                .\VOL009\IMAGES\IMAGES002\00132133.pdf
00132135   00132136    7/27/2020 9:39 Email    495 and 270 MLS Keeper Submittal update(1).pdf         .\VOL009\IMAGES\IMAGES002\00132135.pdf
                                               I‐495 I‐270 Public Hearing Display
00132137   00132156   7/27/2020 15:10 Edoc     Boards_Narrated_2020.07.27_final.docx                  .\VOL009\IMAGES\IMAGES002\00132137.pdf
00132157   00132179   7/27/2020 16:04 Edoc     DEIS_ExSummary_06‐02‐2020_ES.pdf                       .\VOL009\IMAGES\IMAGES002\00132157.pdf
00132180   00132201   7/27/2020 16:05 Edoc     DEIS_ExSummary_06‐02‐2020_FR.pdf                       .\VOL009\IMAGES\IMAGES002\00132180.pdf
00132202   00132220   7/27/2020 16:07 Edoc     DEIS_ExSummary_06‐02‐2020_AM.pdf                       .\VOL009\IMAGES\IMAGES002\00132202.pdf
00132221   00132221    7/28/2020 7:36 Email    MDOT‐VDOT Geometric Resolution Meeting #8              .\VOL009\IMAGES\IMAGES002\00132221.pdf

00132222   00132222    7/28/2020 7:36 Attach   Cabin John ‐ River Road Interchange 2020‐07‐24.pdf        .\VOL009\IMAGES\IMAGES002\00132222.pdf
                                               MDOT‐VDOT Geometric Resolution Meeting #8
00132223   00132224    7/28/2020 7:36 Attach   Notes.pdf                                                 .\VOL009\IMAGES\IMAGES002\00132223.pdf
00132225   00132225   7/28/2020 11:09 Email    Don’t widen the beltway                                   .\VOL009\IMAGES\IMAGES002\00132225.pdf
00132226   00132227   7/28/2020 13:08 Email    Public Comment Period ‐ Advanced Copy                     .\VOL009\IMAGES\IMAGES002\00132226.pdf
00132228   00132229   7/28/2020 13:15 Email    FW: Public Comment Period ‐ Advanced Copy                 .\VOL009\IMAGES\IMAGES002\00132228.pdf
                                               2020‐07‐28_495_270 DEIS Comment Period Extension
00132230   00132231   7/28/2020 13:15 Attach   Letter (2).docx                                           .\VOL009\IMAGES\IMAGES002\00132230.pdf
00132232   00132234   7/28/2020 13:24 Email    RE: Public Comment Period ‐ Advanced Copy                 .\VOL009\IMAGES\IMAGES002\00132232.pdf
                                               RE: draft agenda for 7/28 FHWA internal coordination
00132235   00132235   7/28/2020 13:30 Email    meeting                                                   .\VOL009\IMAGES\IMAGES002\00132235.pdf
00132236   00132237   7/28/2020 13:54 Email    RE: Limited Staff at In‐Person Hearings                   .\VOL009\IMAGES\IMAGES002\00132236.pdf

                                               FW: MDOT SHA's Proposed Use of Virtual Public
00132238   00132240   7/28/2020 15:53 Email    Involvement Tools ‐ FHWA Concurrence Requested            .\VOL009\IMAGES\IMAGES002\00132238.pdf
00132241   00132242    7/29/2020 7:39 Email    DEIS Comment Period Extension Request                     .\VOL009\IMAGES\IMAGES002\00132241.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132243   00132243    7/29/2020 9:03 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132243.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132244   00132244    7/29/2020 9:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132244.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132245   00132245    7/29/2020 9:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132245.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132246   00132246    7/29/2020 9:05 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132246.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132247   00132247    7/29/2020 9:07 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132247.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132248   00132248    7/29/2020 9:09 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132248.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132249   00132249    7/29/2020 9:09 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132249.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132250   00132250    7/29/2020 9:10 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132250.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132251   00132251    7/29/2020 9:10 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132251.pdf
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00132252   00132252    7/29/2020 9:11 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132252.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132253   00132253    7/29/2020 9:11 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132253.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132254   00132254    7/29/2020 9:11 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132254.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132255   00132255    7/29/2020 9:11 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132255.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132256   00132256    7/29/2020 9:12 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132256.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132257   00132257    7/29/2020 9:13 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132257.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132258   00132258    7/29/2020 9:14 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132258.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132259   00132259    7/29/2020 9:14 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132259.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132260   00132260    7/29/2020 9:15 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132260.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132261   00132261    7/29/2020 9:15 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132261.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132262   00132262    7/29/2020 9:17 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132262.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132263   00132263    7/29/2020 9:17 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132263.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132264   00132264    7/29/2020 9:19 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132264.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132265   00132265    7/29/2020 9:21 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132265.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132266   00132266    7/29/2020 9:22 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132266.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132267   00132267    7/29/2020 9:23 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132267.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132268   00132268    7/29/2020 9:24 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132268.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132269   00132269    7/29/2020 9:25 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132269.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132270   00132270    7/29/2020 9:25 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132270.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132271   00132271    7/29/2020 9:26 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132271.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132272   00132272    7/29/2020 9:26 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132272.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132273   00132273    7/29/2020 9:26 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132273.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132274   00132274    7/29/2020 9:27 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132274.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132275   00132275    7/29/2020 9:27 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132275.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132276   00132276    7/29/2020 9:29 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132276.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132277   00132277    7/29/2020 9:30 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132277.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132278   00132278    7/29/2020 9:31 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132278.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132279   00132279    7/29/2020 9:31 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132279.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132280   00132280    7/29/2020 9:31 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132280.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132281   00132281    7/29/2020 9:33 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132281.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132282   00132282    7/29/2020 9:33 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132282.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132283   00132283    7/29/2020 9:34 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132283.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132284   00132284    7/29/2020 9:35 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132284.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132285   00132285    7/29/2020 9:41 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132285.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132286   00132286    7/29/2020 9:42 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132286.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132287   00132287    7/29/2020 9:42 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132287.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132288   00132288    7/29/2020 9:43 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132288.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132289   00132289    7/29/2020 9:45 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132289.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132290   00132290    7/29/2020 9:47 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132290.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132291   00132291    7/29/2020 9:47 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132291.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132292   00132292    7/29/2020 9:50 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132292.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132293   00132293    7/29/2020 9:51 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132293.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132294   00132294    7/29/2020 9:51 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132294.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132295   00132295    7/29/2020 9:51 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132295.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132296   00132296    7/29/2020 9:52 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132296.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132297   00132297    7/29/2020 9:54 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132297.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132298   00132298    7/29/2020 9:55 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132298.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132299   00132299    7/29/2020 9:55 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132299.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132300   00132300    7/29/2020 9:58 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132300.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132301   00132301    7/29/2020 9:58 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132301.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132302   00132302   7/29/2020 10:01 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132302.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132303   00132303   7/29/2020 10:01 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132303.pdf
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                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132304   00132304   7/29/2020 10:03 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132304.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132305   00132305   7/29/2020 10:03 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132305.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132306   00132306   7/29/2020 10:04 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132306.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132307   00132307   7/29/2020 10:05 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132307.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132308   00132308   7/29/2020 10:12 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132308.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132309   00132309   7/29/2020 10:13 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132309.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132310   00132310   7/29/2020 10:14 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132310.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132311   00132311   7/29/2020 10:15 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132311.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132312   00132312   7/29/2020 10:22 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132312.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132313   00132313   7/29/2020 10:22 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132313.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132314   00132314   7/29/2020 10:29 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132314.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132315   00132315   7/29/2020 10:34 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132315.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132316   00132316   7/29/2020 10:40 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132316.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132317   00132317   7/29/2020 10:42 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132317.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132318   00132318   7/29/2020 10:52 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132318.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132319   00132319   7/29/2020 10:53 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132319.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132320   00132320   7/29/2020 10:55 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132320.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132321   00132321   7/29/2020 11:00 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132321.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132322   00132322   7/29/2020 11:00 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132322.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132323   00132323   7/29/2020 11:05 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132323.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132324   00132324   7/29/2020 11:09 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132324.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132325   00132325   7/29/2020 11:13 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132325.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132326   00132326   7/29/2020 11:13 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132326.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132327   00132327   7/29/2020 11:14 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132327.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132328   00132328   7/29/2020 11:15 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132328.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132329   00132329   7/29/2020 11:18 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132329.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132330   00132330   7/29/2020 11:21 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132330.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132331   00132331   7/29/2020 11:25 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132331.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132332   00132332   7/29/2020 11:28 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132332.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132333   00132333   7/29/2020 11:28 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132333.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132334   00132334   7/29/2020 11:30 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132334.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132335   00132335   7/29/2020 11:30 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132335.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132336   00132336   7/29/2020 11:31 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132336.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132337   00132337   7/29/2020 11:33 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132337.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132338   00132338   7/29/2020 11:34 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132338.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132339   00132339   7/29/2020 11:35 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132339.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132340   00132340   7/29/2020 11:36 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132340.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132341   00132341   7/29/2020 11:36 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132341.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132342   00132342   7/29/2020 11:38 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132342.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132343   00132343   7/29/2020 11:39 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132343.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132344   00132344   7/29/2020 11:42 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132344.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132345   00132345   7/29/2020 11:48 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132345.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132346   00132346   7/29/2020 11:49 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132346.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132347   00132347   7/29/2020 11:49 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132347.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132348   00132348   7/29/2020 11:54 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132348.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132349   00132349   7/29/2020 11:54 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132349.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132350   00132350   7/29/2020 11:55 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132350.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132351   00132351   7/29/2020 12:00 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132351.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132352   00132352   7/29/2020 12:00 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132352.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132353   00132353   7/29/2020 12:03 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132353.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132354   00132354   7/29/2020 12:05 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132354.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132355   00132355   7/29/2020 12:05 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132355.pdf
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                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132356   00132356   7/29/2020 12:06 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132356.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132357   00132357   7/29/2020 12:07 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132357.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132358   00132358   7/29/2020 12:11 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132358.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132359   00132359   7/29/2020 12:12 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132359.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132360   00132360   7/29/2020 12:16 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132360.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132361   00132361   7/29/2020 12:21 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132361.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132362   00132362   7/29/2020 12:28 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132362.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132363   00132363   7/29/2020 12:30 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132363.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132364   00132364   7/29/2020 12:31 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132364.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132365   00132365   7/29/2020 12:37 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132365.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132366   00132366   7/29/2020 12:40 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132366.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132367   00132367   7/29/2020 12:42 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132367.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132368   00132368   7/29/2020 12:42 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132368.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132369   00132369   7/29/2020 12:46 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132369.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132370   00132370   7/29/2020 12:47 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132370.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132371   00132371   7/29/2020 12:48 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132371.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132372   00132372   7/29/2020 12:56 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132372.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132373   00132373   7/29/2020 12:58 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132373.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132374   00132374   7/29/2020 13:07 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132374.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132375   00132375   7/29/2020 13:11 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132375.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132376   00132376   7/29/2020 13:14 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132376.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132377   00132377   7/29/2020 13:16 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132377.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132378   00132378   7/29/2020 13:19 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132378.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132379   00132379   7/29/2020 13:21 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132379.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132380   00132380   7/29/2020 13:21 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132380.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132381   00132381   7/29/2020 13:25 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132381.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132382   00132382   7/29/2020 13:25 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132382.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132383   00132383   7/29/2020 13:36 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132383.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132384   00132384   7/29/2020 13:39 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132384.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132385   00132385   7/29/2020 13:45 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132385.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132386   00132386   7/29/2020 13:49 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132386.pdf
                                              MLS_VirtualPublicHearing_FacilitatorScript_20200728
00132387   00132390   7/29/2020 13:54 Edoc    JP.docx                                                   .\VOL009\IMAGES\IMAGES002\00132387.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132391   00132391   7/29/2020 13:56 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132391.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132392   00132392   7/29/2020 13:56 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132392.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132393   00132393   7/29/2020 13:57 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132393.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132394   00132394   7/29/2020 13:59 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132394.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132395   00132395   7/29/2020 14:06 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132395.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132396   00132396   7/29/2020 14:12 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132396.pdf
00132397   00132397   7/29/2020 14:15 Email   RE: Moses Cemetery Survey                                 .\VOL009\IMAGES\IMAGES002\00132397.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132398   00132398   7/29/2020 14:17 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132398.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132399   00132399   7/29/2020 14:18 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132399.pdf

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00132400   00132401   7/29/2020 14:20 Edoc    270_Hearing_Flyer_8x10.375_rd51_proof_Final.pdf           .\VOL009\IMAGES\IMAGES002\00132400.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132402   00132402   7/29/2020 14:22 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132402.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132403   00132403   7/29/2020 14:24 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132403.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132404   00132404   7/29/2020 14:25 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132404.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132405   00132405   7/29/2020 14:25 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132405.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132406   00132406   7/29/2020 14:27 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132406.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132407   00132407   7/29/2020 14:28 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132407.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132408   00132408   7/29/2020 14:28 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132408.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132409   00132409   7/29/2020 14:41 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132409.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132410   00132410   7/29/2020 14:44 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132410.pdf
                                              I have concerns about the Draft EIS on the I‐495 and I‐
00132411   00132411   7/29/2020 14:46 Email   270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132411.pdf
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                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132412   00132412   7/29/2020 14:46 Email    270 plan                                                .\VOL009\IMAGES\IMAGES002\00132412.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132413   00132413   7/29/2020 14:52 Email    270 plan                                                .\VOL009\IMAGES\IMAGES002\00132413.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132414   00132414   7/29/2020 14:53 Email    270 plan                                                .\VOL009\IMAGES\IMAGES002\00132414.pdf

00132415   00132421   7/29/2020 14:53 Edoc     I‐495_I‐270_Brochure_Mailer_2020_rd52_FINAL.pdf           .\VOL009\IMAGES\IMAGES002\00132415.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132422   00132422   7/29/2020 15:02 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132422.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132423   00132423   7/29/2020 15:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132423.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132424   00132424   7/29/2020 15:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132424.pdf
00132425   00132426   7/29/2020 15:05 Email    FW: DEIS Comment Period Extension Request                 .\VOL009\IMAGES\IMAGES002\00132425.pdf
00132427   00132428   7/29/2020 15:05 Email    Re: Moses Cemetery Survey                                 .\VOL009\IMAGES\IMAGES002\00132427.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132429   00132429   7/29/2020 15:06 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132429.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132430   00132430   7/29/2020 15:10 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132430.pdf
                                               Cultural Resources Tech Report_Responses to
00132431   00132458   7/29/2020 15:11 Attach   Consulting Parties (1).pdf                                .\VOL009\IMAGES\IMAGES002\00132431.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132459   00132459   7/29/2020 15:11 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132459.pdf
00132460   00132462   7/29/2020 15:13 Email    FW: DEIS Comment Period Extension Request                 .\VOL009\IMAGES\IMAGES002\00132460.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132463   00132463   7/29/2020 15:25 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132463.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132464   00132464   7/29/2020 15:26 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132464.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132465   00132465   7/29/2020 15:28 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132465.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132466   00132466   7/29/2020 15:31 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132466.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132467   00132467   7/29/2020 15:33 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132467.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132468   00132468   7/29/2020 15:34 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132468.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132469   00132469   7/29/2020 15:36 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132469.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132470   00132470   7/29/2020 15:44 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132470.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132471   00132471   7/29/2020 15:48 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132471.pdf
00132472   00132473   7/29/2020 15:49 Email    Fisher Request                                            .\VOL009\IMAGES\IMAGES002\00132472.pdf
                                               Missing Reference from Managed Lane Study Draft
00132474   00132474   7/29/2020 15:49 Attach   Environmental Impact Statement                            .\VOL009\IMAGES\IMAGES002\00132474.pdf
00132475   00132477   7/29/2020 15:51 Edoc     2020‐07‐10 MLS DEIS Release.pdf                           .\VOL009\IMAGES\IMAGES002\00132475.pdf
                                               Falloon 825336 Response: I‐495 and I‐270 Expansion
00132478   00132479   7/29/2020 15:57 Attach   Plans                                                     .\VOL009\IMAGES\IMAGES002\00132478.pdf

                                               Kosterlitz 825337 Response: Please Expand Comment
00132480   00132481   7/29/2020 15:57 Attach   Period on the P3 Highway Widening Idea                    .\VOL009\IMAGES\IMAGES002\00132480.pdf

                                               Ziegenfuss 825340 Response: Extend the Comment
00132482   00132483   7/29/2020 15:57 Attach   Period for the DEIS on Beltway Widening                   .\VOL009\IMAGES\IMAGES002\00132482.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132484   00132484   7/29/2020 16:05 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132484.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132485   00132485   7/29/2020 16:06 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132485.pdf
                                               Missing Reference from Managed Lane Study Draft
00132486   00132486   7/29/2020 16:08 Attach   Environmental Impact Statement                            .\VOL009\IMAGES\IMAGES002\00132486.pdf
00132487   00132489   7/29/2020 16:09 Email    RE: DEIS Comment Period Extension Request                 .\VOL009\IMAGES\IMAGES002\00132487.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132490   00132490   7/29/2020 16:16 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132490.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132491   00132491   7/29/2020 16:25 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132491.pdf
00132492   00132494   7/29/2020 16:27 Email    FW: Fisher Request                                        .\VOL009\IMAGES\IMAGES002\00132492.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132495   00132495   7/29/2020 16:31 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132495.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132496   00132496   7/29/2020 16:43 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132496.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132497   00132497   7/29/2020 16:44 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132497.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132498   00132498   7/29/2020 16:57 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132498.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132499   00132499   7/29/2020 17:09 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132499.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132500   00132500   7/29/2020 17:13 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132500.pdf
00132501   00132502   7/29/2020 17:26 Email    I‐495 & I‐270 MLS‐ DEIS Comment Period                    .\VOL009\IMAGES\IMAGES002\00132501.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132503   00132503   7/29/2020 17:32 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132503.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132504   00132504   7/29/2020 17:42 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132504.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132505   00132505   7/29/2020 17:46 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132505.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132506   00132506   7/29/2020 17:54 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132506.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132507   00132507   7/29/2020 18:03 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132507.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132508   00132508   7/29/2020 18:10 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132508.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132509   00132509   7/29/2020 18:15 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132509.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132510   00132510   7/29/2020 18:20 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132510.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132511   00132511   7/29/2020 18:42 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132511.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132512   00132512   7/29/2020 18:53 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132512.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132513   00132513   7/29/2020 19:00 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132513.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132514   00132514   7/29/2020 19:08 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132514.pdf
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                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132515   00132515   7/29/2020 19:18 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132515.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132516   00132516   7/29/2020 19:37 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132516.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132517   00132517   7/29/2020 19:40 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132517.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132518   00132518   7/29/2020 19:42 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132518.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132519   00132519   7/29/2020 19:53 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132519.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132520   00132520   7/29/2020 20:03 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132520.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132521   00132521   7/29/2020 20:16 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132521.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132522   00132522   7/29/2020 20:17 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132522.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132523   00132523   7/29/2020 20:29 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132523.pdf
00132524   00132525   7/29/2020 21:04 Email    Re: I‐495 & I‐270 MLS‐ DEIS Comment Period                .\VOL009\IMAGES\IMAGES002\00132524.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132526   00132526   7/29/2020 21:47 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132526.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132527   00132527   7/29/2020 21:51 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132527.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132528   00132528   7/29/2020 22:17 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132528.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132529   00132529   7/29/2020 22:24 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132529.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132530   00132530   7/29/2020 22:29 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132530.pdf

                                               The Draft EIS on the I‐495 and I‐270 plan is way too
00132531   00132531   7/29/2020 22:42 Email    long underscore the flawed nature of the project          .\VOL009\IMAGES\IMAGES002\00132531.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132532   00132532   7/29/2020 23:22 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132532.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132533   00132533    7/30/2020 0:38 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132533.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132534   00132534    7/30/2020 0:54 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132534.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132535   00132535    7/30/2020 1:18 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132535.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132536   00132536    7/30/2020 1:49 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132536.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132537   00132537    7/30/2020 2:19 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132537.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132538   00132538    7/30/2020 4:56 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132538.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132539   00132539    7/30/2020 7:06 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132539.pdf
00132540   00132541    7/30/2020 7:18 Email    FW: I‐495 & I‐270 MLS‐ DEIS Comment Period                .\VOL009\IMAGES\IMAGES002\00132540.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132542   00132542    7/30/2020 7:39 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132542.pdf
                                               RE: [Non‐DoD Source] Re: I‐495 & I‐270 MLS‐ DEIS
00132543   00132546    7/30/2020 7:43 Email    Comment Period                                            .\VOL009\IMAGES\IMAGES002\00132543.pdf
                                               RE: [Non‐DoD Source] Re: I‐495 & I‐270 MLS‐ DEIS
00132547   00132550    7/30/2020 7:47 Email    Comment Period                                            .\VOL009\IMAGES\IMAGES002\00132547.pdf
                                               Re: [Non‐DoD Source] Re: I‐495 & I‐270 MLS‐ DEIS
00132551   00132556    7/30/2020 8:05 Email    Comment Period                                            .\VOL009\IMAGES\IMAGES002\00132551.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132557   00132557    7/30/2020 8:10 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132557.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132558   00132558    7/30/2020 8:13 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132558.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132559   00132559    7/30/2020 8:31 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132559.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132560   00132560    7/30/2020 8:33 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132560.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00132561   00132565    7/30/2020 8:34 Email    Section 106 Update and Materials                          .\VOL009\IMAGES\IMAGES002\00132561.pdf
00132566   00132568    7/30/2020 8:39 Email    FW: DEIS Comment Period Extension Request                 .\VOL009\IMAGES\IMAGES002\00132566.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132569   00132569    7/30/2020 9:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132569.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132570   00132570    7/30/2020 9:11 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132570.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132571   00132571    7/30/2020 9:30 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132571.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132572   00132572   7/30/2020 10:01 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132572.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132573   00132573   7/30/2020 10:03 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132573.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132574   00132574   7/30/2020 10:15 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132574.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132575   00132575   7/30/2020 10:19 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132575.pdf
                                               FW: MDOT SHA's Proposed Use of Virtual Public
00132576   00132576   7/30/2020 11:02 Email    Involvement Tools ‐ comments                              .\VOL009\IMAGES\IMAGES002\00132576.pdf
                                               2020 07 20 VPI letter to FHWA Donna Buscemi
00132577   00132578   7/30/2020 11:02 Attach   revised.docx                                              .\VOL009\IMAGES\IMAGES002\00132577.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132579   00132579   7/30/2020 11:12 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132579.pdf
                                               FW: MDOT SHA's Proposed Use of Virtual Public
00132580   00132581   7/30/2020 11:27 Email    Involvement Tools ‐ comments                              .\VOL009\IMAGES\IMAGES002\00132580.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132582   00132582   7/30/2020 12:16 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132582.pdf
00132583   00132586   7/30/2020 12:24 Email    FW: DEIS Comment Period Extension Request                 .\VOL009\IMAGES\IMAGES002\00132583.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132587   00132587   7/30/2020 12:28 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132587.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132588   00132588   7/30/2020 12:51 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132588.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132589   00132589   7/30/2020 12:52 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132589.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132590   00132590   7/30/2020 13:16 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132590.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132591   00132591   7/30/2020 13:36 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132591.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132592   00132592   7/30/2020 13:39 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132592.pdf
     Case 8:22-cv-02597-DKC                              Document 42-1                                     Filed 05/03/23                         Page 99 of 263

00132593   00132594   7/30/2020 13:43 Email    FW: October NCPC Presentation?                            .\VOL009\IMAGES\IMAGES002\00132593.pdf
                                               Admin DEIS_NCPC Comment Errata
00132595   00132599   7/30/2020 13:43 Attach   Table_Responses_FINAL_June 2020.pdf                       .\VOL009\IMAGES\IMAGES002\00132595.pdf

                                               RE: MDOT SHA's Proposed Use of Virtual Public
00132600   00132603   7/30/2020 13:47 Email    Involvement Tools ‐ FHWA Concurrence Requested            .\VOL009\IMAGES\IMAGES002\00132600.pdf

                                               RE: MDOT SHA's Proposed Use of Virtual Public
00132604   00132607   7/30/2020 14:05 Email    Involvement Tools ‐ FHWA Concurrence Requested            .\VOL009\IMAGES\IMAGES002\00132604.pdf
00132608   00132608   7/30/2020 15:07 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                      .\VOL009\IMAGES\IMAGES002\00132608.pdf
00132609   00132610   7/30/2020 15:08 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                      .\VOL009\IMAGES\IMAGES002\00132609.pdf
00132611   00132612   7/30/2020 15:09 Email    RE: Rep. Raskin re: I‐495/I‐270 DEIS                      .\VOL009\IMAGES\IMAGES002\00132611.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132613   00132613   7/30/2020 16:30 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132613.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132614   00132614   7/30/2020 16:49 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132614.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132615   00132615   7/30/2020 17:25 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132615.pdf
                                               I‐495_I‐270_Displays_Public
00132616   00132655   7/30/2020 18:04 Edoc     Hearing_2020_40x30_rd90_FINAL.pdf                         .\VOL009\IMAGES\IMAGES002\00132616.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132656   00132656   7/30/2020 21:44 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132656.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132657   00132657   7/30/2020 23:41 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132657.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132658   00132658    7/31/2020 1:42 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132658.pdf
                                               I‐495 & I‐270 Managed Lanes Study DEIS Public
00132659   00132661    7/31/2020 8:20 Email    Hearings Information                                      .\VOL009\IMAGES\IMAGES002\00132659.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132662   00132662    7/31/2020 8:36 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132662.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132663   00132663    7/31/2020 8:41 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132663.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132664   00132664    7/31/2020 8:50 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132664.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132665   00132665    7/31/2020 8:50 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132665.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132666   00132666    7/31/2020 8:57 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132666.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132667   00132667    7/31/2020 9:08 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132667.pdf
00132668   00132669    7/31/2020 9:16 Edoc     Chickahominy_Indian_Tribe 07_2020 letter.pdf              .\VOL009\IMAGES\IMAGES002\00132668.pdf
00132670   00132671    7/31/2020 9:18 Edoc     Upper_Mattaponi_Tribe_07_2020 letter.pdf                  .\VOL009\IMAGES\IMAGES002\00132670.pdf
00132672   00132673    7/31/2020 9:20 Edoc     Rappahannock_Tribe_07_2020 letter.pdf                     .\VOL009\IMAGES\IMAGES002\00132672.pdf
00132674   00132675    7/31/2020 9:23 Edoc     Nansemond_ Tribe_07_2020 letter.pdf                       .\VOL009\IMAGES\IMAGES002\00132674.pdf
00132676   00132677    7/31/2020 9:24 Edoc     Pamunkey_Tribe_07_2020 letter.pdf                         .\VOL009\IMAGES\IMAGES002\00132676.pdf
00132678   00132679    7/31/2020 9:26 Edoc     Chickahominy_Tribe_Eastern_07_2020 letter.pdf             .\VOL009\IMAGES\IMAGES002\00132678.pdf
00132680   00132681    7/31/2020 9:27 Edoc     Monacan_ Nation_07_2020 letter.pdf                        .\VOL009\IMAGES\IMAGES002\00132680.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132682   00132682   7/31/2020 10:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132682.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132683   00132683   7/31/2020 10:10 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132683.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132684   00132684   7/31/2020 10:11 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132684.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132685   00132685   7/31/2020 10:48 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132685.pdf
00132686   00132686   7/31/2020 11:18 Attach   495‐270 COVID‐19 Traffic Impacts.png                      .\VOL009\IMAGES\IMAGES002\00132686.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132687   00132687   7/31/2020 11:22 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132687.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132688   00132688   7/31/2020 11:56 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132688.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132689   00132689   7/31/2020 12:00 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132689.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132690   00132690   7/31/2020 13:30 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132690.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132691   00132691   7/31/2020 13:54 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132691.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132692   00132692   7/31/2020 14:13 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132692.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132693   00132693   7/31/2020 14:29 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132693.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132694   00132694   7/31/2020 15:01 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132694.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132695   00132695   7/31/2020 15:11 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132695.pdf
                                               FW: MDOT SHA's Proposed Use of Virtual Public
00132696   00132698   7/31/2020 15:27 Email    Involvement Tools ‐ comments                              .\VOL009\IMAGES\IMAGES002\00132696.pdf
                                               2020 07 31 Revised VPI letter to FHWA.Addressed
00132699   00132700   7/31/2020 15:27 Attach   Comments.docx                                             .\VOL009\IMAGES\IMAGES002\00132699.pdf
                                               2020 07 20 VPI letter to FHWA Donna Buscemi
00132701   00132702   7/31/2020 15:27 Attach   revised_FHWA.docx                                         .\VOL009\IMAGES\IMAGES002\00132701.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132703   00132703   7/31/2020 16:06 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132703.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132704   00132704   7/31/2020 17:24 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132704.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132705   00132705   7/31/2020 17:35 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132705.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132706   00132706   7/31/2020 17:43 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132706.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132707   00132707   7/31/2020 19:34 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132707.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132708   00132708   7/31/2020 20:36 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132708.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132709   00132709   7/31/2020 21:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132709.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132710   00132710     8/1/2020 8:39 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132710.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132711   00132711    8/1/2020 10:56 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132711.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132712   00132712    8/1/2020 10:58 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132712.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132713   00132713    8/1/2020 12:26 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132713.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132714   00132714    8/1/2020 12:53 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132714.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 100 of 263

                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132715   00132715    8/1/2020 19:28 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132715.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132716   00132716    8/1/2020 20:14 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132716.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132717   00132717    8/1/2020 22:34 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132717.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132718   00132718    8/2/2020 14:03 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132718.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132719   00132719    8/2/2020 16:41 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132719.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132720   00132720     8/3/2020 0:06 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132720.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132721   00132721     8/3/2020 1:16 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132721.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132722   00132722     8/3/2020 1:32 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES002\00132722.pdf
                                               FW_ Dead Run Ridges Archaeological District
00132723   00132724     8/3/2020 7:45 Email    (Fa...(1).pdf                                             .\VOL009\IMAGES\IMAGES003\00132723.pdf

00132725   00132728     8/3/2020 7:45 Attach   Dead Run Ridges Federal_DOE_Project_Report 07‐.pdf .\VOL009\IMAGES\IMAGES003\00132725.pdf
00132729   00132730     8/3/2020 8:47 Email    FW: I‐495 & I‐270 MLS‐ August IAWG Update          .\VOL009\IMAGES\IMAGES003\00132729.pdf
00132731   00132733     8/3/2020 8:54 Email    RE: I‐495 & I‐270 MLS‐ August IAWG Update          .\VOL009\IMAGES\IMAGES003\00132731.pdf

00132734   00132735     8/3/2020 9:34 Edoc     2020.08.03_Ian Fisher_PIA 10‐Day Close Out Letter.pdf .\VOL009\IMAGES\IMAGES003\00132734.pdf

00132736   00132736    8/3/2020 11:28 Attach   2020‐08‐04_FHWA Coordination Mtg Agenda.docx              .\VOL009\IMAGES\IMAGES003\00132736.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132737   00132737    8/3/2020 12:14 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132737.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132738   00132738    8/3/2020 13:09 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132738.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132739   00132739    8/3/2020 14:49 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132739.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132740   00132740    8/3/2020 15:32 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132740.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132741   00132741    8/3/2020 22:25 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132741.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132742   00132742    8/3/2020 23:47 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132742.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132743   00132743     8/4/2020 0:02 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132743.pdf

                                               FW: MDOT SHA's Proposed Use of Virtual Public
00132744   00132745    8/4/2020 11:30 Email    Involvement Tools ‐ FHWA Concurrence Requested            .\VOL009\IMAGES\IMAGES003\00132744.pdf

00132746   00132747    8/4/2020 11:30 Attach   2020 07 31 Revised VPI letter to FHWA Buscemi.pdf       .\VOL009\IMAGES\IMAGES003\00132746.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132748   00132748    8/4/2020 13:14 Email    270 plan                                                .\VOL009\IMAGES\IMAGES003\00132748.pdf
00132749   00132760    8/4/2020 14:56 Attach   Draft I‐270 Logical Termini.docx                        .\VOL009\IMAGES\IMAGES003\00132749.pdf

00132761   00132765    8/4/2020 14:56 Attach   FHWA Logical Termini Errata Sheet 2020.04.03.docx         .\VOL009\IMAGES\IMAGES003\00132761.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132766   00132766    8/4/2020 16:12 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132766.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132767   00132767    8/4/2020 22:21 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132767.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132768   00132768    8/4/2020 22:23 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132768.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132769   00132769    8/4/2020 23:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132769.pdf
00132770   00132771     8/5/2020 8:54 Attach   825348 10‐day close out ltr.pdf                           .\VOL009\IMAGES\IMAGES003\00132770.pdf
                                               Webinar: Meaningful Engagement for EJ w/o Public
00132772   00132772    8/5/2020 11:59 Email    Meetings                                                  .\VOL009\IMAGES\IMAGES003\00132772.pdf
                                               495270MLS_Social Distancing Protocol
00132773   00132777     8/6/2020 9:01 Edoc     Memo_Updated 8.6.20.docx                                  .\VOL009\IMAGES\IMAGES003\00132773.pdf
00132778   00132778     8/6/2020 9:57 Email    public hearing                                            .\VOL009\IMAGES\IMAGES003\00132778.pdf
00132779   00132779    8/6/2020 10:43 Email    FW: Managed Lanes Phasing Questions                       .\VOL009\IMAGES\IMAGES003\00132779.pdf

                                               RE: MDOT SHA's Proposed Use of Virtual Public
00132780   00132781    8/6/2020 11:10 Email    Involvement Tools ‐ FHWA Concurrence Requested            .\VOL009\IMAGES\IMAGES003\00132780.pdf
00132782   00132783    8/6/2020 12:13 Email    RE: Managed Lanes Phasing Questions                       .\VOL009\IMAGES\IMAGES003\00132782.pdf

                                               RE: MDOT SHA's Proposed Use of Virtual Public
00132784   00132786    8/6/2020 12:29 Email    Involvement Tools ‐ FHWA Concurrence Requested            .\VOL009\IMAGES\IMAGES003\00132784.pdf
00132787   00132787    8/7/2020 13:51 Attach   I‐495_I‐270_8.5x11_Social Distance_rd06.pdf               .\VOL009\IMAGES\IMAGES003\00132787.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132788   00132788    8/7/2020 14:52 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132788.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132789   00132789    8/7/2020 22:16 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132789.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132790   00132790     8/8/2020 0:36 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132790.pdf
                                               FW: MLS COVID‐19 and Social Distancing Protocols
00132791   00132793    8/10/2020 7:26 Email    Handout                                                   .\VOL009\IMAGES\IMAGES003\00132791.pdf
00132794   00132794    8/10/2020 7:26 Attach   I‐495_I‐270_8.5x11_Social Distance_rd06.pdf               .\VOL009\IMAGES\IMAGES003\00132794.pdf
                                               RE: MLS COVID‐19 and Social Distancing Protocols
00132795   00132797    8/10/2020 7:43 Email    Handout                                                   .\VOL009\IMAGES\IMAGES003\00132795.pdf
                                               RE: MLS COVID‐19 and Social Distancing Protocols
00132798   00132800   8/10/2020 12:55 Email    Handout                                                   .\VOL009\IMAGES\IMAGES003\00132798.pdf
                                               RE: MLS COVID‐19 and Social Distancing Protocols
00132801   00132803   8/10/2020 12:58 Email    Handout                                                   .\VOL009\IMAGES\IMAGES003\00132801.pdf
00132804   00132805   8/10/2020 13:25 Email    RE: Panelists Join Dry Run                                .\VOL009\IMAGES\IMAGES003\00132804.pdf

00132806   00132808   8/10/2020 13:30 Email    RE: FHWA Plan for Virtual PI and in‐person hearings       .\VOL009\IMAGES\IMAGES003\00132806.pdf
00132809   00132810   8/10/2020 15:55 Email    text chat for MLS Virtual Hearings                        .\VOL009\IMAGES\IMAGES003\00132809.pdf
00132811   00132812   8/10/2020 16:10 Email    RE: text chat for MLS Virtual Hearings                    .\VOL009\IMAGES\IMAGES003\00132811.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132813   00132813   8/10/2020 16:50 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132813.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132814   00132814   8/10/2020 21:18 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132814.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132815   00132815   8/10/2020 21:22 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132815.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132816   00132816    8/11/2020 0:11 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132816.pdf
                                               2020‐07‐21_FHWA Coordination Meeting Notes_P3
00132817   00132817    8/11/2020 8:43 Attach   Program.docx                                              .\VOL009\IMAGES\IMAGES003\00132817.pdf
                                               20200721‐I‐270_FHWA Coordination Meeting
00132818   00132818    8/11/2020 8:44 Attach   Notes.docx                                                .\VOL009\IMAGES\IMAGES003\00132818.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 101 of 263

00132819   00132820    8/11/2020 9:52 Email    RE: draft agenda for 8/12 FHWA Internal Meeting           .\VOL009\IMAGES\IMAGES003\00132819.pdf
                                               Missing Reference from Managed Lane Study Draft
00132821   00132821   8/11/2020 15:16 Attach   Environmental Impact Statement                            .\VOL009\IMAGES\IMAGES003\00132821.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132822   00132822   8/11/2020 20:54 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132822.pdf
                                               FW: Delaware Nation ‐‐ Section 106 Consultation
                                               Request: I‐495 and I‐270 Managed Lanes Study ‐ July
00132823   00132825    8/12/2020 8:42 Email    2020 106 Update                                           .\VOL009\IMAGES\IMAGES003\00132823.pdf
00132826   00132826    8/12/2020 8:42 Attach   I‐495 and I‐270 MLS_Delaware Nation.pdf                   .\VOL009\IMAGES\IMAGES003\00132826.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132827   00132827   8/12/2020 10:06 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132827.pdf

00132828   00132828   8/12/2020 10:14 Edoc     PanelistsAttendance‐Virtual‐In‐PersonHearings01.xlsx      .\VOL009\IMAGES\IMAGES003\00132828.pdf    .\VOL009\NATIVES\NATIVES003\00132828.XLSX
00132829   00132831   8/12/2020 12:25 Email    RE: Materials                                             .\VOL009\IMAGES\IMAGES003\00132829.pdf
00132832   00132832   8/12/2020 12:25 Attach   Volume Trends As of 08_01_2020.xlsx                       .\VOL009\IMAGES\IMAGES003\00132832.pdf    .\VOL009\NATIVES\NATIVES003\00132832.xlsx
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132833   00132833   8/12/2020 13:33 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132833.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132834   00132834   8/12/2020 14:15 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132834.pdf
00132835   00132836   8/12/2020 15:05 Email    Virtual Hearing ‐ Group Text                              .\VOL009\IMAGES\IMAGES003\00132835.pdf
00132837   00132837   8/12/2020 15:05 Attach   MLS_VirtualHearings_Text_Chat.docx                        .\VOL009\IMAGES\IMAGES003\00132837.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132838   00132838   8/12/2020 15:10 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132838.pdf
                                               MDOT SHA Response to the Keeper_ Section 106
00132839   00132841   8/12/2020 15:15 Email    Co....pdf                                                 .\VOL009\IMAGES\IMAGES003\00132839.pdf
                                               Dead_Run_Ridges_ District_MDOT SHA_
00132842   00132846   8/12/2020 15:15 Attach   Resp_to_Ke.pdf                                            .\VOL009\IMAGES\IMAGES003\00132842.pdf
                                               MLS_VirtualPublicHearing_FacilitatorScript_FINAL.doc
00132847   00132867   8/12/2020 16:30 Attach   x                                                         .\VOL009\IMAGES\IMAGES003\00132847.pdf

00132868   00132879   8/12/2020 16:30 Attach   MLS_Virtual Hearing_Facilitator PPT_08.12.2020.pptx .\VOL009\IMAGES\IMAGES003\00132868.pdf

00132880   00132882    8/13/2020 9:32 Edoc     495‐270MLS_PublicEmail_ReminderofHearings.docx            .\VOL009\IMAGES\IMAGES003\00132880.pdf
00132883   00132884    8/13/2020 9:32 Email    RE: Environmental Documents                               .\VOL009\IMAGES\IMAGES003\00132883.pdf

00132885   00132887    8/13/2020 9:32 Attach   RE: Environmental Documents: TR Bridge Project            .\VOL009\IMAGES\IMAGES003\00132885.pdf
00132888   00132889   8/13/2020 10:11 Email    RE: Environmental Documents                               .\VOL009\IMAGES\IMAGES003\00132888.pdf
00132890   00132892   8/13/2020 10:14 Email    RE: Environmental Documents                               .\VOL009\IMAGES\IMAGES003\00132890.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132893   00132893   8/13/2020 15:01 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132893.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132894   00132894   8/13/2020 15:07 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132894.pdf
                                               First of Six Public Hearings Scheduled for Aug. 18 for
00132895   00132898   8/13/2020 16:51 Email    the I‐495 & I‐270 Managed Lanes Study DEIS                .\VOL009\IMAGES\IMAGES003\00132895.pdf
                                               First of Six Public Hearings Scheduled for Aug. 18 for
00132899   00132902   8/13/2020 16:51 Email    the I‐495 & I‐270 Managed Lanes Study DEIS                .\VOL009\IMAGES\IMAGES003\00132899.pdf
00132903   00132904   8/14/2020 15:40 Edoc     2020‐08‐14 P3 Summer Newsletter‐F‐print.pdf               .\VOL009\IMAGES\IMAGES003\00132903.pdf
00132905   00132908   8/14/2020 15:49 Edoc     2020‐08‐14 P3 Summer Newsletter‐digital.pdf               .\VOL009\IMAGES\IMAGES003\00132905.pdf
00132909   00132910   8/14/2020 15:57 Email    Re: NPS ROW Meeting                                       .\VOL009\IMAGES\IMAGES003\00132909.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132911   00132911   8/14/2020 17:49 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132911.pdf
                                               I‐495/I‐270 FHWA Coordination Meeting: I‐270 Pre‐
00132912   00132913   8/14/2020 18:25 Email    NEPA notes (8.4.20)                                       .\VOL009\IMAGES\IMAGES003\00132912.pdf
                                               20200804‐I‐270_FHWA Coordination Meeting
00132914   00132914   8/14/2020 18:25 Attach   Notes.docx                                                .\VOL009\IMAGES\IMAGES003\00132914.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132915   00132915   8/15/2020 16:00 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132915.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132916   00132916   8/16/2020 18:18 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132916.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132917   00132917   8/16/2020 18:21 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132917.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132918   00132918   8/16/2020 18:32 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132918.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132919   00132919   8/16/2020 18:38 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132919.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132920   00132920   8/16/2020 20:27 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132920.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132921   00132921   8/16/2020 23:05 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132921.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132922   00132922   8/16/2020 23:14 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132922.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132923   00132923    8/17/2020 0:14 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132923.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132924   00132924    8/17/2020 1:27 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132924.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132925   00132925    8/17/2020 6:42 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132925.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132926   00132926    8/17/2020 7:07 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132926.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132927   00132927    8/17/2020 7:29 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132927.pdf
00132928   00132929    8/17/2020 7:32 Email    Re: Comment on the DEIS for widening 495 & 270            .\VOL009\IMAGES\IMAGES003\00132928.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132930   00132930    8/17/2020 8:44 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132930.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132931   00132931    8/17/2020 9:07 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132931.pdf

00132932   00132934   8/17/2020 11:26 Email    Information for Panelists for the Virtual Hearings        .\VOL009\IMAGES\IMAGES003\00132932.pdf
                                               PanelistsAttendance‐Virtual‐In‐PersonHearings‐
00132935   00132935   8/17/2020 11:26 Attach   200813.xlsx                                               .\VOL009\IMAGES\IMAGES003\00132935.pdf    .\VOL009\NATIVES\NATIVES003\00132935.xlsx
00132936   00132938   8/17/2020 11:26 Attach   Virtual Hearing Instructions for Panelists.docx           .\VOL009\IMAGES\IMAGES003\00132936.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132939   00132939   8/17/2020 12:03 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132939.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132940   00132940   8/17/2020 12:10 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132940.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132941   00132941   8/17/2020 12:52 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132941.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132942   00132942   8/17/2020 13:08 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132942.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132943   00132943   8/17/2020 13:17 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132943.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132944   00132944   8/17/2020 13:31 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132944.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132945   00132945   8/17/2020 13:58 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132945.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 102 of 263

                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132946   00132946   8/17/2020 14:35 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132946.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132947   00132947   8/17/2020 14:51 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132947.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132948   00132948   8/17/2020 15:24 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132948.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132949   00132949   8/17/2020 15:27 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132949.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132950   00132950   8/17/2020 15:38 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132950.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132951   00132951   8/17/2020 16:04 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132951.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132952   00132952   8/17/2020 16:06 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132952.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132953   00132953   8/17/2020 16:12 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132953.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132954   00132954   8/17/2020 16:19 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132954.pdf
00132955   00132956   8/17/2020 16:45 Email    Final Script and PPT for Virtual Hearings                 .\VOL009\IMAGES\IMAGES003\00132955.pdf
                                               MLS_VirtualPublicHearing_FacilitatorScript_FINAL‐
00132957   00132970   8/17/2020 16:45 Attach   August18‐20‐Sept3.docx                                    .\VOL009\IMAGES\IMAGES003\00132957.pdf
                                               MLS_Virtual Hearing_Facilitator PPT_August18‐20‐
00132971   00132987   8/17/2020 16:45 Attach   Sept 3.pptx                                               .\VOL009\IMAGES\IMAGES003\00132971.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132988   00132988   8/17/2020 17:03 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132988.pdf
00132989   00132992   8/17/2020 17:14 Email    Re: Checking in on meeting opportunities                  .\VOL009\IMAGES\IMAGES003\00132989.pdf

00132993   00132993   8/17/2020 22:26 Attach   2020‐08‐19_FHWA Coordination Mtg Agenda.docx              .\VOL009\IMAGES\IMAGES003\00132993.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00132994   00132994    8/18/2020 1:36 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00132994.pdf
00132995   00132998    8/18/2020 6:41 Email    RE: Checking in on meeting opportunities                  .\VOL009\IMAGES\IMAGES003\00132995.pdf
00132999   00133001    8/18/2020 7:44 Email    FW: Final Script and PPT for Virtual Hearings             .\VOL009\IMAGES\IMAGES003\00132999.pdf
                                               MLS_VirtualPublicHearing_FacilitatorScript_FINAL‐
00133002   00133015    8/18/2020 7:44 Attach   August18‐20‐Sept3.docx                                    .\VOL009\IMAGES\IMAGES003\00133002.pdf
00133016   00133017    8/18/2020 7:44 Attach   RE: Draft Script                                          .\VOL009\IMAGES\IMAGES003\00133016.pdf
                                               MLS_VirtualPublicHearing_FacilitatorScript_20200728
00133018   00133021    8/18/2020 7:44 Attach   JP.docx                                                   .\VOL009\IMAGES\IMAGES003\00133018.pdf
00133022   00133023    8/18/2020 8:00 Email    I‐495 & I‐270 P3 Program Newsletter                       .\VOL009\IMAGES\IMAGES003\00133022.pdf
00133024   00133025    8/18/2020 8:00 Email    I‐495 & I‐270 P3 Program Newsletter                       .\VOL009\IMAGES\IMAGES003\00133024.pdf
00133026   00133027    8/18/2020 8:00 Email    I‐495 & I‐270 P3 Program Newsletter                       .\VOL009\IMAGES\IMAGES003\00133026.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133028   00133028    8/18/2020 8:22 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133028.pdf
00133029   00133029    8/18/2020 8:44 Email    MLS Virtual and In‐person Hearings                        .\VOL009\IMAGES\IMAGES003\00133029.pdf
00133030   00133030    8/18/2020 8:53 Email    RE: MLS Virtual and In‐person Hearings                    .\VOL009\IMAGES\IMAGES003\00133030.pdf

00133031   00133032    8/18/2020 8:54 Edoc     I‐495_I‐270_Comment_Form_2020_rd07_proof.pdf              .\VOL009\IMAGES\IMAGES003\00133031.pdf
00133033   00133033    8/18/2020 8:56 Email    RE: MLS Virtual and In‐person Hearings                    .\VOL009\IMAGES\IMAGES003\00133033.pdf
00133034   00133034    8/18/2020 9:09 Email    RE: MLS Virtual and In‐person Hearings                    .\VOL009\IMAGES\IMAGES003\00133034.pdf
00133035   00133036    8/18/2020 9:13 Email    RE: MLS Virtual and In‐person Hearings                    .\VOL009\IMAGES\IMAGES003\00133035.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133037   00133037   8/18/2020 11:08 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133037.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133038   00133038   8/18/2020 11:47 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133038.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133039   00133039   8/18/2020 12:25 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133039.pdf

00133040   00133040   8/18/2020 12:41 Attach   2020‐08‐19_FHWA Coordination Mtg Agenda.docx              .\VOL009\IMAGES\IMAGES003\00133040.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133041   00133041   8/18/2020 13:59 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133041.pdf
00133042   00133043   8/18/2020 16:02 Email    RE: I‐495/I‐270 project update                            .\VOL009\IMAGES\IMAGES003\00133042.pdf
                                               2020‐497 I‐495 & I‐270 Managed Lanes Study‐
                                               Eligibility Determinations and Expansion of Area of
00133044   00133044   8/18/2020 16:02 Attach   Potential Effect 8 18 2020 response.pdf                   .\VOL009\IMAGES\IMAGES003\00133044.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133045   00133045   8/18/2020 17:45 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133045.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133046   00133046   8/18/2020 22:35 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133046.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133047   00133047   8/19/2020 14:14 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133047.pdf

00133048   00133049   8/19/2020 15:27 Attach   Preliminary info I‐495 Federal Lands to Parks.docx      .\VOL009\IMAGES\IMAGES003\00133048.pdf
00133050   00133050   8/19/2020 15:33 Email    FW: DOT News Briefing for Aug. 19, 2020                 .\VOL009\IMAGES\IMAGES003\00133050.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133051   00133051   8/19/2020 15:36 Email    270 plan                                                .\VOL009\IMAGES\IMAGES003\00133051.pdf
00133052   00133052   8/19/2020 16:54 Edoc     E_Shawnee Consult AW073A11 1‐29‐20.pdf                  .\VOL009\IMAGES\IMAGES003\00133052.pdf
00133053   00133053   8/19/2020 16:54 Edoc     Delaware Nation CONSULT 2‐20‐20.pdf                     .\VOL009\IMAGES\IMAGES003\00133053.pdf
00133054   00133062   8/19/2020 16:54 Edoc     DE Nation Consult MLM 2‐20‐20.docx                      .\VOL009\IMAGES\IMAGES003\00133054.pdf
                                               Shawnee I‐495 and I‐270 Managed Lane Study (MLS) ‐‐
00133063   00133066   8/19/2020 17:13 Edoc     Revised APE.pdf                                         .\VOL009\IMAGES\IMAGES003\00133063.pdf
                                               Seneca_Cayuga I‐495 and I‐270 Managed Lane Study
00133067   00133070   8/19/2020 17:13 Edoc     (MLS) ‐‐ Revised APE.pdf                                .\VOL009\IMAGES\IMAGES003\00133067.pdf
                                               StRegisMohawk I‐495 and I‐270 Managed Lane Study
00133071   00133074   8/19/2020 17:13 Edoc     (MLS) ‐‐ Revised APE.pdf                                .\VOL009\IMAGES\IMAGES003\00133071.pdf
                                               Onandaga I‐495 and I‐270 Managed Lane Study (MLS) ‐‐
00133075   00133077   8/19/2020 17:13 Edoc     Revised APE.pdf                                         .\VOL009\IMAGES\IMAGES003\00133075.pdf
                                               DE_Tribe I‐495 and I‐270 Managed Lane Study (MLS) ‐‐
00133078   00133080   8/19/2020 17:13 Edoc     Revised APE.pdf                                         .\VOL009\IMAGES\IMAGES003\00133078.pdf
                                               Tuscarora I‐495 and I‐270 Managed Lane Study (MLS) ‐‐
00133081   00133084   8/19/2020 17:13 Edoc     Revised APE.pdf                                         .\VOL009\IMAGES\IMAGES003\00133081.pdf
                                               DE_Nation I‐495 _ I‐270 Managed Lane Study
00133085   00133089   8/19/2020 17:13 Edoc     RevAPE2.pdf                                             .\VOL009\IMAGES\IMAGES003\00133085.pdf
                                               Abs_Shawnee I‐495 and I‐270 Managed Lane Study
00133090   00133093   8/19/2020 17:13 Edoc     (MLS) ‐‐ Revised APE.pdf                                .\VOL009\IMAGES\IMAGES003\00133090.pdf
                                               Oneida I‐495 and I‐270 Managed Lane Study (MLS) ‐‐
00133094   00133097   8/19/2020 17:13 Edoc     Revised APE.pdf                                         .\VOL009\IMAGES\IMAGES003\00133094.pdf
00133098   00133098   8/19/2020 17:21 Edoc     `MLSc Onondaga.pdf                                      .\VOL009\IMAGES\IMAGES003\00133098.pdf
00133099   00133099   8/19/2020 17:21 Edoc     `MLSc Oneida.pdf                                        .\VOL009\IMAGES\IMAGES003\00133099.pdf
00133100   00133100   8/19/2020 17:22 Edoc     `MLSc Eastern Shawnee Tribe.pdf                         .\VOL009\IMAGES\IMAGES003\00133100.pdf
00133101   00133101   8/19/2020 17:23 Edoc     `MLSc Delaware Tribe of Indians01.pdf                   .\VOL009\IMAGES\IMAGES003\00133101.pdf
00133102   00133102   8/19/2020 17:23 Edoc     `MLSc AbsenteeShawneeTribeofOk.pdf                      .\VOL009\IMAGES\IMAGES003\00133102.pdf
00133103   00133103   8/19/2020 17:25 Edoc     `MLSc Delaware Nation.pdf                               .\VOL009\IMAGES\IMAGES003\00133103.pdf
00133104   00133104   8/19/2020 17:25 Edoc     `MLSc Saint Regis Mohawk.pdf                            .\VOL009\IMAGES\IMAGES003\00133104.pdf
00133105   00133105   8/19/2020 17:25 Edoc     `MLSc Seneca_Cayuga Nation.pdf                          .\VOL009\IMAGES\IMAGES003\00133105.pdf
00133106   00133106   8/19/2020 17:25 Edoc     `MLSc Shawnee Tribe.pdf                                 .\VOL009\IMAGES\IMAGES003\00133106.pdf
00133107   00133107   8/19/2020 17:25 Edoc     `MLSc Tuscarora Nation.pdf                              .\VOL009\IMAGES\IMAGES003\00133107.pdf
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00133108   00133108   8/19/2020 17:28 Edoc     ~Notification to FHWA 12‐31‐19a.pdf                .\VOL009\IMAGES\IMAGES003\00133108.pdf
                                               E_Shawnee I‐495 and I‐270 Managed Lane Study (MLS)
00133109   00133111   8/19/2020 17:36 Edoc     ‐‐ RevAPE.pdf                                      .\VOL009\IMAGES\IMAGES003\00133109.pdf
00133112   00133112   8/19/2020 17:36 Edoc     MLSc Eastern Shawnee Tribe.pdf                     .\VOL009\IMAGES\IMAGES003\00133112.pdf
                                               MDOTSHA_E_Shawnee I495 I270 Managed Lane Study
00133113   00133117   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review.pdf                     .\VOL009\IMAGES\IMAGES003\00133113.pdf
00133118   00133118   8/19/2020 17:40 Edoc     MLSd Eastern Shawnee Tribe.pdf                     .\VOL009\IMAGES\IMAGES003\00133118.pdf
                                               MDOTSHA_N_Proctor I495 I270 Managed Lane Study
00133119   00133121   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review01.pdf                   .\VOL009\IMAGES\IMAGES003\00133119.pdf
                                               MDOTSHA_Onandaga I495 I270 Managed Lane Study
00133122   00133125   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review.pdf                     .\VOL009\IMAGES\IMAGES003\00133122.pdf
00133126   00133126   8/19/2020 17:40 Edoc     MLSd Onondaga.pdf                                  .\VOL009\IMAGES\IMAGES003\00133126.pdf
                                               MDOTSHA_Oneida I495 I270 Managed Lane Study
00133127   00133131   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review.pdf                     .\VOL009\IMAGES\IMAGES003\00133127.pdf
00133132   00133132   8/19/2020 17:40 Edoc     MLSd Oneida.pdf                                    .\VOL009\IMAGES\IMAGES003\00133132.pdf
                                               MDOTSHA_PCTC I495 I270 Managed Lane Study (MLS)
00133133   00133135   8/19/2020 17:40 Edoc     Arch Rpts for Review01.pdf                         .\VOL009\IMAGES\IMAGES003\00133133.pdf
                                               MDOTSHA_R_Newman I495 I270 Managed Lane Study
00133136   00133138   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review01.pdf                   .\VOL009\IMAGES\IMAGES003\00133136.pdf
                                               MDOTSHA_Seneca_Cayuga I495 I270 Managed Lane
00133139   00133143   8/19/2020 17:40 Edoc     Study (MLS) Arch Rpts for Review.pdf               .\VOL009\IMAGES\IMAGES003\00133139.pdf
00133144   00133144   8/19/2020 17:40 Edoc     MLSd Seneca_Cayuga Nation.pdf                      .\VOL009\IMAGES\IMAGES003\00133144.pdf
                                               MDOTSHA_St_Regis I495 I270 Managed Lane Study
00133145   00133149   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review.pdf                     .\VOL009\IMAGES\IMAGES003\00133145.pdf
00133150   00133150   8/19/2020 17:40 Edoc     MLSd Saint Regis Mohawk.pdf                        .\VOL009\IMAGES\IMAGES003\00133150.pdf
                                               MDOTSHA_Wm_Tayac I495 I270 Managed Lane Study
00133151   00133153   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review01.pdf                   .\VOL009\IMAGES\IMAGES003\00133151.pdf
                                               MDOTSHA_Abs_Shawnee I495 I270 Managed Lane
00133154   00133158   8/19/2020 17:40 Edoc     Study (MLS) Arch Rpts for Review.pdf               .\VOL009\IMAGES\IMAGES003\00133154.pdf
                                               MDOTSHA_DE_Tribe I495 I270 Managed Lane Study
00133159   00133162   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review.pdf                     .\VOL009\IMAGES\IMAGES003\00133159.pdf
                                               MDOTSHA_DE_Nation I495 I270 Managed Lane Study
00133163   00133169   8/19/2020 17:40 Edoc     (MLS) Arch Rpts for Review.pdf                     .\VOL009\IMAGES\IMAGES003\00133163.pdf
00133170   00133170   8/19/2020 17:40 Edoc     MLSd Delaware Nation.pdf                           .\VOL009\IMAGES\IMAGES003\00133170.pdf
00133171   00133171   8/19/2020 17:41 Edoc     MLSd Eastern Shawnee Tribe.pdf                     .\VOL009\IMAGES\IMAGES003\00133171.pdf
00133172   00133172   8/19/2020 17:41 Edoc     MLSd Saint Regis Mohawk.pdf                        .\VOL009\IMAGES\IMAGES003\00133172.pdf
00133173   00133173   8/19/2020 17:41 Edoc     MLSd Seneca_Cayuga Nation.pdf                      .\VOL009\IMAGES\IMAGES003\00133173.pdf
00133174   00133174   8/19/2020 17:41 Edoc     MLSd Tuscarora Nation.pdf                          .\VOL009\IMAGES\IMAGES003\00133174.pdf

00133175   00133175   8/19/2020 17:41 Edoc     MLSd Absentee_Shawnee Tribe of Oklahoma.pdf               .\VOL009\IMAGES\IMAGES003\00133175.pdf
00133176   00133176   8/19/2020 17:41 Edoc     MLSd Shawnee Tribe.pdf                                    .\VOL009\IMAGES\IMAGES003\00133176.pdf
00133177   00133177   8/19/2020 17:41 Edoc     MLSd Delaware Nation.pdf                                  .\VOL009\IMAGES\IMAGES003\00133177.pdf
00133178   00133178   8/19/2020 17:41 Edoc     MLSd Delaware Tribe of Indians.pdf                        .\VOL009\IMAGES\IMAGES003\00133178.pdf
00133179   00133182   8/19/2020 18:30 Attach   20‐0587_CRR.pdf                                           .\VOL009\IMAGES\IMAGES003\00133179.pdf
00133183   00133183    8/20/2020 9:46 Email    FW: MLS Virtual and In‐person Hearings                    .\VOL009\IMAGES\IMAGES003\00133183.pdf
00133184   00133184    8/20/2020 9:53 Email    examples                                                  .\VOL009\IMAGES\IMAGES003\00133184.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133185   00133185   8/20/2020 10:27 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133185.pdf
00133186   00133186   8/20/2020 10:36 Email    I‐270 LT Comments                                         .\VOL009\IMAGES\IMAGES003\00133186.pdf
00133187   00133198   8/20/2020 10:36 Attach   Draft I‐270 Logical Termini.docx                          .\VOL009\IMAGES\IMAGES003\00133187.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133199   00133199   8/20/2020 14:13 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133199.pdf
00133200   00133201   8/20/2020 19:55 Email    Script for August 25 Virtual Hearing                      .\VOL009\IMAGES\IMAGES003\00133200.pdf
                                               MLS_VirtualPublicHearing_FacilitatorScript_FINAL‐
00133202   00133220   8/20/2020 19:55 Attach   August25.docx                                             .\VOL009\IMAGES\IMAGES003\00133202.pdf
                                               Pins 825556 Response: I‐495 and I‐270 Public‐Private
00133221   00133222   8/21/2020 15:35 Email    Partnership (P3) Program                                  .\VOL009\IMAGES\IMAGES003\00133221.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133223   00133223   8/22/2020 17:06 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133223.pdf
                                               M‐NCPPC Montgomery Parks Montgomery Planning
                                               and Prince George's Planning Response Section 106
00133224   00133224   8/24/2020 14:48 Email    ML Study                                                  .\VOL009\IMAGES\IMAGES003\00133224.pdf
                                               MNCPPC Response to SHA July 2020 Updates ML
00133225   00133228   8/24/2020 14:48 Attach   Study.pdf                                                 .\VOL009\IMAGES\IMAGES003\00133225.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133229   00133231   8/24/2020 16:20 Email    Section 106 Update and Materials                          .\VOL009\IMAGES\IMAGES003\00133229.pdf
                                               Samuel 825590 Response: I‐495 and I‐270 Public‐
00133232   00133233   8/24/2020 16:47 Email    Private Partnership (P3) Program                          .\VOL009\IMAGES\IMAGES003\00133232.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133234   00133236   8/24/2020 16:49 Email    Section 106 Update and Materials                          .\VOL009\IMAGES\IMAGES003\00133234.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133237   00133240   8/24/2020 16:51 Email    Section 106 Update and Materials                          .\VOL009\IMAGES\IMAGES003\00133237.pdf
00133241   00133241   8/24/2020 16:51 Attach   Samuel 825590 Incoming.pdf                                .\VOL009\IMAGES\IMAGES003\00133241.pdf
                                               Samuel 825590 Response: I‐495 and I‐270 Public‐
00133242   00133243   8/24/2020 16:51 Attach   Private Partnership (P3) Program                          .\VOL009\IMAGES\IMAGES003\00133242.pdf

                                               FW: Request for extension of comment period on
00133244   00133246    8/25/2020 9:01 Email    Draft Environmental Impact Statement for 495/270 P3 .\VOL009\IMAGES\IMAGES003\00133244.pdf
                                               FHWA ACTION Required_ Review of I‐495 & I‐270
00133247   00133247   8/25/2020 12:46 Email    P...(1).pdf                                             .\VOL009\IMAGES\IMAGES003\00133247.pdf
00133248   00133253   8/25/2020 12:46 Attach   RFP Exhibit 6 Review Schedule.pdf                       .\VOL009\IMAGES\IMAGES003\00133248.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133254   00133254   8/25/2020 18:27 Email    270 plan                                                .\VOL009\IMAGES\IMAGES003\00133254.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133255   00133255   8/25/2020 20:29 Email    270 plan                                                .\VOL009\IMAGES\IMAGES003\00133255.pdf
00133256   00133257   8/26/2020 13:19 Attach   825348 10‐day close out ltr.pdf                         .\VOL009\IMAGES\IMAGES003\00133256.pdf
00133258   00133259   8/26/2020 15:35 Email    Response Letter to Rock Creek Conservancy               .\VOL009\IMAGES\IMAGES003\00133258.pdf
00133260   00133261   8/26/2020 16:13 Email    FW: Response Letter to Rock Creek Conservancy           .\VOL009\IMAGES\IMAGES003\00133260.pdf

00133262   00133265   8/26/2020 16:13 Attach   2020‐08‐25_Email from Rock Creek Conservancy.pdf          .\VOL009\IMAGES\IMAGES003\00133262.pdf
00133266   00133267   8/26/2020 16:13 Attach   2020‐08‐25_Response Letter to RCC.docx                    .\VOL009\IMAGES\IMAGES003\00133266.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133268   00133268   8/26/2020 21:00 Email    270 plan                                                  .\VOL009\IMAGES\IMAGES003\00133268.pdf
00133269   00133269    8/27/2020 8:39 Email    File for 9 am meeting                                     .\VOL009\IMAGES\IMAGES003\00133269.pdf
                                               Draft I‐270 Logical Termini FHWA MD Div comments
00133270   00133282    8/27/2020 8:39 Attach   082420.docx                                               .\VOL009\IMAGES\IMAGES003\00133270.pdf
00133283   00133285   8/27/2020 13:12 Email    FW: MLS SWM Considerations: FHWA Discussion               .\VOL009\IMAGES\IMAGES003\00133283.pdf

00133286   00133286   8/27/2020 13:12 Attach   2020‐08‐28_SWM Mitigation Meeting Agenda.pdf        .\VOL009\IMAGES\IMAGES003\00133286.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133287   00133292   8/27/2020 15:50 Email    Section 106 Update and Materials                    .\VOL009\IMAGES\IMAGES003\00133287.pdf
                                               RE: Missing Reference from Managed Lane Study Draft
00133293   00133294   8/27/2020 16:07 Email    Environmental Impact Statement                      .\VOL009\IMAGES\IMAGES003\00133293.pdf
00133295   00133297   8/27/2020 16:31 Email    RE: Letters signed.                                 .\VOL009\IMAGES\IMAGES003\00133295.pdf
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00133298   00133315   8/27/2020 16:40 Email    Section 106 Update and Materials                          .\VOL010\IMAGES\IMAGES001\00133298.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133316   00133333   8/27/2020 16:54 Email    Section 106 Update and Materials                          .\VOL010\IMAGES\IMAGES001\00133316.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133334   00133351   8/27/2020 17:01 Email    Section 106 Update and Materials                          .\VOL010\IMAGES\IMAGES001\00133334.pdf
00133352   00133355    8/28/2020 9:01 Attach   Managed Lanes DEIS.Reply.pdf                              .\VOL010\IMAGES\IMAGES001\00133352.pdf
00133356   00133357    8/28/2020 9:42 Email    I‐495 & I‐270 MLS August IAWG Update                      .\VOL010\IMAGES\IMAGES001\00133356.pdf
00133358   00133359    8/28/2020 9:49 Attach   2020‐07‐24 DNR RTE Plant Surveys.pdf                      .\VOL010\IMAGES\IMAGES001\00133358.pdf
00133360   00133360    8/28/2020 9:49 Attach   2020‐08‐03 August IAWG Update Email.pdf                   .\VOL010\IMAGES\IMAGES001\00133360.pdf
00133361   00133362    8/28/2020 9:49 Attach   2020‐08‐28_IAWG Agency Update Email.pdf                   .\VOL010\IMAGES\IMAGES001\00133361.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133363   00133363   8/28/2020 11:05 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00133363.pdf
                                               I‐495_I‐270_Outreach
00133364   00133364   8/28/2020 11:28 Edoc     Flyer_8.5x11_rd07_PQ_PRINTVERSION.pdf                     .\VOL010\IMAGES\IMAGES001\00133364.pdf
                                               495‐270MLS_CAM_LargePropertyOwner‐
00133365   00133365   8/28/2020 11:42 Edoc     Email082820.docx                                          .\VOL010\IMAGES\IMAGES001\00133365.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133366   00133366   8/28/2020 12:07 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00133366.pdf

00133367   00133367   8/28/2020 12:59 Edoc     Large Land Owner Engagement Tracking_082020.xlsx          .\VOL010\IMAGES\IMAGES001\00133367.pdf    .\VOL010\NATIVES\NATIVES001\00133367.XLSX
                                               I‐495 & I‐270 P3 Program Update: Extended DEIS
00133368   00133369   8/28/2020 13:13 Email    Comment Period                                            .\VOL010\IMAGES\IMAGES001\00133368.pdf
00133370   00133371   8/28/2020 14:35 Edoc     DE Nation response.pdf                                    .\VOL010\IMAGES\IMAGES001\00133370.pdf
00133372   00133380   8/28/2020 14:49 Edoc     DE Nation Consult MLM 2‐20‐20.pdf                         .\VOL010\IMAGES\IMAGES001\00133372.pdf
00133381   00133382   8/28/2020 15:20 Edoc     Upper Mattaponi Consult 6‐2‐2020.pdf                      .\VOL010\IMAGES\IMAGES001\00133381.pdf
00133383   00133385   8/28/2020 15:20 Edoc     MonacanIndianNation‐NotConsult 6‐3‐20.pdf                 .\VOL010\IMAGES\IMAGES001\00133383.pdf
00133386   00133386   8/28/2020 16:02 Edoc     Delaware Nation‐CONSULT InfoForm 7‐2‐19.pdf               .\VOL010\IMAGES\IMAGES001\00133386.pdf

00133387   00133387   8/28/2020 16:02 Edoc     DelawareNat CONSULT TribalNotForm 5‐31‐18.pdf             .\VOL010\IMAGES\IMAGES001\00133387.pdf
00133388   00133390   8/28/2020 16:02 Edoc     Oneida Consult 5‐31‐2018.pdf                              .\VOL010\IMAGES\IMAGES001\00133388.pdf
00133391   00133391   8/28/2020 16:02 Edoc     Oneida SHA Tribal Notification Form.pdf                   .\VOL010\IMAGES\IMAGES001\00133391.pdf
00133392   00133394   8/28/2020 16:02 Edoc     OneidaNation CONSULT 5‐31‐18.docx                         .\VOL010\IMAGES\IMAGES001\00133392.pdf

00133395   00133396   8/28/2020 16:02 Edoc     Abs_Shawnee_Tribe_OK May_Consult 6‐15‐18.docx             .\VOL010\IMAGES\IMAGES001\00133395.pdf
00133397   00133397   8/28/2020 16:02 Edoc     Abs_Shawnee_Tribe_OK 5‐2‐18.pdf                           .\VOL010\IMAGES\IMAGES001\00133397.pdf
00133398   00133401   8/28/2020 16:02 Edoc     Delaware Nation CONSULT MLM 5‐31‐18.docx                  .\VOL010\IMAGES\IMAGES001\00133398.pdf
00133402   00133407   8/28/2020 16:02 Edoc     Delaware Nation MLM 7‐2‐19.docx                           .\VOL010\IMAGES\IMAGES001\00133402.pdf
                                               I‐495 & I‐270 Managed Lanes Study: DEIS Hearing
00133408   00133409   8/28/2020 17:28 Email    Video Online                                              .\VOL010\IMAGES\IMAGES001\00133408.pdf
00133410   00133412   8/28/2020 17:28 Edoc     RicoNewman Choptico Consult DEIS 7‐21‐20.pdf              .\VOL010\IMAGES\IMAGES001\00133410.pdf
00133413   00133416   8/28/2020 17:41 Edoc     Rico Newman Consult 1‐23‐20.pdf                           .\VOL010\IMAGES\IMAGES001\00133413.pdf
00133417   00133417   8/28/2020 18:52 Edoc     FHWA No Action 1‐23‐20.docx                               .\VOL010\IMAGES\IMAGES001\00133417.pdf
00133418   00133418   8/28/2020 19:09 Edoc     FHWA No Action Required 5‐22‐18.pdf                       .\VOL010\IMAGES\IMAGES001\00133418.pdf
00133419   00133419   8/28/2020 19:13 Edoc     FHWA Notification 6‐19‐19.pdf                             .\VOL010\IMAGES\IMAGES001\00133419.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133420   00133420   8/28/2020 19:19 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00133420.pdf
00133421   00133421   8/28/2020 21:23 Email    Comments on 495‐270 Managed Lanes Study                   .\VOL010\IMAGES\IMAGES001\00133421.pdf
00133422   00133427   8/28/2020 21:23 Attach   Capital Beltway Accord Letter 8‐27‐20.pdf                 .\VOL010\IMAGES\IMAGES001\00133422.pdf
00133428   00133428    8/31/2020 9:07 Edoc     I495I270DEISextensioncomment.pdf                          .\VOL010\IMAGES\IMAGES001\00133428.pdf
00133429   00133429   8/31/2020 11:21 Email    FW_ Interesting article‐‐I‐270_I‐495 Project.pdf          .\VOL010\IMAGES\IMAGES001\00133429.pdf
00133430   00133431   8/31/2020 11:37 Email    FW: I‐495/I‐270 comment extension period                  .\VOL010\IMAGES\IMAGES001\00133430.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133432   00133432   8/31/2020 14:11 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00133432.pdf

00133433   00133433   8/31/2020 15:19 Edoc     Section 106 Consultation Request_ I‐495 and I‐2....pdf    .\VOL010\IMAGES\IMAGES001\00133433.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133434   00133434   8/31/2020 15:19 Edoc     2...(2).pdf                                               .\VOL010\IMAGES\IMAGES001\00133434.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133435   00133435   8/31/2020 15:19 Edoc     2...(1).pdf                                               .\VOL010\IMAGES\IMAGES001\00133435.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133436   00133436   8/31/2020 15:19 Edoc     2...(3).pdf                                               .\VOL010\IMAGES\IMAGES001\00133436.pdf

00133437   00133437   8/31/2020 15:23 Edoc     Section 106 Consultation Request_ I‐495 and I‐2....pdf    .\VOL010\IMAGES\IMAGES001\00133437.pdf
00133438   00133438   8/31/2020 15:23 Edoc     MLS_Delaware Nation.pdf                                   .\VOL010\IMAGES\IMAGES001\00133438.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133439   00133439   8/31/2020 15:23 Edoc     2...(2).pdf                                               .\VOL010\IMAGES\IMAGES001\00133439.pdf
00133440   00133440   8/31/2020 15:23 Edoc     MLS_Oneida.pdf                                            .\VOL010\IMAGES\IMAGES001\00133440.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133441   00133441   8/31/2020 15:23 Edoc     2...(1).pdf                                               .\VOL010\IMAGES\IMAGES001\00133441.pdf
00133442   00133442   8/31/2020 15:23 Edoc     MLS_Absentee Shawnee Tribe of Oklahoma.pdf                .\VOL010\IMAGES\IMAGES001\00133442.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133443   00133443   8/31/2020 15:23 Edoc     2...(4).pdf                                               .\VOL010\IMAGES\IMAGES001\00133443.pdf
00133444   00133444   8/31/2020 15:23 Edoc     MLS_Eastern Shawnee Tribe.pdf                             .\VOL010\IMAGES\IMAGES001\00133444.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133445   00133445   8/31/2020 15:23 Edoc     2...(3).pdf                                               .\VOL010\IMAGES\IMAGES001\00133445.pdf
00133446   00133446   8/31/2020 15:23 Edoc     MLS_Delaware Tribe of Indians.pdf                         .\VOL010\IMAGES\IMAGES001\00133446.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133447   00133447   8/31/2020 15:23 Edoc     2...(5).pdf                                               .\VOL010\IMAGES\IMAGES001\00133447.pdf
00133448   00133448   8/31/2020 15:23 Edoc     MLS_Onondaga.pdf                                          .\VOL010\IMAGES\IMAGES001\00133448.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133449   00133449   8/31/2020 15:23 Edoc     2...(6).pdf                                               .\VOL010\IMAGES\IMAGES001\00133449.pdf
00133450   00133450   8/31/2020 15:23 Edoc     Saint Regis Mohawk Tribe.pdf                              .\VOL010\IMAGES\IMAGES001\00133450.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133451   00133451   8/31/2020 15:23 Edoc     2...(7).pdf                                               .\VOL010\IMAGES\IMAGES001\00133451.pdf
00133452   00133452   8/31/2020 15:23 Edoc     MLS_Seneca‐Cayuga Nation.pdf                              .\VOL010\IMAGES\IMAGES001\00133452.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133453   00133453   8/31/2020 15:23 Edoc     2...(8).pdf                                               .\VOL010\IMAGES\IMAGES001\00133453.pdf
00133454   00133454   8/31/2020 15:23 Edoc     MLS_Shawnee Tribe.pdf                                     .\VOL010\IMAGES\IMAGES001\00133454.pdf
                                               Section 106 Consultation Request_ I‐495 and I‐
00133455   00133455   8/31/2020 15:23 Edoc     2...(9).pdf                                               .\VOL010\IMAGES\IMAGES001\00133455.pdf
00133456   00133456   8/31/2020 15:23 Edoc     MLS_Tuscarora Nation.pdf                                  .\VOL010\IMAGES\IMAGES001\00133456.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133457   00133457   8/31/2020 16:55 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00133457.pdf
                                               Review of I‐495 & I‐270 Draft Phase P3 Agreement,
00133458   00133458   8/31/2020 17:32 Email    Exhibit 6                                                 .\VOL010\IMAGES\IMAGES001\00133458.pdf
00133459   00133475   8/31/2020 17:32 Attach   Phase P3 Agreement Exhibit 6 env.pdf                      .\VOL010\IMAGES\IMAGES001\00133459.pdf
00133476   00133489   8/31/2020 18:33 Edoc     2018‐5‐23 Initiation VA tribes.pdf                        .\VOL010\IMAGES\IMAGES001\00133476.pdf

00133490   00133490   8/31/2020 22:22 Attach   2020‐09‐02_FHWA Coordination Mtg Agenda.docx              .\VOL010\IMAGES\IMAGES001\00133490.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133491   00133491     9/1/2020 0:24 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00133491.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133492   00133492    9/1/2020 10:29 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00133492.pdf
00133493   00133493    9/1/2020 12:00 Email    MLS In‐Person Hearing #1                                  .\VOL010\IMAGES\IMAGES001\00133493.pdf
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00133494   00133494    9/1/2020 15:16 Edoc     EastShawneeTribe Notif email 5‐10‐18.pdf                  .\VOL010\IMAGES\IMAGES001\00133494.pdf
00133495   00133495    9/1/2020 15:16 Edoc     DelawareTribe Notif email 5‐10‐18.pdf                     .\VOL010\IMAGES\IMAGES001\00133495.pdf
00133496   00133496    9/1/2020 15:16 Edoc     Oneida Notif email 5‐10‐18.pdf                            .\VOL010\IMAGES\IMAGES001\00133496.pdf
00133497   00133497    9/1/2020 15:16 Edoc     Oneida SHA Tribal Notification Form.pdf                   .\VOL010\IMAGES\IMAGES001\00133497.pdf
00133498   00133498    9/1/2020 15:16 Edoc     Onondaga Notif email 5‐10‐18.pdf                          .\VOL010\IMAGES\IMAGES001\00133498.pdf
00133499   00133499    9/1/2020 15:16 Edoc     Senca‐Cayuga Notif email 5‐10‐18.pdf                      .\VOL010\IMAGES\IMAGES001\00133499.pdf
00133500   00133500    9/1/2020 15:16 Edoc     ShawneeTribe Notif email 5‐10‐18.pdf                      .\VOL010\IMAGES\IMAGES001\00133500.pdf
00133501   00133501    9/1/2020 15:16 Edoc     Tuscarora Notif email 5‐10‐18.pdf                         .\VOL010\IMAGES\IMAGES001\00133501.pdf
00133502   00133502    9/1/2020 15:16 Edoc     AbsShawneeTribe Notif email 5‐10‐18.pdf                   .\VOL010\IMAGES\IMAGES001\00133502.pdf

00133503   00133503    9/1/2020 15:16 Edoc     AbsenteeShawneeTribeOK SHA Tribal Notification.pdf .\VOL010\IMAGES\IMAGES001\00133503.pdf
00133504   00133504    9/1/2020 15:16 Edoc     DelawareNation Notif email 5‐10‐18.pdf             .\VOL010\IMAGES\IMAGES001\00133504.pdf

00133505   00133505    9/1/2020 15:16 Edoc     DelawareNation SHA Tribal Notification Form.pdf           .\VOL010\IMAGES\IMAGES001\00133505.pdf
00133506   00133507    9/1/2020 15:37 Edoc     !Notification to FHWA MLM.docx                            .\VOL010\IMAGES\IMAGES001\00133506.pdf
00133508   00133508    9/1/2020 15:54 Edoc     Natalie Proctor State‐Rec MLS RevAPE2.pdf                 .\VOL010\IMAGES\IMAGES001\00133508.pdf

00133509   00133509    9/1/2020 15:54 Edoc     Piscataway‐Conoy Council State‐Rec MLS RevAPE2.pdf        .\VOL010\IMAGES\IMAGES001\00133509.pdf
00133510   00133510    9/1/2020 15:54 Edoc     Wm Tayac State‐Rec MLS RevAPE2.pdf                        .\VOL010\IMAGES\IMAGES001\00133510.pdf
00133511   00133511    9/1/2020 15:54 Edoc     Rico Newman State‐Rec MLS RevAPE2.pdf                     .\VOL010\IMAGES\IMAGES001\00133511.pdf
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00133512   00133513    9/1/2020 18:13 Edoc     19.pdf                                                    .\VOL010\IMAGES\IMAGES001\00133512.pdf
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00133516   00133517    9/1/2020 18:13 Edoc     R Newman StRecog‐Rev APE 12‐26‐19.pdf                     .\VOL010\IMAGES\IMAGES001\00133516.pdf
00133518   00133519    9/1/2020 18:13 Edoc     Wm Tayac StRecog‐Rev APE 12‐26‐19.pdf                     .\VOL010\IMAGES\IMAGES001\00133518.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133520   00133520    9/1/2020 18:27 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00133520.pdf

00133521   00133521     9/2/2020 9:39 Edoc     MLS Grocery Stores‐Flyer Distrubution‐082920.xlsx         .\VOL010\IMAGES\IMAGES001\00133521.pdf    .\VOL010\NATIVES\NATIVES001\00133521.XLSX
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133522   00133527    9/2/2020 13:35 Email    Section 106 Update and Materials                          .\VOL010\IMAGES\IMAGES001\00133522.pdf
00133528   00133529    9/2/2020 13:46 Email    RE: I‐270 Noise Barrier                                   .\VOL010\IMAGES\IMAGES001\00133528.pdf
00133530   00133536    9/2/2020 13:49 Email    Meeting with Friends of Moses Hall                        .\VOL010\IMAGES\IMAGES001\00133530.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133537   00133554    9/2/2020 15:19 Email    Section 106 Update and Materials                          .\VOL010\IMAGES\IMAGES001\00133537.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133555   00133572     9/3/2020 9:24 Email    Section 106 Update and Materials                          .\VOL010\IMAGES\IMAGES001\00133555.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ July 2020
00133573   00133620    9/3/2020 13:39 Email    Section 106 Update and Materials                          .\VOL010\IMAGES\IMAGES001\00133573.pdf
00133621   00133623    9/3/2020 17:20 Edoc     2020‐08‐28 DEISCommentPeriodExtended.pdf                  .\VOL010\IMAGES\IMAGES001\00133621.pdf
00133624   00133625    9/4/2020 12:47 Email    FW: Church Parcels                                        .\VOL010\IMAGES\IMAGES001\00133624.pdf
00133626   00133626    9/4/2020 12:47 Attach   Moses Cemetary.png                                        .\VOL010\IMAGES\IMAGES001\00133626.pdf
00133627   00133627    9/4/2020 12:47 Attach   Moses Cemetery Title Memo 4.20.2020.docx                  .\VOL010\IMAGES\IMAGES001\00133627.pdf
00133628   00133655    9/4/2020 12:47 Attach   20060617_ADDRESS;.pdf                                     .\VOL010\IMAGES\IMAGES001\00133628.pdf
00133656   00133657    9/4/2020 12:47 Attach   01915930_031620.pdf                                       .\VOL010\IMAGES\IMAGES001\00133656.pdf
00133658   00133658    9/4/2020 13:40 Email    MHT Comments on I‐495 MLS                                 .\VOL010\IMAGES\IMAGES001\00133658.pdf
00133659   00133660    9/4/2020 13:40 Attach   I495 MLS MHT Comments 9‐4‐2020.pdf                        .\VOL010\IMAGES\IMAGES001\00133659.pdf
00133661   00133662    9/4/2020 14:40 Email    RE: Susan Jones Skype message                             .\VOL010\IMAGES\IMAGES001\00133661.pdf
00133663   00133665    9/4/2020 16:14 Attach   Additional EJ Outreach for DEIS‐090420.docx               .\VOL010\IMAGES\IMAGES001\00133663.pdf
00133666   00133667    9/4/2020 16:14 Email    MLS: Additional Hearing Outreach                          .\VOL010\IMAGES\IMAGES001\00133666.pdf
00133668   00133670    9/4/2020 16:14 Attach   Additional EJ Outreach for DEIS‐090420.docx               .\VOL010\IMAGES\IMAGES001\00133668.pdf
00133671   00133672    9/4/2020 17:06 Email    I‐495 & I‐270 MLS IAPA Framework Document                 .\VOL010\IMAGES\IMAGES001\00133671.pdf

00133673   00133674     9/5/2020 7:39 Email    I‐495 & I‐270 FHWA Coordination: MLS Notes (8.19.20) .\VOL010\IMAGES\IMAGES001\00133673.pdf
                                               2020‐08‐19_FHWA Coordination Meeting
00133675   00133677     9/5/2020 7:39 Attach   Notes_MLS.DOCX                                          .\VOL010\IMAGES\IMAGES001\00133675.pdf
                                               I‐495 & I‐270 FHWA Coordination: I‐270 Pre‐NEPA
00133678   00133679     9/5/2020 7:44 Email    notes (9.2.20)                                          .\VOL010\IMAGES\IMAGES001\00133678.pdf
                                               I‐495 & I‐270 FHWA Coordination: P3 Program Notes
00133680   00133681     9/5/2020 9:29 Email    (9.2.20)                                                .\VOL010\IMAGES\IMAGES001\00133680.pdf
                                               2020‐09‐02_FHWA Coordination Meeting Notes_P3
00133682   00133682     9/5/2020 9:29 Attach   Program.docx                                            .\VOL010\IMAGES\IMAGES001\00133682.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133683   00133683     9/8/2020 6:30 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00133683.pdf
00133684   00133684     9/8/2020 7:03 Email    FW: MHT Comments on I‐495 MLS                           .\VOL010\IMAGES\IMAGES001\00133684.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133685   00133685    9/8/2020 10:47 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00133685.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133686   00133686    9/8/2020 11:21 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00133686.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00133687   00133687    9/8/2020 12:08 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00133687.pdf
                                               RE: Missing Reference from Managed Lane Study Draft
00133688   00133689    9/8/2020 14:00 Email    Environmental Impact Statement                          .\VOL010\IMAGES\IMAGES001\00133688.pdf
                                               I‐495 & I‐270 MLS; MDOT SHA Response to August 25,
00133690   00133691    9/8/2020 16:31 Email    2020 Letter                                             .\VOL010\IMAGES\IMAGES001\00133690.pdf
00133692   00133693    9/8/2020 17:40 Email    RE_ quick _ on the 495_270 project(2).pdf               .\VOL010\IMAGES\IMAGES001\00133692.pdf
                                               Re: I‐495 & I‐270 MLS; MDOT SHA Response to August
00133694   00133695    9/8/2020 20:41 Email    25, 2020 Letter                                         .\VOL010\IMAGES\IMAGES001\00133694.pdf
00133696   00133697     9/9/2020 9:23 Email    RE: Handout for 9:30 Call                               .\VOL010\IMAGES\IMAGES001\00133696.pdf
00133698   00133699     9/9/2020 9:23 Attach   Tables_alt 5_20200902.docx                              .\VOL010\IMAGES\IMAGES001\00133698.pdf
00133700   00133700     9/9/2020 9:23 Attach   Microsoft_Excel_Worksheet.xlsx                          .\VOL010\IMAGES\IMAGES001\00133700.pdf      .\VOL010\NATIVES\NATIVES001\00133700.xlsx
00133701   00133701     9/9/2020 9:23 Attach   Microsoft_Excel_Worksheet1.xlsx                         .\VOL010\IMAGES\IMAGES001\00133701.pdf      .\VOL010\NATIVES\NATIVES001\00133701.xlsx
                                               Meeting information for MDOT SHA/Friends of Moses
00133702   00133703    9/9/2020 13:10 Email    Hall meeting Weds 9/16 6‐7pm                            .\VOL010\IMAGES\IMAGES001\00133702.pdf
                                               2020.09.09_Louis Peck_PIA 10‐Day Close Out
00133704   00133705    9/9/2020 16:08 Edoc     Letter.pdf                                              .\VOL010\IMAGES\IMAGES001\00133704.pdf
                                               FHWA Review_ I‐495 & I‐270 MLS IAPA Framework
00133706   00133706    9/9/2020 17:04 Email    D....pdf                                                .\VOL010\IMAGES\IMAGES001\00133706.pdf
                                               FHWA Review: I‐495 & I‐270 MLS IAPA Framework
00133707   00133707    9/9/2020 17:04 Email    Document                                                .\VOL010\IMAGES\IMAGES001\00133707.pdf
                                               FHWA Review_ I‐495 & I‐270 MLS IAPA Framework
00133708   00133708    9/9/2020 18:04 Email    D....pdf                                                .\VOL010\IMAGES\IMAGES001\00133708.pdf
                                               IAPA Framework Document 09.03.20 w appendices‐
00133709   00134085    9/9/2020 18:04 Attach   .pdf                                                    .\VOL010\IMAGES\IMAGES001\00133709.pdf
                                               I‐495 and I‐270 Managed Lanes Study Draft
00134086   00134086    9/9/2020 20:14 Email    Environmental Impact Statement                          .\VOL010\IMAGES\IMAGES001\00134086.pdf
                                               I‐495 and I‐270 Managed Lanes Study Draft
00134087   00134087    9/9/2020 20:14 Email    Environmental Impact Statement                          .\VOL010\IMAGES\IMAGES001\00134087.pdf
00134088   00134089    9/10/2020 7:31 Email    Friends of Moses Lodge Cemetery Meeting                 .\VOL010\IMAGES\IMAGES001\00134088.pdf
00134090   00134091    9/10/2020 8:00 Email    RE: Counsel Meeting                                     .\VOL010\IMAGES\IMAGES001\00134090.pdf
00134092   00134106    9/10/2020 8:56 Attach   FMH_Sep_2020_MLS_106_pres_rev2.pdf                      .\VOL010\IMAGES\IMAGES001\00134092.pdf
00134107   00134108    9/10/2020 8:59 Email    FW: Friends of Moses Lodge Cemetery Meeting             .\VOL010\IMAGES\IMAGES001\00134107.pdf
00134109   00134123    9/10/2020 8:59 Attach   FMH_Sep_2020_MLS_106_pres_rev2.pdf                      .\VOL010\IMAGES\IMAGES001\00134109.pdf
00134124   00134126   9/10/2020 10:37 Email    RE: MLS SWM Considerations: FHWA Discussion             .\VOL010\IMAGES\IMAGES001\00134124.pdf
00134127   00134129   9/10/2020 10:38 Email    RE: Friends of Moses Lodge Cemetery Meeting             .\VOL010\IMAGES\IMAGES001\00134127.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 106 of 263

00134130   00134131   9/10/2020 10:54 Email    National Register Eligibility Determination ‐ ...(1).pdf .\VOL010\IMAGES\IMAGES001\00134130.pdf
00134132   00134136   9/10/2020 10:54 Attach   FINAL Dead Run Ridges DOE 09‐10‐2020.pdf                 .\VOL010\IMAGES\IMAGES001\00134132.pdf
                                               Re: [EXTERNAL] National Register Eligibility
                                               Determination ‐ Dead Run Ridges Archaeological
00134137   00134139   9/10/2020 11:21 Email    District (Fairfax, VA)                                   .\VOL010\IMAGES\IMAGES001\00134137.pdf
00134140   00134142   9/10/2020 12:02 Email    RE: Friends of Moses Lodge Cemetery Meeting              .\VOL010\IMAGES\IMAGES001\00134140.pdf
                                               FW: Erroneous Dashboard Entry: I‐495/I‐270 ESA
00134143   00134144   9/10/2020 13:31 Email    Consultation                                             .\VOL010\IMAGES\IMAGES001\00134143.pdf
                                               RE: Erroneous Dashboard Entry: I‐495/I‐270 ESA
00134145   00134146   9/10/2020 13:53 Email    Consultation                                             .\VOL010\IMAGES\IMAGES001\00134145.pdf
                                               RE: [EXTERNAL] National Register Eligibility
                                               Determination ‐ Dead Run Ridges Archaeological
00134147   00134149   9/10/2020 16:25 Email    District (Fairfax, VA)                                   .\VOL010\IMAGES\IMAGES001\00134147.pdf
                                               RE: Missing Reference from Managed Lane Study Draft
00134150   00134151   9/10/2020 20:03 Attach   Environmental Impact Statement                           .\VOL010\IMAGES\IMAGES001\00134150.pdf
00134152   00134154   9/11/2020 11:46 Email    RE: Friends of Moses Lodge Cemetery Meeting              .\VOL010\IMAGES\IMAGES001\00134152.pdf
                                               RE_ FHWA ACTION Required_ Review of I‐495 & I‐
00134155   00134156   9/11/2020 16:06 Email    2...(9).pdf                                              .\VOL010\IMAGES\IMAGES001\00134155.pdf
00134157   00134158   9/11/2020 16:06 Attach   Comment Matrix Exhibit 6‐sjl.docx                        .\VOL010\IMAGES\IMAGES001\00134157.pdf
                                               RE: Review of I‐495 & I‐270 Draft Phase P3 Agreement,
00134159   00134160   9/11/2020 16:21 Email    Exhibit 6                                                .\VOL010\IMAGES\IMAGES001\00134159.pdf
                                               RE: Erroneous Dashboard Entry: I‐495/I‐270 ESA
00134161   00134162    9/14/2020 8:07 Email    Consultation                                             .\VOL010\IMAGES\IMAGES001\00134161.pdf
                                               RE: FHWA Review: I‐495 & I‐270 MLS IAPA Framework
00134163   00134164    9/14/2020 8:14 Email    Document                                                 .\VOL010\IMAGES\IMAGES001\00134163.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134165   00134165    9/14/2020 9:21 Email    270 plan                                                 .\VOL010\IMAGES\IMAGES001\00134165.pdf
00134166   00134168    9/14/2020 9:28 Attach   Lee‐Young 825522 final.docx                              .\VOL010\IMAGES\IMAGES001\00134166.pdf
                                               Travel Time Charts ‐ Build vs No Build (Virginia to
00134169   00134172    9/14/2020 9:28 Attach   Frederick) Full Set with Existing 2.pdf                  .\VOL010\IMAGES\IMAGES001\00134169.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134173   00134173   9/14/2020 11:33 Email    270 plan                                                 .\VOL010\IMAGES\IMAGES001\00134173.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134174   00134174   9/14/2020 13:34 Email    270 plan                                                 .\VOL010\IMAGES\IMAGES001\00134174.pdf

00134175   00134175   9/14/2020 17:32 Attach   2020‐09‐15_FHWA Coordination Mtg Agenda.docx          .\VOL010\IMAGES\IMAGES001\00134175.pdf
                                               RE_ FHWA ACTION Required_ Review of I‐495 & I‐
00134176   00134177   9/14/2020 18:11 Email    2...(7).pdf                                           .\VOL010\IMAGES\IMAGES001\00134176.pdf
                                               2020.09.15_Bill Orleans_PIA 10‐Day Estimate
00134178   00134180   9/15/2020 11:47 Edoc     Letter.pdf                                            .\VOL010\IMAGES\IMAGES001\00134178.pdf
                                               State Highway Administration Hearing ‐ Day 1 ‐ 090120
00134181   00134221   9/15/2020 13:18 Attach   (Condensed).pdf                                       .\VOL010\IMAGES\IMAGES001\00134181.pdf
                                               State Highway Administration Hearing ‐ Day 1 ‐ 090120
00134222   00134222   9/15/2020 13:18 Attach   (E‐Transcript).ptx                                    .\VOL010\IMAGES\IMAGES001\00134222.pdf        .\VOL010\NATIVES\NATIVES001\00134222.ptx
                                               State Highway Administration Hearing ‐ Day 1 ‐ 090120
00134223   00134332   9/15/2020 13:18 Attach   (Full).pdf                                            .\VOL010\IMAGES\IMAGES001\00134223.pdf
                                               State Highway Administration Hearing ‐ Day 1 ‐ 090120
00134333   00134426   9/15/2020 13:18 Attach   (ASCII)‐AMICUS.txt                                    .\VOL010\IMAGES\IMAGES001\00134333.pdf
00134427   00134428   9/15/2020 15:53 Attach   Marble 825833 Incoming.pdf                            .\VOL010\IMAGES\IMAGES001\00134427.pdf
                                               Marble 825833 Response: P3 Project to add Toll Lanes
00134429   00134430   9/15/2020 15:53 Attach   to I270                                               .\VOL010\IMAGES\IMAGES001\00134429.pdf
                                               Cabin John Interchange Working Group Meeting ‐
00134431   00134431   9/15/2020 16:31 Email    09/16/2020                                            .\VOL010\IMAGES\IMAGES001\00134431.pdf
00134432   00134435   9/15/2020 16:31 Attach   2020.09.02_Cabin_John_Meeting Minutes.pdf             .\VOL010\IMAGES\IMAGES001\00134432.pdf

00134436   00134446   9/16/2020 11:18 Edoc     TITLE VI Accomplishments Report 2020_MLS.docx             .\VOL010\IMAGES\IMAGES001\00134436.pdf
                                               Reminder of Tonight's meeting: MDOT SHA/Friends of
00134447   00134449   9/16/2020 12:50 Email    Moses Hall meeting 6‐7pm                                  .\VOL010\IMAGES\IMAGES001\00134447.pdf
00134450   00134464   9/16/2020 16:04 Attach   FMH_Sep_2020_pres.pptx                                    .\VOL010\IMAGES\IMAGES001\00134450.pdf
00134465   00134466   9/16/2020 16:12 Email    FHWA Coordination‐ MLS Action Item                        .\VOL010\IMAGES\IMAGES001\00134465.pdf
                                               FHWA Mtg_09‐15‐2020_FEIS Scope Items & Comment
00134467   00134468   9/16/2020 16:12 Attach   Summary (1).docx                                          .\VOL010\IMAGES\IMAGES001\00134467.pdf
00134469   00134470   9/16/2020 16:17 Attach   2020‐08‐25_Response Letter to RCC (003).pdf               .\VOL010\IMAGES\IMAGES001\00134469.pdf
                                               Aug 25 2020 email request
00134471   00134474   9/16/2020 16:17 Attach   from_Rockcreek_Conservancy.pdf                            .\VOL010\IMAGES\IMAGES001\00134471.pdf
00134475   00134489   9/16/2020 19:49 Attach   FMH_Sep_2020_pres_fin.pdf                                 .\VOL010\IMAGES\IMAGES001\00134475.pdf
                                               RE: FHWA Review: I‐495 & I‐270 MLS IAPA Framework
00134490   00134490    9/17/2020 6:59 Email    Document                                                  .\VOL010\IMAGES\IMAGES001\00134490.pdf
00134491   00134491   9/17/2020 11:50 Email    Agenda for Wednesday's Internal Meeting                   .\VOL010\IMAGES\IMAGES001\00134491.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134492   00134492    9/18/2020 8:04 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00134492.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study‐ Draft
                                               Environmental Impact Statement and Draft Section
00134493   00134496    9/18/2020 8:51 Email    4(f) Evaluation Notice of Availability                    .\VOL010\IMAGES\IMAGES001\00134493.pdf
                                               20200918_MLS_VDEQ Coordination_Wetland and
                                               Waterway Impacts and Mitigation in VA Portion of
00134497   00134530    9/18/2020 8:51 Attach   LODs.pdf                                                  .\VOL010\IMAGES\IMAGES001\00134497.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study‐ Draft
                                               Environmental Impact Statement and Draft Section
00134531   00134534    9/18/2020 9:03 Email    4(f) Evaluation Notice of Availability                    .\VOL010\IMAGES\IMAGES001\00134531.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134535   00134535    9/18/2020 9:24 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00134535.pdf
                                               Friends of Moses 88 CP ‐ MDOT SHA Meeting Follow‐
00134536   00134536   9/18/2020 12:21 Email    Up Comments                                               .\VOL010\IMAGES\IMAGES001\00134536.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134537   00134537   9/18/2020 16:14 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00134537.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134538   00134538   9/20/2020 11:20 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00134538.pdf

                                               RE: National Register Eligibility Determination ‐ Dead
00134539   00134542   9/21/2020 10:21 Email    Run Ridges Archaeological District (Fairfax, VA)          .\VOL010\IMAGES\IMAGES001\00134539.pdf
                                               IAPA Framework Document 09.03.20 w appendices‐
00134543   00134919   9/21/2020 10:45 Edoc     signed‐reduced_cw.pdf                                     .\VOL010\IMAGES\IMAGES001\00134543.pdf
00134920   00134920   9/21/2020 11:56 Attach   VDOT Noise Abatement Policy_2020.02.28.pdf                .\VOL010\IMAGES\IMAGES001\00134920.pdf
00134921   00134922   9/21/2020 16:43 Edoc     I‐495_I‐270_Hearing_Flyer_8.5x10.875_rd55.pdf             .\VOL010\IMAGES\IMAGES001\00134921.pdf
00134923   00134923    9/22/2020 8:41 Edoc     2020.09.22_Ian Fisher_PIA Follow Up Letter.pdf            .\VOL010\IMAGES\IMAGES001\00134923.pdf
                                               I‐495 & I‐270 FHWA Coordination: P3 Program Notes
00134924   00134925    9/22/2020 9:25 Email    (9.15.20)                                                 .\VOL010\IMAGES\IMAGES001\00134924.pdf
                                               2020‐09‐15_FHWA Coordination Meeting Notes_P3
00134926   00134926    9/22/2020 9:25 Attach   Program.docx                                              .\VOL010\IMAGES\IMAGES001\00134926.pdf
                                               I‐495 & I‐270 FHWA Coordination: I‐270 Pre‐NEPA
00134927   00134928    9/22/2020 9:25 Email    Notes (9.15.20)                                           .\VOL010\IMAGES\IMAGES001\00134927.pdf
                                               20200915‐I‐270_FHWA Coordination Meeting
00134929   00134929    9/22/2020 9:25 Attach   Notes.docx                                                .\VOL010\IMAGES\IMAGES001\00134929.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 107 of 263

                                               2020‐09‐15_FHWA Coordination Meeting
00134930   00134931    9/22/2020 9:28 Attach   Notes_MLS.DOCX                                          .\VOL010\IMAGES\IMAGES001\00134930.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134932   00134932   9/22/2020 10:04 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134932.pdf
                                               RE: Action Endangered Species Act Consultation (DOI‐
                                               FWS) for Project I‐495/I‐270 Managed Lanes Study has
00134933   00134934   9/22/2020 10:14 Email    a milestone target date within 10                       .\VOL010\IMAGES\IMAGES001\00134933.pdf

00134935   00134945   9/22/2020 10:28 Attach   Attachment ‐ COVID Impact Monitoring ‐ 8‐6‐2020.pdf .\VOL010\IMAGES\IMAGES001\00134935.pdf
00134946   00134946   9/22/2020 11:53 Email    RE: Agenda for Wednesday's Internal Meeting             .\VOL010\IMAGES\IMAGES001\00134946.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134947   00134947   9/22/2020 13:49 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134947.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134948   00134948   9/22/2020 13:51 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134948.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134949   00134949   9/22/2020 13:51 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134949.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134950   00134950   9/22/2020 13:52 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134950.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134951   00134951   9/22/2020 13:53 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134951.pdf
00134952   00134952   9/22/2020 14:08 Email    RE: Agenda for Wednesday's Internal Meeting             .\VOL010\IMAGES\IMAGES001\00134952.pdf
                                               MDOT SHA notes from 9/16/2020 Section 106 meeting
00134953   00134956   9/22/2020 15:12 Email    with Friends of Moses Hall                              .\VOL010\IMAGES\IMAGES001\00134953.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00134957   00134957   9/22/2020 17:00 Email    Framewo...(7).pdf                                       .\VOL010\IMAGES\IMAGES001\00134957.pdf
                                               Transit Services Improvement ‐ segments‐
00134958   00134960    9/23/2020 6:28 Attach   documents.docx                                          .\VOL010\IMAGES\IMAGES001\00134958.pdf
00134961   00134961    9/23/2020 7:13 Email    RE: Agenda for 9/23 MLS Internal Meeting                .\VOL010\IMAGES\IMAGES001\00134961.pdf
                                               RE: FHWA Review: I‐495 & I‐270 MLS IAPA Framework
00134962   00134962    9/23/2020 7:20 Email    Document                                                .\VOL010\IMAGES\IMAGES001\00134962.pdf
                                               2020.09.23_Comments on Framework_I‐495 & I‐270
00134963   00134963    9/23/2020 7:21 Edoc     MLS IAPA Framework Document.pdf                         .\VOL010\IMAGES\IMAGES001\00134963.pdf

                                               2020.09.23_Chung Comments_RE_ FHWA Review_ I‐
00134964   00134965    9/23/2020 7:22 Edoc     495 & I‐270 MLS IAPA Framework Document.pdf             .\VOL010\IMAGES\IMAGES001\00134964.pdf
                                               RE: FHWA Review: I‐495 & I‐270 MLS IAPA Framework
00134966   00134966    9/23/2020 7:51 Email    Document                                                .\VOL010\IMAGES\IMAGES001\00134966.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00134967   00134967    9/23/2020 8:20 Email    Framewo...(6).pdf                                       .\VOL010\IMAGES\IMAGES001\00134967.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134968   00134968   9/24/2020 12:57 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134968.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134969   00134969   9/24/2020 14:21 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134969.pdf
00134970   00134970   9/24/2020 15:32 Email    [No Subject]                                            .\VOL010\IMAGES\IMAGES001\00134970.pdf
                                               G Tobin MOCO I 270 and 495 JEIS and JPA Comments 9
00134971   00134972   9/24/2020 15:32 Attach   24 2020.docx                                            .\VOL010\IMAGES\IMAGES001\00134971.pdf
                                               MDOT SHA Section 106 Correspondence: I‐495 & I‐270
00134973   00134973   9/24/2020 16:36 Email    MLS Effect Finding to VDHR                              .\VOL010\IMAGES\IMAGES001\00134973.pdf
00134974   00134975   9/24/2020 16:36 Attach   MDOT_SHA_MLS Effects to DHR_9‐24‐20.pdf                 .\VOL010\IMAGES\IMAGES001\00134974.pdf
                                               FW: Briefing on cemetery properties (Moses Hall and
00134976   00134984   9/25/2020 12:39 Email    Poor Farm)                                              .\VOL010\IMAGES\IMAGES001\00134976.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00134985   00134986   9/25/2020 19:17 Email    Framewo...(5).pdf                                       .\VOL010\IMAGES\IMAGES001\00134985.pdf
00134987   00134989    9/26/2020 9:34 Email    RE: I‐495 & I‐270 MLS IAPA Framework Document           .\VOL010\IMAGES\IMAGES001\00134987.pdf
                                               RE: FHWA Review: I‐495 & I‐270 MLS IAPA Framework
00134990   00134991   9/26/2020 12:45 Email    Document                                                .\VOL010\IMAGES\IMAGES001\00134990.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00134992   00134993   9/26/2020 13:45 Email    Framewo...(4).pdf                                       .\VOL010\IMAGES\IMAGES001\00134992.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00134994   00134994   9/27/2020 20:25 Email    270 plan                                                .\VOL010\IMAGES\IMAGES001\00134994.pdf
                                               2020.09.28_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00134995   00134997    9/28/2020 6:20 Edoc     Framework Document.pdf                                  .\VOL010\IMAGES\IMAGES001\00134995.pdf
00134998   00134998    9/28/2020 8:26 Email    FW: Post Article ‐ Managed Lanes                        .\VOL010\IMAGES\IMAGES001\00134998.pdf

00134999   00135001    9/28/2020 8:26 Attach   Managed lanes.Despite Purple Line problems.docx           .\VOL010\IMAGES\IMAGES001\00134999.pdf
                                               RE: FHWA Review: I‐495 & I‐270 MLS IAPA Framework
00135002   00135002    9/28/2020 9:03 Email    Document                                                  .\VOL010\IMAGES\IMAGES001\00135002.pdf
00135003   00135004   9/28/2020 16:35 Email    RE: DEIS Comments ‐ Meeting                               .\VOL010\IMAGES\IMAGES001\00135003.pdf
00135005   00135012   9/28/2020 17:22 Email    Fw: I495 ‐ I270 road widening project                     .\VOL010\IMAGES\IMAGES001\00135005.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00135013   00135013   9/28/2020 17:33 Email    Framewo...(2).pdf                                         .\VOL010\IMAGES\IMAGES001\00135013.pdf
                                               RE: ACTION—TRANSITION INFO NEEDED ‐ North List
00135014   00135017   9/28/2020 19:46 Email    for Vol II                                                .\VOL010\IMAGES\IMAGES001\00135014.pdf
                                               RE: FHWA Review: I‐495 & I‐270 MLS IAPA Framework
00135018   00135020   9/29/2020 10:39 Email    Document                                                  .\VOL010\IMAGES\IMAGES001\00135018.pdf
                                               I‐495_I‐270_Post Hearing
00135021   00135021   9/29/2020 11:20 Edoc     Flyer_8.5x11_rd11_proof.pdf                               .\VOL010\IMAGES\IMAGES001\00135021.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00135022   00135024   9/29/2020 11:39 Email    Framewo....pdf                                            .\VOL010\IMAGES\IMAGES001\00135022.pdf
                                               IAPA Framework Document 09.03.20 without
00135025   00135058   9/29/2020 11:39 Attach   appen.pdf                                                 .\VOL010\IMAGES\IMAGES001\00135025.pdf
00135059   00135059   9/29/2020 13:49 Email    RE: Please Review ‐ time sensitive                        .\VOL010\IMAGES\IMAGES001\00135059.pdf
00135060   00135061   9/29/2020 14:02 Edoc     1‐20‐20 letter_Pamunkey.pdf                               .\VOL010\IMAGES\IMAGES001\00135060.pdf
00135062   00135063   9/29/2020 14:02 Edoc     1‐20‐20 letter_Monacan.pdf                                .\VOL010\IMAGES\IMAGES001\00135062.pdf
00135064   00135065   9/29/2020 14:02 Edoc     1‐20‐20 letter_Chick_Eastern.pdf                          .\VOL010\IMAGES\IMAGES001\00135064.pdf
00135066   00135067   9/29/2020 14:02 Edoc     1‐20‐20 letter_Rappahannock.pdf                           .\VOL010\IMAGES\IMAGES001\00135066.pdf
00135068   00135069   9/29/2020 14:02 Edoc     1‐20‐20 letter_Nansemond.pdf                              .\VOL010\IMAGES\IMAGES001\00135068.pdf
00135070   00135071   9/29/2020 14:02 Edoc     1‐20‐20 letter_Upper Mattaponi.pdf                        .\VOL010\IMAGES\IMAGES001\00135070.pdf
00135072   00135072   9/29/2020 14:02 Edoc     VA transmittal email 1‐21‐20.docx                         .\VOL010\IMAGES\IMAGES001\00135072.pdf
                                               2020.09.29_RE_ FHWA Review_ I‐495 & I‐270 MLS
00135073   00135075   9/29/2020 14:58 Edoc     IAPA Framework Document.pdf                               .\VOL010\IMAGES\IMAGES001\00135073.pdf
00135076   00135077   9/29/2020 15:06 Email    FW: MLS SWM Considerations: FHWA Discussion               .\VOL010\IMAGES\IMAGES001\00135076.pdf
                                               20200903_MLS_Compensatory SWM Mtg With FHWA
00135078   00135081   9/29/2020 15:06 Attach   Minutes_20200828.pdf                                      .\VOL010\IMAGES\IMAGES001\00135078.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00135082   00135082   9/29/2020 16:22 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES001\00135082.pdf
00135083   00135083   9/30/2020 10:55 Email    FW: Culvert Augmentation Meeting                          .\VOL010\IMAGES\IMAGES001\00135083.pdf
00135084   00135089   9/30/2020 10:56 Attach   Lee ‐ Young 825522 Signed.pdf                             .\VOL010\IMAGES\IMAGES001\00135084.pdf
                                               FW: MDOT SHA notes from 9/16/2020 Section 106
00135090   00135095   9/30/2020 15:43 Email    meeting with Friends of Moses Hall                        .\VOL010\IMAGES\IMAGES001\00135090.pdf
                                               FW: Friends of Moses 88 CP ‐ MDOT SHA Meeting
00135096   00135097   9/30/2020 16:01 Email    Follow‐Up Comments                                        .\VOL010\IMAGES\IMAGES001\00135096.pdf

00135098   00135105   9/30/2020 16:43 Attach   MDOT SHA‐FMH Meeting Minutes_2020‐09‐16_fin.pdf .\VOL010\IMAGES\IMAGES001\00135098.pdf
00135106   00135125   9/30/2020 17:01 Attach   Moses Hall CP Letter to SHA 9.17.20 ‐ FINAL.pdf .\VOL010\IMAGES\IMAGES001\00135106.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 108 of 263

00135126   00135126    10/1/2020 7:18 Email    I‐495 and I‐270 Technical Report ‐ voicemail              .\VOL010\IMAGES\IMAGES001\00135126.pdf
                                               FW: I‐495/I‐270 Managed Lanes Study M‐NCPPC
                                               Montgomery County Parkland Mitigation Meeting
00135127   00135130    10/1/2020 9:57 Email    Summary ‐ 08/17/2020                                      .\VOL010\IMAGES\IMAGES001\00135127.pdf
                                               495‐270MLS_E‐blastWaystoComment‐
00135131   00135132   10/1/2020 10:23 Edoc     Nov9_092820.docx                                          .\VOL010\IMAGES\IMAGES001\00135131.pdf
00135133   00135135   10/1/2020 10:53 Email    RE: FHWA SWM Meeting                                      .\VOL010\IMAGES\IMAGES001\00135133.pdf
00135136   00135138   10/1/2020 11:07 Email    Re: Double Decker Bridge                                  .\VOL010\IMAGES\IMAGES001\00135136.pdf

00135139   00135139   10/1/2020 11:58 Email    Quick update from FHWA MLS 106 meeting yesterday          .\VOL010\IMAGES\IMAGES001\00135139.pdf
00135140   00135141   10/1/2020 13:37 Email    NPS Property Boundary and Rights                          .\VOL010\IMAGES\IMAGES001\00135140.pdf
00135142   00135144   10/1/2020 14:20 Email    FW: Morningstar cemetery                                  .\VOL010\IMAGES\IMAGES001\00135142.pdf
00135145   00135146   10/1/2020 14:20 Attach   9‐18‐20 Order of Posting ‐ Unknown Owners.pdf             .\VOL010\IMAGES\IMAGES001\00135145.pdf
                                               Property Access Update for Morningstar Tabernacle
00135147   00135150   10/1/2020 15:07 Email    and Moses Hall Cemetery                                   .\VOL010\IMAGES\IMAGES001\00135147.pdf

00135151   00135152   10/1/2020 15:32 Email    FW: Assistance with property posting for 495/270 MLS .\VOL010\IMAGES\IMAGES001\00135151.pdf
00135153   00135155   10/1/2020 15:39 Email    RE: FHWA SWM Meeting                                 .\VOL010\IMAGES\IMAGES001\00135153.pdf
                                               I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00135156   00135157   10/1/2020 18:09 Email    Files/Data                                           .\VOL010\IMAGES\IMAGES001\00135156.pdf
00135158   00135158   10/2/2020 11:07 Email    MLS Hearing Transcript                               .\VOL010\IMAGES\IMAGES001\00135158.pdf
                                               FW: Moses Hall Property Posting: Signage Details
00135159   00135159   10/2/2020 12:16 Email    [Blackwater Expense]                                 .\VOL010\IMAGES\IMAGES001\00135159.pdf
00135160   00135162   10/2/2020 12:16 Attach   FedEx Office Print Online.pdf                        .\VOL010\IMAGES\IMAGES001\00135160.pdf

                                               Federal Planners Push Back at Hogan's Plan to Add Toll
00135163   00135165   10/2/2020 13:59 Attach   Lanes on Beltway, 270 – Maryland Matters.pdf           .\VOL010\IMAGES\IMAGES001\00135163.pdf
00135166   00135167   10/5/2020 10:36 Email    FW: I‐495 & I‐270 MLS‐ Public Hearing Transcript       .\VOL010\IMAGES\IMAGES001\00135166.pdf
                                               FHWA Hearing Transcripts Certification Letter
00135168   00135168   10/5/2020 10:36 Attach   10.02.2020.pdf                                         .\VOL010\IMAGES\IMAGES001\00135168.pdf
                                               I‐495_I‐270 MLS Public Hearing Transcripts‐ Certified
00135169   00135665   10/5/2020 10:36 Attach   Final Copy.pdf                                         .\VOL010\IMAGES\IMAGES001\00135169.pdf
                                               Talking Points in response to MM article_NCPC
00135666   00135669   10/5/2020 11:46 Edoc     Commission 10‐1‐2020 final.docx                        .\VOL010\IMAGES\IMAGES001\00135666.pdf

00135670   00135671   10/5/2020 13:22 Email    FW_ [External] Invitation‐Only Tour of Moses Mo....pdf .\VOL010\IMAGES\IMAGES001\00135670.pdf
00135672   00135672   10/5/2020 13:22 Attach   Tour Moses Morningstar Cemetery 10.17.20.pdf           .\VOL010\IMAGES\IMAGES001\00135672.pdf

00135673   00135673   10/5/2020 13:22 Attach   Press Release 10.05.20 ‐ Friends of Moses Hall.pdf        .\VOL010\IMAGES\IMAGES001\00135673.pdf

00135674   00135705   10/5/2020 13:22 Attach   History of Gibson Grove Community June 2020 (.pdf         .\VOL010\IMAGES\IMAGES001\00135674.pdf
00135706   00135707   10/5/2020 13:22 Attach   CCF10052020.pdf                                           .\VOL010\IMAGES\IMAGES001\00135706.pdf

00135708   00135708   10/5/2020 13:45 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_AM_PQ.pdf           .\VOL010\IMAGES\IMAGES001\00135708.pdf

00135709   00135709   10/5/2020 14:08 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_ES_PQ.pdf           .\VOL010\IMAGES\IMAGES001\00135709.pdf

00135710   00135710   10/5/2020 14:22 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_FR_PQ.pdf           .\VOL010\IMAGES\IMAGES001\00135710.pdf

00135711   00135711   10/5/2020 15:11 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_KO_PQ.pdf           .\VOL010\IMAGES\IMAGES001\00135711.pdf
00135712   00135713   10/5/2020 15:18 Email    FW: October 8th Meeting                                   .\VOL010\IMAGES\IMAGES001\00135712.pdf
                                               2020.09.29 Culvert Permitting Meeting with
00135714   00135718   10/5/2020 15:18 Attach   FHWA_Meeting Notes.docx                                   .\VOL010\IMAGES\IMAGES001\00135714.pdf

00135719   00135719   10/5/2020 15:33 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_ML_PQ.pdf           .\VOL010\IMAGES\IMAGES001\00135719.pdf

00135720   00135720   10/5/2020 15:49 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_PA_PQ.pdf           .\VOL010\IMAGES\IMAGES001\00135720.pdf

00135721   00135721   10/5/2020 15:58 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_TL_PQ.pdf           .\VOL010\IMAGES\IMAGES001\00135721.pdf

00135722   00135722   10/5/2020 16:05 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_YO_PQ.pdf           .\VOL010\IMAGES\IMAGES001\00135722.pdf

00135723   00135723   10/5/2020 16:14 Edoc     I‐495_I‐270_Post Hearing Flyer_8.5x11_ZH_PQ.pdf     .\VOL010\IMAGES\IMAGES001\00135723.pdf
                                               Re: Update on MDOT SHA property access at Moses
00135724   00135730   10/5/2020 17:27 Email    Hall Cemetery                                       .\VOL010\IMAGES\IMAGES001\00135724.pdf
00135731   00135731   10/5/2020 17:27 Attach   IMG_2149.jpg                                        .\VOL010\IMAGES\IMAGES001\00135731.pdf
00135732   00135734    10/6/2020 8:19 Email    RE: October 8th Meeting                             .\VOL010\IMAGES\IMAGES001\00135732.pdf
                                               RE: MLS ‐ NPS Wetland Mitigation Meeting Today with
00135735   00135736    10/6/2020 8:44 Email    C&O Canal and GWMP                                  .\VOL010\IMAGES\IMAGES001\00135735.pdf
00135737   00135738    10/6/2020 8:59 Email    Issue Resolution Process                            .\VOL010\IMAGES\IMAGES001\00135737.pdf
00135739   00135740    10/6/2020 8:59 Email    Issue Resolution Process                            .\VOL010\IMAGES\IMAGES001\00135739.pdf
00135741   00135742   10/6/2020 10:00 Email    Approaches to Responding to DEIS Comments           .\VOL010\IMAGES\IMAGES001\00135741.pdf
                                               FHWA Meeting_DEIS Response to Comments_10‐05‐
00135743   00135750   10/6/2020 10:00 Attach   2020.docx                                           .\VOL010\IMAGES\IMAGES001\00135743.pdf
                                               RE_ FHWA_MDOT SHA_MDTA Section 106 PA ‐
00135751   00135753   10/6/2020 10:46 Email    Discuss....pdf                                      .\VOL010\IMAGES\IMAGES001\00135751.pdf
                                               FHWA Meeting_DEIS Response to Comments_10‐05‐
00135754   00135761   10/6/2020 11:11 Attach   2020.docx                                           .\VOL010\IMAGES\IMAGES001\00135754.pdf
                                               I‐495 & I‐270 Managed Lanes Study Accepting
00135762   00135764   10/6/2020 12:30 Email    Comments on the DEIS and JPA                        .\VOL010\IMAGES\IMAGES001\00135762.pdf

00135765   00135766    10/7/2020 8:56 Email    Fw: Perry 826107 Response: Plummers Island Concern        .\VOL010\IMAGES\IMAGES001\00135765.pdf
                                               MDOT SHA meeting in preparation for bamboo
00135767   00135767   10/7/2020 13:11 Email    clearing                                                  .\VOL010\IMAGES\IMAGES001\00135767.pdf
                                               Re: MDOT SHA meeting in preparation for bamboo
00135768   00135769   10/7/2020 13:16 Email    clearing                                                  .\VOL010\IMAGES\IMAGES001\00135768.pdf
                                               FW: Maryland Project Congressional Outreach and
00135770   00135770   10/7/2020 14:12 Email    Press Event                                               .\VOL010\IMAGES\IMAGES001\00135770.pdf
                                               Re: MDOT SHA meeting in preparation for bamboo
00135771   00135772   10/7/2020 15:08 Email    clearing                                                  .\VOL010\IMAGES\IMAGES001\00135771.pdf
00135773   00135774   10/7/2020 15:12 Attach   letter to Korman and Love 9.11.20.pdf                     .\VOL010\IMAGES\IMAGES001\00135773.pdf
00135775   00135782   10/7/2020 15:36 Email    Bamboo Removal                                            .\VOL010\IMAGES\IMAGES001\00135775.pdf
                                               CulvertAugmentation‐Agency Handout 2020‐
00135783   00135785    10/8/2020 8:24 Attach   10_memo.docx                                              .\VOL010\IMAGES\IMAGES001\00135783.pdf
                                               RE: Invitation‐Only Tour of Moses Morningstar
00135786   00135788   10/8/2020 10:52 Email    Cemetery and Hall Site in Cabin John ‐ 10/17              .\VOL010\IMAGES\IMAGES001\00135786.pdf
                                               FW: Brief Moses Hall Summary (needed prior to
00135789   00135790   10/8/2020 13:07 Email    posting on 10/5)                                          .\VOL010\IMAGES\IMAGES001\00135789.pdf
                                               I‐495 & I‐270 Managed Lanes Study: October IAWG
00135791   00135793   10/8/2020 15:22 Email    Update                                                    .\VOL010\IMAGES\IMAGES001\00135791.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00135794   00135795   10/9/2020 13:09 Email    Files/Data                                                .\VOL010\IMAGES\IMAGES001\00135794.pdf
                                               Fw: PDF of tonight's presentation ‐‐ I‐495 NEXT Virtual
00135796   00135796   10/12/2020 9:45 Email    Public Hearing                                            .\VOL010\IMAGES\IMAGES001\00135796.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                   Filed 05/03/23                           Page 109 of 263

                                                2020‐10‐05 495 NEXT Public Hearing Presentation
00135797   00135837    10/12/2020 9:45 Attach   Final.pdf                                               .\VOL010\IMAGES\IMAGES001\00135797.pdf
                                                RE: I‐270 Pre‐NEPA P&N and Logical Termini ‐ FHWA
00135838   00135840   10/12/2020 11:34 Email    Backcheck                                               .\VOL010\IMAGES\IMAGES001\00135838.pdf
00135841   00135842    10/13/2020 9:38 Email    MLS: Proposed Visual Renderings                         .\VOL010\IMAGES\IMAGES001\00135841.pdf
00135843   00135844    10/13/2020 9:54 Email    FW: MLS: Proposed Visual Renderings [NPS]               .\VOL010\IMAGES\IMAGES001\00135843.pdf
                                                Re: Update on MDOT SHA property access at Moses
00135845   00135850   10/13/2020 10:46 Email    Hall Cemetery                                           .\VOL010\IMAGES\IMAGES001\00135845.pdf
00135851   00135852   10/13/2020 14:05 Edoc     2020.10.14_Ian Fisher_PIA 10‐Day Letter.pdf             .\VOL010\IMAGES\IMAGES001\00135851.pdf
00135853   00135854   10/13/2020 15:21 Email    FW: I‐495 & I‐270 MLS‐ Permitting Discussion            .\VOL010\IMAGES\IMAGES001\00135853.pdf
00135855   00135855   10/14/2020 11:16 Email    MDOT Presentation                                       .\VOL010\IMAGES\IMAGES001\00135855.pdf

00135856   00135897   10/14/2020 11:16 Attach   2020.10.14 BPW Briefing MLS Transit Presentation.pdf .\VOL010\IMAGES\IMAGES001\00135856.pdf
00135898   00135898   10/14/2020 12:03 Email    I oppose the widening of I‐270                       .\VOL010\IMAGES\IMAGES001\00135898.pdf
00135899   00135899   10/14/2020 13:10 Email    Don’t widen the beltway!                             .\VOL010\IMAGES\IMAGES001\00135899.pdf
                                                2020‐10‐14 Moses Lodge Cemetery WASH POST
00135900   00135904   10/14/2020 16:38 Edoc     Interview.docx                                       .\VOL010\IMAGES\IMAGES001\00135900.pdf

                                                RE: I‐495 & I‐270 Public‐Private Partnership Program:
00135905   00135907    10/15/2020 8:43 Email    Project of Division Interest FHWA Approvals List        .\VOL010\IMAGES\IMAGES001\00135905.pdf
                                                2020.10.15 Culvert Permitting Mtg w
00135908   00135908    10/15/2020 9:00 Attach   Agencies_Agenda.docx                                    .\VOL010\IMAGES\IMAGES001\00135908.pdf
                                                2020‐10‐15_Culvert Augmentation Meeting
00135909   00135909    10/15/2020 9:00 Attach   Handout.pdf                                             .\VOL010\IMAGES\IMAGES001\00135909.pdf
00135910   00135910    10/15/2020 9:25 Email    Meeting on Transit Service Improvements                 .\VOL010\IMAGES\IMAGES001\00135910.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00135911   00135913   10/15/2020 12:09 Email    Files/Data                                              .\VOL010\IMAGES\IMAGES001\00135911.pdf
                                                2020‐10‐15 ‐ I‐495 & I‐270 DEIS Traffic Files and
00135914   00135916   10/15/2020 12:09 Attach   Data.pdf                                                .\VOL010\IMAGES\IMAGES001\00135914.pdf
00135917   00135917   10/15/2020 12:13 Email    RE: I‐270/I‐495 P3 Culvert Augmentations                .\VOL010\IMAGES\IMAGES001\00135917.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00135918   00135920   10/15/2020 12:16 Email    Files/Data                                              .\VOL010\IMAGES\IMAGES001\00135918.pdf
                                                2020‐10‐15 ‐ I‐495 & I‐270 DEIS Traffic Files and
00135921   00135923   10/15/2020 12:16 Attach   Data.pdf                                                .\VOL010\IMAGES\IMAGES001\00135921.pdf
                                                2020‐10‐15 ‐ I‐495 & I‐270 DEIS Traffic Files and
00135924   00135926   10/15/2020 12:20 Attach   Data.pdf                                                .\VOL010\IMAGES\IMAGES001\00135924.pdf
00135927   00135928   10/15/2020 21:38 Attach   FW: I‐495 Sound Barrier Request                         .\VOL010\IMAGES\IMAGES001\00135927.pdf

                                                Re: Rare plants and natural communities of Plummers
00135929   00135934    10/16/2020 9:28 Email    Island, Montgomery County, Maryland                     .\VOL010\IMAGES\IMAGES001\00135929.pdf
00135935   00135935   10/16/2020 10:19 Email    FW: I Support The No‐build Option                       .\VOL010\IMAGES\IMAGES001\00135935.pdf
                                                FW_ [External] M‐NCPPC Letter RE Managed Lanes
00135936   00135936   10/16/2020 14:44 Email    ...(1).pdf                                              .\VOL010\IMAGES\IMAGES001\00135936.pdf
                                                MNCPPC Letter to ACHP Managed Lanes Study
00135937   00135939   10/16/2020 14:44 Attach   1015.pdf                                                .\VOL010\IMAGES\IMAGES001\00135937.pdf
00135940   00135941   10/16/2020 15:31 Email    RE: Bamboo clearing                                     .\VOL010\IMAGES\IMAGES001\00135940.pdf
                                                FW: 1 of 2 ... I‐495 & I‐270 Managed Lanes Study
00135942   00135945    10/18/2020 8:38 Email    Accepting Comments on the DEIS and JPA                  .\VOL010\IMAGES\IMAGES001\00135942.pdf
00135946   00135946    10/18/2020 8:38 Attach   495270MLS‐SignVAlocation.pdf                            .\VOL010\IMAGES\IMAGES001\00135946.pdf
                                                I‐495_I‐270_Post Hearing
00135947   00135947    10/18/2020 8:38 Attach   Flyer_8.5x11_rd11_proof.pdf                             .\VOL010\IMAGES\IMAGES001\00135947.pdf
00135948   00135948   10/18/2020 15:32 Email    Don’t Widen 270                                         .\VOL010\IMAGES\IMAGES001\00135948.pdf

00135949   00135952   10/18/2020 18:10 Email    FW: I‐495 & I‐270 MLS IAPA Framework Document           .\VOL010\IMAGES\IMAGES001\00135949.pdf
00135953   00135953   10/18/2020 18:17 Email    I‐495 Noise Study                                       .\VOL010\IMAGES\IMAGES001\00135953.pdf

                                                Fw: Friends of Moses Hall Comments: DEIS ‐ Draft
00135954   00135956    10/19/2020 8:58 Email    Section 4(f) Evaluation, and Draft Section 106 Report   .\VOL010\IMAGES\IMAGES001\00135954.pdf
00135957   00135969    10/19/2020 8:58 Attach   Moses Hall CP Letter to SHA 8.24.20 ‐ Final.pdf         .\VOL010\IMAGES\IMAGES001\00135957.pdf

00135970   00135970   10/19/2020 14:29 Attach   2020‐10‐20_FHWA Coordination Mtg Agenda.docx            .\VOL010\IMAGES\IMAGES001\00135970.pdf
00135971   00135971   10/19/2020 15:19 Email    I‐495 and I‐270 Toll Lane Project                       .\VOL010\IMAGES\IMAGES001\00135971.pdf
00135972   00135972   10/19/2020 15:26 Email    RE: Draft agenda for 10/28 MLS Internal Meeting         .\VOL010\IMAGES\IMAGES001\00135972.pdf
00135973   00135973   10/19/2020 20:03 Attach   Batt 826581 Incoming.pdf                                .\VOL010\IMAGES\IMAGES001\00135973.pdf
                                                FW: Update on MDOT SHA property access at Moses
00135974   00135980    10/20/2020 7:57 Email    Hall Cemetery                                           .\VOL010\IMAGES\IMAGES001\00135974.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00135981   00135983    10/20/2020 8:43 Email    Files/Data                                              .\VOL010\IMAGES\IMAGES001\00135981.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00135984   00135986    10/20/2020 8:44 Email    Files/Data                                              .\VOL010\IMAGES\IMAGES001\00135984.pdf
                                                RE: Update on MDOT SHA property access at Moses
00135987   00135993   10/20/2020 10:03 Email    Hall Cemetery                                           .\VOL010\IMAGES\IMAGES001\00135987.pdf
00135994   00135998   10/20/2020 11:00 Attach   Title VI Methodology 10‐09‐2020.docx                    .\VOL010\IMAGES\IMAGES001\00135994.pdf
00135999   00136000   10/20/2020 11:42 Attach   826061 10‐day ltr.pdf                                   .\VOL010\IMAGES\IMAGES001\00135999.pdf
00136001   00136001   10/20/2020 11:56 Email    Beltway widening opposition                             .\VOL010\IMAGES\IMAGES001\00136001.pdf
00136002   00136003   10/20/2020 12:55 Email    Culvert Augmentation                                    .\VOL010\IMAGES\IMAGES001\00136002.pdf
00136004   00136004   10/20/2020 14:40 Attach   Perry 826107 Incoming.pdf                               .\VOL010\IMAGES\IMAGES001\00136004.pdf
                                                RE: Update on MDOT SHA property access at Moses
00136005   00136012    10/21/2020 6:39 Email    Hall Cemetery                                           .\VOL010\IMAGES\IMAGES001\00136005.pdf
                                                RE: Update on MDOT SHA property access at Moses
00136013   00136020    10/21/2020 6:47 Email    Hall Cemetery                                           .\VOL010\IMAGES\IMAGES001\00136013.pdf

00136021   00136021    10/21/2020 9:46 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136021.pdf

00136022   00136022    10/21/2020 9:46 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136022.pdf

00136023   00136023    10/21/2020 9:48 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136023.pdf

00136024   00136024    10/21/2020 9:48 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136024.pdf

00136025   00136025    10/21/2020 9:48 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136025.pdf

00136026   00136026    10/21/2020 9:48 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136026.pdf

00136027   00136027    10/21/2020 9:48 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136027.pdf

00136028   00136028    10/21/2020 9:48 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136028.pdf

00136029   00136029    10/21/2020 9:48 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136029.pdf

00136030   00136030    10/21/2020 9:49 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136030.pdf

00136031   00136031    10/21/2020 9:50 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136031.pdf

00136032   00136032    10/21/2020 9:50 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES001\00136032.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                           Page 110 of 263

00136033   00136033    10/21/2020 9:50 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136033.pdf

00136034   00136034    10/21/2020 9:51 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136034.pdf

00136035   00136035    10/21/2020 9:51 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136035.pdf

00136036   00136036    10/21/2020 9:51 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136036.pdf

00136037   00136037    10/21/2020 9:51 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136037.pdf

00136038   00136038    10/21/2020 9:52 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136038.pdf

00136039   00136039    10/21/2020 9:52 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136039.pdf

00136040   00136040    10/21/2020 9:53 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136040.pdf

00136041   00136041    10/21/2020 9:54 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136041.pdf

00136042   00136042    10/21/2020 9:54 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136042.pdf

00136043   00136043    10/21/2020 9:55 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136043.pdf

00136044   00136044    10/21/2020 9:56 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136044.pdf

00136045   00136045    10/21/2020 9:58 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136045.pdf

00136046   00136046    10/21/2020 9:59 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136046.pdf

00136047   00136047    10/21/2020 9:59 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136047.pdf

00136048   00136048    10/21/2020 9:59 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136048.pdf

00136049   00136049   10/21/2020 10:00 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136049.pdf

00136050   00136050   10/21/2020 10:02 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136050.pdf

00136051   00136051   10/21/2020 10:02 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136051.pdf

00136052   00136052   10/21/2020 10:03 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136052.pdf

00136053   00136053   10/21/2020 10:04 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136053.pdf

00136054   00136054   10/21/2020 10:05 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136054.pdf

00136055   00136055   10/21/2020 10:05 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136055.pdf

00136056   00136056   10/21/2020 10:06 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136056.pdf

00136057   00136057   10/21/2020 10:07 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136057.pdf

00136058   00136058   10/21/2020 10:08 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136058.pdf

00136059   00136059   10/21/2020 10:09 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136059.pdf

00136060   00136060   10/21/2020 10:09 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136060.pdf

00136061   00136061   10/21/2020 10:09 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136061.pdf

00136062   00136062   10/21/2020 10:09 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136062.pdf

00136063   00136063   10/21/2020 10:10 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136063.pdf

00136064   00136064   10/21/2020 10:11 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136064.pdf

00136065   00136065   10/21/2020 10:12 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136065.pdf

00136066   00136066   10/21/2020 10:13 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136066.pdf

00136067   00136067   10/21/2020 10:15 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136067.pdf

00136068   00136068   10/21/2020 10:15 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136068.pdf

00136069   00136069   10/21/2020 10:17 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136069.pdf

00136070   00136070   10/21/2020 10:17 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136070.pdf

00136071   00136071   10/21/2020 10:18 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136071.pdf

00136072   00136072   10/21/2020 10:18 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136072.pdf

00136073   00136073   10/21/2020 10:19 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136073.pdf

00136074   00136074   10/21/2020 10:20 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136074.pdf

00136075   00136075   10/21/2020 10:22 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136075.pdf

00136076   00136076   10/21/2020 10:22 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136076.pdf

00136077   00136077   10/21/2020 10:23 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136077.pdf

00136078   00136078   10/21/2020 10:23 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136078.pdf

00136079   00136079   10/21/2020 10:25 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136079.pdf

00136080   00136080   10/21/2020 10:26 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136080.pdf

00136081   00136081   10/21/2020 10:28 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136081.pdf

00136082   00136082   10/21/2020 10:32 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136082.pdf

00136083   00136083   10/21/2020 10:32 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136083.pdf

00136084   00136084   10/21/2020 10:34 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES001\00136084.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                Filed 05/03/23                           Page 111 of 263

00136085   00136085   10/21/2020 10:34 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136085.pdf

00136086   00136086   10/21/2020 10:35 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136086.pdf

00136087   00136087   10/21/2020 10:36 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136087.pdf

00136088   00136088   10/21/2020 10:37 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136088.pdf

00136089   00136089   10/21/2020 10:38 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136089.pdf
00136090   00136091   10/21/2020 10:40 Email    Culvert Augmentation and Permitting                  .\VOL010\IMAGES\IMAGES001\00136090.pdf
00136092   00136093   10/21/2020 10:40 Email    Culvert Augmentation and Permitting                  .\VOL010\IMAGES\IMAGES001\00136092.pdf

00136094   00136094   10/21/2020 10:41 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136094.pdf

00136095   00136095   10/21/2020 10:42 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136095.pdf

00136096   00136096   10/21/2020 10:42 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136096.pdf

00136097   00136097   10/21/2020 10:47 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136097.pdf

00136098   00136098   10/21/2020 10:48 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136098.pdf

00136099   00136099   10/21/2020 10:49 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136099.pdf

00136100   00136100   10/21/2020 10:53 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136100.pdf

00136101   00136101   10/21/2020 10:56 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136101.pdf

00136102   00136102   10/21/2020 10:58 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136102.pdf

00136103   00136103   10/21/2020 10:59 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136103.pdf

00136104   00136104   10/21/2020 11:02 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136104.pdf
                                                Culvert Augmentation Approach for FHWA_10‐20‐
00136105   00136105   10/21/2020 11:06 Attach   2020.docx                                            .\VOL010\IMAGES\IMAGES001\00136105.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00136106   00136108   10/21/2020 11:06 Attach   Files/Data                                           .\VOL010\IMAGES\IMAGES001\00136106.pdf

00136109   00136109   10/21/2020 11:06 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136109.pdf
00136110   00136111   10/21/2020 11:07 Email    FW: Culvert Augmentation and Permitting              .\VOL010\IMAGES\IMAGES001\00136110.pdf

00136112   00136112   10/21/2020 11:08 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136112.pdf

00136113   00136113   10/21/2020 11:10 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136113.pdf

00136114   00136114   10/21/2020 11:12 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136114.pdf

00136115   00136115   10/21/2020 11:12 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136115.pdf

00136116   00136116   10/21/2020 11:13 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136116.pdf

00136117   00136117   10/21/2020 11:17 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136117.pdf

00136118   00136118   10/21/2020 11:18 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136118.pdf

00136119   00136119   10/21/2020 11:18 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136119.pdf

00136120   00136120   10/21/2020 11:22 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136120.pdf

00136121   00136121   10/21/2020 11:27 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136121.pdf

00136122   00136122   10/21/2020 11:27 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136122.pdf

00136123   00136123   10/21/2020 11:29 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136123.pdf

00136124   00136124   10/21/2020 11:29 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136124.pdf

00136125   00136125   10/21/2020 11:29 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136125.pdf

00136126   00136126   10/21/2020 11:31 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136126.pdf

00136127   00136127   10/21/2020 11:31 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136127.pdf

00136128   00136128   10/21/2020 11:33 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136128.pdf

00136129   00136129   10/21/2020 11:35 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136129.pdf

00136130   00136130   10/21/2020 11:37 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136130.pdf

00136131   00136131   10/21/2020 11:37 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136131.pdf

00136132   00136132   10/21/2020 11:40 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136132.pdf

00136133   00136133   10/21/2020 11:45 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136133.pdf

00136134   00136134   10/21/2020 11:45 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136134.pdf

00136135   00136135   10/21/2020 11:55 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136135.pdf

00136136   00136136   10/21/2020 11:56 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136136.pdf

00136137   00136137   10/21/2020 11:56 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136137.pdf

00136138   00136138   10/21/2020 11:56 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136138.pdf

00136139   00136139   10/21/2020 12:03 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136139.pdf

00136140   00136140   10/21/2020 12:05 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136140.pdf

00136141   00136141   10/21/2020 12:08 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136141.pdf

00136142   00136142   10/21/2020 12:08 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136142.pdf

00136143   00136143   10/21/2020 12:09 Email    Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136143.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                           Page 112 of 263

00136144   00136144   10/21/2020 12:09 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136144.pdf

00136145   00136145   10/21/2020 12:11 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136145.pdf

00136146   00136146   10/21/2020 12:14 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136146.pdf

00136147   00136147   10/21/2020 12:16 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES001\00136147.pdf

00136148   00136148   10/21/2020 12:17 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136148.pdf

00136149   00136149   10/21/2020 12:21 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136149.pdf

00136150   00136150   10/21/2020 12:25 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136150.pdf

00136151   00136151   10/21/2020 12:28 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136151.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00136152   00136155   10/21/2020 12:33 Email   Files/Data                                           .\VOL010\IMAGES\IMAGES002\00136152.pdf

00136156   00136156   10/21/2020 12:33 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136156.pdf

00136157   00136157   10/21/2020 12:34 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136157.pdf

00136158   00136158   10/21/2020 12:40 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136158.pdf

00136159   00136159   10/21/2020 12:42 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136159.pdf

00136160   00136160   10/21/2020 12:43 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136160.pdf

00136161   00136161   10/21/2020 12:59 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136161.pdf

00136162   00136162   10/21/2020 13:02 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136162.pdf

00136163   00136163   10/21/2020 13:05 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136163.pdf

00136164   00136164   10/21/2020 13:09 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136164.pdf

00136165   00136165   10/21/2020 13:12 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136165.pdf

00136166   00136166   10/21/2020 13:17 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136166.pdf

00136167   00136167   10/21/2020 13:18 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136167.pdf

                                               Public Comment on I‐495 and I‐270 Managed Lanes
00136168   00136168   10/21/2020 13:25 Email   Study Draft Environmental Impact Statement           .\VOL010\IMAGES\IMAGES002\00136168.pdf

00136169   00136169   10/21/2020 13:39 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136169.pdf

00136170   00136170   10/21/2020 13:40 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136170.pdf

00136171   00136171   10/21/2020 13:56 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136171.pdf

00136172   00136172   10/21/2020 13:56 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136172.pdf

00136173   00136173   10/21/2020 14:09 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136173.pdf

00136174   00136174   10/21/2020 14:27 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136174.pdf

00136175   00136175   10/21/2020 14:33 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136175.pdf

00136176   00136176   10/21/2020 14:47 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136176.pdf

                                               RE: T&E packet for Monday, October 26 re Managed
00136177   00136177   10/21/2020 14:48 Email   Lanes Study DEIS and Preferred Alternative           .\VOL010\IMAGES\IMAGES002\00136177.pdf

00136178   00136178   10/21/2020 14:49 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136178.pdf

00136179   00136179   10/21/2020 14:54 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136179.pdf

00136180   00136180   10/21/2020 14:59 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136180.pdf

00136181   00136181   10/21/2020 15:01 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136181.pdf

00136182   00136182   10/21/2020 15:08 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136182.pdf

00136183   00136183   10/21/2020 15:11 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136183.pdf

00136184   00136184   10/21/2020 15:49 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136184.pdf

00136185   00136185   10/21/2020 15:54 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136185.pdf

00136186   00136186   10/21/2020 16:07 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136186.pdf

00136187   00136187   10/21/2020 16:12 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136187.pdf

00136188   00136188   10/21/2020 16:20 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136188.pdf

00136189   00136189   10/21/2020 16:22 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136189.pdf

00136190   00136190   10/21/2020 16:22 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136190.pdf

00136191   00136191   10/21/2020 16:31 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136191.pdf

00136192   00136192   10/21/2020 16:40 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136192.pdf

00136193   00136193   10/21/2020 16:56 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136193.pdf

00136194   00136194   10/21/2020 16:57 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136194.pdf

00136195   00136195   10/21/2020 17:04 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136195.pdf

00136196   00136196   10/21/2020 17:07 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136196.pdf

00136197   00136197   10/21/2020 17:12 Email   Protect parks from the I‐495 and I‐270 expansions    .\VOL010\IMAGES\IMAGES002\00136197.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                           Page 113 of 263

00136198   00136198   10/21/2020 17:23 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136198.pdf

00136199   00136199   10/21/2020 17:33 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136199.pdf

00136200   00136200   10/21/2020 17:33 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136200.pdf

00136201   00136201   10/21/2020 18:02 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136201.pdf

00136202   00136202   10/21/2020 18:03 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136202.pdf

00136203   00136203   10/21/2020 18:04 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136203.pdf

00136204   00136204   10/21/2020 18:14 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136204.pdf

00136205   00136205   10/21/2020 18:16 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136205.pdf

00136206   00136206   10/21/2020 18:21 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136206.pdf

00136207   00136207   10/21/2020 18:27 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136207.pdf

00136208   00136208   10/21/2020 18:29 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136208.pdf

00136209   00136209   10/21/2020 18:45 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136209.pdf

00136210   00136210   10/21/2020 18:47 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136210.pdf

00136211   00136211   10/21/2020 18:50 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136211.pdf

00136212   00136212   10/21/2020 19:26 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136212.pdf

00136213   00136213   10/21/2020 19:32 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136213.pdf

00136214   00136214   10/21/2020 19:37 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136214.pdf

00136215   00136215   10/21/2020 19:55 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136215.pdf

00136216   00136216   10/21/2020 19:56 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136216.pdf

00136217   00136217   10/21/2020 19:59 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136217.pdf

00136218   00136218   10/21/2020 20:18 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136218.pdf

00136219   00136219   10/21/2020 20:59 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136219.pdf

00136220   00136220   10/21/2020 21:03 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136220.pdf

00136221   00136221   10/21/2020 21:10 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136221.pdf

00136222   00136222   10/21/2020 21:15 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136222.pdf

00136223   00136223   10/21/2020 21:19 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136223.pdf

00136224   00136224   10/21/2020 21:22 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136224.pdf

00136225   00136225   10/21/2020 21:29 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136225.pdf

00136226   00136226   10/21/2020 21:32 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136226.pdf

00136227   00136227   10/21/2020 21:33 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136227.pdf

00136228   00136228   10/21/2020 21:41 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136228.pdf

00136229   00136229   10/21/2020 21:58 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136229.pdf

00136230   00136230   10/21/2020 22:39 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136230.pdf

00136231   00136231   10/21/2020 22:43 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136231.pdf

00136232   00136232   10/21/2020 22:53 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136232.pdf

00136233   00136233   10/21/2020 22:56 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136233.pdf

00136234   00136234   10/21/2020 23:01 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136234.pdf

00136235   00136235   10/21/2020 23:01 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136235.pdf

00136236   00136236   10/21/2020 23:41 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136236.pdf

00136237   00136237   10/21/2020 23:50 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136237.pdf

00136238   00136238   10/21/2020 23:50 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136238.pdf

00136239   00136239    10/22/2020 0:16 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136239.pdf

00136240   00136240    10/22/2020 0:18 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136240.pdf

00136241   00136241    10/22/2020 0:35 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136241.pdf

00136242   00136242    10/22/2020 1:57 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136242.pdf

00136243   00136243    10/22/2020 2:09 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136243.pdf

00136244   00136244    10/22/2020 2:24 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136244.pdf

00136245   00136245    10/22/2020 5:24 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136245.pdf

00136246   00136246    10/22/2020 6:43 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136246.pdf

00136247   00136247    10/22/2020 8:09 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136247.pdf

00136248   00136248    10/22/2020 8:35 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136248.pdf

00136249   00136249    10/22/2020 9:28 Email   Protect parks from the I‐495 and I‐270 expansions   .\VOL010\IMAGES\IMAGES002\00136249.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                   Filed 05/03/23                           Page 114 of 263

00136250   00136250   10/22/2020 10:13 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136250.pdf

00136251   00136251   10/22/2020 10:22 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136251.pdf

00136252   00136252   10/22/2020 10:30 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136252.pdf

00136253   00136253   10/22/2020 11:16 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136253.pdf

00136254   00136254   10/22/2020 11:24 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136254.pdf

00136255   00136255   10/22/2020 13:16 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136255.pdf

00136256   00136256   10/22/2020 13:21 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136256.pdf

00136257   00136257   10/22/2020 13:41 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136257.pdf

00136258   00136258   10/22/2020 14:42 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136258.pdf

00136259   00136259   10/22/2020 20:42 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136259.pdf

00136260   00136260   10/22/2020 20:48 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136260.pdf

00136261   00136261   10/22/2020 20:56 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136261.pdf

00136262   00136262   10/22/2020 22:03 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136262.pdf

00136263   00136263    10/23/2020 1:17 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136263.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00136264   00136266    10/23/2020 8:35 Email    Files/Data                                              .\VOL010\IMAGES\IMAGES002\00136264.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00136267   00136269    10/23/2020 8:35 Email    Files/Data                                              .\VOL010\IMAGES\IMAGES002\00136267.pdf

00136270   00136270   10/23/2020 10:15 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136270.pdf

00136271   00136274   10/23/2020 10:22 Edoc     2020 MLS Virtual Hearings_Survey Summary.docx           .\VOL010\IMAGES\IMAGES002\00136271.pdf

00136275   00136275   10/23/2020 11:25 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136275.pdf

00136276   00136276   10/23/2020 11:37 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136276.pdf
00136277   00136278   10/23/2020 16:12 Email    Request for I‐495/I‐270 DEIS underlying data            .\VOL010\IMAGES\IMAGES002\00136277.pdf
00136279   00136280   10/23/2020 16:12 Email    Request for I‐495/I‐270 DEIS underlying data            .\VOL010\IMAGES\IMAGES002\00136279.pdf
00136281   00136282   10/23/2020 16:12 Email    Request for I‐495/I‐270 DEIS underlying data            .\VOL010\IMAGES\IMAGES002\00136281.pdf

00136283   00136283   10/23/2020 16:16 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136283.pdf
00136284   00136285   10/23/2020 16:26 Email    Follow‐up USACE / MDE Permitting Discussion             .\VOL010\IMAGES\IMAGES002\00136284.pdf

00136286   00136287   10/23/2020 16:31 Email    Re: Follow‐up USACE / MDE Permitting Discussion         .\VOL010\IMAGES\IMAGES002\00136286.pdf

00136288   00136288   10/23/2020 22:49 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136288.pdf

00136289   00136289    10/24/2020 0:57 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136289.pdf

00136290   00136290    10/24/2020 6:05 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136290.pdf

00136291   00136291    10/24/2020 7:05 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136291.pdf

00136292   00136292   10/24/2020 15:51 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136292.pdf

00136293   00136295   10/25/2020 13:48 Email    RE: Follow‐up USACE / MDE Permitting Discussion         .\VOL010\IMAGES\IMAGES002\00136293.pdf

00136296   00136298    10/26/2020 7:35 Email    RE: Follow‐up USACE / MDE Permitting Discussion         .\VOL010\IMAGES\IMAGES002\00136296.pdf
00136299   00136327    10/26/2020 8:32 Attach   AddllVMTestimony_wOriginals_102320.pdf                  .\VOL010\IMAGES\IMAGES002\00136299.pdf
00136328   00136329    10/26/2020 9:00 Email    FW: Public Hearing Transcript                           .\VOL010\IMAGES\IMAGES002\00136328.pdf

00136330   00136330    10/26/2020 9:23 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136330.pdf
00136331   00136335   10/26/2020 10:01 Attach   Comments on Draft EIS_Harrison‐Wright.docx              .\VOL010\IMAGES\IMAGES002\00136331.pdf

00136336   00136336   10/26/2020 11:35 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136336.pdf

00136337   00136337   10/26/2020 20:59 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136337.pdf

00136338   00136338    10/27/2020 7:14 Email    FW: NCPC Managed Lanes Study DEIS Comment Letter .\VOL010\IMAGES\IMAGES002\00136338.pdf

00136339   00136339    10/27/2020 8:07 Email    Fw: NCPC Managed Lanes Study DEIS Comment Letter        .\VOL010\IMAGES\IMAGES002\00136339.pdf
00136340   00136342    10/27/2020 8:19 Email    RE: I‐495/270 Managed Lanes                             .\VOL010\IMAGES\IMAGES002\00136340.pdf
00136343   00136344    10/27/2020 8:55 Email    NCPC Agreement 1939                                     .\VOL010\IMAGES\IMAGES002\00136343.pdf
                                                I‐495‐270 Managed Lanes Study DEIS Comment Letter
00136345   00136358    10/27/2020 9:14 Attach   FINAL ‐ Signed.pdf                                      .\VOL010\IMAGES\IMAGES002\00136345.pdf
00136359   00136360   10/27/2020 10:21 Email    FW: COVID‐19 Travel Forecasting Approach                .\VOL010\IMAGES\IMAGES002\00136359.pdf

00136361   00136361   10/27/2020 10:27 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL010\IMAGES\IMAGES002\00136361.pdf
00136362   00136363   10/27/2020 10:53 Email    RE: COVID‐19 Travel Forecasting Approach                .\VOL010\IMAGES\IMAGES002\00136362.pdf
00136364   00136366   10/27/2020 13:26 Email    RE: NPS Property Boundary and Rights                    .\VOL010\IMAGES\IMAGES002\00136364.pdf
00136367   00136370   10/27/2020 13:40 Email    FW: NPS Property Boundary and Rights                    .\VOL010\IMAGES\IMAGES002\00136367.pdf
00136371   00136372   10/27/2020 15:27 Email    FW: Quick Question from the Oneida                      .\VOL010\IMAGES\IMAGES002\00136371.pdf
                                                Fw: Follow‐up meeting with tree contractor on‐site at
00136373   00136374   10/27/2020 15:42 Email    Moses Hall tomorrow 10/28                               .\VOL010\IMAGES\IMAGES002\00136373.pdf
00136375   00136377   10/27/2020 16:31 Email    FW: COVID‐19 Travel Forecasting Approach                .\VOL010\IMAGES\IMAGES002\00136375.pdf
00136378   00136381   10/27/2020 16:33 Email    RE: I‐495/270 Managed Lanes                             .\VOL010\IMAGES\IMAGES002\00136378.pdf
00136382   00136382   10/27/2020 17:07 Email    Alternative 9 Proposes Sustainable Change               .\VOL010\IMAGES\IMAGES002\00136382.pdf
00136383   00136384   10/27/2020 17:31 Email    FW_ COVID‐19 Travel Forecasting Approach.pdf            .\VOL010\IMAGES\IMAGES002\00136383.pdf
                                                REVIEW REQUESTED_ COVID‐19 Travel Forecasting
00136385   00136386   10/27/2020 17:59 Email    A....pdf                                                .\VOL010\IMAGES\IMAGES002\00136385.pdf

00136387   00136541   10/27/2020 17:59 Attach   Plan for Monitoring and Evaluating Travel Impa.pdf      .\VOL010\IMAGES\IMAGES002\00136387.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00136542   00136544   10/27/2020 18:23 Email    Files/Data                                              .\VOL010\IMAGES\IMAGES002\00136542.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study DEIS Traffic
00136545   00136547   10/27/2020 18:23 Email    Files/Data                                              .\VOL010\IMAGES\IMAGES002\00136545.pdf

00136548   00136548   10/27/2020 18:36 Email    Protect parks from the I‐495 and I‐270 expansions .\VOL010\IMAGES\IMAGES002\00136548.pdf
                                                RE: REVIEW REQUESTED: COVID‐19 Travel Forecasting
00136549   00136551    10/28/2020 7:22 Email    Approach for 495/270 FEIS                         .\VOL010\IMAGES\IMAGES002\00136549.pdf
00136552   00136555    10/28/2020 8:58 Email    RE: I‐495/270 Managed Lanes                       .\VOL010\IMAGES\IMAGES002\00136552.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                              Page 115 of 263

00136556   00136560    10/28/2020 9:05 Email    RE: I‐495/270 Managed Lanes                          .\VOL010\IMAGES\IMAGES002\00136556.pdf

00136561   00136564    10/28/2020 9:45 Email    FW: I‐495 & I‐270 MLS IAPA Framework Document        .\VOL010\IMAGES\IMAGES002\00136561.pdf
00136565   00136569    10/28/2020 9:55 Email    RE: I‐495/270 Managed Lanes                          .\VOL010\IMAGES\IMAGES002\00136565.pdf

00136570   00136572   10/28/2020 10:45 Email    FW_ I‐495 & I‐270 MLS IAPA Framework Document.pdf .\VOL010\IMAGES\IMAGES002\00136570.pdf
00136573   00136608   10/28/2020 10:45 Attach   IAPA Framework Document 2020‐10‐16.pdf                  .\VOL010\IMAGES\IMAGES002\00136573.pdf
00136609   00136611   10/28/2020 14:34 Email    Re: I‐495 & I‐270 Managed Lanes Study                   .\VOL010\IMAGES\IMAGES002\00136609.pdf
00136612   00136612   10/28/2020 15:11 Email    FW: Meeting with District and Excel Tree                .\VOL010\IMAGES\IMAGES002\00136612.pdf
00136613   00136613   10/28/2020 15:25 Email    Re: Meeting with District and Excel Tree                .\VOL010\IMAGES\IMAGES002\00136613.pdf
                                                Comments on I‐495 and I‐270 Managed Lanes Study
                                                Draft Environmental Impact Statement/Draft Section
00136614   00136616   10/28/2020 15:59 Email    4(f) Evaluation                                         .\VOL010\IMAGES\IMAGES002\00136614.pdf
                                                J. Reschovsky comments on I495‐I270 Managed Lanes
00136617   00136619   10/28/2020 15:59 Attach   DEIS.pdf                                                .\VOL010\IMAGES\IMAGES002\00136617.pdf
00136620   00136621    10/29/2020 8:56 Email    FW: Request for I‐495/I‐270 DEIS underlying data        .\VOL010\IMAGES\IMAGES002\00136620.pdf
                                                RE: REVIEW REQUESTED: COVID‐19 Travel Forecasting
00136622   00136625   10/29/2020 10:22 Email    Approach for 495/270 FEIS                               .\VOL010\IMAGES\IMAGES002\00136622.pdf
00136626   00136628   10/29/2020 11:20 Email    RE: Request for I‐495/I‐270 DEIS underlying data        .\VOL010\IMAGES\IMAGES002\00136626.pdf
                                                RE_ REVIEW REQUESTED_ COVID‐19 Travel
00136629   00136632   10/29/2020 11:22 Email    Forecasti....pdf                                        .\VOL010\IMAGES\IMAGES002\00136629.pdf
                                                Promote Economic Growth in the DC Metropolitan
00136633   00136633   10/29/2020 13:28 Email    Area                                                    .\VOL010\IMAGES\IMAGES002\00136633.pdf
00136634   00136636   10/29/2020 14:26 Email    RE: COVID‐19 Travel Forecasting Approach                .\VOL010\IMAGES\IMAGES002\00136634.pdf
00136637   00136637   10/29/2020 15:22 Email    Improve Congestion and Delays in the DMV                .\VOL010\IMAGES\IMAGES002\00136637.pdf
00136638   00136638   10/29/2020 16:53 Attach   2020‐09‐10 MLS Hearing Totals.docx                      .\VOL010\IMAGES\IMAGES002\00136638.pdf
00136639   00136639   10/29/2020 17:11 Email    Improve Congestion and Delays in the DMV                .\VOL010\IMAGES\IMAGES002\00136639.pdf
00136640   00136642   10/29/2020 17:41 Email    RE: MLS Hearing & Testimony Stats                       .\VOL010\IMAGES\IMAGES002\00136640.pdf
00136643   00136643   10/29/2020 17:53 Email    Improve Congestion and Delays in the DMV                .\VOL010\IMAGES\IMAGES002\00136643.pdf
00136644   00136644   10/29/2020 18:44 Email    Alternative 9 Proposes Sustainable Change               .\VOL010\IMAGES\IMAGES002\00136644.pdf
00136645   00136646    10/30/2020 7:21 Email    RE: Request for I‐495/I‐270 DEIS underlying data        .\VOL010\IMAGES\IMAGES002\00136645.pdf
00136647   00136648    10/30/2020 7:21 Email    RE: Request for I‐495/I‐270 DEIS underlying data        .\VOL010\IMAGES\IMAGES002\00136647.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136649   00136649   10/30/2020 12:07 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136649.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136650   00136650   10/30/2020 12:07 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136650.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136651   00136651   10/30/2020 12:21 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136651.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136652   00136652   10/30/2020 12:22 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136652.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136653   00136653   10/30/2020 12:27 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136653.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136654   00136654   10/30/2020 12:38 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136654.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136655   00136655   10/30/2020 12:52 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136655.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136656   00136656   10/30/2020 12:56 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136656.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136657   00136657   10/30/2020 12:59 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136657.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136658   00136658   10/30/2020 13:04 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136658.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136659   00136659   10/30/2020 13:06 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136659.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136660   00136660   10/30/2020 13:13 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136660.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136661   00136661   10/30/2020 13:35 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136661.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136662   00136662   10/30/2020 13:43 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136662.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136663   00136663   10/30/2020 14:32 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136663.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136664   00136664   10/30/2020 14:45 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136664.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136665   00136665   10/30/2020 15:02 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136665.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136666   00136666   10/30/2020 16:32 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136666.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136667   00136667   10/30/2020 17:05 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136667.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136668   00136668   10/30/2020 17:21 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136668.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136669   00136669   10/30/2020 18:00 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136669.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136670   00136670   10/30/2020 20:47 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136670.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136671   00136671   10/31/2020 11:06 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136671.pdf
00136672   00136672   10/31/2020 13:18 Email    An I‐270 Monorail ‐ NO WAY ‐ Here's why                 .\VOL010\IMAGES\IMAGES002\00136672.pdf
00136673   00136673   10/31/2020 21:36 Email    Improve Congestion and Delays in the DMV                .\VOL010\IMAGES\IMAGES002\00136673.pdf
00136674   00136674     11/1/2020 0:48 Email    Improve Congestion and Delays in the DMV                .\VOL010\IMAGES\IMAGES002\00136674.pdf
00136675   00136675    11/1/2020 10:07 Email    Improve Congestion and Delays in the DMV                .\VOL010\IMAGES\IMAGES002\00136675.pdf
00136676   00136676    11/1/2020 10:21 Email    DMV Congestion Must Be Improved                         .\VOL010\IMAGES\IMAGES002\00136676.pdf
00136677   00136677    11/1/2020 10:26 Email    DMV Congestion Must Be Improved                         .\VOL010\IMAGES\IMAGES002\00136677.pdf
00136678   00136678    11/1/2020 12:41 Email    Alternative 9 Proposes Sustainable Change               .\VOL010\IMAGES\IMAGES002\00136678.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136679   00136679    11/1/2020 16:32 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136679.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136680   00136680     11/2/2020 7:16 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136680.pdf
00136681   00136681     11/2/2020 7:49 Email    Draft Agenda for Nov 4th MLS Internal Mtg               .\VOL010\IMAGES\IMAGES002\00136681.pdf
00136682   00136683     11/2/2020 8:57 Email    RE: Draft Agenda for Nov 4th MLS Internal Mtg           .\VOL010\IMAGES\IMAGES002\00136682.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136684   00136684    11/2/2020 10:16 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136684.pdf
00136685   00136685    11/2/2020 10:45 Email    Fw: PIA 826061                                          .\VOL010\IMAGES\IMAGES002\00136685.pdf
                                                I have concerns about the Draft EIS on the I‐495 and I‐
00136686   00136686    11/2/2020 14:49 Email    270 plan                                                .\VOL010\IMAGES\IMAGES002\00136686.pdf
00136687   00136687    11/2/2020 15:09 Email    DMV Congestion Must Be Improved                         .\VOL010\IMAGES\IMAGES002\00136687.pdf
00136688   00136688    11/2/2020 15:09 Email    DMV Congestion Must Be Improved                         .\VOL010\IMAGES\IMAGES002\00136688.pdf

00136689   00136692    11/2/2020 15:11 Email    I‐495 & I‐270 MLS Proposed Visual Renderings [NPS]   .\VOL010\IMAGES\IMAGES002\00136689.pdf
                                                MLS Proposed Areas of Visual Effect‐NPS_11‐02‐
00136693   00136713    11/2/2020 15:11 Attach   2020.pdf                                             .\VOL010\IMAGES\IMAGES002\00136693.pdf

00136714   00136714    11/2/2020 15:28 Attach   2020‐11‐04_FHWA Coordination Mtg Agenda.docx         .\VOL010\IMAGES\IMAGES002\00136714.pdf
00136715   00136715    11/2/2020 15:29 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00136715.pdf
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00136716   00136717   11/2/2020 15:37 Email    MLS ‐ Acoustic Bat Survey Report (FHWA Review)            .\VOL010\IMAGES\IMAGES002\00136716.pdf
                                               USFWS Letter_Survey and Section 7
00136718   00136719   11/2/2020 15:37 Attach   Consultation_20201102.docx                                .\VOL010\IMAGES\IMAGES002\00136718.pdf

00136720   00136728   11/2/2020 15:37 Attach   MLS Acoustic Bat Survey Report_FHWA Review.docx           .\VOL010\IMAGES\IMAGES002\00136720.pdf
00136729   00136729    11/3/2020 7:42 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136729.pdf
00136730   00136730   11/3/2020 10:12 Email    Time to Fix the American Legion Bridge                    .\VOL010\IMAGES\IMAGES002\00136730.pdf
00136731   00136731   11/3/2020 10:35 Email    Time to Fix the American Legion Bridge                    .\VOL010\IMAGES\IMAGES002\00136731.pdf
00136732   00136732   11/3/2020 10:42 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136732.pdf
                                               Cardin Van Hollen Raskin Trone Letter Re ‐ Moses
00136733   00136734   11/3/2020 11:01 Attach   Morningstar Cemetery Site.pdf                             .\VOL010\IMAGES\IMAGES002\00136733.pdf
00136735   00136735   11/3/2020 11:10 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136735.pdf
00136736   00136736   11/3/2020 11:17 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136736.pdf
00136737   00136737   11/3/2020 11:20 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136737.pdf
00136738   00136738   11/3/2020 11:21 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136738.pdf
00136739   00136739   11/3/2020 12:36 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136739.pdf
00136740   00136740   11/3/2020 12:41 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136740.pdf
00136741   00136741   11/3/2020 12:45 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136741.pdf
00136742   00136742   11/3/2020 12:48 Email    Time to Fix the American Legion Bridge                    .\VOL010\IMAGES\IMAGES002\00136742.pdf
00136743   00136743   11/3/2020 13:02 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136743.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00136744   00136744   11/3/2020 13:13 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES002\00136744.pdf
00136745   00136745   11/3/2020 13:46 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136745.pdf
00136746   00136746   11/3/2020 14:51 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136746.pdf
00136747   00136747   11/3/2020 14:53 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136747.pdf
                                               I‐495 & I‐270 FHWA Coordination: MLS Notes
00136748   00136749   11/3/2020 15:34 Email    (10.20.20)                                                .\VOL010\IMAGES\IMAGES002\00136748.pdf
                                               2020‐10‐20_FHWA Coordination Meeting
00136750   00136751   11/3/2020 15:34 Attach   Notes_MLS.DOCX                                            .\VOL010\IMAGES\IMAGES002\00136750.pdf
00136752   00136752   11/3/2020 16:37 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136752.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00136753   00136753   11/3/2020 17:19 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES002\00136753.pdf

00136754   00136754   11/3/2020 17:22 Email    Protect parks from the I‐495 and I‐270 expansions         .\VOL010\IMAGES\IMAGES002\00136754.pdf
00136755   00136755   11/3/2020 17:45 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136755.pdf
00136756   00136756   11/3/2020 18:22 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136756.pdf
00136757   00136757   11/3/2020 18:39 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136757.pdf
00136758   00136758   11/3/2020 18:40 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136758.pdf
00136759   00136759   11/3/2020 19:52 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136759.pdf
00136760   00136760   11/3/2020 20:01 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136760.pdf
00136761   00136761   11/3/2020 20:05 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136761.pdf
00136762   00136762   11/3/2020 20:15 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136762.pdf
00136763   00136763   11/3/2020 20:19 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136763.pdf
00136764   00136764   11/3/2020 20:28 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136764.pdf
00136765   00136765   11/3/2020 20:31 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136765.pdf
00136766   00136766   11/3/2020 20:35 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136766.pdf
00136767   00136767   11/3/2020 20:39 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136767.pdf
00136768   00136768   11/3/2020 20:56 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136768.pdf
00136769   00136769   11/3/2020 20:59 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136769.pdf
00136770   00136770   11/3/2020 21:01 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136770.pdf
00136771   00136771   11/3/2020 21:05 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136771.pdf
00136772   00136772   11/3/2020 21:07 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136772.pdf
00136773   00136773   11/3/2020 21:08 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136773.pdf
00136774   00136774   11/3/2020 21:11 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136774.pdf
                                               I have concerns about the Draft EIS on the I‐495 and I‐
00136775   00136775    11/4/2020 0:43 Email    270 plan                                                  .\VOL010\IMAGES\IMAGES002\00136775.pdf

                                               RE: Miovski 826593 Response: I‐495 and I‐270
00136776   00136782    11/4/2020 9:10 Email    Managed Lanes Study ‐ please respond to our letter        .\VOL010\IMAGES\IMAGES002\00136776.pdf
00136783   00136783   11/4/2020 13:38 Email    I‐495 & I‐270 Managed Lanes DEIS comments                 .\VOL010\IMAGES\IMAGES002\00136783.pdf
00136784   00136784   11/4/2020 13:38 Attach   smime.p7s                                                 .\VOL010\IMAGES\IMAGES002\00136784.pdf    .\VOL010\NATIVES\NATIVES002\00136784.p7s
00136785   00136785   11/4/2020 15:13 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136785.pdf

00136786   00136786   11/4/2020 16:31 Email    Protect parks from the I‐495 and I‐270 expansions         .\VOL010\IMAGES\IMAGES002\00136786.pdf
00136787   00136787   11/4/2020 20:24 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136787.pdf
00136788   00136788   11/4/2020 20:29 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136788.pdf
00136789   00136789   11/4/2020 20:33 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136789.pdf
00136790   00136790   11/4/2020 20:44 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136790.pdf
00136791   00136791   11/4/2020 22:20 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136791.pdf
00136792   00136792   11/4/2020 22:22 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136792.pdf

00136793   00136793    11/5/2020 9:28 Email    Protect parks from the I‐495 and I‐270 expansions         .\VOL010\IMAGES\IMAGES002\00136793.pdf
                                               FW: I‐495 MLS Corps Response Letter: Culvert
00136794   00136796    11/5/2020 9:31 Email    Augmentation and Permitting                               .\VOL010\IMAGES\IMAGES002\00136794.pdf

00136797   00136799    11/5/2020 9:31 Attach   NAB‐2018‐02152.20201105.MLS response letter.pdf           .\VOL010\IMAGES\IMAGES002\00136797.pdf
00136800   00136800    11/5/2020 9:42 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136800.pdf
00136801   00136801    11/5/2020 9:43 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136801.pdf
00136802   00136802    11/5/2020 9:44 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136802.pdf
00136803   00136803   11/5/2020 10:00 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136803.pdf
00136804   00136804   11/5/2020 10:04 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136804.pdf
00136805   00136805   11/5/2020 10:26 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136805.pdf
                                               RE: I‐495/I‐270 MLS ‐ Culvert and Augmentation and
00136806   00136807   11/5/2020 10:30 Email    Permitting                                                .\VOL010\IMAGES\IMAGES002\00136806.pdf
00136808   00136808   11/5/2020 10:49 Email    Alternative 9 Proposes Sustainable Change                 .\VOL010\IMAGES\IMAGES002\00136808.pdf
00136809   00136812   11/5/2020 10:58 Email    RE: COVID‐19 Travel Forecasting Approach                  .\VOL010\IMAGES\IMAGES002\00136809.pdf
00136813   00136822   11/5/2020 10:59 Attach   NCPC and MNCPPC_GWMP Agreement.pdf                        .\VOL010\IMAGES\IMAGES002\00136813.pdf
                                               FW: I‐495 MLS Corps Response Letter: Culvert
00136823   00136825   11/5/2020 11:27 Email    Augmentation and Permitting                               .\VOL010\IMAGES\IMAGES002\00136823.pdf

00136826   00136826   11/5/2020 12:17 Email    Protect parks from the I‐495 and I‐270 expansions         .\VOL010\IMAGES\IMAGES002\00136826.pdf
00136827   00136829   11/5/2020 12:50 Email    Re: COVID‐19 Travel Forecasting Approach                  .\VOL010\IMAGES\IMAGES002\00136827.pdf
00136830   00136830   11/5/2020 13:32 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136830.pdf
00136831   00136831   11/5/2020 13:48 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136831.pdf
00136832   00136832   11/5/2020 14:00 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136832.pdf

00136833   00136838   11/5/2020 14:12 Email    FW: MDOT SHA I‐495 & I‐270 Managed Lanes Study            .\VOL010\IMAGES\IMAGES002\00136833.pdf
                                               FW: I‐495/270 Managed Lanes Response Letter to
00136839   00136846   11/5/2020 14:39 Email    Members of Congress                                       .\VOL010\IMAGES\IMAGES002\00136839.pdf
00136847   00136847   11/5/2020 15:50 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136847.pdf
00136848   00136848   11/5/2020 15:52 Email    DMV Congestion Must Be Improved                           .\VOL010\IMAGES\IMAGES002\00136848.pdf
00136849   00136849   11/5/2020 15:59 Email    Improve Congestion and Delays in the DMV                  .\VOL010\IMAGES\IMAGES002\00136849.pdf
00136850   00136852   11/5/2020 17:39 Edoc     M; 26‐10‐56_PhotoSheet.docx                               .\VOL010\IMAGES\IMAGES002\00136850.pdf
00136853   00136860   11/5/2020 17:39 Edoc     M; 26‐10‐56_Reiche Cottage_Stone House.pdf                .\VOL010\IMAGES\IMAGES002\00136853.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                           Page 117 of 263

00136861   00136861   11/5/2020 19:53 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00136861.pdf
00136862   00136862   11/5/2020 20:00 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00136862.pdf
00136863   00136863   11/5/2020 20:25 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00136863.pdf
00136864   00136864   11/5/2020 20:30 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00136864.pdf
00136865   00136865   11/5/2020 20:52 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00136865.pdf
00136866   00136866   11/5/2020 20:54 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00136866.pdf
00136867   00136867   11/5/2020 21:02 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00136867.pdf
00136868   00136868   11/5/2020 21:19 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00136868.pdf
00136869   00136870   11/5/2020 21:59 Email    I‐495 & I‐270 Managed Lanes Study Comments           .\VOL010\IMAGES\IMAGES002\00136869.pdf
00136871   00136871   11/5/2020 21:59 Attach   Highway BRT station example.jpg                      .\VOL010\IMAGES\IMAGES002\00136871.pdf
00136872   00136872   11/5/2020 21:59 Attach   Montgomery Mall BRT station example.jpg              .\VOL010\IMAGES\IMAGES002\00136872.pdf
                                               Recommended Transit Service between Virginia and
00136873   00136873   11/5/2020 21:59 Attach   Maryland.png                                         .\VOL010\IMAGES\IMAGES002\00136873.pdf
00136874   00136874    11/6/2020 8:10 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00136874.pdf

00136875   00136876   11/6/2020 10:11 Email    Comment submittal on I495 / I270 Beltway Expansion   .\VOL010\IMAGES\IMAGES002\00136875.pdf
00136877   00136877   11/6/2020 10:39 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00136877.pdf
00136878   00136878   11/6/2020 10:48 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00136878.pdf
                                               Promote Economic Growth in the DC Metropolitan
00136879   00136879   11/6/2020 11:21 Email    Area                                                 .\VOL010\IMAGES\IMAGES002\00136879.pdf
00136880   00136881   11/6/2020 13:50 Email    draft agenda for meeting with NPS on 11/16/20        .\VOL010\IMAGES\IMAGES002\00136880.pdf

                                               MDOT SHA meeting with First Agape AMEZ at Gibson
00136882   00136885   11/6/2020 13:53 Email    Grove Church Tuesday 11/10/2020 11:00 a.m.           .\VOL010\IMAGES\IMAGES002\00136882.pdf

                                               RE: MDOT SHA meeting with First Agape AMEZ at
00136886   00136889   11/6/2020 13:54 Email    Gibson Grove Church Tuesday 11/10/2020 11:00 a.m. .\VOL010\IMAGES\IMAGES002\00136886.pdf
00136890   00136890   11/6/2020 13:58 Email    Alternative 9 Proposes Sustainable Change         .\VOL010\IMAGES\IMAGES002\00136890.pdf
00136891   00136892   11/6/2020 14:21 Edoc     MLS USFWS bat letter.pdf                          .\VOL010\IMAGES\IMAGES002\00136891.pdf

                                               FW: MDOT SHA meeting with First Agape AMEZ at
00136893   00136897   11/6/2020 15:27 Email    Gibson Grove Church Tuesday 11/10/2020 11:00 a.m. .\VOL010\IMAGES\IMAGES002\00136893.pdf
00136898   00136898   11/6/2020 16:03 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00136898.pdf
00136899   00136899   11/6/2020 16:16 Email    RE: I‐495/I‐270 Managed Lanes Study                  .\VOL010\IMAGES\IMAGES002\00136899.pdf
00136900   00136901   11/6/2020 16:34 Email    Testimony on DEIS for 495/270 Project                .\VOL010\IMAGES\IMAGES002\00136900.pdf
00136902   00136902   11/6/2020 20:02 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00136902.pdf
00136903   00136903   11/6/2020 20:07 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00136903.pdf
00136904   00136904   11/6/2020 20:10 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00136904.pdf
00136905   00136905   11/6/2020 20:35 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00136905.pdf
                                               Comments on I‐495 and I‐270 Managed Lanes Study
                                               Draft Environmental Impact Statement/Draft Section
00136906   00136907    11/7/2020 0:09 Email    4(f) Evaluation                                      .\VOL010\IMAGES\IMAGES002\00136906.pdf
00136908   00137120    11/7/2020 0:09 Attach   2020‐11‐06‐Comments on DEIS, 4(f), and JPA.pdf       .\VOL010\IMAGES\IMAGES002\00136908.pdf
                                               2020‐11‐06‐List of Attachments to Comments of the
                                               Maryland Sierra Club et al. on the Beltway Expansion
00137121   00137127    11/7/2020 0:09 Attach   Project DEIS and JPA .pdf                            .\VOL010\IMAGES\IMAGES002\00137121.pdf
00137128   00137129    11/7/2020 1:30 Email    I support the NO BUILD option ‐ more reasons         .\VOL010\IMAGES\IMAGES002\00137128.pdf
00137130   00137130   11/7/2020 10:16 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00137130.pdf
00137131   00137131   11/7/2020 10:48 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00137131.pdf
00137132   00137132   11/7/2020 15:25 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00137132.pdf
00137133   00137133   11/7/2020 17:16 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00137133.pdf
00137134   00137134   11/7/2020 17:20 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137134.pdf
00137135   00137135   11/7/2020 17:53 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00137135.pdf
00137136   00137136   11/7/2020 17:58 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137136.pdf
00137137   00137137   11/7/2020 17:59 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00137137.pdf
00137138   00137138   11/7/2020 20:07 Email    Time to Fix the American Legion Bridge               .\VOL010\IMAGES\IMAGES002\00137138.pdf
00137139   00137139   11/7/2020 20:57 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137139.pdf
00137140   00137140    11/8/2020 0:11 Email    I‐495/I‐270 Luxury Lane P3 Expansion                 .\VOL010\IMAGES\IMAGES002\00137140.pdf
00137141   00137141   11/8/2020 11:01 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00137141.pdf
00137142   00137142   11/8/2020 13:47 Email    A Lesson From Oslo, Norway                           .\VOL010\IMAGES\IMAGES002\00137142.pdf
00137143   00137143   11/8/2020 14:29 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00137143.pdf
00137144   00137144   11/8/2020 15:26 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137144.pdf
00137145   00137145   11/8/2020 16:22 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137145.pdf
00137146   00137146   11/8/2020 16:43 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00137146.pdf
00137147   00137147   11/8/2020 18:14 Email    Alternative 9 Proposes Sustainable Change            .\VOL010\IMAGES\IMAGES002\00137147.pdf
00137148   00137148   11/8/2020 18:43 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137148.pdf
00137149   00137149   11/8/2020 21:07 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00137149.pdf
                                               Re: [EXTERNAL] Threatened & Endangered Bat Species
00137150   00137151    11/9/2020 6:48 Email    report for MLS project                               .\VOL010\IMAGES\IMAGES002\00137150.pdf
00137152   00137153    11/9/2020 6:48 Attach   MLS USFWS bat letter.pdf                             .\VOL010\IMAGES\IMAGES002\00137152.pdf
                                               FW: Article about Maryland’s priced managed lanes
00137154   00137157    11/9/2020 7:44 Email    projects                                             .\VOL010\IMAGES\IMAGES002\00137154.pdf
00137158   00137158    11/9/2020 8:37 Attach   AugCulvert_Figure1_11022020.pdf                      .\VOL010\IMAGES\IMAGES002\00137158.pdf
                                               RE: Comments on I‐495 and I‐270 Managed Lanes
                                               Study Draft Environmental Impact Statement/Draft
00137159   00137161    11/9/2020 9:07 Email    Section 4(f) Evaluation                              .\VOL010\IMAGES\IMAGES002\00137159.pdf
00137162   00137164    11/9/2020 9:07 Attach   1192020_85801AM_signed 825817.pdf                    .\VOL010\IMAGES\IMAGES002\00137162.pdf
                                               Public comments on Draft EIS for Beltway widening
00137165   00137165    11/9/2020 9:29 Email    project                                              .\VOL010\IMAGES\IMAGES002\00137165.pdf

00137166   00137378    11/9/2020 9:29 Attach   2020‐11‐06‐Comments on DEIS, 4(f), and JPA (1).pdf   .\VOL010\IMAGES\IMAGES002\00137166.pdf
00137379   00137379    11/9/2020 9:54 Email    I‐270 and I‐495 DEIS Comments                        .\VOL010\IMAGES\IMAGES002\00137379.pdf
00137380   00137382    11/9/2020 9:54 Attach   110720NPDEIS495Comments.docx                         .\VOL010\IMAGES\IMAGES002\00137380.pdf

00137383   00137383   11/9/2020 10:05 Email    I‐495 & I‐270 MLS ‐ Culvert Augmentation Handout     .\VOL010\IMAGES\IMAGES002\00137383.pdf

00137384   00137384   11/9/2020 10:07 Email    Re: I‐495 & I‐270 MLS ‐ Culvert Augmentation Handout .\VOL010\IMAGES\IMAGES002\00137384.pdf
00137385   00137385   11/9/2020 10:30 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137385.pdf
00137386   00137386   11/9/2020 10:35 Email    DMV Congestion Must Be Improved                      .\VOL010\IMAGES\IMAGES002\00137386.pdf

00137387   00137388   11/9/2020 11:25 Attach   ACHP Response on I‐495 and I‐270 Managed Lanes.pdf .\VOL010\IMAGES\IMAGES002\00137387.pdf
00137389   00137389   11/9/2020 11:32 Email    Improve Congestion and Delays in the DMV           .\VOL010\IMAGES\IMAGES002\00137389.pdf
00137390   00137390   11/9/2020 11:40 Email    Time to Fix the American Legion Bridge             .\VOL010\IMAGES\IMAGES002\00137390.pdf
00137391   00137391   11/9/2020 11:50 Email    Improve Congestion and Delays in the DMV           .\VOL010\IMAGES\IMAGES002\00137391.pdf
00137392   00137392   11/9/2020 12:03 Email    Improve Congestion and Delays in the DMV           .\VOL010\IMAGES\IMAGES002\00137392.pdf
00137393   00137394   11/9/2020 12:18 Email    Comments on DEIS                                   .\VOL010\IMAGES\IMAGES002\00137393.pdf
00137395   00137395   11/9/2020 12:25 Email    Improve Congestion and Delays in the DMV           .\VOL010\IMAGES\IMAGES002\00137395.pdf

00137396   00137396   11/9/2020 12:48 Email    RE: Question re submitting comment attachments       .\VOL010\IMAGES\IMAGES002\00137396.pdf
00137397   00137397   11/9/2020 12:50 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137397.pdf
00137398   00137405   11/9/2020 13:03 Email    Re: MDOT SHA Fieldwork Update                        .\VOL010\IMAGES\IMAGES002\00137398.pdf
00137406   00137406   11/9/2020 14:01 Email    Improve Congestion and Delays in the DMV             .\VOL010\IMAGES\IMAGES002\00137406.pdf
                                               Promote Economic Growth in the DC Metropolitan
00137407   00137407   11/9/2020 14:10 Email    Area                                                 .\VOL010\IMAGES\IMAGES002\00137407.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                 Filed 05/03/23                            Page 118 of 263

                                                Fw: DNR comments to the I495‐I270 Managed Lane
00137408   00137408    11/9/2020 14:17 Email    Study Draft EIS                                       .\VOL010\IMAGES\IMAGES002\00137408.pdf
00137409   00137415    11/9/2020 14:17 Attach   DNR DEIS comments 110920.pdf                          .\VOL010\IMAGES\IMAGES002\00137409.pdf
00137416   00137416    11/9/2020 14:34 Email    Alternative 9 Proposes Sustainable Change             .\VOL010\IMAGES\IMAGES002\00137416.pdf
00137417   00137417    11/9/2020 14:39 Email    EPA Comments on I495 ‐ I270 DEIS                      .\VOL010\IMAGES\IMAGES002\00137417.pdf
00137418   00137425    11/9/2020 14:39 Attach   EPA Comments I495 I270 DEIS ‐ signed.pdf              .\VOL010\IMAGES\IMAGES002\00137418.pdf
                                                RE: I‐495/I‐270 MLS ‐ Culvert and Augmentation and
00137426   00137427    11/9/2020 14:57 Email    Permitting                                            .\VOL010\IMAGES\IMAGES002\00137426.pdf
00137428   00137428    11/9/2020 15:08 Email    DMV Congestion Must Be Improved                       .\VOL010\IMAGES\IMAGES002\00137428.pdf
00137429   00137429    11/9/2020 15:40 Email    Improve Congestion and Delays in the DMV              .\VOL010\IMAGES\IMAGES002\00137429.pdf

                                                Additional Comment on I‐495 and I‐270 Managed
00137430   00137431    11/9/2020 15:59 Email    Lanes Study Draft Environmental Impact Statement      .\VOL010\IMAGES\IMAGES002\00137430.pdf

00137432   00137432    11/9/2020 16:03 Email    Protect parks from the I‐495 and I‐270 expansions     .\VOL010\IMAGES\IMAGES002\00137432.pdf

00137433   00137434    11/9/2020 16:21 Email    I‐495 & I‐270 MLS ‐ Permitting Discussion Follow‐Up   .\VOL010\IMAGES\IMAGES002\00137433.pdf

00137435   00137435    11/9/2020 16:43 Email    Protect parks from the I‐495 and I‐270 expansions      .\VOL010\IMAGES\IMAGES002\00137435.pdf
                                                Comments on I‐495 and I‐270 Managed Lanes Study
                                                DEIS/Draft Section 4(f) Evaluation and Joint
                                                Federal/State Application (JPA) (USACE Application
                                                Number (NAB‐2018‐02152) and the MDE Tracking
00137436   00137436    11/9/2020 16:45 Email    Numbers 20‐NT0114 / 202060649)                         .\VOL010\IMAGES\IMAGES002\00137436.pdf
00137437   00137438    11/9/2020 16:45 Attach   Bartlett comments on DEIS 11‐9‐20.pdf                  .\VOL010\IMAGES\IMAGES002\00137437.pdf
                                                Comment in support of No Build option for 495/270
00137439   00137440    11/9/2020 17:19 Email    expansion                                              .\VOL010\IMAGES\IMAGES002\00137439.pdf
00137441   00137441    11/9/2020 17:33 Email    Hogan’s Beltway/Toll lanes project                     .\VOL010\IMAGES\IMAGES002\00137441.pdf
                                                GSA Comments on the I‐495 & I‐270 Managed Lanes
00137442   00137442    11/9/2020 17:48 Email    Study DEIS                                             .\VOL010\IMAGES\IMAGES002\00137442.pdf
                                                GSA NCR Review and Summary_I‐495_I‐270 Managed
00137443   00137443    11/9/2020 17:48 Attach   Lanes Study DEIS.xlsx                                  .\VOL010\IMAGES\IMAGES002\00137443.pdf    .\VOL010\NATIVES\NATIVES002\00137443.xlsx
00137444   00137444    11/9/2020 18:06 Email    Improve Congestion and Delays in the DMV               .\VOL010\IMAGES\IMAGES002\00137444.pdf
00137445   00137448    11/9/2020 18:44 Edoc     2020.11.09_Josh Tulkin_PIA 10‐Day Letter.pdf           .\VOL010\IMAGES\IMAGES002\00137445.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137449   00137449    11/9/2020 19:02 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137449.pdf
                                                Halt I‐495/I‐270 expansion: Bad for communities, bad
00137450   00137450    11/9/2020 19:26 Email    for climate                                            .\VOL010\IMAGES\IMAGES002\00137450.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137451   00137451    11/9/2020 19:40 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137451.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137452   00137452    11/9/2020 19:41 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137452.pdf
00137453   00137453    11/9/2020 19:45 Email    DMV Congestion Must Be Improved                        .\VOL010\IMAGES\IMAGES002\00137453.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137454   00137454    11/9/2020 19:52 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137454.pdf
00137455   00137455    11/9/2020 19:53 Email    Improve Congestion and Delays in the DMV               .\VOL010\IMAGES\IMAGES002\00137455.pdf
00137456   00137456    11/9/2020 20:08 Email    Comment on DEIS                                        .\VOL010\IMAGES\IMAGES002\00137456.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137457   00137457    11/9/2020 20:18 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137457.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137458   00137459    11/9/2020 20:54 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137458.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137460   00137460    11/9/2020 21:02 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137460.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137461   00137461    11/9/2020 21:02 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137461.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137462   00137462    11/9/2020 21:09 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137462.pdf
00137463   00137464    11/9/2020 21:25 Email    I oppose the I‐270 Project                             .\VOL010\IMAGES\IMAGES002\00137463.pdf
00137465   00137465    11/9/2020 21:40 Email    I‐495 Managed Lanes Comment                            .\VOL010\IMAGES\IMAGES002\00137465.pdf
                                                Comment on the I‐495 and I‐270 Managed Lanes Study
00137466   00137466    11/9/2020 22:14 Email    DEIS                                                   .\VOL010\IMAGES\IMAGES002\00137466.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137467   00137468    11/9/2020 22:16 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137467.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137469   00137469    11/9/2020 22:58 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137469.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137470   00137470    11/9/2020 23:17 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137470.pdf
                                                Should motorists pay 3‐4 cents per mile or $1.50 ‐ $2+
00137471   00137472    11/9/2020 23:35 Email    per mile?                                              .\VOL010\IMAGES\IMAGES002\00137471.pdf
                                                Draft Environmental Impact Statement for I‐495/I‐270
00137473   00137473    11/9/2020 23:39 Email    Tollway Expansion                                      .\VOL010\IMAGES\IMAGES002\00137473.pdf
                                                Increase the fuel tax and use that revenue to build
00137474   00137475    11/9/2020 23:55 Email    lanes *everyone* can use                               .\VOL010\IMAGES\IMAGES002\00137474.pdf
00137476   00137476    11/10/2020 3:27 Email    Improve Congestion and Delays in the DMV               .\VOL010\IMAGES\IMAGES002\00137476.pdf
00137477   00137477    11/10/2020 8:28 Email    I‐495 Managed Lanes Comment                            .\VOL010\IMAGES\IMAGES002\00137477.pdf
00137478   00137479    11/10/2020 9:01 Email    FW: Final send to Steve Archer and party,              .\VOL010\IMAGES\IMAGES002\00137478.pdf

                                                site plan MHG_AME_Church_Site_Plan_Sketch_12‐14‐
00137480   00137480    11/10/2020 9:01 Attach   12.pdf                                           .\VOL010\IMAGES\IMAGES002\00137480.pdf
00137481   00137481    11/10/2020 9:01 Attach   stabable plan First Agape Church‐S1.0.pdf        .\VOL010\IMAGES\IMAGES002\00137481.pdf
00137482   00137482    11/10/2020 9:01 Attach   Stable Sheet 2.pdf                               .\VOL010\IMAGES\IMAGES002\00137482.pdf
00137483   00137484    11/10/2020 9:01 Attach   A Church Access HSA Right‐of Way copy.pdf        .\VOL010\IMAGES\IMAGES002\00137483.pdf
00137485   00137493    11/10/2020 9:01 Attach   P Gibson Grove SHA 2005‐2006.pdf                 .\VOL010\IMAGES\IMAGES002\00137485.pdf
00137494   00137494    11/10/2020 9:01 Attach   Parking Concept B ‐ 2020‐11‐05.pdf               .\VOL010\IMAGES\IMAGES002\00137494.pdf
00137495   00137495    11/10/2020 9:01 Attach   Parking Concept C ‐ 2020‐11‐05.pdf               .\VOL010\IMAGES\IMAGES002\00137495.pdf
00137496   00137496    11/10/2020 9:01 Attach   Retainer photo Links and Pictures.docx           .\VOL010\IMAGES\IMAGES002\00137496.pdf
00137497   00137497    11/10/2020 9:01 Attach   1604976061597blob.jpg                            .\VOL010\IMAGES\IMAGES002\00137497.pdf
00137498   00137509    11/10/2020 9:01 Attach   Hiatory Judi #2 Beltway Impact.docx              .\VOL010\IMAGES\IMAGES002\00137498.pdf
                                                RE_ I‐495 & I‐270 MLS IAPA Framework
00137510   00137513    11/10/2020 9:11 Email    Document(3).pdf                                  .\VOL010\IMAGES\IMAGES002\00137510.pdf
00137514   00137517    11/10/2020 9:11 Email    RE: I‐495 & I‐270 MLS IAPA Framework Document    .\VOL010\IMAGES\IMAGES002\00137514.pdf

00137518   00137519    11/10/2020 9:52 Email    Re_ I‐495 & I‐270 MLS ‐ Permitting Discussion F....pdf .\VOL010\IMAGES\IMAGES002\00137518.pdf
                                                2020.11.10 BPW Briefing (Treasurer Kopp) MLS Transit
00137520   00137559   11/10/2020 10:29 Attach   Presentation.pptx                                      .\VOL010\IMAGES\IMAGES002\00137520.pdf
                                                MDOT SHA meeting with First Agape AMEZ at Gibson
00137560   00137561   11/10/2020 11:00 Email    Grove Church                                           .\VOL010\IMAGES\IMAGES002\00137560.pdf
00137562   00137562   11/10/2020 11:48 Email    FW: I‐495 & I‐270 MLS ‐ NMFS HCD response              .\VOL010\IMAGES\IMAGES002\00137562.pdf
00137563   00137574   11/10/2020 11:48 Attach   MLS_DEIS_FWCA Letter_MDOT.pdf                          .\VOL010\IMAGES\IMAGES002\00137563.pdf
00137575   00137578   11/10/2020 12:12 Attach   2020‐11‐09‐Additional Comment on DEIS.pdf              .\VOL010\IMAGES\IMAGES002\00137575.pdf
                                                2020‐11‐09‐Travel Time Tables ‐ Build vs No Build
00137579   00137582   11/10/2020 12:12 Attach   (Virginia to Frederick).pdf                            .\VOL010\IMAGES\IMAGES002\00137579.pdf

                                                FW: Additional Comment on I‐495 and I‐270 Managed
00137583   00137585   11/10/2020 12:12 Email    Lanes Study Draft Environmental Impact Statement  .\VOL010\IMAGES\IMAGES002\00137583.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                   Filed 05/03/23                           Page 119 of 263

                                                FW: Moses Cemetery ‐ Letter from District 16 MD
00137586   00137587   11/10/2020 12:23 Email    Delegation                                              .\VOL010\IMAGES\IMAGES002\00137586.pdf
                                                RE: Reminder: MDOT SHA meeting with First Agape
                                                AMEZ at Gibson Grove Church Tuesday 11/10/2020
00137588   00137592   11/10/2020 12:45 Email    11:00 a.m.                                              .\VOL010\IMAGES\IMAGES002\00137588.pdf
                                                RE: Reminder: MDOT SHA meeting with First Agape
                                                AMEZ at Gibson Grove Church Tuesday 11/10/2020
00137593   00137597   11/10/2020 12:46 Email    11:00 a.m.                                              .\VOL010\IMAGES\IMAGES002\00137593.pdf
                                                DEIS_AppJ_Noise Tech
00137598   00137601   11/10/2020 12:46 Attach   Report_Exhibits_Appendices_NSA 2‐01.pdf                 .\VOL010\IMAGES\IMAGES002\00137598.pdf
                                                RE_ I‐495 & I‐270 MLS IAPA Framework
00137602   00137605   11/10/2020 13:33 Email    Document(2).pdf                                         .\VOL010\IMAGES\IMAGES002\00137602.pdf
00137606   00137609   11/10/2020 13:33 Email    RE: I‐495 & I‐270 MLS IAPA Framework Document           .\VOL010\IMAGES\IMAGES002\00137606.pdf
                                                RE_ I‐495 & I‐270 MLS IAPA Framework
00137610   00137613   11/10/2020 13:36 Email    Document(1).pdf                                         .\VOL010\IMAGES\IMAGES002\00137610.pdf
00137614   00137618   11/10/2020 13:36 Email    RE: I‐495 & I‐270 MLS IAPA Framework Document           .\VOL010\IMAGES\IMAGES002\00137614.pdf
00137619   00137619   11/10/2020 13:45 Email    Improve Congestion and Delays in the DMV                .\VOL010\IMAGES\IMAGES002\00137619.pdf
00137620   00137620   11/10/2020 15:49 Email    Drainage investigation report                           .\VOL010\IMAGES\IMAGES002\00137620.pdf
00137621   00137621   11/10/2020 15:57 Email    Drainage investigation report                           .\VOL010\IMAGES\IMAGES002\00137621.pdf

00137622   00137647   11/10/2020 15:57 Attach   HHD‐20‐DM‐MO‐004_Gibson Grove Site Memo.pdf             .\VOL010\IMAGES\IMAGES002\00137622.pdf

00137648   00137651   11/10/2020 17:01 Email    RE_ I‐495 & I‐270 MLS IAPA Framework Document.pdf .\VOL010\IMAGES\IMAGES002\00137648.pdf
00137652   00137656   11/10/2020 17:01 Email    RE: I‐495 & I‐270 MLS IAPA Framework Document         .\VOL010\IMAGES\IMAGES002\00137652.pdf
00137657   00137658   11/10/2020 17:09 Email    RE: Not So Good News for this Project                 .\VOL010\IMAGES\IMAGES002\00137657.pdf
00137659   00137659   11/12/2020 13:15 Attach   Diss 827152 Incoming.pdf                              .\VOL010\IMAGES\IMAGES002\00137659.pdf
                                                RE: I‐495 & I‐270 MLS 401 Water Quality Certification
00137660   00137662   11/12/2020 14:08 Email    Discussion ‐ Doodle Poll                              .\VOL010\IMAGES\IMAGES002\00137660.pdf
                                                2020.11.13_Chung Comments_I‐495 & I‐270 MLS IAPA
00137663   00137667    11/13/2020 9:06 Edoc     Framework Document.pdf                                .\VOL010\IMAGES\IMAGES002\00137663.pdf
                                                I‐495 & I‐270 P3 Program ‐ Transit Service
00137668   00137669    11/13/2020 9:59 Email    Improvements                                          .\VOL010\IMAGES\IMAGES002\00137668.pdf

00137670   00137670   11/15/2020 14:02 Email    Dublin, Ireland Tram System ‐ What can we Learn ?       .\VOL010\IMAGES\IMAGES002\00137670.pdf
                                                Upcounty Citizens Briefing ‐ 2020.11.16 ‐ Talking
00137671   00137691   11/15/2020 19:39 Edoc     Points.docx                                             .\VOL010\IMAGES\IMAGES002\00137671.pdf
00137692   00137694    11/16/2020 6:48 Email    FW: IAPA Framework: Clarification                       .\VOL010\IMAGES\IMAGES002\00137692.pdf
00137695   00137697    11/16/2020 7:41 Attach   Moses Cemetery Options.docx                             .\VOL010\IMAGES\IMAGES002\00137695.pdf
00137698   00137700    11/16/2020 8:36 Email    RE: P3 ‐ Moses Hall                                     .\VOL010\IMAGES\IMAGES002\00137698.pdf
00137701   00137701    11/16/2020 8:36 Attach   mHD‐DEIS_CJP.PDF                                        .\VOL010\IMAGES\IMAGES002\00137701.pdf
00137702   00137702    11/16/2020 8:36 Attach   mHD‐Phase1‐South‐Alt9_CJP.PDF                           .\VOL010\IMAGES\IMAGES002\00137702.pdf

00137703   00137703    11/16/2020 8:36 Attach   Moses Cemetery Exhibit 1A ‐ Plan View_FINAL2.pdf        .\VOL010\IMAGES\IMAGES002\00137703.pdf

00137704   00137704    11/16/2020 8:36 Attach   Moses Cemetery Exhibit 2A ‐ Plan View_FINAL2.pdf        .\VOL010\IMAGES\IMAGES002\00137704.pdf
                                                Re: I‐495 & I‐270 MLS ‐ Permitting Discussion Follow‐
00137705   00137706    11/16/2020 8:48 Email    Up                                                      .\VOL010\IMAGES\IMAGES002\00137705.pdf

00137707   00137708    11/16/2020 8:48 Attach   MLS_Culvert Augmentation Analysis_16NOV.docx            .\VOL010\IMAGES\IMAGES002\00137707.pdf
                                                RE: I‐495 & I‐270 MLS ‐ Permitting Discussion Follow‐
00137709   00137710    11/16/2020 9:44 Email    Up                                                      .\VOL010\IMAGES\IMAGES002\00137709.pdf
00137711   00137719    11/16/2020 9:44 Attach   Example Culvert Locations.pdf                           .\VOL010\IMAGES\IMAGES002\00137711.pdf
                                                RE: I‐495 & I‐270 MLS ‐ Permitting Discussion Follow‐
00137720   00137722   11/16/2020 10:38 Email    Up                                                      .\VOL010\IMAGES\IMAGES002\00137720.pdf
00137723   00137723   11/16/2020 13:00 Email    I‐495/I‐270 FHWA/NPS ROW                                .\VOL010\IMAGES\IMAGES002\00137723.pdf
00137724   00137725   11/16/2020 13:00 Email    FW: I‐495/I‐270 FHWA/NPS ROW                            .\VOL010\IMAGES\IMAGES002\00137724.pdf
00137726   00137727   11/16/2020 13:00 Email    I‐495/I‐270 FHWA/NPS ROW                                .\VOL010\IMAGES\IMAGES002\00137726.pdf

00137728   00137731   11/16/2020 13:00 Attach   20201027 Notes on NPS ROW Boundary Maps_.pdf       .\VOL010\IMAGES\IMAGES002\00137728.pdf
00137732   00137732   11/16/2020 13:00 Attach   Map 1a CO_CBP_GWMP_MLS Annotated.pdf               .\VOL010\IMAGES\IMAGES002\00137732.pdf
00137733   00137733   11/16/2020 13:00 Attach   Map 1b CO_CBP_GWMP_NPS Boundary.pdf                .\VOL010\IMAGES\IMAGES002\00137733.pdf
00137734   00137734   11/16/2020 13:00 Attach   Map 2a Greenbelt_BWP_MLS Annotated.pdf             .\VOL010\IMAGES\IMAGES002\00137734.pdf
00137735   00137735   11/16/2020 13:00 Attach   Map 2b Greenbelt_BWP_NPS Boundary.pdf              .\VOL010\IMAGES\IMAGES002\00137735.pdf
00137736   00137736   11/16/2020 13:00 Attach   Map 3a_Suitland_MLS Annotated.pdf                  .\VOL010\IMAGES\IMAGES002\00137736.pdf
00137737   00137737   11/16/2020 13:00 Attach   Map 3b Suitland_NPS Boundary.pdf                   .\VOL010\IMAGES\IMAGES002\00137737.pdf
                                                I‐495 & I‐270 MLS ‐ Culvert Augmentation and
00137738   00137739   11/16/2020 14:46 Email    Permitting Discussion_ Final Meeting Notes         .\VOL010\IMAGES\IMAGES003\00137738.pdf
                                                2020.11.09 Culvert Permitting Meeting with
00137740   00137745   11/16/2020 14:46 Attach   Agencies_Meeting Notes_Final.pdf                   .\VOL010\IMAGES\IMAGES003\00137740.pdf
                                                Culvert Augmentation ‐ Agency Handout_11‐05‐
00137746   00137751   11/16/2020 14:46 Attach   2020.pdf                                           .\VOL010\IMAGES\IMAGES003\00137746.pdf
                                                FW: I‐495 & I‐270 MLS Interagency Working Group
00137752   00137755   11/16/2020 16:15 Email    Meeting October 17th                               .\VOL010\IMAGES\IMAGES003\00137752.pdf
00137756   00137762   11/16/2020 16:15 Attach   2018‐10_Leadership_Ladder.pdf                      .\VOL010\IMAGES\IMAGES003\00137756.pdf
                                                RE: I‐495 & I‐270 MLS Interagency Working Group
00137763   00137766   11/16/2020 16:16 Email    Meeting October 17th                               .\VOL010\IMAGES\IMAGES003\00137763.pdf
                                                Re: [EXTERNAL] Threatened & Endangered Bat Species
00137767   00137769   11/16/2020 17:03 Email    report for MLS project                             .\VOL010\IMAGES\IMAGES003\00137767.pdf
00137770   00137806    11/17/2020 8:34 Attach   20201117_Ben Ross 860.pdf                          .\VOL010\IMAGES\IMAGES003\00137770.pdf

00137807   00137807   11/17/2020 10:17 Email    Cabin John Interchange ‐ 11/11/20 Meeting Minutes .\VOL010\IMAGES\IMAGES003\00137807.pdf
00137808   00137812   11/17/2020 10:17 Attach   2020.11.11_Cabin_John_Meeting Minutes.pdf           .\VOL010\IMAGES\IMAGES003\00137808.pdf
                                                FW: Comments on I‐495 & I‐270 MLS ‐ Culvert
00137813   00137815   11/17/2020 11:06 Email    Augmentation Handout                                .\VOL010\IMAGES\IMAGES003\00137813.pdf
00137816   00137816   11/17/2020 15:45 Email    NPS concurrence                                     .\VOL010\IMAGES\IMAGES003\00137816.pdf
                                                I‐495 I‐270 MLS Purpose and Need Concurrence‐
00137817   00137818   11/17/2020 15:45 Attach   NPS.pdf                                             .\VOL010\IMAGES\IMAGES003\00137817.pdf
00137819   00137819   11/17/2020 16:24 Email    BCS virtual and in person public hearings           .\VOL010\IMAGES\IMAGES003\00137819.pdf
                                                I‐495 & I‐270 FHWA Coordination_ MLS Notes
00137820   00137821   11/17/2020 22:41 Email    (11.....pdf                                         .\VOL010\IMAGES\IMAGES003\00137820.pdf
                                                2020‐11‐04_FHWA Coordination Meeting
00137822   00137823   11/17/2020 22:41 Attach   Notes_ML.DOCX                                       .\VOL010\IMAGES\IMAGES003\00137822.pdf
00137824   00137826    11/18/2020 9:11 Email    RE: IAPA Framework: Clarification                   .\VOL010\IMAGES\IMAGES003\00137824.pdf
                                                ER 20‐0292 Managed Lanes DEIS Comments Signed
00137827   00137845   11/18/2020 16:13 Attach   Final.pdf                                           .\VOL010\IMAGES\IMAGES003\00137827.pdf
                                                RE: Moses Cemetery ‐ Letter from District 16 MD
00137846   00137848    11/19/2020 7:39 Email    Delegation                                          .\VOL010\IMAGES\IMAGES003\00137846.pdf
                                                I‐495 & I‐270 MLS Agency Culvert Analysis Approach
00137849   00137850   11/19/2020 10:17 Email    Comments Discussion                                 .\VOL010\IMAGES\IMAGES003\00137849.pdf
                                                2020.11.16 Culvert Augmentation Approach‐Response
00137851   00137854   11/19/2020 10:17 Attach   to Agency Comments.docx                             .\VOL010\IMAGES\IMAGES003\00137851.pdf
                                                Re: Missing Reference from Managed Lane Study Draft
00137855   00137857   11/19/2020 12:47 Email    Environmental Impact Statement                      .\VOL010\IMAGES\IMAGES003\00137855.pdf

00137858   00137860   11/19/2020 12:58 Email    RE: Citizen Inquiry ‐ COVID 19 Measures on Transit      .\VOL010\IMAGES\IMAGES003\00137858.pdf
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                                                Threatened & Endangered Bat Species report for MLS
00137861   00137865   11/19/2020 14:11 Email    project                                                 .\VOL010\IMAGES\IMAGES003\00137861.pdf
                                                I‐495 MLS Bat Bridge Survey_2020_Final for
00137866   00137914   11/19/2020 14:11 Attach   Submission_20201117.pdf                                 .\VOL010\IMAGES\IMAGES003\00137866.pdf
                                                FW: Threatened & Endangered Bat Species report for
00137915   00137918   11/19/2020 15:29 Email    MLS project                                             .\VOL010\IMAGES\IMAGES003\00137915.pdf
                                                Johnson 827195 Response: I‐495 and I‐270 Public‐
00137919   00137920   11/19/2020 15:54 Email    Private Partnership (P3) Program                        .\VOL010\IMAGES\IMAGES003\00137919.pdf
00137921   00137921   11/19/2020 15:54 Attach   Johnson 827195 Incoming.pdf                             .\VOL010\IMAGES\IMAGES003\00137921.pdf
                                                Silverfine 827199 Response: I‐495 and I‐270 Public‐
00137922   00137923   11/19/2020 15:54 Email    Private Partnership (P3) Program                        .\VOL010\IMAGES\IMAGES003\00137922.pdf
00137924   00137924   11/19/2020 15:54 Attach   Silverfine 827199 Incoming.pdf                          .\VOL010\IMAGES\IMAGES003\00137924.pdf
                                                Brailsford 827192 Response: I‐495 and I‐270 Public‐
00137925   00137926   11/19/2020 15:54 Email    Private Partnership (P3) Program                        .\VOL010\IMAGES\IMAGES003\00137925.pdf
00137927   00137927   11/19/2020 15:54 Attach   Brailsford 827192 Incoming.pdf                          .\VOL010\IMAGES\IMAGES003\00137927.pdf

00137928   00137929    11/20/2020 8:48 Email    FW: Design Options at Moses Hall Cemetery Meeting       .\VOL010\IMAGES\IMAGES003\00137928.pdf
00137930   00137932   11/20/2020 10:22 Email    FW: I‐495 & I‐270 MLS DEIS Comments from MDP            .\VOL010\IMAGES\IMAGES003\00137930.pdf
                                                The I‐497_I‐270 MLS.DEIS. MDP Comments.November
00137933   00137939   11/20/2020 10:22 Attach   2, 2020.pdf                                             .\VOL010\IMAGES\IMAGES003\00137933.pdf
00137940   00137941   11/20/2020 13:00 Email    I‐495 & I‐270 MLS‐ Monday Meeting                       .\VOL010\IMAGES\IMAGES003\00137940.pdf
00137942   00137942   11/20/2020 13:00 Attach   Permitting Questions_EPA_2020‐11‐19 (2).pdf             .\VOL010\IMAGES\IMAGES003\00137942.pdf
00137943   00137944   11/20/2020 14:42 Email    FW: Follow Up Items                                     .\VOL010\IMAGES\IMAGES003\00137943.pdf
00137945   00137949   11/20/2020 15:23 Email    RE: IAPA Framework: Clarification                       .\VOL010\IMAGES\IMAGES003\00137945.pdf
00137950   00137950   11/20/2020 16:05 Email    495/270 MLS ‐ MSAT follow up                            .\VOL010\IMAGES\IMAGES003\00137950.pdf

00137951   00137953   11/22/2020 15:28 Attach   11202020_110940AM_Moran 827210 Incoming.pdf             .\VOL010\IMAGES\IMAGES003\00137951.pdf
00137954   00137956   11/22/2020 15:28 Attach   Moran 827210 Response.docx                              .\VOL010\IMAGES\IMAGES003\00137954.pdf

00137957   00137958   11/22/2020 15:28 Attach   11202020_35225PM_Graham 827237 Incoming.pdf             .\VOL010\IMAGES\IMAGES003\00137957.pdf
                                                Fw: U.S. Navy Strongly Opposed To Capital Beltway
00137959   00137962    11/23/2020 8:03 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00137959.pdf
                                                RE: U.S. Navy Strongly Opposed To Capital Beltway
00137963   00137966    11/23/2020 8:30 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00137963.pdf
                                                FW: U.S. Navy Strongly Opposed To Capital Beltway
00137967   00137970    11/23/2020 8:35 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00137967.pdf
                                                FW: U.S. Navy Strongly Opposed To Capital Beltway
00137971   00137974    11/23/2020 8:35 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00137971.pdf
                                                Re: U.S. Navy Strongly Opposed To Capital Beltway
00137975   00137978    11/23/2020 8:40 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00137975.pdf
                                                Re: U.S. Navy Strongly Opposed To Capital Beltway
00137979   00137983    11/23/2020 8:40 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00137979.pdf
00137984   00137986    11/23/2020 9:00 Email    RE: MLS DEIS Comment Status                             .\VOL010\IMAGES\IMAGES003\00137984.pdf
                                                FW_ Comments on MDOT Draft Section 106 PA
00137987   00137988    11/23/2020 9:11 Email    Amend....pdf                                            .\VOL010\IMAGES\IMAGES003\00137987.pdf
                                                Graham 827237 Response: I‐495 and I‐270 Public‐
00137989   00137990   11/23/2020 10:39 Email    Private Partnership (P3) Program                        .\VOL010\IMAGES\IMAGES003\00137989.pdf
                                                RE: U.S. Navy Strongly Opposed To Capital Beltway
00137991   00137994   11/23/2020 11:41 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00137991.pdf
                                                RE: U.S. Navy Strongly Opposed To Capital Beltway
00137995   00137998   11/23/2020 12:13 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00137995.pdf
                                                Managed Lane DEIS comments_NAVFAC
00137999   00138000   11/23/2020 12:13 Attach   Wash_signed.pdf                                         .\VOL010\IMAGES\IMAGES003\00137999.pdf
                                                RE: U.S. Navy Strongly Opposed To Capital Beltway
00138001   00138004   11/23/2020 12:13 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00138001.pdf
00138005   00138005   11/23/2020 12:52 Email    Today's meeting at 1 pm                                 .\VOL010\IMAGES\IMAGES003\00138005.pdf
                                                FW: U.S. Navy Strongly Opposed To Capital Beltway
00138006   00138010   11/23/2020 12:57 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00138006.pdf
                                                RE: U.S. Navy Strongly Opposed To Capital Beltway
00138011   00138015   11/23/2020 13:03 Email    Widening Project                                        .\VOL010\IMAGES\IMAGES003\00138011.pdf

00138016   00138016   11/23/2020 14:03 Email    Cabin John Interchange ‐ 11/18/20 Meeting Minutes       .\VOL010\IMAGES\IMAGES003\00138016.pdf
00138017   00138020   11/23/2020 14:03 Attach   2020.11.18_Cabin_John_Meeting Minutes.pdf               .\VOL010\IMAGES\IMAGES003\00138017.pdf
00138021   00138024   11/23/2020 16:09 Email    RE: MLS DEIS Comment Status                             .\VOL010\IMAGES\IMAGES003\00138021.pdf
00138025   00138027   11/23/2020 16:16 Attach   Fisher PIA Follow Up Response .pdf                      .\VOL010\IMAGES\IMAGES003\00138025.pdf
00138028   00138031   11/23/2020 17:26 Email    RE: IAPA Framework: Clarification                       .\VOL010\IMAGES\IMAGES003\00138028.pdf
00138032   00138033    11/24/2020 9:03 Attach   20201124 Lisa_Comment Form env.pdf                      .\VOL010\IMAGES\IMAGES003\00138032.pdf
00138034   00138034    11/24/2020 9:18 Email    DOI Comments with my highlights and notes               .\VOL010\IMAGES\IMAGES003\00138034.pdf
                                                FW: Greg's talking Points for Peter may ‐ FW: For
00138035   00138037   11/24/2020 12:00 Email    tomorrow's meeting with Greg                            .\VOL010\IMAGES\IMAGES003\00138035.pdf
00138038   00138039   11/24/2020 12:12 Email    FW: Talking Points                                      .\VOL010\IMAGES\IMAGES003\00138038.pdf
                                                RE: Greg's talking Points for Peter may ‐ FW: For
00138040   00138042   11/24/2020 12:14 Email    tomorrow's meeting with Greg                            .\VOL010\IMAGES\IMAGES003\00138040.pdf
                                                RE: Greg's talking Points for Peter may ‐ FW: For
00138043   00138046   11/24/2020 12:16 Email    tomorrow's meeting with Greg                            .\VOL010\IMAGES\IMAGES003\00138043.pdf
                                                RE: Greg's talking Points for Peter may ‐ FW: For
00138047   00138049   11/24/2020 12:51 Email    tomorrow's meeting with Greg                            .\VOL010\IMAGES\IMAGES003\00138047.pdf
                                                RE: Greg's talking Points for Peter may ‐ FW: For
00138050   00138052   11/24/2020 13:06 Email    tomorrow's meeting with Greg                            .\VOL010\IMAGES\IMAGES003\00138050.pdf
00138053   00138055   11/24/2020 13:07 Email    RE_ ITS Section from I‐270 I‐495(6).pdf                 .\VOL010\IMAGES\IMAGES003\00138053.pdf
00138056   00138056   11/24/2020 14:44 Email    RE: FHWA website: traffic analysis tools                .\VOL010\IMAGES\IMAGES003\00138056.pdf
                                                FW: I‐495 & I‐270 MLS: NPS DEIS Comments Review
00138057   00138059    11/25/2020 7:39 Email    Meeting ‐ Doodle Poll                                   .\VOL010\IMAGES\IMAGES003\00138057.pdf
00138060   00138061   11/30/2020 10:06 Email    RE: RPA                                                 .\VOL010\IMAGES\IMAGES003\00138060.pdf
                                                FW: OFD question from EPA Region 3 (I495/270
00138062   00138065   11/30/2020 10:17 Email    project)                                                .\VOL010\IMAGES\IMAGES003\00138062.pdf
                                                FW: Red Knot ‐ Draft Incremental Effects Memo ‐
00138066   00138068   11/30/2020 12:15 Email    comments due December 4                                 .\VOL010\IMAGES\IMAGES003\00138066.pdf
00138069   00138070   11/30/2020 13:09 Email    EPA meeting                                             .\VOL010\IMAGES\IMAGES003\00138069.pdf
00138071   00138072   11/30/2020 14:08 Email    RE: I‐495 & I‐270 MLS NPS Coordination Meeting          .\VOL010\IMAGES\IMAGES003\00138071.pdf
00138073   00138074   11/30/2020 16:57 Email    Follow Up**RE: written comments on the DEIS             .\VOL010\IMAGES\IMAGES003\00138073.pdf
                                                2018‐07‐23_I‐495 & I‐270_180606_Dept of
00138075   00138075   11/30/2020 17:04 Attach   Navy_Denied_U 251458_00864652.pdf                       .\VOL010\IMAGES\IMAGES003\00138075.pdf
00138076   00138077   11/30/2020 17:04 Attach   USNavy_Seymour_MS_A_110620.pdf                          .\VOL010\IMAGES\IMAGES003\00138076.pdf
00138078   00138079   11/30/2020 17:04 Attach   USNavy_Lewis_Thomas_A_110420.pdf                        .\VOL010\IMAGES\IMAGES003\00138078.pdf
00138080   00138081   11/30/2020 18:55 Email    FW: RPA Schedule                                        .\VOL010\IMAGES\IMAGES003\00138080.pdf
                                                FW: I‐495 & I‐270 MLS 401 Water Quality Certification
00138082   00138084    12/1/2020 10:48 Email    Discussion                                              .\VOL010\IMAGES\IMAGES003\00138082.pdf

                                                2020.11.23 Section 401 Water Quality Cert Discussion
00138085   00138089    12/1/2020 10:48 Attach   with Agencies_Meeting Notes_Final.pdf                   .\VOL010\IMAGES\IMAGES003\00138085.pdf
00138090   00138091    12/1/2020 12:19 Email    MLS RTE Plant Survey Report                             .\VOL010\IMAGES\IMAGES003\00138090.pdf
                                                Combined RTE Plant Survey Report_I‐495 I‐270
00138092   00138159    12/1/2020 12:19 Attach   MLS_FHWA Review.pdf                                     .\VOL010\IMAGES\IMAGES003\00138092.pdf
00138160   00138161    12/1/2020 13:18 Email    RE: MLS RTE Plant Survey Report                         .\VOL010\IMAGES\IMAGES003\00138160.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                              Page 121 of 263

00138162   00138162    12/1/2020 15:00 Email    I‐495 & I‐270 MLS NPS Coordination Meeting         .\VOL010\IMAGES\IMAGES003\00138162.pdf
00138163   00138163    12/1/2020 16:53 Attach   Managed Lanes‐ ROW NPS Follow Ups                  .\VOL010\IMAGES\IMAGES003\00138163.pdf
                                                PublicHearing_Comments_FHWA_Summary_120120.p
00138164   00138175    12/1/2020 16:53 Attach   df                                                 .\VOL010\IMAGES\IMAGES003\00138164.pdf
00138176   00138176    12/1/2020 16:53 Attach   Managed Lanes‐ ROW NPS Follow Ups                  .\VOL010\IMAGES\IMAGES003\00138176.pdf
00138177   00138183    12/1/2020 16:53 Attach   NCA Lands response to ROW questions.docx           .\VOL010\IMAGES\IMAGES003\00138177.pdf
                                                PublicHearing_Comments_FHWA_Summary_120120.p
00138184   00138195    12/1/2020 16:53 Attach   df                                                 .\VOL010\IMAGES\IMAGES003\00138184.pdf
                                                Re: I‐495 & I‐270 MLS Agency Culvert Analysis
00138196   00138197    12/1/2020 17:23 Email    Approach Comments Discussion                       .\VOL010\IMAGES\IMAGES003\00138196.pdf
                                                2020.12.1Culvert Augmentation Approach‐Response
00138198   00138204    12/1/2020 17:23 Attach   to Agency Comments.docx                            .\VOL010\IMAGES\IMAGES003\00138198.pdf
00138205   00138205     12/2/2020 9:41 Attach   Managed Lanes‐ ROW NPS Follow Ups                  .\VOL010\IMAGES\IMAGES003\00138205.pdf
                                                Re: U.S. Navy Strongly Opposed To Capital Beltway
00138206   00138210     12/2/2020 9:41 Attach   Widening Project                                   .\VOL010\IMAGES\IMAGES003\00138206.pdf
00138211   00138212    12/3/2020 10:00 Email    MLS and NCPC Agreement                             .\VOL010\IMAGES\IMAGES003\00138211.pdf
00138213   00138219    12/3/2020 11:35 Email    Fw: PS ‐ Cabin John Parkway                        .\VOL010\IMAGES\IMAGES003\00138213.pdf
                                                Moses Hall and Cemetery Mitigation Narrative ‐ HCP
00138220   00138231    12/3/2020 11:35 Attach   comments.docx                                      .\VOL010\IMAGES\IMAGES003\00138220.pdf
                                                Re: [EXTERNAL] RE: Managed Lanes‐ ROW NPS Follow
00138232   00138233    12/3/2020 14:27 Email    Ups                                                .\VOL010\IMAGES\IMAGES003\00138232.pdf

00138234   00138234    12/3/2020 15:33 Email    NAB 2018‐02152 MLS PN comment ltr2020.12.03_.pdf .\VOL010\IMAGES\IMAGES003\00138234.pdf
00138235   00138236     12/4/2020 8:40 Email    RE: MLS RTE Plant Survey Report                       .\VOL010\IMAGES\IMAGES003\00138235.pdf
00138237   00138238    12/4/2020 10:10 Email    RE: MLS RTE Plant Survey Report                       .\VOL010\IMAGES\IMAGES003\00138237.pdf
00138239   00138243    12/4/2020 11:05 Email    RE: I‐495 & I‐270 MLS Permit Phasing Discussion       .\VOL010\IMAGES\IMAGES003\00138239.pdf
                                                Re: [EXTERNAL] Threatened & Endangered Bat Species
00138244   00138248    12/4/2020 15:38 Email    report for MLS project                                .\VOL010\IMAGES\IMAGES003\00138244.pdf
                                                MLS: NPS Pre‐Meeting Materials ‐ BW Parkway
00138249   00138250    12/4/2020 17:03 Email    Options and Traffic                                   .\VOL010\IMAGES\IMAGES003\00138249.pdf
00138251   00138253    12/4/2020 17:03 Attach   BW Parkway Options Table_DRAFT.pdf                    .\VOL010\IMAGES\IMAGES003\00138251.pdf
00138254   00138254    12/4/2020 17:03 Attach   BW Parkway ‐ Traffic Handout.pdf                      .\VOL010\IMAGES\IMAGES003\00138254.pdf
                                                2020‐05‐28_MLS NPS BW Parkway Coordination Draft
00138255   00138257    12/4/2020 17:03 Attach   Meeting Notes.pdf                                     .\VOL010\IMAGES\IMAGES003\00138255.pdf
                                                Wald 827418 Response: I‐495 & I‐270 Public‐Private
00138258   00138259    12/4/2020 17:14 Email    Partnership (P3) Program                              .\VOL010\IMAGES\IMAGES003\00138258.pdf
00138260   00138260    12/4/2020 17:14 Attach   Wald 827418 Incoming.pdf                              .\VOL010\IMAGES\IMAGES003\00138260.pdf
                                                Grodsky 827419 Response: I‐495 & I‐270 Public‐Private
00138261   00138262    12/4/2020 17:14 Email    Partnership (P3) Program                              .\VOL010\IMAGES\IMAGES003\00138261.pdf
00138263   00138263    12/4/2020 17:14 Attach   Grodsky 827419 Incoming.pdf                           .\VOL010\IMAGES\IMAGES003\00138263.pdf
                                                I‐495 & I‐270 Managed Lanes Study ‐ RTE Plan Survey
00138264   00138265     12/7/2020 8:31 Email    Report                                                .\VOL010\IMAGES\IMAGES003\00138264.pdf
                                                FW_ COVID‐19 Travel Forecasting Approach ‐
00138266   00138267    12/7/2020 11:26 Email    FHWA....pdf                                           .\VOL010\IMAGES\IMAGES003\00138266.pdf

00138268   00138279    12/7/2020 13:00 Attach   NAB 2018‐02152 MLS PN comment ltr2020.12.03_.pdf .\VOL010\IMAGES\IMAGES003\00138268.pdf
                                                I495_I270_MLS_Plummers Island
00138280   00138280    12/7/2020 16:30 Attach   Meeting_Agenda_FINAL_20201208.pdf                     .\VOL010\IMAGES\IMAGES003\00138280.pdf
                                                RE: I‐495 & I‐270 MLS Plummers Island Coordination
00138281   00138282    12/7/2020 16:30 Email    Meeting                                               .\VOL010\IMAGES\IMAGES003\00138281.pdf
                                                RE: I‐495 & I‐270 MLS Plummers Island Coordination
00138283   00138284    12/7/2020 16:30 Email    Meeting                                               .\VOL010\IMAGES\IMAGES003\00138283.pdf
00138285   00138285     12/8/2020 9:41 Attach   1282020_93552AM_Batt 827445 Incomming.pdf             .\VOL010\IMAGES\IMAGES003\00138285.pdf
00138286   00138287    12/8/2020 11:35 Email    Recommended Preferred Alternative                     .\VOL010\IMAGES\IMAGES003\00138286.pdf
00138288   00138289    12/8/2020 11:40 Email    FW: Recommended Preferred Alternative                 .\VOL010\IMAGES\IMAGES003\00138288.pdf
                                                RE_ COVID‐19 Travel Forecasting Approach ‐
00138290   00138291    12/8/2020 11:44 Email    FHWA...(4).pdf                                        .\VOL010\IMAGES\IMAGES003\00138290.pdf
                                                Breslyn 827450 Response: I‐495 & I‐270 Public‐Private
00138292   00138293    12/8/2020 12:22 Email    Partnership (P3) Program                              .\VOL010\IMAGES\IMAGES003\00138292.pdf
00138294   00138294    12/8/2020 12:22 Attach   Breslyn 827450 Incoming.pdf                           .\VOL010\IMAGES\IMAGES003\00138294.pdf
                                                RE: COVID‐19 Travel Forecasting Approach ‐ FHWA
00138295   00138296    12/8/2020 13:36 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00138295.pdf
00138297   00138297    12/8/2020 15:07 Email    Section 4(f)                                          .\VOL010\IMAGES\IMAGES003\00138297.pdf
00138298   00138300     12/9/2020 9:50 Attach   EPA Comments I495‐I270.pdf                            .\VOL010\IMAGES\IMAGES003\00138298.pdf
00138301   00138304    12/9/2020 11:27 Email    RE: Plummer's Island                                  .\VOL010\IMAGES\IMAGES003\00138301.pdf
00138305   00138307    12/9/2020 11:31 Email    FW: [EXTERNAL] RE: Plummer's Island                   .\VOL010\IMAGES\IMAGES003\00138305.pdf
                                                RE: Threatened & Endangered Bat Species report for
00138308   00138312    12/9/2020 11:46 Email    MLS project                                           .\VOL010\IMAGES\IMAGES003\00138308.pdf
                                                RE: MLS: MDOT SHA/ FHWA Pre‐Meeting for NPS
00138313   00138314    12/9/2020 13:16 Email    Comments Discussion                                   .\VOL010\IMAGES\IMAGES003\00138313.pdf
                                                I495 & I270 MLS_NPS DEIS Comments Pre‐Meeting
00138315   00138315    12/9/2020 13:16 Attach   Agenda_12.09.2020.pdf                                 .\VOL010\IMAGES\IMAGES003\00138315.pdf
                                                RE: MLS: MDOT SHA/ FHWA Pre‐Meeting for NPS
00138316   00138317    12/9/2020 13:16 Email    Comments Discussion                                   .\VOL010\IMAGES\IMAGES003\00138316.pdf
                                                I495 & I270 MLS_NPS DEIS Comments Pre‐Meeting
00138318   00138318    12/9/2020 13:16 Attach   Agenda_12.09.2020.pdf                                 .\VOL010\IMAGES\IMAGES003\00138318.pdf
                                                RE: COVID‐19 Travel Forecasting Approach ‐ FHWA
00138319   00138321    12/9/2020 13:33 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00138319.pdf
                                                FW: MLS: MDOT SHA/ FHWA Pre‐Meeting for NPS
00138322   00138323    12/9/2020 13:35 Email    Comments Discussion                                   .\VOL010\IMAGES\IMAGES003\00138322.pdf
                                                I495 & I270 MLS_NPS DEIS Comments Pre‐Meeting
00138324   00138324    12/9/2020 13:35 Attach   Agenda_12.09.2020.pdf                                 .\VOL010\IMAGES\IMAGES003\00138324.pdf
                                                RE: COVID‐19 Travel Forecasting Approach ‐ FHWA
00138325   00138327    12/9/2020 13:48 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00138325.pdf
                                                RE: COVID‐19 Travel Forecasting Approach ‐ FHWA
00138328   00138330    12/10/2020 6:19 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00138328.pdf
                                                RE: COVID‐19 Travel Forecasting Approach ‐ FHWA
00138331   00138333    12/10/2020 7:01 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00138331.pdf
                                                RE: COVID‐19 Travel Forecasting Approach ‐ FHWA
00138334   00138337    12/10/2020 7:26 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00138334.pdf
                                                I‐495 & I‐270 MLS Water Quality Certification Follow‐
00138338   00138340    12/10/2020 9:08 Email    up Discussion ‐ Meeting Notes                         .\VOL010\IMAGES\IMAGES003\00138338.pdf
                                                2020.12.02 Section 401 Water Quality Cert and Culvert
                                                Analysis Discussion with Agencies_Meeting
00138341   00138346    12/10/2020 9:08 Attach   Notes_Final.pdf                                       .\VOL010\IMAGES\IMAGES003\00138341.pdf
                                                2020.12.01 Culvert Augmentation Approach‐Response
00138347   00138353    12/10/2020 9:08 Attach   to Agency Comments.pdf                                .\VOL010\IMAGES\IMAGES003\00138347.pdf
                                                COVID‐19 Travel Forecasting Approach ‐ FHWA
00138354   00138354   12/10/2020 13:00 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00138354.pdf
                                                RE: I‐495 & I‐270 MLS Proposed Visual Renderings
00138355   00138358   12/10/2020 13:58 Email    [NPS]                                                 .\VOL010\IMAGES\IMAGES003\00138355.pdf
00138359   00138361   12/10/2020 14:13 Email    RE: MLS Culvert Augmentation ‐ Field Visit            .\VOL010\IMAGES\IMAGES003\00138359.pdf

00138362   00138367   12/10/2020 14:13 Attach   Culvert Field LOD Assessment Form ‐ 150080001.docx .\VOL010\IMAGES\IMAGES003\00138362.pdf
00138368   00138369   12/10/2020 15:23 Email    FW: Recommended Preferred Alternative              .\VOL010\IMAGES\IMAGES003\00138368.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 122 of 263

                                                12‐07‐2020 MLS_ RPA Discussion
00138370   00138382   12/10/2020 15:23 Attach   Document_FHWA.docx                                    .\VOL010\IMAGES\IMAGES003\00138370.pdf
                                                12‐07‐2020_RPA Paper_Attachment_Summary DEIS
00138383   00138384   12/10/2020 15:23 Attach   Comments on Alts.docx                                 .\VOL010\IMAGES\IMAGES003\00138383.pdf
00138385   00138386   12/10/2020 15:23 Email    FW: Recommended Preferred Alternative                 .\VOL010\IMAGES\IMAGES003\00138385.pdf
00138387   00138387   12/10/2020 15:42 Email    IAPA Framework Document                               .\VOL010\IMAGES\IMAGES003\00138387.pdf
00138388   00138388   12/10/2020 16:00 Email    RE: IAPA Framework Document                           .\VOL010\IMAGES\IMAGES003\00138388.pdf
00138389   00138389   12/10/2020 16:02 Email    RE: IAPA Framework Document                           .\VOL010\IMAGES\IMAGES003\00138389.pdf
00138390   00138391   12/10/2020 16:51 Email    Potential ROD Commitment Approach                     .\VOL010\IMAGES\IMAGES003\00138390.pdf
00138392   00138393   12/10/2020 16:51 Email    Potential ROD Commitment Approach                     .\VOL010\IMAGES\IMAGES003\00138392.pdf
00138394   00138396   12/10/2020 17:00 Email    FW: Potential ROD Commitment Approach                 .\VOL010\IMAGES\IMAGES003\00138394.pdf
00138397   00138399   12/10/2020 17:02 Email    RE: Potential ROD Commitment Approach                 .\VOL010\IMAGES\IMAGES003\00138397.pdf
00138400   00138402   12/10/2020 17:03 Email    FW: Potential ROD Commitment Approach                 .\VOL010\IMAGES\IMAGES003\00138400.pdf
00138403   00138405   12/10/2020 17:22 Email    RE: Potential ROD Commitment Approach                 .\VOL010\IMAGES\IMAGES003\00138403.pdf
00138406   00138407   12/10/2020 18:03 Email    FW: VDOT/DPRT Transit Meeting                         .\VOL010\IMAGES\IMAGES003\00138406.pdf

00138408   00138556   12/10/2020 18:03 Attach   2020‐11‐02 DRPT MDOT Comments_Formatted.docx          .\VOL010\IMAGES\IMAGES003\00138408.pdf
00138557   00138557   12/11/2020 15:46 Email    FW_ IAPA Framework Document(1).pdf                    .\VOL010\IMAGES\IMAGES003\00138557.pdf
00138558   00138558   12/11/2020 15:46 Email    FW: IAPA Framework Document                           .\VOL010\IMAGES\IMAGES003\00138558.pdf
00138559   00138560   12/11/2020 15:49 Email    FW: IAPA Framework Document                           .\VOL010\IMAGES\IMAGES003\00138559.pdf
00138561   00138562   12/11/2020 15:50 Email    FW_ IAPA Framework Document.pdf                       .\VOL010\IMAGES\IMAGES003\00138561.pdf
00138563   00138871   12/11/2020 15:50 Attach   Appendices_REDUCED.pdf                                .\VOL010\IMAGES\IMAGES003\00138563.pdf

00138872   00138874   12/11/2020 15:54 Email    RE: I‐495 & I‐270 MLS: NPS DEIS Comments Discussion .\VOL010\IMAGES\IMAGES003\00138872.pdf

00138875   00138877   12/11/2020 15:54 Email    RE: I‐495 & I‐270 MLS: NPS DEIS Comments Discussion   .\VOL010\IMAGES\IMAGES003\00138875.pdf
00138878   00138881   12/11/2020 15:54 Attach   2020‐12‐14 NPS Meeting Materials.pdf                  .\VOL010\IMAGES\IMAGES003\00138878.pdf
00138882   00138883   12/11/2020 15:58 Email    RE_ IAPA Framework Document.pdf                       .\VOL010\IMAGES\IMAGES003\00138882.pdf
00138884   00138885   12/11/2020 15:58 Email    RE: IAPA Framework Document                           .\VOL010\IMAGES\IMAGES003\00138884.pdf
                                                I‐495 & I‐270 MLS Plummers Island Coordination
00138886   00138888   12/11/2020 16:12 Email    Meeting ‐ Meeting Notes                               .\VOL010\IMAGES\IMAGES003\00138886.pdf
                                                2020.12.08_MLS_Plummers Island Mtg
00138889   00138894   12/11/2020 16:12 Attach   Minutes_FINAL.pdf                                     .\VOL010\IMAGES\IMAGES003\00138889.pdf
00138895   00138903   12/11/2020 16:12 Attach   Plummers Island Meeting Presentation.pdf              .\VOL010\IMAGES\IMAGES003\00138895.pdf
                                                Re: [EXTERNAL] FW: I‐495 & I‐270 MLS Proposed
00138904   00138907   12/11/2020 16:12 Email    Visual Renderings [NPS]                               .\VOL010\IMAGES\IMAGES003\00138904.pdf
                                                I‐495 & I‐270 MLS Plummers Island Coordination
00138908   00138910   12/11/2020 16:12 Email    Meeting ‐ Meeting Notes                               .\VOL010\IMAGES\IMAGES003\00138908.pdf
                                                FW: [EXTERNAL] FW: I‐495 & I‐270 MLS Proposed
00138911   00138915   12/11/2020 17:03 Email    Visual Renderings [NPS]                               .\VOL010\IMAGES\IMAGES003\00138911.pdf
00138916   00138917    12/14/2020 6:39 Edoc     2020.12.11_ IAPA Framework Document.pdf               .\VOL010\IMAGES\IMAGES003\00138916.pdf
00138918   00138919    12/14/2020 6:42 Edoc     2020.12.11_RE_ IAPA Framework Document.pdf            .\VOL010\IMAGES\IMAGES003\00138918.pdf

00138920   00138923    12/14/2020 9:55 Email    RE: I‐495 & I‐270 MLS: NPS DEIS Comments Discussion .\VOL010\IMAGES\IMAGES003\00138920.pdf
                                                DEIS_Admin DEIS_Agency Comment Errata
00138924   00138938    12/14/2020 9:55 Attach   Master_NPS_3.24.2020.docx                           .\VOL010\IMAGES\IMAGES003\00138924.pdf
                                                Errata Responses for NPS Comments on DEIS
00138939   00138939    12/14/2020 9:55 Attach   V2_05062020.xlsx                                    .\VOL010\IMAGES\IMAGES003\00138939.pdf      .\VOL010\NATIVES\NATIVES003\00138939.xlsx
                                                2019‐11‐04 I‐495 I‐270 MLS_NPS Coordination
00138940   00138943    12/14/2020 9:55 Attach   Meeting Notes.pdf                                   .\VOL010\IMAGES\IMAGES003\00138940.pdf
                                                2019‐05‐29 I‐495 I‐270 MLS_NPS Coordination
00138944   00138947    12/14/2020 9:55 Attach   Meeting Notes.pdf                                   .\VOL010\IMAGES\IMAGES003\00138944.pdf
                                                2019‐08‐21‐2019 I‐495 I‐270 MLS_NPS Coordination
00138948   00138950    12/14/2020 9:55 Attach   Meeting Notes.pdf                                   .\VOL010\IMAGES\IMAGES003\00138948.pdf
                                                RE: COVID‐19 Travel Forecasting Approach ‐ FHWA
00138951   00138952   12/14/2020 11:05 Email    Discussion                                          .\VOL010\IMAGES\IMAGES003\00138951.pdf
                                                COVID Plan ‐ SHA Responses to FHWA Comments ‐ 12‐
00138953   00138956   12/14/2020 11:05 Attach   11‐20.docx                                          .\VOL010\IMAGES\IMAGES003\00138953.pdf

00138957   00138958   12/14/2020 12:30 Email    I‐495 & I‐270 MLS: NPS DEIS Comments Discussion       .\VOL010\IMAGES\IMAGES003\00138957.pdf
                                                I‐270/I‐495 P3 Project ‐ Culvert Augmentation Field
00138959   00138960   12/14/2020 15:53 Email    Meeting                                               .\VOL010\IMAGES\IMAGES003\00138959.pdf
                                                FW: I‐270/I‐495 P3 Project ‐ Culvert Augmentation
00138961   00138962   12/14/2020 22:37 Email    Field Meeting                                         .\VOL010\IMAGES\IMAGES003\00138961.pdf
                                                RE: I‐495 & I‐270 MLS Reforestation Law Mitigation
00138963   00138967    12/15/2020 9:51 Email    Site Search Report                                    .\VOL010\IMAGES\IMAGES003\00138963.pdf
00138968   00138971    12/16/2020 7:43 Attach   Resume_ALB_Review_sk Ver.02.doc                       .\VOL010\IMAGES\IMAGES003\00138968.pdf
                                                Fw: Gunther 827500 Response: I‐495 & I‐270 Public‐
00138972   00138973    12/16/2020 8:31 Email    Private Partnership (P3) Program                      .\VOL010\IMAGES\IMAGES003\00138972.pdf
00138974   00138974    12/16/2020 8:31 Attach   Gunther 827500 Incoming.pdf                           .\VOL010\IMAGES\IMAGES003\00138974.pdf
                                                Fw: Buffington 827499 Response: I‐495 & I‐270 Public‐
00138975   00138976    12/16/2020 8:32 Email    Private Partnership (P3) Program                      .\VOL010\IMAGES\IMAGES003\00138975.pdf
00138977   00138977    12/16/2020 8:32 Attach   Buffington 827499 Incoming.pdf                        .\VOL010\IMAGES\IMAGES003\00138977.pdf
00138978   00138979   12/16/2020 11:29 Email    RE: IAPA Framework Document                           .\VOL010\IMAGES\IMAGES003\00138978.pdf
00138980   00138981   12/16/2020 11:30 Email    RE: IAPA Framework Document                           .\VOL010\IMAGES\IMAGES003\00138980.pdf

00138982   00138983   12/16/2020 12:25 Email    I‐495 & I‐270 FHWA Coordination: MLS Notes (12.1.20) .\VOL010\IMAGES\IMAGES003\00138982.pdf

00138984   00138985   12/16/2020 12:25 Email    I‐495 & I‐270 FHWA Coordination: MLS Notes (12.1.20) .\VOL010\IMAGES\IMAGES003\00138984.pdf
                                                2020‐12‐01_FHWA Coordination Meeting
00138986   00138988   12/16/2020 12:25 Attach   Notes_MLS_Final.docx                                 .\VOL010\IMAGES\IMAGES003\00138986.pdf
                                                I‐495 & I‐270 FHWA Coordination: I‐270 Pre‐NEPA
00138989   00138990   12/16/2020 12:26 Email    notes (12.1.20)                                      .\VOL010\IMAGES\IMAGES003\00138989.pdf
                                                20201201‐I‐270_FHWA Coordination Meeting
00138991   00138991   12/16/2020 12:26 Attach   Notes.docx                                           .\VOL010\IMAGES\IMAGES003\00138991.pdf

00138992   00138993   12/16/2020 13:11 Email    I‐495 & I‐270 MLS: Agency Leadership Ladder Updates .\VOL010\IMAGES\IMAGES003\00138992.pdf
00138994   00139000   12/16/2020 13:11 Attach   Agency Leadership Ladder_10.2018.docx               .\VOL010\IMAGES\IMAGES003\00138994.pdf
                                                RE: I‐495 & I‐270 MLS: Phased Permit Process
00139001   00139002   12/16/2020 16:44 Email    Discussion                                          .\VOL010\IMAGES\IMAGES003\00139001.pdf

00139003   00139003   12/16/2020 16:44 Attach   General Phased Permitting Approach_12.16.2020.pdf     .\VOL010\IMAGES\IMAGES003\00139003.pdf
                                                RE: I‐495 & I‐270 MLS: Phased Permit Process
00139004   00139005   12/16/2020 16:44 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00139004.pdf
                                                RE: I‐495 & I‐270 MLS: Phased Permit Process
00139006   00139007   12/16/2020 16:58 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00139006.pdf
                                                Re: I‐495 & I‐270 MLS: Phased Permit Process
00139008   00139010   12/16/2020 17:04 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00139008.pdf
                                                Re: I‐495 & I‐270 MLS: Phased Permit Process
00139011   00139013   12/16/2020 17:04 Email    Discussion                                            .\VOL010\IMAGES\IMAGES003\00139011.pdf
00139014   00139014   12/16/2020 19:08 Attach   I‐495 Noise Barrier Inquiry                           .\VOL010\IMAGES\IMAGES003\00139014.pdf
00139015   00139015    12/17/2020 7:42 Email    Conversation with Perez, Keilyn (FHWA)                .\VOL010\IMAGES\IMAGES003\00139015.pdf
00139016   00139016    12/17/2020 7:48 Email    Conversation with Perez, Keilyn (FHWA)                .\VOL010\IMAGES\IMAGES003\00139016.pdf
00139017   00139017    12/17/2020 8:14 Email    Conversation with Perez, Keilyn (FHWA)                .\VOL010\IMAGES\IMAGES003\00139017.pdf
00139018   00139018   12/17/2020 11:12 Email    RE: FHWA MLS Meeting Agenda, 12/16/20                 .\VOL010\IMAGES\IMAGES003\00139018.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                               Filed 05/03/23                               Page 123 of 263

00139019   00139019   12/17/2020 11:53 Attach   Full Delivery Stream & Wet. Mitigation Services Phase I .\VOL010\IMAGES\IMAGES003\00139019.pdf
00139020   00139021   12/17/2020 12:36 Email    MLS ‐ Potomac Gorge RTE Survey Shapefiles               .\VOL010\IMAGES\IMAGES003\00139020.pdf
00139022   00139022   12/17/2020 12:36 Attach   RTE_Species_Point_I495_20201104.dbf                     .\VOL010\IMAGES\IMAGES003\00139022.pdf    .\VOL010\NATIVES\NATIVES003\00139022.dbf
00139023   00139023   12/17/2020 12:53 Email    NPS Visualizations Feedback                             .\VOL010\IMAGES\IMAGES003\00139023.pdf
00139024   00139024   12/17/2020 12:53 Attach   GWMP MD Viewpoints_20201217.jpg                         .\VOL010\IMAGES\IMAGES003\00139024.pdf
00139025   00139025   12/17/2020 12:53 Attach   GWMP VA Viewpoints_20201217.jpg                         .\VOL010\IMAGES\IMAGES003\00139025.pdf

00139026   00139028   12/17/2020 13:11 Email    FW: MLS CSB Changes on I‐270 & Wootton Parkway      .\VOL010\IMAGES\IMAGES003\00139026.pdf
00139029   00139030   12/17/2020 13:57 Email    Congress Letter                                     .\VOL010\IMAGES\IMAGES003\00139029.pdf
00139031   00139032   12/17/2020 15:26 Email    RE: IAPA Framework Document                         .\VOL010\IMAGES\IMAGES003\00139031.pdf
00139033   00139034   12/17/2020 15:28 Email    RE: IAPA Framework Document                         .\VOL010\IMAGES\IMAGES003\00139033.pdf
                                                C&O Canal & Potomac Corridor Geology USGS
00139035   00139035   12/17/2020 16:09 Attach   2008.pdf                                            .\VOL010\IMAGES\IMAGES003\00139035.pdf
                                                C&O Canal & RR Tracks along the Ditch Stakem
00139036   00139140   12/17/2020 16:09 Attach   2015.pdf                                            .\VOL010\IMAGES\IMAGES003\00139036.pdf

                                                RE: Heads Up: FHWA Meeting Request for Greg Slater
00139141   00139142   12/17/2020 16:25 Email    with FHWA Administrator and Executive Director     .\VOL010\IMAGES\IMAGES003\00139141.pdf
                                                Moses_Hall_Gibson_Grove_Congressional_Delegation
00139143   00139144   12/17/2020 16:25 Attach   _Response_Points_SHORTENED.docx                    .\VOL010\IMAGES\IMAGES003\00139143.pdf
                                                FW_ I‐495 & I‐270 Managed Lanes Study,
00139145   00139145   12/17/2020 16:58 Email    Montgome....pdf                                    .\VOL010\IMAGES\IMAGES003\00139145.pdf

00139146   00139147   12/17/2020 16:58 Attach   md.fhwa.495 response to mncppc.con.20201217.pdf     .\VOL010\IMAGES\IMAGES003\00139146.pdf

00139148   00139148   12/17/2020 16:58 Attach   md.fhwa.I‐495 & I‐270 managed lanes study.ap.2.pdf .\VOL010\IMAGES\IMAGES003\00139148.pdf
00139149   00139149    12/18/2020 9:46 Email    MLS IAPA Framework Document                            .\VOL010\IMAGES\IMAGES003\00139149.pdf
00139150   00139371    12/18/2020 9:46 Attach   Appendices_reduced.pdf                                 .\VOL010\IMAGES\IMAGES003\00139150.pdf
00139372   00139373   12/18/2020 10:06 Email    Re: Recommended Preferred Alternative                  .\VOL010\IMAGES\IMAGES003\00139372.pdf
00139374   00139375   12/18/2020 13:02 Email    Re: NPS Visualizations Feedback                        .\VOL010\IMAGES\IMAGES003\00139374.pdf
                                                I‐495 & I‐270 Managed Lanes Study: December 2020
00139376   00139378   12/18/2020 13:51 Email    IAWG Update                                            .\VOL010\IMAGES\IMAGES003\00139376.pdf
00139379   00139381   12/19/2020 11:29 Attach   Moses Hall CP Letter to SHA 12.18.20 ‐ Final.pdf       .\VOL010\IMAGES\IMAGES003\00139379.pdf
                                                I‐495 and I‐270 Managed Lanes Project ‐ Friends of
00139382   00139382   12/19/2020 11:29 Email    Moses CP                                               .\VOL010\IMAGES\IMAGES003\00139382.pdf
                                                New approach to analyzing congestion...chasing
00139383   00139385   12/20/2020 23:10 Email    congestion reduction is a fool’s errand                .\VOL010\IMAGES\IMAGES003\00139383.pdf
                                                RE: I‐495 and I‐270 Managed Lanes Project ‐ Friends of
00139386   00139387    12/21/2020 7:11 Email    Moses CP                                               .\VOL010\IMAGES\IMAGES003\00139386.pdf

00139388   00139389   12/21/2020 10:01 Email    FHWA Concurrence: MLS IAPA Framework Document       .\VOL010\IMAGES\IMAGES003\00139388.pdf
                                                RE_ FHWA Concurrence_ MLS IAPA Framework
00139390   00139391   12/21/2020 10:04 Email    Document.pdf                                        .\VOL010\IMAGES\IMAGES003\00139390.pdf
                                                RE: FHWA Concurrence: MLS IAPA Framework
00139392   00139393   12/21/2020 10:04 Email    Document                                            .\VOL010\IMAGES\IMAGES003\00139392.pdf
                                                RE: FHWA Concurrence: MLS IAPA Framework
00139394   00139395   12/21/2020 10:04 Email    Document                                            .\VOL010\IMAGES\IMAGES003\00139394.pdf
                                                I‐495 & I‐270 MLS: NPS DEIS Comments Discussion ‐
00139396   00139398   12/21/2020 13:17 Email    Meeting Notes                                       .\VOL010\IMAGES\IMAGES003\00139396.pdf
                                                2020.12.14 MLS NPS DEIS Comments
00139399   00139406   12/21/2020 13:17 Attach   Discussion_Meeting Notes_Final.pdf                  .\VOL010\IMAGES\IMAGES003\00139399.pdf
00139407   00139407   12/21/2020 16:19 Email    RPA Comments                                        .\VOL010\IMAGES\IMAGES003\00139407.pdf
00139408   00139410    12/22/2020 9:18 Attach   ALB Strike Team Approach.docx                       .\VOL010\IMAGES\IMAGES003\00139408.pdf
00139411   00139413    12/22/2020 9:46 Email    Re: Follow Up Items                                 .\VOL010\IMAGES\IMAGES003\00139411.pdf
00139414   00139415   12/22/2020 12:14 Email    FW: [EXTERNAL] Section 4(f)                         .\VOL010\IMAGES\IMAGES003\00139414.pdf

00139416   00139423    12/23/2020 8:16 Attach   Managed lanes Moses Hall.General Assembly.docx      .\VOL010\IMAGES\IMAGES003\00139416.pdf
                                                RE: Moses Cemetery ‐ Letter from District 16 MD
00139424   00139425    12/23/2020 8:16 Email    Delegation                                          .\VOL010\IMAGES\IMAGES003\00139424.pdf
                                                RE: Moses Cemetery ‐ Letter from District 16 MD
00139426   00139428    12/23/2020 8:40 Email    Delegation                                          .\VOL010\IMAGES\IMAGES003\00139426.pdf
00139429   00139429   12/28/2020 10:41 Email    RE: RPA Comments                                    .\VOL010\IMAGES\IMAGES003\00139429.pdf
00139430   00139430   12/28/2020 11:47 Attach   Kresloff 827625 Incoming.pdf                        .\VOL010\IMAGES\IMAGES003\00139430.pdf
                                                RE: Service Routing Alert (MDOT Workflow 827625)
00139431   00139432   12/28/2020 11:50 Email    (Intranet Quorum IMA00406813)                       .\VOL010\IMAGES\IMAGES003\00139431.pdf
                                                Kresloff 827625 Response: I‐495 and I‐270 Public‐
00139433   00139434   12/28/2020 15:50 Email    Private Partnership (P3) Program                    .\VOL010\IMAGES\IMAGES003\00139433.pdf
00139435   00139436    12/29/2020 9:47 Email    RE: Moses Hall updates                              .\VOL010\IMAGES\IMAGES003\00139435.pdf
00139437   00139437   12/29/2020 14:05 Email    Brief Field visit at Morningstar tomorrow 12/30     .\VOL010\IMAGES\IMAGES003\00139437.pdf
                                                RE: Moses Cemetery ‐ Letter from District 16 MD
00139438   00139440    12/30/2020 7:09 Email    Delegation                                          .\VOL010\IMAGES\IMAGES003\00139438.pdf
                                                RE: Moses Cemetery ‐ Letter from District 16 MD
00139441   00139443    12/30/2020 9:13 Email    Delegation                                          .\VOL010\IMAGES\IMAGES003\00139441.pdf
00139444   00139446   12/30/2020 14:50 Email    RE: MCCC Steering Committee Meeting                 .\VOL010\IMAGES\IMAGES003\00139444.pdf
00139447   00139447   12/30/2020 14:50 Attach   Cabin John CEA Analysis Area Community.pdf          .\VOL010\IMAGES\IMAGES003\00139447.pdf

00139448   00139457    12/31/2020 7:43 Attach   Cardin Van Hollen Raskin Trone Letter.Signed.pdf    .\VOL010\IMAGES\IMAGES003\00139448.pdf
00139458   00139459      1/4/2021 9:37 Email    FW: P3 ‐ Moses Hall and Cemetery Avoidance          .\VOL010\IMAGES\IMAGES003\00139458.pdf

00139460   00139472      1/4/2021 9:37 Attach   Moses Hall and Cemetery Mitigation Narrative.pdf    .\VOL010\IMAGES\IMAGES003\00139460.pdf
00139473   00139473      1/4/2021 9:37 Attach   Moses Hall and Cemetery Matrix.pdf                  .\VOL010\IMAGES\IMAGES003\00139473.pdf
                                                P3 Moses Hall and Cemetery Roadway Cost
00139474   00139477      1/4/2021 9:37 Attach   Summary.pdf                                         .\VOL010\IMAGES\IMAGES003\00139474.pdf
00139478   00139478     1/5/2021 11:01 Email    JP & KP RPA Comments                                .\VOL010\IMAGES\IMAGES003\00139478.pdf
                                                12‐07‐2020 MLS_ RPA Discussion Document_FHWA
00139479   00139492     1/5/2021 11:01 Attach   Comments.docx                                       .\VOL010\IMAGES\IMAGES003\00139479.pdf
                                                General Assembly.Moses Morningstar Cemetery
00139493   00139494     1/5/2021 12:41 Attach   Site.pdf                                            .\VOL010\IMAGES\IMAGES003\00139493.pdf
00139495   00139495      1/6/2021 7:59 Email    Can you please send via MLS email?                  .\VOL010\IMAGES\IMAGES003\00139495.pdf
                                                RE: Morningstar Moses ‐ Bamboo Removal and
00139496   00139502      1/6/2021 9:26 Email    Accident Debris                                     .\VOL010\IMAGES\IMAGES003\00139496.pdf
00139503   00139504      1/6/2021 9:51 Email    FW: Strike Team                                     .\VOL010\IMAGES\IMAGES003\00139503.pdf
00139505   00139505     1/6/2021 12:26 Email    I‐270 from I‐370 to I‐70 Pre‐NEPA Report.pdf        .\VOL010\IMAGES\IMAGES003\00139505.pdf

00139506   00139507     1/6/2021 14:03 Edoc     2021.01.06_Michael Ravnitzky_PIA 10‐Day Letter.pdf .\VOL010\IMAGES\IMAGES003\00139506.pdf
00139508   00139508     1/6/2021 15:42 Email    FW: MSAT update for MLS project                    .\VOL010\IMAGES\IMAGES003\00139508.pdf
                                                ManagedLanes_Study_AQ_Affected_Network_Update‐
00139509   00139512     1/6/2021 15:42 Attach   12‐2020.docx                                       .\VOL010\IMAGES\IMAGES003\00139509.pdf
00139513   00139514     1/6/2021 16:14 Email    FW: Request for assistance                         .\VOL010\IMAGES\IMAGES003\00139513.pdf
00139515   00139516     1/6/2021 16:57 Email    Re: 11:00AM ALB Strike Team Kick‐Off Meeting       .\VOL010\IMAGES\IMAGES003\00139515.pdf

00139517   00139517     1/6/2021 16:57 Attach   2021‐01‐07 ALB Strike Team Kick‐Off Meeting.pdf     .\VOL010\IMAGES\IMAGES003\00139517.pdf
                                                FW: Agency and Stakeholder Consensus Building
00139518   00139518     1/6/2021 20:09 Email    Approach‐2021                                       .\VOL010\IMAGES\IMAGES003\00139518.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 124 of 263

00139519   00139520    1/6/2021 21:31 Email    MLS‐ RPA Highlights and Commitments                      .\VOL010\IMAGES\IMAGES003\00139519.pdf

00139521   00139523    1/6/2021 22:38 Email    Re: Cultural Resources mapping for ALB Strike Team       .\VOL010\IMAGES\IMAGES003\00139521.pdf
                                               ALB Strike Team Introduction 2020‐01‐07 DRAFT‐
00139524   00139551    1/6/2021 22:38 Attach   Compressed.pptx                                          .\VOL010\IMAGES\IMAGES003\00139524.pdf

00139552   00139552     1/7/2021 7:23 Email    FW: ALDMoses Hall Cemetery ‐ HHD Memo ‐ N‐18‐026 .\VOL010\IMAGES\IMAGES003\00139552.pdf
00139553   00139554     1/7/2021 7:31 Email    FW: MLS‐ RPA Highlights and Commitments            .\VOL010\IMAGES\IMAGES003\00139553.pdf
                                               2020‐01‐05_Recommended Preferred
00139555   00139558     1/7/2021 7:31 Attach   Alternative_Proposed Commitments (1).docx          .\VOL010\IMAGES\IMAGES003\00139555.pdf
00139559   00139560     1/7/2021 8:35 Email    FW: MLS‐ RPA Highlights and Commitments            .\VOL010\IMAGES\IMAGES003\00139559.pdf
00139561   00139562     1/7/2021 8:35 Email    FW: MLS‐ RPA Highlights and Commitments            .\VOL010\IMAGES\IMAGES003\00139561.pdf
00139563   00139564     1/7/2021 9:51 Email    M‐NCPPC Meeting                                    .\VOL010\IMAGES\IMAGES003\00139563.pdf
                                               FW: Agency and Stakeholder Consensus Building
00139565   00139566    1/7/2021 10:06 Email    Approach‐2021                                      .\VOL010\IMAGES\IMAGES003\00139565.pdf
                                               FW: Agency and Stakeholder Consensus Building
00139567   00139568    1/7/2021 10:22 Email    Approach‐2021                                      .\VOL010\IMAGES\IMAGES003\00139567.pdf
                                               2020‐12‐22_Consensus Building Strategy_Final Draft
00139569   00139575    1/7/2021 10:22 Attach   (3).docx                                           .\VOL010\IMAGES\IMAGES003\00139569.pdf

00139576   00139582    1/7/2021 10:22 Attach   Agency Leadership Ladder_12.2020 Updated (1).docx        .\VOL010\IMAGES\IMAGES003\00139576.pdf
                                               FW: Agency and Stakeholder Consensus Building
00139583   00139584    1/7/2021 11:22 Email    Approach‐2021                                            .\VOL010\IMAGES\IMAGES003\00139583.pdf
00139585   00139586    1/7/2021 12:51 Email    Re: I‐495 Construction                                   .\VOL010\IMAGES\IMAGES003\00139585.pdf
00139587   00139588    1/7/2021 13:33 Email    Re: 11:00AM ALB Strike Team Kick‐Off Meeting             .\VOL010\IMAGES\IMAGES003\00139587.pdf

00139589   00139589    1/7/2021 14:04 Email    RE: Moses Cemetery ‐ I‐495/I‐270 Managed Lanes           .\VOL010\IMAGES\IMAGES003\00139589.pdf
00139590   00139590    1/7/2021 16:04 Email    Plan Sheet Moses Hall/Gibson Grove                       .\VOL010\IMAGES\IMAGES003\00139590.pdf

00139591   00139591    1/7/2021 16:04 Attach   Plan_Sheet_Gibson_Grove_Moses_Hall_1961.pdf          .\VOL010\IMAGES\IMAGES003\00139591.pdf
00139592   00139592    1/7/2021 16:30 Email    FW: Request for Assistance                           .\VOL010\IMAGES\IMAGES003\00139592.pdf
00139593   00139595    1/7/2021 16:30 Attach   ALB Strike Team Approach_12‐2020.docx                .\VOL010\IMAGES\IMAGES003\00139593.pdf
00139596   00139596    1/7/2021 16:30 Email    FW_ Request for Assistance.pdf                       .\VOL010\IMAGES\IMAGES003\00139596.pdf
00139597   00139601     1/8/2021 6:12 Email    RE: ALB Strike Team ‐ Reference Materials            .\VOL010\IMAGES\IMAGES003\00139597.pdf
                                               RE: Agency and Stakeholder Consensus Building
00139602   00139603     1/8/2021 7:40 Email    Approach‐2021                                        .\VOL010\IMAGES\IMAGES003\00139602.pdf
                                               RE: Agency and Stakeholder Consensus Building
00139604   00139605     1/8/2021 7:40 Email    Approach‐2021                                        .\VOL010\IMAGES\IMAGES003\00139604.pdf
                                               I‐495 & I‐270 MLS: Phased Permit Process Discussion
00139606   00139608     1/8/2021 8:46 Email    Meeting Notes                                        .\VOL010\IMAGES\IMAGES003\00139606.pdf
                                               2020.12.17 Phased Permit Discussion with Agencies
00139609   00139612     1/8/2021 8:46 Attach   Meeting Notes_FINAL.pdf                              .\VOL010\IMAGES\IMAGES003\00139609.pdf
                                               DRAFT Pre‐Decisional NEPA+JPA Phased Permitting
00139613   00139613     1/8/2021 8:46 Attach   Schedule_12‐17‐2020.pdf                              .\VOL010\IMAGES\IMAGES003\00139613.pdf
00139614   00139614     1/8/2021 8:46 Attach   Phasing Map_01.07.2021.pdf                           .\VOL010\IMAGES\IMAGES003\00139614.pdf
                                               2020.12.17 Phased Permit Discussion with Agencies
00139615   00139618    1/8/2021 11:44 Attach   Meeting Notes_FINAL.pdf                              .\VOL010\IMAGES\IMAGES003\00139615.pdf
00139619   00139619    1/8/2021 11:44 Attach   Phasing Map_01.07.2021.pdf                           .\VOL010\IMAGES\IMAGES003\00139619.pdf
00139620   00139621    1/8/2021 12:04 Email    FW: Strike Team                                      .\VOL010\IMAGES\IMAGES003\00139620.pdf
00139622   00139623    1/8/2021 15:07 Email    RE: Strike Team                                      .\VOL010\IMAGES\IMAGES003\00139622.pdf
00139624   00139624    1/8/2021 15:10 Email    Re: Strike Team                                      .\VOL010\IMAGES\IMAGES003\00139624.pdf
00139625   00139626    1/8/2021 15:19 Email    RE: Request for Assistance                           .\VOL010\IMAGES\IMAGES003\00139625.pdf
00139627   00139628    1/8/2021 18:15 Email    I‐495 & I‐270 P3 Program Update                      .\VOL010\IMAGES\IMAGES003\00139627.pdf
00139629   00139631    1/8/2021 19:22 Email    FW: I‐495 & I‐270 P3 Program Update                  .\VOL010\IMAGES\IMAGES003\00139629.pdf
00139632   00139634    1/8/2021 20:43 Email    FW: I‐495 & I‐270 P3 Program Update                  .\VOL010\IMAGES\IMAGES003\00139632.pdf
00139635   00139636    1/9/2021 12:10 Email    FW: I‐495 & I‐270 P3 Program Update                  .\VOL010\IMAGES\IMAGES003\00139635.pdf
00139637   00139639    1/10/2021 0:11 Email    FW: I‐495 & I‐270 P3 Program Update                  .\VOL010\IMAGES\IMAGES003\00139637.pdf
00139640   00139640    1/11/2021 7:22 Attach   Landy 827761 Incoming.pdf                            .\VOL010\IMAGES\IMAGES003\00139640.pdf
                                               FYI ‐ MD DO assistance on ALB 30 mile I‐495 NEPA
00139641   00139642    1/11/2021 8:53 Email    project.                                             .\VOL010\IMAGES\IMAGES003\00139641.pdf
                                               FYI ‐ MD DO assistance on ALB 30 mile I‐495 NEPA
00139643   00139645    1/11/2021 9:33 Email    project.                                             .\VOL010\IMAGES\IMAGES003\00139643.pdf
                                               12/8/2020 MLS Phased Permit Discussion with Federal
00139646   00139647   1/11/2021 10:48 Email    Agencies ‐ Meeting Notes                             .\VOL010\IMAGES\IMAGES003\00139646.pdf
                                               2020‐12‐08 MLS Phased Permit Discussion with
00139648   00139649   1/11/2021 10:48 Attach   Federal Agencies_Meeting Notes.pdf                   .\VOL010\IMAGES\IMAGES003\00139648.pdf
                                               RE: FYI ‐ MD DO assistance on ALB 30 mile I‐495 NEPA
00139650   00139653   1/11/2021 13:48 Email    project.                                             .\VOL010\IMAGES\IMAGES003\00139650.pdf

00139654   00139657   1/11/2021 13:48 Email    RE_ FYI ‐ MD DO assistance on ALB 30 mile I‐495....pdf   .\VOL010\IMAGES\IMAGES003\00139654.pdf
                                               RE: Morningstar Moses ‐ Bamboo Removal and
00139658   00139664   1/11/2021 14:40 Email    Accident Debris                                          .\VOL010\IMAGES\IMAGES003\00139658.pdf
00139665   00139666   1/11/2021 14:40 Attach   12‐29‐20 Order granting entry.pdf                        .\VOL010\IMAGES\IMAGES003\00139665.pdf
                                               American Legion Bridge Strike Team ‐ Getting
00139667   00139668   1/11/2021 22:21 Email    Organized                                                .\VOL010\IMAGES\IMAGES003\00139667.pdf
                                               I‐495 & I‐270 MLS: January Update and Agency
00139669   00139671    1/12/2021 9:39 Email    Collaboration                                            .\VOL010\IMAGES\IMAGES003\00139669.pdf
                                               I‐495 & I‐270 MLS: January Update and Agency
00139672   00139675    1/12/2021 9:39 Email    Collaboration                                            .\VOL010\IMAGES\IMAGES003\00139672.pdf
00139676   00139681    1/12/2021 9:39 Attach   Agency Leadership Ladder_Updated 1‐2021.pdf              .\VOL010\IMAGES\IMAGES003\00139676.pdf
00139682   00139687    1/12/2021 9:49 Email    RE: American Legion Bridge (ALB) Strike Team             .\VOL010\IMAGES\IMAGES003\00139682.pdf
                                               Re: Morningstar Moses ‐ Bamboo Removal and
00139688   00139696   1/12/2021 11:25 Attach   Accident Debris                                          .\VOL010\IMAGES\IMAGES003\00139688.pdf
00139697   00139698   1/12/2021 12:57 Email    FW: M‐NCPPC Meeting                                      .\VOL010\IMAGES\IMAGES003\00139697.pdf
                                               RE: American Legion Bridge Strike Team ‐ Getting
00139699   00139701   1/12/2021 12:59 Email    Organized                                                .\VOL010\IMAGES\IMAGES003\00139699.pdf

00139702   00139702   1/12/2021 13:00 Attach   2021‐01‐12_FHWA Coordination Mtg Agenda.docx             .\VOL010\IMAGES\IMAGES003\00139702.pdf

                                               2020‐12‐09_I‐495 I‐270 Public‐Private Partnership
00139703   00139706   1/12/2021 13:00 Attach   Program MDOT SHA QA Plan_Final.docx                      .\VOL010\IMAGES\IMAGES003\00139703.pdf
                                               2020‐12‐15_FHWA Coordination Meeting Notes_P3
00139707   00139707   1/12/2021 13:00 Attach   Program.docx                                             .\VOL010\IMAGES\IMAGES003\00139707.pdf
                                               2021‐01‐12_FHWA Coordination Mtg
00139708   00139708   1/12/2021 13:30 Attach   Agenda_REVISED.docx                                      .\VOL010\IMAGES\IMAGES003\00139708.pdf
                                               2021‐01‐12_FHWA Coordination Mtg
00139709   00139709   1/12/2021 13:30 Attach   Agenda_REVISED.docx                                      .\VOL010\IMAGES\IMAGES003\00139709.pdf
00139710   00139710   1/12/2021 14:48 Email    Maryland DNR                                             .\VOL010\IMAGES\IMAGES003\00139710.pdf
                                               RE: PCS folder for ALB Strike Team Member Access to
00139711   00139712   1/12/2021 15:31 Email    Files/Documents                                          .\VOL010\IMAGES\IMAGES003\00139711.pdf
00139713   00139714   1/12/2021 16:51 Email    Collaborative Leadership Summit                          .\VOL010\IMAGES\IMAGES003\00139713.pdf
00139715   00139717   1/12/2021 16:51 Email    Collaborative Leadership Summit                          .\VOL010\IMAGES\IMAGES003\00139715.pdf
                                               FW: Agency and Stakeholder Consensus Building
00139718   00139718    1/13/2021 8:08 Attach   Approach‐2021                                            .\VOL010\IMAGES\IMAGES003\00139718.pdf
00139719   00139721    1/13/2021 8:08 Attach   Collaborative Leadership Summit                          .\VOL010\IMAGES\IMAGES003\00139719.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                           Page 125 of 263

                                               FW: Agency and Stakeholder Consensus Building
00139722   00139722    1/13/2021 8:08 Attach   Approach‐2021                                         .\VOL010\IMAGES\IMAGES003\00139722.pdf

00139723   00139723   1/13/2021 11:39 Email    RE: January 13 FHWA MLS Internal Meeting Agenda       .\VOL010\IMAGES\IMAGES003\00139723.pdf
00139724   00139724   1/13/2021 15:07 Attach   Kamalian 827793 Incoming.pdf                          .\VOL010\IMAGES\IMAGES003\00139724.pdf
00139725   00139726   1/13/2021 21:37 Email    RE: Agenda for Today's Meeting                        .\VOL010\IMAGES\IMAGES003\00139725.pdf
00139727   00139729    1/14/2021 1:15 Email    Re: Agenda for Today's Meeting                        .\VOL010\IMAGES\IMAGES003\00139727.pdf
00139730   00139731    1/14/2021 8:43 Email    FW: ALB and Linn Cove Viaduct example                 .\VOL010\IMAGES\IMAGES003\00139730.pdf
00139732   00139734    1/14/2021 8:52 Email    FW: ALB and Linn Cove Viaduct example                 .\VOL010\IMAGES\IMAGES003\00139732.pdf
00139735   00139737    1/14/2021 9:07 Email    FW: ALB and Linn Cove Viaduct example                 .\VOL010\IMAGES\IMAGES003\00139735.pdf
00139738   00139740    1/14/2021 9:53 Email    RE: ALB and Linn Cove Viaduct example                 .\VOL010\IMAGES\IMAGES003\00139738.pdf
00139741   00139742    1/14/2021 9:53 Email    RE_ ALB and Linn Cove Viaduct example.pdf             .\VOL010\IMAGES\IMAGES003\00139741.pdf
00139743   00139745    1/14/2021 9:53 Email    RE: ALB and Linn Cove Viaduct example                 .\VOL010\IMAGES\IMAGES003\00139743.pdf
00139746   00139747   1/14/2021 10:44 Email    American Legion Bridge Strike Team Information        .\VOL010\IMAGES\IMAGES003\00139746.pdf
                                               FW_ American Legion Bridge Strike Team
00139748   00139749   1/14/2021 10:46 Email    Information.pdf                                       .\VOL010\IMAGES\IMAGES003\00139748.pdf

00139750   00139751   1/14/2021 10:46 Email    FW: American Legion Bridge Strike Team Information .\VOL010\IMAGES\IMAGES003\00139750.pdf
00139752   00139753   1/14/2021 11:26 Email    FW: Maryland DNR                                     .\VOL010\IMAGES\IMAGES003\00139752.pdf
00139754   00139756   1/14/2021 14:42 Email    RE: ALB and Linn Cove Viaduct example                .\VOL010\IMAGES\IMAGES003\00139754.pdf
                                               FW: PCS folder for ALB Strike Team Member Access to
00139757   00139759   1/14/2021 15:44 Email    Files/Documents                                      .\VOL010\IMAGES\IMAGES003\00139757.pdf
00139760   00139760   1/14/2021 18:14 Edoc     mHD‐0000_ALB.pdf                                     .\VOL010\IMAGES\IMAGES003\00139760.pdf
00139761   00139761   1/14/2021 18:15 Edoc     ALB Outer Loop Profile.pdf                           .\VOL010\IMAGES\IMAGES003\00139761.pdf
00139762   00139762   1/14/2021 18:25 Edoc     Proposed _ALB_01_2021.pdf                            .\VOL010\IMAGES\IMAGES003\00139762.pdf
00139763   00139891   1/14/2021 18:37 Edoc     Inspection report 150100001_report_2017.pdf          .\VOL010\IMAGES\IMAGES003\00139763.pdf
00139892   00139892   1/14/2021 18:41 Edoc     GWMP‐ALB_withTrestle_Causeway_Layout.pdf             .\VOL010\IMAGES\IMAGES003\00139892.pdf
                                               BR 15100 I‐495 over Potomac ‐ American Legion Bridge
00139893   00140037   1/14/2021 18:54 Edoc     (ALB).pdf                                            .\VOL010\IMAGES\IMAGES003\00139893.pdf
00140038   00140044   1/14/2021 19:01 Edoc     SUP Memo 9‐11‐2020 (1).pdf                           .\VOL010\IMAGES\IMAGES003\00140038.pdf
00140045   00140045   1/14/2021 19:57 Edoc     pWD‐0001_ALB_Whole_DoubleDecker.pdf                  .\VOL010\IMAGES\IMAGES003\00140045.pdf
00140046   00140047   1/15/2021 10:00 Email    NPS ROW Meeting                                      .\VOL010\IMAGES\IMAGES003\00140046.pdf
00140048   00140049   1/15/2021 10:29 Attach   I‐270 Noise Barrier Inquiry                          .\VOL010\IMAGES\IMAGES003\00140048.pdf
00140050   00140050   1/15/2021 11:48 Email    Agenda for Today's Call                              .\VOL010\IMAGES\IMAGES003\00140050.pdf
00140051   00140051   1/15/2021 12:34 Email    RE_ I‐270 from I‐370 to I‐70 Pre‐NEPA Report.pdf     .\VOL010\IMAGES\IMAGES003\00140051.pdf
00140052   00140053   1/15/2021 14:46 Email    ALB Strike Team 1‐15‐2021 Meeting Follow up          .\VOL010\IMAGES\IMAGES003\00140052.pdf
                                               RE: Action Endangered Species Act Consultation (DOI‐
                                               FWS) for Project I‐495/I‐270 Managed Lanes Study has
00140054   00140056   1/15/2021 14:55 Email    a milestone target date within 10                    .\VOL010\IMAGES\IMAGES003\00140054.pdf

00140057   00140058   1/15/2021 15:00 Email    FW: ALB Strike Team 1‐15‐2021 Meeting Follow up       .\VOL010\IMAGES\IMAGES003\00140057.pdf
                                               FW_ ALB Strike Team 1‐15‐2021 Meeting Follow
00140059   00140060   1/15/2021 15:00 Email    up.pdf                                                .\VOL010\IMAGES\IMAGES003\00140059.pdf
                                               FW: PCS folder for ALB Strike Team Member Access to
00140061   00140063   1/15/2021 15:06 Email    Files/Documents                                       .\VOL010\IMAGES\IMAGES003\00140061.pdf
00140064   00140065   1/15/2021 15:21 Email    ALB Strike Team ‐ Progress and Next Steps             .\VOL010\IMAGES\IMAGES003\00140064.pdf
00140066   00140066   1/15/2021 16:15 Attach   FW: Managed Lanes‐ ROW NPS Follow Ups                 .\VOL010\IMAGES\IMAGES003\00140066.pdf
00140067   00140068   1/17/2021 15:08 Email    RE: GWMP Traffic Data for Pavement Analysis           .\VOL010\IMAGES\IMAGES003\00140067.pdf
00140069   00140069   1/17/2021 15:08 Attach   Existing ADT Volume Diagram.xlsx                      .\VOL010\IMAGES\IMAGES003\00140069.pdf    .\VOL010\NATIVES\NATIVES003\00140069.xlsx
00140070   00140070   1/17/2021 15:08 Attach   2017 Existing_PM_Peak_20200623.xlsx                   .\VOL010\IMAGES\IMAGES003\00140070.pdf    .\VOL010\NATIVES\NATIVES003\00140070.xlsx
00140071   00140072   1/18/2021 11:17 Email    MLS‐Phased Delivery Approach                          .\VOL010\IMAGES\IMAGES003\00140071.pdf

00140073   00140075   1/18/2021 11:17 Attach   2021‐01‐18_Phased Delivery Approach_Final.docx     .\VOL010\IMAGES\IMAGES003\00140073.pdf
00140076   00140077   1/18/2021 11:17 Email    MLS‐Phased Delivery Approach                       .\VOL010\IMAGES\IMAGES003\00140076.pdf
00140078   00140078   1/18/2021 13:49 Email    ALB Illustrations for CableStay and Segmental      .\VOL010\IMAGES\IMAGES003\00140078.pdf
00140079   00140079   1/18/2021 13:49 Attach   ALB Outer Loop Profile with 1600 bridge.pdf        .\VOL010\IMAGES\IMAGES003\00140079.pdf
                                               mHD‐0000_ALB (003) ‐ new 2 phase width bridge west
00140080   00140080   1/18/2021 13:49 Attach   1600.pdf                                           .\VOL010\IMAGES\IMAGES003\00140080.pdf
00140081   00140087   1/18/2021 13:49 Attach   ALB Segmental PPT.pptx                             .\VOL010\IMAGES\IMAGES003\00140081.pdf
                                               Re: Morningstar Moses ‐ Bamboo Removal and
00140088   00140095    1/19/2021 8:29 Email    Accident Debris                                    .\VOL010\IMAGES\IMAGES003\00140088.pdf
00140096   00140097    1/19/2021 9:27 Email    RE: 495/cemetery bamboo clearing.                  .\VOL010\IMAGES\IMAGES003\00140096.pdf
                                               Re: Morningstar Moses ‐ Bamboo Removal and
00140098   00140105    1/19/2021 9:27 Attach   Accident Debris                                    .\VOL010\IMAGES\IMAGES003\00140098.pdf
                                               RE: Morningstar Moses ‐ Bamboo Removal and
00140106   00140114   1/19/2021 11:06 Email    Accident Debris                                    .\VOL010\IMAGES\IMAGES003\00140106.pdf
00140115   00140117   1/19/2021 12:47 Email    RE: MLS‐Phased Delivery Approach                   .\VOL010\IMAGES\IMAGES003\00140115.pdf

                                               RE: MLS: American Legion Bridge and Baltimore
00140118   00140120   1/20/2021 15:28 Email    Washington Parkway Meeting with NPS ‐ Availability    .\VOL010\IMAGES\IMAGES003\00140118.pdf

                                               RE: MLS: American Legion Bridge and Baltimore
00140121   00140124   1/20/2021 16:26 Email    Washington Parkway Meeting with NPS ‐ Availability    .\VOL010\IMAGES\IMAGES003\00140121.pdf
00140125   00140126    1/21/2021 5:28 Email    Meeting Follow up                                     .\VOL010\IMAGES\IMAGES003\00140125.pdf

00140127   00140127   1/21/2021 10:10 Email    FW: Monthly OFD Project Meeting ‐ recurring meeting .\VOL010\IMAGES\IMAGES003\00140127.pdf

00140128   00140129   1/21/2021 13:23 Email    FW: Monthly OFD Project Meeting ‐ recurring meeting   .\VOL010\IMAGES\IMAGES003\00140128.pdf
00140130   00140132   1/21/2021 13:55 Email    RE: ALB Water Surface Elevations                      .\VOL010\IMAGES\IMAGES003\00140130.pdf
00140133   00140139   1/21/2021 13:55 Attach   2019.05.29_Scour Analysis Requirements.pdf            .\VOL010\IMAGES\IMAGES003\00140133.pdf
                                               RE: Morningstar Moses ‐ Bamboo Removal and
00140140   00140149   1/21/2021 15:23 Email    Accident Debris                                       .\VOL010\IMAGES\IMAGES003\00140140.pdf
00140150   00140151   1/21/2021 15:57 Email    FW: ALB Questions                                     .\VOL010\IMAGES\IMAGES003\00140150.pdf
00140152   00140154   1/21/2021 16:10 Email    RE: ALB Questions                                     .\VOL010\IMAGES\IMAGES003\00140152.pdf
00140155   00140157   1/21/2021 16:10 Email    RE: ALB Questions                                     .\VOL010\IMAGES\IMAGES003\00140155.pdf

00140158   00140159   1/21/2021 18:56 Email    Fwd: ALB Strike Team 1‐15‐2021 Meeting Follow up      .\VOL010\IMAGES\IMAGES003\00140158.pdf
00140160   00140162   1/21/2021 20:39 Email    Confirmation of 100 year Flood Elevation              .\VOL010\IMAGES\IMAGES003\00140160.pdf
00140163   00140166   1/21/2021 21:03 Email    Re: Confirmation of 100 year Flood Elevation          .\VOL010\IMAGES\IMAGES003\00140163.pdf
00140167   00140172   1/22/2021 11:50 Email    RE: Meeting Follow up                                 .\VOL010\IMAGES\IMAGES003\00140167.pdf

00140173   00140176   1/22/2021 12:30 Email    RE_ Confirmation of 100 year Flood Elevation.pdf      .\VOL010\IMAGES\IMAGES003\00140173.pdf
00140177   00140180   1/22/2021 12:30 Email    RE: Confirmation of 100 year Flood Elevation          .\VOL010\IMAGES\IMAGES003\00140177.pdf
00140181   00140184   1/22/2021 12:56 Email    Re: Confirmation of 100 year Flood Elevation          .\VOL010\IMAGES\IMAGES003\00140181.pdf
00140185   00140187   1/22/2021 12:56 Email    Re: Confirmation of 100 year Flood Elevation          .\VOL010\IMAGES\IMAGES003\00140185.pdf
00140188   00140197   1/22/2021 13:50 Attach   Split Construction_Phase_Combined.pdf                 .\VOL010\IMAGES\IMAGES003\00140188.pdf
00140198   00140198   1/22/2021 13:50 Attach   Split Construction_Temporary Impacts Plan.pdf         .\VOL010\IMAGES\IMAGES003\00140198.pdf
00140199   00140199   1/22/2021 13:50 Attach   Split Construction_Pre‐Slide Plan.pdf                 .\VOL010\IMAGES\IMAGES003\00140199.pdf
00140200   00140200   1/22/2021 14:17 Attach   LOD_Split Construction.pdf                            .\VOL010\IMAGES\IMAGES003\00140200.pdf
00140201   00140201   1/22/2021 14:17 Attach   LOD_Option 4.pdf                                      .\VOL010\IMAGES\IMAGES003\00140201.pdf
00140202   00140203   1/22/2021 14:38 Email    RE: I‐270 Pre‐NEPA Report ‐ FHWA Review               .\VOL010\IMAGES\IMAGES003\00140202.pdf
00140204   00140209   1/22/2021 17:09 Email    FW: Confirmation of 100 year Flood Elevation          .\VOL010\IMAGES\IMAGES003\00140204.pdf
00140210   00140214   1/22/2021 17:19 Email    RE: Confirmation of 100 year Flood Elevation          .\VOL010\IMAGES\IMAGES003\00140210.pdf
00140215   00140216   1/22/2021 18:24 Email    RE: ALB January 22, 2021 Meeting Follow up            .\VOL010\IMAGES\IMAGES003\00140215.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 126 of 263

                                               Oakland Bay Bridge Images and thoughts on
00140217   00140218   1/22/2021 19:21 Email    accelerated ALB demolition.                            .\VOL010\IMAGES\IMAGES003\00140217.pdf
00140219   00140219   1/22/2021 19:21 Attach   Pier Table Image.jpg                                   .\VOL010\IMAGES\IMAGES003\00140219.pdf
                                               Re: [EXTERNAL] I‐495 & I‐270 MLS: ALB and BW
00140220   00140223   1/24/2021 13:43 Email    Parkway Discussion ‐ Availability                      .\VOL010\IMAGES\IMAGES003\00140220.pdf
00140224   00140226   1/24/2021 23:41 Email    RE: ALB January 22, 2021 Meeting Follow up             .\VOL010\IMAGES\IMAGES003\00140224.pdf
                                               RE: Morningstar Moses ‐ Bamboo Removal and
00140227   00140236    1/25/2021 8:01 Email    Accident Debris                                        .\VOL010\IMAGES\IMAGES003\00140227.pdf
00140237   00140237   1/25/2021 12:08 Attach   2021‐01‐22‐ALBTypicalSections.pdf                      .\VOL010\IMAGES\IMAGES003\00140237.pdf
00140238   00140238   1/25/2021 13:53 Email    MLS ‐ ALB Strike Team                                  .\VOL010\IMAGES\IMAGES003\00140238.pdf
00140239   00140241   1/25/2021 14:09 Email    I‐495 & I‐270 MLS: IAWG Meeting ‐ Agenda               .\VOL010\IMAGES\IMAGES003\00140239.pdf
00140242   00140244   1/25/2021 14:13 Email    FW: I‐495 & I‐270 MLS: IAWG Meeting ‐ Agenda           .\VOL010\IMAGES\IMAGES003\00140242.pdf
                                               I‐495 & I‐270 Interagency Working Group Meeting No.
00140245   00140245   1/25/2021 14:13 Attach   13 Agenda_2021‐01‐27.pdf                               .\VOL010\IMAGES\IMAGES003\00140245.pdf
00140246   00140247   1/25/2021 17:48 Email    FW: January IAWG Presentation                          .\VOL010\IMAGES\IMAGES003\00140246.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting No. 13
00140248   00140304   1/25/2021 17:48 Attach   Presentation_01.27.2021_FINAL.pdf                      .\VOL010\IMAGES\IMAGES003\00140248.pdf
00140305   00140306    1/26/2021 8:26 Email    Re: ALB January 22, 2021 Meeting Follow up             .\VOL010\IMAGES\IMAGES003\00140305.pdf
                                               Re: [EXTERNAL] I‐495 & I‐270 MLS: ALB and BW
00140307   00140311    1/26/2021 9:32 Email    Parkway Discussion ‐ Availability                      .\VOL010\IMAGES\IMAGES003\00140307.pdf
                                               2021‐01‐12_FHWA Coordination Meeting
00140312   00140314   1/26/2021 10:00 Attach   Notes_MLS.docx                                         .\VOL010\IMAGES\IMAGES003\00140312.pdf
                                               2021‐01‐12_FHWA Coordination Meeting Notes_P3
00140315   00140315   1/26/2021 10:00 Attach   Program.docx                                           .\VOL010\IMAGES\IMAGES003\00140315.pdf
                                               2021‐01‐12_I‐270_FHWA Coordination Meeting
00140316   00140316   1/26/2021 10:00 Attach   Notes.docx                                             .\VOL010\IMAGES\IMAGES003\00140316.pdf

00140317   00140317   1/26/2021 10:00 Attach   2021‐01‐26_FHWA Coordination Mtg Agenda.docx           .\VOL010\IMAGES\IMAGES003\00140317.pdf
                                               2021‐01‐26_FHWA Coordination Mtg
00140318   00140318   1/26/2021 10:00 Attach   Agenda_REVISED.docx                                    .\VOL010\IMAGES\IMAGES003\00140318.pdf
00140319   00140320   1/26/2021 14:10 Email    Wide Segmental Bridges                                 .\VOL010\IMAGES\IMAGES003\00140319.pdf
00140321   00140321   1/26/2021 14:37 Attach   ALB Typical Section Shift for Work Zone.pdf            .\VOL010\IMAGES\IMAGES003\00140321.pdf
00140322   00140322   1/26/2021 14:37 Attach   Original Bridge Cross Section.pdf                      .\VOL010\IMAGES\IMAGES003\00140322.pdf
00140323   00140325   1/26/2021 15:29 Email    Slide In Options 1 and 5 ‐ Updated Plan Views          .\VOL010\IMAGES\IMAGES003\00140323.pdf
00140326   00140334   1/26/2021 15:29 Attach   Option 5a_Phases 1 through 9.pdf                       .\VOL010\IMAGES\IMAGES003\00140326.pdf
00140335   00140337   1/26/2021 16:08 Email    RE: ALB January 22, 2021 Meeting Follow up             .\VOL010\IMAGES\IMAGES003\00140335.pdf
00140338   00140380   1/26/2021 17:55 Edoc     ABC‐Construction‐Cost‐June‐2016‐1.pdf                  .\VOL010\IMAGES\IMAGES003\00140338.pdf
                                               2017‐01‐27_GraduateStudentSeminar_Pres‐1‐
00140381   00140398   1/26/2021 18:02 Edoc     Mohamed‐Ibrahim.pdf                                    .\VOL010\IMAGES\IMAGES003\00140381.pdf
00140399   00140464   1/26/2021 18:23 Edoc     WSDOT_HighwayCosts_2004.pdf                            .\VOL010\IMAGES\IMAGES003\00140399.pdf
                                               2020‐01‐22_Recommended Preferred
00140465   00140470   1/26/2021 20:40 Edoc     Alternative_WebsiteUpdates_Final.docx                  .\VOL010\IMAGES\IMAGES003\00140465.pdf
00140471   00140473    1/27/2021 7:33 Email    RE: ALB January 22, 2021 Meeting Follow up             .\VOL010\IMAGES\IMAGES003\00140471.pdf
00140474   00140491    1/27/2021 7:33 Attach   ALB.pdf                                                .\VOL010\IMAGES\IMAGES003\00140474.pdf
00140492   00140494    1/27/2021 8:53 Email    RE: MLS ‐ ALB Strike Team                              .\VOL010\IMAGES\IMAGES003\00140492.pdf
00140495   00140495   1/27/2021 10:09 Attach   ALB Work Zone Shift Typical Section.pdf                .\VOL010\IMAGES\IMAGES003\00140495.pdf
00140496   00140499   1/27/2021 10:44 Email    RE: MLS ‐ ALB Strike Team                              .\VOL010\IMAGES\IMAGES003\00140496.pdf
00140500   00140504   1/27/2021 11:03 Email    RE: MLS ‐ ALB Strike Team                              .\VOL010\IMAGES\IMAGES003\00140500.pdf
00140505   00140505   1/27/2021 11:32 Email    FW: electric cars need better roads                    .\VOL010\IMAGES\IMAGES003\00140505.pdf
00140506   00140506   1/27/2021 11:37 Email    FW: electric cars need better roads                    .\VOL010\IMAGES\IMAGES003\00140506.pdf
00140507   00140507   1/27/2021 11:41 Email    FW: Give Marylanders Options                           .\VOL010\IMAGES\IMAGES003\00140507.pdf
00140508   00140508   1/27/2021 12:02 Email    FW: More time with my family                           .\VOL010\IMAGES\IMAGES003\00140508.pdf
                                               Cabin John Interchange Working Group ‐ 01/27/2021
00140509   00140509   1/27/2021 12:03 Email    Agenda & 01/20/2021 Minutes                            .\VOL010\IMAGES\IMAGES003\00140509.pdf
00140510   00140512   1/27/2021 12:03 Attach   2021.0120_Cabin_John_Meeting Minutes.pdf               .\VOL010\IMAGES\IMAGES003\00140510.pdf

00140513   00140513   1/27/2021 12:31 Edoc     COVID‐19 Precautions at Hearings_01.27.2021.docx       .\VOL010\IMAGES\IMAGES003\00140513.pdf
00140514   00140516   1/27/2021 12:57 Email    RE: American Legion Bridge Question                    .\VOL010\IMAGES\IMAGES003\00140514.pdf
00140517   00140519   1/27/2021 13:01 Email    RE: American Legion Bridge Question                    .\VOL010\IMAGES\IMAGES003\00140517.pdf
00140520   00140520   1/27/2021 14:54 Email    FW: MLS RPA                                            .\VOL010\IMAGES\IMAGES003\00140520.pdf
                                               Announcing the Managed Lanes Study Preferred
00140521   00140524   1/27/2021 15:22 Email    Alternative                                            .\VOL010\IMAGES\IMAGES003\00140521.pdf
                                               Announcing the Managed Lanes Study Preferred
00140525   00140528   1/27/2021 15:22 Email    Alternative                                            .\VOL010\IMAGES\IMAGES003\00140525.pdf
                                               Announcing the Managed Lanes Study Preferred
00140529   00140532   1/27/2021 15:22 Email    Alternative                                            .\VOL010\IMAGES\IMAGES003\00140529.pdf
00140533   00140533   1/27/2021 15:49 Attach   ALB Work Zone Shift Plan.pdf                           .\VOL010\IMAGES\IMAGES003\00140533.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study: Collaborative
00140534   00140536   1/27/2021 15:52 Email    Leadership Summit                                      .\VOL010\IMAGES\IMAGES003\00140534.pdf
                                               2021‐02‐01 Agenda ‐ Collaborative Leadership
00140537   00140537   1/27/2021 15:52 Attach   Summit.pdf                                             .\VOL010\IMAGES\IMAGES003\00140537.pdf
                                               MLS Executive Steering Committee Statement of
00140538   00140546   1/27/2021 15:52 Attach   Principles.pdf                                         .\VOL010\IMAGES\IMAGES003\00140538.pdf
                                               FW: Announcing the Managed Lanes Study Preferred
00140547   00140550   1/27/2021 16:11 Email    Alternative                                            .\VOL010\IMAGES\IMAGES003\00140547.pdf
00140551   00140555   1/27/2021 16:15 Email    RE: Sexual Harassment Training Conflict                .\VOL010\IMAGES\IMAGES003\00140551.pdf
                                               RE: I‐495 & I‐270 MLS: IAWG Meeting [January 27,
00140556   00140558   1/27/2021 17:05 Email    2021]                                                  .\VOL010\IMAGES\IMAGES003\00140556.pdf
                                               RE: I‐495 & I‐270 MLS: IAWG Meeting [January 27,
00140559   00140561   1/27/2021 17:05 Email    2021]                                                  .\VOL010\IMAGES\IMAGES003\00140559.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting No. 13
00140562   00140618   1/27/2021 17:05 Attach   Presentation_01.27.2021_Final.pdf                      .\VOL010\IMAGES\IMAGES003\00140562.pdf
00140619   00140620   1/27/2021 18:19 Email    RE: ALB Constructability Access Discussion             .\VOL010\IMAGES\IMAGES003\00140619.pdf

00140621   00140622   1/27/2021 19:13 Email    LOD development for Segmental Bridge Alternative       .\VOL010\IMAGES\IMAGES003\00140621.pdf
00140623   00140623   1/27/2021 20:06 Email    FW: More time with my family                           .\VOL010\IMAGES\IMAGES003\00140623.pdf
00140624   00140624   1/27/2021 20:07 Email    FW: More time with my family                           .\VOL010\IMAGES\IMAGES003\00140624.pdf
00140625   00140625   1/27/2021 20:09 Email    FW: More time with my family                           .\VOL010\IMAGES\IMAGES003\00140625.pdf
                                               RE: (N18‐026) I495 & I270 P3 ‐ Compensatory SWM
00140626   00140627    1/28/2021 6:31 Email    Review ‐ 1/27/21 Update                                .\VOL010\IMAGES\IMAGES004\00140626.pdf

00140628   00140629    1/28/2021 9:00 Email    NCPC’s DEIS Comments Discussion – PRE‐MEETING        .\VOL010\IMAGES\IMAGES004\00140628.pdf
00140630   00140631    1/28/2021 9:04 Email    FW: WAPO Story Updated                               .\VOL010\IMAGES\IMAGES004\00140630.pdf
00140632   00140635    1/28/2021 9:04 Attach   Doc10.docx                                           .\VOL010\IMAGES\IMAGES004\00140632.pdf
                                               I‐495 & I‐270 MLS: NCPC's DEIS Comments Discussion ‐
00140636   00140638   1/28/2021 10:08 Email    Agenda                                               .\VOL010\IMAGES\IMAGES004\00140636.pdf
                                               NCPC_DEIS Comment Review Meeting Agenda_02‐03‐
00140639   00140640   1/28/2021 10:08 Attach   2021.pdf                                             .\VOL010\IMAGES\IMAGES004\00140639.pdf
00140641   00140642   1/28/2021 11:00 Email    RE: ALB Constructability Access Discussion           .\VOL010\IMAGES\IMAGES004\00140641.pdf
00140643   00140643   1/28/2021 12:15 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140643.pdf
00140644   00140644   1/28/2021 12:17 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00140644.pdf
00140645   00140645   1/28/2021 12:22 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00140645.pdf
00140646   00140646   1/28/2021 12:47 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00140646.pdf
00140647   00140675   1/28/2021 13:50 Edoc     ALB ABC Alternatives.pptx                            .\VOL010\IMAGES\IMAGES004\00140647.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                              Filed 05/03/23                              Page 127 of 263

                                               Fw: I‐495 & I‐270 Managed Lanes Study: Collaborative
00140676   00140680   1/28/2021 15:05 Email    Leadership Summit                                    .\VOL010\IMAGES\IMAGES004\00140676.pdf
00140681   00140762   1/28/2021 15:12 Attach   MNCPPC DEIS Submission Final.pdf                     .\VOL010\IMAGES\IMAGES004\00140681.pdf
                                               I‐495 I‐270 Managed Lanes M‐NCPPC JPA Letter (11‐6‐
00140763   00140838   1/28/2021 15:12 Attach   2020).pdf                                            .\VOL010\IMAGES\IMAGES004\00140763.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study: Collaborative
00140839   00140843   1/28/2021 15:12 Email    Leadership Summit                                    .\VOL010\IMAGES\IMAGES004\00140839.pdf
00140844   00140847   1/28/2021 15:12 Email    RE: MLS ‐ ALB Strike Team                            .\VOL010\IMAGES\IMAGES004\00140844.pdf
                                               Morningstar fieldwork update, scheduling meeting to
00140848   00140858   1/28/2021 16:06 Email    review design efforts                                .\VOL010\IMAGES\IMAGES004\00140848.pdf
                                               Morningstar fieldwork update, scheduling meeting to
00140859   00140871   1/28/2021 16:26 Email    review design efforts                                .\VOL010\IMAGES\IMAGES004\00140859.pdf
                                               Morningstar fieldwork update, scheduling meeting to
00140872   00140882   1/28/2021 16:26 Email    review design efforts                                .\VOL010\IMAGES\IMAGES004\00140872.pdf
00140883   00140883   1/28/2021 16:45 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00140883.pdf
                                               Re: Morningstar fieldwork update, scheduling meeting
00140884   00140895   1/28/2021 16:45 Email    to review design efforts                             .\VOL010\IMAGES\IMAGES004\00140884.pdf
                                               RE: Morningstar fieldwork update, scheduling meeting
00140896   00140907   1/28/2021 16:52 Email    to review design efforts                             .\VOL010\IMAGES\IMAGES004\00140896.pdf
                                               RE: Morningstar fieldwork update, scheduling meeting
00140908   00140919   1/28/2021 16:58 Email    to review design efforts                             .\VOL010\IMAGES\IMAGES004\00140908.pdf
00140920   00140920   1/28/2021 17:11 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140920.pdf
00140921   00140921   1/28/2021 17:13 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00140921.pdf
00140922   00140922   1/28/2021 17:16 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00140922.pdf
00140923   00140923   1/28/2021 17:17 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140923.pdf
00140924   00140924   1/28/2021 17:25 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00140924.pdf
00140925   00140929   1/28/2021 17:53 Email    RE: MLS ‐ ALB Strike Team                            .\VOL010\IMAGES\IMAGES004\00140925.pdf
00140930   00140934   1/28/2021 17:53 Email    RE: MLS ‐ ALB Strike Team                            .\VOL010\IMAGES\IMAGES004\00140930.pdf
00140935   00140935   1/28/2021 19:56 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140935.pdf
00140936   00140938   1/28/2021 21:01 Email    RE: MCCC Steering Committee Meeting                  .\VOL010\IMAGES\IMAGES004\00140936.pdf
00140939   00140939   1/28/2021 22:35 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00140939.pdf
00140940   00140944    1/29/2021 7:05 Email    RE: P3 Comp SWM ‐ All Disciplines Meeting            .\VOL010\IMAGES\IMAGES004\00140940.pdf
00140945   00140945   1/29/2021 12:54 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140945.pdf
00140946   00140946   1/29/2021 13:02 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140946.pdf
00140947   00140947   1/29/2021 13:15 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140947.pdf
00140948   00140950   1/29/2021 13:24 Attach   Collaborative Leadership Summit                      .\VOL010\IMAGES\IMAGES004\00140948.pdf
00140951   00140951   1/29/2021 13:33 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140951.pdf
00140952   00140952   1/29/2021 14:12 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140952.pdf
00140953   00140953   1/29/2021 15:30 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00140953.pdf
00140954   00140955   1/29/2021 16:11 Email    Re: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00140954.pdf
00140956   00140957   1/29/2021 16:11 Email    RE: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00140956.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting No. 13
00140958   00141014   1/29/2021 16:11 Attach   Presentation_01.27.2021_FINAL.pptx                   .\VOL010\IMAGES\IMAGES004\00140958.pdf
00141015   00141016   1/29/2021 16:15 Email    RE: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00141015.pdf
00141017   00141017   1/29/2021 16:22 Email    RE: Information require                              .\VOL010\IMAGES\IMAGES004\00141017.pdf
                                               FW: Better use of the highway. More efficient use of
00141018   00141018   1/29/2021 16:26 Email    the road during the many busy hours.                 .\VOL010\IMAGES\IMAGES004\00141018.pdf
00141019   00141019   1/29/2021 16:41 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00141019.pdf
00141020   00141020   1/29/2021 17:15 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141020.pdf
00141021   00141021   1/29/2021 17:30 Email    ALB Strike Team pre‐NPS presentation                 .\VOL010\IMAGES\IMAGES004\00141021.pdf
00141022   00141022   1/29/2021 17:36 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00141022.pdf
                                               Meeting (RecurringMeeting)/Thread Id:
                                               19:meeting_Yzc3MGNkZDctZDIxNi00Mjc5LWEzYzktYjh
                                               kNzdjNzMzNDMw@thread.v2/Communication Id:
                                               3825497e‐ce2d‐4d4d‐b8d3‐
                                               bc8c13eeb2f3/+14436045372,Marion Harris,Kimberly
                                               Troiani (Consultant),Caryn Brookman,Karen Kahl,Jeff
00141023   00141024   1/29/2021 17:44 Email    R...                                                 .\VOL010\IMAGES\IMAGES004\00141023.pdf
00141025   00141025   1/29/2021 19:53 Email    FW: Just do it!                                      .\VOL010\IMAGES\IMAGES004\00141025.pdf
00141026   00141026   1/29/2021 20:28 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00141026.pdf
00141027   00141027    1/30/2021 8:19 Email    FW: I Support free HOV lanes                         .\VOL010\IMAGES\IMAGES004\00141027.pdf
00141028   00141028   1/30/2021 18:32 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00141028.pdf
                                               Re: ALB Strike Team ‐ DRAFT Story Board for 2‐2‐2021
00141029   00141031   1/31/2021 13:58 Email    Presentaion                                          .\VOL010\IMAGES\IMAGES004\00141029.pdf
                                               RE: ALB Strike Team ‐ DRAFT Story Board for 2‐2‐2021
00141032   00141034   1/31/2021 22:45 Email    Presentation                                         .\VOL010\IMAGES\IMAGES004\00141032.pdf
                                               Re: ALB Strike Team ‐ DRAFT Story Board for 2‐2‐2021
00141035   00141036     2/1/2021 2:44 Email    Presentaion                                          .\VOL010\IMAGES\IMAGES004\00141035.pdf
                                               RE_ ALB Strike Team ‐ DRAFT Story Board for 2‐
00141037   00141038     2/1/2021 9:02 Email    2...(1).pdf                                          .\VOL010\IMAGES\IMAGES004\00141037.pdf
                                               RE: ALB Strike Team ‐ DRAFT Story Board for 2‐2‐2021
00141039   00141040     2/1/2021 9:02 Email    Presentaion                                          .\VOL010\IMAGES\IMAGES004\00141039.pdf
00141041   00141045     2/1/2021 9:16 Email    FW: Files for ALB Graphics                           .\VOL010\IMAGES\IMAGES004\00141041.pdf
00141046   00141046     2/1/2021 9:16 Attach   ALB‐SegmentalTypicalSection.pdf                      .\VOL010\IMAGES\IMAGES004\00141046.pdf
00141047   00141048    2/1/2021 10:30 Email    FW: Recommended Preferred Alternative                .\VOL010\IMAGES\IMAGES004\00141047.pdf
00141049   00141049    2/1/2021 11:27 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141049.pdf
00141050   00141050    2/1/2021 11:31 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00141050.pdf
00141051   00141051    2/1/2021 11:33 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00141051.pdf
00141052   00141052    2/1/2021 11:43 Email    Draft ALB Pre‐Meeting Slides                         .\VOL010\IMAGES\IMAGES004\00141052.pdf
00141053   00141115    2/1/2021 11:43 Attach   2021‐02‐02_ALB Strike Team_Pre‐NPS_V0.pdf            .\VOL010\IMAGES\IMAGES004\00141053.pdf
00141116   00141116    2/1/2021 11:43 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00141116.pdf
00141117   00141117    2/1/2021 12:10 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141117.pdf
00141118   00141120    2/1/2021 12:25 Email    Re: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00141118.pdf
00141121   00141124    2/1/2021 13:02 Email    RE: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00141121.pdf

00141125   00141128    2/1/2021 13:05 Email    FW: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00141125.pdf
00141129   00141130    2/1/2021 13:34 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141129.pdf
00141131   00141137    2/1/2021 14:06 Edoc     2021‐02‐02_Template Slide.pptx                       .\VOL010\IMAGES\IMAGES004\00141131.pdf
                                               Re: ALB Strike Team ‐ DRAFT Story Board for 2‐2‐2021
00141138   00141140    2/1/2021 14:27 Email    Presentaion                                          .\VOL010\IMAGES\IMAGES004\00141138.pdf
                                               Panel Discussion about easing away from always
00141141   00141142    2/1/2021 14:29 Email    choosing are cars to get somewhere.                  .\VOL010\IMAGES\IMAGES004\00141141.pdf
00141143   00141144    2/1/2021 15:40 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141143.pdf
00141145   00141145    2/1/2021 16:28 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141145.pdf
00141146   00141146    2/1/2021 16:30 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00141146.pdf
00141147   00141147    2/1/2021 16:32 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00141147.pdf
00141148   00141148    2/1/2021 16:42 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00141148.pdf
00141149   00141151    2/1/2021 16:49 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141149.pdf
00141152   00141157    2/1/2021 16:49 Attach   Segmental Slides.pptx                                .\VOL010\IMAGES\IMAGES004\00141152.pdf
00141158   00141158    2/1/2021 16:59 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00141158.pdf
00141159   00141161     2/2/2021 6:02 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141159.pdf
                                               Re: Morningstar fieldwork update, scheduling meeting
00141162   00141170     2/2/2021 8:17 Email    to review design efforts                             .\VOL010\IMAGES\IMAGES004\00141162.pdf
                                               RE: Morningstar fieldwork update, scheduling meeting
00141171   00141183     2/2/2021 9:27 Email    to review design efforts                             .\VOL010\IMAGES\IMAGES004\00141171.pdf
    Case 8:22-cv-02597-DKC                           Document 42-1                                Filed 05/03/23                            Page 128 of 263

00141184   00141187    2/2/2021 9:28 Email    RE: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00141184.pdf
00141188   00141188    2/2/2021 9:30 Attach   I495 I270 Section 106_TreatProps_overall key.pdf     .\VOL010\IMAGES\IMAGES004\00141188.pdf
                                              RE: Morningstar fieldwork update, scheduling meeting
00141189   00141201    2/2/2021 9:59 Email    to review design efforts                             .\VOL010\IMAGES\IMAGES004\00141189.pdf
                                              RE: Morningstar fieldwork update, scheduling meeting
00141202   00141214    2/2/2021 9:59 Email    to review design efforts                             .\VOL010\IMAGES\IMAGES004\00141202.pdf
00141215   00141219   2/2/2021 10:52 Email    RE: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00141215.pdf
00141220   00141220   2/2/2021 10:52 Attach   20210113_100229.jpg                                  .\VOL010\IMAGES\IMAGES004\00141220.pdf
00141221   00141224   2/2/2021 12:30 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141221.pdf
00141225   00141229   2/2/2021 12:37 Email    Re: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00141225.pdf
00141230   00141230   2/2/2021 12:42 Email    Environmental Justice Agency Work Group              .\VOL010\IMAGES\IMAGES004\00141230.pdf
00141231   00141231   2/2/2021 12:53 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00141231.pdf
00141232   00141232   2/2/2021 13:00 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00141232.pdf
                                              MLS: ALB and BW Parkway NPS Meeting‐ PRE‐
00141233   00141233   2/2/2021 13:00 Email    MEETING                                              .\VOL010\IMAGES\IMAGES004\00141233.pdf
00141234   00141234   2/2/2021 13:03 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00141234.pdf
00141235   00141235   2/2/2021 13:12 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141235.pdf
00141236   00141236   2/2/2021 13:15 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00141236.pdf
00141237   00141237   2/2/2021 13:17 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00141237.pdf
00141238   00141242   2/2/2021 14:55 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141238.pdf
00141243   00141244   2/2/2021 15:53 Email    RE: NPS Prep                                         .\VOL010\IMAGES\IMAGES004\00141243.pdf
00141245   00141246   2/2/2021 16:14 Email    RE: Environmental Justice Agency Work Group          .\VOL010\IMAGES\IMAGES004\00141245.pdf
00141247   00141249   2/2/2021 16:41 Email    Re: NPS Prep                                         .\VOL010\IMAGES\IMAGES004\00141247.pdf
00141250   00141255   2/2/2021 17:04 Email    RE: MLS briefing w/ FHWA leadership next week        .\VOL010\IMAGES\IMAGES004\00141250.pdf

00141256   00141267   2/2/2021 17:18 Edoc     NAB 2018‐02152 MLS PN comment ltr2020.12.03_.pdf .\VOL010\IMAGES\IMAGES004\00141256.pdf

00141268   00141273   2/2/2021 17:19 Edoc     Friends Moses Hall DEIS Letter 10.16.20 FINAL.pdf   .\VOL010\IMAGES\IMAGES004\00141268.pdf
                                              PublicHearing_Comments_FHWA_Summary_120120
00141274   00141285   2/2/2021 17:39 Edoc     (002).pdf                                           .\VOL010\IMAGES\IMAGES004\00141274.pdf
00141286   00141290   2/2/2021 17:55 Email    RE: Draft ALB Pre‐Meeting Slides                    .\VOL010\IMAGES\IMAGES004\00141286.pdf
00141291   00141291   2/2/2021 17:55 Attach   ALB PLan View ‐ Google Earth.jpg                    .\VOL010\IMAGES\IMAGES004\00141291.pdf
                                              ALB Street View Looking North from South
00141292   00141292   2/2/2021 17:55 Attach   Abutment.jpg                                        .\VOL010\IMAGES\IMAGES004\00141292.pdf
00141293   00141293   2/2/2021 21:28 Email    FW: Support free HOV lanes                          .\VOL010\IMAGES\IMAGES004\00141293.pdf
00141294   00141294    2/3/2021 9:30 Email    NPS ALB and BW Parkway: NEPA Team Prep              .\VOL010\IMAGES\IMAGES004\00141294.pdf
00141295   00141300   2/3/2021 10:29 Email    RE: Draft ALB Pre‐Meeting Slides                    .\VOL010\IMAGES\IMAGES004\00141295.pdf
00141301   00141301   2/3/2021 10:32 Email    BW Parkway ML options                               .\VOL010\IMAGES\IMAGES004\00141301.pdf
00141302   00141303   2/3/2021 11:14 Email    RE: BW Parkway ML options                           .\VOL010\IMAGES\IMAGES004\00141302.pdf
00141304   00141309   2/3/2021 11:30 Email    RE: Draft ALB Pre‐Meeting Slides                    .\VOL010\IMAGES\IMAGES004\00141304.pdf
00141310   00141313   2/3/2021 12:39 Attach   20210201_FHWA Briefing Sheet.docx                   .\VOL010\IMAGES\IMAGES004\00141310.pdf
00141314   00141315   2/3/2021 13:04 Email    RE: BW Parkway ML options                           .\VOL010\IMAGES\IMAGES004\00141314.pdf
00141316   00141323   2/3/2021 13:35 Email    RE: Draft ALB Pre‐Meeting Slides                    .\VOL010\IMAGES\IMAGES004\00141316.pdf
00141324   00141325   2/3/2021 14:00 Email    I‐495 & I‐270 FHWA Coordination                     .\VOL010\IMAGES\IMAGES004\00141324.pdf

00141326   00141328   2/3/2021 14:00 Attach   MD P3 ‐ Major Projects 2020.01.28 FHWA Meeting.pdf .\VOL010\IMAGES\IMAGES004\00141326.pdf
                                              2021‐01‐26_FHWA Coordination Meeting Notes_P3
00141329   00141329   2/3/2021 14:00 Attach   Program (3).docx                                     .\VOL010\IMAGES\IMAGES004\00141329.pdf
                                              20210126‐I‐270_FHWA Coordination Meeting Notes
00141330   00141330   2/3/2021 14:00 Attach   (3).docx                                             .\VOL010\IMAGES\IMAGES004\00141330.pdf
00141331   00141331   2/3/2021 14:00 Email    FW: I‐495 & I‐270 FHWA Coordination                  .\VOL010\IMAGES\IMAGES004\00141331.pdf
00141332   00141338   2/3/2021 14:52 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141332.pdf
00141339   00141344   2/3/2021 15:20 Email    Re: FHWA meeting ***HOT***                           .\VOL010\IMAGES\IMAGES004\00141339.pdf
00141345   00141353   2/3/2021 15:24 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141345.pdf
00141354   00141357   2/3/2021 15:43 Email    RE: MLS ‐ ALB Strike Team                            .\VOL010\IMAGES\IMAGES004\00141354.pdf
                                              Re: RE: (N18‐026) P3 I495 & I270 ‐ Compensatory
00141358   00141361   2/3/2021 15:59 Email    Water Quality Stream LOD Reviews                     .\VOL010\IMAGES\IMAGES004\00141358.pdf
00141362   00141362   2/3/2021 17:03 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141362.pdf
00141363   00141363   2/3/2021 17:06 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00141363.pdf
00141364   00141370   2/3/2021 17:07 Email    RE: Draft ALB/NPS Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141364.pdf
00141371   00141371   2/3/2021 17:12 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00141371.pdf
00141372   00141372   2/3/2021 17:24 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141372.pdf
00141373   00141373   2/3/2021 17:26 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00141373.pdf
00141374   00141382   2/3/2021 17:38 Email    RE: Draft ALB/NPS Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141374.pdf
                                              FW: I‐495 & I‐270 MLS: ALB and BW Parkway
00141383   00141387   2/3/2021 18:40 Email    Discussion ‐ Agenda                                  .\VOL010\IMAGES\IMAGES004\00141383.pdf
00141388   00141396    2/4/2021 8:31 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141388.pdf
00141397   00141401    2/4/2021 8:49 Email    RE: MLS ‐ ALB Strike Team                            .\VOL010\IMAGES\IMAGES004\00141397.pdf
00141402   00141402    2/4/2021 9:54 Email    FYI                                                  .\VOL010\IMAGES\IMAGES004\00141402.pdf
00141403   00141412   2/4/2021 11:49 Email    RE: Draft ALB Pre‐Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141403.pdf
                                               I‐495 & I‐270 MLS: DNR’s DEIS Comments Discussion ‐
00141413   00141415   2/4/2021 11:52 Email    Agenda                                               .\VOL010\IMAGES\IMAGES004\00141413.pdf
                                              DNR DEIS Comment Review Meeting Agenda_2021‐02‐
00141416   00141418   2/4/2021 11:52 Attach   09.pdf                                               .\VOL010\IMAGES\IMAGES004\00141416.pdf
                                               I‐495 & I‐270 MLS: DNR’s DEIS Comments Discussion ‐
00141419   00141420   2/4/2021 11:52 Email    Agenda                                               .\VOL010\IMAGES\IMAGES004\00141419.pdf
00141421   00141422   2/4/2021 13:57 Email    FW: Examples of Phased RODs                          .\VOL010\IMAGES\IMAGES004\00141421.pdf
00141423   00141424   2/4/2021 13:57 Email    FW: Examples of Phased RODs                          .\VOL010\IMAGES\IMAGES004\00141423.pdf
00141425   00141426   2/4/2021 14:00 Email    FW: Examples of Phased RODs                          .\VOL010\IMAGES\IMAGES004\00141425.pdf
                                              RE: Morningstar fieldwork update, scheduling meeting
00141427   00141440   2/4/2021 14:11 Email    to review design efforts                             .\VOL010\IMAGES\IMAGES004\00141427.pdf
00141441   00141441   2/4/2021 14:46 Email    ALB Strike Team Slides ‐ V6                          .\VOL010\IMAGES\IMAGES004\00141441.pdf
00141442   00141449   2/4/2021 15:02 Email    RE: Draft ALB/NPS Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141442.pdf
00141450   00141458   2/4/2021 15:29 Email    RE: Draft ALB/NPS Meeting Slides                     .\VOL010\IMAGES\IMAGES004\00141450.pdf
00141459   00141459   2/4/2021 17:07 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00141459.pdf
00141460   00141460   2/5/2021 11:45 Email    Conversation with Perez, Keilyn (FHWA)               .\VOL010\IMAGES\IMAGES004\00141460.pdf
                                              I‐495 and I‐470 MLS Study: Baltimore Washington
00141461   00141461   2/5/2021 12:18 Email    Parkway Options                                      .\VOL010\IMAGES\IMAGES004\00141461.pdf
00141462   00141462   2/5/2021 13:10 Email    Presentation                                         .\VOL010\IMAGES\IMAGES004\00141462.pdf
                                              RE: I‐495 and I‐470 MLS Study: Baltimore Washington
00141463   00141463   2/5/2021 13:53 Email    Parkway Options                                      .\VOL010\IMAGES\IMAGES004\00141463.pdf
                                              RE: I‐495 & I‐270 MLS: USACE/MDE DEIS Comments
00141464   00141465   2/5/2021 14:08 Email    Discussion                                           .\VOL010\IMAGES\IMAGES004\00141464.pdf
                                              USACE&MDE DEIS Comment Review Meeting Agenda
00141466   00141466   2/5/2021 14:08 Attach   2021‐02‐10.pdf                                       .\VOL010\IMAGES\IMAGES004\00141466.pdf
                                              RE: I‐495 & I‐270 MLS: USACE/MDE DEIS Comments
00141467   00141468   2/5/2021 14:08 Email    Discussion                                           .\VOL010\IMAGES\IMAGES004\00141467.pdf
00141469   00141469   2/6/2021 13:53 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141469.pdf
00141470   00141470   2/6/2021 13:54 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141470.pdf
00141471   00141471   2/6/2021 14:22 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00141471.pdf
00141472   00141472   2/6/2021 14:45 Email    FW: electric cars need better roads                  .\VOL010\IMAGES\IMAGES004\00141472.pdf
00141473   00141473   2/7/2021 11:49 Email    Strike Team and NPS Meeting                          .\VOL010\IMAGES\IMAGES004\00141473.pdf
00141474   00141474   2/7/2021 16:21 Email    FW: Give Marylanders Options                         .\VOL010\IMAGES\IMAGES004\00141474.pdf
00141475   00141476    2/8/2021 6:35 Email    RE: Presentation                                     .\VOL010\IMAGES\IMAGES004\00141475.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                           Page 129 of 263

00141477   00141478     2/8/2021 8:08 Email    Prep for 2/10 meeting with Friends of Moses Hall      .\VOL010\IMAGES\IMAGES004\00141477.pdf
00141479   00141492     2/8/2021 8:23 Email    RE: Morningstar fieldwork update                      .\VOL010\IMAGES\IMAGES004\00141479.pdf
00141493   00141494     2/8/2021 8:59 Email    FW: Environmental Justice Agency Work Group           .\VOL010\IMAGES\IMAGES004\00141493.pdf

00141495   00141535     2/8/2021 9:06 Attach   I‐495 & I‐270 MLS NPS Coordination Presentatio.pdf    .\VOL010\IMAGES\IMAGES004\00141495.pdf
00141536   00141538     2/8/2021 9:12 Email    RE: Environmental Justice Agency Work Group           .\VOL010\IMAGES\IMAGES004\00141536.pdf
00141539   00141539     2/8/2021 9:13 Email    Fw: BW and GWMP Discussion with Jeff                  .\VOL010\IMAGES\IMAGES004\00141539.pdf

00141540   00141541     2/8/2021 9:13 Attach   Direct Access Needs Summary ‐ GWMP and BWP.docx .\VOL010\IMAGES\IMAGES004\00141540.pdf
00141542   00141549     2/8/2021 9:13 Attach   Direct Access at GW Parkway ‐ DRAFT 6‐19‐19.pdf .\VOL010\IMAGES\IMAGES004\00141542.pdf

00141550   00141550     2/8/2021 9:13 Attach   Direct Access at GW Parkway ‐ Handout 8‐21‐19.docx    .\VOL010\IMAGES\IMAGES004\00141550.pdf
00141551   00141551     2/8/2021 9:13 Attach   Direct Access at GWMP ‐ Evaluation History.docx       .\VOL010\IMAGES\IMAGES004\00141551.pdf
00141552   00141562     2/8/2021 9:13 Attach   RE: PRIORITY: Direct Access                           .\VOL010\IMAGES\IMAGES004\00141552.pdf
00141563   00141565     2/8/2021 9:33 Email    RE: Environmental Justice Agency Work Group           .\VOL010\IMAGES\IMAGES004\00141563.pdf
                                               2021.02.05_I‐495 and I‐470 MLS Study_ Baltimore
00141566   00141566    2/8/2021 10:20 Edoc     Washington Parkway Options.pdf                        .\VOL010\IMAGES\IMAGES004\00141566.pdf
                                               RE: I‐495 & I‐270 MLS project: Feedback on Direct
00141567   00141568    2/8/2021 10:20 Email    Access to/from managed lanes                          .\VOL010\IMAGES\IMAGES004\00141567.pdf
00141569   00141570    2/8/2021 10:20 Attach   doc_20191108135328.pdf                                .\VOL010\IMAGES\IMAGES004\00141569.pdf
00141571   00141571    2/8/2021 10:20 Attach   doc_20191108135349.pdf                                .\VOL010\IMAGES\IMAGES004\00141571.pdf
                                               2021.02_UPDATED NPS‐BW Parkway Options Table
00141572   00141574    2/8/2021 10:20 Edoc     .docx                                                 .\VOL010\IMAGES\IMAGES004\00141572.pdf
00141575   00141576    2/8/2021 10:31 Email    RE: BW Parkway ML options                             .\VOL010\IMAGES\IMAGES004\00141575.pdf
00141577   00141577    2/8/2021 10:35 Edoc     Notes 2021.02.05.docx                                 .\VOL010\IMAGES\IMAGES004\00141577.pdf
                                               RE: I‐495 and I‐470 MLS Study: Baltimore Washington
00141578   00141579    2/8/2021 10:42 Email    Parkway Options                                       .\VOL010\IMAGES\IMAGES004\00141578.pdf
00141580   00141581    2/8/2021 10:53 Email    RE: BW Parkway ML options                             .\VOL010\IMAGES\IMAGES004\00141580.pdf
00141582   00141584    2/8/2021 11:24 Email    RE: BW Parkway ML options                             .\VOL010\IMAGES\IMAGES004\00141582.pdf
00141585   00141586    2/8/2021 12:00 Email    RE: Modified language                                 .\VOL010\IMAGES\IMAGES004\00141585.pdf
00141587   00141587    2/8/2021 12:50 Email    FW: electric cars need better roads                   .\VOL010\IMAGES\IMAGES004\00141587.pdf
00141588   00141588    2/8/2021 12:53 Email    FW: electric cars need better roads                   .\VOL010\IMAGES\IMAGES004\00141588.pdf
00141589   00141590    2/8/2021 12:56 Email    RE: Presentation                                      .\VOL010\IMAGES\IMAGES004\00141589.pdf

00141591   00141591    2/8/2021 13:00 Email    I‐495 & I‐270 MLS: ALB and BW Parkway Discussion      .\VOL010\IMAGES\IMAGES004\00141591.pdf
00141592   00141592    2/8/2021 13:01 Email    FW: Support free HOV lanes                            .\VOL010\IMAGES\IMAGES004\00141592.pdf
00141593   00141594    2/8/2021 13:02 Email    Fw: Presentation                                      .\VOL010\IMAGES\IMAGES004\00141593.pdf
00141595   00141595    2/8/2021 13:03 Email    FW: More time with my family                          .\VOL010\IMAGES\IMAGES004\00141595.pdf
00141596   00141596    2/8/2021 13:22 Email    FW: Support free HOV lanes                            .\VOL010\IMAGES\IMAGES004\00141596.pdf
00141597   00141597    2/8/2021 16:04 Email    FW: electric cars need better roads                   .\VOL010\IMAGES\IMAGES004\00141597.pdf
00141598   00141598    2/8/2021 16:05 Email    FW: Give Marylanders Options                          .\VOL010\IMAGES\IMAGES004\00141598.pdf
00141599   00141599    2/8/2021 16:07 Email    FW: Support free HOV lanes                            .\VOL010\IMAGES\IMAGES004\00141599.pdf
00141600   00141600    2/8/2021 16:09 Email    FW: More time with my family                          .\VOL010\IMAGES\IMAGES004\00141600.pdf

00141601   00141602    2/8/2021 16:33 Email    RE: NPS Boundary Discussion (FHWA / MDOT SHA)         .\VOL010\IMAGES\IMAGES004\00141601.pdf
                                               NPS Lands Response to ROW_MDOT SHA
00141603   00141609    2/8/2021 16:33 Attach   Response.docx                                         .\VOL010\IMAGES\IMAGES004\00141603.pdf
00141610   00141610    2/8/2021 16:33 Attach   BW Parkway_Property Mosaic.pdf                        .\VOL010\IMAGES\IMAGES004\00141610.pdf
00141611   00141612    2/8/2021 17:59 Email    ALB Strike Team and BW Parkway Team                   .\VOL010\IMAGES\IMAGES004\00141611.pdf
00141613   00141627     2/9/2021 6:50 Email    RE: Morningstar fieldwork update                      .\VOL010\IMAGES\IMAGES004\00141613.pdf
00141628   00141642     2/9/2021 6:51 Email    RE: Morningstar fieldwork update                      .\VOL010\IMAGES\IMAGES004\00141628.pdf
00141643   00141657     2/9/2021 6:51 Email    RE: Morningstar fieldwork update                      .\VOL010\IMAGES\IMAGES004\00141643.pdf
00141658   00141669     2/9/2021 7:29 Email    Re: Morningstar fieldwork update                      .\VOL010\IMAGES\IMAGES004\00141658.pdf
                                               COVID‐19 Travel Forecasting Approach (MLS) ‐ Follow
00141670   00141670    2/9/2021 10:47 Email    Up Discussion                                         .\VOL010\IMAGES\IMAGES004\00141670.pdf
00141671   00141671    2/9/2021 12:51 Email    FW: More time with my family                          .\VOL010\IMAGES\IMAGES004\00141671.pdf
00141672   00141672    2/9/2021 13:01 Email    FW: More time with my family                          .\VOL010\IMAGES\IMAGES004\00141672.pdf
00141673   00141673    2/9/2021 13:12 Email    FW: More time with my family                          .\VOL010\IMAGES\IMAGES004\00141673.pdf

00141674   00141674    2/9/2021 13:47 Email    FW: Access businesses in Montgomery County, MD        .\VOL010\IMAGES\IMAGES004\00141674.pdf
                                               RE: Urgent Project Information Request Due Noon
00141675   00141676    2/9/2021 14:35 Email    Wednesday 2/10/2021                                   .\VOL010\IMAGES\IMAGES004\00141675.pdf
00141677   00141677    2/9/2021 14:35 Attach   MLS Moses Hall.docx                                   .\VOL010\IMAGES\IMAGES004\00141677.pdf
00141678   00141678    2/9/2021 14:38 Email    NPS Presentation ‐ American Legion Bridge             .\VOL010\IMAGES\IMAGES004\00141678.pdf

00141679   00141681    2/9/2021 14:56 Email    RE: NPS Boundary Discussion (FHWA / MDOT SHA)         .\VOL010\IMAGES\IMAGES004\00141679.pdf
00141682   00141682    2/9/2021 15:21 Email    FW: I do not support widening the beltway.            .\VOL010\IMAGES\IMAGES004\00141682.pdf
00141683   00141684    2/9/2021 15:48 Email    FW: Recommended Preferred Alternative                 .\VOL010\IMAGES\IMAGES004\00141683.pdf
00141685   00141686    2/9/2021 15:51 Email    FW: MLS Summary of DEIS Comments                      .\VOL010\IMAGES\IMAGES004\00141685.pdf
                                               FW: More time with my family and less pollution and
00141687   00141687    2/9/2021 17:46 Email    waste.                                                .\VOL010\IMAGES\IMAGES004\00141687.pdf
00141688   00141688    2/9/2021 17:46 Email    FW: More time with my family                          .\VOL010\IMAGES\IMAGES004\00141688.pdf
00141689   00141689    2/9/2021 17:47 Email    FW: More time with my family                          .\VOL010\IMAGES\IMAGES004\00141689.pdf

00141690   00141690    2/10/2021 9:22 Email    RE: FW: NPS Boundary Discussion (FHWA / MDOT SHA) .\VOL010\IMAGES\IMAGES004\00141690.pdf

00141691   00141693    2/10/2021 9:24 Email    RE: NPS Boundary Discussion (FHWA / MDOT SHA)         .\VOL010\IMAGES\IMAGES004\00141691.pdf
00141694   00141694   2/10/2021 10:35 Email    FW: Give Marylanders Options                          .\VOL010\IMAGES\IMAGES004\00141694.pdf
00141695   00141695   2/10/2021 11:12 Email    FW: electric cars need better roads                   .\VOL010\IMAGES\IMAGES004\00141695.pdf
00141696   00141696   2/10/2021 11:15 Email    FW: Give Marylanders Options                          .\VOL010\IMAGES\IMAGES004\00141696.pdf

00141697   00141698   2/10/2021 11:16 Email    RE: I‐495 & I‐270 MLS: ALB and BW Parkway Discussion .\VOL010\IMAGES\IMAGES004\00141697.pdf

00141699   00141700   2/10/2021 11:16 Email    RE: I‐495 & I‐270 MLS: ALB and BW Parkway Discussion .\VOL010\IMAGES\IMAGES004\00141699.pdf
00141701   00141701   2/10/2021 11:17 Email    FW: Support free HOV lanes                           .\VOL010\IMAGES\IMAGES004\00141701.pdf
                                               Fw: I‐495 & I‐270 MLS: ALB and BW Parkway
00141702   00141703   2/10/2021 11:20 Email    Discussion                                           .\VOL010\IMAGES\IMAGES004\00141702.pdf
                                               I‐495 & I‐270 MLS NPS Coordination
00141704   00141755   2/10/2021 11:20 Attach   Presentation_02.08.2021.pdf                          .\VOL010\IMAGES\IMAGES004\00141704.pdf
00141756   00141756   2/10/2021 11:21 Email    FW: More time with my family                         .\VOL010\IMAGES\IMAGES004\00141756.pdf
                                               FW: Make MD more attractive for employers offering
00141757   00141757   2/10/2021 11:31 Email    high paying jobs.                                    .\VOL010\IMAGES\IMAGES004\00141757.pdf

00141758   00141761   2/10/2021 11:44 Email    Re: I‐495 & I‐270 MLS: ALB and BW Parkway Discussion .\VOL010\IMAGES\IMAGES004\00141758.pdf

00141762   00141765   2/10/2021 11:44 Email    Re: I‐495 & I‐270 MLS: ALB and BW Parkway Discussion .\VOL010\IMAGES\IMAGES004\00141762.pdf

                                               MDOT SHA Avoidance/minimization discussion with
00141766   00141766   2/10/2021 12:33 Email    Friends of Moses Hall ‐ Agenda for 3pm meeting        .\VOL010\IMAGES\IMAGES004\00141766.pdf
00141767   00141767   2/10/2021 12:33 Attach   Friends_Moses_Hall_2_10_2021_agenda.pdf               .\VOL010\IMAGES\IMAGES004\00141767.pdf
                                               Re: Can you email me the slides you are going
00141768   00141768   2/10/2021 13:18 Email    through?                                              .\VOL010\IMAGES\IMAGES004\00141768.pdf
                                               I‐495 & I‐270 MLS USACE&MDE_ALB Update_02‐10‐
00141769   00141781   2/10/2021 13:18 Attach   2021 (1).pptx                                         .\VOL010\IMAGES\IMAGES004\00141769.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                Filed 05/03/23                               Page 130 of 263

                                               Re: I‐495 & I‐270 MLS: USACE/MDE DEIS Comments
00141782   00141783   2/10/2021 13:27 Email    Discussion                                         .\VOL010\IMAGES\IMAGES004\00141782.pdf
                                               Re: I‐495 & I‐270 MLS: USACE/MDE DEIS Comments
00141784   00141785   2/10/2021 13:27 Email    Discussion                                         .\VOL010\IMAGES\IMAGES004\00141784.pdf
                                               I‐495 & I‐270 MLS USACE&MDE_ALB Update_02‐10‐
00141786   00141798   2/10/2021 13:27 Attach   2021 (1).pdf                                       .\VOL010\IMAGES\IMAGES004\00141786.pdf

                                               RE: MDOT SHA Avoidance/minimization discussion
00141799   00141802   2/10/2021 14:34 Email    with Friends of Moses Hall ‐ Agenda for 3pm meeting .\VOL010\IMAGES\IMAGES004\00141799.pdf
                                               MDOT SHA Avoidance/minimization discussion with
00141803   00141804   2/10/2021 15:00 Email    Friends of Moses Hall                                .\VOL010\IMAGES\IMAGES004\00141803.pdf
                                               I‐495 & I‐270 IAWG No. 14 DRAFT Agenda with
00141805   00141805   2/10/2021 15:22 Attach   notes_2021‐02‐17.docx                                .\VOL010\IMAGES\IMAGES004\00141805.pdf
00141806   00141807   2/10/2021 15:55 Email    RE: February 17th IAWG Agenda                        .\VOL010\IMAGES\IMAGES004\00141806.pdf
                                               I‐495 & I‐270 MLS January IAWG Meeting Notes and
00141808   00141809   2/10/2021 16:52 Email    February Agenda                                      .\VOL010\IMAGES\IMAGES004\00141808.pdf
00141810   00141818   2/10/2021 16:52 Attach   2021‐01‐27_MLS IAWG Meeting Notes.pdf                .\VOL010\IMAGES\IMAGES004\00141810.pdf
                                               I‐495 & I‐270 February 2021 IAWG Meeting
00141819   00141819   2/10/2021 16:52 Attach   Agenda.pdf                                           .\VOL010\IMAGES\IMAGES004\00141819.pdf
                                               I‐495 & I‐270 MLS January IAWG Meeting Notes and
00141820   00141822   2/10/2021 16:52 Email    February Agenda                                      .\VOL010\IMAGES\IMAGES004\00141820.pdf
00141823   00141831   2/10/2021 16:52 Attach   2021‐01‐27_MLS IAWG Meeting Notes.pdf                .\VOL010\IMAGES\IMAGES004\00141823.pdf
                                               I‐495 & I‐270 February 2021 IAWG Meeting
00141832   00141832   2/10/2021 16:52 Attach   Agenda.pdf                                           .\VOL010\IMAGES\IMAGES004\00141832.pdf
                                               I‐495 & I‐270 MLS January IAWG Meeting Notes and
00141833   00141834   2/10/2021 16:52 Email    February Agenda                                      .\VOL010\IMAGES\IMAGES004\00141833.pdf
                                               I‐495 & I‐270 MLS‐ Environmental Justice Working
00141835   00141836   2/10/2021 17:19 Email    Group                                                .\VOL010\IMAGES\IMAGES004\00141835.pdf
                                               FW: I‐495 & I‐270 MLS‐ Environmental Justice Working
00141837   00141838    2/11/2021 7:36 Email    Group                                                .\VOL010\IMAGES\IMAGES004\00141837.pdf
00141839   00141839   2/11/2021 10:55 Email    RE: Files                                            .\VOL010\IMAGES\IMAGES004\00141839.pdf
                                               Re: I‐495 & I‐270 MLS‐ Environmental Justice Working
00141840   00141841   2/11/2021 14:02 Email    Group                                                .\VOL010\IMAGES\IMAGES004\00141840.pdf
                                               I‐495 and I‐270 MLS_ Section 106 update ‐
00141842   00141843   2/11/2021 16:11 Email    Save...(1).pdf                                       .\VOL010\IMAGES\IMAGES004\00141842.pdf

00141844   00141852   2/11/2021 16:11 Attach   MLS Stream_TechReport Transmittal_2_11_21_.pdf          .\VOL010\IMAGES\IMAGES004\00141844.pdf
                                               I‐495 and I‐270 Managed Lanes Study_ Link to
00141853   00141854   2/11/2021 16:11 Email    un...(1).pdf                                            .\VOL010\IMAGES\IMAGES004\00141853.pdf
                                               I‐495 and I‐270 MLS: Section 106 update ‐ Save the
                                               Date Weds March 10, 10:30‐12 Consulting Party
00141855   00141856   2/11/2021 16:11 Email    Meeting                                                 .\VOL010\IMAGES\IMAGES004\00141855.pdf
                                               I‐495 and I‐270 Managed Lanes Study: Link to
00141857   00141858   2/11/2021 16:11 Email    unredacted archaeology reports                          .\VOL010\IMAGES\IMAGES004\00141857.pdf
00141859   00141859   2/11/2021 18:08 Email    FW: More time with my family                            .\VOL010\IMAGES\IMAGES004\00141859.pdf
00141860   00141861   2/12/2021 10:21 Email    NPS ROW Meeting                                         .\VOL010\IMAGES\IMAGES004\00141860.pdf
00141862   00141862   2/12/2021 10:23 Email    FW: electric cars need better roads                     .\VOL010\IMAGES\IMAGES004\00141862.pdf
00141863   00141863   2/12/2021 10:41 Email    FW: Give Marylanders Options                            .\VOL010\IMAGES\IMAGES004\00141863.pdf
00141864   00141864   2/12/2021 10:47 Email    FW: More time with my family                            .\VOL010\IMAGES\IMAGES004\00141864.pdf
                                               RE: I‐495 & I‐270 MLS‐ Environmental Justice Working
00141865   00141867   2/12/2021 13:37 Email    Group                                                   .\VOL010\IMAGES\IMAGES004\00141865.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study: Meeting with
00141868   00141869   2/12/2021 15:43 Email    Washington Biologists' Field Club                       .\VOL010\IMAGES\IMAGES004\00141868.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study: Meeting with
00141870   00141872   2/12/2021 16:13 Email    Washington Biologists' Field Club                       .\VOL010\IMAGES\IMAGES004\00141870.pdf
                                               Fw: I‐495 & I‐270 MLS January IAWG Meeting Notes
00141873   00141876   2/12/2021 17:44 Email    and February Agenda                                     .\VOL010\IMAGES\IMAGES004\00141873.pdf
00141877   00141877   2/14/2021 14:47 Email    FW: More time with my family                            .\VOL010\IMAGES\IMAGES004\00141877.pdf
                                               FW: I‐495 & I‐270 MLS January IAWG Meeting Notes
00141878   00141881    2/15/2021 7:53 Email    and February Agenda                                     .\VOL010\IMAGES\IMAGES004\00141878.pdf
00141882   00141882   2/15/2021 10:51 Email    FW: electric cars need better roads                     .\VOL010\IMAGES\IMAGES004\00141882.pdf
00141883   00141883   2/15/2021 10:57 Email    FW: Give Marylanders Options                            .\VOL010\IMAGES\IMAGES004\00141883.pdf
00141884   00141884   2/15/2021 11:01 Email    FW: Support free HOV lanes                              .\VOL010\IMAGES\IMAGES004\00141884.pdf
00141885   00141885   2/15/2021 11:07 Email    FW: More time with my family                            .\VOL010\IMAGES\IMAGES004\00141885.pdf
00141886   00141886   2/15/2021 11:38 Email    FW: Support free HOV lanes                              .\VOL010\IMAGES\IMAGES004\00141886.pdf
00141887   00141887   2/15/2021 11:41 Email    FW: electric cars need better roads                     .\VOL010\IMAGES\IMAGES004\00141887.pdf
00141888   00141888   2/15/2021 11:45 Email    FW: Give Marylanders Options                            .\VOL010\IMAGES\IMAGES004\00141888.pdf
00141889   00141889   2/15/2021 15:28 Email    FW: Support free HOV lanes                              .\VOL010\IMAGES\IMAGES004\00141889.pdf
00141890   00141890   2/15/2021 15:31 Email    FW: electric cars need better roads                     .\VOL010\IMAGES\IMAGES004\00141890.pdf
00141891   00141891   2/15/2021 15:35 Email    FW: Give Marylanders Options                            .\VOL010\IMAGES\IMAGES004\00141891.pdf
00141892   00141892   2/15/2021 15:40 Email    FW: Support free HOV lanes                              .\VOL010\IMAGES\IMAGES004\00141892.pdf
00141893   00141893   2/15/2021 15:47 Email    FW: More time with my family                            .\VOL010\IMAGES\IMAGES004\00141893.pdf
                                               RE: Comments of Carderock Springs Citizens
                                               Association ‐ Draft Cultural Resources Technical Report
00141894   00141896    2/16/2021 7:43 Email    on I‐495 widening                                       .\VOL010\IMAGES\IMAGES004\00141894.pdf
                                               RE: Comments of Carderock Springs Citizens
                                               Association ‐ Draft Cultural Resources Technical Report
00141897   00141899    2/16/2021 7:46 Email    on I‐495 widening                                       .\VOL010\IMAGES\IMAGES004\00141897.pdf
                                               Cultural Resource Tech Report__Responses to
00141900   00141927    2/16/2021 7:46 Attach   Consulting Parties_7_23_2020.pdf                        .\VOL010\IMAGES\IMAGES004\00141900.pdf
                                               RE: I‐495 & I‐270 MLS‐ Environmental Justice Working
00141928   00141930    2/16/2021 8:34 Email    Group                                                   .\VOL010\IMAGES\IMAGES004\00141928.pdf
00141931   00141933    2/16/2021 8:34 Attach   RE: Environmental Justice Agency Work Group             .\VOL010\IMAGES\IMAGES004\00141931.pdf
                                               RE: I‐495 & I‐270 MLS‐ Environmental Justice Working
00141934   00141936    2/16/2021 8:58 Email    Group                                                   .\VOL010\IMAGES\IMAGES004\00141934.pdf
                                               I‐495 MLS Corps Response Letter: Culvert
00141937   00141939   2/16/2021 10:28 Attach   Augmentation and Permitting                             .\VOL010\IMAGES\IMAGES004\00141937.pdf
                                               I‐495 & I‐270 MLS: EPA’s DEIS Comments Discussion ‐
00141940   00141942   2/16/2021 11:20 Email    Agenda                                                  .\VOL010\IMAGES\IMAGES004\00141940.pdf
                                               EPA DEIS Comment Review Meeting Agenda 02‐18‐
00141943   00141948   2/16/2021 11:20 Attach   2021.pdf                                                .\VOL010\IMAGES\IMAGES004\00141943.pdf
                                               I‐495 & I‐270 MLS: EPA’s DEIS Comments Discussion ‐
00141949   00141950   2/16/2021 11:20 Email    Agenda                                                  .\VOL010\IMAGES\IMAGES004\00141949.pdf
00141951   00141952   2/16/2021 11:21 Email    RE: NPS ROW Meeting                                     .\VOL010\IMAGES\IMAGES004\00141951.pdf
00141953   00141954   2/16/2021 11:21 Email    RE: NPS ROW Meeting                                     .\VOL010\IMAGES\IMAGES004\00141953.pdf
00141955   00141955   2/16/2021 15:30 Email    FW: electric cars need better roads                     .\VOL010\IMAGES\IMAGES004\00141955.pdf
00141956   00141956   2/16/2021 15:32 Email    FW: Give Marylanders Options                            .\VOL010\IMAGES\IMAGES004\00141956.pdf
                                               Fw: I‐495 & I‐270 MLS‐ Environmental Justice Working
00141957   00141958   2/16/2021 15:36 Email    Group                                                   .\VOL010\IMAGES\IMAGES004\00141957.pdf
                                               RE: I‐495 & I‐270 MLS‐ Environmental Justice Working
00141959   00141960   2/16/2021 15:47 Email    Group                                                   .\VOL010\IMAGES\IMAGES004\00141959.pdf
                                               RE: MDOT SHA's Proposed Use of Virtual Public
00141961   00141964   2/16/2021 16:12 Email    Involvement Tools ‐ comments                            .\VOL010\IMAGES\IMAGES004\00141961.pdf
00141965   00141965   2/16/2021 16:17 Email    RE: PIP                                                 .\VOL010\IMAGES\IMAGES004\00141965.pdf
00141966   00141966   2/16/2021 16:44 Email    Final IAWG Presentation                                 .\VOL010\IMAGES\IMAGES004\00141966.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                               Page 131 of 263

                                               I‐495 & I‐270 MLS IAWG Meeting No. 14
00141967   00142023   2/16/2021 16:44 Attach   Presentation_02.17.2021_FINAL.pdf                    .\VOL010\IMAGES\IMAGES004\00141967.pdf
00142024   00142025   2/16/2021 16:44 Email    Final IAWG Presentation                              .\VOL010\IMAGES\IMAGES004\00142024.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting No. 14
00142026   00142082   2/16/2021 16:44 Attach   Presentation_02.17.2021_FINAL.pdf                    .\VOL010\IMAGES\IMAGES004\00142026.pdf
00142083   00142083   2/16/2021 16:44 Email    Final IAWG Presentation                              .\VOL010\IMAGES\IMAGES004\00142083.pdf

                                               FW: Action Required:I‐495/I‐270 Managed Lanes Study
00142084   00142084   2/16/2021 17:25 Email    milestone target date(s) approaching in 14 days     .\VOL010\IMAGES\IMAGES004\00142084.pdf

                                               RE: Action Required:I‐495/I‐270 Managed Lanes Study
00142085   00142086   2/16/2021 17:26 Email    milestone target date(s) approaching in 14 days     .\VOL010\IMAGES\IMAGES004\00142085.pdf

                                               FW: Action Required:I‐495/I‐270 Managed Lanes Study
00142087   00142087   2/16/2021 17:39 Email    milestone target date(s) approaching in 14 days     .\VOL010\IMAGES\IMAGES004\00142087.pdf

                                               RE: Action Required:I‐495/I‐270 Managed Lanes Study
00142088   00142089   2/16/2021 17:41 Email    milestone target date(s) approaching in 14 days      .\VOL010\IMAGES\IMAGES004\00142088.pdf
                                               RE: I‐495 & I‐270 MLS‐ Environmental Justice Working
00142090   00142091   2/17/2021 10:26 Email    Group                                                .\VOL010\IMAGES\IMAGES004\00142090.pdf

                                               FHWA NO ACTION REQUIRED: Tribal Notification: Ph1
00142092   00142092   2/17/2021 12:09 Email    Survey of stream mitigation sites for I‐495/I‐270 MLS .\VOL010\IMAGES\IMAGES004\00142092.pdf

                                               FHWA NO ACTION REQUIRED: Tribal Notification: Ph1
00142093   00142094   2/17/2021 12:09 Email    Survey of stream mitigation sites for I‐495/I‐270 MLS .\VOL010\IMAGES\IMAGES004\00142093.pdf
                                               Fw: I‐495 & I‐270 MLS‐ Environmental Justice Working
00142095   00142097   2/17/2021 13:30 Email    Group                                                 .\VOL010\IMAGES\IMAGES004\00142095.pdf
                                               Fw: I‐495 & I‐270 MLS‐ Environmental Justice Working
00142098   00142100   2/17/2021 13:31 Email    Group                                                 .\VOL010\IMAGES\IMAGES004\00142098.pdf
                                               2021‐02‐17_FHWA Coordination Mtg
00142101   00142101   2/17/2021 14:00 Attach   Agenda_FINAL.docx                                     .\VOL010\IMAGES\IMAGES004\00142101.pdf
                                               2021‐02‐03_FHWA Coordination Meeting
00142102   00142103   2/17/2021 14:00 Attach   Notes_MLS.docx                                        .\VOL010\IMAGES\IMAGES004\00142102.pdf
                                               I‐495 & I‐270 MLS: February IAWG Meeting ‐
00142104   00142106   2/17/2021 15:09 Email    Presentation                                          .\VOL010\IMAGES\IMAGES004\00142104.pdf
                                               I‐495 & I‐270 MLS February IAWG Meeting
00142107   00142163   2/17/2021 15:09 Attach   Presentation_02.17.2021.pdf                           .\VOL010\IMAGES\IMAGES004\00142107.pdf
                                               I‐495 & I‐270 MLS: February IAWG Meeting ‐
00142164   00142166   2/17/2021 15:09 Email    Presentation                                          .\VOL010\IMAGES\IMAGES004\00142164.pdf
                                               I‐495 & I‐270 MLS February IAWG Meeting
00142167   00142223   2/17/2021 15:09 Attach   Presentation_02.17.2021.pdf                           .\VOL010\IMAGES\IMAGES004\00142167.pdf
                                               I‐495 & I‐270 MLS: February IAWG Meeting ‐
00142224   00142225   2/17/2021 15:09 Email    Presentation                                          .\VOL010\IMAGES\IMAGES004\00142224.pdf
                                               I‐495 and I‐270 MLS Section 106 Archaeology report
00142226   00142227   2/17/2021 15:33 Email    transmittal to Virginia Tribes                        .\VOL010\IMAGES\IMAGES004\00142226.pdf
                                               Environmental Justice Working Group: Kick‐off
00142228   00142229   2/17/2021 17:03 Email    Meeting [Availability]                                .\VOL010\IMAGES\IMAGES004\00142228.pdf
                                               Environmental Justice Working Group: Kick‐off
00142230   00142230   2/17/2021 17:03 Email    Meeting [Availability]                                .\VOL010\IMAGES\IMAGES004\00142230.pdf
                                               FW: FHWA NO ACTION REQUIRED: Tribal Notification:
                                               Ph1 Survey of stream mitigation sites for I‐495/I‐270
00142231   00142232   2/17/2021 17:12 Email    MLS                                                   .\VOL010\IMAGES\IMAGES004\00142231.pdf
00142233   00142233   2/17/2021 17:16 Email    ALB Draft for Your review                             .\VOL010\IMAGES\IMAGES004\00142233.pdf
00142234   00142246   2/17/2021 17:16 Attach   ALB Strike Team Report ‐ DRAFT 2‐17‐21.docx           .\VOL010\IMAGES\IMAGES004\00142234.pdf
                                               Re: Environmental Justice Working Group: Participants
00142247   00142249   2/17/2021 17:39 Email    and Kick‐off Meeting                                  .\VOL010\IMAGES\IMAGES004\00142247.pdf
                                               I‐495 & I‐270 Managed Lanes Study: Executive Steering
00142250   00142251   2/17/2021 18:02 Email    Committee Meeting                                     .\VOL010\IMAGES\IMAGES004\00142250.pdf
                                               2021‐02‐25 Agenda ‐ Executive Steering
00142252   00142252   2/17/2021 18:02 Attach   Committee.pdf                                         .\VOL010\IMAGES\IMAGES004\00142252.pdf
                                               I‐495 I‐270 MLS Collaborative Leadership Summit_ Key
00142253   00142262   2/17/2021 18:02 Attach   Notes_Final_2021‐02‐01.pdf                            .\VOL010\IMAGES\IMAGES004\00142253.pdf
                                               I‐495 & I‐270 Managed Lanes Study: Executive Steering
00142263   00142264   2/17/2021 18:02 Email    Committee Meeting                                     .\VOL010\IMAGES\IMAGES004\00142263.pdf
                                               2021‐02‐25 Agenda ‐ Executive Steering
00142265   00142265   2/17/2021 18:02 Attach   Committee.pdf                                         .\VOL010\IMAGES\IMAGES004\00142265.pdf
                                               I‐495 I‐270 MLS Collaborative Leadership Summit_ Key
00142266   00142275   2/17/2021 18:02 Attach   Notes_Final_2021‐02‐01.pdf                            .\VOL010\IMAGES\IMAGES004\00142266.pdf
00142276   00142366    2/18/2021 6:44 Attach   ALB Strike Team Report_Appendices.pdf                 .\VOL010\IMAGES\IMAGES004\00142276.pdf
00142367   00142368    2/18/2021 7:36 Email    Fw: ALB Draft for Your review                         .\VOL010\IMAGES\IMAGES004\00142367.pdf
                                               FHWA and MDOT SHA I‐495 & I‐270 Managed Lanes
00142369   00142370   2/18/2021 12:15 Email    Study RE: DOD‐Army Parcel                             .\VOL010\IMAGES\IMAGES004\00142369.pdf
                                               FHWA and MDOT SHA I‐495 & I‐270 Managed Lanes
00142371   00142372   2/18/2021 12:15 Email    Study RE: DOD‐Army Parcel                             .\VOL010\IMAGES\IMAGES004\00142371.pdf
00142373   00142373   2/18/2021 12:15 Attach   USArmyForestGlenArea_Alt9_300sc_opt.pdf               .\VOL010\IMAGES\IMAGES004\00142373.pdf
00142374   00142374   2/18/2021 12:15 Attach   USArmyForestGlenArea_Alt9_opt.pdf                     .\VOL010\IMAGES\IMAGES004\00142374.pdf
00142375   00142375   2/18/2021 13:15 Email    FW: Give Marylanders Options                          .\VOL010\IMAGES\IMAGES004\00142375.pdf
                                               MDOT SHA Avoidance/minimization discussion with
00142376   00142376   2/18/2021 13:59 Email    Friends of Moses Hall                                 .\VOL010\IMAGES\IMAGES004\00142376.pdf
                                               MDOT SHA Avoidance/minimization discussion with
00142377   00142378   2/18/2021 14:00 Email    Friends of Moses Hall                                 .\VOL010\IMAGES\IMAGES004\00142377.pdf
                                               I‐495 I‐270 Managed Lanes Study Friends Moses Hall
00142379   00142383   2/18/2021 14:00 Attach   Meeting Notes_2_10_2021.pdf                           .\VOL010\IMAGES\IMAGES004\00142379.pdf
                                               MDOT SHA Avoidance/minimization discussion with
00142384   00142384   2/18/2021 14:00 Email    Friends of Moses Hall                                 .\VOL010\IMAGES\IMAGES004\00142384.pdf

00142385   00142386   2/18/2021 14:08 Email    I‐495 & I‐270 P3 Program Selects Phase 1 Developer   .\VOL010\IMAGES\IMAGES004\00142385.pdf

00142387   00142388   2/18/2021 14:08 Email    I‐495 & I‐270 P3 Program Selects Phase 1 Developer   .\VOL010\IMAGES\IMAGES004\00142387.pdf

00142389   00142390   2/18/2021 14:08 Email    I‐495 & I‐270 P3 Program Selects Phase 1 Developer   .\VOL010\IMAGES\IMAGES004\00142389.pdf
                                               FW: I‐495 & I‐270 P3 Program Selects Phase 1
00142391   00142392   2/18/2021 14:14 Email    Developer                                            .\VOL010\IMAGES\IMAGES004\00142391.pdf

                                               Press Release Notification of Selection of Developer for
00142393   00142394   2/18/2021 14:43 Email    American Leagion Bridge I‐270 to I‐70 Relief Plan        .\VOL010\IMAGES\IMAGES004\00142393.pdf

00142395   00142395   2/18/2021 15:32 Email    ALB Strike Team ‐ Bridge Option Comparison Table   .\VOL010\IMAGES\IMAGES004\00142395.pdf
                                               Managed Lanes Study: Environmental Justice Working
00142396   00142397   2/18/2021 16:21 Email    Group Kick‐Off Meeting                             .\VOL010\IMAGES\IMAGES004\00142396.pdf

00142398   00142399    2/19/2021 9:03 Email    RE: ALB Strike Team ‐ Bridge Option Comparison Table .\VOL010\IMAGES\IMAGES004\00142398.pdf
                                               I‐495 & I‐270 MLS: NCPC's DEIS Comments Discussion ‐
00142400   00142401   2/19/2021 12:33 Email    Meeting Notes                                        .\VOL010\IMAGES\IMAGES004\00142400.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                              Filed 05/03/23                              Page 132 of 263

                                               2021‐02‐03 MLS NCPC DEIS Comments
00142402   00142406   2/19/2021 12:33 Attach   Discussion_Meeting Notes.pdf                         .\VOL010\IMAGES\IMAGES004\00142402.pdf
00142407   00142408   2/19/2021 13:55 Email    RE: ALB Draft for Your review                        .\VOL010\IMAGES\IMAGES004\00142407.pdf
                                               ALB Strike Team Report ‐ DRAFT 2‐17‐21_KML
00142409   00142424   2/19/2021 13:55 Attach   Comment.docx                                         .\VOL010\IMAGES\IMAGES004\00142409.pdf
00142425   00142427   2/19/2021 22:05 Email    RE: ALB Draft for Your review                        .\VOL010\IMAGES\IMAGES004\00142425.pdf
00142428   00142430   2/22/2021 12:07 Email    RE: ALB Draft for Your review                        .\VOL010\IMAGES\IMAGES004\00142428.pdf
                                               Re: [EXTERNAL] RE: I‐495 & I‐270 MLS: ALB and BW
00142431   00142433   2/22/2021 13:47 Email    Parkway Discussion                                   .\VOL010\IMAGES\IMAGES004\00142431.pdf
                                               Re: [EXTERNAL] RE: I‐495 & I‐270 MLS: ALB and BW
00142434   00142436   2/22/2021 13:47 Email    Parkway Discussion                                   .\VOL010\IMAGES\IMAGES004\00142434.pdf
                                               I‐495 & I‐270 MLS: ALB and BW Parkway Discussion ‐
00142437   00142437   2/22/2021 16:56 Email    Meeting Notes                                        .\VOL010\IMAGES\IMAGES004\00142437.pdf
                                               I‐495 & I‐270 MLS: ALB and BW Parkway Discussion ‐
00142438   00142440   2/22/2021 17:07 Email    Meeting Notes                                        .\VOL010\IMAGES\IMAGES004\00142438.pdf
                                               I‐495 & I‐270 MLS: ALB and BW Parkway Discussion ‐
00142441   00142443   2/22/2021 17:07 Email    Meeting Notes                                        .\VOL010\IMAGES\IMAGES004\00142441.pdf
                                               I‐495 & I‐270 MLS: ALB and BW Parkway Discussion ‐
00142444   00142446   2/22/2021 17:07 Email    Meeting Notes                                        .\VOL010\IMAGES\IMAGES004\00142444.pdf
                                               I‐495 & I‐270 MLS: ALB and BW Parkway Discussion ‐
00142447   00142448   2/22/2021 17:07 Email    Meeting Notes                                        .\VOL010\IMAGES\IMAGES004\00142447.pdf
                                               NPS ALB and BW Parkway Discussion_Meeting
00142449   00142458   2/22/2021 17:07 Attach   Notes_02‐08‐2021.pdf                                 .\VOL010\IMAGES\IMAGES004\00142449.pdf
                                               Request to adjust DNR status to Participating Agency
00142459   00142459   2/22/2021 22:11 Email    for the I495 MLS                                     .\VOL010\IMAGES\IMAGES004\00142459.pdf
                                               Request to adjust DNR status to Participating Agency
00142460   00142460   2/22/2021 22:11 Email    for the I495 MLS                                     .\VOL010\IMAGES\IMAGES004\00142460.pdf
                                               FW: Request to adjust DNR status to Participating
00142461   00142461    2/23/2021 7:26 Email    Agency for the I495 MLS                              .\VOL010\IMAGES\IMAGES004\00142461.pdf
00142462   00142462    2/23/2021 7:26 Attach   DNR participating agency request.pdf                 .\VOL010\IMAGES\IMAGES004\00142462.pdf
                                               FW: Managed Lane EIS SHA/MDOT discussion on
00142463   00142466    2/23/2021 9:26 Email    installation fence line impacts                      .\VOL010\IMAGES\IMAGES004\00142463.pdf
                                               2020‐01‐27_I‐495 I‐270 MLS_ Navy Bethesda Response
00142467   00142471    2/23/2021 9:26 Attach   to Request for Information.pdf                       .\VOL010\IMAGES\IMAGES004\00142467.pdf
                                               Meeting Minutes ‐ Managed Lanes EIS NAVY MDOT
00142472   00142477    2/23/2021 9:26 Attach   FHWA meeting 20191114.pdf                            .\VOL010\IMAGES\IMAGES004\00142472.pdf
00142478   00142478    2/23/2021 9:26 Attach   Navy Impacts Comparison_11‐14‐19Mtg.docx             .\VOL010\IMAGES\IMAGES004\00142478.pdf
                                               FW: Managed Lane EIS SHA/MDOT discussion on
00142479   00142482    2/23/2021 9:26 Email    installation fence line impacts                      .\VOL010\IMAGES\IMAGES004\00142479.pdf
                                               2020‐01‐27_I‐495 I‐270 MLS_ Navy Bethesda Response
00142483   00142487    2/23/2021 9:26 Attach   to Request for Information.pdf                       .\VOL010\IMAGES\IMAGES004\00142483.pdf
00142488   00142488   2/23/2021 12:01 Email    FW: P3 program                                       .\VOL010\IMAGES\IMAGES004\00142488.pdf
00142489   00142489   2/23/2021 12:50 Email    FW: P3 program                                       .\VOL010\IMAGES\IMAGES004\00142489.pdf
00142490   00142490   2/23/2021 13:03 Email    FW: P3 program                                       .\VOL010\IMAGES\IMAGES004\00142490.pdf
00142491   00142491   2/23/2021 13:17 Email    FW: P3 program                                       .\VOL010\IMAGES\IMAGES004\00142491.pdf
00142492   00142493   2/23/2021 16:00 Edoc     Chickahominy_Indian_Tribe 02_2021 letter.pdf         .\VOL010\IMAGES\IMAGES004\00142492.pdf
00142494   00142495   2/23/2021 16:02 Edoc     Monacan_ Nation_02_2021 letter.pdf                   .\VOL010\IMAGES\IMAGES004\00142494.pdf
00142496   00142497   2/23/2021 16:03 Edoc     Nansemond_ Tribe_02_2021 letter.pdf                  .\VOL010\IMAGES\IMAGES004\00142496.pdf
00142498   00142499   2/23/2021 16:04 Edoc     Pamunkey_Tribe_02_2021 letter.pdf                    .\VOL010\IMAGES\IMAGES004\00142498.pdf
00142500   00142501   2/23/2021 16:05 Edoc     Rappahannock_Tribe_02_2021 letter.pdf                .\VOL010\IMAGES\IMAGES004\00142500.pdf
00142502   00142503   2/23/2021 16:06 Edoc     Upper_Mattaponi_Tribe_02_2021 letter.pdf             .\VOL010\IMAGES\IMAGES004\00142502.pdf
00142504   00142505   2/23/2021 16:07 Edoc     Chickahominy_Tribe_Eastern_02_2021 letter.pdf        .\VOL010\IMAGES\IMAGES004\00142504.pdf
00142506   00142506   2/23/2021 16:09 Email    FW: Fix our congested roads!                         .\VOL010\IMAGES\IMAGES004\00142506.pdf
00142507   00142507    2/24/2021 6:28 Email    FW_ GWMP Signing(2).pdf                              .\VOL010\IMAGES\IMAGES004\00142507.pdf
                                               FMH: Morningstar Moses Cemetery and Hall in Cabin
00142508   00142508    2/24/2021 7:15 Email    John (MIHP No. M: 35‐212) ‐ SHA Access               .\VOL010\IMAGES\IMAGES004\00142508.pdf
00142509   00142514    2/24/2021 7:15 Attach   FMH Letter to MD ‐ Pachman ‐ 2.23.21.pdf             .\VOL010\IMAGES\IMAGES004\00142509.pdf
                                               FMH: Morningstar Moses Cemetery and Hall in Cabin
00142515   00142515    2/24/2021 7:15 Email    John (MIHP No. M: 35‐212) ‐ SHA Access               .\VOL010\IMAGES\IMAGES004\00142515.pdf
00142516   00142517    2/24/2021 7:28 Email    FW: GWMP Signing                                     .\VOL010\IMAGES\IMAGES004\00142516.pdf
00142518   00142519    2/24/2021 8:00 Email    RE: GWMP Signing                                     .\VOL010\IMAGES\IMAGES004\00142518.pdf
                                               RE: Signing question/advice for managed lanes in
00142520   00142522    2/24/2021 8:00 Attach   Maryland.                                            .\VOL010\IMAGES\IMAGES004\00142520.pdf
00142523   00142524    2/24/2021 8:55 Email    RE: GWMP Signing                                     .\VOL010\IMAGES\IMAGES004\00142523.pdf
00142525   00142526    2/24/2021 9:01 Email    RE: GWMP Signing                                     .\VOL010\IMAGES\IMAGES004\00142525.pdf
00142527   00142529    2/24/2021 9:09 Email    RE: GWMP Signing                                     .\VOL010\IMAGES\IMAGES004\00142527.pdf
                                               Fw: [EXTERNAL] I‐495 & I‐270 MLS: ALB and BW
00142530   00142532    2/24/2021 9:14 Email    Parkway Discussion ‐ Meeting Notes                   .\VOL010\IMAGES\IMAGES004\00142530.pdf
                                               Fw: [EXTERNAL] I‐495 & I‐270 MLS: ALB and BW
00142533   00142536    2/24/2021 9:14 Email    Parkway Discussion ‐ Meeting Notes                   .\VOL010\IMAGES\IMAGES004\00142533.pdf
00142537   00142539    2/24/2021 9:16 Email    RE: GWMP Signing                                     .\VOL010\IMAGES\IMAGES004\00142537.pdf
00142540   00142542    2/24/2021 9:39 Email    RE: GWMP Signing                                     .\VOL010\IMAGES\IMAGES004\00142540.pdf
00142543   00142544   2/24/2021 10:00 Email    MLS Meeting Follow up                                .\VOL010\IMAGES\IMAGES004\00142543.pdf
                                               RE: FMH: Morningstar Moses Cemetery and Hall in
00142545   00142546   2/24/2021 10:24 Email    Cabin John (MIHP No. M: 35‐212) ‐ SHA Access         .\VOL010\IMAGES\IMAGES004\00142545.pdf
00142547   00142549   2/24/2021 11:29 Email    RE: MLS Meeting Follow up                            .\VOL010\IMAGES\IMAGES004\00142547.pdf
00142550   00142552   2/24/2021 11:29 Email    RE: MLS Meeting Follow up                            .\VOL010\IMAGES\IMAGES004\00142550.pdf
00142553   00142558   2/24/2021 12:11 Attach   FMH Letter to MD ‐ Pachman ‐ 2.23.21.pdf             .\VOL010\IMAGES\IMAGES004\00142553.pdf
                                               495270_SupportingEJ_OutreachLocations_PlacesWors
00142559   00142559   2/24/2021 12:36 Edoc     hip.xlsx                                             .\VOL010\IMAGES\IMAGES004\00142559.pdf    .\VOL010\NATIVES\NATIVES004\00142559.XLSX
                                               495270_SupportingEJ_OutreachLocations_all_MailMo
00142560   00142560   2/24/2021 12:37 Edoc     dified.xlsx                                          .\VOL010\IMAGES\IMAGES004\00142560.pdf    .\VOL010\NATIVES\NATIVES004\00142560.XLSX
                                               Draft Executive Steering Committee Meeting
00142561   00142562   2/24/2021 14:41 Email    Presentation                                         .\VOL010\IMAGES\IMAGES004\00142561.pdf
                                               I‐495 I‐270 MLS Executive Steering Committee
00142563   00142588   2/24/2021 14:41 Attach   Presentation_final with notes.pdf                    .\VOL010\IMAGES\IMAGES004\00142563.pdf
                                               Draft Executive Steering Committee Meeting
00142589   00142590   2/24/2021 14:41 Email    Presentation                                         .\VOL010\IMAGES\IMAGES004\00142589.pdf
                                               I‐495 I‐270 MLS Executive Steering Committee
00142591   00142616   2/24/2021 14:41 Attach   Presentation_final with notes.pdf                    .\VOL010\IMAGES\IMAGES004\00142591.pdf
00142617   00142617   2/24/2021 15:07 Attach   Batt 827588 Incomming.pdf                            .\VOL010\IMAGES\IMAGES004\00142617.pdf
00142618   00142618   2/24/2021 16:04 Email    Briefing                                             .\VOL010\IMAGES\IMAGES004\00142618.pdf
                                               Morningstar Tabernacle No. 88 and Moses Hall
00142619   00142620   2/24/2021 16:27 Email    Fieldwork Update                                     .\VOL010\IMAGES\IMAGES004\00142619.pdf
                                               Morningstar Tabernacle No. 88 and Moses Hall
00142621   00142622   2/24/2021 16:57 Email    Fieldwork Update                                     .\VOL010\IMAGES\IMAGES004\00142621.pdf
                                               Batt 828205 Response: I‐495 and I‐270 Public‐Private
00142623   00142624   2/24/2021 17:49 Email    Partnership (P3) Program                             .\VOL010\IMAGES\IMAGES004\00142623.pdf
00142625   00142625   2/24/2021 17:49 Attach   Batt_828205_Incoming.pdf                             .\VOL010\IMAGES\IMAGES004\00142625.pdf
00142626   00142631    2/25/2021 9:22 Email    RE: ESC Presentation                                 .\VOL010\IMAGES\IMAGES004\00142626.pdf
                                               I‐495 I‐270 MLS Executive Steering Committee
00142632   00142668    2/25/2021 9:22 Attach   Presentation_final with notes.pptx                   .\VOL010\IMAGES\IMAGES004\00142632.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00142669   00142669   2/25/2021 10:27 Email    (UNCLASSIFIED)                                       .\VOL010\IMAGES\IMAGES004\00142669.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                               Page 133 of 263

00142670   00142671   2/25/2021 10:27 Attach   smime.p7m                                          .\VOL010\IMAGES\IMAGES004\00142670.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00142672   00142672   2/25/2021 10:27 Email    (UNCLASSIFIED)                                     .\VOL010\IMAGES\IMAGES004\00142672.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00142673   00142674   2/25/2021 10:27 Attach   (UNCLASSIFIED)                                     .\VOL010\IMAGES\IMAGES004\00142673.pdf
                                               FW: Managed Lane EIS SHA/MDOT discussion on
00142675   00142678   2/25/2021 10:31 Email    installation fence line impacts                    .\VOL010\IMAGES\IMAGES004\00142675.pdf
                                               2020‐01‐27_I‐495 I‐270 MLS_ Navy Bethesda Response
00142679   00142683   2/25/2021 10:31 Attach   to Request for Information.pdf                     .\VOL010\IMAGES\IMAGES004\00142679.pdf
                                               FW: Managed Lane EIS SHA/MDOT discussion on
00142684   00142687   2/25/2021 10:31 Email    installation fence line impacts                    .\VOL010\IMAGES\IMAGES004\00142684.pdf
                                               2020‐01‐27_I‐495 I‐270 MLS_ Navy Bethesda Response
00142688   00142692   2/25/2021 10:31 Attach   to Request for Information.pdf                     .\VOL010\IMAGES\IMAGES004\00142688.pdf
                                               FW: FHWA and MDOT SHA I‐495 & I‐270 Managed
00142693   00142694   2/25/2021 11:05 Email    Lanes Study RE: DOD‐Army Parcel                    .\VOL010\IMAGES\IMAGES004\00142693.pdf
                                               FW: FHWA and MDOT SHA I‐495 & I‐270 Managed
00142695   00142696   2/25/2021 11:05 Email    Lanes Study RE: DOD‐Army Parcel                    .\VOL010\IMAGES\IMAGES004\00142695.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00142697   00142698   2/25/2021 11:16 Email    Fieldwork Update                                   .\VOL010\IMAGES\IMAGES004\00142697.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00142699   00142702   2/25/2021 12:09 Email    Fieldwork Update                                   .\VOL010\IMAGES\IMAGES004\00142699.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00142703   00142705   2/25/2021 12:10 Email    Fieldwork Update                                   .\VOL010\IMAGES\IMAGES004\00142703.pdf
00142706   00142707   2/25/2021 12:46 Email    Motorcycles Free for HOT Lanes?                    .\VOL010\IMAGES\IMAGES004\00142706.pdf
                                               Re: [EXTERNAL] Re: I‐495 & I‐270 MLS: ALB and BW
00142708   00142713   2/25/2021 14:31 Email    Parkway Discussion                                 .\VOL010\IMAGES\IMAGES004\00142708.pdf
                                               Re: [EXTERNAL] Re: I‐495 & I‐270 MLS: ALB and BW
00142714   00142718   2/25/2021 14:31 Email    Parkway Discussion                                 .\VOL010\IMAGES\IMAGES004\00142714.pdf
                                               Fw: [EXTERNAL] Re: I‐495 & I‐270 MLS: ALB and BW
00142719   00142724   2/25/2021 14:36 Email    Parkway Discussion                                 .\VOL010\IMAGES\IMAGES004\00142719.pdf
                                               RE: I‐495 & I‐270 MLS: USACE/MDE DEIS Comments
00142725   00142726   2/25/2021 15:33 Email    Discussion                                         .\VOL010\IMAGES\IMAGES004\00142725.pdf
                                               2021‐02‐10 MLS MDE and USACE DEIS Comments
00142727   00142729   2/25/2021 15:33 Attach   Discussion_Meeting Notes.pdf                       .\VOL010\IMAGES\IMAGES004\00142727.pdf
00142730   00142736   2/25/2021 15:38 Email    RE: ESC Presentation                               .\VOL010\IMAGES\IMAGES004\00142730.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00142737   00142740   2/25/2021 16:31 Email    Fieldwork Update (second update)                   .\VOL010\IMAGES\IMAGES004\00142737.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00142741   00142744   2/25/2021 16:35 Email    Fieldwork Update (second update)                   .\VOL010\IMAGES\IMAGES004\00142741.pdf
00142745   00142746   2/25/2021 18:16 Email    Executive Steering Committee Presentation          .\VOL010\IMAGES\IMAGES004\00142745.pdf
00142747   00142748   2/25/2021 18:16 Email    Executive Steering Committee Presentation          .\VOL010\IMAGES\IMAGES004\00142747.pdf
                                               I‐495 I‐270 MLS Executive Steering Committee
00142749   00142774   2/25/2021 18:16 Attach   Presentation_02.25.2021.pdf                        .\VOL010\IMAGES\IMAGES004\00142749.pdf

00142775   00142777   2/25/2021 21:15 Email    Fwd: Executive Steering Committee Presentation      .\VOL010\IMAGES\IMAGES004\00142775.pdf
00142778   00142779    2/26/2021 8:12 Email    FW: Executive Steering Committee Presentation       .\VOL010\IMAGES\IMAGES004\00142778.pdf
                                               Re: Request to adjust DNR status to Participating
00142780   00142781    2/26/2021 8:25 Email    Agency for the I495 MLS                             .\VOL010\IMAGES\IMAGES004\00142780.pdf
                                               Re: Request to adjust DNR status to Participating
00142782   00142783    2/26/2021 8:25 Email    Agency for the I495 MLS                             .\VOL010\IMAGES\IMAGES004\00142782.pdf

00142784   00142785   2/26/2021 10:25 Email    RE: Managed Lanes Study: Navy Coordination Meeting .\VOL010\IMAGES\IMAGES004\00142784.pdf
00142786   00142811   2/26/2021 10:25 Attach   Navy Coordination Presentation_02.26.2021.pdf      .\VOL010\IMAGES\IMAGES004\00142786.pdf

00142812   00142813   2/26/2021 10:25 Email    RE: Managed Lanes Study: Navy Coordination Meeting .\VOL010\IMAGES\IMAGES004\00142812.pdf
                                               MDTA‐MDOT Lease FHWA Approval Request
00142814   00142814   2/26/2021 14:39 Attach   02172021.pdf                                            .\VOL010\IMAGES\IMAGES004\00142814.pdf
00142815   00142817   2/26/2021 15:02 Email    RE: I‐495/I‐270 project update                          .\VOL010\IMAGES\IMAGES004\00142815.pdf
                                               Huguley 828230 Response: I‐495 and I‐270 Public‐
00142818   00142819   2/26/2021 15:31 Email    Private Partnership (P3) Program                        .\VOL010\IMAGES\IMAGES004\00142818.pdf
00142820   00142820   2/26/2021 15:31 Attach   Huguley 828230 Incoming.pdf                             .\VOL010\IMAGES\IMAGES004\00142820.pdf
                                               RE: I‐495 & I‐270 MLS: DNR’s DEIS Comments
00142821   00142822   2/26/2021 16:26 Email    Discussion                                              .\VOL010\IMAGES\IMAGES004\00142821.pdf
                                               RE: I‐495 & I‐270 MLS: DNR’s DEIS Comments
00142823   00142824   2/26/2021 16:26 Email    Discussion                                              .\VOL010\IMAGES\IMAGES004\00142823.pdf
                                               2021‐02‐09 MLS DNR DEIS Comments
00142825   00142830   2/26/2021 16:26 Attach   Discussion_Meeting Notes.pdf                            .\VOL010\IMAGES\IMAGES004\00142825.pdf
                                               RE: I‐495 & I‐270 MLS: DNR’s DEIS Comments
00142831   00142832   2/26/2021 16:26 Email    Discussion                                              .\VOL010\IMAGES\IMAGES004\00142831.pdf
                                               RE: Attorney Client: Privileged and Pre‐decisional‐ MLS
00142833   00142835   2/26/2021 16:57 Email    Briefing                                                .\VOL010\IMAGES\IMAGES004\00142833.pdf

00142836   00142836   2/28/2021 16:04 Email    Monday March 1 meeting regarding Plummers Island.   .\VOL010\IMAGES\IMAGES004\00142836.pdf
                                               Threats to Plummers Island from American Legion
00142837   00142842   2/28/2021 16:04 Attach   Bridge expansion 4.6.pdf                            .\VOL010\IMAGES\IMAGES004\00142837.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00142843   00142847     3/1/2021 7:20 Email    Fieldwork Update (second update)                    .\VOL010\IMAGES\IMAGES004\00142843.pdf
00142848   00142848     3/1/2021 9:37 Email    Washington Biologist Field Club                     .\VOL010\IMAGES\IMAGES004\00142848.pdf
00142849   00142851    3/1/2021 10:42 Email    Re: [EXTERNAL] Washington Biologist Field Club      .\VOL010\IMAGES\IMAGES004\00142849.pdf
                                               RE: I‐495 & I‐270 MLS: NCPC's DEIS Comments
00142852   00142856    3/1/2021 13:54 Email    Discussion ‐ Meeting Notes                          .\VOL010\IMAGES\IMAGES004\00142852.pdf
00142857   00142858    3/1/2021 14:55 Email    RE: Washington Biologist Mtg                        .\VOL010\IMAGES\IMAGES004\00142857.pdf
00142859   00142860    3/1/2021 15:08 Email    Requested Language                                  .\VOL010\IMAGES\IMAGES004\00142859.pdf
                                               FW: [EXTERNAL] Re: I‐495 & I‐270 MLS: ALB and BW
00142861   00142866    3/1/2021 15:11 Email    Parkway Discussion                                  .\VOL010\IMAGES\IMAGES004\00142861.pdf
                                               RE: [EXTERNAL] Re: I‐495 & I‐270 MLS: ALB and BW
00142867   00142872    3/1/2021 15:46 Email    Parkway Discussion                                  .\VOL010\IMAGES\IMAGES004\00142867.pdf
00142873   00142874    3/1/2021 15:54 Attach   2019.07.12_DRAFT NPS‐GW Parkway Options.pdf         .\VOL010\IMAGES\IMAGES004\00142873.pdf
00142875   00142877    3/1/2021 16:14 Email    FW: Requested Language                              .\VOL010\IMAGES\IMAGES004\00142875.pdf
                                               Morningstar Tabernacle No. 88 and Moses Hall
00142878   00142882    3/1/2021 16:22 Email    Fieldwork Update 3/1                                .\VOL010\IMAGES\IMAGES004\00142878.pdf
                                               Morningstar Tabernacle No. 88 and Moses Hall
00142883   00142887    3/1/2021 16:28 Email    Fieldwork Update 3/1                                .\VOL010\IMAGES\IMAGES004\00142883.pdf
                                               Meeting Outreach‐Record_Regency Estates CA
00142888   00142890    3/1/2021 18:12 Edoc     022421.docx                                         .\VOL010\IMAGES\IMAGES004\00142888.pdf
00142891   00142891    3/1/2021 18:28 Email    Re: Corps PA information request delay              .\VOL010\IMAGES\IMAGES004\00142891.pdf
                                               Breeding 828246 Response: I‐495 and I‐270 Public‐
00142892   00142893    3/1/2021 18:47 Email    Private Partnership (P3) Program                    .\VOL010\IMAGES\IMAGES004\00142892.pdf
                                               RE: I‐495 & I‐270 MLS: NCPC's DEIS Comments
00142894   00142896     3/2/2021 8:01 Email    Discussion ‐ Meeting Notes                          .\VOL010\IMAGES\IMAGES004\00142894.pdf
                                               2021‐02‐03 MLS NCPC DEIS Comments
00142897   00142901     3/2/2021 8:01 Attach   Discussion_Revised Meeting Notes.pdf                .\VOL010\IMAGES\IMAGES004\00142897.pdf
00142902   00142902     3/2/2021 9:39 Email    FW: P3 program                                      .\VOL010\IMAGES\IMAGES004\00142902.pdf
    Case 8:22-cv-02597-DKC                           Document 42-1                                Filed 05/03/23                              Page 134 of 263

                                              Managed Lanes Study: Environmental Justice Working
00142903   00142903   3/2/2021 11:00 Email    Group                                              .\VOL010\IMAGES\IMAGES004\00142903.pdf
00142904   00142904   3/2/2021 11:53 Email    FW: P3 program                                     .\VOL010\IMAGES\IMAGES004\00142904.pdf

00142905   00142905   3/2/2021 14:00 Attach   2021‐03‐02_FHWA Coordination Mtg Agenda.docx       .\VOL010\IMAGES\IMAGES004\00142905.pdf
                                              2021‐02‐17_FHWA Coordination Meeting Notes_P3
00142906   00142906   3/2/2021 14:00 Attach   Program.docx                                       .\VOL010\IMAGES\IMAGES004\00142906.pdf

00142907   00142908   3/2/2021 14:24 Email    Heads up on MLS Section 106 consulting party emails .\VOL010\IMAGES\IMAGES005\00142907.pdf
00142909   00142909   3/2/2021 15:08 Email    FW: P3 program                                         .\VOL010\IMAGES\IMAGES005\00142909.pdf
                                              RE: MLS: NPS Coordination Meeting ‐ FINAL PREP
00142910   00142911   3/2/2021 15:09 Email    MEETING                                                .\VOL010\IMAGES\IMAGES005\00142910.pdf
                                              Re: MDOT SHA Avoidance/minimization discussion
00142912   00142913   3/2/2021 15:44 Email    with Friends of Moses Hall                             .\VOL010\IMAGES\IMAGES005\00142912.pdf
                                              Re: MDOT SHA Avoidance/minimization discussion
00142914   00142915   3/2/2021 16:23 Email    with Friends of Moses Hall                             .\VOL010\IMAGES\IMAGES005\00142914.pdf
                                              Re: MDOT SHA Avoidance/minimization discussion
00142916   00142917   3/2/2021 16:23 Email    with Friends of Moses Hall                             .\VOL010\IMAGES\IMAGES005\00142916.pdf
00142918   00142919   3/2/2021 17:18 Email    RE: GWMP Signing                                       .\VOL010\IMAGES\IMAGES005\00142918.pdf
00142920   00142921   3/2/2021 17:55 Email    RE: GWMP Signing                                       .\VOL010\IMAGES\IMAGES005\00142920.pdf
00142922   00142923    3/3/2021 6:17 Email    FW_ GWMP Signing(1).pdf                                .\VOL010\IMAGES\IMAGES005\00142922.pdf
00142924   00142926    3/3/2021 7:17 Email    FW: GWMP Signing                                       .\VOL010\IMAGES\IMAGES005\00142924.pdf
                                              I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00142927   00142928   3/3/2021 14:08 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00142927.pdf
                                              In‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00142929   00142929   3/3/2021 14:08 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00142929.pdf
                                              I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00142930   00142931   3/3/2021 14:15 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00142930.pdf
                                              In‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00142932   00142932   3/3/2021 14:15 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00142932.pdf
00142933   00142934   3/3/2021 14:30 Attach   Requested Language                                     .\VOL010\IMAGES\IMAGES005\00142933.pdf
                                              I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00142935   00142936   3/3/2021 14:40 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00142935.pdf
                                              In‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00142937   00142937   3/3/2021 14:40 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00142937.pdf
                                              I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00142938   00142939   3/3/2021 14:43 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00142938.pdf
                                              In‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00142940   00142940   3/3/2021 14:43 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00142940.pdf
00142941   00142941   3/3/2021 14:46 Email    Following up on Gibson Grove Church                    .\VOL010\IMAGES\IMAGES005\00142941.pdf
00142942   00142942   3/3/2021 14:59 Email    Following up on Gibson Grove Church                    .\VOL010\IMAGES\IMAGES005\00142942.pdf
00142943   00142944   3/3/2021 15:16 Email    RE: Contact information                                .\VOL010\IMAGES\IMAGES005\00142943.pdf
                                              Pages from 2019‐06‐24 GWMP 495 NEXT Presentation
00142945   00142945   3/3/2021 15:16 Attach   Final_v3.pdf                                           .\VOL010\IMAGES\IMAGES005\00142945.pdf
00142946   00142948   3/3/2021 16:20 Email    FW: Don’t bottleneck the Purple Line                   .\VOL010\IMAGES\IMAGES005\00142946.pdf
                                              I‐495 and I‐270 Managed Lanes Study ‐ March 10,
                                              10:30 am Section 106 Consulting Parties meeting
00142949   00142951   3/3/2021 16:48 Email    information and link                                   .\VOL010\IMAGES\IMAGES005\00142949.pdf
00142952   00142952   3/3/2021 17:00 Email    FW: P3 program                                         .\VOL010\IMAGES\IMAGES005\00142952.pdf
00142953   00142954   3/3/2021 17:02 Email    DRAFT NPS Presentation for March 4th Meeting           .\VOL010\IMAGES\IMAGES005\00142953.pdf
                                              I‐495 I‐270 NPS Draft
00142955   00143024   3/3/2021 17:02 Attach   Presentation_FHWA_reduced.pdf                          .\VOL010\IMAGES\IMAGES005\00142955.pdf
00143025   00143026   3/3/2021 17:48 Email    FW: GWMP Signing Plan                                  .\VOL010\IMAGES\IMAGES005\00143025.pdf
00143027   00143027   3/3/2021 17:48 Attach   Attachments.html                                       .\VOL010\IMAGES\IMAGES005\00143027.pdf
00143028   00143030   3/3/2021 18:14 Email    FW: GWMP Signing Plan                                  .\VOL010\IMAGES\IMAGES005\00143028.pdf
00143031   00143031   3/3/2021 18:14 Attach   Attachments.html                                       .\VOL010\IMAGES\IMAGES005\00143031.pdf
00143032   00143034   3/3/2021 21:30 Edoc     Monocan.pdf                                            .\VOL010\IMAGES\IMAGES005\00143032.pdf
                                              Re: Don’t bottleneck the Purple Line ‐ the Bethesda
00143035   00143038   3/3/2021 21:53 Email    Mess                                                   .\VOL010\IMAGES\IMAGES005\00143035.pdf
00143039   00143039   3/3/2021 22:02 Edoc     I‐495I‐270 project update Monacan.pdf                  .\VOL010\IMAGES\IMAGES005\00143039.pdf
00143040   00143040   3/3/2021 22:02 Edoc     I‐495I‐270 project update Nansemond.pdf                .\VOL010\IMAGES\IMAGES005\00143040.pdf
00143041   00143041   3/3/2021 22:02 Edoc     I‐495I‐270 project update UpperMattaponi.pdf           .\VOL010\IMAGES\IMAGES005\00143041.pdf
00143042   00143042   3/3/2021 22:02 Edoc     I‐495I‐270 project update Pamunkey.pdf                 .\VOL010\IMAGES\IMAGES005\00143042.pdf
00143043   00143043   3/3/2021 22:02 Edoc     I‐495I‐270 project update Chicahominy.pdf              .\VOL010\IMAGES\IMAGES005\00143043.pdf
00143044   00143044   3/3/2021 22:02 Edoc     I‐495I‐270 project update Rappahannock.pdf             .\VOL010\IMAGES\IMAGES005\00143044.pdf

00143045   00143045   3/3/2021 22:02 Edoc     I‐495I‐270 project update Chicahominy_Eastern.pdf   .\VOL010\IMAGES\IMAGES005\00143045.pdf
                                              FW: I‐495 and I‐270 Managed Lanes Study ‐ March 10,
                                              10:30 am Section 106 Consulting Parties meeting
00143046   00143048    3/4/2021 6:39 Email    information and link                                .\VOL010\IMAGES\IMAGES005\00143046.pdf
                                              Executed ltr Steve Archer re Progrommatic Agt 3‐3‐
00143049   00143052    3/4/2021 6:39 Attach   2021.pdf                                            .\VOL010\IMAGES\IMAGES005\00143049.pdf

00143053   00143054    3/4/2021 7:12 Email    FW: DRAFT NPS Presentation for March 4th Meeting .\VOL010\IMAGES\IMAGES005\00143053.pdf
                                              I‐495 I‐270 NPS Draft
00143055   00143124    3/4/2021 7:12 Attach   Presentation_FHWA_reduced.pdf                          .\VOL010\IMAGES\IMAGES005\00143055.pdf
00143125   00143126    3/4/2021 9:00 Email    I‐495 & I‐270 MLS: NPS Coordination Meeting            .\VOL010\IMAGES\IMAGES005\00143125.pdf
                                              RE: Thursday's MLS NPS Coordination Meeting ‐
00143127   00143132   3/4/2021 12:53 Email    Presentation                                           .\VOL010\IMAGES\IMAGES005\00143127.pdf
                                              RE: Thursday's MLS NPS Coordination Meeting ‐
00143133   00143138   3/4/2021 12:53 Email    Presentation                                           .\VOL010\IMAGES\IMAGES005\00143133.pdf
                                              RE: Thursday's MLS NPS Coordination Meeting ‐
00143139   00143143   3/4/2021 12:53 Email    Presentation                                           .\VOL010\IMAGES\IMAGES005\00143139.pdf
                                              RE: I‐495 & I‐270 MLS: EPA’s DEIS Comments
00143144   00143145   3/4/2021 13:22 Email    Discussion ‐ Meeting Notes                             .\VOL010\IMAGES\IMAGES005\00143144.pdf
                                              2021.02.18 MLS EPA DEIS Comments
00143146   00143150   3/4/2021 13:22 Attach   Discussion_Meeting Notes.pdf                           .\VOL010\IMAGES\IMAGES005\00143146.pdf
                                              Re: I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143151   00143152   3/4/2021 13:51 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143151.pdf
                                              Re: In‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143153   00143154   3/4/2021 13:51 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143153.pdf
                                              106 Consultation_ I‐495 I‐270 MLS‐Stream Sites
00143155   00143155   3/4/2021 14:36 Edoc     MCIA.pdf                                               .\VOL010\IMAGES\IMAGES005\00143155.pdf
00143156   00143156   3/4/2021 14:36 Edoc     MLS MCIA 2‐12‐21.pdf                                   .\VOL010\IMAGES\IMAGES005\00143156.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                Filed 05/03/23                             Page 135 of 263

                                              106 Consultation_ I‐495 I‐270 MLS‐Stream Sites
00143157   00143157   3/4/2021 14:36 Edoc     NProctor1.pdf                                        .\VOL010\IMAGES\IMAGES005\00143157.pdf
00143158   00143158   3/4/2021 14:36 Edoc     MLS Conoy Creations 2‐12‐21.pdf                      .\VOL010\IMAGES\IMAGES005\00143158.pdf
                                              106 Consultation_ I‐495 I‐270 MLS‐Stream Sites
00143159   00143159   3/4/2021 14:36 Edoc     Pisct_Conoy_Tr_Council.pdf                           .\VOL010\IMAGES\IMAGES005\00143159.pdf

00143160   00143160   3/4/2021 14:36 Edoc     MLS Piscataway‐Conoy Tribe of Maryland 2‐12‐21.pdf .\VOL010\IMAGES\IMAGES005\00143160.pdf
                                              106 Consultation_ I‐495 I‐270 MLS‐Stream Sites
00143161   00143161   3/4/2021 14:36 Edoc     NProctor2.pdf                                      .\VOL010\IMAGES\IMAGES005\00143161.pdf

00143162   00143162   3/4/2021 14:36 Edoc     MLS Piscataway‐Conoy Tribe Cedarville Band 2‐1.pdf   .\VOL010\IMAGES\IMAGES005\00143162.pdf
                                              106 Consultation_ I‐495 I‐270 MLS‐Stream Sites
00143163   00143163   3/4/2021 14:36 Edoc     WTayac.pdf                                           .\VOL010\IMAGES\IMAGES005\00143163.pdf
00143164   00143164   3/4/2021 14:36 Edoc     MLS Piscataway Indian Nation 2‐12‐21.pdf             .\VOL010\IMAGES\IMAGES005\00143164.pdf
                                              106 Consultation_ I‐495 I‐270 MLS‐Stream Sites
00143165   00143165   3/4/2021 14:36 Edoc     RNewman2.pdf                                         .\VOL010\IMAGES\IMAGES005\00143165.pdf

00143166   00143166   3/4/2021 14:36 Edoc     MLS Piscataway‐Conoy Choptico Band 2‐12‐21.pdf       .\VOL010\IMAGES\IMAGES005\00143166.pdf
                                              106 Consultation_ I‐495 I‐270 MLS‐Stream Sites
00143167   00143167   3/4/2021 14:36 Edoc     RNewman1.pdf                                         .\VOL010\IMAGES\IMAGES005\00143167.pdf

00143168   00143168   3/4/2021 14:36 Edoc     MLS Maryland Indian Tourism Association 2‐12‐2.pdf   .\VOL010\IMAGES\IMAGES005\00143168.pdf
00143169   00143169   3/4/2021 14:37 Email    FW: P3 program                                       .\VOL010\IMAGES\IMAGES005\00143169.pdf
00143170   00143170   3/4/2021 14:37 Edoc     MLS Piscataway Indian Nation 2‐12‐21.pdf             .\VOL010\IMAGES\IMAGES005\00143170.pdf

00143171   00143171   3/4/2021 14:37 Edoc     MLS Piscataway‐Conoy Choptico Band 2‐12‐21.pdf       .\VOL010\IMAGES\IMAGES005\00143171.pdf
00143172   00143172   3/4/2021 14:37 Edoc     MLS Conoy Creations 2‐12‐21.pdf                      .\VOL010\IMAGES\IMAGES005\00143172.pdf
                                              MLS Piscataway‐Conoy Tribe Cedarville Band 2‐12‐
00143173   00143173   3/4/2021 14:37 Edoc     21.pdf                                               .\VOL010\IMAGES\IMAGES005\00143173.pdf

00143174   00143174   3/4/2021 14:37 Edoc     MLS Maryland Indian Tourism Association 2‐12‐21.pdf .\VOL010\IMAGES\IMAGES005\00143174.pdf
00143175   00143175   3/4/2021 14:37 Edoc     MLS MCIA 2‐12‐21.pdf                                   .\VOL010\IMAGES\IMAGES005\00143175.pdf
                                              RE: I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143176   00143178   3/4/2021 15:04 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143176.pdf
                                              RE: In‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143179   00143181   3/4/2021 15:04 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143179.pdf
                                              FHWA Tribal Notification_ Ph1 Survey MLS stream Mit
00143182   00143182   3/4/2021 15:12 Edoc     sites.pdf                                              .\VOL010\IMAGES\IMAGES005\00143182.pdf
                                              RE: Morningstar Tabernacle No. 88 and Moses Hall
00143183   00143188   3/4/2021 16:20 Email    Fieldwork Update 3/4                                   .\VOL010\IMAGES\IMAGES005\00143183.pdf
00143189   00143189   3/4/2021 16:20 Attach   20210304_125053.jpg                                    .\VOL010\IMAGES\IMAGES005\00143189.pdf
                                              RE: Morningstar Tabernacle No. 88 and Moses Hall
00143190   00143195   3/4/2021 16:54 Email    Fieldwork Update 3/4                                   .\VOL010\IMAGES\IMAGES005\00143190.pdf
00143196   00143196   3/4/2021 16:54 Attach   20210304_125053.jpg                                    .\VOL010\IMAGES\IMAGES005\00143196.pdf
00143197   00143197   3/4/2021 17:00 Email    FW: P3 programl                                        .\VOL010\IMAGES\IMAGES005\00143197.pdf
00143198   00143198   3/4/2021 17:58 Email    FW: DMV traffic congestion                             .\VOL010\IMAGES\IMAGES005\00143198.pdf
                                              Re: MDOT SHA Avoidance/minimization discussion
00143199   00143201    3/5/2021 8:22 Email    with Friends of Moses Hall                             .\VOL010\IMAGES\IMAGES005\00143199.pdf
                                              Re: MDOT SHA Avoidance/minimization discussion
00143202   00143204    3/5/2021 8:22 Email    with Friends of Moses Hall                             .\VOL010\IMAGES\IMAGES005\00143202.pdf
                                              RE: I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143205   00143207   3/5/2021 10:49 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143205.pdf
                                              RE: In‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143208   00143210   3/5/2021 10:49 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143208.pdf
00143211   00143211   3/5/2021 13:12 Email    Re: [EXTERNAL] NPS meeting                             .\VOL010\IMAGES\IMAGES005\00143211.pdf
                                              Re: I‐495 & I‐270 Managed Lanes Study: Meeting with
00143212   00143219   3/5/2021 14:07 Email    Washington Biologists' Field Club                      .\VOL010\IMAGES\IMAGES005\00143212.pdf
00143220   00143222   3/5/2021 14:53 Email    Re: Customer Service                                   .\VOL010\IMAGES\IMAGES005\00143220.pdf
00143223   00143225   3/5/2021 15:21 Email    I‐495 & I‐270 MLS: February IAWG Meeting Notes         .\VOL010\IMAGES\IMAGES005\00143223.pdf
                                              I‐495 I‐270 Managed Lanes Study February IAWG Key
00143226   00143236   3/5/2021 15:21 Attach   Notes_2021‐02‐17.pdf                                   .\VOL010\IMAGES\IMAGES005\00143226.pdf
00143237   00143239   3/5/2021 15:21 Email    I‐495 & I‐270 MLS: February IAWG Meeting Notes         .\VOL010\IMAGES\IMAGES005\00143237.pdf
00143240   00143241   3/5/2021 15:21 Email    I‐495 & I‐270 MLS: February IAWG Meeting Notes         .\VOL010\IMAGES\IMAGES005\00143240.pdf
                                              RE: I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143242   00143244    3/8/2021 8:54 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143242.pdf
                                              RE: I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143245   00143247    3/8/2021 8:54 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143245.pdf
                                              RE: I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143248   00143250    3/8/2021 9:09 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143248.pdf
                                              RE: I‐495 and I‐270 Managed Lanes Study Section 106
                                              National Historic Preservation Act Consultation, March
00143251   00143253    3/8/2021 9:09 Email    10 Meeting                                             .\VOL010\IMAGES\IMAGES005\00143251.pdf

00143254   00143257    3/8/2021 9:40 Email    Morningstar Fieldwork update/archival documents      .\VOL010\IMAGES\IMAGES005\00143254.pdf

00143258   00143261    3/8/2021 9:46 Email    Morningstar Fieldwork update/archival documents      .\VOL010\IMAGES\IMAGES005\00143258.pdf

00143262   00143266   3/8/2021 10:07 Email    Re: Morningstar Fieldwork update/archival documents .\VOL010\IMAGES\IMAGES005\00143262.pdf

00143267   00143271   3/8/2021 10:19 Email    RE: Morningstar Fieldwork update/archival documents .\VOL010\IMAGES\IMAGES005\00143267.pdf

00143272   00143276   3/8/2021 10:19 Email    RE: Morningstar Fieldwork update/archival documents .\VOL010\IMAGES\IMAGES005\00143272.pdf
00143277   00143279   3/8/2021 11:21 Email    RE: Moses Cemetery Agreement?                       .\VOL010\IMAGES\IMAGES005\00143277.pdf

00143280   00143281   3/8/2021 11:21 Attach   20201005_7501 Seven Lock Rd_Signs installed.pdf       .\VOL010\IMAGES\IMAGES005\00143280.pdf
00143282   00143284   3/8/2021 11:26 Email    RE: Moses Cemetery Agreement?                         .\VOL010\IMAGES\IMAGES005\00143282.pdf
                                              RE_ MLS Consulting Parties Prep Meeting [with
00143285   00143285   3/8/2021 11:41 Email    F...(2).pdf                                           .\VOL010\IMAGES\IMAGES005\00143285.pdf
                                              RE: MLS Consulting Parties Prep Meeting [with FHWA] ‐
00143286   00143286   3/8/2021 11:41 Email    Materials for today's prep                            .\VOL010\IMAGES\IMAGES005\00143286.pdf

00143287   00143291   3/8/2021 12:07 Email    Re: Morningstar Fieldwork update/archival documents .\VOL010\IMAGES\IMAGES005\00143287.pdf

00143292   00143297   3/8/2021 12:07 Email    Re: Morningstar Fieldwork update/archival documents .\VOL010\IMAGES\IMAGES005\00143292.pdf
                                              FW: Morningstar Fieldwork update/archival
00143298   00143303   3/8/2021 12:12 Email    documents                                           .\VOL010\IMAGES\IMAGES005\00143298.pdf
                                              Re: 495 and 270 Managed Lanes Study ‐ Section 106
00143304   00143305   3/8/2021 16:19 Email    PA and signatories                                  .\VOL010\IMAGES\IMAGES005\00143304.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                  Filed 05/03/23                            Page 136 of 263

                                               Anti‐toll movement may upend North Carolina’s first
00143306   00143309    3/8/2021 20:24 Email    transportation P3                                   .\VOL010\IMAGES\IMAGES005\00143306.pdf
00143310   00143311     3/9/2021 8:23 Email    Re: [EXTERNAL] NPS meeting                          .\VOL010\IMAGES\IMAGES005\00143310.pdf
00143312   00143315    3/9/2021 10:02 Email    RE: Moses Cemetery Agreement?                       .\VOL010\IMAGES\IMAGES005\00143312.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study: Meeting with
00143316   00143324    3/9/2021 10:27 Email    Washington Biologists' Field Club                   .\VOL010\IMAGES\IMAGES005\00143316.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study: Meeting with
00143325   00143334    3/9/2021 10:33 Email    Washington Biologists' Field Club                   .\VOL010\IMAGES\IMAGES005\00143325.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study: Meeting with
00143335   00143344    3/9/2021 11:45 Email    Washington Biologists' Field Club                   .\VOL010\IMAGES\IMAGES005\00143335.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study: Meeting with
00143345   00143355    3/9/2021 11:49 Email    Washington Biologists' Field Club                   .\VOL010\IMAGES\IMAGES005\00143345.pdf

00143356   00143357    3/9/2021 14:29 Email    RE: MLS Consulting Parties Prep Meeting [with FHWA] .\VOL010\IMAGES\IMAGES005\00143356.pdf

00143358   00143358    3/9/2021 14:30 Email    RE_ MLS Consulting Parties Prep Meeting [with F....pdf .\VOL010\IMAGES\IMAGES005\00143358.pdf
                                               RE: Managed Lanes Study: Environmental Justice
00143359   00143360    3/9/2021 15:39 Email    Working Group                                          .\VOL010\IMAGES\IMAGES005\00143359.pdf
                                               2021.03.02_MLS_EJWG_Discussion_Meeting_Notes_FI
00143361   00143367    3/9/2021 15:39 Attach   NAL.pdf                                                .\VOL010\IMAGES\IMAGES005\00143361.pdf
00143368   00143371    3/9/2021 15:39 Attach   EJPublicInv_DEIS_Index_030421.docx                     .\VOL010\IMAGES\IMAGES005\00143368.pdf

00143372   00143373    3/9/2021 17:03 Email    Fw: [EXTERNAL] NPS Archaeology DOE forms for MLS      .\VOL010\IMAGES\IMAGES005\00143372.pdf
00143374   00143375    3/10/2021 8:34 Attach   Requested Language                                    .\VOL010\IMAGES\IMAGES005\00143374.pdf
                                               I‐495 and I‐270 Managed Lanes Study ‐ Draft Section
                                               106 Programmatic Agreement ‐ comments requested
00143376   00143377    3/10/2021 9:45 Email    by April 12, 2021                                     .\VOL010\IMAGES\IMAGES005\00143376.pdf
                                               I‐495 and I‐270 Managed Lanes Study ‐ Draft
00143378   00143379    3/10/2021 9:46 Email    Sec...(1).pdf                                         .\VOL010\IMAGES\IMAGES005\00143378.pdf
00143380   00143382    3/10/2021 9:46 Attach   MLS 106_PA_Draft_1_Transmittal_3_10_21.pdf            .\VOL010\IMAGES\IMAGES005\00143380.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ Draft
                                               Section 106 Programmatic Agreement ‐ comments
00143383   00143384   3/10/2021 11:20 Email    requested by April 12, 2021                           .\VOL010\IMAGES\IMAGES005\00143383.pdf
00143385   00143385   3/10/2021 12:10 Email    CP Meeting Presentation PDF                           .\VOL010\IMAGES\IMAGES005\00143385.pdf
                                               RE: I‐495 and I‐270 MLS: Section 106 update ‐ Save
                                               the Date Weds March 10, 10:30‐12 Consulting Party
00143386   00143389   3/10/2021 13:43 Email    Meeting                                               .\VOL010\IMAGES\IMAGES005\00143386.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐
00143390   00143391   3/10/2021 13:51 Email    Presentation Slides from Today's Meeting              .\VOL010\IMAGES\IMAGES005\00143390.pdf

00143392   00143393   3/10/2021 13:58 Email    RE_ I‐495 and I‐270 Managed Lanes Study ‐ Prese....pdf .\VOL010\IMAGES\IMAGES005\00143392.pdf

00143394   00143426   3/10/2021 13:58 Attach   MLS_Consulting Parties Meeting No. 4 Presentat.pdf    .\VOL010\IMAGES\IMAGES005\00143394.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐
00143427   00143428   3/10/2021 13:58 Email    Presentation Slides from Today's Meeting              .\VOL010\IMAGES\IMAGES005\00143427.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐
00143429   00143430   3/10/2021 13:58 Email    Presentation Slides from Today's Meeting              .\VOL010\IMAGES\IMAGES005\00143429.pdf
                                               RE: Draft Letter to Virginia Tribes/MLS PA Draft 1
00143431   00143432   3/10/2021 15:05 Email    Transmittal                                           .\VOL010\IMAGES\IMAGES005\00143431.pdf
00143433   00143450   3/10/2021 15:42 Edoc     Talking Points ‐ ASHE Potomac_2021‐03‐10.docx         .\VOL010\IMAGES\IMAGES005\00143433.pdf
00143451   00143496   3/10/2021 15:44 Edoc     ASHE Potomac_2021‐03‐10.pdf                           .\VOL010\IMAGES\IMAGES005\00143451.pdf
00143497   00143498   3/10/2021 17:11 Email    I‐495 & I‐270 MLS March IAWG Meeting                  .\VOL010\IMAGES\IMAGES005\00143497.pdf
00143499   00143501   3/10/2021 17:11 Email    I‐495 & I‐270 MLS March IAWG Meeting                  .\VOL010\IMAGES\IMAGES005\00143499.pdf
00143502   00143503   3/10/2021 17:11 Email    I‐495 & I‐270 MLS March IAWG Meeting                  .\VOL010\IMAGES\IMAGES005\00143502.pdf

00143504   00143504    3/11/2021 8:33 Email    RE: Managed Lanes Study: Navy Coordination Meeting .\VOL010\IMAGES\IMAGES005\00143504.pdf

00143505   00143506    3/11/2021 8:33 Attach   RE: Managed Lanes Study: Navy Coordination Meeting .\VOL010\IMAGES\IMAGES005\00143505.pdf
00143507   00143507   3/11/2021 11:23 Email    Confidential                                       .\VOL010\IMAGES\IMAGES005\00143507.pdf
00143508   00143509   3/11/2021 11:23 Attach   Multiple ROD Talking Points.docx                   .\VOL010\IMAGES\IMAGES005\00143508.pdf
                                               Chickahominy_Tribe_Eastern PA 03_2021 letter
00143510   00143511   3/11/2021 14:43 Edoc     (002).pdf                                          .\VOL010\IMAGES\IMAGES005\00143510.pdf
                                               Chickahominy_Indian_Tribe PA 03_2021 letter
00143512   00143513   3/11/2021 14:44 Edoc     (002).pdf                                          .\VOL010\IMAGES\IMAGES005\00143512.pdf
00143514   00143515   3/11/2021 14:46 Edoc     Monacan_ Nation PA 03_2021 letter (002).pdf        .\VOL010\IMAGES\IMAGES005\00143514.pdf
00143516   00143517   3/11/2021 14:47 Edoc     Nansemond_Indian PA 03_2021 letter (002).pdf       .\VOL010\IMAGES\IMAGES005\00143516.pdf
00143518   00143519   3/11/2021 14:48 Edoc     Pamunkey_Tribe PA 03_2021 letter.pdf               .\VOL010\IMAGES\IMAGES005\00143518.pdf
00143520   00143521   3/11/2021 15:06 Edoc     Rappahannock_Tribe PA 03_2021 letter.pdf           .\VOL010\IMAGES\IMAGES005\00143520.pdf
00143522   00143523   3/11/2021 15:07 Edoc     Upper_Mattaponi_Tribe PA 03_2021 letter.pdf        .\VOL010\IMAGES\IMAGES005\00143522.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00143524   00143529   3/11/2021 15:13 Email    Fieldwork Update 3/4                               .\VOL010\IMAGES\IMAGES005\00143524.pdf
00143530   00143532   3/11/2021 15:18 Attach   RE: SB [Historic Property Request]                 .\VOL010\IMAGES\IMAGES005\00143530.pdf
                                               Historic
                                               Resources_MIHP_NHRPListedEligible_SB960_Table.xls
00143533   00143533   3/11/2021 15:18 Attach   x                                                  .\VOL010\IMAGES\IMAGES005\00143533.pdf        .\VOL010\NATIVES\NATIVES005\00143533.xlsx
                                               Temporary Virtual Public Involvement During COVID
00143534   00143535    3/12/2021 8:32 Attach   3.11.21.docx                                       .\VOL010\IMAGES\IMAGES005\00143534.pdf
                                               Re: [EXTERNAL] RE: Thursday's MLS NPS Coordination
00143536   00143541   3/12/2021 13:05 Email    Meeting ‐ Presentation                             .\VOL010\IMAGES\IMAGES005\00143536.pdf
                                               Re: [EXTERNAL] RE: Thursday's MLS NPS Coordination
00143542   00143549   3/12/2021 13:05 Email    Meeting ‐ Presentation                             .\VOL010\IMAGES\IMAGES005\00143542.pdf

00143550   00143552   3/12/2021 17:11 Email    RE: Managed Lanes Study: Navy Coordination Meeting .\VOL010\IMAGES\IMAGES005\00143550.pdf
00143553   00143553   3/12/2021 17:11 Attach   LOD.dbf                                            .\VOL010\IMAGES\IMAGES005\00143553.pdf        .\VOL010\NATIVES\NATIVES005\00143553.dbf
00143554   00143554   3/12/2021 17:11 Attach   RWAY_Line_Existing.dbf                             .\VOL010\IMAGES\IMAGES005\00143554.pdf        .\VOL010\NATIVES\NATIVES005\00143554.dbf
00143555   00143555   3/12/2021 17:11 Attach   MLS_NavyCoordination_GIS.pdf                       .\VOL010\IMAGES\IMAGES005\00143555.pdf
00143556   00143556   3/12/2021 17:11 Attach   MLS_Navy Coordination Image.png                    .\VOL010\IMAGES\IMAGES005\00143556.pdf

00143557   00143559   3/12/2021 17:11 Email    RE: Managed Lanes Study: Navy Coordination Meeting .\VOL010\IMAGES\IMAGES005\00143557.pdf
                                               Re: Meeting Coordination Assistance: Seven Locks
00143560   00143561    3/15/2021 8:24 Email    Road                                               .\VOL010\IMAGES\IMAGES005\00143560.pdf
                                               FW: [EXTERNAL] RE: Thursday's MLS NPS Coordination
00143562   00143569    3/15/2021 8:39 Email    Meeting ‐ Presentation                             .\VOL010\IMAGES\IMAGES005\00143562.pdf
                                               FW: [EXTERNAL] RE: Thursday's MLS NPS Coordination
00143570   00143577   3/15/2021 15:02 Email    Meeting ‐ Presentation                             .\VOL010\IMAGES\IMAGES005\00143570.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00143578   00143584   3/15/2021 16:42 Email    Fieldwork Update 3/4                               .\VOL010\IMAGES\IMAGES005\00143578.pdf
                                               RE: 495 and 270 Managed Lanes Study ‐ Section 106
00143585   00143587   3/15/2021 17:35 Email    PA and signatories                                 .\VOL010\IMAGES\IMAGES005\00143585.pdf
                                               RE: 495 and 270 Managed Lanes Study ‐ Section 106
00143588   00143590    3/16/2021 6:38 Email    PA and signatories                                 .\VOL010\IMAGES\IMAGES005\00143588.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00143591   00143593   3/16/2021 10:23 Email    (UNCLASSIFIED)                                     .\VOL010\IMAGES\IMAGES005\00143591.pdf
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                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00143594   00143596   3/16/2021 10:23 Email    (UNCLASSIFIED)                                    .\VOL010\IMAGES\IMAGES005\00143594.pdf
                                               RE: Managed Lanes Study: EJ Working Group Meeting
00143597   00143599   3/16/2021 15:00 Email    #2 Availability                                   .\VOL010\IMAGES\IMAGES005\00143597.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00143600   00143608   3/16/2021 18:43 Email    Fieldwork Update 3/4                              .\VOL010\IMAGES\IMAGES005\00143600.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00143609   00143618    3/17/2021 7:10 Email    Fieldwork Update 3/4                              .\VOL010\IMAGES\IMAGES005\00143609.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00143619   00143628    3/17/2021 7:17 Email    Fieldwork Update 3/4                              .\VOL010\IMAGES\IMAGES005\00143619.pdf
00143629   00143630    3/17/2021 8:48 Email    I‐495 & I‐270 RPA Noise Analysis Memo             .\VOL010\IMAGES\IMAGES005\00143629.pdf
                                               I‐270 I‐495 MLS ‐ Noise Analysis Approach
00143631   00143631    3/17/2021 8:48 Attach   Update_2021‐03‐09_draft.docx                      .\VOL010\IMAGES\IMAGES005\00143631.pdf
00143632   00143633    3/17/2021 8:48 Email    I‐495 & I‐270 RPA Noise Analysis Memo             .\VOL010\IMAGES\IMAGES005\00143632.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00143634   00143641    3/17/2021 8:54 Email    Fieldwork Update 3/4                              .\VOL010\IMAGES\IMAGES005\00143634.pdf
                                               RE: COVID‐19 Travel Forecasting Approach (MLS) ‐
00143642   00143643   3/17/2021 10:17 Email    Follow Up Discussion                              .\VOL010\IMAGES\IMAGES005\00143642.pdf

                                               RE: Section 106 Consultation: draft Programmatic
00143644   00143645   3/17/2021 10:48 Email    Agreement for the I‐495 & I‐270 Managed Lanes Study .\VOL010\IMAGES\IMAGES005\00143644.pdf
00143646   00143647   3/17/2021 11:33 Email    RE: I‐495/I‐270 MLS project PA (Draft 1)            .\VOL010\IMAGES\IMAGES005\00143646.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐
00143648   00143650   3/17/2021 12:13 Email    Presentation Slides from Today's Meeting            .\VOL010\IMAGES\IMAGES005\00143648.pdf
00143651   00143652   3/17/2021 13:39 Email    Re: I‐495/I‐270 MLS project PA (Draft 1)            .\VOL010\IMAGES\IMAGES005\00143651.pdf

00143653   00143653   3/17/2021 14:00 Attach   2021‐03‐17_FHWA Coordination Mtg Agenda.docx        .\VOL010\IMAGES\IMAGES005\00143653.pdf
                                               2021‐03‐02_FHWA Coordination Meeting
00143654   00143655   3/17/2021 14:00 Attach   Notes_MLS.docx                                      .\VOL010\IMAGES\IMAGES005\00143654.pdf
                                               2021‐03‐02_FHWA Coordination Meeting Notes_P3
00143656   00143656   3/17/2021 14:00 Attach   Program.docx                                        .\VOL010\IMAGES\IMAGES005\00143656.pdf
00143657   00143659   3/17/2021 15:09 Email    RE: I‐495/I‐270 MLS project PA (Draft 1)            .\VOL010\IMAGES\IMAGES005\00143657.pdf
                                               RE: COVID‐19 Travel Forecasting Approach (MLS) ‐
00143660   00143661   3/17/2021 15:31 Email    Follow Up Discussion                                .\VOL010\IMAGES\IMAGES005\00143660.pdf
                                               FHWA NO ACTION REQUIRED: Tribal Notification: draft
00143662   00143662   3/17/2021 16:45 Email    PA for I‐495/I‐270 MLS                              .\VOL010\IMAGES\IMAGES005\00143662.pdf
                                               FHWA NO ACTION REQUIRED: Tribal Notification: draft
00143663   00143664   3/17/2021 16:45 Email    PA for I‐495/I‐270 MLS                              .\VOL010\IMAGES\IMAGES005\00143663.pdf
                                               Morningstar Tabernacle No. 88 and Moses Hall
00143665   00143671    3/18/2021 7:05 Email    Fieldwork Update 3/18                               .\VOL010\IMAGES\IMAGES005\00143665.pdf
                                               Morningstar Tabernacle No. 88 and Moses Hall
00143672   00143678    3/18/2021 7:08 Email    Fieldwork Update 3/18                               .\VOL010\IMAGES\IMAGES005\00143672.pdf
00143679   00143683    3/18/2021 9:49 Email    FW: Question                                        .\VOL010\IMAGES\IMAGES005\00143679.pdf

00143684   00143684   3/18/2021 13:00 Attach   2021_3.18.SHAFHWA Coord Mtg draft agenda.doc          .\VOL010\IMAGES\IMAGES005\00143684.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study: Washington
00143685   00143686   3/18/2021 13:12 Email    Biologists' Field Club                                .\VOL010\IMAGES\IMAGES005\00143685.pdf
                                               Re: [EXTERNAL] RE: I‐495 & I‐270 Managed Lanes
00143687   00143688   3/18/2021 13:22 Email    Study: Washington Biologists' Field Club              .\VOL010\IMAGES\IMAGES005\00143687.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study: Washington
00143689   00143690   3/18/2021 14:24 Email    Biologists' Field Club                                .\VOL010\IMAGES\IMAGES005\00143689.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study: Washington
00143691   00143693   3/18/2021 15:20 Email    Biologists' Field Club                                .\VOL010\IMAGES\IMAGES005\00143691.pdf
00143694   00143696   3/18/2021 15:43 Edoc     2021.03.18_Katie Shaver_PIA 10‐Day Letter.pdf         .\VOL010\IMAGES\IMAGES005\00143694.pdf

00143697   00143698   3/18/2021 15:47 Edoc     2021.03.18_Cynthia A Gierhart_PIA 10‐Day Letter.pdf   .\VOL010\IMAGES\IMAGES005\00143697.pdf

00143699   00143700   3/18/2021 19:22 Email    February Executive Steering Committee Meeting Notes .\VOL010\IMAGES\IMAGES005\00143699.pdf
                                               I‐495 I‐270 MLS Executive Steering Committee_ Key
00143701   00143709   3/18/2021 19:22 Attach   Notes_2021‐02‐25.pdf                                .\VOL010\IMAGES\IMAGES005\00143701.pdf

00143710   00143711   3/18/2021 19:22 Email    February Executive Steering Committee Meeting Notes .\VOL010\IMAGES\IMAGES005\00143710.pdf
                                               I‐495 I‐270 MLS Executive Steering Committee_ Key
00143712   00143720   3/18/2021 19:22 Attach   Notes_2021‐02‐25.pdf                                .\VOL010\IMAGES\IMAGES005\00143712.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00143721   00143721    3/19/2021 6:54 Email    (UNCLASSIFIED)                                      .\VOL010\IMAGES\IMAGES005\00143721.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00143722   00143725    3/19/2021 6:54 Attach   (UNCLASSIFIED)                                      .\VOL010\IMAGES\IMAGES005\00143722.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00143726   00143726    3/19/2021 6:54 Email    (UNCLASSIFIED)                                      .\VOL010\IMAGES\IMAGES005\00143726.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00143727   00143730    3/19/2021 6:54 Attach   (UNCLASSIFIED)                                      .\VOL010\IMAGES\IMAGES005\00143727.pdf
                                               2021.03.04 MLS NPS DEIS Comments
00143731   00143740    3/19/2021 8:20 Attach   Discussion_Meeting Notes_Draft.docx                 .\VOL010\IMAGES\IMAGES005\00143731.pdf
00143741   00143742    3/19/2021 9:02 Email    Draft NPS Letter                                    .\VOL010\IMAGES\IMAGES005\00143741.pdf
00143743   00143744    3/19/2021 9:02 Email    Draft NPS Letter                                    .\VOL010\IMAGES\IMAGES005\00143743.pdf

00143745   00143745    3/19/2021 9:45 Email    Fw: MLS FHWA Request for Batch 1 DEIS Responses       .\VOL010\IMAGES\IMAGES005\00143745.pdf
                                               Re: [EXTERNAL] RE: I‐495 & I‐270 Managed Lanes
00143746   00143747   3/19/2021 10:42 Email    Study: Washington Biologists' Field Club              .\VOL010\IMAGES\IMAGES005\00143746.pdf
00143748   00143749   3/19/2021 11:31 Email    FW: Draft NPS Letter                                  .\VOL010\IMAGES\IMAGES005\00143748.pdf
                                               2021‐03‐19_I‐495_I‐270 MLS_RPA Commitment
00143750   00143754   3/19/2021 11:31 Attach   Letter.docx                                           .\VOL010\IMAGES\IMAGES005\00143750.pdf
00143755   00143756   3/19/2021 11:32 Email    RE: Draft NPS Letter                                  .\VOL010\IMAGES\IMAGES005\00143755.pdf

00143757   00143757   3/19/2021 11:33 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses       .\VOL010\IMAGES\IMAGES005\00143757.pdf

00143758   00143758   3/19/2021 11:34 Email    FW: MLS FHWA Request for Batch 1 DEIS Responses       .\VOL010\IMAGES\IMAGES005\00143758.pdf
                                               MLS
                                               DEISCommentThemesResponses_Batch1_FHWA_03‐
00143759   00143779   3/19/2021 11:34 Attach   04‐2021.docx                                          .\VOL010\IMAGES\IMAGES005\00143759.pdf
00143780   00143780   3/19/2021 12:55 Email    MLS Environmental Processes Discussion                .\VOL010\IMAGES\IMAGES005\00143780.pdf
                                               P3 Compensatory Stormwater Management Plan:
00143781   00143782   3/19/2021 18:06 Email    FHWA Review                                           .\VOL010\IMAGES\IMAGES005\00143781.pdf
                                               Morningstar Tabernacle No. 88 and Moses Hall
00143783   00143790    3/22/2021 7:24 Email    Fieldwork Update 3/22                                 .\VOL010\IMAGES\IMAGES005\00143783.pdf
00143791   00143793    3/22/2021 7:32 Email    RE: GWMP Signing                                      .\VOL010\IMAGES\IMAGES005\00143791.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00143794   00143801    3/22/2021 7:32 Email    Fieldwork Update 3/22                                 .\VOL010\IMAGES\IMAGES005\00143794.pdf
00143802   00143802    3/22/2021 7:45 Email    RE: MLS Environmental Processes Discussion            .\VOL010\IMAGES\IMAGES005\00143802.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                Filed 05/03/23                             Page 138 of 263

00143803   00143805    3/22/2021 8:01 Email    RE: GWMP Signing                                  .\VOL010\IMAGES\IMAGES005\00143803.pdf
00143806   00143806    3/22/2021 8:01 Attach   pSN‐P001_GWMP_MDOT.pdf                            .\VOL010\IMAGES\IMAGES005\00143806.pdf
00143807   00143807    3/22/2021 8:01 Attach   pSN‐P002_GWMP_MDOT.pdf                            .\VOL010\IMAGES\IMAGES005\00143807.pdf
                                               FW: P3 Compensatory Stormwater Management Plan:
00143808   00143810   3/22/2021 12:48 Email    FHWA Review                                       .\VOL010\IMAGES\IMAGES005\00143808.pdf
00143811   00143813   3/22/2021 15:38 Email    FW: GWMP Signing                                  .\VOL010\IMAGES\IMAGES005\00143811.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00143814   00143822   3/22/2021 16:37 Email    Fieldwork Update 3/22                             .\VOL010\IMAGES\IMAGES005\00143814.pdf
                                               Fw: Morningstar Tabernacle No. 88 and Moses Hall
00143823   00143831   3/22/2021 17:05 Email    Fieldwork Update 3/22                             .\VOL010\IMAGES\IMAGES005\00143823.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00143832   00143841   3/22/2021 17:21 Email    Fieldwork Update 3/22                             .\VOL010\IMAGES\IMAGES005\00143832.pdf
00143842   00143843   3/23/2021 12:52 Email    RE: Managed lanes I‐495/I‐270                     .\VOL010\IMAGES\IMAGES005\00143842.pdf
00143844   00143845   3/23/2021 14:53 Email    FW: Noise question follow up                      .\VOL010\IMAGES\IMAGES005\00143844.pdf
00143846   00143848   3/23/2021 15:21 Email    RE: Traffic Files for the City of Rockville       .\VOL010\IMAGES\IMAGES005\00143846.pdf
00143849   00143850   3/23/2021 15:59 Email    RE: Draft NPS Letter                              .\VOL010\IMAGES\IMAGES005\00143849.pdf
00143851   00143855   3/23/2021 15:59 Attach   NPS Commitment Letter_KP.docx                     .\VOL010\IMAGES\IMAGES005\00143851.pdf
00143856   00143858   3/23/2021 17:48 Email    RE: Draft NPS Letter                              .\VOL010\IMAGES\IMAGES005\00143856.pdf
00143859   00143859    3/24/2021 8:35 Email    MLS TIP                                           .\VOL010\IMAGES\IMAGES005\00143859.pdf
00143860   00143860    3/24/2021 8:36 Email    FW: MLS TIP                                       .\VOL010\IMAGES\IMAGES005\00143860.pdf
00143861   00143861    3/24/2021 8:41 Email    RE: MLS TIP                                       .\VOL010\IMAGES\IMAGES005\00143861.pdf
00143862   00143863   3/24/2021 10:27 Email    RE: MLS TIP                                       .\VOL010\IMAGES\IMAGES005\00143862.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00143864   00143872   3/24/2021 10:29 Email    Fieldwork Update 3/22                             .\VOL010\IMAGES\IMAGES005\00143864.pdf
                                               Morningstar Tabernacle No. 88 and Moses Hall
00143873   00143881   3/24/2021 10:33 Email    Fieldwork Update 3/24                             .\VOL010\IMAGES\IMAGES005\00143873.pdf
00143882   00143883   3/24/2021 10:42 Email    RE: MLS TIP                                       .\VOL010\IMAGES\IMAGES005\00143882.pdf
                                               RE: [Non‐DoD Source] FHWA and MDOT SHA I‐495 & I‐
                                               270 Managed Lanes Study RE: DOD‐Army Parcel
00143884   00143888   3/24/2021 11:08 Email    (UNCLASSIFIED)                                    .\VOL010\IMAGES\IMAGES005\00143884.pdf
                                               LargePropertyOutreach_USArmyForestGlenArea_Alt9_
00143889   00143889   3/24/2021 11:08 Attach   300sc.pdf                                         .\VOL010\IMAGES\IMAGES005\00143889.pdf

00143890   00143891   3/24/2021 11:52 Email    RE: [EXTERNAL] Archaeology DOE databases and forms .\VOL010\IMAGES\IMAGES005\00143890.pdf
00143892   00143900   3/24/2021 11:52 Attach   Site Form for 18AN1696.pdf                            .\VOL010\IMAGES\IMAGES005\00143892.pdf
00143901   00143911   3/24/2021 11:52 Attach   Site Form for 18CH972.pdf                             .\VOL010\IMAGES\IMAGES005\00143901.pdf
00143912   00143920   3/24/2021 11:52 Attach   Site Form for 18PR1191.pdf                            .\VOL010\IMAGES\IMAGES005\00143912.pdf
00143921   00143929   3/24/2021 11:52 Attach   Site Form for 18PR1192.pdf                            .\VOL010\IMAGES\IMAGES005\00143921.pdf
00143930   00143930   3/24/2021 13:06 Email    Lease Agreement Questions                             .\VOL010\IMAGES\IMAGES005\00143930.pdf
00143931   00143934   3/24/2021 13:22 Email    Fw: Question                                          .\VOL010\IMAGES\IMAGES005\00143931.pdf
00143935   00143935   3/24/2021 13:22 Attach   Phase 1 NCPC CB Parkway Review Area2.pptx             .\VOL010\IMAGES\IMAGES005\00143935.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study: Washington
00143936   00143938   3/25/2021 12:47 Email    Biologists' Field Club                                .\VOL010\IMAGES\IMAGES005\00143936.pdf
                                               Re: [EXTERNAL] RE: MLS: Property Boundary Meeting
00143939   00143943   3/25/2021 13:19 Email    with NPS                                              .\VOL010\IMAGES\IMAGES005\00143939.pdf
                                               FW: [EXTERNAL] RE: MLS: Property Boundary Meeting
00143944   00143950   3/25/2021 13:26 Email    with NPS                                              .\VOL010\IMAGES\IMAGES005\00143944.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study: Washington
00143951   00143954   3/25/2021 14:45 Email    Biologists' Field Club                                .\VOL010\IMAGES\IMAGES005\00143951.pdf
                                               NOAA Little Falls Gauging Station Historic Crests and
00143955   00143955   3/25/2021 14:45 Attach   Resent Crests.JPG                                     .\VOL010\IMAGES\IMAGES005\00143955.pdf
00143956   00143956    3/26/2021 9:22 Email    Re: Draft NPS Letter                                  .\VOL010\IMAGES\IMAGES005\00143956.pdf
00143957   00143958    3/26/2021 9:22 Email    Re: Draft NPS Letter                                  .\VOL010\IMAGES\IMAGES005\00143957.pdf
                                               EPA_Request_Relocations_EJScreen_memo_032621.p
00143959   00143962   3/26/2021 10:02 Attach   df                                                    .\VOL010\IMAGES\IMAGES005\00143959.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study: Washington
00143963   00143965   3/26/2021 13:51 Email    Biologists' Field Club                                .\VOL010\IMAGES\IMAGES005\00143963.pdf
00143966   00143970   3/26/2021 13:51 Attach   Plummers Island WBFC collection sites.docx            .\VOL010\IMAGES\IMAGES005\00143966.pdf
                                               Plummers Island plants nmnhsearch‐
00143971   00143971   3/26/2021 13:51 Attach   20210326165846.xlsx                                   .\VOL010\IMAGES\IMAGES005\00143971.pdf    .\VOL010\NATIVES\NATIVES005\00143971.xlsx
00143972   00143972   3/26/2021 13:51 Attach   historic floods Potomac River.xlsx                    .\VOL010\IMAGES\IMAGES005\00143972.pdf    .\VOL010\NATIVES\NATIVES005\00143972.xlsx

00143973   00143977   3/26/2021 14:25 Email    RE: MLS Cemetery Mapping ‐ Morningstar Cemetery     .\VOL010\IMAGES\IMAGES005\00143973.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00143978   00143989   3/27/2021 11:13 Email    Fieldwork Update 3/24                               .\VOL010\IMAGES\IMAGES005\00143978.pdf
00143990   00143990   3/27/2021 11:13 Attach   IMG_3117.jpeg                                       .\VOL010\IMAGES\IMAGES005\00143990.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00143991   00144002    3/29/2021 6:58 Email    Fieldwork Update 3/24                               .\VOL010\IMAGES\IMAGES005\00143991.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00144003   00144015    3/29/2021 8:18 Email    Fieldwork Update 3/24                               .\VOL010\IMAGES\IMAGES005\00144003.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00144016   00144029    3/29/2021 8:36 Email    Fieldwork Update 3/24                               .\VOL010\IMAGES\IMAGES005\00144016.pdf
                                               Re: Morningstar Tabernacle No. 88 and Moses Hall
00144030   00144043    3/29/2021 8:49 Email    Fieldwork Update 3/24                               .\VOL010\IMAGES\IMAGES005\00144030.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00144044   00144058    3/29/2021 9:16 Email    Fieldwork Update 3/24                               .\VOL010\IMAGES\IMAGES005\00144044.pdf
                                               FW: Morningstar Tabernacle No. 88 and Moses Hall
00144059   00144071    3/29/2021 9:53 Email    Fieldwork Update 3/24                               .\VOL010\IMAGES\IMAGES005\00144059.pdf
                                               RE: Morningstar Tabernacle No. 88 and Moses Hall
00144072   00144085   3/29/2021 14:46 Email    Fieldwork Update 3/24                               .\VOL010\IMAGES\IMAGES005\00144072.pdf
00144086   00144087   3/29/2021 15:38 Email    RE: MLS Environmental Processes Discussion          .\VOL010\IMAGES\IMAGES005\00144086.pdf
00144088   00144090   3/29/2021 15:38 Attach   Environmental Processes 03.22.21.docx               .\VOL010\IMAGES\IMAGES005\00144088.pdf
                                               Re: [EXTERNAL] Re: I‐495 & I‐270 MLS: ALB and BW
00144091   00144095   3/29/2021 23:45 Attach   Parkway Discussion                                  .\VOL010\IMAGES\IMAGES005\00144091.pdf
00144096   00144109    3/30/2021 9:01 Attach   IAA ‐ Executed Version_Signed.pdf                   .\VOL010\IMAGES\IMAGES005\00144096.pdf
00144110   00144110   3/30/2021 12:38 Email    MLS COVID‐19 Modeling ‐ Meeting Materials           .\VOL010\IMAGES\IMAGES005\00144110.pdf

00144111   00144136   3/30/2021 12:38 Attach   COVID‐19 Scenario Analysis BRIEFING 03 30 21.pptx   .\VOL010\IMAGES\IMAGES005\00144111.pdf
00144137   00144137   3/30/2021 12:54 Email    RE: MLS COVID‐19 Modeling ‐ Meeting Materials       .\VOL010\IMAGES\IMAGES005\00144137.pdf
                                               Updated burial list for Morningstar No. 88 Moses
00144138   00144138   3/30/2021 13:34 Email    Cemetery, Cabin John, MD                            .\VOL010\IMAGES\IMAGES005\00144138.pdf
00144139   00144147   3/30/2021 13:34 Attach   Morningstar Burial List.pdf                         .\VOL010\IMAGES\IMAGES005\00144139.pdf
00144148   00144149   3/30/2021 15:14 Attach   MLS Batch 7 MHT Response.pdf                        .\VOL010\IMAGES\IMAGES005\00144148.pdf

                                               Re: FW: I‐495 and I‐270 Managed Lanes Study ‐ Indian
00144150   00144164   3/30/2021 16:59 Email    Springs Community Association Questions              .\VOL010\IMAGES\IMAGES005\00144150.pdf
                                               National Park Seminary Citizen Statement ‐
00144165   00144166   3/30/2021 21:49 Attach   Response.docx                                        .\VOL010\IMAGES\IMAGES005\00144165.pdf
00144167   00144168   3/31/2021 10:03 Email    NPS and SHA P3 Meeting Materials                     .\VOL010\IMAGES\IMAGES005\00144167.pdf
00144169   00144169   3/31/2021 10:03 Attach   18938.jpg                                            .\VOL010\IMAGES\IMAGES005\00144169.pdf
                                               BWParkway_PropertyMosaic_BoundaryDescrepancies.
00144170   00144170   3/31/2021 10:03 Attach   pdf                                                  .\VOL010\IMAGES\IMAGES005\00144170.pdf

00144171   00144174   3/31/2021 10:03 Attach   Holy Cross Lutheran to Elinor Seger_GreenbeltPark.pdf .\VOL010\IMAGES\IMAGES005\00144171.pdf
00144175   00144176   3/31/2021 10:03 Attach   Item 1&2Greenbelt Park 2992‐1.pdf                     .\VOL010\IMAGES\IMAGES005\00144175.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                           Page 139 of 263

00144177   00144182   3/31/2021 10:03 Attach   Item 2 Deed_GreenbeltRoad.pdf                         .\VOL010\IMAGES\IMAGES005\00144177.pdf
00144183   00144183   3/31/2021 10:03 Attach   Item 3&4 SRC Plat 27062_GreenbeltPark.pdf             .\VOL010\IMAGES\IMAGES005\00144183.pdf
00144184   00144184   3/31/2021 10:03 Attach   Item 8 Greenbelt Road SREC Plat 16230.pdf             .\VOL010\IMAGES\IMAGES005\00144184.pdf
00144185   00144185   3/31/2021 10:03 Attach   Item11Greenbelt Park SRC Plat 21780.pdf               .\VOL010\IMAGES\IMAGES005\00144185.pdf
                                               NPS Lands response to ROW questions Tom's notes 1
00144186   00144193   3/31/2021 10:03 Attach   (010).docx                                            .\VOL010\IMAGES\IMAGES005\00144186.pdf
00144194   00144194   3/31/2021 10:03 Attach   NPS_SRC Plat 27063_1962.pdf                           .\VOL010\IMAGES\IMAGES005\00144194.pdf
00144195   00144195   3/31/2021 10:03 Attach   NPS_SRC Plat 27063_1962_GreenbeltPark.pdf             .\VOL010\IMAGES\IMAGES005\00144195.pdf
00144196   00144198   3/31/2021 10:18 Edoc     Peterson Companies_Meeting Record.docx                .\VOL010\IMAGES\IMAGES005\00144196.pdf
                                               HHD‐20‐DM‐MO‐007_Moses Hall Site
00144199   00144212   3/31/2021 12:55 Attach   Memo_Compiled.pdf                                     .\VOL010\IMAGES\IMAGES005\00144199.pdf
00144213   00144214   3/31/2021 15:27 Email    FW: NPS and SHA P3 Meeting Materials                  .\VOL010\IMAGES\IMAGES005\00144213.pdf
00144215   00144216   3/31/2021 15:42 Email    Re: NPS and SHA P3 Meeting Materials                  .\VOL010\IMAGES\IMAGES005\00144215.pdf
                                               FW: Urgent ‐‐ Soil Erosion at Moses Morningstar
00144217   00144219   3/31/2021 16:15 Email    Cemetery                                              .\VOL010\IMAGES\IMAGES005\00144217.pdf
00144220   00144221     4/1/2021 9:34 Email    RE: MLS: NPS Property Boundary Discussion             .\VOL010\IMAGES\IMAGES005\00144220.pdf
00144222   00144223     4/1/2021 9:41 Email    RE: 2pm Meeting                                       .\VOL010\IMAGES\IMAGES005\00144222.pdf
                                               Re: [EXTERNAL] RE: MLS: NPS Property Boundary
00144224   00144225    4/1/2021 10:03 Email    Discussion                                            .\VOL010\IMAGES\IMAGES005\00144224.pdf
00144226   00144227    4/1/2021 12:00 Email    MLS: NPS Property Boundary Discussion                 .\VOL010\IMAGES\IMAGES005\00144226.pdf
                                               RE: MLS: Environmental Justice Working Group
00144228   00144229    4/1/2021 14:00 Email    Meeting #2                                            .\VOL010\IMAGES\IMAGES005\00144228.pdf
00144230   00144231    4/1/2021 15:25 Email    RE: Draft NPS Letter                                  .\VOL010\IMAGES\IMAGES005\00144230.pdf
00144232   00144232    4/1/2021 16:24 Attach   Managed Lanes.Sen Van Hollen.pdf                      .\VOL010\IMAGES\IMAGES005\00144232.pdf
00144233   00144234    4/1/2021 16:44 Email    NCPC Counsel Meeting                                  .\VOL010\IMAGES\IMAGES005\00144233.pdf
00144235   00144236     4/2/2021 8:02 Email    RE: Draft NPS Letter                                  .\VOL010\IMAGES\IMAGES005\00144235.pdf

00144237   00144238     4/2/2021 9:52 Edoc     2021.04.02_Cynthia A Gierhart_PIA 30‐Day Letter.pdf   .\VOL010\IMAGES\IMAGES005\00144237.pdf
00144239   00144240    4/2/2021 11:09 Email    2/26 MLS Navy Coordination Meeting Notes              .\VOL010\IMAGES\IMAGES005\00144239.pdf

00144241   00144244    4/2/2021 11:09 Attach   2021‐02‐26_Navy Coordination Meeting Notes.pdf        .\VOL010\IMAGES\IMAGES005\00144241.pdf
00144245   00144246    4/2/2021 11:09 Email    2/26 MLS Navy Coordination Meeting Notes              .\VOL010\IMAGES\IMAGES005\00144245.pdf
00144247   00144248     4/5/2021 8:54 Email    Confidential                                          .\VOL010\IMAGES\IMAGES005\00144247.pdf
00144249   00144250     4/5/2021 8:57 Email    RE: Confidential                                      .\VOL010\IMAGES\IMAGES005\00144249.pdf
00144251   00144252     4/5/2021 9:06 Email    Re: Confidential                                      .\VOL010\IMAGES\IMAGES005\00144251.pdf
00144253   00144253    4/5/2021 15:02 Email    NPS/FHWA coordination                                 .\VOL010\IMAGES\IMAGES005\00144253.pdf
                                               2021.02.08__ I‐495 and I‐470 MLS Study_ Baltimore
00144254   00144255     4/6/2021 9:29 Edoc     Washington Parkway Options.pdf                        .\VOL010\IMAGES\IMAGES005\00144254.pdf
                                               2021.02_UPDATED NPS‐BW Parkway Options
00144256   00144258     4/6/2021 9:29 Edoc     Table.docx                                            .\VOL010\IMAGES\IMAGES005\00144256.pdf

00144259   00144259     4/6/2021 9:29 Edoc     Direct Access at BW Parkway ‐ Evaluation Hist.docx    .\VOL010\IMAGES\IMAGES005\00144259.pdf

00144260   00144260     4/6/2021 9:29 Edoc     Direct Access at BW Parkway ‐ Traffic Handout.docx    .\VOL010\IMAGES\IMAGES005\00144260.pdf
00144261   00144264     4/6/2021 9:29 Edoc     Info for B‐W Pkwy Direct Ramp Access.pdf              .\VOL010\IMAGES\IMAGES005\00144261.pdf

00144265   00144271     4/6/2021 9:29 Edoc     2011‐06‐30 ‐ I‐95 @ MD 295_CSIS Study Report ‐.pdf    .\VOL010\IMAGES\IMAGES005\00144265.pdf
00144272   00144282     4/6/2021 9:29 Edoc     Press Quality(1).joboptions                           .\VOL010\IMAGES\IMAGES005\00144272.pdf
00144283   00144295     4/6/2021 9:29 Edoc     I‐495 at MD 295 CSIS ‐ Draft 01‐24‐14.pdf             .\VOL010\IMAGES\IMAGES005\00144283.pdf

00144296   00144301     4/6/2021 9:29 Edoc     Memo ‐ B‐W Pkwy CSIS Crash Data ‐ 11‐30‐16 ‐ N.pdf    .\VOL010\IMAGES\IMAGES005\00144296.pdf
00144302   00144303     4/6/2021 9:31 Edoc     Summary Email.pdf                                     .\VOL010\IMAGES\IMAGES005\00144302.pdf

00144304   00144305    4/6/2021 10:48 Email    RE: [EXTERNAL] NPS Counsel Contact Information        .\VOL010\IMAGES\IMAGES005\00144304.pdf
00144306   00144306    4/6/2021 10:55 Email    RE: 2/26 MLS Navy Coordination Meeting Notes          .\VOL010\IMAGES\IMAGES005\00144306.pdf
00144307   00144309    4/6/2021 10:55 Attach   RE: 2/26 MLS Navy Coordination Meeting Notes          .\VOL010\IMAGES\IMAGES005\00144307.pdf
00144310   00144310    4/6/2021 10:55 Email    RE: 2/26 MLS Navy Coordination Meeting Notes          .\VOL010\IMAGES\IMAGES005\00144310.pdf
00144311   00144313    4/6/2021 10:55 Attach   RE: 2/26 MLS Navy Coordination Meeting Notes          .\VOL010\IMAGES\IMAGES005\00144311.pdf
00144314   00144314    4/6/2021 11:52 Email    MLS DEIS Duplicate Form Letter Totals                 .\VOL010\IMAGES\IMAGES005\00144314.pdf

00144315   00144319    4/6/2021 11:52 Attach   MLS DEIS_Dup Form Letters_FHWA_04‐06‐2021.docx        .\VOL010\IMAGES\IMAGES005\00144315.pdf

                                               FW: I‐495 and I‐270 Managed Lanes Study ‐ Indian
00144320   00144332    4/6/2021 12:04 Email    Springs Community Association Questions               .\VOL010\IMAGES\IMAGES005\00144320.pdf
00144333   00144338    4/6/2021 12:04 Attach   Indian Spring Terrace Park.pdf                        .\VOL010\IMAGES\IMAGES005\00144333.pdf
00144339   00144339    4/6/2021 12:56 Email    Tolling MOU                                           .\VOL010\IMAGES\IMAGES005\00144339.pdf
00144340   00144342    4/6/2021 12:56 Email    Re: Morningstar Tabernacle Cemetery                   .\VOL010\IMAGES\IMAGES005\00144340.pdf
                                               RE: I‐495 & I‐270 MLS: USACE/MDE American Legion
00144343   00144344    4/6/2021 13:45 Email    Bridge Discussion                                     .\VOL010\IMAGES\IMAGES005\00144343.pdf
00144345   00144346    4/6/2021 14:00 Email    I‐495 & I‐270 FHWA Coordination Meeting               .\VOL010\IMAGES\IMAGES005\00144345.pdf

00144347   00144347    4/6/2021 14:00 Attach   2021‐04‐06_FHWA Coordination Mtg Agenda.docx          .\VOL010\IMAGES\IMAGES005\00144347.pdf
                                               20210317‐I‐270_FHWA Coordination Meeting
00144348   00144348    4/6/2021 14:00 Attach   Notes_Final.docx                                      .\VOL010\IMAGES\IMAGES005\00144348.pdf
                                               2021‐03‐17_FHWA Coordination Meeting Notes_P3
00144349   00144349    4/6/2021 14:00 Attach   Program.docx                                          .\VOL010\IMAGES\IMAGES005\00144349.pdf
                                               2021‐03‐17_FHWA Coordination Meeting
00144350   00144350    4/6/2021 14:00 Attach   Notes_MLS.docx                                        .\VOL010\IMAGES\IMAGES005\00144350.pdf
                                               Summary of Meeting today regarding Gibson Grove
00144351   00144352    4/6/2021 14:37 Email    AMEZ Church                                           .\VOL010\IMAGES\IMAGES005\00144351.pdf
00144353   00144354    4/6/2021 15:18 Email    RE: Fed lands to Park Program Issue                   .\VOL010\IMAGES\IMAGES005\00144353.pdf
00144355   00144355    4/6/2021 15:18 Attach   Cherry Hill Rd Park Map.pdf                           .\VOL010\IMAGES\IMAGES005\00144355.pdf
00144356   00144364    4/6/2021 15:18 Attach   Cherry Hill Road Park Deed 5257‐140_1980.pdf          .\VOL010\IMAGES\IMAGES005\00144356.pdf
00144365   00144366    4/6/2021 15:31 Attach   RE: Fed lands to Park Program Issue                   .\VOL010\IMAGES\IMAGES005\00144365.pdf
00144367   00144367    4/6/2021 15:31 Attach   Cherry Hill Rd Park Map.pdf                           .\VOL010\IMAGES\IMAGES005\00144367.pdf
00144368   00144376    4/6/2021 15:31 Attach   Cherry Hill Road Park Deed 5257‐140_1980.pdf          .\VOL010\IMAGES\IMAGES005\00144368.pdf

00144377   00144381    4/6/2021 17:22 Email    FW: Protect parks from the I‐495 and I‐270 expansions .\VOL010\IMAGES\IMAGES005\00144377.pdf
                                               2021_4_2 Cabin John Letter to BPW Requesting
00144382   00144383    4/6/2021 17:22 Attach   Stakeholder Designation.pdf                           .\VOL010\IMAGES\IMAGES005\00144382.pdf
                                               RE: grade change on Seven Locks ‐ shortcut to Matt's
00144384   00144386     4/7/2021 7:34 Email    folder                                                .\VOL010\IMAGES\IMAGES005\00144384.pdf
                                               AT4 1960 PLAN AsBuilt Sh12 M512‐050‐320_1012
00144387   00144387     4/7/2021 7:34 Attach   Church_Cem.pdf                                        .\VOL010\IMAGES\IMAGES005\00144387.pdf
                                               FW: 3/10 M‐NCPPC DEIS Comments Discussion ‐
00144388   00144389    4/7/2021 12:46 Email    Meeting Notes and Action Items                        .\VOL010\IMAGES\IMAGES005\00144388.pdf
00144390   00144390    4/7/2021 12:46 Attach   SWM Summary ‐ M‐NCPPC.pdf                             .\VOL010\IMAGES\IMAGES005\00144390.pdf
                                               2021.03.10 MLS M‐NCPPC DEIS Comments
00144391   00144398    4/7/2021 12:46 Attach   Discussion_Meeting Notes.pdf                          .\VOL010\IMAGES\IMAGES005\00144391.pdf
                                               FW: P3 Compensatory Stormwater Management Plan:
00144399   00144401     4/8/2021 9:05 Email    FHWA Review                                           .\VOL010\IMAGES\IMAGES005\00144399.pdf
00144402   00144403    4/8/2021 12:02 Email    Re: EJSCREEN Resources and Next Steps                 .\VOL010\IMAGES\IMAGES005\00144402.pdf
00144404   00144404    4/8/2021 13:31 Email    P3 Compensatory SWM Plan                              .\VOL010\IMAGES\IMAGES005\00144404.pdf
00144405   00144405    4/8/2021 13:42 Email    FW: P3 Compensatory SWM Plan                          .\VOL010\IMAGES\IMAGES005\00144405.pdf
00144406   00144407    4/8/2021 14:05 Email    RE: P3 Compensatory SWM Plan                          .\VOL010\IMAGES\IMAGES005\00144406.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                             Page 140 of 263

00144408   00144411    4/8/2021 14:32 Email    RE: 2/26 MLS Navy Coordination Meeting Notes         .\VOL010\IMAGES\IMAGES005\00144408.pdf
00144412   00144415    4/8/2021 14:32 Email    RE: 2/26 MLS Navy Coordination Meeting Notes         .\VOL010\IMAGES\IMAGES005\00144412.pdf
00144416   00144418    4/8/2021 15:05 Email    RE: P3 Compensatory SWM Plan                         .\VOL010\IMAGES\IMAGES005\00144416.pdf
00144419   00144419    4/8/2021 15:16 Email    Additional DEIS Comment Totals                       .\VOL010\IMAGES\IMAGES005\00144419.pdf
00144420   00144420    4/8/2021 16:34 Email    RE: FHWA SWM Plan Comments                           .\VOL010\IMAGES\IMAGES005\00144420.pdf
00144421   00144421     4/9/2021 7:44 Email    Fw: Morningstar Overhead photos                      .\VOL010\IMAGES\IMAGES005\00144421.pdf
00144422   00144422     4/9/2021 7:44 Attach   Moses_Cem_Overhead_reduced.jpg                       .\VOL010\IMAGES\IMAGES005\00144422.pdf
00144423   00144423     4/9/2021 7:44 Attach   Moses_Cem_Overhead_2_reduced.jpg                     .\VOL010\IMAGES\IMAGES005\00144423.pdf

00144424   00144425    4/9/2021 12:20 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses      .\VOL010\IMAGES\IMAGES005\00144424.pdf
                                               I‐495 & I‐270 Managed Lanes Study – comments on
00144426   00144426    4/9/2021 13:03 Email    draft Section 106 Programmatic Agreement             .\VOL010\IMAGES\IMAGES005\00144426.pdf
                                               I‐495 & I‐270 Managed Lanes Study – comments
00144427   00144427    4/9/2021 14:06 Email    on...(1).pdf                                         .\VOL010\IMAGES\IMAGES005\00144427.pdf
                                               WBFC‐495270MLS‐Section106‐CommentLetter‐
00144428   00144449    4/9/2021 14:06 Attach   Plumme.pdf                                           .\VOL010\IMAGES\IMAGES005\00144428.pdf

00144450   00144451    4/9/2021 15:14 Edoc     FHWA SWM Plan Comments Draft_2021‐04‐09.docx         .\VOL010\IMAGES\IMAGES005\00144450.pdf
                                               RE: P3 Compensatory Stormwater Management Plan:
00144452   00144454    4/9/2021 15:23 Email    FHWA Review                                          .\VOL010\IMAGES\IMAGES005\00144452.pdf
                                               RE: P3 Compensatory Stormwater Management Plan:
00144455   00144457    4/9/2021 15:23 Email    FHWA Review                                          .\VOL010\IMAGES\IMAGES005\00144455.pdf
                                               Md. Sierra Club: Will the Senate Co‐Own Hogan’s
00144458   00144461   4/10/2021 22:45 Email    Highway Boondoggle?                                  .\VOL010\IMAGES\IMAGES005\00144458.pdf
                                               Re: Summary of Meeting today regarding Gibson
00144462   00144464   4/11/2021 17:25 Email    Grove AMEZ Church                                    .\VOL010\IMAGES\IMAGES005\00144462.pdf
                                               Fwd: Summary of Meeting today regarding Gibson
00144465   00144467   4/11/2021 18:48 Email    Grove AMEZ Church                                    .\VOL010\IMAGES\IMAGES005\00144465.pdf
                                               RE: Summary of Meeting today regarding Gibson
00144468   00144470    4/12/2021 7:30 Email    Grove AMEZ Church                                    .\VOL010\IMAGES\IMAGES005\00144468.pdf

                                               RE: I‐495 & I‐270 Managed Lanes Study – comments
00144471   00144472    4/12/2021 7:57 Email    on draft Section 106 Programmatic Agreement          .\VOL010\IMAGES\IMAGES005\00144471.pdf

00144473   00144474    4/12/2021 8:14 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses      .\VOL010\IMAGES\IMAGES005\00144473.pdf

00144475   00144476    4/12/2021 8:14 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses      .\VOL010\IMAGES\IMAGES005\00144475.pdf

                                               Re: I‐495 & I‐270 Managed Lanes Study – comments
00144477   00144478    4/12/2021 9:31 Email    on draft Section 106 Programmatic Agreement          .\VOL010\IMAGES\IMAGES005\00144477.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ Draft
                                               Section 106 Programmatic Agreement ‐ comments
00144479   00144481    4/12/2021 9:49 Email    requested by April 12, 2021                          .\VOL010\IMAGES\IMAGES005\00144479.pdf

                                               FW: I‐495 & I‐270 Managed Lanes Study – comments
00144482   00144483   4/12/2021 10:40 Attach   on draft Section 106 Programmatic Agreement          .\VOL010\IMAGES\IMAGES005\00144482.pdf

00144484   00144485   4/12/2021 11:25 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses     .\VOL010\IMAGES\IMAGES005\00144484.pdf
                                               Draft PA ‐ Comments from Friends of Moses Hall
                                               Consulting Party for Morningstar Moses Cemetery and
00144486   00144486   4/12/2021 12:08 Email    Hall Site                                           .\VOL010\IMAGES\IMAGES005\00144486.pdf
                                               Draft PA ‐ Comments from Friends of Moses Hall
                                               Consulting Party for Morningstar Moses Cemetery and
00144487   00144487   4/12/2021 12:08 Email    Hall Site                                           .\VOL010\IMAGES\IMAGES005\00144487.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ Draft
                                               Section 106 Programmatic Agreement ‐ comments
00144488   00144490   4/12/2021 15:09 Email    requested by April 12, 2021                         .\VOL010\IMAGES\IMAGES005\00144488.pdf
                                               RE_ I‐495 and I‐270 Managed Lanes Study ‐
00144491   00144492   4/12/2021 16:09 Email    Draft...(1).pdf                                     .\VOL010\IMAGES\IMAGES005\00144491.pdf

00144493   00144509   4/12/2021 16:09 Attach   md.fhwa.I495_270 Managed Lanes Study.pa..2021.pdf .\VOL010\IMAGES\IMAGES005\00144493.pdf
                                               495_270_MLS_PROGRAMMATIC
00144510   00144526   4/12/2021 16:19 Attach   AGREEMENT_March_2021_Draft_1.pdf                  .\VOL010\IMAGES\IMAGES005\00144510.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ Draft
                                               Section 106 Programmatic Agreement ‐ comments
00144527   00144530   4/12/2021 16:32 Email    requested by April 12, 2021                       .\VOL010\IMAGES\IMAGES005\00144527.pdf
00144531   00144531   4/12/2021 16:53 Email    M‐NCPPC Managed Lanes PA Comments                 .\VOL010\IMAGES\IMAGES005\00144531.pdf
                                               495_270_MLS_PROGRAMMATIC
                                               AGREEMENT_March_2021_MNCPPC Final
00144532   00144560   4/12/2021 16:53 Attach   comments.docx                                     .\VOL010\IMAGES\IMAGES005\00144532.pdf
                                               Fw_ I‐495 and I‐270 Managed Lanes Study ‐
00144561   00144563   4/12/2021 17:25 Email    Draft...(1).pdf                                   .\VOL010\IMAGES\IMAGES005\00144561.pdf
                                               MLS_PROGRAMMATIC
00144564   00144580   4/12/2021 17:25 Attach   AGREEMENT_March_2021_Draft_1N.pdf                 .\VOL010\IMAGES\IMAGES005\00144564.pdf

                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ Indian
00144581   00144591   4/12/2021 17:36 Email    Springs Community Association Comments on draft PA .\VOL010\IMAGES\IMAGES005\00144581.pdf
                                               Comments‐‐Draft Section 106 Programmatic
00144592   00144592   4/12/2021 20:30 Email    Agreement                                          .\VOL010\IMAGES\IMAGES005\00144592.pdf
                                               SOS Comments on Sec. 106 Draft 1 PA Managed Lanes
00144593   00144593   4/12/2021 23:06 Email    Study                                              .\VOL010\IMAGES\IMAGES005\00144593.pdf

00144594   00144594   4/12/2021 23:10 Email    Draft PA ‐ Comments from FIrst Agape AMEZ Church .\VOL010\IMAGES\IMAGES005\00144594.pdf
                                               Sierra Club Maryland Chapter ‐ Section 106 Comments
00144595   00144595   4/12/2021 23:50 Email    on I‐495 & I‐270 MLS                                .\VOL010\IMAGES\IMAGES005\00144595.pdf
                                               Sierra Club Maryland Chapter ‐ Section 106
00144596   00144596    4/13/2021 0:54 Email    Comm...(1).pdf                                      .\VOL010\IMAGES\IMAGES005\00144596.pdf

00144597   00144605    4/13/2021 0:54 Attach   MDSierraClub‐Section106Comments‐4‐12‐2021.pdf        .\VOL010\IMAGES\IMAGES005\00144597.pdf
                                               Cabin John Citizens Association Draft PA Comment
00144606   00144606    4/13/2021 1:06 Email    Letter                                               .\VOL010\IMAGES\IMAGES005\00144606.pdf
                                               2021_4_12 Cabin John Citizens Association Draft PA
00144607   00144609    4/13/2021 1:06 Attach   Comment Letter.pdf                                   .\VOL010\IMAGES\IMAGES005\00144607.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ Draft
                                               Section 106 Programmatic Agreement ‐ comments
00144610   00144611    4/13/2021 8:15 Email    requested by April 12, 2021                          .\VOL010\IMAGES\IMAGES005\00144610.pdf

00144612   00144614    4/13/2021 9:16 Email    Re_ I‐495 and I‐270 Managed Lanes Study ‐ Draft....pdf .\VOL010\IMAGES\IMAGES005\00144612.pdf
                                               495_270_MLS_PROGRAMMATIC
00144615   00144632    4/13/2021 9:16 Attach   AGREEMENT_March_2021.docx                              .\VOL010\IMAGES\IMAGES005\00144615.pdf
00144633   00144633    4/13/2021 9:36 Email    Sec Slater's Meeting w Governor                        .\VOL010\IMAGES\IMAGES005\00144633.pdf
00144634   00144634   4/13/2021 10:24 Attach   For SDEIS Pre‐meeting                                  .\VOL010\IMAGES\IMAGES005\00144634.pdf

00144635   00144676   4/13/2021 11:36 Edoc     Phase1South_CurrentDesign_200ft_20210409.pdf         .\VOL010\IMAGES\IMAGES005\00144635.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                  Filed 05/03/23                           Page 141 of 263

                                               Rep. Brown (D‐MD) ‐ Managed Lanes Study (MLS)
00144677   00144677   4/13/2021 12:30 Attach   Letter to Sec. Buttigieg                              .\VOL010\IMAGES\IMAGES005\00144677.pdf
00144678   00144678   4/13/2021 14:43 Attach   MD Action Plan_ PI plan.docx                          .\VOL010\IMAGES\IMAGES005\00144678.pdf
                                               I495 I270 MLS Public Plan FHWA comments
00144679   00144682   4/13/2021 14:43 Attach   06_11_18.docx                                         .\VOL010\IMAGES\IMAGES005\00144679.pdf
00144683   00144683   4/13/2021 14:43 Attach   FHWA TA 6640.8A.docx                                  .\VOL010\IMAGES\IMAGES005\00144683.pdf

                                               RE: I‐495 & I‐270 Managed Lanes Study – comments
00144684   00144685   4/13/2021 14:54 Attach   on draft Section 106 Programmatic Agreement           .\VOL010\IMAGES\IMAGES005\00144684.pdf
00144686   00144687   4/13/2021 15:17 Email    SEIS Strategic Working Session                        .\VOL010\IMAGES\IMAGES005\00144686.pdf
00144688   00144689   4/13/2021 15:17 Email    SEIS Strategic Working Session                        .\VOL010\IMAGES\IMAGES005\00144688.pdf
00144690   00144691   4/13/2021 15:33 Email    FW: SEIS Strategic Working Session                    .\VOL010\IMAGES\IMAGES005\00144690.pdf

                                               RE: I‐495 & I‐270 Managed Lanes Study – comments
00144692   00144694   4/13/2021 16:01 Email    on draft Section 106 Programmatic Agreement           .\VOL010\IMAGES\IMAGES005\00144692.pdf
                                               Re: Time to discuss 106 approach for possible
00144695   00144695   4/14/2021 11:08 Email    supplemental EIS for I‐495 and 270 MLS?               .\VOL010\IMAGES\IMAGES005\00144695.pdf
                                               Re: Time to discuss 106 approach for possible
00144696   00144698   4/14/2021 14:24 Email    supplemental EIS for I‐495 and 270 MLS?               .\VOL010\IMAGES\IMAGES005\00144696.pdf
00144699   00144702   4/14/2021 16:12 Email    FW: MDOT SHA Plan Quality Survey                      .\VOL010\IMAGES\IMAGES005\00144699.pdf
00144703   00144704   4/14/2021 17:39 Email    MLS‐ March 4th Meeting Notes and Action Items         .\VOL010\IMAGES\IMAGES005\00144703.pdf
                                               2021.03.04 MLS NPS DEIS Comments
00144705   00144716   4/14/2021 17:39 Attach   Discussion_Meeting Notes.pdf                          .\VOL010\IMAGES\IMAGES005\00144705.pdf
                                               Action Item 1 ‐ MLS ALB Impact Matrix and Maps_04‐
00144717   00144724   4/14/2021 17:39 Attach   12‐2021_opt.pdf                                       .\VOL010\IMAGES\IMAGES005\00144717.pdf
                                               Action Item 2 ‐ ALB Construction Access Ingress and
00144725   00144726   4/14/2021 17:39 Attach   Egress with Aerial_opt.pdf                            .\VOL010\IMAGES\IMAGES005\00144725.pdf
00144727   00144727   4/14/2021 17:39 Email    MLS‐ March 4th Meeting Notes and Action Items         .\VOL010\IMAGES\IMAGES005\00144727.pdf
00144728   00144729   4/15/2021 10:31 Email    Re: I‐495 and I‐270 MLS: Section 106 update           .\VOL010\IMAGES\IMAGES005\00144728.pdf
00144730   00144734   4/15/2021 11:11 Email    Fw: MLS Moses Hall Property Staked                    .\VOL010\IMAGES\IMAGES005\00144730.pdf
00144735   00144736   4/15/2021 11:14 Email    Re: I‐495 and I‐270 MLS: Section 106 update           .\VOL010\IMAGES\IMAGES005\00144735.pdf
00144737   00144738   4/15/2021 11:31 Email    Re_ I‐495 and I‐270 MLS_ Section 106 update.pdf       .\VOL010\IMAGES\IMAGES005\00144737.pdf
00144739   00144741   4/15/2021 11:31 Attach   202100884.pdf                                         .\VOL010\IMAGES\IMAGES005\00144739.pdf
00144742   00144742   4/15/2021 13:34 Email    Links to Articles                                     .\VOL010\IMAGES\IMAGES005\00144742.pdf
00144743   00144743    4/16/2021 7:16 Email    Fw: MLS Moses Hall Property Staked                    .\VOL010\IMAGES\IMAGES005\00144743.pdf
00144744   00144744    4/16/2021 7:16 Attach   2021‐04‐15 Stake Locations.pdf                        .\VOL010\IMAGES\IMAGES005\00144744.pdf
00144745   00144745   4/16/2021 11:49 Attach   I‐495 I‐270 P3 Program Map.docx                       .\VOL010\IMAGES\IMAGES005\00144745.pdf

                                               Re: I‐495 & I‐270 Managed Lanes Study – comments
00144746   00144747   4/16/2021 12:12 Email    on draft Section 106 Programmatic Agreement           .\VOL010\IMAGES\IMAGES005\00144746.pdf
00144748   00144749   4/16/2021 13:15 Attach   I‐495 I‐270 P3 Program Map.docx                       .\VOL010\IMAGES\IMAGES005\00144748.pdf

00144750   00144751   4/16/2021 15:27 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses       .\VOL010\IMAGES\IMAGES005\00144750.pdf

00144752   00144753   4/16/2021 15:35 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses       .\VOL010\IMAGES\IMAGES005\00144752.pdf

00144754   00144754   4/16/2021 15:46 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses       .\VOL010\IMAGES\IMAGES005\00144754.pdf

00144755   00144756   4/16/2021 16:30 Email    FW: MLS FHWA Request for Batch 1 DEIS Responses     .\VOL010\IMAGES\IMAGES005\00144755.pdf
                                               MLS
                                               DEISCommentThemesResponses_Batch1_FHWA_03‐
00144757   00144777   4/16/2021 16:30 Attach   04‐2021.docx                                        .\VOL010\IMAGES\IMAGES005\00144757.pdf
00144778   00144779   4/16/2021 17:17 Email    RE: Public Involvement Statistics                   .\VOL010\IMAGES\IMAGES005\00144778.pdf
                                               Rock Creek Conservancy Comments on MLS Section
00144780   00144780   4/18/2021 12:49 Email    106 Agreement                                       .\VOL010\IMAGES\IMAGES005\00144780.pdf
                                               FW: Question of Whether to Work on Path vs. Improve
00144781   00144783    4/19/2021 8:19 Email    Easement Access                                     .\VOL010\IMAGES\IMAGES005\00144781.pdf
00144784   00144785    4/19/2021 8:31 Email    Revised SDEIS Outline                               .\VOL010\IMAGES\IMAGES005\00144784.pdf

00144786   00144787    4/19/2021 8:31 Attach   Revised LS SDEIS Workshop Outline_2021‐04‐14.docx     .\VOL010\IMAGES\IMAGES005\00144786.pdf

                                               RE: I‐495 & I‐270 Managed Lanes Study – comments
00144788   00144790    4/19/2021 9:20 Email    on draft Section 106 Programmatic Agreement           .\VOL010\IMAGES\IMAGES005\00144788.pdf

00144791   00144791   4/20/2021 10:00 Attach   2021‐04‐20_FHWA Coordination Mtg Agenda.docx       .\VOL010\IMAGES\IMAGES005\00144791.pdf
                                               2021‐04‐06_FHWA Coordination Meeting Notes_P3
00144792   00144792   4/20/2021 10:00 Attach   Program FINAL.docx                                 .\VOL010\IMAGES\IMAGES005\00144792.pdf
                                               2021‐04‐06_FHWA Coordination Meeting
00144793   00144795   4/20/2021 10:00 Attach   Notes_MLS.docx                                     .\VOL010\IMAGES\IMAGES005\00144793.pdf
00144796   00144798   4/20/2021 10:00 Email    I‐495 & I‐270 FHWA Coordination Meeting            .\VOL010\IMAGES\IMAGES005\00144796.pdf
                                               2021‐04‐20_FHWA Coordination Mtg
00144799   00144799   4/20/2021 10:00 Attach   Agenda_REVISED.docx                                .\VOL010\IMAGES\IMAGES005\00144799.pdf
00144800   00144800   4/20/2021 15:30 Email    Fw: M‐NCPPC Section 106 Signatory Request          .\VOL010\IMAGES\IMAGES005\00144800.pdf
00144801   00144801   4/20/2021 16:13 Email    RE: MLS Internal Meeting Agenda                    .\VOL010\IMAGES\IMAGES005\00144801.pdf
00144802   00144802   4/20/2021 16:25 Email    RE: MLS Internal Meeting Agenda                    .\VOL010\IMAGES\IMAGES005\00144802.pdf
00144803   00144803   4/20/2021 16:30 Email    Fw_ M‐NCPPC Section 106 Signatory Request.pdf      .\VOL010\IMAGES\IMAGES005\00144803.pdf
00144804   00144806   4/20/2021 16:30 Attach   M‐NCPPC Section 106 Signatory.pdf                  .\VOL010\IMAGES\IMAGES005\00144804.pdf
00144807   00144808   4/20/2021 17:57 Edoc     Rubenstein Partners_Meeting Record (1).docx        .\VOL010\IMAGES\IMAGES005\00144807.pdf
00144809   00144811   4/21/2021 10:32 Email    RE: TPB Questions                                  .\VOL010\IMAGES\IMAGES005\00144809.pdf
00144812   00144816   4/21/2021 10:32 Attach   2021‐04‐21 ‐ TPB Questions‐Answers.docx            .\VOL010\IMAGES\IMAGES005\00144812.pdf
00144817   00144817   4/21/2021 11:58 Email    LS SDEIS Outline Comments                          .\VOL010\IMAGES\IMAGES005\00144817.pdf
00144818   00144818   4/21/2021 12:54 Email    Re: Gibson Cemetery @495                           .\VOL010\IMAGES\IMAGES005\00144818.pdf
                                               Revised LS SDEIS Workshop Outline_2021‐04‐14 FHWA
00144819   00144820    4/22/2021 9:41 Edoc     Comments_KP.docx                                   .\VOL010\IMAGES\IMAGES005\00144819.pdf
                                               Re: [EXTERNAL] MLS‐ March 4th Meeting Notes and
00144821   00144822   4/22/2021 13:30 Email    Action Items                                       .\VOL010\IMAGES\IMAGES005\00144821.pdf
                                               Maguire Funeral Home 1964 payout with condemned
                                               land abutting Morningstar Tabernacle No. 88
00144823   00144823   4/22/2021 13:45 Email    Cemetery & Hall                                    .\VOL010\IMAGES\IMAGES005\00144823.pdf
                                               Action Item 11 ‐ GWMP Conceptual Guide Signing and
00144824   00144825   4/22/2021 13:56 Attach   Sizes.pdf                                          .\VOL010\IMAGES\IMAGES005\00144824.pdf
                                               FW: I‐495 & I‐270 P3 Program Press/Media Report ‐
00144826   00144834   4/22/2021 13:58 Email    4/22/2021                                          .\VOL010\IMAGES\IMAGES005\00144826.pdf
                                               Re: [EXTERNAL] MLS‐ March 4th Meeting Notes and
00144835   00144838   4/22/2021 14:02 Email    Action Items                                       .\VOL010\IMAGES\IMAGES005\00144835.pdf
                                               MLS MDE and USACE ALB Discussion ‐ Meeting Notes
00144839   00144839   4/22/2021 14:04 Email    and Presentation                                   .\VOL010\IMAGES\IMAGES005\00144839.pdf
                                               2021‐04‐06 MLS MDE and USACE ALB Update_Meeting
00144840   00144844   4/22/2021 14:04 Attach   Notes.pdf                                          .\VOL010\IMAGES\IMAGES005\00144840.pdf
                                               I‐495 & I‐270 MLS USACE‐MDE ALB Coordination
00144845   00144867   4/22/2021 14:04 Attach   Presentation_04‐06‐2021_PDF.pdf                    .\VOL010\IMAGES\IMAGES005\00144845.pdf
00144868   00144875   4/22/2021 14:48 Email    RE: Morningstar Report                             .\VOL010\IMAGES\IMAGES005\00144868.pdf
                                               Re: Maguire Funeral Home 1964 payout with
                                               condemned land abutting Morningstar Tabernacle No.
00144876   00144877   4/22/2021 14:52 Email    88 Cemetery & Hall                                 .\VOL010\IMAGES\IMAGES005\00144876.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 142 of 263

                                               Re: Maguire Funeral Home 1964 payout with
                                               condemned land abutting Morningstar Tabernacle No.
00144878   00144879   4/22/2021 14:56 Email    88 Cemetery & Hall                                 .\VOL010\IMAGES\IMAGES005\00144878.pdf
                                               Re: Maguire Funeral Home 1964 payout with
                                               condemned land abutting Morningstar Tabernacle No.
00144880   00144882   4/22/2021 15:04 Email    88 Cemetery & Hall                                 .\VOL010\IMAGES\IMAGES005\00144880.pdf
                                               RE: Maguire Funeral Home 1964 payout with
                                               condemned land abutting Morningstar Tabernacle No.
00144883   00144884   4/22/2021 15:11 Email    88 Cemetery & Hall                                 .\VOL010\IMAGES\IMAGES005\00144883.pdf
00144885   00144885   4/22/2021 15:11 Attach   26542_Mickens_MSA_C2826_1373.pdf                   .\VOL010\IMAGES\IMAGES005\00144885.pdf
00144886   00144886   4/22/2021 15:11 Attach   26451_Mickens_MSA_C2826_1372.pdf                   .\VOL010\IMAGES\IMAGES005\00144886.pdf
00144887   00144892   4/22/2021 15:11 Attach   MSA_C2162_883.pdf                                  .\VOL010\IMAGES\IMAGES005\00144887.pdf
                                               Revised LS SDEIS Workshop Outline_2021‐04‐14 FHWA
00144893   00144893   4/22/2021 15:54 Email    Comments.docm                                      .\VOL010\IMAGES\IMAGES005\00144893.pdf
                                               State Rds Comm vs. Andrew Mickens and Jones'
00144894   00145068   4/22/2021 15:58 Attach   heirs.pdf                                          .\VOL010\IMAGES\IMAGES005\00144894.pdf
00145069   00145070   4/22/2021 16:17 Email    RE: Revised SDEIS Outline                          .\VOL010\IMAGES\IMAGES005\00145069.pdf
00145071   00145072   4/22/2021 16:17 Email    RE: Revised SDEIS Outline                          .\VOL010\IMAGES\IMAGES006\00145071.pdf
                                               RE: Maguire Funeral Home 1964 payout with
                                               condemned land abutting Morningstar Tabernacle No.
00145073   00145075   4/22/2021 16:20 Email    88 Cemetery & Hall                                 .\VOL010\IMAGES\IMAGES006\00145073.pdf

00145076   00145077   4/22/2021 16:22 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses        .\VOL010\IMAGES\IMAGES006\00145076.pdf

00145078   00145079   4/22/2021 19:29 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses        .\VOL010\IMAGES\IMAGES006\00145078.pdf

                                               RE: Consulting parties review of proposed changes to
00145080   00145084    4/26/2021 7:01 Email    MDOT SHA's Programmatic Agreement                      .\VOL010\IMAGES\IMAGES006\00145080.pdf
00145085   00145086    4/26/2021 9:36 Email    MLS Study LOD Discussion                               .\VOL010\IMAGES\IMAGES006\00145085.pdf
00145087   00145088    4/26/2021 9:42 Email    RE: MLS Study LOD Discussion                           .\VOL010\IMAGES\IMAGES006\00145087.pdf

00145089   00145091   4/26/2021 12:34 Email    RE: Response to M‐NCPPC Signatory Request for MLS      .\VOL010\IMAGES\IMAGES006\00145089.pdf

00145092   00145092   4/26/2021 13:06 Email    Response to M‐NCPPC Signatory Request for MLS.pdf      .\VOL010\IMAGES\IMAGES006\00145092.pdf

00145093   00145094   4/26/2021 13:41 Email    Re: Response to M‐NCPPC Signatory Request for MLS      .\VOL010\IMAGES\IMAGES006\00145093.pdf

                                               RE: [EXTERNAL] I‐495 and I‐270 Managed Lanes Study ‐
                                               Draft Section 106 Programmatic Agreement ‐
00145095   00145098   4/26/2021 13:44 Email    comments requested by April 12, 2021                 .\VOL010\IMAGES\IMAGES006\00145095.pdf
                                               Fw_ [EXTERNAL] I‐495 and I‐270 Managed Lanes
00145099   00145101   4/26/2021 14:31 Email    St...(1).pdf                                         .\VOL010\IMAGES\IMAGES006\00145099.pdf
                                               495_270_MLS_PROGRAMMATIC
00145102   00145120   4/26/2021 14:31 Attach   AGREEMENT_March_2021.docx                            .\VOL010\IMAGES\IMAGES006\00145102.pdf

00145121   00145121   4/26/2021 14:31 Attach   20210310 I495 & I270 MLS PA Draft #1 NPS Comm.xlsx .\VOL010\IMAGES\IMAGES006\00145121.pdf        .\VOL010\NATIVES\NATIVES006\00145121.xlsx
00145122   00145123   4/26/2021 14:44 Email    RE: IAPA                                           .\VOL010\IMAGES\IMAGES006\00145122.pdf
                                               FW: Missing Reference from Managed Lane Study
00145124   00145125   4/26/2021 15:54 Email    Draft Environmental Impact Statement               .\VOL010\IMAGES\IMAGES006\00145124.pdf

                                               Re: I‐495 & I‐270 Managed Lanes Study – comments
00145126   00145128   4/26/2021 18:12 Email    on draft Section 106 Programmatic Agreement            .\VOL010\IMAGES\IMAGES006\00145126.pdf
                                               2021.04.26_Honorable Tom Hucker_PIA 10‐Day
00145129   00145131   4/26/2021 19:50 Edoc     Letter.pdf                                             .\VOL010\IMAGES\IMAGES006\00145129.pdf

00145132   00145134   4/26/2021 22:01 Edoc     Meeting Outreach‐Record_MCCF 2021‐04‐20.docx       .\VOL010\IMAGES\IMAGES006\00145132.pdf
00145135   00145138    4/27/2021 8:37 Email    Re: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145135.pdf
00145139   00145142    4/27/2021 8:50 Email    RE: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145139.pdf
00145143   00145147    4/27/2021 8:55 Email    RE: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145143.pdf
00145148   00145153    4/27/2021 8:55 Email    Re: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145148.pdf
00145154   00145155    4/27/2021 8:55 Attach   Charlotte Leighton (828879) 10 Day Ltr (1).pdf     .\VOL010\IMAGES\IMAGES006\00145154.pdf
00145156   00145161    4/27/2021 9:00 Email    Re: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145156.pdf
00145162   00145165    4/27/2021 9:03 Email    RE: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145162.pdf
00145166   00145170    4/27/2021 9:09 Email    Re: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145166.pdf
00145171   00145175    4/27/2021 9:11 Email    RE: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145171.pdf
00145176   00145180    4/27/2021 9:57 Email    Re: MD ROW Records Request                         .\VOL010\IMAGES\IMAGES006\00145176.pdf
                                               Friends of Moses Hall RESEARCH REQUEST FORM (003)‐
00145181   00145183    4/27/2021 9:57 Attach   1.docx                                             .\VOL010\IMAGES\IMAGES006\00145181.pdf
00145184   00145184    4/27/2021 9:57 Attach   RequestMap.pdf                                     .\VOL010\IMAGES\IMAGES006\00145184.pdf
00145185   00145185   4/27/2021 13:32 Email    Quick chat about Plummers Island/MLS               .\VOL010\IMAGES\IMAGES006\00145185.pdf
                                               RE_ [External] FW_ [EXTERNAL] I‐495 and I‐270
00145186   00145188   4/27/2021 14:37 Email    M...(3).pdf                                        .\VOL010\IMAGES\IMAGES006\00145186.pdf
                                               FW: [External] FW: [EXTERNAL] I‐495 and I‐270
                                               Managed Lanes Study ‐ Draft Section 106
                                               Programmatic Agreement ‐ comments requested by
00145189   00145189   4/27/2021 14:41 Email    April 12, 2021                                     .\VOL010\IMAGES\IMAGES006\00145189.pdf
                                               Re: [External] FW: [EXTERNAL] I‐495 and I‐270
                                               Managed Lanes Study ‐ Draft Section 106
                                               Programmatic Agreement ‐ comments requested by
00145190   00145190   4/27/2021 14:53 Email    April 12, 2021                                     .\VOL010\IMAGES\IMAGES006\00145190.pdf
                                               RE: [External] FW: [EXTERNAL] I‐495 and I‐270
                                               Managed Lanes Study ‐ Draft Section 106
                                               Programmatic Agreement ‐ comments requested by
00145191   00145192   4/27/2021 14:57 Email    April 12, 2021                                     .\VOL010\IMAGES\IMAGES006\00145191.pdf
                                               Re_ [External] FW_ [EXTERNAL] I‐495 and I‐270
00145193   00145194   4/27/2021 15:53 Email    M...(3).pdf                                        .\VOL010\IMAGES\IMAGES006\00145193.pdf

00145195   00145198    4/28/2021 7:00 Email    RE: MDOT SHA Section 106 PA Amendment follow‐up        .\VOL010\IMAGES\IMAGES006\00145195.pdf
00145199   00145199   4/28/2021 13:30 Email    Plummers Island ‐ MLS                                  .\VOL010\IMAGES\IMAGES006\00145199.pdf
00145200   00145201   4/28/2021 15:56 Email    CONFIDENTIAL                                           .\VOL010\IMAGES\IMAGES006\00145200.pdf
00145202   00145203   4/28/2021 15:56 Email    CONFIDENTIAL                                           .\VOL010\IMAGES\IMAGES006\00145202.pdf
                                               20210430_New RPA Comms Plan_Secretary
00145204   00145213   4/28/2021 15:56 Attach   Presentation_Final.pptx                                .\VOL010\IMAGES\IMAGES006\00145204.pdf
                                               Re: [EXTERNAL] MLS‐ March 4th Meeting Notes and
00145214   00145216   4/28/2021 17:06 Email    Action Items                                           .\VOL010\IMAGES\IMAGES006\00145214.pdf
                                               I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00145217   00145217   4/28/2021 18:21 Email    Evaluation ‐ Annotated Outline                         .\VOL010\IMAGES\IMAGES006\00145217.pdf
                                               FW: [EXTERNAL] MLS‐ March 4th Meeting Notes and
00145218   00145222   4/28/2021 18:33 Email    Action Items                                           .\VOL010\IMAGES\IMAGES006\00145218.pdf
00145223   00145224    4/29/2021 7:48 Email    RE: CONFIDENTIAL                                       .\VOL010\IMAGES\IMAGES006\00145223.pdf
00145225   00145227    4/29/2021 8:19 Email    FW: Requested Language                                 .\VOL010\IMAGES\IMAGES006\00145225.pdf
00145228   00145230    4/29/2021 8:40 Email    RE: CONFIDENTIAL                                       .\VOL010\IMAGES\IMAGES006\00145228.pdf
                                               Re: [EXTERNAL] MLS‐ March 4th Meeting Notes and
00145231   00145234    4/29/2021 9:21 Email    Action Items                                           .\VOL010\IMAGES\IMAGES006\00145231.pdf
00145235   00145237   4/29/2021 11:03 Email    RE: CONFIDENTIAL                                       .\VOL010\IMAGES\IMAGES006\00145235.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                             Page 143 of 263

00145238   00145239   4/29/2021 13:07 Email    RE: Draft NPS Letter                                 .\VOL010\IMAGES\IMAGES006\00145238.pdf
00145240   00145241   4/29/2021 13:07 Email    RE: Draft NPS Letter                                 .\VOL010\IMAGES\IMAGES006\00145240.pdf
                                               Re: [EXTERNAL] MLS‐ March 4th Meeting Notes and
00145242   00145246   4/29/2021 14:19 Email    Action Items                                         .\VOL010\IMAGES\IMAGES006\00145242.pdf
00145247   00145247   4/29/2021 14:19 Attach   CHOH_Park_Boundary_py.dbf                            .\VOL010\IMAGES\IMAGES006\00145247.pdf      .\VOL010\NATIVES\NATIVES006\00145247.dbf
00145248   00145248   4/29/2021 14:19 Attach   GWMP_Park_Boundary_py.dbf                            .\VOL010\IMAGES\IMAGES006\00145248.pdf      .\VOL010\NATIVES\NATIVES006\00145248.dbf
00145249   00145252   4/29/2021 14:27 Email    RE: CONFIDENTIAL                                     .\VOL010\IMAGES\IMAGES006\00145249.pdf
00145253   00145254   4/29/2021 14:35 Email    RE: CONFIDENTIAL                                     .\VOL010\IMAGES\IMAGES006\00145253.pdf
00145255   00145257   4/29/2021 16:00 Email    CONFIDENTIAL                                         .\VOL010\IMAGES\IMAGES006\00145255.pdf
00145258   00145260   4/29/2021 16:00 Email    CONFIDENTIAL                                         .\VOL010\IMAGES\IMAGES006\00145258.pdf

00145261   00145262    4/30/2021 7:09 Email    FW: MLS FHWA Request for Batch 1 DEIS Responses      .\VOL010\IMAGES\IMAGES006\00145261.pdf

00145263   00145264    4/30/2021 8:49 Email    RE: MLS FHWA Request for Batch 1 DEIS Responses        .\VOL010\IMAGES\IMAGES006\00145263.pdf
                                               MLS
                                               DEISCommentThemesResponses_Batch1_FHWA_04_3
00145265   00145285    4/30/2021 8:49 Attach   0_2021.docx                                            .\VOL010\IMAGES\IMAGES006\00145265.pdf
                                               FHWA/SHA Coordination Meeting‐ Two Technical
00145286   00145287   4/30/2021 15:57 Email    Agenda Items                                           .\VOL010\IMAGES\IMAGES006\00145286.pdf
                                               FHWA/SHA Coordination Meeting‐ Two Technical
00145288   00145289   4/30/2021 15:57 Email    Agenda Items                                           .\VOL010\IMAGES\IMAGES006\00145288.pdf
                                               Additional fieldwork Thursday 5/5, legal survey ‐‐ and
00145290   00145292     5/3/2021 8:08 Email    amazing photos!                                        .\VOL010\IMAGES\IMAGES006\00145290.pdf
00145293   00145293     5/3/2021 8:08 Attach   Moses.JPG                                              .\VOL010\IMAGES\IMAGES006\00145293.pdf
00145294   00145294     5/3/2021 8:08 Attach   Moses2.JPG                                             .\VOL010\IMAGES\IMAGES006\00145294.pdf
                                               RE: Additional fieldwork Thursday 5/5, legal survey ‐‐
00145295   00145297     5/3/2021 8:19 Email    and amazing photos!                                    .\VOL010\IMAGES\IMAGES006\00145295.pdf
                                               I‐270 I‐495 Managed Lanes NEPA Study ‐ Non‐
00145298   00145298     5/3/2021 9:27 Email    concurrence                                            .\VOL010\IMAGES\IMAGES006\00145298.pdf
                                               2021.05.03_Katie Shaver_PIA 10‐Day Close Out
00145299   00145300     5/3/2021 9:52 Edoc     Letter.pdf                                             .\VOL010\IMAGES\IMAGES006\00145299.pdf
                                               2021.05.03_Katie Shaver_PIA 30‐Day Close Out
00145301   00145302     5/3/2021 9:55 Edoc     Letter.pdf                                             .\VOL010\IMAGES\IMAGES006\00145301.pdf
00145303   00145304    5/3/2021 10:04 Email    FW_ Noise question.pdf                                 .\VOL010\IMAGES\IMAGES006\00145303.pdf
00145305   00145306    5/3/2021 10:04 Email    FW_ Noise question.pdf                                 .\VOL010\IMAGES\IMAGES006\00145305.pdf
                                               2021.05.03_Honorable Tom Hucker_PIA 30‐Day Close
00145307   00145309    5/3/2021 10:09 Edoc     Out Letter.pdf                                         .\VOL010\IMAGES\IMAGES006\00145307.pdf
                                               2021.05.03_Bruce Depuyt_PIA 10‐Day Close Out
00145310   00145311    5/3/2021 10:16 Edoc     Letter.pdf                                             .\VOL010\IMAGES\IMAGES006\00145310.pdf

                                               RE: ACTION: Additional information request on
00145312   00145313    5/3/2021 10:59 Email    Managed Lanes Project due COB Wednesday, May 5th .\VOL010\IMAGES\IMAGES006\00145312.pdf
00145314   00145314    5/3/2021 11:50 Email    Air Quality Conformity question                      .\VOL010\IMAGES\IMAGES006\00145314.pdf
                                               FW: I‐270 I‐495 Managed Lanes NEPA Study ‐ Non‐
00145315   00145315    5/3/2021 11:53 Email    concurrence                                          .\VOL010\IMAGES\IMAGES006\00145315.pdf
00145316   00145317    5/3/2021 14:21 Email    FHWA's Concurrence                                   .\VOL010\IMAGES\IMAGES006\00145316.pdf
00145318   00145319    5/3/2021 14:25 Email    RE: Noise question                                   .\VOL010\IMAGES\IMAGES006\00145318.pdf
00145320   00145320    5/3/2021 14:30 Attach   MLS‐ March 4th Meeting Notes and Action Items        .\VOL010\IMAGES\IMAGES006\00145320.pdf
00145321   00145321    5/3/2021 14:30 Attach   MLS‐ March 4th Meeting Notes and Action Items        .\VOL010\IMAGES\IMAGES006\00145321.pdf
00145322   00145322    5/3/2021 14:30 Attach   MLS‐ March 4th Meeting Notes and Action Items        .\VOL010\IMAGES\IMAGES006\00145322.pdf
                                               FW: Discrepancy in VDOT I‐495 NEXT and MDOT I‐495
00145323   00145324    5/3/2021 14:55 Email    Managed Lanes Signs on NPS lands                     .\VOL010\IMAGES\IMAGES006\00145323.pdf
                                               Consulting party request for I‐495 and I‐270 Managed
00145325   00145325    5/3/2021 15:35 Email    Lanes Study                                          .\VOL010\IMAGES\IMAGES006\00145325.pdf
                                               RE: Consulting party request for I‐495 and I‐270
00145326   00145327    5/3/2021 15:48 Email    Managed Lanes Study                                  .\VOL010\IMAGES\IMAGES006\00145326.pdf
                                               RE: Consulting party request for I‐495 and I‐270
00145328   00145329    5/3/2021 15:48 Email    Managed Lanes Study                                  .\VOL010\IMAGES\IMAGES006\00145328.pdf
00145330   00145331    5/3/2021 15:56 Email    RE: National Trust consulting on MLS                 .\VOL010\IMAGES\IMAGES006\00145330.pdf
00145332   00145333    5/3/2021 16:13 Email    RE: FHWA's Concurrence                               .\VOL010\IMAGES\IMAGES006\00145332.pdf
00145334   00145336    5/3/2021 16:22 Email    FW: FHWA's Concurrence                               .\VOL010\IMAGES\IMAGES006\00145334.pdf
                                               Consulting party request for I‐495 and I‐270
00145337   00145337    5/3/2021 16:35 Email    Ma...(1).pdf                                         .\VOL010\IMAGES\IMAGES006\00145337.pdf

00145338   00145339    5/3/2021 16:35 Attach   NTHP Consulting Party request for I‐495 I‐270 .pdf   .\VOL010\IMAGES\IMAGES006\00145338.pdf
00145340   00145342    5/3/2021 16:56 Email    RE: FHWA's Concurrence                               .\VOL010\IMAGES\IMAGES006\00145340.pdf
00145343   00145343    5/3/2021 18:11 Email    Re: Lanes Miles                                      .\VOL010\IMAGES\IMAGES006\00145343.pdf
00145344   00145345    5/3/2021 18:11 Email    RE_ Air Quality Conformity question(7).pdf           .\VOL010\IMAGES\IMAGES006\00145344.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ Draft
                                               Section 106 Programmatic Agreement ‐ comments
00145346   00145347    5/3/2021 19:57 Email    requested by April 12, 2021                          .\VOL010\IMAGES\IMAGES006\00145346.pdf
00145348   00145350    5/3/2021 19:57 Attach   MHT Comments on draft I495 MLS PA.docx               .\VOL010\IMAGES\IMAGES006\00145348.pdf
00145351   00145353     5/4/2021 7:57 Email    RE: Lanes Miles                                      .\VOL010\IMAGES\IMAGES006\00145351.pdf
                                               RE: [External] FW: [EXTERNAL] I‐495 and I‐270
                                               Managed Lanes Study ‐ Draft Section 106
                                               Programmatic Agreement ‐ comments requested by
00145354   00145356     5/4/2021 8:50 Email    April 12, 2021                                       .\VOL010\IMAGES\IMAGES006\00145354.pdf
00145357   00145357     5/4/2021 8:53 Email    Agenda for quarterly meeting today                   .\VOL010\IMAGES\IMAGES006\00145357.pdf
00145358   00145358     5/4/2021 8:53 Attach   AGENDA_5_4_2021.pdf                                  .\VOL010\IMAGES\IMAGES006\00145358.pdf
                                               RE_ [External] FW_ [EXTERNAL] I‐495 and I‐270
00145359   00145360     5/4/2021 9:35 Email    M...(1).pdf                                          .\VOL010\IMAGES\IMAGES006\00145359.pdf
00145361   00145363     5/4/2021 9:57 Email    RE_ Air Quality Conformity question(6).pdf           .\VOL010\IMAGES\IMAGES006\00145361.pdf
00145364   00145367    5/4/2021 10:19 Email    Re: Phase 1 South ‐ Park Renderings                  .\VOL010\IMAGES\IMAGES006\00145364.pdf
                                               RE: [External] FW: [EXTERNAL] I‐495 and I‐270
                                               Managed Lanes Study ‐ Draft Section 106
                                               Programmatic Agreement ‐ comments requested by
00145368   00145372    5/4/2021 10:58 Email    April 12, 2021                                       .\VOL010\IMAGES\IMAGES006\00145368.pdf
                                               Re_ [External] FW_ [EXTERNAL] I‐495 and I‐270
00145373   00145376    5/4/2021 11:37 Email    M...(1).pdf                                          .\VOL010\IMAGES\IMAGES006\00145373.pdf
00145377   00145380    5/4/2021 12:34 Email    RE_ Air Quality Conformity question(5).pdf           .\VOL010\IMAGES\IMAGES006\00145377.pdf
00145381   00145384    5/4/2021 12:37 Email    FW_ Air Quality Conformity question.pdf              .\VOL010\IMAGES\IMAGES006\00145381.pdf
00145385   00145388    5/4/2021 12:46 Email    RE_ Air Quality Conformity question(4).pdf           .\VOL010\IMAGES\IMAGES006\00145385.pdf
00145389   00145390    5/4/2021 12:46 Attach   RE: Noise question                                   .\VOL010\IMAGES\IMAGES006\00145389.pdf
00145391   00145392    5/4/2021 13:17 Email    New RPA DRAFT Press Release                          .\VOL010\IMAGES\IMAGES006\00145391.pdf
                                               20210429_press release_MDOT SHA Announces New
00145393   00145395    5/4/2021 13:17 Attach   RPA Alt 9 Phase 1 South v3 (1).docx                  .\VOL010\IMAGES\IMAGES006\00145393.pdf
00145396   00145397    5/4/2021 13:17 Email    New RPA DRAFT Press Release                          .\VOL010\IMAGES\IMAGES006\00145396.pdf
                                               2021‐04‐20_FHWA Coordination Meeting Notes_P3
00145398   00145398    5/4/2021 14:00 Attach   Program.docx                                         .\VOL010\IMAGES\IMAGES006\00145398.pdf
00145399   00145400    5/4/2021 14:00 Email    I‐495 & I‐270 FHWA Coordination Meeting              .\VOL010\IMAGES\IMAGES006\00145399.pdf

00145401   00145401    5/4/2021 14:00 Attach   2021‐05‐04_FHWA Coordination Mtg Agenda.docx         .\VOL010\IMAGES\IMAGES006\00145401.pdf
00145402   00145403    5/4/2021 16:31 Email    FW: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145402.pdf
00145404   00145405    5/4/2021 16:31 Email    FW: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145404.pdf
00145406   00145407    5/4/2021 16:46 Email    RE: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145406.pdf
    Case 8:22-cv-02597-DKC                           Document 42-1                              Filed 05/03/23                              Page 144 of 263

                                              20210429_press release_MDOT SHA Announces New
00145408   00145410   5/4/2021 16:46 Attach   RPA Alt 9 Phase 1 South v3 (1) FHWA.docx             .\VOL010\IMAGES\IMAGES006\00145408.pdf
00145411   00145413   5/4/2021 16:55 Email    FW: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145411.pdf
                                              20210429_press release_MDOT SHA Announces New
                                              RPA Alt 9 Phase 1 South v3 (1) FHWA DM
00145414   00145416   5/4/2021 19:05 Attach   comments.docx                                        .\VOL010\IMAGES\IMAGES006\00145414.pdf
                                              We need decisive action on climate, but the region’s
                                              draft transportation plan isn’t taking it – Greater
00145417   00145420    5/5/2021 0:28 Email    Greater Washington                                   .\VOL010\IMAGES\IMAGES006\00145417.pdf
00145421   00145421    5/5/2021 7:10 Email    Draft Agenda for MLS internal Meeting                .\VOL010\IMAGES\IMAGES006\00145421.pdf
                                              Dead Run Archaeology ‐ I495 & 270 MLS ‐ Agenda and
00145422   00145422    5/5/2021 7:20 Email    Materials for 10am                                   .\VOL010\IMAGES\IMAGES006\00145422.pdf
                                              2021_05_05
00145423   00145423    5/5/2021 7:20 Attach   MLS_NPS_Dead_Run_Archaeology_Agenda.pdf              .\VOL010\IMAGES\IMAGES006\00145423.pdf
                                              Page from MLS_Consulting Parties Meeting No. 4
00145424   00145424    5/5/2021 7:20 Attach   Presentation_3.10.2021_FINAL.pdf                     .\VOL010\IMAGES\IMAGES006\00145424.pdf
00145425   00145425    5/5/2021 7:20 Attach   NPS_Meeting_May2021.pdf                              .\VOL010\IMAGES\IMAGES006\00145425.pdf
00145426   00145426    5/5/2021 7:20 Attach   NPS_Meeting_May2021_125scale.pdf                     .\VOL010\IMAGES\IMAGES006\00145426.pdf
                                              RE: [EXTERNAL] Fw: I‐495 & I‐270 Managed Lanes
                                              Study – comments on draft Section 106 Programmatic
00145427   00145429    5/5/2021 7:48 Email    Agreement                                            .\VOL010\IMAGES\IMAGES006\00145427.pdf
00145430   00145430    5/5/2021 8:16 Email    RE: Draft Agenda for MLS internal Meeting            .\VOL010\IMAGES\IMAGES006\00145430.pdf
00145431   00145433    5/5/2021 8:33 Email    RE: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145431.pdf
00145434   00145436    5/5/2021 8:36 Email    RE: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145434.pdf
00145437   00145440    5/5/2021 8:37 Email    RE: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145437.pdf
00145441   00145444    5/5/2021 8:42 Email    RE: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145441.pdf
00145445   00145445    5/5/2021 9:11 Email    RE: Draft Agenda for MLS internal Meeting            .\VOL010\IMAGES\IMAGES006\00145445.pdf
00145446   00145448   5/5/2021 10:36 Email    RE: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145446.pdf
00145449   00145449   5/5/2021 12:08 Email    MLS Follow‐up                                        .\VOL010\IMAGES\IMAGES006\00145449.pdf
00145450   00145451   5/5/2021 13:29 Email    RE: MLS Follow‐up                                    .\VOL010\IMAGES\IMAGES006\00145450.pdf
00145452   00145453   5/5/2021 13:51 Email    RE: New RPA DRAFT Press Release                      .\VOL010\IMAGES\IMAGES006\00145452.pdf
00145454   00145455   5/5/2021 14:03 Email    RE: Agenda for May 5 MLS internal Meeting            .\VOL010\IMAGES\IMAGES006\00145454.pdf
                                              RE: CLOSE HOLD PLEASE: Maryland May 12th
                                              Scheduled Announcement of I‐495/I‐270 MLS Project
00145456   00145457   5/5/2021 14:23 Email    Decision                                             .\VOL010\IMAGES\IMAGES006\00145456.pdf
                                              FW: Missing Reference from Managed Lane Study
00145458   00145460   5/5/2021 16:13 Email    Draft Environmental Impact Statement                 .\VOL010\IMAGES\IMAGES006\00145458.pdf
00145461   00145462   5/5/2021 17:22 Email    Re: [EXTERNAL] RE: MLS Follow‐up                     .\VOL010\IMAGES\IMAGES006\00145461.pdf
00145463   00145464    5/6/2021 9:28 Email    New RPA Roll Out                                     .\VOL010\IMAGES\IMAGES006\00145463.pdf
                                              20210424_P3 Program Engagement and
                                              Communications Strategy ‐ new RPA revised v5_5‐6‐
00145465   00145474    5/6/2021 9:28 Attach   21.docx                                              .\VOL010\IMAGES\IMAGES006\00145465.pdf
00145475   00145476   5/6/2021 10:05 Email    Draft 5/12 IAWG Presentation                         .\VOL010\IMAGES\IMAGES006\00145475.pdf
                                              MLS IAWG Meeting No. 15 Presentation_05‐12‐
00145477   00145493   5/6/2021 10:05 Attach   2021_DRAFT_V2.pptx                                   .\VOL010\IMAGES\IMAGES006\00145477.pdf
00145494   00145496   5/6/2021 10:18 Email    FW: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145494.pdf
00145497   00145499   5/6/2021 13:22 Email    RE: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145497.pdf
00145500   00145502   5/6/2021 13:22 Email    RE: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145500.pdf
00145503   00145503   5/6/2021 14:27 Email    Re: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145503.pdf
00145504   00145506   5/6/2021 15:47 Email    RE: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145504.pdf
                                              I‐495 & I‐270 MLS IAWG Meeting No. 15
                                              Presentation_05‐12‐2021_DRAFT_reconciled FHWA
00145507   00145530   5/6/2021 16:26 Attach   Comments.pptx                                        .\VOL010\IMAGES\IMAGES006\00145507.pdf
00145531   00145533   5/6/2021 16:34 Email    RE: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145531.pdf
00145534   00145535   5/6/2021 16:34 Attach   Re: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145534.pdf
00145536   00145538   5/6/2021 16:34 Email    RE: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145536.pdf
00145539   00145540   5/6/2021 16:34 Attach   Re: Draft 5/12 IAWG Presentation                     .\VOL010\IMAGES\IMAGES006\00145539.pdf
                                              FW: Dead Run Archaeology ‐ I495 & 270 MLS ‐ Agenda
00145541   00145541   5/6/2021 16:35 Email    and Materials for 10am                               .\VOL010\IMAGES\IMAGES006\00145541.pdf
00145542   00145542   5/6/2021 16:35 Attach   NPS_Meeting_May2021_125scale.pdf                     .\VOL010\IMAGES\IMAGES006\00145542.pdf
00145543   00145544   5/6/2021 17:01 Email    RE: New RPA Roll Out                                 .\VOL010\IMAGES\IMAGES006\00145543.pdf
00145545   00145546   5/6/2021 17:01 Email    RE: New RPA Roll Out                                 .\VOL010\IMAGES\IMAGES006\00145545.pdf
                                              20210424_P3 Program Engagement and
                                              Communications Strategy ‐ new RPA revised v5_5‐6‐21
00145547   00145556   5/6/2021 17:01 Attach   (002) JP.docx                                        .\VOL010\IMAGES\IMAGES006\00145547.pdf
                                              FW: Dead Run Archaeology ‐ I495 & 270 MLS ‐ Agenda
00145557   00145557   5/6/2021 17:15 Attach   and Materials for 10am                               .\VOL010\IMAGES\IMAGES006\00145557.pdf

00145558   00145562   5/6/2021 22:17 Email    Taking the ‘Commuter’ Out of America’s Rail Systems .\VOL010\IMAGES\IMAGES006\00145558.pdf
00145563   00145564    5/7/2021 8:00 Email    RE: New RPA Roll Out                                .\VOL010\IMAGES\IMAGES006\00145563.pdf
                                              20210424_P3 Program Engagement and
                                              Communications Strategy ‐ new RPA revised v5_5‐6‐21
00145565   00145574    5/7/2021 8:00 Attach   (002) JP_KP.docx                                    .\VOL010\IMAGES\IMAGES006\00145565.pdf
                                              20210429_press release_MDOT SHA Announces New
                                              RPA Alt 9 Phase 1 South ‐ clean w‐Gov quote Final
00145575   00145577    5/7/2021 8:32 Attach   Draft FHWA.docx                                     .\VOL010\IMAGES\IMAGES006\00145575.pdf
                                              FW: Concurrence Requested: MDOT's Press Release
00145578   00145580    5/7/2021 8:32 Email    on New MLS Project Approach                         .\VOL010\IMAGES\IMAGES006\00145578.pdf
00145581   00145582   5/7/2021 10:59 Email    RE: New RPA Roll Out                                .\VOL010\IMAGES\IMAGES006\00145581.pdf
00145583   00145584   5/7/2021 10:59 Email    RE: New RPA Roll Out                                .\VOL010\IMAGES\IMAGES006\00145583.pdf
00145585   00145586   5/7/2021 12:00 Email    RE: New RPA Roll Out                                .\VOL010\IMAGES\IMAGES006\00145585.pdf
00145587   00145588   5/7/2021 12:00 Email    RE: New RPA Roll Out                                .\VOL010\IMAGES\IMAGES006\00145587.pdf
00145589   00145590   5/7/2021 12:15 Email    RE: Draft 5/12 IAWG Presentation                    .\VOL010\IMAGES\IMAGES006\00145589.pdf
                                              RE: I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00145591   00145591   5/7/2021 12:33 Email    Evaluation ‐ Annotated Outline                      .\VOL010\IMAGES\IMAGES006\00145591.pdf
                                              RE: I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00145592   00145593   5/7/2021 12:34 Email    Evaluation ‐ Annotated Outline                      .\VOL010\IMAGES\IMAGES006\00145592.pdf
00145594   00145595   5/7/2021 12:55 Email    Re: Draft 5/12 IAWG Presentation                    .\VOL010\IMAGES\IMAGES006\00145594.pdf
00145596   00145597   5/7/2021 12:55 Email    Re: Draft 5/12 IAWG Presentation                    .\VOL010\IMAGES\IMAGES006\00145596.pdf

00145598   00145599   5/7/2021 13:35 Attach   Supplemental Draft 4(f) Outline ‐ FHWA commen.docx .\VOL010\IMAGES\IMAGES006\00145598.pdf
00145600   00145601   5/7/2021 14:46 Email    Updated NPA Commitment Letter                      .\VOL010\IMAGES\IMAGES006\00145600.pdf
00145602   00145602   5/7/2021 14:46 Email    Updated NPA Commitment Letter                      .\VOL010\IMAGES\IMAGES006\00145602.pdf
                                              RE: MLS: Environmental Justice Working Group
00145603   00145604   5/7/2021 16:54 Email    Meeting #2                                         .\VOL010\IMAGES\IMAGES006\00145603.pdf
                                              2021.04.07_MLS_EJWG_Discussion_Meeting_Notes_v
00145605   00145607   5/7/2021 16:54 Attach   1.pdf                                              .\VOL010\IMAGES\IMAGES006\00145605.pdf
00145608   00145609   5/10/2021 7:53 Email    FW: Updated NPA Commitment Letter                  .\VOL010\IMAGES\IMAGES006\00145608.pdf
00145610   00145611   5/10/2021 8:23 Email    confidential                                       .\VOL010\IMAGES\IMAGES006\00145610.pdf

00145612   00145614   5/10/2021 9:35 Email    Re: P3 Phase 1 South Cost Estimate ‐ Memorandum   .\VOL010\IMAGES\IMAGES006\00145612.pdf
                                              P3 MLS Roadway Cost Summary_Phase 1 South_May
00145615   00145615   5/10/2021 9:35 Attach   2021.xlsx                                         .\VOL010\IMAGES\IMAGES006\00145615.pdf       .\VOL010\NATIVES\NATIVES006\00145615.xlsx
                                              P3 MLS Roadway Cost Summary_Phase 1 South_May
00145616   00145616   5/10/2021 9:35 Attach   2021.pdf                                          .\VOL010\IMAGES\IMAGES006\00145616.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 145 of 263

                                               FW: CLOSE HOLD PLEASE: Maryland May 12th
                                               Scheduled Announcement of I‐495/I‐270 MLS Project
00145617   00145619   5/10/2021 10:32 Email    Decision                                                 .\VOL010\IMAGES\IMAGES006\00145617.pdf
00145620   00145621   5/10/2021 13:05 Edoc     FOIA Response Letter Sierra Club_5.10.21.pdf             .\VOL010\IMAGES\IMAGES006\00145620.pdf
00145622   00145623   5/10/2021 15:44 Attach   RE: Lease Agreement Questions                            .\VOL010\IMAGES\IMAGES006\00145622.pdf
00145624   00145625   5/11/2021 10:46 Email    FW: Press Release                                        .\VOL010\IMAGES\IMAGES006\00145624.pdf
00145626   00145627   5/11/2021 10:46 Email    FW: Press Release                                        .\VOL010\IMAGES\IMAGES006\00145626.pdf
00145628   00145629   5/11/2021 13:50 Email    MLS Phase 1 South Information                            .\VOL010\IMAGES\IMAGES006\00145628.pdf
00145630   00145631    5/12/2021 9:31 Email    FW: Updated NPA Commitment Letter                        .\VOL010\IMAGES\IMAGES006\00145630.pdf
00145632   00145633    5/12/2021 9:31 Email    FW: Updated NPA Commitment Letter                        .\VOL010\IMAGES\IMAGES006\00145632.pdf

00145634   00145636   5/12/2021 11:49 Email    I‐495 & I‐270 MLS May IAWG Meeting ‐ Presentation        .\VOL010\IMAGES\IMAGES006\00145634.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting No. 15
00145637   00145653   5/12/2021 11:49 Attach   Presentation_05‐12‐2021.pdf                              .\VOL010\IMAGES\IMAGES006\00145637.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting No. 15
00145654   00145670   5/12/2021 11:49 Attach   Presentation_05‐12‐2021.pdf                              .\VOL010\IMAGES\IMAGES006\00145654.pdf
                                               New Managed Lanes Study Recommended Preferred
00145671   00145672   5/12/2021 13:34 Email    Alternative                                              .\VOL010\IMAGES\IMAGES006\00145671.pdf
                                               New Managed Lanes Study Recommended Preferred
00145673   00145674   5/12/2021 13:34 Email    Alternative                                              .\VOL010\IMAGES\IMAGES006\00145673.pdf
                                               New Managed Lanes Study Recommended Preferred
00145675   00145676   5/12/2021 13:34 Email    Alternative                                              .\VOL010\IMAGES\IMAGES006\00145675.pdf
                                               FW: PCS folder for ALB Strike Team Member Access to
00145677   00145679    5/13/2021 7:52 Email    Files/Documents                                          .\VOL010\IMAGES\IMAGES006\00145677.pdf
00145680   00145680    5/13/2021 8:16 Email    FW: Managed lanes I‐495/I‐270                            .\VOL010\IMAGES\IMAGES006\00145680.pdf
00145681   00145682    5/13/2021 8:41 Email    FW: Managed lanes I‐495/I‐270                            .\VOL010\IMAGES\IMAGES006\00145681.pdf
00145683   00145684    5/13/2021 8:42 Email    RE: Managed lanes I‐495/I‐270                            .\VOL010\IMAGES\IMAGES006\00145683.pdf
00145685   00145686    5/13/2021 9:17 Email    I‐495 & I‐270 MLS Section 106 Update                     .\VOL010\IMAGES\IMAGES006\00145685.pdf
00145687   00145688   5/13/2021 10:17 Email    I‐495 & I‐270 MLS Section 106 Update(1).pdf              .\VOL010\IMAGES\IMAGES006\00145687.pdf
                                               NSAW Comments for I‐495/I‐270 P‐3 Project Navy
00145689   00145689   5/13/2021 13:47 Email    Coordination Meeting on March 26, 2021                   .\VOL010\IMAGES\IMAGES006\00145689.pdf
                                               Fw: I‐495 & I‐270 MLS May IAWG Meeting ‐
00145690   00145692   5/13/2021 14:10 Email    Presentation                                             .\VOL010\IMAGES\IMAGES006\00145690.pdf

00145693   00145694   5/13/2021 15:35 Email    RE: MLS Air Quality and Noise Discussions with FHWA      .\VOL010\IMAGES\IMAGES006\00145693.pdf

00145695   00145697   5/13/2021 15:35 Attach   CLRP and Conformity Determination‐ MLS_6‐2020.pdf .\VOL010\IMAGES\IMAGES006\00145695.pdf

00145698   00145701   5/13/2021 15:45 Edoc     Meeting Outreach‐Record_Avonglen 051121.docx       .\VOL010\IMAGES\IMAGES006\00145698.pdf
00145702   00145703   5/13/2021 16:29 Email    Phase 1 South_ A I‐270 to I‐370.pdf                .\VOL010\IMAGES\IMAGES006\00145702.pdf
                                               RE_ MLS Air Quality and Noise Discussions with
00145704   00145705   5/13/2021 16:35 Email    ...(2).pdf                                         .\VOL010\IMAGES\IMAGES006\00145704.pdf
00145706   00145707   5/13/2021 17:19 Email    FW_ Phase 1 South_ A I‐270 to I‐370.pdf            .\VOL010\IMAGES\IMAGES006\00145706.pdf
                                               Comments on MDOT’s Announcement on the 495‐270
00145708   00145709   5/13/2021 22:52 Email    P3 Project                                         .\VOL010\IMAGES\IMAGES006\00145708.pdf
00145710   00145710   5/14/2021 11:42 Email    MD‐MLS project                                     .\VOL010\IMAGES\IMAGES006\00145710.pdf
00145711   00145711   5/14/2021 11:42 Attach   Plat 49535.tif                                     .\VOL010\IMAGES\IMAGES006\00145711.pdf
00145712   00145712   5/14/2021 11:42 Attach   ALB_Clara Barton Area Map.pdf                      .\VOL010\IMAGES\IMAGES006\00145712.pdf
00145713   00145713   5/14/2021 11:42 Attach   CLara Barton Right of Way Plat (2)_49536.pdf       .\VOL010\IMAGES\IMAGES006\00145713.pdf
00145714   00145714   5/14/2021 11:42 Attach   CLara Barton Right of Way Plat_49536.pdf           .\VOL010\IMAGES\IMAGES006\00145714.pdf
00145715   00145715   5/14/2021 11:42 Attach   ClaraBarton_MSA_S1624_23993.pdf                    .\VOL010\IMAGES\IMAGES006\00145715.pdf
00145716   00145724   5/14/2021 11:42 Attach   Deed to NPS Clara Barton PARKWAY.pdf               .\VOL010\IMAGES\IMAGES006\00145716.pdf
00145725   00145734   5/14/2021 11:42 Attach   MDBeltway.Felter.pdf                               .\VOL010\IMAGES\IMAGES006\00145725.pdf
00145735   00145737   5/14/2021 11:42 Attach   MDBeltway.Funk.pdf                                 .\VOL010\IMAGES\IMAGES006\00145735.pdf
                                               FW: NSAW Comments for I‐495/I‐270 P‐3 Project Navy
00145738   00145738   5/14/2021 13:42 Email    Coordination Meeting on March 26, 2021             .\VOL010\IMAGES\IMAGES006\00145738.pdf

                                               Ser 112 NAVAL SUPPORT ACTIVITY WASHINGTON
                                               COMMENTS FOR I‐495 AND 1‐270 P‐3 PROJECT NA VY
00145739   00145739   5/14/2021 13:42 Attach   COORDINATION MEETING ON MARCH 26, 2021.pdf               .\VOL010\IMAGES\IMAGES006\00145739.pdf
00145740   00145742    5/17/2021 7:05 Email    Re: I‐495 & I‐270 MLS Section 106 Update                 .\VOL010\IMAGES\IMAGES006\00145740.pdf
00145743   00145745    5/17/2021 7:05 Email    Re: I‐495 & I‐270 MLS Section 106 Update                 .\VOL010\IMAGES\IMAGES006\00145743.pdf
00145746   00145747   5/17/2021 10:00 Email    RE: MLS Environmental Processes Discussion               .\VOL010\IMAGES\IMAGES006\00145746.pdf
00145748   00145753   5/17/2021 11:15 Email    RE: Question                                             .\VOL010\IMAGES\IMAGES006\00145748.pdf

00145754   00145754   5/17/2021 11:15 Attach   1961‐03‐07_State Roads Commission Agreement.pdf          .\VOL010\IMAGES\IMAGES006\00145754.pdf
00145755   00145757   5/17/2021 11:15 Attach   RE: Question                                             .\VOL010\IMAGES\IMAGES006\00145755.pdf
                                               RE: I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00145758   00145759   5/17/2021 11:38 Email    Evaluation ‐ Annotated Outline                           .\VOL010\IMAGES\IMAGES006\00145758.pdf
                                               RE: I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00145760   00145761   5/17/2021 11:38 Email    Evaluation ‐ Annotated Outline                           .\VOL010\IMAGES\IMAGES006\00145760.pdf
00145762   00145768   5/17/2021 11:46 Email    RE: Question                                             .\VOL010\IMAGES\IMAGES006\00145762.pdf
00145769   00145771   5/17/2021 12:22 Attach   Managed Lanes.Rep Brown.pdf                              .\VOL010\IMAGES\IMAGES006\00145769.pdf
                                               RE: Managed lanes I‐495/I‐270 ‐ Reply to Rep. Brown
00145772   00145772   5/17/2021 14:15 Email    and Sen Van Hollen                                       .\VOL010\IMAGES\IMAGES006\00145772.pdf
                                               RE_ MLS Air Quality and Noise Discussions with
00145773   00145774   5/17/2021 15:11 Email    ...(1).pdf                                               .\VOL010\IMAGES\IMAGES006\00145773.pdf

00145775   00145777   5/17/2021 15:41 Email    RE_ MLS Air Quality and Noise Discussions with ....pdf   .\VOL010\IMAGES\IMAGES006\00145775.pdf
                                               RE: Managed lanes I‐495/I‐270 ‐ Reply to Rep. Brown
00145778   00145778   5/17/2021 15:52 Email    and Sen Van Hollen                                       .\VOL010\IMAGES\IMAGES006\00145778.pdf
00145779   00145781   5/17/2021 17:18 Email    RE: Air Quality Conformity question                      .\VOL010\IMAGES\IMAGES006\00145779.pdf
00145782   00145785   5/17/2021 17:54 Email    RE_ Air Quality Conformity question(3).pdf               .\VOL010\IMAGES\IMAGES006\00145782.pdf
00145786   00145789   5/17/2021 17:55 Email    RE_ Air Quality Conformity question(2).pdf               .\VOL010\IMAGES\IMAGES006\00145786.pdf
00145790   00145793   5/17/2021 18:07 Email    RE_ Air Quality Conformity question(1).pdf               .\VOL010\IMAGES\IMAGES006\00145790.pdf
00145794   00145797   5/17/2021 18:18 Email    RE_ Air Quality Conformity question.pdf                  .\VOL010\IMAGES\IMAGES006\00145794.pdf

00145798   00145800   5/17/2021 18:39 Email    RE: MLS Air Quality and Noise Discussions with FHWA      .\VOL010\IMAGES\IMAGES006\00145798.pdf
00145801   00145801    5/18/2021 8:26 Email    For Today's Noise and Air Discussion                     .\VOL010\IMAGES\IMAGES006\00145801.pdf

00145802   00145803    5/18/2021 9:26 Attach   RE: MLS Air Quality and Noise Discussions with FHWA      .\VOL010\IMAGES\IMAGES006\00145802.pdf
00145804   00145804    5/18/2021 9:26 Email    For Today's Noise and Air Discussion.pdf                 .\VOL010\IMAGES\IMAGES006\00145804.pdf

00145805   00145806    5/18/2021 9:26 Attach   RE: MLS Air Quality and Noise Discussions with FHWA      .\VOL010\IMAGES\IMAGES006\00145805.pdf

00145807   00145808    5/18/2021 9:41 Email    FW: MLS Air Quality and Noise Discussions with FHWA .\VOL010\IMAGES\IMAGES006\00145807.pdf

00145809   00145810    5/18/2021 9:42 Email    FW: MLS Air Quality and Noise Discussions with FHWA      .\VOL010\IMAGES\IMAGES006\00145809.pdf
00145811   00145812    5/18/2021 9:48 Email    RE_ For Today's Noise and Air Discussion(13).pdf         .\VOL010\IMAGES\IMAGES006\00145811.pdf
00145813   00145814    5/18/2021 9:57 Email    RE_ For Today's Noise and Air Discussion(12).pdf         .\VOL010\IMAGES\IMAGES006\00145813.pdf
00145815   00145816   5/18/2021 10:01 Email    RE_ For Today's Noise and Air Discussion(11).pdf         .\VOL010\IMAGES\IMAGES006\00145815.pdf

00145817   00145862   5/18/2021 10:01 Attach   DEIS_AppJ_2_Noise Tech Report Exhibits_Part1.pdf         .\VOL010\IMAGES\IMAGES006\00145817.pdf
00145863   00145864   5/18/2021 10:02 Email    RE_ For Today's Noise and Air Discussion(10).pdf         .\VOL010\IMAGES\IMAGES006\00145863.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                              Page 146 of 263

                                               2021.05.18_Katherine Shaver_PIA 10‐Day Letter
00145865   00145865   5/18/2021 10:43 Edoc     (2).pdf                                               .\VOL010\IMAGES\IMAGES006\00145865.pdf

00145866   00145867   5/18/2021 10:48 Edoc     2021.05.18_Katherine Shaver_PIA 10‐Day Letter.pdf        .\VOL010\IMAGES\IMAGES006\00145866.pdf
                                               National Register evaluation of Plummers Island ‐ I‐495
00145868   00145869   5/18/2021 11:56 Email    & I‐270 MLS                                              .\VOL010\IMAGES\IMAGES006\00145868.pdf
                                               Re: National Register evaluation of Plummers Island ‐ I‐
00145870   00145873   5/18/2021 12:29 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00145870.pdf
00145874   00146227   5/18/2021 12:29 Attach   wbfc_booksm.pdf                                          .\VOL010\IMAGES\IMAGES006\00145874.pdf
                                               Re: National Register evaluation of Plummers Island ‐ I‐
00146228   00146231   5/18/2021 12:29 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146228.pdf
00146232   00146232   5/18/2021 15:00 Edoc     Attendence List.xlsx                                     .\VOL010\IMAGES\IMAGES006\00146232.pdf    .\VOL010\NATIVES\NATIVES006\00146232.xlsx
                                               MLS_Consulting Parties Meeting No. 4
00146233   00146265   5/18/2021 15:01 Edoc     Presentation_3.10.2021_FINAL.pptx                        .\VOL010\IMAGES\IMAGES006\00146233.pdf
                                               MLS Discussion: Gibson Grove Church and Moses Hall
00146266   00146267   5/18/2021 15:22 Email    Cemetery                                                 .\VOL010\IMAGES\IMAGES006\00146266.pdf

00146268   00146270   5/18/2021 16:05 Attach   Supplemental Draft 4(f) Outline ‐ Revised 05..docx    .\VOL010\IMAGES\IMAGES006\00146268.pdf
                                               RE: I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00146271   00146272   5/18/2021 16:49 Attach   Evaluation ‐ Annotated Outline                        .\VOL010\IMAGES\IMAGES006\00146271.pdf
00146273   00146273    5/19/2021 9:45 Attach   image003.png                                          .\VOL010\IMAGES\IMAGES006\00146273.pdf
00146274   00146274   5/19/2021 10:04 Attach   image002.png                                          .\VOL010\IMAGES\IMAGES006\00146274.pdf
00146275   00146275   5/19/2021 10:10 Attach   image001.png                                          .\VOL010\IMAGES\IMAGES006\00146275.pdf
00146276   00146276   5/19/2021 10:44 Attach   image002.png                                          .\VOL010\IMAGES\IMAGES006\00146276.pdf
00146277   00146277   5/19/2021 10:54 Attach   image001.png                                          .\VOL010\IMAGES\IMAGES006\00146277.pdf
                                               RE: MLS Discussion: Gibson Grove Church and Moses
00146278   00146279   5/19/2021 12:25 Email    Hall Cemetery                                         .\VOL010\IMAGES\IMAGES006\00146278.pdf
00146280   00146280   5/19/2021 13:10 Attach   image006.png                                          .\VOL010\IMAGES\IMAGES006\00146280.pdf
00146281   00146281   5/19/2021 13:10 Attach   image007.png                                          .\VOL010\IMAGES\IMAGES006\00146281.pdf
00146282   00146283   5/19/2021 13:18 Email    RE: MLS Environmental Processes Discussion            .\VOL010\IMAGES\IMAGES006\00146282.pdf
00146284   00146285   5/19/2021 14:37 Email    Pl review‐ MLS AQ Conformity Internal Meeting         .\VOL010\IMAGES\IMAGES006\00146284.pdf
00146286   00146286   5/19/2021 14:37 Attach   Visualize 2045 Update Schedule.docx                   .\VOL010\IMAGES\IMAGES006\00146286.pdf
                                               RE: Managed lanes I‐495/I‐270 ‐ Reply to Rep. Brown
00146287   00146288   5/19/2021 14:45 Email    and Sen Van Hollen                                    .\VOL010\IMAGES\IMAGES006\00146287.pdf
00146289   00146289   5/19/2021 15:41 Email    Noise email                                           .\VOL010\IMAGES\IMAGES006\00146289.pdf
                                               RE: I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00146290   00146291   5/19/2021 16:05 Email    Evaluation ‐ Annotated Outline                        .\VOL010\IMAGES\IMAGES006\00146290.pdf
                                               RE: I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00146292   00146293   5/19/2021 16:05 Email    Evaluation ‐ Annotated Outline                        .\VOL010\IMAGES\IMAGES006\00146292.pdf

00146294   00146295   5/19/2021 16:05 Email    MLS AQ Conformity Internal Meeting Information.pdf .\VOL010\IMAGES\IMAGES006\00146294.pdf
                                               Phase 1 South Toll Rate Range Setting_FINAL_Press
00146296   00146298   5/19/2021 18:19 Attach   Release_05.20.2021.docx                                  .\VOL010\IMAGES\IMAGES006\00146296.pdf
                                               RE_ MLS AQ Conformity Internal Meeting
00146299   00146300   5/19/2021 19:26 Email    Information.pdf                                          .\VOL010\IMAGES\IMAGES006\00146299.pdf
00146301   00146311   5/19/2021 19:26 Attach   TRP Work Session 2‐ Presentation V1.pptx                 .\VOL010\IMAGES\IMAGES006\00146301.pdf
00146312   00146313    5/20/2021 8:10 Email    RE: MD‐MLS project                                       .\VOL010\IMAGES\IMAGES006\00146312.pdf
                                               FW: FHWA/MDOT SHA Coordination Mtg Notes and
00146314   00146315    5/20/2021 8:15 Email    Response to Comments on Noise Approach                   .\VOL010\IMAGES\IMAGES006\00146314.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting ‐ Meeting Notes and
00146316   00146319    5/20/2021 9:05 Email    Presentation                                             .\VOL010\IMAGES\IMAGES006\00146316.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting No. 15
00146320   00146336    5/20/2021 9:05 Attach   Presentation_05‐12‐2021_REVISED.pdf                      .\VOL010\IMAGES\IMAGES006\00146320.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting ‐ Meeting Notes and
00146337   00146340    5/20/2021 9:05 Email    Presentation                                             .\VOL010\IMAGES\IMAGES006\00146337.pdf
00146341   00146343    5/20/2021 9:22 Email    RE: MD‐MLS project                                       .\VOL010\IMAGES\IMAGES006\00146341.pdf
                                               FW: Updated ALB Area Impacts and Supporting
00146344   00146351    5/20/2021 9:22 Attach   Boundary Maps                                            .\VOL010\IMAGES\IMAGES006\00146344.pdf
00146352   00146352    5/20/2021 9:22 Attach   23993_Markedup.tif                                       .\VOL010\IMAGES\IMAGES006\00146352.pdf
00146353   00146353   5/20/2021 11:40 Attach   Noise approach                                           .\VOL010\IMAGES\IMAGES006\00146353.pdf
00146354   00146356   5/20/2021 11:40 Attach   FW: Noise Approach                                       .\VOL010\IMAGES\IMAGES006\00146354.pdf
00146357   00146357   5/20/2021 11:40 Attach   I‐495/I‐270 MLS project in MD                            .\VOL010\IMAGES\IMAGES006\00146357.pdf
00146358   00146359   5/20/2021 12:54 Edoc     2021.05.20_Erin Benson_PIA 10‐Day Letter.pdf             .\VOL010\IMAGES\IMAGES006\00146358.pdf
                                               RE: National Register evaluation of Plummers Island ‐ I‐
00146360   00146363   5/20/2021 13:42 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146360.pdf
00146364   00146371   5/20/2021 13:48 Email    Re: Washington Biologists' Field Club DOE                .\VOL010\IMAGES\IMAGES006\00146364.pdf
00146372   00146375   5/20/2021 14:49 Email    Join Us for a P3 Toll Setting Public Hearing             .\VOL010\IMAGES\IMAGES006\00146372.pdf
00146376   00146379   5/20/2021 15:25 Email    FW: Join Us for a P3 Toll Setting Public Hearing         .\VOL010\IMAGES\IMAGES006\00146376.pdf
00146380   00146380   5/20/2021 17:21 Email    MLS Noise approach                                       .\VOL010\IMAGES\IMAGES006\00146380.pdf
                                               I‐270 I‐495 MLS ‐ Noise Analysis Approach_2018‐04‐
00146381   00146385   5/20/2021 17:21 Attach   05.docx                                                  .\VOL010\IMAGES\IMAGES006\00146381.pdf
                                               2018‐12‐03_I‐495 I‐270 MLS Updated Noise Modeling
00146386   00146389   5/20/2021 17:21 Attach   Approach.docx                                            .\VOL010\IMAGES\IMAGES006\00146386.pdf

                                               2019‐01‐17_I‐495 & I‐270 Noise Analysis Approach
00146390   00146392   5/20/2021 17:21 Attach   Modification_Response to FHWA comment.docx            .\VOL010\IMAGES\IMAGES006\00146390.pdf
00146393   00146395   5/20/2021 17:21 Attach   FW: Noise Approach                                    .\VOL010\IMAGES\IMAGES006\00146393.pdf

00146396   00146400   5/20/2021 17:21 Attach   2019‐01‐08 FHWA Coordination Meeting_Notes.docx .\VOL010\IMAGES\IMAGES006\00146396.pdf
00146401   00146403   5/20/2021 17:21 Attach   RE: Noise Approach                                    .\VOL010\IMAGES\IMAGES006\00146401.pdf
00146404   00146408    5/21/2021 7:36 Email    RE: Join Us for a P3 Toll Setting Public Hearing      .\VOL010\IMAGES\IMAGES006\00146404.pdf
00146409   00146413    5/21/2021 7:47 Email    FW: Join Us for a P3 Toll Setting Public Hearing      .\VOL010\IMAGES\IMAGES006\00146409.pdf
00146414   00146418    5/21/2021 8:24 Email    RE: Join Us for a P3 Toll Setting Public Hearing      .\VOL010\IMAGES\IMAGES006\00146414.pdf
00146419   00146420    5/21/2021 9:52 Email    Noise Analysis                                        .\VOL010\IMAGES\IMAGES006\00146419.pdf
00146421   00146422   5/21/2021 11:01 Email    FW_ Noise Analysis.pdf                                .\VOL010\IMAGES\IMAGES006\00146421.pdf
00146423   00146424   5/21/2021 14:49 Email    RE: Noise Analysis                                    .\VOL010\IMAGES\IMAGES006\00146423.pdf
00146425   00146426   5/21/2021 14:49 Email    RE: Noise Analysis                                    .\VOL010\IMAGES\IMAGES006\00146425.pdf
00146427   00146429   5/21/2021 16:02 Email    FW_ Noise Analysis(1).pdf                             .\VOL010\IMAGES\IMAGES006\00146427.pdf
00146430   00146430   5/23/2021 12:49 Edoc     MLS_EJWG_Stakeholder Database.xlsx                    .\VOL010\IMAGES\IMAGES006\00146430.pdf       .\VOL010\NATIVES\NATIVES006\00146430.XLSX
00146431   00146431   5/24/2021 10:00 Email    Re: SDEIS Detail Schedule                             .\VOL010\IMAGES\IMAGES006\00146431.pdf
                                               I‐495 I‐270 Managed Lanes Study May IAWG Key
00146432   00146438   5/24/2021 10:05 Attach   Notes_2021‐05‐12.pdf                                  .\VOL010\IMAGES\IMAGES006\00146432.pdf
00146439   00146439   5/24/2021 12:22 Email    Fw: I‐495 NEXT Letters                                .\VOL010\IMAGES\IMAGES006\00146439.pdf
                                               2020‐11‐30 from Valentine Letter to Jeff McKay re 495
00146440   00146441   5/24/2021 12:22 Attach   NEXT.pdf                                              .\VOL010\IMAGES\IMAGES006\00146440.pdf

00146442   00146443   5/24/2021 12:22 Attach   2021‐03‐12 Secretary V to Jeff McKay re 495 NEXT.pdf .\VOL010\IMAGES\IMAGES006\00146442.pdf
                                               2021‐05‐12 VDOT_Response_I‐495_Section4(f)_05‐17‐
00146444   00146452   5/24/2021 12:22 Attach   2021.pdf                                             .\VOL010\IMAGES\IMAGES006\00146444.pdf
                                               2021‐03‐24 I‐495_NPS‐GWMP‐4(f)DeMinimis Final NPS
00146453   00146468   5/24/2021 12:22 Attach   Signed 5‐6‐2021.pdf                                  .\VOL010\IMAGES\IMAGES006\00146453.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting ‐ Revised Meeting
00146469   00146474   5/24/2021 13:22 Email    Notes                                                .\VOL010\IMAGES\IMAGES006\00146469.pdf
                                               I‐495 & I‐270 MLS IAWG Meeting ‐ Revised Meeting
00146475   00146480   5/24/2021 13:22 Email    Notes                                                .\VOL010\IMAGES\IMAGES006\00146475.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                               Page 147 of 263

                                               I‐495 I‐270 Managed Lanes Study May IAWG Key
00146481   00146487   5/24/2021 13:22 Attach   Notes_2021‐05‐12_REVISED.pdf                             .\VOL010\IMAGES\IMAGES006\00146481.pdf
                                               RE: National Register evaluation of Plummers Island ‐ I‐
00146488   00146491   5/24/2021 14:56 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146488.pdf
00146492   00146493   5/24/2021 15:10 Email    Executive Steering Commitee                              .\VOL010\IMAGES\IMAGES006\00146492.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study Executive
00146494   00146496   5/24/2021 16:31 Email    Steering Committee Meeting                               .\VOL010\IMAGES\IMAGES006\00146494.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study Executive
00146497   00146499   5/24/2021 16:31 Email    Steering Committee Meeting                               .\VOL010\IMAGES\IMAGES006\00146497.pdf
                                               2021‐05‐26 Agenda ‐ Executive Steering
00146500   00146500   5/24/2021 16:31 Attach   Committee.pdf                                            .\VOL010\IMAGES\IMAGES006\00146500.pdf
                                               Re: National Register evaluation of Plummers Island ‐ I‐
00146501   00146505   5/24/2021 20:27 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146501.pdf
                                               RE: National Register evaluation of Plummers Island ‐ I‐
00146506   00146510    5/25/2021 9:45 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146506.pdf
                                               RE: National Register evaluation of Plummers Island ‐ I‐
00146511   00146515    5/25/2021 9:53 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146511.pdf
                                               Re: National Register evaluation of Plummers Island ‐ I‐
00146516   00146522   5/25/2021 10:38 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146516.pdf
                                               Re: National Register evaluation of Plummers Island ‐ I‐
00146523   00146528   5/25/2021 10:54 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146523.pdf
                                               RE: National Register evaluation of Plummers Island ‐ I‐
00146529   00146535   5/25/2021 10:54 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146529.pdf
                                               RE: National Register evaluation of Plummers Island ‐ I‐
00146536   00146542   5/25/2021 10:55 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146536.pdf

00146543   00146547   5/25/2021 11:12 Edoc     Meeting Outreach Record_Rosemont Notes.docx              .\VOL010\IMAGES\IMAGES006\00146543.pdf
                                               2021‐05‐12_I‐495_I‐270 MLS_RPA Commitment
00146548   00146553   5/25/2021 13:29 Attach   Letter.docx                                              .\VOL010\IMAGES\IMAGES006\00146548.pdf
00146554   00146555   5/25/2021 14:00 Email    FW: Executive Steering Commitee                          .\VOL010\IMAGES\IMAGES006\00146554.pdf
                                               I‐495 & I‐270 MLS Executive Steering Committee
00146556   00146574   5/25/2021 14:00 Attach   Meeting Presentation_05‐26‐2021.pptx                     .\VOL010\IMAGES\IMAGES006\00146556.pdf
00146575   00146577   5/25/2021 14:53 Email    RE: Executive Steering Commitee                          .\VOL010\IMAGES\IMAGES006\00146575.pdf
00146578   00146580   5/25/2021 14:53 Email    RE: Executive Steering Commitee                          .\VOL010\IMAGES\IMAGES006\00146578.pdf
                                               Re: National Register evaluation of Plummers Island ‐ I‐
00146581   00146587   5/25/2021 18:00 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146581.pdf
00146588   00146589    5/26/2021 8:08 Email    RE: Updated NPA Commitment Letter                        .\VOL010\IMAGES\IMAGES006\00146588.pdf
00146590   00146600    5/26/2021 8:34 Attach   TRP Work Session 2‐ Presentation V1.pptx                 .\VOL010\IMAGES\IMAGES006\00146590.pdf

00146601   00146601    5/26/2021 8:34 Attach   TPB Conformity response_5.24.21.pdf TGC signat.pdf   .\VOL010\IMAGES\IMAGES006\00146601.pdf
00146602   00146603    5/26/2021 9:40 Email    Re: Executive Steering Commitee                      .\VOL010\IMAGES\IMAGES006\00146602.pdf
00146604   00146606    5/26/2021 9:40 Email    Re: Executive Steering Commitee                      .\VOL010\IMAGES\IMAGES006\00146604.pdf
00146607   00146608   5/26/2021 10:20 Email    FW: Updated NPA Commitment Letter                    .\VOL010\IMAGES\IMAGES006\00146607.pdf
00146609   00146610   5/26/2021 10:20 Email    FW: Updated NPA Commitment Letter                    .\VOL010\IMAGES\IMAGES006\00146609.pdf
00146611   00146611   5/26/2021 19:45 Email    Plummer's Island history                             .\VOL010\IMAGES\IMAGES006\00146611.pdf
                                               Historical Importance of Plummer's Island Maryland
00146612   00146615   5/26/2021 19:45 Attach   May 21.pdf                                           .\VOL010\IMAGES\IMAGES006\00146612.pdf
00146616   00146616   5/26/2021 19:54 Email    Plummer's Island history                             .\VOL010\IMAGES\IMAGES006\00146616.pdf
00146617   00146619   5/26/2021 19:54 Attach   Plummers Island lichens Science 1971.pdf             .\VOL010\IMAGES\IMAGES006\00146617.pdf
00146620   00146621   5/26/2021 21:23 Email    Spam Notification: 5 New Messages                    .\VOL010\IMAGES\IMAGES006\00146620.pdf
00146622   00146624    5/27/2021 7:47 Email    FW: Regional Air Quality Conformity‐ MLS             .\VOL010\IMAGES\IMAGES006\00146622.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study Executive
00146625   00146627    5/27/2021 8:12 Email    Steering Committee Meeting                           .\VOL010\IMAGES\IMAGES006\00146625.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study Executive
00146628   00146630    5/27/2021 8:12 Email    Steering Committee Meeting                           .\VOL010\IMAGES\IMAGES006\00146628.pdf
                                               I‐495 & I‐270 MLS Executive Steering Committee
00146631   00146647    5/27/2021 8:12 Attach   Meeting Presentation_05‐26‐2021.pdf                  .\VOL010\IMAGES\IMAGES006\00146631.pdf
00146648   00146648    5/27/2021 9:18 Email    for 9:30 meeting                                     .\VOL010\IMAGES\IMAGES006\00146648.pdf
00146649   00146652    5/27/2021 9:18 Attach   AQ Conformity.docx                                   .\VOL010\IMAGES\IMAGES006\00146649.pdf
                                               I‐495 and I‐270 Managed Lanes Study ‐ Unredacted
00146653   00146654    5/27/2021 9:38 Email    Morningstar Cemetery Report                          .\VOL010\IMAGES\IMAGES006\00146653.pdf

00146655   00146656   5/27/2021 10:50 Email    FW_ Previous Conformity project inputs for Md.pdf        .\VOL010\IMAGES\IMAGES006\00146655.pdf
                                               I‐495 and I‐270 Managed Lanes Study Section 106
                                               Consultation ‐ New Archaeology Report Available
00146657   00146658   5/27/2021 13:30 Email    (Morningstar Cemetery)                                   .\VOL010\IMAGES\IMAGES006\00146657.pdf
                                               I‐495 and I‐270 Managed Lanes Study ‐ Unredacted
00146659   00146660   5/27/2021 13:33 Email    Morningstar Cemetery Report                              .\VOL010\IMAGES\IMAGES006\00146659.pdf
                                               RE: National Register evaluation of Plummers Island ‐ I‐
00146661   00146670   5/27/2021 13:33 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES006\00146661.pdf
                                               I‐495 and I‐270 Managed Lanes Study Section
00146671   00146672   5/27/2021 14:31 Email    106....pdf                                               .\VOL010\IMAGES\IMAGES006\00146671.pdf
00146673   00146675   5/27/2021 14:31 Attach   MLS MorningstarRpt Trans 5_27_2021.pdf                   .\VOL010\IMAGES\IMAGES006\00146673.pdf
00146676   00146677   5/27/2021 14:36 Email    VA Tribes ‐ MLS Transmittal                              .\VOL010\IMAGES\IMAGES006\00146676.pdf
00146678   00146679   5/27/2021 14:36 Attach   MLS_FHWA May21 Morningstar to VA tribes.docx             .\VOL010\IMAGES\IMAGES006\00146678.pdf
00146680   00146681   5/27/2021 16:11 Attach   What is the Project.docx                                 .\VOL010\IMAGES\IMAGES006\00146680.pdf
                                               Section 106 Consultation: Cultural Resources
                                               Investigations at the Morningstar Cemetery for the I‐
00146682   00146682   5/28/2021 10:09 Email    495 & I‐270 Managed Lanes Study                          .\VOL010\IMAGES\IMAGES006\00146682.pdf
                                               MLS_Absentee‐Shawnee Tribe of Oklahoma 5‐28‐
00146683   00146683   5/28/2021 10:31 Attach   21.pdf                                                   .\VOL010\IMAGES\IMAGES006\00146683.pdf
00146684   00146684   5/28/2021 10:31 Attach   MLS_Conoy Creations 5‐28‐21.pdf                          .\VOL010\IMAGES\IMAGES006\00146684.pdf
00146685   00146685   5/28/2021 10:31 Attach   MLS_Delaware Nation 5‐28‐21.pdf                          .\VOL010\IMAGES\IMAGES006\00146685.pdf
00146686   00146686   5/28/2021 10:31 Attach   MLS_Delaware Tribe 5‐28‐21.pdf                           .\VOL010\IMAGES\IMAGES006\00146686.pdf
00146687   00146687   5/28/2021 10:31 Attach   MLS_Eastern Shawnee Tribe 5‐28‐21.pdf                    .\VOL010\IMAGES\IMAGES006\00146687.pdf

00146688   00146688   5/28/2021 10:31 Attach   MLS_Maryland Indian Tourism Association 5‐28‐21.pdf .\VOL010\IMAGES\IMAGES006\00146688.pdf
00146689   00146689   5/28/2021 10:31 Attach   MLS_MCIA 5‐28‐21.pdf                                .\VOL010\IMAGES\IMAGES006\00146689.pdf
00146690   00146690   5/28/2021 10:31 Attach   MLS_Oneida Indian Nation 5‐28‐21.pdf                .\VOL010\IMAGES\IMAGES006\00146690.pdf
00146691   00146691   5/28/2021 10:31 Attach   MLS_Onondaga Nation 5‐28‐21.pdf                     .\VOL010\IMAGES\IMAGES006\00146691.pdf
00146692   00146692   5/28/2021 10:31 Attach   MLS_Piscataway Indian Nation 5‐28‐21.pdf            .\VOL010\IMAGES\IMAGES006\00146692.pdf

00146693   00146693   5/28/2021 10:31 Attach   MLS_Piscataway‐Conoy Choptico Band 5‐28‐21.pdf       .\VOL010\IMAGES\IMAGES006\00146693.pdf
                                               MLS_Piscataway‐Conoy Tribe Cedarville Band 5‐28‐
00146694   00146694   5/28/2021 10:31 Attach   21.pdf                                               .\VOL010\IMAGES\IMAGES006\00146694.pdf

00146695   00146695   5/28/2021 10:31 Attach   MLS_Piscataway‐Conoy Tribe of Maryland 5‐28‐21.pdf .\VOL010\IMAGES\IMAGES006\00146695.pdf
00146696   00146696   5/28/2021 10:31 Attach   MLS_Seneca‐Cayuga Nation 5‐28‐21.pdf               .\VOL010\IMAGES\IMAGES006\00146696.pdf
00146697   00146697   5/28/2021 10:31 Attach   MLS_Shawnee Tribe 5‐28‐21.pdf                      .\VOL010\IMAGES\IMAGES006\00146697.pdf
00146698   00146698   5/28/2021 10:31 Attach   MLS_St Regis Mohawk Tribe 5‐28‐21.pdf              .\VOL010\IMAGES\IMAGES006\00146698.pdf
00146699   00146699   5/28/2021 10:31 Attach   MLS_Tuscarora Nation 5‐28‐21.pdf                   .\VOL010\IMAGES\IMAGES006\00146699.pdf
                                               Rosemont Meeting Presentation ‐ 2021‐05‐20
00146700   00146728   5/28/2021 13:15 Attach   Final_With CB Notes.pptx                           .\VOL010\IMAGES\IMAGES006\00146700.pdf
                                               RE: MLS Discussion: Gibson Grove Church and Moses
00146729   00146732   5/28/2021 15:16 Email    Hall Cemetery                                      .\VOL010\IMAGES\IMAGES006\00146729.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                           Page 148 of 263

00146733   00146734   5/28/2021 16:34 Email    MLS‐ Updated Impacts Matrix and Figures              .\VOL010\IMAGES\IMAGES006\00146733.pdf
00146735   00146736   5/28/2021 16:34 Email    MLS‐ Updated Impacts Matrix and Figures              .\VOL010\IMAGES\IMAGES006\00146735.pdf
                                               Fig1_NPS_ParkBound_NPSShapes_PermitArea_202.05.
00146737   00146737   5/28/2021 16:34 Attach   24.pdf                                               .\VOL010\IMAGES\IMAGES006\00146737.pdf
                                               Fig2_NPS_ParkBound_NPSShapes_NoPermitArea_202
00146738   00146738   5/28/2021 16:34 Attach   1.05.24.pdf                                          .\VOL010\IMAGES\IMAGES006\00146738.pdf
                                               Fig3_NPS_ParkBound_NPSShapes_ImpactAreas_2021.
00146739   00146739   5/28/2021 16:34 Attach   05.24.pdf                                            .\VOL010\IMAGES\IMAGES006\00146739.pdf
00146740   00146740   5/28/2021 16:34 Email    MLS‐ Updated Impacts Matrix and Figures              .\VOL010\IMAGES\IMAGES006\00146740.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ Unredacted
00146741   00146742   5/31/2021 21:58 Email    Morningstar Cemetery Report                          .\VOL010\IMAGES\IMAGES006\00146741.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study ‐ Unredacted
00146743   00146744   5/31/2021 21:58 Email    Morningstar Cemetery Report                          .\VOL010\IMAGES\IMAGES006\00146743.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ Unredacted
00146745   00146746     6/1/2021 9:40 Email    Morningstar Cemetery Report                          .\VOL010\IMAGES\IMAGES006\00146745.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study ‐ Unredacted
00146747   00146749     6/1/2021 9:42 Email    Morningstar Cemetery Report                          .\VOL010\IMAGES\IMAGES006\00146747.pdf
                                               Morningstar Property Legal/Metes and Bounds Survey
00146750   00146750    6/1/2021 11:51 Email    underway                                             .\VOL010\IMAGES\IMAGES006\00146750.pdf
00146751   00146756    6/1/2021 12:24 Email    Re: Question                                         .\VOL010\IMAGES\IMAGES006\00146751.pdf
                                               2021‐06‐02 MLS Gibson Grove Church and Moses Hall
00146757   00146757    6/1/2021 13:06 Attach   Cemetery Meeting Agenda.docx                         .\VOL010\IMAGES\IMAGES006\00146757.pdf
                                               2021‐06‐01_FHWA Coordination Mtg
00146758   00146758    6/1/2021 14:00 Attach   Agenda_FINAL.docx                                    .\VOL010\IMAGES\IMAGES006\00146758.pdf
                                               RE: Gibson Grove Church and Moses Hall Cemetery
00146759   00146760    6/1/2021 14:07 Email    Discussion                                           .\VOL010\IMAGES\IMAGES006\00146759.pdf
                                               RE: Gibson Grove Church and Moses Hall Cemetery
00146761   00146762    6/1/2021 14:07 Email    Discussion                                           .\VOL010\IMAGES\IMAGES006\00146761.pdf
                                               RE: Gibson Grove Church and Moses Hall Cemetery
00146763   00146764    6/1/2021 14:07 Email    Discussion                                           .\VOL010\IMAGES\IMAGES006\00146763.pdf
                                               RE: Gibson Grove Church and Moses Hall Cemetery
00146765   00146766    6/1/2021 14:07 Email    Discussion                                           .\VOL010\IMAGES\IMAGES006\00146765.pdf

00146767   00146767    6/1/2021 15:58 Attach   2021‐06‐02 Seven Locks Road Pedestrian_Bicycle.pdf   .\VOL010\IMAGES\IMAGES006\00146767.pdf
                                               FW: Gibson Grove Church and Moses Hall Cemetery
00146768   00146769     6/2/2021 8:45 Email    Discussion                                           .\VOL010\IMAGES\IMAGES006\00146768.pdf
                                               Gibson Grove Church and Moses Hall Cemetery
00146770   00146770     6/2/2021 9:00 Email    Discussion                                           .\VOL010\IMAGES\IMAGES006\00146770.pdf
00146771   00146772    6/2/2021 10:03 Edoc     Chickahominy_Indian_Tribe 06_2021 letter.pdf         .\VOL010\IMAGES\IMAGES006\00146771.pdf
00146773   00146774    6/2/2021 10:07 Edoc     Chickahominy_Tribe_Eastern_06_2021 letter.pdf        .\VOL010\IMAGES\IMAGES006\00146773.pdf
00146775   00146776    6/2/2021 10:09 Edoc     Monacan_ Nation_06_2021 letter.pdf                   .\VOL010\IMAGES\IMAGES006\00146775.pdf
00146777   00146778    6/2/2021 10:18 Edoc     Nansemond_ Tribe_06_2021 letter.pdf                  .\VOL010\IMAGES\IMAGES006\00146777.pdf
00146779   00146780    6/2/2021 10:20 Edoc     Pamunkey_Tribe_06_2021 letter.pdf                    .\VOL010\IMAGES\IMAGES006\00146779.pdf
00146781   00146782    6/2/2021 10:21 Edoc     Rappahannock_Tribe_06_2021 letter.pdf                .\VOL010\IMAGES\IMAGES006\00146781.pdf
00146783   00146784    6/2/2021 10:23 Edoc     Upper_Mattaponi_Tribe_06_2021 letter.pdf             .\VOL010\IMAGES\IMAGES006\00146783.pdf

00146785   00146785    6/2/2021 12:24 Email    Morningstar Cemetery Cultural Resources Report       .\VOL010\IMAGES\IMAGES006\00146785.pdf

00146786   00147098    6/2/2021 12:24 Attach   BCS2014‐20D_TO27_Morningstar Cem_052521.pdf          .\VOL010\IMAGES\IMAGES006\00146786.pdf
00147099   00147099    6/2/2021 12:24 Attach   RPA Alternative 9 MLM.pdf                            .\VOL010\IMAGES\IMAGES006\00147099.pdf

00147100   00147101    6/2/2021 13:37 Edoc     2021.06.03_Katherine Shaver_PIA 30‐Day Letter.pdf    .\VOL010\IMAGES\IMAGES006\00147100.pdf

00147102   00147102    6/2/2021 13:40 Edoc     2021.06.03_Katherine Shaver_PIA 10‐Day Letter.pdf    .\VOL010\IMAGES\IMAGES006\00147102.pdf

00147103   00147103    6/2/2021 14:40 Email    NSA Bethesda Response to the 26 March Meeting        .\VOL010\IMAGES\IMAGES006\00147103.pdf

00147104   00147104    6/2/2021 14:40 Attach   NSA Bethesda Response to the 26 March Meeting        .\VOL010\IMAGES\IMAGES006\00147104.pdf
00147105   00147105    6/2/2021 14:40 Attach   06May21_P3 Letter.pdf                                .\VOL010\IMAGES\IMAGES006\00147105.pdf
                                               MIHP Number Request ‐ Washington Biologists' Field
00147106   00147106    6/2/2021 15:01 Email    Club                                                 .\VOL010\IMAGES\IMAGES006\00147106.pdf
00147107   00147107    6/2/2021 15:01 Attach   WBFC_USGS.pdf                                        .\VOL010\IMAGES\IMAGES006\00147107.pdf
                                               Meeting Outreach Record_Maplewoodpark HOA
00147108   00147114    6/2/2021 17:40 Edoc     Notes 20210525.docx                                  .\VOL010\IMAGES\IMAGES006\00147108.pdf
00147115   00147116     6/3/2021 7:02 Email    RE: followup re arch report                          .\VOL010\IMAGES\IMAGES006\00147115.pdf
00147117   00147117     6/3/2021 7:25 Email    Commercial Implications                              .\VOL010\IMAGES\IMAGES006\00147117.pdf
00147118   00147118     6/3/2021 7:46 Email    Re: I‐495/I‐270 Managed Lanes Study                  .\VOL010\IMAGES\IMAGES006\00147118.pdf
00147119   00147120     6/3/2021 7:57 Email    RE: followup re arch report                          .\VOL010\IMAGES\IMAGES006\00147119.pdf
00147121   00147122     6/3/2021 9:03 Email    RE: followup re arch report                          .\VOL010\IMAGES\IMAGES006\00147121.pdf
00147123   00147123     6/3/2021 9:03 Attach   USGS 1929 showing cemetery,Lodge CF Fig52.jpg        .\VOL010\IMAGES\IMAGES006\00147123.pdf
00147124   00147125     6/3/2021 9:20 Email    RE: followup re arch report                          .\VOL010\IMAGES\IMAGES006\00147124.pdf

00147126   00147126    6/3/2021 11:09 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147126.pdf

00147127   00147127    6/3/2021 11:12 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147127.pdf

00147128   00147128    6/3/2021 11:15 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147128.pdf

00147129   00147129    6/3/2021 11:21 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147129.pdf

00147130   00147130    6/3/2021 11:21 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147130.pdf

00147131   00147131    6/3/2021 11:21 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147131.pdf

00147132   00147132    6/3/2021 11:21 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147132.pdf

00147133   00147133    6/3/2021 11:21 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147133.pdf

00147134   00147134    6/3/2021 11:24 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147134.pdf

00147135   00147135    6/3/2021 11:24 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147135.pdf

00147136   00147136    6/3/2021 11:27 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147136.pdf

00147137   00147137    6/3/2021 11:30 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147137.pdf

00147138   00147138    6/3/2021 11:30 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147138.pdf

00147139   00147139    6/3/2021 11:33 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147139.pdf

00147140   00147140    6/3/2021 11:33 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147140.pdf

00147141   00147141    6/3/2021 11:36 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147141.pdf

00147142   00147142    6/3/2021 11:39 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147142.pdf
    Case 8:22-cv-02597-DKC                           Document 42-1                                Filed 05/03/23                           Page 149 of 263

00147143   00147143   6/3/2021 11:39 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147143.pdf

00147144   00147144   6/3/2021 11:39 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147144.pdf

00147145   00147145   6/3/2021 11:42 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147145.pdf

00147146   00147146   6/3/2021 11:48 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147146.pdf

00147147   00147147   6/3/2021 11:51 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147147.pdf

00147148   00147148   6/3/2021 11:51 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147148.pdf

00147149   00147149   6/3/2021 11:51 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147149.pdf

00147150   00147150   6/3/2021 11:54 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147150.pdf

00147151   00147151   6/3/2021 11:54 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147151.pdf

00147152   00147152   6/3/2021 11:54 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147152.pdf

00147153   00147153   6/3/2021 11:57 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147153.pdf

00147154   00147154   6/3/2021 12:00 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147154.pdf

00147155   00147155   6/3/2021 12:00 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147155.pdf

00147156   00147156   6/3/2021 12:00 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147156.pdf

00147157   00147157   6/3/2021 12:03 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147157.pdf

00147158   00147158   6/3/2021 12:03 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147158.pdf

00147159   00147159   6/3/2021 12:06 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147159.pdf

00147160   00147160   6/3/2021 12:06 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147160.pdf

00147161   00147161   6/3/2021 12:06 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147161.pdf

00147162   00147162   6/3/2021 12:06 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147162.pdf

00147163   00147163   6/3/2021 12:09 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147163.pdf

00147164   00147164   6/3/2021 12:09 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147164.pdf

00147165   00147165   6/3/2021 12:15 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147165.pdf

00147166   00147166   6/3/2021 12:21 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147166.pdf

00147167   00147167   6/3/2021 12:24 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147167.pdf

00147168   00147168   6/3/2021 12:42 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147168.pdf

00147169   00147169   6/3/2021 12:54 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147169.pdf
                                             Fw: Morningstar put on Most Endangered Places list
00147170   00147170   6/3/2021 12:55 Email   by National Trust                                    .\VOL010\IMAGES\IMAGES006\00147170.pdf

00147171   00147171   6/3/2021 12:57 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147171.pdf

00147172   00147172   6/3/2021 12:57 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147172.pdf

00147173   00147173   6/3/2021 12:57 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147173.pdf
00147174   00147176   6/3/2021 13:02 Email   Preserving and Protecting Moses Hall Cemetery        .\VOL010\IMAGES\IMAGES006\00147174.pdf

00147177   00147177   6/3/2021 13:06 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147177.pdf

00147178   00147178   6/3/2021 13:33 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147178.pdf

00147179   00147179   6/3/2021 13:36 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147179.pdf

00147180   00147180   6/3/2021 13:42 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147180.pdf

00147181   00147181   6/3/2021 13:42 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147181.pdf

00147182   00147182   6/3/2021 13:45 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES006\00147182.pdf
00147183   00147183   6/3/2021 13:46 Email   FW: Comment on your Moses Hall email                 .\VOL010\IMAGES\IMAGES006\00147183.pdf

00147184   00147184   6/3/2021 13:51 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147184.pdf

00147185   00147185   6/3/2021 13:54 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147185.pdf

00147186   00147188   6/3/2021 13:57 Email   FW: Preserving and Protecting Moses Hall Cemetery    .\VOL010\IMAGES\IMAGES007\00147186.pdf

00147189   00147189   6/3/2021 14:06 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147189.pdf

00147190   00147190   6/3/2021 14:12 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147190.pdf

00147191   00147191   6/3/2021 14:15 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147191.pdf

00147192   00147192   6/3/2021 14:18 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147192.pdf

00147193   00147193   6/3/2021 14:21 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147193.pdf

00147194   00147194   6/3/2021 14:30 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147194.pdf

00147195   00147195   6/3/2021 15:03 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147195.pdf

00147196   00147196   6/3/2021 15:09 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147196.pdf

00147197   00147197   6/3/2021 15:18 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147197.pdf

00147198   00147198   6/3/2021 15:18 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147198.pdf

00147199   00147199   6/3/2021 15:24 Email   Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147199.pdf
    Case 8:22-cv-02597-DKC                          Document 42-1                                Filed 05/03/23                           Page 150 of 263

00147200   00147200   6/3/2021 15:39 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147200.pdf
00147201   00147201   6/3/2021 15:52 Email   FW: Moses Hall Cemetery Improvements in 2021        .\VOL010\IMAGES\IMAGES007\00147201.pdf

00147202   00147202   6/3/2021 15:54 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147202.pdf

00147203   00147203   6/3/2021 16:12 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147203.pdf

00147204   00147204   6/3/2021 16:27 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147204.pdf

00147205   00147205   6/3/2021 16:51 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147205.pdf

00147206   00147206   6/3/2021 17:06 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147206.pdf

00147207   00147207   6/3/2021 17:12 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147207.pdf

00147208   00147208   6/3/2021 17:15 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147208.pdf

00147209   00147209   6/3/2021 17:36 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147209.pdf

00147210   00147210   6/3/2021 17:39 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147210.pdf

00147211   00147211   6/3/2021 18:09 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147211.pdf

00147212   00147212   6/3/2021 18:12 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147212.pdf

00147213   00147215   6/3/2021 18:17 Email   RE: Preserving and Protecting Moses Hall Cemetery   .\VOL010\IMAGES\IMAGES007\00147213.pdf

00147216   00147216   6/3/2021 18:30 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147216.pdf

00147217   00147217   6/3/2021 18:33 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147217.pdf

00147218   00147218   6/3/2021 18:42 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147218.pdf

00147219   00147219   6/3/2021 18:48 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147219.pdf

00147220   00147220   6/3/2021 18:57 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147220.pdf

00147221   00147221   6/3/2021 19:15 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147221.pdf

00147222   00147222   6/3/2021 19:18 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147222.pdf

00147223   00147223   6/3/2021 19:18 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147223.pdf

00147224   00147224   6/3/2021 19:21 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147224.pdf

00147225   00147225   6/3/2021 19:24 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147225.pdf

00147226   00147226   6/3/2021 19:48 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147226.pdf

00147227   00147227   6/3/2021 20:00 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147227.pdf

00147228   00147228   6/3/2021 20:33 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147228.pdf

00147229   00147229   6/3/2021 21:00 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147229.pdf

00147230   00147230   6/3/2021 21:18 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147230.pdf

00147231   00147231   6/3/2021 21:21 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147231.pdf

00147232   00147232   6/3/2021 21:24 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147232.pdf

00147233   00147233   6/3/2021 21:42 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147233.pdf

00147234   00147234   6/3/2021 21:48 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147234.pdf

00147235   00147235   6/3/2021 22:00 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147235.pdf

00147236   00147236   6/3/2021 22:12 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147236.pdf

00147237   00147237   6/3/2021 22:33 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147237.pdf

00147238   00147238   6/3/2021 22:42 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147238.pdf

00147239   00147239   6/3/2021 23:21 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147239.pdf

00147240   00147240   6/3/2021 23:36 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147240.pdf

00147241   00147241    6/4/2021 0:42 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147241.pdf

00147242   00147242    6/4/2021 1:03 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147242.pdf

00147243   00147243    6/4/2021 1:09 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147243.pdf

00147244   00147244    6/4/2021 6:18 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147244.pdf

00147245   00147245    6/4/2021 6:51 Email   Protect the Historic Morningstar Moses Cemetery    .\VOL010\IMAGES\IMAGES007\00147245.pdf
                                             Dead Run Archaeology ‐ I495 & 270 MLS ‐ Agenda and
00147246   00147246    6/4/2021 8:42 Email   Materials                                          .\VOL010\IMAGES\IMAGES007\00147246.pdf

00147247   00147247    6/4/2021 8:45 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147247.pdf

00147248   00147248    6/4/2021 8:54 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147248.pdf

00147249   00147249    6/4/2021 8:54 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147249.pdf

00147250   00147250    6/4/2021 9:15 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147250.pdf

00147251   00147251    6/4/2021 9:24 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147251.pdf

00147252   00147252    6/4/2021 9:27 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147252.pdf

00147253   00147253    6/4/2021 9:30 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147253.pdf

00147254   00147254    6/4/2021 9:36 Email   Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147254.pdf
    Case 8:22-cv-02597-DKC                           Document 42-1                                 Filed 05/03/23                           Page 151 of 263

00147255   00147255   6/4/2021 10:00 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147255.pdf
                                              I‐495 & I‐270 Managed Lanes Study Executive Steering
00147256   00147259   6/4/2021 11:40 Email    Committee Meeting ‐ Meeting Notes                    .\VOL010\IMAGES\IMAGES007\00147256.pdf
                                              I‐495 I‐270 Managed Lanes Study May ESC Key
00147260   00147265   6/4/2021 11:40 Attach   Notes_2021‐05‐26.pdf                                 .\VOL010\IMAGES\IMAGES007\00147260.pdf

00147266   00147266   6/4/2021 12:03 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147266.pdf

00147267   00147267   6/4/2021 12:36 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147267.pdf

00147268   00147268   6/4/2021 13:06 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147268.pdf

00147269   00147269   6/4/2021 13:39 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147269.pdf

00147270   00147271   6/4/2021 13:45 Email    Recommended Preferred Alternative Concurrence        .\VOL010\IMAGES\IMAGES007\00147270.pdf

00147272   00147273   6/4/2021 13:45 Email    Recommended Preferred Alternative Concurrence        .\VOL010\IMAGES\IMAGES007\00147272.pdf

00147274   00147274   6/4/2021 14:03 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147274.pdf

00147275   00147275   6/4/2021 14:36 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147275.pdf

00147276   00147276   6/4/2021 14:36 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147276.pdf

00147277   00147277   6/4/2021 14:51 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147277.pdf

00147278   00147278   6/4/2021 17:12 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147278.pdf

00147279   00147279   6/4/2021 19:30 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147279.pdf

00147280   00147280   6/4/2021 19:57 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147280.pdf
00147281   00147281   6/4/2021 20:24 Edoc     I‐495I‐270 MLS Adkins_Chickahominy.pdf               .\VOL010\IMAGES\IMAGES007\00147281.pdf
00147282   00147282   6/4/2021 20:24 Edoc     I‐495I‐270 MLS Branham_Monacan.pdf                   .\VOL010\IMAGES\IMAGES007\00147282.pdf
00147283   00147283   6/4/2021 20:24 Edoc     I‐495I‐270 MLS Bass_Nansemond.pdf                    .\VOL010\IMAGES\IMAGES007\00147283.pdf
00147284   00147284   6/4/2021 20:24 Edoc     I‐495I‐270 MLS Stewart_E_Chickahominy.pdf            .\VOL010\IMAGES\IMAGES007\00147284.pdf
00147285   00147285   6/4/2021 20:24 Edoc     I‐495I‐270 MLS Stewart_E_Chickahominy(2).pdf         .\VOL010\IMAGES\IMAGES007\00147285.pdf
00147286   00147286   6/4/2021 20:24 Edoc     I‐495I‐270 MLS Richardson_Rappahannock.pdf           .\VOL010\IMAGES\IMAGES007\00147286.pdf
00147287   00147287   6/4/2021 20:24 Edoc     I‐495I‐270 MLS Tupponce_U_Mattaponi.pdf              .\VOL010\IMAGES\IMAGES007\00147287.pdf
00147288   00147288   6/4/2021 20:24 Edoc     I‐495I‐270 MLS Hansen_Pamunkey.pdf                   .\VOL010\IMAGES\IMAGES007\00147288.pdf

00147289   00147289   6/4/2021 20:40 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147289.pdf

00147290   00147290   6/4/2021 21:12 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147290.pdf

00147291   00147291   6/4/2021 21:51 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147291.pdf

00147292   00147292    6/5/2021 3:06 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147292.pdf

00147293   00147293    6/5/2021 8:36 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147293.pdf

00147294   00147294    6/5/2021 8:42 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147294.pdf

00147295   00147295   6/5/2021 10:21 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147295.pdf

00147296   00147296   6/5/2021 12:09 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147296.pdf

00147297   00147297   6/5/2021 12:27 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147297.pdf

00147298   00147298   6/5/2021 15:42 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147298.pdf

00147299   00147299   6/5/2021 17:03 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147299.pdf

00147300   00147300   6/5/2021 19:12 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147300.pdf

00147301   00147301   6/5/2021 22:12 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147301.pdf

00147302   00147302   6/5/2021 23:09 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147302.pdf

00147303   00147303    6/6/2021 8:09 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147303.pdf

00147304   00147304    6/6/2021 8:36 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147304.pdf

00147305   00147305    6/6/2021 8:57 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147305.pdf

00147306   00147306   6/6/2021 19:12 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147306.pdf

00147307   00147307   6/6/2021 21:57 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147307.pdf

00147308   00147308    6/7/2021 1:03 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147308.pdf

00147309   00147309    6/7/2021 6:15 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147309.pdf

00147310   00147310    6/7/2021 8:07 Email    MLS Compensatory SWM Plan ‐ FHWA Comments            .\VOL010\IMAGES\IMAGES007\00147310.pdf
00147311   00147312    6/7/2021 8:14 Email    RE: MLS Environmental Processes Discussion           .\VOL010\IMAGES\IMAGES007\00147311.pdf

00147313   00147315    6/7/2021 8:20 Email    RE: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00147313.pdf

00147316   00147316    6/7/2021 9:57 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147316.pdf
00147317   00147318   6/7/2021 10:46 Email    MLS MSAT Affected Network: Proposed Updates          .\VOL010\IMAGES\IMAGES007\00147317.pdf
                                              Transportation Planning Requirements and Their
00147319   00147319   6/7/2021 11:18 Email    Relationship to NEPA Approvals                       .\VOL010\IMAGES\IMAGES007\00147319.pdf

00147320   00147322   6/7/2021 11:29 Email    RE: Recommended Preferred Alternative Concurrence    .\VOL010\IMAGES\IMAGES007\00147320.pdf
                                              FW: Transportation Planning Requirements and Their
00147323   00147324   6/7/2021 11:39 Email    Relationship to NEPA Approvals                       .\VOL010\IMAGES\IMAGES007\00147323.pdf
                                              RE: Transportation Planning Requirements and Their
00147325   00147326   6/7/2021 12:11 Email    Relationship to NEPA Approvals                       .\VOL010\IMAGES\IMAGES007\00147325.pdf
00147327   00147328   6/7/2021 12:14 Email    RE: any updates                                      .\VOL010\IMAGES\IMAGES007\00147327.pdf
00147329   00147329   6/7/2021 12:19 Email    FW: MD‐MLS project                                   .\VOL010\IMAGES\IMAGES007\00147329.pdf
00147330   00147330   6/7/2021 12:19 Attach   CLara Barton Right of Way Plat (2)_49536.pdf         .\VOL010\IMAGES\IMAGES007\00147330.pdf
00147331   00147331   6/7/2021 12:19 Attach   CLara Barton Right of Way Plat_49536.pdf             .\VOL010\IMAGES\IMAGES007\00147331.pdf
00147332   00147332   6/7/2021 12:19 Attach   ClaraBarton_MSA_S1624_23993.pdf                      .\VOL010\IMAGES\IMAGES007\00147332.pdf
00147333   00147341   6/7/2021 12:19 Attach   Deed to NPS Clara Barton PARKWAY.pdf                 .\VOL010\IMAGES\IMAGES007\00147333.pdf
00147342   00147343   6/7/2021 12:24 Email    RE: any updates                                      .\VOL010\IMAGES\IMAGES007\00147342.pdf
    Case 8:22-cv-02597-DKC                           Document 42-1                                 Filed 05/03/23                             Page 152 of 263

00147344   00147345   6/7/2021 13:37 Email    FW: MLS MSAT Affected Network: Proposed Updates      .\VOL010\IMAGES\IMAGES007\00147344.pdf
00147346   00147347   6/7/2021 13:38 Email    RE: any updates                                      .\VOL010\IMAGES\IMAGES007\00147346.pdf

00147348   00147348   6/7/2021 13:45 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147348.pdf

                                              FW: ESSLog# 40764_20‐103F_Managed Lanes
00147349   00147350   6/7/2021 13:48 Email    Study_DWR_AME20210607 [WOOD TURTLE REVIEW]           .\VOL010\IMAGES\IMAGES007\00147349.pdf
                                              RE: I‐495 & I‐270 Managed Lanes Study: Wood Turtle
00147351   00147352   6/7/2021 13:48 Attach   Survey                                               .\VOL010\IMAGES\IMAGES007\00147351.pdf

00147353   00147376   6/7/2021 13:48 Attach   MLS‐VA Wood Turtle Report_051421_reduced.pdf         .\VOL010\IMAGES\IMAGES007\00147353.pdf

00147377   00147377   6/7/2021 15:12 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147377.pdf

00147378   00147378   6/7/2021 17:11 Email    Re: [EXTERNAL] FHWA/NPS monthly meeting ‐ 6/10/21 .\VOL010\IMAGES\IMAGES007\00147378.pdf

00147379   00147379   6/7/2021 18:48 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147379.pdf

00147380   00147380   6/7/2021 19:42 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147380.pdf

00147381   00147381   6/7/2021 23:18 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147381.pdf

00147382   00147382    6/8/2021 9:30 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147382.pdf

00147383   00147383    6/8/2021 9:39 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147383.pdf
00147384   00147385   6/8/2021 11:06 Email    FW: Subject to Joint Defense Agreement               .\VOL010\IMAGES\IMAGES007\00147384.pdf

00147386   00147389   6/8/2021 11:06 Attach   Transportation Conformity for MLS_June 2021.docx     .\VOL010\IMAGES\IMAGES007\00147386.pdf

00147390   00147390   6/8/2021 13:09 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147390.pdf

00147391   00147391   6/8/2021 13:54 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147391.pdf

00147392   00147392   6/8/2021 14:36 Email    Protect the Historic Morningstar Moses Cemetery        .\VOL010\IMAGES\IMAGES007\00147392.pdf
00147393   00147393   6/8/2021 14:57 Email    MLS in Conforming Plan and TIP                         .\VOL010\IMAGES\IMAGES007\00147393.pdf
00147394   00147398   6/8/2021 15:19 Email    RE: 20210604 ‐ ENV ‐ RFI‐0026 Mussel Survey            .\VOL010\IMAGES\IMAGES007\00147394.pdf
                                              DNR_ER_Trilogy Comments I‐495 and I‐270 Managed
00147399   00147404   6/8/2021 15:19 Attach   Lanes Study.pdf                                        .\VOL010\IMAGES\IMAGES007\00147399.pdf
                                              FW: Transportation Planning Requirements and Their
00147405   00147406   6/8/2021 15:29 Email    Relationship to NEPA Approvals                         .\VOL010\IMAGES\IMAGES007\00147405.pdf
                                              2020‐03‐18_‐_Approved_FY_2021‐
00147407   00147407   6/8/2021 15:29 Attach   2024_TIP_with_Appendices_TRP page.pdf                  .\VOL010\IMAGES\IMAGES007\00147407.pdf
                                              Preliminary Section 4(f) LOH Conclusion for DOI Formal
00147408   00147409   6/8/2021 16:19 Email    Consultation                                           .\VOL010\IMAGES\IMAGES007\00147408.pdf
                                              Preliminary Section 4(f) LOH Conclusion for DOI Formal
00147410   00147411   6/8/2021 16:19 Email    Consultation                                           .\VOL010\IMAGES\IMAGES007\00147410.pdf
                                              FW: Preliminary Section 4(f) LOH Conclusion for DOI
00147412   00147413   6/8/2021 16:21 Email    Formal Consultation                                    .\VOL010\IMAGES\IMAGES007\00147412.pdf

00147414   00147414   6/8/2021 16:27 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147414.pdf

00147415   00147415   6/8/2021 18:09 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147415.pdf

00147416   00147416   6/8/2021 18:54 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147416.pdf

00147417   00147417   6/8/2021 20:30 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147417.pdf

00147418   00147418   6/8/2021 22:51 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147418.pdf
00147419   00147419    6/9/2021 7:43 Email    RE: Final NPS Commitment Letter                      .\VOL010\IMAGES\IMAGES007\00147419.pdf
                                              2021‐June_I‐495_I‐270 MLS_RPA Commitment Letter
00147420   00147425    6/9/2021 7:43 Attach   (2)_JF comments JP FHWA.docx                         .\VOL010\IMAGES\IMAGES007\00147420.pdf

00147426   00147426    6/9/2021 8:18 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147426.pdf

00147427   00147427    6/9/2021 8:48 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147427.pdf

00147428   00147428    6/9/2021 8:51 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147428.pdf

00147429   00147429    6/9/2021 8:51 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147429.pdf

00147430   00147430    6/9/2021 9:00 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147430.pdf

00147431   00147431    6/9/2021 9:15 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147431.pdf

00147432   00147432    6/9/2021 9:18 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147432.pdf

00147433   00147433    6/9/2021 9:24 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147433.pdf

00147434   00147434    6/9/2021 9:36 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147434.pdf

00147435   00147435    6/9/2021 9:39 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147435.pdf

00147436   00147436   6/9/2021 10:24 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147436.pdf

00147437   00147437   6/9/2021 10:30 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147437.pdf

00147438   00147438   6/9/2021 10:39 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147438.pdf
00147439   00147441   6/9/2021 10:43 Email    Re: any updates                                      .\VOL010\IMAGES\IMAGES007\00147439.pdf

00147442   00147442   6/9/2021 10:45 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147442.pdf

00147443   00147443   6/9/2021 11:18 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147443.pdf

00147444   00147444   6/9/2021 11:21 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147444.pdf

00147445   00147445   6/9/2021 11:21 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147445.pdf

00147446   00147447   6/9/2021 11:22 Email    Re: [EXTERNAL] FHWA/NPS monthly meeting ‐ 6/10/21 .\VOL010\IMAGES\IMAGES007\00147446.pdf

00147448   00147448   6/9/2021 11:33 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147448.pdf

00147449   00147449   6/9/2021 11:36 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147449.pdf

00147450   00147450   6/9/2021 12:06 Email    Protect the Historic Morningstar Moses Cemetery      .\VOL010\IMAGES\IMAGES007\00147450.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                           Page 153 of 263

00147451   00147451    6/9/2021 12:21 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147451.pdf
                                               RE: Preliminary Section 4(f) LOH Conclusion for DOI
00147452   00147454    6/9/2021 12:26 Email    Formal Consultation                                   .\VOL010\IMAGES\IMAGES007\00147452.pdf

00147455   00147455    6/9/2021 12:39 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147455.pdf

00147456   00147456    6/9/2021 12:39 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147456.pdf

00147457   00147457    6/9/2021 12:42 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147457.pdf
                                               RE: P3 Compensatory SWM Plan: Discuss FHWA
00147458   00147459    6/9/2021 12:55 Email    Comments                                              .\VOL010\IMAGES\IMAGES007\00147458.pdf
                                               2021.06.10 FHWA Comp SWM Plan Comment Review
00147460   00147460    6/9/2021 12:55 Attach   Meeting Agenda.pdf                                    .\VOL010\IMAGES\IMAGES007\00147460.pdf

00147461   00147464    6/9/2021 12:55 Attach   FHWA Comp SWM Plan Comment_Responses.pdf              .\VOL010\IMAGES\IMAGES007\00147461.pdf

00147465   00147465    6/9/2021 13:00 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147465.pdf

00147466   00147466    6/9/2021 13:03 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147466.pdf
00147467   00147468    6/9/2021 13:25 Email    Re: Final NPS Commitment Letter                       .\VOL010\IMAGES\IMAGES007\00147467.pdf
                                               2021‐06‐10_I‐495_I‐270 MLS_NPS Commitment
00147469   00147474    6/9/2021 13:25 Attach   Letter_V2.docx                                        .\VOL010\IMAGES\IMAGES007\00147469.pdf

00147475   00147475    6/9/2021 14:00 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147475.pdf

00147476   00147476    6/9/2021 14:24 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147476.pdf
00147477   00147479    6/9/2021 15:06 Email    RE: MLS Environmental Processes Discussion            .\VOL010\IMAGES\IMAGES007\00147477.pdf
00147480   00147480    6/9/2021 15:06 Edoc     EJoutreach_Drop‐off_Flyers_060921.xlsx                .\VOL010\IMAGES\IMAGES007\00147480.pdf    .\VOL010\NATIVES\NATIVES007\00147480.XLSX

00147481   00147481    6/9/2021 15:36 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147481.pdf

00147482   00147482    6/9/2021 15:51 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147482.pdf

00147483   00147485    6/9/2021 17:15 Email    RE: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00147483.pdf
                                               I‐495 I‐270 MLS RPA Summary_06‐04‐21_JM
00147486   00147495    6/9/2021 17:15 Attach   commentsdocx.docx                                 .\VOL010\IMAGES\IMAGES007\00147486.pdf

00147496   00147496    6/9/2021 17:21 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147496.pdf

00147497   00147497    6/9/2021 17:57 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147497.pdf

00147498   00147498    6/9/2021 18:12 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147498.pdf

00147499   00147499    6/9/2021 18:51 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147499.pdf

00147500   00147500    6/9/2021 19:12 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147500.pdf
                                               I‐495 I‐270 MLS RPA Summary_06‐04‐21_JM_KP
00147501   00147510    6/9/2021 20:11 Edoc     comments.docx                                         .\VOL010\IMAGES\IMAGES007\00147501.pdf

00147511   00147513    6/9/2021 20:13 Email    RE: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00147511.pdf
                                               I‐495 I‐270 MLS RPA Summary_06‐04‐21_JM_KP
00147514   00147523    6/9/2021 20:13 Attach   comments.docx                                     .\VOL010\IMAGES\IMAGES007\00147514.pdf

00147524   00147524    6/9/2021 20:21 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147524.pdf

00147525   00147525    6/9/2021 20:57 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147525.pdf

00147526   00147526    6/9/2021 22:42 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147526.pdf

00147527   00147530    6/10/2021 7:07 Email    RE: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00147527.pdf

00147531   00147531    6/10/2021 7:27 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147531.pdf
00147532   00147542    6/10/2021 8:32 Attach   Pearce_Evans_2008.pdf                                 .\VOL010\IMAGES\IMAGES007\00147532.pdf
00147543   00147545    6/10/2021 9:05 Email    RE: Final NPS Commitment Letter                       .\VOL010\IMAGES\IMAGES007\00147543.pdf
00147546   00147548    6/10/2021 9:33 Email    Re: Final NPS Commitment Letter                       .\VOL010\IMAGES\IMAGES007\00147546.pdf
00147549   00147551    6/10/2021 9:33 Email    Re: Final NPS Commitment Letter                       .\VOL010\IMAGES\IMAGES007\00147549.pdf
                                               I‐495 & I‐270 MLS Recommended Preferred
00147552   00147561   6/10/2021 10:46 Attach   Alternative Summary_06‐10‐21.pdf                      .\VOL010\IMAGES\IMAGES007\00147552.pdf
                                               I‐495 & I‐270 MLS RPA Concurrence Form_06‐10‐
00147562   00147562   6/10/2021 10:46 Attach   21.doc                                                .\VOL010\IMAGES\IMAGES007\00147562.pdf

00147563   00147564   6/10/2021 10:46 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147563.pdf

00147565   00147565   6/10/2021 10:46 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147565.pdf
                                               I‐495 & I‐270 MLS: Request for Concurrence on the
00147566   00147567   6/10/2021 10:48 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00147566.pdf

00147568   00147569   6/10/2021 10:50 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147568.pdf

00147570   00147571   6/10/2021 10:50 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147570.pdf

00147572   00147573   6/10/2021 10:57 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147572.pdf
                                               2021‐06‐10_I‐495_I‐270 MLS_NPS Commitment
00147574   00147576   6/10/2021 10:57 Attach   Letter_Final.pdf                                      .\VOL010\IMAGES\IMAGES007\00147574.pdf

00147577   00147577   6/10/2021 10:57 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147577.pdf

00147578   00147579   6/10/2021 10:59 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147578.pdf
                                               P3 Compensatory SWM Plan: Discuss FHWA
00147580   00147581   6/10/2021 11:00 Email    Comments                                              .\VOL010\IMAGES\IMAGES007\00147580.pdf

00147582   00147583   6/10/2021 11:11 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147582.pdf

00147584   00147585   6/10/2021 11:23 Email    I‐495 & I‐270 MLS: Request for Concurrence on RPA     .\VOL010\IMAGES\IMAGES007\00147584.pdf

00147586   00147586   6/10/2021 11:48 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147586.pdf
                                               Meeting Outreach Record_N Potomac Community
00147587   00147592   6/10/2021 13:17 Edoc     Assoc 20210602.docx                                   .\VOL010\IMAGES\IMAGES007\00147587.pdf

00147593   00147593   6/10/2021 13:45 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147593.pdf

00147594   00147594   6/10/2021 15:00 Email    Protect the Historic Morningstar Moses Cemetery       .\VOL010\IMAGES\IMAGES007\00147594.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00147595   00147596   6/10/2021 15:32 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00147595.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                           Page 154 of 263

00147597   00147600   6/10/2021 15:42 Email    RE: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00147597.pdf

00147601   00147603   6/10/2021 15:57 Email    FW: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00147601.pdf
                                               Re: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147604   00147606   6/10/2021 15:58 Email    Figures                                           .\VOL010\IMAGES\IMAGES007\00147604.pdf
                                               FW: I‐495 & I‐270 MLS: Request for Concurrence on
00147607   00147609   6/10/2021 15:59 Email    RPA                                               .\VOL010\IMAGES\IMAGES007\00147607.pdf
                                               FW: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147610   00147612   6/10/2021 16:00 Email    Figures                                           .\VOL010\IMAGES\IMAGES007\00147610.pdf
00147613   00147613   6/10/2021 16:05 Email    FW: I‐495/I‐270 in News                           .\VOL010\IMAGES\IMAGES007\00147613.pdf

00147614   00147614   6/10/2021 16:52 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147614.pdf

00147615   00147615   6/10/2021 17:31 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147615.pdf

00147616   00147616   6/10/2021 17:45 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147616.pdf
00147617   00147617   6/10/2021 18:36 Email    RE: I‐495/I‐270 in News                             .\VOL010\IMAGES\IMAGES007\00147617.pdf

00147618   00147618   6/10/2021 18:38 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147618.pdf
                                               Re: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147619   00147621   6/10/2021 18:46 Email    Figures                                             .\VOL010\IMAGES\IMAGES007\00147619.pdf

00147622   00147622   6/10/2021 20:18 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147622.pdf

00147623   00147623   6/10/2021 20:21 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147623.pdf

00147624   00147624   6/10/2021 23:06 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147624.pdf

00147625   00147625    6/11/2021 0:45 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147625.pdf
                                               RE: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147626   00147629    6/11/2021 8:39 Email    Figures                                             .\VOL010\IMAGES\IMAGES007\00147626.pdf
                                               Re: I‐495 & I‐270 MLS: Request for Concurrence on
00147630   00147631    6/11/2021 8:54 Email    RPA                                                 .\VOL010\IMAGES\IMAGES007\00147630.pdf
                                               RE: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147632   00147635   6/11/2021 16:05 Email    Figures                                             .\VOL010\IMAGES\IMAGES007\00147632.pdf

00147636   00147636    6/12/2021 6:36 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147636.pdf

00147637   00147637   6/12/2021 10:51 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147637.pdf

00147638   00147638   6/12/2021 12:15 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147638.pdf

00147639   00147639   6/13/2021 10:27 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147639.pdf

00147640   00147640   6/13/2021 11:36 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147640.pdf

00147641   00147641   6/13/2021 19:33 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147641.pdf
00147642   00147642   6/14/2021 10:32 Email    GPR/Mag Survey                                      .\VOL010\IMAGES\IMAGES007\00147642.pdf

00147643   00147643   6/14/2021 13:54 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147643.pdf

00147644   00147644   6/14/2021 14:00 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147644.pdf

00147645   00147645   6/14/2021 14:06 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147645.pdf
                                               RE: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147646   00147650   6/14/2021 16:20 Email    Figures                                             .\VOL010\IMAGES\IMAGES007\00147646.pdf
                                               MLS NPS Coordination Meeting Agenda_2021‐06‐
00147651   00147651   6/14/2021 16:20 Attach   21.pdf                                              .\VOL010\IMAGES\IMAGES007\00147651.pdf
00147652   00147653    6/15/2021 6:24 Email    Re: GPR/Mag Survey                                  .\VOL010\IMAGES\IMAGES007\00147652.pdf
00147654   00147656    6/15/2021 8:08 Email    Re: GPR/Mag Survey                                  .\VOL010\IMAGES\IMAGES007\00147654.pdf

00147657   00147657    6/15/2021 9:06 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147657.pdf
00147658   00147659    6/15/2021 9:17 Email    NEPA Schedule                                       .\VOL010\IMAGES\IMAGES007\00147658.pdf
                                               2021‐06‐01_FHWA Coordination Meeting
00147660   00147660   6/15/2021 10:00 Attach   Notes_MLS.docx                                      .\VOL010\IMAGES\IMAGES007\00147660.pdf
                                               2021‐06‐01_FHWA Coordination Meeting Notes_P3
00147661   00147661   6/15/2021 10:00 Attach   Program.docx                                        .\VOL010\IMAGES\IMAGES007\00147661.pdf
00147662   00147662   6/15/2021 10:38 Email    Graphic for 10am(1).pdf                             .\VOL010\IMAGES\IMAGES007\00147662.pdf
                                               Pages from BCS2014‐20D_TO27_Morningstar
00147663   00147664   6/15/2021 10:38 Attach   Cem_05.pdf                                          .\VOL010\IMAGES\IMAGES007\00147663.pdf
                                               Re: FHWA input on MLS/Morningstar Cemetery effect
00147665   00147667   6/15/2021 12:22 Email    determination                                       .\VOL010\IMAGES\IMAGES007\00147665.pdf

00147668   00147668   6/15/2021 13:00 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147668.pdf
00147669   00147669   6/15/2021 13:12 Attach   WBFC_SiteMap.pdf                                    .\VOL010\IMAGES\IMAGES007\00147669.pdf
00147670   00147678   6/15/2021 14:23 Email    MLS: NPS Requests and Updated Figures               .\VOL010\IMAGES\IMAGES007\00147670.pdf
00147679   00147687    6/16/2021 8:17 Email    FW: MLS: NPS Requests and Updated Figures           .\VOL010\IMAGES\IMAGES007\00147679.pdf
00147688   00147689    6/16/2021 8:33 Email    FW: NPS pre‐Meeting                                 .\VOL010\IMAGES\IMAGES007\00147688.pdf
                                               FW: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147690   00147694    6/16/2021 8:34 Email    Figures                                             .\VOL010\IMAGES\IMAGES007\00147690.pdf
                                               MLS NPS Coordination Meeting Agenda_2021‐06‐
00147695   00147695    6/16/2021 8:34 Attach   21.pdf                                              .\VOL010\IMAGES\IMAGES007\00147695.pdf
00147696   00147697    6/16/2021 8:36 Email    RE: NPS pre‐Meeting                                 .\VOL010\IMAGES\IMAGES007\00147696.pdf
                                               FW: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147698   00147701    6/16/2021 8:36 Email    Figures                                             .\VOL010\IMAGES\IMAGES007\00147698.pdf
                                               FW: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147702   00147705    6/16/2021 8:38 Email    Figures                                             .\VOL010\IMAGES\IMAGES007\00147702.pdf
00147706   00147707    6/16/2021 8:54 Email    SDEIS Appendums                                     .\VOL010\IMAGES\IMAGES007\00147706.pdf
00147708   00147709    6/16/2021 8:56 Email    FW: SDEIS Appendums                                 .\VOL010\IMAGES\IMAGES007\00147708.pdf
                                               Re: [EXTERNAL] MLS‐ Updated Impacts Matrix and
00147710   00147714   6/16/2021 12:40 Email    Figures                                             .\VOL010\IMAGES\IMAGES007\00147710.pdf

00147715   00147715   6/16/2021 14:03 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147715.pdf

00147716   00147716   6/16/2021 14:09 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147716.pdf

00147717   00147717   6/16/2021 14:09 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147717.pdf

00147718   00147718   6/16/2021 14:21 Email    Protect the Historic Morningstar Moses Cemetery     .\VOL010\IMAGES\IMAGES007\00147718.pdf
                                               MLS: NPS Coordination Meeting Agenda and Meeting
00147719   00147728   6/16/2021 14:57 Email    Materials                                           .\VOL010\IMAGES\IMAGES007\00147719.pdf
                                               MLS NPS Coordination Meeting Agenda_2021‐06‐
00147729   00147729   6/16/2021 14:57 Attach   21.pdf                                              .\VOL010\IMAGES\IMAGES007\00147729.pdf
00147730   00147731   6/16/2021 14:57 Attach   CHOH 13 Fact Sheet.pdf                              .\VOL010\IMAGES\IMAGES007\00147730.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 155 of 263

00147732   00147732   6/16/2021 14:57 Attach   CHOH_13_Concept_Plan.pdf                                 .\VOL010\IMAGES\IMAGES007\00147732.pdf
00147733   00147865   6/16/2021 14:57 Attach   doc.kml                                                  .\VOL010\IMAGES\IMAGES007\00147733.pdf
00147866   00147866   6/16/2021 14:57 Attach   MLS_PotentialNPSTreePlantingSites.dbf                    .\VOL010\IMAGES\IMAGES007\00147866.pdf    .\VOL010\NATIVES\NATIVES007\00147866.dbf
00147867   00147867   6/16/2021 14:57 Attach   MLS NPS Tree Mitigation_Summary 06‐16‐21.pdf             .\VOL010\IMAGES\IMAGES007\00147867.pdf
00147868   00147870   6/16/2021 15:42 Email    MLS: NPS Coordination Meeting Agenda                     .\VOL010\IMAGES\IMAGES007\00147868.pdf

00147871   00147871   6/16/2021 16:03 Email    Protect the Historic Morningstar Moses Cemetery          .\VOL010\IMAGES\IMAGES007\00147871.pdf
                                               Preliminary Traffic Analysis Results Discussion:
00147872   00147873   6/16/2021 17:47 Email    Availability                                             .\VOL010\IMAGES\IMAGES007\00147872.pdf

00147874   00147874    6/17/2021 6:48 Email    Protect the Historic Morningstar Moses Cemetery          .\VOL010\IMAGES\IMAGES007\00147874.pdf
00147875   00147875    6/17/2021 9:17 Email    What TPB's Decision Means                                .\VOL010\IMAGES\IMAGES007\00147875.pdf
                                               05192021_‐_Item_5_UPDATED_‐
00147876   00147880    6/17/2021 9:26 Attach   _MDOT_RPA_letter.pdf                                     .\VOL010\IMAGES\IMAGES007\00147876.pdf
00147881   00147881    6/17/2021 9:37 Email    FW: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147881.pdf
00147882   00147883   6/17/2021 10:37 Email    FW_ What TPB's Decision Means(1).pdf                     .\VOL010\IMAGES\IMAGES007\00147882.pdf
                                               I‐495 & I‐270 MLS: 5/18 FHWA Air & Noise
00147884   00147885   6/17/2021 11:25 Email    Coordination Meeting Notes                               .\VOL010\IMAGES\IMAGES007\00147884.pdf
00147886   00147887   6/17/2021 11:54 Email    FW: Briefing Memo                                        .\VOL010\IMAGES\IMAGES007\00147886.pdf
                                               I‐495 & I‐270 MLS_ 5_18 FHWA Air & Noise
00147888   00147889   6/17/2021 12:25 Email    Coordi....pdf                                            .\VOL010\IMAGES\IMAGES007\00147888.pdf
                                               2021‐06‐01 MLS Gibson Grove Church and Moses
00147890   00147896   6/17/2021 12:32 Attach   H.pdf                                                    .\VOL010\IMAGES\IMAGES007\00147890.pdf
                                               RE: Preliminary Traffic Analysis Results Discussion:
00147897   00147900   6/17/2021 13:51 Email    Availability                                             .\VOL010\IMAGES\IMAGES007\00147897.pdf
                                               RE: Gibson Grove Church and Moses Hall Cemetery
00147901   00147902   6/17/2021 13:51 Email    Discussion                                               .\VOL010\IMAGES\IMAGES007\00147901.pdf

00147903   00147905   6/17/2021 14:37 Email    RE: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00147903.pdf

00147906   00147908   6/17/2021 14:51 Email    RE_ Preliminary Traffic Analysis Results Discus....pdf   .\VOL010\IMAGES\IMAGES007\00147906.pdf

00147909   00147909   6/20/2021 15:39 Email    Protect the Historic Morningstar Moses Cemetery          .\VOL010\IMAGES\IMAGES007\00147909.pdf
                                               Re: I‐495 & I‐270 MLS: Request for Concurrence on
00147910   00147911    6/21/2021 8:21 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00147910.pdf
                                               Re: I‐495 & I‐270 MLS: Request for Concurrence on
00147912   00147913    6/21/2021 8:24 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00147912.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00147914   00147915    6/21/2021 8:33 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00147914.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00147916   00147917   6/21/2021 10:11 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00147916.pdf
                                               FW: I‐495 & I‐270 MLS: Request for Concurrence on
00147918   00147919   6/21/2021 11:24 Email    the RPA                                                  .\VOL010\IMAGES\IMAGES007\00147918.pdf
00147920   00147921   6/21/2021 11:50 Email    RE: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147920.pdf
00147922   00147923   6/21/2021 11:50 Email    RE: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147922.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on the
00147924   00147925   6/21/2021 12:09 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00147924.pdf
00147926   00147927   6/21/2021 12:27 Email    RE: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147926.pdf
00147928   00147929   6/21/2021 14:44 Attach   Re: [EXTERNAL] Section 4(f)                              .\VOL010\IMAGES\IMAGES007\00147928.pdf
00147930   00147932   6/21/2021 15:11 Email    RE: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147930.pdf
00147933   00147935   6/21/2021 15:11 Email    RE: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147933.pdf
00147936   00147938   6/21/2021 16:01 Email    FW: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147936.pdf
00147939   00147941   6/21/2021 16:03 Email    RE: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147939.pdf
                                               I‐495 & I‐270 MLS: ALB Trail Connection to Macarthur
00147942   00147943   6/21/2021 17:18 Email    Blvd Presentation                                        .\VOL010\IMAGES\IMAGES007\00147942.pdf
                                               I‐495 & I‐270 MLS ALB Trail Connection
00147944   00147973   6/21/2021 17:18 Attach   Presentation_06‐21‐2021.pdf                              .\VOL010\IMAGES\IMAGES007\00147944.pdf
00147974   00147975   6/21/2021 18:52 Email    Fw: 2/26 MLS Navy Coordination Meeting Notes             .\VOL010\IMAGES\IMAGES007\00147974.pdf
00147976   00147979   6/21/2021 18:52 Attach   RE: 2/26 MLS Navy Coordination Meeting Notes             .\VOL010\IMAGES\IMAGES007\00147976.pdf
                                               RE: National Register evaluation of Plummers Island ‐ I‐
00147980   00147983    6/22/2021 5:35 Email    495 & I‐270 MLS                                          .\VOL010\IMAGES\IMAGES007\00147980.pdf
00147984   00147984    6/22/2021 6:59 Email    MDOT Letter to TPB                                       .\VOL010\IMAGES\IMAGES007\00147984.pdf
                                               2021 MDOT Letter‐ Halt Work on AQC FInal Version
00147985   00147986    6/22/2021 6:59 Attach   Signed‐ June 21 2021.pdf                                 .\VOL010\IMAGES\IMAGES007\00147985.pdf
00147987   00147989    6/22/2021 8:04 Email    FW: What TPB's Decision Means                            .\VOL010\IMAGES\IMAGES007\00147987.pdf
                                               Re: I‐495 & I‐270 MLS: Request for Concurrence on
00147990   00147992    6/22/2021 8:31 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00147990.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00147993   00147996    6/22/2021 9:03 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00147993.pdf
                                               Visualize_2045_Update__2021_Comment_Period_Per.
00147997   00148011    6/22/2021 9:04 Attach   pdf                                                      .\VOL010\IMAGES\IMAGES007\00147997.pdf
00148012   00148013    6/22/2021 9:04 Email    FW_ What TPB's Decision Means.pdf                        .\VOL010\IMAGES\IMAGES007\00148012.pdf
                                               FW: I‐495 & I‐270 MLS: Request for Concurrence on
00148014   00148016    6/22/2021 9:37 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00148014.pdf
                                               ResourceMapping_200ft_NCPC_CapperCramtonParks.
00148017   00148026    6/22/2021 9:37 Attach   pdf                                                      .\VOL010\IMAGES\IMAGES007\00148017.pdf
                                               2021‐06‐18_NCPC Parkland Impacts Mitigation
00148027   00148031    6/22/2021 9:37 Attach   Summary Phase 1 South.pdf                                .\VOL010\IMAGES\IMAGES007\00148027.pdf
                                               FW: I‐495 & I‐270 MLS: Request for Concurrence on
00148032   00148034    6/22/2021 9:37 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00148032.pdf
00148035   00148035   6/22/2021 10:29 Email    Fw: MLS/NPS follow‐up meetings                           .\VOL010\IMAGES\IMAGES007\00148035.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00148036   00148039   6/22/2021 11:38 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00148036.pdf
                                               Re: I‐495 & I‐270 MLS: Request for Concurrence on
00148040   00148042   6/22/2021 11:59 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00148040.pdf
                                               Re: I‐495 & I‐270 MLS: Request for Concurrence on
00148043   00148046   6/22/2021 11:59 Email    RPA                                                      .\VOL010\IMAGES\IMAGES007\00148043.pdf
00148047   00148055   6/22/2021 12:41 Email    FW: MLS: NPS Requests and Updated Figures                .\VOL010\IMAGES\IMAGES007\00148047.pdf
00148056   00148059   6/22/2021 12:41 Attach   ALB Maryland Trail Options_06‐15‐21.pdf                  .\VOL010\IMAGES\IMAGES007\00148056.pdf
00148060   00148062   6/22/2021 12:41 Attach   NPS ALB Area Impact Figures_06‐15‐21.pdf                 .\VOL010\IMAGES\IMAGES007\00148060.pdf
                                               FW: I‐495 & I‐270 MLS: Request for Concurrence on
00148063   00148064   6/22/2021 14:10 Email    the RPA                                                  .\VOL010\IMAGES\IMAGES007\00148063.pdf
                                               EPA Signed I‐495 & I‐270 MLS RPA Concurrence
00148065   00148066   6/22/2021 14:10 Attach   Form_06‐21‐21.pdf                                        .\VOL010\IMAGES\IMAGES007\00148065.pdf
                                               RE: I‐495 & I‐270 MLS: ALB Trail Connection to
00148067   00148069   6/22/2021 15:08 Email    Macarthur Blvd Presentation                              .\VOL010\IMAGES\IMAGES007\00148067.pdf

00148070   00148070   6/22/2021 15:12 Email    Protect the Historic Morningstar Moses Cemetery          .\VOL010\IMAGES\IMAGES007\00148070.pdf
                                               RE: I‐495 & I‐270 MLS: ALB Trail Connection to
00148071   00148074   6/22/2021 15:44 Email    Macarthur Blvd Presentation                              .\VOL010\IMAGES\IMAGES007\00148071.pdf

00148075   00148076    6/23/2021 8:26 Email    FW: MLS MSAT Affected Network: Proposed Updates          .\VOL010\IMAGES\IMAGES007\00148075.pdf

00148077   00148079   6/23/2021 10:01 Email    FW: MLS MSAT Affected Network: Proposed Updates          .\VOL010\IMAGES\IMAGES007\00148077.pdf
00148080   00148081   6/23/2021 10:48 Email    FW: Plummers Island DOE Schedule                         .\VOL010\IMAGES\IMAGES007\00148080.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                  Filed 05/03/23                           Page 156 of 263

00148082   00148083   6/23/2021 12:38 Email    1985 Plats                                            .\VOL010\IMAGES\IMAGES007\00148082.pdf
00148084   00148084   6/23/2021 12:38 Attach   Plat 49535.pdf                                        .\VOL010\IMAGES\IMAGES007\00148084.pdf
00148085   00148085   6/23/2021 12:38 Attach   Plat 49536.pdf                                        .\VOL010\IMAGES\IMAGES007\00148085.pdf
00148086   00148086   6/23/2021 12:38 Attach   Both plats.pdf                                        .\VOL010\IMAGES\IMAGES007\00148086.pdf
00148087   00148088   6/23/2021 12:38 Email    1985 Plats                                            .\VOL010\IMAGES\IMAGES007\00148087.pdf
                                               Re: [EXTERNAL] Fw: I‐495 & I‐270 Managed Lanes
                                               Study – comments on draft Section 106 Programmatic
00148089   00148092   6/23/2021 14:29 Email    Agreement                                             .\VOL010\IMAGES\IMAGES007\00148089.pdf
00148093   00148093   6/23/2021 14:55 Email    Clara Barton                                          .\VOL010\IMAGES\IMAGES007\00148093.pdf
00148094   00148094   6/23/2021 14:55 Attach   Map 1_Clara Barton_125+00 RT 49536.pdf                .\VOL010\IMAGES\IMAGES007\00148094.pdf
                                               NAB‐2018‐02152.20210623.I‐495 I‐270 MLS RPA
00148095   00148095   6/23/2021 15:21 Email    Concurrence Form.pdf                                  .\VOL010\IMAGES\IMAGES007\00148095.pdf
00148096   00148097   6/23/2021 16:00 Email    Fw: Capper Cramton Land                               .\VOL010\IMAGES\IMAGES007\00148096.pdf
00148098   00148100   6/23/2021 16:24 Email    Re: [EXTERNAL] 1985 Plats                             .\VOL010\IMAGES\IMAGES007\00148098.pdf
00148101   00148105   6/23/2021 16:24 Attach   6‐800‐0151 permit ‐ 1984.pdf                          .\VOL010\IMAGES\IMAGES007\00148101.pdf
00148106   00148108   6/23/2021 16:24 Email    Re: [EXTERNAL] 1985 Plats                             .\VOL010\IMAGES\IMAGES007\00148106.pdf

00148109   00148112   6/23/2021 17:20 Email    RE: MLS MSAT Affected Network: Proposed Updates       .\VOL010\IMAGES\IMAGES007\00148109.pdf
00148113   00148113   6/23/2021 17:32 Email    RE: Clara Barton                                      .\VOL010\IMAGES\IMAGES007\00148113.pdf

00148114   00148116   6/23/2021 18:14 Email    FW: MLS MSAT Affected Network: Proposed Updates       .\VOL010\IMAGES\IMAGES007\00148114.pdf

00148117   00148119   6/23/2021 18:14 Email    FW: MLS MSAT Affected Network: Proposed Updates       .\VOL010\IMAGES\IMAGES007\00148117.pdf
00148120   00148120    6/24/2021 9:16 Email    MLS Team Members                                      .\VOL010\IMAGES\IMAGES007\00148120.pdf
00148121   00148122    6/24/2021 9:16 Attach   MLS Team Members.docx                                 .\VOL010\IMAGES\IMAGES007\00148121.pdf
00148123   00148123    6/24/2021 9:42 Email    RE: MLS Team Members                                  .\VOL010\IMAGES\IMAGES007\00148123.pdf

00148124   00148126   6/24/2021 13:17 Email    RE: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00148124.pdf

00148127   00148129   6/24/2021 13:17 Email    RE: Recommended Preferred Alternative Concurrence .\VOL010\IMAGES\IMAGES007\00148127.pdf

00148130   00148131   6/24/2021 13:50 Edoc     2021.06.25_Tyler T Kavanaugh_PIA 10‐Day Letter.pdf    .\VOL010\IMAGES\IMAGES007\00148130.pdf
00148132   00148133   6/24/2021 14:02 Email    FW: MLS Team Members                                  .\VOL010\IMAGES\IMAGES007\00148132.pdf
00148134   00148137   6/24/2021 14:22 Email    RE: Native Veg Meeting AW073D12                       .\VOL010\IMAGES\IMAGES007\00148134.pdf
00148138   00148139   6/24/2021 16:17 Email    Re: Capper Cramton Land                               .\VOL010\IMAGES\IMAGES007\00148138.pdf
00148140   00148140   6/24/2021 19:08 Email    Fwd: I‐495 & I‐270 MLS: RPA Concurrence               .\VOL010\IMAGES\IMAGES007\00148140.pdf

                                               I‐495_I‐
00148141   00148144   6/24/2021 19:08 Attach   270_RPA_MDE_Concurrence_Minor_Comments.pdf .\VOL010\IMAGES\IMAGES007\00148141.pdf
00148145   00148145   6/24/2021 19:08 Email    Fwd: I‐495 & I‐270 MLS: RPA Concurrence               .\VOL010\IMAGES\IMAGES007\00148145.pdf
00148146   00148147    6/25/2021 7:17 Email    FW: I‐495 & I‐270 MLS: RPA Concurrence                .\VOL010\IMAGES\IMAGES007\00148146.pdf
00148148   00148149    6/25/2021 7:17 Email    FW: I‐495 & I‐270 MLS: RPA Concurrence                .\VOL010\IMAGES\IMAGES007\00148148.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00148150   00148155   6/25/2021 10:24 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00148150.pdf
00148156   00148157   6/25/2021 10:46 Email    FW: 1985 Plats                                        .\VOL010\IMAGES\IMAGES007\00148156.pdf
                                               Fw: NAB‐2018‐02152.20210623.I‐495 I‐270 MLS RPA
00148158   00148158   6/25/2021 12:29 Email    Concurrence Form.pdf                                  .\VOL010\IMAGES\IMAGES007\00148158.pdf
                                               Fw: I‐495 & I‐270 MLS: Request for Concurrence on
00148159   00148160   6/25/2021 12:29 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00148159.pdf
00148161   00148161   6/25/2021 12:30 Email    Fw: I‐495 & I‐270 MLS: RPA Concurrence                .\VOL010\IMAGES\IMAGES007\00148161.pdf
                                               Fw: I‐495 & I‐270 MLS: Request for Concurrence on the
00148162   00148163   6/25/2021 12:30 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00148162.pdf
                                               FW: NAB‐2018‐02152.20210623.I‐495 I‐270 MLS RPA
00148164   00148164   6/25/2021 12:43 Email    Concurrence Form.pdf                                  .\VOL010\IMAGES\IMAGES007\00148164.pdf
                                               NAB‐2018‐02152.20210623.I‐495 I‐270 MLS RPA
00148165   00148166   6/25/2021 12:43 Attach   Concurrence Form.pdf                                  .\VOL010\IMAGES\IMAGES007\00148165.pdf
                                               FW: I‐495 & I‐270 MLS: Request for Concurrence on
00148167   00148168   6/25/2021 12:44 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00148167.pdf
                                               RE: [EXTERNAL] I‐495 & I‐270 MLS: Request for
00148169   00148171   6/25/2021 12:48 Email    Concurrence on RPA                                    .\VOL010\IMAGES\IMAGES007\00148169.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00148172   00148173   6/25/2021 13:28 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00148172.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00148174   00148175   6/25/2021 13:28 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00148174.pdf

00148176   00148176   6/25/2021 13:39 Attach   I‐495 I‐270 MLS RPA Concurrence Form_NCPC.pdf         .\VOL010\IMAGES\IMAGES007\00148176.pdf
                                               FW: I‐495 & I‐270 MLS: Request for Concurrence on
00148177   00148179   6/25/2021 13:39 Email    RPA                                                   .\VOL010\IMAGES\IMAGES007\00148177.pdf

                                               I‐495/I‐270 Managed Lanes Study – Request for
                                               Concurrence with Selection of Alternative 9: Phase I
00148180   00148180   6/25/2021 19:26 Email    South as the New Recommended Preferred Alternative .\VOL010\IMAGES\IMAGES007\00148180.pdf
                                               MNCPPC_I‐495 & I‐270 MLS RPA Concurrence
00148181   00148181   6/25/2021 19:26 Attach   Form_06‐25‐2021_SIG.pdf                              .\VOL010\IMAGES\IMAGES007\00148181.pdf

00148182   00148186   6/25/2021 19:26 Attach   MNCPPC_Non‐Concurrence_RPA_06‐25‐2021_SIG.pdf .\VOL010\IMAGES\IMAGES007\00148182.pdf

00148187   00148188   6/25/2021 22:57 Email    Say no to the I‐495/I‐270 predevelopment agreement    .\VOL010\IMAGES\IMAGES007\00148187.pdf
00148189   00148191    6/28/2021 9:29 Attach   Ltr MDE currey to SHA Ridler 6‐25‐21.pdf              .\VOL010\IMAGES\IMAGES007\00148189.pdf
00148192   00148195    6/28/2021 9:58 Email    RE: MLS Environmental Processes Discussion            .\VOL010\IMAGES\IMAGES007\00148192.pdf
00148196   00148199   6/28/2021 10:33 Email    FW: MLS Environmental Processes Discussion            .\VOL010\IMAGES\IMAGES007\00148196.pdf
00148200   00148201   6/28/2021 12:57 Email    RE: Clara Barton                                      .\VOL010\IMAGES\IMAGES007\00148200.pdf
00148202   00148203   6/28/2021 13:11 Edoc     2021.06.28_Erin Benson_30‐Day Letter.pdf              .\VOL010\IMAGES\IMAGES007\00148202.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study Section 106
                                               Consultation ‐ New Archaeology Report Available
00148204   00148206   6/28/2021 15:31 Email    (Morningstar Cemetery)                                .\VOL010\IMAGES\IMAGES007\00148204.pdf
                                               RE: I‐495 and I‐270 Managed Lanes Study Section 106
                                               Consultation ‐ New Archaeology Report Available
00148207   00148209   6/28/2021 15:31 Email    (Morningstar Cemetery)                                .\VOL010\IMAGES\IMAGES007\00148207.pdf
                                               I‐495 and I‐270 Managed Lanes Study Section 106
                                               Consultation ‐ New Archaeology Report Comment
00148210   00148210   6/28/2021 16:23 Email    Letter                                                .\VOL010\IMAGES\IMAGES007\00148210.pdf
                                               RE_ I‐495 and I‐270 Managed Lanes Study
00148211   00148213   6/28/2021 16:31 Email    Section...(1).pdf                                     .\VOL010\IMAGES\IMAGES007\00148211.pdf
                                               MNCPPC Morningstar Moses Hall and Cemetery
00148214   00148215   6/28/2021 16:31 Attach   co.docx                                               .\VOL010\IMAGES\IMAGES007\00148214.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study Section 106
                                               Consultation ‐ New Archaeology Report Available
00148216   00148217   6/28/2021 17:12 Email    (Morningstar Cemetery)                                .\VOL010\IMAGES\IMAGES007\00148216.pdf
                                               Re_ I‐495 and I‐270 Managed Lanes Study
00148218   00148220   6/28/2021 18:14 Email    Section...(3).pdf                                     .\VOL010\IMAGES\IMAGES007\00148218.pdf

00148221   00148224   6/28/2021 18:14 Attach   FMH Comments to May 2021 CRTR ‐ MDOT SHA.pdf          .\VOL010\IMAGES\IMAGES007\00148221.pdf
                                               RE: [EXTERNAL] I‐495 & I‐270 MLS: Request for
00148225   00148228   6/29/2021 10:50 Email    Concurrence on RPA                                    .\VOL010\IMAGES\IMAGES007\00148225.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                              Page 157 of 263

                                               RE: [EXTERNAL] I‐495 & I‐270 MLS: Request for
00148229   00148232   6/29/2021 11:06 Email    Concurrence on RPA                                  .\VOL010\IMAGES\IMAGES007\00148229.pdf
00148233   00148234   6/29/2021 11:58 Email    Re: Condemnation Inquiry ‐ Moses Cemetery           .\VOL010\IMAGES\IMAGES007\00148233.pdf
                                               FW: I‐495 and I‐270 Managed Lanes Study Section 106
                                               Consultation ‐ New Archaeology Report Comment
00148235   00148236   6/29/2021 13:24 Email    Letter                                              .\VOL010\IMAGES\IMAGES007\00148235.pdf
                                               FW_ I‐495 and I‐270 Managed Lanes Study
00148237   00148237   6/29/2021 14:25 Email    Section....pdf                                      .\VOL010\IMAGES\IMAGES007\00148237.pdf

00148238   00148239   6/29/2021 14:25 Attach   NTHP_Archeological Report Comments Final_6.28..pdf .\VOL010\IMAGES\IMAGES007\00148238.pdf
                                               RE: [EXTERNAL] I‐495 & I‐270 MLS: Request for
00148240   00148243   6/29/2021 18:42 Email    Concurrence on RPA                                 .\VOL010\IMAGES\IMAGES007\00148240.pdf
00148244   00148246   6/29/2021 19:48 Email    Re: [EXTERNAL] 1985 Plats                          .\VOL010\IMAGES\IMAGES007\00148244.pdf
00148247   00148248   6/29/2021 21:38 Email    Fw: Clara Barton                                   .\VOL010\IMAGES\IMAGES007\00148247.pdf
                                               RE: [EXTERNAL] I‐495 & I‐270 MLS: Request for
00148249   00148252    6/30/2021 7:04 Attach   Concurrence on RPA                                 .\VOL010\IMAGES\IMAGES007\00148249.pdf
00148253   00148254    6/30/2021 7:40 Attach   Fw: Clara Barton                                   .\VOL010\IMAGES\IMAGES007\00148253.pdf
                                               RE: I‐495 & I‐270 MLS: Request for Concurrence on
00148255   00148256    6/30/2021 7:40 Attach   RPA                                                .\VOL010\IMAGES\IMAGES007\00148255.pdf

                                               Fwd: I‐495/I‐270 Managed Lanes Study – Request for
                                               Concurrence with Selection of Alternative 9: Phase I
00148257   00148257    6/30/2021 7:40 Attach   South as the New Recommended Preferred Alternative .\VOL010\IMAGES\IMAGES007\00148257.pdf
00148258   00148261    6/30/2021 8:09 Email    Fw: [EXTERNAL] 1985 Plats                            .\VOL010\IMAGES\IMAGES007\00148258.pdf
00148262   00148263    6/30/2021 9:11 Attach   ALB_ImpMatrix_NPS_2021.05.24 (1).pdf                 .\VOL010\IMAGES\IMAGES007\00148262.pdf
                                               FW: Updated ALB Area Impacts and Supporting
00148264   00148264    6/30/2021 9:14 Email    Boundary Maps                                        .\VOL010\IMAGES\IMAGES007\00148264.pdf
00148265   00148268    6/30/2021 9:59 Email    Fw: [EXTERNAL] 1985 Plats                            .\VOL010\IMAGES\IMAGES007\00148265.pdf
00148269   00148270   6/30/2021 10:27 Email    RE: NPS Property Discussion                          .\VOL010\IMAGES\IMAGES007\00148269.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study Section 106
                                               Consultation ‐ New Archaeology Report Available
00148271   00148272   6/30/2021 11:39 Email    (Morningstar Cemetery)                               .\VOL010\IMAGES\IMAGES007\00148271.pdf
                                               Re: I‐495 and I‐270 Managed Lanes Study Section 106
                                               Consultation ‐ New Archaeology Report Available
00148273   00148275   6/30/2021 11:39 Email    (Morningstar Cemetery)                               .\VOL010\IMAGES\IMAGES007\00148273.pdf

00148276   00148276   6/30/2021 11:56 Edoc     2021.06.30_Katherine Shaver_PIA 10‐Day Letter.pdf       .\VOL010\IMAGES\IMAGES007\00148276.pdf
                                               Re_ I‐495 and I‐270 Managed Lanes Study
00148277   00148279   6/30/2021 12:40 Email    Section...(1).pdf                                       .\VOL010\IMAGES\IMAGES007\00148277.pdf
00148280   00148282   6/30/2021 12:40 Attach   202102728.pdf                                           .\VOL010\IMAGES\IMAGES007\00148280.pdf
                                               I‐495 NEXT ‐ Finding of No Significant Impact (FONSI) &
00148283   00148283   6/30/2021 14:11 Email    Interchange Justification Report (IJR)                  .\VOL010\IMAGES\IMAGES007\00148283.pdf
00148284   00148303   6/30/2021 14:11 Attach   Finding of No Significant Impact.pdf                    .\VOL010\IMAGES\IMAGES007\00148284.pdf
00148304   00148308   6/30/2021 14:11 Attach   Appendix A.pdf                                          .\VOL010\IMAGES\IMAGES007\00148304.pdf
00148309   00148309   6/30/2021 14:55 Email    For our discussion next week                            .\VOL010\IMAGES\IMAGES007\00148309.pdf
                                               Fig1_NPS_ParkBound_NPSShapes_PermitArea_202.05.
00148310   00148310   6/30/2021 14:55 Attach   24.pdf                                                  .\VOL010\IMAGES\IMAGES007\00148310.pdf
                                               FW: I‐495 NEXT ‐ Finding of No Significant Impact
00148311   00148312   6/30/2021 15:52 Email    (FONSI) & Interchange Justification Report (IJR)        .\VOL010\IMAGES\IMAGES007\00148311.pdf
00148313   00148313   6/30/2021 16:33 Email    RE: Coordination Plan                                   .\VOL010\IMAGES\IMAGES007\00148313.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
                                               Coordination Plan_CLEAN VERSION_ REVISED 08‐14‐
00148314   00148325   6/30/2021 16:33 Attach   19.docx                                                 .\VOL010\IMAGES\IMAGES007\00148314.pdf
00148326   00148327   6/30/2021 17:16 Email    FW_ Preliminary Traffic Results Discussions.pdf         .\VOL010\IMAGES\IMAGES007\00148326.pdf
00148328   00148328     7/1/2021 8:23 Email    Maintenance at Clara Barton Parkway                     .\VOL010\IMAGES\IMAGES007\00148328.pdf
                                               RE_ Phase 1 South Preliminary Traffic Results
00148329   00148329    7/1/2021 12:05 Email    D...(1).pdf                                             .\VOL010\IMAGES\IMAGES007\00148329.pdf

00148330   00148330    7/1/2021 12:05 Attach   2021‐07‐01_FHWA Traffic Analysis Discussion_Ag.pdf   .\VOL010\IMAGES\IMAGES007\00148330.pdf
00148331   00148332    7/1/2021 15:10 Email    Moses Hall Cemetery Impact Quantities                .\VOL010\IMAGES\IMAGES007\00148331.pdf
                                               RE: Requesting an Update on the NEPA Review for
                                               Maryland’s Proposed I‐495/I‐270 Managed Lanes
00148333   00148337     7/6/2021 9:48 Email    Study?OST‐S10‐210322‐013‐OST‐S3‐002                  .\VOL010\IMAGES\IMAGES007\00148333.pdf
00148338   00148342    7/6/2021 10:07 Email    Re: MLS Environmental Processes Discussion           .\VOL010\IMAGES\IMAGES007\00148338.pdf
                                               RE: Requesting an Update on the NEPA Review for
                                               Maryland’s Proposed I‐495/I‐270 Managed Lanes
00148343   00148348    7/6/2021 10:16 Email    Study?OST‐S10‐210322‐013‐OST‐S3‐002                  .\VOL010\IMAGES\IMAGES007\00148343.pdf

                                               I‐495 & I‐270 MLS: ALB Trail Coordination Meeting
00148349   00148351    7/6/2021 10:46 Email    With NPS, M‐NCPPC, and MC DOT ‐ Meeting Notes      .\VOL010\IMAGES\IMAGES007\00148349.pdf
                                               2021‐06‐21 MLS ALB Trail Coordination Meeting with
00148352   00148357    7/6/2021 10:46 Attach   NPS, M‐NCPPC, and MCDOT Notes.pdf                  .\VOL010\IMAGES\IMAGES007\00148352.pdf
00148358   00148364    7/6/2021 13:47 Email    FW: MLS Environmental Processes Discussion         .\VOL010\IMAGES\IMAGES007\00148358.pdf
00148365   00148366    7/6/2021 13:47 Attach   RE: Revised SDEIS Outline                          .\VOL010\IMAGES\IMAGES007\00148365.pdf
                                               Revised LS SDEIS Workshop Outline_2021‐04‐14 FHWA
00148367   00148368    7/6/2021 13:47 Attach   Comments M.docx                                    .\VOL010\IMAGES\IMAGES007\00148367.pdf

00148369   00148370    7/6/2021 13:56 Email    Re: [EXTERNAL] Maintenance at Clara Barton Parkway .\VOL010\IMAGES\IMAGES007\00148369.pdf
00148371   00148371    7/6/2021 14:40 Email    FW: NPS ‐ Additional Documentation                 .\VOL010\IMAGES\IMAGES007\00148371.pdf
00148372   00148373    7/6/2021 14:48 Email    RE: NPS ‐ Additional Documentation                 .\VOL010\IMAGES\IMAGES007\00148372.pdf

                                               Reminder ‐ Phase 1 South: American Legion Bridge I‐
00148374   00148377    7/6/2021 14:48 Email    270 to I‐370 Public Hearings July 12 and July 14    .\VOL010\IMAGES\IMAGES007\00148374.pdf
                                               Fw: Managed Lanes Study Inquiry: Maintenance in the
00148378   00148381    7/6/2021 14:52 Email    Clara Barton Parkway Area                           .\VOL010\IMAGES\IMAGES007\00148378.pdf
00148382   00148382    7/6/2021 15:50 Email    AQ Conformity                                       .\VOL010\IMAGES\IMAGES007\00148382.pdf

00148383   00148383    7/6/2021 16:11 Email    Update on air quality modeling for I495_I270 ML....pdf .\VOL010\IMAGES\IMAGES007\00148383.pdf
00148384   00148386    7/6/2021 16:42 Email    Re: [EXTERNAL] Mark up of Permitted Areas              .\VOL010\IMAGES\IMAGES007\00148384.pdf
00148387   00148387    7/6/2021 16:42 Attach   LOD_P1S_20210510_Total.dbf                             .\VOL010\IMAGES\IMAGES007\00148387.pdf     .\VOL010\NATIVES\NATIVES007\00148387.dbf
00148388   00148388    7/6/2021 16:42 Attach   LOD_P1S_20210510_Total.prj                             .\VOL010\IMAGES\IMAGES007\00148388.pdf
00148389   00148389     7/7/2021 7:02 Attach   map.pdf                                                .\VOL010\IMAGES\IMAGES007\00148389.pdf
00148390   00148390     7/7/2021 8:34 Email    For 9_30 am meeting.pdf                                .\VOL010\IMAGES\IMAGES007\00148390.pdf
00148391   00148391     7/7/2021 8:34 Attach   Figure Phase 1 South.docx                              .\VOL010\IMAGES\IMAGES007\00148391.pdf
00148392   00148393    7/7/2021 12:15 Email    RE: MLS Land Parcel Map?                               .\VOL010\IMAGES\IMAGES007\00148392.pdf

00148394   00148403    7/7/2021 12:15 Attach   ResourceMapping_200ft_CapperCramton_070121.pdf .\VOL010\IMAGES\IMAGES007\00148394.pdf

                                               RE: I‐495 & I‐270 MLS: ALB Trail Coordination Meeting
00148404   00148407    7/7/2021 16:05 Email    With NPS, M‐NCPPC, and MC DOT ‐ Meeting Notes         .\VOL010\IMAGES\IMAGES007\00148404.pdf
00148408   00148409     7/8/2021 9:58 Email    ALB Shared Use Path                                   .\VOL010\IMAGES\IMAGES007\00148408.pdf
                                               I‐495 & I‐270 MLS ALB Trail Connection
00148410   00148439     7/8/2021 9:58 Attach   Presentation_06‐21‐2021 (1).pdf                       .\VOL010\IMAGES\IMAGES007\00148410.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 158 of 263

                                               RE: I‐495 & I‐270 MLS: ALB Trail Coordination Meeting
00148440   00148444    7/8/2021 12:22 Email    With NPS, M‐NCPPC, and MC DOT ‐ Meeting Notes           .\VOL010\IMAGES\IMAGES007\00148440.pdf
00148445   00148446    7/8/2021 13:11 Email    FW: VDOT TPB Letter                                     .\VOL010\IMAGES\IMAGES007\00148445.pdf
                                               Re: [EXTERNAL] I‐495 & I‐270 MLS: Request for
00148447   00148448    7/8/2021 14:11 Email    Concurrence on RPA                                      .\VOL010\IMAGES\IMAGES007\00148447.pdf
                                               FW: [EXTERNAL] I‐495 & I‐270 MLS: Request for
00148449   00148451    7/8/2021 14:17 Email    Concurrence on RPA                                      .\VOL010\IMAGES\IMAGES007\00148449.pdf

00148452   00148457    7/8/2021 15:17 Attach   I‐495 & I‐270 MLS RPA Concurrence Form_06‐10‐2.pdf .\VOL010\IMAGES\IMAGES007\00148452.pdf

00148458   00148459    7/8/2021 16:00 Email    Follow‐up NPS Property Discussion: Clara Barton Area    .\VOL010\IMAGES\IMAGES007\00148458.pdf
00148460   00148460    7/9/2021 10:48 Email    FW: MDOT Letter to TPB                                  .\VOL010\IMAGES\IMAGES007\00148460.pdf
00148461   00148463    7/9/2021 10:48 Attach   TPB July 21 Agenda Request.pdf                          .\VOL010\IMAGES\IMAGES007\00148461.pdf
00148464   00148465    7/9/2021 11:48 Email    FW_ MDOT Letter to TPB .pdf                             .\VOL010\IMAGES\IMAGES007\00148464.pdf
00148466   00148469    7/9/2021 11:48 Attach   2021.07.07 Letter to TPB ‐ Signed.pdf                   .\VOL010\IMAGES\IMAGES007\00148466.pdf
00148470   00148472    7/9/2021 11:48 Attach   TPB July 21 Agenda Request.pdf                          .\VOL010\IMAGES\IMAGES007\00148470.pdf
                                               6/21 MLS NPS Impacts and Mitigation Coordination
00148473   00148474    7/9/2021 13:50 Email    Meeting Notes                                           .\VOL010\IMAGES\IMAGES008\00148473.pdf
                                               2021‐06‐21 MLS NPS Impacts and Mitigation
00148475   00148480    7/9/2021 13:50 Attach   Coordination Meeting Notes.pdf                          .\VOL010\IMAGES\IMAGES008\00148475.pdf
00148481   00148482    7/9/2021 14:46 Email    FW: Proposed Projects in TIP                            .\VOL010\IMAGES\IMAGES008\00148481.pdf
                                               Table 3 2022 Visualize 2045 Update Conformity Input
00148483   00148483    7/9/2021 14:46 Attach   Table.xlsx                                              .\VOL010\IMAGES\IMAGES008\00148483.pdf    .\VOL010\NATIVES\NATIVES008\00148483.xlsx

00148484   00148485    7/9/2021 14:47 Email    I‐495 & I‐270 MLS: Administrative Draft of the SDEIS    .\VOL010\IMAGES\IMAGES008\00148484.pdf
                                               Fw: NPS Comments: Construction Access & Trail
00148486   00148486    7/9/2021 14:52 Email    Options                                                 .\VOL010\IMAGES\IMAGES008\00148486.pdf
                                               ALB_ConstructionAccess_NPS Comments
00148487   00148487    7/9/2021 14:52 Attach   07012021.xlsx                                           .\VOL010\IMAGES\IMAGES008\00148487.pdf    .\VOL010\NATIVES\NATIVES008\00148487.xlsx
00148488   00148490   7/12/2021 11:45 Email    Re: NCPC Park Impact Discussion                         .\VOL010\IMAGES\IMAGES008\00148488.pdf

00148491   00148494   7/12/2021 12:05 Email    Fw: [EXTERNAL] FW: NCPC Park Impact Discussion          .\VOL010\IMAGES\IMAGES008\00148491.pdf
00148495   00148496   7/12/2021 12:38 Email    Re: NCPC Park Impact Discussion                         .\VOL010\IMAGES\IMAGES008\00148495.pdf

00148497   00148498   7/12/2021 15:01 Email    Fw: Program Open Space Funds and M‐NCPPC Parks          .\VOL010\IMAGES\IMAGES008\00148497.pdf
                                               I495‐I270_MNCPPC_Montgomery_Park Parcel
00148499   00148499   7/12/2021 15:01 Attach   Info_2019‐05‐09_DRAFT.xlsx                              .\VOL010\IMAGES\IMAGES008\00148499.pdf    .\VOL010\NATIVES\NATIVES008\00148499.xlsx
                                               Re: [EXTERNAL] Fw: I‐495 & I‐270 Managed Lanes
                                               Study – comments on draft Section 106 Programmatic
00148500   00148503   7/12/2021 15:45 Email    Agreement                                               .\VOL010\IMAGES\IMAGES008\00148500.pdf
                                               RE: [EXTERNAL] Fw: I‐495 & I‐270 Managed Lanes
                                               Study – comments on draft Section 106 Programmatic
00148504   00148507   7/12/2021 15:59 Email    Agreement                                               .\VOL010\IMAGES\IMAGES008\00148504.pdf
                                               FW: I‐495 & I‐270 MLS: ALB Trail Connection to
00148508   00148511   7/13/2021 13:45 Email    Macarthur Blvd Presentation                             .\VOL010\IMAGES\IMAGES008\00148508.pdf
                                               I‐495 & I‐270 MLS ALB Trail Connection
00148512   00148541   7/13/2021 13:45 Attach   Presentation_06‐21‐2021.pdf                             .\VOL010\IMAGES\IMAGES008\00148512.pdf
00148542   00148543   7/14/2021 14:56 Email    Fw: C&O Canal                                           .\VOL010\IMAGES\IMAGES008\00148542.pdf
00148544   00148545   7/14/2021 17:08 Email    CRITICAL                                                .\VOL010\IMAGES\IMAGES008\00148544.pdf
00148546   00148547   7/14/2021 17:10 Email    Re: C&O Canal                                           .\VOL010\IMAGES\IMAGES008\00148546.pdf
00148548   00148549   7/14/2021 18:04 Email    FW_ Proposed Projects in TIP(1).pdf                     .\VOL010\IMAGES\IMAGES008\00148548.pdf
                                               Re: I‐495 & I‐270 MLS: Administrative Draft of the
00148550   00148551   7/14/2021 18:55 Email    SDEIS                                                   .\VOL010\IMAGES\IMAGES008\00148550.pdf
00148552   00148553    7/15/2021 7:37 Email    RE_ TRB.pdf                                             .\VOL010\IMAGES\IMAGES008\00148552.pdf
00148554   00148555    7/15/2021 8:36 Email    RE: C&O Canal                                           .\VOL010\IMAGES\IMAGES008\00148554.pdf
00148556   00148557    7/15/2021 9:39 Email    Fw: C&O Canal                                           .\VOL010\IMAGES\IMAGES008\00148556.pdf
00148558   00148558   7/15/2021 11:07 Email    RE: IAPA Meeting w FHWA                                 .\VOL010\IMAGES\IMAGES008\00148558.pdf

00148559   00148561   7/15/2021 12:18 Attach   2021‐07‐08 MLS NPS Transportation Permitted A.docx .\VOL010\IMAGES\IMAGES008\00148559.pdf
00148562   00148562   7/15/2021 12:18 Attach   NPS Impact Areas_2021.07.08 (004).pdf               .\VOL010\IMAGES\IMAGES008\00148562.pdf
00148563   00148564   7/15/2021 13:15 Email    FW: IAPA Meeting w FHWA                             .\VOL010\IMAGES\IMAGES008\00148563.pdf
00148565   00148565   7/15/2021 13:15 Attach   FHWA IAPA Agenda (003).docx                         .\VOL010\IMAGES\IMAGES008\00148565.pdf
                                               2021‐07‐08 MLS NPS Transportation Permitted Area
00148566   00148568   7/15/2021 13:32 Attach   Meeting Notes‐DRAFT dm comments.docx                .\VOL010\IMAGES\IMAGES008\00148566.pdf
00148569   00148571   7/15/2021 14:02 Email    RE_ Proposed Projects in TIP(1).pdf                 .\VOL010\IMAGES\IMAGES008\00148569.pdf
00148572   00148572   7/15/2021 14:06 Email    1970 Agreement                                      .\VOL010\IMAGES\IMAGES008\00148572.pdf
00148573   00148576   7/15/2021 14:10 Email    RE_ Proposed Projects in TIP.pdf                    .\VOL010\IMAGES\IMAGES008\00148573.pdf
00148577   00148578   7/15/2021 14:29 Email    Re: [EXTERNAL] 1970 Agreement                       .\VOL010\IMAGES\IMAGES008\00148577.pdf
                                               2021.August 11 Meeting Agenda_ IAPA Meeting w
00148579   00148580   7/15/2021 15:07 Edoc     FHWA.pdf                                            .\VOL010\IMAGES\IMAGES008\00148579.pdf
00148581   00148581   7/15/2021 16:45 Email    FW: Transportation Use                              .\VOL010\IMAGES\IMAGES008\00148581.pdf
                                               MLS‐ Coordination Meeting Notes and Transportation
00148582   00148583   7/15/2021 17:52 Email    Use Discussion                                      .\VOL010\IMAGES\IMAGES008\00148582.pdf
00148584   00148585   7/16/2021 11:23 Email    FW: PA‐ FHWA Concurrence                            .\VOL010\IMAGES\IMAGES008\00148584.pdf
                                               Capper Crampton Act Applicability to Clara Barton
                                               Parkway Lands within the C&O National Historic
00148586   00148587   7/16/2021 13:39 Email    District                                            .\VOL010\IMAGES\IMAGES008\00148586.pdf
00148588   00148589    7/18/2021 8:13 Email    RE: PA‐ FHWA Concurrence                            .\VOL010\IMAGES\IMAGES008\00148588.pdf
                                               Re: [EXTERNAL] MLS‐ Coordination Meeting Notes and
00148590   00148592   7/19/2021 14:02 Email    Transportation Use Discussion                       .\VOL010\IMAGES\IMAGES008\00148590.pdf
                                               FW: [EXTERNAL] MLS‐ Coordination Meeting Notes
00148593   00148595   7/19/2021 14:05 Email    and Transportation Use Discussion                   .\VOL010\IMAGES\IMAGES008\00148593.pdf
00148596   00148598   7/19/2021 15:27 Email    FW: PA‐ FHWA Concurrence                            .\VOL010\IMAGES\IMAGES008\00148596.pdf
                                               FW: [EXTERNAL] MLS‐ Coordination Meeting Notes
00148599   00148601   7/19/2021 15:39 Email    and Transportation Use Discussion                   .\VOL010\IMAGES\IMAGES008\00148599.pdf
                                               FW: Requesting an Update on the NEPA Review for
                                               Maryland’s Proposed I‐495/I‐270 Managed Lanes
00148602   00148602   7/19/2021 16:08 Email    Study?OST‐S10‐210322‐013‐OST‐S3‐002                 .\VOL010\IMAGES\IMAGES008\00148602.pdf
                                               FW: Requesting an Update on the NEPA Review for
                                               Maryland’s Proposed I‐495/I‐270 Managed Lanes
00148603   00148603   7/19/2021 16:29 Email    Study?OST‐S10‐210322‐013‐OST‐S3‐002                 .\VOL010\IMAGES\IMAGES008\00148603.pdf
                                               Re: [EXTERNAL] MLS‐ Coordination Meeting Notes and
00148604   00148606   7/19/2021 16:38 Email    Transportation Use Discussion                       .\VOL010\IMAGES\IMAGES008\00148604.pdf
                                               Re: [EXTERNAL] MLS‐ Coordination Meeting Notes and
00148607   00148610   7/19/2021 16:43 Email    Transportation Use Discussion                       .\VOL010\IMAGES\IMAGES008\00148607.pdf
00148611   00148612    7/20/2021 8:42 Email    RE: Quarterly meeting tomorrow                      .\VOL010\IMAGES\IMAGES008\00148611.pdf
00148613   00148613    7/20/2021 8:42 Attach   AGENDA_7_20_2021.pdf                                .\VOL010\IMAGES\IMAGES008\00148613.pdf
00148614   00148616   7/20/2021 10:05 Attach   Mo CE‐Council Letter.pdf                            .\VOL010\IMAGES\IMAGES008\00148614.pdf
                                               RE: Follow‐up NPS Property Discussion: Clara Barton
00148617   00148618   7/20/2021 10:49 Email    Area ‐ Meeting Notes                                .\VOL010\IMAGES\IMAGES008\00148617.pdf
                                               RE: Follow‐up NPS Property Discussion: Clara Barton
00148619   00148620   7/20/2021 10:49 Email    Area ‐ Meeting Notes                                .\VOL010\IMAGES\IMAGES008\00148619.pdf
                                               FW: Follow‐up NPS Property Discussion: Clara Barton
00148621   00148622   7/20/2021 10:56 Email    Area ‐ Meeting Notes                                .\VOL010\IMAGES\IMAGES008\00148621.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 159 of 263

                                               2021‐07‐08 MLS NPS Transportation Permitted Area
00148623   00148626   7/20/2021 10:56 Attach   Meeting Notes_FINAL 07‐20‐2021.pdf                       .\VOL010\IMAGES\IMAGES008\00148623.pdf
                                               Managed Lanes Study: City of Gaithersburg
00148627   00148627   7/20/2021 12:23 Email    Coordination Meeting ‐ Agenda                            .\VOL010\IMAGES\IMAGES008\00148627.pdf
                                               2021‐07‐22_MLS‐Gaithersburg‐
00148628   00148628   7/20/2021 12:23 Attach   Coordination_Agenda.pdf                                  .\VOL010\IMAGES\IMAGES008\00148628.pdf

00148629   00148630    7/21/2021 9:30 Edoc     Posas ‐ FOIA 2021‐0156 Request for Clarification.pdf     .\VOL010\IMAGES\IMAGES008\00148629.pdf
                                               FW: Addendum and Update on July TPB Meeting
00148631   00148632   7/21/2021 14:24 Email    Agenda item # 9 (Agencies)                               .\VOL010\IMAGES\IMAGES008\00148631.pdf
                                               Additional Doucments Related to TPB July 2021
00148633   00148643   7/21/2021 14:24 Attach   Agrenda Item 9 Resolution.pdf                            .\VOL010\IMAGES\IMAGES008\00148633.pdf

00148644   00148644   7/21/2021 15:00 Email    Plummers Island DOE Discussion: NPS/Project Team         .\VOL010\IMAGES\IMAGES008\00148644.pdf
                                               2021 07 21 NPS comments ‐ Plummers Island
00148645   00148645   7/21/2021 15:00 Attach   DoE_MDOT_SHA_responses.xlsx                              .\VOL010\IMAGES\IMAGES008\00148645.pdf    .\VOL010\NATIVES\NATIVES008\00148645.xlsx
                                               FW: [EXTERNAL] RE: Plummers Island DOE Discussion:
00148646   00148649   7/21/2021 15:07 Email    NPS/Project Team                                         .\VOL010\IMAGES\IMAGES008\00148646.pdf
                                               RE: [EXTERNAL] RE: Plummers Island DOE Discussion:
00148650   00148652   7/21/2021 15:10 Email    NPS/Project Team                                         .\VOL010\IMAGES\IMAGES008\00148650.pdf
                                               I‐495 I‐270 MLS RPA Concurrence Form_June 2021
00148653   00148653    7/22/2021 8:40 Edoc     FHWA.pdf                                                 .\VOL010\IMAGES\IMAGES008\00148653.pdf

00148654   00148654    7/22/2021 9:14 Email    FHWA RPA Concurrence ‐ RE: RPA concurrence form          .\VOL010\IMAGES\IMAGES008\00148654.pdf
                                               FW: Environmental Justice Working Group (MLS
00148655   00148656   7/22/2021 15:39 Email    Project)                                                 .\VOL010\IMAGES\IMAGES008\00148655.pdf
                                               NEPA Draft_EJ Outreach and Engagement_495 270
00148657   00148659   7/22/2021 15:39 Attach   MLS.docx                                                 .\VOL010\IMAGES\IMAGES008\00148657.pdf
                                               Post NEPA Draft_EJ Outreach and Engagement_495
00148660   00148661   7/22/2021 15:39 Attach   270 MLS.docx                                             .\VOL010\IMAGES\IMAGES008\00148660.pdf

                                               FW: DRAFT AND CONFIDENTIAL: I‐495 & I‐270 MLS
00148662   00148663   7/22/2021 15:54 Email    Draft Supplemental Environmental Impact Statement .\VOL010\IMAGES\IMAGES008\00148662.pdf
                                               AppF_SDEIS_NatResource_ImpactTables_07.22.2021.p
00148664   00148677   7/22/2021 16:26 Edoc     df                                                     .\VOL010\IMAGES\IMAGES008\00148664.pdf
00148678   00148712   7/22/2021 16:28 Edoc     Part 3_App B_Comp SWM CR.pdf                           .\VOL010\IMAGES\IMAGES008\00148678.pdf
00148713   00148715   7/22/2021 16:29 Edoc     Part 8_App G_Comp SWM ROW.pdf                          .\VOL010\IMAGES\IMAGES008\00148713.pdf
00148716   00148737   7/22/2021 16:29 Edoc     Part 9_App H_Comp SWM 4(f).pdf                         .\VOL010\IMAGES\IMAGES008\00148716.pdf
                                               MLS SDEIS Signature
00148738   00148738   7/23/2021 11:01 Attach   Page_Draft_FHWA_07.14.2021.docx                        .\VOL010\IMAGES\IMAGES008\00148738.pdf
                                               Follow‐up NPS Property Discussion: Clara Barton Area ‐
00148739   00148743   7/23/2021 13:19 Email    Mapping                                                .\VOL010\IMAGES\IMAGES008\00148739.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study ‐ RTE Plan
00148744   00148745   7/23/2021 15:33 Email    Survey Report                                          .\VOL010\IMAGES\IMAGES008\00148744.pdf
                                               REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00148746   00148746   7/23/2021 16:44 Email    DEIS Admin Draft and Appendix                          .\VOL010\IMAGES\IMAGES008\00148746.pdf
                                               REVIEW REQUESTED: draft SDEIS for the I‐495/I‐270
00148747   00148747   7/23/2021 17:15 Email    MLS project                                            .\VOL010\IMAGES\IMAGES008\00148747.pdf
                                               REVIEW REQUESTED_ I‐495_I‐270 MLS Supplement
00148748   00148748   7/23/2021 17:22 Email    DE....pdf                                              .\VOL010\IMAGES\IMAGES008\00148748.pdf
00148749   00148764   7/23/2021 17:22 Attach   SDEIS_03_Traffic_07.12.2021.pdf                        .\VOL010\IMAGES\IMAGES008\00148749.pdf

00148765   00148948   7/23/2021 17:22 Attach   AppA_SDEIS_Alternative 9 Phase 1 South Traffic.pdf       .\VOL010\IMAGES\IMAGES008\00148765.pdf

00148949   00149215   7/23/2021 17:22 Attach   AppB_SDEIS_Plan for Monitoring and Evaluating .pdf       .\VOL010\IMAGES\IMAGES008\00148949.pdf
                                               REVIEW REQUESTED_ I‐495_I‐270 MLS Supplement
00149216   00149216   7/23/2021 17:44 Email    DE....pdf                                                .\VOL010\IMAGES\IMAGES008\00149216.pdf
                                               REVIEW REQUESTED_ draft SDEIS for the I‐495_I‐
00149217   00149217   7/23/2021 18:28 Email    2....pdf                                                 .\VOL010\IMAGES\IMAGES008\00149217.pdf
00149218   00149218   7/23/2021 18:33 Attach   SDEIS_06_OFD_07.12.2021.pdf                              .\VOL010\IMAGES\IMAGES008\00149218.pdf
                                               REVIEW REQUESTED: draft SDEIS for I‐495/I‐270 MLS
00149219   00149219   7/23/2021 18:51 Email    project                                                  .\VOL010\IMAGES\IMAGES008\00149219.pdf
                                               AppI_SDEIS_Haz Mat Phase 1 South ESA
00149220   00151729   7/23/2021 18:51 Attach   Report_07.12.2021.pdf                                    .\VOL011\IMAGES\IMAGES001\00149220.pdf
                                               FW: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00151730   00151731    7/26/2021 7:17 Email    270 MLS project                                          .\VOL011\IMAGES\IMAGES001\00151730.pdf
                                               FW_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151732   00151733    7/26/2021 8:17 Email    495...(1).pdf                                            .\VOL011\IMAGES\IMAGES001\00151732.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00151734   00151735    7/26/2021 8:21 Email    270 MLS project                                          .\VOL011\IMAGES\IMAGES001\00151734.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151736   00151737    7/26/2021 9:17 Email    495...(9).pdf                                            .\VOL011\IMAGES\IMAGES001\00151736.pdf
                                               FW: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00151738   00151739   7/26/2021 10:57 Email    270 MLS project                                          .\VOL011\IMAGES\IMAGES001\00151738.pdf

00151740   00151742   7/26/2021 11:20 Email    MLS NCPC Park Impact Discussion ‐ Meeting Notes          .\VOL011\IMAGES\IMAGES001\00151740.pdf

00151743   00151746   7/26/2021 11:20 Attach   2021‐7‐12 MLS NCPC Park Impact Meeting Notes.pdf         .\VOL011\IMAGES\IMAGES001\00151743.pdf

00151747   00151749   7/26/2021 11:20 Email    MLS NCPC Park Impact Discussion ‐ Meeting Notes          .\VOL011\IMAGES\IMAGES001\00151747.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151750   00151751   7/26/2021 11:57 Email    495...(8).pdf                                            .\VOL011\IMAGES\IMAGES001\00151750.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00151752   00151753   7/26/2021 16:10 Email    270 MLS project                                          .\VOL011\IMAGES\IMAGES001\00151752.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00151754   00151755   7/26/2021 16:12 Email    270 MLS project                                          .\VOL011\IMAGES\IMAGES001\00151754.pdf
00151756   00151757    7/27/2021 8:46 Email    FW: Bi‐State Public Workshop                             .\VOL011\IMAGES\IMAGES001\00151756.pdf
                                               RE: Phase 1 South Preliminary Traffic Results
00151758   00151759    7/27/2021 9:57 Email    Discussion                                               .\VOL011\IMAGES\IMAGES001\00151758.pdf

00151760   00151761   7/27/2021 10:57 Email    RE_ Phase 1 South Preliminary Traffic Results D....pdf   .\VOL011\IMAGES\IMAGES001\00151760.pdf

00151762   00151763   7/27/2021 10:57 Attach   2021‐07‐01_FHWA Alt 9‐Phase 1 South Traffic Me.pdf .\VOL011\IMAGES\IMAGES001\00151762.pdf

00151764   00151765   7/27/2021 10:59 Email    RE_ Phase 1 South Preliminary Traffic Results D....pdf   .\VOL011\IMAGES\IMAGES001\00151764.pdf
                                               FW_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151766   00151766   7/27/2021 12:19 Email    495....pdf                                               .\VOL011\IMAGES\IMAGES001\00151766.pdf
00151767   00151795   7/27/2021 12:19 Attach   SDEIS_02_Alternatives_07.19.2021.pdf                     .\VOL011\IMAGES\IMAGES001\00151767.pdf

00151796   00151797   7/27/2021 14:30 Email    Moses Hall Cemetery‐ GPR Results and Path Forward        .\VOL011\IMAGES\IMAGES001\00151796.pdf
                                               Re: [EXTERNAL] Capper Crampton Act Applicability to
                                               Clara Barton Parkway Lands within the C&O National
00151798   00151801   7/27/2021 17:28 Email    Historic District                                        .\VOL011\IMAGES\IMAGES001\00151798.pdf
00151802   00151802   7/27/2021 17:28 Attach   GWMP tracts ‐ capper cramton research.xlsx               .\VOL011\IMAGES\IMAGES001\00151802.pdf    .\VOL011\NATIVES\NATIVES001\00151802.xlsx
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                           Page 160 of 263

                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00151803   00151804   7/27/2021 17:35 Email    Supplemen...(6).pdf                                  .\VOL011\IMAGES\IMAGES001\00151803.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151805   00151806    7/28/2021 9:18 Email    495...(7).pdf                                        .\VOL011\IMAGES\IMAGES001\00151805.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151807   00151808   7/28/2021 11:04 Email    495...(1).pdf                                        .\VOL011\IMAGES\IMAGES001\00151807.pdf

00151809   00151811   7/28/2021 13:52 Email    FW: MLS MSAT Affected Network: Proposed Updates      .\VOL011\IMAGES\IMAGES001\00151809.pdf

00151812   00151814   7/28/2021 14:07 Email    FW: MLS MSAT Affected Network: Proposed Updates      .\VOL011\IMAGES\IMAGES001\00151812.pdf
                                               FW_ MLS MSAT Affected Network_ Proposed
00151815   00151817   7/28/2021 15:07 Email    Updates(3).pdf                                       .\VOL011\IMAGES\IMAGES001\00151815.pdf
                                               NEPA Draft_EJ Outreach and Engagement_495 270
00151818   00151820   7/28/2021 18:10 Edoc     MLS_mc.docx                                          .\VOL011\IMAGES\IMAGES001\00151818.pdf
                                               Post NEPA Draft_EJ Outreach and Engagement_495
00151821   00151822   7/28/2021 18:14 Edoc     270 MLS_mc.docx                                      .\VOL011\IMAGES\IMAGES001\00151821.pdf
00151823   00151824   7/29/2021 11:54 Email    RE: update                                           .\VOL011\IMAGES\IMAGES001\00151823.pdf
00151825   00151827   7/29/2021 11:58 Email    RE: Updated Schedule                                 .\VOL011\IMAGES\IMAGES001\00151825.pdf
00151828   00151829   7/29/2021 13:20 Email    Re: ALB Shared Use Path                              .\VOL011\IMAGES\IMAGES001\00151828.pdf
00151830   00151831   7/29/2021 16:03 Email    Agency Coordination Plan                             .\VOL011\IMAGES\IMAGES001\00151830.pdf
00151832   00151832   7/29/2021 16:18 Email    RE: Signature Page                                   .\VOL011\IMAGES\IMAGES001\00151832.pdf
                                               MLS SDEIS Signature
00151833   00151833   7/29/2021 16:18 Attach   Page_Draft_FHWA_comments.docx                        .\VOL011\IMAGES\IMAGES001\00151833.pdf
00151834   00151835   7/29/2021 16:26 Email    RE: ALB Shared Use Path                              .\VOL011\IMAGES\IMAGES001\00151834.pdf
                                               FW: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00151836   00151839   7/29/2021 16:38 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00151836.pdf
00151840   00151840   7/30/2021 12:42 Attach   830721 Maring, Gary (White's Ferry and P3).pdf       .\VOL011\IMAGES\IMAGES001\00151840.pdf
                                               FW: Marylanders support improvements to American
00151841   00151841   7/30/2021 13:48 Email    Legion Bridge & I270                                 .\VOL011\IMAGES\IMAGES001\00151841.pdf
00151842   00151843   7/30/2021 15:51 Email    RE: Environmental Justice Working Group              .\VOL011\IMAGES\IMAGES001\00151842.pdf
                                               NEPA Draft_EJ Outreach and Engagement_495 270
00151844   00151846   7/30/2021 15:51 Attach   MLS_fhwa_comments.docx                               .\VOL011\IMAGES\IMAGES001\00151844.pdf
                                               Post NEPA Draft_EJ Outreach and Engagement_495
00151847   00151848   7/30/2021 15:51 Attach   270 MLS_fhwa_comments.docx                           .\VOL011\IMAGES\IMAGES001\00151847.pdf
                                               RE: Environmental Justice Working Group (MLS
00151849   00151851     8/2/2021 7:36 Email    Project)                                             .\VOL011\IMAGES\IMAGES001\00151849.pdf
                                               NEPA Draft_EJ Outreach and Engagement_495 270
00151852   00151854     8/2/2021 7:36 Attach   MLS_mc_cn.docx                                       .\VOL011\IMAGES\IMAGES001\00151852.pdf
                                               Post NEPA Draft_EJ Outreach and Engagement_495
00151855   00151856     8/2/2021 7:36 Attach   270 MLS_mc_cn.docx                                   .\VOL011\IMAGES\IMAGES001\00151855.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151857   00151858    8/2/2021 10:32 Email    495...(2).pdf                                        .\VOL011\IMAGES\IMAGES001\00151857.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151859   00151860    8/2/2021 10:32 Email    495...(6).pdf                                        .\VOL011\IMAGES\IMAGES001\00151859.pdf
                                               Admin SDEIS_Comment Errata
00151861   00151862    8/2/2021 10:32 Attach   Table_07.14.2021_H.docx                              .\VOL011\IMAGES\IMAGES001\00151861.pdf

00151863   00151865    8/2/2021 10:32 Attach   FW: MLS MSAT Affected Network: Proposed Updates .\VOL011\IMAGES\IMAGES001\00151863.pdf
                                               Re: FHWA Coordination Meeting ‐‐ July 21, 2021/Aug.
00151866   00151868    8/2/2021 11:44 Email    3                                                   .\VOL011\IMAGES\IMAGES001\00151866.pdf
                                               Post NEPA Draft_EJ Outreach and Engagement_495
00151869   00151869    8/2/2021 13:15 Email    270 MLS_mc_cn.docx                                  .\VOL011\IMAGES\IMAGES001\00151869.pdf
                                               Post NEPA Draft_EJ Outreach and Engagement_495
00151870   00151871    8/2/2021 13:15 Attach   270 MLS_mc_cn.docx                                  .\VOL011\IMAGES\IMAGES001\00151870.pdf
                                               RE: FHWA Coordination Meeting ‐‐ July 21, 2021/Aug.
00151872   00151875    8/2/2021 14:56 Email    3                                                   .\VOL011\IMAGES\IMAGES001\00151872.pdf
                                               2021‐05‐06 MLS MNCPPC Visual Screening
00151876   00151885    8/2/2021 15:52 Attach   Options_Final Draft.pdf                             .\VOL011\IMAGES\IMAGES001\00151876.pdf
                                               RE: FHWA Coordination Meeting ‐‐ July 21, 2021/Aug.
00151886   00151890    8/2/2021 15:58 Email    3                                                   .\VOL011\IMAGES\IMAGES001\00151886.pdf
                                               FW: FHWA Coordination Meeting ‐‐ July 21, 2021/Aug.
00151891   00151895    8/2/2021 16:00 Email    3                                                   .\VOL011\IMAGES\IMAGES001\00151891.pdf
                                               RE: FHWA Coordination Meeting ‐‐ July 21, 2021/Aug.
00151896   00151900    8/2/2021 16:14 Email    3                                                   .\VOL011\IMAGES\IMAGES001\00151896.pdf
                                               RE: Environmental Justice Working Group (MLS
00151901   00151903    8/2/2021 16:23 Email    Project)                                            .\VOL011\IMAGES\IMAGES001\00151901.pdf
00151904   00151906    8/2/2021 17:21 Email    RE: Environmental Justice Working Group             .\VOL011\IMAGES\IMAGES001\00151904.pdf
                                               Post NEPA Draft_EJ Outreach and Engagement_495
00151907   00151908    8/2/2021 17:21 Attach   270 MLS_mc_cn.docx                                  .\VOL011\IMAGES\IMAGES001\00151907.pdf

00151909   00151909    8/3/2021 14:00 Attach   2021‐08‐03_FHWA Coordination Mtg Agenda.docx         .\VOL011\IMAGES\IMAGES001\00151909.pdf
                                               2021‐07‐21_FHWA Coordination Meeting Notes_MLS
00151910   00151910    8/3/2021 14:00 Attach   and P3 Program.docx                                  .\VOL011\IMAGES\IMAGES001\00151910.pdf

                                               FW: DRAFT AND CONFIDENTIAL: I‐495 & I‐270 MLS
00151911   00151914    8/4/2021 14:44 Email    Draft Supplemental Environmental Impact Statement    .\VOL011\IMAGES\IMAGES001\00151911.pdf
                                               7/27 MLS FHWA Coordination Meeting ‐ Moses Hall
00151915   00151917    8/4/2021 16:21 Email    Cemetery ‐ Meeting Notes                             .\VOL011\IMAGES\IMAGES001\00151915.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
00151918   00151931    8/4/2021 16:47 Attach   Coordination Plan_REVISED 07‐30‐21.docx              .\VOL011\IMAGES\IMAGES001\00151918.pdf
                                               HPSCAN_2021080420554197_2021‐08‐
00151932   00151932    8/4/2021 17:11 Attach   04_205636645.pdf                                     .\VOL011\IMAGES\IMAGES001\00151932.pdf
00151933   00151935    8/4/2021 17:12 Email    RE: Agency Coordination Plan                         .\VOL011\IMAGES\IMAGES001\00151933.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00151936   00151937    8/4/2021 17:18 Email    Supplemen...(4).pdf                                  .\VOL011\IMAGES\IMAGES001\00151936.pdf
                                               7_27 MLS FHWA Coordination Meeting ‐ Moses
00151938   00151939    8/4/2021 17:22 Email    Hall....pdf                                          .\VOL011\IMAGES\IMAGES001\00151938.pdf

00151940   00151942    8/4/2021 17:22 Attach   2021‐07‐27_FHWA Section 106 Process ‐ Moses Ha.pdf .\VOL011\IMAGES\IMAGES001\00151940.pdf
00151943   00151945    8/4/2021 17:22 Email    RE: Agency Coordination Plan                       .\VOL011\IMAGES\IMAGES001\00151943.pdf
                                               Re: MDOT SHA legal survey continuing tomorrow at
00151946   00151947     8/5/2021 7:40 Email    Morningstar Moses Cemetery                         .\VOL011\IMAGES\IMAGES001\00151946.pdf
                                               One Week Left to Comment on PHASE 1 SOUTH:
                                               AMERICAN LEGION BRIDGE I‐270 TO I‐370 Toll Rate
00151948   00151950     8/5/2021 9:06 Email    Ranges                                             .\VOL011\IMAGES\IMAGES001\00151948.pdf
                                               DRAFT AND CONFIDENTIAL: I‐495 & I‐270 MLS Draft
                                               Supplemental Environmental Impact Statement
00151951   00151954    8/5/2021 15:05 Email    [Reminder]                                         .\VOL011\IMAGES\IMAGES001\00151951.pdf

00151955   00151956    8/5/2021 15:11 Edoc     2021.08.05_Katherine Shaver_PIA 10‐Day Letter.pdf    .\VOL011\IMAGES\IMAGES001\00151955.pdf
                                               2021.08.05_Katherine Shaver_PIA 10‐Day Letter
00151957   00151957    8/5/2021 15:13 Edoc     (2).pdf                                              .\VOL011\IMAGES\IMAGES001\00151957.pdf
                                               I‐495 & I‐270 Managed Lanes Study Agency
00151958   00151971    8/5/2021 16:33 Attach   Coordination Plan_REVISED 07‐30‐21.pdf               .\VOL011\IMAGES\IMAGES001\00151958.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                           Page 161 of 263

                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00151972   00151973    8/5/2021 23:54 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00151972.pdf
00151974   00151974     8/7/2021 0:51 Email    FW: Traffic Relief Plan is a NO‐BRAINER              .\VOL011\IMAGES\IMAGES001\00151974.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for I‐495/I‐270
00151975   00151976    8/9/2021 16:03 Email    MLS project                                          .\VOL011\IMAGES\IMAGES001\00151975.pdf
                                               Admin SDEIS_Comment Errata Table_07.14.2021
00151977   00151979    8/9/2021 17:07 Attach   JP.docx                                              .\VOL011\IMAGES\IMAGES001\00151977.pdf
                                               Admin SDEIS_Comment Errata
00151980   00151982    8/9/2021 17:07 Attach   Table_07.14.2021_JM.docx                             .\VOL011\IMAGES\IMAGES001\00151980.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00151983   00151983    8/10/2021 7:37 Email    DEIS Admin Draft and Appendix                        .\VOL011\IMAGES\IMAGES001\00151983.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00151984   00151984    8/10/2021 8:37 Email    Supplemen...(4).pdf                                  .\VOL011\IMAGES\IMAGES001\00151984.pdf
                                               Admin SDEIS_Comment Errata Table_07.14.2021‐
00151985   00151989    8/10/2021 8:37 Attach   S.docx                                               .\VOL011\IMAGES\IMAGES001\00151985.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00151990   00151991   8/10/2021 10:58 Email    495...(5).pdf                                        .\VOL011\IMAGES\IMAGES001\00151990.pdf
00151992   00151993   8/10/2021 14:02 Email    FW: Information on Impacted Homes                    .\VOL011\IMAGES\IMAGES001\00151992.pdf
00151994   00151994   8/10/2021 14:18 Email    FW: Comments                                         .\VOL011\IMAGES\IMAGES001\00151994.pdf
                                               ALB270 Toll Rate Setting_Comment Summary
00151995   00152020   8/10/2021 14:18 Attach   08.12.2021.docx                                      .\VOL011\IMAGES\IMAGES001\00151995.pdf
00152021   00152021   8/10/2021 14:18 Attach   Microsoft_Excel_Worksheet.xlsx                       .\VOL011\IMAGES\IMAGES001\00152021.pdf    .\VOL011\NATIVES\NATIVES001\00152021.xlsx
00152022   00152022   8/10/2021 14:18 Attach   Microsoft_Excel_Worksheet1.xlsx                      .\VOL011\IMAGES\IMAGES001\00152022.pdf    .\VOL011\NATIVES\NATIVES001\00152022.xlsx
00152023   00152023   8/10/2021 14:18 Attach   Microsoft_Excel_Worksheet2.xlsx                      .\VOL011\IMAGES\IMAGES001\00152023.pdf    .\VOL011\NATIVES\NATIVES001\00152023.xlsx
00152024   00152024   8/10/2021 14:18 Attach   Microsoft_Excel_Worksheet3.xlsx                      .\VOL011\IMAGES\IMAGES001\00152024.pdf    .\VOL011\NATIVES\NATIVES001\00152024.xlsx
00152025   00152025   8/10/2021 14:18 Attach   Microsoft_Excel_Worksheet4.xlsx                      .\VOL011\IMAGES\IMAGES001\00152025.pdf    .\VOL011\NATIVES\NATIVES001\00152025.xlsx
00152026   00152026   8/10/2021 14:18 Attach   Microsoft_Excel_Worksheet5.xlsx                      .\VOL011\IMAGES\IMAGES001\00152026.pdf    .\VOL011\NATIVES\NATIVES001\00152026.xlsx
00152027   00152027   8/10/2021 14:18 Attach   Microsoft_Excel_Worksheet6.xlsx                      .\VOL011\IMAGES\IMAGES001\00152027.pdf    .\VOL011\NATIVES\NATIVES001\00152027.xlsx
00152028   00152028   8/10/2021 14:18 Attach   Microsoft_Excel_Worksheet7.xlsx                      .\VOL011\IMAGES\IMAGES001\00152028.pdf    .\VOL011\NATIVES\NATIVES001\00152028.xlsx
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152029   00152030   8/10/2021 14:28 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152029.pdf
                                               BPWTestimony ‐ Marshall Klienfelter ‐ Maryland
00152031   00152031   8/10/2021 14:51 Attach   Asphalt Association MDOT 11‐GM 8‐11‐21.pdf           .\VOL011\IMAGES\IMAGES001\00152031.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152032   00152033   8/10/2021 15:14 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152032.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152034   00152035   8/10/2021 15:38 Email    495...(3).pdf                                        .\VOL011\IMAGES\IMAGES001\00152034.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152036   00152037   8/10/2021 16:24 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152036.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152038   00152039   8/10/2021 16:33 Email    495...(2).pdf                                        .\VOL011\IMAGES\IMAGES001\00152038.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152040   00152043   8/10/2021 16:45 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152040.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152044   00152045   8/10/2021 16:45 Email    495...(1).pdf                                        .\VOL011\IMAGES\IMAGES001\00152044.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152046   00152047   8/10/2021 17:15 Email    495...(4).pdf                                        .\VOL011\IMAGES\IMAGES001\00152046.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for I‐495/I‐270
00152048   00152049   8/10/2021 17:50 Email    MLS project                                          .\VOL011\IMAGES\IMAGES001\00152048.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152050   00152051   8/11/2021 10:35 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152050.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152052   00152054   8/11/2021 10:54 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152052.pdf
00152055   00152057   8/11/2021 11:37 Email    RE: Call from Jitesh                                 .\VOL011\IMAGES\IMAGES001\00152055.pdf
00152058   00152059   8/11/2021 16:07 Email    RE: FHWA Coordination Meeting Agenda Items           .\VOL011\IMAGES\IMAGES001\00152058.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152060   00152061   8/11/2021 16:59 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152060.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152062   00152063   8/11/2021 17:02 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152062.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152064   00152065   8/11/2021 17:29 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152064.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152066   00152067   8/11/2021 17:49 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152066.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152068   00152069   8/11/2021 18:36 Email    495...(3).pdf                                        .\VOL011\IMAGES\IMAGES001\00152068.pdf
                                               Admin SDEIS_Comment Errata
00152070   00152072   8/11/2021 18:36 Attach   Table_07.14.2021_H.docx                              .\VOL011\IMAGES\IMAGES001\00152070.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152073   00152074   8/11/2021 18:49 Email    495...(2).pdf                                        .\VOL011\IMAGES\IMAGES001\00152073.pdf
00152075   00152075   8/11/2021 21:27 Email    md i 270 comments.pdf                                .\VOL011\IMAGES\IMAGES001\00152075.pdf

00152076   00152077   8/11/2021 21:27 Attach   Admin SDEIS_Comment Errata Table_07.14.2021.docx     .\VOL011\IMAGES\IMAGES001\00152076.pdf
                                               Admin SDEIS_Comment Errata
00152078   00152080   8/11/2021 22:49 Edoc     Table_07.14.2021_MC.docx                             .\VOL011\IMAGES\IMAGES001\00152078.pdf
00152081   00152081    8/12/2021 7:03 Email    RE: 495/270 SDEIS                                    .\VOL011\IMAGES\IMAGES001\00152081.pdf
                                               FW: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152082   00152083    8/12/2021 7:26 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152082.pdf
00152084   00152084    8/12/2021 7:55 Email    RE: 495/270 SDEIS                                    .\VOL011\IMAGES\IMAGES001\00152084.pdf
00152085   00152085    8/12/2021 8:10 Email    RE: 495/270 SDEIS                                    .\VOL011\IMAGES\IMAGES001\00152085.pdf

00152086   00152087    8/12/2021 8:10 Attach   Admin SDEIS_Comment Errata Table_07.14.2021.docx     .\VOL011\IMAGES\IMAGES001\00152086.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152088   00152092   8/12/2021 10:39 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152088.pdf
00152093   00152093   8/12/2021 11:00 Email    I‐495/I‐270 Meeting Follow Up                        .\VOL011\IMAGES\IMAGES001\00152093.pdf
                                               I495 and I270 Internal Review Discussion_08‐12‐
00152094   00152094   8/12/2021 11:00 Attach   2021.docx                                            .\VOL011\IMAGES\IMAGES001\00152094.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152095   00152099   8/12/2021 11:23 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152095.pdf
00152100   00152100   8/12/2021 11:31 Email    MDOT vs. VDOT volumes                                .\VOL011\IMAGES\IMAGES001\00152100.pdf
00152101   00152101   8/12/2021 11:53 Email    RE: 495/270 SDEIS                                    .\VOL011\IMAGES\IMAGES001\00152101.pdf

00152102   00152104   8/12/2021 11:53 Attach   Admin SDEIS_Comment Errata Table_07.14.2021.docx .\VOL011\IMAGES\IMAGES001\00152102.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152105   00152108   8/12/2021 11:53 Email    495....pdf                                       .\VOL011\IMAGES\IMAGES001\00152105.pdf

00152109   00152110   8/12/2021 11:53 Attach   FHWA_495_Tolling_MOU_FINAL_signed 06292021.pdf .\VOL011\IMAGES\IMAGES001\00152109.pdf
                                               I495 and I270 Internal Review Discussion_08‐12‐
00152111   00152111   8/12/2021 12:17 Edoc     2021.docx                                       .\VOL011\IMAGES\IMAGES001\00152111.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152112   00152114   8/12/2021 12:46 Email    495...(1).pdf                                   .\VOL011\IMAGES\IMAGES001\00152112.pdf
00152115   00152115   8/12/2021 12:58 Email    RE: 495/270 SDEIS                               .\VOL011\IMAGES\IMAGES001\00152115.pdf
                                               MLS ‐ MDOT vs VDOT volumes on American Legion
00152116   00152116   8/12/2021 13:30 Email    Bridge                                          .\VOL011\IMAGES\IMAGES001\00152116.pdf
00152117   00152118   8/12/2021 14:05 Email    Kai Hagen withdraws support for Franchot.       .\VOL011\IMAGES\IMAGES001\00152117.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                           Page 162 of 263

                                               FW: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152119   00152123   8/12/2021 14:11 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152119.pdf
                                               MLS ‐ MDOT vs VDOT volumes on American Legion
00152124   00152124   8/12/2021 14:30 Email    B....pdf                                             .\VOL011\IMAGES\IMAGES001\00152124.pdf
00152125   00152125   8/12/2021 14:30 Attach   BW Scanner_20210812_105913.pdf                       .\VOL011\IMAGES\IMAGES001\00152125.pdf

00152126   00152160   8/12/2021 14:30 Attach   FINAL_IAPA Framework Document 2020‐12‐18.pdf         .\VOL011\IMAGES\IMAGES001\00152126.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00152161   00152162   8/12/2021 14:34 Email    DEIS Admin Draft and Appendix                        .\VOL011\IMAGES\IMAGES001\00152161.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00152163   00152163   8/12/2021 15:34 Email    Supplemen...(3).pdf                                  .\VOL011\IMAGES\IMAGES001\00152163.pdf
                                               Admin SDEIS_Comment Errata Table_07.14.2021‐
00152164   00152168   8/12/2021 15:34 Attach   S.docx                                               .\VOL011\IMAGES\IMAGES001\00152164.pdf
                                               FW_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00152169   00152169   8/12/2021 15:49 Email    Supplemen....pdf                                     .\VOL011\IMAGES\IMAGES001\00152169.pdf
00152170   00152170   8/12/2021 21:23 Email    RE: 495/270 SDEIS                                    .\VOL011\IMAGES\IMAGES001\00152170.pdf
                                               Admin SDEIS_Comment Errata
00152171   00152172   8/12/2021 21:23 Attach   Table_07.14.2021_SCJ.docx                            .\VOL011\IMAGES\IMAGES001\00152171.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152173   00152178   8/13/2021 11:47 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152173.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00152179   00152181   8/13/2021 13:35 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00152179.pdf
00152182   00152183   8/13/2021 13:38 Email    RE: 495/270 SDEIS                                    .\VOL011\IMAGES\IMAGES001\00152182.pdf
                                               RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00152184   00152186   8/13/2021 13:44 Email    495....pdf                                           .\VOL011\IMAGES\IMAGES001\00152184.pdf
                                               AppE_SDEIS_Noise Technical Report
00152187   00152348   8/13/2021 13:44 Attach   Addendum_07..pdf                                     .\VOL011\IMAGES\IMAGES001\00152187.pdf
                                               Admin SDEIS_Comment Errata
00152349   00152355   8/13/2021 15:47 Edoc     Table_07.14.2021_HEP.docx                            .\VOL011\IMAGES\IMAGES001\00152349.pdf
                                               MLS: NPS ALB Construction Access Comments ‐ MDOT
00152356   00152357   8/13/2021 16:23 Email    SHA Responses                                        .\VOL011\IMAGES\IMAGES001\00152356.pdf
00152358   00152358   8/13/2021 16:23 Attach   Comment 03_Plan View with Contours.pdf               .\VOL011\IMAGES\IMAGES001\00152358.pdf
00152359   00152379   8/13/2021 16:23 Attach   Comment 05_Cross Sections.pdf                        .\VOL011\IMAGES\IMAGES001\00152359.pdf
00152380   00152380   8/13/2021 16:23 Attach   Comment 08_Typical Section.pdf                       .\VOL011\IMAGES\IMAGES001\00152380.pdf
                                               Comment 13_Construction Activities Beneath the
00152381   00152382   8/13/2021 16:23 Attach   ALB.pdf                                              .\VOL011\IMAGES\IMAGES001\00152381.pdf

                                               ALB_ConstructionAccess_NPS Comments 07012021‐
00152383   00152389   8/13/2021 16:23 Attach   MDOT SHA Structures Responses 2021‐08‐13.pdf         .\VOL011\IMAGES\IMAGES001\00152383.pdf
                                               Fw: [EXTERNAL] DRAFT AND CONFIDENTIAL: I‐495 & I‐
                                               270 MLS Draft Supplemental Environmental Impact
00152390   00152392    8/16/2021 8:17 Email    Statement                                            .\VOL011\IMAGES\IMAGES001\00152390.pdf
                                               FW_ I‐495_270 MLS Cabin John GPR report ‐
00152393   00152393    8/16/2021 8:59 Email    DRAFT....pdf                                         .\VOL011\IMAGES\IMAGES001\00152393.pdf
                                               HAP2021‐
00152394   00152452    8/16/2021 8:59 Attach   21_MorningstarCemetery+GibsonGroveChur.pdf           .\VOL011\IMAGES\IMAGES001\00152394.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00152453   00152453   8/16/2021 12:58 Email    Supplemen....pdf                                     .\VOL011\IMAGES\IMAGES001\00152453.pdf
00152454   00152455   8/16/2021 14:05 Email    Report review.pdf                                    .\VOL011\IMAGES\IMAGES001\00152454.pdf
00152456   00152458   8/16/2021 15:58 Email    RE_ Report review.pdf                                .\VOL011\IMAGES\IMAGES001\00152456.pdf
00152459   00152460   8/16/2021 17:37 Email    draft SDEIS for the I‐495/I‐270 MLS project          .\VOL011\IMAGES\IMAGES001\00152459.pdf
00152461   00152462   8/16/2021 18:38 Email    draft SDEIS for the I‐495_I‐270 MLS project.pdf      .\VOL011\IMAGES\IMAGES001\00152461.pdf
                                               Admin SDEIS_Comment Errata
00152463   00152480   8/16/2021 18:38 Attach   Table_07.14.2021_F.docx                              .\VOL011\IMAGES\IMAGES001\00152463.pdf
00152481   00152482   8/17/2021 11:32 Email    SDEIS Comment Review Meeting ‐ 9/1                   .\VOL011\IMAGES\IMAGES001\00152481.pdf
00152483   00152483   8/17/2021 14:40 Email    millenium garden park map                            .\VOL011\IMAGES\IMAGES001\00152483.pdf
                                               Admin SDEIS_Comment Errata
00152484   00152501    8/18/2021 8:23 Attach   Table_07.14.2021_FHWA_combined.docx                  .\VOL011\IMAGES\IMAGES001\00152484.pdf
00152502   00152502   8/18/2021 10:46 Email    RE: Example Language                                 .\VOL011\IMAGES\IMAGES001\00152502.pdf
00152503   00152645   8/18/2021 10:46 Attach   rod_final.pdf                                        .\VOL011\IMAGES\IMAGES001\00152503.pdf

00152646   00152656   8/18/2021 11:26 Attach   Washington Biologists' Field Club_M; 12‐46‐2.docx    .\VOL011\IMAGES\IMAGES001\00152646.pdf
00152657   00152657   8/18/2021 11:47 Email    FW_ IAPA Meeting Presentation.pdf                    .\VOL011\IMAGES\IMAGES001\00152657.pdf
00152658   00152683   8/18/2021 11:47 Attach   FHWA Meeting Slides 2021‐08‐11.pdf                   .\VOL011\IMAGES\IMAGES001\00152658.pdf
00152684   00152684   8/18/2021 13:07 Email    Final Draft of FHWA Comments                         .\VOL011\IMAGES\IMAGES001\00152684.pdf

                                               Admin SDEIS_Comment Errata
00152685   00152702   8/18/2021 13:07 Attach   Table_07.14.2021_FHWA_combined Final Draft.docx      .\VOL011\IMAGES\IMAGES001\00152685.pdf
00152703   00152704   8/18/2021 13:34 Email    FW: Noise Analysis                                   .\VOL011\IMAGES\IMAGES001\00152703.pdf

00152705   00152706   8/18/2021 13:35 Edoc     2021.08.20_Katherine Shaver_PIA 30‐Day Letter.pdf    .\VOL011\IMAGES\IMAGES001\00152705.pdf
                                               2021‐08‐03_FHWA Coordination Meeting
00152707   00152708   8/18/2021 14:00 Attach   Notes_MLS.docx                                       .\VOL011\IMAGES\IMAGES001\00152707.pdf
00152709   00152709   8/18/2021 14:12 Email    FW: Final Draft of FHWA Comments                     .\VOL011\IMAGES\IMAGES001\00152709.pdf
00152710   00152712   8/18/2021 16:53 Email    RE: Final Draft of FHWA Comments                     .\VOL011\IMAGES\IMAGES001\00152710.pdf
                                               Admin SDEIS_Comment Errata
                                               Table_07.14.2021_FHWA_combined Final Draft
00152713   00152730   8/18/2021 16:53 Attach   (002).docx                                           .\VOL011\IMAGES\IMAGES001\00152713.pdf
                                               I‐495 & I‐270 MLS: Draft SDEIS Comment/Response
00152731   00152732   8/18/2021 17:00 Email    Meeting                                              .\VOL011\IMAGES\IMAGES001\00152731.pdf

00152733   00152733   8/18/2021 17:36 Email    Question on LOS requirement for NHS projects.pdf     .\VOL011\IMAGES\IMAGES001\00152733.pdf
                                               RE_ Question on LOS requirement for NHS
00152734   00152734   8/18/2021 17:44 Email    projects(2).pdf                                      .\VOL011\IMAGES\IMAGES001\00152734.pdf

00152735   00152736   8/18/2021 18:57 Email    FW: Question on LOS requirement for NHS projects     .\VOL011\IMAGES\IMAGES001\00152735.pdf

00152737   00152738   8/18/2021 19:55 Email    RE_ Question on LOS requirement for NHS projects.pdf .\VOL011\IMAGES\IMAGES001\00152737.pdf
00152739   00152741   8/18/2021 20:06 Email    FW: Final Draft of FHWA Comments                     .\VOL011\IMAGES\IMAGES001\00152739.pdf
00152742   00152744   8/18/2021 20:12 Email    FW: Final Draft of FHWA Comments                     .\VOL011\IMAGES\IMAGES001\00152742.pdf
00152745   00152747    8/19/2021 8:07 Email    FW: Final Draft of FHWA Comments                     .\VOL011\IMAGES\IMAGES001\00152745.pdf
                                               Morningstar Cemetery Timeline of Coordination and
00152748   00152749    8/19/2021 8:37 Attach   Efforts_sa.docx                                      .\VOL011\IMAGES\IMAGES001\00152748.pdf
                                               EPA Comments DRAFT AND CONFIDENTIAL: I‐495 & I‐
                                               270 MLS Draft Supplemental Environmental Impact
00152750   00152750   8/19/2021 12:23 Email    Statement                                            .\VOL011\IMAGES\IMAGES001\00152750.pdf
                                               EPA Comments DRAFT AND CONFIDENTIAL: I‐495 & I‐
                                               270 MLS Draft Supplemental Environmental Impact
00152751   00152751   8/19/2021 12:23 Email    Statement                                            .\VOL011\IMAGES\IMAGES001\00152751.pdf
00152752   00152752   8/19/2021 12:28 Email    Admin SDEIS Comments                                 .\VOL011\IMAGES\IMAGES001\00152752.pdf
                                               495‐270 MLS EPA Comments ‐ Admin SDEIS_Comment
00152753   00152755   8/19/2021 12:32 Attach   Errata Table_08‐19‐21.docx                           .\VOL011\IMAGES\IMAGES001\00152753.pdf
                                               Fw: I‐495 & I‐270 MLS: Draft SDEIS
00152756   00152757   8/19/2021 12:41 Email    Comment/Response Meeting                             .\VOL011\IMAGES\IMAGES001\00152756.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 163 of 263

                                               Fw: I‐495 & I‐270 MLS: Draft SDEIS
00152758   00152759   8/19/2021 12:41 Email    Comment/Response Meeting                                  .\VOL011\IMAGES\IMAGES001\00152758.pdf
00152760   00152760   8/19/2021 12:41 Email    Fw: Admin SDEIS Comments                                  .\VOL011\IMAGES\IMAGES001\00152760.pdf
                                               FW: I‐495 & I‐270 MLS: Draft SDEIS
00152761   00152763   8/19/2021 12:42 Email    Comment/Response Meeting                                  .\VOL011\IMAGES\IMAGES001\00152761.pdf
00152764   00152764   8/19/2021 12:45 Email    FW: Admin SDEIS Comments                                  .\VOL011\IMAGES\IMAGES001\00152764.pdf
00152765   00152766   8/19/2021 14:18 Email    M‐NCPPC Staff Comments to Draft SDEIS                     .\VOL011\IMAGES\IMAGES001\00152765.pdf
00152767   00152768   8/19/2021 14:34 Email    FW: M‐NCPPC Staff Comments to Draft SDEIS                 .\VOL011\IMAGES\IMAGES001\00152767.pdf
00152769   00152769   8/19/2021 15:20 Email    FHWA comments on Admin draft SDEIS                        .\VOL011\IMAGES\IMAGES001\00152769.pdf
00152770   00152771   8/19/2021 15:20 Attach   SDEIS Hydraulic SME Comments.docx                         .\VOL011\IMAGES\IMAGES001\00152770.pdf

00152772   00152788   8/19/2021 15:20 Attach   Admin SDEIS_Comments_July_2021_FHWA_Final.docx .\VOL011\IMAGES\IMAGES001\00152772.pdf
00152789   00152789   8/19/2021 15:45 Email    Re: FHWA comments on Admin draft SDEIS         .\VOL011\IMAGES\IMAGES001\00152789.pdf
                                               RE_ I495 and I270 Managed Lanes Study_No
00152790   00152792   8/19/2021 15:45 Attach   permit_advance approval.pdf                    .\VOL011\IMAGES\IMAGES001\00152790.pdf
00152793   00152794   8/19/2021 16:27 Email    FW: M‐NCPPC Staff Comments to Draft SDEIS      .\VOL011\IMAGES\IMAGES001\00152793.pdf
00152795   00152795   8/19/2021 16:55 Email    FHWA comments on Admin draft SDEIS             .\VOL011\IMAGES\IMAGES001\00152795.pdf
00152796   00152797   8/20/2021 10:45 Email    Re: M‐NCPPC Staff Comments to Draft SDEIS      .\VOL011\IMAGES\IMAGES001\00152796.pdf

00152798   00152799   8/23/2021 10:28 Edoc     2021.08.23_Katherine Shaver_PIA 30‐Day Letter.pdf         .\VOL011\IMAGES\IMAGES001\00152798.pdf
                                               FW: I‐495 & I‐270 MLS: Draft SDEIS
00152800   00152802   8/23/2021 13:22 Email    Comment/Response Meeting                                  .\VOL011\IMAGES\IMAGES001\00152800.pdf
                                               Admin SDEIS_Comment Errata Table_07.14.2021
00152803   00152804   8/23/2021 13:22 Attach   NCPC.pdf                                                  .\VOL011\IMAGES\IMAGES001\00152803.pdf
00152805   00152809   8/23/2021 13:22 Attach   Corps comments Admin SDEIS.20210819.pdf                   .\VOL011\IMAGES\IMAGES001\00152805.pdf
00152810   00152814   8/23/2021 13:22 Attach   SDEIS Major Issues 8.19.21 .docx                          .\VOL011\IMAGES\IMAGES001\00152810.pdf

00152815   00152816   8/23/2021 13:45 Edoc     2021.08.24_Katherine Shaver_PIA 10‐Day Letter.pdf         .\VOL011\IMAGES\IMAGES001\00152815.pdf
00152817   00152817   8/23/2021 15:54 Email    Fairfax County Meeting 8‐23‐21 Notes                      .\VOL011\IMAGES\IMAGES001\00152817.pdf
                                               RE: I‐495 & I‐270 MLS: City of Rockville Coordination
00152818   00152819   8/24/2021 12:14 Email    Meeting                                                   .\VOL011\IMAGES\IMAGES001\00152818.pdf
                                               RE: I‐495 & I‐270 MLS: City of Rockville Coordination
00152820   00152821   8/24/2021 12:14 Email    Meeting                                                   .\VOL011\IMAGES\IMAGES001\00152820.pdf
                                               FW: I‐495 & I‐270 MLS: City of Rockville Coordination
00152822   00152823   8/24/2021 14:13 Email    Meeting                                                   .\VOL011\IMAGES\IMAGES001\00152822.pdf
                                               2021‐09‐02_MLS City of Rockville Coordination
00152824   00152824   8/24/2021 14:13 Attach   Meeting Agenda.pdf                                        .\VOL011\IMAGES\IMAGES001\00152824.pdf
00152825   00152825   8/24/2021 14:29 Email    Re: FYI                                                   .\VOL011\IMAGES\IMAGES001\00152825.pdf
00152826   00152828   8/24/2021 16:18 Email    FW: M‐NCPPC Staff Comments to Draft SDEIS                 .\VOL011\IMAGES\IMAGES001\00152826.pdf

00152829   00152831   8/24/2021 17:19 Email    FW_ M‐NCPPC Staff Comments to Draft SDEIS(1).pdf .\VOL011\IMAGES\IMAGES001\00152829.pdf
00152832   00152860   8/24/2021 17:19 Attach   Errata Sheet MC Parks SDEIS 8.19.21.docx          .\VOL011\IMAGES\IMAGES001\00152832.pdf
00152861   00152880   8/24/2021 17:19 Attach   Errata Sheet MC Planning 8.19.21.docx             .\VOL011\IMAGES\IMAGES001\00152861.pdf
                                               Re: [EXTERNAL] DRAFT AND CONFIDENTIAL: I‐495 & I‐
                                               270 MLS Draft Supplemental Environmental Impact
00152881   00152883   8/24/2021 17:59 Email    Statement                                         .\VOL011\IMAGES\IMAGES001\00152881.pdf
00152884   00152889   8/24/2021 18:12 Attach   2021 08 24 NPS comments ‐ Admin SDEIS.docx        .\VOL011\IMAGES\IMAGES001\00152884.pdf
00152890   00152892    8/25/2021 7:06 Email    RE: M‐NCPPC Staff Comments to Draft SDEIS         .\VOL011\IMAGES\IMAGES001\00152890.pdf
                                               FW: [EXTERNAL] DRAFT AND CONFIDENTIAL: I‐495 & I‐
                                               270 MLS Draft Supplemental Environmental Impact
00152893   00152895    8/25/2021 7:26 Email    Statement                                         .\VOL011\IMAGES\IMAGES001\00152893.pdf

00152896   00152897    8/25/2021 7:56 Email    RE: Official document on P3 cost saving to Maryland       .\VOL011\IMAGES\IMAGES001\00152896.pdf
                                               I‐495/270 Section 106 PA Comment Review Working
                                               Session Availability ‐ schedule poll, please respond by
00152898   00152899    8/25/2021 8:03 Email    Friday 8/27 COB                                           .\VOL011\IMAGES\IMAGES001\00152898.pdf
00152900   00152902    8/25/2021 8:06 Email    RE_ M‐NCPPC Staff Comments to Draft SDEIS.pdf             .\VOL011\IMAGES\IMAGES001\00152900.pdf
00152903   00152904    8/25/2021 8:15 Email    Agenda for todays meeting                                 .\VOL011\IMAGES\IMAGES001\00152903.pdf

                                               Admin SDEIS_Comments_July_2021_FHWA_Potential
00152905   00152908    8/25/2021 8:15 Attach   Responses.docx                                            .\VOL011\IMAGES\IMAGES001\00152905.pdf
                                               Comments that MDOT SHA wants to discuss at 10:30
00152909   00152909    8/25/2021 8:36 Email    am meeting                                                .\VOL011\IMAGES\IMAGES001\00152909.pdf
00152910   00152910    8/25/2021 8:47 Email    FW_ FHWA comments on Admin draft SDEIS.pdf                .\VOL011\IMAGES\IMAGES001\00152910.pdf
00152911   00152915    8/25/2021 9:47 Email    FW: Moses Hall Avoidance LOD                              .\VOL011\IMAGES\IMAGES001\00152911.pdf
00152916   00152916    8/25/2021 9:47 Attach   1A_MosesHall_MinTaperLength.pdf                           .\VOL011\IMAGES\IMAGES001\00152916.pdf
00152917   00152917    8/25/2021 9:47 Attach   1B_MosesHall_MinTaperLength.pdf                           .\VOL011\IMAGES\IMAGES001\00152917.pdf
00152918   00152918    8/25/2021 9:47 Attach   2A_MosesHall_RampShoulderMitigation.pdf                   .\VOL011\IMAGES\IMAGES001\00152918.pdf
00152919   00152919    8/25/2021 9:47 Attach   2B_MosesHall_RampShoulderReduction.pdf                    .\VOL011\IMAGES\IMAGES001\00152919.pdf

00152920   00152920    8/25/2021 9:47 Attach   3A_MosesHall_MainlineRampShoulderReduction.pdf            .\VOL011\IMAGES\IMAGES001\00152920.pdf
00152921   00152921    8/25/2021 9:47 Attach   4A_MosesHall_MainlineShoulderReduction.pdf                .\VOL011\IMAGES\IMAGES001\00152921.pdf

00152922   00152922    8/25/2021 9:47 Attach   4B_MosesHall_XS_MainlineShoulderReduction.pdf             .\VOL011\IMAGES\IMAGES001\00152922.pdf
00152923   00152923    8/25/2021 9:47 Attach   5A_MosesHall_AMPDesign.pdf                                .\VOL011\IMAGES\IMAGES001\00152923.pdf
00152924   00152924    8/25/2021 9:47 Attach   5B_MosesHall_XS_AmpDesign.pdf                             .\VOL011\IMAGES\IMAGES001\00152924.pdf

00152925   00152926   8/25/2021 10:03 Email    FW: MLS Air Quality and Noise Discussions with FHWA       .\VOL011\IMAGES\IMAGES001\00152925.pdf
                                               2021‐05‐18_FHWA Coordination Meeting
00152927   00152929   8/25/2021 10:03 Attach   Notes_MLS.docx                                            .\VOL011\IMAGES\IMAGES001\00152927.pdf
00152930   00152932   8/25/2021 11:51 Email    MLS SDEIS Public Hearing Coordination                     .\VOL011\IMAGES\IMAGES001\00152930.pdf
00152933   00152934   8/25/2021 12:49 Email    FW: I270 express lanes                                    .\VOL011\IMAGES\IMAGES001\00152933.pdf
00152935   00152935   8/25/2021 13:58 Email    MLS SDEIS Air Quality Section                             .\VOL011\IMAGES\IMAGES001\00152935.pdf
00152936   00152939   8/25/2021 13:58 Attach   SDEIS_4.8_AQ.docx                                         .\VOL011\IMAGES\IMAGES001\00152936.pdf
00152940   00152942   8/25/2021 16:11 Email    RE: Moses Hall Avoidance LOD                              .\VOL011\IMAGES\IMAGES001\00152940.pdf
00152943   00152947   8/25/2021 16:49 Attach   DEIS Air Quality Section 4.8.docx                         .\VOL011\IMAGES\IMAGES001\00152943.pdf
00152948   00152951   8/25/2021 16:49 Attach   SDEIS AQ Section 4.8.docx                                 .\VOL011\IMAGES\IMAGES001\00152948.pdf
00152952   00152952   8/25/2021 17:05 Email    For tomorrow's AQ Meeting                                 .\VOL011\IMAGES\IMAGES001\00152952.pdf
00152953   00152953   8/25/2021 18:05 Email    For tomorrow's AQ Meeting.pdf                             .\VOL011\IMAGES\IMAGES001\00152953.pdf
                                               Fwd: I‐495 NEXT Coordination Meeting ‐ VDOT
00152954   00152955   8/25/2021 21:14 Email    Presentation                                              .\VOL011\IMAGES\IMAGES001\00152954.pdf

                                               2021‐08‐23_Fairfax County
00152956   00152994   8/25/2021 21:14 Attach   Presentation_FINAL_VDOT_Slides‐08‐23‐2021.pdf             .\VOL011\IMAGES\IMAGES001\00152956.pdf
00152995   00152996    8/26/2021 8:52 Email    RE: VDOT Design                                           .\VOL011\IMAGES\IMAGES001\00152995.pdf
                                               RE: MLS: Environmental Justice Working Group
00152997   00152998   8/26/2021 10:23 Email    Meeting #3                                                .\VOL011\IMAGES\IMAGES001\00152997.pdf
00152999   00152999   8/26/2021 10:28 Email    FW: Example Language                                      .\VOL011\IMAGES\IMAGES001\00152999.pdf
                                               EJ Implementation Workgroup_August
00153000   00153003   8/26/2021 13:00 Attach   Agenda_082621_Final.docx                                  .\VOL011\IMAGES\IMAGES001\00153000.pdf
00153004   00153004   8/26/2021 13:11 Email    Thank you.pdf                                             .\VOL011\IMAGES\IMAGES001\00153004.pdf
00153005   00153007   8/26/2021 14:43 Email    RE: I270 express lanes                                    .\VOL011\IMAGES\IMAGES001\00153005.pdf
00153008   00153010   8/26/2021 15:56 Email    RE: MLS SDEIS Public Hearing Coordination                 .\VOL011\IMAGES\IMAGES001\00153008.pdf
00153011   00153011    8/27/2021 9:02 Attach   MLS DEIS Amended FR notice.pdf                            .\VOL011\IMAGES\IMAGES001\00153011.pdf
00153012   00153012   8/27/2021 12:54 Email    Sample of revised Section 4(f) Mapping for MLS            .\VOL011\IMAGES\IMAGES001\00153012.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                           Page 164 of 263

00153013   00153013   8/27/2021 12:54 Attach   MalcolmKing_MorrisPark.pdf                            .\VOL011\IMAGES\IMAGES001\00153013.pdf
00153014   00153014   8/27/2021 12:54 Attach   Academy Woods.pdf                                     .\VOL011\IMAGES\IMAGES001\00153014.pdf
00153015   00153015   8/27/2021 12:54 Attach   GibsonGrove_MosesHall.pdf                             .\VOL011\IMAGES\IMAGES001\00153015.pdf

00153016   00153017   8/27/2021 13:13 Email    FW: Sample of revised Section 4(f) Mapping for MLS    .\VOL011\IMAGES\IMAGES001\00153016.pdf
00153018   00153019   8/27/2021 15:36 Email    Capper Cramton Parkland                               .\VOL011\IMAGES\IMAGES001\00153018.pdf
                                               Please stop adding more lanes to busy highways—it
00153020   00153021    8/28/2021 6:41 Email    doesn’t help                                          .\VOL011\IMAGES\IMAGES001\00153020.pdf
00153022   00153023    8/30/2021 7:13 Email    FW: Capper Cramton Parkland                           .\VOL011\IMAGES\IMAGES001\00153022.pdf
00153024   00153025   8/30/2021 10:21 Email    Morningstar Cemetery                                  .\VOL011\IMAGES\IMAGES001\00153024.pdf
00153026   00153027   8/30/2021 10:43 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153026.pdf
00153028   00153030   8/30/2021 10:47 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153028.pdf
00153031   00153033   8/30/2021 10:49 Email    Re: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153031.pdf

00153034   00153035   8/30/2021 14:37 Email    Cooperating Agency Comment/Response Meeting           .\VOL011\IMAGES\IMAGES001\00153034.pdf
                                               2021‐09‐01 Cooperating Agency SDEIS Comment
00153036   00153050   8/30/2021 14:37 Attach   Review Meeting.pptx                                   .\VOL011\IMAGES\IMAGES001\00153036.pdf
00153051   00153052   8/30/2021 18:12 Email    MLS SDEIS Public Hearing: Materials Review            .\VOL011\IMAGES\IMAGES001\00153051.pdf
00153053   00153054   8/30/2021 18:12 Email    MLS SDEIS Public Hearing: Materials Review            .\VOL011\IMAGES\IMAGES001\00153053.pdf
00153055   00153059    8/31/2021 6:07 Email    Fwd: Native Veg Meeting AW073D12                      .\VOL011\IMAGES\IMAGES001\00153055.pdf
                                               MDOT SHA ‐ Morningstar Tabernacle Moses Hall
00153060   00153061    8/31/2021 6:07 Attach   Cemetery Meeting Summary_06‐21‐2021.docx              .\VOL011\IMAGES\IMAGES001\00153060.pdf
                                               FW: Inquiry: Homeowner Abutting I‐495 Beltway
00153062   00153062    8/31/2021 9:38 Email    Within Project                                        .\VOL011\IMAGES\IMAGES001\00153062.pdf
00153063   00153063    8/31/2021 9:38 Attach   6320_RockhurstRd.pdf                                  .\VOL011\IMAGES\IMAGES001\00153063.pdf
                                               RE: I‐495 & I‐270 MLS: Cooperating Agency SDEIS
00153064   00153065    8/31/2021 9:49 Email    Comments Review Meeting                               .\VOL011\IMAGES\IMAGES001\00153064.pdf
                                               2021‐09‐01_MLS Cooperating Agency SDEIS Comment
00153066   00153066    8/31/2021 9:49 Attach   Review Meeting_Agenda.pdf                             .\VOL011\IMAGES\IMAGES001\00153066.pdf
00153067   00153070   8/31/2021 11:18 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153067.pdf
                                               20210820__Morningstar Cemetery Communications
00153071   00153079   8/31/2021 11:18 Attach   Strategy Final JP.docx                                .\VOL011\IMAGES\IMAGES001\00153071.pdf
00153080   00153081   8/31/2021 13:55 Email    Draft SDEIS Comment Meeting                           .\VOL011\IMAGES\IMAGES001\00153080.pdf
00153082   00153085   8/31/2021 14:09 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153082.pdf
                                               20210820__Morningstar Cemetery Communications
00153086   00153094   8/31/2021 14:09 Attach   Strategy Final JP.docx                                .\VOL011\IMAGES\IMAGES001\00153086.pdf
                                               FW: I‐495 & I‐270 MLS: Request for Concurrence on
00153095   00153096   8/31/2021 14:13 Email    RPA                                                   .\VOL011\IMAGES\IMAGES001\00153095.pdf
00153097   00153101   8/31/2021 14:23 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153097.pdf
00153102   00153106   8/31/2021 14:29 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153102.pdf

00153107   00153107   8/31/2021 14:32 Email    RE: Meeting Date for presenting GPR Report to CP      .\VOL011\IMAGES\IMAGES001\00153107.pdf
00153108   00153111   8/31/2021 15:36 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153108.pdf

                                               20210820__Morningstar Cemetery Communications
00153112   00153120   8/31/2021 15:36 Attach   Strategy Final FHWA Comments.docx                     .\VOL011\IMAGES\IMAGES001\00153112.pdf
00153121   00153124   8/31/2021 15:36 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153121.pdf
00153125   00153125   8/31/2021 15:51 Attach   PH Material Comments.docx                             .\VOL011\IMAGES\IMAGES001\00153125.pdf
00153126   00153126   8/31/2021 16:40 Email    Re: MDE SDEIS comments                                .\VOL011\IMAGES\IMAGES001\00153126.pdf
00153127   00153127   8/31/2021 16:49 Email    FW: MDE SDEIS comments                                .\VOL011\IMAGES\IMAGES001\00153127.pdf
00153128   00153130   8/31/2021 17:01 Email    RE: MLS SDEIS Public Hearing: Materials Review        .\VOL011\IMAGES\IMAGES001\00153128.pdf
                                               MLS EJ Working Group_Draft Outreach and
00153131   00153133   8/31/2021 17:01 Attach   Engagement_8‐2021.pdf                                 .\VOL011\IMAGES\IMAGES001\00153131.pdf
                                               The U.S. Needs to Fix Existing Roads, Not Build New
00153134   00153135   8/31/2021 22:13 Email    Ones                                                  .\VOL011\IMAGES\IMAGES001\00153134.pdf
                                               Meeting with MDOT SHA ‐ Morningstar/Moses Hall,
00153136   00153136     9/1/2021 7:23 Email    Wednesday September 8, 11:00 am (online)              .\VOL011\IMAGES\IMAGES001\00153136.pdf
00153137   00153138     9/1/2021 7:27 Email    FW: MDE SDEIS comments                                .\VOL011\IMAGES\IMAGES001\00153137.pdf
00153139   00153167     9/1/2021 7:27 Attach   MDE_MLS_SDEIS Comments.pdf                            .\VOL011\IMAGES\IMAGES001\00153139.pdf
00153168   00153170     9/1/2021 7:43 Email    Re: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153168.pdf

00153171   00153172     9/1/2021 9:09 Email    Re: Meeting Date for presenting GPR Report to CP      .\VOL011\IMAGES\IMAGES001\00153171.pdf

00153173   00153174    9/1/2021 12:27 Email    RE: Cooperating Agency Comment/Response Meeting .\VOL011\IMAGES\IMAGES001\00153173.pdf

00153175   00153176    9/1/2021 12:35 Email    Re: Cooperating Agency Comment/Response Meeting .\VOL011\IMAGES\IMAGES001\00153175.pdf

00153177   00153178    9/1/2021 12:35 Email    Re: Cooperating Agency Comment/Response Meeting       .\VOL011\IMAGES\IMAGES001\00153177.pdf
                                               SDEIS Cooperating Agency Comment_Response Mtg_
00153179   00153181    9/1/2021 12:35 Attach   Talking Points.docx                                   .\VOL011\IMAGES\IMAGES001\00153179.pdf
                                               I‐495 & I‐270 MLS: Cooperating Agency SDEIS
00153182   00153183    9/1/2021 14:00 Email    Comments Review Meeting                               .\VOL011\IMAGES\IMAGES001\00153182.pdf
                                               I‐495 & I‐270 MLS: Cooperating Agency SDEIS
00153184   00153185    9/1/2021 14:00 Email    Comments Review Meeting                               .\VOL011\IMAGES\IMAGES001\00153184.pdf
00153186   00153188    9/1/2021 15:07 Email    FW: Draft SDEIS Comment Meeting                       .\VOL011\IMAGES\IMAGES001\00153186.pdf
                                               2021.08.30_ MLS ‐ MDOT vs VDOT volumes on
00153189   00153190    9/1/2021 15:16 Edoc     American Legion Bridge .pdf                           .\VOL011\IMAGES\IMAGES001\00153189.pdf
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00153191   00153196    9/2/2021 11:09 Email    270 MLS project                                       .\VOL011\IMAGES\IMAGES001\00153191.pdf
                                               RE: DNR Discussion: Proposed Geotechnical Borings
00153197   00153198    9/2/2021 12:43 Email    and Protected Species                                 .\VOL011\IMAGES\IMAGES001\00153197.pdf
                                               2021‐07‐23 DNR Plant RTE Geotech Boring Meeting
00153199   00153201    9/2/2021 12:43 Attach   Notes_FINAL.pdf                                       .\VOL011\IMAGES\IMAGES001\00153199.pdf
00153202   00153203    9/2/2021 14:48 Email    Morningstar Cemetery Inquiry                          .\VOL011\IMAGES\IMAGES001\00153202.pdf
00153204   00153205    9/2/2021 14:48 Email    Morningstar Cemetery Inquiry                          .\VOL011\IMAGES\IMAGES001\00153204.pdf
00153206   00153209    9/3/2021 13:59 Email    RE: MLS SDEIS Public Hearing: Materials Review        .\VOL011\IMAGES\IMAGES001\00153206.pdf
00153210   00153210    9/3/2021 13:59 Attach   PH Material FHWA Comments.docx                        .\VOL011\IMAGES\IMAGES001\00153210.pdf
00153211   00153214    9/3/2021 14:00 Email    RE: MLS SDEIS Public Hearing: Materials Review        .\VOL011\IMAGES\IMAGES001\00153211.pdf
                                               I‐495 & I‐270 FHWA Coordination Meeting
00153215   00153215    9/6/2021 19:06 Attach   Attendance_2021.08.18.xlsx                            .\VOL011\IMAGES\IMAGES001\00153215.pdf    .\VOL011\NATIVES\NATIVES001\00153215.xlsx
00153216   00153222    9/7/2021 11:02 Attach   FMH_GPR_Minimization_Update_09_08_21.pdf              .\VOL011\IMAGES\IMAGES001\00153216.pdf

                                               RE: Action Required:I‐495/I‐270 Managed Lanes Study
00153223   00153223    9/7/2021 11:58 Email    milestone target date(s) approaching in 14 days     .\VOL011\IMAGES\IMAGES001\00153223.pdf

                                               RE: Action Required:I‐495/I‐270 Managed Lanes Study
00153224   00153225    9/7/2021 13:07 Email    milestone target date(s) approaching in 14 days     .\VOL011\IMAGES\IMAGES001\00153224.pdf

                                               RE: Action Required:I‐495/I‐270 Managed Lanes Study
00153226   00153227    9/7/2021 13:53 Email    milestone target date(s) approaching in 14 days     .\VOL011\IMAGES\IMAGES001\00153226.pdf

00153228   00153229    9/7/2021 14:00 Attach   2021‐09‐07_FHWA Coordination Mtg Agenda.docx          .\VOL011\IMAGES\IMAGES001\00153228.pdf

                                               2021_08‐
00153230   00153231    9/7/2021 14:00 Attach   18_FHWA_Coordination_Meeting_Notes_MLS (1).docx .\VOL011\IMAGES\IMAGES001\00153230.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                Filed 05/03/23                             Page 165 of 263

                                               I‐495 & I‐270 FHWA Coordination Meeting (please
00153232   00153232    9/7/2021 14:00 Email    note new call‐in information below)                 .\VOL011\IMAGES\IMAGES001\00153232.pdf
00153233   00153233    9/7/2021 14:03 Email    RE: Prep for FMH meeting                            .\VOL011\IMAGES\IMAGES001\00153233.pdf
00153234   00153241    9/7/2021 14:03 Attach   FMH_GPR_Minimization_Update_09_08_21r.pdf           .\VOL011\IMAGES\IMAGES001\00153234.pdf

                                               RE: Action Required:I‐495/I‐270 Managed Lanes Study
00153242   00153243    9/7/2021 14:10 Email    milestone target date(s) approaching in 14 days     .\VOL011\IMAGES\IMAGES001\00153242.pdf
                                               I‐495 and I‐270 MLS Section 106 Materials, Comments
                                               Requested by October 8 ‐ UNREDACTED MATERIALS
00153244   00153245    9/7/2021 15:14 Email    LINK                                                .\VOL011\IMAGES\IMAGES001\00153244.pdf

                                               RE: Action Required:I‐495/I‐270 Managed Lanes Study
00153246   00153247    9/7/2021 15:36 Email    milestone target date(s) approaching in 14 days     .\VOL011\IMAGES\IMAGES001\00153246.pdf

                                               RE: Action Required:I‐495/I‐270 Managed Lanes Study
00153248   00153250    9/7/2021 15:37 Email    milestone target date(s) approaching in 14 days       .\VOL011\IMAGES\IMAGES001\00153248.pdf
00153251   00153255    9/7/2021 15:58 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153251.pdf
00153256   00153260    9/7/2021 15:58 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153256.pdf
                                               Morningstar / Moses Hall Cemetery Discussion with
00153261   00153261     9/8/2021 7:24 Email    MDOT SHA                                              .\VOL011\IMAGES\IMAGES001\00153261.pdf
                                               Morningstar / Moses Hall Cemetery Discussion with
00153262   00153263     9/8/2021 7:25 Email    MDOT SHA                                              .\VOL011\IMAGES\IMAGES001\00153262.pdf
                                               Morningstar / Moses Hall Cemetery Discussion with
00153264   00153265     9/8/2021 7:25 Email    MDOT SHA                                              .\VOL011\IMAGES\IMAGES001\00153264.pdf
00153266   00153266     9/8/2021 7:25 Attach   2021‐09‐08 Morningstar Mtg Agenda.pdf                 .\VOL011\IMAGES\IMAGES001\00153266.pdf
00153267   00153269     9/8/2021 8:42 Email    RE: FHWA comments on Admin draft SDEIS                .\VOL011\IMAGES\IMAGES001\00153267.pdf
00153270   00153270     9/8/2021 8:55 Email    RE: One last piece of outreach for Virginia Tribes    .\VOL011\IMAGES\IMAGES001\00153270.pdf
                                               Morningstar Moses No. 88/Friends of Moses Hall ‐
00153271   00153271     9/8/2021 9:11 Email    Notice of New Officers and Trustees                   .\VOL011\IMAGES\IMAGES001\00153271.pdf
00153272   00153274     9/8/2021 9:11 Attach   MT88 Notice of Officers‐Trustees.pdf                  .\VOL011\IMAGES\IMAGES001\00153272.pdf
                                               RE: ***HOT*** and needed before 10am ‐ FW: Status
00153275   00153279    9/8/2021 10:20 Email    of Morningstar legal survey?                          .\VOL011\IMAGES\IMAGES001\00153275.pdf
00153280   00153280    9/8/2021 10:20 Attach   MosesHall_ExistingProperty.pdf                        .\VOL011\IMAGES\IMAGES001\00153280.pdf
                                               Morningstar / Moses Hall Cemetery Discussion with
00153281   00153282    9/8/2021 11:00 Email    MDOT SHA                                              .\VOL011\IMAGES\IMAGES001\00153281.pdf
                                               FW: P3 Compensatory SWM Plan ‐ FWHA Section 4(f)
00153283   00153286    9/8/2021 12:06 Email    as relates to MNCPPC                                  .\VOL011\IMAGES\IMAGES001\00153283.pdf
                                               I‐495 and I‐270 MLS Section 106 Materials, Comments
00153287   00153289    9/8/2021 13:18 Email    Requested by October 8                                .\VOL011\IMAGES\IMAGES001\00153287.pdf
                                               I‐495 and I‐270 MLS Section 106 Materials, Comments
00153290   00153291    9/8/2021 13:18 Email    Requested by October 8                                .\VOL011\IMAGES\IMAGES001\00153290.pdf
                                               I‐495 and I‐270 MLS Section 106 Materials, Comments
                                               Requested by October 8 ‐ UNREDACTED MATERIALS
00153292   00153293    9/8/2021 13:20 Email    LINK                                                  .\VOL011\IMAGES\IMAGES001\00153292.pdf
                                               FW: I‐495 and I‐270 MLS Section 106 Materials,
00153294   00153296    9/8/2021 13:39 Email    Comments Requested by October 8                       .\VOL011\IMAGES\IMAGES001\00153294.pdf
00153297   00153297    9/8/2021 13:55 Email    Section 106 consultation: MLS Study                   .\VOL011\IMAGES\IMAGES001\00153297.pdf
00153298   00153298    9/8/2021 14:00 Email    Section 106 consultation: MLS Study                   .\VOL011\IMAGES\IMAGES001\00153298.pdf
                                               I‐495 and I‐270 MLS Section 106 Materials,
00153299   00153300    9/8/2021 14:21 Email    Comm...(1).pdf                                        .\VOL011\IMAGES\IMAGES001\00153299.pdf
                                               I‐495 and I‐270 MLS Section 106 Materials,
00153301   00153303    9/8/2021 14:23 Email    Comm....pdf                                           .\VOL011\IMAGES\IMAGES001\00153301.pdf
                                               Morningstar / Moses Hall Cemetery Discussion with
00153304   00153304    9/8/2021 16:34 Email    MDOT SHA                                              .\VOL011\IMAGES\IMAGES001\00153304.pdf
                                               Morningstar / Moses Hall Cemetery Discussion with
00153305   00153306    9/8/2021 16:36 Email    MDOT SHA                                              .\VOL011\IMAGES\IMAGES001\00153305.pdf
                                               Morningstar / Moses Hall Cemetery Discussion with
00153307   00153308    9/8/2021 16:36 Email    MDOT SHA                                              .\VOL011\IMAGES\IMAGES001\00153307.pdf
00153309   00153316    9/8/2021 16:36 Attach   FMH_GPR_Minimization_Update_09_08_21.pdf              .\VOL011\IMAGES\IMAGES001\00153309.pdf
                                               Morningstar / Moses Hall Cemetery Discussion with
00153317   00153317    9/8/2021 16:36 Email    MDOT SHA                                              .\VOL011\IMAGES\IMAGES001\00153317.pdf
00153318   00153320     9/9/2021 8:48 Email    RE: FHWA comments on Admin draft SDEIS                .\VOL011\IMAGES\IMAGES001\00153318.pdf
00153321   00153324    9/9/2021 11:21 Email    RE: FHWA comments on Admin draft SDEIS                .\VOL011\IMAGES\IMAGES001\00153321.pdf
00153325   00153327    9/9/2021 12:02 Email    FW_ FHWA comments on Admin draft SDEIS.pdf            .\VOL011\IMAGES\IMAGES001\00153325.pdf
00153328   00153329    9/9/2021 12:02 Attach   I‐66 OTB Tolling MOU.pdf                              .\VOL011\IMAGES\IMAGES001\00153328.pdf
                                               Amended and Restated Tolling MOU_Fred
00153330   00153331    9/9/2021 12:02 Attach   Ex_EXECU.pdf                                          .\VOL011\IMAGES\IMAGES001\00153330.pdf
00153332   00153339    9/9/2021 13:30 Attach   FMH_GPR_Minimization_Update_09_08_21.pdf              .\VOL011\IMAGES\IMAGES001\00153332.pdf
00153340   00153342    9/9/2021 13:30 Attach   9_8_2021_FMH_MLS_Meeting Notes.pdf                    .\VOL011\IMAGES\IMAGES001\00153340.pdf
                                               OST‐S10‐210728‐012_‐_Incoming_‐_Attn_ Secretary
                                               Buttigieg_ Urgent situation re_ MD I270 _ Capital
00153343   00153345    9/9/2021 14:49 Attach   Beltway.pdf                                           .\VOL011\IMAGES\IMAGES001\00153343.pdf
                                               FW: I‐495 and I‐270 MLS Section 106 Materials ‐
00153346   00153347    9/9/2021 14:51 Email    UNREDACTED MATERIALS LINK                             .\VOL011\IMAGES\IMAGES001\00153346.pdf
00153348   00153383    9/9/2021 14:51 Attach   MLS_106_Sept_8_Letter_sig.pdf                         .\VOL011\IMAGES\IMAGES001\00153348.pdf
00153384   00153389    9/9/2021 19:58 Email    RE: Morningstar Cemetery                              .\VOL011\IMAGES\IMAGES001\00153384.pdf
                                               African American gravesites detected near the Capital
00153390   00153393    9/9/2021 19:58 Attach   Beltway will be spared in road.docx                   .\VOL011\IMAGES\IMAGES001\00153390.pdf
                                               screencapture‐washingtonpost‐transportation‐2021‐
                                               09‐09‐maryland‐beltway‐moses‐morningstar‐cemetery‐
00153394   00153403    9/10/2021 7:53 Attach   2021‐09‐09‐20_05_57.pdf                               .\VOL011\IMAGES\IMAGES001\00153394.pdf

00153404   00153417   9/10/2021 11:47 Edoc     MLS_106_Sept_8_Att_1C_APE_StreamWetland.pdf         .\VOL011\IMAGES\IMAGES001\00153404.pdf
                                               I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting ‐
00153418   00153420   9/10/2021 13:59 Email    Meeting Agenda                                      .\VOL011\IMAGES\IMAGES001\00153418.pdf

00153421   00153421   9/10/2021 15:17 Edoc     V_Pamunkey_Hansen 106 consultation MLS Study.pdf .\VOL011\IMAGES\IMAGES001\00153421.pdf
00153422   00153422   9/10/2021 15:17 Edoc     V_Nansem_Bass 106 consultation MLS Study.pdf     .\VOL011\IMAGES\IMAGES001\00153422.pdf

00153423   00153423   9/10/2021 15:17 Edoc     V_Rappah_Richardson 106 consultation MLS Study.pdf .\VOL011\IMAGES\IMAGES001\00153423.pdf

00153424   00153424   9/10/2021 15:17 Edoc     V_Monacan_Branham 106 consultation MLS Study.pdf .\VOL011\IMAGES\IMAGES001\00153424.pdf
                                               V_UpMattap_Tupponce 106 consultation MLS
00153425   00153425   9/10/2021 15:17 Edoc     Study.pdf                                        .\VOL011\IMAGES\IMAGES001\00153425.pdf
00153426   00153426   9/10/2021 15:17 Edoc     V_Chick_Adkins 106 consultation MLS Study.pdf    .\VOL011\IMAGES\IMAGES001\00153426.pdf

00153427   00153427   9/10/2021 15:17 Edoc     V_EChick_Stewart 106 consultation MLS Study.pdf     .\VOL011\IMAGES\IMAGES001\00153427.pdf

00153428   00153428   9/10/2021 15:17 Edoc     V_Nansem_Anderson 106 consultation MLS Study.pdf .\VOL011\IMAGES\IMAGES001\00153428.pdf

00153429   00153429   9/10/2021 15:18 Edoc     F_Onondaga_Gonyea 106 consultation MLS Study.pdf .\VOL011\IMAGES\IMAGES001\00153429.pdf

00153430   00153430   9/10/2021 15:18 Edoc     F_Oneida_JBergevin 106 consultation MLS Study.pdf   .\VOL011\IMAGES\IMAGES001\00153430.pdf
                                               F_StRegisMohawk_Bonaparte 106 consultation MLS
00153431   00153431   9/10/2021 15:18 Edoc     Study.pdf                                           .\VOL011\IMAGES\IMAGES001\00153431.pdf
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00153432   00153432   9/10/2021 15:18 Edoc     F_Shawnee_Tipton 106 consultation MLS Study.pdf        .\VOL011\IMAGES\IMAGES001\00153432.pdf
                                               F_SenecaCayuga_Tarrant 106 consultation MLS
00153433   00153433   9/10/2021 15:18 Edoc     Study.pdf                                              .\VOL011\IMAGES\IMAGES001\00153433.pdf

00153434   00153434   9/10/2021 15:18 Edoc     F_Tuscarora_Printup 106 consultation MLS Study.pdf     .\VOL011\IMAGES\IMAGES001\00153434.pdf
00153435   00153435   9/10/2021 15:18 Edoc     S_NProctor 106 consultation MLS Study.pdf              .\VOL011\IMAGES\IMAGES001\00153435.pdf
00153436   00153436   9/10/2021 15:18 Edoc     S_PCTCouncil 106 consultation MLS Study.pdf            .\VOL011\IMAGES\IMAGES001\00153436.pdf
00153437   00153437   9/10/2021 15:18 Edoc     S_KColston 106 consultation MLS Study.pdf              .\VOL011\IMAGES\IMAGES001\00153437.pdf
00153438   00153438   9/10/2021 15:18 Edoc     S_RNewman 106 consultation MLS Study.pdf               .\VOL011\IMAGES\IMAGES001\00153438.pdf

00153439   00153439   9/10/2021 15:18 Edoc     F_Delaware_Heady 106 consultation MLS Study.pdf        .\VOL011\IMAGES\IMAGES001\00153439.pdf
                                               F_AbsShawnee_Frazier 106 consultation MLS
00153440   00153440   9/10/2021 15:18 Edoc     Study.pdf                                              .\VOL011\IMAGES\IMAGES001\00153440.pdf
00153441   00153441   9/10/2021 15:18 Edoc     S_WTayac 106 consultation MLS Study.pdf                .\VOL011\IMAGES\IMAGES001\00153441.pdf

00153442   00153442   9/10/2021 15:18 Edoc     F_EShawnee_Barton 106 consultation MLS Study.pdf       .\VOL011\IMAGES\IMAGES001\00153442.pdf
                                               F_DelawareNat_Paden 106 consultation_ MLS
00153443   00153443   9/10/2021 15:18 Edoc     Study.pdf                                              .\VOL011\IMAGES\IMAGES001\00153443.pdf
                                               F_Onondaga_Gonyea MLS_106_Consultation
00153444   00153444   9/10/2021 16:07 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153444.pdf
00153445   00153445   9/10/2021 16:07 Edoc     MLS_Onondaga Nation 5‐28‐21.pdf                        .\VOL011\IMAGES\IMAGES001\00153445.pdf
                                               F_Shawnee_Tipton MLS_106_Consultation
00153446   00153446   9/10/2021 16:10 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153446.pdf
00153447   00153447   9/10/2021 16:10 Edoc     MLS_Shawnee Tribe 5‐28‐21.pdf                          .\VOL011\IMAGES\IMAGES001\00153447.pdf
                                               F_SenecaCayuga_Tarrant MLS_106_Cons
00153448   00153448   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153448.pdf
00153449   00153449   9/10/2021 16:12 Edoc     MLS_Seneca‐Cayuga Nation 5‐28‐21.pdf                   .\VOL011\IMAGES\IMAGES001\00153449.pdf
                                               F_StRegisMohawk_Bonaparte MLS_106_Cons
00153450   00153450   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153450.pdf
00153451   00153451   9/10/2021 16:12 Edoc     MLS_St Regis Mohawk Tribe 5‐28‐21.pdf                  .\VOL011\IMAGES\IMAGES001\00153451.pdf
                                               F_AbsShawnee_Frazier MLS_106_Cons
00153452   00153452   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153452.pdf
                                               MLS_Absentee‐Shawnee Tribe of Oklahoma 5‐28‐
00153453   00153453   9/10/2021 16:12 Edoc     21.pdf                                                 .\VOL011\IMAGES\IMAGES001\00153453.pdf
                                               F_Tuscarora_Printup MLS_106_Consultation
00153454   00153454   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153454.pdf
00153455   00153455   9/10/2021 16:12 Edoc     MLS_Tuscarora Nation 5‐28‐21.pdf                       .\VOL011\IMAGES\IMAGES001\00153455.pdf
                                               F_Delaware_Bachor MLS_106_Consultation
00153456   00153456   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153456.pdf
00153457   00153457   9/10/2021 16:12 Edoc     MLS_Delaware Tribe 5‐28‐21.pdf                         .\VOL011\IMAGES\IMAGES001\00153457.pdf
                                               F_DelawNat_Paden MLS_106_Consultation
00153458   00153458   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153458.pdf
00153459   00153459   9/10/2021 16:12 Edoc     MLS_Delaware Nation 5‐28‐21.pdf                        .\VOL011\IMAGES\IMAGES001\00153459.pdf
                                               F_Oneida_Bergevin MLS_106_Consultation
00153460   00153460   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153460.pdf
00153461   00153461   9/10/2021 16:12 Edoc     MLS_Oneida Indian Nation 5‐28‐21.pdf                   .\VOL011\IMAGES\IMAGES001\00153461.pdf
                                               F_EShawnee_Barton MLS_106_Consultation
00153462   00153462   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153462.pdf
00153463   00153463   9/10/2021 16:12 Edoc     MLS_Eastern Shawnee Tribe 5‐28‐21.pdf                  .\VOL011\IMAGES\IMAGES001\00153463.pdf
                                               S_RNewman MLS_106_Consultation
00153464   00153464   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153464.pdf

00153465   00153465   9/10/2021 16:12 Edoc     MLS_Maryland Indian Tourism Association 5‐28‐2.pdf     .\VOL011\IMAGES\IMAGES001\00153465.pdf
                                               S_WTayac MLS_106_Consultation
00153466   00153466   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153466.pdf
00153467   00153467   9/10/2021 16:12 Edoc     MLS_Piscataway Indian Nation 5‐28‐21.pdf               .\VOL011\IMAGES\IMAGES001\00153467.pdf
                                               S_KColston MLS_106_Consultation
00153468   00153468   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153468.pdf
00153469   00153469   9/10/2021 16:12 Edoc     MLS_MCIA 5‐28‐21.pdf                                   .\VOL011\IMAGES\IMAGES001\00153469.pdf
                                               S_PCTCouncil MLS_106_Consultation
00153470   00153470   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                                .\VOL011\IMAGES\IMAGES001\00153470.pdf

00153471   00153471   9/10/2021 16:12 Edoc     MLS_Piscataway‐Conoy Tribe of Maryland 5‐28‐21.pdf .\VOL011\IMAGES\IMAGES001\00153471.pdf
                                               S_NProctor MLS_106_Consultation
00153472   00153472   9/10/2021 16:12 Edoc     Morningstar_Cem_Rpt.pdf                            .\VOL011\IMAGES\IMAGES001\00153472.pdf
00153473   00153473   9/10/2021 16:12 Edoc     MLS_Conoy Creations 5‐28‐21.pdf                    .\VOL011\IMAGES\IMAGES001\00153473.pdf

00153474   00153475   9/10/2021 16:13 Email    I‐495 & I‐270 MLS‐ Final SDEIS for Prior Concurrence   .\VOL011\IMAGES\IMAGES001\00153474.pdf

00153476   00153477   9/10/2021 16:13 Email    I‐495 & I‐270 MLS‐ Final SDEIS for Prior Concurrence .\VOL011\IMAGES\IMAGES001\00153476.pdf
                                               Re: I‐495 and I‐270 MLS Section 106 Materials,
00153478   00153481   9/11/2021 14:52 Email    Comments Requested by October 8                      .\VOL011\IMAGES\IMAGES001\00153478.pdf
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00153482   00153482   9/11/2021 14:52 Attach   snip.JPG                                             .\VOL011\IMAGES\IMAGES001\00153482.pdf
                                               FMH Statement in Response to MDOT SHA's
                                               Archaeological Report on Historic Morningstar
00153483   00153483   9/11/2021 20:55 Email    Tabernacle No. 88 Moses Hall and Cemetery            .\VOL011\IMAGES\IMAGES001\00153483.pdf
                                               FMH Statement in Response to MDOT SHA's
                                               Archaeological Report on Historic Morningstar
00153484   00153484   9/11/2021 20:55 Email    Tabernacle No. 88 Moses Hall and Cemetery            .\VOL011\IMAGES\IMAGES001\00153484.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_Digital_HalfP
00153485   00153489    9/13/2021 1:19 Edoc     age330x600_mR02.pdf                                  .\VOL011\IMAGES\IMAGES001\00153485.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_Digital_Lead
00153490   00153494    9/13/2021 1:27 Edoc     erBoard728x90_mR02.pdf                               .\VOL011\IMAGES\IMAGES001\00153490.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_Digital_Mobi
00153495   00153499    9/13/2021 1:34 Edoc     leBanner320x50_mR02.pdf                              .\VOL011\IMAGES\IMAGES001\00153495.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_Digital_MRE
00153500   00153504    9/13/2021 2:22 Edoc     C300x250_mR02.pdf                                    .\VOL011\IMAGES\IMAGES001\00153500.pdf
                                               RE: I‐495 and I‐270 MLS Section 106 Materials,
00153505   00153509    9/13/2021 6:57 Email    Comments Requested by October 8                      .\VOL011\IMAGES\IMAGES001\00153505.pdf
                                               RE: I‐495 and I‐270 MLS Section 106 Materials,
00153510   00153514    9/13/2021 7:37 Email    Comments Requested by October 8                      .\VOL011\IMAGES\IMAGES001\00153510.pdf
                                               RE: I‐495 and I‐270 MLS Section 106 Materials,
00153515   00153519    9/13/2021 7:37 Email    Comments Requested by October 8                      .\VOL011\IMAGES\IMAGES001\00153515.pdf
                                               Re: I‐495 & I‐270 MLS‐ Final SDEIS for Prior
00153520   00153522    9/13/2021 8:06 Email    Concurrence                                          .\VOL011\IMAGES\IMAGES001\00153520.pdf

00153523   00153523    9/13/2021 8:06 Attach   SDEIS FHWA Comment Response Table‐9‐10‐2021.xlsx       .\VOL011\IMAGES\IMAGES001\00153523.pdf    .\VOL011\NATIVES\NATIVES001\00153523.xlsx
                                               FHWA No Action Required ‐ Tribal Notification of MLS
00153524   00153525    9/13/2021 8:20 Email    revised APE                                            .\VOL011\IMAGES\IMAGES001\00153524.pdf
00153526   00153526    9/13/2021 9:05 Email    MDOT changes Traffic Relief Plan name                  .\VOL011\IMAGES\IMAGES001\00153526.pdf
                                               REVIEW REQUESTED: Final SDEIS for I‐495/I‐270 MLS
00153527   00153527    9/13/2021 9:30 Email    project                                                .\VOL011\IMAGES\IMAGES001\00153527.pdf
00153528   00153646    9/13/2021 9:30 Attach   SDEIS_04_Environmental_09.10.2021.docx                 .\VOL011\IMAGES\IMAGES001\00153528.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                           Page 167 of 263

                                               SDEIS_AppH_1‐Acoustics Bat Study Plan‐ I‐495 270
00153647   00153653    9/13/2021 9:30 Attach   MLS project‐ Approved Final.pdf                      .\VOL011\IMAGES\IMAGES001\00153647.pdf

                                               SDEIS_AppH_2‐I‐495 MLS Bat Bridge
00153654   00153703    9/13/2021 9:30 Attach   Survey_2020_Final for Submission_20201117_.pdf    .\VOL011\IMAGES\IMAGES001\00153654.pdf
                                               SDEIS_AppH_3‐MLS‐495 Acoustic Survey
00153704   00153946    9/13/2021 9:30 Attach   Report_Combined_121620_FINAL REDUCED.pdf          .\VOL011\IMAGES\IMAGES001\00153704.pdf
                                               SDEIS_AppH_6‐I‐495_I‐270 Managed Lanes Study bald
00153947   00153949    9/13/2021 9:30 Attach   eagle and peregrine falcon comment.pdf            .\VOL011\IMAGES\IMAGES001\00153947.pdf
00153950   00153966    9/13/2021 9:30 Attach   SDEIS_00_Executive_Summary_09.10.2021.docx        .\VOL011\IMAGES\IMAGES001\00153950.pdf
                                               Copy of SDEIS FHWA Comment Response Table‐9‐10‐
00153967   00153967    9/13/2021 9:30 Attach   2021 with Reviewer Names.xlsx                     .\VOL011\IMAGES\IMAGES001\00153967.pdf       .\VOL011\NATIVES\NATIVES001\00153967.xlsx
                                               REVIEW REQUESTED_ Final SDEIS for I‐495_I‐270
00153968   00153968   9/13/2021 10:05 Email    M....pdf                                          .\VOL011\IMAGES\IMAGES001\00153968.pdf
                                               RE: MLS ‐ MDOT vs VDOT volumes on American Legion
00153969   00153971   9/13/2021 10:20 Email    Bridge                                            .\VOL011\IMAGES\IMAGES001\00153969.pdf
                                               495 MLS ‐ Section 106 PA Comment Working
00153972   00153973   9/13/2021 10:49 Email    Session.pdf                                       .\VOL011\IMAGES\IMAGES001\00153972.pdf
                                               MLS I‐495 I‐270_Section106_PA_Draft
00153974   00154027   9/13/2021 10:49 Attach   1_Comment.docx                                    .\VOL011\IMAGES\IMAGES001\00153974.pdf
                                               FW: FMH Statement in Response to MDOT SHA's
                                               Archaeological Report on Historic Morningstar
00154028   00154028   9/13/2021 10:51 Email    Tabernacle No. 88 Moses Hall and Cemetery         .\VOL011\IMAGES\IMAGES001\00154028.pdf
00154029   00154029   9/13/2021 10:51 Attach   FMH‐MT88 Statement 9.10.21.pdf                    .\VOL011\IMAGES\IMAGES001\00154029.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00154030   00154031   9/13/2021 11:15 Email    Supplemen...(3).pdf                               .\VOL011\IMAGES\IMAGES001\00154030.pdf

00154032   00154227   9/13/2021 11:15 Attach   SDEIS_AppA_Alternative 9 Phase 1 South Traffic.pdf   .\VOL011\IMAGES\IMAGES001\00154032.pdf
                                               REVIEW REQUESTED_ Final SDEIS for I‐495_I‐270
00154228   00154228   9/13/2021 12:12 Email    M....pdf                                             .\VOL011\IMAGES\IMAGES001\00154228.pdf
                                               SDEIS FHWA Comment Response Table‐9‐10‐2021
00154229   00154229   9/13/2021 12:12 Attach   w.xlsx                                               .\VOL011\IMAGES\IMAGES001\00154229.pdf    .\VOL011\NATIVES\NATIVES001\00154229.xlsx
                                               RE: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00154230   00154235   9/13/2021 12:46 Email    270 MLS project                                      .\VOL011\IMAGES\IMAGES001\00154230.pdf
00154236   00154267   9/13/2021 12:46 Attach   SDEIS_02_Alternatives_09.10.2021.docx                .\VOL011\IMAGES\IMAGES001\00154236.pdf
00154268   00154269   9/13/2021 13:29 Email    MDTA Toll Discount Terminology                       .\VOL011\IMAGES\IMAGES001\00154268.pdf
00154270   00154270   9/13/2021 13:58 Edoc     Mr Gallant response.pdf                              .\VOL011\IMAGES\IMAGES001\00154270.pdf
00154271   00154273   9/13/2021 14:10 Email    RE: MDTA Toll Discount Terminology                   .\VOL011\IMAGES\IMAGES001\00154271.pdf
00154274   00154274   9/13/2021 15:27 Edoc     FHWA No Action mlm.pdf                               .\VOL011\IMAGES\IMAGES001\00154274.pdf

00154275   00154281   9/13/2021 16:58 Edoc     SDEIS_AppJ_MLS VIA Questionnaire_Sept2021.pdf        .\VOL011\IMAGES\IMAGES001\00154275.pdf
00154282   00154307   9/13/2021 16:58 Edoc     SDEIS_AppK_EJSCREEN Mapping.pdf                      .\VOL011\IMAGES\IMAGES001\00154282.pdf

00154308   00154320   9/13/2021 16:58 Edoc     SDEIS_AppF_Natural Resources Impact Tables.pdf       .\VOL011\IMAGES\IMAGES001\00154308.pdf
                                               SDEIS_AppE_Noise Technical Report Addendum_Sept
00154321   00154494   9/13/2021 17:00 Edoc     2021.pdf                                             .\VOL011\IMAGES\IMAGES001\00154321.pdf
00154495   00154633   9/13/2021 17:02 Edoc     SDEIS_AppG_NPS SOF.pdf                               .\VOL011\IMAGES\IMAGES001\00154495.pdf
                                               2021‐09‐01_ Cooperating Agency SDEIS Comment
00154634   00154640   9/13/2021 18:06 Attach   Review Meeting Notes.pdf                             .\VOL011\IMAGES\IMAGES001\00154634.pdf
                                               2021‐09‐01 Cooperating Agency SDEIS Comment
00154641   00154655   9/13/2021 18:06 Attach   Review Meeting Presentation.pdf                      .\VOL011\IMAGES\IMAGES001\00154641.pdf
00154656   00154657    9/14/2021 8:01 Email    FW: M‐NCPPC Staff Comments to Draft SDEIS            .\VOL011\IMAGES\IMAGES001\00154656.pdf

00154658   00154660    9/14/2021 9:01 Email    FW_ M‐NCPPC Staff Comments to Draft SDEIS.pdf        .\VOL011\IMAGES\IMAGES001\00154658.pdf

00154661   00154661   9/14/2021 13:09 Email    Re: MLS: City of Gaithersburg Coordination Meeting .\VOL011\IMAGES\IMAGES001\00154661.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study: Washington
00154662   00154663   9/14/2021 15:38 Email    Biologists' Field Club                             .\VOL011\IMAGES\IMAGES001\00154662.pdf
00154664   00154664   9/14/2021 16:40 Email    Tables 4‐3 and 4‐4                                 .\VOL011\IMAGES\IMAGES001\00154664.pdf
00154665   00154665   9/14/2021 16:55 Email    Re: Tables 4‐3 and 4‐4                             .\VOL011\IMAGES\IMAGES001\00154665.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00154666   00154668   9/14/2021 17:38 Email    DEIS Admin Draft and Appendix                      .\VOL011\IMAGES\IMAGES001\00154666.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00154669   00154671   9/14/2021 17:38 Email    DEIS Admin Draft and Appendix                      .\VOL011\IMAGES\IMAGES001\00154669.pdf
                                               FW: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00154672   00154674   9/14/2021 18:17 Email    DEIS Admin Draft and Appendix                      .\VOL011\IMAGES\IMAGES002\00154672.pdf

00154675   00154675    9/15/2021 8:38 Email    Chapter 3, Appendix A and Appendix B Comments        .\VOL011\IMAGES\IMAGES002\00154675.pdf

00154676   00154677    9/15/2021 8:43 Email    Re: Chapter 3, Appendix A and Appendix B Comments    .\VOL011\IMAGES\IMAGES002\00154676.pdf
                                               RE: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154678   00154679    9/15/2021 9:24 Email    MLS project                                          .\VOL011\IMAGES\IMAGES002\00154678.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00154680   00154682    9/15/2021 9:24 Attach   DEIS Admin Draft and Appendix                        .\VOL011\IMAGES\IMAGES002\00154680.pdf
                                               RE: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154683   00154684    9/15/2021 9:45 Email    MLS project                                          .\VOL011\IMAGES\IMAGES002\00154683.pdf
                                               20210723 ‐ I‐495 & I‐270 Phase 1 Roadway Design
00154685   00154691   9/15/2021 10:17 Attach   Criteria.pdf                                         .\VOL011\IMAGES\IMAGES002\00154685.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00154692   00154695   9/15/2021 10:42 Email    DEIS Admin Draft and Appendix                        .\VOL011\IMAGES\IMAGES002\00154692.pdf
00154696   00154696   9/15/2021 15:32 Email    Toll                                                 .\VOL011\IMAGES\IMAGES002\00154696.pdf
00154697   00154697   9/15/2021 15:55 Email    RE: Toll                                             .\VOL011\IMAGES\IMAGES002\00154697.pdf

00154698   00154699   9/15/2021 16:08 Email    Re: Chapter 3, Appendix A and Appendix B Comments    .\VOL011\IMAGES\IMAGES002\00154698.pdf
                                               RE: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00154700   00154702   9/15/2021 16:32 Email    DEIS Admin Draft and Appendix                        .\VOL011\IMAGES\IMAGES002\00154700.pdf
                                               RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00154703   00154705   9/15/2021 17:32 Email    Supplemen....pdf                                     .\VOL011\IMAGES\IMAGES002\00154703.pdf
                                               FW_ Chapter 3, Appendix A and Appendix B
00154706   00154708   9/15/2021 17:35 Email    Comments.pdf                                         .\VOL011\IMAGES\IMAGES002\00154706.pdf
                                               RE: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154709   00154710   9/15/2021 17:59 Email    MLS project                                          .\VOL011\IMAGES\IMAGES002\00154709.pdf
                                               RE_ REVIEW REQUESTED_ Final SDEIS for I‐495_I‐
00154711   00154712   9/15/2021 18:18 Email    2...(2).pdf                                          .\VOL011\IMAGES\IMAGES002\00154711.pdf
                                               RE_ REVIEW REQUESTED_ Final SDEIS for I‐495_I‐
00154713   00154714   9/15/2021 18:43 Email    2...(1).pdf                                          .\VOL011\IMAGES\IMAGES002\00154713.pdf
                                               RE_ REVIEW REQUESTED_ Final SDEIS for I‐495_I‐
00154715   00154716   9/15/2021 18:48 Email    2...(2).pdf                                          .\VOL011\IMAGES\IMAGES002\00154715.pdf

00154717   00154719   9/15/2021 19:47 Email    RE: Chapter 3, Appendix A and Appendix B Comments .\VOL011\IMAGES\IMAGES002\00154717.pdf
                                               RE: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154720   00154721   9/15/2021 23:59 Email    MLS project                                       .\VOL011\IMAGES\IMAGES002\00154720.pdf
                                               RE: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154722   00154723    9/16/2021 6:50 Email    MLS project                                       .\VOL011\IMAGES\IMAGES002\00154722.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 168 of 263

                                               FW: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154724   00154725    9/16/2021 6:57 Email    MLS project                                         .\VOL011\IMAGES\IMAGES002\00154724.pdf
                                               Re_ REVIEW REQUESTED_ Final SDEIS for I‐495_I‐
00154726   00154727    9/16/2021 8:05 Email    2....pdf                                            .\VOL011\IMAGES\IMAGES002\00154726.pdf
                                               RE: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154728   00154729    9/16/2021 8:30 Email    MLS project                                         .\VOL011\IMAGES\IMAGES002\00154728.pdf
00154730   00154730   9/16/2021 10:40 Email    EJ comments(1).pdf                                  .\VOL011\IMAGES\IMAGES002\00154730.pdf
                                               FW: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154731   00154732   9/16/2021 11:59 Email    MLS project                                         .\VOL011\IMAGES\IMAGES002\00154731.pdf
                                               FW: I‐495 & I‐270 MLS: M‐NCPPC Coordination
00154733   00154735   9/16/2021 12:26 Email    Meeting ‐ Meeting Agenda                            .\VOL011\IMAGES\IMAGES002\00154733.pdf
                                               2021‐09‐16 MLS MNCPPC Coordination Meeting
00154736   00154736   9/16/2021 12:26 Attach   Agenda.pdf                                          .\VOL011\IMAGES\IMAGES002\00154736.pdf
                                               RE: I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting
00154737   00154739   9/16/2021 12:28 Email    ‐ Meeting Agenda                                    .\VOL011\IMAGES\IMAGES002\00154737.pdf
                                               RE: I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting
00154740   00154742   9/16/2021 12:31 Email    ‐ Meeting Agenda                                    .\VOL011\IMAGES\IMAGES002\00154740.pdf
                                               RE: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00154743   00154744   9/16/2021 12:55 Email    MLS project                                         .\VOL011\IMAGES\IMAGES002\00154743.pdf
                                               RE_ REVIEW REQUESTED_ Final SDEIS for I‐495_I‐
00154745   00154747   9/16/2021 13:55 Email    2....pdf                                            .\VOL011\IMAGES\IMAGES002\00154745.pdf
00154748   00154748   9/16/2021 16:02 Email    Survey Plat of Morningstar Parcels                  .\VOL011\IMAGES\IMAGES002\00154748.pdf
00154749   00154750   9/16/2021 16:06 Email    FW: Survey Plat of Morningstar Parcels              .\VOL011\IMAGES\IMAGES002\00154749.pdf
00154751   00154751   9/16/2021 16:06 Attach   Sheet 1 of 1.pdf                                    .\VOL011\IMAGES\IMAGES002\00154751.pdf
00154752   00154752   9/16/2021 16:09 Email    FW: Toll                                            .\VOL011\IMAGES\IMAGES002\00154752.pdf
00154753   00154754   9/16/2021 16:12 Email    FW: Survey Plat of Morningstar Parcels              .\VOL011\IMAGES\IMAGES002\00154753.pdf
00154755   00154756   9/16/2021 17:47 Email    RE: SDEIS                                           .\VOL011\IMAGES\IMAGES002\00154755.pdf
00154757   00154774   9/16/2021 22:14 Edoc     I‐495 & I‐270 MLS SDEIS HEP Briefing.pptx           .\VOL011\IMAGES\IMAGES002\00154757.pdf
00154775   00154777    9/17/2021 7:20 Email    RE: Survey Plat of Morningstar Parcels              .\VOL011\IMAGES\IMAGES002\00154775.pdf
00154778   00154778    9/17/2021 7:20 Attach   12551.pdf                                           .\VOL011\IMAGES\IMAGES002\00154778.pdf
00154779   00154779    9/17/2021 7:32 Attach   Millennium Garden Park ‐ Plat.pdf                   .\VOL011\IMAGES\IMAGES002\00154779.pdf
00154780   00154782    9/17/2021 7:32 Attach   Vernie Smith Miliennial Garden.pdf                  .\VOL011\IMAGES\IMAGES002\00154780.pdf

00154783   00154783    9/17/2021 7:32 Attach   Memo Attachment ‐ MDOT SHA Parcel ID 2088.pdf             .\VOL011\IMAGES\IMAGES002\00154783.pdf
                                               Memo Attachment ‐ OP3‐OREPRO‐0119_ Real
00154784   00154785    9/17/2021 7:32 Attach   Property_1.pdf                                            .\VOL011\IMAGES\IMAGES002\00154784.pdf
                                               Memo Attachment ‐ OP3‐OREPRO‐0119_ Real
00154786   00154787    9/17/2021 7:32 Attach   Property_2.pdf                                            .\VOL011\IMAGES\IMAGES002\00154786.pdf
00154788   00154789    9/17/2021 8:08 Email    RE: ALB                                                   .\VOL011\IMAGES\IMAGES002\00154788.pdf

00154790   00154793    9/17/2021 9:04 Email    Toll MOU‐ RE: FHWA comments on Admin draft SDEIS .\VOL011\IMAGES\IMAGES002\00154790.pdf
00154794   00154797    9/17/2021 9:04 Attach   ICC Section 129 2 of 3.pdf                           .\VOL011\IMAGES\IMAGES002\00154794.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00154798   00154801    9/17/2021 9:08 Email    SDEIS                                                .\VOL011\IMAGES\IMAGES002\00154798.pdf
00154802   00154803   9/17/2021 11:46 Email    RE: Edits for Chapter 6                              .\VOL011\IMAGES\IMAGES002\00154802.pdf
00154804   00154806   9/17/2021 12:07 Email    RE: Edits for Chapter 6                              .\VOL011\IMAGES\IMAGES002\00154804.pdf
00154807   00154807   9/17/2021 14:01 Email    PDF SDEIS                                            .\VOL011\IMAGES\IMAGES002\00154807.pdf
00154808   00155093   9/17/2021 14:01 Attach   MLS_SDEIS_09.17.2021.pdf                             .\VOL011\IMAGES\IMAGES002\00154808.pdf
00155094   00155094   9/17/2021 15:04 Email    RE: briefing materials for 9/21                      .\VOL011\IMAGES\IMAGES002\00155094.pdf
00155095   00155096   9/17/2021 15:39 Email    Tolling/EJ                                           .\VOL011\IMAGES\IMAGES002\00155095.pdf
00155097   00155097   9/17/2021 15:39 Attach   AMP Community Grant Program.pdf                      .\VOL011\IMAGES\IMAGES002\00155097.pdf
                                               2021.09.17_Katherine Shaver_PIA 10‐Day Close Out
00155098   00155099   9/17/2021 19:13 Edoc     Letter.pdf                                           .\VOL011\IMAGES\IMAGES002\00155098.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_Digital_Flyer
00155100   00155101   9/17/2021 19:22 Edoc     _8.5x10.875_Avenir_mR06.pdf                          .\VOL011\IMAGES\IMAGES002\00155100.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_EJflyer_8.5x
00155102   00155102   9/17/2021 19:23 Edoc     10.875_Avenir_mR06.pdf                               .\VOL011\IMAGES\IMAGES002\00155102.pdf
00155103   00155105   9/19/2021 23:23 Email    Re: P3 ‐ AMP Reviews                                 .\VOL011\IMAGES\IMAGES002\00155103.pdf
                                               20210829‐1_DE and DV Package #1_MDOT
00155106   00155106   9/19/2021 23:23 Attach   Comments_Roadway_brt comments.xlsx                   .\VOL011\IMAGES\IMAGES002\00155106.pdf         .\VOL011\NATIVES\NATIVES002\00155106.xlsx
00155107   00155107    9/20/2021 8:27 Email    FW: Comment 115 ‐ Millennium Gardens Park            .\VOL011\IMAGES\IMAGES002\00155107.pdf
                                               Updated VDOT ‐ MDOT Presentation for Sept. 28
00155108   00155108   9/20/2021 11:04 Email    Fairfax County BOS Transp. Committee briefing        .\VOL011\IMAGES\IMAGES002\00155108.pdf
                                               2021‐09‐28 Fairfax Co BOS Transp Committee
00155109   00155138   9/20/2021 11:04 Attach   presentation final 2021‐09‐20.pptx                   .\VOL011\IMAGES\IMAGES002\00155109.pdf
00155139   00155140   9/20/2021 11:53 Email    RE: Comment 115 ‐ Millennium Gardens Park            .\VOL011\IMAGES\IMAGES002\00155139.pdf
00155141   00155142   9/20/2021 17:02 Email    FW_ SDEIS‐ Executive Summary.pdf                     .\VOL011\IMAGES\IMAGES002\00155141.pdf
00155143   00155143   9/20/2021 17:02 Attach   Executive Summary Update.docx                        .\VOL011\IMAGES\IMAGES002\00155143.pdf
00155144   00155146   9/20/2021 17:21 Email    RE: SDEIS‐ Executive Summary                         .\VOL011\IMAGES\IMAGES002\00155144.pdf
                                               FW: REVIEW REQUESTED: Final SDEIS for I‐495/I‐270
00155147   00155150   9/20/2021 19:24 Email    MLS project                                          .\VOL011\IMAGES\IMAGES002\00155147.pdf
00155151   00155153    9/21/2021 8:27 Email    RE: SDEIS                                            .\VOL011\IMAGES\IMAGES002\00155151.pdf
00155154   00155155    9/21/2021 8:39 Email    RE: SDEIS‐ Executive Summary                         .\VOL011\IMAGES\IMAGES002\00155154.pdf
00155156   00155156    9/21/2021 8:39 Attach   Executive Summary Update.bgSept20.docx               .\VOL011\IMAGES\IMAGES002\00155156.pdf
00155157   00155159    9/21/2021 9:40 Email    RE_ SDEIS‐ Executive Summary.pdf                     .\VOL011\IMAGES\IMAGES002\00155157.pdf
00155160   00155162   9/21/2021 12:10 Email    Re: SDEIS‐ Executive Summary                         .\VOL011\IMAGES\IMAGES002\00155160.pdf
                                               Executive Summary Update.bgSept20 ‐ from FHWA_CB
00155163   00155163   9/21/2021 12:10 Attach   Edits.docx                                           .\VOL011\IMAGES\IMAGES002\00155163.pdf
                                               MLS: NPS ALB Construction Access Comments ‐ MDOT
00155164   00155167   9/21/2021 15:13 Attach   SHA Responses                                        .\VOL011\IMAGES\IMAGES002\00155164.pdf
00155168   00155170   9/21/2021 16:42 Email    RE: SDEIS‐ Executive Summary                         .\VOL011\IMAGES\IMAGES002\00155168.pdf
00155171   00155172   9/22/2021 11:57 Email    SDEIS Signature Page                                 .\VOL011\IMAGES\IMAGES002\00155171.pdf
00155173   00155174   9/22/2021 11:57 Attach   MLS SDEIS Signature Page_Rev_09.21.2021.docx         .\VOL011\IMAGES\IMAGES002\00155173.pdf
00155175   00155176   9/22/2021 12:26 Email    RE: SDEIS Signature Page                             .\VOL011\IMAGES\IMAGES002\00155175.pdf
00155177   00155178   9/22/2021 12:58 Email    Op Lanes Maryland Social                             .\VOL011\IMAGES\IMAGES002\00155177.pdf
00155179   00155180   9/22/2021 15:00 Email    RE: SDEIS Signature Page                             .\VOL011\IMAGES\IMAGES002\00155179.pdf
00155181   00155182   9/22/2021 15:15 Email    RE: Survey Plat of Morningstar Parcels               .\VOL011\IMAGES\IMAGES002\00155181.pdf
00155183   00155185   9/22/2021 15:15 Attach   DeedDescription ‐ Morningstar.pdf                    .\VOL011\IMAGES\IMAGES002\00155183.pdf
00155186   00155188   9/22/2021 15:43 Email    FW: Op Lanes Maryland                                .\VOL011\IMAGES\IMAGES002\00155186.pdf
00155189   00155190   9/22/2021 16:30 Email    FW: Op Lanes Maryland Social                         .\VOL011\IMAGES\IMAGES002\00155189.pdf
00155191   00155192   9/22/2021 16:30 Email    FW: Op Lanes Maryland Social                         .\VOL011\IMAGES\IMAGES002\00155191.pdf
00155193   00155195   9/22/2021 16:32 Email    FW: Op Lanes Maryland                                .\VOL011\IMAGES\IMAGES002\00155193.pdf
00155196   00155198   9/22/2021 16:32 Email    FW: Op Lanes Maryland                                .\VOL011\IMAGES\IMAGES002\00155196.pdf
                                               NEW VERSION: Updated VDOT and MDOT 495
                                               presentation for Ffx BOS Transp Committee Meeting
00155199   00155199   9/22/2021 16:57 Email    on 9‐28‐2021                                         .\VOL011\IMAGES\IMAGES002\00155199.pdf
                                               I‐495 & I‐270 MLS: City of Rockville Coordination
00155200   00155202   9/22/2021 17:32 Email    Meeting ‐ Meeting Notes and Materials                .\VOL011\IMAGES\IMAGES002\00155200.pdf
                                               2021‐09‐02_City of Rockville Coordination Meeting
00155203   00155211   9/22/2021 17:32 Attach   Notes.pdf                                            .\VOL011\IMAGES\IMAGES002\00155203.pdf
                                               Action Item 2021.09.02‐10 ‐ CLV Analysis Worksheet ‐
00155212   00155213   9/22/2021 17:32 Attach   Gude Dr at Gaither Rd.pdf                            .\VOL011\IMAGES\IMAGES002\00155212.pdf

00155214   00155231   9/22/2021 17:32 Attach   2021‐09‐02 City of Rockville Presentation ‐ Traffic.pdf   .\VOL011\IMAGES\IMAGES002\00155214.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 169 of 263

                                               2021‐09‐02 City of Rockville Presentation ‐ Design
00155232   00155237   9/22/2021 17:32 Attach   Refinements.pdf                                    .\VOL011\IMAGES\IMAGES002\00155232.pdf
                                               I‐495 & I‐270 MLS: City of Rockville Coordination
00155238   00155238   9/22/2021 17:32 Email    Meeting ‐ Meeting Notes and Materials              .\VOL011\IMAGES\IMAGES002\00155238.pdf
00155239   00155240    9/23/2021 9:58 Attach   2045I‐270NB‐LOS.pdf                                .\VOL011\IMAGES\IMAGES002\00155239.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_Mailer_8.5x
00155241   00155242   9/23/2021 10:45 Edoc     10.875_Avenir_mR06.pdf                             .\VOL011\IMAGES\IMAGES002\00155241.pdf
                                               RE_ MLS ‐ MDOT vs VDOT volumes on American
00155243   00155244   9/23/2021 10:58 Email    Legi....pdf                                        .\VOL011\IMAGES\IMAGES002\00155243.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_Displays_40x
00155245   00155270   9/23/2021 10:59 Edoc     30_mR15.pdf                                        .\VOL011\IMAGES\IMAGES002\00155245.pdf
                                               495 270 MLS SDEIS prior concurrence_2021‐09‐
00155271   00155272   9/23/2021 11:56 Edoc     23.docx                                            .\VOL011\IMAGES\IMAGES002\00155271.pdf
00155273   00155273   9/23/2021 12:13 Email    prior concurrence memo example                     .\VOL011\IMAGES\IMAGES002\00155273.pdf

00155274   00155275   9/23/2021 12:13 Attach   495 270 MLS DEIS prior concurrence_2020‐05‐29.pdf       .\VOL011\IMAGES\IMAGES002\00155274.pdf
                                               MLS_SDEIS_virtualpublichearing_091721_Print Ad
00155276   00155276   9/23/2021 12:42 Edoc     2021_12x10.5_mR06.pdf                                   .\VOL011\IMAGES\IMAGES002\00155276.pdf
                                               2021.09.23_Bruce Depuyt_PIA 10‐Day Close Out
00155277   00155277   9/23/2021 12:51 Edoc     Letter.pdf                                              .\VOL011\IMAGES\IMAGES002\00155277.pdf
00155278   00155279   9/23/2021 12:57 Attach   SDEIS comments                                          .\VOL011\IMAGES\IMAGES002\00155278.pdf
00155280   00155283   9/23/2021 14:47 Email    RE: MLS Cooperating Agency Email Contacts               .\VOL011\IMAGES\IMAGES002\00155280.pdf

                                               2021.09.23_Christopher J Olsen_PIA 10‐Day Letter
00155284   00155285   9/23/2021 17:27 Edoc     with Estimated Cost for Responsive Documents.pdf        .\VOL011\IMAGES\IMAGES002\00155284.pdf
00155286   00155287   9/23/2021 18:19 Email    Cooperating and Participating Agency Emails             .\VOL011\IMAGES\IMAGES002\00155286.pdf
00155288   00155289   9/24/2021 12:42 Email    Fwd: MLS Status                                         .\VOL011\IMAGES\IMAGES002\00155288.pdf
00155290   00155291   9/24/2021 12:47 Email    FW: MLS Status                                          .\VOL011\IMAGES\IMAGES002\00155290.pdf

00155292   00155292   9/24/2021 13:29 Attach   2021‐09‐30_NPS Coordination Meeting Agenda.pdf          .\VOL011\IMAGES\IMAGES002\00155292.pdf
                                               MLS: NPS Coordination Meeting ‐ GWMP ‐ Meeting
00155293   00155294   9/24/2021 13:29 Email    Agenda                                                  .\VOL011\IMAGES\IMAGES002\00155293.pdf
                                               I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting ‐
00155295   00155297   9/24/2021 14:42 Email    Meeting Notes and Agenda                                .\VOL011\IMAGES\IMAGES002\00155295.pdf
                                               FW: I‐495 & I‐270 MLS: M‐NCPPC Coordination
00155298   00155300   9/24/2021 15:55 Email    Meeting ‐ Meeting Notes and Agenda                      .\VOL011\IMAGES\IMAGES002\00155298.pdf

00155301   00155306   9/24/2021 15:55 Attach   2021‐09‐16_MNCPPC Mitigation Meeting Notes.pdf      .\VOL011\IMAGES\IMAGES002\00155301.pdf
                                               2021‐09‐30 MLS M‐NCPPC Park Impacts & Mitigation
00155307   00155307   9/24/2021 15:55 Attach   Meeting Agenda.pdf                                  .\VOL011\IMAGES\IMAGES002\00155307.pdf
00155308   00155310   9/24/2021 15:56 Email    RE: SDEIS‐ FTP                                      .\VOL011\IMAGES\IMAGES002\00155308.pdf
00155311   00155313   9/26/2021 19:45 Email    RE: SDEIS‐ FTP                                      .\VOL011\IMAGES\IMAGES002\00155311.pdf
00155314   00155318    9/27/2021 1:40 Edoc     HalfPage330x600_mR03.pdf                            .\VOL011\IMAGES\IMAGES002\00155314.pdf
00155319   00155323    9/27/2021 1:46 Edoc     Social_1200x628_mR05.pdf                            .\VOL011\IMAGES\IMAGES002\00155319.pdf
                                               I‐495_I‐
00155324   00155325    9/27/2021 8:32 Edoc     270_Hearing_2021_Mailer_8.5x10.875_mR07.pdf         .\VOL011\IMAGES\IMAGES002\00155324.pdf
                                               I‐495_I‐
00155326   00155326    9/27/2021 8:34 Edoc     270_Hearing_2021_EJflyer_8.5x10.875_mR07.pdf        .\VOL011\IMAGES\IMAGES002\00155326.pdf
                                               I‐495_I‐
00155327   00155328    9/27/2021 8:34 Edoc     270_Hearing_2021_Flyer_8.5x10.875_mR07.pdf          .\VOL011\IMAGES\IMAGES002\00155327.pdf
00155329   00155331    9/27/2021 8:53 Email    FW: SDEIS‐ FTP                                      .\VOL011\IMAGES\IMAGES002\00155329.pdf
00155332   00155332    9/27/2021 8:53 Attach   MLS SDEIS Document List_eNEPA.xlsx                  .\VOL011\IMAGES\IMAGES002\00155332.pdf        .\VOL011\NATIVES\NATIVES002\00155332.xlsx
00155333   00155343    9/27/2021 8:53 Attach   E‐NEPA_EPA Submission Guidelines.pdf                .\VOL011\IMAGES\IMAGES002\00155333.pdf
                                               FW: Managed Lanes Study: Environmental Justice
00155344   00155345    9/27/2021 9:17 Email    Working Group                                       .\VOL011\IMAGES\IMAGES002\00155344.pdf
                                               2021.03.02_MLS_EJWG_Discussion_Meeting_Notes_FI
00155346   00155352    9/27/2021 9:17 Attach   NAL.pdf                                             .\VOL011\IMAGES\IMAGES002\00155346.pdf
                                               FW: Why this name change when nothing else has
00155353   00155353    9/27/2021 9:22 Email    changed?                                            .\VOL011\IMAGES\IMAGES002\00155353.pdf
                                               Morningstar Cemetery: Cumulative and Visual Effects
00155354   00155356    9/27/2021 9:37 Email    Discussion ‐ 9/22 Meeting Follow‐up                 .\VOL011\IMAGES\IMAGES002\00155354.pdf
00155357   00155359    9/27/2021 9:41 Email    RE: SDEIS‐ FTP                                      .\VOL011\IMAGES\IMAGES002\00155357.pdf
00155360   00155362    9/27/2021 9:44 Email    RE: SDEIS‐ FTP                                      .\VOL011\IMAGES\IMAGES002\00155360.pdf

                                               FW: e‐NEPA Receipt of the I‐495 & I‐270 Managed
                                               Lanes Study Supplemental Draft Environmental Impact
00155363   00155364    9/27/2021 9:56 Email    Statement and Updated Draft Section 4(f) Evaluation .\VOL011\IMAGES\IMAGES002\00155363.pdf
                                               Morningstar Cemetery_ Cumulative and Visual
00155365   00155366   9/27/2021 10:37 Email    Eff....pdf                                          .\VOL011\IMAGES\IMAGES002\00155365.pdf
                                               MLS_SDEIS_virtualpublichearing_092721_PressRelease
00155367   00155369   9/27/2021 11:29 Edoc     V14.docx                                            .\VOL011\IMAGES\IMAGES002\00155367.pdf
                                               Re: FW: Why this name change when nothing else has
00155370   00155372   9/27/2021 11:35 Email    changed?                                            .\VOL011\IMAGES\IMAGES002\00155370.pdf
00155373   00155373   9/27/2021 11:45 Edoc     I‐495_I‐270_Print Ad 2021_12x10.5_mR07.pdf          .\VOL011\IMAGES\IMAGES002\00155373.pdf
                                               I‐495_I‐270_Displays_SDIES_Public
00155374   00155399   9/27/2021 11:54 Edoc     Hearing_2021_40x30_mR16.pdf                         .\VOL011\IMAGES\IMAGES002\00155374.pdf

                                               FW: e‐NEPA Receipt of the I‐495 & I‐270 Managed
                                               Lanes Study Supplemental Draft Environmental Impact
00155400   00155402   9/27/2021 14:52 Email    Statement and Updated Draft Section 4(f) Evaluation .\VOL011\IMAGES\IMAGES002\00155400.pdf
00155403   00155404   9/27/2021 20:16 Email    RE: CRITICAL: SDEIS PUBLICATION                     .\VOL011\IMAGES\IMAGES002\00155403.pdf
00155405   00155405   9/27/2021 20:32 Email    FW: FOR REVIEW: PC memo for 495/270 SDEIS           .\VOL011\IMAGES\IMAGES002\00155405.pdf
00155406   00155410    9/28/2021 6:22 Attach   GWMP design graphic                                 .\VOL011\IMAGES\IMAGES002\00155406.pdf
                                               ResourceMapping_200ft_GWMP_VDOT and AMP
00155411   00155411    9/28/2021 6:22 Attach   design as of 8‐17‐21.pdf                            .\VOL011\IMAGES\IMAGES002\00155411.pdf
00155412   00155413    9/28/2021 7:24 Email    FW: CRITICAL: SDEIS PUBLICATION                     .\VOL011\IMAGES\IMAGES002\00155412.pdf
00155414   00155414    9/28/2021 9:13 Email    FW: SEIS for I‐495/I‐270 P3                         .\VOL011\IMAGES\IMAGES002\00155414.pdf
00155415   00155416    9/28/2021 9:13 Attach   Ltr to FRA re 495&270 P3.docx                       .\VOL011\IMAGES\IMAGES002\00155415.pdf

00155417   00155417   9/28/2021 11:49 Email    I‐495 & I‐270 Managed Lanes Study‐ SDEIS Availability .\VOL011\IMAGES\IMAGES002\00155417.pdf

00155418   00155418   9/28/2021 11:51 Email    I‐495 & I‐270 Managed Lanes Study: SDEIS Availability .\VOL011\IMAGES\IMAGES002\00155418.pdf

00155419   00155419   9/28/2021 11:53 Email    I‐495 & I‐270 Managed Lanes Study: SDEIS Availability .\VOL011\IMAGES\IMAGES002\00155419.pdf

00155420   00155420   9/28/2021 11:57 Email    I‐495 & I‐270 Managed Lane Study: SDEIS Availability    .\VOL011\IMAGES\IMAGES002\00155420.pdf

00155421   00155421   9/28/2021 11:59 Email    I‐495 & I‐270 Managed Lanes Study: SDEIS Availability .\VOL011\IMAGES\IMAGES002\00155421.pdf

00155422   00155422   9/28/2021 12:01 Email    I‐495 & I‐270 Managed Lanes Study: SDEIS Availability   .\VOL011\IMAGES\IMAGES002\00155422.pdf
00155423   00155424   9/28/2021 12:21 Email    RE: SEIS for I‐495/I‐270 P3                             .\VOL011\IMAGES\IMAGES002\00155423.pdf
00155425   00155427   9/28/2021 12:30 Email    FW: SDEIS                                               .\VOL011\IMAGES\IMAGES002\00155425.pdf
00155428   00155430   9/28/2021 12:33 Email    FW: SDEIS                                               .\VOL011\IMAGES\IMAGES002\00155428.pdf
00155431   00155432   9/28/2021 12:47 Email    RE: FOR REVIEW: PC memo for 495/270 SDEIS               .\VOL011\IMAGES\IMAGES002\00155431.pdf
00155433   00155434   9/28/2021 12:59 Email    RE: FOR REVIEW: PC memo for 495/270 SDEIS               .\VOL011\IMAGES\IMAGES002\00155433.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 170 of 263

00155435   00155437   9/28/2021 13:04 Email    FW: SDEIS                                              .\VOL011\IMAGES\IMAGES002\00155435.pdf

00155438   00155438   9/28/2021 14:19 Email    I‐495 & I‐270 Managed Lanes Study: SDEIS Availability .\VOL011\IMAGES\IMAGES002\00155438.pdf
                                               I‐495_I‐270 Managed Lanes SDEIS Prior
00155439   00155439   9/28/2021 14:24 Email    Concurrence.pdf                                       .\VOL011\IMAGES\IMAGES002\00155439.pdf

00155440   00155441   9/28/2021 14:24 Attach   495 270 MLS SDEIS prior concurrence_2021‐09‐28.pdf .\VOL011\IMAGES\IMAGES002\00155440.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study: SDEIS
00155442   00155444   9/28/2021 14:42 Email    Availability                                       .\VOL011\IMAGES\IMAGES002\00155442.pdf

00155445   00155445   9/28/2021 14:42 Attach   SDEIS Comment Response Table_NPS_09‐27‐2021.xlsx .\VOL011\IMAGES\IMAGES002\00155445.pdf          .\VOL011\NATIVES\NATIVES002\00155445.xlsx
                                               SDEIS Comment Response Table_USACE_09‐27‐
00155446   00155446   9/28/2021 14:42 Attach   2021.xlsx                                        .\VOL011\IMAGES\IMAGES002\00155446.pdf          .\VOL011\NATIVES\NATIVES002\00155446.xlsx

00155447   00155447   9/28/2021 14:42 Attach   SDEIS Comment Response Table_EPA_09‐27‐2021.xlsx .\VOL011\IMAGES\IMAGES002\00155447.pdf          .\VOL011\NATIVES\NATIVES002\00155447.xlsx
                                               SDEIS Comment Response table_NCPC_09‐27‐
00155448   00155448   9/28/2021 14:42 Attach   2021.xlsx                                        .\VOL011\IMAGES\IMAGES002\00155448.pdf          .\VOL011\NATIVES\NATIVES002\00155448.xlsx
00155449   00155451   9/28/2021 14:42 Email    RE: SDEIS                                        .\VOL011\IMAGES\IMAGES002\00155449.pdf
00155452   00155455   9/28/2021 14:56 Email    FW: SDEIS                                        .\VOL011\IMAGES\IMAGES002\00155452.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study: SDEIS
00155456   00155458   9/28/2021 15:00 Email    Availability                                     .\VOL011\IMAGES\IMAGES002\00155456.pdf

00155459   00155459   9/28/2021 15:00 Attach   SDEIS Comment Response Table_MDE_09‐27‐2021.xlsx .\VOL011\IMAGES\IMAGES002\00155459.pdf          .\VOL011\NATIVES\NATIVES002\00155459.xlsx
                                               SDEIS Comment Response Table_VDOT_09‐27‐
00155460   00155460   9/28/2021 15:00 Attach   2021.xlsx                                          .\VOL011\IMAGES\IMAGES002\00155460.pdf        .\VOL011\NATIVES\NATIVES002\00155460.xlsx
                                               SDEIS Comment Response Table_MNCPPC_09‐27‐
00155461   00155461   9/28/2021 15:00 Attach   2021.xlsx                                          .\VOL011\IMAGES\IMAGES002\00155461.pdf        .\VOL011\NATIVES\NATIVES002\00155461.xlsx
00155462   00155463    9/29/2021 7:46 Email    FW: IAPA Meeting Presentation                      .\VOL011\IMAGES\IMAGES002\00155462.pdf
00155464   00155464    9/29/2021 7:53 Email    M‐NCPPC Traffic Comments Highlighted               .\VOL011\IMAGES\IMAGES002\00155464.pdf
00155465   00155469    9/29/2021 7:53 Attach   SDEIS Major Issues 8.19.21_.docx                   .\VOL011\IMAGES\IMAGES002\00155465.pdf
                                               RE: I‐495/I‐270 Managed Lanes SDEIS Prior
00155470   00155470    9/29/2021 8:43 Email    Concurrence                                        .\VOL011\IMAGES\IMAGES002\00155470.pdf
                                               FW_ I‐495_I‐270 Managed Lanes SDEIS Prior
00155471   00155471    9/29/2021 9:22 Email    Concu....pdf                                       .\VOL011\IMAGES\IMAGES002\00155471.pdf
                                               RE_ I‐495_I‐270 Managed Lanes SDEIS Prior
00155472   00155472    9/29/2021 9:43 Email    Concu....pdf                                       .\VOL011\IMAGES\IMAGES002\00155472.pdf
                                               Re: 9/30 NPS GWMP Joint Coordination Meeting ‐ PPT
00155473   00155474   9/29/2021 10:16 Email    Slides                                             .\VOL011\IMAGES\IMAGES002\00155473.pdf
00155475   00155476   9/29/2021 10:53 Email    FW: MLS Status                                     .\VOL011\IMAGES\IMAGES002\00155475.pdf
00155477   00155478   9/29/2021 10:54 Email    FW: Tolling/EJ                                     .\VOL011\IMAGES\IMAGES002\00155477.pdf
00155479   00155481   9/29/2021 10:54 Email    FW: SDEIS‐ Executive Summary                       .\VOL011\IMAGES\IMAGES002\00155479.pdf
00155482   00155484   9/29/2021 10:55 Email    FW: SDEIS‐ Executive Summary                       .\VOL011\IMAGES\IMAGES002\00155482.pdf
00155485   00155487   9/29/2021 10:56 Email    FW: SDEIS‐ Executive Summary                       .\VOL011\IMAGES\IMAGES002\00155485.pdf
                                               FW: P3 Compensatory SWM Plan ‐ FWHA Section 4(f)
00155488   00155490   9/29/2021 10:57 Email    as relates to MNCPPC                               .\VOL011\IMAGES\IMAGES002\00155488.pdf
                                               FW: REVIEW REQUESTED: I‐495/I‐270 MLS Supplement
00155491   00155493   9/29/2021 10:59 Email    DEIS Admin Draft and Appendix                      .\VOL011\IMAGES\IMAGES002\00155491.pdf

00155494   00155495   9/29/2021 10:59 Email    FW: Chapter 3, Appendix A and Appendix B Comments .\VOL011\IMAGES\IMAGES002\00155494.pdf
00155496   00155496   9/29/2021 11:02 Email    FW: Comment 115                                   .\VOL011\IMAGES\IMAGES002\00155496.pdf

00155497   00155499   9/29/2021 11:02 Email    FW: Chapter 3, Appendix A and Appendix B Comments .\VOL011\IMAGES\IMAGES002\00155497.pdf

00155500   00155502   9/29/2021 11:02 Email    RE: P3 ‐ Moses Hall Boundary Plat and description      .\VOL011\IMAGES\IMAGES002\00155500.pdf
00155503   00155505   9/29/2021 11:02 Attach   Legal Descriptions.pdf                                 .\VOL011\IMAGES\IMAGES002\00155503.pdf

                                               USE THIS VERSION OF PRESENTATION: Confirmation
                                               and Check‐in: VDOT 495 NEXT and Maryland Public
00155506   00155507   9/29/2021 11:06 Email    Information Meeting Tonight, Sept. 29                  .\VOL011\IMAGES\IMAGES002\00155506.pdf
                                               2021‐09‐29 495 NEXT PIM presentation_Final
00155508   00155541   9/29/2021 11:06 Attach   as_of_2021‐09‐29 mdot.pdf                              .\VOL011\IMAGES\IMAGES002\00155508.pdf
00155542   00155543   9/29/2021 11:07 Email    RE: Survey Plat of Morningstar Parcels                 .\VOL011\IMAGES\IMAGES002\00155542.pdf
00155544   00155544   9/29/2021 11:07 Attach   Moses Cemetery Plat_9‐29‐2021.pdf                      .\VOL011\IMAGES\IMAGES002\00155544.pdf

                                               FW: e‐NEPA Receipt of the I‐495 & I‐270 Managed
                                               Lanes Study Supplemental Draft Environmental Impact
00155545   00155547   9/29/2021 11:09 Email    Statement and Updated Draft Section 4(f) Evaluation .\VOL011\IMAGES\IMAGES002\00155545.pdf
00155548   00155549   9/29/2021 11:16 Email    FW: Survey Plat of Morningstar Parcels              .\VOL011\IMAGES\IMAGES002\00155548.pdf
                                               I‐495_I‐270_Displays_SDIES_Public
00155550   00155575   9/29/2021 12:15 Edoc     Hearing_2021_40x30_mR17KRT.pdf                      .\VOL011\IMAGES\IMAGES002\00155550.pdf
00155576   00155601   9/29/2021 12:19 Attach   NPS_PotentialTreeMitigation_09.29.21.pdf            .\VOL011\IMAGES\IMAGES002\00155576.pdf

00155602   00155607   9/29/2021 12:19 Attach   2021‐09‐22_NPS Coordination Meeting Notes.pdf          .\VOL011\IMAGES\IMAGES002\00155602.pdf

00155608   00155610   9/29/2021 13:04 Email    FW: NPS Coordination Meeting Notes and Action Items .\VOL011\IMAGES\IMAGES002\00155608.pdf

00155611   00155616   9/29/2021 13:04 Attach   2021‐09‐22_NPS Coordination Meeting Notes.pdf          .\VOL011\IMAGES\IMAGES002\00155611.pdf
00155617   00155642   9/29/2021 13:04 Attach   NPS_PotentialTreeMitigation_09.29.21.pdf               .\VOL011\IMAGES\IMAGES002\00155617.pdf

00155643   00155645   9/29/2021 13:05 Email    FW: NPS Coordination Meeting Notes and Action Items .\VOL011\IMAGES\IMAGES002\00155643.pdf
00155646   00155671   9/29/2021 13:05 Attach   NPS_PotentialTreeMitigation_09.29.21.pdf            .\VOL011\IMAGES\IMAGES002\00155646.pdf

00155672   00155677   9/29/2021 13:05 Attach   2021‐09‐22_NPS Coordination Meeting Notes.pdf          .\VOL011\IMAGES\IMAGES002\00155672.pdf
                                               FW: I‐495 & I‐270 Managed Lane Study: SDEIS
00155678   00155680   9/29/2021 13:56 Email    Availability                                           .\VOL011\IMAGES\IMAGES002\00155678.pdf
00155681   00155706   9/29/2021 16:07 Edoc     I‐495_I‐270_SDEIS_Displays_100121.pdf                  .\VOL011\IMAGES\IMAGES002\00155681.pdf
00155707   00155709   9/29/2021 16:36 Email    RE: SDEIS                                              .\VOL011\IMAGES\IMAGES002\00155707.pdf
                                               FW: I‐495 & I‐270 Managed Lane Study: SDEIS
00155710   00155712    9/30/2021 7:15 Email    Availability                                           .\VOL011\IMAGES\IMAGES002\00155710.pdf
00155713   00155714    9/30/2021 8:27 Email    Re: MLS: NPS Coordination Meeting ‐ GWMP               .\VOL011\IMAGES\IMAGES002\00155713.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study: Public Letter
00155715   00155717    9/30/2021 8:55 Email    to FTA                                                 .\VOL011\IMAGES\IMAGES002\00155715.pdf
00155718   00155718    9/30/2021 8:55 Attach   SEIS for Maryland I‐495/I‐270 P3                       .\VOL011\IMAGES\IMAGES002\00155718.pdf
00155719   00155720    9/30/2021 8:55 Attach   Ltr to FTA re 495&270 P3.docx                          .\VOL011\IMAGES\IMAGES002\00155719.pdf
                                               FW: NPS Coordination Meeting ‐ GWMP ‐ Meeting
00155721   00155723    9/30/2021 9:47 Email    Agenda                                                 .\VOL011\IMAGES\IMAGES002\00155721.pdf
                                               FW: I‐495 & I‐270 MLS: M‐NCPPC Coordination
00155724   00155726    9/30/2021 9:47 Email    Meeting ‐ Meeting Notes and Agenda                     .\VOL011\IMAGES\IMAGES002\00155724.pdf

                                               FW: I‐495 & I‐270 MLS: City of Rockville Coordination
00155727   00155729    9/30/2021 9:48 Email    Meeting ‐ Meeting Notes and Materials                 .\VOL011\IMAGES\IMAGES002\00155727.pdf
                                               2021‐09‐02_City of Rockville Coordination Meeting
00155730   00155738    9/30/2021 9:48 Attach   Notes.pdf                                             .\VOL011\IMAGES\IMAGES002\00155730.pdf
                                               Action Item 2021.09.02‐10 ‐ CLV Analysis Worksheet ‐
00155739   00155740    9/30/2021 9:48 Attach   Gude Dr at Gaither Rd.pdf                             .\VOL011\IMAGES\IMAGES002\00155739.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 171 of 263

00155741   00155758    9/30/2021 9:48 Attach   2021‐09‐02 City of Rockville Presentation ‐ Traffic.pdf   .\VOL011\IMAGES\IMAGES002\00155741.pdf
                                               2021‐09‐02 City of Rockville Presentation ‐ Design
00155759   00155764    9/30/2021 9:48 Attach   Refinements.pdf                                           .\VOL011\IMAGES\IMAGES002\00155759.pdf
00155765   00155766   9/30/2021 10:47 Email    FW: MLS: NPS Coordination Meeting ‐ GWMP                  .\VOL011\IMAGES\IMAGES002\00155765.pdf
                                               2021‐09‐30_VDOT Slides_NPS GWMP
00155767   00155775   9/30/2021 10:47 Attach   Meeting_revised.pptx                                      .\VOL011\IMAGES\IMAGES002\00155767.pdf
00155776   00155777   9/30/2021 12:50 Email    FW: SDEIS Executive Summary                               .\VOL011\IMAGES\IMAGES002\00155776.pdf
00155778   00155779   9/30/2021 12:51 Email    RE: SDEIS Executive Summary                               .\VOL011\IMAGES\IMAGES002\00155778.pdf

                                               Second Public Comment Period Now Open on
00155780   00155784   9/30/2021 16:45 Email    Recommended Toll Rate Ranges for Phase 1 South            .\VOL011\IMAGES\IMAGES002\00155780.pdf

                                               Second Public Comment Period Now Open on
00155785   00155789   9/30/2021 16:45 Email    Recommended Toll Rate Ranges for Phase 1 South            .\VOL011\IMAGES\IMAGES002\00155785.pdf

                                               Second Public Comment Period Now Open on
00155790   00155794   9/30/2021 16:45 Email    Recommended Toll Rate Ranges for Phase 1 South      .\VOL011\IMAGES\IMAGES002\00155790.pdf
                                               I‐495_I‐270_Hearing_2021__Chinese
00155795   00155795   9/30/2021 17:10 Edoc     EJflyer_8.5x10.875_mR10.pdf                         .\VOL011\IMAGES\IMAGES002\00155795.pdf
00155796   00155796   9/30/2021 17:12 Edoc     I‐495_I‐270_SDEIS_Info_Flyer_100121.pdf             .\VOL011\IMAGES\IMAGES002\00155796.pdf
                                               RE: I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting
00155797   00155798   9/30/2021 17:26 Email    ‐ Bi‐weekly                                         .\VOL011\IMAGES\IMAGES002\00155797.pdf
                                               FW: I‐495 & I‐270 MLS: M‐NCPPC Coordination
00155799   00155800    10/1/2021 7:03 Email    Meeting ‐ Bi‐weekly                                 .\VOL011\IMAGES\IMAGES002\00155799.pdf
                                               MNCPPC Meeting_Roles and
00155801   00155801    10/1/2021 7:03 Attach   Responsbilities_09.30.2021_DRAFT.pdf                .\VOL011\IMAGES\IMAGES002\00155801.pdf
                                               MNCPPC Coordination
00155802   00155802    10/1/2021 7:03 Attach   Schedule_09.30.2021_DRAFT.xlsx                      .\VOL011\IMAGES\IMAGES002\00155802.pdf          .\VOL011\NATIVES\NATIVES002\00155802.xlsx
                                               FW: I‐495 & I‐270 MLS: M‐NCPPC Coordination
00155803   00155804    10/1/2021 7:03 Email    Meeting ‐ Bi‐weekly                                 .\VOL011\IMAGES\IMAGES002\00155803.pdf

00155805   00155807    10/1/2021 7:05 Email    FW: NPS Coordination Meeting ‐ GWMP ‐ Presentation .\VOL011\IMAGES\IMAGES002\00155805.pdf
                                               2021‐09‐30_MDOTSHA_VDOT_NPS GWMP
00155808   00155816    10/1/2021 7:05 Attach   Coordination Meeting Presentation.pdf                   .\VOL011\IMAGES\IMAGES002\00155808.pdf
00155817   00155817    10/1/2021 9:49 Email    SDEIS Comment Extension Request                         .\VOL011\IMAGES\IMAGES002\00155817.pdf
                                               SDEIS‐495‐270‐comment‐period‐letter2021‐Oct1
00155818   00155820    10/1/2021 9:49 Attach   (1).pdf                                                 .\VOL011\IMAGES\IMAGES002\00155818.pdf
                                               RE: FHWA No Action Required ‐ Tribal Notification of
00155821   00155822    10/1/2021 9:53 Email    MLS revised APE                                         .\VOL011\IMAGES\IMAGES002\00155821.pdf
00155823   00155823   10/1/2021 14:08 Email    no toll lanes                                           .\VOL011\IMAGES\IMAGES002\00155823.pdf
                                               Fw: MDOT SHA, Federal Highway Administration
                                               Publish Supplemental Draft Environmental Impact
                                               Statement (SDEIS) for the I‐495 & I‐270 Managed
00155824   00155827   10/1/2021 17:04 Email    Lanes Study                                             .\VOL011\IMAGES\IMAGES002\00155824.pdf
                                               I‐495_I‐270_Hearing_2021_Amharic
00155828   00155828   10/1/2021 18:29 Edoc     EJflyer_8.5x10.875_mR+AS.pdf                            .\VOL011\IMAGES\IMAGES002\00155828.pdf
00155829   00155830    10/4/2021 7:51 Email    WBFC/Section 106 questions                              .\VOL011\IMAGES\IMAGES002\00155829.pdf
00155831   00155912   10/4/2021 10:36 Attach   2010_Jones_berkeley_0028E_10679.pdf                     .\VOL011\IMAGES\IMAGES002\00155831.pdf
                                               I‐495_I‐270_Hearing_2021__Spanish
00155913   00155913   10/4/2021 11:59 Edoc     EJflyer_8.5x10.875_mR10.pdf                             .\VOL011\IMAGES\IMAGES002\00155913.pdf
                                               RE: SDEIS Virtual Public Hearing ‐ Dry Runs and Hearing
00155914   00155915   10/5/2021 12:27 Email    Day                                                     .\VOL011\IMAGES\IMAGES002\00155914.pdf
                                               RE: SDEIS Virtual Public Hearing ‐ Dry Runs and Hearing
00155916   00155917   10/5/2021 12:29 Email    Day                                                     .\VOL011\IMAGES\IMAGES002\00155916.pdf

00155918   00155919   10/5/2021 13:57 Email    Draft MLS 106 Signatories Presentation and Draf....pdf .\VOL011\IMAGES\IMAGES002\00155918.pdf
                                               Signatory_and_CP_designation_for_FHWA_DRAFT.doc
00155920   00155921   10/5/2021 13:57 Attach   x                                                      .\VOL011\IMAGES\IMAGES002\00155920.pdf
                                               MLS_495_270_106_Signatories_Mtg_10_18_21_DRAF.
00155922   00155929   10/5/2021 13:57 Attach   pptx                                                   .\VOL011\IMAGES\IMAGES002\00155922.pdf

00155930   00155931   10/5/2021 15:12 Edoc     2021.10.05_George Carlisle_PIA 10‐Day Letter.pdf .\VOL011\IMAGES\IMAGES002\00155930.pdf
00155932   00155933   10/5/2021 15:41 Email    Conversation with SHPO about Morningstar.pdf     .\VOL011\IMAGES\IMAGES002\00155932.pdf
00155934   00155934   10/5/2021 16:42 Email    Support Alternative 9 ‐‐ Phase 1 South           .\VOL011\IMAGES\IMAGES002\00155934.pdf
                                               I‐495_I‐
                                               270_Hearing_2021_EJflyer_8.5x10.875_French_mR02.
00155935   00155935   10/5/2021 23:11 Edoc     pdf                                              .\VOL011\IMAGES\IMAGES002\00155935.pdf
                                               I‐495_I‐
                                               270_Hearing_2021_EJflyer_8.5x10.875_Korean_mR01.
00155936   00155936   10/5/2021 23:20 Edoc     pdf                                              .\VOL011\IMAGES\IMAGES002\00155936.pdf
00155937   00155937    10/6/2021 8:49 Email    RE: Agenda for MLS Internal meeting              .\VOL011\IMAGES\IMAGES002\00155937.pdf
00155938   00155939    10/6/2021 9:30 Attach   Managed Lanes.Van Hollen Reply.pdf               .\VOL011\IMAGES\IMAGES002\00155938.pdf
00155940   00155940   10/6/2021 11:32 Email    Support Alternative 9 ‐‐ Phase 1 South           .\VOL011\IMAGES\IMAGES002\00155940.pdf
00155941   00155941   10/6/2021 12:41 Email    Support Alternative 9 ‐‐ Phase 1 South           .\VOL011\IMAGES\IMAGES002\00155941.pdf
                                               FEIS LOD Reduction Areas for AMP
00155942   00155943   10/6/2021 13:56 Email    Discussion/Consideration                         .\VOL011\IMAGES\IMAGES002\00155942.pdf
00155944   00155948   10/6/2021 13:56 Attach   AMP LOD Consideration Areas_10‐05‐2021.docx      .\VOL011\IMAGES\IMAGES002\00155944.pdf
00155949   00155949   10/6/2021 14:38 Email    Support Alternative 9 ‐‐ Phase 1 South           .\VOL011\IMAGES\IMAGES002\00155949.pdf
00155950   00155950   10/6/2021 15:22 Email    Support Alternative 9 ‐‐ Phase 1 South           .\VOL011\IMAGES\IMAGES002\00155950.pdf
00155951   00155951   10/6/2021 16:42 Email    Support Alternative 9 ‐‐ Phase 1 South           .\VOL011\IMAGES\IMAGES002\00155951.pdf
                                               RE: Morningstar property access for renderings ‐
00155952   00155955    10/7/2021 8:45 Email    toolkit to support effects finding               .\VOL011\IMAGES\IMAGES002\00155952.pdf
00155956   00155956    10/7/2021 8:45 Attach   MosesHall‐AMP Design.pdf                         .\VOL011\IMAGES\IMAGES002\00155956.pdf
00155957   00155957    10/7/2021 8:45 Attach   MosesHall‐AMP Design‐A.pdf                       .\VOL011\IMAGES\IMAGES002\00155957.pdf

                                               I‐495 & I‐270 Managed Lanes Study: Supplemental
00155958   00155958   10/7/2021 11:30 Email    Draft Environmental Impact Statement                      .\VOL011\IMAGES\IMAGES002\00155958.pdf

                                               I‐495 & I‐270 Managed Lanes Study: Supplemental
00155959   00155959   10/7/2021 11:30 Email    Draft Environmental Impact Statement             .\VOL011\IMAGES\IMAGES002\00155959.pdf
00155960   00155960   10/7/2021 11:51 Email    From WBUR NPR                                    .\VOL011\IMAGES\IMAGES002\00155960.pdf
00155961   00155961   10/7/2021 12:35 Email    Re: From WBUR NPR                                .\VOL011\IMAGES\IMAGES002\00155961.pdf
00155962   00155979   10/7/2021 13:03 Edoc     SDEIS_00_Executive_Summary_SPANISH.pdf           .\VOL011\IMAGES\IMAGES002\00155962.pdf
00155980   00155996   10/7/2021 13:04 Edoc     SDEIS_00_Executive_Summary_KOREAN.pdf            .\VOL011\IMAGES\IMAGES002\00155980.pdf
00155997   00156016   10/7/2021 13:05 Edoc     SDEIS_00_Executive_Summary_FRENCH.pdf            .\VOL011\IMAGES\IMAGES002\00155997.pdf
00156017   00156031   10/7/2021 13:06 Edoc     SDEIS_00_Executive_Summary_CHINESE.pdf           .\VOL011\IMAGES\IMAGES002\00156017.pdf
00156032   00156049   10/7/2021 13:07 Edoc     SDEIS_00_Executive_Summary_AMHARIC.pdf           .\VOL011\IMAGES\IMAGES002\00156032.pdf
                                               MLS_HearingFlyerCoverletter_EJOrgs_Mail_MC_10072
00156050   00156051   10/7/2021 13:19 Edoc     021.docx                                         .\VOL011\IMAGES\IMAGES002\00156050.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156052   00156053   10/7/2021 13:24 Email    Justice Initiative                               .\VOL011\IMAGES\IMAGES002\00156052.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156054   00156055   10/7/2021 13:24 Email    Justice Initiative                               .\VOL011\IMAGES\IMAGES002\00156054.pdf
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                                                FW: I‐495 & I‐270 Managed Lanes Study‐
00156056   00156058    10/7/2021 13:45 Email    Environmental Justice Initiative                    .\VOL011\IMAGES\IMAGES002\00156056.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156059   00156060    10/7/2021 13:55 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156059.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156061   00156062    10/7/2021 13:55 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156061.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156063   00156064    10/7/2021 13:55 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156063.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156065   00156066    10/7/2021 13:55 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156065.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156067   00156068    10/7/2021 13:55 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156067.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156069   00156070    10/7/2021 13:55 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156069.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156071   00156072    10/7/2021 13:55 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156071.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156073   00156074    10/7/2021 13:56 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156073.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156075   00156076    10/7/2021 13:56 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156075.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156077   00156078    10/7/2021 13:58 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156077.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156079   00156080    10/7/2021 13:58 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156079.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156081   00156082    10/7/2021 13:58 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156081.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156083   00156084    10/7/2021 13:58 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156083.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156085   00156086    10/7/2021 13:58 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156085.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156087   00156088    10/7/2021 13:58 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156087.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156089   00156090    10/7/2021 13:58 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156089.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156091   00156092    10/7/2021 13:58 Email    Justice Initiative                                  .\VOL011\IMAGES\IMAGES002\00156091.pdf
                                                MLS_HearingFlyerCoverletter_Library_Mail_MC_1007
00156093   00156094    10/7/2021 14:06 Edoc     2021.docx                                           .\VOL011\IMAGES\IMAGES002\00156093.pdf
00156095   00156096    10/7/2021 15:10 Attach   830721 Maring, Gary.pdf                             .\VOL011\IMAGES\IMAGES002\00156095.pdf
00156097   00156097    10/7/2021 16:29 Email    I‐495/I‐270 SDEIS: Species Impacts Section          .\VOL011\IMAGES\IMAGES002\00156097.pdf
                                                RE: I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting
00156098   00156099    10/7/2021 16:34 Email    ‐ Bi‐weekly                                         .\VOL011\IMAGES\IMAGES002\00156098.pdf

00156100   00156106    10/7/2021 16:34 Attach   2021‐09‐30_MNCPPC Mitigation Meeting Notes.pdf     .\VOL011\IMAGES\IMAGES002\00156100.pdf
                                                2021‐10‐14 MLS M‐NCPPC Park Impacts & Mitigation
00156107   00156107    10/7/2021 16:34 Attach   Meeting Agenda.docx                                .\VOL011\IMAGES\IMAGES002\00156107.pdf
00156108   00156108    10/7/2021 17:04 Email    Moses Hall Cemetery Avoidance                      .\VOL011\IMAGES\IMAGES002\00156108.pdf
                                                Moses Hall Cemetery_Avoidance Graphics Progression
00156109   00156113    10/7/2021 17:04 Attach   09.07.2021_small.pdf                               .\VOL011\IMAGES\IMAGES002\00156109.pdf

00156114   00156114     10/8/2021 9:28 Email    I‐495 and I‐270 MLS Section 106 Materials ‐ FMH....pdf .\VOL011\IMAGES\IMAGES002\00156114.pdf

00156115   00156118     10/8/2021 9:28 Attach   FMH Comments on GPR Materials 10.08.21 ‐ Final.pdf .\VOL011\IMAGES\IMAGES002\00156115.pdf

00156119   00156121     10/8/2021 9:28 Attach   FMH Comments on Section 106 Materials 10.08.21.pdf .\VOL011\IMAGES\IMAGES002\00156119.pdf
                                                Re: I‐495 and I‐270 MLS Section 106 Materials,
00156122   00156125     10/8/2021 9:28 Email    Comments Requested by October 8                    .\VOL011\IMAGES\IMAGES002\00156122.pdf
                                                RE: I‐495 and I‐270 MLS Section 106 Materials,
00156126   00156129     10/8/2021 9:36 Email    Comments Requested by October 8                    .\VOL011\IMAGES\IMAGES002\00156126.pdf
                                                Re_ I‐495 and I‐270 MLS Section 106 Materials,
00156130   00156133    10/8/2021 10:29 Email    ...(3).pdf                                         .\VOL011\IMAGES\IMAGES002\00156130.pdf

00156134   00156134    10/8/2021 10:37 Attach   2021‐10‐14_NPS Mitigation Meeting Agenda.docx            .\VOL011\IMAGES\IMAGES002\00156134.pdf
00156135   00156136    10/8/2021 10:37 Email    RE: MLS: NPS Coordination Meeting ‐ GWMP                 .\VOL011\IMAGES\IMAGES002\00156135.pdf

00156137   00156137    10/8/2021 10:37 Attach   2021‐10‐14_NPS Mitigation Meeting Agenda.docx            .\VOL011\IMAGES\IMAGES002\00156137.pdf

00156138   00156142    10/8/2021 10:37 Attach   2021‐09‐30_NPS Coordination Meeting Notes.pdf            .\VOL011\IMAGES\IMAGES002\00156138.pdf
00156143   00156143    10/8/2021 11:17 Email    Support Alternative 9 ‐‐ Phase 1 South                   .\VOL011\IMAGES\IMAGES002\00156143.pdf
00156144   00156144    10/8/2021 12:04 Email    Support Alternative 9 ‐‐ Phase 1 South                   .\VOL011\IMAGES\IMAGES002\00156144.pdf
                                                Re: [EXTERNAL] I‐495 and I‐270 MLS Section 106
00156145   00156148    10/8/2021 12:22 Email    Materials, Comments Requested by October 8               .\VOL011\IMAGES\IMAGES002\00156145.pdf
                                                20211008 I495 & I270 MLS Materials_ NPS Comments
00156149   00156149    10/8/2021 12:22 Attach   (1).xlsx                                                 .\VOL011\IMAGES\IMAGES002\00156149.pdf    .\VOL011\NATIVES\NATIVES002\00156149.xlsx
                                                NPS Comments on MDOT MLS Section 106 Materials
00156150   00156151    10/8/2021 12:22 Attach   provided 09_08.docx                                      .\VOL011\IMAGES\IMAGES002\00156150.pdf
                                                Carderock Springs Comments on SHA Section 106
                                                identification efforts I‐495/I‐270 Managed Lane
00156152   00156152    10/8/2021 14:01 Email    project                                                  .\VOL011\IMAGES\IMAGES002\00156152.pdf
00156153   00156153    10/8/2021 14:11 Email    Support Alternative 9 ‐‐ Phase 1 South                   .\VOL011\IMAGES\IMAGES002\00156153.pdf
                                                Carderock Springs Comments on SHA Section 106
00156154   00156154    10/8/2021 15:05 Email    i....pdf                                                 .\VOL011\IMAGES\IMAGES002\00156154.pdf

00156155   00156158    10/8/2021 15:05 Attach   CSCA Comments re SHA Archer Section 106 10 08 .pdf       .\VOL011\IMAGES\IMAGES002\00156155.pdf
00156159   00156159    10/8/2021 15:10 Email    Support Alternative 9 ‐‐ Phase 1 South                   .\VOL011\IMAGES\IMAGES002\00156159.pdf
                                                RE_ I‐495 and I‐270 MLS Section 106 Materials,
00156160   00156160    10/8/2021 15:43 Email    ...(3).pdf                                               .\VOL011\IMAGES\IMAGES002\00156160.pdf
                                                MNCPPC Morningstar Cemetery GPR SWM comments
00156161   00156164    10/8/2021 15:43 Attach   O.pdf                                                    .\VOL011\IMAGES\IMAGES002\00156161.pdf
00156165   00156165    10/8/2021 16:03 Email    NPS Mitigation Follow‐Up                                 .\VOL011\IMAGES\IMAGES002\00156165.pdf

00156166   00156166    10/8/2021 18:01 Email    I‐495 and I‐270 MLS Section 106 Materials ‐ Nat....pdf   .\VOL011\IMAGES\IMAGES002\00156166.pdf
                                                NTHP_New 106 Documentation Comments
00156167   00156168    10/8/2021 18:01 Attach   Final_10.8.pdf                                           .\VOL011\IMAGES\IMAGES002\00156167.pdf
                                                CJCA Comment Letter to I‐495 and I‐270 MLS
00156169   00156169    10/8/2021 18:33 Email    Sect....pdf                                              .\VOL011\IMAGES\IMAGES002\00156169.pdf
                                                2021_10_8 CJCA Comments on Section 106
00156170   00156173    10/8/2021 18:33 Attach   Materia.pdf                                              .\VOL011\IMAGES\IMAGES002\00156170.pdf
00156174   00156185     10/9/2021 1:07 Edoc     Major or Complex Bridges Final.pptx                      .\VOL011\IMAGES\IMAGES002\00156174.pdf
00156186   00156188   10/11/2021 14:03 Email    FW: SDEIS Comment Extension Request                      .\VOL011\IMAGES\IMAGES002\00156186.pdf
00156189   00156189   10/11/2021 16:40 Email    VDOT SDEIS comment ‐ Live Oak Drive                      .\VOL011\IMAGES\IMAGES002\00156189.pdf
00156190   00156191   10/11/2021 16:47 Email    Re: VDOT SDEIS comment ‐ Live Oak Drive                  .\VOL011\IMAGES\IMAGES002\00156190.pdf
00156192   00156192   10/11/2021 16:57 Email    Support Alternative 9 ‐‐ Phase 1 South                   .\VOL011\IMAGES\IMAGES002\00156192.pdf
                                                American Legion Bridge Replacement‐ Strike
00156193   00156194   10/11/2021 23:01 Edoc     Team.pptx                                                .\VOL011\IMAGES\IMAGES002\00156193.pdf
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00156195   00156195    10/12/2021 8:07 Email    DOT Climate Action Plan                            .\VOL011\IMAGES\IMAGES002\00156195.pdf
00156196   00156197    10/12/2021 9:13 Email    RE: VDOT SDEIS comment ‐ Live Oak Drive            .\VOL011\IMAGES\IMAGES002\00156196.pdf
00156198   00156198   10/12/2021 10:05 Email    Support Alternative 9 ‐‐ Phase 1 South             .\VOL011\IMAGES\IMAGES002\00156198.pdf
                                                Section 106 Comments on the I‐495 & I‐270
00156199   00156199   10/12/2021 10:40 Email    Manag....pdf                                       .\VOL011\IMAGES\IMAGES002\00156199.pdf

00156200   00156203   10/12/2021 10:40 Attach   MDSierraClub‐Section106Comments‐10‐08‐2021.pdf .\VOL011\IMAGES\IMAGES002\00156200.pdf
00156204   00156204   10/12/2021 11:32 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156204.pdf
00156205   00156205   10/12/2021 12:35 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156205.pdf
00156206   00156206   10/12/2021 14:01 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156206.pdf
                                                Re: I‐495 & I‐270 Managed Lanes Study‐
00156207   00156209   10/12/2021 14:28 Email    Environmental Justice Initiative                       .\VOL011\IMAGES\IMAGES002\00156207.pdf
                                                Re: I‐495 & I‐270 Managed Lanes Study‐
00156210   00156212   10/12/2021 14:30 Email    Environmental Justice Initiative                       .\VOL011\IMAGES\IMAGES002\00156210.pdf
00156213   00156213   10/12/2021 14:48 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156213.pdf
                                                FW: Section 106 Comments on the I‐495 & I‐270
00156214   00156214   10/12/2021 15:24 Email    Managed Lane Study, 10/8/2021                          .\VOL011\IMAGES\IMAGES002\00156214.pdf
                                                FW: Section 106 Comments on the I‐495 & I‐270
00156215   00156216   10/12/2021 15:24 Email    Managed Lane Study, 10/8/2021                          .\VOL011\IMAGES\IMAGES002\00156215.pdf
                                                Re: I‐495 & I‐270 Managed Lanes Study‐
00156217   00156219   10/12/2021 15:44 Email    Environmental Justice Initiative                       .\VOL011\IMAGES\IMAGES002\00156217.pdf
00156220   00156220   10/12/2021 15:49 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156220.pdf
00156221   00156222   10/12/2021 15:52 Email    RE: I‐495/I‐270 SDEIS: Species Impacts Section         .\VOL011\IMAGES\IMAGES002\00156221.pdf
                                                I‐495 I‐270 Managed Lanes Study Section 7 conclusion
00156223   00156225   10/12/2021 15:52 Attach   letter FINAL (003).pdf                                 .\VOL011\IMAGES\IMAGES002\00156223.pdf
00156226   00156226   10/12/2021 15:54 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156226.pdf
00156227   00156228   10/12/2021 16:12 Email    RE: I‐495/I‐270 SDEIS: Species Impacts Section         .\VOL011\IMAGES\IMAGES002\00156227.pdf
                                                Re: I‐495 & I‐270 Managed Lanes Study‐
00156229   00156230   10/12/2021 16:23 Email    Environmental Justice Initiative                       .\VOL011\IMAGES\IMAGES002\00156229.pdf
00156231   00156231   10/12/2021 16:44 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156231.pdf
00156232   00156232   10/12/2021 17:45 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156232.pdf
                                                American Legion Bridge Replacement‐ Strike Team
00156233   00156233   10/12/2021 21:21 Edoc     V2.pptx                                                .\VOL011\IMAGES\IMAGES002\00156233.pdf
                                                MLS_HearingFlyerCoverletter_EJOrgs_Eblast_MC_101
00156234   00156236    10/13/2021 8:58 Edoc     32021.docx                                             .\VOL011\IMAGES\IMAGES002\00156234.pdf
                                                American Legion Bridge I‐270 Traffic Relief Plan Phase
00156237   00156238    10/13/2021 9:00 Email    1 South_TIFIA                                          .\VOL011\IMAGES\IMAGES002\00156237.pdf
00156239   00156239   10/13/2021 10:03 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156239.pdf
00156240   00156240   10/13/2021 10:30 Email    MLS EJ working group                                   .\VOL011\IMAGES\IMAGES002\00156240.pdf
                                                2021.03.02_MLS_EJWG_Discussion_Meeting_Notes_FI
00156241   00156247   10/13/2021 10:30 Attach   NAL.pdf                                                .\VOL011\IMAGES\IMAGES002\00156241.pdf
00156248   00156248   10/13/2021 10:30 Attach   EJ Working Group Mtg No.3_Agenda_091521.pdf            .\VOL011\IMAGES\IMAGES002\00156248.pdf
00156249   00156249   10/13/2021 11:00 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156249.pdf
00156250   00156250   10/13/2021 11:52 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156250.pdf
00156251   00156251   10/13/2021 13:29 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156251.pdf
00156252   00156252   10/13/2021 14:34 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156252.pdf
00156253   00156255   10/13/2021 14:35 Attach   Re: WBFC/Section 106 questions                         .\VOL011\IMAGES\IMAGES002\00156253.pdf
00156256   00156256   10/13/2021 15:32 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156256.pdf
00156257   00156257   10/13/2021 16:45 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156257.pdf
                                                CMNTS: C&O Canal Association ‐‐ I‐495 and I‐270 MLS
                                                Section 106 Materials, Comments Requested by
00156258   00156261    10/14/2021 6:39 Email    October 8                                              .\VOL011\IMAGES\IMAGES002\00156258.pdf
                                                FW: I‐495 and I‐270 MLS Section 106 Materials ‐
00156262   00156262    10/14/2021 7:01 Email    FMH/MT88 Comment Letters                               .\VOL011\IMAGES\IMAGES002\00156262.pdf
00156263   00156265    10/14/2021 9:28 Email    RE: [EXTERNAL] Re: Washington Biologist Club           .\VOL011\IMAGES\IMAGES002\00156263.pdf
00156266   00156268    10/14/2021 9:28 Attach   Re: WBFC/Section 106 questions                         .\VOL011\IMAGES\IMAGES002\00156266.pdf
00156269   00156271    10/14/2021 9:28 Attach   Re: WBFC/Section 106 questions                         .\VOL011\IMAGES\IMAGES002\00156269.pdf
                                                RE: I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting
00156272   00156274    10/14/2021 9:55 Email    ‐ Bi‐weekly                                            .\VOL011\IMAGES\IMAGES002\00156272.pdf
                                                Re: I‐495 & I‐270 Managed Lanes Study‐
00156275   00156278   10/14/2021 16:28 Email    Environmental Justice Initiative                       .\VOL011\IMAGES\IMAGES002\00156275.pdf
00156279   00156281   10/14/2021 17:35 Email    RE: MLS: NPS Coordination Meeting ‐ Biweekly           .\VOL011\IMAGES\IMAGES002\00156279.pdf
00156282   00156282   10/15/2021 10:05 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156282.pdf
                                                2021.09.15_MLS_EJWG_Discussion_Meeting_Notes_v
00156283   00156285   10/15/2021 10:44 Attach   1_bcr.docx                                             .\VOL011\IMAGES\IMAGES002\00156283.pdf
                                                RE: Dry Run 3 ‐ MDOT SHA Managed Lanes Study
00156286   00156287   10/15/2021 11:18 Email    SDEIS Public Hearing                                   .\VOL011\IMAGES\IMAGES002\00156286.pdf
00156288   00156288   10/15/2021 11:26 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156288.pdf
00156289   00156289   10/15/2021 12:00 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156289.pdf
00156290   00156290   10/15/2021 12:48 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156290.pdf
00156291   00156291   10/15/2021 14:21 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156291.pdf
                                                RE: I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting
00156292   00156294   10/15/2021 16:39 Email    ‐ Bi‐weekly                                            .\VOL011\IMAGES\IMAGES002\00156292.pdf
00156295   00156295   10/17/2021 23:09 Attach   FMH MT88 10.17 Tour Anniversary Letter.pdf             .\VOL011\IMAGES\IMAGES002\00156295.pdf
00156296   00156296    10/18/2021 8:44 Attach   2021‐10‐18 MLS 106 Signatories Mtg Agenda.pdf          .\VOL011\IMAGES\IMAGES002\00156296.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study: Programmatic
00156297   00156298    10/18/2021 8:44 Email    Agreement Discussion                                   .\VOL011\IMAGES\IMAGES002\00156297.pdf
00156299   00156299   10/18/2021 10:08 Email    Upcoming EAs/EISs ‐ Maryland                           .\VOL011\IMAGES\IMAGES002\00156299.pdf
00156300   00156300   10/18/2021 10:24 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156300.pdf
00156301   00156301   10/18/2021 10:40 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156301.pdf
00156302   00156302   10/18/2021 10:59 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156302.pdf
00156303   00156304   10/18/2021 11:14 Email    RE: Moses Hall Cemetery Avoidance                      .\VOL011\IMAGES\IMAGES002\00156303.pdf
                                                Moses Hall Cemetery_Avoidance Graphics Progression
00156305   00156309   10/18/2021 11:14 Attach   09.07.2021_small.pdf                                   .\VOL011\IMAGES\IMAGES002\00156305.pdf
00156310   00156310   10/18/2021 11:39 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156310.pdf
                                                Photos for renderings Wednesday 10/20 early
00156311   00156311   10/18/2021 12:27 Email    afternoon                                              .\VOL011\IMAGES\IMAGES002\00156311.pdf
                                                Photos for renderings Wednesday 10/20 early
00156312   00156312   10/18/2021 12:27 Email    afternoon                                              .\VOL011\IMAGES\IMAGES002\00156312.pdf
00156313   00156313   10/18/2021 12:31 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156313.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study‐
00156314   00156316   10/18/2021 12:46 Email    Environmental Justice Initiative                       .\VOL011\IMAGES\IMAGES002\00156314.pdf
00156317   00156317   10/18/2021 14:11 Email    Support Alternative 9 ‐‐ Phase 1 South                 .\VOL011\IMAGES\IMAGES002\00156317.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study: Programmatic
00156318   00156319   10/18/2021 14:35 Email    Agreement Discussion                                   .\VOL011\IMAGES\IMAGES002\00156318.pdf
                                                RE_ I‐495 & I‐270 Managed Lanes Study_
00156320   00156321   10/18/2021 15:35 Email    Programm....pdf                                        .\VOL011\IMAGES\IMAGES002\00156320.pdf

00156322   00156332   10/18/2021 15:35 Attach   MLS_495_270_106_Signatories_Mtg_10_18_21.pdf       .\VOL011\IMAGES\IMAGES002\00156322.pdf
00156333   00156333   10/18/2021 15:43 Email    Support Alternative 9 ‐‐ Phase 1 South             .\VOL011\IMAGES\IMAGES002\00156333.pdf
                                                REMINDER ‐ Dry Run 3 ‐ MDOT SHA Managed Lanes
00156334   00156334   10/18/2021 15:54 Email    Study SDEIS Public Hearing                         .\VOL011\IMAGES\IMAGES002\00156334.pdf
00156335   00156335   10/18/2021 16:23 Email    Support Alternative 9 ‐‐ Phase 1 South             .\VOL011\IMAGES\IMAGES002\00156335.pdf
00156336   00156336   10/18/2021 16:47 Email    Support Alternative 9 ‐‐ Phase 1 South             .\VOL011\IMAGES\IMAGES002\00156336.pdf
00156337   00156337   10/18/2021 16:55 Email    Support Alternative 9 ‐‐ Phase 1 South             .\VOL011\IMAGES\IMAGES002\00156337.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                   Filed 05/03/23                           Page 174 of 263

00156338   00156338   10/18/2021 17:29 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156338.pdf
                                                Re: Photos for renderings Wednesday 10/20 early
00156339   00156340    10/19/2021 8:42 Email    afternoon                                               .\VOL011\IMAGES\IMAGES002\00156339.pdf
00156341   00156342    10/19/2021 8:44 Email    RE: Moses Hall Cemetery Avoidance                       .\VOL011\IMAGES\IMAGES002\00156341.pdf
                                                Re: Photos for renderings Wednesday 10/20 early
00156343   00156344    10/19/2021 9:28 Email    afternoon                                               .\VOL011\IMAGES\IMAGES002\00156343.pdf
00156345   00156347    10/19/2021 9:33 Email    RE: Quarterly meeting tomorrow                          .\VOL011\IMAGES\IMAGES002\00156345.pdf
00156348   00156348    10/19/2021 9:33 Attach   AGENDA_10_19_2021.pdf                                   .\VOL011\IMAGES\IMAGES002\00156348.pdf
                                                Re: Photos for renderings Wednesday 10/20 early
00156349   00156350    10/19/2021 9:45 Email    afternoon                                               .\VOL011\IMAGES\IMAGES002\00156349.pdf
                                                RE: Photos for renderings Wednesday 10/20 early
00156351   00156353    10/19/2021 9:52 Email    afternoon                                               .\VOL011\IMAGES\IMAGES002\00156351.pdf
00156354   00156354   10/19/2021 10:11 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156354.pdf
00156355   00156355   10/19/2021 10:22 Email    Livestream                                              .\VOL011\IMAGES\IMAGES002\00156355.pdf
                                                Fw: I‐495 and I‐270 MLS Section 106 Materials ‐
                                                National Trust for Historic Preservation Comment
00156356   00156356   10/19/2021 10:22 Email    Letter                                                  .\VOL011\IMAGES\IMAGES002\00156356.pdf
00156357   00156357   10/19/2021 10:44 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156357.pdf

00156358   00156358   10/19/2021 10:48 Email    quick background reading on Dr. Wilson/CEEJH Lab        .\VOL011\IMAGES\IMAGES002\00156358.pdf
00156359   00156360   10/19/2021 10:57 Email    MDOT and the EJ Scorecard                               .\VOL011\IMAGES\IMAGES002\00156359.pdf
00156361   00156361   10/19/2021 11:30 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156361.pdf

                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156362   00156363   10/19/2021 13:20 Email    Justice Initiative‐ Advisory Group Call                 .\VOL011\IMAGES\IMAGES002\00156362.pdf

                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156364   00156366   10/19/2021 13:20 Email    Justice Initiative‐ Advisory Group Call                 .\VOL011\IMAGES\IMAGES002\00156364.pdf

                                                FW: I‐495 & I‐270 Managed Lanes Study‐
00156367   00156369   10/19/2021 13:24 Email    Environmental Justice Initiative‐ Advisory Group Call   .\VOL011\IMAGES\IMAGES002\00156367.pdf
00156370   00156370   10/19/2021 14:43 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156370.pdf
00156371   00156373   10/19/2021 14:56 Email    RE: SDEIS Comment Extension Request                     .\VOL011\IMAGES\IMAGES002\00156371.pdf
                                                Op Lanes Maryland ResponseV1 20211015_FHWA
00156374   00156374   10/19/2021 14:56 Attach   comments.docx                                           .\VOL011\IMAGES\IMAGES002\00156374.pdf
00156375   00156375   10/19/2021 15:35 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156375.pdf
00156376   00156376   10/19/2021 16:07 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156376.pdf
00156377   00156377   10/19/2021 16:49 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156377.pdf
00156378   00156379   10/19/2021 21:18 Email    RE: Moses Hall Cemetery Avoidance                       .\VOL011\IMAGES\IMAGES002\00156378.pdf
00156380   00156383    10/20/2021 8:32 Email    RE: Moses Hall Cemetery Avoidance                       .\VOL011\IMAGES\IMAGES002\00156380.pdf
00156384   00156393    10/20/2021 8:32 Attach   HC‐I495_MosesHall‐AMP‐Sections.pdf                      .\VOL011\IMAGES\IMAGES002\00156384.pdf
00156394   00156394    10/20/2021 8:32 Attach   AMP Moses Hall Cemetery Plan.pdf                        .\VOL011\IMAGES\IMAGES002\00156394.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ Environmental
00156395   00156395    10/20/2021 9:30 Email    Justice Initiative                                      .\VOL011\IMAGES\IMAGES002\00156395.pdf
00156396   00156397   10/20/2021 10:57 Email    RE: MLS: NPS Coordination Meeting ‐ Biweekly            .\VOL011\IMAGES\IMAGES002\00156396.pdf
00156398   00156401   10/20/2021 10:57 Attach   Lock 13 Details_NPS.pdf                                 .\VOL011\IMAGES\IMAGES002\00156398.pdf
00156402   00156402   10/20/2021 12:35 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156402.pdf
00156403   00156403   10/20/2021 13:40 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156403.pdf
00156404   00156404   10/20/2021 14:42 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156404.pdf
00156405   00156407   10/20/2021 15:12 Email    RE: Moses Hall Cemetery Avoidance                       .\VOL011\IMAGES\IMAGES002\00156405.pdf
00156408   00156408   10/20/2021 15:59 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156408.pdf
00156409   00156409   10/20/2021 16:28 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156409.pdf
00156410   00156410   10/20/2021 17:26 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156410.pdf
                                                Rosenwald+Schools_Draft+Report_2018+12+17_v4_si
00156411   00156534    10/21/2021 9:10 Attach   ngles.pdf                                               .\VOL011\IMAGES\IMAGES002\00156411.pdf
00156535   00156539   10/21/2021 11:38 Email    RE: Moses Hall Cemetery Avoidance                       .\VOL011\IMAGES\IMAGES002\00156535.pdf
                                                REMINDER ONE WEEK LEFT TO COMMENT ON
00156540   00156544   10/21/2021 16:46 Email    RECOMMENDED TOLL RATE RANGES                            .\VOL011\IMAGES\IMAGES002\00156540.pdf
                                                REMINDER ONE WEEK LEFT TO COMMENT ON
00156545   00156549   10/21/2021 16:46 Email    RECOMMENDED TOLL RATE RANGES                            .\VOL011\IMAGES\IMAGES002\00156545.pdf
                                                FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00156550   00156551    10/22/2021 8:54 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES002\00156550.pdf
                                                RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00156552   00156554    10/22/2021 9:31 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES002\00156552.pdf
                                                FW_ Rep. Raskin (MD) ‐ Letter re_ SDEIS for
00156555   00156556    10/22/2021 9:58 Email    the...(1).pdf                                           .\VOL011\IMAGES\IMAGES002\00156555.pdf
                                                RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00156557   00156559   10/22/2021 10:14 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES002\00156557.pdf
                                                DC Area Community Leaders Oppose Extending the
00156560   00156560   10/22/2021 11:06 Email    SDEIS 45‐Day Public Comment Period                      .\VOL011\IMAGES\IMAGES002\00156560.pdf
00156561   00156561   10/22/2021 11:51 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156561.pdf
00156562   00156562   10/22/2021 12:41 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156562.pdf
00156563   00156563   10/22/2021 13:29 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156563.pdf
00156564   00156564   10/22/2021 13:53 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156564.pdf
00156565   00156565   10/22/2021 14:34 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES002\00156565.pdf

00156566   00156567   10/22/2021 15:39 Email    RE: MLS: NPS Reforestation Coordination Meeting         .\VOL011\IMAGES\IMAGES002\00156566.pdf
                                                MLS: NPS Natural Resources Coordination Meeting ‐
00156568   00156570   10/22/2021 15:50 Email    Meeting Agenda                                          .\VOL011\IMAGES\IMAGES002\00156568.pdf
00156571   00156573   10/22/2021 15:52 Email    10/14 NPS Coordination Meeting Notes                    .\VOL011\IMAGES\IMAGES002\00156571.pdf

00156574   00156579   10/22/2021 15:52 Attach   2021‐10‐14_NPS Coordination Meeting Notes.pdf           .\VOL011\IMAGES\IMAGES002\00156574.pdf

                                                I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting ‐
00156580   00156582   10/22/2021 16:48 Email    Action Items ‐ Meeting Notes ‐ Meeting Agenda           .\VOL011\IMAGES\IMAGES002\00156580.pdf
                                                2021‐10‐28 MLS M‐NCPPC Park Impacts & Mitigation
00156583   00156583   10/22/2021 16:48 Attach   Meeting Agenda.pdf                                      .\VOL011\IMAGES\IMAGES002\00156583.pdf
                                                MLS NEPA Schedule‐Mandatory
00156584   00156584   10/22/2021 16:48 Attach   Referral_10.19.2021.pdf                                 .\VOL011\IMAGES\IMAGES002\00156584.pdf
                                                2021‐10‐14_M‐NCPPC Coordination Meeting
00156585   00156591   10/22/2021 16:48 Attach   Notes.pdf                                               .\VOL011\IMAGES\IMAGES002\00156585.pdf

                                                I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting ‐
00156592   00156593   10/22/2021 16:48 Email    Action Items ‐ Meeting Notes ‐ Meeting Agenda           .\VOL011\IMAGES\IMAGES002\00156592.pdf
                                                FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00156594   00156594   10/22/2021 20:56 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES002\00156594.pdf
                                                FW: I‐495 & I‐270 MLS: M‐NCPPC Coordination
                                                Meeting ‐ Action Items ‐ Meeting Notes ‐ Meeting
00156595   00156598   10/22/2021 21:27 Email    Agenda                                                  .\VOL011\IMAGES\IMAGES002\00156595.pdf
                                                2021‐10‐28 MLS M‐NCPPC Park Impacts & Mitigation
00156599   00156599   10/22/2021 21:27 Attach   Meeting Agenda.pdf                                      .\VOL011\IMAGES\IMAGES002\00156599.pdf
                                                MLS NEPA Schedule‐Mandatory
00156600   00156600   10/22/2021 21:27 Attach   Referral_10.19.2021.pdf                                 .\VOL011\IMAGES\IMAGES002\00156600.pdf
                                                2021‐10‐14_M‐NCPPC Coordination Meeting
00156601   00156607   10/22/2021 21:27 Attach   Notes.pdf                                               .\VOL011\IMAGES\IMAGES002\00156601.pdf
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                                                2021‐10‐28 NPS Natural Resources Meeting
00156608   00156608   10/22/2021 21:40 Attach   Agenda.pdf                                              .\VOL011\IMAGES\IMAGES002\00156608.pdf

00156609   00156610   10/22/2021 21:49 Email    FW: MLS: NPS Reforestation Coordination Meeting         .\VOL011\IMAGES\IMAGES002\00156609.pdf

00156611   00156611   10/22/2021 21:49 Attach   2021‐10‐28 NPS Forest Mitigation Meeting Agenda.pdf .\VOL011\IMAGES\IMAGES002\00156611.pdf
00156612   00156612   10/24/2021 11:03 Email    495 expansion in MD and VA                          .\VOL011\IMAGES\IMAGES002\00156612.pdf
00156613   00156613   10/25/2021 10:14 Email    Support Alternative 9 ‐‐ Phase 1 South              .\VOL011\IMAGES\IMAGES002\00156613.pdf
00156614   00156614   10/25/2021 11:35 Email    Support Alternative 9 ‐‐ Phase 1 South              .\VOL011\IMAGES\IMAGES002\00156614.pdf
                                                I‐495 & I‐270 MLS: M‐NCPPC Coordination ‐ Parkland
00156615   00156619   10/25/2021 13:09 Email    Mitigation Real Estate Process                      .\VOL011\IMAGES\IMAGES002\00156615.pdf
                                                2021‐10‐25 OP Lanes Parkland Mitigation Real Estate
00156620   00156621   10/25/2021 13:09 Attach   Process.pdf                                         .\VOL011\IMAGES\IMAGES002\00156620.pdf
00156622   00156622   10/25/2021 13:27 Email    Support Alternative 9 ‐‐ Phase 1 South              .\VOL011\IMAGES\IMAGES002\00156622.pdf
                                                FW: I‐495 & I‐270 MLS: M‐NCPPC Coordination ‐
00156623   00156627   10/25/2021 14:18 Email    Parkland Mitigation Real Estate Process             .\VOL011\IMAGES\IMAGES002\00156623.pdf
00156628   00156628   10/25/2021 14:48 Email    Support Alternative 9 ‐‐ Phase 1 South              .\VOL011\IMAGES\IMAGES002\00156628.pdf
00156629   00156631   10/25/2021 18:02 Email    RE: Inadequate Outreach                             .\VOL011\IMAGES\IMAGES002\00156629.pdf

                                                Katz‐2021.10.25‐IQ=832999‐
                                                Complaint.that.the.New.Mark.Commons.HOA.was.not
00156632   00156633   10/25/2021 18:24 Edoc     .contacted.for.outreach‐Email‐0394‐Inc.pdf      .\VOL011\IMAGES\IMAGES002\00156632.pdf
                                                REMINDER ‐ Dry Run 4 ‐ MDOT SHA Managed Lanes
00156634   00156635    10/26/2021 6:06 Email    Study SDEIS Public Hearing                      .\VOL011\IMAGES\IMAGES002\00156634.pdf
                                                RE: REMINDER ‐ Dry Run 4 ‐ MDOT SHA Managed
00156636   00156636    10/26/2021 6:07 Email    Lanes Study SDEIS Public Hearing                .\VOL011\IMAGES\IMAGES002\00156636.pdf
                                                RE: REMINDER ‐ Dry Run 4 ‐ MDOT SHA Managed
00156637   00156638    10/26/2021 7:34 Email    Lanes Study SDEIS Public Hearing                .\VOL011\IMAGES\IMAGES002\00156637.pdf
                                                Managed Lanes.Rep Raskin on Citizens Against
00156639   00156639    10/26/2021 9:19 Attach   Expansion.pdf                                   .\VOL011\IMAGES\IMAGES002\00156639.pdf
00156640   00156643    10/26/2021 9:19 Attach   Managed Lanes.Citizens Against Expansion.pdf    .\VOL011\IMAGES\IMAGES002\00156640.pdf
00156644   00156644   10/26/2021 11:07 Email    Support Alternative 9 ‐‐ Phase 1 South          .\VOL011\IMAGES\IMAGES003\00156644.pdf

                                                FW: DC Area Community Leaders Oppose Extending
00156645   00156645   10/26/2021 11:49 Email    the SDEIS 45‐Day Public Comment Period                  .\VOL011\IMAGES\IMAGES003\00156645.pdf
00156646   00156646   10/26/2021 12:12 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00156646.pdf
00156647   00156647   10/26/2021 12:23 Email    Expansion of the Beltway                                .\VOL011\IMAGES\IMAGES003\00156647.pdf
                                                2021.10.28_Christopher J Olsen_PIA 30‐Day Letter
00156648   00156649   10/26/2021 12:36 Edoc     with Responsive Documents.pdf                           .\VOL011\IMAGES\IMAGES003\00156648.pdf

00156650   00156650   10/26/2021 12:53 Email    Stop planned widening of I495 and I270 widening         .\VOL011\IMAGES\IMAGES003\00156650.pdf
00156651   00156651   10/26/2021 15:43 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00156651.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00156652   00156655   10/26/2021 16:53 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00156652.pdf
                                                FHWA MDOT and MDTA MOU (Draft 10.22.21)
00156656   00156658   10/26/2021 16:53 Attach   (1).docx                                                .\VOL011\IMAGES\IMAGES003\00156656.pdf
00156659   00156659   10/26/2021 17:11 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00156659.pdf

                                                2021.08.27_Chung Comment response_ MLS ‐ MDOT
00156660   00156661    10/27/2021 7:14 Edoc     vs VDOT volumes on American Legion Bridge .pdf          .\VOL011\IMAGES\IMAGES003\00156660.pdf
                                                FW: Toll MOU‐ RE: FHWA comments on Admin draft
00156662   00156665   10/27/2021 10:17 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00156662.pdf
                                                FHWA MDOT and MDTA MOU (Draft 10.22.21)
00156666   00156668   10/27/2021 10:17 Attach   (1).docx                                                .\VOL011\IMAGES\IMAGES003\00156666.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00156669   00156672   10/27/2021 10:19 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00156669.pdf
00156673   00156816   10/27/2021 10:23 Attach   Rosenwald Schools Report_Vol 1_Digital.pdf              .\VOL011\IMAGES\IMAGES003\00156673.pdf

00156817   00157040   10/27/2021 10:23 Attach   Rosenwald Schools Report_Vol 2_Digital_Pages.pdf        .\VOL011\IMAGES\IMAGES003\00156817.pdf
00157041   00157041   10/27/2021 10:23 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157041.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157042   00157046   10/27/2021 10:24 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157042.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157047   00157051   10/27/2021 10:41 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157047.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157052   00157056   10/27/2021 11:30 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157052.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157057   00157061   10/27/2021 11:40 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157057.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157062   00157067   10/27/2021 11:42 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157062.pdf
00157068   00157068   10/27/2021 11:46 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157068.pdf
00157069   00157069   10/27/2021 15:39 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157069.pdf
00157070   00157072   10/27/2021 15:39 Email    FW: SDEIS Reminder Press Release Final                  .\VOL011\IMAGES\IMAGES003\00157070.pdf
                                                202110_press release‐MLS SDEIS‐Virtual Public
00157073   00157075   10/27/2021 15:39 Attach   Hearings Reminder.docx                                  .\VOL011\IMAGES\IMAGES003\00157073.pdf
00157076   00157076   10/27/2021 16:03 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157076.pdf
00157077   00157077   10/27/2021 16:58 Email    495/270 Public Hearing scheduled for Mon 11/1           .\VOL011\IMAGES\IMAGES003\00157077.pdf
00157078   00157078   10/27/2021 17:33 Email    495/270 SDEIS Public Hearing                            .\VOL011\IMAGES\IMAGES003\00157078.pdf
00157079   00157079   10/27/2021 17:51 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157079.pdf
00157080   00157080   10/27/2021 22:02 Email    FW: 495/270 SDEIS Public Hearing                        .\VOL011\IMAGES\IMAGES003\00157080.pdf
00157081   00157081   10/27/2021 22:05 Email    RE: 495/270 SDEIS Public Hearing                        .\VOL011\IMAGES\IMAGES003\00157081.pdf
                                                RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157082   00157085   10/28/2021 10:12 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES003\00157082.pdf
                                                FW: Eastern Shawnee Tribe ‐ Project Review ‐ I‐495
00157086   00157087   10/28/2021 11:15 Email    and I‐270 Managed Lane Study                            .\VOL011\IMAGES\IMAGES003\00157086.pdf
00157088   00157088   10/28/2021 11:15 Attach   I495andI270ManagedLaneStudy.pdf                         .\VOL011\IMAGES\IMAGES003\00157088.pdf
00157089   00157089   10/28/2021 12:35 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157089.pdf
00157090   00157090   10/28/2021 13:57 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157090.pdf
00157091   00157091   10/28/2021 14:40 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157091.pdf

00157092   00157092   10/28/2021 21:08 Email    Don’t move forward with Beltway and I‐270 Widening .\VOL011\IMAGES\IMAGES003\00157092.pdf
00157093   00157094    10/29/2021 3:08 Email    FW: FHWA Managed Lanes Designations                   .\VOL011\IMAGES\IMAGES003\00157093.pdf
00157095   00157097    10/29/2021 3:10 Email    FW: FHWA Managed Lanes Designations                   .\VOL011\IMAGES\IMAGES003\00157095.pdf
00157098   00157099    10/29/2021 9:55 Email    FW: Status of Reauthorization efforts                 .\VOL011\IMAGES\IMAGES003\00157098.pdf
                                                Re: Reminder: I‐495 & I‐270 Managed Lanes Study
                                                Supplemental Draft Environmental Impact Statement
00157100   00157103   10/29/2021 12:01 Email    (SDEIS) Hearings                                      .\VOL011\IMAGES\IMAGES003\00157100.pdf
                                                RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157104   00157107   10/29/2021 16:50 Email    and I‐270 Managed Lanes Study                         .\VOL011\IMAGES\IMAGES003\00157104.pdf
00157108   00157112   10/29/2021 21:12 Email    FW: FHWA Managed Lanes Designations                   .\VOL011\IMAGES\IMAGES003\00157108.pdf
00157113   00157115   10/29/2021 21:12 Email    FW: FHWA Managed Lanes Designations                   .\VOL011\IMAGES\IMAGES003\00157113.pdf
                                                Nov. 1st MDOT SHA Managed Lanes Study SDEIS Public
00157116   00157117    11/1/2021 10:20 Email    Hearing                                               .\VOL011\IMAGES\IMAGES003\00157116.pdf
00157118   00157118    11/1/2021 10:20 Attach   sdeis_hearing_11_01_21.xlsx                           .\VOL011\IMAGES\IMAGES003\00157118.pdf      .\VOL011\NATIVES\NATIVES003\00157118.xlsx
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 176 of 263

                                               RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157119   00157122   11/1/2021 10:25 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES003\00157119.pdf
00157123   00157125   11/1/2021 12:10 Email    Re: Capper Cramton Parkland                             .\VOL011\IMAGES\IMAGES003\00157123.pdf
00157126   00157128   11/1/2021 12:10 Email    Re: Capper Cramton Parkland                             .\VOL011\IMAGES\IMAGES003\00157126.pdf
00157129   00157129   11/1/2021 12:27 Email    MLS SDEIS Public Hearing ‐ TODAY.pdf                    .\VOL011\IMAGES\IMAGES003\00157129.pdf
00157130   00157155   11/1/2021 12:27 Attach   I‐495_I‐270_SDEIS_Displays_100121.pdf                   .\VOL011\IMAGES\IMAGES003\00157130.pdf
00157156   00157158   11/1/2021 14:56 Email    FW: Capper Cramton Parkland                             .\VOL011\IMAGES\IMAGES003\00157156.pdf
                                               RE: FMH/MT88 ‐ Meeting to Advance Mitigation
00157159   00157160    11/2/2021 6:32 Email    Discussions                                             .\VOL011\IMAGES\IMAGES003\00157159.pdf
00157161   00157161    11/2/2021 8:54 Email    MLS SDEIS Virtual Public Hearing Summary                .\VOL011\IMAGES\IMAGES003\00157161.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Environmental
00157162   00157163    11/2/2021 9:37 Email    Justice Engagement                                      .\VOL011\IMAGES\IMAGES003\00157162.pdf
00157164   00157164    11/2/2021 9:37 Attach   EJ Population in Study Area Map.pdf                     .\VOL011\IMAGES\IMAGES003\00157164.pdf
00157165   00157166    11/2/2021 9:37 Attach   Draft EJ Engagement Survey.docx                         .\VOL011\IMAGES\IMAGES003\00157165.pdf
                                               Potential Pop Up Event Locations_Distribution of
00157167   00157168    11/2/2021 9:37 Attach   Materials.pdf                                           .\VOL011\IMAGES\IMAGES003\00157167.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Environmental
00157169   00157171    11/2/2021 9:37 Email    Justice Engagement                                      .\VOL011\IMAGES\IMAGES003\00157169.pdf
                                               Additional Environmental Justice (EJ) Outreach and
00157172   00157173    11/2/2021 9:48 Email    Engagement                                              .\VOL011\IMAGES\IMAGES003\00157172.pdf
                                               Additional Environmental Justice (EJ) Outreach and
00157174   00157175    11/2/2021 9:48 Email    Engagement                                              .\VOL011\IMAGES\IMAGES003\00157174.pdf
                                               FW: REVIEW REQUESTED: draft SDEIS for the I‐495/I‐
00157176   00157181   11/2/2021 13:22 Email    270 MLS project                                         .\VOL011\IMAGES\IMAGES003\00157176.pdf

00157182   00157182   11/2/2021 14:00 Attach   2021‐11‐02_FHWA Coordination Mtg Agenda.docx            .\VOL011\IMAGES\IMAGES003\00157182.pdf
                                               2021‐11‐02_FHWA Coordination Mtg Agenda
00157183   00157183   11/2/2021 14:00 Attach   (REVISED).docx                                          .\VOL011\IMAGES\IMAGES003\00157183.pdf
00157184   00157185   11/2/2021 14:00 Email    I‐495 & I‐270 FHWA Coordination Meeting                 .\VOL011\IMAGES\IMAGES003\00157184.pdf

                                               Hoffmeister Response_ 833120 & 833114_Request
                                               180‐Day Comment Period for Review of the I‐495 & I‐
                                               270 Managed Lanes Study Supplemental Draft
00157186   00157188   11/2/2021 14:02 Email    Environmental Impact Statement (SDEIS)                  .\VOL011\IMAGES\IMAGES003\00157186.pdf
00157189   00157191   11/2/2021 16:10 Email    RE: SDEIS Comment Extension Request                     .\VOL011\IMAGES\IMAGES003\00157189.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157192   00157195   11/2/2021 16:26 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157192.pdf
                                               FHWA MDOT and MDTA MOU (Draft
00157196   00157198   11/2/2021 16:33 Edoc     10.22.21)_KP.docx                                       .\VOL011\IMAGES\IMAGES003\00157196.pdf
                                               RE_ Section 106 Comments on the I‐495 & I‐270
00157199   00157200   11/2/2021 16:35 Email    M....pdf                                                .\VOL011\IMAGES\IMAGES003\00157199.pdf
                                               FW: Additional Environmental Justice (EJ) Outreach
00157201   00157202   11/2/2021 17:40 Email    and Engagement                                          .\VOL011\IMAGES\IMAGES003\00157201.pdf
                                               Environmental Justice Additional Outreach
00157203   00157214   11/2/2021 17:40 Attach   Initiative_11‐1‐2021_with Boards.pdf                    .\VOL011\IMAGES\IMAGES003\00157203.pdf
00157215   00157216   11/2/2021 17:50 Email    FW: MLS SDEIS Virtual Public Hearing Summary            .\VOL011\IMAGES\IMAGES003\00157215.pdf

00157217   00157219   11/2/2021 17:50 Attach   MLS_SDEIS_HearingSummary_110121_FINAL.docx              .\VOL011\IMAGES\IMAGES003\00157217.pdf

00157220   00157220   11/2/2021 17:50 Attach   MLS_SDEIS_HearingRegistrants_110121_FINAL.xlsx          .\VOL011\IMAGES\IMAGES003\00157220.pdf    .\VOL011\NATIVES\NATIVES003\00157220.xlsx
00157221   00157222   11/2/2021 17:50 Attach   RE: MLS SDEIS Virtual Public Hearing Summary            .\VOL011\IMAGES\IMAGES003\00157221.pdf

00157223   00157223   11/2/2021 17:50 Attach   MLS_SDEIS_HearingRegistrants_110121_FINAL.xlsx         .\VOL011\IMAGES\IMAGES003\00157223.pdf     .\VOL011\NATIVES\NATIVES003\00157223.xlsx
00157224   00157225   11/2/2021 17:50 Email    FW: MLS SDEIS Virtual Public Hearing Summary           .\VOL011\IMAGES\IMAGES003\00157224.pdf
00157226   00157227   11/2/2021 17:50 Attach   RE: MLS SDEIS Virtual Public Hearing Summary           .\VOL011\IMAGES\IMAGES003\00157226.pdf
00157228   00157228   11/2/2021 23:01 Email    Stop the boondoggle!                                   .\VOL011\IMAGES\IMAGES003\00157228.pdf
                                               RE: Additional Environmental Justice (EJ) Outreach and
00157229   00157231    11/3/2021 7:33 Email    Engagement                                             .\VOL011\IMAGES\IMAGES003\00157229.pdf
00157232   00157234    11/3/2021 8:56 Email    RE: SDEIS Comment Extension Request                    .\VOL011\IMAGES\IMAGES003\00157232.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157235   00157240    11/3/2021 8:57 Email    SDEIS                                                  .\VOL011\IMAGES\IMAGES003\00157235.pdf
00157241   00157244    11/3/2021 9:00 Email    RE: SDEIS Comment Extension Request                    .\VOL011\IMAGES\IMAGES003\00157241.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157245   00157250    11/3/2021 9:02 Email    SDEIS                                                  .\VOL011\IMAGES\IMAGES003\00157245.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157251   00157257    11/3/2021 9:15 Email    SDEIS                                                  .\VOL011\IMAGES\IMAGES003\00157251.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157258   00157264    11/3/2021 9:23 Email    SDEIS                                                  .\VOL011\IMAGES\IMAGES003\00157258.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157265   00157271    11/3/2021 9:38 Email    SDEIS                                                  .\VOL011\IMAGES\IMAGES003\00157265.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157272   00157275    11/3/2021 9:47 Email    SDEIS                                                  .\VOL011\IMAGES\IMAGES003\00157272.pdf
                                               RE: Additional Environmental Justice (EJ) Outreach and
00157276   00157278   11/3/2021 10:26 Email    Engagement                                             .\VOL011\IMAGES\IMAGES003\00157276.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157279   00157281   11/3/2021 12:06 Email    and I‐270 Managed Lanes Study                          .\VOL011\IMAGES\IMAGES003\00157279.pdf
                                               RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157282   00157284   11/3/2021 12:17 Email    and I‐270 Managed Lanes Study                          .\VOL011\IMAGES\IMAGES003\00157282.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157285   00157287   11/3/2021 12:18 Email    and I‐270 Managed Lanes Study                          .\VOL011\IMAGES\IMAGES003\00157285.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157288   00157290   11/3/2021 12:19 Email    and I‐270 Managed Lanes Study                          .\VOL011\IMAGES\IMAGES003\00157288.pdf
                                               RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157291   00157293   11/3/2021 12:21 Email    and I‐270 Managed Lanes Study                          .\VOL011\IMAGES\IMAGES003\00157291.pdf

00157294   00157295   11/3/2021 12:26 Attach   Managed Lanes.MOC Extend Comment Period.pdf             .\VOL011\IMAGES\IMAGES003\00157294.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157296   00157298   11/3/2021 12:34 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES003\00157296.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157299   00157301   11/3/2021 12:34 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES003\00157299.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157302   00157304   11/3/2021 12:35 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES003\00157302.pdf

00157305   00157308   11/3/2021 13:25 Attach   SDEIS Sign‐on Letter ‐ Comment Period FINAL.pdf         .\VOL011\IMAGES\IMAGES003\00157305.pdf
                                               FW: November 3 MLS FHWA Coordination Meeting
00157309   00157309   11/3/2021 13:28 Email    Agenda                                                  .\VOL011\IMAGES\IMAGES003\00157309.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157310   00157314   11/3/2021 14:20 Email    and I‐270 Managed Lanes Study                           .\VOL011\IMAGES\IMAGES003\00157310.pdf
00157315   00157316   11/4/2021 11:51 Email    RE: Comment period filing                               .\VOL011\IMAGES\IMAGES003\00157315.pdf
                                               RE: Urgent ‐‐ Soil Erosion at Moses Morningstar
00157317   00157319   11/4/2021 15:12 Attach   Cemetery                                                .\VOL011\IMAGES\IMAGES003\00157317.pdf
00157320   00157320   11/4/2021 16:17 Edoc     OP‐LANES Opinion Survey_yard sign EN.pdf                .\VOL011\IMAGES\IMAGES003\00157320.pdf
00157321   00157321   11/4/2021 16:19 Edoc     OP‐LANES Opinion Survey_yard sign FR.pdf                .\VOL011\IMAGES\IMAGES003\00157321.pdf
00157322   00157322   11/4/2021 16:20 Edoc     OP‐LANES Opinion Survey_yard sign AM.pdf                .\VOL011\IMAGES\IMAGES003\00157322.pdf
00157323   00157323   11/4/2021 16:50 Edoc     OP‐LANES Opinion Survey_yard sign KO.pdf                .\VOL011\IMAGES\IMAGES003\00157323.pdf
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00157324   00157324   11/4/2021 16:52 Edoc     I495I270SDEISextensioncomment.pdf                        .\VOL011\IMAGES\IMAGES003\00157324.pdf
00157325   00157325   11/4/2021 16:54 Edoc     OP‐LANES Opinion Survey_yard sign CH.pdf                 .\VOL011\IMAGES\IMAGES003\00157325.pdf
00157326   00157326   11/4/2021 16:58 Edoc     OP‐LANES Opinion Survey_yard sign ES.pdf                 .\VOL011\IMAGES\IMAGES003\00157326.pdf
00157327   00157328   11/4/2021 17:15 Edoc     OP‐LANES Opinion Survey_postcard EN‐AM.pdf               .\VOL011\IMAGES\IMAGES003\00157327.pdf
00157329   00157330   11/4/2021 17:17 Edoc     OP‐LANES Opinion Survey_postcard EN‐KO.pdf               .\VOL011\IMAGES\IMAGES003\00157329.pdf
00157331   00157332   11/4/2021 17:19 Edoc     OP‐LANES Opinion Survey_postcard EN‐ES.pdf               .\VOL011\IMAGES\IMAGES003\00157331.pdf
00157333   00157334   11/4/2021 17:20 Edoc     OP‐LANES Opinion Survey_postcard EN‐CH.pdf               .\VOL011\IMAGES\IMAGES003\00157333.pdf
00157335   00157336   11/4/2021 17:20 Edoc     OP‐LANES Opinion Survey_postcard EN‐FR.pdf               .\VOL011\IMAGES\IMAGES003\00157335.pdf
00157337   00157338   11/4/2021 17:48 Email    RE: Comment period                                       .\VOL011\IMAGES\IMAGES003\00157337.pdf

                                               EIS Extension Filed for FHWA ‐ I‐495 & I‐270 Managed
                                               Lanes Study Supplemental Draft Environmental Impact
00157339   00157339   11/4/2021 19:30 Email    Statement and Updated Draft Section 4(f) Evaluation .\VOL011\IMAGES\IMAGES003\00157339.pdf
00157340   00157340   11/4/2021 19:30 Attach   I495I270SDEISextensioncomment.pdf                           .\VOL011\IMAGES\IMAGES003\00157340.pdf
                                               RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00157341   00157343    11/5/2021 7:48 Email    and I‐270 Managed Lanes Study                               .\VOL011\IMAGES\IMAGES003\00157341.pdf
                                               FW: Toll lane traffic forecast lacks all credibility ‐ Feds
00157344   00157348    11/5/2021 7:48 Attach   asked to retract environmental study                        .\VOL011\IMAGES\IMAGES003\00157344.pdf

                                               Hoffmeister Response_ 833120 & 833114_Request
                                               180‐Day Comment Period for Review of the I‐495 & I‐
                                               270 Managed Lanes Study Supplemental Draft
00157349   00157351    11/5/2021 7:51 Attach   Environmental Impact Statement                           .\VOL011\IMAGES\IMAGES003\00157349.pdf

00157352   00157354    11/5/2021 8:48 Email    RE_ Rep. Raskin (MD) ‐ Letter re_ SDEIS for the....pdf   .\VOL011\IMAGES\IMAGES003\00157352.pdf
                                               FW: EIS Extension Filed for FHWA ‐ I‐495 & I‐270
                                               Managed Lanes Study Supplemental Draft
                                               Environmental Impact Statement and Updated Draft
00157355   00157355   11/5/2021 10:10 Email    Section 4(f) Evaluation                                  .\VOL011\IMAGES\IMAGES003\00157355.pdf
00157356   00157356   11/5/2021 12:23 Email    FW: Mail 11/05/21                                        .\VOL011\IMAGES\IMAGES003\00157356.pdf
00157357   00157359   11/5/2021 12:23 Attach   2021.11.05 Jeff_Corbin,Stephen.pdf                       .\VOL011\IMAGES\IMAGES003\00157357.pdf
00157360   00157361   11/5/2021 13:58 Email    RE: Comment period                                       .\VOL011\IMAGES\IMAGES003\00157360.pdf

00157362   00157362   11/5/2021 15:13 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157362.pdf

00157363   00157363   11/5/2021 15:16 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157363.pdf

00157364   00157364   11/5/2021 15:19 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157364.pdf

00157365   00157365   11/5/2021 15:20 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157365.pdf

00157366   00157366   11/5/2021 15:23 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157366.pdf

00157367   00157367   11/5/2021 15:31 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157367.pdf

00157368   00157368   11/5/2021 15:32 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157368.pdf

00157369   00157369   11/5/2021 15:33 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157369.pdf

00157370   00157370   11/5/2021 15:38 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157370.pdf

00157371   00157371   11/5/2021 15:41 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157371.pdf

00157372   00157372   11/5/2021 15:46 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157372.pdf

00157373   00157373   11/5/2021 15:52 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157373.pdf

00157374   00157374   11/5/2021 15:54 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157374.pdf

00157375   00157375   11/5/2021 16:01 Email    Protect parks from the I‐495 and I‐270 expansions   .\VOL011\IMAGES\IMAGES003\00157375.pdf
                                               RE: I‐495 & I‐270 MLS: M‐NCPPC Coordination Meeting
00157376   00157377   11/5/2021 16:05 Email    ‐ Bi‐weekly                                         .\VOL011\IMAGES\IMAGES003\00157376.pdf

00157378   00157378   11/5/2021 16:12 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157378.pdf

00157379   00157379   11/5/2021 16:24 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157379.pdf
00157380   00157383   11/5/2021 16:35 Email    FW: Capper Cramton Parkland                              .\VOL011\IMAGES\IMAGES003\00157380.pdf

00157384   00157384   11/5/2021 16:37 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157384.pdf

00157385   00157385   11/5/2021 16:45 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157385.pdf

00157386   00157386   11/5/2021 16:47 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157386.pdf

00157387   00157387   11/5/2021 16:47 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157387.pdf

00157388   00157388   11/5/2021 16:51 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157388.pdf

00157389   00157389   11/5/2021 16:56 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157389.pdf

00157390   00157390   11/5/2021 17:00 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157390.pdf

00157391   00157391   11/5/2021 17:07 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157391.pdf

00157392   00157392   11/5/2021 17:22 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157392.pdf

00157393   00157393   11/5/2021 17:22 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157393.pdf

00157394   00157394   11/5/2021 17:39 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157394.pdf

00157395   00157395   11/5/2021 17:57 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157395.pdf

00157396   00157396   11/5/2021 18:16 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157396.pdf

00157397   00157397   11/5/2021 18:16 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157397.pdf

00157398   00157398   11/5/2021 18:36 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157398.pdf

00157399   00157399   11/5/2021 18:50 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157399.pdf

00157400   00157400   11/5/2021 18:57 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157400.pdf

00157401   00157401   11/5/2021 19:19 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157401.pdf

00157402   00157402   11/5/2021 19:31 Email    Protect parks from the I‐495 and I‐270 expansions        .\VOL011\IMAGES\IMAGES003\00157402.pdf
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00157403   00157403   11/5/2021 19:42 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157403.pdf

00157404   00157404   11/5/2021 19:47 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157404.pdf

00157405   00157405   11/5/2021 19:49 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157405.pdf

00157406   00157406   11/5/2021 19:59 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157406.pdf

00157407   00157407   11/5/2021 20:06 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157407.pdf

00157408   00157408   11/5/2021 20:14 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157408.pdf

00157409   00157409   11/5/2021 20:31 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157409.pdf

00157410   00157410   11/5/2021 20:32 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157410.pdf

00157411   00157411   11/5/2021 20:53 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157411.pdf

00157412   00157412   11/5/2021 20:58 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157412.pdf

00157413   00157413   11/5/2021 21:18 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157413.pdf

00157414   00157414   11/5/2021 21:24 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157414.pdf

00157415   00157415   11/5/2021 21:28 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157415.pdf

00157416   00157416   11/5/2021 21:52 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157416.pdf

00157417   00157417   11/5/2021 22:21 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157417.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157418   00157418   11/5/2021 22:34 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157418.pdf

00157419   00157419   11/5/2021 22:51 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157419.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157420   00157420   11/5/2021 23:20 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157420.pdf

00157421   00157421   11/5/2021 23:22 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157421.pdf

00157422   00157422   11/5/2021 23:26 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157422.pdf

00157423   00157423   11/5/2021 23:55 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157423.pdf

00157424   00157424   11/5/2021 23:56 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157424.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157425   00157425    11/6/2021 0:23 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157425.pdf

00157426   00157426    11/6/2021 0:28 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157426.pdf

00157427   00157427    11/6/2021 1:02 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157427.pdf

00157428   00157428    11/6/2021 1:37 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157428.pdf

00157429   00157429    11/6/2021 2:01 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157429.pdf

00157430   00157430    11/6/2021 2:13 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157430.pdf

00157431   00157431    11/6/2021 2:49 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157431.pdf

00157432   00157432    11/6/2021 3:00 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157432.pdf

00157433   00157433    11/6/2021 3:28 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157433.pdf

00157434   00157434    11/6/2021 4:06 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157434.pdf

00157435   00157435    11/6/2021 4:08 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157435.pdf

00157436   00157436    11/6/2021 4:38 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157436.pdf

00157437   00157437    11/6/2021 4:47 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157437.pdf

00157438   00157438    11/6/2021 5:27 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157438.pdf

00157439   00157439    11/6/2021 6:09 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157439.pdf

00157440   00157440    11/6/2021 6:52 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157440.pdf

00157441   00157441    11/6/2021 7:31 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157441.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157442   00157442    11/6/2021 8:04 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157442.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157443   00157443    11/6/2021 8:07 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157443.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157444   00157444    11/6/2021 8:19 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157444.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157445   00157445    11/6/2021 8:22 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157445.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157446   00157446    11/6/2021 8:25 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157446.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157447   00157447    11/6/2021 8:25 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157447.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157448   00157448    11/6/2021 8:26 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157448.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157449   00157449    11/6/2021 8:53 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157449.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157450   00157450    11/6/2021 8:59 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157450.pdf

00157451   00157451    11/6/2021 9:08 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157451.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157452   00157452    11/6/2021 9:12 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157452.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157453   00157453    11/6/2021 9:21 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157453.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157454   00157454    11/6/2021 9:25 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157454.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                   Filed 05/03/23                           Page 179 of 263

                                              I support the no‐build option and oppose I‐495 and I‐
00157455   00157455    11/6/2021 9:35 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157455.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157456   00157456    11/6/2021 9:37 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157456.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157457   00157457    11/6/2021 9:50 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157457.pdf

00157458   00157458    11/6/2021 9:54 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157458.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157459   00157459   11/6/2021 10:04 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157459.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157460   00157460   11/6/2021 10:27 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157460.pdf

00157461   00157461   11/6/2021 10:43 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157461.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157462   00157462   11/6/2021 11:12 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157462.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157463   00157463   11/6/2021 11:14 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157463.pdf

00157464   00157464   11/6/2021 11:31 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157464.pdf

00157465   00157465   11/6/2021 11:32 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157465.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157466   00157466   11/6/2021 11:37 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157466.pdf

00157467   00157467   11/6/2021 11:50 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157467.pdf

00157468   00157468   11/6/2021 12:22 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157468.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157469   00157469   11/6/2021 12:31 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157469.pdf

00157470   00157470   11/6/2021 12:50 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157470.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157471   00157471   11/6/2021 13:04 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157471.pdf

00157472   00157472   11/6/2021 13:12 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157472.pdf

00157473   00157473   11/6/2021 14:05 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157473.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157474   00157474   11/6/2021 14:12 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157474.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157475   00157475   11/6/2021 14:14 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157475.pdf

00157476   00157476   11/6/2021 14:58 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157476.pdf

00157477   00157477   11/6/2021 15:52 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157477.pdf

00157478   00157478   11/6/2021 16:46 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157478.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157479   00157479   11/6/2021 17:24 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157479.pdf

00157480   00157480   11/6/2021 17:35 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157480.pdf

00157481   00157481   11/6/2021 17:42 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157481.pdf

00157482   00157482   11/6/2021 18:10 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157482.pdf

00157483   00157483   11/6/2021 18:39 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157483.pdf

00157484   00157484   11/6/2021 19:37 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157484.pdf
00157485   00157485   11/6/2021 20:13 Email   Oppose the beltway                                      .\VOL011\IMAGES\IMAGES003\00157485.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157486   00157486   11/6/2021 20:31 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157486.pdf

00157487   00157487   11/6/2021 20:37 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157487.pdf

00157488   00157488   11/6/2021 21:22 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157488.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157489   00157489   11/6/2021 21:32 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157489.pdf

00157490   00157490   11/6/2021 21:37 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157490.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157491   00157491   11/6/2021 21:42 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157491.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157492   00157492   11/6/2021 21:45 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157492.pdf

00157493   00157493   11/6/2021 21:45 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157493.pdf

00157494   00157494   11/6/2021 21:54 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157494.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157495   00157495   11/6/2021 22:14 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157495.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157496   00157496   11/6/2021 22:33 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157496.pdf

00157497   00157497   11/6/2021 22:38 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157497.pdf

00157498   00157498   11/6/2021 23:39 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157498.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157499   00157499    11/7/2021 0:32 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157499.pdf

00157500   00157500    11/7/2021 0:42 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157500.pdf

00157501   00157501    11/7/2021 1:47 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157501.pdf

00157502   00157502    11/7/2021 1:52 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157502.pdf

00157503   00157503    11/7/2021 2:57 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157503.pdf

00157504   00157504    11/7/2021 4:04 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157504.pdf

00157505   00157505    11/7/2021 5:13 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157505.pdf

00157506   00157506    11/7/2021 5:15 Email   Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157506.pdf
                                              I support the no‐build option and oppose I‐495 and I‐
00157507   00157507    11/7/2021 5:43 Email   270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157507.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 180 of 263

00157508   00157508    11/7/2021 6:22 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157508.pdf

00157509   00157509    11/7/2021 7:31 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157509.pdf

00157510   00157510    11/7/2021 7:59 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157510.pdf

00157511   00157511    11/7/2021 8:02 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157511.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157512   00157512    11/7/2021 8:25 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157512.pdf

00157513   00157513    11/7/2021 8:42 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157513.pdf

00157514   00157514    11/7/2021 9:54 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157514.pdf

00157515   00157515   11/7/2021 11:31 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157515.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157516   00157516   11/7/2021 12:44 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157516.pdf

00157517   00157517   11/7/2021 15:38 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157517.pdf

00157518   00157518   11/7/2021 16:42 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157518.pdf
                                               I OPPOSE THE TOLL LANES AND SUPPORT THE NO‐
00157519   00157519   11/7/2021 17:54 Email    BUILD OPTION                                            .\VOL011\IMAGES\IMAGES003\00157519.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157520   00157520   11/7/2021 19:31 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157520.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157521   00157521   11/7/2021 20:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157521.pdf

00157522   00157522    11/8/2021 2:46 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157522.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157523   00157523    11/8/2021 5:38 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157523.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157524   00157524    11/8/2021 5:53 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157524.pdf

00157525   00157525    11/8/2021 8:25 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157525.pdf
00157526   00157526   11/8/2021 10:00 Edoc     OP Lanes_Survey_8.5x11_rd01_proof.pdf                   .\VOL011\IMAGES\IMAGES003\00157526.pdf
00157527   00157528   11/8/2021 11:51 Edoc     OP Lanes_Survey_8.5x11_Chinese_rd01_PQ.pdf              .\VOL011\IMAGES\IMAGES003\00157527.pdf
00157529   00157530   11/8/2021 12:13 Edoc     OP Lanes_Survey_8.5x11_Amharic_rd01_PQ.pdf              .\VOL011\IMAGES\IMAGES003\00157529.pdf
00157531   00157532   11/8/2021 12:24 Edoc     OP Lanes_Survey_8.5x11_ES_rd01_PQ.pdf                   .\VOL011\IMAGES\IMAGES003\00157531.pdf
00157533   00157534   11/8/2021 12:39 Edoc     OP Lanes_Survey_8.5x11_French_rd01_PQ.pdf               .\VOL011\IMAGES\IMAGES003\00157533.pdf
00157535   00157536   11/8/2021 12:59 Edoc     OP Lanes_Survey_8.5x11_Korean_rd01_PQ.pdf               .\VOL011\IMAGES\IMAGES003\00157535.pdf
00157537   00157537   11/8/2021 14:11 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157537.pdf
                                               Re: Toll MOU‐ RE: FHWA comments on Admin draft
00157538   00157544   11/8/2021 15:00 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157538.pdf
                                               RE: Toll MOU‐ RE: FHWA comments on Admin draft
00157545   00157551   11/8/2021 15:21 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157545.pdf
00157552   00157552   11/8/2021 15:34 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157552.pdf
                                               Re: Toll MOU‐ RE: FHWA comments on Admin draft
00157553   00157560   11/8/2021 15:54 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES003\00157553.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157561   00157561   11/8/2021 16:28 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157561.pdf

00157562   00157562   11/8/2021 20:00 Email    Protect parks from the I‐495 and I‐270 expansions       .\VOL011\IMAGES\IMAGES003\00157562.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157563   00157563   11/8/2021 22:33 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157563.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157564   00157564    11/9/2021 7:28 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157564.pdf
00157565   00157565   11/9/2021 10:08 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157565.pdf

00157566   00157570   11/9/2021 10:14 Email    RE: Information needed for FHWA on Morningstar          .\VOL011\IMAGES\IMAGES003\00157566.pdf
00157571   00157571   11/9/2021 10:14 Attach   Morningstar_Surface_GPR_Fig_23.pdf                      .\VOL011\IMAGES\IMAGES003\00157571.pdf
00157572   00157572   11/9/2021 10:14 Attach   Morningstar_Surface_Fig_22.pdf                          .\VOL011\IMAGES\IMAGES003\00157572.pdf
00157573   00157574   11/9/2021 11:11 Attach   MDSC‐Letter‐Mar‐Folden‐Nov9‐2021.pdf                    .\VOL011\IMAGES\IMAGES003\00157573.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157575   00157575   11/9/2021 11:15 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157575.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157576   00157576   11/9/2021 11:18 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157576.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157577   00157577   11/9/2021 11:18 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157577.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157578   00157578   11/9/2021 11:21 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157578.pdf
00157579   00157579   11/9/2021 11:40 Attach   I495I270SDEISextensioncomment.pdf                       .\VOL011\IMAGES\IMAGES003\00157579.pdf
00157580   00157580   11/9/2021 11:42 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157580.pdf
00157581   00157581   11/9/2021 12:13 Email    [No Subject]                                            .\VOL011\IMAGES\IMAGES003\00157581.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157582   00157582   11/9/2021 12:55 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157582.pdf
00157583   00157584   11/9/2021 13:30 Attach   Morningstar and Gibson Grove                            .\VOL011\IMAGES\IMAGES003\00157583.pdf
                                               2021‐10‐28_NPS Forest Mitigation Meeting
00157585   00157588   11/9/2021 13:31 Attach   Notes_FINAL.pdf                                         .\VOL011\IMAGES\IMAGES003\00157585.pdf
00157589   00157589   11/9/2021 13:32 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157589.pdf

00157590   00157593   11/9/2021 15:05 Email    RE: Information needed for FHWA on Morningstar          .\VOL011\IMAGES\IMAGES003\00157590.pdf
00157594   00157594   11/9/2021 15:05 Attach   FHWA Common Noise Levels.jpg                            .\VOL011\IMAGES\IMAGES003\00157594.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157595   00157595   11/9/2021 15:29 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157595.pdf
00157596   00157596   11/9/2021 15:34 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157596.pdf
                                               Re: [EXTERNAL] RE: MLS: NPS Natural Resources
00157597   00157598   11/9/2021 15:46 Email    Coordination Meeting                                    .\VOL011\IMAGES\IMAGES003\00157597.pdf
00157599   00157599   11/9/2021 15:56 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157599.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00157600   00157600   11/9/2021 15:59 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157600.pdf

00157601   00157602   11/9/2021 17:18 Email    FW: MLS‐ Response to Common Comments‐ Part 1    .\VOL011\IMAGES\IMAGES003\00157601.pdf
                                               Attachment 1_Common Themes Response Index_Draft
00157603   00157604   11/9/2021 17:18 Attach   Final_11.09.2021.docx                           .\VOL011\IMAGES\IMAGES003\00157603.pdf
                                               Attachment 2_Purpose & Need_ Draft
00157605   00157610   11/9/2021 17:18 Attach   Final_11.09.2021.docx                           .\VOL011\IMAGES\IMAGES003\00157605.pdf
                                               Attachment 3_Screening of Alternatives_Draft
00157611   00157617   11/9/2021 17:18 Attach   Final_11.09.2021.docx                           .\VOL011\IMAGES\IMAGES003\00157611.pdf

00157618   00157621   11/9/2021 17:18 Attach   Attachment 4_Tolling_Draft Final_11.09.2021.docx        .\VOL011\IMAGES\IMAGES003\00157618.pdf
                                               Attachment 5_Public Participation and Engagement_
00157622   00157625   11/9/2021 17:18 Attach   Draft Final_11.09.2021.docx                             .\VOL011\IMAGES\IMAGES003\00157622.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                               Filed 05/03/23                              Page 181 of 263

                                                Attachment 6_Comments Outside Phase 1 South_Draft
00157626   00157626    11/9/2021 17:18 Attach   Final_11.09.2021.docx                             .\VOL011\IMAGES\IMAGES003\00157626.pdf
                                                I‐495 & I‐270 MLS‐ EJ Outreach and Engagement
00157627   00157628    11/9/2021 17:33 Email    Initiative                                        .\VOL011\IMAGES\IMAGES003\00157627.pdf
                                                Environmental Justice Additional Outreach and
00157629   00157636    11/9/2021 17:33 Attach   Engagement Initiative_11‐1‐2021.pdf               .\VOL011\IMAGES\IMAGES003\00157629.pdf
                                                I‐495 & I‐270 MLS‐ EJ Outreach and Engagement
00157637   00157638    11/9/2021 17:33 Email    Initiative                                        .\VOL011\IMAGES\IMAGES003\00157637.pdf
00157639   00157639    11/9/2021 17:48 Email    FW: I‐495/I‐270 SDEIS: Stormwater Appendix        .\VOL011\IMAGES\IMAGES003\00157639.pdf

00157640   00157640    11/9/2021 17:56 Email    Protect parks from the I‐495 and I‐270 expansions     .\VOL011\IMAGES\IMAGES003\00157640.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157641   00157641    11/9/2021 19:00 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157641.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157642   00157642    11/9/2021 20:06 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157642.pdf
00157643   00157643    11/10/2021 9:24 Email    Fw: Mail 11/10/2021                                   .\VOL011\IMAGES\IMAGES003\00157643.pdf
00157644   00157645    11/10/2021 9:24 Attach   2021.11.10 Jeff_Batt Letter.pdf                       .\VOL011\IMAGES\IMAGES003\00157644.pdf
00157646   00157646    11/10/2021 9:39 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES003\00157646.pdf
00157647   00157647   11/10/2021 10:08 Email    SMW Studies June 2021                                 .\VOL011\IMAGES\IMAGES003\00157647.pdf
00157648   00157648   11/10/2021 10:18 Email    Re: SMW Studies June 2021                             .\VOL011\IMAGES\IMAGES003\00157648.pdf
00157649   00157650   11/10/2021 10:30 Email    RE: SMW Studies June 2021                             .\VOL011\IMAGES\IMAGES003\00157649.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157651   00157651   11/10/2021 13:26 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157651.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157652   00157652   11/10/2021 14:17 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157652.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157653   00157653   11/10/2021 14:33 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157653.pdf
00157654   00157654   11/10/2021 15:15 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES003\00157654.pdf
00157655   00157655   11/10/2021 15:54 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES003\00157655.pdf
00157656   00157657   11/10/2021 16:37 Email    Submission re: SDEIS on Widening I‐270 / 495          .\VOL011\IMAGES\IMAGES003\00157656.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157658   00157658   11/10/2021 20:14 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157658.pdf
00157659   00157661    11/11/2021 8:44 Attach   EJ ebalst ‐ Memo Style.pdf                            .\VOL011\IMAGES\IMAGES003\00157659.pdf
                                                MLS_HearingFlyerCoverletter_EJOrgs_Mail_MC_10072
00157662   00157663    11/11/2021 8:44 Attach   021.docx                                              .\VOL011\IMAGES\IMAGES003\00157662.pdf
                                                Improve Safety by Sharing Cameras on the Web and
00157664   00157666   11/11/2021 11:16 Email    Mobile                                                .\VOL011\IMAGES\IMAGES003\00157664.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157667   00157667   11/11/2021 13:04 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157667.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157668   00157668   11/11/2021 13:06 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157668.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157669   00157669   11/11/2021 13:10 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157669.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157670   00157670   11/11/2021 13:52 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157670.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157671   00157671   11/11/2021 14:59 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157671.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157672   00157672   11/11/2021 15:01 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157672.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157673   00157673   11/11/2021 15:01 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157673.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157674   00157674   11/11/2021 15:08 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157674.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157675   00157675   11/11/2021 15:08 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157675.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157676   00157676   11/11/2021 15:10 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157676.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157677   00157677   11/11/2021 15:11 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157677.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157678   00157678   11/11/2021 15:11 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157678.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157679   00157679   11/11/2021 15:13 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157679.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157680   00157680   11/11/2021 15:19 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157680.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157681   00157681   11/11/2021 15:21 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157681.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157682   00157682   11/11/2021 15:22 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157682.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157683   00157683   11/11/2021 15:27 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157683.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157684   00157684   11/11/2021 15:33 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157684.pdf
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00157685   00157685   11/11/2021 15:37 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157685.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157686   00157686   11/11/2021 15:42 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157686.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157687   00157687   11/11/2021 15:46 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157687.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157688   00157688   11/11/2021 15:47 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157688.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157689   00157689   11/11/2021 15:50 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157689.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157690   00157690   11/11/2021 15:53 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157690.pdf
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00157691   00157691   11/11/2021 15:54 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157691.pdf
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00157692   00157692   11/11/2021 15:59 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157692.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157693   00157693   11/11/2021 15:59 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157693.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157694   00157694   11/11/2021 16:01 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157694.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157695   00157695   11/11/2021 16:18 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157695.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157696   00157696   11/11/2021 16:21 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157696.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157697   00157697   11/11/2021 16:27 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157697.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157698   00157698   11/11/2021 16:28 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157698.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157699   00157699   11/11/2021 16:33 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157699.pdf
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                                                I support the no‐build option and oppose I‐495 and I‐
00157701   00157701   11/11/2021 16:42 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157701.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157702   00157702   11/11/2021 16:42 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157702.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157703   00157703   11/11/2021 16:50 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157703.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157704   00157704   11/11/2021 16:53 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157704.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157705   00157705   11/11/2021 16:55 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157705.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157706   00157706   11/11/2021 16:58 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157706.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157707   00157707   11/11/2021 17:18 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157707.pdf
                                                Re: WBFC‐Section‐106‐Comment Letter‐
00157708   00157711   11/11/2021 17:21 Email    PlummersIsland‐2021‐Oct8                                .\VOL011\IMAGES\IMAGES003\00157708.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157712   00157712   11/11/2021 17:40 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157712.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157713   00157713   11/11/2021 17:53 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157713.pdf
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00157714   00157714   11/11/2021 18:32 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157714.pdf
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00157715   00157715   11/11/2021 18:40 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157715.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157716   00157716   11/11/2021 19:29 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157716.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157717   00157717   11/11/2021 19:36 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157717.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157718   00157718   11/11/2021 20:01 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157718.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157719   00157719   11/11/2021 20:11 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157719.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157720   00157720   11/11/2021 21:57 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157720.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157721   00157721   11/11/2021 22:31 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157721.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157722   00157722   11/11/2021 23:13 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157722.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157723   00157723   11/11/2021 23:39 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157723.pdf
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00157724   00157724    11/12/2021 0:06 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157724.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157725   00157725    11/12/2021 0:17 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157725.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157726   00157726    11/12/2021 0:41 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157726.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157727   00157727    11/12/2021 2:26 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157727.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ SDEIS Comment
00157728   00157730    11/12/2021 8:25 Email    Period Extension                                        .\VOL011\IMAGES\IMAGES003\00157728.pdf
                                                I‐495 & I‐270 Managed Lanes Study‐ SDEIS Comment
00157731   00157733    11/12/2021 8:25 Email    Period Extension                                        .\VOL011\IMAGES\IMAGES003\00157731.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157734   00157734    11/12/2021 8:41 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157734.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157735   00157735    11/12/2021 8:44 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157735.pdf
                                                2021‐11‐18 NPS Mitigation Coordination Meeting
00157736   00157736    11/12/2021 9:42 Attach   Agenda.pdf                                              .\VOL011\IMAGES\IMAGES003\00157736.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157737   00157737    11/12/2021 9:42 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157737.pdf
                                                NOA in FR for SDEIS comment period extension for
00157738   00157738    11/12/2021 9:47 Email    MLS                                                     .\VOL011\IMAGES\IMAGES003\00157738.pdf
00157739   00157739    11/12/2021 9:47 Attach   FR_NOA_SDEIS_2021‐24666.pdf                             .\VOL011\IMAGES\IMAGES003\00157739.pdf
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00157740   00157740    11/12/2021 9:48 Email    for MLS                                                 .\VOL011\IMAGES\IMAGES003\00157740.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157741   00157741   11/12/2021 10:03 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157741.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157742   00157742   11/12/2021 10:07 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157742.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157743   00157743   11/12/2021 10:20 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157743.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157744   00157744   11/12/2021 10:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157744.pdf
00157745   00157745   11/12/2021 11:00 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES003\00157745.pdf
00157746   00157746   11/12/2021 11:25 Email    FW: DOI Comments SDEIS Managed Lanes                    .\VOL011\IMAGES\IMAGES003\00157746.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157747   00157747   11/12/2021 11:27 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES003\00157747.pdf

00157748   00157749   11/12/2021 11:31 Email    FW: Submission re: SDEIS on Widening I‐270 / 495         .\VOL011\IMAGES\IMAGES003\00157748.pdf
00157750   00157752   11/12/2021 11:31 Attach   Concern on Toxic Silica Dust.pdf                         .\VOL011\IMAGES\IMAGES003\00157750.pdf
00157753   00157754   11/12/2021 11:31 Attach   1‐NCI‐Construction Dust NCI ‐ US.pdf                     .\VOL011\IMAGES\IMAGES003\00157753.pdf
00157755   00157756   11/12/2021 11:31 Attach   4‐OSHA Facts on Silica.pdf                               .\VOL011\IMAGES\IMAGES003\00157755.pdf
00157757   00157760   11/12/2021 11:31 Attach   G‐Highway Repair Silicosis Threat.pdf                    .\VOL011\IMAGES\IMAGES003\00157757.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157761   00157761   11/12/2021 11:35 Email    270 expansion                                            .\VOL011\IMAGES\IMAGES003\00157761.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157762   00157762   11/12/2021 12:21 Email    270 expansion                                            .\VOL011\IMAGES\IMAGES003\00157762.pdf
00157763   00157763   11/12/2021 13:19 Email    Support Alternative 9 ‐‐ Phase 1 South                   .\VOL011\IMAGES\IMAGES003\00157763.pdf
                                                RE: Letter from Sierra Club Regarding Significant Errors
00157764   00157765   11/12/2021 14:04 Email    in the I‐495 & I‐270 SDEIS                               .\VOL011\IMAGES\IMAGES003\00157764.pdf
                                                Fwd: Jackman Response_833279_Response: Extend
00157766   00157768   11/12/2021 14:30 Email    the Comment Period Request                               .\VOL011\IMAGES\IMAGES003\00157766.pdf
                                                Fwd: McCutchen_833280_Repsonse_Request 180‐Day
                                                Comment Period for Review of the I‐495 & I‐270
00157769   00157771   11/12/2021 14:30 Email    Managed Lanes Study SDEIS                                .\VOL011\IMAGES\IMAGES003\00157769.pdf
                                                Fwd: Reynolds_833302_Response: Request for
                                                Extension to the Public Comment Period for I‐495 and I‐
00157772   00157773   11/12/2021 14:30 Email    270 Managed Lanes Study                                  .\VOL011\IMAGES\IMAGES003\00157772.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157774   00157774   11/12/2021 14:44 Email    270 expansion                                            .\VOL011\IMAGES\IMAGES003\00157774.pdf
00157775   00157775   11/12/2021 14:47 Email    Support Alternative 9 ‐‐ Phase 1 South                   .\VOL011\IMAGES\IMAGES003\00157775.pdf
00157776   00157776   11/12/2021 15:19 Email    Support Alternative 9 ‐‐ Phase 1 South                   .\VOL011\IMAGES\IMAGES003\00157776.pdf
00157777   00157782   11/12/2021 15:22 Attach   SDEIS LETTER RE‐I270 11.8.21.pdf                         .\VOL011\IMAGES\IMAGES003\00157777.pdf
00157783   00157785   11/12/2021 15:22 Attach   SDEIS Stream Mitigation with date.pdf                    .\VOL011\IMAGES\IMAGES003\00157783.pdf
00157786   00157790   11/12/2021 15:22 Attach   I270‐I495 DEIS Letter ‐11‐2‐2020‐208.pdf                 .\VOL011\IMAGES\IMAGES003\00157786.pdf
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00157794   00157794   11/12/2021 17:54 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157794.pdf
00157795   00157797    11/13/2021 3:51 Attach   Re: WBFC/Section 106 questions                        .\VOL011\IMAGES\IMAGES003\00157795.pdf
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00157799   00157799   11/13/2021 10:40 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157799.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157800   00157800   11/13/2021 10:49 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157800.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157801   00157801   11/13/2021 11:22 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157801.pdf
00157802   00157803   11/13/2021 12:05 Email    I‐495 & I‐270 Managed Lanes Study SDEIS               .\VOL011\IMAGES\IMAGES003\00157802.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157804   00157804   11/13/2021 13:10 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157804.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157805   00157805   11/13/2021 13:44 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157805.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157806   00157806   11/13/2021 13:50 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157806.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157807   00157807   11/13/2021 14:27 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157807.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157808   00157808   11/13/2021 14:38 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157808.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157809   00157809   11/13/2021 15:08 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157809.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157810   00157810   11/13/2021 15:17 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157810.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157811   00157811   11/13/2021 15:23 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157811.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157812   00157812   11/13/2021 15:28 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157812.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157813   00157813   11/13/2021 16:02 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157813.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157814   00157814   11/13/2021 16:02 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157814.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157815   00157815   11/13/2021 17:14 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157815.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157816   00157816   11/13/2021 17:45 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157816.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157817   00157817   11/13/2021 18:39 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157817.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157818   00157818   11/13/2021 20:57 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157818.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157819   00157819   11/13/2021 22:37 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157819.pdf
                                                Reynolds_833302_Response: Request for Extension to
                                                the Public Comment Period for I‐495 and I‐270
00157820   00157821    11/14/2021 9:21 Attach   Managed Lanes Study                                   .\VOL011\IMAGES\IMAGES003\00157820.pdf
                                                McCutchen_833280_Repsonse_Request 180‐Day
                                                Comment Period for Review of the I‐495 & I‐270
00157822   00157824    11/14/2021 9:21 Attach   Managed Lanes Study SDEIS                             .\VOL011\IMAGES\IMAGES003\00157822.pdf
                                                Jackman Response_833279_Response: Extend the
00157825   00157827    11/14/2021 9:21 Attach   Comment Period Request                                .\VOL011\IMAGES\IMAGES003\00157825.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157828   00157828   11/14/2021 10:20 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157828.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157829   00157829   11/14/2021 11:45 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157829.pdf
00157830   00157830   11/14/2021 17:59 Email    OPPOSE Toll Lanes                                     .\VOL011\IMAGES\IMAGES003\00157830.pdf
00157831   00157831   11/14/2021 18:15 Email    Toll lanes                                            .\VOL011\IMAGES\IMAGES003\00157831.pdf
00157832   00157832   11/14/2021 18:33 Email    Re: I oppose toll lanes                               .\VOL011\IMAGES\IMAGES003\00157832.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157833   00157833    11/15/2021 8:33 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157833.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157834   00157834    11/15/2021 8:36 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157834.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157835   00157835    11/15/2021 9:17 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157835.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157836   00157836    11/15/2021 9:35 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157836.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157837   00157837    11/15/2021 9:48 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157837.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157838   00157838    11/15/2021 9:53 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157838.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157839   00157839   11/15/2021 10:13 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157839.pdf
00157840   00157840   11/15/2021 10:30 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES003\00157840.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157841   00157841   11/15/2021 10:46 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157841.pdf
00157842   00157842   11/15/2021 11:21 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES003\00157842.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157843   00157843   11/15/2021 12:16 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157843.pdf
00157844   00157844   11/15/2021 13:26 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES003\00157844.pdf
00157845   00157845   11/15/2021 13:38 Email    Fwd: Toll Lane proposal for 270/495                   .\VOL011\IMAGES\IMAGES003\00157845.pdf
00157846   00157847   11/15/2021 14:18 Edoc     2021.08.18_ IAPA Meeting Presentation.pdf             .\VOL011\IMAGES\IMAGES003\00157846.pdf
                                                2021.08.12_MLS ‐ MDOT vs VDOT volumes on
00157848   00157848   11/15/2021 14:19 Edoc     American Legion Bridge .pdf                           .\VOL011\IMAGES\IMAGES003\00157848.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157849   00157849   11/15/2021 14:52 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES003\00157849.pdf
00157850   00157851   11/15/2021 14:53 Email    We want to hear from you                              .\VOL011\IMAGES\IMAGES003\00157850.pdf
00157852   00157852   11/15/2021 15:05 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00157852.pdf
                                                Register by Nov. 16 to Comment In‐Person at Nov. 18
00157853   00157855   11/15/2021 15:48 Email    MDTA Board Meeting                                    .\VOL011\IMAGES\IMAGES004\00157853.pdf
                                                Register by Nov. 16 to Comment In‐Person at Nov. 18
00157856   00157859   11/15/2021 15:48 Email    MDTA Board Meeting                                    .\VOL011\IMAGES\IMAGES004\00157856.pdf
                                                Register by Nov. 16 to Comment In‐Person at Nov. 18
00157860   00157863   11/15/2021 15:48 Email    MDTA Board Meeting                                    .\VOL011\IMAGES\IMAGES004\00157860.pdf
00157864   00157865   11/15/2021 15:50 Email    We want to hear from you                              .\VOL011\IMAGES\IMAGES004\00157864.pdf
00157866   00157866   11/15/2021 15:54 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00157866.pdf
00157867   00157868   11/15/2021 15:55 Email    We want to hear from you                              .\VOL011\IMAGES\IMAGES004\00157867.pdf
00157869   00157872   11/15/2021 16:46 Email    Beltway Expansion                                     .\VOL011\IMAGES\IMAGES004\00157869.pdf
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                                                I support the no‐build option and oppose I‐495 and I‐
00157873   00157873   11/15/2021 16:49 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157873.pdf
00157874   00157874   11/15/2021 17:02 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES004\00157874.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157875   00157875   11/15/2021 20:40 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157875.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157876   00157876   11/15/2021 20:43 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157876.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157877   00157877   11/15/2021 20:43 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157877.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157878   00157878   11/15/2021 21:19 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157878.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157879   00157879   11/15/2021 21:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157879.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157880   00157880   11/15/2021 22:06 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157880.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157881   00157881   11/15/2021 22:48 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157881.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157882   00157882    11/16/2021 2:06 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157882.pdf
                                                RE: Urgent need to revisit and reassess I‐270
00157883   00157884    11/16/2021 9:42 Email    expansion plans                                         .\VOL011\IMAGES\IMAGES004\00157883.pdf
00157885   00157886   11/16/2021 10:15 Email    We want to hear from you                                .\VOL011\IMAGES\IMAGES004\00157885.pdf
00157887   00157888   11/16/2021 10:26 Email    FW: MLS SWM on MNCPPC property                          .\VOL011\IMAGES\IMAGES004\00157887.pdf
00157889   00157890   11/16/2021 10:31 Email    FW: I‐495/I‐270 SDEIS: Stormwater Appendix              .\VOL011\IMAGES\IMAGES004\00157889.pdf
00157891   00157892   11/16/2021 10:31 Email    FW: MLS SWM on MNCPPC property                          .\VOL011\IMAGES\IMAGES004\00157891.pdf
00157893   00157894   11/16/2021 10:47 Email    RE: Section 4f de minimis coordination with MHT         .\VOL011\IMAGES\IMAGES004\00157893.pdf
00157895   00157896   11/16/2021 10:58 Email    I‐270 Sound Barrier Request                             .\VOL011\IMAGES\IMAGES004\00157895.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157897   00157897   11/16/2021 10:58 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157897.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157898   00157898   11/16/2021 12:20 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157898.pdf
                                                OPPOSE THE TOLL LANES AND SUPPORT THE NO‐
00157899   00157899   11/16/2021 12:49 Email    BUILD OPTION                                            .\VOL011\IMAGES\IMAGES004\00157899.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157900   00157900   11/16/2021 13:40 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157900.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157901   00157901   11/16/2021 13:53 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157901.pdf
                                                2021.11.17 Sara Love Op Lanes Maryland
00157902   00157929   11/16/2021 14:27 Attach   Presentation.pptx                                       .\VOL011\IMAGES\IMAGES004\00157902.pdf
                                                Re: Urgent need to revisit and reassess I‐270
00157930   00157934   11/16/2021 14:45 Email    expansion plans ‐ Problem Opening pdf                   .\VOL011\IMAGES\IMAGES004\00157930.pdf
00157935   00157936   11/16/2021 15:32 Email    RE: MLS‐ FEIS Draft Outline                             .\VOL011\IMAGES\IMAGES004\00157935.pdf
00157937   00157938   11/16/2021 15:32 Email    RE: MLS‐ FEIS Draft Outline                             .\VOL011\IMAGES\IMAGES004\00157937.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157939   00157939   11/16/2021 16:23 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157939.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157940   00157940   11/16/2021 16:46 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157940.pdf
                                                OPPOSE THE TOLL LANES AND SUPPORT THE NO‐
00157941   00157941   11/16/2021 21:07 Email    BUILD OPTION                                            .\VOL011\IMAGES\IMAGES004\00157941.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157942   00157942   11/16/2021 23:29 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157942.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157943   00157943    11/17/2021 2:38 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157943.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157944   00157944    11/17/2021 2:59 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157944.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157945   00157945    11/17/2021 3:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157945.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157946   00157946    11/17/2021 4:23 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157946.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157947   00157947    11/17/2021 6:34 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157947.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157948   00157948    11/17/2021 7:14 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157948.pdf
00157949   00157949    11/17/2021 7:15 Email    Toll Lanes                                              .\VOL011\IMAGES\IMAGES004\00157949.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157950   00157950    11/17/2021 7:23 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157950.pdf
00157951   00157951    11/17/2021 7:24 Email    FW: Today's DOT News Briefing                           .\VOL011\IMAGES\IMAGES004\00157951.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157952   00157952    11/17/2021 7:59 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157952.pdf
                                                RE: Perpetual Easement Clean Up ‐ Morningstar
00157953   00157954    11/17/2021 8:02 Email    Cemetery                                                .\VOL011\IMAGES\IMAGES004\00157953.pdf
00157955   00157956    11/17/2021 8:15 Email    Re: Today's DOT News Briefing                           .\VOL011\IMAGES\IMAGES004\00157955.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157957   00157957    11/17/2021 8:16 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157957.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157958   00157958    11/17/2021 8:17 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157958.pdf
00157959   00157960    11/17/2021 8:19 Email    FW: Today's DOT News Briefing                           .\VOL011\IMAGES\IMAGES004\00157959.pdf
00157961   00157962    11/17/2021 8:19 Email    FW: Today's DOT News Briefing                           .\VOL011\IMAGES\IMAGES004\00157961.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157963   00157963    11/17/2021 8:22 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157963.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157964   00157964    11/17/2021 8:33 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157964.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157965   00157965    11/17/2021 8:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157965.pdf
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00157966   00157966    11/17/2021 8:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157966.pdf
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00157967   00157967    11/17/2021 8:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157967.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157968   00157968    11/17/2021 8:59 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157968.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157969   00157969    11/17/2021 9:21 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157969.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157970   00157970    11/17/2021 9:27 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157970.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157971   00157971    11/17/2021 9:58 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157971.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157972   00157972   11/17/2021 10:00 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157972.pdf
00157973   00157973   11/17/2021 10:16 Email    Toll Lanes                                              .\VOL011\IMAGES\IMAGES004\00157973.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157974   00157974   11/17/2021 10:23 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157974.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157975   00157975   11/17/2021 10:26 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157975.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157976   00157976   11/17/2021 10:30 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00157976.pdf
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                                                I support the no‐build option and oppose I‐495 and I‐
00157977   00157977   11/17/2021 10:42 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157977.pdf
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00157978   00157978   11/17/2021 10:47 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157978.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157979   00157979   11/17/2021 11:23 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157979.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157980   00157980   11/17/2021 11:25 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157980.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157981   00157981   11/17/2021 11:52 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157981.pdf
00157982   00157983   11/17/2021 11:57 Email    RE: MLS SWM on MNCPPC property                                .\VOL011\IMAGES\IMAGES004\00157982.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157984   00157984   11/17/2021 12:08 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157984.pdf
00157985   00157987   11/17/2021 12:15 Email    RE: MLS SWM on MNCPPC property                                .\VOL011\IMAGES\IMAGES004\00157985.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157988   00157988   11/17/2021 12:24 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157988.pdf
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00157989   00157989   11/17/2021 12:30 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157989.pdf
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00157990   00157990   11/17/2021 12:37 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157990.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157991   00157991   11/17/2021 12:52 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157991.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157992   00157992   11/17/2021 13:22 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157992.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157993   00157993   11/17/2021 13:42 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157993.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157994   00157994   11/17/2021 13:47 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157994.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00157995   00157995   11/17/2021 13:54 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00157995.pdf

00157996   00157996   11/17/2021 14:00 Attach   2021‐11‐17_FHWA Coordination Mtg Agenda.docx                  .\VOL011\IMAGES\IMAGES004\00157996.pdf
                                                2021‐11‐
00157997   00158000   11/17/2021 14:00 Attach   02_FHWA_Coordination_Meeting_Notes.docx                       .\VOL011\IMAGES\IMAGES004\00157997.pdf
                                                2021‐11‐02_FHWA Coordination Meeting Notes_P3
00158001   00158002   11/17/2021 14:00 Attach   Program.docx                                                  .\VOL011\IMAGES\IMAGES004\00158001.pdf
00158003   00158004   11/17/2021 14:00 Email    I‐495 & I‐270 FHWA Coordination Meeting                       .\VOL011\IMAGES\IMAGES004\00158003.pdf
00158005   00158006   11/17/2021 14:11 Email    Minor NPS 495 MLS 106 issue                                   .\VOL011\IMAGES\IMAGES004\00158005.pdf
00158007   00158008   11/17/2021 14:12 Email    Minor NPS 495 MLS 106 issue.pdf                               .\VOL011\IMAGES\IMAGES004\00158007.pdf
00158009   00158010   11/17/2021 14:42 Email    RE: Today's DOT News Briefing                                 .\VOL011\IMAGES\IMAGES004\00158009.pdf
00158011   00158012   11/17/2021 14:42 Attach   MDSC‐Letter‐Mar‐Folden‐Nov9‐2021.pdf                          .\VOL011\IMAGES\IMAGES004\00158011.pdf
                                                FW: Toll lane traffic forecast lacks all credibility ‐ Feds
00158013   00158017   11/17/2021 14:42 Attach   asked to retract environmental study                          .\VOL011\IMAGES\IMAGES004\00158013.pdf
00158018   00158020   11/17/2021 14:51 Email    Re: MLS SWM on MNCPPC property                                .\VOL011\IMAGES\IMAGES004\00158018.pdf
                                                RE: Perpetual Easement Clean Up ‐ Morningstar
00158021   00158023   11/17/2021 15:03 Email    Cemetery                                                      .\VOL011\IMAGES\IMAGES004\00158021.pdf
00158024   00158026   11/17/2021 15:16 Email    RE: Minor NPS 495 MLS 106 issue                               .\VOL011\IMAGES\IMAGES004\00158024.pdf
00158027   00158029   11/17/2021 15:16 Email    RE: Minor NPS 495 MLS 106 issue                               .\VOL011\IMAGES\IMAGES004\00158027.pdf
00158030   00158030   11/17/2021 15:35 Email    Support Alternative 9 ‐‐ Phase 1 South                        .\VOL011\IMAGES\IMAGES004\00158030.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158031   00158031   11/17/2021 15:40 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158031.pdf
00158032   00158034   11/17/2021 15:42 Email    FW: MLS SWM on MNCPPC property                                .\VOL011\IMAGES\IMAGES004\00158032.pdf
00158035   00158035   11/17/2021 16:20 Email    Support Alternative 9 ‐‐ Phase 1 South                        .\VOL011\IMAGES\IMAGES004\00158035.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158036   00158036   11/17/2021 16:55 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158036.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158037   00158037   11/17/2021 17:00 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158037.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158038   00158038   11/17/2021 17:50 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158038.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158039   00158039   11/17/2021 17:57 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158039.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158040   00158040   11/17/2021 18:00 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158040.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158041   00158041   11/17/2021 18:05 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158041.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158042   00158042   11/17/2021 19:05 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158042.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158043   00158043   11/17/2021 19:15 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158043.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158044   00158044   11/17/2021 20:37 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158044.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158045   00158045   11/17/2021 21:06 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158045.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158046   00158046   11/17/2021 21:07 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158046.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158047   00158047   11/17/2021 21:10 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158047.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158048   00158048   11/17/2021 21:28 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158048.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158049   00158049   11/17/2021 21:52 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158049.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158050   00158050   11/17/2021 22:12 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158050.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158051   00158051   11/17/2021 22:18 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158051.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158052   00158052   11/17/2021 22:54 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158052.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158053   00158053    11/18/2021 3:26 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158053.pdf
00158054   00158060    11/18/2021 8:37 Edoc     MLS FEIS_Outline_Draft_11‐09‐2021_FHWA.docx                   .\VOL011\IMAGES\IMAGES004\00158054.pdf

00158061   00158061    11/18/2021 8:51 Email    RE: MLS FEIS_Outline_Draft_11‐09‐2021_FHWA.docx               .\VOL011\IMAGES\IMAGES004\00158061.pdf

00158062   00158062   11/18/2021 10:54 Email    RE: MLS FEIS_Outline_Draft_11‐09‐2021_FHWA.docx               .\VOL011\IMAGES\IMAGES004\00158062.pdf
00158063   00158069   11/18/2021 10:54 Attach   MLS FEIS_Outline_Draft_11‐09‐2021_FHWA.docx                   .\VOL011\IMAGES\IMAGES004\00158063.pdf
00158070   00158070   11/18/2021 11:09 Email    Support Alternative 9 ‐‐ Phase 1 South                        .\VOL011\IMAGES\IMAGES004\00158070.pdf
00158071   00158077   11/18/2021 11:53 Edoc     MLS FEIS_Outline_Draft_11‐09‐2021_FHWA.docx                   .\VOL011\IMAGES\IMAGES004\00158071.pdf

00158078   00158079   11/18/2021 11:57 Email    RE: MLS FEIS_Outline_Draft_11‐09‐2021_FHWA.docx               .\VOL011\IMAGES\IMAGES004\00158078.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158080   00158080   11/18/2021 12:41 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158080.pdf

00158081   00158082   11/18/2021 13:00 Email    RE: MLS FEIS_Outline_Draft_11‐09‐2021_FHWA.docx               .\VOL011\IMAGES\IMAGES004\00158081.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158083   00158083   11/18/2021 13:05 Email    270 expansion                                                 .\VOL011\IMAGES\IMAGES004\00158083.pdf
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00158084   00158084   11/18/2021 13:40 Email    FW: Another MOU‐HOT lanes in MD                         .\VOL011\IMAGES\IMAGES004\00158084.pdf
00158085   00158086   11/18/2021 13:54 Email    RE: ast NPS Meeting Minutes                             .\VOL011\IMAGES\IMAGES004\00158085.pdf
                                                2021‐10‐28_NPS Natural Resource Meeting
00158087   00158090   11/18/2021 13:54 Attach   Notes_FINAL.pdf                                         .\VOL011\IMAGES\IMAGES004\00158087.pdf
                                                2021‐10‐28_NPS Forest Mitigation Meeting
00158091   00158094   11/18/2021 13:54 Attach   Notes_FINAL.pdf                                         .\VOL011\IMAGES\IMAGES004\00158091.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158095   00158095   11/18/2021 14:00 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158095.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158096   00158096   11/18/2021 15:03 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158096.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158097   00158097   11/18/2021 15:10 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158097.pdf
00158098   00158098   11/18/2021 15:14 Email    FW: DOI Comments SDEIS Managed Lanes                    .\VOL011\IMAGES\IMAGES004\00158098.pdf
                                                DOI Comments SDEIS I‐495 I‐270 Managed Lanes
00158099   00158105   11/18/2021 15:14 Attach   Study.pdf                                               .\VOL011\IMAGES\IMAGES004\00158099.pdf
                                                TOLL RATE RANGES APPROVED FOR PHASE 1 SOUTH:
00158106   00158110   11/18/2021 15:35 Email    AMERICAN LEGION BRIDGE I‐270 TO I‐370                   .\VOL011\IMAGES\IMAGES004\00158106.pdf
                                                TOLL RATE RANGES APPROVED FOR PHASE 1 SOUTH:
00158111   00158115   11/18/2021 15:35 Email    AMERICAN LEGION BRIDGE I‐270 TO I‐370                   .\VOL011\IMAGES\IMAGES004\00158111.pdf
                                                TOLL RATE RANGES APPROVED FOR PHASE 1 SOUTH:
00158116   00158120   11/18/2021 15:35 Email    AMERICAN LEGION BRIDGE I‐270 TO I‐370                   .\VOL011\IMAGES\IMAGES004\00158116.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158121   00158121   11/18/2021 16:31 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158121.pdf

00158122   00158123   11/18/2021 17:45 Email    ATTORNEY CLIENT PRIVILEGE‐ MCCLINTOCK RESPONSE .\VOL011\IMAGES\IMAGES004\00158122.pdf
00158124   00158151   11/18/2021 17:45 Attach   DRAFT SWM Report July ‐ Copy.docx              .\VOL011\IMAGES\IMAGES004\00158124.pdf
00158152   00158195   11/18/2021 17:45 Attach   DRAFT SWM Report_March 2020.pdf                .\VOL011\IMAGES\IMAGES004\00158152.pdf

00158196   00158197   11/18/2021 17:45 Email    ATTORNEY CLIENT PRIVILEGE‐ MCCLINTOCK RESPONSE .\VOL011\IMAGES\IMAGES004\00158196.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158198   00158198   11/18/2021 18:10 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158198.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158199   00158199   11/18/2021 18:38 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158199.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158200   00158200   11/18/2021 19:57 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158200.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158201   00158201   11/18/2021 21:23 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158201.pdf
00158202   00158202    11/19/2021 8:44 Attach   I‐495/I‐270 SDEIS: Stormwater Appendix                .\VOL011\IMAGES\IMAGES004\00158202.pdf
00158203   00158203    11/19/2021 8:55 Email    RE: Another MOU‐HOT lanes in MD                       .\VOL011\IMAGES\IMAGES004\00158203.pdf
00158204   00158205    11/19/2021 9:30 Email    RE: Another MOU‐HOT lanes in MD                       .\VOL011\IMAGES\IMAGES004\00158204.pdf
00158206   00158207    11/19/2021 9:36 Email    RE: Another MOU‐HOT lanes in MD                       .\VOL011\IMAGES\IMAGES004\00158206.pdf
00158208   00158209    11/19/2021 9:37 Email    RE: Another MOU‐HOT lanes in MD                       .\VOL011\IMAGES\IMAGES004\00158208.pdf
00158210   00158211    11/19/2021 9:39 Email    RE: MLS‐ FEIS Draft Outline                           .\VOL011\IMAGES\IMAGES004\00158210.pdf
00158212   00158213    11/19/2021 9:39 Email    RE: MLS‐ FEIS Draft Outline                           .\VOL011\IMAGES\IMAGES004\00158212.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158214   00158214   11/19/2021 10:15 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158214.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158215   00158215   11/19/2021 10:57 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158215.pdf
00158216   00158216   11/19/2021 11:27 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158216.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158217   00158217   11/19/2021 11:31 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158217.pdf
00158218   00158218   11/19/2021 11:33 Email    Responses to common comments                          .\VOL011\IMAGES\IMAGES004\00158218.pdf
00158219   00158219   11/19/2021 11:35 Email    Responses to Common Comments                          .\VOL011\IMAGES\IMAGES004\00158219.pdf
00158220   00158220   11/19/2021 12:53 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158220.pdf
00158221   00158221   11/19/2021 13:01 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158221.pdf
00158222   00158223   11/19/2021 13:30 Edoc     DHR_Concurrence_10_8_2021.pdf                         .\VOL011\IMAGES\IMAGES004\00158222.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158224   00158224   11/19/2021 13:34 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158224.pdf
00158225   00158225   11/19/2021 14:11 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158225.pdf
00158226   00158226   11/19/2021 15:00 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158226.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158227   00158227   11/19/2021 15:25 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158227.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158228   00158228   11/19/2021 15:30 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158228.pdf
                                                Attachment 6_Comments Outside Phase 1 South_Draft
00158229   00158229   11/19/2021 15:53 Attach   Final_11.09.2021_FHWA.docx                            .\VOL011\IMAGES\IMAGES004\00158229.pdf
                                                Attachment 5_Public Participation and Engagement_
00158230   00158233   11/19/2021 15:53 Attach   Draft Final_11.09.2021‐FHWA.docx                      .\VOL011\IMAGES\IMAGES004\00158230.pdf
                                                Attachment 4_Tolling_Draft
00158234   00158237   11/19/2021 15:53 Attach   Final_11.09.2021_FHWA.docx                            .\VOL011\IMAGES\IMAGES004\00158234.pdf
                                                Attachment 3_Screening of Alternatives_Draft
00158238   00158244   11/19/2021 15:53 Attach   Final_11.09.2021 FHWA.docx                            .\VOL011\IMAGES\IMAGES004\00158238.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158245   00158245   11/19/2021 16:08 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158245.pdf
00158246   00158247   11/19/2021 16:30 Email    Updated ES Page                                       .\VOL011\IMAGES\IMAGES004\00158246.pdf
                                                SDEIS_00_Executive_Summary_11.10.2021 ‐ Page ES‐
00158248   00158248   11/19/2021 16:30 Attach   13.pdf                                                .\VOL011\IMAGES\IMAGES004\00158248.pdf
00158249   00158249   11/19/2021 17:03 Email    Managed Lanes Study ‐ SEIS Comment Letter             .\VOL011\IMAGES\IMAGES004\00158249.pdf
                                                2021‐11‐22 City of Rockville Coordination Meeting
00158250   00158250   11/19/2021 17:28 Attach   Agenda.pdf                                            .\VOL011\IMAGES\IMAGES004\00158250.pdf
                                                RE: I‐495 & I‐270 MLS: City of Rockville Coordination
00158251   00158252   11/19/2021 17:28 Email    Meeting                                               .\VOL011\IMAGES\IMAGES004\00158251.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158253   00158253   11/19/2021 18:44 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158253.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158254   00158254   11/19/2021 18:56 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158254.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158255   00158255   11/19/2021 21:34 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158255.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158256   00158256   11/19/2021 21:46 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158256.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158257   00158257   11/19/2021 23:06 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158257.pdf
00158258   00158258    11/20/2021 9:31 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158258.pdf
00158259   00158259   11/20/2021 10:39 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158259.pdf
00158260   00158260   11/20/2021 11:40 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158260.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158261   00158261   11/20/2021 20:41 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158261.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158262   00158262   11/20/2021 22:54 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158262.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158263   00158263    11/21/2021 0:15 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158263.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158264   00158264   11/21/2021 13:41 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158264.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158265   00158265   11/21/2021 15:04 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158265.pdf
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                                                I support the no‐build option and oppose I‐495 and I‐
00158266   00158266   11/21/2021 17:30 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158266.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158267   00158267   11/21/2021 18:20 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158267.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158268   00158268   11/21/2021 23:41 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158268.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158269   00158269    11/22/2021 1:27 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158269.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00158270   00158274    11/22/2021 9:52 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES004\00158270.pdf
                                                FHWA MDOT and MDTA MOU (Draft
00158275   00158279    11/22/2021 9:52 Attach   10.22.21)FHWA_11.18.2021.docx                           .\VOL011\IMAGES\IMAGES004\00158275.pdf
                                                RE: Toll MOU‐ RE: FHWA comments on Admin draft
00158280   00158284   11/22/2021 10:00 Email    SDEIS                                                   .\VOL011\IMAGES\IMAGES004\00158280.pdf
00158285   00158285   11/22/2021 10:03 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES004\00158285.pdf
00158286   00158286   11/22/2021 11:04 Email    Support Alternative 9 ‐‐ Phase 1 South                  .\VOL011\IMAGES\IMAGES004\00158286.pdf

00158287   00158288   11/22/2021 11:13 Email    ATTORNEY CLIENT PRIVILEGE‐ MCCLINTOCK RESPONSE .\VOL011\IMAGES\IMAGES004\00158287.pdf
00158289   00158289   11/22/2021 12:03 Email    RE: Responses to common comments                      .\VOL011\IMAGES\IMAGES004\00158289.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158290   00158290   11/22/2021 13:17 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158290.pdf
00158291   00158291   11/22/2021 14:16 Email    Supplemental DOI comments                             .\VOL011\IMAGES\IMAGES004\00158291.pdf
                                                DOI Supplemental Comments Managed Lanes Study
00158292   00158295   11/22/2021 14:16 Attach   SDEIS.pdf                                             .\VOL011\IMAGES\IMAGES004\00158292.pdf
00158296   00158296   11/22/2021 14:16 Email    FW: Supplemental DOI comments                         .\VOL011\IMAGES\IMAGES004\00158296.pdf
00158297   00158297   11/22/2021 14:18 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158297.pdf

                                                I‐495 MLS Morningstar Cemetery draft Section 106 No
00158298   00158299   11/22/2021 14:40 Email    Adverse Text ‐ DRAFT, CONFIDENTIAL, PREDECISIONAL .\VOL011\IMAGES\IMAGES004\00158298.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158300   00158300   11/22/2021 14:44 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158300.pdf
                                                FW: I‐495 MLS Morningstar Cemetery draft Section
                                                106 No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158301   00158302   11/22/2021 14:59 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158301.pdf
                                                FW: I‐495 MLS Morningstar Cemetery draft Section
                                                106 No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158303   00158304   11/22/2021 15:00 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158303.pdf
00158305   00158313   11/22/2021 15:00 Attach   Morningstar Draft No Adverse Effect_sa2.docx          .\VOL011\IMAGES\IMAGES004\00158305.pdf
00158314   00158314   11/22/2021 15:27 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158314.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158315   00158315   11/22/2021 15:34 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158315.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158316   00158316   11/22/2021 15:36 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158316.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158317   00158317   11/22/2021 15:58 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158317.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158318   00158318   11/22/2021 16:16 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158318.pdf
                                                FW: I‐495 MLS Morningstar Cemetery draft Section
                                                106 No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158319   00158320   11/22/2021 16:24 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158319.pdf
00158321   00158322   11/22/2021 16:25 Email    RE: Responses to common comments                      .\VOL011\IMAGES\IMAGES004\00158321.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158323   00158323   11/22/2021 16:35 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158323.pdf
                                                RE: I‐495 MLS Morningstar Cemetery draft Section 106
                                                No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158324   00158326   11/22/2021 16:57 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158324.pdf
00158327   00158327   11/22/2021 16:57 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158327.pdf
00158328   00158330   11/22/2021 16:59 Email    FW: Comment period                                    .\VOL011\IMAGES\IMAGES004\00158328.pdf
                                                Attachment 3_Screening of Alternatives_Draft
00158331   00158337   11/22/2021 17:26 Edoc     Final_11.09.2021 FHWA.docx                            .\VOL011\IMAGES\IMAGES004\00158331.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158338   00158338   11/22/2021 18:54 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158338.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158339   00158339   11/22/2021 20:05 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158339.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158340   00158340   11/22/2021 20:44 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158340.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158341   00158341   11/22/2021 22:04 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158341.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158342   00158342    11/23/2021 1:28 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158342.pdf
00158343   00158343    11/23/2021 9:36 Attach   2021‐11‐29 WBFC Plummers Mtg Agenda.docx              .\VOL011\IMAGES\IMAGES004\00158343.pdf
00158344   00158344    11/23/2021 9:37 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158344.pdf
                                                RE: I‐495 MLS Morningstar Cemetery draft Section 106
                                                No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158345   00158347   11/23/2021 10:36 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158345.pdf
00158348   00158348   11/23/2021 10:44 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158348.pdf
                                                FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00158349   00158352   11/23/2021 11:10 Email    and I‐270 Managed Lanes Study                         .\VOL011\IMAGES\IMAGES004\00158349.pdf
00158353   00158353   11/23/2021 11:45 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158353.pdf

00158354   00158355   11/23/2021 11:58 Email    RE: MLS‐ Response to Common Comments‐ Part 1     .\VOL011\IMAGES\IMAGES004\00158354.pdf
                                                Attachment 1_Common Themes Response Index_Draft
00158356   00158357   11/23/2021 11:58 Attach   Final_11.23.2021 FHWA User.docx                  .\VOL011\IMAGES\IMAGES004\00158356.pdf
                                                Attchment 2_Purpose Need_Draft Final_11.23.2021
00158358   00158363   11/23/2021 11:58 Attach   FHWA User.docx                                   .\VOL011\IMAGES\IMAGES004\00158358.pdf
                                                Attachment 3_Screening of Alternatives_Draft
00158364   00158370   11/23/2021 11:58 Attach   Final_11.23.2021 FHWA User.docx                  .\VOL011\IMAGES\IMAGES004\00158364.pdf
                                                Attachment 4_Tolling_Draft Final_11.23.2021_FHWA
00158371   00158374   11/23/2021 11:58 Attach   User.docx                                        .\VOL011\IMAGES\IMAGES004\00158371.pdf

                                                Attachment 5_Public Participation and Engagement_
00158375   00158378   11/23/2021 11:58 Attach   Draft Final_11.23.2021‐FHWA User.docx                 .\VOL011\IMAGES\IMAGES004\00158375.pdf
                                                Attachment 6_Comments Outside Phase 1 South_Draft
00158379   00158379   11/23/2021 11:58 Attach   Final_11.23.2021_FHWA User.docx                       .\VOL011\IMAGES\IMAGES004\00158379.pdf
                                                Re: Dam Safety & Memorandum of Land Restriction on
00158380   00158381   11/23/2021 11:58 Email    Interstate right‐of‐way                               .\VOL011\IMAGES\IMAGES004\00158380.pdf
                                                RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00158382   00158386   11/23/2021 12:28 Email    and I‐270 Managed Lanes Study                         .\VOL011\IMAGES\IMAGES004\00158382.pdf
                                                FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00158387   00158391   11/23/2021 12:29 Email    and I‐270 Managed Lanes Study                         .\VOL011\IMAGES\IMAGES004\00158387.pdf
                                                RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00158392   00158396   11/23/2021 12:35 Email    and I‐270 Managed Lanes Study                         .\VOL011\IMAGES\IMAGES004\00158392.pdf
                                                FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00158397   00158401   11/23/2021 12:40 Email    and I‐270 Managed Lanes Study                         .\VOL011\IMAGES\IMAGES004\00158397.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                   Filed 05/03/23                           Page 188 of 263

                                                FW: I‐495 MLS Morningstar Cemetery draft Section
                                                106 No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158402   00158403   11/23/2021 13:04 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158402.pdf
00158404   00158404   11/23/2021 13:05 Email    MLS Section 106 Coordination commitment               .\VOL011\IMAGES\IMAGES004\00158404.pdf
                                                RE: I‐495 MLS Morningstar Cemetery draft Section 106
                                                No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158405   00158407   11/23/2021 13:18 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158405.pdf
                                                RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00158408   00158412   11/23/2021 13:24 Email    and I‐270 Managed Lanes Study                         .\VOL011\IMAGES\IMAGES004\00158408.pdf
00158413   00158413   11/23/2021 13:32 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158413.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158414   00158414   11/23/2021 13:36 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158414.pdf
00158415   00158415   11/23/2021 14:55 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158415.pdf
00158416   00158416   11/23/2021 15:50 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158416.pdf
00158417   00158417   11/23/2021 16:47 Email    Support Alternative 9 ‐‐ Phase 1 South                .\VOL011\IMAGES\IMAGES004\00158417.pdf
00158418   00158420   11/23/2021 20:27 Email    Re: MLS Section 106 Coordination commitment           .\VOL011\IMAGES\IMAGES004\00158418.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158421   00158421   11/23/2021 23:01 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158421.pdf
00158422   00158424    11/24/2021 6:30 Email    RE: MLS Section 106 Coordination commitment           .\VOL011\IMAGES\IMAGES004\00158422.pdf
00158425   00158427    11/24/2021 6:36 Email    RE: MLS Section 106 Coordination commitment           .\VOL011\IMAGES\IMAGES004\00158425.pdf
                                                I OPPOSE THE TOLL LANES AND SUPPORT THE NO‐
00158428   00158428   11/24/2021 11:27 Email    BUILD OPTION.                                         .\VOL011\IMAGES\IMAGES004\00158428.pdf
00158429   00158430   11/24/2021 11:46 Email    Re: MLS Section 106 Coordination commitment           .\VOL011\IMAGES\IMAGES004\00158429.pdf
00158431   00158432   11/24/2021 11:55 Email    RE: MLS Section 106 Coordination commitment           .\VOL011\IMAGES\IMAGES004\00158431.pdf
00158433   00158435   11/24/2021 11:57 Email    RE: MLS Section 106 Coordination commitment           .\VOL011\IMAGES\IMAGES004\00158433.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158436   00158436   11/24/2021 12:42 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158436.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158437   00158437   11/24/2021 15:10 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158437.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158438   00158438   11/25/2021 21:49 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158438.pdf
                                                FW: Letter from Sierra Club Regarding Significant
00158439   00158440   11/26/2021 14:05 Email    Errors in the I‐495 & I‐270 SDEIS                     .\VOL011\IMAGES\IMAGES004\00158439.pdf
                                                2021.11.10_Response to Sierra Club Letter on
00158441   00158441   11/26/2021 14:05 Attach   SDEIS.pdf                                             .\VOL011\IMAGES\IMAGES004\00158441.pdf
00158442   00158443   11/26/2021 14:22 Email    FW_ DOI Comments SDEIS Managed Lanes.pdf              .\VOL011\IMAGES\IMAGES004\00158442.pdf

00158444   00158450   11/26/2021 14:22 Attach   DOI Comments SDEIS I‐495 I‐270 Managed Lanes S.pdf .\VOL011\IMAGES\IMAGES004\00158444.pdf
                                                FW_ I‐495 & I‐270 MLS_ M‐NCPPC Coordination
00158451   00158453   11/26/2021 15:24 Email    Mee....pdf                                            .\VOL011\IMAGES\IMAGES004\00158451.pdf
                                                2021‐10‐28_M‐NCPPC Coordination Meeting
00158454   00158461   11/26/2021 15:24 Attach   Notes.pdf                                             .\VOL011\IMAGES\IMAGES004\00158454.pdf
                                                M‐NCPPC Montgomery Parkland Replacement
00158462   00158462   11/26/2021 15:24 Attach   Proper.pdf                                            .\VOL011\IMAGES\IMAGES004\00158462.pdf
00158463   00158463   11/26/2021 17:05 Email    495 expansion                                         .\VOL011\IMAGES\IMAGES004\00158463.pdf
00158464   00158464   11/26/2021 18:25 Email    SDEIS Comment for I‐270 Widening Proposal             .\VOL011\IMAGES\IMAGES004\00158464.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158465   00158465   11/27/2021 17:12 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158465.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158466   00158466   11/27/2021 17:38 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158466.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158467   00158467   11/28/2021 10:36 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158467.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158468   00158468   11/28/2021 16:18 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158468.pdf
                                                2021_11_28 CJCA Comment Letter to Supplemental
00158469   00158474   11/28/2021 17:36 Attach   DEIS_Final.pdf                                        .\VOL011\IMAGES\IMAGES004\00158469.pdf

00158475   00158480   11/28/2021 17:36 Attach   2020_10_15 Cabin John Comments on DEIS_Final.pdf        .\VOL011\IMAGES\IMAGES004\00158475.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158481   00158481   11/28/2021 20:09 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158481.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158482   00158482    11/29/2021 8:07 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158482.pdf
                                                Comments of Friends of Moses Hall to SDEIS and
00158483   00158483    11/29/2021 9:29 Email    Updated Draft Section 4(f) Evaluation                   .\VOL011\IMAGES\IMAGES004\00158483.pdf

00158484   00158489    11/29/2021 9:29 Attach   Friends Moses Hall DEIS Letter 10.16.20 FINAL.pdf       .\VOL011\IMAGES\IMAGES004\00158484.pdf
00158490   00158495    11/29/2021 9:29 Attach   FMH SDEIS Comment Letter ‐ FINAL.pdf                    .\VOL011\IMAGES\IMAGES004\00158490.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158496   00158496   11/29/2021 10:25 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00158496.pdf

00158497   00158497   11/29/2021 13:00 Attach   2021‐11‐29 WBFC Coordination Meeting ‐ AGENDA.pdf .\VOL011\IMAGES\IMAGES004\00158497.pdf
                                                FW: I‐495 & I‐270: Washington Biologists' Field Club
00158498   00158498   11/29/2021 13:00 Email    Coordination Meeting                                  .\VOL011\IMAGES\IMAGES004\00158498.pdf
                                                I‐495 & I‐270: Washington Biologists' Field Club
00158499   00158499   11/29/2021 13:00 Email    Coordination Meeting                                  .\VOL011\IMAGES\IMAGES004\00158499.pdf
                                                I‐495 & I‐270: Washington Biologists' Field Club
00158500   00158500   11/29/2021 13:00 Email    Coordination Meeting                                  .\VOL011\IMAGES\IMAGES004\00158500.pdf
00158501   00158501   11/29/2021 13:10 Email    Cabin John                                            .\VOL011\IMAGES\IMAGES004\00158501.pdf
00158502   00158502   11/29/2021 13:10 Attach   Bridge letter_Nov 2021.docx                           .\VOL011\IMAGES\IMAGES004\00158502.pdf
00158503   00158504   11/29/2021 14:09 Email    RE: I‐495/I‐270 SDEIS: Stormwater Appendix            .\VOL011\IMAGES\IMAGES004\00158503.pdf
00158505   00158506   11/29/2021 14:09 Email    RE: I‐495/I‐270 SDEIS: Stormwater Appendix            .\VOL011\IMAGES\IMAGES004\00158505.pdf
                                                Barnes Response_834658: American Legion Bridge I‐
00158507   00158508   11/29/2021 14:18 Attach   270 to I‐70 Relief Plan                               .\VOL011\IMAGES\IMAGES004\00158507.pdf
00158509   00158509   11/29/2021 14:18 Attach   Barnes_834665_Incoming.pdf                            .\VOL011\IMAGES\IMAGES004\00158509.pdf
                                                Krupnick Response_834658: American Legion Bridge I‐
00158510   00158512   11/29/2021 14:18 Attach   270 to I‐70 Relief Plan                               .\VOL011\IMAGES\IMAGES004\00158510.pdf
                                                Natural Communities of Plummers Island ‐ June
00158513   00158513   11/29/2021 14:47 Attach   2016.pdf                                              .\VOL011\IMAGES\IMAGES004\00158513.pdf
                                                Plummers Island large view of island and channel in
00158514   00158514   11/29/2021 14:47 Attach   1950s survey.JPG                                      .\VOL011\IMAGES\IMAGES004\00158514.pdf
                                                Re: I‐495 & I‐270: Washington Biologists' Field Club
00158515   00158516   11/29/2021 14:47 Email    Coordination Meeting                                  .\VOL011\IMAGES\IMAGES004\00158515.pdf
                                                Re: I‐495 & I‐270: Washington Biologists' Field Club
00158517   00158518   11/29/2021 15:47 Email    Coordination Meeting                                  .\VOL011\IMAGES\IMAGES004\00158517.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158519   00158519   11/29/2021 15:49 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158519.pdf
                                                Failure to consider planning for other Traffic
                                                Improvement alterna ves to Beltway and Bridge
00158520   00158520   11/29/2021 15:57 Email    Expansion                                             .\VOL011\IMAGES\IMAGES004\00158520.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158521   00158521   11/29/2021 20:08 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158521.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158522   00158522   11/29/2021 20:26 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158522.pdf
00158523   00158523    11/30/2021 8:42 Email    Beltway expansion                                     .\VOL011\IMAGES\IMAGES004\00158523.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                 Filed 05/03/23                           Page 189 of 263

                                                Re: I‐495 & I‐270: Washington Biologists' Field Club
00158524   00158526    11/30/2021 8:43 Email    Coordination Meeting                                  .\VOL011\IMAGES\IMAGES004\00158524.pdf
00158527   00158529    11/30/2021 8:43 Attach   WBFCs position on the ALB 1.8.docx                    .\VOL011\IMAGES\IMAGES004\00158527.pdf
                                                Re: I‐495 & I‐270: Washington Biologists' Field Club
00158530   00158532    11/30/2021 8:43 Email    Coordination Meeting                                  .\VOL011\IMAGES\IMAGES004\00158530.pdf
00158533   00158533    11/30/2021 8:59 Email    No on Beltway expansion                               .\VOL011\IMAGES\IMAGES004\00158533.pdf
                                                FW: I‐495 MLS Morningstar Cemetery draft Section
                                                106 No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158534   00158535    11/30/2021 9:47 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158534.pdf
                                                RE: I‐495 MLS Morningstar Cemetery draft Section 106
                                                No Adverse Text ‐ DRAFT, CONFIDENTIAL,
00158536   00158537    11/30/2021 9:50 Email    PREDECISIONAL                                         .\VOL011\IMAGES\IMAGES004\00158536.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158538   00158538   11/30/2021 10:52 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158538.pdf
00158539   00158539   11/30/2021 11:40 Email    I support the No‐Build Option                         .\VOL011\IMAGES\IMAGES004\00158539.pdf
00158540   00158541   11/30/2021 12:31 Email    Corps comments on the MLS SDEIS                       .\VOL011\IMAGES\IMAGES004\00158540.pdf
00158542   00158543   11/30/2021 13:43 Email    I support the no‐build option                         .\VOL011\IMAGES\IMAGES004\00158542.pdf
00158544   00158544   11/30/2021 15:37 Email    I‐495 & I‐270 MLS SDEIS ‐ NMFS HESD response          .\VOL011\IMAGES\IMAGES004\00158544.pdf

00158545   00158548   11/30/2021 15:52 Attach   2021‐11‐30 EPA Comments Draft SDEIS I‐495 I‐270.pdf .\VOL011\IMAGES\IMAGES004\00158545.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00158549   00158549   11/30/2021 16:47 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00158549.pdf
                                                Fw: Comments on Maryland's I‐475 & I‐270 Managed
00158550   00158550   11/30/2021 17:24 Email    Lanes Study                                           .\VOL011\IMAGES\IMAGES004\00158550.pdf

                                                Comments on I‐495 & I‐270 Managed Lane Study
                                                Supplemental Draft Environmental Impact Statement
00158551   00158552   11/30/2021 19:05 Email    and Updated Draft Section 4(f) Evaluation             .\VOL011\IMAGES\IMAGES004\00158551.pdf

                                                Comments on I‐495 & I‐270 Managed Lane Study
                                                Supplemental Draft Environmental Impact Statement
00158553   00158554   11/30/2021 19:05 Email    and Updated Draft Section 4(f) Evaluation             .\VOL011\IMAGES\IMAGES004\00158553.pdf
                                                Comments on I‐495 & I‐270 Managed Lane Study
00158555   00158556   11/30/2021 19:08 Email    Su....pdf                                             .\VOL011\IMAGES\IMAGES004\00158555.pdf

00158557   00158739   11/30/2021 19:08 Attach   2021‐11‐30 ‐ Sierra Club et al. SDEIS comments.pdf    .\VOL011\IMAGES\IMAGES004\00158557.pdf

00158740   00158740   11/30/2021 19:08 Attach   2021‐11‐30 ‐ Exhibits to Sierra Club Maryland .pdf    .\VOL011\IMAGES\IMAGES004\00158740.pdf
                                                Exhibits to Sierra Club Maryland Chapter et al.
00158741   00158741   11/30/2021 19:08 Email    Comments on I‐495 & I‐270 SDEIS                       .\VOL011\IMAGES\IMAGES004\00158741.pdf
                                                2002‐11‐04 ‐ Letter re Effects of Proposed Potomac
00158742   00158758   11/30/2021 19:08 Attach   River Crossings.pdf                                   .\VOL011\IMAGES\IMAGES004\00158742.pdf
                                                2014‐09‐30 ‐ Policy Brief re Impact of Highway
                                                Capacity and Induced Travel on Vehicle Use and GHG
00158759   00158768   11/30/2021 19:08 Attach   Emissions.pdf                                         .\VOL011\IMAGES\IMAGES004\00158759.pdf
00158769   00158769   11/30/2021 19:08 Attach   highway_capacity_brief.pdf.accreport.html             .\VOL011\IMAGES\IMAGES004\00158769.pdf
                                                2020‐05‐14 ‐ Montgomery County Letter re Managed
00158770   00158771   11/30/2021 19:08 Attach   Lanes P3 Project.pdf                                  .\VOL011\IMAGES\IMAGES004\00158770.pdf
                                                2021 ‐ Phase 1 Public‐Private Partnership agreement
00158772   00158894   11/30/2021 19:08 Attach   for I‐495 & I‐270 P3 Program.pdf                      .\VOL011\IMAGES\IMAGES004\00158772.pdf
                                                2021‐04‐21 ‐ Letter from M‐NCPPC to FHWA & MDOT
00158895   00158898   11/30/2021 19:08 Attach   re Notice of Non‐Concurrence.pdf                      .\VOL011\IMAGES\IMAGES004\00158895.pdf
                                                2021‐06‐29 ‐ B. Ross Testimony on Toll Lane P3
00158899   00158909   11/30/2021 19:08 Attach   Contract.pdf                                          .\VOL011\IMAGES\IMAGES004\00158899.pdf
                                                2021‐06‐29 ‐ MD Sierra Club Testimony Re Phase 1 P3
00158910   00158917   11/30/2021 19:08 Attach   Agreement.pdf                                         .\VOL011\IMAGES\IMAGES004\00158910.pdf
                                                2021‐07‐09 ‐ MD State Treasurer Report Re P3
00158918   00158929   11/30/2021 19:08 Attach   Agreement.pdf                                         .\VOL011\IMAGES\IMAGES004\00158918.pdf
                                                2021‐10‐07 ‐ NCPC Presentation re Non‐Concurrence
00158930   00158944   11/30/2021 19:08 Attach   with State Alternative.pdf                            .\VOL011\IMAGES\IMAGES004\00158930.pdf
                                                2021‐10‐08 ‐ Friends of Moses Hall Comments re
00158945   00158950   11/30/2021 19:08 Attach   Managed Lanes Study.pdf                               .\VOL011\IMAGES\IMAGES004\00158945.pdf
                                                2021‐10‐08 ‐ WBFC Comment Letter re Plummers
00158951   00158971   11/30/2021 19:08 Attach   Island.pdf                                            .\VOL011\IMAGES\IMAGES004\00158951.pdf
                                                2021‐10‐28 ‐ MD Sierra Club Testimony re Toll Rate
00158972   00158974   11/30/2021 19:08 Attach   Range Setting Process 2.pdf                           .\VOL011\IMAGES\IMAGES004\00158972.pdf
                                                2021‐11‐29 ‐ MDOT Response Email re Stormwater
00158975   00158976   11/30/2021 19:08 Attach   Referenced Reports.pdf                                .\VOL011\IMAGES\IMAGES004\00158975.pdf
00158977   00158980   11/30/2021 19:08 Attach   2021‐11‐30 ‐ Norman L. Marshall Resume.pdf            .\VOL011\IMAGES\IMAGES004\00158977.pdf
                                                Exhibits to Sierra Club Maryland Chapter et al.
00158981   00158981   11/30/2021 19:08 Email    Comments on I‐495 & I‐270 SDEIS                       .\VOL011\IMAGES\IMAGES004\00158981.pdf
                                                2002‐11‐04 ‐ Letter re Effects of Proposed Potomac
00158982   00158998   11/30/2021 19:08 Attach   River Crossings.pdf                                   .\VOL011\IMAGES\IMAGES004\00158982.pdf
                                                2014‐09‐30 ‐ Policy Brief re Impact of Highway
                                                Capacity and Induced Travel on Vehicle Use and GHG
00158999   00159008   11/30/2021 19:08 Attach   Emissions.pdf                                         .\VOL011\IMAGES\IMAGES004\00158999.pdf
00159009   00159009   11/30/2021 19:08 Attach   highway_capacity_brief.pdf.accreport.html             .\VOL011\IMAGES\IMAGES004\00159009.pdf
                                                2020‐05‐14 ‐ Montgomery County Letter re Managed
00159010   00159011   11/30/2021 19:08 Attach   Lanes P3 Project.pdf                                  .\VOL011\IMAGES\IMAGES004\00159010.pdf
                                                2021 ‐ Phase 1 Public‐Private Partnership agreement
00159012   00159134   11/30/2021 19:08 Attach   for I‐495 & I‐270 P3 Program.pdf                      .\VOL011\IMAGES\IMAGES004\00159012.pdf
                                                2021‐06‐29 ‐ B. Ross Testimony on Toll Lane P3
00159135   00159145   11/30/2021 19:08 Attach   Contract.pdf                                          .\VOL011\IMAGES\IMAGES004\00159135.pdf
                                                2021‐06‐29 ‐ MD Sierra Club Testimony Re Phase 1 P3
00159146   00159153   11/30/2021 19:08 Attach   Agreement.pdf                                         .\VOL011\IMAGES\IMAGES004\00159146.pdf
                                                2021‐07‐09 ‐ MD State Treasurer Report Re P3
00159154   00159165   11/30/2021 19:08 Attach   Agreement.pdf                                         .\VOL011\IMAGES\IMAGES004\00159154.pdf
                                                2021‐07‐12 ‐ MD Sierra Club Testimony re Toll Rate
00159166   00159167   11/30/2021 19:08 Attach   Setting.pdf                                           .\VOL011\IMAGES\IMAGES004\00159166.pdf
                                                2021‐10‐07 ‐ NCPC Presentation re Non‐Concurrence
00159168   00159182   11/30/2021 19:08 Attach   with State Alternative.pdf                            .\VOL011\IMAGES\IMAGES004\00159168.pdf
                                                2021‐10‐08 ‐ Friends of Moses Hall Comments re
00159183   00159188   11/30/2021 19:08 Attach   Managed Lanes Study.pdf                               .\VOL011\IMAGES\IMAGES004\00159183.pdf
                                                2021‐10‐28 ‐ MD Sierra Club Testimony re Toll Rate
00159189   00159191   11/30/2021 19:08 Attach   Range Setting Process 2.pdf                           .\VOL011\IMAGES\IMAGES004\00159189.pdf
                                                2021‐11‐29 ‐ MDOT Response Email re Stormwater
00159192   00159193   11/30/2021 19:08 Attach   Referenced Reports.pdf                                .\VOL011\IMAGES\IMAGES004\00159192.pdf
00159194   00159197   11/30/2021 19:08 Attach   2021‐11‐30 ‐ Norman L. Marshall Resume.pdf            .\VOL011\IMAGES\IMAGES004\00159194.pdf

                                                National Trust Comments Re: I‐495/I‐270 Managed
                                                Lane Study Supplemental Draft Environmental Impact
00159198   00159198   11/30/2021 19:32 Email    Statement and Updated Draft Section 4(f) Evaluation .\VOL011\IMAGES\IMAGES004\00159198.pdf
00159199   00159199   11/30/2021 20:21 Email    Opposition to Toll Lanes                            .\VOL011\IMAGES\IMAGES004\00159199.pdf
00159200   00159200   11/30/2021 21:55 Email    "I support the No‐Build Option"                     .\VOL011\IMAGES\IMAGES004\00159200.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 190 of 263

                                               I support the no‐build option and oppose I‐495 and I‐
00159201   00159201    12/1/2021 2:09 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00159201.pdf
                                               FW: Comments on Maryland's I‐475 & I‐270 Managed
00159202   00159202    12/1/2021 7:20 Email    Lanes Study                                           .\VOL011\IMAGES\IMAGES004\00159202.pdf

00159203   00159209    12/1/2021 7:20 Attach   Completing the Maryland HOT Network 11‐30‐21.pdf        .\VOL011\IMAGES\IMAGES004\00159203.pdf
                                               RE: P3 Compensatory SWM Plan ‐ FWHA Section 4(f)
00159210   00159212    12/1/2021 8:25 Attach   as relates to MNCPPC                                    .\VOL011\IMAGES\IMAGES004\00159210.pdf
00159213   00159214    12/1/2021 8:25 Attach   MLS SWM on MNCPPC property                              .\VOL011\IMAGES\IMAGES004\00159213.pdf
                                               Agenda for December 1 2021 FHWA MLS Internal
00159215   00159215    12/1/2021 8:25 Email    Me....pdf                                               .\VOL011\IMAGES\IMAGES004\00159215.pdf
                                               RE: P3 Compensatory SWM Plan ‐ FWHA Section 4(f)
00159216   00159218    12/1/2021 8:25 Attach   as relates to MNCPPC                                    .\VOL011\IMAGES\IMAGES004\00159216.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159219   00159219    12/1/2021 9:03 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159219.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159220   00159220   12/1/2021 10:42 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159220.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159221   00159221   12/1/2021 10:44 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159221.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159222   00159222   12/1/2021 10:44 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159222.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159223   00159223   12/1/2021 10:46 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159223.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159224   00159224   12/1/2021 10:46 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159224.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159225   00159225   12/1/2021 10:46 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159225.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159226   00159226   12/1/2021 10:47 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159226.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159227   00159227   12/1/2021 10:48 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159227.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159228   00159228   12/1/2021 10:49 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159228.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159229   00159229   12/1/2021 10:50 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159229.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159230   00159230   12/1/2021 10:51 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159230.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159231   00159231   12/1/2021 10:51 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159231.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159232   00159232   12/1/2021 10:51 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159232.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159233   00159233   12/1/2021 10:52 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159233.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159234   00159234   12/1/2021 10:54 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159234.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159235   00159235   12/1/2021 11:00 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159235.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159236   00159236   12/1/2021 11:03 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159236.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159237   00159237   12/1/2021 11:03 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159237.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159238   00159238   12/1/2021 11:06 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159238.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159239   00159239   12/1/2021 11:08 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159239.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159240   00159240   12/1/2021 11:09 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159240.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159241   00159241   12/1/2021 11:10 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159241.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159242   00159242   12/1/2021 11:11 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159242.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159243   00159243   12/1/2021 11:11 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159243.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159244   00159244   12/1/2021 11:19 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159244.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159245   00159245   12/1/2021 11:20 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159245.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159246   00159246   12/1/2021 11:21 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159246.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159247   00159247   12/1/2021 11:27 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159247.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159248   00159248   12/1/2021 11:29 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159248.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159249   00159249   12/1/2021 11:29 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159249.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159250   00159250   12/1/2021 11:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159250.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159251   00159251   12/1/2021 11:42 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159251.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159252   00159252   12/1/2021 11:43 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159252.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159253   00159253   12/1/2021 11:44 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159253.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159254   00159254   12/1/2021 11:46 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159254.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159255   00159255   12/1/2021 11:47 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159255.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159256   00159256   12/1/2021 11:48 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159256.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159257   00159257   12/1/2021 11:50 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159257.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159258   00159258   12/1/2021 12:04 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159258.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159259   00159259   12/1/2021 12:08 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159259.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159260   00159260   12/1/2021 12:10 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159260.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159261   00159261   12/1/2021 12:12 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159261.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159262   00159262   12/1/2021 12:26 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159262.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159263   00159263   12/1/2021 12:27 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159263.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159264   00159264   12/1/2021 12:29 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159264.pdf
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                                               I support the no‐build option and oppose I‐495 and I‐
00159265   00159265   12/1/2021 12:31 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159265.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159266   00159266   12/1/2021 12:32 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159266.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159267   00159267   12/1/2021 12:34 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159267.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159268   00159268   12/1/2021 12:34 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159268.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159269   00159269   12/1/2021 12:36 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159269.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159270   00159270   12/1/2021 12:40 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159270.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159271   00159271   12/1/2021 12:42 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159271.pdf
                                               FW: Comments on Maryland's I‐475 & I‐270 Managed
00159272   00159273   12/1/2021 12:44 Email    Lanes Study                                             .\VOL011\IMAGES\IMAGES004\00159272.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159274   00159274   12/1/2021 12:44 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159274.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159275   00159275   12/1/2021 12:45 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159275.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159276   00159276   12/1/2021 12:46 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159276.pdf
                                               FW: Comments on Maryland's I‐475 & I‐270 Managed
00159277   00159278   12/1/2021 12:47 Email    Lanes Study                                             .\VOL011\IMAGES\IMAGES004\00159277.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159279   00159279   12/1/2021 12:50 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159279.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159280   00159280   12/1/2021 12:51 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159280.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159281   00159281   12/1/2021 12:52 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159281.pdf
                                               RE: Agenda for December 1 2021 FHWA MLS Internal
00159282   00159283   12/1/2021 12:55 Email    Meeting                                                 .\VOL011\IMAGES\IMAGES004\00159282.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159284   00159284   12/1/2021 12:56 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159284.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159285   00159285   12/1/2021 13:32 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159285.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159286   00159286   12/1/2021 13:41 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159286.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159287   00159287   12/1/2021 13:54 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159287.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159288   00159288   12/1/2021 14:17 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159288.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159289   00159289   12/1/2021 14:28 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159289.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159290   00159290   12/1/2021 14:52 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159290.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159291   00159291   12/1/2021 14:56 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159291.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159292   00159292   12/1/2021 15:05 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159292.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159293   00159293   12/1/2021 15:23 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159293.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159294   00159294   12/1/2021 15:24 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159294.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159295   00159295   12/1/2021 15:38 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159295.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159296   00159296   12/1/2021 15:52 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159296.pdf
00159297   00159297   12/1/2021 15:56 Email    495 and 270 MLS Draft 2 PA for review.pdf               .\VOL011\IMAGES\IMAGES004\00159297.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159298   00159298   12/1/2021 15:59 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159298.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159299   00159299   12/1/2021 16:06 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159299.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159300   00159300   12/1/2021 16:24 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159300.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159301   00159301   12/1/2021 16:28 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159301.pdf

                                               FW: Comments on I‐495 & I‐270 Managed Lane Study
                                               Supplemental Draft Environmental Impact Statement
00159302   00159304   12/1/2021 16:34 Email    and Updated Draft Section 4(f) Evaluation         .\VOL011\IMAGES\IMAGES004\00159302.pdf

00159305   00159487   12/1/2021 16:34 Attach   2021‐11‐30 ‐ Sierra Club et al. SDEIS comments.pdf      .\VOL011\IMAGES\IMAGES004\00159305.pdf
                                               FW_ Comments on I‐495 & I‐270 Managed Lane
00159488   00159490   12/1/2021 16:34 Email    Stud....pdf                                             .\VOL011\IMAGES\IMAGES004\00159488.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159491   00159491   12/1/2021 16:36 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159491.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159492   00159492   12/1/2021 16:53 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159492.pdf
                                               Evans 1978 18MO457 PrelimArchReconnof
00159493   00159510   12/1/2021 16:56 Attach   CabinJohnRelief Sewer, MoCo.pdf                         .\VOL011\IMAGES\IMAGES004\00159493.pdf
                                               BarseWm 1973 Field Notes MoCo SiteSurvey MHT #
00159511   00159559   12/1/2021 16:56 Attach   MO5.pdf                                                 .\VOL011\IMAGES\IMAGES004\00159511.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159560   00159560   12/1/2021 17:25 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159560.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159561   00159561   12/1/2021 17:58 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159561.pdf
00159562   00159563   12/1/2021 18:01 Email    RE: I‐495 & I‐270 MLS: NPS Coordination Meeting         .\VOL011\IMAGES\IMAGES004\00159562.pdf
00159564   00159568   12/1/2021 18:01 Attach   2021‐11‐18_NPS Mitigation Meeting Notes.pdf             .\VOL011\IMAGES\IMAGES004\00159564.pdf
                                               2021‐11‐18 Meeting_NPS_ImpMatrix_SUP
00159569   00159569   12/1/2021 18:01 Attach   Comparison.pdf                                          .\VOL011\IMAGES\IMAGES004\00159569.pdf
00159570   00159570   12/1/2021 18:01 Attach   SUP_Option2_ImpactArea_Inset.pdf                        .\VOL011\IMAGES\IMAGES004\00159570.pdf
00159571   00159571   12/1/2021 18:01 Attach   SUP_Option3_ImpactArea_Inset.pdf                        .\VOL011\IMAGES\IMAGES004\00159571.pdf
00159572   00159572   12/1/2021 18:01 Attach   SUP_Option4_ImpactArea_Inset.pdf                        .\VOL011\IMAGES\IMAGES004\00159572.pdf
00159573   00159574   12/1/2021 18:01 Email    RE: I‐495 & I‐270 MLS: NPS Coordination Meeting         .\VOL011\IMAGES\IMAGES004\00159573.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159575   00159575   12/1/2021 18:53 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159575.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159576   00159576   12/1/2021 19:14 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159576.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159577   00159577   12/1/2021 19:28 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159577.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159578   00159578   12/1/2021 19:35 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159578.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159579   00159579   12/1/2021 19:47 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159579.pdf
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                                               I support the no‐build option and oppose I‐495 and I‐
00159580   00159580   12/1/2021 20:58 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159580.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159581   00159581   12/1/2021 21:00 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159581.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159582   00159582   12/1/2021 21:34 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159582.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159583   00159583   12/1/2021 21:41 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159583.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159584   00159584   12/1/2021 21:52 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159584.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159585   00159585   12/1/2021 22:13 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159585.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159586   00159586   12/1/2021 22:37 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159586.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159587   00159587   12/1/2021 23:04 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159587.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159588   00159588   12/1/2021 23:30 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159588.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159589   00159589    12/2/2021 0:44 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159589.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159590   00159590    12/2/2021 0:48 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159590.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159591   00159591    12/2/2021 1:00 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159591.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159592   00159592    12/2/2021 4:22 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159592.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159593   00159593    12/2/2021 5:27 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159593.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159594   00159594    12/2/2021 6:48 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159594.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159595   00159595    12/2/2021 6:52 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159595.pdf
                                               RE: Agenda for December 1 2021 FHWA MLS Internal
00159596   00159597    12/2/2021 7:26 Email    Meeting                                                 .\VOL011\IMAGES\IMAGES004\00159596.pdf

00159598   00159601    12/2/2021 7:48 Email    MLS Section 106 Signatory Status Letter ‐ reminder      .\VOL011\IMAGES\IMAGES004\00159598.pdf
                                               RE: Agenda for December 1 2021 FHWA MLS Internal
00159602   00159603    12/2/2021 8:18 Email    Meeting                                                 .\VOL011\IMAGES\IMAGES004\00159602.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159604   00159604    12/2/2021 8:31 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES004\00159604.pdf

00159605   00159606    12/2/2021 8:59 Email    FW: I‐495 & I‐270 MLS: NPS Coordination Meeting       .\VOL011\IMAGES\IMAGES004\00159605.pdf
00159607   00159611    12/2/2021 8:59 Attach   2021‐11‐18_NPS Mitigation Meeting Notes.pdf           .\VOL011\IMAGES\IMAGES004\00159607.pdf
                                               2021‐11‐18 Meeting_NPS_ImpMatrix_SUP
00159612   00159612    12/2/2021 8:59 Attach   Comparison.pdf                                        .\VOL011\IMAGES\IMAGES004\00159612.pdf
00159613   00159613    12/2/2021 8:59 Attach   SUP_Option2_ImpactArea_Inset.pdf                      .\VOL011\IMAGES\IMAGES004\00159613.pdf
00159614   00159614    12/2/2021 8:59 Attach   SUP_Option3_ImpactArea_Inset.pdf                      .\VOL011\IMAGES\IMAGES004\00159614.pdf
00159615   00159615    12/2/2021 8:59 Attach   SUP_Option4_ImpactArea_Inset.pdf                      .\VOL011\IMAGES\IMAGES004\00159615.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159616   00159616    12/2/2021 9:31 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES004\00159616.pdf
                                               Re: I‐495 & I‐270 MLS‐ Environmental Justice Outreach
00159617   00159622    12/2/2021 9:53 Email    Engagement                                            .\VOL011\IMAGES\IMAGES004\00159617.pdf
00159623   00159623    12/2/2021 9:53 Attach   de38b1c0‐7bf0‐450d‐85de‐b4e7338d4917.png              .\VOL011\IMAGES\IMAGES005\00159623.pdf
                                               Fw: I‐495 I‐270 Managed Lanes SDEIS MNCPPC
00159624   00159625   12/2/2021 10:12 Email    Comment Letter and Response Table                     .\VOL011\IMAGES\IMAGES005\00159624.pdf
                                               Fw: MLS: Visitor and Ecological Impact Survey Report
00159626   00159627   12/2/2021 10:13 Email    on NPS Lands                                          .\VOL011\IMAGES\IMAGES005\00159626.pdf
                                               2021‐11‐12_DRAFT MLS Visitor and Ecological Impact
00159628   00159684   12/2/2021 10:13 Attach   Study.pdf                                             .\VOL011\IMAGES\IMAGES005\00159628.pdf
                                               RE_ Agenda for December 1 2021 FHWA MLS
00159685   00159687   12/2/2021 10:14 Email    Interna...(1).pdf                                     .\VOL011\IMAGES\IMAGES005\00159685.pdf

00159688   00159689   12/2/2021 11:49 Attach   Fw_ I‐495 I‐270 SDEIS MNCPPC Comment Letter an.pdf .\VOL011\IMAGES\IMAGES005\00159688.pdf
                                               SDEIS Comment Response Table_MNCPPC_09‐27‐
00159690   00159730   12/2/2021 11:49 Attach   2021.pdf                                              .\VOL011\IMAGES\IMAGES005\00159690.pdf
00159731   00159748   12/2/2021 11:49 Attach   SDEIS MNCPPC Comment Cvrltr_11.30.21.pdf              .\VOL011\IMAGES\IMAGES005\00159731.pdf
                                               RE_ Agenda for December 1 2021 FHWA MLS
00159749   00159751   12/2/2021 11:49 Email    Interna...(2).pdf                                     .\VOL011\IMAGES\IMAGES005\00159749.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159752   00159752   12/2/2021 12:42 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES005\00159752.pdf

00159753   00159753   12/2/2021 12:57 Edoc     Supplemental EJ Outreach Mailing list 12‐2‐21.xlsx      .\VOL011\IMAGES\IMAGES005\00159753.pdf    .\VOL011\NATIVES\NATIVES005\00159753.XLSX
                                               I support the no‐build option and oppose I‐495 and I‐
00159754   00159754   12/2/2021 13:54 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159754.pdf
00159755   00159755   12/2/2021 14:01 Email    Opposition to toll lanes ... outer beltway ...          .\VOL011\IMAGES\IMAGES005\00159755.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159756   00159756   12/2/2021 14:16 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159756.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159757   00159757   12/2/2021 14:54 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159757.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159758   00159758   12/2/2021 15:21 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159758.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159759   00159759   12/2/2021 16:14 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159759.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159760   00159760   12/2/2021 16:24 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159760.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159761   00159761   12/2/2021 16:56 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159761.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159762   00159762   12/2/2021 17:18 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159762.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159763   00159763   12/2/2021 17:43 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159763.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159764   00159764   12/2/2021 19:02 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159764.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159765   00159765   12/2/2021 19:26 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159765.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159766   00159766   12/2/2021 20:21 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159766.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159767   00159767   12/2/2021 21:53 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159767.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159768   00159768   12/2/2021 23:06 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159768.pdf
                                               I support the no‐build option and oppose I‐495 and I‐
00159769   00159769    12/3/2021 1:59 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159769.pdf
00159770   00159770    12/3/2021 9:59 Edoc     SDEIS EJ Survey_contact list (first email).xlsx         .\VOL011\IMAGES\IMAGES005\00159770.pdf    .\VOL011\NATIVES\NATIVES005\00159770.XLSX
    Case 8:22-cv-02597-DKC                              Document 42-1                                   Filed 05/03/23                           Page 193 of 263

                                                I support the no‐build option and oppose I‐495 and I‐
00159771   00159771    12/3/2021 11:50 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159771.pdf
00159772   00159772    12/3/2021 11:57 Email    Letter from Jeffery Folden.pdf                          .\VOL011\IMAGES\IMAGES005\00159772.pdf
00159773   00159783    12/3/2021 11:57 Attach   doc_20211203125644.pdf                                  .\VOL011\IMAGES\IMAGES005\00159773.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159784   00159784    12/3/2021 11:57 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159784.pdf
00159785   00159795    12/3/2021 12:57 Attach   doc_20211203125644.pdf                                  .\VOL011\IMAGES\IMAGES005\00159785.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159796   00159796    12/3/2021 13:56 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159796.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159797   00159797    12/3/2021 14:29 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159797.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159798   00159798    12/3/2021 21:02 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159798.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159799   00159799    12/3/2021 22:20 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159799.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159800   00159800    12/3/2021 22:39 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159800.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159801   00159801    12/4/2021 10:55 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159801.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159802   00159802    12/4/2021 13:28 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159802.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159803   00159803    12/4/2021 14:14 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159803.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159804   00159804    12/4/2021 22:02 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159804.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159805   00159805    12/4/2021 22:23 Email    270 expansion                                           .\VOL011\IMAGES\IMAGES005\00159805.pdf

                                                RE: Comments on I‐495 & I‐270 Managed Lane Study
                                                Supplemental Draft Environmental Impact Statement
00159806   00159808    12/6/2021 10:35 Email    and Updated Draft Section 4(f) Evaluation             .\VOL011\IMAGES\IMAGES005\00159806.pdf
                                                I support the no‐build option and oppose I‐495 and I‐
00159809   00159809    12/6/2021 12:02 Email    270 expansion                                         .\VOL011\IMAGES\IMAGES005\00159809.pdf
                                                Public Comment received on 495/270 ‐ possible site on
00159810   00159810    12/6/2021 15:31 Email    M‐NCPPC property                                      .\VOL011\IMAGES\IMAGES005\00159810.pdf
00159811   00159813    12/6/2021 18:18 Email    RE: 495 and 270 MLS Draft 2 PA for review             .\VOL011\IMAGES\IMAGES005\00159811.pdf
00159814   00159815    12/7/2021 10:23 Email    Fw: PCS Request: IQ Files                             .\VOL011\IMAGES\IMAGES005\00159814.pdf
00159816   00159816    12/7/2021 10:23 Attach   Maggio_834731_Incoming.pdf                            .\VOL011\IMAGES\IMAGES005\00159816.pdf
                                                Maggio_834731_Response: American Legion Bridge I‐
00159817   00159818    12/7/2021 10:23 Attach   270 to I‐70 Relief Plan                               .\VOL011\IMAGES\IMAGES005\00159817.pdf
00159819   00159820    12/7/2021 12:41 Email    MLS Mitigation Package                                .\VOL011\IMAGES\IMAGES005\00159819.pdf

00159821   00159834    12/7/2021 12:47 Attach   Comprehensive Mitigation Summary Table_12.21.docx .\VOL011\IMAGES\IMAGES005\00159821.pdf
00159835   00159837    12/7/2021 12:47 Email    FW: MLS Mitigation Package                        .\VOL011\IMAGES\IMAGES005\00159835.pdf
                                                FW: Confirmations needed from FHWA for 495 MLS
00159838   00159840    12/7/2021 14:29 Email    106 Submittal                                     .\VOL011\IMAGES\IMAGES005\00159838.pdf
00159841   00159843    12/7/2021 14:41 Email    FW: MLS Mitigation Package                        .\VOL011\IMAGES\IMAGES005\00159841.pdf
                                                FW: Confirmations needed from FHWA for 495 MLS
00159844   00159846    12/7/2021 14:48 Email    106 Submittal                                     .\VOL011\IMAGES\IMAGES005\00159844.pdf
                                                RE: Doodle: I‐495 & I‐270 MLS IAPA Coordination
00159847   00159848     12/8/2021 7:16 Email    meeting with MDOT SHA                             .\VOL011\IMAGES\IMAGES005\00159847.pdf
                                                FW: Amateur report on possible additional Gibson
00159849   00159849    12/8/2021 11:18 Email    Grove site                                        .\VOL011\IMAGES\IMAGES005\00159849.pdf
00159850   00159852    12/8/2021 19:06 Email    HOT Lane Exit to I‐495                            .\VOL011\IMAGES\IMAGES005\00159850.pdf
00159853   00159853     12/9/2021 8:55 Email    I‐495 & I‐270 MLS‐ Final Mitigation Plan          .\VOL011\IMAGES\IMAGES005\00159853.pdf
00159854   00159856     12/9/2021 8:55 Attach   2021‐12‐08_Final Mitigation Plan_M‐NCPPC.pdf      .\VOL011\IMAGES\IMAGES005\00159854.pdf
00159857   00159859    12/9/2021 10:39 Email    FW: HOT Lane Exit to I‐495                        .\VOL011\IMAGES\IMAGES005\00159857.pdf
00159860   00159862    12/9/2021 12:11 Email    FW: HOT Lane Exit to I‐495                        .\VOL011\IMAGES\IMAGES005\00159860.pdf
00159863   00159870    12/9/2021 12:11 Attach   2045 Speed Heat Maps_12‐8‐21.pdf                  .\VOL011\IMAGES\IMAGES005\00159863.pdf
00159871   00159871    12/9/2021 12:11 Attach   2045 No‐build vs Phase 1 MOEs_12‐8‐21.xlsx        .\VOL011\IMAGES\IMAGES005\00159871.pdf          .\VOL011\NATIVES\NATIVES005\00159871.xlsx
00159872   00159874    12/9/2021 12:11 Email    FW_ HOT Lane Exit to I‐495.pdf                    .\VOL011\IMAGES\IMAGES005\00159872.pdf
00159875   00159875    12/9/2021 12:11 Attach   image003.png                                      .\VOL011\IMAGES\IMAGES005\00159875.pdf
00159876   00159878    12/9/2021 12:11 Email    FW: HOT Lane Exit to I‐495                        .\VOL011\IMAGES\IMAGES005\00159876.pdf
00159879   00159879    12/9/2021 14:26 Email    Montgomery County meeting notes                   .\VOL011\IMAGES\IMAGES005\00159879.pdf

                                                2021‐10‐04_OP Lanes Montgomery County Leadership
00159880   00159885    12/9/2021 14:26 Attach   Coordination Meeting Minutes_Final (1).docx      .\VOL011\IMAGES\IMAGES005\00159880.pdf
00159886   00159887    12/9/2021 15:54 Attach   MLS SWM on MNCPPC property                       .\VOL011\IMAGES\IMAGES005\00159886.pdf
00159888   00159889    12/9/2021 15:54 Attach   MLS SWM on MNCPPC property                       .\VOL011\IMAGES\IMAGES005\00159888.pdf
00159890   00159892    12/9/2021 17:25 Email    RE: HOT Lane Exit to I‐495                       .\VOL011\IMAGES\IMAGES005\00159890.pdf
00159893   00159895    12/9/2021 17:25 Email    RE: HOT Lane Exit to I‐495                       .\VOL011\IMAGES\IMAGES005\00159893.pdf
00159896   00159896    12/9/2021 17:38 Email    I‐495 & I‐270 MLS‐ Final Mitigation Plan         .\VOL011\IMAGES\IMAGES005\00159896.pdf
00159897   00159897    12/9/2021 17:38 Email    I‐495 & I‐270 MLS‐ Final Mitigation Plan         .\VOL011\IMAGES\IMAGES005\00159897.pdf

00159898   00159899    12/9/2021 19:09 Email    RE: Environmental Justice Air Quality Monitoring Act    .\VOL011\IMAGES\IMAGES005\00159898.pdf
00159900   00159901   12/10/2021 10:12 Email    FW: I‐495 & I‐270 MLS‐ Final Mitigation Plan            .\VOL011\IMAGES\IMAGES005\00159900.pdf
00159902   00159904   12/10/2021 10:12 Attach   2021‐12‐09_Final Mitigation Plan_NPS.pdf                .\VOL011\IMAGES\IMAGES005\00159902.pdf
00159905   00159907   12/10/2021 11:23 Email    RE: Final Air Quality Analysis                          .\VOL011\IMAGES\IMAGES005\00159905.pdf
00159908   00159911   12/10/2021 15:32 Email    RE: HOT Lane Exit to I‐495                              .\VOL011\IMAGES\IMAGES005\00159908.pdf
00159912   00159913    12/12/2021 9:06 Email    Don’t widen 270                                         .\VOL011\IMAGES\IMAGES005\00159912.pdf
00159914   00159917   12/12/2021 20:04 Email    FW: HOT Lane Exit to I‐495                              .\VOL011\IMAGES\IMAGES005\00159914.pdf
00159918   00159920   12/12/2021 20:04 Email    FW_ HOT Lane Exit to I‐495(1).pdf                       .\VOL011\IMAGES\IMAGES005\00159918.pdf
00159921   00159924    12/13/2021 8:08 Email    RE: HOT Lane Exit to I‐495                              .\VOL011\IMAGES\IMAGES005\00159921.pdf
00159925   00159928    12/13/2021 8:08 Email    RE: HOT Lane Exit to I‐495                              .\VOL011\IMAGES\IMAGES005\00159925.pdf
                                                RE_ Confirmations needed from FHWA for 495 MLS
00159929   00159930    12/13/2021 9:17 Email    ....pdf                                                 .\VOL011\IMAGES\IMAGES005\00159929.pdf
                                                RE: Confirmations needed from FHWA for 495 MLS
00159931   00159932    12/13/2021 9:17 Email    106 Submittal ‐ reply requested                         .\VOL011\IMAGES\IMAGES005\00159931.pdf
                                                I495 SHA BR 1501000 and 1514200 over C&O Canal
                                                and Clara Barton Parkway Remedial Repairs,
00159933   00159933    12/13/2021 9:33 Email    Montgomery County                                       .\VOL011\IMAGES\IMAGES005\00159933.pdf
                                                I495 BRS 15010001514200 Repairs MHT Ltr 12132021
00159934   00159947    12/13/2021 9:33 Attach   Sign.pdf                                                .\VOL011\IMAGES\IMAGES005\00159934.pdf
                                                RE: Confirmations needed from FHWA for 495 MLS
00159948   00159950   12/13/2021 10:02 Email    106 Submittal ‐ reply requested                         .\VOL011\IMAGES\IMAGES005\00159948.pdf
                                                RE: Confirmations needed from FHWA for 495 MLS
00159951   00159954   12/13/2021 10:46 Email    106 Submittal ‐ reply requested                         .\VOL011\IMAGES\IMAGES005\00159951.pdf
00159955   00159955   12/13/2021 10:52 Email    Re: AQ Meeting                                          .\VOL011\IMAGES\IMAGES005\00159955.pdf
00159956   00159957   12/13/2021 10:56 Email    FW: AQ Meeting                                          .\VOL011\IMAGES\IMAGES005\00159956.pdf
                                                MSAT and GHG results only_I‐495‐I270 MLS‐12‐8‐
00159958   00159969   12/13/2021 10:56 Attach   21_DRAFT and PRE‐DECISIONAL.docx                        .\VOL011\IMAGES\IMAGES005\00159958.pdf
00159970   00159971   12/13/2021 10:56 Email    FW_ AQ Meeting.pdf                                      .\VOL011\IMAGES\IMAGES005\00159970.pdf
00159972   00159974   12/13/2021 10:57 Email    FW: LOD above Live Oak                                  .\VOL011\IMAGES\IMAGES005\00159972.pdf
00159975   00159976   12/13/2021 10:57 Attach   RE: VDOT SDEIS comment ‐ Live Oak Drive                 .\VOL011\IMAGES\IMAGES005\00159975.pdf
00159977   00159978   12/13/2021 12:07 Email    EJ                                                      .\VOL011\IMAGES\IMAGES005\00159977.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                           Page 194 of 263

                                                FW_ MLS MSAT Affected Network_ Proposed
00159979   00159981   12/13/2021 14:53 Email    Updates.pdf                                              .\VOL011\IMAGES\IMAGES005\00159979.pdf

00159982   00159984   12/13/2021 14:53 Email    FW: MLS MSAT Affected Network: Proposed Updates          .\VOL011\IMAGES\IMAGES005\00159982.pdf
00159985   00159986   12/13/2021 15:00 Email    Air Quality Results Discussion                           .\VOL011\IMAGES\IMAGES005\00159985.pdf
00159987   00159987   12/13/2021 15:45 Email    I‐495/I‐270 Managed lanes Study                          .\VOL011\IMAGES\IMAGES005\00159987.pdf
                                                MLS Smart Growth Coordination
00159988   00159988   12/13/2021 15:45 Attach   Mapping_12.02.2021.pdf                                   .\VOL011\IMAGES\IMAGES005\00159988.pdf
                                                Checklist A_Smart Growth Major Transportation
00159989   00160004   12/13/2021 15:45 Attach   Project Review_MLS_Final_12.02.2021.docm                 .\VOL011\IMAGES\IMAGES005\00159989.pdf
                                                Checklist B_Smart Growth Major Transportation
00160005   00160014   12/13/2021 15:45 Attach   Project Review_MLS_Final_12.02.2021.docm                 .\VOL011\IMAGES\IMAGES005\00160005.pdf
00160015   00160015   12/13/2021 17:19 Attach   2021‐12‐15 NPS Mitigation Meeting Agenda.docx            .\VOL011\IMAGES\IMAGES005\00160015.pdf
00160016   00160017   12/13/2021 17:19 Email    RE: MLS: NPS Coordination Meeting ‐ Biweekly             .\VOL011\IMAGES\IMAGES005\00160016.pdf
00160018   00160018   12/13/2021 17:31 Email    RE: letters                                              .\VOL011\IMAGES\IMAGES005\00160018.pdf
00160019   00160020   12/13/2021 17:52 Email    IAWG Presentation and Agenda                             .\VOL011\IMAGES\IMAGES005\00160019.pdf
00160021   00160023   12/13/2021 20:41 Edoc     DHR Response Technical Reports_2.14.2020.pdf             .\VOL011\IMAGES\IMAGES005\00160021.pdf
00160024   00160025    12/14/2021 7:27 Email    FW: IAWG Presentation and Agenda                         .\VOL011\IMAGES\IMAGES005\00160024.pdf
00160026   00160046    12/14/2021 7:27 Attach   2021‐12‐15 IAWG Draft PowerPoint.pdf                     .\VOL011\IMAGES\IMAGES005\00160026.pdf
00160047   00160048    12/14/2021 7:27 Attach   2021‐12‐15 IAWG No. 16 Agenda.docx                       .\VOL011\IMAGES\IMAGES005\00160047.pdf
00160049   00160050   12/14/2021 11:16 Email    I‐495 & I‐270 MLS‐ December 15th IAWG Meeting            .\VOL011\IMAGES\IMAGES005\00160049.pdf

00160051   00160053   12/14/2021 11:31 Email    FW: I‐495 & I‐270 MLS‐ December 15th IAWG Meeting .\VOL011\IMAGES\IMAGES005\00160051.pdf
                                                2021‐12‐14 MLS M‐NCPPC Park Impacts & Mitigation
00160054   00160054   12/14/2021 12:00 Attach   Meeting Agenda.docx                                 .\VOL011\IMAGES\IMAGES005\00160054.pdf
00160055   00160057   12/14/2021 18:02 Email    RE: MLS SWM on MNCPPC property                      .\VOL011\IMAGES\IMAGES005\00160055.pdf
                                                MLS FHWA Internal Coordination Meeting ‐
00160058   00160058    12/15/2021 7:21 Email    Decemb....pdf                                       .\VOL011\IMAGES\IMAGES005\00160058.pdf
                                                12.10.2021 Follow up email blast ‐ Reminder_ We are
00160059   00160060    12/15/2021 7:47 Edoc     looking for your input!.pdf                         .\VOL011\IMAGES\IMAGES005\00160059.pdf
00160061   00160062    12/15/2021 7:48 Edoc     11.16.2021 Eblast ‐We want to hear from you.pdf     .\VOL011\IMAGES\IMAGES005\00160061.pdf
00160063   00160064    12/15/2021 8:32 Edoc     MHT_CP signatory PA 12_2021 letter.pdf              .\VOL011\IMAGES\IMAGES005\00160063.pdf
00160065   00160066    12/15/2021 8:35 Edoc     DHR_CP signatory PA 12_2021 letter.pdf              .\VOL011\IMAGES\IMAGES005\00160065.pdf
00160067   00160068    12/15/2021 9:13 Email    Schedule                                            .\VOL011\IMAGES\IMAGES005\00160067.pdf

00160069   00160069    12/15/2021 9:13 Attach   SDEIS‐FEIS‐ROD Schedule_Update12.13.2021 (1).docx        .\VOL011\IMAGES\IMAGES005\00160069.pdf
00160070   00160071    12/15/2021 9:27 Email    FW_ Schedule.pdf                                         .\VOL011\IMAGES\IMAGES005\00160070.pdf
                                                RE: CER‐ALT Update and Schedule for Upcoming
00160072   00160075   12/15/2021 11:27 Email    Events                                                   .\VOL011\IMAGES\IMAGES005\00160072.pdf
                                                FW: FHWA ACTION Required: Review of I‐495 & I‐270
                                                Public‐Private Partnership Program: Draft RFP Design
00160076   00160077   12/15/2021 11:39 Email    Build                                                    .\VOL011\IMAGES\IMAGES005\00160076.pdf
                                                Comment Matrix FHWA_JM_Review_DC Draft
00160078   00160078   12/15/2021 11:39 Attach   RFP.docx                                                 .\VOL011\IMAGES\IMAGES005\00160078.pdf
00160079   00160081   12/15/2021 11:44 Email    Re: MDOT SHA/P3 contacts                                 .\VOL011\IMAGES\IMAGES005\00160079.pdf
00160082   00160083   12/15/2021 12:41 Email    FW: I‐495 & I‐270 MLS‐ Final Mitigation Plan             .\VOL011\IMAGES\IMAGES005\00160082.pdf
00160084   00160085   12/15/2021 12:44 Email    RE: signatory letters                                    .\VOL011\IMAGES\IMAGES005\00160084.pdf
                                                SDEIS‐FEIS‐ROD Schedule_Update12.13.2021 FHWA
00160086   00160086   12/15/2021 13:25 Attach   Comments.docx                                            .\VOL011\IMAGES\IMAGES005\00160086.pdf
00160087   00160087   12/15/2021 13:52 Email    RE: pl review                                            .\VOL011\IMAGES\IMAGES005\00160087.pdf
00160088   00160088   12/15/2021 14:50 Email    GWMP signing                                             .\VOL011\IMAGES\IMAGES005\00160088.pdf
00160089   00160089   12/15/2021 14:50 Attach   MicrosoftTeams‐image.png                                 .\VOL011\IMAGES\IMAGES005\00160089.pdf
00160090   00160091   12/15/2021 14:56 Email    RE: Schedule                                             .\VOL011\IMAGES\IMAGES005\00160090.pdf

00160092   00160093   12/15/2021 15:06 Email    I‐495 & I‐270 MLS Section 106 ‐ Attached Letter....pdf   .\VOL011\IMAGES\IMAGES005\00160092.pdf
00160094   00160095   12/15/2021 15:06 Attach   MHT_CP signatory PA 12_2021 letter.pdf                   .\VOL011\IMAGES\IMAGES005\00160094.pdf
00160096   00160097   12/15/2021 15:06 Attach   DHR_CP signatory PA 12_2021 letter.pdf                   .\VOL011\IMAGES\IMAGES005\00160096.pdf
00160098   00160099   12/15/2021 15:47 Email    RE: MLS: NPS Coordination Meeting ‐ Biweekly             .\VOL011\IMAGES\IMAGES005\00160098.pdf
00160100   00160101   12/15/2021 15:47 Email    RE: MLS: NPS Coordination Meeting ‐ Biweekly             .\VOL011\IMAGES\IMAGES005\00160100.pdf
                                                I‐495 & I‐270 MLS ALB Trail Connection
00160102   00160131   12/15/2021 15:47 Attach   Presentation_06‐21‐2021.pdf                              .\VOL011\IMAGES\IMAGES005\00160102.pdf
00160132   00160142   12/15/2021 15:47 Attach   2021‐12‐15 NPS Coordination Meeting.pdf                  .\VOL011\IMAGES\IMAGES005\00160132.pdf
00160143   00160145   12/15/2021 16:17 Email    RE: Schedule                                             .\VOL011\IMAGES\IMAGES005\00160143.pdf
00160146   00160148   12/15/2021 16:17 Email    RE: Schedule                                             .\VOL011\IMAGES\IMAGES005\00160146.pdf
00160149   00160151   12/15/2021 17:34 Email    Re: Schedule                                             .\VOL011\IMAGES\IMAGES005\00160149.pdf
                                                SDEIS‐FEIS‐ROD Schedule_Update12.13.2021 FHWA
00160152   00160152   12/15/2021 17:34 Attach   Comments_UPDATED 12‐15‐21.docx                           .\VOL011\IMAGES\IMAGES005\00160152.pdf
00160153   00160153    12/16/2021 8:25 Email    RE: GWMP signing                                         .\VOL011\IMAGES\IMAGES005\00160153.pdf
                                                Re: [EXTERNAL] RE: MLS: NPS Coordination Meeting ‐
00160154   00160156    12/16/2021 9:21 Email    Biweekly                                                 .\VOL011\IMAGES\IMAGES005\00160154.pdf
                                                Re: [EXTERNAL] RE: MLS: NPS Coordination Meeting ‐
00160157   00160159    12/16/2021 9:21 Email    Biweekly                                                 .\VOL011\IMAGES\IMAGES005\00160157.pdf
00160160   00160161    12/16/2021 9:51 Email    RE: GWMP signing                                         .\VOL011\IMAGES\IMAGES005\00160160.pdf
00160162   00160163   12/16/2021 10:05 Email    RE: GWMP signing                                         .\VOL011\IMAGES\IMAGES005\00160162.pdf
00160164   00160166   12/16/2021 10:08 Email    RE: GWMP signing                                         .\VOL011\IMAGES\IMAGES005\00160164.pdf
00160167   00160169   12/16/2021 10:18 Email    RE: GWMP signing                                         .\VOL011\IMAGES\IMAGES005\00160167.pdf
00160170   00160170   12/16/2021 10:58 Email    EJ and I‐495/I270 MLS                                    .\VOL011\IMAGES\IMAGES005\00160170.pdf
00160171   00160172   12/16/2021 11:57 Email    RE: I‐495 & I‐270 IAWG Meeting                           .\VOL011\IMAGES\IMAGES005\00160171.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study: SWM
00160173   00160175    12/17/2021 7:16 Email    Discussion                                               .\VOL011\IMAGES\IMAGES005\00160173.pdf

00160176   00160178    12/17/2021 8:57 Email    RE: Environmental Justice Air Quality Monitoring Act     .\VOL011\IMAGES\IMAGES005\00160176.pdf
                                                RE: FHWA ACTION Required: Review of I‐495 & I‐270
                                                Public‐Private Partnership Program: Draft RFP Design
00160179   00160180    12/17/2021 9:34 Email    Build                                                    .\VOL011\IMAGES\IMAGES005\00160179.pdf
                                                RE: FHWA ACTION Required: Review of I‐495 & I‐270
                                                Public‐Private Partnership Program: Draft RFP Design
00160181   00160182    12/17/2021 9:34 Attach   Build                                                    .\VOL011\IMAGES\IMAGES005\00160181.pdf

00160183   00160185    12/17/2021 9:34 Attach   Comment Matrix FHWA Review_D&C Draft RFP.docx            .\VOL011\IMAGES\IMAGES005\00160183.pdf
00160186   00160187   12/19/2021 15:04 Email    NCPC                                                     .\VOL011\IMAGES\IMAGES005\00160186.pdf
00160188   00160189   12/19/2021 15:04 Email    NCPC                                                     .\VOL011\IMAGES\IMAGES005\00160188.pdf
00160190   00160190    12/20/2021 7:04 Email    Re: NCPC                                                 .\VOL011\IMAGES\IMAGES005\00160190.pdf
00160191   00160192    12/20/2021 7:15 Email    FW: NCPC                                                 .\VOL011\IMAGES\IMAGES005\00160191.pdf
                                                Re: I‐495 & I‐270 Managed Lanes Study: SWM
00160193   00160195   12/20/2021 17:28 Email    Discussion                                               .\VOL011\IMAGES\IMAGES005\00160193.pdf
                                                Re: I‐495 & I‐270 Managed Lanes Study: SWM
00160196   00160199   12/20/2021 17:28 Email    Discussion                                               .\VOL011\IMAGES\IMAGES005\00160196.pdf
00160200   00160201   12/20/2021 19:00 Attach   122021 .pdf                                              .\VOL011\IMAGES\IMAGES005\00160200.pdf
00160202   00160202    12/21/2021 8:30 Email    MLS Tech Team ‐ Status                                   .\VOL011\IMAGES\IMAGES005\00160202.pdf
00160203   00160203    12/21/2021 8:30 Email    MLS Tech Team ‐ Status                                   .\VOL011\IMAGES\IMAGES005\00160203.pdf
00160204   00160206   12/21/2021 10:17 Email    RE: MLS Mitigation Package                               .\VOL011\IMAGES\IMAGES005\00160204.pdf
00160207   00160207   12/21/2021 12:28 Email    Recent EO                                                .\VOL011\IMAGES\IMAGES005\00160207.pdf
00160208   00160208   12/21/2021 16:10 Email    FW: Updated schedule                                     .\VOL011\IMAGES\IMAGES005\00160208.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                    Filed 05/03/23                           Page 195 of 263

                                                SDEIS‐FEIS‐ROD Schedule_Update12.13.2021 FHWA
00160209   00160209   12/21/2021 16:10 Attach   Comments_UPDATED 12‐15‐21 FHWA.docx                      .\VOL011\IMAGES\IMAGES005\00160209.pdf
                                                SDEIS‐FEIS‐ROD Schedule_UPDATED 12‐15‐21 Clean
00160210   00160210   12/21/2021 16:10 Attach   version.docx                                             .\VOL011\IMAGES\IMAGES005\00160210.pdf
00160211   00160213    12/22/2021 9:51 Email    RE: MLS Mitigation Package                               .\VOL011\IMAGES\IMAGES005\00160211.pdf

00160214   00160216   12/22/2021 14:23 Email    Re: Environmental Justice Air Quality Monitoring Act     .\VOL011\IMAGES\IMAGES005\00160214.pdf

00160217   00160219   12/22/2021 14:23 Email    Re: Environmental Justice Air Quality Monitoring Act     .\VOL011\IMAGES\IMAGES005\00160217.pdf
00160220   00160222   12/22/2021 14:41 Email    Air Quality Monitoring                                   .\VOL011\IMAGES\IMAGES005\00160220.pdf
00160223   00160224   12/22/2021 15:12 Email    RE: Updated schedule                                     .\VOL011\IMAGES\IMAGES005\00160223.pdf
00160225   00160228   12/22/2021 15:50 Email    RE: Schedule                                             .\VOL011\IMAGES\IMAGES005\00160225.pdf
00160229   00160232   12/22/2021 15:50 Email    RE: Schedule                                             .\VOL011\IMAGES\IMAGES005\00160229.pdf
                                                RE: I‐495 & I‐270 Managed Lanes Study‐
00160233   00160235   12/27/2021 16:45 Email    Environmental Justice Initiative                         .\VOL011\IMAGES\IMAGES005\00160233.pdf
00160236   00160239    12/29/2021 9:32 Email    Re: Air Quality Monitoring                               .\VOL011\IMAGES\IMAGES005\00160236.pdf
00160240   00160244   12/30/2021 15:12 Email    Re: Air Quality Monitoring                               .\VOL011\IMAGES\IMAGES005\00160240.pdf
00160245   00160246     1/2/2022 12:19 Email    FEIS‐Chapter 9                                           .\VOL011\IMAGES\IMAGES005\00160245.pdf
00160247   00160249     1/3/2022 13:13 Email    RE: MLS Mitigation Package                               .\VOL011\IMAGES\IMAGES005\00160247.pdf
                                                Comprehensive Mitigation Summary Table_01.03
00160250   00160263     1/3/2022 13:13 Attach   FHWA.docx                                                .\VOL011\IMAGES\IMAGES005\00160250.pdf
00160264   00160264     1/3/2022 16:00 Email    I‐495/I‐270 ‐ VDOT Exchange Ramps Discussion             .\VOL011\IMAGES\IMAGES005\00160264.pdf
00160265   00160266     1/3/2022 18:59 Email    Re: FEIS‐Chapter 9                                       .\VOL011\IMAGES\IMAGES005\00160265.pdf
                                                FHWA Comment Errata for Common Theme
00160267   00160267     1/3/2022 18:59 Attach   Responses_2022‐01‐03.xlsx                                .\VOL011\IMAGES\IMAGES005\00160267.pdf    .\VOL011\NATIVES\NATIVES005\00160267.xlsx
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160268   00160268     1/3/2022 23:18 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160268.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160269   00160269     1/3/2022 23:18 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160269.pdf
                                                MDOT SHA_FHWA Morningstar Cemetery Section 106
00160270   00160270     1/3/2022 23:19 Email    ....pdf                                                  .\VOL011\IMAGES\IMAGES005\00160270.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160271   00160271      1/4/2022 6:57 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160271.pdf
00160272   00160272      1/4/2022 6:57 Attach   Agenda_Morningstar_106_update_1_4_2022.pdf               .\VOL011\IMAGES\IMAGES005\00160272.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160273   00160274      1/4/2022 6:59 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160273.pdf
00160275   00160275      1/4/2022 6:59 Attach   Agenda_Morningstar_106_update_1_4_2022.pdf               .\VOL011\IMAGES\IMAGES005\00160275.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160276   00160277      1/4/2022 6:59 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160276.pdf
00160278   00160278      1/4/2022 6:59 Attach   Agenda_Morningstar_106_update_1_4_2022.pdf               .\VOL011\IMAGES\IMAGES005\00160278.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160279   00160279      1/4/2022 6:59 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160279.pdf
00160280   00160280      1/4/2022 8:55 Email    Slides for today                                         .\VOL011\IMAGES\IMAGES005\00160280.pdf
                                                FW: FEIS‐Chapter 9 ‐ Comments requested by January
00160281   00160283      1/4/2022 9:44 Email    14                                                       .\VOL011\IMAGES\IMAGES005\00160281.pdf
                                                FEIS_09_DEISSDEIS CommentsResponses_01‐04‐
00160284   00160352      1/4/2022 9:44 Attach   2022.docx                                                .\VOL011\IMAGES\IMAGES005\00160284.pdf
                                                FW: MDOT SHA/FHWA Morningstar Cemetery Section
00160353   00160354     1/4/2022 10:57 Email    106 Update/Discussion                                    .\VOL011\IMAGES\IMAGES005\00160353.pdf
                                                FW: MDOT SHA/FHWA Morningstar Cemetery Section
00160355   00160356     1/4/2022 10:57 Email    106 Update/Discussion                                    .\VOL011\IMAGES\IMAGES005\00160355.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160357   00160358     1/4/2022 11:00 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160357.pdf
                                                Re: MDOT SHA/FHWA Morningstar Cemetery Section
00160359   00160360     1/4/2022 11:57 Email    106 Update/Discussion                                    .\VOL011\IMAGES\IMAGES005\00160359.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160361   00160362     1/4/2022 12:17 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160361.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160363   00160364     1/4/2022 12:17 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160363.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160365   00160365     1/4/2022 12:17 Email    Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160365.pdf
                                                MDOT SHA/FHWA Morningstar Cemetery Section 106
00160366   00160367     1/4/2022 12:17 Attach   Update/Discussion                                        .\VOL011\IMAGES\IMAGES005\00160366.pdf
                                                RE: I‐495 and I‐270 MLS Section 106 Materials, PA
                                                Second Draft, Comments Requested by February 3,
00160368   00160369     1/4/2022 12:37 Email    2022 ‐ UNREDACTED MATERIALS LINK                         .\VOL011\IMAGES\IMAGES005\00160368.pdf

                                                I‐495 and I‐270 MLS Section 106 Materials, PA Second
00160370   00160371     1/4/2022 12:43 Email    Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES005\00160370.pdf
                                                MLS‐106_Att‐7_Jan‐
                                                2022_495_270_MLS_PROGRAMMATIC
00160372   00160410     1/4/2022 12:43 Attach   AGREEMENT_Draft_2.pdf                                .\VOL011\IMAGES\IMAGES005\00160372.pdf

                                                I‐495 and I‐270 MLS Section 106 Materials, PA Second
00160411   00160413     1/4/2022 12:43 Email    Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES005\00160411.pdf

00160414   00160415     1/4/2022 12:44 Email    I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160414.pdf
                                                RE_ I‐495 and I‐270 MLS Section 106 Materials,
00160416   00160416     1/4/2022 12:44 Email    ...(2).pdf                                               .\VOL011\IMAGES\IMAGES005\00160416.pdf
                                                RE: I‐495 and I‐270 MLS Section 106 Materials, PA
                                                Second Draft, Comments Requested by February 3,
00160417   00160417     1/4/2022 12:44 Email    2022 ‐ UNREDACTED MATERIALS LINK                         .\VOL011\IMAGES\IMAGES005\00160417.pdf
                                                RE: I‐495 and I‐270 MLS Section 106 Materials, PA
                                                Second Draft, Comments Requested by February 3,
00160418   00160419     1/4/2022 12:44 Email    2022 ‐ UNREDACTED MATERIALS LINK                         .\VOL011\IMAGES\IMAGES005\00160418.pdf
                                                RE: MDOT SHA/FHWA Morningstar Cemetery Section
00160420   00160421     1/4/2022 12:48 Email    106 Update/Discussion                                    .\VOL011\IMAGES\IMAGES005\00160420.pdf
00160422   00160425     1/4/2022 13:52 Email    DEIS Comment Responses‐ Additional                       .\VOL011\IMAGES\IMAGES005\00160422.pdf
00160426   00160429     1/4/2022 13:52 Email    DEIS Comment Responses‐ Additional                       .\VOL011\IMAGES\IMAGES005\00160426.pdf

                                                I‐495 and I‐270 MLS Section 106 Materials, PA Second
00160430   00160430     1/4/2022 14:40 Email    Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES005\00160430.pdf

                                                I‐495 and I‐270 MLS Section 106 Materials, PA Second
00160431   00160431     1/4/2022 14:41 Email    Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES005\00160431.pdf

                                                I‐495 and I‐270 MLS Section 106 Materials, PA Second
00160432   00160432     1/4/2022 14:42 Email    Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES005\00160432.pdf

                                                I‐495 and I‐270 MLS Section 106 Materials, PA Second
00160433   00160433     1/4/2022 14:42 Email    Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES005\00160433.pdf

                                                I‐495 and I‐270 MLS Section 106 Materials, PA Second
00160434   00160434     1/4/2022 14:42 Email    Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES005\00160434.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 196 of 263

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00160435   00160435    1/4/2022 15:08 Email    Draft, Comments Requested by February 3, 2022            .\VOL011\IMAGES\IMAGES005\00160435.pdf
                                               Re: City of Rockville Meeting: January 19th from 3 to 4
00160436   00160437    1/4/2022 17:07 Email    PM                                                       .\VOL011\IMAGES\IMAGES005\00160436.pdf
                                               Re: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00160438   00160438    1/4/2022 17:19 Email    and I‐270 Managed Lanes Study                            .\VOL011\IMAGES\IMAGES005\00160438.pdf
                                               RE: City of Rockville Meeting: January 19th from 3 to 4
00160439   00160440    1/4/2022 17:34 Email    PM                                                       .\VOL011\IMAGES\IMAGES005\00160439.pdf
                                               Letter re: the need for further formal review of I‐495 &
00160441   00160441    1/5/2022 11:09 Email    I‐270 MLS NEPA documents                                 .\VOL011\IMAGES\IMAGES005\00160441.pdf
                                               Letter re: the need for further formal review of I‐495 &
00160442   00160442    1/5/2022 11:09 Email    I‐270 MLS NEPA documents                                 .\VOL011\IMAGES\IMAGES005\00160442.pdf
                                               FW: Letter re: the need for further formal review of I‐
00160443   00160443    1/5/2022 11:27 Email    495 & I‐270 MLS NEPA documents                           .\VOL011\IMAGES\IMAGES005\00160443.pdf
                                               FW: Letter re: the need for further formal review of I‐
00160444   00160445    1/5/2022 12:29 Email    495 & I‐270 MLS NEPA documents                           .\VOL011\IMAGES\IMAGES005\00160444.pdf
                                               FW: FEIS‐Chapter 9 ‐ Comments requested by January
00160446   00160448    1/5/2022 12:37 Email    14                                                       .\VOL011\IMAGES\IMAGES005\00160446.pdf
00160449   00160451    1/5/2022 13:03 Email    FW: FEIS‐Chapter 9                                       .\VOL011\IMAGES\IMAGES005\00160449.pdf
00160452   00160454    1/5/2022 13:04 Email    FW_ FEIS‐Chapter 9.pdf                                   .\VOL011\IMAGES\IMAGES005\00160452.pdf
                                               FW: Letter re: the need for further formal review of I‐
00160455   00160456    1/5/2022 13:08 Email    495 & I‐270 MLS NEPA documents                           .\VOL011\IMAGES\IMAGES005\00160455.pdf

00160457   00160458    1/5/2022 13:08 Email    FW_ Letter re_ the need for further formal revi....pdf   .\VOL011\IMAGES\IMAGES005\00160457.pdf
00160459   00160459     1/6/2022 7:32 Email    FEIS‐Chapter 9 ‐ Managed Lanes Study.pdf                 .\VOL011\IMAGES\IMAGES005\00160459.pdf
00160460   00160460     1/6/2022 7:32 Email    FEIS‐Chapter 9 ‐ Managed Lanes Study.pdf                 .\VOL011\IMAGES\IMAGES005\00160460.pdf
00160461   00160461     1/6/2022 7:32 Email    FEIS‐Chapter 9 ‐ Managed Lanes Study                     .\VOL011\IMAGES\IMAGES005\00160461.pdf
00160462   00160466    1/6/2022 13:21 Email    FW: DEIS Comment Responses‐ Additional                   .\VOL011\IMAGES\IMAGES005\00160462.pdf
00160467   00160467    1/7/2022 11:30 Attach   2022.01.07 Agency_SWM_Mtg_Agenda.pdf                     .\VOL011\IMAGES\IMAGES005\00160467.pdf

00160468   00160472    1/7/2022 11:30 Attach   2022.01.07 Agency_SWM_Mtg_Agenda&Handout.pdf             .\VOL011\IMAGES\IMAGES005\00160468.pdf
                                               RE: FEIS‐Chapter 9 ‐ Comments requested by January
00160473   00160475    1/7/2022 15:28 Email    14                                                       .\VOL011\IMAGES\IMAGES005\00160473.pdf
00160476   00160476    1/7/2022 16:38 Email    LOD on Plummers Island                                   .\VOL011\IMAGES\IMAGES005\00160476.pdf
                                               RE: FEIS‐Chapter 9 ‐ Comments requested by January
00160477   00160480    1/7/2022 17:13 Email    14                                                       .\VOL011\IMAGES\IMAGES005\00160477.pdf
                                               FW: FEIS‐Chapter 9 ‐ Comments requested by January
00160481   00160483    1/7/2022 17:14 Email    14                                                       .\VOL011\IMAGES\IMAGES005\00160481.pdf
00160484   00160486    1/10/2022 9:51 Email    RE: GWMP signing                                         .\VOL011\IMAGES\IMAGES005\00160484.pdf
00160487   00160487    1/10/2022 9:51 Attach   Table2A‐5.pdf                                            .\VOL011\IMAGES\IMAGES005\00160487.pdf
                                               FHWA No Action Required ‐ Tribal Notification of MLS
00160488   00160488    1/10/2022 9:52 Email    PA Draft 2                                               .\VOL011\IMAGES\IMAGES005\00160488.pdf
                                               FHWA No Action Required ‐ Tribal Notification of MLS
00160489   00160490    1/10/2022 9:52 Email    PA Draft 2                                               .\VOL011\IMAGES\IMAGES005\00160489.pdf
00160491   00160492   1/10/2022 10:04 Email    RE: Environmental Justice Project Spreadsheet            .\VOL011\IMAGES\IMAGES005\00160491.pdf

00160493   00160493   1/10/2022 11:18 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160493.pdf
00160494   00160522   1/10/2022 11:18 Edoc     MLS_106_Ph1_S_JAN‐2022_Letter.pdf                        .\VOL011\IMAGES\IMAGES005\00160494.pdf

00160523   00160523   1/10/2022 11:21 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160523.pdf

00160524   00160524   1/10/2022 11:21 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160524.pdf

00160525   00160525   1/10/2022 11:22 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160525.pdf

00160526   00160526   1/10/2022 11:22 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160526.pdf

00160527   00160527   1/10/2022 11:24 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160527.pdf

00160528   00160528   1/10/2022 11:25 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160528.pdf

00160529   00160529   1/10/2022 11:25 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160529.pdf

00160530   00160530   1/10/2022 11:25 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160530.pdf

00160531   00160531   1/10/2022 11:26 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160531.pdf

00160532   00160532   1/10/2022 11:26 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160532.pdf

00160533   00160533   1/10/2022 11:26 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160533.pdf

00160534   00160534   1/10/2022 11:27 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160534.pdf

00160535   00160535   1/10/2022 11:27 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160535.pdf

00160536   00160536   1/10/2022 11:28 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160536.pdf

00160537   00160537   1/10/2022 11:48 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160537.pdf

00160538   00160538   1/10/2022 11:48 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160538.pdf

00160539   00160539   1/10/2022 11:48 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160539.pdf

00160540   00160540   1/10/2022 11:49 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160540.pdf

00160541   00160541   1/10/2022 11:50 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160541.pdf

00160542   00160542   1/10/2022 11:51 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160542.pdf

00160543   00160543   1/10/2022 11:51 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160543.pdf

00160544   00160544   1/10/2022 11:51 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf   .\VOL011\IMAGES\IMAGES005\00160544.pdf

00160545   00160545   1/10/2022 11:52 Edoc     I‐495 and I‐270 MLS Section 106 Materials, PA S....pdf .\VOL011\IMAGES\IMAGES005\00160545.pdf
00160546   00160547   1/10/2022 11:57 Email    RE: Equity/EJ Meeting                                  .\VOL011\IMAGES\IMAGES005\00160546.pdf
00160548   00160550   1/10/2022 13:40 Email    FW: Equity/EJ Meeting                                  .\VOL011\IMAGES\IMAGES005\00160548.pdf
00160551   00160554   1/10/2022 14:02 Email    RE: Equity/EJ Meeting                                  .\VOL011\IMAGES\IMAGES005\00160551.pdf
                                               Re: [EXTERNAL] Re: I‐495 & I‐270 MLS‐ Final Mitigation
00160555   00160558   1/10/2022 16:41 Email    Plan                                                   .\VOL011\IMAGES\IMAGES005\00160555.pdf

00160559   00160559   1/10/2022 16:41 Attach   MLS_Mitiation Plan_NPS Comments_12132021.xlsx          .\VOL011\IMAGES\IMAGES005\00160559.pdf      .\VOL011\NATIVES\NATIVES005\00160559.xlsx
                                               Re: [EXTERNAL] Re: I‐495 & I‐270 MLS‐ Final Mitigation
00160560   00160563   1/10/2022 16:41 Email    Plan                                                   .\VOL011\IMAGES\IMAGES005\00160560.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                              Page 197 of 263

00160564   00160564   1/10/2022 16:41 Attach   MLS_Mitiation Plan_NPS Comments_12132021.xlsx        .\VOL011\IMAGES\IMAGES005\00160564.pdf       .\VOL011\NATIVES\NATIVES005\00160564.xlsx
00160565   00160569   1/10/2022 19:22 Email    Re: Air Quality Monitoring                           .\VOL011\IMAGES\IMAGES005\00160565.pdf
00160570   00160570    1/11/2022 9:52 Email    Topics for 1/12/22 internal meeting                  .\VOL011\IMAGES\IMAGES005\00160570.pdf
                                               RE_ Signing Question ‐ Brown background on
00160571   00160572   1/11/2022 11:06 Email    guid...(5).pdf                                       .\VOL011\IMAGES\IMAGES005\00160571.pdf
00160573   00160573   1/11/2022 11:06 Attach   image001.png                                         .\VOL011\IMAGES\IMAGES005\00160573.pdf
00160574   00160574   1/11/2022 11:06 Attach   image002.png                                         .\VOL011\IMAGES\IMAGES005\00160574.pdf

                                               FW: Signing Question ‐ Brown background on guide
00160575   00160577   1/11/2022 11:11 Email    sign for George Washington Memorial Parkway          .\VOL011\IMAGES\IMAGES005\00160575.pdf

00160578   00160578   1/11/2022 12:08 Email    FHWA 1/12/2022 internal meeting on MLS project       .\VOL011\IMAGES\IMAGES005\00160578.pdf
00160579   00160580   1/11/2022 12:08 Attach   FW: NCPC                                             .\VOL011\IMAGES\IMAGES005\00160579.pdf

00160581   00160581   1/11/2022 12:08 Email    FHWA 1_12_2022 internal meeting on MLS project.pdf .\VOL011\IMAGES\IMAGES005\00160581.pdf
00160582   00160586   1/11/2022 12:08 Attach   FW: DEIS Comment Responses‐ Additional             .\VOL011\IMAGES\IMAGES005\00160582.pdf

00160587   00160587   1/11/2022 12:08 Attach   FHWA AGENCY FILES FOR REVIEW_2022.01.04.docx         .\VOL011\IMAGES\IMAGES005\00160587.pdf
00160588   00160589   1/11/2022 12:08 Attach   FW: NCPC                                             .\VOL011\IMAGES\IMAGES005\00160588.pdf
                                               I‐495‐270 Managed Lanes Study SEIS Comment Letter
00160590   00160591   1/11/2022 12:08 Attach   FINAL Signed.pdf                                     .\VOL011\IMAGES\IMAGES005\00160590.pdf
                                               NCPC_Status Change_Cooperating_Scoping
00160592   00160594   1/11/2022 12:08 Attach   Comments.pdf                                         .\VOL011\IMAGES\IMAGES005\00160592.pdf
                                               SC‐Letter‐495270MLS‐SDEIS‐FEISReviewPd‐
00160595   00160601   1/11/2022 12:08 Attach   2022Jan.pdf                                          .\VOL011\IMAGES\IMAGES005\00160595.pdf
                                               FHWA Comment Errata for Common Theme
00160602   00160602   1/11/2022 12:08 Attach   Response.xlsx                                        .\VOL011\IMAGES\IMAGES005\00160602.pdf       .\VOL011\NATIVES\NATIVES005\00160602.xlsx
00160603   00160603   1/11/2022 13:43 Email    Equity Discussion                                    .\VOL011\IMAGES\IMAGES005\00160603.pdf
00160604   00160604   1/11/2022 13:43 Email    Equity Discussion                                    .\VOL011\IMAGES\IMAGES005\00160604.pdf
00160605   00160606   1/11/2022 14:55 Email    FW: Equity Discussion                                .\VOL011\IMAGES\IMAGES005\00160605.pdf
00160607   00160617   1/11/2022 14:55 Attach   EJ Equity Presentation.pdf                           .\VOL011\IMAGES\IMAGES005\00160607.pdf
00160618   00160619   1/11/2022 14:55 Email    FW: Equity Discussion                                .\VOL011\IMAGES\IMAGES005\00160618.pdf
00160620   00160621   1/11/2022 14:59 Email    FW: Equity Discussion                                .\VOL011\IMAGES\IMAGES005\00160620.pdf
00160622   00160623    1/12/2022 7:11 Email    RE: Rockville Senior Center & Park                   .\VOL011\IMAGES\IMAGES005\00160622.pdf

                                               FW: Signing Question ‐ Brown background on guide
00160624   00160626    1/12/2022 8:15 Email    sign for George Washington Memorial Parkway          .\VOL011\IMAGES\IMAGES005\00160624.pdf

                                               RE: Signing Question ‐ Brown background on guide
00160627   00160629    1/12/2022 8:31 Email    sign for George Washington Memorial Parkway          .\VOL011\IMAGES\IMAGES005\00160627.pdf
00160630   00160631   1/12/2022 13:02 Email    RE: I‐495 & I‐270 FHWA Coordination Meeting          .\VOL011\IMAGES\IMAGES005\00160630.pdf
                                               RE: FEIS‐Chapter 9 ‐ Comments requested by January
00160632   00160635   1/12/2022 13:55 Email    14                                                   .\VOL011\IMAGES\IMAGES005\00160632.pdf
00160636   00160636   1/12/2022 14:00 Email    Section 4(f) questions                               .\VOL011\IMAGES\IMAGES005\00160636.pdf

                                               RE: Signing Question ‐ Brown background on guide
00160637   00160639   1/12/2022 14:25 Email    sign for George Washington Memorial Parkway          .\VOL011\IMAGES\IMAGES005\00160637.pdf

                                               RE: Signing Question ‐ Brown background on guide
00160640   00160642   1/12/2022 14:32 Email    sign for George Washington Memorial Parkway          .\VOL011\IMAGES\IMAGES005\00160640.pdf
                                               FW_ Signing Question ‐ Brown background on
00160643   00160646   1/12/2022 14:37 Email    guid...(2).pdf                                       .\VOL011\IMAGES\IMAGES005\00160643.pdf

                                               FW: Signing Question ‐ Brown background on guide
00160647   00160650   1/12/2022 14:37 Email    sign for George Washington Memorial Parkway          .\VOL011\IMAGES\IMAGES005\00160647.pdf
00160651   00160652   1/12/2022 15:26 Email    RE: Section 4f Questions                             .\VOL011\IMAGES\IMAGES005\00160651.pdf

                                               RE: Signing Question ‐ Brown background on guide
00160653   00160657   1/12/2022 16:14 Email    sign for George Washington Memorial Parkway             .\VOL011\IMAGES\IMAGES005\00160653.pdf
                                               Fw: questions from PRC Vice‐Chair: I‐495 and I‐270 P# ‐
00160658   00160659    1/13/2022 8:41 Email    EIS                                                     .\VOL011\IMAGES\IMAGES005\00160658.pdf
00160660   00160660    1/13/2022 9:28 Email    RE: Section 11404 of BIL and Section 129                .\VOL011\IMAGES\IMAGES005\00160660.pdf
00160661   00160662    1/13/2022 9:32 Email    Federal Agency RODS                                     .\VOL011\IMAGES\IMAGES005\00160661.pdf
00160663   00160664    1/13/2022 9:41 Email    RE: Section 11404 of BIL and Section 129                .\VOL011\IMAGES\IMAGES005\00160663.pdf
00160665   00160667   1/13/2022 10:03 Email    RE: Section 11404 of BIL and Section 129                .\VOL011\IMAGES\IMAGES005\00160665.pdf
00160668   00160669   1/13/2022 12:38 Email    RE: FEIS‐Chapter 9 ‐ Managed Lanes Study                .\VOL011\IMAGES\IMAGES005\00160668.pdf
00160670   00160674   1/13/2022 12:44 Email    FW: DEIS Comment Responses‐ Additional                  .\VOL011\IMAGES\IMAGES005\00160670.pdf
00160675   00160676   1/13/2022 13:24 Email    FHWA SME's                                              .\VOL011\IMAGES\IMAGES005\00160675.pdf
00160677   00160680   1/13/2022 14:32 Email    RE_ FEIS‐Chapter 9(1).pdf                               .\VOL011\IMAGES\IMAGES005\00160677.pdf
                                               RE: FEIS‐Chapter 9 ‐ Comments requested by January
00160681   00160683   1/13/2022 16:23 Email    14                                                      .\VOL011\IMAGES\IMAGES005\00160681.pdf
                                               FW: questions from PRC Vice‐Chair: I‐495 and I‐270 P# ‐
00160684   00160686   1/13/2022 16:51 Email    EIS                                                     .\VOL011\IMAGES\IMAGES005\00160684.pdf
00160687   00160698   1/13/2022 17:59 Attach   2022‐01‐07‐SWM Discussion Meeting Notes.pdf             .\VOL011\IMAGES\IMAGES005\00160687.pdf
00160699   00160700   1/13/2022 17:59 Email    RE: I‐495 & I‐270 MLS: SWM Discussion                   .\VOL011\IMAGES\IMAGES005\00160699.pdf
00160701   00160701   1/13/2022 18:42 Email    FW: FEIS‐Chapter 9 ‐ Managed Lanes Study                .\VOL011\IMAGES\IMAGES005\00160701.pdf
00160702   00160704   1/13/2022 19:08 Email    RE: FEIS‐Chapter 9                                      .\VOL011\IMAGES\IMAGES005\00160702.pdf
00160705   00160708   1/14/2022 13:52 Email    RE_ FEIS‐Chapter 9(3).pdf                               .\VOL011\IMAGES\IMAGES005\00160705.pdf
00160709   00160709   1/14/2022 14:52 Email    RE_ FEIS‐Chapter 9 ‐ Managed Lanes Study.pdf            .\VOL011\IMAGES\IMAGES005\00160709.pdf
00160710   00160710   1/14/2022 15:31 Email    RE_ FEIS‐Chapter 9 ‐ Managed Lanes Study(2).pdf         .\VOL011\IMAGES\IMAGES005\00160710.pdf
00160711   00160711   1/14/2022 15:31 Email    RE_ FEIS‐Chapter 9 ‐ Managed Lanes Study(1).pdf         .\VOL011\IMAGES\IMAGES005\00160711.pdf
                                               RE: FEIS‐Chapter 9 ‐ Comments requested by January
00160712   00160714   1/14/2022 15:54 Email    14                                                      .\VOL011\IMAGES\IMAGES005\00160712.pdf
                                               RE: FEIS‐Chapter 9 ‐ Comments requested by January
00160715   00160717   1/14/2022 15:54 Email    14                                                      .\VOL011\IMAGES\IMAGES005\00160715.pdf
00160718   00160719   1/16/2022 13:51 Email    RE: FEIS‐Chapter 9 ‐ Managed Lanes Study                .\VOL011\IMAGES\IMAGES005\00160718.pdf
00160720   00160724   1/17/2022 10:28 Email    RE: DEIS Comment Responses‐ Additional                  .\VOL011\IMAGES\IMAGES005\00160720.pdf
00160725   00160744   1/17/2022 10:58 Attach   Pages from ICC FEIS volume3_complete.pdf                .\VOL011\IMAGES\IMAGES005\00160725.pdf
00160745   00160747   1/17/2022 12:06 Email    RE: FEIS‐Chapter 9                                      .\VOL011\IMAGES\IMAGES005\00160745.pdf
00160748   00160750   1/17/2022 12:06 Email    RE: FEIS‐Chapter 9                                      .\VOL011\IMAGES\IMAGES005\00160748.pdf
00160751   00160753   1/17/2022 12:06 Email    RE: FEIS‐Chapter 9                                      .\VOL011\IMAGES\IMAGES005\00160751.pdf
                                               2022‐01‐03_Final Mitigation Plan_M‐
00160754   00160762   1/17/2022 18:01 Attach   NCPPC_Comparison_Updated 01‐14‐2022.docx                .\VOL011\IMAGES\IMAGES005\00160754.pdf
00160763   00160763   1/18/2022 15:20 Email    [No Subject]                                            .\VOL011\IMAGES\IMAGES005\00160763.pdf
00160764   00160765   1/18/2022 15:31 Email    RE: MLS ROD                                             .\VOL011\IMAGES\IMAGES005\00160764.pdf
00160766   00160766   1/18/2022 17:54 Email    MLS SMEs list of preparers.pdf                          .\VOL011\IMAGES\IMAGES005\00160766.pdf
00160767   00160767   1/18/2022 17:54 Email    MLS SMEs list of preparers                              .\VOL011\IMAGES\IMAGES005\00160767.pdf
00160768   00160768   1/18/2022 17:56 Email    Re_ MLS SMEs list of preparers.pdf                      .\VOL011\IMAGES\IMAGES005\00160768.pdf
00160769   00160769   1/18/2022 18:00 Email    MLS SMEs list of preparers.pdf                          .\VOL011\IMAGES\IMAGES005\00160769.pdf
                                               Fw: Letter re: the need for further formal review of I‐
00160770   00160771   1/18/2022 18:21 Email    495 & I‐270 MLS NEPA documents                          .\VOL011\IMAGES\IMAGES005\00160770.pdf
00160772   00160773   1/18/2022 19:03 Email    RE_ MLS SMEs list of preparers.pdf                      .\VOL011\IMAGES\IMAGES005\00160772.pdf
00160774   00160774    1/19/2022 7:36 Email    RE_ MLS SMEs list of preparers(2).pdf                   .\VOL011\IMAGES\IMAGES005\00160774.pdf
00160775   00160776    1/19/2022 8:27 Email    RE_ MLS SMEs list of preparers(3).pdf                   .\VOL011\IMAGES\IMAGES005\00160775.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 198 of 263

00160777   00160778    1/19/2022 8:27 Email    RE_ MLS SMEs list of preparers(2).pdf                  .\VOL011\IMAGES\IMAGES005\00160777.pdf
00160779   00160779    1/19/2022 8:37 Email    FW_ MLS SMEs list of preparers.pdf                     .\VOL011\IMAGES\IMAGES005\00160779.pdf
00160780   00160781    1/19/2022 8:41 Email    RE_ MLS SMEs list of preparers(4).pdf                  .\VOL011\IMAGES\IMAGES005\00160780.pdf
00160782   00160783    1/19/2022 8:42 Email    RE_ MLS SMEs list of preparers(4).pdf                  .\VOL011\IMAGES\IMAGES005\00160782.pdf
00160784   00160785    1/19/2022 9:19 Email    RE_ MLS SMEs list of preparers(6).pdf                  .\VOL011\IMAGES\IMAGES005\00160784.pdf
00160786   00160787    1/19/2022 9:20 Email    RE_ MLS SMEs list of preparers(5).pdf                  .\VOL011\IMAGES\IMAGES005\00160786.pdf
00160788   00160789   1/19/2022 10:10 Email    RE_ MLS SMEs list of preparers(6).pdf                  .\VOL011\IMAGES\IMAGES005\00160788.pdf
00160790   00160791   1/19/2022 10:10 Email    Re: [EXTERNAL] MLS ROD                                 .\VOL011\IMAGES\IMAGES005\00160790.pdf
00160792   00160792   1/19/2022 12:05 Email    MR                                                     .\VOL011\IMAGES\IMAGES005\00160792.pdf

00160793   00160793   1/19/2022 14:00 Attach   2022‐01‐19_FHWA Coordination Mtg Agenda.docx           .\VOL011\IMAGES\IMAGES005\00160793.pdf
00160794   00160796   1/19/2022 14:58 Email    FW: MR                                                 .\VOL011\IMAGES\IMAGES005\00160794.pdf
00160797   00160797   1/19/2022 17:34 Email    letter of concerns for the administrative record       .\VOL011\IMAGES\IMAGES005\00160797.pdf
                                               Natural Communities of Plummers Island,
00160798   00160798   1/19/2022 17:34 Attach   Montgomery County, Maryland.jpg                        .\VOL011\IMAGES\IMAGES005\00160798.pdf

00160799   00160799   1/19/2022 17:34 Attach   SDEIS old and new ALB designs supperimposed.JPG        .\VOL011\IMAGES\IMAGES005\00160799.pdf

00160800   00160800   1/19/2022 17:37 Email    letter of concerns for the administrative record.pdf   .\VOL011\IMAGES\IMAGES005\00160800.pdf

00160801   00160805   1/19/2022 17:37 Attach   U.S. Army Corps of Engineers, Baltimore Distri.pdf     .\VOL011\IMAGES\IMAGES005\00160801.pdf

00160806   00160811   1/19/2022 17:37 Attach   Rare Flora and Natural Communities of Plummers.pdf .\VOL011\IMAGES\IMAGES005\00160806.pdf
00160812   00160813    1/20/2022 9:04 Email    FW: GWMP Signing                                    .\VOL011\IMAGES\IMAGES005\00160812.pdf
00160814   00160815    1/20/2022 9:23 Attach   ALB Shared Use Path Original Email.pdf              .\VOL011\IMAGES\IMAGES005\00160814.pdf
                                               FW_ Signing Question ‐ Brown background on
00160816   00160817   1/20/2022 14:01 Email    guid....pdf                                         .\VOL011\IMAGES\IMAGES005\00160816.pdf
00160818   00160819   1/20/2022 16:25 Email    Dashboard Comment                                   .\VOL011\IMAGES\IMAGES005\00160818.pdf
00160820   00160824   1/20/2022 16:47 Edoc     Gaithersburg_deminimis_Revised 01.19.22.docx        .\VOL011\IMAGES\IMAGES005\00160820.pdf
00160825   00160833   1/20/2022 16:47 Edoc     M‐NCPPC_deminimis_Revised 01.19.22.docx             .\VOL011\IMAGES\IMAGES005\00160825.pdf
00160834   00160841   1/20/2022 16:47 Edoc     Rockville_deminimis_Revised 01.19.22.docx           .\VOL011\IMAGES\IMAGES005\00160834.pdf
                                               Section 4f de minimis Request for Public
00160842   00160843   1/20/2022 17:03 Edoc     Comment_Gaithersburg.docx                           .\VOL011\IMAGES\IMAGES005\00160842.pdf
                                               Section 4f de minimis Request for Public
00160844   00160845   1/20/2022 17:08 Edoc     Comment_Rockville.docx                              .\VOL011\IMAGES\IMAGES005\00160844.pdf
                                               Section 4f de minimis Request for Public Comment_M‐
00160846   00160847   1/20/2022 17:08 Edoc     NCPPC.docx                                          .\VOL011\IMAGES\IMAGES005\00160846.pdf
                                               RE_ Signing Question ‐ Brown background on
00160848   00160850   1/20/2022 17:23 Email    guid...(2).pdf                                      .\VOL011\IMAGES\IMAGES005\00160848.pdf
                                               De Minimis Public Notice ‐ Announcement
00160851   00160851   1/20/2022 17:42 Edoc     Introduction.docx                                   .\VOL011\IMAGES\IMAGES005\00160851.pdf
00160852   00160854   1/20/2022 19:41 Email    RE: I‐495 & I‐270 MLS: SWM Discussion               .\VOL011\IMAGES\IMAGES005\00160852.pdf
                                               RE_ Signing Question ‐ Brown background on
00160855   00160857    1/21/2022 9:04 Email    guid...(1).pdf                                      .\VOL011\IMAGES\IMAGES005\00160855.pdf
00160858   00160860   1/21/2022 12:32 Email    RE: FEIS‐Chapter 9                                  .\VOL011\IMAGES\IMAGES005\00160858.pdf
00160861   00160863   1/21/2022 12:32 Email    RE: FEIS‐Chapter 9                                  .\VOL011\IMAGES\IMAGES005\00160861.pdf
00160864   00160864   1/21/2022 12:48 Email    GWMP signing                                        .\VOL011\IMAGES\IMAGES005\00160864.pdf
                                               FW: Sen. Cardin ‐ Maryland Transit Opportunities
00160865   00160866   1/21/2022 14:46 Email    Coalition Meeting Request                           .\VOL011\IMAGES\IMAGES005\00160865.pdf
                                               RE: Sen. Cardin ‐ Maryland Transit Opportunities
00160867   00160868   1/21/2022 15:04 Email    Coalition Meeting Request                           .\VOL011\IMAGES\IMAGES005\00160867.pdf
                                               RE: Sen. Cardin ‐ Maryland Transit Opportunities
00160869   00160870   1/21/2022 16:58 Email    Coalition Meeting Request                           .\VOL011\IMAGES\IMAGES005\00160869.pdf
00160871   00160872    1/23/2022 9:14 Email    FHWA Counsel Meeting                                .\VOL011\IMAGES\IMAGES005\00160871.pdf
                                               MDOT SHA_MDTA Annual Section 106 Appendix 1
00160873   00160874   1/24/2022 11:37 Email    and....pdf                                          .\VOL011\IMAGES\IMAGES005\00160873.pdf
00160875   00160876   1/24/2022 13:30 Email    RE: LOD on Plummers Island                          .\VOL011\IMAGES\IMAGES005\00160875.pdf
00160877   00160878   1/24/2022 15:07 Email    RE: GWMP signing                                    .\VOL011\IMAGES\IMAGES005\00160877.pdf
00160879   00160880   1/24/2022 15:21 Email    RE: GWMP signing                                    .\VOL011\IMAGES\IMAGES005\00160879.pdf
00160881   00160883   1/24/2022 15:26 Email    RE: GWMP signing                                    .\VOL011\IMAGES\IMAGES005\00160881.pdf
00160884   00160885   1/24/2022 15:32 Email    RE: NPS Coordination Meeting                        .\VOL011\IMAGES\IMAGES005\00160884.pdf

00160886   00160903   1/24/2022 15:32 Attach   2022‐01‐27 NPS Coordination ‐ Meeting Materials.pdf .\VOL011\IMAGES\IMAGES005\00160886.pdf

00160904   00160921   1/24/2022 15:32 Attach   2022‐01‐27 NPS Coordination ‐ Meeting Materials.pdf    .\VOL011\IMAGES\IMAGES005\00160904.pdf
00160922   00160923   1/24/2022 16:50 Email    RE: Dashboard Comment                                  .\VOL011\IMAGES\IMAGES005\00160922.pdf
                                               2022.01.04_City of Rockville Traffic Transp
00160924   00160928   1/24/2022 17:10 Attach   Commission_DEIS Comments_FHWA.docx                     .\VOL011\IMAGES\IMAGES005\00160924.pdf
                                               MLS Business DEIS Comment Responses_Draft
00160929   00160954   1/24/2022 17:10 Attach   Final_For FHWA Review_01.04.2022.docx                  .\VOL011\IMAGES\IMAGES005\00160929.pdf
                                               DEIS Form Letters and Responses_Draft Final_For
00160955   00160968   1/24/2022 17:10 Attach   FHWA Review_01.04.2022.docx                            .\VOL011\IMAGES\IMAGES005\00160955.pdf
00160969   00160969   1/24/2022 17:10 Attach   Microsoft_Word_Document.docx                           .\VOL011\IMAGES\IMAGES005\00160969.pdf
00160970   00160974   1/24/2022 17:57 Email    RE: DEIS Comment Responses‐ Additional                 .\VOL011\IMAGES\IMAGES005\00160970.pdf
                                               2021.12.02_Fairfax Co Park Auth_DEIS
00160975   00160976   1/24/2022 17:57 Attach   Comments_FHWA.docx                                     .\VOL011\IMAGES\IMAGES005\00160975.pdf
                                               2021.12.09_City of Gaithersburg_DEIS
00160977   00160983   1/24/2022 17:57 Attach   Comments_FHWA.docx                                     .\VOL011\IMAGES\IMAGES005\00160977.pdf
00160984   00160988   1/24/2022 17:58 Email    RE: DEIS Comment Responses‐ Additional                 .\VOL011\IMAGES\IMAGES005\00160984.pdf
                                               2021.12.09_State Clearinghouse_DEIS
00160989   00161014   1/24/2022 17:58 Attach   Comments_FHWA.docx                                     .\VOL011\IMAGES\IMAGES005\00160989.pdf
00161015   00161019   1/24/2022 17:58 Email    RE: DEIS Comment Responses‐ Additional                 .\VOL011\IMAGES\IMAGES005\00161015.pdf
                                               2022.01.03_Town of Berwyn Heights_DEIS
00161020   00161022   1/24/2022 17:58 Attach   Comments_FHWA.docx                                     .\VOL011\IMAGES\IMAGES005\00161020.pdf
                                               2022.01.03_Town of Chevy Chase_DEIS
00161023   00161028   1/24/2022 17:58 Attach   Comments_FHWA.docx                                     .\VOL011\IMAGES\IMAGES005\00161023.pdf
00161029   00161029   1/24/2022 17:58 Attach   2022.01.04_EPA DEIS Comments_FHWA.xlsx                 .\VOL011\IMAGES\IMAGES005\00161029.pdf    .\VOL011\NATIVES\NATIVES005\00161029.xlsx
00161030   00161038   1/24/2022 17:58 Attach   2022.01.04_MDP_DEIS Comments_FHWA.docx                 .\VOL011\IMAGES\IMAGES005\00161030.pdf

00161039   00161044   1/24/2022 17:58 Attach   2021.12.09_US Navy_DEIS Comments_FHWA.docx             .\VOL011\IMAGES\IMAGES005\00161039.pdf
00161045   00161045   1/24/2022 17:58 Attach   2021.12.09_USACE DEIS Comments_FHWA.xlsx               .\VOL011\IMAGES\IMAGES005\00161045.pdf    .\VOL011\NATIVES\NATIVES005\00161045.xlsx
00161046   00161046   1/24/2022 17:58 Attach   2021.12.14_NCPC DEIS Comments_FHWA.xlsx                .\VOL011\IMAGES\IMAGES005\00161046.pdf    .\VOL011\NATIVES\NATIVES005\00161046.xlsx

00161047   00161047   1/24/2022 17:58 Attach   2022.01.03_PG County DPWT Comments_FHWA.xlsx .\VOL011\IMAGES\IMAGES005\00161047.pdf              .\VOL011\NATIVES\NATIVES005\00161047.xlsx
                                               I‐495 & I‐270 Managed Lanes Study‐ Administrative
00161048   00161049   1/25/2022 10:13 Email    Draft FEIS                                        .\VOL011\IMAGES\IMAGES005\00161048.pdf
                                               DEIS ‐
                                               RockCreekConserv_Braha_Jeanne_C_110920_email_L
00161050   00161068   1/25/2022 12:07 Attach   ENGTHY.pdf                                        .\VOL011\IMAGES\IMAGES005\00161050.pdf

00161069   00161071   1/25/2022 12:07 Attach   SDEIS ‐RockCreekConservancy_C_111221_website.pdf .\VOL011\IMAGES\IMAGES005\00161069.pdf
                                               SDEIS ‐
                                               RockCreekConservancy_Braha_Jeanne_C_110121_Oral
00161072   00161072   1/25/2022 12:07 Attach   .pdf                                             .\VOL011\IMAGES\IMAGES005\00161072.pdf
00161073   00161075   1/25/2022 12:54 Email    RE: GWMP signing                                 .\VOL011\IMAGES\IMAGES005\00161073.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                     Filed 05/03/23                           Page 199 of 263

00161076   00161078   1/25/2022 12:59 Email    RE: GWMP signing                                          .\VOL011\IMAGES\IMAGES005\00161076.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study‐
00161079   00161081   1/25/2022 13:07 Email    Administrative Draft FEIS                                 .\VOL011\IMAGES\IMAGES005\00161079.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study‐
00161082   00161084   1/25/2022 13:17 Email    Administrative Draft FEIS                                 .\VOL011\IMAGES\IMAGES005\00161082.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study‐
00161085   00161087   1/25/2022 14:11 Email    Administrative Draft FEIS                                 .\VOL011\IMAGES\IMAGES005\00161085.pdf
                                               Upcoming FHWA Review_ I‐495 & I‐270 Managed
00161088   00161088   1/25/2022 14:51 Email    Lan....pdf                                                .\VOL011\IMAGES\IMAGES005\00161088.pdf
                                               Upcoming FHWA Review: I‐495 & I‐270 Managed
00161089   00161089   1/25/2022 14:51 Email    Lanes Study ‐ Maryland IAPA                               .\VOL011\IMAGES\IMAGES005\00161089.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00161090   00161091   1/25/2022 15:00 Attach   Draft, Comments Requested by February 3, 2022             .\VOL011\IMAGES\IMAGES005\00161090.pdf
                                               RE: I‐495 and I‐270 MLS Section 106 Materials, PA
                                               Second Draft, Comments Requested by February 3,
00161092   00161092   1/25/2022 15:00 Attach   2022 ‐ UNREDACTED MATERIALS LINK                          .\VOL011\IMAGES\IMAGES005\00161092.pdf
00161093   00161094   1/25/2022 16:23 Email    Revised FEIS Schedule                                     .\VOL011\IMAGES\IMAGES005\00161093.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study‐
00161095   00161097   1/25/2022 16:28 Email    Administrative Draft FEIS                                 .\VOL011\IMAGES\IMAGES005\00161095.pdf

00161098   00161099    1/26/2022 8:21 Email    Re: Additional Comment ‐ US Navy DEIS Comments            .\VOL011\IMAGES\IMAGES005\00161098.pdf
00161100   00161101    1/26/2022 8:41 Email    De Minimis Findings                                       .\VOL011\IMAGES\IMAGES005\00161100.pdf
00161102   00161102    1/26/2022 8:52 Email    FW: GWMP                                                  .\VOL011\IMAGES\IMAGES005\00161102.pdf
00161103   00161104    1/26/2022 9:08 Email    RE: GWMP                                                  .\VOL011\IMAGES\IMAGES005\00161103.pdf
00161105   00161106    1/26/2022 9:09 Email    RE: GWMP                                                  .\VOL011\IMAGES\IMAGES005\00161105.pdf
00161107   00161108    1/26/2022 9:09 Email    RE: GWMP                                                  .\VOL011\IMAGES\IMAGES005\00161107.pdf
00161109   00161110    1/26/2022 9:10 Email    RE: GWMP                                                  .\VOL011\IMAGES\IMAGES005\00161109.pdf
00161111   00161113    1/26/2022 9:11 Email    RE: GWMP                                                  .\VOL011\IMAGES\IMAGES005\00161111.pdf
00161114   00161116    1/26/2022 9:14 Email    FW: GWMP                                                  .\VOL011\IMAGES\IMAGES005\00161114.pdf

00161117   00161117   1/26/2022 13:58 Email    Review of MLS DEIS Agency Comments Response.pdf           .\VOL011\IMAGES\IMAGES005\00161117.pdf

00161118   00161119   1/26/2022 13:59 Email    Review of MLS DEIS Agency Comments Response               .\VOL011\IMAGES\IMAGES005\00161118.pdf

00161120   00161121   1/26/2022 13:59 Email    Review of MLS DEIS Agency Comments Response.pdf           .\VOL011\IMAGES\IMAGES005\00161120.pdf

00161122   00161122   1/26/2022 14:00 Email    Review of MLS DEIS Agency Comments Response               .\VOL011\IMAGES\IMAGES005\00161122.pdf

00161123   00161123   1/26/2022 14:00 Email    Review of MLS DEIS Agency Comments Response               .\VOL011\IMAGES\IMAGES005\00161123.pdf

00161124   00161124   1/26/2022 14:00 Email    Review of MLS DEIS Agency Comments Response.pdf           .\VOL011\IMAGES\IMAGES005\00161124.pdf
                                               Review of MLS DEIS Agency Comments
00161125   00161126   1/26/2022 14:02 Email    Response(2).pdf                                           .\VOL011\IMAGES\IMAGES005\00161125.pdf

00161127   00161127   1/26/2022 14:02 Email    Review of MLS DEIS Agency Comments Response               .\VOL011\IMAGES\IMAGES005\00161127.pdf
                                               RE_ Review of MLS DEIS Agency Comments
00161128   00161130   1/26/2022 14:09 Email    Response.pdf                                              .\VOL011\IMAGES\IMAGES005\00161128.pdf

00161131   00161133   1/26/2022 14:17 Email    RE: Review of MLS DEIS Agency Comments Response           .\VOL011\IMAGES\IMAGES005\00161131.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Clarification and
00161134   00161135   1/26/2022 14:32 Email    request for mitigation opportunities                      .\VOL011\IMAGES\IMAGES005\00161134.pdf

                                               Fw: I‐495 & I‐270 Managed Lanes Study‐ Clarification
00161136   00161137   1/26/2022 14:32 Email    and request for mitigation opportunities                  .\VOL011\IMAGES\IMAGES005\00161136.pdf

                                               FW: I‐495 & I‐270 Managed Lanes Study‐ Clarification
00161138   00161139   1/26/2022 14:49 Email    and request for mitigation opportunities                  .\VOL011\IMAGES\IMAGES005\00161138.pdf
00161140   00161140   1/26/2022 15:57 Email    DEIS Agency Comments‐ Town of Chevy Chase                 .\VOL011\IMAGES\IMAGES005\00161140.pdf

00161141   00161141   1/26/2022 15:59 Email    Correspondence from the Rockville Mayor and Council .\VOL011\IMAGES\IMAGES005\00161141.pdf
                                               FW: Correspondence from the Rockville Mayor and
00161142   00161142   1/26/2022 16:02 Email    Council                                             .\VOL011\IMAGES\IMAGES005\00161142.pdf
                                               FW: Correspondence from the Rockville Mayor and
00161143   00161144   1/26/2022 16:15 Email    Council                                             .\VOL011\IMAGES\IMAGES005\00161143.pdf
00161145   00161148   1/26/2022 16:15 Attach   FHA Letter FINAL 012622.pdf                         .\VOL011\IMAGES\IMAGES005\00161145.pdf
00161149   00161150   1/26/2022 16:47 Email    RE: MLS: City of Rockville Coordination Meeting     .\VOL011\IMAGES\IMAGES005\00161149.pdf
00161151   00161154   1/26/2022 16:47 Attach   20220119 ‐ COR Planview Exhibits.pdf                .\VOL011\IMAGES\IMAGES005\00161151.pdf

00161155   00161158   1/26/2022 16:47 Attach   20220119 ‐ Op Lanes MD_COR Bilke‐Ped PPT.pptx.pdf         .\VOL011\IMAGES\IMAGES005\00161155.pdf
00161159   00161159   1/26/2022 16:47 Attach   MD 189 ‐ Draft Bike Lanes ‐ Jan 22.pdf                    .\VOL011\IMAGES\IMAGES005\00161159.pdf
00161160   00161161   1/26/2022 16:47 Email    RE: MLS: City of Rockville Coordination Meeting           .\VOL011\IMAGES\IMAGES005\00161160.pdf
00161162   00161165   1/26/2022 16:47 Attach   20220119 ‐ COR Planview Exhibits.pdf                      .\VOL011\IMAGES\IMAGES005\00161162.pdf

00161166   00161169   1/26/2022 16:47 Attach   20220119 ‐ Op Lanes MD_COR Bilke‐Ped PPT.pptx.pdf         .\VOL011\IMAGES\IMAGES005\00161166.pdf
00161170   00161170   1/26/2022 16:47 Attach   MD 189 ‐ Draft Bike Lanes ‐ Jan 22.pdf                    .\VOL011\IMAGES\IMAGES005\00161170.pdf
                                               Monacan_Response
00161171   00161174   1/26/2022 18:27 Edoc     I495andI270ManagedLanesStudy(MLS).pdf                     .\VOL011\IMAGES\IMAGES005\00161171.pdf
                                               E_Shawnee_NAE
                                               I495andI270ManagedLanesStudy(MLS)
00161175   00161176   1/26/2022 18:27 Edoc     HADMDMasterNoAW073A13.pdf                                 .\VOL011\IMAGES\IMAGES005\00161175.pdf
00161177   00161178    1/27/2022 9:06 Email    Re: NPS Meeting                                           .\VOL011\IMAGES\IMAGES005\00161177.pdf
00161179   00161186    1/27/2022 9:06 Attach   DOI_Lazinsky_Diane_A_111021_email.pdf                     .\VOL011\IMAGES\IMAGES005\00161179.pdf
00161187   00161188   1/27/2022 10:00 Email    NPS Coordination Meeting                                  .\VOL011\IMAGES\IMAGES005\00161187.pdf
00161189   00161191   1/27/2022 12:47 Email    RE: MLS: City of Rockville Coordination Meeting           .\VOL011\IMAGES\IMAGES005\00161189.pdf
00161192   00161194   1/27/2022 13:16 Email    RE: MLS: City of Rockville Coordination Meeting           .\VOL011\IMAGES\IMAGES005\00161192.pdf
00161195   00161195   1/27/2022 14:10 Email    4(f) DOI Coordination                                     .\VOL011\IMAGES\IMAGES005\00161195.pdf
00161196   00161197   1/27/2022 14:25 Email    RE: De Minimis Findings                                   .\VOL011\IMAGES\IMAGES005\00161196.pdf
                                               FW: Letter re: the need for further formal review of I‐
00161198   00161199   1/27/2022 14:41 Email    495 & I‐270 MLS NEPA documents                            .\VOL011\IMAGES\IMAGES005\00161198.pdf

00161200   00161200   1/27/2022 15:37 Email    Heads Up ‐ I‐495 I‐270 FEIS Section 4(f) Evalua....pdf    .\VOL011\IMAGES\IMAGES005\00161200.pdf

00161201   00161201   1/27/2022 15:37 Email    Heads Up ‐ I‐495 I‐270 FEIS Section 4(f) Evalua....pdf    .\VOL011\IMAGES\IMAGES005\00161201.pdf

00161202   00161202   1/27/2022 15:37 Email    Heads Up ‐ I‐495 I‐270 FEIS Section 4(f) Evaluation       .\VOL011\IMAGES\IMAGES005\00161202.pdf

00161203   00161203   1/27/2022 16:01 Email    FW: Heads Up ‐ I‐495 I‐270 FEIS Section 4(f) Evaluation .\VOL011\IMAGES\IMAGES005\00161203.pdf

00161204   00161205   1/27/2022 16:07 Email    FW: Review of MLS DEIS Agency Comments Response           .\VOL011\IMAGES\IMAGES005\00161204.pdf
                                               FW_ Review of MLS DEIS Agency Comments
00161206   00161207   1/27/2022 16:07 Email    Response.pdf                                              .\VOL011\IMAGES\IMAGES005\00161206.pdf
                                               EDC‐6 VPI Second Progress Report due 1‐28‐
00161208   00161209   1/27/2022 17:30 Attach   2022_MDOT SHA.docx                                        .\VOL011\IMAGES\IMAGES005\00161208.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                             Page 200 of 263

00161210   00161210    1/28/2022 7:23 Email    RE: Heads Up ‐ I‐495 I‐270 FEIS Section 4(f) Evaluation .\VOL011\IMAGES\IMAGES005\00161210.pdf
                                               RE: I‐495 & I‐270 MLS‐ Environmental Justice Outreach
00161211   00161216   1/28/2022 11:22 Email    Engagement                                              .\VOL011\IMAGES\IMAGES005\00161211.pdf
                                               More lanes on I‐95 won’t fix Virginia’s traffic woes,
00161217   00161219   1/28/2022 21:55 Email    VDOT says                                               .\VOL011\IMAGES\IMAGES005\00161217.pdf
00161220   00161223   1/29/2022 12:38 Email    Re: Op Lanes Maryland 2021 Review                       .\VOL011\IMAGES\IMAGES005\00161220.pdf
00161224   00161226   1/30/2022 16:20 Email    Fw: LOD on Plummers Island                              .\VOL011\IMAGES\IMAGES005\00161224.pdf
00161227   00161229   1/30/2022 19:29 Email    FW: LOD on Plummers Island                              .\VOL011\IMAGES\IMAGES005\00161227.pdf
00161230   00161230    1/31/2022 9:10 Email    FEIS Outline                                            .\VOL011\IMAGES\IMAGES005\00161230.pdf
00161231   00161239    1/31/2022 9:10 Attach   MLS FEIS_Outline_Draft_12‐2021.docx                     .\VOL011\IMAGES\IMAGES006\00161231.pdf
00161240   00161242   1/31/2022 10:27 Email    FW: 495 NB Signing ‐ GW Parkway                         .\VOL011\IMAGES\IMAGES006\00161240.pdf
00161243   00161244   1/31/2022 11:46 Email    FW: FEIS Outline                                        .\VOL011\IMAGES\IMAGES006\00161243.pdf
00161245   00161253   1/31/2022 11:46 Attach   MLS FEIS_Outline_Draft_12‐2021.docx                     .\VOL011\IMAGES\IMAGES006\00161245.pdf

00161254   00161254   1/31/2022 14:10 Email    FW: Heads Up ‐ I‐495 I‐270 FEIS Section 4(f) Evaluation .\VOL011\IMAGES\IMAGES006\00161254.pdf
00161255   00161256   1/31/2022 16:00 Attach   FEIS‐ROD Schedule_UPDATED 1‐24‐22.docx                  .\VOL011\IMAGES\IMAGES006\00161255.pdf
00161257   00161258   1/31/2022 16:29 Email    Capper Cramton/Clara Barton                             .\VOL011\IMAGES\IMAGES006\00161257.pdf
00161259   00161260   1/31/2022 16:29 Email    Capper Cramton/Clara Barton                             .\VOL011\IMAGES\IMAGES006\00161259.pdf
00161261   00161262   1/31/2022 17:19 Email    RE: call                                                .\VOL011\IMAGES\IMAGES006\00161261.pdf
                                               MLS FEIS_Outline_Draft_12‐2021 FHWA
00161263   00161271     2/1/2022 8:56 Attach   Reviewers.docx                                          .\VOL011\IMAGES\IMAGES006\00161263.pdf
00161272   00161272     2/1/2022 9:00 Email    Excerpt from Executive Summary                          .\VOL011\IMAGES\IMAGES006\00161272.pdf
00161273   00161275     2/1/2022 9:00 Attach   EXCERPT FROM EXECUTIVE SUMMARY.docx                     .\VOL011\IMAGES\IMAGES006\00161273.pdf
00161276   00161276     2/1/2022 9:41 Email    Town of Chevy Chase Comment #6                          .\VOL011\IMAGES\IMAGES006\00161276.pdf
                                               RE_ Review of MLS DEIS Agency Comments
00161277   00161278    2/2/2022 15:40 Email    Response.pdf                                            .\VOL011\IMAGES\IMAGES006\00161277.pdf
00161279   00161280    2/2/2022 16:27 Email    State Clearing House Comment #2                         .\VOL011\IMAGES\IMAGES006\00161279.pdf
                                               Fw: [EXTERNAL] letter of concerns for the
00161281   00161282    2/2/2022 17:45 Email    administrative record                                   .\VOL011\IMAGES\IMAGES006\00161281.pdf
                                               Natural Communities of Plummers Island,
00161283   00161283    2/2/2022 17:45 Attach   Montgomery County, Maryland.jpg                         .\VOL011\IMAGES\IMAGES006\00161283.pdf
                                               RE_ Review of MLS DEIS Agency Comments
00161284   00161285     2/3/2022 8:16 Email    Response(2).pdf                                         .\VOL011\IMAGES\IMAGES006\00161284.pdf
                                               WBFC Comments on MLS‐106_Att‐7_Jan‐
                                               2022_495_270_MLS_PROGRAMMATIC AGREEMENT
00161286   00161286     2/3/2022 8:32 Email    Draft 2                                                 .\VOL011\IMAGES\IMAGES006\00161286.pdf
                                               WBFC Comments on MLS‐106_Att‐7_Jan‐
                                               2022_495_270_MLS_PROGRAMMATIC AGREEMENT
00161287   00161287     2/3/2022 8:32 Email    Draft 2                                                 .\VOL011\IMAGES\IMAGES006\00161287.pdf
                                               Town of Chevy Chase and US Navy ‐ MLS DEIS Agency
00161288   00161288     2/3/2022 8:36 Email    Comments Response                                       .\VOL011\IMAGES\IMAGES006\00161288.pdf
                                               RE: [EXTERNAL] letter of concerns for the
00161289   00161291     2/3/2022 8:37 Email    administrative record                                   .\VOL011\IMAGES\IMAGES006\00161289.pdf
00161292   00161292     2/3/2022 8:37 Attach   NR_Impacts_Plummer.pdf                                  .\VOL011\IMAGES\IMAGES006\00161292.pdf
                                               FW: WBFC Comments on MLS‐106_Att‐7_Jan‐
                                               2022_495_270_MLS_PROGRAMMATIC AGREEMENT
00161293   00161293     2/3/2022 9:23 Email    Draft 2                                                 .\VOL011\IMAGES\IMAGES006\00161293.pdf

                                               Friends of Moses Hall CP Comments to I‐495 and I‐270
00161294   00161294    2/3/2022 11:07 Email    MLS Section 106 Materials and PA Second Draft        .\VOL011\IMAGES\IMAGES006\00161294.pdf

00161295   00161310    2/3/2022 11:07 Attach   FMH Comments on PA Draft_20220203 ‐ FINAL.pdf         .\VOL011\IMAGES\IMAGES006\00161295.pdf
                                               Friends of Moses Hall CP Comments to I‐495 and
00161311   00161311    2/3/2022 11:08 Email    ...(2).pdf                                            .\VOL011\IMAGES\IMAGES006\00161311.pdf

                                               Fwd: Friends of Moses Hall CP Comments to I‐495 and
00161312   00161313    2/3/2022 11:11 Email    I‐270 MLS Section 106 Materials and PA Second Draft   .\VOL011\IMAGES\IMAGES006\00161312.pdf
                                               Comments on Second Draft of Programmatic
                                               Agreement Implementing Section 106 of the National
                                               Historic Preservation Act for I‐495/I‐270 Managed
00161314   00161315    2/3/2022 12:52 Email    Lane Project                                          .\VOL011\IMAGES\IMAGES006\00161314.pdf
                                               Comment Letter Second Draft Programmatic
00161316   00161317    2/3/2022 12:52 Attach   Agreement Section 106 2.3.2022.pdf                    .\VOL011\IMAGES\IMAGES006\00161316.pdf
                                               RE_ I‐495 and I‐270 MLS Section 106 Materials,
00161318   00161320    2/3/2022 13:42 Email    ...(1).pdf                                            .\VOL011\IMAGES\IMAGES006\00161318.pdf
00161321   00161322    2/3/2022 14:24 Email    FW_ I‐495 MLS Study ‐ MHT Comments.pdf                .\VOL011\IMAGES\IMAGES006\00161321.pdf
00161323   00161324    2/3/2022 14:24 Email    FW: I‐495 MLS Study ‐ MHT Comments                    .\VOL011\IMAGES\IMAGES006\00161323.pdf
                                               CJCA Comment Letter on the Finding of No Adverse
00161325   00161325    2/3/2022 14:45 Email    Effect for Moses Hall and Cemetery                    .\VOL011\IMAGES\IMAGES006\00161325.pdf
                                               2022_2_3 CJCA Comment Letter on Finding of No
00161326   00161333    2/3/2022 14:45 Attach   Adverse Effect for Moses Hall and Cemetery.pdf        .\VOL011\IMAGES\IMAGES006\00161326.pdf
                                               CJCA Comment Letter on the Finding of No
00161334   00161334    2/3/2022 14:46 Email    Advers....pdf                                         .\VOL011\IMAGES\IMAGES006\00161334.pdf

                                               MNCPPC Cultural Resources Comments on Updated
00161335   00161335    2/3/2022 15:38 Email    Managed Lanes Section 106 & 2nd Draft PA              .\VOL011\IMAGES\IMAGES006\00161335.pdf

                                               MNCPPC Cultural Resources Comments on Updated
00161336   00161336    2/3/2022 15:38 Email    Managed Lanes Section 106 & 2nd Draft PA          .\VOL011\IMAGES\IMAGES006\00161336.pdf
                                               FW: [EXTERNAL] I‐495 and I‐270 MLS Section 106
                                               Materials, PA Second Draft, Comments Requested by
00161337   00161339    2/3/2022 15:57 Email    February 3, 2022                                  .\VOL011\IMAGES\IMAGES006\00161337.pdf
                                               20220104 I495 & I270 MLS PA Draft #2 NPS Comments
00161340   00161340    2/3/2022 15:57 Attach   (1).xlsx                                          .\VOL011\IMAGES\IMAGES006\00161340.pdf          .\VOL011\NATIVES\NATIVES006\00161340.xlsx
                                               FW_ [EXTERNAL] I‐495 and I‐270 MLS Section 106
00161341   00161343    2/3/2022 15:58 Email    ....pdf                                           .\VOL011\IMAGES\IMAGES006\00161341.pdf

00161344   00161344    2/3/2022 15:58 Attach   20220104 I495 & I270 MLS PA Draft #2 NPS Comm.xlsx .\VOL011\IMAGES\IMAGES006\00161344.pdf         .\VOL011\NATIVES\NATIVES006\00161344.xlsx

00161345   00161345    2/3/2022 16:21 Email    RE: archeology site form for Morningstar Cemetery     .\VOL011\IMAGES\IMAGES006\00161345.pdf

00161346   00161346    2/3/2022 16:23 Email    RE: archeology site form for Morningstar Cemetery     .\VOL011\IMAGES\IMAGES006\00161346.pdf
00161347   00161356    2/3/2022 16:23 Attach   !Morningstar Site Form.doc                            .\VOL011\IMAGES\IMAGES006\00161347.pdf
00161357   00161359    2/3/2022 16:27 Email    RE: De Minimis Findings                               .\VOL011\IMAGES\IMAGES006\00161357.pdf
                                               Section 4f de minimis Request for Public
00161360   00161361    2/3/2022 16:27 Attach   Comment_Gaithersburg.docx                             .\VOL011\IMAGES\IMAGES006\00161360.pdf
                                               Maryland Sierra Club I‐495 & I‐270 MLS Section 106
00161362   00161362    2/3/2022 16:59 Email    Comments, 2/3/2022                                    .\VOL011\IMAGES\IMAGES006\00161362.pdf
                                               Re: Maryland Sierra Club I‐495 & I‐270 MLS Section
00161363   00161363    2/3/2022 17:04 Email    106 Comments, 2/3/2022                                .\VOL011\IMAGES\IMAGES006\00161363.pdf
                                               Section 106 Comments on I‐495 and I‐270 Managed
00161364   00161364     2/4/2022 0:09 Email    Lanes Study                                           .\VOL011\IMAGES\IMAGES006\00161364.pdf
                                               FW: Section 106 Comments on I‐495 and I‐270
00161365   00161365     2/4/2022 0:29 Email    Managed Lanes Study                                   .\VOL011\IMAGES\IMAGES006\00161365.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                           Page 201 of 263

                                              FW: Section 106 Comments on I‐495 and I‐270
00161366   00161366    2/4/2022 0:33 Email    Managed Lanes Study                                   .\VOL011\IMAGES\IMAGES006\00161366.pdf
                                              NTHP Section 106 comments on Morningstar
00161367   00161370    2/4/2022 0:33 Attach   Tabernacle No. 88 ‐ Feb 3 2022.pdf                    .\VOL011\IMAGES\IMAGES006\00161367.pdf
                                              National Trust comments on SDEIS‐4f Eval. for I‐495
00161371   00161374    2/4/2022 0:33 Attach   and I‐270 ‐ Nov 30 2021.pdf                           .\VOL011\IMAGES\IMAGES006\00161371.pdf
                                              FW_ Section 106 Comments on I‐495 and I‐270
00161375   00161375    2/4/2022 0:33 Email    Man....pdf                                            .\VOL011\IMAGES\IMAGES006\00161375.pdf
00161376   00161376    2/4/2022 8:25 Email    FW: FHWA SMEs For Admn FEIS Review                    .\VOL011\IMAGES\IMAGES006\00161376.pdf

                                              NEW‐ MNCPPC Cultural Resources Comments on
00161377   00161378    2/4/2022 9:03 Email    Updated Managed Lanes Section 106 & 2nd Draft PA      .\VOL011\IMAGES\IMAGES006\00161377.pdf
                                              MNCPPC Section 106 and PA Comments_Feb 4
00161379   00161383    2/4/2022 9:03 Attach   2022.docx                                             .\VOL011\IMAGES\IMAGES006\00161379.pdf

                                              NEW‐ MNCPPC Cultural Resources Comments on
00161384   00161385    2/4/2022 9:03 Email    Updated Managed Lanes Section 106 & 2nd Draft PA .\VOL011\IMAGES\IMAGES006\00161384.pdf
                                              FW: archeology site form for Morningstar Cemetery ‐
00161386   00161388   2/4/2022 10:18 Email    Site No.18MO782                                     .\VOL011\IMAGES\IMAGES006\00161386.pdf
00161389   00161398   2/4/2022 10:18 Attach   18MO782.doc                                         .\VOL011\IMAGES\IMAGES006\00161389.pdf
00161399   00161413   2/4/2022 10:18 Attach   18MO782.pdf                                         .\VOL011\IMAGES\IMAGES006\00161399.pdf
00161414   00161414   2/4/2022 11:17 Email    FW: FHWA SMEs For Admn FEIS Review                  .\VOL011\IMAGES\IMAGES006\00161414.pdf
00161415   00161416   2/4/2022 12:03 Email    RE: FHWA SMEs For Admn FEIS Review                  .\VOL011\IMAGES\IMAGES006\00161415.pdf
                                              MLS FEIS_Outline_Draft_12‐2021 FHWA Reviewers_JM
00161417   00161425   2/4/2022 12:03 Attach   JP.docx                                             .\VOL011\IMAGES\IMAGES006\00161417.pdf
00161426   00161427   2/4/2022 12:08 Email    RE: FHWA SMEs For Admn FEIS Review                  .\VOL011\IMAGES\IMAGES006\00161426.pdf
                                              MHT Comments on I‐495 and I‐270 Managed Lanes
00161428   00161428   2/4/2022 13:10 Email    Study                                               .\VOL011\IMAGES\IMAGES006\00161428.pdf
00161429   00161433   2/4/2022 13:10 Attach   I495 MLS ID and Effects 202200050.docx              .\VOL011\IMAGES\IMAGES006\00161429.pdf
                                              MHT Comments on I‐495 and I‐270 Managed Lanes
00161434   00161434   2/4/2022 13:10 Email    Study                                               .\VOL011\IMAGES\IMAGES006\00161434.pdf
                                              MHT Comments on I‐495 and I‐270 Managed Lanes
00161435   00161435   2/4/2022 13:10 Email    Study                                               .\VOL011\IMAGES\IMAGES006\00161435.pdf
                                              MHT Comments on I‐495 and I‐270 Managed Lanes
00161436   00161436   2/4/2022 13:11 Email    S....pdf                                            .\VOL011\IMAGES\IMAGES006\00161436.pdf
                                              Re: MHT Comments on I‐495 and I‐270 Managed Lanes
00161437   00161438   2/4/2022 13:15 Email    Study                                               .\VOL011\IMAGES\IMAGES006\00161437.pdf
                                              Re: MHT Comments on I‐495 and I‐270 Managed Lanes
00161439   00161440   2/4/2022 13:15 Email    Study                                               .\VOL011\IMAGES\IMAGES006\00161439.pdf
                                              Re: MHT Comments on I‐495 and I‐270 Managed Lanes
00161441   00161442   2/4/2022 13:15 Email    Study                                               .\VOL011\IMAGES\IMAGES006\00161441.pdf
                                              Re_ MHT Comments on I‐495 and I‐270 Managed
00161443   00161444   2/4/2022 13:16 Email    Lan....pdf                                          .\VOL011\IMAGES\IMAGES006\00161443.pdf
                                              FW: MHT Comments on I‐495 and I‐270 Managed
00161445   00161446   2/4/2022 13:26 Email    Lanes Study                                         .\VOL011\IMAGES\IMAGES006\00161445.pdf
00161447   00161447   2/4/2022 14:26 Email    MLS Administrative Draft FEIS Submittal to NPS      .\VOL011\IMAGES\IMAGES006\00161447.pdf

00161448   00161448   2/4/2022 14:26 Email    MLS Administrative Draft FEIS Submittal to USACE      .\VOL011\IMAGES\IMAGES006\00161448.pdf
00161449   00161449   2/4/2022 14:26 Email    MLS Administrative Draft FEIS Submittal to EPA        .\VOL011\IMAGES\IMAGES006\00161449.pdf
                                              FW: WBFC Comments on MLS‐106_Att‐7_Jan‐
                                              2022_495_270_MLS_PROGRAMMATIC AGREEMENT
00161450   00161450   2/4/2022 15:25 Email    Draft 2                                               .\VOL011\IMAGES\IMAGES006\00161450.pdf

                                              FW: Friends of Moses Hall CP Comments to I‐495 and I‐
00161451   00161451   2/4/2022 15:25 Email    270 MLS Section 106 Materials and PA Second Draft     .\VOL011\IMAGES\IMAGES006\00161451.pdf
                                              FW: CJCA Comment Letter on the Finding of No
00161452   00161452   2/4/2022 15:26 Email    Adverse Effect for Moses Hall and Cemetery            .\VOL011\IMAGES\IMAGES006\00161452.pdf
                                              FW: Section 106 Comments on I‐495 and I‐270
00161453   00161454   2/4/2022 15:26 Email    Managed Lanes Study                                   .\VOL011\IMAGES\IMAGES006\00161453.pdf
                                              FW: MHT Comments on I‐495 and I‐270 Managed
00161455   00161456   2/4/2022 15:26 Email    Lanes Study                                           .\VOL011\IMAGES\IMAGES006\00161455.pdf
                                              RE: Montgomery County MLS ROE Agreement
00161457   00161457   2/4/2022 16:10 Email    Amended Language (Boundary Survey)                    .\VOL011\IMAGES\IMAGES006\00161457.pdf
                                              Mo. Co. Gov. Limited Access Agreement ‐ I‐495 and I‐
00161458   00161462   2/4/2022 16:10 Attach   270 Managed Lanes Survey.2‐2‐22.pdf                   .\VOL011\IMAGES\IMAGES006\00161458.pdf
                                              20220125_JPA and WQC
00161463   00161468   2/4/2022 16:11 Attach   Review_MeetingMinutes_FINAL.pdf                       .\VOL011\IMAGES\IMAGES006\00161463.pdf
                                              USACE Review Requested‐ I‐495 & I‐270 Administrative
00161469   00161470   2/4/2022 16:18 Email    Draft FEIS                                            .\VOL011\IMAGES\IMAGES006\00161469.pdf
00161471   00161482   2/4/2022 16:18 Attach   USACE_DEIS Comments & Responses.pdf                   .\VOL011\IMAGES\IMAGES006\00161471.pdf
00161483   00161485   2/4/2022 16:18 Attach   USACE_SDEIS Comments & Responses.pdf                  .\VOL011\IMAGES\IMAGES006\00161483.pdf
                                              NPS Review Requested: I‐495 & I‐270 MLS
00161486   00161487   2/4/2022 16:18 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161486.pdf

00161488   00161512   2/4/2022 16:18 Attach   DOI_NPS & USFWS_DEIS Comments & Responses.pdf         .\VOL011\IMAGES\IMAGES006\00161488.pdf
00161513   00161525   2/4/2022 16:18 Attach   DOI_SDEIS Comments & Responses.pdf                    .\VOL011\IMAGES\IMAGES006\00161513.pdf
                                              VDOT Review Requested: I‐495 & I‐270 MLS
00161526   00161527   2/4/2022 16:18 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161526.pdf
00161528   00161529   2/4/2022 16:18 Attach   VDOT_DEIS Comments & Responses.pdf                    .\VOL011\IMAGES\IMAGES006\00161528.pdf
                                              NPS Review Requested: I‐495 & I‐270 MLS
00161530   00161531   2/4/2022 16:18 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161530.pdf
                                              EPA Review Requested: I‐495 & I‐270 MLS
00161532   00161533   2/4/2022 16:19 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161532.pdf
00161534   00161548   2/4/2022 16:19 Attach   EPA_DEIS Comments & Responses.pdf                     .\VOL011\IMAGES\IMAGES006\00161534.pdf
00161549   00161554   2/4/2022 16:19 Attach   EPA_SDEIS Comments & Responses.pdf                    .\VOL011\IMAGES\IMAGES006\00161549.pdf
                                              MDE Review Requested: I‐495 & I‐270 MLS
00161555   00161556   2/4/2022 16:19 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161555.pdf
00161557   00161602   2/4/2022 16:19 Attach   MDE_DEIS Comments & Responses.pdf                     .\VOL011\IMAGES\IMAGES006\00161557.pdf
00161603   00161606   2/4/2022 16:19 Attach   MDE_SDEIS Comments & Responses.pdf                    .\VOL011\IMAGES\IMAGES006\00161603.pdf
                                              M‐NCPPC Review Requested: I‐495 & I‐270 MLS
00161607   00161608   2/4/2022 16:19 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161607.pdf
                                              EPA Review Requested: I‐495 & I‐270 MLS
00161609   00161610   2/4/2022 16:19 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161609.pdf
00161611   00161616   2/4/2022 16:19 Attach   EPA_SDEIS Comments & Responses.pdf                    .\VOL011\IMAGES\IMAGES006\00161611.pdf
                                              EPA Review Requested: I‐495 & I‐270 MLS
00161617   00161618   2/4/2022 16:19 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161617.pdf
                                              FHWA Review Requested: I‐495 & I‐270 MLS
00161619   00161621   2/4/2022 16:20 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161619.pdf
                                              FHWA Review Requested: I‐495 & I‐270 MLS
00161622   00161623   2/4/2022 16:20 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161622.pdf
                                              RE: USACE Review Requested‐ I‐495 & I‐270
00161624   00161626   2/4/2022 17:30 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161624.pdf
                                              RE: USACE Review Requested‐ I‐495 & I‐270
00161627   00161629   2/4/2022 17:30 Email    Administrative Draft FEIS                             .\VOL011\IMAGES\IMAGES006\00161627.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                    Filed 05/03/23                           Page 202 of 263

                                              RE: USACE Review Requested‐ I‐495 & I‐270
00161630   00161632   2/4/2022 17:30 Email    Administrative Draft FEIS                                .\VOL011\IMAGES\IMAGES006\00161630.pdf
                                              RE: USACE Review Requested‐ I‐495 & I‐270
00161633   00161635   2/4/2022 17:30 Email    Administrative Draft FEIS                                .\VOL011\IMAGES\IMAGES006\00161633.pdf
00161636   00161708   2/4/2022 17:47 Edoc     MLS_FEIS_AppH_Final VIA_02‐04‐2022.pdf                   .\VOL011\IMAGES\IMAGES006\00161636.pdf
                                              MLS_FEIS_AppD_FinalCompensatory Stormwater
00161709   00162114   2/4/2022 17:51 Edoc     Mitigation Plan_02‐04‐2022.pdf                           .\VOL011\IMAGES\IMAGES006\00161709.pdf
                                              Appendix F_Part1 ‐ Conceptual Guide Signing Plan,
00162115   00162126   2/4/2022 19:09 Edoc     Part 1.pdf                                               .\VOL011\IMAGES\IMAGES006\00162115.pdf
                                              Appendix F_Part2 ‐ Conceptual Guide Signing Plan,
00162127   00162139   2/4/2022 19:13 Edoc     Part 2.pdf                                               .\VOL011\IMAGES\IMAGES006\00162127.pdf
                                              Appendix F_Part3 ‐ Conceptual Guide Signing Plan,
00162140   00162142   2/4/2022 19:22 Edoc     Part 3.pdf                                               .\VOL011\IMAGES\IMAGES006\00162140.pdf
00162143   00163337   2/4/2022 19:26 Edoc     Appendix I ‐ Synchro Analysis.pdf                        .\VOL011\IMAGES\IMAGES006\00162143.pdf
00163338   00163338   2/6/2022 12:41 Email    Link of FEIS Chapters in OneDrive                        .\VOL011\IMAGES\IMAGES006\00163338.pdf

                                              FW: Friends of Moses Hall CP Comments to I‐495 and I‐
00163339   00163339    2/7/2022 6:30 Email    270 MLS Section 106 Materials and PA Second Draft     .\VOL011\IMAGES\IMAGES006\00163339.pdf
00163340   00163341    2/7/2022 6:53 Email    Next steps for MLS ‐ SHPO non‐concurrence.pdf         .\VOL011\IMAGES\IMAGES006\00163340.pdf
00163342   00163343    2/7/2022 6:53 Email    Next steps for MLS ‐ SHPO non‐concurrence             .\VOL011\IMAGES\IMAGES006\00163342.pdf
                                              FW: CJCA Comment Letter on the Finding of No
00163344   00163345   2/7/2022 10:07 Email    Adverse Effect for Moses Hall and Cemetery            .\VOL011\IMAGES\IMAGES006\00163344.pdf
00163346   00163346   2/7/2022 10:27 Email    FW: MD 495 EIS and OST                                .\VOL011\IMAGES\IMAGES006\00163346.pdf
00163347   00163348   2/7/2022 10:30 Email    FW: MD 495 EIS and OST                                .\VOL011\IMAGES\IMAGES006\00163347.pdf
00163349   00163350   2/7/2022 10:35 Email    RE: MD 495 EIS and OST                                .\VOL011\IMAGES\IMAGES006\00163349.pdf
                                              FW: MHT Comments on I‐495 and I‐270 Managed
00163351   00163352   2/7/2022 10:38 Email    Lanes Study                                           .\VOL011\IMAGES\IMAGES006\00163351.pdf
00163353   00163354   2/7/2022 10:45 Email    RE: Next steps for MLS ‐ SHPO non‐concurrence         .\VOL011\IMAGES\IMAGES006\00163353.pdf
00163355   00163357   2/7/2022 10:49 Email    RE: Next steps for MLS ‐ SHPO non‐concurrence         .\VOL011\IMAGES\IMAGES006\00163355.pdf
00163358   00163360   2/7/2022 12:13 Email    RE: Next steps for MLS ‐ SHPO non‐concurrence         .\VOL011\IMAGES\IMAGES006\00163358.pdf
                                              Re: [EXTERNAL] NPS Review Requested: I‐495 & I‐270
00163361   00163363   2/7/2022 13:31 Email    MLS Administrative Draft FEIS                         .\VOL011\IMAGES\IMAGES006\00163361.pdf
00163364   00163365   2/7/2022 14:04 Email    FW: MLS Administrative FEIS for your Review           .\VOL011\IMAGES\IMAGES006\00163364.pdf
                                              FW: MHT Comments on I‐495 and I‐270 Managed
00163366   00163367   2/7/2022 14:41 Email    Lanes Study                                           .\VOL011\IMAGES\IMAGES006\00163366.pdf
                                              FHWA Review_ I‐495 & I‐270 Managed Lanes Study
00163368   00163369   2/7/2022 14:51 Email    ....pdf                                               .\VOL011\IMAGES\IMAGES006\00163368.pdf
                                              Requesting Review of MLS Administrative FEIS and
00163370   00163370   2/7/2022 14:56 Email    Appendices                                            .\VOL011\IMAGES\IMAGES006\00163370.pdf

00163371   00163372   2/7/2022 14:57 Email    Requesting Review of MLS Administrative FEIS an....pdf .\VOL011\IMAGES\IMAGES006\00163371.pdf
                                              Requesting Review of MLS Administrative FEIS ‐ Tolling
00163373   00163373   2/7/2022 15:15 Email    sections                                               .\VOL011\IMAGES\IMAGES006\00163373.pdf
                                              I‐495/I‐270 MLS administrative draft FEIS for your
00163374   00163374   2/7/2022 15:18 Email    Review                                                 .\VOL011\IMAGES\IMAGES006\00163374.pdf
                                              I‐495/I‐270 MLS administrative draft FEIS for your
00163375   00163375   2/7/2022 15:19 Email    Review                                                 .\VOL011\IMAGES\IMAGES006\00163375.pdf
                                              I‐495/I‐270 MLS administrative draft FEIS for your
00163376   00163376   2/7/2022 15:20 Email    Review                                                 .\VOL011\IMAGES\IMAGES006\00163376.pdf

00163377   00163378   2/7/2022 15:22 Email    I 495_I‐270 MLS administrative draft FEIS for y....pdf   .\VOL011\IMAGES\IMAGES006\00163377.pdf
                                              I 495/I‐270 MLS administrative draft FEIS for your
00163379   00163379   2/7/2022 15:22 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163379.pdf
                                              I‐495/I‐270 MLS administrative draft FEIS for your
00163380   00163380   2/7/2022 15:23 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163380.pdf
                                              I‐495/I‐270 MLS administrative draft FEIS for your
00163381   00163381   2/7/2022 15:24 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163381.pdf

00163382   00163383   2/7/2022 15:24 Email    I‐495_I‐270 MLS administrative draft FEIS for y....pdf   .\VOL011\IMAGES\IMAGES006\00163382.pdf
                                              I‐495/I‐270 MLS administrative draft FEIS for your
00163384   00163385   2/7/2022 15:25 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163384.pdf
                                              I‐495/I‐270 MLS administrative draft FEIS for your
00163386   00163386   2/7/2022 15:27 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163386.pdf
                                              I‐495/I‐270 MLS administrative draft FEIS for your
00163387   00163388   2/7/2022 15:28 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163387.pdf
                                              20211027‐
00163389   00163391   2/7/2022 15:29 Attach   ConceptRoadwayPlans_PhaseSouthB_Add3.pdf                 .\VOL011\IMAGES\IMAGES006\00163389.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163392   00163393   2/7/2022 15:35 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163392.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163394   00163395   2/7/2022 15:40 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163394.pdf
                                              FHWA Review_ I‐495 & I‐270 Managed Lanes Study
00163396   00163397   2/7/2022 15:51 Email    ...(1).pdf                                               .\VOL011\IMAGES\IMAGES006\00163396.pdf
                                              RE: Requesting Review of MLS Administrative FEIS ‐
00163398   00163398   2/7/2022 15:58 Email    Tolling sections                                         .\VOL011\IMAGES\IMAGES006\00163398.pdf
                                              RE: Requesting Review of MLS Administrative FEIS ‐
00163399   00163400   2/7/2022 16:06 Email    Tolling sections                                         .\VOL011\IMAGES\IMAGES006\00163399.pdf
00163401   00163404   2/7/2022 16:30 Email    FW: Next steps for MLS ‐ SHPO non‐concurrence            .\VOL011\IMAGES\IMAGES006\00163401.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163405   00163406   2/7/2022 16:46 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163405.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163407   00163408   2/7/2022 16:49 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163407.pdf
                                              FW: I‐495/I‐270 MLS administrative draft FEIS for your
00163409   00163410   2/7/2022 17:03 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163409.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163411   00163412    2/8/2022 6:59 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163411.pdf
00163413   00163414    2/8/2022 7:21 Email    FW: call                                                 .\VOL011\IMAGES\IMAGES006\00163413.pdf
00163415   00163416    2/8/2022 7:21 Email    RE: call                                                 .\VOL011\IMAGES\IMAGES006\00163415.pdf
00163417   00163418    2/8/2022 7:22 Email    FW: call                                                 .\VOL011\IMAGES\IMAGES006\00163417.pdf
00163419   00163420    2/8/2022 7:28 Email    RE: MLS Administrative FEIS for your Review              .\VOL011\IMAGES\IMAGES006\00163419.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163421   00163422    2/8/2022 8:23 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163421.pdf
00163423   00163424    2/8/2022 8:29 Email    FW: 4(f) DOI Coordination                                .\VOL011\IMAGES\IMAGES006\00163423.pdf
                                              RE: Requesting Review of MLS Administrative FEIS and
00163425   00163426    2/8/2022 8:48 Email    Appendices                                               .\VOL011\IMAGES\IMAGES006\00163425.pdf
00163427   00163428    2/8/2022 9:06 Email    RE: MLS Administrative FEIS                              .\VOL011\IMAGES\IMAGES006\00163427.pdf
00163429   00163431    2/8/2022 9:20 Email    FW: MLS Administrative FEIS                              .\VOL011\IMAGES\IMAGES006\00163429.pdf
00163432   00163434    2/8/2022 9:20 Email    FW: MLS Administrative FEIS                              .\VOL011\IMAGES\IMAGES006\00163432.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163435   00163436    2/8/2022 9:53 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163435.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163437   00163438   2/8/2022 10:03 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163437.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163439   00163440   2/8/2022 10:17 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163439.pdf
00163441   00163442   2/8/2022 10:49 Email    MLS‐ Action Items                                        .\VOL011\IMAGES\IMAGES006\00163441.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 203 of 263

00163443   00163444    2/8/2022 10:52 Email    FW: MLS‐ Action Items                                    .\VOL011\IMAGES\IMAGES006\00163443.pdf
                                               FW: Section 106 Comments on I‐495 and I‐270
00163445   00163446    2/8/2022 11:29 Email    Managed Lanes Study                                      .\VOL011\IMAGES\IMAGES006\00163445.pdf
                                               Fw: Section 106 Comments on I‐495 and I‐270
00163447   00163447    2/8/2022 11:35 Email    Managed Lanes Study                                      .\VOL011\IMAGES\IMAGES006\00163447.pdf
                                               Fw: Section 106 Comments on I‐495 and I‐270
00163448   00163448    2/8/2022 11:35 Email    Managed Lanes Study                                      .\VOL011\IMAGES\IMAGES006\00163448.pdf
                                               Maryland Sierra Club I‐495 & I‐270 MLS Section 106
00163449   00163449    2/8/2022 13:26 Email    Comments of Feb. 3, 2022                                 .\VOL011\IMAGES\IMAGES006\00163449.pdf

00163450   00163450    2/8/2022 13:27 Email    Maryland Sierra Club I‐495 & I‐270 MLS Section ....pdf .\VOL011\IMAGES\IMAGES006\00163450.pdf

00163451   00163460    2/8/2022 13:27 Attach   MDSierraClub‐Section106Comments‐3Feb2022.pdf        .\VOL011\IMAGES\IMAGES006\00163451.pdf
                                               Wanted: Exception Leader for an Exceptional
                                               Opportunity ‐ Ohio Division Director of Program
00163461   00163461    2/8/2022 13:44 Email    Development GS‐2101‐14                              .\VOL011\IMAGES\IMAGES006\00163461.pdf
                                               Re: Zoom invitation to MCA Transportation Committee
00163462   00163465    2/8/2022 14:46 Email    meeting                                             .\VOL011\IMAGES\IMAGES006\00163462.pdf
                                               2022‐02‐08 McLean Citizens Assn VDOT Presentation‐
00163466   00163479    2/8/2022 14:46 Attach   Final.pdf                                           .\VOL011\IMAGES\IMAGES006\00163466.pdf

00163480   00163495    2/8/2022 14:46 Attach   2022‐02‐08 MCA Maryland Presentation_FINAL.pdf           .\VOL011\IMAGES\IMAGES006\00163480.pdf
00163496   00163497    2/8/2022 15:47 Email    Re: [EXTERNAL] MLS‐ Action Items                         .\VOL011\IMAGES\IMAGES006\00163496.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163498   00163499    2/8/2022 16:04 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163498.pdf
                                               2021‐05‐04_FHWA Coordination Meeting
00163500   00163503    2/8/2022 16:04 Attach   Notes_MLS.docx                                           .\VOL011\IMAGES\IMAGES006\00163500.pdf
                                               2021‐05‐18_FHWA Coordination Meeting
00163504   00163506    2/8/2022 16:04 Attach   Notes_MLS.pdf                                            .\VOL011\IMAGES\IMAGES006\00163504.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163507   00163508    2/8/2022 16:04 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163507.pdf
                                               Copy of SDEIS FHWA Comment Response Table‐9‐10‐
00163509   00163509    2/8/2022 16:04 Attach   2021 (003).xlsx                                          .\VOL011\IMAGES\IMAGES006\00163509.pdf    .\VOL011\NATIVES\NATIVES006\00163509.xlsx
00163510   00163512    2/8/2022 16:04 Attach   FW: Noise Analysis                                       .\VOL011\IMAGES\IMAGES006\00163510.pdf
00163513   00163515    2/8/2022 16:04 Attach   RE: Noise Analysis                                       .\VOL011\IMAGES\IMAGES006\00163513.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163516   00163517    2/8/2022 16:15 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00163516.pdf
00163518   00163520    2/8/2022 17:45 Email    Re: [EXTERNAL] MLS‐ Action Items                         .\VOL011\IMAGES\IMAGES006\00163518.pdf

00163521   00163521    2/8/2022 22:34 Email    request to be included in Section 106 consultat....pdf   .\VOL011\IMAGES\IMAGES006\00163521.pdf
00163522   00163525    2/8/2022 22:34 Attach   CCA to MDDOT on Bridge ‐ 11‐29‐2021.pdf                  .\VOL011\IMAGES\IMAGES006\00163522.pdf

                                               request to be included in Section 106 consultation on I‐
00163526   00163526    2/8/2022 22:34 Email    495 and I‐270 Managed Lanes Study                        .\VOL011\IMAGES\IMAGES006\00163526.pdf

                                               FW: request to be included in Section 106 consultation
00163527   00163528     2/9/2022 6:31 Email    on I‐495 and I‐270 Managed Lanes Study                 .\VOL011\IMAGES\IMAGES006\00163527.pdf
00163529   00163530     2/9/2022 7:00 Email    RE: NOI Call                                           .\VOL011\IMAGES\IMAGES006\00163529.pdf
00163531   00163533     2/9/2022 8:16 Email    Re: [EXTERNAL] MLS‐ Action Items                       .\VOL011\IMAGES\IMAGES006\00163531.pdf
00163534   00163537     2/9/2022 8:30 Email    Re: [EXTERNAL] MLS‐ Action Items                       .\VOL011\IMAGES\IMAGES006\00163534.pdf
                                               RE: [EXTERNAL] Re: I‐495 & I‐270 MLS‐ Final Mitigation
00163538   00163542     2/9/2022 9:40 Email    Plan                                                   .\VOL011\IMAGES\IMAGES006\00163538.pdf
00163543   00163543    2/9/2022 10:17 Email    FW: DOI Comments SDEIS Managed Lanes                   .\VOL011\IMAGES\IMAGES006\00163543.pdf
00163544   00163544    2/9/2022 13:33 Email    I 495_270 Project Info Needed.pdf                      .\VOL011\IMAGES\IMAGES006\00163544.pdf
00163545   00163546    2/9/2022 13:59 Email    RE: MLS Administrative FEIS for your Review            .\VOL011\IMAGES\IMAGES006\00163545.pdf
                                               RE: EPA Review Requested: I‐495 & I‐270 MLS
00163547   00163549    2/9/2022 15:17 Email    Administrative Draft FEIS                              .\VOL011\IMAGES\IMAGES006\00163547.pdf
                                               RE: EPA Review Requested: I‐495 & I‐270 MLS
00163550   00163552    2/9/2022 15:17 Email    Administrative Draft FEIS                              .\VOL011\IMAGES\IMAGES006\00163550.pdf
                                               FW: Section 106 Comments on I‐495 and I‐270
00163553   00163554    2/9/2022 15:45 Email    Managed Lanes Study                                    .\VOL011\IMAGES\IMAGES006\00163553.pdf
00163555   00163557    2/9/2022 15:49 Email    RE_ I495_270 Project Info Needed.pdf                   .\VOL011\IMAGES\IMAGES006\00163555.pdf

00163558   00163559    2/9/2022 16:18 Email    1941‐ Capper Cramton Administrative Agreement            .\VOL011\IMAGES\IMAGES006\00163558.pdf
                                               Re: [EXTERNAL] 1941‐ Capper Cramton Administrative
00163560   00163561    2/9/2022 17:18 Email    Agreement                                                .\VOL011\IMAGES\IMAGES006\00163560.pdf
                                               Underlying Agreement with NCP&PC and MNCP&PC
00163562   00163587    2/9/2022 17:18 Attach   10 01 1941.pdf                                           .\VOL011\IMAGES\IMAGES006\00163562.pdf
00163588   00163590    2/9/2022 17:19 Email    Re: [EXTERNAL] Capper Cramton/Clara Barton               .\VOL011\IMAGES\IMAGES006\00163588.pdf
00163591   00163592    2/9/2022 17:19 Email    Re: [EXTERNAL] Capper Cramton/Clara Barton               .\VOL011\IMAGES\IMAGES006\00163591.pdf

                                               Re: request to be included in Section 106 consultation
00163593   00163594    2/9/2022 18:15 Email    on I‐495 and I‐270 Managed Lanes Study                 .\VOL011\IMAGES\IMAGES006\00163593.pdf

                                               Re: request to be included in Section 106 consultation
00163595   00163596    2/10/2022 6:31 Email    on I‐495 and I‐270 Managed Lanes Study                 .\VOL011\IMAGES\IMAGES006\00163595.pdf
00163597   00163598    2/10/2022 9:12 Email    RE: MLS Administrative FEIS for your Review            .\VOL011\IMAGES\IMAGES006\00163597.pdf
                                               RE: I‐495 & I‐270 MLS‐ Environmental Justice Outreach
00163599   00163604    2/10/2022 9:26 Email    Engagement                                             .\VOL011\IMAGES\IMAGES006\00163599.pdf
00163605   00163605    2/10/2022 9:29 Email    draft DOI discussion.pdf                               .\VOL011\IMAGES\IMAGES006\00163605.pdf
00163606   00163606   2/10/2022 10:29 Email    draft DOI discussion                                   .\VOL011\IMAGES\IMAGES006\00163606.pdf
00163607   00163607   2/10/2022 12:28 Email    DOI coordination.pdf                                   .\VOL011\IMAGES\IMAGES006\00163607.pdf
00163608   00163610   2/10/2022 13:15 Email    FW: [EXTERNAL] Capper Cramton/Clara Barton             .\VOL011\IMAGES\IMAGES006\00163608.pdf
00163611   00163614   2/10/2022 13:20 Email    Re: [EXTERNAL] MLS‐ Action Items                       .\VOL011\IMAGES\IMAGES006\00163611.pdf
00163615   00163615   2/10/2022 13:28 Email    DOI coordination                                       .\VOL011\IMAGES\IMAGES006\00163615.pdf
00163616   00163620   2/10/2022 13:33 Email    RE: [EXTERNAL] MLS‐ Action Items                       .\VOL011\IMAGES\IMAGES006\00163616.pdf
00163621   00163625   2/10/2022 13:33 Email    RE: [EXTERNAL] MLS‐ Action Items                       .\VOL011\IMAGES\IMAGES006\00163621.pdf
00163626   00163628   2/10/2022 14:31 Email    Re: [EXTERNAL] Capper Cramton/Clara Barton             .\VOL011\IMAGES\IMAGES006\00163626.pdf
                                               RE: EPA Review Requested: I‐495 & I‐270 MLS
00163629   00163632   2/10/2022 15:15 Email    Administrative Draft FEIS                              .\VOL011\IMAGES\IMAGES006\00163629.pdf
                                               RE: EPA Review Requested: I‐495 & I‐270 MLS
00163633   00163636   2/10/2022 15:15 Email    Administrative Draft FEIS                              .\VOL011\IMAGES\IMAGES006\00163633.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00163637   00163638   2/10/2022 15:36 Email    St...(21).pdf                                          .\VOL011\IMAGES\IMAGES006\00163637.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00163639   00163640   2/10/2022 15:36 Email    Maryland IAPA due 03/04/22                             .\VOL011\IMAGES\IMAGES006\00163639.pdf
                                               2022.01.25_Upcoming FHWA Review_ I‐495 & I‐270
00163641   00163641   2/10/2022 15:38 Edoc     Managed Lanes Study ‐ Maryland IAPA.pdf                .\VOL011\IMAGES\IMAGES006\00163641.pdf

                                               2022.02.07_FHWA Review_ I‐495 & I‐270 Managed
00163642   00163643   2/10/2022 15:39 Edoc     Lanes Study ‐ Maryland IAPA due 03_04_22.pdf             .\VOL011\IMAGES\IMAGES006\00163642.pdf
                                               RE: EPA Review Requested: I‐495 & I‐270 MLS
00163644   00163648   2/10/2022 15:46 Email    Administrative Draft FEIS                                .\VOL011\IMAGES\IMAGES006\00163644.pdf
                                               RE: EPA Review Requested: I‐495 & I‐270 MLS
00163649   00163653   2/10/2022 15:46 Email    Administrative Draft FEIS                                .\VOL011\IMAGES\IMAGES006\00163649.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 204 of 263

                                               RE: EPA Review Requested: I‐495 & I‐270 MLS
00163654   00163658   2/10/2022 15:46 Email    Administrative Draft FEIS                              .\VOL011\IMAGES\IMAGES006\00163654.pdf
00163659   00163660   2/10/2022 16:19 Email    FW: Revised FEIS Schedule                              .\VOL011\IMAGES\IMAGES006\00163659.pdf
00163661   00163662   2/10/2022 16:19 Attach   FEIS‐ROD Schedule_UPDATED 1‐24‐22.docx                 .\VOL011\IMAGES\IMAGES006\00163661.pdf
00163663   00163664    2/11/2022 7:23 Email    RE: MLS Administrative FEIS for your Review            .\VOL011\IMAGES\IMAGES006\00163663.pdf
                                               FW: EPA Review Requested: I‐495 & I‐270 MLS
00163665   00163669    2/11/2022 7:54 Email    Administrative Draft FEIS                              .\VOL011\IMAGES\IMAGES006\00163665.pdf
                                               FW_ [EXTERNAL] NPS_FHWA_MDOT SHA Meeting ‐
00163670   00163672    2/11/2022 8:02 Email    GWMP....pdf                                            .\VOL011\IMAGES\IMAGES006\00163670.pdf
                                               Re: HOT Lanes Can Improve Access and Options,
00163673   00163675   2/11/2022 15:09 Email    Reduce Traffic Congestion in Maryland                  .\VOL011\IMAGES\IMAGES006\00163673.pdf
                                               Re: HOT Lanes Can Improve Access and Options,
00163676   00163678   2/11/2022 15:24 Email    Reduce Traffic Congestion in Maryland                  .\VOL011\IMAGES\IMAGES006\00163676.pdf
00163679   00163679   2/11/2022 16:25 Email    file access                                            .\VOL011\IMAGES\IMAGES006\00163679.pdf
                                               Re: HOT Lanes Can Improve Access and Options,
00163680   00163682   2/11/2022 17:28 Email    Reduce Traffic Congestion in Maryland                  .\VOL011\IMAGES\IMAGES006\00163680.pdf
00163683   00163683   2/11/2022 22:14 Email    HOT Lanes                                              .\VOL011\IMAGES\IMAGES006\00163683.pdf
                                               Re: HOT Lanes Can Improve Access and Options,
00163684   00163685   2/12/2022 10:29 Email    Reduce Traffic Congestion in Maryland                  .\VOL011\IMAGES\IMAGES006\00163684.pdf
00163686   00163688   2/12/2022 13:36 Email    RE: MLS Administrative FEIS                            .\VOL011\IMAGES\IMAGES006\00163686.pdf
00163689   00163691   2/12/2022 13:36 Email    RE: MLS Administrative FEIS                            .\VOL011\IMAGES\IMAGES006\00163689.pdf
00163692   00163694    2/14/2022 9:12 Email    RE: MLS Administrative FEIS                            .\VOL011\IMAGES\IMAGES006\00163692.pdf
00163695   00163697    2/14/2022 9:17 Email    RE: MLS Administrative FEIS                            .\VOL011\IMAGES\IMAGES006\00163695.pdf
                                               FW: Requesting Review of MLS Administrative FEIS ‐
00163698   00163699    2/14/2022 9:42 Email    Tolling sections                                       .\VOL011\IMAGES\IMAGES006\00163698.pdf
                                               Admin FEIS ‐ Comment Errata Table (Neels
00163700   00163702    2/14/2022 9:42 Attach   Comments).docx                                         .\VOL011\IMAGES\IMAGES006\00163700.pdf
                                               FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00163703   00163703   2/14/2022 10:34 Email    Admin Draft                                            .\VOL011\IMAGES\IMAGES006\00163703.pdf
00163704   00163705   2/14/2022 10:39 Email    Draft GHG Analysis for FEIS                            .\VOL011\IMAGES\IMAGES006\00163704.pdf
00163706   00163707   2/14/2022 10:39 Email    Draft GHG Analysis for FEIS                            .\VOL011\IMAGES\IMAGES006\00163706.pdf
                                               FW: I‐495/I‐270 MLS administrative draft FEIS for your
00163708   00163709   2/14/2022 10:45 Email    Review                                                 .\VOL011\IMAGES\IMAGES006\00163708.pdf
                                               FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00163710   00163710   2/14/2022 10:56 Email    Admin Draft                                            .\VOL011\IMAGES\IMAGES006\00163710.pdf
                                               FW: I‐495/I‐270 MLS administrative draft FEIS for your
00163711   00163712   2/14/2022 11:00 Email    Review                                                 .\VOL011\IMAGES\IMAGES006\00163711.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00163713   00163714   2/14/2022 11:34 Email    Review                                                 .\VOL011\IMAGES\IMAGES006\00163713.pdf
                                               RE: [EXTERNAL] letter of concerns for the
00163715   00163719   2/14/2022 12:33 Email    administrative record                                  .\VOL011\IMAGES\IMAGES006\00163715.pdf
00163720   00163720   2/14/2022 12:33 Attach   ALB_ImpMatrix_NpsTract_2021.12.17.xlsx                 .\VOL011\IMAGES\IMAGES006\00163720.pdf    .\VOL011\NATIVES\NATIVES006\00163720.xlsx
00163721   00163721   2/14/2022 14:04 Email    MLS Section 106 Effects next steps.pdf                 .\VOL011\IMAGES\IMAGES006\00163721.pdf
00163722   00163722   2/14/2022 14:04 Attach   Agenda_Morningstar_MHT_ACHP_2_15_2022.pdf              .\VOL011\IMAGES\IMAGES006\00163722.pdf
00163723   00163724   2/14/2022 14:04 Email    MLS Section 106 Effects next steps                     .\VOL011\IMAGES\IMAGES006\00163723.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00163725   00163726   2/14/2022 14:49 Email    St...(20).pdf                                          .\VOL011\IMAGES\IMAGES006\00163725.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00163727   00163729   2/14/2022 15:30 Email    St...(19).pdf                                          .\VOL011\IMAGES\IMAGES006\00163727.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00163730   00163732   2/14/2022 15:30 Email    Maryland IAPA due 03/04/22                             .\VOL011\IMAGES\IMAGES006\00163730.pdf

                                               FW: request to be included in Section 106 consultation
00163733   00163734   2/14/2022 15:37 Email    on I‐495 and I‐270 Managed Lanes Study                 .\VOL011\IMAGES\IMAGES006\00163733.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00163735   00163737   2/14/2022 15:37 Attach   Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES006\00163735.pdf

                                               FW: request to be included in Section 106 consultation
00163738   00163739   2/14/2022 15:44 Email    on I‐495 and I‐270 Managed Lanes Study                 .\VOL011\IMAGES\IMAGES006\00163738.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00163740   00163741   2/14/2022 15:44 Attach   Draft, Comments Requested by February 3, 2022        .\VOL011\IMAGES\IMAGES006\00163740.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00163742   00163743   2/14/2022 15:44 Attach   Draft, Comments Requested by February 3, 2022          .\VOL011\IMAGES\IMAGES006\00163742.pdf
00163744   00163746   2/14/2022 17:29 Email    RE: Draft GHG Analysis for FEIS                        .\VOL011\IMAGES\IMAGES006\00163744.pdf
00163747   00163749   2/14/2022 17:45 Email    Re: Draft GHG Analysis for FEIS                        .\VOL011\IMAGES\IMAGES006\00163747.pdf
00163750   00163751    2/15/2022 6:55 Email    FW: Draft GHG Analysis for FEIS                        .\VOL011\IMAGES\IMAGES006\00163750.pdf

00163752   00163753    2/15/2022 6:55 Attach   495 _270_MLS_FEIS Draft GHG Analysis_2022.docx       .\VOL011\IMAGES\IMAGES006\00163752.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00163754   00163756    2/15/2022 7:48 Email    St...(1).pdf                                         .\VOL011\IMAGES\IMAGES006\00163754.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00163757   00163759    2/15/2022 8:48 Email    St...(18).pdf                                        .\VOL011\IMAGES\IMAGES006\00163757.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00163760   00163762    2/15/2022 8:48 Email    Maryland IAPA due 03/04/22                           .\VOL011\IMAGES\IMAGES006\00163760.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00163763   00163765    2/15/2022 9:55 Email    Maryland IAPA due 03/04/22                           .\VOL011\IMAGES\IMAGES006\00163763.pdf
00163766   00164028    2/15/2022 9:55 Attach   IAPA Report 2022‐02‐02.pdf                           .\VOL011\IMAGES\IMAGES006\00163766.pdf
00164029   00164031   2/15/2022 10:46 Email    FW: Draft GHG Analysis for FEIS                      .\VOL011\IMAGES\IMAGES006\00164029.pdf
00164032   00164034   2/15/2022 10:46 Email    FW: Draft GHG Analysis for FEIS                      .\VOL011\IMAGES\IMAGES006\00164032.pdf
00164035   00164036   2/15/2022 10:46 Attach   FW: AQ Meeting                                       .\VOL011\IMAGES\IMAGES006\00164035.pdf
00164037   00164038   2/15/2022 10:47 Attach   FW: AQ Meeting                                       .\VOL011\IMAGES\IMAGES006\00164037.pdf
00164039   00164041   2/15/2022 15:18 Email    RE_ I‐495 NEXT Signing Concept.pdf                   .\VOL011\IMAGES\IMAGES006\00164039.pdf
00164042   00164042   2/15/2022 15:18 Attach   image001.png                                         .\VOL011\IMAGES\IMAGES006\00164042.pdf
00164043   00164043   2/15/2022 15:18 Attach   image002.png                                         .\VOL011\IMAGES\IMAGES006\00164043.pdf
00164044   00164044   2/15/2022 15:18 Attach   image003.png                                         .\VOL011\IMAGES\IMAGES006\00164044.pdf

                                               Re: I‐495 & I‐270 Managed Lanes Study‐ Clarification
00164045   00164046   2/15/2022 16:32 Email    and request for mitigation opportunities               .\VOL011\IMAGES\IMAGES006\00164045.pdf
00164047   00164047   2/15/2022 16:35 Email    Commitments & Impacts                                  .\VOL011\IMAGES\IMAGES006\00164047.pdf
00164048   00164049   2/15/2022 16:35 Attach   Commitments and Impacts.docx                           .\VOL011\IMAGES\IMAGES006\00164048.pdf
00164050   00164051   2/15/2022 20:43 Attach   MLS as of July 15 2021.pdf                             .\VOL011\IMAGES\IMAGES006\00164050.pdf
00164052   00164053   2/15/2022 20:43 Attach   FW: Draft TPB 2023 TIP                                 .\VOL011\IMAGES\IMAGES006\00164052.pdf
                                               OL Admin FEIS ‐ Comment Errata Table ‐ for
00164054   00164054    2/16/2022 9:50 Email    merge.docx                                             .\VOL011\IMAGES\IMAGES006\00164054.pdf
                                               OL Admin FEIS ‐ Comment Errata Table ‐ for
00164055   00164058    2/16/2022 9:50 Attach   merge.docx                                             .\VOL011\IMAGES\IMAGES006\00164055.pdf
00164059   00164060   2/16/2022 10:02 Email    Chapter 9‐ Comment Responses                           .\VOL011\IMAGES\IMAGES006\00164059.pdf
00164061   00164061   2/16/2022 10:02 Email    Chapter 9‐ Comment Responses                           .\VOL011\IMAGES\IMAGES006\00164061.pdf

00164062   00164063   2/16/2022 10:17 Email    Time for review of MLS PA comments/responses?          .\VOL011\IMAGES\IMAGES006\00164062.pdf
                                               MLS_FEIS_AppE_EnvInvResourceMapping_02‐04‐
00164064   00164101   2/16/2022 10:22 Edoc     2022.pdf                                               .\VOL011\IMAGES\IMAGES006\00164064.pdf
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00164102   00164103   2/16/2022 10:25 Email    RE: Time for review of MLS PA comments/responses?        .\VOL011\IMAGES\IMAGES006\00164102.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00164104   00164105   2/16/2022 10:27 Email    Review                                                   .\VOL011\IMAGES\IMAGES006\00164104.pdf

00164106   00164107   2/16/2022 10:29 Email    RE: Time for review of MLS PA comments/responses?        .\VOL011\IMAGES\IMAGES006\00164106.pdf
00164108   00164109   2/16/2022 10:45 Email    FW: Chapter 9‐ Comment Responses                         .\VOL011\IMAGES\IMAGES006\00164108.pdf
                                               FEIS_09_FHWA Comment Response_tracked
00164110   00164184   2/16/2022 10:45 Attach   changes.docx                                             .\VOL011\IMAGES\IMAGES006\00164110.pdf

                                               Re: I‐495 & I‐270 Managed Lanes Study‐ Clarification
00164185   00164187   2/16/2022 11:19 Email    and request for mitigation opportunities                 .\VOL011\IMAGES\IMAGES006\00164185.pdf
00164188   00164188   2/16/2022 11:41 Email    Maryland I‐495_I‐270 Project IAPA (IJR).pdf              .\VOL011\IMAGES\IMAGES006\00164188.pdf
00164189   00164190   2/16/2022 12:00 Email    I‐495 & I‐270 MLS_ IAPA Review Progress(1).pdf           .\VOL011\IMAGES\IMAGES006\00164189.pdf
00164191   00164192   2/16/2022 12:03 Email    I‐495 & I‐270 MLS_ IAPA Review Progress.pdf              .\VOL011\IMAGES\IMAGES006\00164191.pdf

                                               FW: I‐495 & I‐270 Managed Lanes Study‐ Clarification
00164193   00164195   2/16/2022 13:06 Email    and request for mitigation opportunities             .\VOL011\IMAGES\IMAGES006\00164193.pdf
                                               Re: [EXTERNAL] letter of concerns for the
00164196   00164200   2/16/2022 15:29 Email    administrative record                                .\VOL011\IMAGES\IMAGES006\00164196.pdf
                                               FW: [EXTERNAL] 1941‐ Capper Cramton Administrative
00164201   00164203   2/16/2022 16:21 Email    Agreement                                            .\VOL011\IMAGES\IMAGES006\00164201.pdf
                                               Re: [EXTERNAL] NPS/FHWA/MDOT SHA Meeting ‐
00164204   00164205   2/16/2022 16:52 Email    GWMP Signing                                         .\VOL011\IMAGES\IMAGES006\00164204.pdf
00164206   00164207   2/16/2022 18:05 Email    Re: [EXTERNAL] DOI coordination                      .\VOL011\IMAGES\IMAGES006\00164206.pdf
                                               RE: FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00164208   00164208   2/16/2022 20:32 Email    Admin Draft                                          .\VOL011\IMAGES\IMAGES006\00164208.pdf
00164209   00164209    2/17/2022 8:35 Email    RE: FEIS Comments to HCC                             .\VOL011\IMAGES\IMAGES006\00164209.pdf
00164210   00164210    2/17/2022 9:04 Email    RE: FEIS Comments to HCC                             .\VOL011\IMAGES\IMAGES006\00164210.pdf
00164211   00164211    2/17/2022 9:21 Email    GWMP Signing                                         .\VOL011\IMAGES\IMAGES006\00164211.pdf
00164212   00164213    2/17/2022 9:45 Email    RE_ I495_I270.pdf                                    .\VOL011\IMAGES\IMAGES006\00164212.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Section 4(f) de
00164214   00164215   2/17/2022 12:10 Email    minimis Determination Letter                         .\VOL011\IMAGES\IMAGES006\00164214.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Section 4(f) de
00164216   00164217   2/17/2022 12:10 Email    minimis Determination Letter                         .\VOL011\IMAGES\IMAGES006\00164216.pdf
00164218   00164225   2/17/2022 12:10 Attach   2022‐02‐16_M‐NCPPC De Minimis.pdf                    .\VOL011\IMAGES\IMAGES006\00164218.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Section 4(f) de
00164226   00164226   2/17/2022 12:10 Email    minimis Determination Letter                         .\VOL011\IMAGES\IMAGES006\00164226.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Section 4(f) de
00164227   00164227   2/17/2022 12:24 Attach   minimis Determination Letter                         .\VOL011\IMAGES\IMAGES006\00164227.pdf
00164228   00164228   2/17/2022 12:53 Email    RE: pre‐meeting                                      .\VOL011\IMAGES\IMAGES006\00164228.pdf
                                               RE: [EXTERNAL] 1941‐ Capper Cramton Administrative
00164229   00164235   2/17/2022 19:31 Email    Agreement                                            .\VOL011\IMAGES\IMAGES006\00164229.pdf
00164236   00164236   2/17/2022 20:28 Edoc     Appendix E ‐ Design Exceptions.pdf                   .\VOL011\IMAGES\IMAGES006\00164236.pdf
00164237   00164240   2/17/2022 20:28 Edoc     Appendix D ‐ Design Criteria.pdf                     .\VOL011\IMAGES\IMAGES006\00164237.pdf

00164241   00164245   2/17/2022 20:28 Edoc     Appendix C ‐ Preferred Alternative Lane Diagrams.pdf     .\VOL011\IMAGES\IMAGES006\00164241.pdf
00164246   00164366   2/17/2022 20:28 Edoc     Appendix B ‐ Traffic Volume Diagrams.pdf                 .\VOL011\IMAGES\IMAGES006\00164246.pdf
                                               Appendix A ‐ IAPA Framework Document 2020‐12‐
00164367   00164402   2/17/2022 20:28 Edoc     18.pdf                                                   .\VOL011\IMAGES\IMAGES006\00164367.pdf
                                               Appendix K ‐ Predictive Crash Analysis and Supporting
00164403   00164921   2/17/2022 20:32 Edoc     Information.pdf                                          .\VOL012\IMAGES\IMAGES001\00164403.pdf
                                               Appendix J ‐ Historical Crash Data and Supporting
00164922   00164942   2/17/2022 20:32 Edoc     Information.pdf                                          .\VOL012\IMAGES\IMAGES001\00164922.pdf
00164943   00165202   2/17/2022 20:32 Edoc     IAPA Report 2022‐02‐02.docx                              .\VOL012\IMAGES\IMAGES001\00164943.pdf
00165203   00165204   2/18/2022 11:49 Email    FEIS Line Numbers                                        .\VOL012\IMAGES\IMAGES001\00165203.pdf
00165205   00165207   2/18/2022 12:06 Email    RE: FEIS Line Numbers                                    .\VOL012\IMAGES\IMAGES001\00165205.pdf
00165208   00165210   2/18/2022 12:18 Email    Re: FEIS Line Numbers                                    .\VOL012\IMAGES\IMAGES001\00165208.pdf
00165211   00165211   2/18/2022 14:13 Email    revised 106 bullet                                       .\VOL012\IMAGES\IMAGES001\00165211.pdf
00165212   00165213   2/18/2022 15:07 Email    Comment Responses                                        .\VOL012\IMAGES\IMAGES001\00165212.pdf
00165214   00165215   2/18/2022 15:07 Email    Comment Responses                                        .\VOL012\IMAGES\IMAGES001\00165214.pdf
00165216   00165216   2/18/2022 16:30 Email    FW: Hot Lanes along 270                                  .\VOL012\IMAGES\IMAGES001\00165216.pdf

00165217   00165218    2/22/2022 8:04 Edoc     Admin FEIS ‐ Comment Errata Table Darden SW.docx .\VOL012\IMAGES\IMAGES001\00165217.pdf
00165219   00165219    2/22/2022 8:09 Email    I‐495 SW comments.pdf                                  .\VOL012\IMAGES\IMAGES001\00165219.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00165220   00165221   2/22/2022 12:05 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00165220.pdf
00165222   00165226   2/22/2022 15:50 Edoc     Admin FEIS ‐ Comment Errata Table_HEPE.docx            .\VOL012\IMAGES\IMAGES001\00165222.pdf
00165227   00165228   2/22/2022 15:58 Email    RE: MLS Administrative FEIS for your Review            .\VOL012\IMAGES\IMAGES001\00165227.pdf
00165229   00165229   2/22/2022 16:05 Email    RE: Draft briefing paper                               .\VOL012\IMAGES\IMAGES001\00165229.pdf
                                               Admin FEIS ‐ Comment Errata Table
00165230   00165231   2/22/2022 17:28 Edoc     Darden_Jones_SW.docx                                   .\VOL012\IMAGES\IMAGES001\00165230.pdf
00165232   00165232   2/22/2022 18:30 Email    I‐495 and I‐270 Managed Lane Study                     .\VOL012\IMAGES\IMAGES001\00165232.pdf
00165233   00165233   2/22/2022 19:55 Email    FW: I‐495 and I‐270 Managed Lane Study                 .\VOL012\IMAGES\IMAGES001\00165233.pdf
00165234   00165237    2/23/2022 7:22 Attach   FWHA Letter.docx                                       .\VOL012\IMAGES\IMAGES001\00165234.pdf
                                               I‐495 & I‐270 MLS Section 106 PA Draft 2 Comment‐
00165238   00165239    2/23/2022 7:38 Email    Response Review                                        .\VOL012\IMAGES\IMAGES001\00165238.pdf
                                               I‐495 & I‐270 MLS Section 106 PA Draft 2
00165240   00165240    2/23/2022 7:39 Email    Commen....pdf                                          .\VOL012\IMAGES\IMAGES001\00165240.pdf
                                               revised_morningstar_effect_determined_under_P.doc
00165241   00165241    2/23/2022 7:39 Attach   x                                                      .\VOL012\IMAGES\IMAGES001\00165241.pdf
00165242   00165244    2/23/2022 8:25 Email    RE: MLS Administrative FEIS for your Review            .\VOL012\IMAGES\IMAGES001\00165242.pdf
00165245   00165247    2/23/2022 8:28 Email    RE: MLS Administrative FEIS for your Review            .\VOL012\IMAGES\IMAGES001\00165245.pdf
00165248   00165250    2/23/2022 8:30 Email    RE: MLS Administrative FEIS for your Review            .\VOL012\IMAGES\IMAGES001\00165248.pdf
00165251   00165252   2/23/2022 11:31 Email    Fw: NPS Feedback: Managed Lanes                        .\VOL012\IMAGES\IMAGES001\00165251.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00165253   00165255   2/23/2022 12:25 Email    Maryland IAPA due 03/04/22                             .\VOL012\IMAGES\IMAGES001\00165253.pdf
00165256   00165257   2/23/2022 12:25 Attach   RE: IAPA Framework Document                            .\VOL012\IMAGES\IMAGES001\00165256.pdf
00165258   00165738   2/23/2022 19:00 Edoc     MLS_FEIS_AppF_CEAEJTR_02‐04‐2022.pdf                   .\VOL012\IMAGES\IMAGES001\00165258.pdf
00165739   00165741   2/23/2022 19:01 Email    RE: MLS Administrative FEIS for your Review            .\VOL012\IMAGES\IMAGES001\00165739.pdf
                                               FW: [EXTERNAL] 1941‐ Capper Cramton Administrative
00165742   00165746   2/24/2022 10:08 Email    Agreement                                              .\VOL012\IMAGES\IMAGES001\00165742.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00165747   00165749   2/24/2022 10:30 Email    Maryland IAPA due 03/04/22                             .\VOL012\IMAGES\IMAGES001\00165747.pdf
00165750   00165751   2/24/2022 10:43 Email    FW: I‐495 and I‐270 Managed Lane Study                 .\VOL012\IMAGES\IMAGES001\00165750.pdf
00165752   00165753   2/24/2022 11:03 Email    FW: Comment Responses                                  .\VOL012\IMAGES\IMAGES001\00165752.pdf
                                               RE_ Requesting Review of MLS Administrative
00165754   00165755   2/24/2022 13:18 Email    FEI...(1).pdf                                          .\VOL012\IMAGES\IMAGES001\00165754.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00165756   00165757   2/24/2022 14:27 Email    St...(17).pdf                                          .\VOL012\IMAGES\IMAGES001\00165756.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00165758   00165759   2/24/2022 14:27 Email    Maryland IAPA due 03/04/22                             .\VOL012\IMAGES\IMAGES001\00165758.pdf
                                               RE: Requesting Review of MLS Administrative FEIS ‐
00165760   00165762   2/24/2022 14:48 Email    Tolling sections                                       .\VOL012\IMAGES\IMAGES001\00165760.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                Filed 05/03/23                              Page 206 of 263

                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00165763   00165765   2/24/2022 15:04 Email    St...(16).pdf                                          .\VOL012\IMAGES\IMAGES001\00165763.pdf
                                               FW: I‐495/I‐270 MLS administrative draft FEIS for your
00165766   00165767   2/24/2022 15:47 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00165766.pdf
                                               FW_ I‐495_I‐270 MLS administrative draft FEIS
00165768   00165769   2/24/2022 15:47 Email    f...(1).pdf                                            .\VOL012\IMAGES\IMAGES001\00165768.pdf
                                               FW: I‐495/I‐270 MLS administrative draft FEIS for your
00165770   00165772   2/24/2022 15:54 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00165770.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00165773   00165774   2/24/2022 15:56 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00165773.pdf
00165775   00165776   2/24/2022 16:08 Email    FW: I‐495 and I‐270 Managed Lane Study                 .\VOL012\IMAGES\IMAGES001\00165775.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00165777   00165778   2/24/2022 16:09 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00165777.pdf
00165779   00165779   2/24/2022 17:13 Email    FW: EJ Comments                                        .\VOL012\IMAGES\IMAGES001\00165779.pdf
                                               RE: I‐495 & I‐270 MLS Section 106 PA Draft 2 Comment‐
00165780   00165781    2/25/2022 9:18 Email    Response Review                                        .\VOL012\IMAGES\IMAGES001\00165780.pdf
                                               revised_morningstar_effect_determined_under_PA_.d
00165782   00165782    2/25/2022 9:18 Attach   ocx                                                    .\VOL012\IMAGES\IMAGES001\00165782.pdf
                                               Re: American Legion Bridge I‐270 Relief Plan to
00165783   00165785   2/25/2022 14:05 Email    Connect Customers to Life’s Opportunities              .\VOL012\IMAGES\IMAGES001\00165783.pdf
                                               Re: American Legion Bridge I‐270 Relief Plan to
00165786   00165788   2/25/2022 14:08 Email    Connect Customers to Life’s Opportunities              .\VOL012\IMAGES\IMAGES001\00165786.pdf
                                               Re: American Legion Bridge I‐270 Relief Plan to
00165789   00165791   2/25/2022 14:39 Email    Connect Customers to Life’s Opportunities              .\VOL012\IMAGES\IMAGES001\00165789.pdf
                                               Assistance for March 17 meeting with National Park
00165792   00165793   2/25/2022 15:34 Email    Service                                                .\VOL012\IMAGES\IMAGES001\00165792.pdf

00165794   00165843   2/25/2022 15:36 Edoc     2022‐02‐04 MD 495 Noise Report Map Appendix.pdf .\VOL012\IMAGES\IMAGES001\00165794.pdf
                                               Re: American Legion Bridge I‐270 Relief Plan to
00165844   00165846   2/25/2022 16:37 Email    Connect Customers to Life’s Opportunities              .\VOL012\IMAGES\IMAGES001\00165844.pdf
                                               Re: American Legion Bridge I‐270 Relief Plan to
00165847   00165849   2/25/2022 17:22 Email    Connect Customers to Life’s Opportunities              .\VOL012\IMAGES\IMAGES001\00165847.pdf
                                               Maryland Sierra Club Comments on Section 4(f)
00165850   00165850   2/25/2022 17:54 Email    Request Re: Malcolm King Park, Gaithersburg            .\VOL012\IMAGES\IMAGES001\00165850.pdf
                                               MDSierraClub‐Section4(f)‐MalcolmKingPark‐
00165851   00165853   2/25/2022 17:54 Attach   Gaithersburg‐Feb2022.pdf                               .\VOL012\IMAGES\IMAGES001\00165851.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00165854   00165855   2/27/2022 13:42 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00165854.pdf
00165856   00165858   2/27/2022 13:42 Attach   Admin FEIS ‐ Comment Errata Table_visual.docx          .\VOL012\IMAGES\IMAGES001\00165856.pdf
                                               RE: FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00165859   00165859   2/27/2022 21:54 Email    Admin Draft                                            .\VOL012\IMAGES\IMAGES001\00165859.pdf
00165860   00165860    2/28/2022 7:58 Email    FW: 495/270 Briefing Materials                         .\VOL012\IMAGES\IMAGES001\00165860.pdf
00165861   00165862    2/28/2022 8:12 Edoc     MD 495 FEIS No Barriers.pptx                           .\VOL012\IMAGES\IMAGES001\00165861.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00165863   00165865    2/28/2022 9:25 Email    St...(15).pdf                                          .\VOL012\IMAGES\IMAGES001\00165863.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00165866   00165868    2/28/2022 9:56 Email    St...(12).pdf                                          .\VOL012\IMAGES\IMAGES001\00165866.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00165869   00165871    2/28/2022 9:56 Email    Maryland IAPA due 03/04/22                             .\VOL012\IMAGES\IMAGES001\00165869.pdf

00165872   00165872   2/28/2022 10:03 Email    I‐495 & I‐270 Managed Lanes Study IAPA Signing....pdf .\VOL012\IMAGES\IMAGES001\00165872.pdf
                                               I‐495 & I‐270 Managed Lanes Study IAPA Signing Roll
00165873   00165873   2/28/2022 10:03 Email    Map                                                   .\VOL012\IMAGES\IMAGES001\00165873.pdf
                                               Fw: Public comment on 4(f) finding: Att'n Caryn
00165874   00165875   2/28/2022 10:10 Email    Brookman                                              .\VOL012\IMAGES\IMAGES001\00165874.pdf
                                               DontWiden270.org Comments on Section 4(f)
00165876   00165877   2/28/2022 10:10 Attach   Finding_022422.pdf                                    .\VOL012\IMAGES\IMAGES001\00165876.pdf
00165878   00165879   2/28/2022 10:12 Email    Fw: Malcolm King Park Comments                        .\VOL012\IMAGES\IMAGES001\00165878.pdf
00165880   00165880   2/28/2022 10:12 Attach   Malcolm King Park Map.png                             .\VOL012\IMAGES\IMAGES001\00165880.pdf
00165881   00165895   2/28/2022 10:16 Attach   AdminFEIS_MLS_MD commentsdocx.docx                    .\VOL012\IMAGES\IMAGES001\00165881.pdf

                                               RE: request to be included in Section 106 consultation
00165896   00165899   2/28/2022 10:18 Email    on I‐495 and I‐270 Managed Lanes Study                 .\VOL012\IMAGES\IMAGES001\00165896.pdf
                                               Appendix F_Part1 ‐ Conceptual Guide Signing Plan,
00165900   00165911   2/28/2022 10:18 Edoc     Part 1.pdf                                             .\VOL012\IMAGES\IMAGES001\00165900.pdf

                                               RE: request to be included in Section 106 consultation
00165912   00165915   2/28/2022 10:18 Email    on I‐495 and I‐270 Managed Lanes Study                 .\VOL012\IMAGES\IMAGES001\00165912.pdf
                                               Appendix F_Part2 ‐ Conceptual Guide Signing Plan,
00165916   00165928   2/28/2022 10:38 Edoc     Part 2.pdf                                             .\VOL012\IMAGES\IMAGES001\00165916.pdf
00165929   00165931   2/28/2022 10:45 Edoc     Admin FEIS ‐ Comment Errata Table Darden.docx          .\VOL012\IMAGES\IMAGES001\00165929.pdf
                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00165932   00165934   2/28/2022 10:47 Email    Maryland IAPA due 03/04/22                             .\VOL012\IMAGES\IMAGES001\00165932.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00165935   00165937   2/28/2022 11:02 Email    St...(10).pdf                                          .\VOL012\IMAGES\IMAGES001\00165935.pdf
00165938   00165938   2/28/2022 11:02 Attach   image002.png                                           .\VOL012\IMAGES\IMAGES001\00165938.pdf
                                               Spiller Comments: RE: Requesting Review of MD SHA I‐
00165939   00165941   2/28/2022 11:06 Email    495/I‐270 FEIS ‐ MLs Tolling sections                  .\VOL012\IMAGES\IMAGES001\00165939.pdf
00165942   00165945   2/28/2022 11:06 Attach   MD I‐495 and I‐270 Study Tolling Excerpts.docx         .\VOL012\IMAGES\IMAGES001\00165942.pdf
                                               MD I‐495 and I‐270 ExecutiveSummary_02‐04‐
00165946   00165968   2/28/2022 11:06 Attach   2022.docx                                              .\VOL012\IMAGES\IMAGES001\00165946.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00165969   00165971   2/28/2022 14:10 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00165969.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00165972   00165973   2/28/2022 14:29 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00165972.pdf
                                               RE: Spiller Comments: RE: Requesting Review of MD
00165974   00165977   2/28/2022 14:32 Email    SHA I‐495/I‐270 FEIS ‐ MLs Tolling sections            .\VOL012\IMAGES\IMAGES001\00165974.pdf
                                               RE: Spiller Comments: RE: Requesting Review of MD
00165978   00165981   2/28/2022 15:43 Email    SHA I‐495/I‐270 FEIS ‐ MLs Tolling sections            .\VOL012\IMAGES\IMAGES001\00165978.pdf
00165982   00165983   2/28/2022 16:58 Email    Quick Call                                             .\VOL012\IMAGES\IMAGES001\00165982.pdf
00165984   00165984   2/28/2022 16:58 Email    Quick Call                                             .\VOL012\IMAGES\IMAGES001\00165984.pdf
                                               RE_ Spiller Comments_ RE_ Requesting Review of
00165985   00165990     3/1/2022 8:03 Email    ....pdf                                                .\VOL012\IMAGES\IMAGES001\00165985.pdf
                                               RE: Spiller Comments: RE: Requesting Review of MD
00165991   00165995     3/1/2022 8:03 Email    SHA I‐495/I‐270 FEIS ‐ MLs Tolling sections            .\VOL012\IMAGES\IMAGES001\00165991.pdf
                                               RE: Spiller Comments: RE: Requesting Review of MD
00165996   00166000     3/1/2022 8:03 Email    SHA I‐495/I‐270 FEIS ‐ MLs Tolling sections            .\VOL012\IMAGES\IMAGES001\00165996.pdf
                                               FW: Spiller Comments: RE: Requesting Review of MD
00166001   00166005     3/1/2022 9:47 Email    SHA I‐495/I‐270 FEIS ‐ MLs Tolling sections            .\VOL012\IMAGES\IMAGES001\00166001.pdf
                                               RE: FHWA MD and VA Division ‐ NPS meeting ‐ March
00166006   00166007     3/1/2022 9:52 Email    17th                                                   .\VOL012\IMAGES\IMAGES001\00166006.pdf
                                               FW: Assistance for March 17 meeting with National
00166008   00166009    3/1/2022 13:06 Email    Park Service                                           .\VOL012\IMAGES\IMAGES001\00166008.pdf
                                               RE_ I 495_I‐270 MLS administrative draft FEIS
00166010   00166011    3/1/2022 15:32 Email    f...(1).pdf                                            .\VOL012\IMAGES\IMAGES001\00166010.pdf
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00166012   00166022   3/1/2022 15:32 Attach   Admin FEIS ‐ Comment Errata Table_SJL.docx               .\VOL012\IMAGES\IMAGES001\00166012.pdf
                                              RE: I 495/I‐270 MLS administrative draft FEIS for your
00166023   00166024   3/1/2022 15:32 Email    Review                                                   .\VOL012\IMAGES\IMAGES001\00166023.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166025   00166026   3/1/2022 17:32 Email    Review                                                   .\VOL012\IMAGES\IMAGES001\00166025.pdf
00166027   00166027   3/1/2022 17:59 Email    495/270 expansion                                        .\VOL012\IMAGES\IMAGES001\00166027.pdf
                                              Mayors 495 270 Letter MDOT FHWA 2022Feb26
00166028   00166030   3/1/2022 17:59 Attach   (006).pdf                                                .\VOL012\IMAGES\IMAGES001\00166028.pdf
                                              5‐ 2022‐02‐26_Janet Gallant Dont Widen 270 dot
00166031   00166032   3/1/2022 19:24 Edoc     Org.pdf                                                  .\VOL012\IMAGES\IMAGES001\00166031.pdf
                                              3‐ 2022‐02‐25_Mark Pierzchala Rockville
00166033   00166034   3/1/2022 19:24 Edoc     Councilmember.pdf                                        .\VOL012\IMAGES\IMAGES001\00166033.pdf
00166035   00166036   3/1/2022 19:24 Edoc     2‐ 2022‐02‐17_Kevin Misener.pdf                          .\VOL012\IMAGES\IMAGES001\00166035.pdf
00166037   00166040   3/1/2022 19:32 Edoc     4‐ 2022‐02‐25_Josh Tulkin MD Sierra Club.pdf             .\VOL012\IMAGES\IMAGES001\00166037.pdf
00166041   00166041    3/2/2022 8:09 Email    RE: FEIS/Appendices Comments                             .\VOL012\IMAGES\IMAGES001\00166041.pdf

00166042   00166043    3/2/2022 9:15 Email    RE_ I 495_I‐270 MLS administrative draft FEIS f....pdf .\VOL012\IMAGES\IMAGES001\00166042.pdf
                                              RE: I 495/I‐270 MLS administrative draft FEIS for your
00166044   00166045    3/2/2022 9:15 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166044.pdf
                                              FW: OL Admin FEIS ‐ Comment Errata Table ‐ for
00166046   00166046   3/2/2022 10:22 Email    merge.docx                                             .\VOL012\IMAGES\IMAGES001\00166046.pdf
00166047   00166047   3/2/2022 10:27 Email    my comments                                            .\VOL012\IMAGES\IMAGES001\00166047.pdf
00166048   00166050   3/2/2022 12:11 Email    Re: Chapter 9‐ Comment Responses                       .\VOL012\IMAGES\IMAGES001\00166048.pdf
                                              RE: FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00166051   00166052   3/2/2022 15:06 Email    Admin Draft                                            .\VOL012\IMAGES\IMAGES001\00166051.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166053   00166054   3/2/2022 15:58 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166053.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166055   00166057   3/2/2022 15:58 Attach   Review                                                 .\VOL012\IMAGES\IMAGES001\00166055.pdf
00166058   00166060   3/2/2022 15:58 Attach   Admin FEIS ‐ Comment Errata Table.docx                 .\VOL012\IMAGES\IMAGES001\00166058.pdf
00166061   00166061   3/2/2022 16:18 Email    NPS Meeting ‐ arrow‐per‐lane                           .\VOL012\IMAGES\IMAGES001\00166061.pdf
                                              RE: FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00166062   00166063   3/2/2022 16:29 Email    Admin Draft                                            .\VOL012\IMAGES\IMAGES001\00166062.pdf
                                              RE: FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00166064   00166065   3/2/2022 16:34 Email    Admin Draft                                            .\VOL012\IMAGES\IMAGES001\00166064.pdf
                                              RE: FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00166066   00166067   3/2/2022 16:38 Email    Admin Draft                                            .\VOL012\IMAGES\IMAGES001\00166066.pdf
                                              RE: FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00166068   00166069   3/2/2022 16:40 Email    Admin Draft                                            .\VOL012\IMAGES\IMAGES001\00166068.pdf
00166070   00166070   3/2/2022 16:40 Email    RE: NPS Meeting ‐ arrow‐per‐lane                       .\VOL012\IMAGES\IMAGES001\00166070.pdf
00166071   00166072   3/2/2022 16:42 Email    RE: NPS Meeting ‐ arrow‐per‐lane                       .\VOL012\IMAGES\IMAGES001\00166071.pdf
                                              RE: FOR REVIEW: 495/270 Managed Lanes Study FEIS ‐
00166073   00166075   3/2/2022 16:45 Email    Admin Draft                                            .\VOL012\IMAGES\IMAGES001\00166073.pdf
                                              Cogburn, Megan (FHWA) left a comment in
00166076   00166076   3/2/2022 18:20 Email    "FEIS_05_Environmental_02‐04‐2022"                     .\VOL012\IMAGES\IMAGES001\00166076.pdf
00166077   00166550   3/2/2022 18:40 Edoc     Appendix H ‐ VISSIM Analysis Results_cw.pdf            .\VOL012\IMAGES\IMAGES001\00166077.pdf
                                              Cogburn, Megan (FHWA) left a comment in
00166551   00166555   3/2/2022 18:42 Email    "FEIS_05_Environmental_02‐04‐2022"                     .\VOL012\IMAGES\IMAGES001\00166551.pdf
                                              Cogburn, Megan (FHWA) left a comment in
00166556   00166557   3/2/2022 19:03 Email    "FEIS_05_Environmental_02‐04‐2022"                     .\VOL012\IMAGES\IMAGES001\00166556.pdf
                                              Gardner, Brian (FHWA) left a comment in "Admin FEIS ‐
00166558   00166558    3/3/2022 7:17 Email    Comment Errata Table"                                  .\VOL012\IMAGES\IMAGES001\00166558.pdf
00166559   00166559    3/3/2022 8:15 Email    RE: FEIS/Appendices Comments                           .\VOL012\IMAGES\IMAGES001\00166559.pdf
00166560   00166560    3/3/2022 8:16 Email    RE: FEIS/Appendices Comments                           .\VOL012\IMAGES\IMAGES001\00166560.pdf

00166561   00166562    3/3/2022 8:18 Email    RE_ I‐495_I‐270 MLS administrative draft FEIS f....pdf .\VOL012\IMAGES\IMAGES001\00166561.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166563   00166564    3/3/2022 8:24 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166563.pdf
00166565   00166565   3/3/2022 10:34 Email    RE_ [EXTERNAL] Safety Discussion.pdf                   .\VOL012\IMAGES\IMAGES001\00166565.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166566   00166567   3/3/2022 10:59 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166566.pdf
                                              Fw: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f)
00166568   00166568   3/3/2022 13:30 Email    de minimis Determination Letter                        .\VOL012\IMAGES\IMAGES001\00166568.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166569   00166570   3/3/2022 15:23 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166569.pdf
                                              Agenda_NPS_MDOT_SHA_MLS_106_Topics_3_7_2022
00166571   00166571   3/3/2022 15:29 Attach   .pdf                                                   .\VOL012\IMAGES\IMAGES001\00166571.pdf
                                              Agenda_NPS_MDOT_SHA_MLS_106_Topics_3_7_2022
00166572   00166572   3/3/2022 15:29 Attach   .pdf                                                   .\VOL012\IMAGES\IMAGES001\00166572.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166573   00166575   3/3/2022 15:54 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166573.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166576   00166578   3/3/2022 15:55 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166576.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00166579   00166580   3/3/2022 16:08 Email    St...(9).pdf                                           .\VOL012\IMAGES\IMAGES001\00166579.pdf
00166581   00166587   3/3/2022 16:08 Attach   IAPA ‐ Comment Errata Table‐sjl.docx                   .\VOL012\IMAGES\IMAGES001\00166581.pdf
                                              RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00166588   00166589   3/3/2022 16:08 Email    Maryland IAPA due 03/04/22                             .\VOL012\IMAGES\IMAGES001\00166588.pdf
00166590   00166592   3/3/2022 17:15 Attach   RE: MLS Mitigation Package                             .\VOL012\IMAGES\IMAGES001\00166590.pdf
                                              I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f) de
00166593   00166594   3/3/2022 17:41 Email    minimis Determination Letter                           .\VOL012\IMAGES\IMAGES001\00166593.pdf

00166595   00166599   3/3/2022 17:41 Attach   2022‐03‐01_Gaithersburg De Minimis_Revised.pdf           .\VOL012\IMAGES\IMAGES001\00166595.pdf
00166600   00166600   3/3/2022 17:41 Attach   1‐ 2022‐02‐13_Joel Chalfin.pdf                           .\VOL012\IMAGES\IMAGES001\00166600.pdf
00166601   00166602   3/3/2022 17:41 Attach   2‐ 2022‐02‐17_Kevin Misener.pdf                          .\VOL012\IMAGES\IMAGES001\00166601.pdf
                                              3‐ 2022‐02‐25_Mark Pierzchala Rockville
00166603   00166604   3/3/2022 17:41 Attach   Councilmember.pdf                                        .\VOL012\IMAGES\IMAGES001\00166603.pdf
00166605   00166608   3/3/2022 17:41 Attach   4‐ 2022‐02‐25_Josh Tulkin MD Sierra Club.pdf             .\VOL012\IMAGES\IMAGES001\00166605.pdf
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                                              I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f) de
00166611   00166611   3/3/2022 17:41 Email    minimis Determination Letter                             .\VOL012\IMAGES\IMAGES001\00166611.pdf
00166612   00166612   3/3/2022 17:41 Attach   1‐ 2022‐02‐13_Joel Chalfin.pdf                           .\VOL012\IMAGES\IMAGES001\00166612.pdf
00166613   00166614   3/3/2022 17:41 Attach   2‐ 2022‐02‐17_Kevin Misener.pdf                          .\VOL012\IMAGES\IMAGES001\00166613.pdf
00166615   00166618   3/3/2022 17:41 Attach   4‐ 2022‐02‐25_Josh Tulkin MD Sierra Club.pdf             .\VOL012\IMAGES\IMAGES001\00166615.pdf
                                              Re: EPA Review Requested: I‐495 & I‐270 MLS
00166619   00166620    3/4/2022 8:53 Email    Administrative Draft FEIS                                .\VOL012\IMAGES\IMAGES001\00166619.pdf
                                              Re: USACE Review Requested‐ I‐495 & I‐270
00166621   00166622    3/4/2022 8:53 Email    Administrative Draft FEIS                                .\VOL012\IMAGES\IMAGES001\00166621.pdf
                                              Re: USACE Review Requested‐ I‐495 & I‐270
00166623   00166624    3/4/2022 8:53 Email    Administrative Draft FEIS                                .\VOL012\IMAGES\IMAGES001\00166623.pdf
                                              Re: MDE Review Requested: I‐495 & I‐270 MLS
00166625   00166626    3/4/2022 8:54 Email    Administrative Draft FEIS                                .\VOL012\IMAGES\IMAGES001\00166625.pdf
                                              Re: M‐NCPPC Review Requested: I‐495 & I‐270 MLS
00166627   00166628    3/4/2022 8:54 Email    Administrative Draft FEIS                                .\VOL012\IMAGES\IMAGES001\00166627.pdf
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                                              Re: VDOT Review Requested: I‐495 & I‐270 MLS
00166629   00166630    3/4/2022 8:54 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166629.pdf
                                              Re: MDE Review Requested: I‐495 & I‐270 MLS
00166631   00166632    3/4/2022 8:54 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166631.pdf
                                              Re: M‐NCPPC Review Requested: I‐495 & I‐270 MLS
00166633   00166634    3/4/2022 8:54 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166633.pdf
                                              Re: VDOT Review Requested: I‐495 & I‐270 MLS
00166635   00166636    3/4/2022 8:54 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166635.pdf
                                              RE: USACE Review Requested‐ I‐495 & I‐270
00166637   00166639    3/4/2022 9:04 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166637.pdf
                                              RE: USACE Review Requested‐ I‐495 & I‐270
00166640   00166642    3/4/2022 9:04 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166640.pdf
00166643   00166643    3/4/2022 9:44 Email    FW_ Signing Issue background for NPS.pdf             .\VOL012\IMAGES\IMAGES001\00166643.pdf
00166644   00166645   3/4/2022 10:14 Email    RE_ Signing Issue background for NPS(3).pdf          .\VOL012\IMAGES\IMAGES001\00166644.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00166646   00166647   3/4/2022 11:11 Email    St...(8).pdf                                         .\VOL012\IMAGES\IMAGES001\00166646.pdf
                                              RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00166648   00166649   3/4/2022 11:11 Email    Maryland IAPA due 03/04/22                           .\VOL012\IMAGES\IMAGES001\00166648.pdf
                                              RE: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00166650   00166652   3/4/2022 11:12 Email    de minimis Determination Letter                      .\VOL012\IMAGES\IMAGES001\00166650.pdf
00166653   00166653   3/4/2022 11:13 Email    Agenda for 03 08 2022 Coordination Meeting           .\VOL012\IMAGES\IMAGES001\00166653.pdf
                                              RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00166654   00166655   3/4/2022 11:22 Email    Maryland IAPA due 03/04/22                           .\VOL012\IMAGES\IMAGES001\00166654.pdf
                                              Re: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00166656   00166658   3/4/2022 12:08 Email    de minimis Determination Letter                      .\VOL012\IMAGES\IMAGES001\00166656.pdf
00166659   00166659   3/4/2022 12:08 Attach   Former Robertson Property Map.pdf                    .\VOL012\IMAGES\IMAGES001\00166659.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00166660   00166662   3/4/2022 12:24 Email    St...(6).pdf                                         .\VOL012\IMAGES\IMAGES001\00166660.pdf
                                              RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00166663   00166665   3/4/2022 12:24 Email    Maryland IAPA due 03/04/22                           .\VOL012\IMAGES\IMAGES001\00166663.pdf
00166666   00166666   3/4/2022 12:53 Email    draft response                                       .\VOL012\IMAGES\IMAGES001\00166666.pdf
                                              RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00166667   00166669   3/4/2022 13:11 Email    Maryland IAPA due 03/04/22                           .\VOL012\IMAGES\IMAGES001\00166667.pdf
00166670   00166670   3/4/2022 14:40 Email    updated Comments file                                .\VOL012\IMAGES\IMAGES001\00166670.pdf
                                              Admin FEIS ‐ Comment Errata Table 3 3 2022 1053 am
00166671   00166702   3/4/2022 14:40 Attach   combined almost F.docx                               .\VOL012\IMAGES\IMAGES001\00166671.pdf
                                              RE: FHWA Review Requested: I‐495 & I‐270 MLS
00166703   00166705   3/4/2022 15:14 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166703.pdf
                                              Appendix F_Part2 ‐ Conceptual Guide Signing Plan,
00166706   00166718   3/4/2022 15:14 Edoc     Part 2.pdf                                           .\VOL012\IMAGES\IMAGES001\00166706.pdf
                                              RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00166719   00166721   3/4/2022 15:16 Email    Maryland IAPA due 03/04/22                           .\VOL012\IMAGES\IMAGES001\00166719.pdf
                                              FW: FHWA Review Requested: I‐495 & I‐270 MLS
00166722   00166724   3/4/2022 15:19 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166722.pdf
00166725   00166727   3/4/2022 15:33 Email    Re: MLS ROD                                          .\VOL012\IMAGES\IMAGES001\00166725.pdf
                                              FW: FHWA Review Requested: I‐495 & I‐270 MLS
00166728   00166730   3/4/2022 15:44 Email    Administrative Draft FEIS                            .\VOL012\IMAGES\IMAGES001\00166728.pdf
00166731   00166732   3/4/2022 16:59 Email    IAPA Queue analysis                                  .\VOL012\IMAGES\IMAGES001\00166731.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00166733   00166736   3/4/2022 17:48 Email    St...(4).pdf                                         .\VOL012\IMAGES\IMAGES001\00166733.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00166737   00166740   3/4/2022 17:52 Email    St...(2).pdf                                         .\VOL012\IMAGES\IMAGES001\00166737.pdf
00166741   00166741   3/6/2022 11:26 Email    RE: draft response                                   .\VOL012\IMAGES\IMAGES001\00166741.pdf

00166742   00166742   3/6/2022 18:37 Email    MLS Administrative Draft FEIS Submittal to USACE       .\VOL012\IMAGES\IMAGES001\00166742.pdf
00166743   00166743   3/6/2022 18:38 Email    MLS Administrative Draft FEIS Submittal to EPA         .\VOL012\IMAGES\IMAGES001\00166743.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00166744   00166746    3/7/2022 6:39 Email    St...(1).pdf                                           .\VOL012\IMAGES\IMAGES001\00166744.pdf
                                              RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00166747   00166748    3/7/2022 6:39 Email    Maryland IAPA due 03/04/22                             .\VOL012\IMAGES\IMAGES001\00166747.pdf
00166749   00166749    3/7/2022 6:57 Email    RE: draft response                                     .\VOL012\IMAGES\IMAGES001\00166749.pdf
00166750   00166751   3/7/2022 10:38 Email    RE_ Signing Issue background for NPS(1).pdf            .\VOL012\IMAGES\IMAGES001\00166750.pdf
00166752   00166754   3/7/2022 10:38 Attach   Signing Issue Background Breck edits.docx              .\VOL012\IMAGES\IMAGES001\00166752.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166755   00166758   3/7/2022 10:42 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166755.pdf
                                              RE_ I‐495_I‐270 MLS administrative draft FEIS
00166759   00166761   3/7/2022 10:45 Email    f...(4).pdf                                            .\VOL012\IMAGES\IMAGES001\00166759.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00166762   00166765   3/7/2022 10:49 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00166762.pdf
00166766   00166767   3/7/2022 11:08 Email    RE: draft response                                     .\VOL012\IMAGES\IMAGES001\00166766.pdf
00166768   00166769   3/7/2022 11:11 Email    RE: draft response                                     .\VOL012\IMAGES\IMAGES001\00166768.pdf
00166770   00167243   3/7/2022 11:24 Edoc     Appendix H ‐ VISSIM Analysis Results_cw.pdf            .\VOL012\IMAGES\IMAGES001\00166770.pdf
00167244   00167246   3/7/2022 11:49 Email    RE_ Signing Issue background for NPS(2).pdf            .\VOL012\IMAGES\IMAGES001\00167244.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00167247   00167249   3/7/2022 12:45 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00167247.pdf
00167250   00167252   3/7/2022 14:25 Email    FW: Signing Issue background for NPS                   .\VOL012\IMAGES\IMAGES001\00167250.pdf
                                              RE: EPA Review Requested: I‐495 & I‐270 MLS
00167253   00167255   3/7/2022 15:03 Email    Administrative Draft FEIS                              .\VOL012\IMAGES\IMAGES001\00167253.pdf
00167256   00167258   3/7/2022 15:03 Attach   Admin FEIS ‐ EPA Comment Errata Table.pdf              .\VOL012\IMAGES\IMAGES001\00167256.pdf
                                              RE: EPA Review Requested: I‐495 & I‐270 MLS
00167259   00167261   3/7/2022 15:03 Email    Administrative Draft FEIS                              .\VOL012\IMAGES\IMAGES001\00167259.pdf
00167262   00167264   3/7/2022 15:03 Attach   Admin FEIS ‐ EPA Comment Errata Table.pdf              .\VOL012\IMAGES\IMAGES001\00167262.pdf
                                              Fwd: VDOT Review Requested: I‐495 & I‐270 MLS
00167265   00167267   3/7/2022 15:07 Email    Administrative Draft FEIS                              .\VOL012\IMAGES\IMAGES001\00167265.pdf
00167268   00167268   3/7/2022 15:07 Attach   Admin FEIS ‐ Comment Errata Table_VDOT.docx            .\VOL012\IMAGES\IMAGES001\00167268.pdf
                                              Fwd: VDOT Review Requested: I‐495 & I‐270 MLS
00167269   00167270   3/7/2022 15:07 Email    Administrative Draft FEIS                              .\VOL012\IMAGES\IMAGES001\00167269.pdf
00167271   00167272   3/7/2022 16:04 Email    Maryland: I‐495/I‐270 IAPA                             .\VOL012\IMAGES\IMAGES001\00167271.pdf
00167273   00167273   3/7/2022 16:04 Edoc     Comments.docx                                          .\VOL012\IMAGES\IMAGES001\00167273.pdf
                                              Appendix F_Part1 ‐ Conceptual Guide Signing Plan,
00167274   00167285   3/7/2022 16:04 Edoc     Part 1.pdf                                             .\VOL012\IMAGES\IMAGES001\00167274.pdf
                                              Re: MDE Review Requested: I‐495 & I‐270 MLS
00167286   00167287   3/7/2022 16:34 Email    Administrative Draft FEIS                              .\VOL012\IMAGES\IMAGES001\00167286.pdf
                                              I‐495I‐270MLS_MDE Draft Administrative Draft
                                              FEIS_Comment
00167288   00167329   3/7/2022 16:34 Attach   Letter_03072022_SignedwithAttachments.pdf              .\VOL012\IMAGES\IMAGES001\00167288.pdf
00167330   00167330   3/7/2022 17:25 Email    FHWA Comments                                          .\VOL012\IMAGES\IMAGES001\00167330.pdf
00167331   00167331   3/7/2022 17:44 Email    Almost final Comment Table                             .\VOL012\IMAGES\IMAGES001\00167331.pdf
                                              RE: I‐495/I‐270 MLS administrative draft FEIS for your
00167332   00167334   3/7/2022 20:27 Email    Review                                                 .\VOL012\IMAGES\IMAGES001\00167332.pdf
                                              Admin FEIS ‐ Comment Errata Table Greenhouse Gas
00167335   00167337   3/7/2022 20:27 Attach   comments.docx                                          .\VOL012\IMAGES\IMAGES001\00167335.pdf
                                              RE: [URL Verdict: Neutral][Non‐DoD Source] Re: MDE
                                              Review Requested: I‐495 & I‐270 MLS Administrative
00167338   00167341   3/7/2022 21:13 Email    Draft FEIS                                             .\VOL012\IMAGES\IMAGES001\00167338.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                        Filed 05/03/23                           Page 209 of 263

                                               RE: [URL Verdict: Neutral][Non‐DoD Source] Re: MDE
                                               Review Requested: I‐495 & I‐270 MLS Administrative
00167342   00167345    3/7/2022 21:13 Email    Draft FEIS                                                    .\VOL012\IMAGES\IMAGES001\00167342.pdf
                                               RE: [URL Verdict: Neutral][Non‐DoD Source] Re: MDE
                                               Review Requested: I‐495 & I‐270 MLS Administrative
00167346   00167349    3/7/2022 21:13 Email    Draft FEIS                                                    .\VOL012\IMAGES\IMAGES001\00167346.pdf
                                               RE: [URL Verdict: Neutral][Non‐DoD Source] Re: MDE
                                               Review Requested: I‐495 & I‐270 MLS Administrative
00167350   00167352    3/7/2022 21:13 Email    Draft FEIS                                                    .\VOL012\IMAGES\IMAGES001\00167350.pdf
                                               RE: [URL Verdict: Neutral][Non‐DoD Source] Re: MDE
                                               Review Requested: I‐495 & I‐270 MLS Administrative
00167353   00167355    3/7/2022 21:13 Email    Draft FEIS                                                    .\VOL012\IMAGES\IMAGES001\00167353.pdf
00167356   00167357     3/8/2022 7:07 Email    RE: Maryland: I‐495/I‐270 IAPA                                .\VOL012\IMAGES\IMAGES001\00167356.pdf
00167358   00167359     3/8/2022 7:18 Email    RE: Maryland: I‐495/I‐270 IAPA                                .\VOL012\IMAGES\IMAGES001\00167358.pdf
                                               Appendix F_Part3 ‐ Conceptual Guide Signing Plan,
00167360   00167362     3/8/2022 7:25 Edoc     Part 3.pdf                                                    .\VOL012\IMAGES\IMAGES001\00167360.pdf
00167363   00167364     3/8/2022 7:31 Edoc     2022.03.08_RE_ Maryland_ I‐495_I‐270 IAPA.pdf                 .\VOL012\IMAGES\IMAGES001\00167363.pdf
                                               RE: I‐495 and I‐270 Managed Lane Study ‐ draft
00167365   00167366     3/8/2022 8:10 Email    response                                                      .\VOL012\IMAGES\IMAGES001\00167365.pdf
                                               FW: I‐495 and I‐270 Managed Lane Study ‐ draft
00167367   00167367     3/8/2022 8:21 Email    response                                                      .\VOL012\IMAGES\IMAGES001\00167367.pdf
                                               FW: Toll lane traffic forecast lacks all credibility ‐ Feds
00167368   00167372     3/8/2022 8:52 Email    asked to retract environmental study                          .\VOL012\IMAGES\IMAGES001\00167368.pdf
00167373   00167373     3/8/2022 9:27 Email    Clarification IAPA                                            .\VOL012\IMAGES\IMAGES001\00167373.pdf
00167374   00167375     3/8/2022 9:37 Email    RE: Clarification IAPA                                        .\VOL012\IMAGES\IMAGES001\00167374.pdf
00167376   00167448    3/8/2022 10:05 Attach   CEQ NEPA REGs.pdf                                             .\VOL012\IMAGES\IMAGES001\00167376.pdf

00167449   00167449    3/8/2022 10:17 Attach   2022‐03‐08_FHWA Coordination Mtg Agenda (1).docx              .\VOL012\IMAGES\IMAGES001\00167449.pdf
00167450   00167451    3/8/2022 10:17 Email    Re: I‐495 & I‐270 FHWA Coordination Meeting                   .\VOL012\IMAGES\IMAGES001\00167450.pdf
                                               FW: I‐495/I‐270 MLS administrative draft FEIS for your
00167452   00167455    3/8/2022 10:28 Email    Review                                                        .\VOL012\IMAGES\IMAGES001\00167452.pdf
00167456   00167456    3/8/2022 12:33 Email    Tomorrow's MDOT SHA_FHWA Pre‐Meeting .pdf                     .\VOL012\IMAGES\IMAGES001\00167456.pdf
                                               Jamie Raskin Comment and Resposne_Pages from
                                               T.3.B_Elected Officials_SDEIS Comments and
00167457   00167461    3/8/2022 13:25 Attach   Responses.pdf                                                 .\VOL012\IMAGES\IMAGES001\00167457.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00167462   00167467    3/8/2022 13:30 Email    and I‐270 Managed Lanes Study                                 .\VOL012\IMAGES\IMAGES001\00167462.pdf
00167468   00167468    3/8/2022 13:33 Email    Tomorrow's MDOT SHA/FHWA Pre‐Meeting                          .\VOL012\IMAGES\IMAGES001\00167468.pdf
                                               FW: I‐495/I‐270 MLS administrative draft FEIS for your
00167469   00167473    3/8/2022 14:36 Email    Review                                                        .\VOL012\IMAGES\IMAGES001\00167469.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00167474   00167478    3/8/2022 14:46 Email    Review                                                        .\VOL012\IMAGES\IMAGES001\00167474.pdf
                                               Stevens_Response_836806: New American Legion
00167479   00167480    3/8/2022 15:34 Email    Bridge I‐270 to I‐70 Traffic Relief Plan                      .\VOL012\IMAGES\IMAGES001\00167479.pdf
00167481   00167481    3/8/2022 15:34 Attach   Stevens_Incoming_836806.pdf                                   .\VOL012\IMAGES\IMAGES001\00167481.pdf

00167482   00167482    3/8/2022 15:59 Attach   2022‐0223‐GWMP Options No Brown No Trucks.pdf                 .\VOL012\IMAGES\IMAGES001\00167482.pdf

00167483   00167483    3/8/2022 16:05 Attach   2022‐0223‐GWMP Options No Brown No Trucks.pdf                 .\VOL012\IMAGES\IMAGES001\00167483.pdf
00167484   00167484    3/8/2022 16:34 Email    FHWA Comments ‐ Administrative FEIS and IAPA                  .\VOL012\IMAGES\IMAGES001\00167484.pdf
                                               FEIS_05_Environmental_FHWA_comments_03‐08‐
00167485   00167677    3/8/2022 16:34 Attach   2022.docx                                                     .\VOL012\IMAGES\IMAGES001\00167485.pdf
00167678   00167695    3/8/2022 16:34 Attach   IAPA_03.08.22_FHWA Comments.docx                              .\VOL012\IMAGES\IMAGES001\00167678.pdf
                                               Admin FEIS ‐ Comment
00167696   00167731    3/8/2022 16:34 Attach   Errata_FHWA_comments_03082022.docx                            .\VOL012\IMAGES\IMAGES001\00167696.pdf
                                               Re: [EXTERNAL] NPS Review Requested: I‐495 & I‐270
00167732   00167734    3/8/2022 16:46 Email    MLS Administrative Draft FEIS                                 .\VOL012\IMAGES\IMAGES001\00167732.pdf
                                               I495 & I270 MLS Admin Draft‐ FEIS NPS Comments
00167735   00167735    3/8/2022 16:46 Attach   (1).xlsx                                                      .\VOL012\IMAGES\IMAGES001\00167735.pdf    .\VOL012\NATIVES\NATIVES001\00167735.xlsx
                                               Re: [EXTERNAL] NPS Review Requested: I‐495 & I‐270
00167736   00167737    3/8/2022 16:46 Email    MLS Administrative Draft FEIS                                 .\VOL012\IMAGES\IMAGES001\00167736.pdf
                                               I495 & I270 MLS Admin Draft‐ FEIS NPS Comments
00167738   00167738    3/8/2022 16:46 Attach   (1).xlsx                                                      .\VOL012\IMAGES\IMAGES001\00167738.pdf    .\VOL012\NATIVES\NATIVES001\00167738.xlsx

00167739   00167740    3/8/2022 17:46 Email    RE: FHWA Comments ‐ Administrative FEIS and IAPA              .\VOL012\IMAGES\IMAGES001\00167739.pdf
00167741   00167741     3/9/2022 9:05 Email    M‐NCPPC Comments                                              .\VOL012\IMAGES\IMAGES001\00167741.pdf
00167742   00167742     3/9/2022 9:21 Email    Re: M‐NCPPC Comments                                          .\VOL012\IMAGES\IMAGES001\00167742.pdf
                                               MNCPPC admin draft FEIS ‐ Comment Errata Table
00167743   00167749     3/9/2022 9:21 Attach   (1).docx                                                      .\VOL012\IMAGES\IMAGES001\00167743.pdf
00167750   00167750    3/9/2022 10:33 Email    M‐NCPPC Comments                                              .\VOL012\IMAGES\IMAGES001\00167750.pdf
                                               MNCPPC admin draft FEIS ‐ Comment Errata
00167751   00167757    3/9/2022 10:33 Attach   Table.docx                                                    .\VOL012\IMAGES\IMAGES001\00167751.pdf
                                               Fwd: MNCPPC Comments ‐ MLS Administrative Draft
00167758   00167759    3/9/2022 11:04 Email    FEIS                                                          .\VOL012\IMAGES\IMAGES001\00167758.pdf
                                               MNCPPC admin draft FEIS ‐ Comment Errata
00167760   00167766    3/9/2022 11:04 Attach   Table.docx                                                    .\VOL012\IMAGES\IMAGES001\00167760.pdf
00167767   00167767    3/9/2022 11:41 Email    TIP ID 6432                                                   .\VOL012\IMAGES\IMAGES001\00167767.pdf
00167768   00167768    3/9/2022 11:41 Attach   FY21‐24 TIP ID 6432.pdf                                       .\VOL012\IMAGES\IMAGES001\00167768.pdf
00167769   00167769    3/9/2022 11:59 Email    RE: TIP ID 6432                                               .\VOL012\IMAGES\IMAGES001\00167769.pdf
00167770   00167770    3/9/2022 12:01 Email    FW: TIP ID 6432                                               .\VOL012\IMAGES\IMAGES001\00167770.pdf
00167771   00167775    3/9/2022 14:08 Email    Re: MLS: City of Rockville Coordination Meeting               .\VOL012\IMAGES\IMAGES001\00167771.pdf
00167776   00167777    3/9/2022 15:29 Email    Section 4f de minimis Request for Meeting                     .\VOL012\IMAGES\IMAGES001\00167776.pdf
00167778   00167779    3/9/2022 15:49 Email    RE: Section 4f de minimis Request for Meeting                 .\VOL012\IMAGES\IMAGES001\00167778.pdf
00167780   00167782    3/9/2022 15:51 Email    Re: Section 4f de minimis Request for Meeting                 .\VOL012\IMAGES\IMAGES001\00167780.pdf
00167783   00167784    3/9/2022 15:54 Email    FW: Plummers Island                                           .\VOL012\IMAGES\IMAGES001\00167783.pdf
00167785   00167785    3/9/2022 15:54 Attach   MLS I‐495 I‐270_WBFC Mitigation_CB.xlsx                       .\VOL012\IMAGES\IMAGES001\00167785.pdf    .\VOL012\NATIVES\NATIVES001\00167785.xlsx
                                               RE: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00167786   00167790    3/9/2022 19:28 Email    de minimis Determination Letter                               .\VOL012\IMAGES\IMAGES001\00167786.pdf
                                               _2021‐1230_1st Amendment SHA Right‐of‐Entry
00167791   00167852    3/9/2022 19:28 Attach   Agreement.pdf                                                 .\VOL012\IMAGES\IMAGES001\00167791.pdf
                                               2022‐03‐03_Gaithersburg De Minimis
00167853   00167869    3/9/2022 21:06 Edoc     Letter_Muller.pdf                                             .\VOL012\IMAGES\IMAGES001\00167853.pdf
                                               Re: [EXTERNAL] RE: NPS Coordination Meeting
00167870   00167872    3/10/2022 5:33 Attach   [Towpath Clearance Feedback]                                  .\VOL012\IMAGES\IMAGES001\00167870.pdf
00167873   00167873    3/10/2022 5:33 Attach   I‐495/I‐270 MLS NPS Park Mitigation                           .\VOL012\IMAGES\IMAGES001\00167873.pdf
00167874   00167874    3/10/2022 5:33 Attach   Point of Rocks Property 01.27.22.pdf                          .\VOL012\IMAGES\IMAGES001\00167874.pdf

00167875   00167878    3/10/2022 5:33 Attach   2022‐01‐27_Final Mitigation Plan_NPS Comments.pdf             .\VOL012\IMAGES\IMAGES001\00167875.pdf
00167879   00167881    3/10/2022 8:45 Attach   I‐495 GW Parkway Signing.pdf                                  .\VOL012\IMAGES\IMAGES001\00167879.pdf
00167882   00167884    3/10/2022 8:45 Attach   I‐495 GW Parkway Signing.pdf                                  .\VOL012\IMAGES\IMAGES001\00167882.pdf
00167885   00167886   3/10/2022 10:46 Email    RE_ 495 FONSI.pdf                                             .\VOL012\IMAGES\IMAGES001\00167885.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00167887   00167891   3/10/2022 16:15 Email    de minimis Determination Letter                               .\VOL012\IMAGES\IMAGES001\00167887.pdf
00167892   00167893    3/11/2022 8:35 Email    RE: TIP ID 6432                                               .\VOL012\IMAGES\IMAGES001\00167892.pdf
00167894   00167894   3/11/2022 13:28 Email    FW_ Information Request.pdf                                   .\VOL012\IMAGES\IMAGES001\00167894.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                 Filed 05/03/23                           Page 210 of 263

                                               I‐495 and I‐270 Opportunity Lanes Managed Lanes
00167895   00167895   3/11/2022 13:57 Email    Study SDEIS                                           .\VOL012\IMAGES\IMAGES001\00167895.pdf
                                               I‐495 and I‐270 Opportunity Lanes Managed Lanes
00167896   00167900   3/11/2022 13:57 Attach   Study.transmittal.pdf                                 .\VOL012\IMAGES\IMAGES001\00167896.pdf
                                               Fwd: I‐495 and I‐270 Opportunity Lanes Managed
00167901   00167901   3/11/2022 14:53 Email    Lanes Study SDEIS                                     .\VOL012\IMAGES\IMAGES001\00167901.pdf
                                               RE: FHWA Comments ‐ Administrative FEIS and IAPA
00167902   00167903   3/11/2022 16:17 Email    [Comment Clarification #125]                          .\VOL012\IMAGES\IMAGES001\00167902.pdf
00167904   00167905   3/11/2022 16:32 Email    FW_ Brown Guide Signs on I‐495.pdf                    .\VOL012\IMAGES\IMAGES001\00167904.pdf

00167906   00167908   3/11/2022 16:32 Attach   2020‐01‐23 Project NEXT Meeting ‐ NPS Meeting .pdf    .\VOL012\IMAGES\IMAGES001\00167906.pdf
00167909   00167913   3/11/2022 16:32 Attach   Brown Signs on I‐395.pdf                              .\VOL012\IMAGES\IMAGES001\00167909.pdf
00167914   00167917   3/11/2022 16:35 Email    FW_ Brown Guide Signs on I‐495(1).pdf                 .\VOL012\IMAGES\IMAGES001\00167914.pdf
                                               RE: I‐495 and I‐270 Opportunity Lanes Managed Lanes
00167918   00167918   3/12/2022 14:08 Email    Study SDEIS                                           .\VOL012\IMAGES\IMAGES001\00167918.pdf

00167919   00167921   3/12/2022 15:03 Email    Re: Connect with the Op Lanes Maryland P3 Program     .\VOL012\IMAGES\IMAGES001\00167919.pdf

00167922   00167923   3/13/2022 16:14 Email    ATTORNEY CLIENT PRIVILEGE‐ SECTION 4F DISCUSSION .\VOL012\IMAGES\IMAGES001\00167922.pdf
                                               Section 4f de minimis to individual
00167924   00167926   3/13/2022 16:14 Attach   determination_MLS_March 2022.docx                     .\VOL012\IMAGES\IMAGES001\00167924.pdf
00167927   00167927   3/13/2022 17:18 Email    Background for the March 17 Meeting                   .\VOL012\IMAGES\IMAGES001\00167927.pdf
00167928   00167928   3/13/2022 18:18 Email    Background for the March 17 Meeting.pdf               .\VOL012\IMAGES\IMAGES001\00167928.pdf
00167929   00167931   3/13/2022 18:18 Attach   Signing Issue Background for NPS Meeting.docx         .\VOL012\IMAGES\IMAGES001\00167929.pdf
00167932   00167933   3/13/2022 19:41 Email    MLS‐ American Legion Bridge Shared Use Path           .\VOL012\IMAGES\IMAGES001\00167932.pdf
                                               Re: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00167934   00167939   3/14/2022 10:01 Email    de minimis Determination Letter                       .\VOL012\IMAGES\IMAGES001\00167934.pdf
                                               MLS‐ Responses to Gaithersburg Questions_March
00167940   00167941   3/14/2022 10:01 Attach   2022.docx                                             .\VOL012\IMAGES\IMAGES001\00167940.pdf
00167942   00167945   3/14/2022 10:26 Email    RE_ Brown Guide Signs on I‐495(2).pdf                 .\VOL012\IMAGES\IMAGES001\00167942.pdf
00167946   00167949   3/14/2022 10:46 Email    RE_ Brown Guide Signs on I‐495(3).pdf                 .\VOL012\IMAGES\IMAGES001\00167946.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00167950   00167955   3/14/2022 12:44 Email    de minimis Determination Letter                       .\VOL012\IMAGES\IMAGES001\00167950.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00167956   00167962   3/14/2022 12:52 Email    de minimis Determination Letter                       .\VOL012\IMAGES\IMAGES001\00167956.pdf
00167963   00167963   3/14/2022 13:07 Email    FW: Background for the March 17 Meeting               .\VOL012\IMAGES\IMAGES001\00167963.pdf
00167964   00167968   3/14/2022 13:17 Email    RE_ Brown Guide Signs on I‐495.pdf                    .\VOL012\IMAGES\IMAGES001\00167964.pdf
00167969   00167969   3/14/2022 13:53 Email    RE: TIP ID 6432                                       .\VOL012\IMAGES\IMAGES001\00167969.pdf
00167970   00167970   3/14/2022 15:18 Email    MTOC Letter to Ms. Pollack                            .\VOL012\IMAGES\IMAGES001\00167970.pdf
                                               RE_ I‐495 NEXT ‐‐ Signage for George
00167971   00167971    3/15/2022 9:35 Email    Washington...(7).pdf                                  .\VOL012\IMAGES\IMAGES001\00167971.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00167972   00167974   3/15/2022 14:40 Email    and I‐270 Managed Lanes Study                         .\VOL012\IMAGES\IMAGES001\00167972.pdf

                                               Concurrence Requested by April 15th ‐ MDOT SHA
                                               temporary impact at Clara Barton Parkway for
00167975   00167976   3/15/2022 15:32 Email    Maintenance to I‐495/Cabin John Parkway bridges       .\VOL012\IMAGES\IMAGES001\00167975.pdf
                                               Section 4f NPS_GWMP_temporary occupancy_I495
00167977   00167982   3/15/2022 15:32 Attach   Bridge 1508600+1508700.pdf                            .\VOL012\IMAGES\IMAGES001\00167977.pdf
00167983   00167985   3/15/2022 16:43 Email    RE: TIP ID 6432                                       .\VOL012\IMAGES\IMAGES001\00167983.pdf
00167986   00167987   3/15/2022 18:00 Email    Rockville Contact                                     .\VOL012\IMAGES\IMAGES001\00167986.pdf
00167988   00167988   3/15/2022 19:15 Email    March 17 Meeting‐ Background                          .\VOL012\IMAGES\IMAGES001\00167988.pdf
00167989   00167991   3/15/2022 19:15 Attach   GWMP MLS Signing.docx                                 .\VOL012\IMAGES\IMAGES001\00167989.pdf
00167992   00167992    3/16/2022 7:53 Email    Re: [EXTERNAL] March 17 Meeting‐ Background           .\VOL012\IMAGES\IMAGES001\00167992.pdf
00167993   00167995    3/16/2022 8:00 Email    RE: TIP ID 6432                                       .\VOL012\IMAGES\IMAGES001\00167993.pdf

00167996   00167996    3/16/2022 8:44 Attach   Correspondence from the Rockville Mayor and Council .\VOL012\IMAGES\IMAGES001\00167996.pdf
00167997   00168002    3/16/2022 8:44 Attach   City of Rockville Response_July 15 2020 cc.pdf      .\VOL012\IMAGES\IMAGES001\00167997.pdf

00168003   00168003    3/16/2022 8:44 Attach   Correspondence from the Rockville Mayor and Council .\VOL012\IMAGES\IMAGES001\00168003.pdf
00168004   00168005    3/16/2022 8:44 Attach   MDOT I270&I495 Final 063020.pdf                     .\VOL012\IMAGES\IMAGES001\00168004.pdf
                                               FW: [EXTERNAL] Re: I‐495 & I‐270 MLS‐ Final
00168006   00168009    3/16/2022 9:45 Email    Mitigation Plan                                     .\VOL012\IMAGES\IMAGES001\00168006.pdf
00168010   00168013   3/16/2022 10:47 Email    RE: TIP ID 6432                                     .\VOL012\IMAGES\IMAGES001\00168010.pdf
00168014   00168015   3/16/2022 11:44 Email    RE_ GWMP Signing Discussion.pdf                     .\VOL012\IMAGES\IMAGES001\00168014.pdf
00168016   00168018   3/16/2022 12:41 Email    FW: GWMP Signing Discussion                         .\VOL012\IMAGES\IMAGES001\00168016.pdf
00168019   00168020   3/16/2022 12:44 Email    RE_ GWMP Signing Discussion(1).pdf                  .\VOL012\IMAGES\IMAGES001\00168019.pdf
00168021   00168023   3/16/2022 12:44 Attach   GWMP MLS Signing.docx                               .\VOL012\IMAGES\IMAGES001\00168021.pdf
00168024   00168025   3/16/2022 14:42 Email    RE_ GWMP Signing Discussion(1).pdf                  .\VOL012\IMAGES\IMAGES001\00168024.pdf
00168026   00168027   3/16/2022 15:27 Email    RE: MLS: NPS Coordination Meeting ‐ Biweekly        .\VOL012\IMAGES\IMAGES001\00168026.pdf
                                               2021‐12‐15_NPS Coordination Meeting
00168028   00168032   3/16/2022 15:27 Attach   Notes_FINAL.pdf                                     .\VOL012\IMAGES\IMAGES001\00168028.pdf
00168033   00168034    3/17/2022 8:11 Email    RE: Project Labor Agreement ‐ P3 MD                 .\VOL012\IMAGES\IMAGES001\00168033.pdf
00168035   00168036    3/17/2022 8:11 Attach   MDOT P3 PLA Cover Letter_2022.03.16.docx            .\VOL012\IMAGES\IMAGES001\00168035.pdf
                                               MD P3 AMP PLA Justification Letter_March‐16‐
00168037   00168039    3/17/2022 8:11 Attach   2022.pdf                                            .\VOL012\IMAGES\IMAGES001\00168037.pdf
00168040   00168041    3/17/2022 8:42 Email    Highway Deed Easement                               .\VOL012\IMAGES\IMAGES001\00168040.pdf
00168042   00168043    3/17/2022 8:49 Email    Rockville                                           .\VOL012\IMAGES\IMAGES001\00168042.pdf
00168044   00168045    3/17/2022 8:50 Email    FW: MLS: NPS Coordination Meeting ‐ Biweekly        .\VOL012\IMAGES\IMAGES001\00168044.pdf
00168046   00168047    3/17/2022 8:51 Email    RE: Highway Deed Easement                           .\VOL012\IMAGES\IMAGES001\00168046.pdf
00168048   00168049    3/17/2022 9:29 Email    RE: Rockville                                       .\VOL012\IMAGES\IMAGES001\00168048.pdf
00168050   00168051    3/17/2022 9:43 Email    Section 4(f) Individual Evaluations                 .\VOL012\IMAGES\IMAGES001\00168050.pdf
00168052   00168053   3/17/2022 10:27 Email    RE: Highway Deed Easement                           .\VOL012\IMAGES\IMAGES001\00168052.pdf
00168054   00168055   3/17/2022 10:45 Email    Section 4(f) Individual Evaluations.pdf             .\VOL012\IMAGES\IMAGES001\00168054.pdf

00168056   00168056   3/17/2022 10:45 Attach   FEIS‐ROD Schedule Updated with 4f Legal Suffi.docx    .\VOL012\IMAGES\IMAGES001\00168056.pdf

                                               FW: Updates to 2017 MDOT SHA/FHWA Programmatic
00168057   00168058   3/17/2022 11:06 Email    Agreement for Certain Categorical Exclusions   .\VOL012\IMAGES\IMAGES001\00168057.pdf
                                               MDOT SHA Programmatic Agreement Changes to
00168059   00168061   3/17/2022 11:06 Attach   FHWA_2.17.22.docx                              .\VOL012\IMAGES\IMAGES001\00168059.pdf
                                               2017‐05‐22 FINAL signed PCE Agreement
00168062   00168080   3/17/2022 11:06 Attach   wAttachments.pdf                               .\VOL012\IMAGES\IMAGES001\00168062.pdf
                                               Appendix A PCE for C and P NHB May 22, 2017‐
00168081   00168083   3/17/2022 11:06 Attach   signed.pdf                                     .\VOL012\IMAGES\IMAGES001\00168081.pdf

00168084   00168084   3/17/2022 11:06 Attach   Areawide Cleaning and Painting Bridges FY17.pdf       .\VOL012\IMAGES\IMAGES001\00168084.pdf
                                               Appendix A PCE for Fixed Static Signs May 22, 2017‐
00168085   00168087   3/17/2022 11:06 Attach   signed.pdf                                            .\VOL012\IMAGES\IMAGES001\00168085.pdf
                                               Areawide Fixed Static Signs and Pavement Markings
00168088   00168088   3/17/2022 11:06 Attach   FY17.pdf                                              .\VOL012\IMAGES\IMAGES001\00168088.pdf
                                               Appendix A PCE for Non‐Construction May 22, 2017‐
00168089   00168091   3/17/2022 11:06 Attach   signed.pdf                                            .\VOL012\IMAGES\IMAGES001\00168089.pdf
                                               Areawide Preliminary Engineering and Non
00168092   00168092   3/17/2022 11:06 Attach   Construction Activities FY17.pdf                      .\VOL012\IMAGES\IMAGES001\00168092.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 211 of 263

                                               Appendix A PCE for Preliminary Design May 22, 2017‐
00168093   00168095   3/17/2022 11:06 Attach   signed.pdf                                               .\VOL012\IMAGES\IMAGES001\00168093.pdf
                                               Areawide Preliminary Engineering and Non
00168096   00168096   3/17/2022 11:06 Attach   Construction Activities FY17.pdf                         .\VOL012\IMAGES\IMAGES001\00168096.pdf
                                               Appendix A PCE for RTP Construction May 22, 2017‐
00168097   00168099   3/17/2022 11:06 Attach   signed.pdf                                               .\VOL012\IMAGES\IMAGES001\00168097.pdf
                                               Appendix A PCE for RTP Non‐Construction May 22,
00168100   00168102   3/17/2022 11:06 Attach   2017‐signed.pdf                                          .\VOL012\IMAGES\IMAGES001\00168100.pdf
                                               Areawide Preliminary Engineering and Non
00168103   00168103   3/17/2022 11:06 Attach   Construction Activities FY17.pdf                         .\VOL012\IMAGES\IMAGES001\00168103.pdf
                                               Appendix A PCE for Resurfacing May 22, 2017‐
00168104   00168106   3/17/2022 11:06 Attach   signed.pdf                                               .\VOL012\IMAGES\IMAGES001\00168104.pdf
                                               Areawide Resurface Repatch and Restripe Various
00168107   00168107   3/17/2022 11:06 Attach   Roadways FY17.pdf                                        .\VOL012\IMAGES\IMAGES001\00168107.pdf

00168108   00168110   3/17/2022 11:06 Attach   Appendix A PCE for Signals May 22, 2017‐signed.pdf      .\VOL012\IMAGES\IMAGES001\00168108.pdf
                                               Areawide Modification of traffic and Pedestrian Signals
00168111   00168111   3/17/2022 11:06 Attach   FY17.pdf                                                .\VOL012\IMAGES\IMAGES001\00168111.pdf
                                               Appendix B FMIS_SPD_Project Name_Minor PCE
00168112   00168114   3/17/2022 11:06 Attach   Template_ 01.11.2022.pdf                                .\VOL012\IMAGES\IMAGES001\00168112.pdf
                                               Appendix B FMIS_SPD_Project Name_Mother Contract
00168115   00168117   3/17/2022 11:06 Attach   Minor PCE Template _01.11.2022.pdf                      .\VOL012\IMAGES\IMAGES001\00168115.pdf
                                               Appendix C FMIS_SPD_Project Name_PCE
00168118   00168126   3/17/2022 11:06 Attach   Template_01.11.2022.pdf                                 .\VOL012\IMAGES\IMAGES001\00168118.pdf
                                               Appendix C FMIS_SPD_Project Name_Reevaluation
00168127   00168129   3/17/2022 11:06 Attach   Template_ 01.11.2022.pdf                                .\VOL012\IMAGES\IMAGES001\00168127.pdf
00168130   00168137   3/17/2022 11:49 Attach   2022‐02‐16_Rockville De Minimis.pdf                     .\VOL012\IMAGES\IMAGES001\00168130.pdf

00168138   00168138   3/17/2022 12:21 Email    RE: pl review ‐ opening statement for NPS meeting        .\VOL012\IMAGES\IMAGES001\00168138.pdf
00168139   00168398   3/17/2022 13:07 Attach   IAPA Report 2022‐02‐02.docx                              .\VOL012\IMAGES\IMAGES001\00168139.pdf
                                               Request for Executive Level Meeting with FHWA for
00168399   00168399   3/17/2022 13:44 Email    MLS Project                                              .\VOL012\IMAGES\IMAGES001\00168399.pdf
                                               Request for Executive Level Meeting with FHWA for
00168400   00168400   3/17/2022 13:44 Email    MLS Project                                              .\VOL012\IMAGES\IMAGES001\00168400.pdf
00168401   00168402   3/17/2022 14:22 Email    RE: I‐495 and I‐270 Managed Lane Study                   .\VOL012\IMAGES\IMAGES001\00168401.pdf
00168403   00168403   3/17/2022 14:22 Attach   Maryland General Assembly (002).pdf                      .\VOL012\IMAGES\IMAGES001\00168403.pdf
                                               I 495 & I‐270 MLS Third Draft Section 106 PA for
00168404   00168405   3/17/2022 14:47 Email    review ‐ requested by Friday 3/25 COB                    .\VOL012\IMAGES\IMAGES001\00168404.pdf
00168406   00168406   3/17/2022 14:57 Email    Follow‐up GWMP Signing Meeting.pdf                       .\VOL012\IMAGES\IMAGES001\00168406.pdf
                                               2022‐0316‐GWMP Options with Brown No Trucks A‐
00168407   00168407   3/17/2022 14:57 Attach   .pdf                                                     .\VOL012\IMAGES\IMAGES001\00168407.pdf
                                               RE: I 495 & I‐270 MLS Third Draft Section 106 PA for
00168408   00168409   3/17/2022 15:06 Email    review ‐ requested by Friday 3/25 COB                    .\VOL012\IMAGES\IMAGES001\00168408.pdf

00168410   00168411   3/17/2022 15:48 Email    I 495 & I‐270 MLS Third Draft Section 106 PA fo....pdf   .\VOL012\IMAGES\IMAGES001\00168410.pdf
                                               495_270_MLS_PROGRAMMATIC
00168412   00168454   3/17/2022 15:48 Attach   AGREEMENT_Jan_2022_D.docx                                .\VOL012\IMAGES\IMAGES001\00168412.pdf
00168455   00168457   3/17/2022 16:16 Email    FW: Section 4(f) Individual Evaluations                  .\VOL012\IMAGES\IMAGES001\00168455.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00168458   00168459   3/17/2022 16:42 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00168458.pdf
00168460   00168461   3/17/2022 17:22 Email    Comments                                                 .\VOL012\IMAGES\IMAGES001\00168460.pdf
00168462   00168463   3/17/2022 17:22 Email    Comments                                                 .\VOL012\IMAGES\IMAGES001\00168462.pdf
                                               FW: Request for Executive Level Meeting with FHWA
00168464   00168467   3/18/2022 11:52 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00168464.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00168468   00168469   3/18/2022 12:33 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00168468.pdf
00168470   00168470   3/18/2022 17:01 Email    Re: Sierra Club letter ‐ response                        .\VOL012\IMAGES\IMAGES001\00168470.pdf
00168471   00168472   3/18/2022 18:08 Email    Re: Sierra Club letter ‐ response                        .\VOL012\IMAGES\IMAGES001\00168471.pdf
00168473   00168474   3/20/2022 18:13 Email    MLS‐ Commitment Text in the FEIS                         .\VOL012\IMAGES\IMAGES001\00168473.pdf
                                               RE: I 495 & I‐270 MLS Third Draft Section 106 PA for
00168475   00168476    3/21/2022 9:18 Email    review ‐ requested by Friday 3/25 COB                    .\VOL012\IMAGES\IMAGES001\00168475.pdf
                                               RE: I 495 & I‐270 MLS Third Draft Section 106 PA for
00168477   00168479    3/21/2022 9:30 Email    review ‐ requested by Friday 3/25 COB                    .\VOL012\IMAGES\IMAGES001\00168477.pdf
                                               RE: I 495 & I‐270 MLS Third Draft Section 106 PA for
00168480   00168483    3/21/2022 9:34 Email    review ‐ requested by Friday 3/25 COB                    .\VOL012\IMAGES\IMAGES001\00168480.pdf
                                               RE: I 495 & I‐270 MLS Third Draft Section 106 PA for
00168484   00168487    3/21/2022 9:35 Email    review ‐ requested by Friday 3/25 COB                    .\VOL012\IMAGES\IMAGES001\00168484.pdf

00168488   00168489   3/21/2022 12:44 Email    Re: [EXTERNAL] MLS‐ Commitment Text in the FEIS          .\VOL012\IMAGES\IMAGES001\00168488.pdf

00168490   00168492   3/21/2022 15:41 Email    Re: [EXTERNAL] MLS‐ Commitment Text in the FEIS          .\VOL012\IMAGES\IMAGES001\00168490.pdf

00168493   00168495   3/21/2022 16:00 Email    Fwd: [EXTERNAL] MLS‐ Commitment Text in the FEIS         .\VOL012\IMAGES\IMAGES001\00168493.pdf
00168496   00168497   3/21/2022 16:05 Email    FW: Sierra Club Comment                                  .\VOL012\IMAGES\IMAGES001\00168496.pdf
00168498   00168499   3/21/2022 16:10 Email    IAPA Safety Follow‐Up Information                        .\VOL012\IMAGES\IMAGES001\00168498.pdf
00168500   00168501   3/21/2022 16:32 Email    FW: IAPA Safety Follow‐Up Information                    .\VOL012\IMAGES\IMAGES001\00168500.pdf
00168502   00168504   3/21/2022 17:12 Email    RE: IAPA Safety Follow‐Up Information                    .\VOL012\IMAGES\IMAGES001\00168502.pdf
00168505   00168505   3/21/2022 17:14 Email    Re: MTOC Letter to Ms. Pollack                           .\VOL012\IMAGES\IMAGES001\00168505.pdf
00168506   00168508   3/21/2022 17:17 Email    RE: IAPA Safety Follow‐Up Information                    .\VOL012\IMAGES\IMAGES001\00168506.pdf

00168509   00168509   3/21/2022 17:32 Attach   Appendix K ‐ Predictive Crash Analysis and Sup.pdf       .\VOL012\IMAGES\IMAGES001\00168509.pdf
00168510   00168510    3/22/2022 8:09 Attach   Draft_Agenda_WBFC_3_24_2022.docx                         .\VOL012\IMAGES\IMAGES001\00168510.pdf

00168511   00168511    3/22/2022 8:09 Attach   MLS I‐495 I‐270_WBFC Mitigation_Responses.xlsx           .\VOL012\IMAGES\IMAGES001\00168511.pdf    .\VOL012\NATIVES\NATIVES001\00168511.xlsx
00168512   00168515    3/22/2022 9:39 Email    RE: IAPA Safety Follow‐Up Information                    .\VOL012\IMAGES\IMAGES001\00168512.pdf

00168516   00168519   3/22/2022 10:21 Email    Re: [EXTERNAL] MLS‐ Commitment Text in the FEIS          .\VOL012\IMAGES\IMAGES001\00168516.pdf

00168520   00168522   3/22/2022 10:21 Email    Re: [EXTERNAL] MLS‐ Commitment Text in the FEIS          .\VOL012\IMAGES\IMAGES001\00168520.pdf

00168523   00168526   3/22/2022 10:29 Email    Re: [EXTERNAL] MLS‐ Commitment Text in the FEIS          .\VOL012\IMAGES\IMAGES001\00168523.pdf
                                               RE_ I‐495 NEXT ‐‐ Signage for George
00168527   00168527   3/22/2022 10:58 Email    Washington...(6).pdf                                     .\VOL012\IMAGES\IMAGES001\00168527.pdf
                                               RE_ I‐495 NEXT ‐‐ Signage for George
00168528   00168529   3/22/2022 12:02 Email    Washington...(5).pdf                                     .\VOL012\IMAGES\IMAGES001\00168528.pdf
00168530   00168530   3/22/2022 12:28 Email    MLS IAPA follow‐up                                       .\VOL012\IMAGES\IMAGES001\00168530.pdf
00168531   00168531   3/22/2022 14:45 Email    MDOT MLS IAPA ‐ Appendix K                               .\VOL012\IMAGES\IMAGES001\00168531.pdf
                                               Appendix K ‐ Predictive Crash Analysis and Supporting
00168532   00169059   3/22/2022 14:45 Attach   Information.pdf                                          .\VOL012\IMAGES\IMAGES001\00168532.pdf
00169060   00169060   3/22/2022 16:51 Email    RE: draft briefing                                       .\VOL012\IMAGES\IMAGES001\00169060.pdf
00169061   00169062   3/22/2022 18:03 Email    MLS‐ Replacement Parkland                                .\VOL012\IMAGES\IMAGES001\00169061.pdf
00169063   00169064    3/23/2022 7:49 Email    Historic Plummers Island Access                          .\VOL012\IMAGES\IMAGES001\00169063.pdf
00169065   00169066    3/23/2022 7:49 Email    Historic Plummers Island Access                          .\VOL012\IMAGES\IMAGES001\00169065.pdf
00169067   00169068    3/23/2022 7:57 Email    RE: Highway Deed Easement                                .\VOL012\IMAGES\IMAGES001\00169067.pdf
00169069   00169069    3/23/2022 8:31 Email    RE: draft briefing                                       .\VOL012\IMAGES\IMAGES001\00169069.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 212 of 263

00169070   00169070    3/23/2022 8:53 Attach   Agenda_WBFC_3_24_2022.pdf                              .\VOL012\IMAGES\IMAGES001\00169070.pdf
                                               RE: I‐495 & I‐270 MLS: Washington Biologists' Field
00169071   00169072    3/23/2022 8:53 Email    Club Coordination Meeting ‐ Agenda                     .\VOL012\IMAGES\IMAGES001\00169071.pdf
                                               RE: I‐495 & I‐270 MLS: Washington Biologists' Field
00169073   00169075    3/23/2022 8:57 Email    Club Coordination Meeting                              .\VOL012\IMAGES\IMAGES001\00169073.pdf
00169076   00169076    3/23/2022 8:57 Attach   Agenda_WBFC_3_24_2022.pdf                              .\VOL012\IMAGES\IMAGES001\00169076.pdf
                                               RE: [EXTERNAL] RE: NPS conservation costs ‐ Managed
00169077   00169081   3/23/2022 13:15 Email    Lanes Study                                            .\VOL012\IMAGES\IMAGES001\00169077.pdf
                                               Re: [EXTERNAL] RE: NPS conservation costs ‐ Managed
00169082   00169086   3/23/2022 13:17 Email    Lanes Study                                            .\VOL012\IMAGES\IMAGES001\00169082.pdf
00169087   00169088   3/23/2022 13:54 Email    Plummers Island‐ Impacts and Mitigation                .\VOL012\IMAGES\IMAGES001\00169087.pdf
00169089   00169089   3/23/2022 13:54 Attach   Plummers Island 106 Mitigation.docx                    .\VOL012\IMAGES\IMAGES001\00169089.pdf
00169090   00169090   3/23/2022 13:54 Attach   ALB_Plummers_Impacts_2022.03.21 (1).xlsx               .\VOL012\IMAGES\IMAGES001\00169090.pdf      .\VOL012\NATIVES\NATIVES001\00169090.xlsx
00169091   00169091   3/23/2022 13:54 Email    Plummers Island‐ Impacts and Mitigation                .\VOL012\IMAGES\IMAGES001\00169091.pdf
00169092   00169093   3/23/2022 13:55 Email    FW: Plummers Island‐ Impacts and Mitigation            .\VOL012\IMAGES\IMAGES001\00169092.pdf
                                               Fw: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00169094   00169101   3/23/2022 14:20 Email    de minimis Determination Letter                        .\VOL012\IMAGES\IMAGES001\00169094.pdf
00169102   00169102   3/23/2022 14:48 Email    RE: Follow‐up IAPA discussion                          .\VOL012\IMAGES\IMAGES001\00169102.pdf
00169103   00169104   3/23/2022 15:52 Email    FW_ MDOT MLS IAPA ‐ Appendix K(1).pdf                  .\VOL012\IMAGES\IMAGES001\00169103.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f) de
00169105   00169107   3/23/2022 16:32 Email    minimis Determination Letter                           .\VOL012\IMAGES\IMAGES001\00169105.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f) de
00169108   00169110   3/23/2022 16:32 Email    minimis Determination Letter                           .\VOL012\IMAGES\IMAGES001\00169108.pdf
00169111   00169114   3/23/2022 16:52 Email    Fw: MDOT SHA P3 Working Group                          .\VOL012\IMAGES\IMAGES001\00169111.pdf
00169115   00169117   3/23/2022 17:43 Attach   Final Response to Section 4(f) Letter.pdf              .\VOL012\IMAGES\IMAGES001\00169115.pdf
00169118   00169118   3/23/2022 17:43 Attach   Park Acquisition Sites 3 March 2022.pdf                .\VOL012\IMAGES\IMAGES001\00169118.pdf

00169119   00169121   3/23/2022 19:15 Email    RE_ I 495 & I‐270 MLS Third Draft Section 106 P....pdf   .\VOL012\IMAGES\IMAGES001\00169119.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f)
00169122   00169125    3/24/2022 6:51 Email    de minimis Determination Letter                          .\VOL012\IMAGES\IMAGES001\00169122.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f)
00169126   00169129    3/24/2022 6:54 Email    de minimis Determination Letter                          .\VOL012\IMAGES\IMAGES001\00169126.pdf
                                               Re: I 495 & I‐270 MLS Third Draft Section 106 PA for
00169130   00169133    3/24/2022 6:59 Email    review ‐ requested by Friday 3/25 COB                    .\VOL012\IMAGES\IMAGES001\00169130.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f)
00169134   00169137    3/24/2022 8:55 Email    de minimis Determination Letter                          .\VOL012\IMAGES\IMAGES001\00169134.pdf
00169138   00169138   3/24/2022 11:26 Email    Rockville                                                .\VOL012\IMAGES\IMAGES001\00169138.pdf
                                               Fwd: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f)
00169139   00169141   3/24/2022 12:25 Email    de minimis Determination Letter                          .\VOL012\IMAGES\IMAGES001\00169139.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f)
00169142   00169145   3/24/2022 13:39 Email    de minimis Determination Letter                          .\VOL012\IMAGES\IMAGES001\00169142.pdf
                                               2021‐11‐22_Rockville Coordination Meeting
00169146   00169151   3/24/2022 13:39 Attach   Notes.docx                                               .\VOL012\IMAGES\IMAGES001\00169146.pdf
                                               2021‐01‐19_Rockville Coordination Meeting
00169152   00169159   3/24/2022 13:39 Attach   Notes.docx                                               .\VOL012\IMAGES\IMAGES001\00169152.pdf
                                               2022‐03‐15_MLS Rockville Coordinaiton Related to
00169160   00169166   3/24/2022 13:39 Attach   Parkland Impacts and Mitigations.docx                    .\VOL012\IMAGES\IMAGES001\00169160.pdf
00169167   00169167   3/24/2022 15:02 Email    Elevation Meetings.pdf                                   .\VOL012\IMAGES\IMAGES001\00169167.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00169168   00169170   3/24/2022 15:20 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00169168.pdf
00169171   00169171   3/24/2022 15:27 Email    MD P3 D&C RFP Review                                     .\VOL012\IMAGES\IMAGES001\00169171.pdf

00169172   00169174   3/24/2022 15:29 Email    FW: TRP ‐ Maryland Department of Transportation          .\VOL012\IMAGES\IMAGES001\00169172.pdf
00169175   00169175   3/24/2022 16:20 Attach   Poor Farm Journal May 10, 2000 Pg. 2.jpg                 .\VOL012\IMAGES\IMAGES001\00169175.pdf
00169176   00169176   3/24/2022 16:21 Attach   Poor Farm Journal May 10. 2000. Pg. 1.jpg                .\VOL012\IMAGES\IMAGES001\00169176.pdf

00169177   00169180   3/24/2022 16:47 Email    FW: TRP ‐ Maryland Department of Transportation          .\VOL012\IMAGES\IMAGES001\00169177.pdf

00169181   00169184   3/24/2022 18:33 Email    RE: TRP ‐ Maryland Department of Transportation          .\VOL012\IMAGES\IMAGES001\00169181.pdf
                                               ATTORNEY CLIENT PRIVILEGE‐ MNCPPC ELEVATION
00169185   00169186   3/24/2022 19:25 Email    MEETING                                                  .\VOL012\IMAGES\IMAGES001\00169185.pdf
                                               FW: ATTORNEY CLIENT PRIVILEGE‐ MNCPPC
00169187   00169188    3/25/2022 8:02 Email    ELEVATION MEETING                                        .\VOL012\IMAGES\IMAGES001\00169187.pdf
                                               FW: ATTORNEY CLIENT PRIVILEGE‐ MNCPPC
00169189   00169190    3/25/2022 8:02 Email    ELEVATION MEETING                                        .\VOL012\IMAGES\IMAGES001\00169189.pdf
00169191   00169192    3/25/2022 8:49 Email    MLS‐ Gaithersburg de minimis finding                     .\VOL012\IMAGES\IMAGES001\00169191.pdf
00169193   00169198    3/25/2022 8:49 Attach   MLS_Signed de minimis Letter Gaithersburg.pdf            .\VOL012\IMAGES\IMAGES001\00169193.pdf
00169199   00169200    3/25/2022 9:10 Email    FW: Follow up on EDMS Reply                              .\VOL012\IMAGES\IMAGES001\00169199.pdf
00169201   00169201    3/25/2022 9:10 Attach   sanders, barrett ‐ Privacy Release (MD04).pdf            .\VOL012\IMAGES\IMAGES001\00169201.pdf
                                               Re: [EXTERNAL] Plummers Island‐ Impacts and
00169202   00169203   3/25/2022 10:07 Email    Mitigation                                               .\VOL012\IMAGES\IMAGES001\00169202.pdf
                                               Re: [EXTERNAL] Plummers Island‐ Impacts and
00169204   00169205   3/25/2022 10:07 Email    Mitigation                                               .\VOL012\IMAGES\IMAGES001\00169204.pdf
                                               Re: [EXTERNAL] Plummers Island‐ Impacts and
00169206   00169207   3/25/2022 10:07 Email    Mitigation                                               .\VOL012\IMAGES\IMAGES001\00169206.pdf
00169208   00169211   3/25/2022 15:08 Attach   MLS_ MNCPPC Parkland Impact Map_3‐22.pdf                 .\VOL012\IMAGES\IMAGES001\00169208.pdf
                                               2022‐01‐03_Final Mitigation Plan_Iterations_1‐24‐
00169212   00169222   3/25/2022 15:08 Attach   22_revised 3‐4‐22.docx                                   .\VOL012\IMAGES\IMAGES001\00169212.pdf
00169223   00169224   3/25/2022 15:18 Email    Appendix T                                               .\VOL012\IMAGES\IMAGES001\00169223.pdf
                                               Appendix T Introduction_LSR_April 2022_Draft Final
00169225   00169225   3/25/2022 15:18 Attach   (1).docx                                                 .\VOL012\IMAGES\IMAGES001\00169225.pdf
00169226   00169227   3/25/2022 15:18 Email    Appendix T                                               .\VOL012\IMAGES\IMAGES001\00169226.pdf
                                               Appendix T Introduction_LSR_April 2022_Draft Final
00169228   00169228   3/25/2022 15:18 Attach   (1).docx                                                 .\VOL012\IMAGES\IMAGES001\00169228.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00169229   00169231   3/25/2022 17:48 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00169229.pdf
                                               Fwd: Managed Lanes Study ‐ Montgomery County
00169232   00169232   3/25/2022 18:48 Email    Parkland Mitigation                                      .\VOL012\IMAGES\IMAGES001\00169232.pdf
                                               Federal Agencies Can Stop the Toll Lanes! Tell Our
00169233   00169239   3/27/2022 11:49 Email    Members of Congress to Make It Happen!                   .\VOL012\IMAGES\IMAGES001\00169233.pdf
                                               FW: Request for Executive Level Meeting with FHWA
00169240   00169242    3/28/2022 8:22 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00169240.pdf
                                               FW_ Request for Executive Level Meeting with
00169243   00169245    3/28/2022 9:22 Email    FH...(1).pdf                                             .\VOL012\IMAGES\IMAGES001\00169243.pdf
00169246   00169247    3/28/2022 9:47 Email    RE: Appendix T                                           .\VOL012\IMAGES\IMAGES001\00169246.pdf
                                               Appendix T Introduction_LSR_April 2022_Draft Final
00169248   00169248    3/28/2022 9:47 Attach   FHWA Comments.docx                                       .\VOL012\IMAGES\IMAGES001\00169248.pdf
                                               Re: Request for Executive Level Meeting with FHWA
00169249   00169251    3/28/2022 9:48 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00169249.pdf
                                               Re: Request for Executive Level Meeting with FHWA
00169252   00169255    3/28/2022 9:48 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00169252.pdf
                                               Re: Request for Executive Level Meeting with FHWA
00169256   00169259   3/28/2022 10:05 Email    for MLS Project                                          .\VOL012\IMAGES\IMAGES001\00169256.pdf
                                               Rockville De Minimis Elevation Briefing Paper_3‐28‐
00169260   00169264   3/28/2022 10:05 Attach   22.docx                                                  .\VOL012\IMAGES\IMAGES001\00169260.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 213 of 263

                                               Re: Request for Executive Level Meeting with FHWA
00169265   00169269   3/28/2022 10:05 Email    for MLS Project                                        .\VOL012\IMAGES\IMAGES001\00169265.pdf
00169270   00169271   3/28/2022 10:34 Attach   I‐495 Noise Abatement Request                          .\VOL012\IMAGES\IMAGES001\00169270.pdf
                                               Re_ Request for Executive Level Meeting with
00169272   00169275   3/28/2022 10:49 Email    FH...(1).pdf                                           .\VOL012\IMAGES\IMAGES001\00169272.pdf

00169276   00169280   3/28/2022 11:06 Email    Re_ Request for Executive Level Meeting with FH....pdf .\VOL012\IMAGES\IMAGES001\00169276.pdf
00169281   00169284   3/28/2022 12:20 Attach   2022.03.28 Jeffery Folden_City of Rockville.pdf        .\VOL012\IMAGES\IMAGES001\00169281.pdf
                                               RE: I‐495 & I‐270: Washington Biologists' Field Club
00169285   00169286   3/28/2022 14:46 Email    Coordination Meeting [11/29/2021]                      .\VOL012\IMAGES\IMAGES001\00169285.pdf

                                               2021‐11‐
00169287   00169289   3/28/2022 14:46 Attach   29_WBFC_Coordination_Meeting_Notes_FINAL.pdf           .\VOL012\IMAGES\IMAGES001\00169287.pdf

                                               2021‐11‐
00169290   00169292   3/28/2022 14:46 Attach   29_WBFC_Coordination_Meeting_Notes_FINAL.pdf           .\VOL012\IMAGES\IMAGES001\00169290.pdf
                                               RE: I‐495 & I‐270: Washington Biologists' Field Club
00169293   00169294   3/28/2022 14:46 Email    Coordination Meeting [11/29/2021]                      .\VOL012\IMAGES\IMAGES002\00169293.pdf
                                               RE: I‐495 & I‐270: Washington Biologists' Field Club
00169295   00169296   3/28/2022 14:46 Email    Coordination Meeting [11/29/2021]                      .\VOL012\IMAGES\IMAGES002\00169295.pdf
                                               RE: I‐495 & I‐270 MLS: Washington Biologists' Field
00169297   00169298   3/28/2022 14:48 Email    Club Coordination Meeting [3/24/2022]                  .\VOL012\IMAGES\IMAGES002\00169297.pdf

                                               2022‐03‐
00169299   00169303   3/28/2022 14:48 Attach   24_WBFC_Coordination_Meeting_Notes_FINAL.pdf           .\VOL012\IMAGES\IMAGES002\00169299.pdf

                                               2022‐03‐
00169304   00169308   3/28/2022 14:48 Attach   24_WBFC_Coordination_Meeting_Notes_FINAL.pdf           .\VOL012\IMAGES\IMAGES002\00169304.pdf
                                               RE: I‐495 & I‐270 MLS: Washington Biologists' Field
00169309   00169310   3/28/2022 14:48 Email    Club Coordination Meeting [3/24/2022]                  .\VOL012\IMAGES\IMAGES002\00169309.pdf
                                               RE: I‐495 & I‐270 MLS: Washington Biologists' Field
00169311   00169312   3/28/2022 14:48 Email    Club Coordination Meeting [3/24/2022]                  .\VOL012\IMAGES\IMAGES002\00169311.pdf
00169313   00169316   3/28/2022 15:24 Attach   836633 Goldberg_Incoming.pdf                           .\VOL012\IMAGES\IMAGES002\00169313.pdf
00169317   00169318   3/28/2022 16:24 Email    RE: MLS‐ Gaithersburg de minimis finding               .\VOL012\IMAGES\IMAGES002\00169317.pdf
00169319   00169324   3/28/2022 16:24 Attach   MLS_Signed de minimis Letter Gaithersburg.pdf          .\VOL012\IMAGES\IMAGES002\00169319.pdf
00169325   00169326    3/29/2022 7:51 Email    RE: Appendix T                                         .\VOL012\IMAGES\IMAGES002\00169325.pdf
00169327   00169328    3/29/2022 7:51 Email    RE: Appendix T                                         .\VOL012\IMAGES\IMAGES002\00169327.pdf
00169329   00169330    3/29/2022 8:53 Email    RE: MD P3 D&C RFP Review                               .\VOL012\IMAGES\IMAGES002\00169329.pdf
                                               FHWA Review Comments_12‐21‐2022_DC Draft
00169331   00169351    3/29/2022 8:53 Attach   RFP_MDOT Response_Submittal_20220328.docx              .\VOL012\IMAGES\IMAGES002\00169331.pdf
00169352   00169354   3/29/2022 11:21 Email    RE: Appendix T                                         .\VOL012\IMAGES\IMAGES002\00169352.pdf
00169355   00169357   3/29/2022 11:21 Email    RE: Appendix T                                         .\VOL012\IMAGES\IMAGES002\00169355.pdf
                                               2022.03.16 Bray to Hogan 837110 (2nd Potomac R
00169358   00169361   3/29/2022 12:56 Attach   xing).pdf                                              .\VOL012\IMAGES\IMAGES002\00169358.pdf

00169362   00169363   3/29/2022 14:43 Email    Request for Information: NCPC Agreement with WBFC .\VOL012\IMAGES\IMAGES002\00169362.pdf

00169364   00169364   3/29/2022 14:43 Email    Request for Information: NCPC Agreement with WBFC .\VOL012\IMAGES\IMAGES002\00169364.pdf
00169365   00169366   3/29/2022 14:49 Email    RE: Appendix T                                       .\VOL012\IMAGES\IMAGES002\00169365.pdf
                                               RE: Timely Follow Up**RE: Meeting Request: MDOT
00169367   00169368   3/29/2022 14:56 Email    SHA and FHWA                                         .\VOL012\IMAGES\IMAGES002\00169367.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00169369   00169371   3/29/2022 15:04 Email    for MLS Project                                      .\VOL012\IMAGES\IMAGES002\00169369.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00169372   00169375   3/29/2022 16:21 Email    for MLS Project                                      .\VOL012\IMAGES\IMAGES002\00169372.pdf
                                               Re: [EXTERNAL] Request for Information: NCPC
00169376   00169377   3/29/2022 16:22 Email    Agreement with WBFC                                  .\VOL012\IMAGES\IMAGES002\00169376.pdf
                                               Agreement ‐ NPS and Washington Biologists Field Club
00169378   00169383   3/29/2022 16:22 Attach   1959.PDF                                             .\VOL012\IMAGES\IMAGES002\00169378.pdf
                                               Re: [EXTERNAL] Request for Information: NCPC
00169384   00169385   3/29/2022 16:22 Email    Agreement with WBFC                                  .\VOL012\IMAGES\IMAGES002\00169384.pdf
                                               FW: Request for Executive Level Meeting with FHWA
00169386   00169389   3/29/2022 16:25 Email    for MLS Project                                      .\VOL012\IMAGES\IMAGES002\00169386.pdf
00169390   00169392   3/29/2022 16:32 Edoc     HEP Briefing Paper on MLS ‐ MNCPPC 4f_mc.docx        .\VOL012\IMAGES\IMAGES002\00169390.pdf
00169393   00169394   3/29/2022 16:42 Email    FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00169393.pdf

00169395   00169396   3/29/2022 16:45 Email    FW: Draft Briefing paper for MNCPPC 4(f) Meeting       .\VOL012\IMAGES\IMAGES002\00169395.pdf
00169397   00169398   3/29/2022 17:07 Email    Re: FHWA Action Required: Revised FEIS                 .\VOL012\IMAGES\IMAGES002\00169397.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00169399   00169403    3/30/2022 7:39 Email    for MLS Project                                        .\VOL012\IMAGES\IMAGES002\00169399.pdf
00169404   00169405    3/30/2022 8:24 Email    RE: FHWA Action Required: Revised FEIS                 .\VOL012\IMAGES\IMAGES002\00169404.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00169406   00169411   3/30/2022 10:23 Email    for MLS Project                                        .\VOL012\IMAGES\IMAGES002\00169406.pdf
00169412   00169413   3/30/2022 11:46 Email    Prep Meeting                                           .\VOL012\IMAGES\IMAGES002\00169412.pdf
00169414   00169416   3/30/2022 12:42 Email    Fw: MLS‐ Gaithersburg de minimis finding               .\VOL012\IMAGES\IMAGES002\00169414.pdf
                                               Re: [EXTERNAL] Request for Information: NCPC
00169417   00169419   3/30/2022 13:51 Email    Agreement with WBFC                                    .\VOL012\IMAGES\IMAGES002\00169417.pdf
                                               1959_3_5 Signed Agreement and Stipulation NPS and
00169420   00169425   3/30/2022 13:51 Attach   WBFC.pdf                                               .\VOL012\IMAGES\IMAGES002\00169420.pdf
                                               1959_7_28 Order of the Court Civil Case Number
00169426   00169427   3/30/2022 13:51 Attach   10676.pdf                                              .\VOL012\IMAGES\IMAGES002\00169426.pdf
                                               1959_7_24 Stipulation of the Court Civil Case Number
00169428   00169431   3/30/2022 13:51 Attach   10676.pdf                                              .\VOL012\IMAGES\IMAGES002\00169428.pdf

00169432   00169432   3/30/2022 13:51 Attach   1959_8_12 Certification from Clerk of the Court.pdf    .\VOL012\IMAGES\IMAGES002\00169432.pdf

00169433   00169457   3/30/2022 13:51 Attach   Docket No. 19 ‐ Maryland Civil Case No. 10676.pdf      .\VOL012\IMAGES\IMAGES002\00169433.pdf
00169458   00169474   3/30/2022 13:51 Attach   Docket No. 3 ‐ Maryland Civil Case No. 10676.pdf       .\VOL012\IMAGES\IMAGES002\00169458.pdf
00169475   00169476   3/30/2022 13:51 Attach   Docket No. 2 ‐ Maryland Civil Case No. 10676.pdf       .\VOL012\IMAGES\IMAGES002\00169475.pdf
00169477   00169497   3/30/2022 13:51 Attach   Docket No. 1 ‐ Maryland Civil Case No. 10676.pdf       .\VOL012\IMAGES\IMAGES002\00169477.pdf
                                               Re: [EXTERNAL] Request for Information: NCPC
00169498   00169500   3/30/2022 13:51 Email    Agreement with WBFC                                    .\VOL012\IMAGES\IMAGES002\00169498.pdf
                                               Re: [EXTERNAL] Request for Information: NCPC
00169501   00169504   3/30/2022 14:03 Email    Agreement with WBFC                                    .\VOL012\IMAGES\IMAGES002\00169501.pdf
                                               Re: I‐495 & I‐270 MLS: Washington Biologists' Field
00169505   00169506   3/30/2022 22:30 Email    Club Coordination Meeting [3/24/2022]                  .\VOL012\IMAGES\IMAGES002\00169505.pdf
00169507   00169508    3/31/2022 8:56 Email    RE: email addresses                                    .\VOL012\IMAGES\IMAGES002\00169507.pdf
00169509   00169509    3/31/2022 9:04 Email    Re: Slide from Yesterday                               .\VOL012\IMAGES\IMAGES002\00169509.pdf
00169510   00169510   3/31/2022 10:22 Email    RE: MNCPPC                                             .\VOL012\IMAGES\IMAGES002\00169510.pdf
                                               2022.03.29 Pomento to Bray 837110 (2nd Potomac R
00169511   00169512   3/31/2022 10:42 Attach   xing).pdf                                              .\VOL012\IMAGES\IMAGES002\00169511.pdf
00169513   00169513   3/31/2022 11:03 Email    Mitigation Table                                       .\VOL012\IMAGES\IMAGES002\00169513.pdf
                                               Re: [EXTERNAL] Request for Information: NCPC
00169514   00169517   3/31/2022 11:30 Email    Agreement with WBFC                                    .\VOL012\IMAGES\IMAGES002\00169514.pdf
00169518   00169519   3/31/2022 11:34 Email    FW: Mitigation Table                                   .\VOL012\IMAGES\IMAGES002\00169518.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 214 of 263

                                               Comprehensive Mitigation Summary Table_M‐NCPPC
00169520   00169524   3/31/2022 11:34 Attach   03.31.22.docx                                        .\VOL012\IMAGES\IMAGES002\00169520.pdf
00169525   00169525   3/31/2022 11:41 Email    RE: Safety comments                                  .\VOL012\IMAGES\IMAGES002\00169525.pdf
                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
                                               Draft, Comments Requested by May 2,, 2022 ‐
00169526   00169527   3/31/2022 13:09 Email    TREATMENT PLANS/ATTACHMENTS LINK                     .\VOL012\IMAGES\IMAGES002\00169526.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Third
00169528   00169530   3/31/2022 13:15 Email    Draft, Comments Requested by April 14, 2022              .\VOL012\IMAGES\IMAGES002\00169528.pdf
00169531   00169545   3/31/2022 13:15 Attach   Letter_MLS_106_PA‐LOD_Update_2022.pdf                    .\VOL012\IMAGES\IMAGES002\00169531.pdf

                                               Att‐
00169546   00169561   3/31/2022 13:15 Attach   2_MLS_106_PA_DRAFT_2_Comment_Responses.pdf               .\VOL012\IMAGES\IMAGES002\00169546.pdf

                                                I‐495 and I‐270 MLS Section 106 Materials, PA Third
00169562   00169564   3/31/2022 13:15 Email    Draft, Comments Requested by April 14, 2022              .\VOL012\IMAGES\IMAGES002\00169562.pdf
                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
                                               Draft, Comments Requested by May 2,, 2022 ‐
00169565   00169566   3/31/2022 13:17 Email    TREATMENT PLANS/ATTACHMENTS LINK                         .\VOL012\IMAGES\IMAGES002\00169565.pdf
                                               Re: [EXTERNAL] I‐495 and I‐270 MLS Section 106
                                               Materials, PA Second Draft, Comments Requested by
                                               May 2,, 2022 ‐ TREATMENT PLANS/ATTACHMENTS
00169567   00169569   3/31/2022 13:22 Email    LINK                                                     .\VOL012\IMAGES\IMAGES002\00169567.pdf
00169570   00169571   3/31/2022 13:23 Email    Re: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00169570.pdf
00169572   00169573   3/31/2022 13:23 Email    Re: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00169572.pdf
00169574   00169576   3/31/2022 14:07 Email    FW: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00169574.pdf
                                               FW: Section 106 Consultation: I‐495 & I‐270 MLS
                                               Section 106 ‐ Attached Letters from FHWA regarding
00169577   00169581   3/31/2022 14:11 Email    invited signatories                                      .\VOL012\IMAGES\IMAGES002\00169577.pdf

00169582   00169583   3/31/2022 14:17 Email    I‐495 and I‐270 MLS Section 106 Materials, PA T....pdf   .\VOL012\IMAGES\IMAGES002\00169582.pdf
00169584   00169586   3/31/2022 14:30 Email    RE: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00169584.pdf
00169587   00169589   3/31/2022 14:30 Email    RE: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00169587.pdf
00169590   00169593   3/31/2022 14:32 Email    RE: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00169590.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00169594   00169595   3/31/2022 14:47 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES002\00169594.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00169596   00169597   3/31/2022 14:47 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES002\00169596.pdf
00169598   00169606   3/31/2022 14:49 Attach   RE: Op Lanes Maryland Presentation                   .\VOL012\IMAGES\IMAGES002\00169598.pdf

                                               FW: I‐495 and I‐270 MLS Section 106 Materials, PA
00169607   00169609   3/31/2022 15:33 Email    Third Draft, Comments Requested by April 14, 2022        .\VOL012\IMAGES\IMAGES002\00169607.pdf

00169610   00169610   3/31/2022 15:34 Edoc     Att‐1a_MLS_106_APE‐LOD_RiverRoad_MD190.pdf               .\VOL012\IMAGES\IMAGES002\00169610.pdf
00169611   00169611   3/31/2022 15:34 Edoc     Att‐1b_MLS_106_APE‐LOD_ClaraBartonPkwy.pdf               .\VOL012\IMAGES\IMAGES002\00169611.pdf
00169612   00169612   3/31/2022 15:34 Edoc     Att‐1c_MLS_106_APE‐LOD_WoottonParkway.pdf                .\VOL012\IMAGES\IMAGES002\00169612.pdf

                                               RE: I‐495 and I‐270 MLS Section 106 Materials, PA
00169613   00169614   3/31/2022 15:39 Email    Second Draft, Comments Requested by May 2, 2022          .\VOL012\IMAGES\IMAGES002\00169613.pdf
00169615   00169616   3/31/2022 16:16 Email    FW: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00169615.pdf
                                               FHWA_Admin FEIS ‐ Comment Errata_FEIS Chapters
00169617   00169640   3/31/2022 16:16 Attach   only.docx                                                .\VOL012\IMAGES\IMAGES002\00169617.pdf
00169641   00169848   3/31/2022 16:16 Attach   FEIS_05_Environmental_03‐29‐2022.docx                    .\VOL012\IMAGES\IMAGES002\00169641.pdf
00169849   00169849   3/31/2022 16:16 Attach   Microsoft_Excel_Worksheet.xlsx                           .\VOL012\IMAGES\IMAGES002\00169849.pdf    .\VOL012\NATIVES\NATIVES002\00169849.xlsx
00169850   00169875   3/31/2022 16:16 Attach   FEIS_00_ExecutiveSummary_03‐29‐2022.docx                 .\VOL012\IMAGES\IMAGES002\00169850.pdf
                                               FEIS_09_DEIS&SDEIS CommentsResponses_03‐29‐
00169876   00169952   3/31/2022 16:16 Attach   2022.docx                                                .\VOL012\IMAGES\IMAGES002\00169876.pdf
                                               Perez, Keilyn (FHWA) shared the folder
00169953   00169953   3/31/2022 16:22 Email    _MLS_FEI...(1).pdf                                       .\VOL012\IMAGES\IMAGES002\00169953.pdf
00169954   00169955   3/31/2022 17:16 Email    FW_ FHWA Action Required_ Revised FEIS.pdf               .\VOL012\IMAGES\IMAGES002\00169954.pdf
00169956   00169957   3/31/2022 17:43 Email    FW_ FHWA Action Required_ Revised FEIS.pdf               .\VOL012\IMAGES\IMAGES002\00169956.pdf

00169958   00169958   3/31/2022 18:10 Attach   M‐NCPPC Parkland Impact ‐ De Minimis Summary.docx .\VOL012\IMAGES\IMAGES002\00169958.pdf
                                               M‐NCPPC Park Replacement Sites Overview Map
00169959   00169959   3/31/2022 18:10 Attach   12.30.21.pdf                                         .\VOL012\IMAGES\IMAGES002\00169959.pdf
00169960   00169961     4/1/2022 8:36 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00169960.pdf
00169962   00169963     4/1/2022 8:44 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00169962.pdf
00169964   00169964     4/1/2022 9:47 Email    FW: Greg's Remarks                                   .\VOL012\IMAGES\IMAGES002\00169964.pdf
00169965   00169965     4/1/2022 9:47 Attach   MNCPPC Elevation Meeting V2.docx                     .\VOL012\IMAGES\IMAGES002\00169965.pdf
00169966   00169966     4/1/2022 9:48 Email    FW: Briefing materials for M‐NCPPC 4(f) Meeting      .\VOL012\IMAGES\IMAGES002\00169966.pdf
00169967   00169970     4/1/2022 9:50 Email    FW: GWMP Project Deadlines                           .\VOL012\IMAGES\IMAGES002\00169967.pdf
00169971   00169973     4/1/2022 9:51 Email    Re: Sierra Club letter ‐ response                    .\VOL012\IMAGES\IMAGES002\00169971.pdf
                                               FYI‐Escalation Meetings Today on Maryland I‐495/I‐
00169974   00169974     4/1/2022 9:54 Email    270 MLS Project                                      .\VOL012\IMAGES\IMAGES002\00169974.pdf
00169975   00169977    4/1/2022 10:57 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00169975.pdf
                                               Admin FEIS ‐ Comment Errata Table 3 7 2022 AM
00169978   00170013    4/1/2022 10:57 Attach   combined 03 08 2022 w Names.docx                     .\VOL012\IMAGES\IMAGES002\00169978.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00170014   00170022    4/1/2022 11:36 Email    de minimis Determination Letter                      .\VOL012\IMAGES\IMAGES002\00170014.pdf
00170023   00170028    4/1/2022 11:36 Attach   MLS_Signed de minimis Letter Gaithersburg.pdf        .\VOL012\IMAGES\IMAGES002\00170023.pdf
                                               RE: I‐495 & I‐270 Managed Lanes Study ‐ Section 4(f)
00170029   00170037    4/1/2022 11:36 Email    de minimis Determination Letter                      .\VOL012\IMAGES\IMAGES002\00170029.pdf
00170038   00170043    4/1/2022 11:36 Attach   MLS_Signed de minimis Letter Gaithersburg.pdf        .\VOL012\IMAGES\IMAGES002\00170038.pdf
00170044   00170046    4/1/2022 11:41 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170044.pdf
00170047   00170049    4/1/2022 11:41 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170047.pdf
00170050   00170050    4/1/2022 11:41 Attach   Microsoft_Excel_Worksheet.xlsx                       .\VOL012\IMAGES\IMAGES002\00170050.pdf        .\VOL012\NATIVES\NATIVES002\00170050.xlsx
00170051   00170052    4/1/2022 11:54 Email    FW: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170051.pdf
00170053   00170055    4/1/2022 11:55 Email    Re: Sierra Club letter ‐ response                    .\VOL012\IMAGES\IMAGES002\00170053.pdf
00170056   00170058    4/1/2022 11:57 Email    RE_ FHWA Action Required_ Revised FEIS.pdf           .\VOL012\IMAGES\IMAGES002\00170056.pdf
00170059   00170059    4/1/2022 11:57 Attach   image003.png                                         .\VOL012\IMAGES\IMAGES002\00170059.pdf
00170060   00170062    4/1/2022 12:41 Email    RE_ FHWA Action Required_ Revised FEIS(1).pdf        .\VOL012\IMAGES\IMAGES002\00170060.pdf
                                               RE: Request for Executive Level Meeting with FHWA
00170063   00170067    4/1/2022 12:51 Email    for MLS Project                                      .\VOL012\IMAGES\IMAGES002\00170063.pdf
00170068   00170069    4/1/2022 12:54 Email    FW: Sierra Club letter ‐ response                    .\VOL012\IMAGES\IMAGES002\00170068.pdf
                                               Sierra Club SDEIS Comments and Draft
00170070   00170081    4/1/2022 12:54 Attach   Responses_March 18 2022.docx                         .\VOL012\IMAGES\IMAGES002\00170070.pdf
00170082   00170083    4/1/2022 13:41 Email    MLS Request: Example Record of Decision (ROD)        .\VOL012\IMAGES\IMAGES002\00170082.pdf
                                               Re: [EXTERNAL] MLS Request: Example Record of
00170084   00170086    4/1/2022 13:44 Email    Decision (ROD)                                       .\VOL012\IMAGES\IMAGES002\00170084.pdf
00170087   00170090    4/1/2022 14:30 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170087.pdf
00170091   00170094    4/1/2022 14:30 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170091.pdf
00170095   00170098    4/1/2022 14:44 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170095.pdf
00170099   00170102    4/1/2022 14:44 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170099.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                Filed 05/03/23                            Page 215 of 263

00170103   00170106   4/1/2022 14:47 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170103.pdf
00170107   00170110   4/1/2022 14:47 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170107.pdf
00170111   00170111   4/1/2022 14:53 Email    Track change review                                  .\VOL012\IMAGES\IMAGES002\00170111.pdf
                                              Fw: [EXTERNAL] Plummers Island‐ Impacts and
00170112   00170116    4/3/2022 8:47 Email    Mitigation                                           .\VOL012\IMAGES\IMAGES002\00170112.pdf

00170117   00170126    4/3/2022 8:47 Attach   ALB Proposed Pier Locations‐Plummer's Island.pdf     .\VOL012\IMAGES\IMAGES002\00170117.pdf
00170127   00170127    4/3/2022 8:47 Attach   2022.03.22_PI_Zoom_Boundary_LOD.pdf                  .\VOL012\IMAGES\IMAGES002\00170127.pdf
00170128   00170128    4/3/2022 8:47 Attach   2021.12.14 1045 ALB at Plummer's Island.pdf          .\VOL012\IMAGES\IMAGES002\00170128.pdf
                                              Re: I‐495 & I‐270: Washington Biologists' Field Club
00170129   00170130    4/3/2022 8:47 Attach   Coordination Meeting                                 .\VOL012\IMAGES\IMAGES002\00170129.pdf
00170131   00170131    4/3/2022 8:48 Attach   2022.03.22_PI_Zoom_Boundary_LOD.pdf                  .\VOL012\IMAGES\IMAGES002\00170131.pdf
                                              Re: [EXTERNAL] Plummers Island‐ Impacts and
00170132   00170135    4/3/2022 8:49 Email    Mitigation                                           .\VOL012\IMAGES\IMAGES002\00170132.pdf
00170136   00170136    4/3/2022 8:49 Attach   2022.03.22_PI_Zoom_Boundary_LOD.pdf                  .\VOL012\IMAGES\IMAGES002\00170136.pdf
                                              Re: I‐495 & I‐270: Washington Biologists' Field Club
00170137   00170138    4/3/2022 8:49 Attach   Coordination Meeting                                 .\VOL012\IMAGES\IMAGES002\00170137.pdf
00170139   00170140    4/4/2022 9:51 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170139.pdf
00170141   00170142   4/4/2022 10:58 Email    MLS‐ Final Section 4(f) Evaluation                   .\VOL012\IMAGES\IMAGES002\00170141.pdf
00170143   00170146   4/4/2022 11:41 Email    FW: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170143.pdf
00170147   00170148   4/4/2022 12:00 Email    MLS‐ Final Section 4(f) Evaluation.pdf               .\VOL012\IMAGES\IMAGES002\00170147.pdf
00170149   00170150   4/4/2022 15:06 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170149.pdf
00170151   00170151   4/4/2022 15:56 Email    FW: Managed Lanes Study ‐ SEIS Comment Letter        .\VOL012\IMAGES\IMAGES002\00170151.pdf
00170152   00170154   4/4/2022 16:00 Email    FW: [EXTERNAL] Capper Cramton/Clara Barton           .\VOL012\IMAGES\IMAGES002\00170152.pdf
                                              FW: [EXTERNAL] 1941‐ Capper Cramton Administrative
00170155   00170157   4/4/2022 16:01 Email    Agreement                                            .\VOL012\IMAGES\IMAGES002\00170155.pdf
00170158   00170158   4/4/2022 16:04 Email    1941 Agreement                                       .\VOL012\IMAGES\IMAGES002\00170158.pdf
00170159   00170160   4/4/2022 18:04 Email    MLS ‐ American Legion Bridge Shared Use Path         .\VOL012\IMAGES\IMAGES002\00170159.pdf
00170161   00170162    4/5/2022 8:17 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170161.pdf
00170163   00170164    4/5/2022 9:36 Email    RE: Phone Call?                                      .\VOL012\IMAGES\IMAGES002\00170163.pdf
                                              Friends of Moses Hall CP INTERIM Comments to I‐495
                                              and I‐270 MLS Section 106 Materials and PA Third
00170165   00170165   4/5/2022 10:00 Email    Draft                                                .\VOL012\IMAGES\IMAGES002\00170165.pdf
00170166   00170168   4/5/2022 10:00 Attach   FMH ‐ Interim Comment Ltr ‐ 04.05.22.pdf             .\VOL012\IMAGES\IMAGES002\00170166.pdf
00170169   00170171   4/5/2022 10:36 Email    FW: Section 4(f) Elevation Meeting w/MNCPPC          .\VOL012\IMAGES\IMAGES002\00170169.pdf
00170172   00170173   4/5/2022 11:00 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170172.pdf
                                              Friends of Moses Hall CP INTERIM Comments to I‐
00170174   00170174   4/5/2022 11:02 Email    ....pdf                                              .\VOL012\IMAGES\IMAGES002\00170174.pdf
00170175   00170177   4/5/2022 11:26 Email    Re: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170175.pdf
                                              Proposed Response: Friends of Moses Hall CP
                                              INTERIM Comments to I‐495 and I‐270 MLS Section
00170178   00170180   4/5/2022 11:55 Email    106 Materials and PA Third Draft                     .\VOL012\IMAGES\IMAGES002\00170178.pdf

00170181   00170181   4/5/2022 11:56 Email    RE: mitigation and 4(f) package agreement 4‐6‐22     .\VOL012\IMAGES\IMAGES002\00170181.pdf
                                              FW: Friends of Moses Hall CP INTERIM Comments to I‐
                                              495 and I‐270 MLS Section 106 Materials and PA Third
00170182   00170182   4/5/2022 12:28 Email    Draft                                                .\VOL012\IMAGES\IMAGES002\00170182.pdf
00170183   00170183   4/5/2022 12:37 Email    April 6 FHWA Coordination Meeting                    .\VOL012\IMAGES\IMAGES002\00170183.pdf
                                              RE: Proposed Response: Friends of Moses Hall CP
                                              INTERIM Comments to I‐495 and I‐270 MLS Section
00170184   00170187   4/5/2022 12:43 Email    106 Materials and PA Third Draft                     .\VOL012\IMAGES\IMAGES002\00170184.pdf
00170188   00170189   4/5/2022 12:47 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170188.pdf
00170190   00170190   4/5/2022 13:27 Email    RE: April 6 FHWA Coordination Meeting                .\VOL012\IMAGES\IMAGES002\00170190.pdf
00170191   00170192   4/5/2022 13:31 Email    MLS‐ MNCPPC Section 4(f) de minimis letter           .\VOL012\IMAGES\IMAGES002\00170191.pdf
00170193   00170194   4/5/2022 13:37 Email    Fw: Sierra Club letter ‐ response                    .\VOL012\IMAGES\IMAGES002\00170193.pdf
00170195   00170196   4/5/2022 13:42 Email    Sierra Club Letters                                  .\VOL012\IMAGES\IMAGES002\00170195.pdf

00170197   00170379   4/5/2022 13:42 Attach   2021‐11‐30 ‐ Sierra Club et al. SDEIS comments.pdf   .\VOL012\IMAGES\IMAGES002\00170197.pdf
00170380   00170382   4/5/2022 13:47 Email    RE: Sierra Club letter ‐ response                    .\VOL012\IMAGES\IMAGES002\00170380.pdf
00170383   00170385   4/5/2022 14:34 Email    RE_ FHWA Action Required_ Revised FEIS(2).pdf        .\VOL012\IMAGES\IMAGES002\00170383.pdf
00170386   00170387   4/5/2022 14:35 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170386.pdf
00170388   00170388   4/5/2022 14:49 Email    Track Change Version FEIS                            .\VOL012\IMAGES\IMAGES002\00170388.pdf

00170389   00170392   4/5/2022 14:49 Attach   Track Change FEIS ‐ Comment Errata Table FHWA.docx .\VOL012\IMAGES\IMAGES002\00170389.pdf
00170393   00170394   4/5/2022 14:57 Email    FW: Sierra Club letter ‐ response                    .\VOL012\IMAGES\IMAGES002\00170393.pdf
                                              Sierra Club DEIS Comments and Draft
00170395   00170402   4/5/2022 14:57 Attach   Responses_March 18 2022.docx                         .\VOL012\IMAGES\IMAGES002\00170395.pdf
00170403   00170403   4/5/2022 15:18 Email    RE: MLS‐ MNCPPC Section 4(f) de minimis letter       .\VOL012\IMAGES\IMAGES002\00170403.pdf
00170404   00170405   4/5/2022 15:33 Email    FW: MLS‐ MNCPPC Section 4(f) de minimis letter       .\VOL012\IMAGES\IMAGES002\00170404.pdf
                                              RE: Friends of Moses Hall CP INTERIM Comments to I‐
                                              495 and I‐270 MLS Section 106 Materials and PA Third
00170406   00170407   4/5/2022 15:37 Email    Draft                                                .\VOL012\IMAGES\IMAGES002\00170406.pdf
00170408   00170412   4/5/2022 16:40 Attach   3300_001.pdf                                         .\VOL012\IMAGES\IMAGES002\00170408.pdf
                                              RE: Friends of Moses Hall CP INTERIM Comments to I‐
                                              495 and I‐270 MLS Section 106 Materials and PA Third
00170413   00170414   4/5/2022 16:46 Email    Draft                                                .\VOL012\IMAGES\IMAGES002\00170413.pdf
                                              RE: Friends of Moses Hall CP INTERIM Comments to I‐
                                              495 and I‐270 MLS Section 106 Materials and PA Third
00170415   00170416   4/5/2022 16:46 Email    Draft                                                .\VOL012\IMAGES\IMAGES002\00170415.pdf
                                              RE_ Friends of Moses Hall CP INTERIM Comments
00170417   00170418   4/5/2022 17:46 Email    t....pdf                                             .\VOL012\IMAGES\IMAGES002\00170417.pdf
00170419   00170422   4/5/2022 18:22 Email    RE: FHWA Action Required: Revised FEIS               .\VOL012\IMAGES\IMAGES002\00170419.pdf
00170423   00170424   4/5/2022 20:28 Email    RE: Phone Call?                                      .\VOL012\IMAGES\IMAGES002\00170423.pdf
00170425   00170426    4/6/2022 7:01 Email    FW: Phone Call?                                      .\VOL012\IMAGES\IMAGES002\00170425.pdf

00170427   00170429    4/6/2022 7:08 Email    RE: FHWA Action Required: Revised FEIS due 4/5/2022 .\VOL012\IMAGES\IMAGES002\00170427.pdf
                                              FW: FHWA Action Required: Revised FEIS due
00170430   00170433    4/6/2022 7:57 Email    4/4/2022                                            .\VOL012\IMAGES\IMAGES002\00170430.pdf

00170434   00170437    4/6/2022 8:00 Email    RE: FHWA Action Required: Revised FEIS due 4/4/2022 .\VOL012\IMAGES\IMAGES002\00170434.pdf
                                              FW: FHWA Action Required: Revised FEIS due
00170438   00170441    4/6/2022 8:04 Email    4/4/2022                                              .\VOL012\IMAGES\IMAGES002\00170438.pdf
00170442   00170443    4/6/2022 8:54 Email    Schedule                                              .\VOL012\IMAGES\IMAGES002\00170442.pdf
00170444   00170444    4/6/2022 8:54 Attach   FEIS‐ROD Schedule Updated 4‐6‐22.docx                 .\VOL012\IMAGES\IMAGES002\00170444.pdf
00170445   00170445    4/6/2022 9:27 Email    Question                                              .\VOL012\IMAGES\IMAGES002\00170445.pdf
00170446   00170446    4/6/2022 9:47 Email    RE: Question                                          .\VOL012\IMAGES\IMAGES002\00170446.pdf
                                              FW: [EXTERNAL] Request for Information: NCPC
                                              Agreement with WBFC (resending due to file size) 1 of
00170447   00170450   4/6/2022 12:08 Email    2                                                     .\VOL012\IMAGES\IMAGES002\00170447.pdf
                                              FW: [EXTERNAL] Request for Information: NCPC
                                              Agreement with WBFC (resending due to file size) 2 of
00170451   00170454   4/6/2022 12:08 Email    2                                                     .\VOL012\IMAGES\IMAGES002\00170451.pdf
00170455   00170457   4/6/2022 12:39 Email    RE: FHWA Action Required: Revised FEIS                .\VOL012\IMAGES\IMAGES002\00170455.pdf
00170458   00170459   4/6/2022 12:41 Email    RE: Schedule                                          .\VOL012\IMAGES\IMAGES002\00170458.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 216 of 263

00170460   00170460    4/6/2022 12:41 Attach   FEIS‐ROD Schedule Updated 4‐6‐22 FHWA_KP.docx            .\VOL012\IMAGES\IMAGES002\00170460.pdf
00170461   00170464    4/6/2022 13:34 Email    RE: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00170461.pdf

                                               2022.02.14_ FHWA Review_ I‐495 & I‐270 Managed
00170465   00170467    4/6/2022 13:41 Edoc     Lanes Study ‐ Maryland IAPA due 03_04_22.pdf             .\VOL012\IMAGES\IMAGES002\00170465.pdf
00170468   00170470    4/6/2022 14:00 Email    RE: Schedule                                             .\VOL012\IMAGES\IMAGES002\00170468.pdf
00170471   00170473    4/6/2022 14:17 Email    RE: Schedule                                             .\VOL012\IMAGES\IMAGES002\00170471.pdf
00170474   00170476    4/6/2022 14:48 Email    RE: Schedule                                             .\VOL012\IMAGES\IMAGES002\00170474.pdf
                                               Sierra Club Letter Regarding I‐495 & I‐270 Section 106
00170477   00170477    4/6/2022 15:09 Email    Comment Period                                           .\VOL012\IMAGES\IMAGES002\00170477.pdf
                                               FW: Sierra Club Letter Regarding I‐495 & I‐270 Section
00170478   00170479    4/6/2022 15:27 Email    106 Comment Period                                       .\VOL012\IMAGES\IMAGES002\00170478.pdf
                                               FW: I‐495/I‐270 MLS administrative draft FEIS for your
00170480   00170483    4/6/2022 15:54 Email    Review                                                   .\VOL012\IMAGES\IMAGES002\00170480.pdf
                                               RE: I‐495/I‐270 MLS administrative draft FEIS for your
00170484   00170487    4/6/2022 16:01 Email    Review                                                   .\VOL012\IMAGES\IMAGES002\00170484.pdf
                                               RE: Sierra Club Letter Regarding I‐495 & I‐270 Section
00170488   00170489    4/6/2022 16:10 Email    106 Comment Period                                       .\VOL012\IMAGES\IMAGES002\00170488.pdf
                                               RE: Sierra Club Letter Regarding I‐495 & I‐270 Section
00170490   00170491    4/6/2022 16:10 Email    106 Comment Period                                       .\VOL012\IMAGES\IMAGES002\00170490.pdf
                                               RE: Sierra Club Letter Regarding I‐495 & I‐270 Section
00170492   00170493    4/6/2022 16:10 Attach   106 Comment Period                                       .\VOL012\IMAGES\IMAGES002\00170492.pdf

00170494   00170494    4/6/2022 16:11 Email    Sierra Club Letter Regarding I‐495 & I‐270 Sect....pdf   .\VOL012\IMAGES\IMAGES002\00170494.pdf
00170495   00170495    4/6/2022 16:19 Email    FHWA Comments ‐ Track Change                             .\VOL012\IMAGES\IMAGES002\00170495.pdf
                                               Track Change FEIS ‐ Comment Errata
00170496   00170504    4/6/2022 16:19 Attach   Table_FHWA_040622.docx                                   .\VOL012\IMAGES\IMAGES002\00170496.pdf

00170505   00170505    4/6/2022 16:27 Email    FW_ Sierra Club Letter Regarding I‐495 & I‐270 ....pdf   .\VOL012\IMAGES\IMAGES002\00170505.pdf

                                               MDSierraClub‐Section106CommentPeriodLength‐
00170506   00170506    4/6/2022 16:57 Attach   6April2022.pdf                                           .\VOL012\IMAGES\IMAGES002\00170506.pdf

00170507   00170508    4/6/2022 17:10 Email    RE_ Sierra Club Letter Regarding I‐495 & I‐270 ....pdf   .\VOL012\IMAGES\IMAGES002\00170507.pdf
00170509   00170510    4/6/2022 17:18 Email    RE: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00170509.pdf
00170511   00170513    4/6/2022 17:20 Email    FW: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00170511.pdf
00170514   00170515    4/6/2022 17:20 Email    RE: MLS‐ MNCPPC Section 4(f) de minimis letter           .\VOL012\IMAGES\IMAGES002\00170514.pdf
00170516   00170517    4/6/2022 17:20 Email    RE: MLS‐ MNCPPC Section 4(f) de minimis letter           .\VOL012\IMAGES\IMAGES002\00170516.pdf
00170518   00170520    4/6/2022 17:26 Email    FW: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00170518.pdf

00170521   00170522    4/6/2022 18:20 Email    RE_ MLS‐ MNCPPC Section 4(f) de minimis letter.pdf       .\VOL012\IMAGES\IMAGES002\00170521.pdf

00170523   00170533    4/6/2022 18:20 Attach   MLS_MNCPPC De Minimis Concurrence_4‐5‐22.pdf             .\VOL012\IMAGES\IMAGES002\00170523.pdf
00170534   00170536     4/7/2022 8:35 Email    RE: Sierra Club letter ‐ response                        .\VOL012\IMAGES\IMAGES002\00170534.pdf
                                               RE: Sierra Club Letter Regarding I‐495 & I‐270 Section
00170537   00170538     4/7/2022 8:46 Email    106 Comment Period                                       .\VOL012\IMAGES\IMAGES002\00170537.pdf
00170539   00170541     4/7/2022 8:56 Email    RE: Sierra Club letter ‐ response                        .\VOL012\IMAGES\IMAGES002\00170539.pdf
00170542   00170544     4/7/2022 9:03 Email    FW: FHWA Action Required: Revised FEIS                   .\VOL012\IMAGES\IMAGES002\00170542.pdf
                                               Re: Sierra Club Letter Regarding I‐495 & I‐270 Section
00170545   00170547     4/7/2022 9:50 Email    106 Comment Period                                       .\VOL012\IMAGES\IMAGES002\00170545.pdf
00170548   00170549    4/7/2022 10:13 Email    Re: MLS‐ Replacement Parkland                            .\VOL012\IMAGES\IMAGES002\00170548.pdf
00170550   00170550    4/7/2022 13:47 Edoc     Draft FEIS and ROD proposed schedule.docx                .\VOL012\IMAGES\IMAGES002\00170550.pdf
00170551   00170552    4/7/2022 15:04 Email    RE: Proposed FEIS and ROD Schedule                       .\VOL012\IMAGES\IMAGES002\00170551.pdf
                                               RE: FHWA ACTION REQUIRED BY 4/7/22: Clara Barton
                                               Parkway and C&O Canal Section 4(f) temporary
00170553   00170557    4/7/2022 15:37 Email    occupancy Concurrence                                    .\VOL012\IMAGES\IMAGES002\00170553.pdf
00170558   00170558    4/7/2022 16:07 Email    Schedule for sending to MDOT SHA                         .\VOL012\IMAGES\IMAGES002\00170558.pdf
00170559   00170559    4/7/2022 16:07 Attach   FEIS and ROD schedule V4 FHWA.docx                       .\VOL012\IMAGES\IMAGES002\00170559.pdf

                                               RE: Comment Letter regarding the most recent I‐495 &
                                               I‐270 Managed Lanes Study Section 106 comment
00170560   00170561    4/7/2022 16:08 Email    period‐ Carderock Springs Citizens Association       .\VOL012\IMAGES\IMAGES002\00170560.pdf
00170562   00170562    4/7/2022 16:33 Email    FW: Schedule for sending to MDOT SHA                 .\VOL012\IMAGES\IMAGES002\00170562.pdf
00170563   00170563    4/7/2022 16:33 Attach   FEIS and ROD schedule V4 FHWA.docx                   .\VOL012\IMAGES\IMAGES002\00170563.pdf
00170564   00170564    4/7/2022 16:34 Email    FEIS and ROD Schedule                                .\VOL012\IMAGES\IMAGES002\00170564.pdf
                                               FW: [EXTERNAL] Request for Information: NCPC
00170565   00170567    4/7/2022 16:45 Email    Agreement with WBFC                                  .\VOL012\IMAGES\IMAGES002\00170565.pdf
                                               FW: [EXTERNAL] Request for Information: NCPC
00170568   00170571    4/7/2022 16:46 Email    Agreement with WBFC                                  .\VOL012\IMAGES\IMAGES002\00170568.pdf

00170572   00170573    4/7/2022 16:51 Email    Comment Letter regarding the most recent I‐495 ....pdf .\VOL012\IMAGES\IMAGES002\00170572.pdf
                                               RE_ Comment Letter regarding the most recent I‐
00170574   00170575    4/7/2022 17:08 Email    ....pdf                                                .\VOL012\IMAGES\IMAGES002\00170574.pdf
00170576   00170577    4/7/2022 17:16 Email    RE: MLS FEIS and ROD proposed schedule                 .\VOL012\IMAGES\IMAGES002\00170576.pdf
                                               Plummers Island Impact and Agreement Discussion
00170578   00170578    4/8/2022 11:07 Email    with Counsel                                           .\VOL012\IMAGES\IMAGES002\00170578.pdf
                                               Plummers Island Impact and Agreement Discussion
00170579   00170579    4/8/2022 11:17 Email    with Counsel                                           .\VOL012\IMAGES\IMAGES002\00170579.pdf
00170580   00170581    4/8/2022 11:29 Email    City of Rockville Elevation Meeting                    .\VOL012\IMAGES\IMAGES002\00170580.pdf
00170582   00170582    4/8/2022 12:18 Email    FW: FEIS and ROD Schedule                              .\VOL012\IMAGES\IMAGES002\00170582.pdf
00170583   00170583    4/8/2022 12:18 Attach   FEIS and ROD schedule V4 FHWA.docx                     .\VOL012\IMAGES\IMAGES002\00170583.pdf
00170584   00170584    4/8/2022 12:30 Email    City of Rockville Elevation Meeting.pdf                .\VOL012\IMAGES\IMAGES002\00170584.pdf
00170585   00170586    4/8/2022 12:41 Email    MLS ‐ Meeting Minutes                                  .\VOL012\IMAGES\IMAGES002\00170585.pdf
                                               20220222_WQC Check In and JPA Comment
00170587   00170593    4/8/2022 12:41 Attach   Clarification_MeetingMinutes_Final.pdf                 .\VOL012\IMAGES\IMAGES002\00170587.pdf

00170594   00170603    4/8/2022 12:41 Attach   20220304_ALB Alignment Options Review_FINAL.pdf .\VOL012\IMAGES\IMAGES002\00170594.pdf
                                               20220311_HardenedChannelandA&M_MeetingMinut
00170604   00170608    4/8/2022 12:41 Attach   es.pdf                                                .\VOL012\IMAGES\IMAGES002\00170604.pdf
                                               20220314_Aquatic LIfe Passage
00170609   00170616    4/8/2022 12:41 Attach   Discussion_MeetingMinutes_FINAL.pdf                   .\VOL012\IMAGES\IMAGES002\00170609.pdf
00170617   00170617    4/8/2022 13:10 Email    RE: FEIS and ROD Schedule                             .\VOL012\IMAGES\IMAGES002\00170617.pdf
                                               Re: What will it cost to use the New American Legion
00170618   00170620    4/8/2022 14:26 Email    Bridge and I‐270?                                     .\VOL012\IMAGES\IMAGES002\00170618.pdf
                                               Re: What will it cost to use the New American Legion
00170621   00170623    4/8/2022 14:31 Email    Bridge and I‐270?                                     .\VOL012\IMAGES\IMAGES002\00170621.pdf
00170624   00170624    4/8/2022 14:57 Email    FW: FHWA Action Required: Revised FEIS                .\VOL012\IMAGES\IMAGES002\00170624.pdf
00170625   00170625    4/8/2022 15:20 Email    RE: FHWA Action Required: Revised FEIS                .\VOL012\IMAGES\IMAGES002\00170625.pdf
00170626   00170626    4/8/2022 17:10 Email    IAPA Safety                                           .\VOL012\IMAGES\IMAGES002\00170626.pdf
                                               Fwd: What will it cost to use the New American Legion
00170627   00170629    4/8/2022 18:29 Email    Bridge and I‐270?                                     .\VOL012\IMAGES\IMAGES002\00170627.pdf

                                               Re: I‐495 and I‐270 MLS Section 106 Materials, PA
00170630   00170632   4/10/2022 13:21 Email    Third Draft, Comments Requested by April 14, 2022        .\VOL012\IMAGES\IMAGES002\00170630.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 217 of 263

                                               MDOT SHA Response Letter to Mayor and Council
00170633   00170645   4/10/2022 15:36 Attach   Members Greenbelt_DEIS_LSR_April 2022.pdf               .\VOL012\IMAGES\IMAGES002\00170633.pdf
                                               MDOT SHA Response Letter to Mayor Wojahn‐College
00170646   00170652   4/10/2022 15:48 Attach   Park_DEIS_LSR_April 2022.pdf                            .\VOL012\IMAGES\IMAGES002\00170646.pdf
                                               MDOT SHA Response Letter to Mayor Baskir_Chevy
00170653   00170661   4/10/2022 15:52 Attach   Chase_DEIS_LSR_April 2022.pdf                           .\VOL012\IMAGES\IMAGES002\00170653.pdf
                                               MDOT SHA Response Letter to Rockville_DEIS and
00170662   00170672   4/10/2022 18:00 Attach   SDEIS_LSR_April 2022.pdf                                .\VOL012\IMAGES\IMAGES002\00170662.pdf
                                               MDOT SHA Response Letter to Thomas Dernoga_PG
00170673   00170683   4/10/2022 18:03 Attach   Council_DEIS_LSR_April 2022.pdf                         .\VOL012\IMAGES\IMAGES002\00170673.pdf
                                               MDOT SHA Response Letter to MDGA_DEIS_LSR_April
00170684   00170700   4/10/2022 18:05 Attach   2022.pdf                                                .\VOL012\IMAGES\IMAGES002\00170684.pdf
00170701   00170708   4/10/2022 18:22 Email    RE: Potential Potomac Heritage Trail Detour             .\VOL012\IMAGES\IMAGES002\00170701.pdf
                                               Trail connections with planned trail along Legion
00170709   00170710   4/10/2022 18:22 Attach   Bridge                                                  .\VOL012\IMAGES\IMAGES002\00170709.pdf
00170711   00170718   4/10/2022 18:22 Attach   LegionToCandO.pdf                                       .\VOL012\IMAGES\IMAGES002\00170711.pdf
00170719   00170722   4/10/2022 18:22 Attach   forAbi_LiveOak.pptx                                     .\VOL012\IMAGES\IMAGES002\00170719.pdf
00170723   00170726   4/10/2022 18:22 Attach   LiveOak_trash.pdf                                       .\VOL012\IMAGES\IMAGES002\00170723.pdf
                                               Trail connections with planned trail along Legion
00170727   00170728   4/10/2022 20:28 Attach   Bridge                                                  .\VOL012\IMAGES\IMAGES002\00170727.pdf

                                               RE: I‐495 and I‐270 MLS Section 106 Materials, PA
00170729   00170731    4/11/2022 6:47 Email    Third Draft, Comments Requested by April 14, 2022      .\VOL012\IMAGES\IMAGES002\00170729.pdf
                                               RE: ATTORNEY CLIENT PRIVILEGE: Notes from Talk with
00170732   00170734    4/11/2022 6:54 Email    Craig S                                                .\VOL012\IMAGES\IMAGES002\00170732.pdf
                                               Application for Interstate Access Point Approval ‐
00170735   00170769    4/11/2022 8:30 Attach   Safety Section Resubmittal ‐ April 2022.pdf            .\VOL012\IMAGES\IMAGES002\00170735.pdf
00170770   00170772    4/11/2022 8:30 Email    I‐495 & I‐270 MLS: IAPA Safety Analysis                .\VOL012\IMAGES\IMAGES002\00170770.pdf
                                               MDOT SHA Response Letter to Mayor
                                               Ashman_Gaithersburg_ DEIS and SDEIS_LSR_April
00170773   00170777   4/11/2022 13:10 Attach   2022.pdf                                               .\VOL012\IMAGES\IMAGES002\00170773.pdf
00170778   00170778   4/11/2022 13:19 Email    RE: Plummers Island Field Visit with WBFC?             .\VOL012\IMAGES\IMAGES002\00170778.pdf
00170779   00170780   4/11/2022 13:47 Email    RE: Plummers Island Field Visit with WBFC?             .\VOL012\IMAGES\IMAGES002\00170779.pdf
                                               Greg's Notes and framework for the City Of Rockville
00170781   00170781   4/11/2022 13:56 Email    Meeting                                                .\VOL012\IMAGES\IMAGES002\00170781.pdf
                                               Traffic Operations & Safety Along I‐495 & I‐270
                                               Corridors in Montgomery County, MD and Intrusion on
00170782   00170782   4/11/2022 16:37 Email    Property Along MD 190 (River Road)                     .\VOL012\IMAGES\IMAGES002\00170782.pdf
00170783   00170784   4/11/2022 16:37 Attach   836633_Goldberg_Response_Letter.pdf                    .\VOL012\IMAGES\IMAGES002\00170783.pdf
00170785   00170785   4/12/2022 14:18 Email    Invitation to Rockville's Outside Counsel              .\VOL012\IMAGES\IMAGES002\00170785.pdf
00170786   00170787   4/12/2022 15:05 Email    RE: Invitation to Rockville's Outside Counsel          .\VOL012\IMAGES\IMAGES002\00170786.pdf
00170788   00170789   4/12/2022 15:38 Email    Re: MLS‐ Replacement Parkland                          .\VOL012\IMAGES\IMAGES002\00170788.pdf
00170790   00170793    4/13/2022 8:41 Email    FW: FHWA Action Required: Revised FEIS                 .\VOL012\IMAGES\IMAGES002\00170790.pdf
00170794   00170799    4/13/2022 8:43 Email    RE: FHWA Action Required: Revised FEIS                 .\VOL012\IMAGES\IMAGES002\00170794.pdf
                                               Re: I‐495 and I‐270 MLS Section 106 Materials, PA
                                               Second Draft, Comments Requested by May 2,, 2022 ‐
00170800   00170801   4/13/2022 10:50 Email    TREATMENT PLANS/ATTACHMENTS LINK                       .\VOL012\IMAGES\IMAGES002\00170800.pdf
00170802   00170834   4/13/2022 10:50 Attach   3rd draft_495_270_MLS_PA (1).docx                      .\VOL012\IMAGES\IMAGES002\00170802.pdf
                                               Re_ I‐495 and I‐270 MLS Section 106 Materials,
00170835   00170836   4/13/2022 11:52 Email    ...(2).pdf                                             .\VOL012\IMAGES\IMAGES002\00170835.pdf
00170837   00170869   4/13/2022 11:52 Attach   3rd draft_495_270_MLS_PA (1).docx                      .\VOL012\IMAGES\IMAGES002\00170837.pdf
00170870   00170874   4/13/2022 12:45 Email    FW: Collection Digitization ‐ SIA RU102005             .\VOL012\IMAGES\IMAGES002\00170870.pdf
                                               RE: Stevens_Response_836806: New American Legion
00170875   00170877   4/13/2022 12:49 Email    Bridge I‐270 to I‐70 Traffic Relief Plan               .\VOL012\IMAGES\IMAGES002\00170875.pdf
00170878   00170878   4/13/2022 13:14 Email    RE: FEIS and ROD Schedule                              .\VOL012\IMAGES\IMAGES002\00170878.pdf
00170879   00170879   4/13/2022 13:17 Email    RE: FEIS and ROD Schedule                              .\VOL012\IMAGES\IMAGES002\00170879.pdf
00170880   00170881   4/13/2022 13:24 Email    RE: FEIS and ROD Schedule                              .\VOL012\IMAGES\IMAGES002\00170880.pdf
                                               MLS_AdminFEIS_Errata_Ch_App_Responses_EPA_030
00170882   00170885   4/13/2022 14:54 Edoc     822.pdf                                                .\VOL012\IMAGES\IMAGES002\00170882.pdf
                                               MLS_AdminFEIS_Errata_Ch_App_Responses_MDE_03
00170886   00170891   4/13/2022 14:56 Edoc     0822.pdf                                               .\VOL012\IMAGES\IMAGES002\00170886.pdf
                                               MLS_AdminFEIS_Errata_Ch_App_Responses_MNCPPC
00170892   00170897   4/13/2022 14:57 Edoc     _030822.pdf                                            .\VOL012\IMAGES\IMAGES002\00170892.pdf
                                               MLS_AdminFEIS_Errata_Ch_Responses_FHWA_04062
00170898   00170903   4/13/2022 14:58 Edoc     2.pdf                                                  .\VOL012\IMAGES\IMAGES002\00170898.pdf
                                               RE: Sierra Club Letter Regarding I‐495 & I‐270 Section
00170904   00170905   4/13/2022 15:10 Attach   106 Comment Period                                     .\VOL012\IMAGES\IMAGES002\00170904.pdf
                                               MLS_AdminFEIS_Errata_Ch_App_Responses_NPS_030
00170906   00170908   4/13/2022 15:10 Edoc     822.pdf                                                .\VOL012\IMAGES\IMAGES002\00170906.pdf
00170909   00170910   4/13/2022 15:56 Email    RE: FEIS Appendices/Erratas Uploaded                   .\VOL012\IMAGES\IMAGES002\00170909.pdf
00170911   00170912   4/13/2022 16:07 Email    RE: WBFC Archives                                      .\VOL012\IMAGES\IMAGES002\00170911.pdf
00170913   00170914   4/13/2022 16:16 Attach   I‐495 Sound Barrier Request                            .\VOL012\IMAGES\IMAGES002\00170913.pdf
00170915   00170915   4/13/2022 16:19 Email    Sierra Club                                            .\VOL012\IMAGES\IMAGES002\00170915.pdf
00170916   00170918   4/13/2022 16:30 Email    FW: FEIS Appendices/Erratas Uploaded                   .\VOL012\IMAGES\IMAGES002\00170916.pdf
00170919   00170919   4/13/2022 16:38 Email    RE: Sierra Club                                        .\VOL012\IMAGES\IMAGES002\00170919.pdf
                                               RE: Version 2 City Meeting Framework and Greg's
00170920   00170920   4/13/2022 16:42 Email    Notes                                                  .\VOL012\IMAGES\IMAGES002\00170920.pdf
                                               Greg Notes and Framework for Rockville Meeting
00170921   00170924   4/13/2022 16:42 Attach   V2.docx                                                .\VOL012\IMAGES\IMAGES002\00170921.pdf
                                               RE: Version 2 City Meeting Framework and Greg's
00170925   00170926   4/13/2022 16:52 Email    Notes                                                  .\VOL012\IMAGES\IMAGES002\00170925.pdf
                                               RE: Version 2 City Meeting Framework and Greg's
00170927   00170928   4/13/2022 17:46 Email    Notes                                                  .\VOL012\IMAGES\IMAGES002\00170927.pdf
                                               Re: Baltimore‐Washington Parkway Noise Abatement
00170929   00170930   4/13/2022 22:17 Email    Request                                                .\VOL012\IMAGES\IMAGES002\00170929.pdf
00170931   00170934    4/14/2022 1:10 Email    Fwd_ I‐495 Sound Barrier Request.pdf                   .\VOL012\IMAGES\IMAGES002\00170931.pdf
                                               RE: Version 2 City Meeting Framework and Greg's
00170935   00170937    4/14/2022 7:29 Email    Notes                                                  .\VOL012\IMAGES\IMAGES002\00170935.pdf
00170938   00170940    4/14/2022 8:03 Email    RE: I‐495 Sound Barrier Request                        .\VOL012\IMAGES\IMAGES002\00170938.pdf
00170941   00170941    4/14/2022 8:53 Email    I‐495 Sound Barrier Request                            .\VOL012\IMAGES\IMAGES002\00170941.pdf
00170942   00170945    4/14/2022 9:00 Email    FW: I‐495 Sound Barrier Request                        .\VOL012\IMAGES\IMAGES002\00170942.pdf
00170946   00170946    4/14/2022 9:22 Email    RE: I‐495 Sound Barrier Request                        .\VOL012\IMAGES\IMAGES002\00170946.pdf
00170947   00170947    4/14/2022 9:26 Email    RE: I‐495 Sound Barrier Request                        .\VOL012\IMAGES\IMAGES002\00170947.pdf
00170948   00170949    4/14/2022 9:28 Email    RE: I‐495 Sound Barrier Request                        .\VOL012\IMAGES\IMAGES002\00170948.pdf

                                               Re: I‐495 and I‐270 MLS Section 106 Materials, PA
00170950   00170952    4/14/2022 9:46 Email    Third Draft, Comments Requested by April 14, 2022       .\VOL012\IMAGES\IMAGES002\00170950.pdf

                                               Re: I‐495 and I‐270 MLS Section 106 Materials, PA
00170953   00170955    4/14/2022 9:46 Email    Third Draft, Comments Requested by April 14, 2022       .\VOL012\IMAGES\IMAGES002\00170953.pdf
                                               FW: Trail connections with planned trail along Legion
00170956   00170958   4/14/2022 10:05 Email    Bridge                                                  .\VOL012\IMAGES\IMAGES002\00170956.pdf
00170959   00170967   4/14/2022 10:05 Attach   KeepingTrailOff495.pdf                                  .\VOL012\IMAGES\IMAGES002\00170959.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 218 of 263

                                               RE: Baltimore‐Washington Parkway Noise Abatement
00170968   00170970   4/14/2022 10:38 Email    Request                                                  .\VOL012\IMAGES\IMAGES002\00170968.pdf
                                               Re_ I‐495 and I‐270 MLS Section 106 Materials,
00170971   00170973   4/14/2022 10:47 Email    ...(1).pdf                                               .\VOL012\IMAGES\IMAGES002\00170971.pdf
00170974   00170974   4/14/2022 11:12 Email    WBFC Final Section 106 Comments 14 Apr 2022              .\VOL012\IMAGES\IMAGES002\00170974.pdf

00170975   00170982   4/14/2022 11:12 Attach   WBFC Section 106 comments Apr 14 2022 full final.pdf .\VOL012\IMAGES\IMAGES002\00170975.pdf
00170983   00170984   4/14/2022 11:46 Email    Re: [EXTERNAL] Re: MLS‐ Replacement Parkland         .\VOL012\IMAGES\IMAGES002\00170983.pdf
                                               Clean Version ‐ City of Rockville Meeting Framework
00170985   00170985   4/14/2022 12:47 Email    and Greg Notes                                       .\VOL012\IMAGES\IMAGES002\00170985.pdf
                                               RE: I‐495 and I‐270 MLS Section 106 Materials, PA
                                               Second Draft, Comments Requested by May 2,, 2022 ‐
00170986   00170988   4/14/2022 14:56 Email    TREATMENT PLANS/ATTACHMENTS LINK                     .\VOL012\IMAGES\IMAGES002\00170986.pdf

                                               Att‐3_MLS_106_PROGRAMMATIC
00170989   00171020   4/14/2022 14:56 Attach   AGREEMENT_Mar_2022_Draft_3_achp comments.pdf .\VOL012\IMAGES\IMAGES002\00170989.pdf
                                               MLS ‐ MDOT SHA Responses to your Comments on
00171021   00171021   4/14/2022 15:17 Email    Ad....pdf                                    .\VOL012\IMAGES\IMAGES002\00171021.pdf
                                               Brian G Admin FEIS Tech Report Comments and
00171022   00171023   4/14/2022 15:17 Attach   M.docx                                       .\VOL012\IMAGES\IMAGES002\00171022.pdf
00171024   00171024   4/14/2022 15:30 Attach   April 14 Section 4f Meeting Agenda.docx      .\VOL012\IMAGES\IMAGES002\00171024.pdf
00171025   00171028   4/14/2022 15:48 Email    RE_ I‐495 Sound Barrier Request.pdf          .\VOL012\IMAGES\IMAGES002\00171025.pdf

00171029   00171030   4/14/2022 15:57 Email    RE_ I‐495 and I‐270 MLS Section 106 Materials,....pdf    .\VOL012\IMAGES\IMAGES002\00171029.pdf

                                               Friends of Moses Hall CP Comments to I‐495 and I‐270
00171031   00171031   4/14/2022 16:45 Email    MLS Section 106 Materials and PA Third Draft         .\VOL012\IMAGES\IMAGES002\00171031.pdf

00171032   00171036   4/14/2022 16:45 Attach   FMH ‐ Section 106 Comments ‐ 04.14.22 ‐ Final.pdf        .\VOL012\IMAGES\IMAGES002\00171032.pdf
                                               MNCPPC Cultural Resources Comments on Updated
00171037   00171037   4/14/2022 16:47 Email    Managed Lanes 3rd Draft PA                               .\VOL012\IMAGES\IMAGES002\00171037.pdf
                                               MNCPPC Section 106 and PA Comments_Apr
00171038   00171040   4/14/2022 16:47 Attach   2022.docx                                                .\VOL012\IMAGES\IMAGES002\00171038.pdf
                                               MNCPPC Cultural Resources Comments on Updated
00171041   00171041   4/14/2022 16:47 Email    Managed Lanes 3rd Draft PA                               .\VOL012\IMAGES\IMAGES002\00171041.pdf
00171042   00171047   4/14/2022 17:10 Email    RE: [EXTERNAL] FW: more on Montrose Road                 .\VOL012\IMAGES\IMAGES002\00171042.pdf
                                               MDOT SHA response to comments on MLS ‐ Appendix
00171048   00171050   4/14/2022 17:11 Email    L                                                        .\VOL012\IMAGES\IMAGES002\00171048.pdf
                                               MDOT SHA response to comments on MLS ‐ Appendix
00171051   00171056   4/14/2022 18:11 Email    L.pdf                                                    .\VOL012\IMAGES\IMAGES002\00171051.pdf
                                               Sierra Club Comments on the 3/31/2022 495/270 P3
00171057   00171058   4/14/2022 19:04 Email    Section 106 Materials                                    .\VOL012\IMAGES\IMAGES002\00171057.pdf
                                               Sierra Club Comments on the 3_31_2022 495_270
00171059   00171059   4/14/2022 20:06 Email    P....pdf                                                 .\VOL012\IMAGES\IMAGES002\00171059.pdf
                                               Comments of Carderock Springs Citizens Association ‐
                                               3rd Draft Programmatic Agreement and Section 106
00171060   00171061   4/14/2022 20:21 Email    materials                                                .\VOL012\IMAGES\IMAGES002\00171060.pdf
                                               CSCA Comments re SHA Archer Section 106
00171062   00171066   4/14/2022 20:21 Attach   04.14.2022.docx                                          .\VOL012\IMAGES\IMAGES002\00171062.pdf
                                               Comments of Carderock Springs Citizens Association ‐
                                               3rd Draft Programmatic Agreement and Section 106
00171067   00171068   4/14/2022 20:21 Email    materials                                                .\VOL012\IMAGES\IMAGES002\00171067.pdf
00171069   00171071   4/14/2022 21:08 Email    Re: [EXTERNAL] Re: MLS‐ Replacement Parkland             .\VOL012\IMAGES\IMAGES002\00171069.pdf

00171072   00171073   4/14/2022 21:22 Email    Comments of Carderock Springs Citizens Associat....pdf .\VOL012\IMAGES\IMAGES002\00171072.pdf

                                               Re: I‐495 and I‐270 MLS Section 106 Materials, PA
00171074   00171076   4/14/2022 23:57 Email    Third Draft, Comments Requested by April 14, 2022        .\VOL012\IMAGES\IMAGES002\00171074.pdf

                                               Re: I‐495 and I‐270 MLS Section 106 Materials, PA
00171077   00171079   4/14/2022 23:57 Email    Third Draft, Comments Requested by April 14, 2022        .\VOL012\IMAGES\IMAGES002\00171077.pdf

00171080   00171082    4/15/2022 0:57 Email    Re_ I‐495 and I‐270 MLS Section 106 Materials, ....pdf   .\VOL012\IMAGES\IMAGES002\00171080.pdf

00171083   00171086    4/15/2022 0:57 Attach   National Trust Comments on 3rd Draft PA for I‐.pdf .\VOL012\IMAGES\IMAGES002\00171083.pdf
                                               Cabin John Citizens Association Consulting Party
                                               Comments regarding Beltway Expansion on Moses Hall
00171087   00171087    4/15/2022 3:45 Email    & Cemetery                                         .\VOL012\IMAGES\IMAGES002\00171087.pdf
                                               2022_4_14 CJCA 3rd Round of Comments to
00171088   00171095    4/15/2022 3:45 Attach   Programatic Agreement.docx                         .\VOL012\IMAGES\IMAGES002\00171088.pdf

00171096   00171096    4/15/2022 4:46 Email    Cabin John Citizens Association Consulting Part....pdf   .\VOL012\IMAGES\IMAGES002\00171096.pdf
                                               Re: FHWA Comments ‐ Administrative FEIS and
00171097   00171099    4/15/2022 7:09 Email    Appendix K                                               .\VOL012\IMAGES\IMAGES002\00171097.pdf
                                               RE_ MLS ‐ MDOT SHA Responses to your Comments
00171100   00171101    4/15/2022 8:33 Email    o...(1).pdf                                              .\VOL012\IMAGES\IMAGES002\00171100.pdf
                                               2022 0414 letter to archer Programmatic Agreement ‐
00171102   00171106    4/15/2022 9:41 Attach   Section 106 materials.pdf                                .\VOL012\IMAGES\IMAGES002\00171102.pdf
                                               RE: Comments of Carderock Springs Citizens
                                               Association ‐ 3rd Draft Programmatic Agreement and
00171107   00171108    4/15/2022 9:41 Email    Section 106 materials                                    .\VOL012\IMAGES\IMAGES002\00171107.pdf
00171109   00171110   4/15/2022 10:25 Email    Draft Rockville Letter                                   .\VOL012\IMAGES\IMAGES002\00171109.pdf
00171111   00171112   4/15/2022 10:25 Email    Draft Rockville Letter                                   .\VOL012\IMAGES\IMAGES002\00171111.pdf
00171113   00171114   4/15/2022 10:26 Email    FW: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171113.pdf
                                               RE: FHWA Comments ‐ Administrative FEIS and
00171115   00171118   4/15/2022 10:29 Email    Appendix K                                               .\VOL012\IMAGES\IMAGES002\00171115.pdf
00171119   00171120   4/15/2022 10:31 Email    FW: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171119.pdf
                                               FW_ FHWA Comments ‐ Administrative FEIS and
00171121   00171124   4/15/2022 10:41 Email    App....pdf                                               .\VOL012\IMAGES\IMAGES002\00171121.pdf
00171125   00171126   4/15/2022 10:50 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171125.pdf
                                               MLS_AdminFEIS_Errata_App_Responses_FHWA_0308
00171127   00171135   4/15/2022 10:59 Edoc     22.pdf                                                   .\VOL012\IMAGES\IMAGES002\00171127.pdf
00171136   00171136   4/15/2022 11:07 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171136.pdf
00171137   00171137   4/15/2022 12:16 Email    FW: Morningstar Cemetery info                            .\VOL012\IMAGES\IMAGES002\00171137.pdf
                                               2022.04.11_I‐495 & I‐270 MLS_ IAPA Safety
00171138   00171141    4/18/2022 8:16 Edoc     Analysis.pdf                                             .\VOL012\IMAGES\IMAGES002\00171138.pdf
00171142   00171143    4/18/2022 8:22 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171142.pdf
00171144   00171145    4/18/2022 8:29 Email    Re: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171144.pdf
00171146   00171147    4/18/2022 8:29 Email    Re: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171146.pdf

00171148   00171149    4/18/2022 8:45 Email    Fw: Call to discuss the Clara Barton Parkway pacel       .\VOL012\IMAGES\IMAGES002\00171148.pdf
00171150   00171150    4/18/2022 9:44 Attach   image003.jpg                                             .\VOL012\IMAGES\IMAGES002\00171150.pdf

00171151   00171152   4/18/2022 10:10 Email    FW: Call to discuss the Clara Barton Parkway pacel       .\VOL012\IMAGES\IMAGES002\00171151.pdf
00171153   00171154   4/18/2022 10:54 Email    RE: IAPA Safety                                          .\VOL012\IMAGES\IMAGES002\00171153.pdf
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                                               2022.04.18_RE_ I‐495 & I‐270 MLS_ IAPA Safety
00171155   00171158   4/18/2022 11:10 Edoc     Analysis.pdf                                             .\VOL012\IMAGES\IMAGES002\00171155.pdf
00171159   00171160   4/18/2022 11:45 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171159.pdf
00171161   00171162   4/18/2022 12:04 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171161.pdf
00171163   00171164   4/18/2022 12:04 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171163.pdf
00171165   00171167   4/18/2022 12:14 Email    Re: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171165.pdf
00171168   00171169   4/18/2022 12:14 Email    Re: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171168.pdf
00171170   00171172   4/18/2022 12:47 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171170.pdf
00171173   00171175   4/18/2022 12:54 Email    Re: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171173.pdf
00171176   00171179   4/18/2022 13:11 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171176.pdf
00171180   00171183   4/18/2022 13:38 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171180.pdf
00171184   00171185   4/18/2022 13:42 Email    FW: IAPA Safety                                          .\VOL012\IMAGES\IMAGES002\00171184.pdf
                                               MLS_AdminFEIS_Errata_App_Responses_FHWA_0308
00171186   00171188   4/18/2022 13:58 Attach   22_Serena.docx                                           .\VOL012\IMAGES\IMAGES002\00171186.pdf
00171189   00171191   4/18/2022 14:01 Email    RE: IAPA Safety                                          .\VOL012\IMAGES\IMAGES002\00171189.pdf
                                               Appendix J ‐ Historical Crash Data and Supporting
00171192   00171230   4/18/2022 14:05 Attach   Information.pdf                                          .\VOL012\IMAGES\IMAGES002\00171192.pdf
                                               Appendix K ‐ Predictive Crash Analysis and Supporting
00171231   00171760   4/18/2022 14:05 Attach   Information.pdf                                          .\VOL012\IMAGES\IMAGES002\00171231.pdf
00171761   00171764   4/18/2022 14:05 Email    RE: I‐495 & I‐270 MLS: IAPA Safety Analysis              .\VOL012\IMAGES\IMAGES002\00171761.pdf
00171765   00171768   4/18/2022 14:18 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171765.pdf
                                               2022.04.18_ I‐495 & I‐270 MLS_ IAPA Safety
00171769   00171773   4/18/2022 14:52 Edoc     Analysis.pdf                                             .\VOL012\IMAGES\IMAGES002\00171769.pdf
00171774   00171779   4/18/2022 14:59 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00171774.pdf

                                               FW: I‐495 and I‐270 MLS Section 106 Materials, PA
00171780   00171782   4/18/2022 15:01 Email    Third Draft, Comments Requested by April 14, 2022        .\VOL012\IMAGES\IMAGES002\00171780.pdf

00171783   00171787   4/18/2022 15:01 Attach   Rockville I‐495 and I‐270 PA Draft 3 Comments.docx       .\VOL012\IMAGES\IMAGES002\00171783.pdf

00171788   00171792   4/18/2022 15:05 Email    RE_ I‐495 & I‐270 MLS_ IAPA Safety Analysis(23).pdf      .\VOL012\IMAGES\IMAGES002\00171788.pdf

00171793   00171831   4/18/2022 15:05 Attach   Appendix J ‐ Historical Crash Data and Support.pdf       .\VOL012\IMAGES\IMAGES002\00171793.pdf

00171832   00172361   4/18/2022 15:05 Attach   Appendix K ‐ Predictive Crash Analysis and Sup.pdf       .\VOL012\IMAGES\IMAGES002\00171832.pdf
00172362   00172367   4/18/2022 15:26 Email    FW: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00172362.pdf
00172368   00172373   4/18/2022 15:50 Email    RE: Draft Rockville Letter                               .\VOL012\IMAGES\IMAGES002\00172368.pdf

00172374   00172376   4/18/2022 16:02 Email    FW_ I‐495 and I‐270 MLS Section 106 Materials, ....pdf   .\VOL012\IMAGES\IMAGES002\00172374.pdf
00172377   00172379   4/18/2022 17:00 Email    Summary Notes from April 14th Meeting                    .\VOL012\IMAGES\IMAGES002\00172377.pdf
                                               comments on FHWA errata on Appendices/Tech
00172380   00172381   4/18/2022 17:11 Email    report                                                   .\VOL012\IMAGES\IMAGES002\00172380.pdf
                                               MLS_AdminFEIS_Errata_App_Responses_FHWA_0308
00172382   00172383    4/19/2022 7:18 Edoc     22_KP.docx                                               .\VOL012\IMAGES\IMAGES002\00172382.pdf
00172384   00172386    4/19/2022 7:27 Email    RE: FEIS Appendices/Erratas Uploaded                     .\VOL012\IMAGES\IMAGES002\00172384.pdf
                                               MLS_AdminFEIS_Errata_App_Responses_FHWA_0308
00172387   00172388    4/19/2022 7:27 Attach   22_KP.docx                                               .\VOL012\IMAGES\IMAGES002\00172387.pdf
00172389   00172389    4/19/2022 7:35 Email    City of Rockville Letter                                 .\VOL012\IMAGES\IMAGES002\00172389.pdf
                                               2022‐04‐14_Rockville Updated DeMinimis Letter‐
00172390   00172397    4/19/2022 7:35 Attach   CLEAN FHWA FD.docx                                       .\VOL012\IMAGES\IMAGES002\00172390.pdf

00172398   00172398    4/19/2022 9:14 Email    Response to FHWA comments on Track Change FEIS           .\VOL012\IMAGES\IMAGES002\00172398.pdf
00172399   00172399    4/19/2022 9:54 Email    RE: City of Rockville Letter                             .\VOL012\IMAGES\IMAGES002\00172399.pdf
                                               Re: I‐495 & I‐270: Washington Biologists' Field Club
00172400   00172401   4/19/2022 11:21 Attach   Coordination Meeting                                     .\VOL012\IMAGES\IMAGES002\00172400.pdf
                                               MLS_AdminFEIS_Errata_App_Responses_FHWA_0419
00172402   00172403   4/19/2022 11:55 Edoc     22_KP.docx                                               .\VOL012\IMAGES\IMAGES002\00172402.pdf
00172404   00172405   4/19/2022 12:01 Email    RE: FEIS Appendix A responses from MDOT                  .\VOL012\IMAGES\IMAGES002\00172404.pdf
00172406   00172406   4/19/2022 12:03 Email    FEIS Chapters                                            .\VOL012\IMAGES\IMAGES002\00172406.pdf
00172407   00172408   4/19/2022 12:08 Email    RE: FEIS Appendix A responses from MDOT                  .\VOL012\IMAGES\IMAGES002\00172407.pdf
00172409   00172410   4/19/2022 12:55 Email    RE: FEIS Appendix A responses from MDOT                  .\VOL012\IMAGES\IMAGES002\00172409.pdf
00172411   00172413   4/19/2022 13:24 Email    FW: Summary Notes from April 14th Meeting                .\VOL012\IMAGES\IMAGES002\00172411.pdf
00172414   00172416   4/19/2022 13:37 Email    RE: FEIS Appendix A responses from MDOT                  .\VOL012\IMAGES\IMAGES002\00172414.pdf
00172417   00172419   4/19/2022 13:46 Email    RE: FEIS Appendix A responses from MDOT                  .\VOL012\IMAGES\IMAGES002\00172417.pdf
                                               FW: comments on FHWA errata on Appendices/Tech
00172420   00172421   4/19/2022 14:11 Email    report                                                   .\VOL012\IMAGES\IMAGES002\00172420.pdf
                                               MLS_AdminFEIS_Errata_App_Responses_FHWA_0419
00172422   00172422   4/19/2022 14:11 Attach   22_follow‐up_SHA.docx                                    .\VOL012\IMAGES\IMAGES002\00172422.pdf
00172423   00172424   4/19/2022 14:22 Email    Re: FEIS Chapters                                        .\VOL012\IMAGES\IMAGES002\00172423.pdf
00172425   00172427   4/19/2022 15:22 Email    Re: Summary Notes from April 14th Meeting                .\VOL012\IMAGES\IMAGES002\00172425.pdf
00172428   00172430   4/19/2022 15:30 Email    Re: Summary Notes from April 14th Meeting                .\VOL012\IMAGES\IMAGES002\00172428.pdf
00172431   00172434   4/19/2022 15:35 Email    RE: Summary Notes from April 14th Meeting                .\VOL012\IMAGES\IMAGES002\00172431.pdf
00172435   00172436   4/19/2022 16:43 Email    Rockville Letter                                         .\VOL012\IMAGES\IMAGES002\00172435.pdf
00172437   00172437   4/20/2022 11:52 Email    schedule                                                 .\VOL012\IMAGES\IMAGES002\00172437.pdf

00172438   00172438   4/20/2022 11:52 Attach   FEIS and ROD proposed schedule V3 Internal.docx          .\VOL012\IMAGES\IMAGES002\00172438.pdf

00172439   00172440   4/20/2022 11:56 Email    MLS responses to Chapter 5 Admin. FEIS comments          .\VOL012\IMAGES\IMAGES002\00172439.pdf
                                               MLS responses to Chapter 5 Admin. FEIS
00172441   00172441   4/20/2022 12:04 Email    comments.pdf                                             .\VOL012\IMAGES\IMAGES002\00172441.pdf
00172442   00172442   4/20/2022 12:20 Email    Response to track change FEIS Comments                   .\VOL012\IMAGES\IMAGES002\00172442.pdf
                                               RE: MLS responses to Chapter 5 Admin. FEIS
00172443   00172444   4/20/2022 12:38 Email    comments                                                 .\VOL012\IMAGES\IMAGES002\00172443.pdf
                                               MLS responses to Chapter 5 Admin. FEIS
00172445   00172445   4/20/2022 13:04 Email    comments.pdf                                             .\VOL012\IMAGES\IMAGES002\00172445.pdf
00172446   00172448   4/20/2022 13:39 Email    Re: Rockville Letter                                     .\VOL012\IMAGES\IMAGES002\00172446.pdf
00172449   00172451   4/20/2022 13:56 Email    FW: Rockville Letter                                     .\VOL012\IMAGES\IMAGES002\00172449.pdf
                                               2022‐04‐14_Rockville Updated DeMinimis Letter‐
00172452   00172460   4/20/2022 13:56 Attach   REVISED CLEAN VERSION_4‐20‐22.docx                       .\VOL012\IMAGES\IMAGES002\00172452.pdf
00172461   00172461   4/20/2022 14:35 Email    Pl review City of Rockville Letter                       .\VOL012\IMAGES\IMAGES002\00172461.pdf
00172462   00172469   4/20/2022 14:35 Attach   City of Rockville de minimis 04_20_2022.docx             .\VOL012\IMAGES\IMAGES002\00172462.pdf
00172470   00172471   4/20/2022 15:06 Email    FW: Rockville Letter                                     .\VOL012\IMAGES\IMAGES002\00172470.pdf
00172472   00172474   4/20/2022 15:07 Email    FW: Rockville Letter                                     .\VOL012\IMAGES\IMAGES002\00172472.pdf
00172475   00172475   4/20/2022 15:10 Email    RE: Pl review City of Rockville Letter                   .\VOL012\IMAGES\IMAGES002\00172475.pdf
00172476   00172476   4/20/2022 15:11 Email    RE: Pl review City of Rockville Letter                   .\VOL012\IMAGES\IMAGES002\00172476.pdf
00172477   00172477   4/20/2022 15:36 Email    RE: Question                                             .\VOL012\IMAGES\IMAGES002\00172477.pdf
00172478   00172478   4/20/2022 16:24 Email    RE: final draft Rockville Letter                         .\VOL012\IMAGES\IMAGES002\00172478.pdf
00172479   00172479   4/20/2022 16:36 Email    City of Rockville Letter                                 .\VOL012\IMAGES\IMAGES002\00172479.pdf
00172480   00172480   4/20/2022 17:33 Email    Re: City of Rockville Letter                             .\VOL012\IMAGES\IMAGES002\00172480.pdf
00172481   00172481    4/21/2022 7:45 Email    RE: final draft Rockville Letter                         .\VOL012\IMAGES\IMAGES002\00172481.pdf
00172482   00172482    4/21/2022 7:57 Email    one more time                                            .\VOL012\IMAGES\IMAGES002\00172482.pdf
00172483   00172483    4/21/2022 8:48 Email    RE: one more time                                        .\VOL012\IMAGES\IMAGES002\00172483.pdf
00172484   00172484    4/21/2022 9:09 Email    FEIS Track Change Chapter comments                       .\VOL012\IMAGES\IMAGES002\00172484.pdf
00172485   00172486    4/21/2022 9:20 Email    RE: final draft Rockville Letter                         .\VOL012\IMAGES\IMAGES002\00172485.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 220 of 263

00172487   00172492    4/21/2022 9:20 Attach   2020‐03‐12_MHT Comments on I‐495 & I‐270 MLS.pdf .\VOL012\IMAGES\IMAGES002\00172487.pdf
                                               2021‐10‐08_MHT Response Letter_Updated
00172493   00172495    4/21/2022 9:20 Attach   Identification and Effects.pdf                   .\VOL012\IMAGES\IMAGES002\00172493.pdf
00172496   00172497    4/21/2022 9:20 Email    RE: final draft Rockville Letter                 .\VOL012\IMAGES\IMAGES002\00172496.pdf

00172498   00172503    4/21/2022 9:20 Attach   2020‐03‐12_MHT Comments on I‐495 & I‐270 MLS.pdf .\VOL012\IMAGES\IMAGES002\00172498.pdf
00172504   00172505    4/21/2022 9:26 Email    RE: FEIS Track Change Chapter comments                .\VOL012\IMAGES\IMAGES002\00172504.pdf
                                               RE: MLS responses to Chapter 5 Admin. FEIS
00172506   00172507   4/21/2022 11:18 Email    comments                                              .\VOL012\IMAGES\IMAGES002\00172506.pdf
00172508   00172510   4/21/2022 11:31 Attach   RE: Inadequate Outreach                               .\VOL012\IMAGES\IMAGES002\00172508.pdf
                                               RE: MLS responses to Chapter 5 Admin. FEIS
00172511   00172513   4/21/2022 13:08 Email    comments                                              .\VOL012\IMAGES\IMAGES002\00172511.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Section 4(f) de
00172514   00172514   4/21/2022 15:42 Email    minimis Determination Letter                          .\VOL012\IMAGES\IMAGES002\00172514.pdf
                                               FW: I‐495 & I‐270 Managed Lanes Study‐ Section 4(f)
00172515   00172515   4/21/2022 15:43 Email    de minimis Determination Letter                       .\VOL012\IMAGES\IMAGES002\00172515.pdf
                                               FW_ I‐495 & I‐270 Managed Lanes Study‐ Section
00172516   00172516   4/21/2022 16:43 Email    ....pdf                                               .\VOL012\IMAGES\IMAGES002\00172516.pdf
00172517   00172524   4/21/2022 16:43 Attach   City of Rockville de minimis 04_21_2022.pdf           .\VOL012\IMAGES\IMAGES002\00172517.pdf
00172525   00172527   4/21/2022 16:48 Email    RE: IAPA Safety                                       .\VOL012\IMAGES\IMAGES002\00172525.pdf
00172528   00172532   4/21/2022 17:05 Email    RE: I‐495 & I‐270 MLS: IAPA Safety Analysis           .\VOL012\IMAGES\IMAGES002\00172528.pdf
00172533   00172534   4/21/2022 19:39 Email    FEIS track changes Chapters comments                  .\VOL012\IMAGES\IMAGES002\00172533.pdf
                                               RE: Perez, Keilyn (FHWA) shared "Preliminary
                                               Revision_MDOTSHA Draft_IAPA Guidelines
00172535   00172537    4/22/2022 9:45 Email    Update_FHWA_2022 comments" with you.                  .\VOL012\IMAGES\IMAGES002\00172535.pdf
00172538   00172540   4/22/2022 14:56 Email    RE: IAPA Safety                                       .\VOL012\IMAGES\IMAGES002\00172538.pdf
                                               RE: I‐495 & I‐270 MLS: City of Rockville Coordination
00172541   00172542   4/22/2022 14:59 Email    Meeting                                               .\VOL012\IMAGES\IMAGES002\00172541.pdf
                                               2021‐11‐22_Rockville Coordination Meeting
00172543   00172547   4/22/2022 14:59 Attach   Notes_FINAL.pdf                                       .\VOL012\IMAGES\IMAGES002\00172543.pdf
                                               2022‐01‐19_Rockville Coordination Meeting
00172548   00172555   4/22/2022 14:59 Attach   Notes_FINAL.pdf                                       .\VOL012\IMAGES\IMAGES002\00172548.pdf
00172556   00172556    4/25/2022 7:24 Email    Carderock Springs Effect                              .\VOL012\IMAGES\IMAGES002\00172556.pdf
00172557   00172560   4/25/2022 12:15 Email    RE: IAPA Safety                                       .\VOL012\IMAGES\IMAGES002\00172557.pdf
00172561   00172563   4/25/2022 12:17 Email    RE: IAPA Safety                                       .\VOL012\IMAGES\IMAGES002\00172561.pdf
00172564   00172567   4/25/2022 12:20 Email    RE: IAPA Safety                                       .\VOL012\IMAGES\IMAGES002\00172564.pdf
00172568   00172571   4/25/2022 12:22 Email    RE: IAPA Safety                                       .\VOL012\IMAGES\IMAGES002\00172568.pdf
                                               Appendix K ‐ Predictive Crash Analysis and Supporting
00172572   00173100   4/25/2022 12:24 Attach   Information ‐ Updated 4.25.22.pdf                     .\VOL012\IMAGES\IMAGES002\00172572.pdf

                                               Application for Interstate Access Point Approval ‐
00173101   00173138   4/25/2022 12:24 Attach   Safety Section Resubmittal ‐ Updated 4.25.22.docx       .\VOL012\IMAGES\IMAGES002\00173101.pdf

                                               Application for Interstate Access Point Approval ‐
00173139   00173173   4/25/2022 12:24 Attach   Safety Section Resubmittal ‐ Updated 4.25.22.pdf        .\VOL012\IMAGES\IMAGES002\00173139.pdf

00173174   00173174   4/25/2022 13:00 Attach   2022‐04‐25_FHWA Coordination Mtg Agenda.docx            .\VOL012\IMAGES\IMAGES002\00173174.pdf
00173175   00173176   4/25/2022 15:54 Email    FEIS Distribution                                       .\VOL012\IMAGES\IMAGES002\00173175.pdf

                                               FW: UCLA study offers strategy for freeway congestion
00173177   00173177   4/25/2022 17:10 Email    pricing that reduces burden on low‐income residents .\VOL012\IMAGES\IMAGES002\00173177.pdf
00173178   00173216   4/25/2022 17:10 Attach   eScholarship UC item 2rj35891.pdf                     .\VOL012\IMAGES\IMAGES002\00173178.pdf
                                               Follow up on 495 MLS PA ‐ language for comment
00173217   00173217    4/26/2022 6:52 Email    response                                              .\VOL012\IMAGES\IMAGES002\00173217.pdf

                                               UCLA study offers strategy for freeway congestion
00173218   00173218    4/26/2022 6:53 Email    pricing that reduces burden on low‐income residents     .\VOL012\IMAGES\IMAGES002\00173218.pdf
00173219   00173257    4/26/2022 6:53 Attach   eScholarship UC item 2rj35891.pdf                       .\VOL012\IMAGES\IMAGES002\00173219.pdf
                                               Follow up on 495 MLS PA ‐ language for comment
00173258   00173258    4/26/2022 7:52 Email    ....pdf                                                 .\VOL012\IMAGES\IMAGES002\00173258.pdf

00173259   00173259   4/26/2022 10:34 Email    Request for Concurrence on 4(f) De Minimis and ....pdf .\VOL012\IMAGES\IMAGES002\00173259.pdf
                                               Request for Concurrence on 4(f) De Minimis and
00173260   00173260   4/26/2022 10:34 Email    Proposed Parkland Mitigation                            .\VOL012\IMAGES\IMAGES002\00173260.pdf
                                               Request for Concurrence on 4(f) De Minimis and
00173261   00173261   4/26/2022 10:34 Email    Proposed Parkland Mitigation                            .\VOL012\IMAGES\IMAGES002\00173261.pdf
                                               RE: Request for Concurrence on 4(f) De Minimis and
00173262   00173263   4/26/2022 15:04 Email    Proposed Parkland Mitigation                            .\VOL012\IMAGES\IMAGES002\00173262.pdf
                                               RE: Follow up on 495 MLS PA ‐ language for comment
00173264   00173266   4/26/2022 15:23 Email    response                                                .\VOL012\IMAGES\IMAGES002\00173264.pdf
                                               FW: Request for Concurrence on 4(f) De Minimis and
00173267   00173268   4/26/2022 15:32 Email    Proposed Parkland Mitigation                            .\VOL012\IMAGES\IMAGES002\00173267.pdf
00173269   00173269   4/26/2022 15:40 Email    Rockville Concurrence Form and Statement                .\VOL012\IMAGES\IMAGES002\00173269.pdf
00173270   00173270   4/26/2022 15:41 Email    langue for MD on 4(f) de minimis.pdf                    .\VOL012\IMAGES\IMAGES002\00173270.pdf
00173271   00173272   4/26/2022 15:58 Email    RE: Rockville Concurrence Form and Statement            .\VOL012\IMAGES\IMAGES003\00173271.pdf
00173273   00173275   4/26/2022 16:07 Email    RE: Rockville Concurrence Form and Statement            .\VOL012\IMAGES\IMAGES003\00173273.pdf
00173276   00173285   4/26/2022 16:07 Attach   MLS_Signed de minimis Letter Rockville.pdf              .\VOL012\IMAGES\IMAGES003\00173276.pdf
00173286   00173287   4/26/2022 16:13 Email    RE: Rockville Concurrence Form and Statement            .\VOL012\IMAGES\IMAGES003\00173286.pdf
                                               Action Requested: I‐495 & I‐270 MLS FEIS and Final 4(f)
00173288   00173289   4/26/2022 20:28 Email    Evaluation                                              .\VOL012\IMAGES\IMAGES003\00173288.pdf
                                               RE: Action Requested: I‐495 & I‐270 MLS FEIS and Final
00173290   00173291    4/27/2022 8:28 Email    4(f) Evaluation                                         .\VOL012\IMAGES\IMAGES003\00173290.pdf
                                               RE: Action Requested: I‐495 & I‐270 MLS FEIS and Final
00173292   00173294    4/27/2022 8:34 Email    4(f) Evaluation                                         .\VOL012\IMAGES\IMAGES003\00173292.pdf
00173295   00173295    4/27/2022 9:13 Email    IAPA Comment document                                   .\VOL012\IMAGES\IMAGES003\00173295.pdf
                                               RE: Action Requested: I‐495 & I‐270 MLS FEIS and Final
00173296   00173298   4/27/2022 10:06 Email    4(f) Evaluation                                         .\VOL012\IMAGES\IMAGES003\00173296.pdf
                                               RE: Action Requested: I‐495 & I‐270 MLS FEIS and Final
00173299   00173302   4/27/2022 10:11 Email    4(f) Evaluation                                         .\VOL012\IMAGES\IMAGES003\00173299.pdf
00173303   00173304   4/27/2022 10:45 Email    RE: FEIS Distribution                                   .\VOL012\IMAGES\IMAGES003\00173303.pdf

                                               FW: Action Required: I‐495/I‐270 Managed Lanes
00173305   00173306   4/27/2022 12:13 Email    Study milestone target date(s) approaching in 14 days   .\VOL012\IMAGES\IMAGES003\00173305.pdf
00173307   00173307   4/27/2022 12:40 Email    RE: IAPA Comment document                               .\VOL012\IMAGES\IMAGES003\00173307.pdf
00173308   00173347   4/27/2022 12:40 Attach   IAPA_03.08.22_FHWA Comments.docx                        .\VOL012\IMAGES\IMAGES003\00173308.pdf
00173348   00173348   4/27/2022 13:37 Email    Amendment question.pdf                                  .\VOL012\IMAGES\IMAGES003\00173348.pdf
00173349   00173349   4/27/2022 15:56 Email    Managed Lanes Study: Meeting Request                    .\VOL012\IMAGES\IMAGES003\00173349.pdf
                                               RE: MLS responses to Chapter 5 Admin. FEIS & App. E
00173350   00173354   4/27/2022 17:55 Email    comments                                                .\VOL012\IMAGES\IMAGES003\00173350.pdf
00173355   00173355   4/27/2022 17:55 Attach   Microsoft_Excel_Worksheet.xlsx                          .\VOL012\IMAGES\IMAGES003\00173355.pdf    .\VOL012\NATIVES\NATIVES003\00173355.xlsx
                                               MLS_FEIS_AppE_EnvInvResourceMapping_04‐13‐
00173356   00173394   4/27/2022 17:55 Attach   2022.pdf                                                .\VOL012\IMAGES\IMAGES003\00173356.pdf
                                               RE_ MLS responses to Chapter 5 Admin. FEIS
00173395   00173397   4/27/2022 18:06 Email    comm....pdf                                             .\VOL012\IMAGES\IMAGES003\00173395.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                Filed 05/03/23                              Page 221 of 263

00173398   00173398   4/27/2022 18:06 Attach   Microsoft_Excel_Worksheet.xlsx                      .\VOL012\IMAGES\IMAGES003\00173398.pdf       .\VOL012\NATIVES\NATIVES003\00173398.xlsx
                                               FHWA Review_ I‐495 & I‐270 Managed Lanes Study
00173399   00173399    4/28/2022 8:21 Email    ...(1).pdf                                          .\VOL012\IMAGES\IMAGES003\00173399.pdf

                                               FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00173400   00173400    4/28/2022 8:21 Email    Maryland Updated IAPA report due 05/05/22           .\VOL012\IMAGES\IMAGES003\00173400.pdf
                                               FHWA Review_ I‐495 & I‐270 Managed Lanes Study
00173401   00173401    4/28/2022 9:21 Email    ....pdf                                             .\VOL012\IMAGES\IMAGES003\00173401.pdf

                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00173402   00173402   4/28/2022 10:03 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00173402.pdf
                                               RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00173403   00173404   4/28/2022 11:03 Email    St....pdf                                            .\VOL012\IMAGES\IMAGES003\00173403.pdf
00173405   00173406   4/28/2022 11:47 Email    RE: IAPA Comment document                            .\VOL012\IMAGES\IMAGES003\00173405.pdf
00173407   00173408   4/28/2022 12:48 Email    RE: IAPA Comment document                            .\VOL012\IMAGES\IMAGES003\00173407.pdf
00173409   00173410   4/28/2022 13:32 Email    Re: IAPA Comment document                            .\VOL012\IMAGES\IMAGES003\00173409.pdf
00173411   00173413   4/28/2022 14:53 Email    FW: MLS PA and Comment Responses                     .\VOL012\IMAGES\IMAGES003\00173411.pdf
00173414   00173415   4/28/2022 15:30 Email    MLS PA and Comment Responses .pdf                    .\VOL012\IMAGES\IMAGES003\00173414.pdf
00173416   00173417   4/28/2022 15:35 Email    RE: IAPA Comment document                            .\VOL012\IMAGES\IMAGES003\00173416.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173418   00173419   4/30/2022 16:31 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173418.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173420   00173421   4/30/2022 16:31 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173420.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173422   00173423   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173422.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173424   00173425   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173424.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173426   00173427   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173426.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173428   00173429   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173428.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173430   00173431   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173430.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173432   00173433   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173432.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173434   00173435   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173434.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173436   00173437   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173436.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173438   00173439   4/30/2022 16:32 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173438.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173440   00173441   4/30/2022 16:33 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173440.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173442   00173443   4/30/2022 16:33 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173442.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173444   00173445   4/30/2022 16:33 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173444.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173446   00173447   4/30/2022 16:33 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173446.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173448   00173449   4/30/2022 16:36 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173448.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173450   00173451   4/30/2022 16:37 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173450.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173452   00173453   4/30/2022 16:37 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173452.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173454   00173455   4/30/2022 16:37 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173454.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173456   00173457   4/30/2022 16:37 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173456.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173458   00173459   4/30/2022 16:37 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173458.pdf

                                               I‐495 and I‐270 MLS Section 106 Materials, PA Second
00173460   00173461   4/30/2022 16:37 Email    Draft, Comments Requested by May 2, 2022             .\VOL012\IMAGES\IMAGES003\00173460.pdf
                                               FMH ‐ PA Third Draft Treatment Plan Comments ‐
00173462   00173470     5/2/2022 8:50 Attach   05.02.22.pdf                                         .\VOL012\IMAGES\IMAGES003\00173462.pdf

00173471   00173472     5/2/2022 9:08 Email    FW: Draft Comments on the Revised Safety Analysis   .\VOL012\IMAGES\IMAGES003\00173471.pdf

00173473   00173474     5/2/2022 9:08 Email    FW: Draft Comments on the Revised Safety Analysis   .\VOL012\IMAGES\IMAGES003\00173473.pdf

00173475   00173475     5/2/2022 9:52 Email    Friends of Moses Hall CP Comments to I‐495 and ....pdf .\VOL012\IMAGES\IMAGES003\00173475.pdf
00173476   00173477    5/2/2022 12:48 Email    Financial Viability                                    .\VOL012\IMAGES\IMAGES003\00173476.pdf
00173478   00173480    5/2/2022 12:48 Attach   Financial Viability Responses.docx                     .\VOL012\IMAGES\IMAGES003\00173478.pdf

                                               MHT Comments on I‐495 and I‐270 MLS Section 106
                                               Materials, PA Third Draft, Archaeological Treatment
00173481   00173481    5/2/2022 14:54 Email    Plan, and Cemetery & Human Remains Treatment Plan .\VOL012\IMAGES\IMAGES003\00173481.pdf
00173482   00173484    5/2/2022 14:55 Email    FW: Maryland: I‐495/I‐270 IAPA                      .\VOL012\IMAGES\IMAGES003\00173482.pdf
                                               IAPA_03.08.22_FHWA SMEs
00173485   00173524    5/2/2022 14:55 Attach   Comments_Responses_042622.docx                      .\VOL012\IMAGES\IMAGES003\00173485.pdf
                                               IAPA_03.08.22_FHWA SMEs
00173525   00173564    5/2/2022 14:55 Edoc     Comments_Responses_042622.docx                      .\VOL012\IMAGES\IMAGES003\00173525.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 222 of 263

                                               RE_ Request for Concurrence on 4(f) De Minimis
00173565   00173566    5/2/2022 15:01 Email    ...(1).pdf                                             .\VOL012\IMAGES\IMAGES003\00173565.pdf

00173567   00173572    5/2/2022 15:18 Attach   MNCPPC First Draft ATP CTP comments May 2022.pdf .\VOL012\IMAGES\IMAGES003\00173567.pdf
                                               MNCPPC Cultural Resources Comments ‐ MLS 1st draft
00173573   00173573    5/2/2022 15:18 Email    ATP and CTP                                        .\VOL012\IMAGES\IMAGES003\00173573.pdf
00173574   00173574    5/2/2022 15:30 Email    NPS Coordination Meeting                           .\VOL012\IMAGES\IMAGES003\00173574.pdf
00173575   00173575    5/2/2022 15:30 Email    NPS Coordination Meeting                           .\VOL012\IMAGES\IMAGES003\00173575.pdf
00173576   00173576    5/2/2022 15:30 Email    NPS Coordination Meeting                           .\VOL012\IMAGES\IMAGES003\00173576.pdf
                                               FW_ MHT Comments on I‐495 and I‐270 MLS
00173577   00173577    5/2/2022 15:57 Email    Section....pdf                                     .\VOL012\IMAGES\IMAGES003\00173577.pdf
00173578   00173580    5/2/2022 15:57 Attach   I495 MLS 202201434.pdf                             .\VOL012\IMAGES\IMAGES003\00173578.pdf

00173581   00173583    5/2/2022 16:35 Email    Re_ Request for Concurrence on 4(f) De Minimis ....pdf .\VOL012\IMAGES\IMAGES003\00173581.pdf

00173584   00173585    5/2/2022 17:12 Email    Resolution of remaining NPS issues on the PA.pdf       .\VOL012\IMAGES\IMAGES003\00173584.pdf
                                               National Trust comments on Draft Treatment Plans ‐
00173586   00173587    5/2/2022 21:25 Attach   May 2 2022.pdf                                         .\VOL012\IMAGES\IMAGES003\00173586.pdf
                                               National Trust Comments on I‐495 and I‐270 MLS
00173588   00173589    5/2/2022 21:25 Email    Section 106 Draft Treatment Plans                      .\VOL012\IMAGES\IMAGES003\00173588.pdf
00173590   00173592     5/3/2022 8:58 Email    RE: Maryland: I‐495/I‐270 IAPA                         .\VOL012\IMAGES\IMAGES003\00173590.pdf
00173593   00173595     5/3/2022 9:08 Email    RE: Maryland: I‐495/I‐270 IAPA                         .\VOL012\IMAGES\IMAGES003\00173593.pdf
00173596   00173596     5/3/2022 9:37 Email    Maryland Excerpts‐ Safety Analysis IAJR                .\VOL012\IMAGES\IMAGES003\00173596.pdf

00173597   00173605     5/3/2022 9:37 Attach   Application for Interstate Access Point Approval.pdf   .\VOL012\IMAGES\IMAGES003\00173597.pdf
00173606   00173608    5/3/2022 10:57 Email    FW: MLS PA and Comment Responses                       .\VOL012\IMAGES\IMAGES003\00173606.pdf
00173609   00173611    5/3/2022 10:57 Email    FW: MLS PA and Comment Responses                       .\VOL012\IMAGES\IMAGES003\00173609.pdf
00173612   00173614    5/3/2022 14:57 Email    FW: Maryland: I‐495/I‐270 IAPA                         .\VOL012\IMAGES\IMAGES003\00173612.pdf
00173615   00173616    5/3/2022 15:12 Email    RE: Ball and O'Neale homesteads                        .\VOL012\IMAGES\IMAGES003\00173615.pdf
                                               Ervin 2020 MO191 Ball_Farmstead Cem Research 5‐3‐
00173617   00173622    5/3/2022 15:12 Attach   2022 DRAFT.docx                                        .\VOL012\IMAGES\IMAGES003\00173617.pdf
00173623   00173625    5/3/2022 15:22 Email    RE: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00173623.pdf
00173626   00173626    5/4/2022 12:00 Email    MLS comments on FEIS and Appendices                    .\VOL012\IMAGES\IMAGES003\00173626.pdf
00173627   00173628    5/4/2022 12:13 Email    Fw: Comment 5                                          .\VOL012\IMAGES\IMAGES003\00173627.pdf
00173629   00173642    5/4/2022 12:13 Attach   FEIS_01_Purpose&Need_05‐04‐2022.docx                   .\VOL012\IMAGES\IMAGES003\00173629.pdf
00173643   00173655    5/4/2022 12:13 Attach   FEIS_01_Purpose&Need_05‐04‐2022.pdf                    .\VOL012\IMAGES\IMAGES003\00173643.pdf
                                               MLS_FEIS_AppB_IAPA_AppF_Conceptual Guide
00173656   00173667    5/4/2022 14:21 Edoc     Signing Plan, Part 1.pdf                               .\VOL012\IMAGES\IMAGES003\00173656.pdf
                                               MLS_FEIS_AppB_IAPA_AppF_Conceptual Guide
00173668   00173680    5/4/2022 15:05 Edoc     Signing Plan, Part 2.pdf                               .\VOL012\IMAGES\IMAGES003\00173668.pdf
                                               MLS_FEIS_AppB_IAPA_AppF_Conceptual Guide
00173681   00173683    5/4/2022 15:31 Edoc     Signing Plan, Part 3.pdf                               .\VOL012\IMAGES\IMAGES003\00173681.pdf
00173684   00173708    5/4/2022 16:19 Attach   HOA Briefing presentation Outline.pptx                 .\VOL012\IMAGES\IMAGES003\00173684.pdf
00173709   00173711    5/4/2022 16:21 Email    FW: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173709.pdf
00173712   00173714    5/4/2022 19:02 Email    RE_ MLS PA and Comment Responses (1).pdf               .\VOL012\IMAGES\IMAGES003\00173712.pdf
00173715   00173718     5/5/2022 7:51 Email    RE_ MLS PA and Comment Responses .pdf                  .\VOL012\IMAGES\IMAGES003\00173715.pdf
00173719   00173722     5/5/2022 8:11 Email    RE: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00173719.pdf
00173723   00173725     5/5/2022 9:05 Email    RE: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173723.pdf
00173726   00173728     5/5/2022 9:05 Email    RE: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173726.pdf
00173729   00173729    5/5/2022 10:53 Email    Comments on the Treatment Plan Email 2 of 2            .\VOL012\IMAGES\IMAGES003\00173729.pdf

00173730   00173730    5/5/2022 10:53 Attach   MNCPPC First Draft ATP CTP Cmnts May 2022.docx .\VOL012\IMAGES\IMAGES003\00173730.pdf
00173731   00173732    5/5/2022 10:53 Attach   MHT I495 MLS 202201434.docx                    .\VOL012\IMAGES\IMAGES003\00173731.pdf
                                               NPS
                                               MLS_106_ArchTreatmentPlan_CmntMatrix_2022_NPS
00173733   00173736    5/5/2022 10:53 Attach   mlm.docx                                       .\VOL012\IMAGES\IMAGES003\00173733.pdf
                                               FMH ‐ PA Third Draft Treatment Plan Comments ‐
00173737   00173738    5/5/2022 10:53 Attach   05.02.22.docx                                  .\VOL012\IMAGES\IMAGES003\00173737.pdf
                                               NPS
                                               MLS_106_ArchTreatmentPlan_CmntMatrix_2022_NPS
00173739   00173744    5/5/2022 10:53 Attach   .docx                                          .\VOL012\IMAGES\IMAGES003\00173739.pdf
00173745   00173747    5/5/2022 10:53 Attach   Rockville I‐495 I‐270 PA Dr3 Cmnts MLM.docx    .\VOL012\IMAGES\IMAGES003\00173745.pdf

00173748   00173749    5/5/2022 10:53 Attach   National Trust cmnts DrTreatmentPlans 5 2 2022.docx    .\VOL012\IMAGES\IMAGES003\00173748.pdf
                                               2022‐04‐25_Rockville Coordination Meeting
00173750   00173757    5/5/2022 11:54 Attach   Notes_DRAFT_AMP_MTR Edits.docx                         .\VOL012\IMAGES\IMAGES003\00173750.pdf
00173758   00173761    5/5/2022 13:22 Email    RE: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00173758.pdf
00173762   00173766    5/5/2022 14:20 Email    RE: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00173762.pdf
00173767   00173769    5/6/2022 12:27 Email    Re: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173767.pdf
00173770   00173770    5/6/2022 13:48 Email    5/2 NPS Coordination Meeting Notes                     .\VOL012\IMAGES\IMAGES003\00173770.pdf

00173771   00173773    5/6/2022 14:53 Attach   P3 Program_FHWA Review Schedule_2022‐05‐06.docx .\VOL012\IMAGES\IMAGES003\00173771.pdf
                                               2022‐04‐
00173774   00173776    5/6/2022 14:53 Attach   25_FHWA_Coordination_Meeting_Notes.docx         .\VOL012\IMAGES\IMAGES003\00173774.pdf

                                               FW: FHWA Review: I‐495 & I‐270 Managed Lanes
00173777   00173777     5/9/2022 7:38 Email    Study ‐ Maryland Updated IAPA report due 05/05/22      .\VOL012\IMAGES\IMAGES003\00173777.pdf
00173778   00173779    5/9/2022 12:43 Email    FW: 5/2 NPS Coordination Meeting Notes                 .\VOL012\IMAGES\IMAGES003\00173778.pdf

00173780   00173782    5/9/2022 12:43 Attach   2022‐05‐02_NPS Coordination Meeting Notes.pdf          .\VOL012\IMAGES\IMAGES003\00173780.pdf

00173783   00173784    5/9/2022 14:39 Email    I‐495 & I‐270 MLS Section 106 FINAL PA ‐ PROOF ....pdf .\VOL012\IMAGES\IMAGES003\00173783.pdf
                                               495_270_MLS_PROGRAMMATIC
00173785   00173824    5/9/2022 14:39 Attach   AGREEMENT_May_2022_PR.pdf                              .\VOL012\IMAGES\IMAGES003\00173785.pdf
00173825   00173830    5/9/2022 15:28 Email    FW: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173825.pdf
                                               Application for Interstate Access Point Approval ‐
                                               Safety Section Resubmittal ‐ Updated 4.25.22
00173831   00173865   5/10/2022 10:47 Edoc     (Comments).pdf                                         .\VOL012\IMAGES\IMAGES003\00173831.pdf
00173866   00173871   5/10/2022 11:13 Email    FW: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173866.pdf
00173872   00173877   5/10/2022 11:13 Email    FW: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173872.pdf
00173878   00173883   5/10/2022 11:45 Email    FW: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173878.pdf
00173884   00173886   5/10/2022 14:09 Email    RE: Maryland: I‐495/I‐270 IAPA                         .\VOL012\IMAGES\IMAGES003\00173884.pdf
00173887   00173887   5/10/2022 16:20 Email    Discussion Items for meeting on 5/12                   .\VOL012\IMAGES\IMAGES003\00173887.pdf
                                               Comprehensive Mitigation Summary Table_For 5‐12‐
00173888   00173893   5/10/2022 16:20 Attach   22 Meeting.docx                                        .\VOL012\IMAGES\IMAGES003\00173888.pdf
00173894   00173895    5/11/2022 7:02 Email    FW: FHWA Briefing Presentation                         .\VOL012\IMAGES\IMAGES003\00173894.pdf
00173896   00173897   5/11/2022 15:23 Email    RE: FHWA Briefing Presentation                         .\VOL012\IMAGES\IMAGES003\00173896.pdf
00173898   00173899   5/11/2022 16:12 Email    RE: FEIS Appendices                                    .\VOL012\IMAGES\IMAGES003\00173898.pdf

                                               Re: I‐495 & I‐270 MLS Section 106 FINAL PA ‐ PROOF
00173900   00173901    5/12/2022 9:08 Email    COPY ‐ Review requested by Monday 5/16                 .\VOL012\IMAGES\IMAGES003\00173900.pdf
00173902   00173907    5/12/2022 9:52 Email    FW: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173902.pdf
00173908   00173913    5/12/2022 9:52 Email    FW: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173908.pdf
00173914   00173919    5/12/2022 9:54 Email    RE: MLS ‐ comments on Appendices                       .\VOL012\IMAGES\IMAGES003\00173914.pdf
00173920   00173921   5/12/2022 13:15 Email    Mitigation and Commitments                             .\VOL012\IMAGES\IMAGES003\00173920.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 223 of 263

                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00173922   00173928   5/12/2022 13:41 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00173922.pdf

                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00173929   00173935   5/12/2022 13:41 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00173929.pdf

                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00173936   00173942   5/12/2022 13:51 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00173936.pdf

                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00173943   00173950   5/12/2022 14:01 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00173943.pdf
00173951   00173951   5/12/2022 14:24 Email    I‐495/I‐270 MLS                                      .\VOL012\IMAGES\IMAGES003\00173951.pdf
00173952   00173958   5/12/2022 14:29 Email    RE: MLS ‐ comments on Appendices                     .\VOL012\IMAGES\IMAGES003\00173952.pdf
00173959   00173965   5/12/2022 14:29 Email    RE: MLS ‐ comments on Appendices                     .\VOL012\IMAGES\IMAGES003\00173959.pdf
00173966   00173966   5/12/2022 14:29 Attach   MLS_FEIS EJ Map.pdf                                  .\VOL012\IMAGES\IMAGES003\00173966.pdf
                                               FW: I‐495 and I‐270 Managed Lanes Study‐‐draft
                                               archaeological treatment plan, MDOT SHA Study No.
00173967   00173967   5/12/2022 14:51 Attach   AW073A11 9DHR File No. 2018‐0251)                    .\VOL012\IMAGES\IMAGES003\00173967.pdf
00173968   00173969   5/12/2022 14:51 Attach   CCF05112022.pdf                                      .\VOL012\IMAGES\IMAGES003\00173968.pdf
00173970   00173970   5/12/2022 15:05 Email    Additional Slides                                    .\VOL012\IMAGES\IMAGES003\00173970.pdf
                                               MLS FEIS Briefing PPT_May 2022_TWO ADD
00173971   00173972   5/12/2022 15:05 Attach   SLIDES.pptx                                          .\VOL012\IMAGES\IMAGES003\00173971.pdf
00173973   00173973   5/12/2022 15:17 Email    RE: I‐495/I‐270 MLS                                  .\VOL012\IMAGES\IMAGES003\00173973.pdf
00173974   00173975   5/12/2022 15:23 Email    FW: Additional Slides                                .\VOL012\IMAGES\IMAGES003\00173974.pdf
                                               MLS FEIS Briefing PPT_May 2022_TWO ADD
00173976   00173977   5/12/2022 15:23 Attach   SLIDES.pptx                                          .\VOL012\IMAGES\IMAGES003\00173976.pdf
00173978   00173981   5/12/2022 15:31 Email    Re: MLS ‐ comments on Appendices                     .\VOL012\IMAGES\IMAGES003\00173978.pdf
00173982   00173983   5/12/2022 15:39 Email    RE: Additional Slides                                .\VOL012\IMAGES\IMAGES003\00173982.pdf
                                               MLS FEIS Briefing PPT_May 2022_TWO ADD
00173984   00173984   5/12/2022 15:39 Attach   SLIDES_Revised.pptx                                  .\VOL012\IMAGES\IMAGES003\00173984.pdf
00173985   00173991   5/12/2022 16:05 Email    FW: MLS ‐ comments on Appendices                     .\VOL012\IMAGES\IMAGES003\00173985.pdf
00173992   00173998   5/12/2022 16:05 Email    FW: MLS ‐ comments on Appendices                     .\VOL012\IMAGES\IMAGES003\00173992.pdf
00173999   00174006   5/12/2022 16:49 Email    RE: MLS ‐ comments on Appendices                     .\VOL012\IMAGES\IMAGES003\00173999.pdf
00174007   00174013   5/12/2022 17:13 Email    FW: MLS ‐ comments on Appendices                     .\VOL012\IMAGES\IMAGES003\00174007.pdf
00174014   00174014   5/12/2022 19:26 Email    NSA                                                  .\VOL012\IMAGES\IMAGES003\00174014.pdf
00174015   00174015   5/12/2022 19:26 Email    NSA                                                  .\VOL012\IMAGES\IMAGES003\00174015.pdf
00174016   00174017    5/13/2022 8:15 Email    RE: NSA                                              .\VOL012\IMAGES\IMAGES003\00174016.pdf
00174018   00174019    5/13/2022 8:15 Email    RE: NSA                                              .\VOL012\IMAGES\IMAGES003\00174018.pdf
00174020   00174027    5/13/2022 8:20 Email    RE: MLS ‐ comments on Appendices                     .\VOL012\IMAGES\IMAGES003\00174020.pdf
00174028   00174029   5/13/2022 10:32 Email    RE: NSA                                              .\VOL012\IMAGES\IMAGES003\00174028.pdf
00174030   00174030   5/13/2022 15:30 Email    IAPA Safety Analysis ‐ Summary                       .\VOL012\IMAGES\IMAGES003\00174030.pdf
00174031   00174031   5/13/2022 15:30 Attach   IAPA Safety Analysis_Summary.docx                    .\VOL012\IMAGES\IMAGES003\00174031.pdf
00174032   00174032   5/13/2022 15:41 Email    FW: IAPA Safety Analysis ‐ Summary                   .\VOL012\IMAGES\IMAGES003\00174032.pdf
00174033   00174033   5/13/2022 15:42 Email    RE: IAPA Safety Analysis ‐ Summary                   .\VOL012\IMAGES\IMAGES003\00174033.pdf

00174034   00174035   5/13/2022 15:50 Email    RE_ Pre‐meeting for I‐495_I‐270 MLS Prior Concu....pdf .\VOL012\IMAGES\IMAGES003\00174034.pdf
00174036   00174085   5/13/2022 15:50 Attach   MLS FEIS Briefing PPT_May 16 2022.pptx                 .\VOL012\IMAGES\IMAGES003\00174036.pdf
00174086   00174086   5/13/2022 16:46 Attach   Ourisman Development‐5‐13‐22.pdf                       .\VOL012\IMAGES\IMAGES003\00174086.pdf

00174087   00174088    5/16/2022 9:18 Email    Re_ MDOT's IAPA Application ‐ Safety Analysis(1).pdf   .\VOL012\IMAGES\IMAGES003\00174087.pdf

00174089   00174090    5/16/2022 9:36 Email    RE_ MDOT's IAPA Application ‐ Safety Analysis(1).pdf   .\VOL012\IMAGES\IMAGES003\00174089.pdf

00174091   00174093   5/16/2022 10:54 Email    RE_ MDOT's IAPA Application ‐ Safety Analysis(4).pdf   .\VOL012\IMAGES\IMAGES003\00174091.pdf
                                               Re: I‐495 Express Lanes Northern Extension Project
00174094   00174103    5/17/2022 9:25 Email    Update #5 ‐ May 11, 2022                               .\VOL012\IMAGES\IMAGES003\00174094.pdf
00174104   00174106   5/17/2022 12:46 Email    I‐495 and I‐270 MLS Final Section 106 PA               .\VOL012\IMAGES\IMAGES003\00174104.pdf
00174107   00174108   5/17/2022 12:48 Email    FW: I‐495 and I‐270 MLS Final Section 106 PA           .\VOL012\IMAGES\IMAGES003\00174107.pdf
00174109   00174109   5/17/2022 12:48 Attach   PA_Signatory_MD SHPO.pdf                               .\VOL012\IMAGES\IMAGES003\00174109.pdf
00174110   00174111   5/17/2022 12:52 Email    FW: I‐495 and I‐270 MLS Final Section 106 PA           .\VOL012\IMAGES\IMAGES003\00174110.pdf
00174112   00174113   5/17/2022 12:53 Email    FW: I‐495 and I‐270 MLS Final Section 106 PA           .\VOL012\IMAGES\IMAGES003\00174112.pdf
00174114   00174114   5/17/2022 12:53 Attach   PA_Signatory_VA SHPO.pdf                               .\VOL012\IMAGES\IMAGES003\00174114.pdf
00174115   00174116   5/17/2022 13:47 Email    I‐495 and I‐270 MLS Final Section 106 PA.pdf           .\VOL012\IMAGES\IMAGES003\00174115.pdf
00174117   00174117   5/17/2022 14:30 Email    I‐495 and I‐270 MLS Final Section 106 PA               .\VOL012\IMAGES\IMAGES003\00174117.pdf
00174118   00174118   5/17/2022 14:30 Attach   MLS_106 5‐17‐22 Tribal Form.pdf                        .\VOL012\IMAGES\IMAGES003\00174118.pdf
00174119   00174119   5/17/2022 14:31 Email    I‐495 and I‐270 MLS Final Section 106 PA               .\VOL012\IMAGES\IMAGES003\00174119.pdf

00174120   00174120   5/17/2022 14:36 Email    495 Southside Express Lane ‐ Public Meeting and FAQs .\VOL012\IMAGES\IMAGES003\00174120.pdf
00174121   00174122   5/17/2022 15:46 Email    RE: Plummers Island Piers                            .\VOL012\IMAGES\IMAGES003\00174121.pdf
                                               RE: 495 Southside Express Lane ‐ Public Meeting and
00174123   00174124   5/17/2022 15:53 Email    FAQs                                                 .\VOL012\IMAGES\IMAGES003\00174123.pdf
                                               19MTR112_Pop‐Up‐Events_ALB‐Traffic‐Relief‐Plan‐
00174125   00174126   5/17/2022 15:53 Attach   Benefits_Brochure_11x8.33_R10A.pdf                   .\VOL012\IMAGES\IMAGES003\00174125.pdf
                                               IAPA_03.08.22_FHWA SMEs
00174127   00174166   5/17/2022 23:00 Edoc     Comments_Responses_042622_KP.docx                    .\VOL012\IMAGES\IMAGES003\00174127.pdf
00174167   00174167   5/18/2022 11:07 Email    RE: Plummers Island Piers                            .\VOL012\IMAGES\IMAGES003\00174167.pdf
00174168   00174169   5/18/2022 14:25 Email    FW: Plummers Island Piers                            .\VOL012\IMAGES\IMAGES003\00174168.pdf
00174170   00174171   5/18/2022 14:25 Email    FW: Plummers Island Piers                            .\VOL012\IMAGES\IMAGES003\00174170.pdf

                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00174172   00174173    5/19/2022 8:25 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00174172.pdf

                                               FW: FHWA Review: I‐495 & I‐270 Managed Lanes
00174174   00174174    5/19/2022 9:32 Email    Study ‐ Maryland Updated IAPA report due 05/05/22      .\VOL012\IMAGES\IMAGES003\00174174.pdf
                                               IAPA_05.19.22_FHWA SMEs
00174175   00174191    5/19/2022 9:32 Attach   Comments_Responses_follow‐up.docx                      .\VOL012\IMAGES\IMAGES003\00174175.pdf

                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00174192   00174193   5/19/2022 11:10 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00174192.pdf

                                               Re: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00174194   00174195   5/19/2022 13:49 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00174194.pdf
00174196   00174197   5/19/2022 14:15 Email    Re_ I‐495 and I‐270 MLS Final Section 106 PA.pdf     .\VOL012\IMAGES\IMAGES003\00174196.pdf
00174198   00174198   5/19/2022 14:15 Attach   DHR signature page for PA.pdf                        .\VOL012\IMAGES\IMAGES003\00174198.pdf
00174199   00174201   5/19/2022 14:37 Email    RE: additional slides [Noise]                        .\VOL012\IMAGES\IMAGES003\00174199.pdf

00174202   00174204   5/19/2022 14:37 Attach   MLS FEIS Briefing PPT_May 2022 ‐ Traffic Slides.pptx   .\VOL012\IMAGES\IMAGES003\00174202.pdf
00174205   00174206   5/19/2022 15:19 Email    RE: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00174205.pdf
                                               IAPA_05.19.22_FHWA SMEs
00174207   00174221   5/19/2022 15:19 Attach   Comments_Responses_follow‐up_to SHA.docx               .\VOL012\IMAGES\IMAGES003\00174207.pdf

                                               RE: FHWA Review: I‐495 & I‐270 Managed Lanes Study ‐
00174222   00174223   5/19/2022 15:23 Email    Maryland Updated IAPA report due 05/05/22            .\VOL012\IMAGES\IMAGES003\00174222.pdf
00174224   00174225    5/20/2022 9:13 Email    RE: IAPA Comment document                            .\VOL012\IMAGES\IMAGES003\00174224.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                 Filed 05/03/23                             Page 224 of 263

00174226   00174227   5/20/2022 11:38 Email    IAPA Changes                                         .\VOL012\IMAGES\IMAGES003\00174226.pdf
00174228   00174229   5/20/2022 12:37 Email    FW: IAPA Changes                                     .\VOL012\IMAGES\IMAGES003\00174228.pdf
00174230   00174232   5/20/2022 12:48 Email    RE: IAPA Changes                                     .\VOL012\IMAGES\IMAGES003\00174230.pdf
00174233   00174234   5/20/2022 13:19 Email    RE: request fir information                          .\VOL012\IMAGES\IMAGES003\00174233.pdf
00174235   00174235   5/20/2022 13:38 Email    RE: Please remove header                             .\VOL012\IMAGES\IMAGES003\00174235.pdf
                                               Admministration Priority Summary I‐495 I‐270_2022‐
00174236   00174240   5/20/2022 13:38 Attach   May‐20.docx                                          .\VOL012\IMAGES\IMAGES003\00174236.pdf
00174241   00174242   5/20/2022 13:38 Email    RE: IAPA Changes                                     .\VOL012\IMAGES\IMAGES003\00174241.pdf
00174243   00174244   5/20/2022 13:45 Email    Re: IAPA Changes                                     .\VOL012\IMAGES\IMAGES003\00174243.pdf
00174245   00174247   5/20/2022 13:46 Email    FW: IAPA Changes                                     .\VOL012\IMAGES\IMAGES003\00174245.pdf
00174248   00174249   5/23/2022 11:29 Email    Draft IAWG Email                                     .\VOL012\IMAGES\IMAGES003\00174248.pdf
00174250   00174250   5/23/2022 11:29 Attach   MLS IAWG Email Update_May 2022.docx                  .\VOL012\IMAGES\IMAGES003\00174250.pdf
00174251   00174252   5/23/2022 11:31 Email    RE: FEIS NOA                                         .\VOL012\IMAGES\IMAGES003\00174251.pdf
                                               Updated Safety Section for MDOT SHA’s Application
00174253   00174253   5/23/2022 13:09 Email    for IAPA                                             .\VOL012\IMAGES\IMAGES003\00174253.pdf
                                               Application for Interstate Access Point Approval ‐
00174254   00174310   5/23/2022 13:09 Attach   Safety Section Resubmittal May 23 2022.docx          .\VOL012\IMAGES\IMAGES003\00174254.pdf

00174311   00174311   5/23/2022 13:09 Attach   Appendix C ‐ Preferred Alternative Lane Diagrams.pdf .\VOL012\IMAGES\IMAGES003\00174311.pdf
00174312   00174314   5/23/2022 15:18 Email    Re: request fir information                           .\VOL012\IMAGES\IMAGES003\00174312.pdf
                                               FW_ Updated Safety Section for MDOT SHA’s
00174315   00174316   5/23/2022 16:53 Email    Appli...(2).pdf                                       .\VOL012\IMAGES\IMAGES003\00174315.pdf
00174317   00174319   5/24/2022 12:44 Email    RE: I‐495 and & I‐270 Draft Tolling MOU               .\VOL012\IMAGES\IMAGES003\00174317.pdf
                                               RE: Updated Safety Section for MDOT SHA’s
00174320   00174321   5/24/2022 13:58 Email    Application for IAPA                                  .\VOL012\IMAGES\IMAGES003\00174320.pdf
                                               RE: Updated Safety Section for MDOT SHA’s
00174322   00174323   5/24/2022 14:44 Email    Application for IAPA                                  .\VOL012\IMAGES\IMAGES003\00174322.pdf
                                               RE: Updated Safety Section for MDOT SHA’s
00174324   00174326   5/24/2022 15:26 Email    Application for IAPA                                  .\VOL012\IMAGES\IMAGES003\00174324.pdf
                                               MLS FEIS Briefing PPT_June 2 2022 Progressive
00174327   00174330   5/24/2022 16:58 Attach   DB_KPslides.pptx                                      .\VOL012\IMAGES\IMAGES003\00174327.pdf
                                               RE_ Updated Safety Section for MDOT SHA’s
00174331   00174333   5/24/2022 20:13 Email    Appli....pdf                                          .\VOL012\IMAGES\IMAGES003\00174331.pdf
00174334   00174335    5/25/2022 6:53 Email    FW: I‐495 and I‐270 MLS Final Section 106 PA          .\VOL012\IMAGES\IMAGES003\00174334.pdf
                                               RE: PCS‐I495‐I270 P3‐PH1‐TRAN‐2021‐00045.08 has
00174336   00174338    5/25/2022 7:31 Email    been Assigned to you                                  .\VOL012\IMAGES\IMAGES003\00174336.pdf
00174339   00174339    5/25/2022 7:31 Attach   Design_Exceptions_20220525.jpg                        .\VOL012\IMAGES\IMAGES003\00174339.pdf
                                               RE: Updated Safety Section for MDOT SHA’s
00174340   00174342   5/25/2022 11:35 Email    Application for IAPA                                  .\VOL012\IMAGES\IMAGES003\00174340.pdf
                                               RE: [EXTERNAL] Fwd: I‐495 and I‐270 MLS Final Section
00174343   00174346   5/25/2022 16:17 Email    106 PA                                                .\VOL012\IMAGES\IMAGES003\00174343.pdf

00174347   00174347   5/26/2022 17:49 Email    FHWA Draft Comments on IAJR Safety Analysis(3).pdf   .\VOL012\IMAGES\IMAGES003\00174347.pdf
                                               Application for Interstate Access Point Approval ‐
                                               Safety Section Resubmittal May 23 2022 FHWA
00174348   00174404   5/27/2022 10:02 Attach   Comments GWM.docx                                    .\VOL012\IMAGES\IMAGES003\00174348.pdf
00174405   00174406   5/27/2022 11:12 Email    Fw: DE09 Comments                                    .\VOL012\IMAGES\IMAGES003\00174405.pdf

                                               20220527 E09‐
00174407   00174459   5/27/2022 11:12 Attach   I495ShoulderWidthatMosesHallCemetery‐1.7.pdf         .\VOL012\IMAGES\IMAGES003\00174407.pdf
                                               20220527 E09‐
                                               I495ShoulderWidthatMosesHallCemetery‐DE Req
00174460   00174474   5/27/2022 11:12 Attach   Form_CLEAN.docx                                      .\VOL012\IMAGES\IMAGES003\00174460.pdf
                                               20220527 E09‐
                                               I495ShoulderWidthatMosesHallCemetery‐DE Req
00174475   00174491   5/27/2022 11:12 Attach   Form_TRACKED CHANGES.pdf                             .\VOL012\IMAGES\IMAGES003\00174475.pdf
00174492   00174496    5/31/2022 9:20 Email    FW: [EXTERNAL] RE: Plummers Island Piers             .\VOL012\IMAGES\IMAGES003\00174492.pdf
00174497   00174498   5/31/2022 10:24 Email    FW: FHWA Internal Meeting Wed                        .\VOL012\IMAGES\IMAGES003\00174497.pdf
                                               RE: I‐495 and I‐270 MLS Final Section 106 PA‐‐no
00174499   00174501   5/31/2022 10:44 Email    cmnts on PA, not request to be Concurring Party      .\VOL012\IMAGES\IMAGES003\00174499.pdf
00174502   00174502   5/31/2022 12:37 Email    City of Rockville I‐495/ I‐270                       .\VOL012\IMAGES\IMAGES003\00174502.pdf
00174503   00174571   5/31/2022 12:57 Attach   MLS FEIS Briefing PPT_June 2 2022 Final.pptx         .\VOL012\IMAGES\IMAGES003\00174503.pdf
00174572   00174579   5/31/2022 14:55 Email    MDOT SHA signature on MLS PA                         .\VOL012\IMAGES\IMAGES003\00174572.pdf
00174580   00174580   5/31/2022 14:55 Attach   PA_Signatory_MDOT SHA.pdf                            .\VOL012\IMAGES\IMAGES003\00174580.pdf
                                               MLS FEIS HOA Briefing Short June 2
00174581   00174653   5/31/2022 16:19 Attach   2022_FinalGreg.pptx                                  .\VOL012\IMAGES\IMAGES003\00174581.pdf
00174654   00174654   5/31/2022 16:25 Email    FW: City of Rockville I‐495/ I‐270                   .\VOL012\IMAGES\IMAGES003\00174654.pdf
                                               Managed Lanes ‐ ALB Bridge ‐ location of Piers on
00174655   00174655   5/31/2022 17:00 Email    Plumbers Island                                      .\VOL012\IMAGES\IMAGES003\00174655.pdf
00174656   00174658     6/1/2022 9:00 Email    RE: I‐495 and & I‐270 Draft Tolling MOU              .\VOL012\IMAGES\IMAGES003\00174656.pdf
                                               FHWA MDOT and MDTA MOU (Draft 12.14.21)_MDTA
00174659   00174663     6/1/2022 9:00 Attach   comments_042222.docx                                 .\VOL012\IMAGES\IMAGES003\00174659.pdf
00174664   00174667    6/1/2022 10:05 Email    RE: I‐495 and & I‐270 Draft Tolling MOU              .\VOL012\IMAGES\IMAGES003\00174664.pdf
00174668   00174669    6/1/2022 11:36 Email    Proposed Commitment                                  .\VOL012\IMAGES\IMAGES003\00174668.pdf
00174670   00174671    6/1/2022 11:47 Email    FW: Proposed Commitment                              .\VOL012\IMAGES\IMAGES003\00174670.pdf
00174672   00174673    6/1/2022 12:24 Email    RE: Proposed Commitment                              .\VOL012\IMAGES\IMAGES003\00174672.pdf

00174674   00174674    6/1/2022 14:06 Email    4(f) evaluation in FEIS and ROD ‐ I‐495/I‐270 Maryland .\VOL012\IMAGES\IMAGES003\00174674.pdf
                                               RE: 4(f) evaluation in FEIS and ROD ‐ I‐495/I‐270
00174675   00174675    6/1/2022 14:14 Email    Maryland                                               .\VOL012\IMAGES\IMAGES003\00174675.pdf
                                               RE: 4(f) evaluation in FEIS and ROD ‐ I‐495/I‐270
00174676   00174676    6/1/2022 14:15 Email    Maryland                                               .\VOL012\IMAGES\IMAGES003\00174676.pdf
00174677   00174678    6/1/2022 14:23 Email    RE: ROD                                                .\VOL012\IMAGES\IMAGES003\00174677.pdf
00174679   00174680    6/1/2022 15:41 Email    RE: List of changes/updates to LS FEIS version         .\VOL012\IMAGES\IMAGES003\00174679.pdf
00174681   00174682    6/1/2022 15:53 Email    CRITICAL: Plummers Island Commitment                   .\VOL012\IMAGES\IMAGES003\00174681.pdf
00174683   00174684    6/1/2022 15:55 Email    Re: List of changes/updates to LS FEIS version         .\VOL012\IMAGES\IMAGES003\00174683.pdf
                                               Re: [EXTERNAL] CRITICAL: Plummers Island
00174685   00174686    6/1/2022 15:59 Email    Commitment                                             .\VOL012\IMAGES\IMAGES003\00174685.pdf
00174687   00174687    6/1/2022 17:20 Email    Final Presentation                                     .\VOL012\IMAGES\IMAGES003\00174687.pdf
00174688   00174688    6/2/2022 10:27 Email    FEIS Chapter 4.1.1 Updates                             .\VOL012\IMAGES\IMAGES003\00174688.pdf
00174689   00174689    6/2/2022 14:22 Email    MLS Project Legal Sufficiency                          .\VOL012\IMAGES\IMAGES003\00174689.pdf
                                               RE: I‐495 & I‐270 MLS: Washington Biologists' Field
00174690   00174691    6/2/2022 15:36 Attach   Club Coordination Meeting [3/24/2022]                  .\VOL012\IMAGES\IMAGES003\00174690.pdf
00174692   00174692    6/2/2022 15:54 Attach   MD‐MLS LS Memo .pdf                                    .\VOL012\IMAGES\IMAGES003\00174692.pdf
00174693   00174695    6/2/2022 21:35 Email    RE: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00174693.pdf
                                               IAPA_05.19.22_FHWA SMEs
                                               Comments_Responses_follow‐up_MDOT SHA
00174696   00174714    6/2/2022 21:35 Attach   responses 06.02.22.docx                                .\VOL012\IMAGES\IMAGES003\00174696.pdf
                                               NPS
                                               MLS_106_ArchTreatmentPlan_CmntMatrix_2022_NPS
00174715   00174718     6/3/2022 2:28 Attach   mlm.docx                                               .\VOL012\IMAGES\IMAGES003\00174715.pdf
00174719   00174721     6/3/2022 7:12 Email    FW: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00174719.pdf
00174722   00174724     6/3/2022 7:15 Email    FW: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00174722.pdf
00174725   00174727     6/3/2022 8:40 Email    RE: IAPA Comment document                              .\VOL012\IMAGES\IMAGES003\00174725.pdf
00174728   00174729    6/3/2022 11:42 Edoc     FINAL MLS FEIS Prior Concurrence Memo.pdf              .\VOL012\IMAGES\IMAGES003\00174728.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                             Page 225 of 263

00174730   00174730    6/3/2022 15:49 Email    FW: 495/270 Managed Lanes Study                       .\VOL012\IMAGES\IMAGES003\00174730.pdf
00174731   00174735    6/3/2022 15:49 Attach   Ltr to Sec. Buttigieg.pdf                             .\VOL012\IMAGES\IMAGES003\00174731.pdf
                                               FW: I‐495 and I‐270 Managed Lanes Study FEIS Prior
00174736   00174736     6/6/2022 7:38 Email    Concurrence                                           .\VOL012\IMAGES\IMAGES003\00174736.pdf
00174737   00174739     6/6/2022 7:55 Email    RE: IAPA Comment document                             .\VOL012\IMAGES\IMAGES003\00174737.pdf
                                               Fwd: 495 NEXT Citizen Meeting Concerns for Maryland
00174740   00174741    6/6/2022 11:22 Email    Managed Lane Project                                  .\VOL012\IMAGES\IMAGES003\00174740.pdf
                                               FW: [EXTERNAL] FW: I‐495 and I‐270 MLS Final Section
00174742   00174744    6/6/2022 12:53 Email    106 PA                                                .\VOL012\IMAGES\IMAGES003\00174742.pdf
                                               PA_Signatory_NPS I‐495 I‐270 Managed Lanes Study ‐
00174745   00174745    6/6/2022 12:53 Attach   executed.pdf                                          .\VOL012\IMAGES\IMAGES003\00174745.pdf
                                               RE: I‐495 Express Lanes Northern Extension Project
00174746   00174755    6/6/2022 13:00 Email    Update #5 ‐ May 11, 2022                              .\VOL012\IMAGES\IMAGES003\00174746.pdf
                                               20220602_Enlarged v3 VDOT Next Mapping June 2022
00174756   00174756    6/6/2022 13:00 Attach   with Op Lanes Maryland Logo Map.pdf                   .\VOL012\IMAGES\IMAGES003\00174756.pdf
                                               RE: [EXTERNAL] FW: I‐495 and I‐270 MLS Final Section
00174757   00174759    6/6/2022 14:08 Email    106 PA                                                .\VOL012\IMAGES\IMAGES003\00174757.pdf
00174760   00174760    6/6/2022 14:08 Attach   MLS_FHWA_PA_signed.pdf                                .\VOL012\IMAGES\IMAGES003\00174760.pdf
00174761   00174761    6/6/2022 14:47 Email    MLS PA                                                .\VOL012\IMAGES\IMAGES003\00174761.pdf
                                               RE: I‐495 and I‐270 MLS Final Section 106 PA for ACHP
00174762   00174764    6/6/2022 14:52 Email    execution                                             .\VOL012\IMAGES\IMAGES003\00174762.pdf
00174765   00174765    6/6/2022 15:13 Email    RE: MLS PA                                            .\VOL012\IMAGES\IMAGES003\00174765.pdf
                                               I‐495 & I‐270 Managed Lanes Study: IAWG Update‐
00174766   00174768    6/6/2022 15:44 Email    June 2022                                             .\VOL012\IMAGES\IMAGES003\00174766.pdf
                                               I‐495 & I‐270 Managed Lanes Study: IAWG Update‐
00174769   00174771    6/6/2022 15:44 Email    June 2022                                             .\VOL012\IMAGES\IMAGES003\00174769.pdf

00174772   00174773    6/6/2022 15:53 Email    RE_ I‐495 and I‐270 MLS Final Section 106 PA fo....pdf .\VOL012\IMAGES\IMAGES003\00174772.pdf
00174774   00174774    6/6/2022 15:53 Attach   PA_Signatory_ACHP.pdf                                  .\VOL012\IMAGES\IMAGES003\00174774.pdf
                                               495_270_MLS_PROGRAMMATIC
00174775   00174814    6/6/2022 15:53 Attach   AGREEMENT_May_2022_FI.pdf                              .\VOL012\IMAGES\IMAGES003\00174775.pdf
00174815   00174816    6/6/2022 16:06 Email    Draft Email to DOI                                     .\VOL012\IMAGES\IMAGES003\00174815.pdf
00174817   00174818     6/7/2022 8:03 Email    FW: Draft Email to DOI                                 .\VOL012\IMAGES\IMAGES003\00174817.pdf
00174819   00174819     6/7/2022 8:37 Email    Section 4(f)                                           .\VOL012\IMAGES\IMAGES003\00174819.pdf
00174820   00174820     6/7/2022 9:22 Email    FHWA/MDOT Signing of FEIS                              .\VOL012\IMAGES\IMAGES003\00174820.pdf
00174821   00174822     6/7/2022 9:32 Email    RE: FHWA/MDOT Signing of FEIS                          .\VOL012\IMAGES\IMAGES003\00174821.pdf
00174823   00174824    6/7/2022 10:14 Email    RE: FEIS Chapter 4.1.1 Updates                         .\VOL012\IMAGES\IMAGES003\00174823.pdf
00174825   00174827    6/7/2022 10:28 Email    RE: FEIS Chapter 4.1.1 Updates                         .\VOL012\IMAGES\IMAGES003\00174825.pdf
00174828   00174830    6/7/2022 10:30 Email    RE: FEIS Chapter 4.1.1 Updates                         .\VOL012\IMAGES\IMAGES003\00174828.pdf
00174831   00174831    6/7/2022 13:22 Email    ALB Pier Location Information                          .\VOL012\IMAGES\IMAGES003\00174831.pdf
                                               RE: [EXTERNAL] FW: I‐495 and I‐270 MLS Final Section
00174832   00174833    6/7/2022 16:02 Email    106 PA                                                 .\VOL012\IMAGES\IMAGES003\00174832.pdf
                                               ALB/Plummers Island Avoidance and Minimization
00174834   00174835    6/7/2022 16:04 Email    Memo                                                   .\VOL012\IMAGES\IMAGES003\00174834.pdf
                                               ALB/Plummers Island Avoidance and Minimization
00174836   00174837    6/7/2022 16:04 Email    Memo                                                   .\VOL012\IMAGES\IMAGES003\00174836.pdf
                                               2022‐06 Memo‐ALB Design and Avoidance and
00174838   00174866    6/7/2022 16:04 Attach   Minimization Timeline.pdf                              .\VOL012\IMAGES\IMAGES003\00174838.pdf
                                               ALB/Plummers Island Avoidance and Minimization
00174867   00174867    6/7/2022 16:04 Email    Memo                                                   .\VOL012\IMAGES\IMAGES003\00174867.pdf
00174868   00174868    6/7/2022 17:54 Email    DOI coordination.pdf                                   .\VOL012\IMAGES\IMAGES003\00174868.pdf
                                               Re: [EXTERNAL] ALB/Plummers Island Avoidance and
00174869   00174870     6/8/2022 7:40 Email    Minimization Memo                                      .\VOL012\IMAGES\IMAGES003\00174869.pdf
                                               FW: [EXTERNAL] ALB/Plummers Island Avoidance and
00174871   00174872     6/8/2022 8:39 Email    Minimization Memo                                      .\VOL012\IMAGES\IMAGES003\00174871.pdf
                                               Re: [EXTERNAL] ALB/Plummers Island Avoidance and
00174873   00174875     6/8/2022 9:00 Email    Minimization Memo                                      .\VOL012\IMAGES\IMAGES003\00174873.pdf
                                               Updated Addendum to Morningstar Moses Cemetery
00174876   00174876    6/8/2022 15:23 Email    & Hall site (M‐35‐212)                                 .\VOL012\IMAGES\IMAGES003\00174876.pdf
00174877   00174884    6/8/2022 15:23 Attach   Morningstar_MIHPAddendum_June_8_2022.pdf               .\VOL012\IMAGES\IMAGES003\00174877.pdf
                                               Maryland I‐495_I‐270 Managed Lanes Study ‐
00174885   00174885    6/8/2022 16:26 Email    Morn....pdf                                            .\VOL012\IMAGES\IMAGES003\00174885.pdf
                                               RE: Maryland I‐495/I‐270 Managed Lanes Study ‐
                                               Morningstar Tabernacle No. 88 Moses Hall and
00174886   00174887     6/9/2022 8:36 Email    Cemetery ‐ Friends of Moses Hall                       .\VOL012\IMAGES\IMAGES003\00174886.pdf
00174888   00174890     6/9/2022 8:37 Email    Fw: 495 Express lanes                                  .\VOL012\IMAGES\IMAGES003\00174888.pdf
                                               VDOT and MDOT Questions submit formally Foust
00174891   00174894     6/9/2022 8:37 Attach   Favola Murphy 6_7_22.pdf                               .\VOL012\IMAGES\IMAGES003\00174891.pdf
00174895   00174896     6/9/2022 9:37 Email    Quick timeline.pdf                                     .\VOL012\IMAGES\IMAGES003\00174895.pdf
                                               FW: I‐495 and I‐270 MLS Final Section 106 PA for ACHP
00174897   00174899    6/9/2022 10:21 Email    execution                                              .\VOL012\IMAGES\IMAGES003\00174897.pdf
00174900   00174900    6/9/2022 11:04 Email    Jan 2022 Presentation                                  .\VOL012\IMAGES\IMAGES003\00174900.pdf
00174901   00174915    6/9/2022 11:04 Attach   Morningstar_Presentation_Jan_2022.pdf                  .\VOL012\IMAGES\IMAGES003\00174901.pdf
00174916   00174916    6/9/2022 15:16 Attach   Moses Hall_Latest 4(f).pdf                             .\VOL012\IMAGES\IMAGES003\00174916.pdf
00174917   00174917    6/9/2022 19:24 Email    Meeting with Friends of Moses Hall.pdf                 .\VOL012\IMAGES\IMAGES003\00174917.pdf
                                               Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00174918   00174918    6/10/2022 7:02 Email    USDOT M/Tues June 13/14                                .\VOL012\IMAGES\IMAGES003\00174918.pdf
                                               RE: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00174919   00174920    6/10/2022 7:23 Email    USDOT M/Tues June 13/14                                .\VOL012\IMAGES\IMAGES003\00174919.pdf
                                               Short Timeframe_Response Requested Today ‐
00174921   00174921    6/10/2022 8:03 Email    Sche....pdf                                            .\VOL012\IMAGES\IMAGES003\00174921.pdf
00174922   00174923    6/10/2022 8:09 Email    FW: FEIS                                               .\VOL012\IMAGES\IMAGES003\00174922.pdf
00174924   00174925    6/10/2022 8:09 Email    FW: MLS Revised Files Uploaded to FTP site             .\VOL012\IMAGES\IMAGES003\00174924.pdf
00174926   00174928    6/10/2022 8:49 Email    RE_ Meeting with Friends of Moses Hall.pdf             .\VOL012\IMAGES\IMAGES003\00174926.pdf
00174929   00174931    6/10/2022 9:24 Email    FW: MLS Revised Files Uploaded to FTP site             .\VOL012\IMAGES\IMAGES003\00174929.pdf
00174932   00174932   6/10/2022 11:51 Email    MLS App J Programmatic Agreement on FTP site           .\VOL012\IMAGES\IMAGES003\00174932.pdf

00174933   00174934   6/10/2022 12:18 Email    FW: MLS App J Programmatic Agreement on FTP site     .\VOL012\IMAGES\IMAGES003\00174933.pdf

00174935   00174936   6/10/2022 12:32 Email    RE: MLS App J Programmatic Agreement on FTP site     .\VOL012\IMAGES\IMAGES003\00174935.pdf
                                               Re: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00174937   00174939   6/10/2022 12:41 Email    USDOT M/Tues June 13/14                              .\VOL012\IMAGES\IMAGES003\00174937.pdf
00174940   00174942   6/10/2022 12:52 Email    National Trust?                                      .\VOL012\IMAGES\IMAGES003\00174940.pdf
00174943   00174946   6/10/2022 12:59 Email    FW: National Trust?                                  .\VOL012\IMAGES\IMAGES003\00174943.pdf
00174947   00174950   6/10/2022 13:02 Email    RE: National Trust?                                  .\VOL012\IMAGES\IMAGES003\00174947.pdf
                                               RE: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00174951   00174952   6/10/2022 13:06 Email    USDOT M/Tues June 13/14                              .\VOL012\IMAGES\IMAGES003\00174951.pdf
00174953   00174956   6/10/2022 13:09 Email    RE: National Trust?                                  .\VOL012\IMAGES\IMAGES003\00174953.pdf
00174957   00174960   6/10/2022 13:16 Email    RE: National Trust?                                  .\VOL012\IMAGES\IMAGES003\00174957.pdf
00174961   00174962   6/10/2022 14:16 Email    FW: FEIS and ROD Schedule                            .\VOL012\IMAGES\IMAGES003\00174961.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                      Filed 05/03/23                           Page 226 of 263

                                               e‐NEPA Receipt of the I‐495 & I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00174963   00174963   6/13/2022 11:24 Email    Section 4(f) Evaluation                                    .\VOL012\IMAGES\IMAGES003\00174963.pdf
00174964   00174965   6/13/2022 11:35 Email    FW: Moses Hall discussion                                  .\VOL012\IMAGES\IMAGES003\00174964.pdf
00174966   00174969   6/13/2022 11:35 Attach   MLS_106_PA‐Final_2022.pdf                                  .\VOL012\IMAGES\IMAGES003\00174966.pdf
                                               MLS I‐495 I‐270_Section106_PA_Draft 3_Comment
00174970   00174984   6/13/2022 11:35 Attach   Table.pdf                                                  .\VOL012\IMAGES\IMAGES003\00174970.pdf

                                               FW: e‐NEPA Receipt of the I‐495 & I‐270 Managed
                                               Lanes Study Final Environmental Impact Statement
00174985   00174986   6/13/2022 12:10 Email    and Final Section 4(f) Evaluation                          .\VOL012\IMAGES\IMAGES003\00174985.pdf
                                               FHWA discussion ‐ Morningstar Tabernacle No. 88 / I‐
00174987   00174988   6/13/2022 13:00 Email    495 & I‐270 MLS                                            .\VOL012\IMAGES\IMAGES003\00174987.pdf
                                               FHWA discussion ‐ Morningstar Tabernacle No. 88 / I‐
00174989   00174990   6/13/2022 13:00 Email    495 & I‐270 MLS                                            .\VOL012\IMAGES\IMAGES003\00174989.pdf
                                               FHWA discussion ‐ Morningstar Tabernacle No. 88 / I‐
00174991   00174992   6/13/2022 13:00 Email    495 & I‐270 MLS                                            .\VOL012\IMAGES\IMAGES003\00174991.pdf
                                               Re: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00174993   00174995   6/13/2022 15:50 Email    USDOT M/Tues June 13/14                                    .\VOL012\IMAGES\IMAGES003\00174993.pdf
                                               Re: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00174996   00174998   6/13/2022 15:50 Email    USDOT M/Tues June 13/14                                    .\VOL012\IMAGES\IMAGES003\00174996.pdf
                                               FW: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00174999   00175001   6/13/2022 15:53 Email    USDOT M/Tues June 13/14                                    .\VOL012\IMAGES\IMAGES003\00174999.pdf
                                               RE: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00175002   00175004    6/14/2022 7:00 Email    USDOT M/Tues June 13/14                                    .\VOL012\IMAGES\IMAGES003\00175002.pdf
                                               RE: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00175005   00175008    6/14/2022 7:14 Email    USDOT M/Tues June 13/14                                    .\VOL012\IMAGES\IMAGES003\00175005.pdf
                                               RE: Short Timeframe/Response Requested Today ‐
                                               Scheduling Meeting Re: I‐495 & I‐270 MLS Letter to
00175009   00175011    6/14/2022 7:14 Email    USDOT M/Tues June 13/14                                    .\VOL012\IMAGES\IMAGES003\00175009.pdf

                                               I‐495 & I‐270 Final Environmental Impact
00175012   00175013    6/14/2022 7:49 Email    Statement/Final Section 4(f) Evaluation Availability       .\VOL012\IMAGES\IMAGES003\00175012.pdf

                                               I‐495 & I‐270 Final Environmental Impact
00175014   00175015    6/14/2022 7:49 Email    Statement/Final Section 4(f) Evaluation Availability       .\VOL012\IMAGES\IMAGES003\00175014.pdf
                                               RE_ Short Timeframe_Response Requested Today ‐
00175016   00175018    6/14/2022 8:15 Email    ....pdf                                                    .\VOL012\IMAGES\IMAGES003\00175016.pdf

                                               FW: I‐495 & I‐270 Final Environmental Impact
00175019   00175020   6/14/2022 10:51 Email    Statement/Final Section 4(f) Evaluation Availability       .\VOL012\IMAGES\IMAGES003\00175019.pdf
                                               Letter From Director Conklin re I‐495 and I‐270
00175021   00175021   6/14/2022 12:19 Email    Opportunity Lanes                                          .\VOL012\IMAGES\IMAGES003\00175021.pdf
                                               FW: Letter From Director Conklin re I‐495 and I‐270
00175022   00175023   6/14/2022 12:34 Email    Opportunity Lanes                                          .\VOL012\IMAGES\IMAGES003\00175022.pdf

                                               FW: I‐495 and I‐270 Managed Lanes Study, Anne
                                               Arundel, Frederick, Montgomery & Prince George’s
00175024   00175024   6/14/2022 13:09 Email    Counties, Maryland and Fairfax County, Virginia            .\VOL012\IMAGES\IMAGES003\00175024.pdf

00175025   00175025   6/14/2022 13:19 Email    Letter From Director Conklin re I‐495 and I‐270....pdf     .\VOL012\IMAGES\IMAGES003\00175025.pdf
00175026   00175028   6/14/2022 13:19 Attach   Signed‐i495 i270.pdf                                       .\VOL012\IMAGES\IMAGES003\00175026.pdf
                                               I‐495 and I‐270 Managed Lanes Study, Anne
00175029   00175029   6/14/2022 13:32 Email    Arund....pdf                                               .\VOL012\IMAGES\IMAGES003\00175029.pdf

00175030   00175030   6/14/2022 13:32 Attach   md.fhwa.montgomery & pg counties.I‐495 & I‐270.pdf .\VOL012\IMAGES\IMAGES003\00175030.pdf

                                               FW: I‐495 and I‐270 Managed Lanes Study, Anne
                                               Arundel, Frederick, Montgomery & Prince George’s
00175031   00175032   6/14/2022 14:51 Email    Counties, Maryland and Fairfax County, Virginia            .\VOL012\IMAGES\IMAGES003\00175031.pdf
00175033   00175033   6/15/2022 10:11 Email    RE: FYI ‐ WBFC Mitigation                                  .\VOL012\IMAGES\IMAGES003\00175033.pdf
00175034   00175056   6/15/2022 11:13 Attach   MLS_FEIS_Executive Summary_06‐09‐2022.pdf                  .\VOL012\IMAGES\IMAGES003\00175034.pdf
00175057   00175057   6/15/2022 15:59 Edoc     RE_ Managed Lanes(26).pdf                                  .\VOL012\IMAGES\IMAGES003\00175057.pdf
00175058   00175059   6/15/2022 15:59 Attach   Managed Lanes.Reps on FEIS.pdf                             .\VOL012\IMAGES\IMAGES003\00175058.pdf
00175060   00175061   6/15/2022 15:59 Attach   Managed Lanes.Reps on FEIS.pdf                             .\VOL012\IMAGES\IMAGES003\00175060.pdf
                                               Maryland I‐495_I‐270 Managed Lanes Study –
00175062   00175062   6/15/2022 18:50 Email    Requ....pdf                                                .\VOL012\IMAGES\IMAGES003\00175062.pdf
00175063   00175069   6/15/2022 18:50 Attach   FMH Letter to ACHP ‐ June 2022 ‐ Final.pdf                 .\VOL012\IMAGES\IMAGES003\00175063.pdf
                                               FW: Maryland I‐495/I‐270 Managed Lanes Study –
                                               Request for Pre‐Decisional Referral to CEQ
                                               Morningstar Tabernacle No. 88 Moses Hall and
00175070   00175070    6/16/2022 7:19 Email    Cemetery (MIHP: 35‐212)                                    .\VOL012\IMAGES\IMAGES003\00175070.pdf
                                               RE: Maryland I‐495/I‐270 Managed Lanes Study –
                                               Request for Pre‐Decisional Referral to CEQ
                                               Morningstar Tabernacle No. 88 Moses Hall and
00175071   00175072    6/16/2022 8:07 Email    Cemetery (MIHP: 35‐212)                                    .\VOL012\IMAGES\IMAGES003\00175071.pdf
00175073   00175073    6/16/2022 8:18 Email    FW: Managed Lanes                                          .\VOL012\IMAGES\IMAGES003\00175073.pdf
00175074   00175074    6/16/2022 8:19 Email    FW: Managed Lanes                                          .\VOL012\IMAGES\IMAGES003\00175074.pdf
00175075   00175075    6/16/2022 9:55 Email    RE: Managed Lanes                                          .\VOL012\IMAGES\IMAGES003\00175075.pdf
00175076   00175079    6/16/2022 9:58 Attach   Managed Lanes.Concern aboutr FEIS.pdf                      .\VOL012\IMAGES\IMAGES003\00175076.pdf
00175080   00175080   6/16/2022 10:42 Email    FW: Managed Lanes                                          .\VOL012\IMAGES\IMAGES003\00175080.pdf
                                               NCHRP_17‐
00175081   00175093   6/16/2022 12:30 Attach   89A_HighOccupancyFacilities_SPFs_Apr2.pdf                  .\VOL012\IMAGES\IMAGES003\00175081.pdf
00175094   00175094   6/16/2022 13:12 Email    FW: Managed Lanes                                          .\VOL012\IMAGES\IMAGES003\00175094.pdf
00175095   00175096   6/16/2022 13:18 Email    FW: ROD Schedule                                           .\VOL012\IMAGES\IMAGES003\00175095.pdf
00175097   00175097   6/16/2022 13:18 Attach   ROD Schedule_UPDATED June 2022.docx                        .\VOL012\IMAGES\IMAGES003\00175097.pdf

                                               RE: I‐495 and I‐270 MLS Section 106 Materials, Final
00175098   00175099   6/16/2022 14:02 Email    Technical Reports ‐ UNREDACTED VERSIONS LINK               .\VOL012\IMAGES\IMAGES003\00175098.pdf
                                               Re_ [External] Maryland I‐495_I‐270 Managed
00175100   00175100   6/16/2022 14:04 Email    Lan....pdf                                                 .\VOL012\IMAGES\IMAGES003\00175100.pdf
00175101   00175102   6/16/2022 17:49 Email    RE: Section 106 PA                                         .\VOL012\IMAGES\IMAGES003\00175101.pdf

00175103   00175104   6/16/2022 18:00 Attach   20220628_Meeting Outreach Record Fallswood.docx            .\VOL012\IMAGES\IMAGES003\00175103.pdf
00175105   00175106    6/17/2022 3:58 Email    I‐495 and I‐270 MLS Final Section 106 PA                   .\VOL012\IMAGES\IMAGES003\00175105.pdf
00175107   00175107    6/17/2022 3:58 Email    I‐495 and I‐270 MLS Final Section 106 PA                   .\VOL012\IMAGES\IMAGES003\00175107.pdf

                                               I‐495 & I‐270 Final Environmental Impact Statement
00175108   00175109    6/17/2022 9:13 Email    and Final Section 4(f) Evaluation Notice of Availability   .\VOL012\IMAGES\IMAGES003\00175108.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 227 of 263

00175110   00175111    6/17/2022 9:35 Email    I‐495 & I‐270 MLS ‐ Final Section 106 Reports,and FEIS .\VOL012\IMAGES\IMAGES003\00175110.pdf

00175112   00175112    6/17/2022 9:35 Email    I‐495 & I‐270 MLS ‐ Final Section 106 Reports,and FEIS .\VOL012\IMAGES\IMAGES003\00175112.pdf

00175113   00175115    6/17/2022 9:35 Email    I‐495 & I‐270 MLS ‐ Final Section 106 Reports,and FEIS .\VOL012\IMAGES\IMAGES003\00175113.pdf

                                               RE: I‐495 and I‐270 MLS Section 106 Materials, Final
00175116   00175116    6/17/2022 9:36 Email    Technical Reports ‐ UNREDACTED VERSIONS LINK             .\VOL012\IMAGES\IMAGES003\00175116.pdf

                                               RE: I‐495 and I‐270 MLS Section 106 Materials, Final
00175117   00175118    6/17/2022 9:36 Email    Technical Reports ‐ UNREDACTED VERSIONS LINK             .\VOL012\IMAGES\IMAGES003\00175117.pdf

00175119   00175119   6/17/2022 10:06 Email    Two EDMS letters For Direct Reply, both regardi....pdf   .\VOL012\IMAGES\IMAGES003\00175119.pdf
00175120   00175122   6/17/2022 10:06 Attach   OST‐S10‐220610‐005_‐_Incoming_‐_5.pdf                    .\VOL012\IMAGES\IMAGES003\00175120.pdf
00175123   00175124   6/17/2022 10:06 Attach   OST‐S10‐220610‐005_‐_Incoming_‐_5a.pdf                   .\VOL012\IMAGES\IMAGES003\00175123.pdf
00175125   00175125   6/17/2022 10:06 Attach   OST‐S10‐220610‐009_‐_Incoming_‐_9a.pdf                   .\VOL012\IMAGES\IMAGES003\00175125.pdf

00175126   00175126   6/17/2022 10:31 Email    RE_ Two EDMS letters For Direct Reply, both reg....pdf .\VOL012\IMAGES\IMAGES003\00175126.pdf

00175127   00175128   6/17/2022 10:35 Email    I‐495 & I‐270 MLS ‐ Final Section 106 Reports,a....pdf   .\VOL012\IMAGES\IMAGES003\00175127.pdf
00175129   00175132   6/17/2022 10:35 Attach   MLS FnlRptTrans 6_17_22.pdf                              .\VOL012\IMAGES\IMAGES003\00175129.pdf

00175133   00175133   6/17/2022 10:36 Email    RE_ I‐495 and I‐270 MLS Section 106 Materials, ....pdf   .\VOL012\IMAGES\IMAGES003\00175133.pdf

00175134   00175135   6/17/2022 10:37 Email    FW_ Two EDMS letters For Direct Reply, both reg....pdf .\VOL012\IMAGES\IMAGES003\00175134.pdf
00175136   00175136   6/17/2022 10:37 Attach   OST‐S10‐220610‐009_‐_Incoming_‐_9a.pdf                 .\VOL012\IMAGES\IMAGES003\00175136.pdf
                                               RE_ Two EDMS letters For Direct Reply, both
00175137   00175138   6/17/2022 10:46 Email    reg...(1).pdf                                          .\VOL012\IMAGES\IMAGES003\00175137.pdf
                                               RE: I‐495 & I‐270 Final Environmental Impact
                                               Statement and Final Section 4(f) Evaluation Notice of
00175139   00175141   6/17/2022 11:52 Email    Availability                                           .\VOL012\IMAGES\IMAGES003\00175139.pdf
                                               FW: Only the bridge and its bike lane should be done,
00175142   00175142   6/17/2022 16:38 Email    not the rest                                           .\VOL012\IMAGES\IMAGES003\00175142.pdf

00175143   00175144   6/17/2022 17:30 Email    Fwd: MLS RTE and Scenic and Wild River Coordination      .\VOL012\IMAGES\IMAGES003\00175143.pdf
                                               RE_ Two EDMS letters For Direct Reply, both
00175145   00175145    6/21/2022 8:46 Email    reg...(2).pdf                                            .\VOL012\IMAGES\IMAGES003\00175145.pdf
                                               RE_ Two EDMS letters For Direct Reply, both
00175146   00175147    6/21/2022 8:56 Email    reg...(3).pdf                                            .\VOL012\IMAGES\IMAGES003\00175146.pdf
00175148   00175149   6/21/2022 14:18 Email    FW: TPB Amendment                                        .\VOL012\IMAGES\IMAGES003\00175148.pdf
00175150   00175152   6/21/2022 14:18 Attach   Resolution_R15‐2022_Viz_and_TIP_Approval.pdf             .\VOL012\IMAGES\IMAGES003\00175150.pdf
00175153   00175153   6/21/2022 14:30 Attach   2022‐06‐21_FHWA Coordination Mtg Agenda.pdf              .\VOL012\IMAGES\IMAGES003\00175153.pdf
                                               Response requested by June 28: draft Record of
00175154   00175154   6/21/2022 16:39 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175154.pdf

00175155   00175155   6/21/2022 17:39 Email    Response requested by June 28_ draft Record of ....pdf .\VOL012\IMAGES\IMAGES003\00175155.pdf
                                               DRAFT FHWA ROD_495_270_6‐2022_for FHWA
00175156   00175201   6/21/2022 17:39 Attach   Review.docx                                            .\VOL012\IMAGES\IMAGES003\00175156.pdf
00175202   00175203    6/22/2022 7:33 Email    FW: Managed Lanes                                      .\VOL012\IMAGES\IMAGES003\00175202.pdf
00175204   00175204    6/22/2022 8:22 Email    Response to City of Rockville                          .\VOL012\IMAGES\IMAGES003\00175204.pdf
00175205   00175206    6/22/2022 8:22 Attach   City of Rockville Draft Response.docx                  .\VOL012\IMAGES\IMAGES003\00175205.pdf
00175207   00175208   6/22/2022 11:03 Edoc     NOA_FR_6_17_22_doc 2022‐13100.pdf                      .\VOL012\IMAGES\IMAGES003\00175207.pdf
00175209   00175689   6/22/2022 11:03 Edoc     MLS_FEIS_Combined_06‐09‐2022p.pdf                      .\VOL012\IMAGES\IMAGES003\00175209.pdf
00175690   00175691   6/22/2022 11:54 Email    RE: Question on FEIS Section 5.8.3 B                   .\VOL012\IMAGES\IMAGES003\00175690.pdf

00175692   00175693   6/22/2022 14:45 Attach   Managed Lanes.S1 reply to Friends of Moses Hal.doc       .\VOL012\IMAGES\IMAGES003\00175692.pdf
                                               RE: Response requested by June 28: draft Record of
00175694   00175694   6/22/2022 16:38 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175694.pdf
                                               RE: Response requested by June 28: draft Record of
00175695   00175695   6/22/2022 16:46 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175695.pdf
00175696   00175696   6/22/2022 18:27 Email    RE: Will talk about this at 11 am                        .\VOL012\IMAGES\IMAGES003\00175696.pdf
00175697   00175698    6/23/2022 8:01 Email    FW: Will talk about this at 11 am                        .\VOL012\IMAGES\IMAGES003\00175697.pdf
00175699   00175700   6/23/2022 12:22 Email    RE: Revised ROD Schedule                                 .\VOL012\IMAGES\IMAGES003\00175699.pdf
                                               MDOT SHA Response Letter to Conklin_6‐21‐
00175701   00175704   6/23/2022 15:12 Attach   2022.docx                                                .\VOL012\IMAGES\IMAGES003\00175701.pdf
                                               MLS: Visitor and Ecological Impact Study on National
00175705   00175705    6/24/2022 8:19 Email    Park Service Lands                                       .\VOL012\IMAGES\IMAGES003\00175705.pdf
                                               2022‐06 MLS_NPS Visitor and Ecological Impact
00175706   00175788    6/24/2022 8:19 Attach   Study.pdf                                                .\VOL012\IMAGES\IMAGES003\00175706.pdf
                                               Fwd: I‐495 NEXT // UPDATED DOCUMENTED to
00175789   00175790    6/24/2022 9:10 Attach   discuss NEPA Violations                                  .\VOL012\IMAGES\IMAGES003\00175789.pdf

00175791   00175792   6/24/2022 10:08 Email    Managed Lanes Study: NPS Draft Record of Decision        .\VOL012\IMAGES\IMAGES003\00175791.pdf
00175793   00175823   6/24/2022 10:08 Attach   2022‐06‐24_NPS_ROD_Draft v1.docx                         .\VOL012\IMAGES\IMAGES003\00175793.pdf

00175824   00175827    6/27/2022 9:04 Email    Re: Thank you, Marc Elrich, for sending this letter.     .\VOL012\IMAGES\IMAGES003\00175824.pdf
00175828   00175829   6/27/2022 14:28 Email    RE: Will talk about this at 11 am                        .\VOL012\IMAGES\IMAGES003\00175828.pdf
00175830   00175837   6/27/2022 15:29 Email    FW: MLS ‐ comments on Appendices                         .\VOL012\IMAGES\IMAGES003\00175830.pdf
                                               Re: I‐495 & I‐270 MLS ‐ Final Section 106 Reports,and
00175838   00175839   6/27/2022 20:06 Email    FEIS                                                     .\VOL012\IMAGES\IMAGES003\00175838.pdf

00175840   00175841   6/27/2022 21:07 Email    Re_ I‐495 & I‐270 MLS ‐ Final Section 106 Repor....pdf   .\VOL012\IMAGES\IMAGES003\00175840.pdf
00175842   00175842   6/27/2022 21:07 Attach   Plummers Channel USBGN 2022.pdf                          .\VOL012\IMAGES\IMAGES003\00175842.pdf
                                               MCA Trans Comm Letter to VDOT re 495 NEXT and
00175843   00175846    6/28/2022 8:32 Attach   MDOT Construction 6‐27‐22.pdf                            .\VOL012\IMAGES\IMAGES003\00175843.pdf

00175847   00175849    6/28/2022 8:32 Attach   22020624_7521PepperellDrive_REVISEDResponse.pdf .\VOL012\IMAGES\IMAGES003\00175847.pdf

00175850   00175851    6/28/2022 8:55 Attach   22020624_7541PepperellDriveRevisedResponse.pdf           .\VOL012\IMAGES\IMAGES003\00175850.pdf

00175852   00175853    6/28/2022 9:15 Attach   22020627_34 PepperellCourt_RevisedReponse.pdf         .\VOL012\IMAGES\IMAGES003\00175852.pdf
                                               FW: Op Lanes Maryland Communications Working
00175854   00175857   6/28/2022 10:08 Email    Group ‐ 6/28 Agenda                                   .\VOL012\IMAGES\IMAGES003\00175854.pdf
                                               Fwd: I‐495 NEXT Meeting to Discuss Design in the Area
00175858   00175861   6/28/2022 12:15 Email    Around Live Oak Drive                                 .\VOL012\IMAGES\IMAGES003\00175858.pdf
00175862   00175870   6/28/2022 16:22 Email    RE: MLS ‐ comments on Appendices                      .\VOL012\IMAGES\IMAGES003\00175862.pdf
00175871   00175879   6/28/2022 16:22 Email    RE: MLS ‐ comments on Appendices                      .\VOL012\IMAGES\IMAGES003\00175871.pdf
                                               RE: Response requested by June 28: draft Record of
00175880   00175881   6/28/2022 16:28 Email    Decision for I‐495/I‐270 Managed Lanes Study          .\VOL012\IMAGES\IMAGES003\00175880.pdf
                                               RE: Response requested by June 28: draft Record of
00175882   00175883   6/28/2022 16:42 Email    Decision for I‐495/I‐270 Managed Lanes Study          .\VOL012\IMAGES\IMAGES003\00175882.pdf
00175884   00175884   6/28/2022 17:18 Attach   image001.png                                          .\VOL012\IMAGES\IMAGES003\00175884.pdf
                                               RE_ Response requested by June 28_ draft
00175885   00175886   6/28/2022 17:28 Email    Record...(5).pdf                                      .\VOL012\IMAGES\IMAGES003\00175885.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 228 of 263

                                               RE_ Response requested by June 28_ draft
00175887   00175888   6/28/2022 17:40 Email    Record....pdf                                            .\VOL012\IMAGES\IMAGES003\00175887.pdf
                                               Response requested by June 28: draft Record of
00175889   00175889   6/28/2022 17:40 Attach   Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175889.pdf
00175890   00175893   6/28/2022 19:13 Email    RE: FEIS Chapter 4.1.1 Updates                           .\VOL012\IMAGES\IMAGES003\00175890.pdf
00175894   00175902    6/29/2022 7:35 Email    RE: MLS ‐ comments on Appendices                         .\VOL012\IMAGES\IMAGES003\00175894.pdf
00175903   00175903   6/29/2022 10:16 Email    FW: My draft comments on the draft MLS ROD               .\VOL012\IMAGES\IMAGES003\00175903.pdf
00175904   00175906   6/29/2022 10:16 Attach   June 21 2022 Draft ROD Errata Table.docx                 .\VOL012\IMAGES\IMAGES003\00175904.pdf
                                               RE: Response requested by June 28: draft Record of
00175907   00175908   6/29/2022 10:23 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175907.pdf
                                               RE: Response requested by June 28: draft Record of
00175909   00175910   6/29/2022 10:42 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175909.pdf
00175911   00175913   6/29/2022 11:05 Email    RE: IAPA                                                 .\VOL012\IMAGES\IMAGES003\00175911.pdf
                                               RE: Response requested by June 28: draft Record of
00175914   00175914   6/29/2022 11:33 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175914.pdf
                                               RE: Response requested by June 28: draft Record of
00175915   00175915   6/29/2022 11:38 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175915.pdf
                                               RE: Response requested by June 28: draft Record of
00175916   00175916   6/29/2022 14:05 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES003\00175916.pdf
                                               I‐495 & I‐270 Managed Lanes Study FEIS Traffic
00175917   00175917   6/29/2022 14:43 Email    Files/Data                                               .\VOL012\IMAGES\IMAGES003\00175917.pdf

00175918   00175920   6/29/2022 14:43 Attach   2022‐06‐29 I‐495 I‐270 FEIS Traffic Files and Data.pdf   .\VOL012\IMAGES\IMAGES003\00175918.pdf
                                               I‐495 & I‐270 Managed Lanes Study FEIS Traffic
00175921   00175921   6/29/2022 14:43 Email    Files/Data                                               .\VOL012\IMAGES\IMAGES003\00175921.pdf
                                               Re: Complementary Responses to Questions and
00175922   00175924    6/30/2022 7:45 Email    Comments ‐ Live Oak Drive Meeting                        .\VOL012\IMAGES\IMAGES003\00175922.pdf
00175925   00175929   6/30/2022 14:59 Attach   Bike trail pages from ROD 05.29.2006.pdf                 .\VOL012\IMAGES\IMAGES003\00175925.pdf
                                               MDOT Opportunity Lanes FEIS Phase 1 South Transit
00175930   00175930   6/30/2022 16:43 Email    Commitments                                              .\VOL012\IMAGES\IMAGES003\00175930.pdf

                                               6‐30‐22‐Letter to Pete Buttigieg MDOT Opportunity
00175931   00175944   6/30/2022 16:43 Attach   Lanes FEIS Phase 1 South Transit Commitments.pdf         .\VOL012\IMAGES\IMAGES003\00175931.pdf
                                               RE: I‐495 & I‐270 MLS: Washington Biologists' Field
00175945   00175946    7/1/2022 13:29 Attach   Club Coordination Meeting [3/24/2022]                    .\VOL012\IMAGES\IMAGES003\00175945.pdf
00175947   00175948     7/5/2022 7:24 Email    FW: FEIS Comments Received To‐Date                       .\VOL012\IMAGES\IMAGES003\00175947.pdf

00175949   00175950     7/5/2022 9:57 Email    RE: FHWA Draft Comments on IAJR Safety Analysis        .\VOL012\IMAGES\IMAGES003\00175949.pdf
                                               Application for Interstate Access Point Approval ‐
00175951   00176007     7/5/2022 9:57 Attach   Safety Section Resubmittal May 23 2022.docx            .\VOL012\IMAGES\IMAGES003\00175951.pdf
00176008   00176008     7/5/2022 9:57 Attach   Microsoft_Excel_Worksheet.xlsx                         .\VOL012\IMAGES\IMAGES003\00176008.pdf      .\VOL012\NATIVES\NATIVES003\00176008.xlsx
00176009   00176009     7/5/2022 9:57 Attach   Microsoft_Excel_Worksheet3.xlsx                        .\VOL012\IMAGES\IMAGES003\00176009.pdf      .\VOL012\NATIVES\NATIVES003\00176009.xlsx
                                               MDOT SHA Application for IAPA_safety
00176010   00176129     7/5/2022 9:57 Attach   analysis_comparison.docx                               .\VOL012\IMAGES\IMAGES003\00176010.pdf
                                               FW: [EXTERNAL] 62 Group Letter to Sec. Buttigieg on I‐
                                               495 & I‐270 MLS FEIS and Need for Public Comment
00176130   00176132    7/5/2022 10:03 Email    Period                                                 .\VOL012\IMAGES\IMAGES003\00176130.pdf
                                               62groups_495‐
00176133   00176138    7/5/2022 10:03 Attach   270FEIS_letter_SecButtigieg_30Jun2022.pdf              .\VOL012\IMAGES\IMAGES003\00176133.pdf

00176139   00176140    7/5/2022 10:08 Email    RE: FHWA Draft Comments on IAJR Safety Analysis          .\VOL012\IMAGES\IMAGES003\00176139.pdf

00176141   00176197    7/5/2022 10:58 Attach   Application for Interstate Access Point Appro.docx       .\VOL012\IMAGES\IMAGES003\00176141.pdf

00176198   00176262    7/5/2022 10:58 Attach   MDOT SHA Draft Application for IAPA June 2022.docx       .\VOL012\IMAGES\IMAGES003\00176198.pdf
00176263   00176263    7/5/2022 16:22 Email    pl review                                                .\VOL012\IMAGES\IMAGES003\00176263.pdf
                                               RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00176264   00176269    7/6/2022 10:42 Attach   and I‐270 Managed Lanes Study                            .\VOL012\IMAGES\IMAGES003\00176264.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00176270   00176271    7/6/2022 10:52 Email    and I‐270 Managed Lanes Study                            .\VOL012\IMAGES\IMAGES003\00176270.pdf

00176272   00176274    7/6/2022 11:07 Email    RE: EDMS: Folder Assignment OST‐S10‐220610‐005           .\VOL012\IMAGES\IMAGES003\00176272.pdf
00176275   00176275    7/6/2022 11:11 Email    Response to Rockville Letter                             .\VOL012\IMAGES\IMAGES003\00176275.pdf
00176276   00176278    7/6/2022 11:11 Attach   Managed Lanes FEIS.city of Rockville FD.doc              .\VOL012\IMAGES\IMAGES003\00176276.pdf

00176279   00176279    7/6/2022 11:54 Email    Information Related to I‐495 & I‐270 MLS‐FEIS .pdf       .\VOL012\IMAGES\IMAGES003\00176279.pdf
00176280   00176280    7/6/2022 12:24 Email    RE: Response to Rockville Letter                         .\VOL012\IMAGES\IMAGES003\00176280.pdf

00176281   00176283    7/6/2022 15:15 Email    RE: EDMS: Folder Assignment OST‐S10‐220610‐005           .\VOL012\IMAGES\IMAGES003\00176281.pdf

                                               RE: 62 Group Letter to Sec. Buttigieg on I‐495 & I‐270
00176284   00176286    7/6/2022 15:26 Email    MLS FEIS and Need for Public Comment Period              .\VOL012\IMAGES\IMAGES003\00176284.pdf

                                               FW: 62 Group Letter to Sec. Buttigieg on I‐495 & I‐270
00176287   00176288    7/6/2022 15:33 Email    MLS FEIS and Need for Public Comment Period            .\VOL012\IMAGES\IMAGES003\00176287.pdf
00176289   00176290    7/6/2022 15:33 Attach   Since FEIS.docx                                        .\VOL012\IMAGES\IMAGES003\00176289.pdf

                                               RE: 62 Group Letter to Sec. Buttigieg on I‐495 & I‐270
00176291   00176293    7/6/2022 16:13 Email    MLS FEIS and Need for Public Comment Period              .\VOL012\IMAGES\IMAGES004\00176291.pdf
00176294   00176294     7/7/2022 9:52 Email    App A                                                    .\VOL012\IMAGES\IMAGES004\00176294.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation
00176295   00176318     7/7/2022 9:52 Attach   FHWA.docx                                                .\VOL012\IMAGES\IMAGES004\00176295.pdf
00176319   00176319     7/7/2022 9:54 Email    RE: App A                                                .\VOL012\IMAGES\IMAGES004\00176319.pdf
00176320   00176320    7/7/2022 10:04 Email    RE: 495/270 ROD                                          .\VOL012\IMAGES\IMAGES004\00176320.pdf
00176321   00176322    7/7/2022 10:12 Email    RE: 495/270 ROD                                          .\VOL012\IMAGES\IMAGES004\00176321.pdf
00176323   00176323    7/7/2022 10:15 Email    DO ROD Comments                                          .\VOL012\IMAGES\IMAGES004\00176323.pdf
00176324   00176331    7/7/2022 10:15 Attach   June 21 2022 Draft ROD Errata Table.docx                 .\VOL012\IMAGES\IMAGES004\00176324.pdf
00176332   00176333    7/7/2022 13:26 Email    FW: Administrative Record Coordination                   .\VOL012\IMAGES\IMAGES004\00176332.pdf
                                               RE: Response requested by June 28: draft Record of
00176334   00176334    7/7/2022 14:38 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES004\00176334.pdf
                                               RE: Response requested by June 28: draft Record of
00176335   00176336    7/7/2022 14:48 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES004\00176335.pdf
                                               RE: Response requested by June 28: draft Record of
00176337   00176338    7/7/2022 14:49 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES004\00176337.pdf
00176339   00176340    7/7/2022 15:29 Edoc     Since FEIS_mc.docx                                       .\VOL012\IMAGES\IMAGES004\00176339.pdf

                                               RE: 62 Group Letter to Sec. Buttigieg on I‐495 & I‐270
00176341   00176343    7/7/2022 15:30 Email    MLS FEIS and Need for Public Comment Period              .\VOL012\IMAGES\IMAGES004\00176341.pdf
                                               RE_ Response requested by June 28_ draft
00176344   00176344    7/7/2022 15:38 Email    Record...(1).pdf                                         .\VOL012\IMAGES\IMAGES004\00176344.pdf
                                               RE_ Response requested by June 28_ draft
00176345   00176346    7/7/2022 15:49 Email    Record...(3).pdf                                         .\VOL012\IMAGES\IMAGES004\00176345.pdf

                                               RE: 62 Group Letter to Sec. Buttigieg on I‐495 & I‐270
00176347   00176348    7/7/2022 16:00 Email    MLS FEIS and Need for Public Comment Period              .\VOL012\IMAGES\IMAGES004\00176347.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                    Filed 05/03/23                           Page 229 of 263

                                               RE: Response requested by June 28: draft Record of
00176349   00176350    7/7/2022 17:48 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES004\00176349.pdf
                                               RE: Response requested by June 28: draft Record of
00176351   00176352     7/8/2022 7:58 Email    Decision for I‐495/I‐270 Managed Lanes Study             .\VOL012\IMAGES\IMAGES004\00176351.pdf
00176353   00176354     7/8/2022 8:26 Attach   TPB Letter 06‐2022.pdf                                   .\VOL012\IMAGES\IMAGES004\00176353.pdf
                                               RE_ Response requested by June 28_ draft
00176355   00176356     7/8/2022 8:58 Email    Record...(5).pdf                                         .\VOL012\IMAGES\IMAGES004\00176355.pdf
                                               Fw: I‐495 NEXT Meeting to Discuss Design in the Area
00176357   00176359    7/8/2022 11:18 Attach   Around Live Oak Drive                                    .\VOL012\IMAGES\IMAGES004\00176357.pdf
00176360   00176360    7/8/2022 13:34 Email    DHWA ROD and Appendix A Comments                         .\VOL012\IMAGES\IMAGES004\00176360.pdf
                                               June 21 2022 Draft ROD Errata Table FHWA
00176361   00176372    7/8/2022 13:34 Attach   07_08_2022 to MDOT.docx                                  .\VOL012\IMAGES\IMAGES004\00176361.pdf
00176373   00176373    7/8/2022 13:34 Email    FHWA ROD and Appendix A Comments                         .\VOL012\IMAGES\IMAGES004\00176373.pdf
00176374   00176375    7/8/2022 13:48 Email    RE: FEIS Comments Received To‐Date                       .\VOL012\IMAGES\IMAGES004\00176374.pdf
00176376   00176377    7/8/2022 13:54 Email    FW: FEIS Comments Received To‐Date                       .\VOL012\IMAGES\IMAGES004\00176376.pdf

                                               FW: I‐495 NEXT Meeting to Discuss Design in the Area
00176378   00176381    7/8/2022 15:17 Email    Around Live Oak Drive [McLean Citizens Association] .\VOL012\IMAGES\IMAGES004\00176378.pdf
00176382   00176382   7/11/2022 11:30 Email    Letter ‐ MLS                                         .\VOL012\IMAGES\IMAGES004\00176382.pdf
                                               MD TRANSIT GROUP ALLEGES FRAUD IN TOLL LANE
00176383   00176383   7/11/2022 12:11 Email    STUDY                                                .\VOL012\IMAGES\IMAGES004\00176383.pdf

                                               FW: I‐495 & I‐270 Managed Lanes Study ‐ Evidence of
00176384   00176386   7/11/2022 12:14 Email    possible scientific fraud in FEIS traffic model          .\VOL012\IMAGES\IMAGES004\00176384.pdf
00176387   00176390   7/11/2022 13:56 Email    RE: FEIS Chapter 4.1.1 Updates                           .\VOL012\IMAGES\IMAGES004\00176387.pdf
00176391   00176391    7/12/2022 8:25 Email    Questions for 1 PM meeting                               .\VOL012\IMAGES\IMAGES004\00176391.pdf
00176392   00176399    7/12/2022 8:25 Attach   ScientificIntegrityLetter.pdf                            .\VOL012\IMAGES\IMAGES004\00176392.pdf
00176400   00176400    7/12/2022 9:25 Email    Questions for 1 PM meeting.pdf                           .\VOL012\IMAGES\IMAGES004\00176400.pdf

                                               FW: 62 Group Letter to Sec. Buttigieg on I‐495 & I‐270
00176401   00176403   7/12/2022 10:39 Email    MLS FEIS and Need for Public Comment Period            .\VOL012\IMAGES\IMAGES004\00176401.pdf

                                               FW: 62 Group Letter to Sec. Buttigieg on I‐495 & I‐270
00176404   00176405   7/12/2022 10:40 Email    MLS FEIS and Need for Public Comment Period              .\VOL012\IMAGES\IMAGES004\00176404.pdf
00176406   00176407   7/12/2022 10:40 Attach   Since FEIS Final.docx                                    .\VOL012\IMAGES\IMAGES004\00176406.pdf
00176408   00176408   7/12/2022 10:49 Email    FW: Final Presentation                                   .\VOL012\IMAGES\IMAGES004\00176408.pdf
00176409   00176409    7/13/2022 7:19 Email    WTOP                                                     .\VOL012\IMAGES\IMAGES004\00176409.pdf
00176410   00176411    7/13/2022 8:52 Email    Fwd: DOI Letter FEIS 4F I495_I270 Managed Lanes          .\VOL012\IMAGES\IMAGES004\00176410.pdf

                                               FW: Following‐‐up: Re: Polly ‐‐ We need your
00176412   00176415    7/13/2022 9:10 Email    help/intervention re the MD 495/270 HOT Lane FEIS     .\VOL012\IMAGES\IMAGES004\00176412.pdf
00176416   00176416   7/13/2022 10:00 Email    Letters and or comments received                      .\VOL012\IMAGES\IMAGES004\00176416.pdf
                                               OST‐S10‐220708‐001_‐_Incoming_‐_Grant a formal
                                               review period on the 26,000 page I‐495 and I‐270 FEIS
00176417   00176417   7/13/2022 10:00 Attach   until at least September 17th.pdf                     .\VOL012\IMAGES\IMAGES004\00176417.pdf
                                               RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00176418   00176424   7/13/2022 11:20 Email    and I‐270 Managed Lanes Study                         .\VOL012\IMAGES\IMAGES004\00176418.pdf
00176425   00176425   7/13/2022 11:31 Email    RE: Control Correspondence for review                 .\VOL012\IMAGES\IMAGES004\00176425.pdf
                                               I‐495/I‐270 Managed Lane Study, Montgomery
00176426   00176426   7/13/2022 14:51 Email    County, Maryland                                      .\VOL012\IMAGES\IMAGES004\00176426.pdf
                                               FW: Maryland Governor Decision on Approach for MLS
00176427   00176427   7/13/2022 14:59 Email    P3 Project                                            .\VOL012\IMAGES\IMAGES004\00176427.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00176428   00176430   7/13/2022 15:14 Email    and I‐270 Managed Lanes Study                         .\VOL012\IMAGES\IMAGES004\00176428.pdf
00176431   00176432   7/13/2022 16:11 Attach   md.fhwa.495_270MLS.20220713.con.pdf                   .\VOL012\IMAGES\IMAGES004\00176431.pdf
                                               RE: I‐495/I‐270 Managed Lane Study, Montgomery
00176433   00176434   7/13/2022 16:30 Email    County, Maryland                                      .\VOL012\IMAGES\IMAGES004\00176433.pdf
                                               FW_ MDOT SHA Response to MD Transit Group
00176435   00176436   7/13/2022 17:25 Email    Letter.pdf                                            .\VOL012\IMAGES\IMAGES004\00176435.pdf
                                               FW_ MDOT SHA Response to MD Transit Group
00176437   00176438   7/13/2022 17:26 Email    Letter(1).pdf                                         .\VOL012\IMAGES\IMAGES004\00176437.pdf
00176439   00176440   7/14/2022 10:13 Email    RE: MLS FHWA ROD Comments on Commitments              .\VOL012\IMAGES\IMAGES004\00176439.pdf
00176441   00176442   7/14/2022 11:27 Email    FW: Control Correspondence                            .\VOL012\IMAGES\IMAGES004\00176441.pdf
                                               RE: 495/270 Archeological Treatment Plan Discussion
00176443   00176444   7/14/2022 15:42 Email    with MDOT                                             .\VOL012\IMAGES\IMAGES004\00176443.pdf

00176445   00176446   7/14/2022 16:20 Email    FW: EDMS: Folder Assignment OST‐S10‐220708‐001           .\VOL012\IMAGES\IMAGES004\00176445.pdf
                                               Fw: 495/270 Archeological Treatment Plan Discussion
00176447   00176449   7/14/2022 16:58 Email    with MDOT                                                .\VOL012\IMAGES\IMAGES004\00176447.pdf
                                               Fw: 495/270 Archeological Treatment Plan Discussion
00176450   00176452   7/14/2022 16:58 Email    with MDOT                                                .\VOL012\IMAGES\IMAGES004\00176450.pdf
00176453   00176465   7/14/2022 16:58 Attach   NPS sites Phase III planning.pdf                         .\VOL012\IMAGES\IMAGES004\00176453.pdf
00176466   00176466   7/14/2022 16:58 Attach   NPS Sites Treatment Plan Details.xlsx                    .\VOL012\IMAGES\IMAGES004\00176466.pdf    .\VOL012\NATIVES\NATIVES004\00176466.xlsx
                                               PN‐22‐20 NAB‐2018‐02152 (MDOT SHA_I‐495 I‐270
00176467   00176467    7/15/2022 7:35 Email    M....pdf                                                 .\VOL012\IMAGES\IMAGES004\00176467.pdf
00176468   00176482    7/15/2022 8:10 Attach   Managed Lanes.Montgomery County.pdf                      .\VOL012\IMAGES\IMAGES004\00176468.pdf
00176483   00176483   7/15/2022 13:38 Email    FEIS Comments Received To‐Date                           .\VOL012\IMAGES\IMAGES004\00176483.pdf

00176484   00176484   7/15/2022 13:38 Attach   FEIS Comments Responses_MASTER_07‐15‐2022.xlsx           .\VOL012\IMAGES\IMAGES004\00176484.pdf    .\VOL012\NATIVES\NATIVES004\00176484.xlsx

                                               Comments of Friends of Moses Hall to FEIS/Section 4(f)
00176485   00176485   7/15/2022 17:28 Email    Evaluation for I‐495 & I‐270 Managed Lanes Study       .\VOL012\IMAGES\IMAGES004\00176485.pdf

00176486   00176506   7/15/2022 17:28 Attach   Friends of Moses Hall ‐ FEIS Comment Letter ‐ Final.pdf .\VOL012\IMAGES\IMAGES004\00176486.pdf

00176507   00176507   7/15/2022 18:29 Email    Comments of Friends of Moses Hall to FEIS_Secti....pdf .\VOL012\IMAGES\IMAGES004\00176507.pdf
                                               Plans to Privatize Maryland’s Highways with Toll Lanes
00176508   00176510   7/15/2022 22:25 Email    are Not in the Public Interest                         .\VOL012\IMAGES\IMAGES004\00176508.pdf
                                               FW: Comments of Friends of Moses Hall to
                                               FEIS/Section 4(f) Evaluation for I‐495 & I‐270 Managed
00176511   00176512    7/18/2022 6:58 Email    Lanes Study                                            .\VOL012\IMAGES\IMAGES004\00176511.pdf
00176513   00176514    7/18/2022 9:24 Attach   Signed 835303.pdf                                      .\VOL012\IMAGES\IMAGES004\00176513.pdf
00176515   00176515    7/18/2022 9:49 Edoc     Review Period ‐ Managed Lanes.pdf                      .\VOL012\IMAGES\IMAGES004\00176515.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00176516   00176523   7/18/2022 10:01 Email    and I‐270 Managed Lanes Study                          .\VOL012\IMAGES\IMAGES004\00176516.pdf
                                               RE: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00176524   00176532   7/18/2022 10:41 Email    and I‐270 Managed Lanes Study                          .\VOL012\IMAGES\IMAGES004\00176524.pdf
00176533   00176534   7/18/2022 10:55 Email    RE: FEIS Comments Update?                              .\VOL012\IMAGES\IMAGES004\00176533.pdf
00176535   00176535   7/18/2022 10:55 Attach   Shared use path on American Legion Bridge              .\VOL012\IMAGES\IMAGES004\00176535.pdf
                                               Request for new SEIS and comments on FEIS for Op
00176536   00176536   7/18/2022 10:55 Attach   Lanes.                                                 .\VOL012\IMAGES\IMAGES004\00176536.pdf
00176537   00176537   7/18/2022 10:57 Email    FW: Letters and or comments received                   .\VOL012\IMAGES\IMAGES004\00176537.pdf
00176538   00176538   7/18/2022 10:57 Email    FW: Letters and or comments received                   .\VOL012\IMAGES\IMAGES004\00176538.pdf
00176539   00176539   7/18/2022 11:02 Email    FW: Control Correspondence for review                  .\VOL012\IMAGES\IMAGES004\00176539.pdf
00176540   00176541   7/18/2022 11:03 Email    FW: Letters and or comments received                   .\VOL012\IMAGES\IMAGES004\00176540.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                  Filed 05/03/23                           Page 230 of 263

00176542   00176543   7/18/2022 11:08 Email    RE: Letters and or comments received                   .\VOL012\IMAGES\IMAGES004\00176542.pdf
00176544   00176544   7/18/2022 11:51 Email    "Plummers Channel" 2004 USGS report                    .\VOL012\IMAGES\IMAGES004\00176544.pdf
00176545   00176547   7/18/2022 12:30 Email    FW: Control Correspondence                             .\VOL012\IMAGES\IMAGES004\00176545.pdf
00176548   00176554   7/18/2022 12:51 Attach   Traffic forecast updates_FEIS_excerpts.pdf             .\VOL012\IMAGES\IMAGES004\00176548.pdf
                                               60 Day Extension Request, I‐495 & I‐270
00176555   00176555   7/18/2022 13:45 Email    Managed....pdf                                         .\VOL012\IMAGES\IMAGES004\00176555.pdf
                                               EPA Comments I‐495 & I‐270 Final Environmental
                                               Impact Statement/Final Section 4(f) Evaluation
00176556   00176558   7/18/2022 13:49 Email    Availability                                           .\VOL012\IMAGES\IMAGES004\00176556.pdf
                                               EPA Comments I‐495 & I‐270 Final Environmental
                                               Impact Statement/Final Section 4(f) Evaluation
00176559   00176561   7/18/2022 13:49 Email    Availability                                           .\VOL012\IMAGES\IMAGES004\00176559.pdf

00176562   00176562   7/18/2022 14:05 Email    Traffic Forecasts and Analysis changes from SDE....pdf .\VOL012\IMAGES\IMAGES004\00176562.pdf

00176563   00176563   7/18/2022 14:05 Attach   Changes to Traffic Forecast and Analysis SDEI.docx  .\VOL012\IMAGES\IMAGES004\00176563.pdf
00176564   00176566   7/18/2022 14:12 Attach   comments.pdf                                        .\VOL012\IMAGES\IMAGES004\00176564.pdf
00176567   00176568   7/18/2022 16:07 Email    RE: FEIS Comments Received To‐Date                  .\VOL012\IMAGES\IMAGES004\00176567.pdf
00176569   00177465   7/18/2022 16:07 Attach   Managed Lanes.Extend Review Period.pdf              .\VOL013\IMAGES\IMAGES001\00176569.pdf
                                               I‐495, I‐270 Managed Lanes FEIS ‐ 60 Day Extension
00177466   00177472   7/18/2022 16:07 Attach   Request 7‐18‐2022.pdf                               .\VOL013\IMAGES\IMAGES001\00177466.pdf
00177473   00177473   7/18/2022 16:24 Email    Comments Re FEIS                                    .\VOL013\IMAGES\IMAGES001\00177473.pdf
00177474   00177478   7/18/2022 16:24 Attach   FEIS ‐ CABE comments.pdf                            .\VOL013\IMAGES\IMAGES001\00177474.pdf
00177479   00177480   7/18/2022 16:49 Email    RE: FEIS Comments Received To‐Date                  .\VOL013\IMAGES\IMAGES001\00177479.pdf
                                               National Parks Conservation Association Comments on
00177481   00177481   7/18/2022 17:04 Email    Managed Lanes FEIS                                  .\VOL013\IMAGES\IMAGES001\00177481.pdf
00177482   00177487   7/18/2022 17:35 Email    RE: FEIS Chapter 4.1.1 Updates                      .\VOL013\IMAGES\IMAGES001\00177482.pdf
00177488   00177488   7/18/2022 18:19 Edoc     Megan_MLS.pptx                                      .\VOL013\IMAGES\IMAGES001\00177488.pdf

                                               FW: The Maryland Department of Transportation’s
00177489   00177497   7/18/2022 18:30 Email    Seriously Flawed Proposed Toll Lane Project            .\VOL013\IMAGES\IMAGES001\00177489.pdf
00177498   00177499   7/18/2022 18:35 Email    FW: Comments on 495/270 FEIS                           .\VOL013\IMAGES\IMAGES001\00177498.pdf
                                               Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177500   00177501    7/19/2022 0:03 Email    4(f) Evaluation                                        .\VOL013\IMAGES\IMAGES001\00177500.pdf
                                               Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177502   00177503    7/19/2022 0:03 Email    4(f) Evaluation                                        .\VOL013\IMAGES\IMAGES001\00177502.pdf

                                               Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177504   00177504    7/19/2022 0:04 Email    4(f) Evaluation ‐ Additional attachments             .\VOL013\IMAGES\IMAGES001\00177504.pdf
                                               Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177505   00177505    7/19/2022 0:04 Email    4(f) Evaluation                                      .\VOL013\IMAGES\IMAGES001\00177505.pdf
                                               Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177506   00177506    7/19/2022 0:04 Email    4(f) Evaluation                                      .\VOL013\IMAGES\IMAGES001\00177506.pdf
                                               Comments on the I‐495 and I‐270 Managed Lanes
00177507   00177507    7/19/2022 0:08 Email    S...(1).pdf                                          .\VOL013\IMAGES\IMAGES001\00177507.pdf
                                               Comments on the I‐495 and I‐270 Managed Lanes
00177508   00177509    7/19/2022 0:10 Email    S....pdf                                             .\VOL013\IMAGES\IMAGES001\00177508.pdf
                                               Comments on the I‐495 and I‐270 Managed Lanes
00177510   00177511    7/19/2022 1:10 Email    S....pdf                                             .\VOL013\IMAGES\IMAGES001\00177510.pdf
                                               Comments on Final EIS for I‐495 & I‐270 Managed
00177512   00177512    7/19/2022 1:11 Email    Lanes Study                                          .\VOL013\IMAGES\IMAGES001\00177512.pdf
                                               FW: Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177513   00177513    7/19/2022 7:47 Email    4(f) Evaluation                                      .\VOL013\IMAGES\IMAGES001\00177513.pdf
00177514   00177555    7/19/2022 7:47 Attach   Exhibit M ‐ 2022‐02‐03 WBFC Comments.pdf             .\VOL013\IMAGES\IMAGES001\00177514.pdf

00177556   00177558    7/19/2022 7:47 Attach   Exhibit L ‐ 2019‐11‐01 FHWA NCPC Meeting Notes.pdf .\VOL013\IMAGES\IMAGES001\00177556.pdf

                                               FW: Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177559   00177559    7/19/2022 7:47 Email    4(f) Evaluation ‐ Additional attachments             .\VOL013\IMAGES\IMAGES001\00177559.pdf
00177560   00177584    7/19/2022 7:47 Attach   Exhibit J ‐ 2021‐08‐20 WBFC DOE.pdf                  .\VOL013\IMAGES\IMAGES001\00177560.pdf
00177585   00177620    7/19/2022 7:47 Attach   Exhibit K ‐ 2022‐07‐18 Browne Comments.pdf           .\VOL013\IMAGES\IMAGES001\00177585.pdf

00177621   00177649    7/19/2022 7:47 Attach   Exhibit E ‐ 2022‐07 Bright Public Health Comments.pdf .\VOL013\IMAGES\IMAGES001\00177621.pdf
00177650   00177663    7/19/2022 7:47 Attach   Exhibit F ‐ 2022‐07‐16 Bialek Comments.pdf            .\VOL013\IMAGES\IMAGES001\00177650.pdf
                                               Exhibit G ‐ 2022‐07 ZAMURS AND ASSOCIATES
00177664   00177674    7/19/2022 7:47 Attach   Report.pdf                                            .\VOL013\IMAGES\IMAGES001\00177664.pdf
00177675   00177687    7/19/2022 7:47 Attach   Exhibit H ‐ Katz Report and CV.pdf                    .\VOL013\IMAGES\IMAGES001\00177675.pdf
00177688   00177698    7/19/2022 7:47 Attach   Exhibit I ‐ 2022‐07 Bloch Comments.pdf                .\VOL013\IMAGES\IMAGES001\00177688.pdf
                                               FW: Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177699   00177701    7/19/2022 7:48 Email    4(f) Evaluation                                       .\VOL013\IMAGES\IMAGES001\00177699.pdf
                                               Exhibit D ‐ 2022‐07‐11 Ltr from Ross to Deputy Sec'y
00177702   00177713    7/19/2022 7:48 Attach   Trottenberg.pdf                                       .\VOL013\IMAGES\IMAGES001\00177702.pdf
00177714   00177759    7/19/2022 7:48 Attach   Exhibit A ‐ Compiled Letters.pdf                      .\VOL013\IMAGES\IMAGES001\00177714.pdf
00177760   00177829    7/19/2022 7:48 Attach   2022‐07‐22 Sierra Club et al. FEIS comments.pdf       .\VOL013\IMAGES\IMAGES001\00177760.pdf
                                               FW: Comments on Final EIS for I‐495 & I‐270 Managed
00177830   00177830    7/19/2022 7:49 Email    Lanes Study                                           .\VOL013\IMAGES\IMAGES001\00177830.pdf
                                               National Trust comments on Final EIS for I‐495 I‐270
00177831   00177831    7/19/2022 7:49 Attach   MLS July 18 2022.pdf                                  .\VOL013\IMAGES\IMAGES001\00177831.pdf
                                               FW: Comments on Final EIS for I‐495 & I‐270 Managed
00177832   00177832    7/19/2022 7:50 Email    Lanes Study                                           .\VOL013\IMAGES\IMAGES001\00177832.pdf
00177833   00177834    7/19/2022 9:29 Email    Close of FEIS Availability Period                     .\VOL013\IMAGES\IMAGES001\00177833.pdf
00177835   00177835    7/19/2022 9:30 Email    FW: Comments Re FEIS                                  .\VOL013\IMAGES\IMAGES001\00177835.pdf
                                               FW: Fwi: Traffic Relief NOW I‐495 I‐270 Managed
00177836   00177837    7/19/2022 9:32 Email    Lanes Study Letter                                    .\VOL013\IMAGES\IMAGES001\00177836.pdf
00177838   00177840    7/19/2022 9:32 Email    FW: Comments on 495/270 FEIS                          .\VOL013\IMAGES\IMAGES001\00177838.pdf
                                               FW: National Parks Conservation Association
00177841   00177842    7/19/2022 9:32 Email    Comments on Managed Lanes FEIS                        .\VOL013\IMAGES\IMAGES001\00177841.pdf

                                               FW: The Maryland Department of Transportation’s
00177843   00177851    7/19/2022 9:33 Email    Seriously Flawed Proposed Toll Lane Project          .\VOL013\IMAGES\IMAGES001\00177843.pdf
                                               FW: Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177852   00177854    7/19/2022 9:39 Email    4(f) Evaluation                                      .\VOL013\IMAGES\IMAGES001\00177852.pdf

                                               FW: Comments on the I‐495 and I‐270 Managed Lanes
                                               Study Final Environmental Impact Statement and Final
00177855   00177856    7/19/2022 9:45 Email    4(f) Evaluation ‐ Additional attachments             .\VOL013\IMAGES\IMAGES001\00177855.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 231 of 263

                                               FW: I‐495 & I‐270 Final Environmental Impact
00177857   00177861    7/19/2022 9:45 Email    Statement/Final Section 4(f) Evaluation Availability    .\VOL013\IMAGES\IMAGES001\00177857.pdf
                                               Fw: I‐495 NEXT Meeting to Discuss Design in the Area
00177862   00177867    7/19/2022 9:46 Email    Around Live Oak Drive                                   .\VOL013\IMAGES\IMAGES001\00177862.pdf

                                               20220602_Enlarged v3 VDOT Next Mapping June 2022
00177868   00177868    7/19/2022 9:46 Attach   with Op Lanes Maryland Logo Map Dimensions.pdf   .\VOL013\IMAGES\IMAGES001\00177868.pdf
                                               FW: National Parks Conservation Association
00177869   00177870   7/19/2022 10:19 Email    Comments on Managed Lanes FEIS                   .\VOL013\IMAGES\IMAGES001\00177869.pdf

00177871   00177871   7/19/2022 10:19 Attach   NPCA 495 297 Managed Lanes FEIS Comments.pdf            .\VOL013\IMAGES\IMAGES001\00177871.pdf
00177872   00177874   7/19/2022 10:39 Email    FW: Comments on 495/270 FEIS                            .\VOL013\IMAGES\IMAGES001\00177872.pdf

                                               FW: The Maryland Department of Transportation’s
00177875   00177883   7/19/2022 10:42 Email    Seriously Flawed Proposed Toll Lane Project             .\VOL013\IMAGES\IMAGES001\00177875.pdf
00177884   00177884   7/19/2022 10:42 Attach   Map 1 MDOT1.pdf                                         .\VOL013\IMAGES\IMAGES001\00177884.pdf
                                               FW: Fwi: Traffic Relief NOW I‐495 I‐270 Managed
00177885   00177887   7/19/2022 10:50 Email    Lanes Study Letter                                      .\VOL013\IMAGES\IMAGES001\00177885.pdf
00177888   00177895   7/19/2022 10:50 Attach   Traffic Relief NOW US DOT MLS Letter.pdf                .\VOL013\IMAGES\IMAGES001\00177888.pdf

                                               FW: I‐495 & I‐270 Final Environmental Impact
00177896   00177900   7/19/2022 10:51 Email    Statement/Final Section 4(f) Evaluation Availability .\VOL013\IMAGES\IMAGES001\00177896.pdf
                                               FW: Comments on Final EIS for I‐495 & I‐270 Managed
00177901   00177901   7/19/2022 11:00 Email    Lanes Study                                          .\VOL013\IMAGES\IMAGES001\00177901.pdf
                                               Updated Comments on the I‐495 and I‐270 Managed
                                               Lanes Study Final Environmental Impact Statement
00177902   00177904   7/19/2022 11:15 Email    and Final 4(f) Evaluation                            .\VOL013\IMAGES\IMAGES001\00177902.pdf
                                               Updated Comments on the I‐495 and I‐270
00177905   00177908   7/19/2022 11:22 Email    Managed....pdf                                       .\VOL013\IMAGES\IMAGES001\00177905.pdf
00177909   00177909   7/19/2022 11:56 Email    Letter                                               .\VOL013\IMAGES\IMAGES001\00177909.pdf

00177910   00177912   7/19/2022 11:56 Attach   MD Transit Opportunity Coalition Comments.docx          .\VOL013\IMAGES\IMAGES001\00177910.pdf
00177913   00177913   7/19/2022 12:00 Email    FW: Letter                                              .\VOL013\IMAGES\IMAGES001\00177913.pdf
00177914   00177914   7/19/2022 12:13 Email    RE: Letter                                              .\VOL013\IMAGES\IMAGES001\00177914.pdf
00177915   00177915   7/19/2022 12:29 Email    Meeting summary 07‐18‐2022                              .\VOL013\IMAGES\IMAGES001\00177915.pdf
00177916   00177916   7/19/2022 12:29 Attach   Meeting summary 07‐18‐2022.docx                         .\VOL013\IMAGES\IMAGES001\00177916.pdf
00177917   00177917   7/19/2022 12:37 Email    RE: Meeting summary 07‐18‐2022                          .\VOL013\IMAGES\IMAGES001\00177917.pdf
00177918   00177919   7/19/2022 12:37 Attach   Meeting summary 07‐18‐2022 JP.docx                      .\VOL013\IMAGES\IMAGES001\00177918.pdf
                                               RE: Comments on Final EIS for I‐495 & I‐270 Managed
00177920   00177920   7/19/2022 12:38 Email    Lanes Study                                             .\VOL013\IMAGES\IMAGES001\00177920.pdf
00177921   00177921   7/19/2022 12:49 Email    RE: Meeting summary 07‐18‐2022                          .\VOL013\IMAGES\IMAGES001\00177921.pdf
00177922   00177923   7/19/2022 13:00 Email    RE: Meeting summary 07‐18‐2022                          .\VOL013\IMAGES\IMAGES001\00177922.pdf
00177924   00177925   7/19/2022 13:24 Email    RE: Meeting summary 07‐18‐2022                          .\VOL013\IMAGES\IMAGES001\00177924.pdf
00177926   00177926   7/19/2022 13:37 Email    RE_ Meeting summary 07‐18‐2022.pdf                      .\VOL013\IMAGES\IMAGES001\00177926.pdf
00177927   00177927   7/19/2022 13:49 Email    RE_ Meeting summary 07‐18‐2022(1).pdf                   .\VOL013\IMAGES\IMAGES001\00177927.pdf

00177928   00177929   7/19/2022 13:49 Attach   HEP response to MD Transit Coalition Letter.docx        .\VOL013\IMAGES\IMAGES001\00177928.pdf
00177930   00177931   7/19/2022 16:27 Attach   Fournier_839960_Response                                .\VOL013\IMAGES\IMAGES001\00177930.pdf
00177932   00177932   7/19/2022 16:27 Attach   Fournier_839960_Incoming.pdf                            .\VOL013\IMAGES\IMAGES001\00177932.pdf
00177933   00177935   7/19/2022 17:03 Email    FW: MD Op Lanes ‐ O&M Limit Drawings                    .\VOL013\IMAGES\IMAGES001\00177933.pdf
00177936   00177936   7/19/2022 17:03 Attach   O&M Display_VA193toMD190_6‐29‐22.pdf                    .\VOL013\IMAGES\IMAGES001\00177936.pdf
00177937   00177939   7/19/2022 17:30 Email    RE: MD Op Lanes ‐ O&M Limit Drawings                    .\VOL013\IMAGES\IMAGES001\00177937.pdf

00177940   00177941   7/20/2022 11:22 Email    RE: FHWA Draft Comments on IAJR Safety Analysis         .\VOL013\IMAGES\IMAGES001\00177940.pdf
00177942   00177943   7/20/2022 11:24 Email    RE: Revised ROD Schedule                                .\VOL013\IMAGES\IMAGES001\00177942.pdf
00177944   00177948   7/20/2022 15:05 Attach   TPB Resolution.pdf                                      .\VOL013\IMAGES\IMAGES001\00177944.pdf
00177949   00177950   7/20/2022 15:05 Attach   Signed 835303.pdf                                       .\VOL013\IMAGES\IMAGES001\00177949.pdf
                                               Re: [EXTERNAL] ALB/Plummers Island Avoidance and
00177951   00177955   7/20/2022 15:57 Email    Minimization Memo                                       .\VOL013\IMAGES\IMAGES001\00177951.pdf
                                               Re: [EXTERNAL] ALB/Plummers Island Avoidance and
00177956   00177959   7/20/2022 15:57 Email    Minimization Memo                                       .\VOL013\IMAGES\IMAGES001\00177956.pdf
                                               Fwd: [EXTERNAL] New ALB scuppers would drain
00177960   00177961   7/20/2022 16:13 Email    directly onto Plummer Island land.                      .\VOL013\IMAGES\IMAGES001\00177960.pdf
00177962   00177964   7/20/2022 17:29 Email    RE: Revised ROD Schedule                                .\VOL013\IMAGES\IMAGES001\00177962.pdf
                                               FW: Letter From Director Conklin re I‐495 and I‐270
00177965   00177966   7/20/2022 17:32 Email    Opportunity Lanes                                       .\VOL013\IMAGES\IMAGES001\00177965.pdf
                                               FW: Letter From Director Conklin re I‐495 and I‐270
00177967   00177968    7/21/2022 7:19 Email    Opportunity Lanes                                       .\VOL013\IMAGES\IMAGES001\00177967.pdf
00177969   00177970   7/22/2022 10:15 Email    RE: Revised ROD Schedule                                .\VOL013\IMAGES\IMAGES001\00177969.pdf
00177971   00177972   7/22/2022 10:57 Email    FW: Letters and or comments received                    .\VOL013\IMAGES\IMAGES001\00177971.pdf
00177973   00177975   7/22/2022 11:01 Email    RE: Revised ROD Schedule                                .\VOL013\IMAGES\IMAGES001\00177973.pdf
                                               FW: Rep. Raskin (MD) ‐ Letter re: SDEIS for the I‐495
00177976   00177977   7/22/2022 11:05 Email    and I‐270 Managed Lanes Study                           .\VOL013\IMAGES\IMAGES001\00177976.pdf
                                               RE: Complementary Responses to Questions and
00177978   00177980   7/22/2022 11:49 Email    Comments ‐ Live Oak Drive Meeting                       .\VOL013\IMAGES\IMAGES001\00177978.pdf
                                               MLS Revised ROD Files and FEIS Comments and
00177981   00177982   7/24/2022 15:18 Email    Responses                                               .\VOL013\IMAGES\IMAGES001\00177981.pdf
                                               June 21 2022 Draft ROD Errata Table FHWA
00177983   00177992   7/24/2022 15:18 Attach   07_08_2022_Responses_07‐24‐2022.docx                    .\VOL013\IMAGES\IMAGES001\00177983.pdf

00177993   00178050   7/24/2022 15:18 Attach   DRAFT FHWA ROD_V2_MLS_tracking_07‐24‐2022.docx .\VOL013\IMAGES\IMAGES001\00177993.pdf

00178051   00178108   7/24/2022 15:18 Attach   DRAFT FHWA ROD_V2_MLS_clean_07‐24‐2022.docx .\VOL013\IMAGES\IMAGES001\00178051.pdf
                                               MLS ROD Appendix D_Draft CommResp on FEIS_07‐24‐
00178109   00178142   7/24/2022 15:18 Attach   2022.pdf                                         .\VOL013\IMAGES\IMAGES001\00178109.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation FHWA
00178143   00178164   7/24/2022 15:18 Attach   Comments_clean_07‐24‐2022.docx                   .\VOL013\IMAGES\IMAGES001\00178143.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation FHWA
00178165   00178186   7/24/2022 15:18 Attach   Comments_track_07‐24‐2022.docx                   .\VOL013\IMAGES\IMAGES001\00178165.pdf

00178187   00178187   7/24/2022 15:18 Attach   FEIS Comments Responses_MASTER_07‐22‐2022.xlsx          .\VOL013\IMAGES\IMAGES001\00178187.pdf    .\VOL013\NATIVES\NATIVES001\00178187.xlsx
00178188   00178188    7/25/2022 9:07 Attach   Gallant_839506_Response                                 .\VOL013\IMAGES\IMAGES001\00178188.pdf
                                               FW: [EXTERNAL] New ALB scuppers would drain
00178189   00178191    7/25/2022 9:29 Email    directly onto Plummer Island land.                      .\VOL013\IMAGES\IMAGES001\00178189.pdf
                                               RE: MLS Revised ROD Files and FEIS Comments and
00178192   00178193   7/25/2022 11:31 Email    Responses                                               .\VOL013\IMAGES\IMAGES001\00178192.pdf
00178194   00178213   7/25/2022 14:01 Attach   RealSolutionsReport.pdf                                 .\VOL013\IMAGES\IMAGES001\00178194.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178214   00178215   7/25/2022 15:07 Email    Project                                                 .\VOL013\IMAGES\IMAGES001\00178214.pdf
00178216   00178226   7/25/2022 15:07 Attach   AX‐22‐000‐5622 incoming letter.pdf                      .\VOL013\IMAGES\IMAGES001\00178216.pdf
                                               RE: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178227   00178229   7/25/2022 16:35 Email    Project                                                 .\VOL013\IMAGES\IMAGES001\00178227.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                              Filed 05/03/23                             Page 232 of 263

00178230   00178230   7/26/2022 11:57 Email    RE: Managed Lanes FEIS City of Rockville            .\VOL013\IMAGES\IMAGES001\00178230.pdf
                                               Managed Lanes FEIS City of Rockville to
00178231   00178233   7/26/2022 11:57 Attach   Councilmember Myles.pdf                             .\VOL013\IMAGES\IMAGES001\00178231.pdf
                                               Managed Lanes FEIS City of Rockville to
00178234   00178236   7/26/2022 11:57 Attach   Councilmember Ashton_.pdf                           .\VOL013\IMAGES\IMAGES001\00178234.pdf
                                               Managed Lanes FEIS City of Rockville to
00178237   00178239   7/26/2022 11:57 Attach   Councilmember Feinberg.pdf                          .\VOL013\IMAGES\IMAGES001\00178237.pdf
                                               Managed Lanes FEIS City of Rockville to
00178240   00178242   7/26/2022 11:57 Attach   Councilmember Pierzchala.pdf                        .\VOL013\IMAGES\IMAGES001\00178240.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178243   00178245   7/26/2022 14:43 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178243.pdf
00178246   00178256   7/26/2022 14:43 Attach   AX‐22‐000‐5622 incoming letter.pdf                  .\VOL013\IMAGES\IMAGES001\00178246.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178257   00178259   7/26/2022 15:33 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178257.pdf
00178260   00178270   7/26/2022 15:33 Attach   AX‐22‐000‐5622 incoming letter.pdf                  .\VOL013\IMAGES\IMAGES001\00178260.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178271   00178273   7/26/2022 15:34 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178271.pdf
00178274   00178284   7/26/2022 15:34 Attach   AX‐22‐000‐5622 incoming letter.pdf                  .\VOL013\IMAGES\IMAGES001\00178274.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178285   00178287   7/26/2022 15:34 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178285.pdf
                                               RE: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178288   00178290   7/26/2022 15:35 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178288.pdf
                                               RE: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178291   00178293   7/26/2022 15:39 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178291.pdf
00178294   00178304   7/26/2022 16:34 Attach   AX‐22‐000‐5622 incoming letter.pdf                  .\VOL013\IMAGES\IMAGES001\00178294.pdf
00178305   00178308   7/26/2022 16:34 Attach   2022‐07‐18 EPA Comments FEIS 495‐270 MLS.pdf        .\VOL013\IMAGES\IMAGES001\00178305.pdf
                                               RE: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178309   00178312    7/27/2022 8:38 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178309.pdf
                                               RE: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178313   00178316    7/27/2022 8:46 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178313.pdf
00178317   00178327    7/27/2022 8:59 Attach   AX‐22‐000‐5622 incoming letter.pdf                  .\VOL013\IMAGES\IMAGES001\00178317.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178328   00178330    7/27/2022 8:59 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178328.pdf
00178331   00178341    7/27/2022 8:59 Attach   AX‐22‐000‐5622 incoming letter.pdf                  .\VOL013\IMAGES\IMAGES001\00178331.pdf
00178342   00178343    7/27/2022 8:59 Attach   AX‐22‐000‐5622 control slip.pdf                     .\VOL013\IMAGES\IMAGES001\00178342.pdf
                                               Re: Missing Reference from Managed Lane Study Draft
00178344   00178346   7/27/2022 10:07 Email    Environmental Impact Statement                      .\VOL013\IMAGES\IMAGES001\00178344.pdf
                                               RE: Managed Lanes Study: NPS Draft Record of
00178347   00178348   7/27/2022 10:10 Email    Decision                                            .\VOL013\IMAGES\IMAGES001\00178347.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178349   00178352   7/27/2022 10:18 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178349.pdf
00178353   00178356   7/27/2022 10:53 Email    RE: Number of WBFC meetings for FEIS response       .\VOL013\IMAGES\IMAGES001\00178353.pdf
                                               Re: Request for review by 1pm tomorrow 7/28‐ AQ
00178357   00178358   7/27/2022 12:38 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178357.pdf
                                               RE: Request for review by 1pm tomorrow 7/28‐ AQ
00178359   00178360   7/27/2022 12:40 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178359.pdf
                                               Request for review by 1pm tomorrow 7_28‐ AQ
00178361   00178361   7/27/2022 13:04 Email    lan....pdf                                          .\VOL013\IMAGES\IMAGES001\00178361.pdf
                                               RE_ Request for review by 1pm tomorrow 7_28‐
00178362   00178363   7/27/2022 13:41 Email    AQ....pdf                                           .\VOL013\IMAGES\IMAGES001\00178362.pdf
                                               FW: Comments on the I‐495 and I‐27chris0 Managed
                                               Lanes Study Final Environmental Impact Statement
00178364   00178366   7/27/2022 15:22 Email    and Final 4(f) Evaluation                           .\VOL013\IMAGES\IMAGES001\00178364.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178367   00178367   7/27/2022 15:40 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178367.pdf
00178368   00178378   7/27/2022 15:40 Attach   AX‐22‐000‐5622 incoming letter.pdf                  .\VOL013\IMAGES\IMAGES001\00178368.pdf
                                               RE: Comments on the I‐495 and I‐27chris0 Managed
                                               Lanes Study Final Environmental Impact Statement
00178379   00178381   7/27/2022 16:18 Email    and Final 4(f) Evaluation                           .\VOL013\IMAGES\IMAGES001\00178379.pdf
00178382   00178382   7/27/2022 16:21 Email    RE: Revised ROD and App A Comments                  .\VOL013\IMAGES\IMAGES001\00178382.pdf
                                               FW_ Comments on the I‐495 and I‐27chris0
00178383   00178385   7/27/2022 16:22 Email    Manage....pdf                                       .\VOL013\IMAGES\IMAGES001\00178383.pdf
                                               RE: Request for review by 1pm tomorrow 7/28‐ AQ
00178386   00178387   7/27/2022 21:30 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178386.pdf
00178388   00178389   7/27/2022 21:44 Email    Draft July 18 Sierra Club FEIS response             .\VOL013\IMAGES\IMAGES001\00178388.pdf
00178390   00178390   7/27/2022 21:44 Email    Draft July 18 Sierra Club FEIS response             .\VOL013\IMAGES\IMAGES001\00178390.pdf
                                               RE_ Request for review by 1pm tomorrow 7_28‐
00178391   00178392   7/27/2022 22:30 Email    AQ...(1).pdf                                        .\VOL013\IMAGES\IMAGES001\00178391.pdf
00178393   00178394    7/28/2022 7:16 Email    FW: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178393.pdf
                                               RE: Request for review by 1pm tomorrow 7/28‐ AQ
00178395   00178396    7/28/2022 7:19 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178395.pdf
00178397   00178398    7/28/2022 7:57 Email    FW: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178397.pdf
00178399   00178408    7/28/2022 7:57 Attach   Draft Response July 18 Sierra Club Letter.docx      .\VOL013\IMAGES\IMAGES001\00178399.pdf
                                               RE: Request for review by 1pm tomorrow 7/28‐ AQ
00178409   00178410    7/28/2022 7:57 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178409.pdf
00178411   00178412    7/28/2022 8:06 Email    FW: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178411.pdf
00178413   00178414    7/28/2022 8:06 Email    FW: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178413.pdf
00178415   00178416    7/28/2022 8:57 Email    FW_ Draft July 18 Sierra Club FEIS response.pdf     .\VOL013\IMAGES\IMAGES001\00178415.pdf
                                               RE: Request for review by 1pm tomorrow 7/28‐ AQ
00178417   00178419   7/28/2022 11:34 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178417.pdf
00178420   00178421   7/28/2022 11:38 Email    Fw: American Legion Bridge Connections              .\VOL013\IMAGES\IMAGES001\00178420.pdf
                                               FW: Request for review by 1pm tomorrow 7/28‐ AQ
00178422   00178424   7/28/2022 12:48 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178422.pdf
                                               RE: Request for review by 1pm tomorrow 7/28‐ AQ
00178425   00178426   7/28/2022 13:03 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178425.pdf
                                               FW: Request for review by 1pm tomorrow 7/28‐ AQ
00178427   00178428   7/28/2022 16:06 Email    language in 495/270 Record of Decision              .\VOL013\IMAGES\IMAGES001\00178427.pdf
00178429   00178430   7/28/2022 16:06 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178429.pdf
00178431   00178433   7/28/2022 16:32 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178431.pdf
00178434   00178435   7/28/2022 16:41 Email    FW: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178434.pdf
00178436   00178438   7/28/2022 17:02 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178436.pdf
00178439   00178440   7/28/2022 17:06 Email    RE_ Draft July 18 Sierra Club FEIS response.pdf     .\VOL013\IMAGES\IMAGES001\00178439.pdf
                                               Re: [EXTERNAL] RE: Managed Lanes Study: NPS Draft
00178441   00178442   7/28/2022 17:25 Email    Record of Decision                                  .\VOL013\IMAGES\IMAGES001\00178441.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                Filed 05/03/23                            Page 233 of 263

00178443   00178445   7/28/2022 18:02 Email    RE_ Draft July 18 Sierra Club FEIS response(2).pdf   .\VOL013\IMAGES\IMAGES001\00178443.pdf
00178446   00178446   7/28/2022 19:21 Email    Revised ROD and Appendix A comments                  .\VOL013\IMAGES\IMAGES001\00178446.pdf
                                               DRAFT FHWA ROD_V2_MLS_clean_07‐24‐2022
00178447   00178504   7/28/2022 19:21 Attach   MD.docx                                              .\VOL013\IMAGES\IMAGES001\00178447.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation FHWA
00178505   00178526   7/28/2022 19:21 Attach   Comments_clean_07‐24‐2022 MD.docx                    .\VOL013\IMAGES\IMAGES001\00178505.pdf
00178527   00178536   7/28/2022 19:21 Attach   Draft Response July 18 Sierra Club Letter JP.docx    .\VOL013\IMAGES\IMAGES001\00178527.pdf

                                               RE: Comments of Friends of Moses Hall to FEIS/Section
00178537   00178538   7/29/2022 10:22 Email    4(f) Evaluation for I‐495 & I‐270 Managed Lanes Study .\VOL013\IMAGES\IMAGES001\00178537.pdf
00178539   00178540   7/29/2022 10:46 Email    USACE                                                 .\VOL013\IMAGES\IMAGES001\00178539.pdf

                                               RE: Comments of Friends of Moses Hall to FEIS/Section
00178541   00178543   7/29/2022 11:12 Email    4(f) Evaluation for I‐495 & I‐270 Managed Lanes Study .\VOL013\IMAGES\IMAGES001\00178541.pdf

                                               RE: Comments of Friends of Moses Hall to FEIS/Section
00178544   00178546   7/29/2022 11:12 Email    4(f) Evaluation for I‐495 & I‐270 Managed Lanes Study .\VOL013\IMAGES\IMAGES001\00178544.pdf
                                               MDOT SHA Response Letter to Friends of Moses Hall 7‐
00178547   00178551   7/29/2022 11:12 Attach   22‐2022.docx                                          .\VOL013\IMAGES\IMAGES001\00178547.pdf
00178552   00178553   7/29/2022 11:59 Email    Revised ROD Appendix A‐ Commitments                   .\VOL013\IMAGES\IMAGES001\00178552.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation FHWA
00178554   00178573   7/29/2022 11:59 Attach   Comments_clean_07‐28‐2022.docx                        .\VOL013\IMAGES\IMAGES001\00178554.pdf
00178574   00178575   7/29/2022 11:59 Email    Revised ROD Appendix A‐ Commitments                   .\VOL013\IMAGES\IMAGES001\00178574.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation FHWA
00178576   00178595   7/29/2022 11:59 Attach   Comments_clean_07‐28‐2022.docx                        .\VOL013\IMAGES\IMAGES001\00178576.pdf
00178596   00178597   7/29/2022 15:26 Email    RE: Draft July 18 Sierra Club FEIS response           .\VOL013\IMAGES\IMAGES001\00178596.pdf
                                               2022‐07‐29 Responses to Questions from Foust Favola
00178598   00178626   7/29/2022 15:26 Attach   Murphy for VDOT.pdf                                   .\VOL013\IMAGES\IMAGES001\00178598.pdf
                                               Letter ‐ MDOT SHA responses to Questions Regarding I‐
00178627   00178628   7/29/2022 16:00 Email    495 & I‐270 Managed Lanes Study                       .\VOL013\IMAGES\IMAGES001\00178627.pdf
00178629   00178641   7/29/2022 16:00 Attach   2022‐07‐29_Foust.pdf                                  .\VOL013\IMAGES\IMAGES001\00178629.pdf
00178642   00178643   7/29/2022 16:41 Email    RE: Draft July 18 Sierra Club FEIS response           .\VOL013\IMAGES\IMAGES001\00178642.pdf
00178644   00178646   7/29/2022 16:42 Email    RE: Draft July 18 Sierra Club FEIS response           .\VOL013\IMAGES\IMAGES001\00178644.pdf
00178647   00178671   7/29/2022 16:42 Attach   Exhibit B ‐ 2022‐07 Smart Mobility Report.pdf         .\VOL013\IMAGES\IMAGES001\00178647.pdf
00178672   00178674   7/29/2022 16:45 Email    RE: Draft July 18 Sierra Club FEIS response           .\VOL013\IMAGES\IMAGES001\00178672.pdf
00178675   00178677   7/29/2022 17:42 Email    RE_ Draft July 18 Sierra Club FEIS response(4).pdf    .\VOL013\IMAGES\IMAGES001\00178675.pdf
00178678   00178680   7/29/2022 17:45 Email    RE_ Draft July 18 Sierra Club FEIS response(5).pdf    .\VOL013\IMAGES\IMAGES001\00178678.pdf

00178681   00178718   7/29/2022 17:45 Attach   Exhibit B ‐ 2022‐07 Smart Mobility Report With.pdf  .\VOL013\IMAGES\IMAGES001\00178681.pdf
00178719   00178721   7/29/2022 17:59 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178719.pdf
00178722   00178724   7/29/2022 17:59 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178722.pdf
00178725   00178726   7/29/2022 18:02 Email    Re: MD Managed Lanes Study (MLS) Project            .\VOL013\IMAGES\IMAGES001\00178725.pdf
                                               MLS Revised ROD Files and FEIS Comments and
00178727   00178727   7/31/2022 16:54 Email    Responses                                           .\VOL013\IMAGES\IMAGES001\00178727.pdf
                                               MLS ROD Appendix D_Draft CommResp on FEIS_07‐31‐
00178728   00178809   7/31/2022 16:54 Attach   2022_low res.pdf                                    .\VOL013\IMAGES\IMAGES001\00178728.pdf
00178810   00178812     8/1/2022 7:18 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178810.pdf
                                               FW: [EXTERNAL] RE: Managed Lanes Study: NPS Draft
00178813   00178815     8/1/2022 7:25 Email    Record of Decision                                  .\VOL013\IMAGES\IMAGES001\00178813.pdf
00178816   00178847     8/1/2022 7:25 Attach   2022‐06‐24_NPS_ROD_Draft v1.docx                    .\VOL013\IMAGES\IMAGES001\00178816.pdf
00178848   00178850     8/1/2022 7:28 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178848.pdf
00178851   00178853     8/1/2022 7:41 Email    FW: Revised ROD Appendix A‐ Commitments             .\VOL013\IMAGES\IMAGES001\00178851.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation FHWA
00178854   00178873     8/1/2022 7:41 Attach   Comments_clean_07‐28‐2022.docx                      .\VOL013\IMAGES\IMAGES001\00178854.pdf
00178874   00178876     8/1/2022 7:46 Email    RE: Revised ROD Appendix A‐ Commitments             .\VOL013\IMAGES\IMAGES001\00178874.pdf
                                               RE: Media Inquiry on Maryland toll lanes comment
00178877   00178878     8/1/2022 7:46 Email    period                                              .\VOL013\IMAGES\IMAGES001\00178877.pdf
00178879   00178880     8/1/2022 8:20 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178879.pdf
00178881   00178882     8/1/2022 8:23 Email    FW: American Legion Bridge Connections              .\VOL013\IMAGES\IMAGES001\00178881.pdf
00178883   00178884     8/1/2022 8:23 Attach   2022‐07‐20_Conklin_MacArthur Blvd.pdf               .\VOL013\IMAGES\IMAGES001\00178883.pdf
00178885   00178887     8/1/2022 8:28 Email    RE_ Draft July 18 Sierra Club FEIS response(8).pdf  .\VOL013\IMAGES\IMAGES001\00178885.pdf
00178888   00178889     8/1/2022 9:44 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178888.pdf
00178890   00178890     8/1/2022 9:48 Email    FW: Time for a Brief Chat?                          .\VOL013\IMAGES\IMAGES001\00178890.pdf
00178891   00178893    8/1/2022 10:05 Email    RE: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178891.pdf
                                               RE: Maryland: Group Urges Federal Government to
                                               Ignore Pleas for Delay on Capital Beltway Expansion
00178894   00178894    8/1/2022 10:12 Email    Project                                             .\VOL013\IMAGES\IMAGES001\00178894.pdf
00178895   00178897    8/1/2022 12:27 Email    FW: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178895.pdf
00178898   00178900    8/1/2022 12:35 Email    FW: Draft July 18 Sierra Club FEIS response         .\VOL013\IMAGES\IMAGES001\00178898.pdf

00178901   00178903    8/1/2022 13:27 Email    FW_ Draft July 18 Sierra Club FEIS response(1).pdf   .\VOL013\IMAGES\IMAGES001\00178901.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178904   00178906    8/1/2022 13:44 Email    Project                                              .\VOL013\IMAGES\IMAGES001\00178904.pdf
                                               RE: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178907   00178909    8/1/2022 13:54 Email    Project                                              .\VOL013\IMAGES\IMAGES001\00178907.pdf
00178910   00178912    8/1/2022 13:54 Email    RE: Draft July 18 Sierra Club FEIS response          .\VOL013\IMAGES\IMAGES001\00178910.pdf
00178913   00178915    8/1/2022 13:54 Email    RE: Draft July 18 Sierra Club FEIS response          .\VOL013\IMAGES\IMAGES001\00178913.pdf
00178916   00178918    8/1/2022 14:16 Email    RE: Revised ROD Appendix A‐ Commitments              .\VOL013\IMAGES\IMAGES001\00178916.pdf
                                               EDITS_FHWA_AppA_ROD_CommitmentsMitigation
00178919   00178938    8/1/2022 14:16 Attach   FHWA Comments_clean_07‐28‐2022.docx                  .\VOL013\IMAGES\IMAGES001\00178919.pdf
00178939   00178941    8/1/2022 14:16 Email    RE: Revised ROD Appendix A‐ Commitments              .\VOL013\IMAGES\IMAGES001\00178939.pdf
                                               EDITS_FHWA_AppA_ROD_CommitmentsMitigation
00178942   00178961    8/1/2022 14:16 Attach   FHWA Comments_clean_07‐28‐2022.docx                  .\VOL013\IMAGES\IMAGES001\00178942.pdf
                                               FW: AX‐22‐000‐5622 Dangerously Flawed Health
                                               Impact Assessment for Maryland Highway Expansion
00178962   00178964    8/1/2022 14:28 Email    Project                                              .\VOL013\IMAGES\IMAGES001\00178962.pdf

00178965   00178966    8/1/2022 14:28 Attach   AX‐22‐000‐5622 ‐ OCTEA‐Bright 7‐27‐22 v1spbfin.pdf   .\VOL013\IMAGES\IMAGES001\00178965.pdf
00178967   00178968    8/1/2022 15:08 Email    RE: MCIA meeting updates                             .\VOL013\IMAGES\IMAGES001\00178967.pdf
00178969   00178971    8/1/2022 15:42 Email    Re: Draft July 18 Sierra Club FEIS response          .\VOL013\IMAGES\IMAGES001\00178969.pdf
00178972   00178972    8/1/2022 16:13 Email    Sierra Club Response                                 .\VOL013\IMAGES\IMAGES001\00178972.pdf
00178973   00178975    8/1/2022 16:15 Email    RE: Draft July 18 Sierra Club FEIS response          .\VOL013\IMAGES\IMAGES001\00178973.pdf
00178976   00178976    8/1/2022 17:02 Email    FW_ Time for a Brief Chat‐‐correction_(1).pdf        .\VOL013\IMAGES\IMAGES001\00178976.pdf
00178977   00178977    8/1/2022 17:03 Email    FW_ Time for a Brief Chat‐‐correction_.pdf           .\VOL013\IMAGES\IMAGES001\00178977.pdf
00178978   00178979    8/1/2022 17:03 Email    RE_ Time for a Brief Chat‐‐correction_(1).pdf        .\VOL013\IMAGES\IMAGES001\00178978.pdf
00178980   00178981    8/1/2022 17:26 Email    RE_ Time for a Brief Chat‐‐correction_.pdf           .\VOL013\IMAGES\IMAGES001\00178980.pdf
00178982   00178983    8/1/2022 17:47 Email    Re_ Time for a Brief Chat‐‐correction_.pdf           .\VOL013\IMAGES\IMAGES001\00178982.pdf
00178984   00178985    8/1/2022 23:26 Email    RE: MLS ROD                                          .\VOL013\IMAGES\IMAGES001\00178984.pdf
00178986   00178988     8/2/2022 8:56 Email    RE: MD I‐495/270                                     .\VOL013\IMAGES\IMAGES001\00178986.pdf
00178989   00178991     8/2/2022 8:56 Email    FW: MD I‐495/270                                     .\VOL013\IMAGES\IMAGES001\00178989.pdf
00178992   00178992     8/2/2022 9:23 Email    RE: Sierra Club Response                             .\VOL013\IMAGES\IMAGES001\00178992.pdf
00178993   00178995    8/2/2022 10:22 Email    RE: MD I‐495/270                                     .\VOL013\IMAGES\IMAGES001\00178993.pdf
    Case 8:22-cv-02597-DKC                            Document 42-1                                    Filed 05/03/23                           Page 234 of 263

                                              RE: Media Inquiry on Maryland toll lanes comment
00178996   00178998   8/2/2022 14:51 Email    period                                                   .\VOL013\IMAGES\IMAGES001\00178996.pdf
00178999   00179001   8/3/2022 12:31 Email    RE: Draft July 18 Sierra Club FEIS response              .\VOL013\IMAGES\IMAGES001\00178999.pdf
00179002   00179014   8/3/2022 12:31 Attach   Sierra Club Response_08‐03‐2022.docx                     .\VOL013\IMAGES\IMAGES001\00179002.pdf
00179015   00179017   8/3/2022 12:31 Email    RE: Draft July 18 Sierra Club FEIS response              .\VOL013\IMAGES\IMAGES001\00179015.pdf
00179018   00179020   8/3/2022 12:31 Email    RE: Draft July 18 Sierra Club FEIS response              .\VOL013\IMAGES\IMAGES001\00179018.pdf
00179021   00179021   8/3/2022 12:47 Email    SOW                                                      .\VOL013\IMAGES\IMAGES001\00179021.pdf
00179022   00179022   8/3/2022 12:49 Email    RE: SOW                                                  .\VOL013\IMAGES\IMAGES001\00179022.pdf
00179023   00179024   8/3/2022 13:23 Email    Fw: ROD target date                                      .\VOL013\IMAGES\IMAGES001\00179023.pdf

                                              FW: I‐495 & I‐270 Managed Lanes Study ‐
00179025   00179025   8/3/2022 14:26 Email    Supplemental Draft Environmental Impact Statement        .\VOL013\IMAGES\IMAGES001\00179025.pdf

                                              FW: I‐495 & I‐270 Managed Lanes Study ‐
00179026   00179026   8/3/2022 15:36 Email    Supplemental Draft Environmental Impact Statement        .\VOL013\IMAGES\IMAGES001\00179026.pdf

00179027   00179030   8/3/2022 15:36 Attach   MNCPPC_FEIS MR_Request Time Extension 7.29.pdf           .\VOL013\IMAGES\IMAGES001\00179027.pdf
00179031   00179031   8/3/2022 16:30 Email    FW: I‐495/I‐270 ROD target date                          .\VOL013\IMAGES\IMAGES001\00179031.pdf
00179032   00179039   8/3/2022 16:47 Edoc     495‐270_Independent Review SOW_draft.docx                .\VOL013\IMAGES\IMAGES001\00179032.pdf
00179040   00179042    8/4/2022 9:52 Attach   Managed Lanes FEIS City of Rockville.pdf                 .\VOL013\IMAGES\IMAGES001\00179040.pdf
00179043   00179043   8/4/2022 11:11 Email    FW: Bullet Points                                        .\VOL013\IMAGES\IMAGES001\00179043.pdf
00179044   00179044   8/4/2022 11:40 Email    RE: Bullet Points                                        .\VOL013\IMAGES\IMAGES001\00179044.pdf
                                              Key Allegations from Maryland Transit Opportunities
00179045   00179045   8/4/2022 11:40 Attach   Coalition Letter_KP.docx                                 .\VOL013\IMAGES\IMAGES001\00179045.pdf
                                              69_MLS_FEIS_App‐T‐DEIS‐SDEIS‐CR_T.3_June‐
00179046   00179264   8/4/2022 11:44 Edoc     2022p.pdf                                                .\VOL013\IMAGES\IMAGES001\00179046.pdf
                                              60_MLS_FEIS_1‐AppT‐DEIS‐SDEIS‐CR_Index_June‐
00179265   00179381   8/4/2022 11:44 Edoc     2022p.pdf                                                .\VOL013\IMAGES\IMAGES001\00179265.pdf
00179382   00179382   8/4/2022 11:52 Email    From MO County Delegation                                .\VOL013\IMAGES\IMAGES001\00179382.pdf
                                              Montgomery County Delegation_FWHA_Comment
00179383   00179385   8/4/2022 11:52 Attach   Period.pdf                                               .\VOL013\IMAGES\IMAGES001\00179383.pdf
00179386   00179386   8/4/2022 12:08 Email    Bullet Points .pdf                                       .\VOL013\IMAGES\IMAGES001\00179386.pdf

00179387   00179387   8/4/2022 12:08 Attach   Key Allegations from Maryland Transit Opportu.docx       .\VOL013\IMAGES\IMAGES001\00179387.pdf
00179388   00179388   8/4/2022 12:58 Email    RE_ bullet points.pdf                                    .\VOL013\IMAGES\IMAGES001\00179388.pdf

00179389   00179389   8/4/2022 12:58 Attach   Key Allegations from Maryland Transit Opportu.docx       .\VOL013\IMAGES\IMAGES001\00179389.pdf
00179390   00179391   8/4/2022 13:05 Email    RE: Letters/emails                                       .\VOL013\IMAGES\IMAGES001\00179390.pdf

00179392   00179392   8/4/2022 13:16 Email    Maryland Transit Opportunities Coalition Bullet....pdf   .\VOL013\IMAGES\IMAGES001\00179392.pdf

00179393   00179393   8/4/2022 13:30 Email    RE_ Maryland Transit Opportunities Coalition Bu....pdf .\VOL013\IMAGES\IMAGES001\00179393.pdf
00179394   00179407   8/4/2022 14:17 Edoc     10_2022‐06‐30_Elrich_FEIS_Incoming.pdf                 .\VOL013\IMAGES\IMAGES001\00179394.pdf

00179408   00179408   8/4/2022 14:54 Email    Summary of Elected Officials Letters to FHWA/OST         .\VOL013\IMAGES\IMAGES001\00179408.pdf
00179409   00179410   8/4/2022 14:54 Attach   MLS Elected Officials Letters.docx                       .\VOL013\IMAGES\IMAGES001\00179409.pdf
                                              1_2020‐07‐09_MD Congressional
00179411   00179417   8/4/2022 15:09 Edoc     Delegation_DEIS_combined.pdf                             .\VOL013\IMAGES\IMAGES001\00179411.pdf

00179418   00179421   8/4/2022 15:46 Edoc     3_2020‐11‐5_MD Gen Assembly_DEIS_combined.pdf            .\VOL013\IMAGES\IMAGES001\00179418.pdf
                                              2_2020‐10‐26_MD Congressional Delegation_Moses
00179422   00179430   8/4/2022 15:56 Edoc     Hall_combined.pdf                                        .\VOL013\IMAGES\IMAGES001\00179422.pdf
                                              4_2021‐03‐19_Sen Van Hollen_EO
00179431   00179438   8/4/2022 16:03 Edoc     13990_combined.pdf                                       .\VOL013\IMAGES\IMAGES001\00179431.pdf
00179439   00179440   8/4/2022 16:10 Edoc     5_2021‐04‐02_Rep Brown_Incoming.pdf                      .\VOL013\IMAGES\IMAGES001\00179439.pdf
00179441   00179445   8/4/2022 16:19 Edoc     6_2021‐10‐21_Rep Raskin_SDEIS_Incoming.pdf               .\VOL013\IMAGES\IMAGES001\00179441.pdf
                                              7_2021‐10‐28_MD Congressional
00179446   00179447   8/4/2022 16:22 Edoc     Delegation_SDEIS_Incoming.pdf                            .\VOL013\IMAGES\IMAGES001\00179446.pdf

00179448   00179453   8/4/2022 16:34 Edoc     8_2022‐06‐08_City of Rockville_SDEIS_combined.pdf        .\VOL013\IMAGES\IMAGES001\00179448.pdf

00179454   00179459   8/4/2022 16:42 Edoc     9_2022‐06‐13_Raskin and Brown_FEIS_combined.pdf          .\VOL013\IMAGES\IMAGES001\00179454.pdf

00179460   00179461   8/4/2022 17:26 Email    FW: Summary of Elected Officials Letters to FHWA/OST .\VOL013\IMAGES\IMAGES001\00179460.pdf
00179462   00179463   8/4/2022 17:26 Attach   D16Letter_reMoses_Cemetery.pdf                       .\VOL013\IMAGES\IMAGES001\00179462.pdf
                                              MDOT Opportunity Lanes FEIS Phase 1 South Transit
00179464   00179464    8/5/2022 8:22 Attach   Commitments                                          .\VOL013\IMAGES\IMAGES001\00179464.pdf
00179465   00179465    8/5/2022 8:22 Attach   Information Related to I‐495 & I‐270 MLS‐FEIS        .\VOL013\IMAGES\IMAGES001\00179465.pdf

                                              FW: Governor Hogan Calls on President Biden,
                                              Secretary Buttigieg to Reverse Federal Highway
                                              Administration Decision to Delay Traffic Relief Plan For
00179466   00179468   8/5/2022 10:42 Email    American Legion Bridge and Capital Beltway               .\VOL013\IMAGES\IMAGES001\00179466.pdf
                                              RE: Proposed Response to Media Inquiries on
00179469   00179471   8/5/2022 13:51 Email    Governor Hogan Press Release                             .\VOL013\IMAGES\IMAGES001\00179469.pdf
                                              RE: Proposed Response to Media Inquiries on
00179472   00179474   8/5/2022 14:01 Email    Governor Hogan Press Release                             .\VOL013\IMAGES\IMAGES001\00179472.pdf
                                              RE: Proposed Response to Media Inquiries on
00179475   00179478   8/5/2022 14:28 Email    Governor Hogan Press Release                             .\VOL013\IMAGES\IMAGES001\00179475.pdf
00179479   00179484   8/5/2022 16:24 Attach   MTOC ROD Response.pdf                                    .\VOL013\IMAGES\IMAGES001\00179479.pdf
00179485   00179485   8/7/2022 19:21 Attach   Email 6‐20‐22_First Version ROD.pdf                      .\VOL013\IMAGES\IMAGES001\00179485.pdf
00179486   00179487   8/7/2022 19:21 Attach   Email 7‐24‐22_Second Version ROD.pdf                     .\VOL013\IMAGES\IMAGES001\00179486.pdf
00179488   00179488   8/7/2022 19:21 Attach   Email 7‐28‐22_FHWA Comments on ROD.pdf                   .\VOL013\IMAGES\IMAGES001\00179488.pdf
00179489   00179490   8/7/2022 19:21 Attach   Email 7‐31‐22_Final ROD to FHWA.pdf                      .\VOL013\IMAGES\IMAGES001\00179489.pdf
                                              Email 8‐1‐22_FHWA comments on Sierra Club
00179491   00179492   8/7/2022 19:21 Attach   Response.pdf                                             .\VOL013\IMAGES\IMAGES001\00179491.pdf
                                              Email 8‐3‐22_MDOT SHA Response to FHWA SC
00179493   00179495   8/7/2022 19:21 Attach   comments.pdf                                             .\VOL013\IMAGES\IMAGES001\00179493.pdf
                                              Re: [EXTERNAL] New ALB scuppers would drain directly
00179496   00179498   8/8/2022 12:38 Email    onto Plummer Island land.                                .\VOL013\IMAGES\IMAGES001\00179496.pdf

00179499   00179501   8/8/2022 15:10 Email    RE: FHWA Draft Comments on IAJR Safety Analysis          .\VOL013\IMAGES\IMAGES001\00179499.pdf
                                              FHWA_AppA_ROD_CommitmentsMitigation FHWA
00179502   00179521   8/8/2022 15:28 Attach   Comments_clean_07‐28‐2022.docx                           .\VOL013\IMAGES\IMAGES001\00179502.pdf
                                              FHWA_AppA_ROD_CommitmentsMitigation FHWA
00179522   00179541   8/8/2022 15:28 Attach   Comments_clean_07‐28‐2022.docx                           .\VOL013\IMAGES\IMAGES001\00179522.pdf
00179542   00179542   8/8/2022 15:35 Email    NPS ROD Status                                           .\VOL013\IMAGES\IMAGES001\00179542.pdf

00179543   00179545   8/8/2022 15:43 Email    RE: FHWA Draft Comments on IAJR Safety Analysis          .\VOL013\IMAGES\IMAGES001\00179543.pdf
00179546   00179547   8/8/2022 16:35 Email    RE: NPS ROD Status                                       .\VOL013\IMAGES\IMAGES001\00179546.pdf
                                              Support for FHWA Decision to Delay ROD on I‐495
00179548   00179548   8/8/2022 22:20 Email    Managed Lane Study                                       .\VOL013\IMAGES\IMAGES001\00179548.pdf
00179549   00179549   8/8/2022 22:20 Attach   Letter to Sec. Buttigieg re I‐495 Widening.docx          .\VOL013\IMAGES\IMAGES001\00179549.pdf
00179550   00179550    8/9/2022 8:58 Attach   DRT 7‐21‐22 Mtg.docx                                     .\VOL013\IMAGES\IMAGES001\00179550.pdf
00179551   00179553   8/9/2022 10:55 Email    RE: Revised ROD Appendix A‐ Commitments                  .\VOL013\IMAGES\IMAGES001\00179551.pdf
    Case 8:22-cv-02597-DKC                             Document 42-1                                   Filed 05/03/23                           Page 235 of 263

00179554   00179556    8/9/2022 14:31 Email    Re: Revised ROD Appendix A‐ Commitments                 .\VOL013\IMAGES\IMAGES001\00179554.pdf
00179557   00179559    8/9/2022 14:31 Email    Re: Revised ROD Appendix A‐ Commitments                 .\VOL013\IMAGES\IMAGES001\00179557.pdf
00179560   00179561    8/9/2022 14:57 Attach   Revised ROD Appendix A‐ Commitments                     .\VOL013\IMAGES\IMAGES001\00179560.pdf
                                               MLS Revised ROD Files and FEIS Comments and
00179562   00179562    8/9/2022 14:57 Attach   Responses                                               .\VOL013\IMAGES\IMAGES001\00179562.pdf
00179563   00179564    8/9/2022 14:57 Attach   MLS V3 ROD Comments.docx                                .\VOL013\IMAGES\IMAGES001\00179563.pdf

00179565   00179573    8/9/2022 17:14 Attach   FHWA ‐MTOC Key Concerns Response_FINAL.docx             .\VOL013\IMAGES\IMAGES001\00179565.pdf
00179574   00179575    8/9/2022 18:05 Email    FW: ROD status                                          .\VOL013\IMAGES\IMAGES001\00179574.pdf
00179576   00179584    8/10/2022 7:49 Attach   FHWA ‐MTOC Key Concerns Response.docx                   .\VOL013\IMAGES\IMAGES001\00179576.pdf
00179585   00179585    8/10/2022 9:47 Attach   Bossie_841497_Incoming.pdf                              .\VOL013\IMAGES\IMAGES001\00179585.pdf
00179586   00179587   8/10/2022 10:49 Email    FW: ROD status                                          .\VOL013\IMAGES\IMAGES001\00179586.pdf
00179588   00179588   8/10/2022 11:32 Email    megan email                                             .\VOL013\IMAGES\IMAGES001\00179588.pdf
00179589   00179589   8/10/2022 11:33 Email    Word doc                                                .\VOL013\IMAGES\IMAGES001\00179589.pdf
00179590   00179591   8/10/2022 11:33 Attach   MLS V3 ROD Comments August 10 2022.docx                 .\VOL013\IMAGES\IMAGES001\00179590.pdf
00179592   00179592   8/10/2022 12:19 Email    FHWA Comments ‐ MLS Draft ROD (V3)                      .\VOL013\IMAGES\IMAGES001\00179592.pdf

                                               Resolution_R2‐2022_‐
00179593   00179607   8/10/2022 12:19 Attach   _Add_MDOT_TRP_and_transit_commitments3.pdf              .\VOL013\IMAGES\IMAGES001\00179593.pdf

00179608   00179609   8/10/2022 12:19 Attach   MLS V3 ROD FHWA Comments August 10 2022.docx            .\VOL013\IMAGES\IMAGES001\00179608.pdf
00179610   00179610   8/10/2022 12:19 Email    FHWA Comments ‐ MLS Draft ROD (V3)                      .\VOL013\IMAGES\IMAGES001\00179610.pdf

                                               Resolution_R2‐2022_‐
00179611   00179625   8/10/2022 12:19 Attach   _Add_MDOT_TRP_and_transit_commitments3.pdf              .\VOL013\IMAGES\IMAGES001\00179611.pdf

00179626   00179627   8/10/2022 12:19 Attach   MLS V3 ROD FHWA Comments August 10 2022.docx            .\VOL013\IMAGES\IMAGES001\00179626.pdf
00179628   00179628   8/10/2022 12:31 Email    FHWA Comments ‐ MLS Draft ROD (V3)                      .\VOL013\IMAGES\IMAGES001\00179628.pdf
                                               MLS V3 ROD FHWA Comments August 10 2022
00179629   00179630   8/10/2022 12:31 Attach   FD.docx                                                 .\VOL013\IMAGES\IMAGES001\00179629.pdf
00179631   00179631   8/10/2022 18:45 Attach   Hughes_841495_Incoming.pdf                              .\VOL013\IMAGES\IMAGES001\00179631.pdf
00179632   00179632   8/10/2022 18:59 Attach   Daniel_841502_Incoming.pdf                              .\VOL013\IMAGES\IMAGES001\00179632.pdf
                                               Letter Attached: VDOT Responses to 20220627 MCA‐
00179633   00179633    8/11/2022 8:01 Email    TC Questions                                            .\VOL013\IMAGES\IMAGES001\00179633.pdf
                                               20220811_VDOT Response to 20220627_MCA‐TC
00179634   00179647    8/11/2022 8:01 Attach   Questions.pdf                                           .\VOL013\IMAGES\IMAGES001\00179634.pdf
00179648   00179653   8/11/2022 11:27 Email    RE: FEIS Chapter 4.1.1 Updates                          .\VOL013\IMAGES\IMAGES001\00179648.pdf
00179654   00179655   8/11/2022 16:09 Email    Re: [EXTERNAL] NPS ROD                                  .\VOL013\IMAGES\IMAGES001\00179654.pdf

00179656   00179656   8/11/2022 16:23 Email    I‐495 & I‐270 Managed Lanes Study ‐ NEPA Review         .\VOL013\IMAGES\IMAGES001\00179656.pdf
00179657   00179658   8/11/2022 16:23 Attach   FMH Letter to USDOT 08.11.22 ‐ Final.pdf                .\VOL013\IMAGES\IMAGES001\00179657.pdf
00179659   00179660   8/11/2022 16:24 Attach   FMH Letter to USDOT 08.11.22 ‐ Final.pdf                .\VOL013\IMAGES\IMAGES001\00179659.pdf
00179661   00179668    8/12/2022 8:01 Edoc     TPB Board Resolutions.pdf                               .\VOL013\IMAGES\IMAGES001\00179661.pdf
00179669   00179669    8/12/2022 8:23 Email    Inframation News ‐ Op Lanes upadete                     .\VOL013\IMAGES\IMAGES001\00179669.pdf

00179670   00179670    8/12/2022 8:28 Email    FW: Information Related to I‐495 & I‐270 MLS‐FEIS       .\VOL013\IMAGES\IMAGES001\00179670.pdf
                                               TPB Letter to FHWA MDOT SHA I 495 I 270 MLS FEIS
00179671   00179679    8/12/2022 8:28 Attach   July 2022.pdf                                           .\VOL013\IMAGES\IMAGES001\00179671.pdf
00179680   00179682    8/12/2022 8:52 Email    FW: MDOT TRP ROD                                        .\VOL013\IMAGES\IMAGES001\00179680.pdf
                                               I‐495 & I‐270 Managed Lanes Study and Maryland
00179683   00179683   8/12/2022 10:51 Email    Mandatory Referral Process                              .\VOL013\IMAGES\IMAGES001\00179683.pdf
00179684   00179684   8/12/2022 10:51 Attach   CJCA FHWA Letter 08.11.22.pdf                           .\VOL013\IMAGES\IMAGES001\00179684.pdf
00179685   00179685   8/12/2022 10:53 Attach   CJCA FHWA Letter 08.11.22.pdf                           .\VOL013\IMAGES\IMAGES001\00179685.pdf

00179686   00179686   8/12/2022 13:26 Attach   Copy of Summary of Mitigation Costs 05.09.22.xlsx       .\VOL013\IMAGES\IMAGES001\00179686.pdf    .\VOL013\NATIVES\NATIVES001\00179686.xlsx
00179687   00179689   8/12/2022 15:58 Email    FW: Revised ROD Appendix A‐ Commitments                 .\VOL013\IMAGES\IMAGES001\00179687.pdf
00179690   00179746   8/12/2022 15:58 Attach   DRAFT FHWA ROD_V3_MLS_07‐31‐2022.docx                   .\VOL013\IMAGES\IMAGES001\00179690.pdf
                                               Re: New O&M Responsibilities Display for inclusion in
00179747   00179748   8/15/2022 10:40 Email    the Bi‐State                                            .\VOL013\IMAGES\IMAGES001\00179747.pdf

00179749   00179749   8/15/2022 11:05 Email    Volpe Review of MTOC letter and SDEIS_FEIS for ....pdf .\VOL013\IMAGES\IMAGES001\00179749.pdf
00179750   00179753   8/15/2022 11:05 Attach   Review_Memo_Format_Final.docx                          .\VOL013\IMAGES\IMAGES001\00179750.pdf
00179754   00179754    8/16/2022 8:40 Email    Draft V4 ROD and Appendix A                            .\VOL013\IMAGES\IMAGES001\00179754.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation FHWA 08‐
00179755   00179774    8/16/2022 8:40 Attach   16‐2022.docx                                           .\VOL013\IMAGES\IMAGES001\00179755.pdf
00179775   00179832    8/16/2022 8:55 Edoc     DRAFT FHWA ROD_V4_MLS_08‐16‐2022_mc.docx               .\VOL013\IMAGES\IMAGES001\00179775.pdf
                                               FHWA_AppA_ROD_CommitmentsMitigation FHWA 08‐
00179833   00179852    8/16/2022 9:04 Attach   16‐2022_mc.docx                                        .\VOL013\IMAGES\IMAGES001\00179833.pdf
00179853   00179855    8/16/2022 9:18 Email    FW: USACE                                              .\VOL013\IMAGES\IMAGES001\00179853.pdf
00179856   00179858    8/16/2022 9:32 Email    FW: MLS ROD                                            .\VOL013\IMAGES\IMAGES001\00179856.pdf
00179859   00179861    8/16/2022 9:37 Email    RE: MLS ROD                                            .\VOL013\IMAGES\IMAGES001\00179859.pdf
00179862   00179864    8/16/2022 9:37 Email    RE: MLS ROD                                            .\VOL013\IMAGES\IMAGES001\00179862.pdf

00179865   00179865   8/16/2022 11:27 Email    FW: Draft V3 Revised ROD and Revised Appendix A         .\VOL013\IMAGES\IMAGES001\00179865.pdf

                                               FW: Volpe Review of MTOC letter and SDEIS/FEIS for
00179866   00179867   8/16/2022 13:16 Email    Maryland I‐495/I‐270 Managed Lanes Project              .\VOL013\IMAGES\IMAGES001\00179866.pdf
                                               AppA_ROD_CommitmentsMitigation FHWA 08‐16‐
00179868   00179892    8/17/2022 7:25 Edoc     2022_KP minor comments.docx                             .\VOL013\IMAGES\IMAGES001\00179868.pdf
                                               2022.08.17_RC cleared safety analysis_ FHWA Draft
00179893   00179895    8/17/2022 7:25 Edoc     Comments on IAJR Safety Analysis.pdf                    .\VOL013\IMAGES\IMAGES001\00179893.pdf

00179896   00179897    8/17/2022 7:30 Email    RE: Draft V3 Revised ROD and Revised Appendix A         .\VOL013\IMAGES\IMAGES001\00179896.pdf

00179898   00179899    8/17/2022 7:52 Email    RE: Draft V3 Revised ROD and Revised Appendix A         .\VOL013\IMAGES\IMAGES001\00179898.pdf
00179900   00179900    8/17/2022 9:14 Email    MLS ROD and Appendix A                                  .\VOL013\IMAGES\IMAGES001\00179900.pdf
                                               Draft V3 AppA_ROD_CommitmentsMitigation FHWA
00179901   00179925    8/17/2022 9:14 Attach   08‐17‐2022 Comments.docx                                .\VOL013\IMAGES\IMAGES001\00179901.pdf
00179926   00179931   8/17/2022 15:27 Email    RE: 495 Express Lanes ‐ Responses                       .\VOL013\IMAGES\IMAGES001\00179926.pdf

00179932   00179933   8/17/2022 15:27 Attach   OpLanes ‐ Live Oak Area Exhibit ‐ MDOT_8‐17‐22.pdf      .\VOL013\IMAGES\IMAGES001\00179932.pdf
00179934   00179939   8/17/2022 15:40 Email    RE: 495 Express Lanes ‐ Responses                       .\VOL013\IMAGES\IMAGES001\00179934.pdf
                                               2022.08.18_Division_Response_ FHWA Draft
00179940   00179943    8/18/2022 7:29 Edoc     Comments on IAJR Safety Analysis.pdf                    .\VOL013\IMAGES\IMAGES001\00179940.pdf
00179944   00179947    8/18/2022 9:00 Attach   AFP‐9346‐2022 ‐ Site Plan.pdf                           .\VOL013\IMAGES\IMAGES001\00179944.pdf
00179948   00179948   8/18/2022 10:00 Attach   Map of Greenbelt Forecast Updates.jpg                   .\VOL013\IMAGES\IMAGES001\00179948.pdf
                                               FW: Updated Comments on the I‐495 and I‐270
                                               Managed Lanes Study Final Environmental Impact
00179949   00179952   8/18/2022 14:35 Email    Statement and Final 4(f) Evaluation                     .\VOL013\IMAGES\IMAGES001\00179949.pdf
00179953   00179958   8/19/2022 12:27 Email    RE: 495 Express Lanes ‐ Responses                       .\VOL013\IMAGES\IMAGES001\00179953.pdf

00179959   00179966   8/19/2022 12:27 Attach   MDOT SHA Response Letter to MCA_8‐19‐22.docx            .\VOL013\IMAGES\IMAGES001\00179959.pdf
00179967   00179982   8/19/2022 14:22 Attach   MDOT SHA Response Letter to MCA.pdf                     .\VOL013\IMAGES\IMAGES001\00179967.pdf
00179983   00179984   8/22/2022 10:12 Attach   Cover Memo Vople MTOC.pdf                               .\VOL013\IMAGES\IMAGES001\00179983.pdf
00179985   00179985   8/22/2022 14:43 Email    MLS Team Members                                        .\VOL013\IMAGES\IMAGES001\00179985.pdf
    Case 8:22-cv-02597-DKC                              Document 42-1                                Filed 05/03/23                           Page 236 of 263

00179986   00179986    8/22/2022 15:29 Email    RE: MLS Team Members                                 .\VOL013\IMAGES\IMAGES001\00179986.pdf
00179987   00179989    8/22/2022 16:24 Email    FW: Draft July 18 Sierra Club FEIS response          .\VOL013\IMAGES\IMAGES001\00179987.pdf
00179990   00180002    8/22/2022 16:24 Attach   Sierra Club Response_08‐03‐2022.docx                 .\VOL013\IMAGES\IMAGES001\00179990.pdf
00180003   00180004    8/22/2022 16:52 Email    ROD                                                  .\VOL013\IMAGES\IMAGES001\00180003.pdf

00180005   00180005    8/22/2022 17:26 Attach   FEIS Comments Responses_MASTER_07‐22‐2022.xlsx       .\VOL013\IMAGES\IMAGES001\00180005.pdf    .\VOL013\NATIVES\NATIVES001\00180005.xlsx
00180006   00180008    8/22/2022 19:23 Email    Final ROD                                            .\VOL013\IMAGES\IMAGES001\00180006.pdf
                                                FHWA_ROD_AppB_USDOI_Letter_I495_I270_FEIS_4F.
00180009   00180010    8/22/2022 19:23 Attach   pdf                                                  .\VOL013\IMAGES\IMAGES001\00180009.pdf
00180011   00180011     8/23/2022 8:01 Email    IAPA Next Steps                                      .\VOL013\IMAGES\IMAGES001\00180011.pdf
00180012   00180013     8/23/2022 9:45 Email    RE: IAPA Next Steps                                  .\VOL013\IMAGES\IMAGES001\00180012.pdf
00180014   00180017    8/23/2022 15:11 Email    FW: Final ROD                                        .\VOL013\IMAGES\IMAGES001\00180014.pdf
00180018   00180074    8/23/2022 17:22 Edoc     MLS FHWA ROD_FINAL_08‐22‐2022.pdf                    .\VOL013\IMAGES\IMAGES001\00180018.pdf

00180075   00180174    8/23/2022 17:23 Edoc     FHWA_ROD_AppD_FEIS Comments_Responses.pdf            .\VOL013\IMAGES\IMAGES001\00180075.pdf
00180175   00180176     8/24/2022 7:21 Email    FW: MLS ROD and Appendix A                           .\VOL013\IMAGES\IMAGES001\00180175.pdf
00180177   00180177     8/24/2022 8:14 Email    MLS Team                                             .\VOL013\IMAGES\IMAGES001\00180177.pdf
00180178   00180180    8/24/2022 10:10 Email    RE: Final ROD                                        .\VOL013\IMAGES\IMAGES001\00180178.pdf
00180181   00180184    8/24/2022 10:35 Email    Re: Final ROD                                        .\VOL013\IMAGES\IMAGES001\00180181.pdf
00180185   00180187    8/24/2022 10:35 Email    Re: Final ROD                                        .\VOL013\IMAGES\IMAGES001\00180185.pdf
00180188   00180189    8/24/2022 11:14 Attach   Cover Memo Vople MTOC.pdf                            .\VOL013\IMAGES\IMAGES001\00180188.pdf
00180190   00180190    8/24/2022 11:23 Attach   MD‐MLS RODLS Memo).pdf                               .\VOL013\IMAGES\IMAGES001\00180190.pdf
                                                RE: I‐495 and I‐270 Managed Lanes Study Record of
00180191   00180191    8/24/2022 11:37 Email    Decision Prior Concurrence                           .\VOL013\IMAGES\IMAGES001\00180191.pdf
00180192   00180195    8/24/2022 11:53 Email    FW: Final ROD                                        .\VOL013\IMAGES\IMAGES001\00180192.pdf
00180196   00180216    8/24/2022 11:53 Attach   FHWA_ROD_AppA_CommitmentsMitigation.pdf              .\VOL013\IMAGES\IMAGES001\00180196.pdf
00180217   00180217    8/24/2022 11:56 Email    FW: MLS‐ ROD legal sufficiency                       .\VOL013\IMAGES\IMAGES001\00180217.pdf
                                                FW: I‐495 and I‐270 Managed Lanes Study Record of
00180218   00180218    8/24/2022 11:56 Email    Decision Prior Concurrence                           .\VOL013\IMAGES\IMAGES001\00180218.pdf
00180219   00180220    8/24/2022 17:02 Email    ROD                                                  .\VOL013\IMAGES\IMAGES001\00180219.pdf
                                                FW: I‐495 and I‐270 Managed Lanes Study Record of
00180221   00180221     8/25/2022 8:06 Email    Decision Prior Concurrence                           .\VOL013\IMAGES\IMAGES001\00180221.pdf
00180222   00180222     8/25/2022 8:06 Attach   MLS ROD Prior Concurrence Memo.pdf                   .\VOL013\IMAGES\IMAGES001\00180222.pdf
                                                FHWA UPDATE_ I‐495_I‐270 Managed Lanes Study
00180223   00180223     8/25/2022 9:00 Email    (M....pdf                                            .\VOL013\IMAGES\IMAGES001\00180223.pdf
00180224   00180224    8/25/2022 12:05 Email    Signed ROD                                           .\VOL013\IMAGES\IMAGES001\00180224.pdf

00180225   00180225    8/25/2022 14:10 Email    FW: To FR for publication: MD Managed Lanes SOL      .\VOL013\IMAGES\IMAGES001\00180225.pdf
00180226   00180226    8/25/2022 14:18 Email    RE: It's official                                    .\VOL013\IMAGES\IMAGES001\00180226.pdf
00180227   00180227    8/25/2022 15:02 Email    ROD                                                  .\VOL013\IMAGES\IMAGES001\00180227.pdf

00180228   00180228    8/25/2022 15:03 Email    FW: To FR for publication: MD Managed Lanes SOL      .\VOL013\IMAGES\IMAGES001\00180228.pdf
00180229   00180233    8/25/2022 15:03 Attach   final MLS‐SOL Notice.docx                            .\VOL013\IMAGES\IMAGES001\00180229.pdf
                                                Record of Decision Issued for the I‐495 & I‐270
00180234   00180235    8/25/2022 15:06 Email    Managed Lanes Study                                  .\VOL013\IMAGES\IMAGES001\00180234.pdf
00180236   00180237    8/25/2022 15:13 Email    ROD                                                  .\VOL013\IMAGES\IMAGES001\00180236.pdf
                                                Record of Decision Issued for the I‐495 & I‐270
00180238   00180239    8/25/2022 15:18 Email    Managed Lanes Study                                  .\VOL013\IMAGES\IMAGES001\00180238.pdf
                                                Re: MDOT SHA and FHWA Announce Record of
00180240   00180241    8/25/2022 15:31 Email    Decision for I‐495 & I‐270 Managed Lanes Study       .\VOL013\IMAGES\IMAGES001\00180240.pdf
                                                Re: MDOT SHA and FHWA Announce Record of
00180242   00180243    8/25/2022 15:39 Email    Decision for I‐495 & I‐270 Managed Lanes Study       .\VOL013\IMAGES\IMAGES001\00180242.pdf
00180244   00180250    8/25/2022 16:01 Email    FW: MLS ROD Now Online                               .\VOL013\IMAGES\IMAGES001\00180244.pdf
00180251   00180252    8/25/2022 16:01 Email    FW: ROD                                              .\VOL013\IMAGES\IMAGES001\00180251.pdf
00180253   00180253    8/25/2022 16:04 Email    FW: MDOT's Press Release                             .\VOL013\IMAGES\IMAGES001\00180253.pdf
00180254   00180260    8/25/2022 16:04 Email    FW: MLS ROD Now Online                               .\VOL013\IMAGES\IMAGES001\00180254.pdf
                                                Fwd: MDOT SHA and FHWA Announce Record of
00180261   00180262    8/25/2022 16:20 Email    Decision for I‐495 & I‐270 Managed Lanes Study       .\VOL013\IMAGES\IMAGES001\00180261.pdf
00180263   00180263    8/25/2022 16:50 Email    FW: MDOT's Press Release                             .\VOL013\IMAGES\IMAGES001\00180263.pdf
00180264   00180270    8/25/2022 18:42 Email    Re: MLS ROD Now Online                               .\VOL013\IMAGES\IMAGES001\00180264.pdf
                                                2022.04.25_ I‐495 & I‐270 MLS_ IAPA Safety
00180271   00180278     9/14/2022 8:01 Edoc     Analysis.pdf                                         .\VOL013\IMAGES\IMAGES001\00180271.pdf
                                                I‐495 & I‐270 Managed Lanes Study_Purpose and
00180279   00180321     9/21/2022 8:31 Edoc     Need Statement_FINAL 11‐19‐18.docx                   .\VOL013\IMAGES\IMAGES001\00180279.pdf
                                                Appendix A to the Purpose and Need
00180322   00180328     9/21/2022 8:31 Edoc     Statement_FINAL.docx                                 .\VOL013\IMAGES\IMAGES001\00180322.pdf

00180329   00180338     9/21/2022 8:39 Edoc     Final I‐495 I‐270 MLS Logical Termini_9‐10‐18.docx   .\VOL013\IMAGES\IMAGES001\00180329.pdf
                                                I‐495 & I‐270 MLS Purpose and Need NO
00180339   00180339    9/22/2022 10:32 Edoc     concurrence_MNCPPC_MO.pdf                            .\VOL013\IMAGES\IMAGES001\00180339.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00180340   00180340    9/22/2022 10:50 Edoc     Concurrence_MNCPPC_PG.pdf                            .\VOL013\IMAGES\IMAGES001\00180340.pdf
                                                I‐495 I‐270 MLS Purpose and Need Comments‐
00180341   00180341    9/22/2022 10:57 Edoc     NOAA.pdf                                             .\VOL013\IMAGES\IMAGES001\00180341.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00180342   00180342    9/22/2022 11:09 Edoc     Comment_FTA.pdf                                      .\VOL013\IMAGES\IMAGES001\00180342.pdf

00180343   00180343    9/22/2022 12:58 Edoc     I‐495 I‐270 MLS Purpose and Need Comments‐JBA.pdf .\VOL013\IMAGES\IMAGES001\00180343.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00180344   00180344    9/22/2022 12:59 Edoc     comments_MHT.pdf                                  .\VOL013\IMAGES\IMAGES001\00180344.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00180345   00180345    9/22/2022 13:08 Edoc     comments_MODOT.pdf                                .\VOL013\IMAGES\IMAGES001\00180345.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00180346   00180346    9/22/2022 13:09 Edoc     comments_PGDPW.pdf                                .\VOL013\IMAGES\IMAGES001\00180346.pdf
                                                I‐495 & I‐270 MLS Purpose and Need
00180347   00180347    9/22/2022 13:18 Edoc     comments_MNCPPC MO Planning.pdf                   .\VOL013\IMAGES\IMAGES001\00180347.pdf
                                                I‐495 & I‐270 MLS Purpose and Need Comment_ VA
00180348   00180348    9/22/2022 13:19 Edoc     DCR.pdf                                           .\VOL013\IMAGES\IMAGES001\00180348.pdf
                                                I‐495 I‐270 MLS Purpose and Need Comments‐
00180349   00180349    9/22/2022 13:19 Edoc     MDP.pdf                                           .\VOL013\IMAGES\IMAGES001\00180349.pdf
00180350   00180356    9/22/2022 13:21 Edoc     P&N Concurrence Forms_signed_051618.pdf           .\VOL013\IMAGES\IMAGES001\00180350.pdf

00180357   00180600    9/26/2022 13:19 Edoc     2018‐06‐22_I‐495 & I‐270 MLS_Scoping_Report.pdf      .\VOL013\IMAGES\IMAGES001\00180357.pdf
                                                2020.05.04_Alternative 9Modified Memo with
00180601   00180721    9/26/2022 15:55 Edoc     Attachments.pdf                                      .\VOL013\IMAGES\IMAGES001\00180601.pdf
                                                2020.03.19_MD 200 Diversion Alt_Tech
00180722   00180847    9/26/2022 15:59 Edoc     Results_Updated_with_Attachments.pdf                 .\VOL013\IMAGES\IMAGES001\00180722.pdf
                                                VDOT_I‐495 & I‐270 MLS RPA Concurrence Form_06‐
00180848   00180848    9/26/2022 16:23 Edoc     10‐21.pdf                                            .\VOL013\IMAGES\IMAGES001\00180848.pdf
00180849   00180850    9/26/2022 20:19 Edoc     MNCPPC ARDS Appendix A.pdf                           .\VOL013\IMAGES\IMAGES001\00180849.pdf
                                                2010‐02‐03 Regional Economic Work Group
00180851   00180897   10/12/2022 15:29 Edoc     Presentation ‐ Draft.pdf                             .\VOL013\IMAGES\IMAGES001\00180851.pdf
00180898   00180919   10/12/2022 15:39 Edoc     2019‐01‐30_Four_Cities_Presentation_v3.pdf           .\VOL013\IMAGES\IMAGES001\00180898.pdf
00180920   00180938   10/12/2022 15:42 Edoc     2019‐02‐07_SMTA_Presentation_v1.pdf                  .\VOL013\IMAGES\IMAGES001\00180920.pdf
00180939   00180964   10/12/2022 15:44 Edoc     2019‐02‐10_Carderock_Presentation_v1.pdf             .\VOL013\IMAGES\IMAGES001\00180939.pdf
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                                              2019‐02‐26_Wyngate Community Association with
00180965   00180998   10/12/2022 15:45 Edoc   Screened Alts.pdf                                    .\VOL013\IMAGES\IMAGES001\00180965.pdf

00180999   00181038   10/12/2022 15:47 Edoc   2019‐03‐18_Upcounty Citizens Advisory Board.pdf      .\VOL013\IMAGES\IMAGES001\00180999.pdf
00181039   00181078   10/12/2022 15:47 Edoc   2019‐03‐19_Village of North Chevy Chase.pdf          .\VOL013\IMAGES\IMAGES001\00181039.pdf
00181079   00181118   10/12/2022 15:49 Edoc   2019‐03‐20_The Promenade.pdf                         .\VOL013\IMAGES\IMAGES001\00181079.pdf
00181119   00181158   10/12/2022 15:50 Edoc   2019‐03‐21_Locust Hill CA.pdf                        .\VOL013\IMAGES\IMAGES001\00181119.pdf
00181159   00181198   10/12/2022 15:50 Edoc   2019‐03‐27_Cabin John.pdf                            .\VOL013\IMAGES\IMAGES001\00181159.pdf
00181199   00181221   10/12/2022 15:53 Edoc   2020‐02‐19_BIA Stakeholder Presentation.pdf          .\VOL013\IMAGES\IMAGES001\00181199.pdf
00181222   00181249   10/13/2022 11:10 Edoc   2020‐02‐26_AACC Stakeholder Presentation.pdf         .\VOL013\IMAGES\IMAGES001\00181222.pdf

00181250   00181280   10/13/2022 11:47 Edoc   2020‐07‐09 StakeholderTransitPresentation ‐ NVTA.pdf .\VOL013\IMAGES\IMAGES001\00181250.pdf
00181281   00181297   10/13/2022 11:52 Edoc   2021‐02‐19 Stakeholder Presentation.pdf              .\VOL013\IMAGES\IMAGES001\00181281.pdf
                                              2021‐03‐31 Regional Economic Work Group
00181298   00181322   10/13/2022 11:57 Edoc   Presentation v2.pdf                                  .\VOL013\IMAGES\IMAGES001\00181298.pdf
00181323   00181336   10/13/2022 12:02 Edoc   2021‐04‐14 FCCC Presentation.pdf                     .\VOL013\IMAGES\IMAGES001\00181323.pdf
                                              2021‐04‐16 Stakeholder Group Update Presentation
00181337   00181351   10/13/2022 12:59 Edoc   (2).pdf                                              .\VOL013\IMAGES\IMAGES001\00181337.pdf
                                              2021‐06‐24 Regional Economic Work Group
00181352   00181380   10/13/2022 13:06 Edoc   Presentation‐Final.pdf                               .\VOL013\IMAGES\IMAGES001\00181352.pdf
                                              2022.04.25__ I‐495 & I‐270 MLS_ IAPA Safety
00181381   00181388    10/17/2022 7:01 Edoc   Analysis.pdf                                         .\VOL013\IMAGES\IMAGES001\00181381.pdf
00181389   00181389   10/18/2022 17:09 Edoc   PG Post Tearsheet 7‐16‐20.pdf                        .\VOL013\IMAGES\IMAGES001\00181389.pdf
00181390   00181390   10/18/2022 17:09 Edoc   PG Post Tearsheet 8‐13‐20.pdf                        .\VOL013\IMAGES\IMAGES001\00181390.pdf
                                              Stakeholder Group Meeting Presentation ‐ 2021‐01‐
00181391   00181418   10/21/2022 16:56 Edoc   15.pdf                                               .\VOL013\IMAGES\IMAGES001\00181391.pdf
00181419   00181422    10/24/2022 6:20 Edoc   About_April2019.pdf                                  .\VOL013\IMAGES\IMAGES001\00181419.pdf
00181423   00181423    10/24/2022 6:20 Edoc   Alternatives February2019.pdf                        .\VOL013\IMAGES\IMAGES001\00181423.pdf
00181424   00181425    10/24/2022 6:20 Edoc   Alternatives old version 2018.pdf                    .\VOL013\IMAGES\IMAGES001\00181424.pdf
00181426   00181426    10/24/2022 6:21 Edoc   Alternatives_April2018.pdf                           .\VOL013\IMAGES\IMAGES001\00181426.pdf
00181427   00181429    10/24/2022 6:21 Edoc   DEIS July2020 Before comment extension.pdf           .\VOL013\IMAGES\IMAGES001\00181427.pdf
00181430   00181433    10/24/2022 6:22 Edoc   JPA Before Hearings 2021.pdf                         .\VOL013\IMAGES\IMAGES001\00181430.pdf
00181434   00181434    10/24/2022 6:22 Edoc   MLS Environmental About April2019.pdf                .\VOL013\IMAGES\IMAGES001\00181434.pdf
00181435   00181435    10/24/2022 6:22 Edoc   MLS Environmental Resources July2019.pdf             .\VOL013\IMAGES\IMAGES001\00181435.pdf
00181436   00181438    10/24/2022 6:23 Edoc   Public Workshops_April2019.pdf                       .\VOL013\IMAGES\IMAGES001\00181436.pdf
00181439   00181439    10/24/2022 6:23 Edoc   Purpose and Need April2019.pdf                       .\VOL013\IMAGES\IMAGES001\00181439.pdf
00181440   00181441    10/24/2022 6:23 Edoc   Purpose and Need_April2019.pdf                       .\VOL013\IMAGES\IMAGES001\00181440.pdf
                                              Recommended Preferred Alternative
00181442   00181444    10/24/2022 6:23 Edoc   February2021.pdf                                     .\VOL013\IMAGES\IMAGES001\00181442.pdf
00181445   00181448    10/24/2022 6:23 Edoc   SDEIS November2021 comment extension.pdf             .\VOL013\IMAGES\IMAGES001\00181445.pdf
00181449   00181450    10/24/2022 6:23 Edoc   Resources_April2019.pdf                              .\VOL013\IMAGES\IMAGES001\00181449.pdf
00181451   00181455    10/24/2022 6:23 Edoc   SDEIS October2021.pdf                                .\VOL013\IMAGES\IMAGES001\00181451.pdf
00181456   00181457    10/24/2022 6:23 Edoc   Cultural Resources 9.23.2022.pdf                     .\VOL013\IMAGES\IMAGES001\00181456.pdf
00181458   00181461    10/24/2022 6:23 Edoc   DEIS 9.23.2022.pdf                                   .\VOL013\IMAGES\IMAGES001\00181458.pdf
00181462   00181463    10/24/2022 6:23 Edoc   Alternatives 9.23.2022.pdf                           .\VOL013\IMAGES\IMAGES001\00181462.pdf
00181464   00181468    10/24/2022 6:23 Edoc   JPA 10.5.22 comment extension.pdf                    .\VOL013\IMAGES\IMAGES001\00181464.pdf
00181469   00181475    10/24/2022 6:23 Edoc   FEIS 9.23.2022.pdf                                   .\VOL013\IMAGES\IMAGES001\00181469.pdf
00181476   00181483    10/24/2022 6:23 Edoc   JPA 9.23.2022.pdf                                    .\VOL013\IMAGES\IMAGES001\00181476.pdf
00181484   00181486    10/24/2022 6:24 Edoc   Preferred Alternative 9.23.2022.pdf                  .\VOL013\IMAGES\IMAGES001\00181484.pdf
00181487   00181488    10/24/2022 6:24 Edoc   MLS Environmental Resources 9.23.2022.pdf            .\VOL013\IMAGES\IMAGES001\00181487.pdf
00181489   00181491    10/24/2022 6:24 Edoc   MLS Environmental About 9.23.2022.pdf                .\VOL013\IMAGES\IMAGES001\00181489.pdf
00181492   00181493    10/24/2022 6:24 Edoc   ROD 9.23.2022.pdf                                    .\VOL013\IMAGES\IMAGES001\00181492.pdf
00181494   00181498    10/24/2022 6:24 Edoc   SDEIS 9.23.2022.pdf                                  .\VOL013\IMAGES\IMAGES001\00181494.pdf
00181499   00181500    10/24/2022 6:24 Edoc   Purpose and Need 9.23.2022.pdf                       .\VOL013\IMAGES\IMAGES001\00181499.pdf
                                              Stakeholder Group Meeting Presentation ‐ 2020‐11‐
00181501   00181534   10/24/2022 11:55 Edoc   20.pdf                                               .\VOL013\IMAGES\IMAGES001\00181501.pdf
                                              Stakeholder Group Meeting Presentation ‐ 2020‐12‐
00181535   00181557   10/24/2022 11:57 Edoc   18.pdf                                               .\VOL013\IMAGES\IMAGES001\00181535.pdf
                                              495270_CABE Meeting_Workshop
00181558   00181584   10/24/2022 12:57 Edoc   Presentation_04182019.pdf                            .\VOL013\IMAGES\IMAGES001\00181558.pdf
00181585   00181609   10/24/2022 13:04 Edoc   2019731_Cabin Branch.pdf                             .\VOL013\IMAGES\IMAGES001\00181585.pdf
                                              I‐495 & I‐270 Interagency Working Group Meeting
00181610   00181610   10/24/2022 15:01 Edoc   Agenda_May 16 2018.pdf                               .\VOL013\IMAGES\IMAGES001\00181610.pdf
00181611   00181612   10/24/2022 16:14 Edoc   Common Themes from Agency Comments.docx              .\VOL013\IMAGES\IMAGES002\00181611.pdf
00181613   00181636   10/24/2022 16:14 Edoc   MLS__P&N_AgencyComments_ErrataSheet.pdf              .\VOL013\IMAGES\IMAGES002\00181613.pdf
00181637   00181637   10/24/2022 16:14 Edoc   April Public Scoping Meetings Summary.pdf            .\VOL013\IMAGES\IMAGES002\00181637.pdf
00181638   00181648   10/24/2022 20:05 Edoc   2019‐04‐01_Holy Cross Hospital.pdf                   .\VOL013\IMAGES\IMAGES002\00181638.pdf
00181649   00181659   10/24/2022 20:07 Edoc   2019‐04‐11_YMCA.pdf                                  .\VOL013\IMAGES\IMAGES002\00181649.pdf
00181660   00181670   10/24/2022 20:13 Edoc   2019‐04‐12_Mont. Co.pdf                              .\VOL013\IMAGES\IMAGES002\00181660.pdf

00181671   00181672    10/25/2022 4:41 Edoc   20190710_Updated_P3_Website_for_add_270.pdf          .\VOL013\IMAGES\IMAGES002\00181671.pdf
00181673   00181673    10/25/2022 4:43 Edoc   3‐ Virtual hearing registration.pdf                  .\VOL013\IMAGES\IMAGES002\00181673.pdf
00181674   00181674    10/25/2022 4:43 Edoc   4‐ Voluntary demographic survey.pdf                  .\VOL013\IMAGES\IMAGES002\00181674.pdf
00181675   00181675    10/25/2022 4:44 Edoc   5‐ Upcoming Events page w hearing info.pdf           .\VOL013\IMAGES\IMAGES002\00181675.pdf
00181676   00181676    10/25/2022 4:44 Edoc   1‐ New DEIS Page.pdf                                 .\VOL013\IMAGES\IMAGES002\00181676.pdf
00181677   00181677    10/25/2022 4:44 Edoc   2‐ New JPA page.pdf                                  .\VOL013\IMAGES\IMAGES002\00181677.pdf
00181678   00181678    10/25/2022 4:45 Edoc   9‐ Online Public Hearing Presentation.pdf            .\VOL013\IMAGES\IMAGES002\00181678.pdf
00181679   00181679    10/25/2022 4:46 Edoc   10‐ DEIS page w new comment deadline.pdf             .\VOL013\IMAGES\IMAGES002\00181679.pdf

00181680   00181680    10/25/2022 4:46 Edoc   10‐ Homepage slider w new comment deadline.pdf       .\VOL013\IMAGES\IMAGES002\00181680.pdf
                                              10‐ Provide Feedback page w new comment
00181681   00181681    10/25/2022 4:46 Edoc   deadline.pdf                                         .\VOL013\IMAGES\IMAGES002\00181681.pdf

00181682   00181682    10/25/2022 4:46 Edoc   6‐ Provide Feedback page w DEIS comment info.pdf     .\VOL013\IMAGES\IMAGES002\00181682.pdf
00181683   00181683    10/25/2022 4:46 Edoc   7‐ Alternatives page.pdf                             .\VOL013\IMAGES\IMAGES002\00181683.pdf
00181684   00181684    10/25/2022 4:48 Edoc   7‐ New Build Alternatives page.pdf                   .\VOL013\IMAGES\IMAGES002\00181684.pdf
00181685   00181685    10/25/2022 4:48 Edoc   8‐ Phase 1 Solicitation page.pdf                     .\VOL013\IMAGES\IMAGES002\00181685.pdf
                                              11‐ Past Public Outreach page w new JPA comment
00181686   00181686    10/25/2022 4:49 Edoc   deadline.pdf                                         .\VOL013\IMAGES\IMAGES002\00181686.pdf
                                              11‐ Provide Feedback page w new JPA comment
00181687   00181687    10/25/2022 4:49 Edoc   deadline.pdf                                         .\VOL013\IMAGES\IMAGES002\00181687.pdf
                                              11‐ Homepage slider w mew JPA comment
00181688   00181688    10/25/2022 4:49 Edoc   deadline.pdf                                         .\VOL013\IMAGES\IMAGES002\00181688.pdf
00181689   00181689    10/25/2022 4:49 Edoc   11‐ JPA page w new JPA comment deadline.pdf          .\VOL013\IMAGES\IMAGES002\00181689.pdf
00181690   00181690    10/25/2022 4:50 Edoc   14‐ Provide Feedback page w flyer.pdf                .\VOL013\IMAGES\IMAGES002\00181690.pdf
00181691   00181691    10/25/2022 4:51 Edoc   15‐ Virtual Hearing feedback survey.pdf              .\VOL013\IMAGES\IMAGES002\00181691.pdf
00181692   00181692    10/25/2022 4:51 Edoc   16‐ DEIS Viewing Locations.pdf                       .\VOL013\IMAGES\IMAGES002\00181692.pdf

00181693   00181693    10/25/2022 4:51 Edoc   12‐13‐ Past Public Outreach page post‐hearings.pdf   .\VOL013\IMAGES\IMAGES002\00181693.pdf
00181694   00181694    10/25/2022 4:51 Edoc   14‐ Informational DEIS Comment Flyer.pdf             .\VOL013\IMAGES\IMAGES002\00181694.pdf
00181695   00181695    10/25/2022 4:51 Edoc   19‐ Homepage slider post comment period.pdf          .\VOL013\IMAGES\IMAGES002\00181695.pdf
00181696   00181696    10/25/2022 4:52 Edoc   19‐ JPA page post comment period.pdf                 .\VOL013\IMAGES\IMAGES002\00181696.pdf
                                              19‐ Past Public Outreach page post comment
00181697   00181697    10/25/2022 4:52 Edoc   period.pdf                                           .\VOL013\IMAGES\IMAGES002\00181697.pdf
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00181698   00181698    10/25/2022 4:53 Edoc     19‐ Provide Feedback page post comment period.pdf        .\VOL013\IMAGES\IMAGES002\00181698.pdf
00181699   00181699    10/25/2022 4:53 Edoc     17‐ Newsroom Press Releases.pdf                          .\VOL013\IMAGES\IMAGES002\00181699.pdf
                                                18‐ Newsroom page ‐Comment deadline reminder
00181700   00181700    10/25/2022 4:53 Edoc     press release.pdf                                        .\VOL013\IMAGES\IMAGES002\00181700.pdf
00181701   00181701    10/25/2022 4:53 Edoc     19‐ DEIS page post comment period.pdf                    .\VOL013\IMAGES\IMAGES002\00181701.pdf

00181702   00181737    10/25/2022 8:25 Edoc     2020‐02‐06_CouncilmemberKatzPresentation .pdf            .\VOL013\IMAGES\IMAGES002\00181702.pdf

00181738   00181773    10/25/2022 8:28 Edoc     2020‐02‐06_CraigRice‐ElectedOfficialPresentation.pdf .\VOL013\IMAGES\IMAGES002\00181738.pdf

00181774   00181810    10/25/2022 8:29 Edoc     2020‐02‐20_CouncilmemberAlbornozPresentation.pdf .\VOL013\IMAGES\IMAGES002\00181774.pdf
                                                20190426_Clarksburg Chamber Outreach
00181811   00181841    10/25/2022 9:27 Edoc     Presentation.pdf                                 .\VOL013\IMAGES\IMAGES002\00181811.pdf

00181842   00181872    10/25/2022 9:28 Edoc     20190507_MGM Coalition Outreach Presentation.pdf         .\VOL013\IMAGES\IMAGES002\00181842.pdf
00181873   00181898    10/25/2022 9:29 Edoc     20190627_frederick_presentation_v3.pdf                   .\VOL013\IMAGES\IMAGES002\00181873.pdf
                                                20190618_Administrator_Pres_Montgomery County
00181899   00181909   10/25/2022 11:26 Edoc     Business Roundtable_FINAL.pdf                            .\VOL013\IMAGES\IMAGES002\00181899.pdf
00181910   00181913   10/25/2022 13:51 Edoc     2018‐07‐11_IAWG4_Sign‐In.pdf                             .\VOL013\IMAGES\IMAGES002\00181910.pdf
                                                I‐495 & I‐270 MLS_IAWG Meeting No. 4
00181914   00181946   10/25/2022 13:55 Edoc     Presentation.pdf                                         .\VOL013\IMAGES\IMAGES002\00181914.pdf

00181947   00181979   10/25/2022 16:53 Edoc     Upcounty Citizens Briefing ‐ 2020‐11‐16 ‐ Final.pdf .\VOL013\IMAGES\IMAGES002\00181947.pdf
00181980   00182002   10/25/2022 19:14 Edoc     20191010_JPalakovichCarr_v2.pdf                     .\VOL013\IMAGES\IMAGES002\00181980.pdf
00182003   00182003   10/25/2022 19:14 Attach   EmbeddedFile1.xlsx                                  .\VOL013\IMAGES\IMAGES002\00182003.pdf          .\VOL013\NATIVES\NATIVES002\00182003.XLSX
                                                FINAL PPP for Montgomery County Cabinet September
00182004   00182015   10/25/2022 19:15 Edoc     2018.pdf                                            .\VOL013\IMAGES\IMAGES002\00182004.pdf
00182016   00182031   10/25/2022 19:15 Edoc     20190711_GGCCUpdate_Presentation_v1.pdf             .\VOL013\IMAGES\IMAGES002\00182016.pdf
00182032   00182052   10/25/2022 19:16 Edoc     20190715_UCABUpdate_Presentation_v1.pdf             .\VOL013\IMAGES\IMAGES002\00182032.pdf
00182053   00182068   10/25/2022 19:16 Edoc     20190725_KumarB_presentation_v2.pdf                 .\VOL013\IMAGES\IMAGES002\00182053.pdf
00182069   00182086   10/25/2022 19:17 Edoc     20190809_Feldman_v2.pdf                             .\VOL013\IMAGES\IMAGES002\00182069.pdf

00182087   00182121   10/25/2022 19:17 Edoc     20190815_MoCoHispChamber_Presentation_v2.pdf             .\VOL013\IMAGES\IMAGES002\00182087.pdf
00182122   00182147   10/25/2022 19:17 Edoc     20190906_PG_BIA_presentation_v2.pdf                      .\VOL013\IMAGES\IMAGES002\00182122.pdf
00182148   00182166   10/25/2022 19:18 Edoc     20190910_King_v2.pdf                                     .\VOL013\IMAGES\IMAGES002\00182148.pdf
00182167   00182185   10/25/2022 19:18 Edoc     20191007_CZucker_v1.pdf                                  .\VOL013\IMAGES\IMAGES002\00182167.pdf
00182186   00182204   10/25/2022 19:19 Edoc     20191009_DFHidalgo_v1.pdf                                .\VOL013\IMAGES\IMAGES002\00182186.pdf
00182205   00182224   10/25/2022 19:22 Edoc     20191319_MMTA_presentation_v1.pdf                        .\VOL013\IMAGES\IMAGES002\00182205.pdf
00182225   00182256   10/25/2022 19:23 Edoc     20191017_MdHispChamber_Presentation_v4.pdf               .\VOL013\IMAGES\IMAGES002\00182225.pdf
00182257   00182276   10/25/2022 19:23 Edoc     20191023_CKagan_v1.pdf                                   .\VOL013\IMAGES\IMAGES002\00182257.pdf
00182277   00182306   10/25/2022 19:24 Edoc     20191031_RotaryRockville_presentation_RP.pdf             .\VOL013\IMAGES\IMAGES002\00182277.pdf
00182307   00182330   10/25/2022 19:24 Edoc     20191104_Delegate Stewart Presentation.pdf               .\VOL013\IMAGES\IMAGES002\00182307.pdf
                                                20191112_presentation_Del Queen ‐ Morgan U
00182331   00182377   10/25/2022 19:24 Edoc     Students_draft 1.pdf                                     .\VOL013\IMAGES\IMAGES002\00182331.pdf

00182378   00182409   10/25/2022 19:25 Edoc     20191114_MdBlackChamber_Presentation_v1.pdf              .\VOL013\IMAGES\IMAGES002\00182378.pdf
00182410   00182434   10/25/2022 19:25 Edoc     20191119_MocoCivicFed_Presentation_v1.pdf                .\VOL013\IMAGES\IMAGES002\00182410.pdf
00182435   00182461   10/25/2022 19:25 Edoc     20191210_SenatorKaganPresentation.pdf                    .\VOL013\IMAGES\IMAGES002\00182435.pdf

00182462   00182489   10/25/2022 19:26 Edoc     20191220_CouncilmemberFriedsonPresentation.pdf .\VOL013\IMAGES\IMAGES002\00182462.pdf
                                                AACC Stakeholder Group Meeting Presentation ‐ 2021‐
00182490   00182527   10/25/2022 19:31 Edoc     02‐12 Draft.pdf                                     .\VOL013\IMAGES\IMAGES002\00182490.pdf

00182528   00182557   10/25/2022 19:32 Edoc     Avonglen Meeting Presentation ‐ 2021‐05‐11 final.pdf .\VOL013\IMAGES\IMAGES002\00182528.pdf

00182558   00182595   10/25/2022 19:32 Edoc     Budget Comm Staff Presentation ‐ 2021‐06‐10 V1.pdf .\VOL013\IMAGES\IMAGES002\00182558.pdf
                                                Elected Officials Presentation ‐ DFH 2020‐12‐28 ‐
00182596   00182637   10/25/2022 19:32 Edoc     DRAFT.pdf                                                 .\VOL013\IMAGES\IMAGES002\00182596.pdf
                                                Elected Officials Presentation ‐ Qi 2020‐12‐29 ‐ DRAFT
00182638   00182679   10/25/2022 19:33 Edoc     2.pdf                                                     .\VOL013\IMAGES\IMAGES002\00182638.pdf
                                                Elected Officials Presentation ‐ Sen Elfreth 2021‐03‐04 ‐
00182680   00182700   10/25/2022 19:33 Edoc     FINAL.pdf                                                 .\VOL013\IMAGES\IMAGES002\00182680.pdf
                                                Elected Officials Presentation ‐ Sen Feldman 2021‐01‐
00182701   00182730   10/25/2022 19:33 Edoc     18 ‐ FINAL.pdf                                            .\VOL013\IMAGES\IMAGES002\00182701.pdf
00182731   00182740   10/25/2022 19:34 Edoc     GMU P3 Spring Forum.pdf                                   .\VOL013\IMAGES\IMAGES002\00182731.pdf
00182741   00182775   10/25/2022 19:34 Edoc     ITE Presentation.pdf                                      .\VOL013\IMAGES\IMAGES002\00182741.pdf

00182776   00182801   10/25/2022 19:34 Edoc     Lantian Meeting Presentation ‐ 2021‐02‐25 Draft.pdf      .\VOL013\IMAGES\IMAGES002\00182776.pdf

00182802   00182813   10/25/2022 19:41 Edoc     large land owner_First Baptist Church of Rockville.pdf   .\VOL013\IMAGES\IMAGES002\00182802.pdf
                                                large land owner_Montgomery County Public
00182814   00182829   10/25/2022 19:43 Edoc     Schools.pdf                                              .\VOL013\IMAGES\IMAGES002\00182814.pdf
00182830   00182845   10/25/2022 19:43 Edoc     large land owner_Montgomery Mall.pdf                     .\VOL013\IMAGES\IMAGES002\00182830.pdf
                                                Large Land Owner_Peterson Companies
00182846   00182868   10/25/2022 19:43 Edoc     Presentation.pdf                                         .\VOL013\IMAGES\IMAGES002\00182846.pdf
                                                Large Land Owner_Presentation_Duffie
00182869   00182882   10/25/2022 19:55 Edoc     Cos_05.20.19.pdf                                         .\VOL013\IMAGES\IMAGES002\00182869.pdf
                                                Large Land Owner_Rubenstein Partners
00182883   00182905   10/25/2022 20:02 Edoc     Presentation.pdf                                         .\VOL013\IMAGES\IMAGES002\00182883.pdf
00182906   00182916   10/25/2022 20:21 Edoc     MLS_EJ Advisory Group_UMD_10.20.2021.pdf                 .\VOL013\IMAGES\IMAGES002\00182906.pdf
00182917   00182951    10/26/2022 8:33 Edoc     20191109_295 Coalition.pdf                               .\VOL013\IMAGES\IMAGES002\00182917.pdf
                                                20191211_Grosvenor Mews & Grosvenor
00182952   00182975    10/26/2022 9:10 Edoc     Square_FINAL.pdf                                         .\VOL013\IMAGES\IMAGES002\00182952.pdf
00182976   00182976   10/26/2022 10:00 Edoc     Intersection Modeling Notes.docx                         .\VOL013\IMAGES\IMAGES002\00182976.pdf
00182977   00183000   10/26/2022 10:07 Edoc     20200120_Grosvenor Park Townhome Condo.pdf               .\VOL013\IMAGES\IMAGES002\00182977.pdf
00183001   00183008   10/26/2022 10:38 Edoc     IAWG_FieldTripHandout_Figures_092418.pdf                 .\VOL013\IMAGES\IMAGES002\00183001.pdf
00183009   00183024   10/26/2022 10:39 Edoc     IAWG_Field_Trip_Handout_092818.pdf                       .\VOL013\IMAGES\IMAGES002\00183009.pdf
00183025   00183032   10/26/2022 10:39 Edoc     IAWG_Field_Trip_Notes_Pages_rev2.pdf                     .\VOL013\IMAGES\IMAGES002\00183025.pdf
00183033   00183033   10/26/2022 10:39 Edoc     Cover_Agencies Tour_9.27.18.pdf                          .\VOL013\IMAGES\IMAGES002\00183033.pdf
00183034   00183037   10/26/2022 10:39 Edoc     2018‐09‐28_IAWG #5_Sign‐In.pdf                           .\VOL013\IMAGES\IMAGES002\00183034.pdf
00183038   00183041   10/26/2022 10:42 Edoc     2018‐10‐17_IAWG #6 Sign‐In Sheet.pdf                     .\VOL013\IMAGES\IMAGES002\00183038.pdf

00183042   00183069   10/26/2022 10:43 Edoc     CAM_Presentation_050819_SevenOaks_ParkHills.pdf          .\VOL013\IMAGES\IMAGES002\00183042.pdf

00183070   00183101   10/26/2022 10:44 Edoc     CAM_Presentation_052019MontgomerySquare.pdf              .\VOL013\IMAGES\IMAGES002\00183070.pdf
                                                I‐495 & I‐270 MLS_IAWG Meeting No. 7 Presentation
00183102   00183138   10/26/2022 10:46 Edoc     Mailed to IAWG.pdf                                       .\VOL013\IMAGES\IMAGES002\00183102.pdf
                                                I‐495 & I‐270 Interagency Working Group Meeting
00183139   00183139   10/26/2022 10:46 Edoc     Agenda_2019‐02‐13.docx                                   .\VOL013\IMAGES\IMAGES002\00183139.pdf
00183140   00183143   10/26/2022 10:46 Edoc     IAWG Sign‐in Sheet 021319.pdf                            .\VOL013\IMAGES\IMAGES002\00183140.pdf
00183144   00183147   10/26/2022 10:49 Edoc     IAWG No. 8 Sign‐In.pdf                                   .\VOL013\IMAGES\IMAGES002\00183144.pdf
                                                I‐495 & I‐270 Interagency Working Group Meeting
00183148   00183148   10/26/2022 10:56 Edoc     Agenda_2019‐04‐10.docx                                   .\VOL013\IMAGES\IMAGES002\00183148.pdf
00183149   00183152   10/26/2022 10:56 Edoc     IAWG No. 9 Sign‐In.pdf                                   .\VOL013\IMAGES\IMAGES002\00183149.pdf
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00183153   00183184   10/26/2022 11:00 Edoc   CAM_Presentation_052219Woodmoor‐Pinecrest.pdf .\VOL013\IMAGES\IMAGES002\00183153.pdf
                                              I‐495 & I‐270 Interagency Working Group Meeting
00183185   00183185   10/26/2022 11:02 Edoc   Agenda_2019‐05‐08.docx                           .\VOL013\IMAGES\IMAGES002\00183185.pdf
00183186   00183189   10/26/2022 11:02 Edoc   2019‐05‐08_Sign‐In.pdf                           .\VOL013\IMAGES\IMAGES002\00183186.pdf
00183190   00183220   10/26/2022 11:02 Edoc   CAM_Presentation_052319CityofGlenarden.pdf       .\VOL013\IMAGES\IMAGES002\00183190.pdf
                                              CAM_Presentation_060519_LocustHill_WithoutNotes.
00183221   00183242   10/26/2022 11:04 Edoc   pdf                                              .\VOL013\IMAGES\IMAGES002\00183221.pdf

00183243   00183267   10/26/2022 11:08 Edoc   CAM_Presentation_061319_NorthCollegePark_v3.pdf .\VOL013\IMAGES\IMAGES002\00183243.pdf
                                              I‐495 & I‐270 MLS_IAWG Meeting No. 11
00183268   00183281   10/26/2022 11:10 Edoc   Presentation.pdf                                      .\VOL013\IMAGES\IMAGES002\00183268.pdf
                                              I‐495 & I‐270 Interagency Working Group Meeting
00183282   00183282   10/26/2022 11:10 Edoc   Agenda_2019‐06‐12.docx                                .\VOL013\IMAGES\IMAGES002\00183282.pdf
00183283   00183286   10/26/2022 11:10 Edoc   2019‐06‐12_IAWG No 11_Sign‐In.pdf                     .\VOL013\IMAGES\IMAGES002\00183283.pdf
00183287   00183311   10/26/2022 11:11 Edoc   CAM_Presentation_061719_CityofGlenarden.pdf           .\VOL013\IMAGES\IMAGES002\00183287.pdf
00183312   00183338   10/26/2022 11:14 Edoc   Dem Biz Outreach Presentation_04262019.pdf            .\VOL013\IMAGES\IMAGES002\00183312.pdf
                                              Gaithersburg_CC_Community Outreach
00183339   00183367   10/26/2022 11:16 Edoc   Presentation_04152019.pdf                             .\VOL013\IMAGES\IMAGES002\00183339.pdf
                                              Luxmanor Citizans Association Meeting Presentation ‐
00183368   00183398   10/26/2022 11:21 Edoc   2021‐06‐08 Final.pdf                                  .\VOL013\IMAGES\IMAGES002\00183368.pdf
                                              I‐495 & I‐270 Interagency Working Group Meeting
00183399   00183399   10/26/2022 11:22 Edoc   Agenda_2019‐10‐16.docx                                .\VOL013\IMAGES\IMAGES002\00183399.pdf
00183400   00183429   10/26/2022 11:29 Edoc   MCCF Meeting Presentation ‐ 2021‐04‐20.pdf            .\VOL013\IMAGES\IMAGES002\00183400.pdf
                                              Maplewood Park HOA Meeting Presentation ‐ 2021‐05‐
00183430   00183456   10/26/2022 11:29 Edoc   25 Final.pdf                                          .\VOL013\IMAGES\IMAGES002\00183430.pdf
                                              I‐495 I‐270 MLS_Draft Air Quality Analysis Appraoch ‐
00183457   00183465   10/26/2022 12:34 Edoc   August2018.docx                                       .\VOL013\IMAGES\IMAGES002\00183457.pdf
                                              N Potomac Citizens Association Meeting Presentation ‐
00183466   00183495   10/26/2022 12:43 Edoc   2021‐06‐02 Final.pdf                                  .\VOL013\IMAGES\IMAGES002\00183466.pdf
00183496   00183536   10/26/2022 12:48 Edoc   NewTemplate_Town of Cheverly_03122019.pdf             .\VOL013\IMAGES\IMAGES002\00183496.pdf
                                              I‐495 I‐270 Managed Lanes Study December IAWG Key
00183537   00183545   10/26/2022 13:04 Edoc   Notes_2021‐12‐15_DRAFT.docx                           .\VOL013\IMAGES\IMAGES002\00183537.pdf

                                              Post‐Spring
00183546   00183577   10/26/2022 13:13 Edoc   Workshop_CAM_Presentation_061019_LocustHill.pdf          .\VOL013\IMAGES\IMAGES002\00183546.pdf
                                              Regency Estates Meeting Presentation ‐ 2021‐02‐24
00183578   00183602   10/26/2022 13:14 Edoc   Final.pdf                                                .\VOL013\IMAGES\IMAGES002\00183578.pdf
00183603   00183618   10/26/2022 13:15 Edoc   I‐495 I‐270 MLS ICE Methodology 7‐30‐18.docx             .\VOL013\IMAGES\IMAGES002\00183603.pdf
                                              Rock Creek Conservancy Meeting Presentation ‐ 2021‐
00183619   00183637   10/26/2022 13:16 Edoc   06‐15 V3.pdf                                             .\VOL013\IMAGES\IMAGES002\00183619.pdf
                                              Rosemont Meeting Presentation ‐ 2021‐05‐20 Final
00183638   00183666   10/26/2022 13:20 Edoc   (002).pdf                                                .\VOL013\IMAGES\IMAGES002\00183638.pdf
00183667   00183682   10/26/2022 21:43 Edoc   2019‐11‐21 ASCE Catoctoi Branch.pdf                      .\VOL013\IMAGES\IMAGES002\00183667.pdf
00183683   00183704   10/27/2022 14:47 Edoc   0GVND8~U.PDF                                             .\VOL013\IMAGES\IMAGES002\00183683.pdf
00183705   00183727   10/27/2022 15:09 Edoc   USACE IMPACT TABLES_2022.04.07.pdf                       .\VOL013\IMAGES\IMAGES002\00183705.pdf
00183728   00183768    10/28/2022 8:54 Edoc   COVID‐19 Impacts on Managed Lanes.pdf                    .\VOL013\IMAGES\IMAGES002\00183728.pdf
00183769   00183797    10/28/2022 8:54 Edoc   COVID‐19 Traffic Impacts_PDH_Red ‐ DRAFT.pdf             .\VOL013\IMAGES\IMAGES002\00183769.pdf
00183798   00183803    10/28/2022 8:54 Edoc   Covid_Travel_Monitoring_Report_August_2.pdf              .\VOL013\IMAGES\IMAGES002\00183798.pdf

00183804   00183804    10/28/2022 8:59 Edoc   01_Vehicle Occupancy Application_IS 270 2013_C.pdf .\VOL013\IMAGES\IMAGES002\00183804.pdf

00183805   00183823   10/30/2022 14:30 Edoc   Large Land Owner_Presentation_LockheedMartin.pdf .\VOL013\IMAGES\IMAGES002\00183805.pdf
                                              large land owner_Whitley Park Condominium
00183824   00183839   10/30/2022 17:47 Edoc   Association.pdf                                  .\VOL013\IMAGES\IMAGES002\00183824.pdf

00183840   00183851   10/30/2022 17:50 Edoc   Large Land Owner_TSC Flowers LTD Liability Co.pdf        .\VOL013\IMAGES\IMAGES002\00183840.pdf
00183852   00183890   10/30/2022 19:17 Edoc   2020‐01‐02_Roadshow Presentation.pdf                     .\VOL013\IMAGES\IMAGES002\00183852.pdf
00183891   00183892    10/31/2022 7:43 Edoc   Fw_ EO‐ Permitting Milestone Table.pdf                   .\VOL013\IMAGES\IMAGES002\00183891.pdf
                                              I‐495 & I‐270 MLS; December 12th IAWG Meeting‐
00183893   00183894    10/31/2022 7:43 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES002\00183893.pdf
                                              RE_ I‐495 & I‐270 MLS Agenda for Executive
00183895   00183897    10/31/2022 7:43 Edoc   Meeting.pdf                                              .\VOL013\IMAGES\IMAGES002\00183895.pdf
                                              RE_ I‐495 & I‐270 MLS Agenda for Executive
00183898   00183899    10/31/2022 7:43 Edoc   Meeting(1).pdf                                           .\VOL013\IMAGES\IMAGES002\00183898.pdf

00183900   00183901    10/31/2022 7:44 Edoc   I‐495 & I‐270 MLS Revised Draft Alternatives Sc....pdf   .\VOL013\IMAGES\IMAGES002\00183900.pdf
00183902   00183903    10/31/2022 7:44 Edoc   I‐495 & I‐270 MLS November IAWG Agenda.pdf               .\VOL013\IMAGES\IMAGES002\00183902.pdf
00183904   00183905    10/31/2022 7:44 Edoc   Priority_ Alternatives Screening Process.pdf             .\VOL013\IMAGES\IMAGES002\00183904.pdf
00183906   00183906    10/31/2022 7:44 Edoc   Summary of Discussion.pdf                                .\VOL013\IMAGES\IMAGES002\00183906.pdf

00183907   00183908    10/31/2022 7:44 Edoc   I‐495 & I‐270 MLS October IAWG Final Key Notes.pdf       .\VOL013\IMAGES\IMAGES002\00183907.pdf
00183909   00183911    10/31/2022 7:44 Edoc   RE_ Deliverables.pdf                                     .\VOL013\IMAGES\IMAGES002\00183909.pdf
00183912   00183913    10/31/2022 7:45 Edoc   Agency Coordination Plan.pdf                             .\VOL013\IMAGES\IMAGES002\00183912.pdf
00183914   00183915    10/31/2022 7:45 Edoc   Revised DRAFT ARDS Paper .pdf                            .\VOL013\IMAGES\IMAGES002\00183914.pdf
                                              FHWA Coordination Meeting Notes from October
00183916   00183917    10/31/2022 7:45 Edoc   16th.pdf                                                 .\VOL013\IMAGES\IMAGES002\00183916.pdf
00183918   00183919    10/31/2022 7:45 Edoc   Revised ARDS Discussion Paper.pdf                        .\VOL013\IMAGES\IMAGES002\00183918.pdf

00183920   00183921    10/31/2022 7:45 Edoc   I‐495 & I‐270 October 17th IAWG Presentation.pdf         .\VOL013\IMAGES\IMAGES002\00183920.pdf
                                              RE_ I‐495 & I‐270 MLS Interagency Working
00183922   00183925    10/31/2022 7:45 Edoc   Group....pdf                                             .\VOL013\IMAGES\IMAGES002\00183922.pdf
                                              FHWA Coordination Meeting Notes October 2,
00183926   00183927    10/31/2022 7:45 Edoc   2018.pdf                                                 .\VOL013\IMAGES\IMAGES002\00183926.pdf
00183928   00183929    10/31/2022 7:45 Edoc   October 17th IAWG Meeting Presentation.pdf               .\VOL013\IMAGES\IMAGES002\00183928.pdf
                                              FHWA Coordination Meeting_October 16th
00183930   00183931    10/31/2022 7:45 Edoc   Agenda.pdf                                               .\VOL013\IMAGES\IMAGES002\00183930.pdf
                                              I‐495 & I‐270 MLS Interagency Working Group
00183932   00183934    10/31/2022 7:45 Edoc   Mee....pdf                                               .\VOL013\IMAGES\IMAGES002\00183932.pdf
00183935   00183936    10/31/2022 7:45 Edoc   IAWG DRAFT Ground Rules.pdf                              .\VOL013\IMAGES\IMAGES002\00183935.pdf

00183937   00183938    10/31/2022 7:45 Edoc   FW_ Confidential, Deliberative and Pre‐Decision....pdf .\VOL013\IMAGES\IMAGES002\00183937.pdf

00183939   00183940    10/31/2022 7:45 Edoc   Confidential, Deliberative and Pre‐Decisional_ ....pdf   .\VOL013\IMAGES\IMAGES002\00183939.pdf
                                              I‐495 & I‐270 MLS_ FHWA_MDOT SHA_M‐NCPPC
00183941   00183941    10/31/2022 7:45 Edoc   Discus....pdf                                            .\VOL013\IMAGES\IMAGES002\00183941.pdf
                                              RE_ I‐495 & I‐270 MLS Design Year Position
00183942   00183944    10/31/2022 7:46 Edoc   Paper(2).pdf                                             .\VOL013\IMAGES\IMAGES002\00183942.pdf
00183945   00183945    10/31/2022 7:46 Edoc   FHWA Coordination.pdf                                    .\VOL013\IMAGES\IMAGES002\00183945.pdf
00183946   00183947    10/31/2022 7:46 Edoc   RE_ Deliverables(1).pdf                                  .\VOL013\IMAGES\IMAGES002\00183946.pdf
00183948   00183948    10/31/2022 7:46 Edoc   CEQ Memo.pdf                                             .\VOL013\IMAGES\IMAGES002\00183948.pdf
00183949   00183950    10/31/2022 7:46 Edoc   One more discussion topic.pdf                            .\VOL013\IMAGES\IMAGES002\00183949.pdf
00183951   00183952    10/31/2022 7:46 Edoc   Section 106 Schedule.pdf                                 .\VOL013\IMAGES\IMAGES002\00183951.pdf

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00183956   00183957   10/31/2022 7:46 Edoc    I‐495 & I‐270 MLS Design Year Position Paper.pdf     .\VOL013\IMAGES\IMAGES002\00183956.pdf
                                              Priced Managed Lanes Position Paper and
00183958   00183959   10/31/2022 7:46 Edoc    Discuss....pdf                                       .\VOL013\IMAGES\IMAGES002\00183958.pdf
                                              RE: I‐495 & I‐270 Managed Lanes Study; Agency Points
00183960   00183963   10/31/2022 7:46 Email   of Contact                                           .\VOL013\IMAGES\IMAGES002\00183960.pdf

00183964   00183965   10/31/2022 7:46 Edoc    I‐495 & I‐270 Managed Lanes Study Logical Termi....pdf .\VOL013\IMAGES\IMAGES002\00183964.pdf
                                              July VDOT_MDOT SHA Coordination Meeting
00183966   00183967   10/31/2022 7:46 Edoc    Minutes.pdf                                            .\VOL013\IMAGES\IMAGES002\00183966.pdf
                                              Fw_ Prince George's Comments ‐ Managed Lanes
00183968   00183968   10/31/2022 7:47 Edoc    Study.pdf                                              .\VOL013\IMAGES\IMAGES002\00183968.pdf
                                              FW_ One Federal Decision coordination plan
00183969   00183969   10/31/2022 7:48 Edoc    mile....pdf                                            .\VOL013\IMAGES\IMAGES002\00183969.pdf
00183970   00183972   10/31/2022 7:48 Edoc    RE_ M‐NCPPC Contacts.pdf                               .\VOL013\IMAGES\IMAGES002\00183970.pdf

00183973   00183974   10/31/2022 7:48 Edoc    I‐495 I‐270 Managed Lanes Study ‐ Traffic Update.pdf     .\VOL013\IMAGES\IMAGES002\00183973.pdf
00183975   00183976   10/31/2022 7:48 Edoc    M‐NCPPC Contacts.pdf                                     .\VOL013\IMAGES\IMAGES002\00183975.pdf
00183977   00183978   10/31/2022 7:48 Edoc    Additional Questions related to EO 13807.pdf             .\VOL013\IMAGES\IMAGES002\00183977.pdf
00183979   00183980   10/31/2022 7:48 Edoc    Section 106 Schedule(1).pdf                              .\VOL013\IMAGES\IMAGES002\00183979.pdf
                                              I‐495 & I‐270 MLS IAWG Meeting No. 5‐
00183981   00183983   10/31/2022 7:48 Edoc    CANCELLED.pdf                                            .\VOL013\IMAGES\IMAGES002\00183981.pdf
00183984   00183986   10/31/2022 7:49 Edoc    RE_ Cooperating Agency Status.pdf                        .\VOL013\IMAGES\IMAGES002\00183984.pdf
00183987   00183988   10/31/2022 7:49 Edoc    I‐495 & I‐270 MLS Issue Resolution Process.pdf           .\VOL013\IMAGES\IMAGES002\00183987.pdf

00183989   00183989   10/31/2022 7:50 Edoc    FW_ MD I‐270 I‐495 Briefing draft 7‐30‐2018‐.pptx.pdf .\VOL013\IMAGES\IMAGES002\00183989.pdf
00183990   00183991   10/31/2022 7:50 Edoc    RE_ Question on One Federal Decision.pdf              .\VOL013\IMAGES\IMAGES002\00183990.pdf

00183992   00183992   10/31/2022 7:50 Edoc    RE_ I‐495 & I‐270 MLS Public Involvement Plan.pdf        .\VOL013\IMAGES\IMAGES002\00183992.pdf

00183993   00183994   10/31/2022 7:51 Edoc    FHWA Coordination Meeting Notes from July 17th.pdf .\VOL013\IMAGES\IMAGES002\00183993.pdf
00183995   00183995   10/31/2022 7:51 Edoc    I‐495 & I‐270 MLS IAWG No. 4 Meeting Notes.pdf     .\VOL013\IMAGES\IMAGES002\00183995.pdf

00183996   00184001   10/31/2022 7:51 Edoc    I‐495 I‐270 Managed Lanes Study IAWG Key Note.pdf .\VOL013\IMAGES\IMAGES002\00183996.pdf

00184002   00184034   10/31/2022 7:51 Edoc    I‐495 & I‐270 MLS_IAWG Meeting No. 4 Presentat.pdf       .\VOL013\IMAGES\IMAGES002\00184002.pdf
00184035   00184036   10/31/2022 7:51 Edoc    I‐495 & I‐270 MLS Public Involvement Plan.pdf            .\VOL013\IMAGES\IMAGES002\00184035.pdf
00184037   00184038   10/31/2022 7:51 Edoc    I‐495 & I‐270 MLS Agency Coordination Plan.pdf           .\VOL013\IMAGES\IMAGES002\00184037.pdf
00184039   00184040   10/31/2022 7:51 Edoc    RE_ July Public Workshops.pdf                            .\VOL013\IMAGES\IMAGES002\00184039.pdf
00184041   00184042   10/31/2022 7:51 Edoc    FHWA Deliverables.pdf                                    .\VOL013\IMAGES\IMAGES002\00184041.pdf
00184043   00184044   10/31/2022 7:51 Edoc    July Public Workshops.pdf                                .\VOL013\IMAGES\IMAGES002\00184043.pdf
                                              I‐495 & I‐270 Managed Lanes Study; Newsletter
00184045   00184046   10/31/2022 7:51 Edoc    a....pdf                                                 .\VOL013\IMAGES\IMAGES002\00184045.pdf
00184047   00184048   10/31/2022 7:52 Edoc    I‐270 HOV Conversion Request.pdf                         .\VOL013\IMAGES\IMAGES002\00184047.pdf
00184049   00184050   10/31/2022 7:52 Edoc    RE_ SHA's Position Paper ‐ HOV and ETL.pdf               .\VOL013\IMAGES\IMAGES002\00184049.pdf

00184051   00184053   10/31/2022 7:52 Edoc    RE_ I‐495 & I‐270 MLS; Public Involvement Plan.pdf       .\VOL013\IMAGES\IMAGES002\00184051.pdf
00184054   00184055   10/31/2022 7:52 Edoc    Revised Scoping Report.pdf                               .\VOL013\IMAGES\IMAGES002\00184054.pdf

00184056   00184057   10/31/2022 7:52 Edoc    I‐495_I‐270 Existing Traffic Files + 2040 Volum....pdf   .\VOL013\IMAGES\IMAGES002\00184056.pdf
00184058   00184059   10/31/2022 7:52 Edoc    I‐495 & I‐270 MLS; Public Involvement Plan.pdf           .\VOL013\IMAGES\IMAGES002\00184058.pdf
                                              I‐495 & I‐270 Managed Lanes Study; Conceptual
00184060   00184061   10/31/2022 7:52 Edoc    D...(1).pdf                                              .\VOL013\IMAGES\IMAGES002\00184060.pdf
                                              I‐495_I‐270 Managed Lanes Study FHWA_MDOT SHA
00184062   00184063   10/31/2022 7:52 Edoc    C....pdf                                                 .\VOL013\IMAGES\IMAGES002\00184062.pdf
00184064   00184068   10/31/2022 7:52 Edoc    Re_ Purpose and Need.pdf                                 .\VOL013\IMAGES\IMAGES002\00184064.pdf
00184069   00184072   10/31/2022 7:52 Edoc    Re_ Purpose and Need(1).pdf                              .\VOL013\IMAGES\IMAGES002\00184069.pdf
00184073   00184075   10/31/2022 7:52 Edoc    RE_ Purpose and Need.pdf                                 .\VOL013\IMAGES\IMAGES002\00184073.pdf
00184076   00184077   10/31/2022 7:53 Edoc    Purpose and Need.pdf                                     .\VOL013\IMAGES\IMAGES002\00184076.pdf
00184078   00184079   10/31/2022 7:53 Edoc    I‐495 & I‐270 MLS Logical Termini Discussion.pdf         .\VOL013\IMAGES\IMAGES002\00184078.pdf
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00184080   00184081   10/31/2022 7:53 Edoc    W....pdf                                                 .\VOL013\IMAGES\IMAGES002\00184080.pdf
00184082   00184113   10/31/2022 7:53 Edoc    AT2b MLS_Initiation Ltr Attachments.pdf                  .\VOL013\IMAGES\IMAGES002\00184082.pdf
00184114   00184114   10/31/2022 7:53 Edoc    Scoping Report.pdf                                       .\VOL013\IMAGES\IMAGES002\00184114.pdf

00184115   00184116   10/31/2022 7:53 Edoc    I‐495 & I‐270 MLS Air Quality Analysis Protocol.pdf      .\VOL013\IMAGES\IMAGES002\00184115.pdf
00184117   00184118   10/31/2022 7:53 Edoc    Scoping Comments.pdf                                     .\VOL013\IMAGES\IMAGES002\00184117.pdf

00184119   00184119   10/31/2022 7:53 Edoc    Re_ I‐495 & I‐270 Traffic Modeling Meeting No. 4.pdf     .\VOL013\IMAGES\IMAGES002\00184119.pdf

00184120   00184120   10/31/2022 7:53 Edoc    I‐495 & I‐270 MLS ‐ Track Changes Version of P&N.pdf     .\VOL013\IMAGES\IMAGES002\00184120.pdf
00184121   00184122   10/31/2022 7:54 Edoc    I‐495 & I‐270 MLS FHWA Coordination Mtg.pdf              .\VOL013\IMAGES\IMAGES002\00184121.pdf
                                              I‐495 & I‐270 Managed Lanes Study; Purpose and
00184123   00184124   10/31/2022 7:54 Edoc    ...(1).pdf                                               .\VOL013\IMAGES\IMAGES002\00184123.pdf
00184125   00184125   10/31/2022 7:55 Edoc    I‐495_I‐270 MLS P&N.pdf                                  .\VOL013\IMAGES\IMAGES002\00184125.pdf
                                              I‐495 & I‐270 Managed Lanes Study; Purpose and
00184126   00184127   10/31/2022 7:55 Edoc    ...(2).pdf                                               .\VOL013\IMAGES\IMAGES002\00184126.pdf

00184128   00184129   10/31/2022 7:55 Edoc    Re_ I‐495 & I‐270 Traffic Modeling Meeting No. 3.pdf     .\VOL013\IMAGES\IMAGES002\00184128.pdf
00184130   00184131   10/31/2022 7:55 Edoc    NEPA Schedule(1).pdf                                     .\VOL013\IMAGES\IMAGES002\00184130.pdf

00184132   00184133   10/31/2022 7:55 Edoc    Materials for I‐495 & I‐270 Managed Lanes Study....pdf .\VOL013\IMAGES\IMAGES002\00184132.pdf
                                              FHWA Action Required_ I‐495 & I‐270 MLS_
00184134   00184135   10/31/2022 7:55 Edoc    Purpos....pdf                                          .\VOL013\IMAGES\IMAGES002\00184134.pdf

00184136   00184137   10/31/2022 7:55 Edoc    Requested Information_ eNEPA and Tribe Info.pdf          .\VOL013\IMAGES\IMAGES002\00184136.pdf
00184138   00184138   10/31/2022 7:55 Edoc    Initial List of Consulting Parties_106.xlsx              .\VOL013\IMAGES\IMAGES002\00184138.pdf    .\VOL013\NATIVES\NATIVES002\00184138.xlsx
00184139   00184139   10/31/2022 7:55 Edoc    Cooperating and participating agencies.pdf               .\VOL013\IMAGES\IMAGES002\00184139.pdf

00184140   00184141   10/31/2022 7:55 Edoc    I‐495 and I‐270 Draft Purpose and Need Summary.pdf .\VOL013\IMAGES\IMAGES002\00184140.pdf

00184142   00184143   10/31/2022 7:56 Edoc    RE_ I‐495 & I‐270 P3 Project ‐ Meeting to Discu....pdf   .\VOL013\IMAGES\IMAGES002\00184142.pdf

00184144   00184145   10/31/2022 7:56 Edoc    Cooperating and Participating Agency Letters.pdf         .\VOL013\IMAGES\IMAGES002\00184144.pdf

00184146   00184147   10/31/2022 7:56 Edoc    I‐495 & I‐270 MLS‐ 1st Interagency Working Grou....pdf .\VOL013\IMAGES\IMAGES002\00184146.pdf
                                              I‐495 and I‐270 Managed Lanes Study_
00184148   00184149   10/31/2022 7:56 Edoc    Forecastin....pdf                                      .\VOL013\IMAGES\IMAGES002\00184148.pdf
00184150   00184151   10/31/2022 7:56 Edoc    FINAL I‐495 & I‐270 MLS Notice of Intent.pdf           .\VOL013\IMAGES\IMAGES002\00184150.pdf
00184152   00184154   10/31/2022 8:51 Edoc    Confidential.pdf                                       .\VOL013\IMAGES\IMAGES002\00184152.pdf
                                              RE_ FSHA_FHWA Coordination meeting minutes_ I‐
00184155   00184156   10/31/2022 8:51 Edoc    4....pdf                                               .\VOL013\IMAGES\IMAGES002\00184155.pdf

00184157   00184158   10/31/2022 8:51 Edoc    2019‐06‐04_FHWA Coordination Meeting_Notes.docx .\VOL013\IMAGES\IMAGES002\00184157.pdf

00184159   00184160   10/31/2022 8:51 Edoc    2019‐03‐05_FHWA Coordination Meeting_Notes.docx .\VOL013\IMAGES\IMAGES002\00184159.pdf
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00184161   00184162   10/31/2022 8:51 Edoc   2019‐04‐02_FHWA Coordination Meeting_Notes.docx .\VOL013\IMAGES\IMAGES002\00184161.pdf

00184163   00184165   10/31/2022 8:51 Edoc   2019‐04‐16_FHWA Coordination Meeting_Notes.docx .\VOL013\IMAGES\IMAGES002\00184163.pdf
                                             RE_ I‐495 & I‐270 MLS ARDS Concurrence Form ‐
00184166   00184168   10/31/2022 8:51 Edoc   s....pdf                                        .\VOL013\IMAGES\IMAGES002\00184166.pdf

00184169   00184170   10/31/2022 8:51 Edoc   FHWA Concurrence Supporting Documentation.pdf            .\VOL013\IMAGES\IMAGES002\00184169.pdf

00184171   00184181   10/31/2022 8:51 Edoc   I‐495 & I‐270 MLS Public Workshop_EJ_Stakehold.pdf .\VOL013\IMAGES\IMAGES002\00184171.pdf

00184182   00184183   10/31/2022 8:51 Edoc   I‐495 & I‐270 MLS Agency Engagement on ARDS.pdf          .\VOL013\IMAGES\IMAGES002\00184182.pdf
00184184   00184184   10/31/2022 8:51 Edoc   20190607_MDOT_495‐270_phasing_updated.pdf                .\VOL013\IMAGES\IMAGES002\00184184.pdf

00184185   00184186   10/31/2022 8:51 Edoc   I‐495 & I‐270 Public Comment Export ‐ Through J....pdf .\VOL013\IMAGES\IMAGES002\00184185.pdf

00184187   00184188   10/31/2022 8:51 Edoc   Confidential, Pre‐Decisional and Deliberative_ ....pdf .\VOL013\IMAGES\IMAGES002\00184187.pdf
                                             I‐495 & I‐270 Public Comment Export ‐ Through
00184189   00184190   10/31/2022 8:51 Edoc   M....pdf                                               .\VOL013\IMAGES\IMAGES002\00184189.pdf
                                             FW_ M‐NCPPC_ ARDS Nonconcurrence (Need Meeting
00184191   00184193   10/31/2022 8:52 Edoc   ....pdf                                                .\VOL013\IMAGES\IMAGES002\00184191.pdf

00184194   00184195   10/31/2022 8:52 Edoc   Confidential Pre‐Decisional and Deliberative(2).pdf      .\VOL013\IMAGES\IMAGES002\00184194.pdf
00184196   00184197   10/31/2022 8:52 Edoc   I‐495 & I‐270 MLS Revised ARDS Paper.pdf                 .\VOL013\IMAGES\IMAGES002\00184196.pdf
00184198   00184200   10/31/2022 8:52 Edoc   Re_ FHWA Major Project Delivery Process.pdf              .\VOL013\IMAGES\IMAGES002\00184198.pdf
00184201   00184202   10/31/2022 8:52 Edoc   Public Comment Submittal No. 1.pdf                       .\VOL013\IMAGES\IMAGES002\00184201.pdf
00184203   00184204   10/31/2022 8:52 Edoc   Revised ARDS Paper.pdf                                   .\VOL013\IMAGES\IMAGES002\00184203.pdf
                                             FW_ I495_270 Managed Lanes Information
00184205   00184207   10/31/2022 8:52 Edoc   Presenta....pdf                                          .\VOL013\IMAGES\IMAGES002\00184205.pdf

00184208   00184209   10/31/2022 8:53 Edoc   I‐495 & I‐270 MLS IAWG Meeting 10 Presentation.pdf       .\VOL013\IMAGES\IMAGES002\00184208.pdf

00184210   00184212   10/31/2022 8:53 Edoc   RE_ I‐495 & I‐270 MLS IAWG Meeting Agenda,.pdf           .\VOL013\IMAGES\IMAGES002\00184210.pdf
00184213   00184214   10/31/2022 8:53 Edoc   MNCPPC.pdf                                               .\VOL013\IMAGES\IMAGES002\00184213.pdf
00184215   00184216   10/31/2022 8:53 Edoc   Re_ FHWA Major Project Delivery Process(1).pdf           .\VOL013\IMAGES\IMAGES002\00184215.pdf
                                             CONFIDENTIAL, PRE‐DECISIONAL AND DELIBERATIVE_
00184217   00184218   10/31/2022 8:53 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES002\00184217.pdf
00184219   00184220   10/31/2022 8:53 Edoc   Revised ARDS Paper and Errata .pdf                       .\VOL013\IMAGES\IMAGES002\00184219.pdf

00184221   00184222   10/31/2022 8:53 Edoc   I‐485 & I‐270 MLS; Screened Alternatives Paper ....pdf .\VOL013\IMAGES\IMAGES002\00184221.pdf

00184223   00184223   10/31/2022 8:53 Edoc   Confidential, Pre‐Decisional and Deliberative(1).pdf     .\VOL013\IMAGES\IMAGES002\00184223.pdf
                                             2019‐03‐13_MLS_Screened Alternatives_Agency
00184224   00184262   10/31/2022 8:53 Edoc   C.docx                                                   .\VOL013\IMAGES\IMAGES002\00184224.pdf

00184263   00184263   10/31/2022 8:53 Edoc   FW_ Pre‐Decisional and Deliberative_ Division C....pdf .\VOL013\IMAGES\IMAGES002\00184263.pdf
00184264   00184265   10/31/2022 8:53 Edoc   RE_ Public and EJ Outreach Summary.pdf                 .\VOL013\IMAGES\IMAGES002\00184264.pdf
00184266   00184267   10/31/2022 8:53 Edoc   RE_ ARDS Paper.pdf                                     .\VOL013\IMAGES\IMAGES002\00184266.pdf

00184268   00184268   10/31/2022 8:53 Edoc   Confidential, Pre‐Decisional and Deliberative_ ...(1).pdf .\VOL013\IMAGES\IMAGES002\00184268.pdf

00184269   00184269   10/31/2022 8:54 Edoc   I‐495 & I‐270 MLS Screened Alternatives Paper ‐....pdf .\VOL013\IMAGES\IMAGES002\00184269.pdf
00184270   00184270   10/31/2022 8:54 Edoc   I‐495 & I‐270 MLS IAWG Meeting Agenda.pdf              .\VOL013\IMAGES\IMAGES002\00184270.pdf

00184271   00184271   10/31/2022 8:54 Edoc   I‐495 & I‐270 Interagency Working Group Meetin.pdf       .\VOL013\IMAGES\IMAGES002\00184271.pdf
00184272   00184272   10/31/2022 8:54 Edoc   FHWA Coordination Meeting.pdf                            .\VOL013\IMAGES\IMAGES002\00184272.pdf

00184273   00184278   10/31/2022 8:54 Edoc   I‐495 I‐270 Managed Lanes Study IAWG Key Note.pdf .\VOL013\IMAGES\IMAGES002\00184273.pdf
00184279   00184279   10/31/2022 8:54 Edoc   FHWA Meeting Notes_ February 5th.pdf              .\VOL013\IMAGES\IMAGES002\00184279.pdf

00184280   00184283   10/31/2022 8:54 Edoc   2018‐02‐05 FHWA Coordination Meeting_Notes.docx          .\VOL013\IMAGES\IMAGES002\00184280.pdf

00184284   00184284   10/31/2022 8:54 Edoc   Pre‐Decisional and Deliberative_ I‐495 & I‐270 ....pdf   .\VOL013\IMAGES\IMAGES002\00184284.pdf

00184285   00184330   10/31/2022 8:54 Edoc   2019‐02‐13_495 & 270 MLS_Draft Screened Alter.docx .\VOL013\IMAGES\IMAGES002\00184285.pdf
                                             FHWA_MDOT SHA 495 & 270 Coordination
00184331   00184332   10/31/2022 8:54 Edoc   Meeting.pdf                                        .\VOL013\IMAGES\IMAGES002\00184331.pdf
00184333   00184335   10/31/2022 8:54 Edoc   RE_ EIS Outline.pdf                                .\VOL013\IMAGES\IMAGES002\00184333.pdf
00184336   00184337   10/31/2022 8:54 Edoc   NEPA Schedule.pdf                                  .\VOL013\IMAGES\IMAGES002\00184336.pdf
00184338   00184340   10/31/2022 8:54 Edoc   I‐495 & I‐270 MLS_ IAWG Update.pdf                 .\VOL013\IMAGES\IMAGES002\00184338.pdf
00184341   00184342   10/31/2022 8:54 Edoc   Proposed Bill Update.pdf                           .\VOL013\IMAGES\IMAGES002\00184341.pdf
                                             FHWA_MDOT SHA Coordination Mtg Notes and
00184343   00184344   10/31/2022 8:55 Edoc   Respon....pdf                                      .\VOL013\IMAGES\IMAGES002\00184343.pdf

00184345   00184345   10/31/2022 8:55 Edoc   One Federal Decision_ Request for Review of Dra....pdf .\VOL013\IMAGES\IMAGES002\00184345.pdf
                                             2020‐02‐28_Cooperating Agency DEIS Comments
00184346   00184348   10/31/2022 9:26 Edoc   Working Session_sign‐in.pdf                            .\VOL013\IMAGES\IMAGES002\00184346.pdf
                                             RE_ DEIS Review Schedule and Mandatory
00184349   00184351   10/31/2022 9:34 Edoc   Referral....pdf                                        .\VOL013\IMAGES\IMAGES002\00184349.pdf
                                             DEIS Review Schedule and Mandatory Referral
00184352   00184353   10/31/2022 9:34 Edoc   Pro....pdf                                             .\VOL013\IMAGES\IMAGES002\00184352.pdf
00184354   00184356   10/31/2022 9:34 Edoc   RE_ Draft MNCPPC Email.pdf                             .\VOL013\IMAGES\IMAGES002\00184354.pdf
                                             2040 vs 2045 Traffic Model Comparison Memo and
00184357   00184358   10/31/2022 9:34 Edoc   ....pdf                                                .\VOL013\IMAGES\IMAGES002\00184357.pdf
00184359   00184360   10/31/2022 9:35 Edoc   RE_ Legal Sufficiency and Prior Concurrence.pdf        .\VOL013\IMAGES\IMAGES002\00184359.pdf

00184361   00184362   10/31/2022 9:35 Edoc   Alternative 9 Modified‐ Discussion Document.pdf          .\VOL013\IMAGES\IMAGES002\00184361.pdf
00184363   00184364   10/31/2022 9:35 Edoc   Toll Text‐ DEIS Outline.pdf                              .\VOL013\IMAGES\IMAGES002\00184363.pdf
00184365   00184367   10/31/2022 9:36 Edoc   RE_ Updated RPA.pdf                                      .\VOL013\IMAGES\IMAGES002\00184365.pdf

00184368   00184388   10/31/2022 9:36 Edoc   2019‐11‐25_495 270_ PA Discussion Document F.docx .\VOL013\IMAGES\IMAGES002\00184368.pdf
00184389   00184390   10/31/2022 9:36 Edoc   Alternative 9 Modified Discussion Document.pdf    .\VOL013\IMAGES\IMAGES002\00184389.pdf
00184391   00184392   10/31/2022 9:36 Edoc   RE_ Updated RPA(1).pdf                            .\VOL013\IMAGES\IMAGES002\00184391.pdf
                                             2019‐11‐25_495 270_ PA Discussion
00184393   00184413   10/31/2022 9:36 Edoc   Document_R.docx                                   .\VOL013\IMAGES\IMAGES002\00184393.pdf
00184414   00184415   10/31/2022 9:36 Edoc   RE_ Updated RPA(2).pdf                            .\VOL013\IMAGES\IMAGES002\00184414.pdf
00184416   00184417   10/31/2022 9:36 Edoc   Updated RPA.pdf                                   .\VOL013\IMAGES\IMAGES002\00184416.pdf
00184418   00184419   10/31/2022 9:36 Edoc   M‐NCPPC Coordination.pdf                          .\VOL013\IMAGES\IMAGES002\00184418.pdf
00184420   00184421   10/31/2022 9:36 Edoc   Response to NCPC Questions.pdf                    .\VOL013\IMAGES\IMAGES002\00184420.pdf
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00184422   00184423   10/31/2022 9:36 Edoc   Pref....pdf                                       .\VOL013\IMAGES\IMAGES002\00184422.pdf
00184424   00184425   10/31/2022 9:36 Edoc   USACE ARDS Discussion.pdf                         .\VOL013\IMAGES\IMAGES002\00184424.pdf
00184426   00184427   10/31/2022 9:36 Edoc   I‐495 & I‐270 MLS_ LOD Sheets.pdf                 .\VOL013\IMAGES\IMAGES002\00184426.pdf
00184428   00184429   10/31/2022 9:36 Edoc   OFD Coordination Meeting‐ Follow up.pdf           .\VOL013\IMAGES\IMAGES002\00184428.pdf
00184430   00184431   10/31/2022 9:36 Edoc   OFD Coordination Meeting (#2).pdf                 .\VOL013\IMAGES\IMAGES002\00184430.pdf
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00184432   00184433    10/31/2022 9:36 Edoc   RE_ Wednesday's OFD Meeting.pdf                          .\VOL013\IMAGES\IMAGES002\00184432.pdf
00184434   00184435    10/31/2022 9:37 Edoc   RE_ Wednesday's OFD Meeting(1).pdf                       .\VOL013\IMAGES\IMAGES002\00184434.pdf
00184436   00184436    10/31/2022 9:37 Edoc   MNCPPC Notes.pdf                                         .\VOL013\IMAGES\IMAGES002\00184436.pdf
00184437   00184438    10/31/2022 9:37 Edoc   ARDS Re‐Concurrence.pdf                                  .\VOL013\IMAGES\IMAGES002\00184437.pdf
                                              RE_ Review Requested_ I‐495 & I‐270 MLS
00184439   00184440    10/31/2022 9:37 Edoc   Revised....pdf                                           .\VOL013\IMAGES\IMAGES002\00184439.pdf
                                              Re_ Review Requested_ I‐495 & I‐270 MLS
00184441   00184442    10/31/2022 9:37 Edoc   Revised....pdf                                           .\VOL013\IMAGES\IMAGES002\00184441.pdf
00184443   00184444    10/31/2022 9:37 Edoc   RE_ contacts.pdf                                         .\VOL013\IMAGES\IMAGES002\00184443.pdf

00184445   00184446    10/31/2022 9:37 Edoc   I‐495 & I‐270 MLS_ MD 200 Diversion Alternative....pdf .\VOL013\IMAGES\IMAGES002\00184445.pdf
                                              FW_ MD 200 Diversion Alternative Memo for
00184447   00184450    10/31/2022 9:37 Edoc   Review.pdf                                             .\VOL013\IMAGES\IMAGES002\00184447.pdf
                                              RE_ MD 200 Diversion Alternative Memo for
00184451   00184453    10/31/2022 9:37 Edoc   Review(3).pdf                                          .\VOL013\IMAGES\IMAGES002\00184451.pdf

00184454   00184455    10/31/2022 9:37 Edoc   REVISED MD 200 Diversion Alternative Memo.pdf            .\VOL013\IMAGES\IMAGES002\00184454.pdf
                                              RE_ Review Requested_ I‐495 & I‐270 MLS
00184456   00184458    10/31/2022 9:37 Edoc   Revised...(2).pdf                                        .\VOL013\IMAGES\IMAGES002\00184456.pdf
                                              Review Requested_ I‐495 & I‐270 MLS Revised
00184459   00184460    10/31/2022 9:37 Edoc   ARD....pdf                                               .\VOL013\IMAGES\IMAGES002\00184459.pdf
00184461   00184462    10/31/2022 9:37 Edoc   Revised Signing Plan for GWMP.pdf                        .\VOL013\IMAGES\IMAGES002\00184461.pdf
                                              RE_ MD 200 Diversion Alternative Memo for
00184463   00184464    10/31/2022 9:38 Edoc   Review(5).pdf                                            .\VOL013\IMAGES\IMAGES002\00184463.pdf
00184465   00184466    10/31/2022 9:38 Edoc   I‐495 & I‐270 MLS IAWG Meeting‐ AGENDA.pdf               .\VOL013\IMAGES\IMAGES002\00184465.pdf

00184467   00184470    10/31/2022 9:38 Edoc   Re_ Review Requested_ FINAL Revised ARDS Paper.pdf .\VOL013\IMAGES\IMAGES002\00184467.pdf
                                              FW_ Review Requested_ FINAL Revised ARDS
00184471   00184473    10/31/2022 9:38 Edoc   Paper.pdf                                          .\VOL013\IMAGES\IMAGES002\00184471.pdf

00184474   00184475    10/31/2022 9:38 Edoc   MD 200 Diversion Alternative Memo for Review.pdf         .\VOL013\IMAGES\IMAGES002\00184474.pdf
00184476   00184477    10/31/2022 9:38 Edoc   MLS FHWA Coordination Mtg Handouts.pdf                   .\VOL013\IMAGES\IMAGES002\00184476.pdf
                                              RE_ DRAFT AND PRE‐DECISIONAL ‐ Noise Technical
00184478   00184480    10/31/2022 9:38 Edoc   ...(1).pdf                                               .\VOL013\IMAGES\IMAGES002\00184478.pdf

00184481   00184483    10/31/2022 9:38 Edoc   Review Requested_ FINAL Revised ARDS Paper.pdf           .\VOL013\IMAGES\IMAGES002\00184481.pdf
00184484   00184485    10/31/2022 9:38 Edoc   MD 200 Diversion Alternative Results.pdf                 .\VOL013\IMAGES\IMAGES002\00184484.pdf
                                              RE_ DRAFT AND PRE‐DECISIONAL ‐ Air Quality
00184486   00184488    10/31/2022 9:40 Edoc   Tech....pdf                                              .\VOL013\IMAGES\IMAGES002\00184486.pdf
00184489   00184490    10/31/2022 9:40 Edoc   NCPC Mtg.pdf                                             .\VOL013\IMAGES\IMAGES002\00184489.pdf
                                              I‐495 & I‐270 Managed Lanes Study ‐ Conference
00184491   00184492    10/31/2022 9:40 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES002\00184491.pdf

00184493   00184495    10/31/2022 9:41 Edoc   FW_ MD 200 Diversion Alternative Conference Call.pdf .\VOL013\IMAGES\IMAGES002\00184493.pdf

00184496   00184497    10/31/2022 9:41 Edoc   MD 200 Diversion Alternative Conference Call.pdf         .\VOL013\IMAGES\IMAGES002\00184496.pdf
                                              Re_ [EXTERNAL] Draft No Adverse Effect
00184498   00184499   10/31/2022 12:19 Edoc   Language....pdf                                          .\VOL013\IMAGES\IMAGES002\00184498.pdf

00184500   00184501   10/31/2022 12:20 Edoc   Draft No Adverse Effect Language for Suitland P....pdf   .\VOL013\IMAGES\IMAGES002\00184500.pdf
00184502   00184503   10/31/2022 12:21 Edoc   MLS DEIS.pdf                                             .\VOL013\IMAGES\IMAGES002\00184502.pdf
00184504   00184504   10/31/2022 12:21 Edoc   Moses Hall, Carsondale.pdf                               .\VOL013\IMAGES\IMAGES002\00184504.pdf
00184505   00184505   10/31/2022 12:22 Edoc   Response to comments on final DEIS.pdf                   .\VOL013\IMAGES\IMAGES002\00184505.pdf
00184506   00184507   10/31/2022 12:22 Edoc   Carsondale Historic District.pdf                         .\VOL013\IMAGES\IMAGES002\00184506.pdf
00184508   00184508   10/31/2022 12:23 Edoc   Public Hearing and USACE.pdf                             .\VOL013\IMAGES\IMAGES002\00184508.pdf
                                              Moses Hall Cemetery Discussion_MLS Section 106
00184509   00184510   10/31/2022 12:23 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES002\00184509.pdf
                                              RE_ MLS ‐ DEIS Public Hearing Materials ‐ FHWA
00184511   00184512   10/31/2022 12:23 Edoc   ...(3).pdf                                               .\VOL013\IMAGES\IMAGES002\00184511.pdf
                                              MLS ‐ DEIS Public Hearing Materials ‐ FHWA
00184513   00184513   10/31/2022 12:23 Edoc   Review.pdf                                               .\VOL013\IMAGES\IMAGES002\00184513.pdf
00184514   00184515   10/31/2022 12:23 Edoc   MLS DEIS NOA ‐ Contingency Plan.pdf                      .\VOL013\IMAGES\IMAGES002\00184514.pdf
                                              Re_ [EXTERNAL] Re_ FHWA_NPS_MDOT SHA MLS
00184516   00184517   10/31/2022 12:23 Edoc   meeting.pdf                                              .\VOL013\IMAGES\IMAGES002\00184516.pdf
00184518   00184519   10/31/2022 12:24 Edoc   RE_ Revised EJ Analysis Tech Report.pdf                  .\VOL013\IMAGES\IMAGES002\00184518.pdf
00184520   00184521   10/31/2022 12:24 Edoc   RE_ Toll Rate Text in DEIS.pdf                           .\VOL013\IMAGES\IMAGES002\00184520.pdf

00184522   00184522   10/31/2022 12:25 Edoc   I‐495 & I‐270 MLS FHWA Errata with Responses.pdf         .\VOL013\IMAGES\IMAGES002\00184522.pdf
00184523   00184524   10/31/2022 12:25 Edoc   Toll Rate Text in DEIS.pdf                               .\VOL013\IMAGES\IMAGES002\00184523.pdf
00184525   00184527   10/31/2022 12:25 Edoc   RE_ MLS DEIS ‐ Chapter 9 Distribution List.pdf           .\VOL013\IMAGES\IMAGES002\00184525.pdf
00184528   00184528   10/31/2022 12:25 Edoc   Revised EJ Analysis Tech Report.pdf                      .\VOL013\IMAGES\IMAGES002\00184528.pdf
00184529   00184530   10/31/2022 12:25 Edoc   FHWA_NPS_MDOT SHA MLS meeting.pdf                        .\VOL013\IMAGES\IMAGES002\00184529.pdf
00184531   00184531   10/31/2022 12:25 Edoc   Re_ FHWA_NPS_MDOT SHA MLS meeting.pdf                    .\VOL013\IMAGES\IMAGES002\00184531.pdf
00184532   00184532   10/31/2022 12:26 Edoc   NPS Errata from DEIS Admin Draft #1.pdf                  .\VOL013\IMAGES\IMAGES002\00184532.pdf
00184533   00184534   10/31/2022 12:26 Edoc   RE_ Revised Section 4(f) Mapping.pdf                     .\VOL013\IMAGES\IMAGES002\00184533.pdf
00184535   00184535   10/31/2022 12:26 Edoc   Revised Section 4(f) Mapping.pdf                         .\VOL013\IMAGES\IMAGES002\00184535.pdf
00184536   00184536   10/31/2022 12:26 Edoc   I‐495 MLS DEIS and FEIS activities list.pdf              .\VOL013\IMAGES\IMAGES002\00184536.pdf
00184537   00184537   10/31/2022 12:26 Edoc   RE_ MLS FHWA comment on ICE DEIS Section.pdf             .\VOL013\IMAGES\IMAGES002\00184537.pdf
00184538   00184538   10/31/2022 12:26 Edoc   I‐495 MLS DEIS and FEIS activities list(1).pdf           .\VOL013\IMAGES\IMAGES002\00184538.pdf
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                                              RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
00184540   00184543   10/31/2022 12:26 Edoc   Requ....pdf                                              .\VOL013\IMAGES\IMAGES002\00184540.pdf
00184544   00184544   10/31/2022 12:26 Edoc   Clarification on Toll Comments.pdf                       .\VOL013\IMAGES\IMAGES002\00184544.pdf
00184545   00184545   10/31/2022 12:26 Edoc   RE_ I‐495 MLS Cultural Resources comments.pdf            .\VOL013\IMAGES\IMAGES002\00184545.pdf
00184546   00184546   10/31/2022 12:26 Edoc   RE_ Thank you(2).pdf                                     .\VOL013\IMAGES\IMAGES002\00184546.pdf
00184547   00184547   10/31/2022 12:28 Edoc   I‐495 MLS Natural Resources Comments.pdf                 .\VOL013\IMAGES\IMAGES002\00184547.pdf
00184548   00184548   10/31/2022 12:28 Edoc   I‐495 MLS Cultural Resources comments.pdf                .\VOL013\IMAGES\IMAGES002\00184548.pdf

00184549   00184549   10/31/2022 12:28 Edoc   I‐495 MLS Noise Tech Report ‐ final comments.pdf         .\VOL013\IMAGES\IMAGES002\00184549.pdf
                                              Re_ [EXTERNAL] I‐495 & I‐270 Managed Lanes
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                                              FW_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00184552   00184554   10/31/2022 12:28 Edoc   Admi....pdf                                              .\VOL013\IMAGES\IMAGES002\00184552.pdf
00184555   00184555   10/31/2022 12:28 Edoc   FW_ I‐495 MLS Noise Tech Report comments.pdf             .\VOL013\IMAGES\IMAGES002\00184555.pdf

00184556   00184556   10/31/2022 12:28 Edoc   RE_ I‐495 MLS AQ Tech Report ‐ final comments(1).pdf .\VOL013\IMAGES\IMAGES002\00184556.pdf
00184557   00184557   10/31/2022 12:28 Edoc   I‐495 MLS ICE Tech Report ‐ final comments.pdf       .\VOL013\IMAGES\IMAGES002\00184557.pdf
00184558   00184559   10/31/2022 12:28 Edoc   Draft Contingency Plan.pdf                           .\VOL013\IMAGES\IMAGES002\00184558.pdf
                                              RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
00184560   00184566   10/31/2022 12:28 Edoc   Requ...(4).pdf                                       .\VOL013\IMAGES\IMAGES002\00184560.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS DEIS
00184567   00184568   10/31/2022 12:28 Edoc   Admi...(3).pdf                                       .\VOL013\IMAGES\IMAGES002\00184567.pdf
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00184570   00184575   10/31/2022 12:29 Edoc   RE_ Thursday and Friday.pdf                              .\VOL013\IMAGES\IMAGES002\00184570.pdf
00184576   00184577   10/31/2022 12:29 Edoc   RE_ NPS Language for DEIS .pdf                           .\VOL013\IMAGES\IMAGES002\00184576.pdf

00184578   00184579   10/31/2022 12:29 Edoc   RE_ MLS ‐ Administrative Draft No. 2 Documents ....pdf .\VOL013\IMAGES\IMAGES002\00184578.pdf

00184580   00184580   10/31/2022 12:29 Edoc   RE_ Disposition of FHWA and Agencies' Comments.pdf .\VOL013\IMAGES\IMAGES002\00184580.pdf
00184581   00184582   10/31/2022 12:29 Edoc   FW_ National Historic Landmarks.pdf                .\VOL013\IMAGES\IMAGES002\00184581.pdf
                                              RE_ MLS ‐ Administrative Draft No. 2 Documents
00184583   00184585   10/31/2022 12:29 Edoc   ...(1).pdf                                         .\VOL013\IMAGES\IMAGES002\00184583.pdf
                                              Cooperating Agency Admin Draft DEIS Working
00184586   00184587   10/31/2022 12:29 Edoc   Ses....pdf                                         .\VOL013\IMAGES\IMAGES002\00184586.pdf

00184588   00184589   10/31/2022 12:29 Edoc   RE_ NCPC DEIS Administrative Draft Comments.pdf          .\VOL013\IMAGES\IMAGES002\00184588.pdf

00184590   00184591   10/31/2022 12:29 Edoc   FW_ NCPC DEIS Administrative Draft Comments.pdf          .\VOL013\IMAGES\IMAGES002\00184590.pdf

00184592   00184593   10/31/2022 12:29 Edoc   RE_ NCPC DEIS Administrative Draft Comments(1).pdf .\VOL013\IMAGES\IMAGES002\00184592.pdf
                                              I‐495 & I‐270 Managed Lanes Study ‐
00184594   00184595   10/31/2022 12:29 Edoc   Compensator....pdf                                 .\VOL013\IMAGES\IMAGES002\00184594.pdf

00184596   00184598   10/31/2022 12:29 Edoc   FW_ I‐495 & I‐270 MLS DRAFT Hearing Brochure.pdf         .\VOL013\IMAGES\IMAGES002\00184596.pdf

00184599   00184601   10/31/2022 12:29 Edoc   FW_ Example Projects in NEPA with toll rates(1).pdf      .\VOL013\IMAGES\IMAGES002\00184599.pdf
00184602   00184602   10/31/2022 12:29 Edoc   NPS lands.pdf                                            .\VOL013\IMAGES\IMAGES002\00184602.pdf
00184603   00184604   10/31/2022 12:29 Edoc   Cooperating Agency DEIS Working Session.pdf              .\VOL013\IMAGES\IMAGES002\00184603.pdf
00184605   00184605   10/31/2022 12:29 Edoc   NCPC DEIS Administrative Draft Comments.pdf              .\VOL013\IMAGES\IMAGES002\00184605.pdf
00184606   00184606   10/31/2022 12:29 Edoc   FW_ NPS agreements policy DO_20.pdf                      .\VOL013\IMAGES\IMAGES002\00184606.pdf
00184607   00184609   10/31/2022 12:29 Edoc   RE_ Mitigation.pdf                                       .\VOL013\IMAGES\IMAGES002\00184607.pdf
00184610   00184611   10/31/2022 12:29 Edoc   RE_ Mitigation(1).pdf                                    .\VOL013\IMAGES\IMAGES002\00184610.pdf
00184612   00184612   10/31/2022 12:30 Edoc   Mitigation.pdf                                           .\VOL013\IMAGES\IMAGES002\00184612.pdf
00184613   00184614   10/31/2022 12:30 Edoc   RE_ call number and meeting(2).pdf                       .\VOL013\IMAGES\IMAGES002\00184613.pdf
00184615   00184615   10/31/2022 12:30 Edoc   Example Projects in NEPA with toll rates.pdf             .\VOL013\IMAGES\IMAGES002\00184615.pdf
00184616   00184616   10/31/2022 12:30 Edoc   GWMP‐ CLI.pdf                                            .\VOL013\IMAGES\IMAGES002\00184616.pdf
00184617   00184619   10/31/2022 12:30 Edoc   I‐495 & I‐270 MLS‐ February Agency Update.pdf            .\VOL013\IMAGES\IMAGES002\00184617.pdf

00184620   00184621   10/31/2022 12:30 Edoc   FW_ I‐495 & I‐270 MLS DRAFT Hearing Brochure(1).pdf .\VOL013\IMAGES\IMAGES002\00184620.pdf
00184622   00184623   10/31/2022 12:30 Edoc   I‐495 & I‐270 MLS DRAFT Hearing Brochure.pdf        .\VOL013\IMAGES\IMAGES002\00184622.pdf
00184624   00184626   10/31/2022 12:30 Edoc   RE_ Critical Path Item.pdf                          .\VOL013\IMAGES\IMAGES002\00184624.pdf

00184627   00184628   10/31/2022 12:30 Edoc   Agenda for Monday's DEIS Working Session#2.pdf           .\VOL013\IMAGES\IMAGES002\00184627.pdf

00184629   00184630   10/31/2022 12:30 Edoc   FW_ I‐495 & I‐270 MLS ‐ NPS Coordination (ROW).pdf       .\VOL013\IMAGES\IMAGES002\00184629.pdf
                                              FW_ DEIS Comment Errata Table ‐ Prince
00184631   00184631   10/31/2022 12:30 Edoc   George's....pdf                                          .\VOL013\IMAGES\IMAGES002\00184631.pdf
                                              FW_ NPS ‐ Clara Barton Parkway at C&O Canal
00184632   00184633   10/31/2022 12:30 Edoc   Nat....pdf                                               .\VOL013\IMAGES\IMAGES002\00184632.pdf
                                              I‐495_I‐270 FHWA Coordination_ MLS Notes
00184634   00184635   10/31/2022 12:30 Edoc   (Febru....pdf                                            .\VOL013\IMAGES\IMAGES002\00184634.pdf
00184636   00184638   10/31/2022 12:30 Edoc   RE_ Alternative 9M(2).pdf                                .\VOL013\IMAGES\IMAGES002\00184636.pdf
00184639   00184640   10/31/2022 12:30 Edoc   FW_ Alternative 9M.pdf                                   .\VOL013\IMAGES\IMAGES002\00184639.pdf
00184641   00184642   10/31/2022 12:30 Edoc   RE_ Critical Path Item(1).pdf                            .\VOL013\IMAGES\IMAGES002\00184641.pdf
00184643   00184643   10/31/2022 12:30 Edoc   Alternative 9M.pdf                                       .\VOL013\IMAGES\IMAGES002\00184643.pdf
                                              MLS ‐ Tech Reports Agency Comments
00184644   00184645   10/31/2022 12:30 Edoc   (Administrat....pdf                                      .\VOL013\IMAGES\IMAGES002\00184644.pdf

00184646   00184647   10/31/2022 12:30 Edoc   FW_ MLS ‐ Agency Comments on Admin Draft DEIS.pdf .\VOL013\IMAGES\IMAGES002\00184646.pdf

00184648   00184649   10/31/2022 12:31 Edoc   RE_ MLS ‐ Agency Comments on Admin Draft DEIS.pdf        .\VOL013\IMAGES\IMAGES002\00184648.pdf
                                              FW_ MLS ‐ Agency Comments on Admin Draft
00184650   00184650   10/31/2022 12:31 Edoc   DEIS(1).pdf                                              .\VOL013\IMAGES\IMAGES002\00184650.pdf
                                              RE_ MLS ‐ Agency Comments on Admin Draft
00184651   00184651   10/31/2022 12:31 Edoc   DEIS(1).pdf                                              .\VOL013\IMAGES\IMAGES002\00184651.pdf
00184652   00184652   10/31/2022 12:31 Edoc   discussion items for 11 am meeting.pdf                   .\VOL013\IMAGES\IMAGES002\00184652.pdf
00184653   00184654   10/31/2022 12:31 Edoc   Fw_ Alt 9M Metrics ‐ Top Side Only.pdf                   .\VOL013\IMAGES\IMAGES002\00184653.pdf
00184655   00184656   10/31/2022 12:31 Edoc   RE_ Alt 9M.pdf                                           .\VOL013\IMAGES\IMAGES002\00184655.pdf
                                              MDOT SHA Response to National Planning
00184657   00184658   10/31/2022 12:31 Edoc   Commission.pdf                                           .\VOL013\IMAGES\IMAGES002\00184657.pdf
00184659   00184660   10/31/2022 12:31 Edoc   BPW Agenda ‐ Approved.pdf                                .\VOL013\IMAGES\IMAGES002\00184659.pdf
                                              RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00184661   00184666   10/31/2022 12:31 Edoc   27....pdf                                                .\VOL013\IMAGES\IMAGES002\00184661.pdf
                                              RE_ Response letter to NCPC Regarding December
00184667   00184668   10/31/2022 12:31 Edoc   ...(1).pdf                                               .\VOL013\IMAGES\IMAGES002\00184667.pdf
                                              RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00184669   00184673   10/31/2022 12:31 Edoc   27...(1).pdf                                             .\VOL013\IMAGES\IMAGES002\00184669.pdf
                                              RE_ Response letter to NCPC Regarding December
00184674   00184675   10/31/2022 12:31 Edoc   ...(2).pdf                                               .\VOL013\IMAGES\IMAGES002\00184674.pdf
                                              FW_ Response letter to NCPC Regarding December
00184676   00184677   10/31/2022 12:31 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES002\00184676.pdf
                                              RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00184678   00184682   10/31/2022 12:31 Edoc   27...(2).pdf                                             .\VOL013\IMAGES\IMAGES002\00184678.pdf
                                              Response letter to NCPC Regarding December
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00184684   00184685   10/31/2022 12:31 Edoc   RE_ Sierra Club Letter.pdf                               .\VOL013\IMAGES\IMAGES002\00184684.pdf
                                              RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00184686   00184691   10/31/2022 12:31 Edoc   27...(3).pdf                                             .\VOL013\IMAGES\IMAGES002\00184686.pdf
                                              FW_ REVIEW REQUESTED_ I‐495 & I‐270 MLS ‐‐
00184692   00184696   10/31/2022 12:31 Edoc   Toll....pdf                                              .\VOL013\IMAGES\IMAGES002\00184692.pdf
00184697   00184698   10/31/2022 12:31 Edoc   Sierra Club Letter.pdf                                   .\VOL013\IMAGES\IMAGES002\00184697.pdf

00184699   00184701   10/31/2022 12:31 Edoc   RE_ Proposed Public Hearing Schedule_Format.pdf          .\VOL013\IMAGES\IMAGES002\00184699.pdf

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00184703   00184704   10/31/2022 12:31 Edoc   Confidential and Pre‐Decisional_ I‐495 & I‐270 ....pdf   .\VOL013\IMAGES\IMAGES002\00184703.pdf
00184705   00184705   10/31/2022 12:31 Edoc   RE_ DEIS to Brian.pdf                                    .\VOL013\IMAGES\IMAGES002\00184705.pdf
                                              I‐495_I‐270 FHWA Coordination (Jan 7)_ MLS Notes
00184706   00184707   10/31/2022 12:31 Edoc   .pdf                                                     .\VOL013\IMAGES\IMAGES002\00184706.pdf
                                              RE_ 2040 vs 2045 Traffic Model Comparison Memo
00184708   00184710   10/31/2022 12:31 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES002\00184708.pdf
                                              FW_ I‐495 & I‐270 MLS_ MDOT SHA Response to
00184711   00184712   10/31/2022 12:31 Edoc   Nov....pdf                                               .\VOL013\IMAGES\IMAGES002\00184711.pdf
                                              I‐495 & I‐270 MLS_ MDOT SHA Response to
00184713   00184714   10/31/2022 12:31 Edoc   Novembe....pdf                                           .\VOL013\IMAGES\IMAGES002\00184713.pdf
00184715   00184716   10/31/2022 12:31 Edoc   Revised Permitting Timetable.pdf                         .\VOL013\IMAGES\IMAGES002\00184715.pdf
00184717   00184719   10/31/2022 12:31 Edoc   RE_ Draft ARDS Response Letter to MNCPPC.pdf             .\VOL013\IMAGES\IMAGES002\00184717.pdf
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00184720   00184721   10/31/2022 12:31 Edoc    Revised....pdf                                           .\VOL013\IMAGES\IMAGES002\00184720.pdf

00184722   00184723   10/31/2022 12:31 Edoc    RE_ Draft ARDS Response Letter to MNCPPC(1).pdf          .\VOL013\IMAGES\IMAGES002\00184722.pdf
                                               FW_ 2040 vs 2045 Traffic Model Comparison Memo
00184724   00184727   10/31/2022 12:31 Edoc    ....pdf                                                  .\VOL013\IMAGES\IMAGES002\00184724.pdf
                                               FW_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00184728   00184731   10/31/2022 12:32 Edoc    27....pdf                                                .\VOL013\IMAGES\IMAGES002\00184728.pdf
00184732   00184733   10/31/2022 12:32 Edoc    Draft ARDS Response Letter to MNCPPC.pdf                 .\VOL013\IMAGES\IMAGES002\00184732.pdf
                                               PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐270
00184734   00184736   10/31/2022 12:32 Edoc    ML...(1).pdf                                             .\VOL013\IMAGES\IMAGES002\00184734.pdf
                                               RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS ‐‐
00184737   00184740   10/31/2022 12:32 Edoc    Toll...(1).pdf                                           .\VOL013\IMAGES\IMAGES002\00184737.pdf
00184741   00184742   10/31/2022 12:32 Edoc    I‐495 & I‐270 MLS .pdf                                   .\VOL013\IMAGES\IMAGES002\00184741.pdf

00184743   00184744   10/31/2022 12:32 Edoc    RE_ Draft ARDS Response to Cooperating Agencies.pdf .\VOL013\IMAGES\IMAGES002\00184743.pdf
00184745   00184747   10/31/2022 12:32 Edoc    RE_ Response to NCPC Questions.pdf                  .\VOL013\IMAGES\IMAGES002\00184745.pdf
00184748   00184749   10/31/2022 12:32 Edoc    I‐495 & I‐270 Managed Lanes Study .pdf              .\VOL013\IMAGES\IMAGES002\00184748.pdf

00184750   00184751   10/31/2022 12:32 Edoc    Draft ARDS Response to Cooperating Agencies.pdf          .\VOL013\IMAGES\IMAGES002\00184750.pdf
00184752   00184753   10/31/2022 12:32 Edoc    Detailed Schedule.pdf                                    .\VOL013\IMAGES\IMAGES002\00184752.pdf
                                               REVIEW REQUESTED_ I‐495 & I‐270 MLS ‐‐ Toll
00184754   00184756   10/31/2022 12:32 Edoc    Tex....pdf                                               .\VOL013\IMAGES\IMAGES002\00184754.pdf
00184757   00184759   10/31/2022 12:32 Edoc    FW_ I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS.pdf          .\VOL013\IMAGES\IMAGES002\00184757.pdf
00184760   00184760   10/31/2022 12:32 Edoc    MLS Schedule.pdf                                         .\VOL013\IMAGES\IMAGES002\00184760.pdf
00184761   00184763   10/31/2022 12:32 Edoc    FW_ Response to NCPC Questions.pdf                       .\VOL013\IMAGES\IMAGES002\00184761.pdf
00184764   00184765   10/31/2022 12:32 Edoc    I‐495 & I‐270 MLS ‐‐ Toll Text for DEIS.pdf              .\VOL013\IMAGES\IMAGES002\00184764.pdf
                                               RE_ Threatened & Endangered Bat Species report
00184766   00184769   10/31/2022 13:42 Edoc    ....pdf                                                  .\VOL013\IMAGES\IMAGES002\00184766.pdf
00184770   00184772   10/31/2022 13:42 Edoc    Re_ Follow Up Items.pdf                                  .\VOL013\IMAGES\IMAGES002\00184770.pdf
                                               2020.12.14 MLS NPS DEIS Comments
00184773   00184780   10/31/2022 13:42 Edoc    Discussion_Me.pdf                                        .\VOL013\IMAGES\IMAGES002\00184773.pdf
                                               RE_ I‐495 & I‐270 MLS_ Agency Leadership
00184781   00184783   10/31/2022 13:42 Edoc    Ladder....pdf                                            .\VOL013\IMAGES\IMAGES002\00184781.pdf
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00184784   00184785   10/31/2022 13:43 Edoc    (12.....pdf                                              .\VOL013\IMAGES\IMAGES002\00184784.pdf
00184786   00184787   10/31/2022 13:43 Edoc    FW_ Recommended Preferred Alternative.pdf                .\VOL013\IMAGES\IMAGES002\00184786.pdf
00184788   00184790   10/31/2022 13:43 Edoc    RE_ Plummer's Island.pdf                                 .\VOL013\IMAGES\IMAGES002\00184788.pdf
00184791   00184792   10/31/2022 13:43 Edoc    Potential ROD Commitment Approach.pdf                    .\VOL013\IMAGES\IMAGES002\00184791.pdf
                                               I495 & I270 MLS_NPS DEIS Comments Pre‐Meeting
00184793   00184793   10/31/2022 13:43 Edoc    .pdf                                                     .\VOL013\IMAGES\IMAGES002\00184793.pdf
00184794   00184795   10/31/2022 13:43 Edoc    Recommended Preferred Alternative.pdf                    .\VOL013\IMAGES\IMAGES002\00184794.pdf

00184796   00184797   10/31/2022 13:44 Edoc    I‐495 & I‐270 Managed Lanes Study ‐ RTE Plan Su....pdf .\VOL013\IMAGES\IMAGES002\00184796.pdf
                                               2020‐05‐28_MLS NPS BW Parkway Coordination
00184798   00184800   10/31/2022 13:44 Edoc    Dra.pdf                                                .\VOL013\IMAGES\IMAGES002\00184798.pdf

00184801   00184801   10/31/2022 13:44 Edoc    FW_ FHWA MLS Meeting Agenda‐ December 3.pdf              .\VOL013\IMAGES\IMAGES002\00184801.pdf
                                               Re: U.S. Navy Strongly Opposed To Capital Beltway
00184802   00184806   10/31/2022 13:44 Email   Widening Project                                         .\VOL013\IMAGES\IMAGES002\00184802.pdf
00184807   00184808   10/31/2022 13:44 Edoc    MLS Summary of DEIS Comments.pdf                         .\VOL013\IMAGES\IMAGES002\00184807.pdf

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00184811   00184812   10/31/2022 13:44 Edoc    RPA Schedule.pdf                                         .\VOL013\IMAGES\IMAGES002\00184811.pdf
00184813   00184814   10/31/2022 13:44 Edoc    EPA meeting.pdf                                          .\VOL013\IMAGES\IMAGES002\00184813.pdf
00184815   00184818   10/31/2022 13:44 Edoc    RE_ MLS DEIS Comment Status.pdf                          .\VOL013\IMAGES\IMAGES002\00184815.pdf
00184819   00184821   10/31/2022 13:44 Edoc    RE_ MLS DEIS Comment Status(1).pdf                       .\VOL013\IMAGES\IMAGES002\00184819.pdf

00184822   00184826   10/31/2022 13:44 Edoc    Re_ U.S. Navy Strongly Opposed To Capital Beltw....pdf .\VOL013\IMAGES\IMAGES002\00184822.pdf
00184827   00184828   10/31/2022 13:44 Edoc    I‐495 & I‐270 MLS‐ Monday Meeting.pdf                  .\VOL013\IMAGES\IMAGES002\00184827.pdf
00184829   00184830   10/31/2022 13:44 Edoc    Follow Up Items.pdf                                    .\VOL013\IMAGES\IMAGES002\00184829.pdf

00184831   00184835   10/31/2022 13:44 Edoc    Threatened & Endangered Bat Species report for ....pdf .\VOL013\IMAGES\IMAGES002\00184831.pdf
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00184836   00184837   10/31/2022 13:44 Edoc    (11.....pdf                                            .\VOL013\IMAGES\IMAGES002\00184836.pdf
00184838   00184839   10/31/2022 13:45 Edoc    MLS DEIS Comment Status.pdf                            .\VOL013\IMAGES\IMAGES002\00184838.pdf
                                               FW_ Moses Cemetery ‐ Letter from District 16
00184840   00184841   10/31/2022 13:45 Edoc    MD....pdf                                              .\VOL013\IMAGES\IMAGES002\00184840.pdf
                                               FW_ I‐495 & I‐270 Managed Lanes Study Draft
00184842   00184843   10/31/2022 13:45 Edoc    Env....pdf                                             .\VOL013\IMAGES\IMAGES002\00184842.pdf
00184844   00184844   10/31/2022 13:45 Edoc    FW_ I‐495 & I‐270 MLS ‐ NMFS HCD response.pdf          .\VOL013\IMAGES\IMAGES002\00184844.pdf

00184845   00184845   10/31/2022 13:45 Edoc    I‐495 & I‐270 MLS ‐ Permitting Discussion Follo....pdf   .\VOL013\IMAGES\IMAGES002\00184845.pdf
                                               Re_ I‐495 & I‐270 MLS ‐ Culvert Augmentation
00184846   00184846   10/31/2022 13:45 Edoc    Ha....pdf                                                .\VOL013\IMAGES\IMAGES002\00184846.pdf
                                               I‐495 & I‐270 MLS_ Culvert Augmentation
00184847   00184848   10/31/2022 13:46 Edoc    Analysi....pdf                                           .\VOL013\IMAGES\IMAGES002\00184847.pdf
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00184855   00184858   10/31/2022 13:46 Edoc    RE_ NPS Property Boundary and Rights.pdf           .\VOL013\IMAGES\IMAGES002\00184855.pdf

00184859   00184860   10/31/2022 13:46 Edoc    MLS ‐ Acoustic Bat Survey Report (FHWA Review).pdf       .\VOL013\IMAGES\IMAGES002\00184859.pdf

00184861   00184863   10/31/2022 13:46 Edoc    I‐495 & I‐270 MLS Proposed Visual Renderings [....pdf .\VOL013\IMAGES\IMAGES003\00184861.pdf
00184864   00184866   10/31/2022 13:46 Edoc    RE_ MLS Hearing & Testimony Stats.pdf                 .\VOL013\IMAGES\IMAGES003\00184864.pdf
00184867   00184867   10/31/2022 13:46 Edoc    MLS Hearing & Testimony Stats.pdf                     .\VOL013\IMAGES\IMAGES003\00184867.pdf

00184868   00184869   10/31/2022 13:46 Edoc    FW_ I‐495 & I‐270 MLS Title VI Analysis Methodo....pdf .\VOL013\IMAGES\IMAGES003\00184868.pdf
                                               REVIEW REQUESTED_ COVID‐19 Travel Forecasting
00184870   00184871   10/31/2022 13:47 Edoc    A....pdf                                               .\VOL013\IMAGES\IMAGES003\00184870.pdf
00184872   00184874   10/31/2022 13:47 Edoc    FW_ NPS Property Boundary and Rights.pdf               .\VOL013\IMAGES\IMAGES003\00184872.pdf
00184875   00184876   10/31/2022 13:47 Edoc    COVID‐19 Travel Forecasting Approach.pdf               .\VOL013\IMAGES\IMAGES003\00184875.pdf
00184877   00184878   10/31/2022 13:47 Edoc    NCPC Agreement 1939.pdf                                .\VOL013\IMAGES\IMAGES003\00184877.pdf
00184879   00184880   10/31/2022 13:47 Edoc    FW_ I‐495_270 Managed Lanes.pdf                        .\VOL013\IMAGES\IMAGES003\00184879.pdf

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00184883   00184884   10/31/2022 13:47 Edoc    I‐495 & I‐270 MLS Title VI Analysis Methodology.pdf      .\VOL013\IMAGES\IMAGES003\00184883.pdf
00184885   00184886   10/31/2022 13:47 Edoc    Public Hearing Transcript.pdf                            .\VOL013\IMAGES\IMAGES003\00184885.pdf
00184887   00184915   10/31/2022 13:47 Edoc    AddllVMTestimony_wOriginals_102320.pdf                   .\VOL013\IMAGES\IMAGES003\00184887.pdf
00184916   00184917   10/31/2022 13:47 Edoc    Culvert Augmentation and Permitting.pdf                  .\VOL013\IMAGES\IMAGES003\00184916.pdf
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00184918   00184920   10/31/2022 13:47 Edoc    2020.10.08 Culvert Permitting Meeting with FHW.pdf       .\VOL013\IMAGES\IMAGES003\00184918.pdf
00184921   00184922   10/31/2022 13:47 Edoc    Culvert Augmentation.pdf                                 .\VOL013\IMAGES\IMAGES003\00184921.pdf
                                               FW_ Friends of Moses Hall Comments_ DEIS ‐
00184923   00184925   10/31/2022 13:47 Edoc    Draf....pdf                                              .\VOL013\IMAGES\IMAGES003\00184923.pdf

00184926   00184931   10/31/2022 13:47 Edoc    Friends Moses Hall DEIS Letter 10.16.20 FINAL.pdf        .\VOL013\IMAGES\IMAGES003\00184926.pdf
                                               FW_ [External] M‐NCPPC Letter RE Managed Lanes
00184932   00184932   10/31/2022 13:47 Edoc    ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00184932.pdf
00184933   00184934   10/31/2022 13:47 Edoc    MLS_ Proposed Visual Renderings.pdf                      .\VOL013\IMAGES\IMAGES003\00184933.pdf
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00184935   00184937   10/31/2022 13:48 Edoc    IAWG....pdf                                              .\VOL013\IMAGES\IMAGES003\00184935.pdf

00184938   00184940   10/31/2022 13:48 Edoc    RE_ Clarification on I‐495_I‐270 managed lanes ....pdf   .\VOL013\IMAGES\IMAGES003\00184938.pdf
00184941   00184942   10/31/2022 13:48 Edoc    RPA.pdf                                                  .\VOL013\IMAGES\IMAGES003\00184941.pdf
00184943   00184945   10/31/2022 13:48 Edoc    RE_ Issue Resolution Process.pdf                         .\VOL013\IMAGES\IMAGES003\00184943.pdf

00184946   00184947   10/31/2022 13:49 Edoc    Approaches to Responding to DEIS Comments.pdf            .\VOL013\IMAGES\IMAGES003\00184946.pdf
                                               FHWA Meeting_DEIS Response to Comments_10‐05‐
00184948   00184955   10/31/2022 13:49 Edoc    .docx                                                    .\VOL013\IMAGES\IMAGES003\00184948.pdf
00184956   00184957   10/31/2022 13:49 Edoc    Issue Resolution Process.pdf                             .\VOL013\IMAGES\IMAGES003\00184956.pdf
00184958   00184971   10/31/2022 13:49 Edoc    Perkins Coie Mediation Proposal.pdf                      .\VOL013\IMAGES\IMAGES003\00184958.pdf
00184972   00184973   10/31/2022 13:49 Edoc    October 8th Meeting.pdf                                  .\VOL013\IMAGES\IMAGES003\00184972.pdf

00184974   00184975   10/31/2022 13:49 Edoc    FW_ I‐495 & I‐270 MLS‐ Public Hearing Transcript.pdf     .\VOL013\IMAGES\IMAGES003\00184974.pdf
00184976   00184977   10/31/2022 13:49 Edoc    FW_ FHWA Coordination‐ MLS Action Item.pdf               .\VOL013\IMAGES\IMAGES003\00184976.pdf
                                               FHWA Mtg_09‐15‐2020_FEIS Scope Items &
00184978   00184979   10/31/2022 13:49 Edoc    Comme.docx                                               .\VOL013\IMAGES\IMAGES003\00184978.pdf
00184980   00184981   10/31/2022 13:49 Edoc    FEIS Actions list for 495 MLS DM MG.docx                 .\VOL013\IMAGES\IMAGES003\00184980.pdf
00184982   00184983   10/31/2022 13:49 Edoc    I‐495 & I‐270 MLS‐ Public Hearing Transcript.pdf         .\VOL013\IMAGES\IMAGES003\00184982.pdf
00184984   00184985   10/31/2022 13:49 Edoc    Fw_ Posting at Moses Lodge Cemetery.pdf                  .\VOL013\IMAGES\IMAGES003\00184984.pdf
00184986   00184987   10/31/2022 13:49 Edoc    NPS Property Boundary and Rights.pdf                     .\VOL013\IMAGES\IMAGES003\00184986.pdf
                                               FW_ Friends of Moses 88 CP ‐ MDOT SHA Meeting
00184988   00184989   10/31/2022 13:49 Edoc    F....pdf                                                 .\VOL013\IMAGES\IMAGES003\00184988.pdf
                                               FW_ MDOT SHA notes from 9_16_2020 Section 106
00184990   00184994   10/31/2022 13:49 Edoc    m....pdf                                                 .\VOL013\IMAGES\IMAGES003\00184990.pdf
                                               I‐495 & I‐270 FHWA Coordination_ MLS Notes
00184995   00184996   10/31/2022 13:49 Edoc    (9.1....pdf                                              .\VOL013\IMAGES\IMAGES003\00184995.pdf
                                               2020‐09‐15_FHWA Coordination Meeting
00184997   00184998   10/31/2022 13:49 Edoc    Notes_ML.DOCX                                            .\VOL013\IMAGES\IMAGES003\00184997.pdf
00184999   00185000   10/31/2022 13:49 Edoc    FHWA Coordination‐ MLS Action Item.pdf                   .\VOL013\IMAGES\IMAGES003\00184999.pdf
                                               FHWA Mtg_09‐15‐2020_FEIS Scope Items &
00185001   00185002   10/31/2022 13:49 Edoc    Comme.docx                                               .\VOL013\IMAGES\IMAGES003\00185001.pdf
00185003   00185004   10/31/2022 13:49 Edoc    PIA Response.pdf                                         .\VOL013\IMAGES\IMAGES003\00185003.pdf

00185005   00185007   10/31/2022 13:49 Edoc    RE_ Friends of Moses Lodge Cemetery Meeting.pdf          .\VOL013\IMAGES\IMAGES003\00185005.pdf

00185008   00185010   10/31/2022 13:49 Edoc    RE_ Friends of Moses Lodge Cemetery Meeting(1).pdf       .\VOL013\IMAGES\IMAGES003\00185008.pdf
00185011   00185012   10/31/2022 13:49 Edoc    Friends of Moses Lodge Cemetery Meeting.pdf              .\VOL013\IMAGES\IMAGES003\00185011.pdf
                                               I‐495 & I‐270 FHWA Coordination_ MLS Notes
00185013   00185014   10/31/2022 13:49 Edoc    (8.1....pdf                                              .\VOL013\IMAGES\IMAGES003\00185013.pdf
                                               2020‐08‐19_FHWA Coordination Meeting
00185015   00185017   10/31/2022 13:49 Edoc    Notes_ML.DOCX                                            .\VOL013\IMAGES\IMAGES003\00185015.pdf
00185018   00185019   10/31/2022 13:49 Edoc    MLS_ Additional Hearing Outreach.pdf                     .\VOL013\IMAGES\IMAGES003\00185018.pdf
00185020   00185022   10/31/2022 13:49 Edoc    Additional EJ Outreach for DEIS‐090420.docx              .\VOL013\IMAGES\IMAGES003\00185020.pdf
00185023   00185023   10/31/2022 13:49 Edoc    Letter Signed.pdf                                        .\VOL013\IMAGES\IMAGES003\00185023.pdf
00185024   00185026   10/31/2022 13:49 Edoc    Letters signed..pdf                                      .\VOL013\IMAGES\IMAGES003\00185024.pdf
00185027   00185028   10/31/2022 13:49 Edoc    MLS SWM Considerations_ FHWA Discussion.pdf              .\VOL013\IMAGES\IMAGES003\00185027.pdf
00185029   00185030   10/31/2022 13:49 Edoc    Response Letter to Rock Creek Conservancy.pdf            .\VOL013\IMAGES\IMAGES003\00185029.pdf
                                               FW_ Federal Lands to Parks Program and the I‐
00185031   00185032   10/31/2022 13:50 Edoc    49....pdf                                                .\VOL013\IMAGES\IMAGES003\00185031.pdf
                                               I‐495_I‐270 FHWA Coordination Meeting_ MLS
00185033   00185034   10/31/2022 13:50 Edoc    note....pdf                                              .\VOL013\IMAGES\IMAGES003\00185033.pdf
                                               2020‐08‐04_FHWA Coordination Meeting
00185035   00185035   10/31/2022 13:50 Edoc    Notes_ML.DOCX                                            .\VOL013\IMAGES\IMAGES003\00185035.pdf
00185036   00185036   10/31/2022 13:50 Edoc    MDOT SHA Response to Fisher Request.pdf                  .\VOL013\IMAGES\IMAGES003\00185036.pdf
00185037   00185038   10/31/2022 13:50 Edoc    RE_ Draft Script.pdf                                     .\VOL013\IMAGES\IMAGES003\00185037.pdf

00185039   00185042   10/31/2022 13:50 Edoc    MLS_VirtualPublicHearing_FacilitatorScript_20.docx       .\VOL013\IMAGES\IMAGES003\00185039.pdf
00185043   00185044   10/31/2022 13:50 Edoc    I‐495 & I‐270 MLS; August IAWG Update.pdf                .\VOL013\IMAGES\IMAGES003\00185043.pdf
00185045   00185046   10/31/2022 13:50 Edoc    RE_ Draft Script(1).pdf                                  .\VOL013\IMAGES\IMAGES003\00185045.pdf

00185047   00185050   10/31/2022 13:50 Edoc    MLS_VirtualPublicHearing_FacilitatorScript_20.docx       .\VOL013\IMAGES\IMAGES003\00185047.pdf
00185051   00185052   10/31/2022 13:50 Edoc    Re_ I‐495 & I‐270 MLS‐ DEIS Comment Period.pdf           .\VOL013\IMAGES\IMAGES003\00185051.pdf
00185053   00185054   10/31/2022 13:50 Edoc    I‐495 & I‐270 MLS‐ DEIS Comment Period.pdf               .\VOL013\IMAGES\IMAGES003\00185053.pdf
00185055   00185056   10/31/2022 13:50 Edoc    DEIS Comments.pdf                                        .\VOL013\IMAGES\IMAGES003\00185055.pdf
00185057   00185058   10/31/2022 13:50 Edoc    RE_ Limited Staff at In‐Person Hearings.pdf              .\VOL013\IMAGES\IMAGES003\00185057.pdf
                                               RE_ I‐495_I‐270 FHWA Coordination Meeting_ MLS
00185059   00185060   10/31/2022 13:50 Edoc    ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00185059.pdf
                                               I‐495_I‐270 FHWA Coordination Meeting_ MLS
00185061   00185062   10/31/2022 13:51 Edoc    note...(2).pdf                                           .\VOL013\IMAGES\IMAGES003\00185061.pdf

00185063   00185063   10/31/2022 13:51 Edoc    FW_ Agenda for MLS Internal Meeting, July 15.pdf         .\VOL013\IMAGES\IMAGES003\00185063.pdf
00185064   00185064   10/31/2022 13:51 Edoc    NEPA Schedule_07‐2020.pdf                                .\VOL013\IMAGES\IMAGES003\00185064.pdf
00185065   00185065   10/31/2022 13:51 Edoc    Agenda for MLS Internal Meeting, July 15.pdf             .\VOL013\IMAGES\IMAGES003\00185065.pdf
00185066   00185066   10/31/2022 13:51 Edoc    NEPA Schedule_07‐2020.pdf                                .\VOL013\IMAGES\IMAGES003\00185066.pdf

00185067   00185069   10/31/2022 13:54 Edoc    I‐495 & I‐270 Managed Lanes Study‐ Draft Enviro....pdf .\VOL013\IMAGES\IMAGES003\00185067.pdf
                                               I‐495 & I‐270 Managed Lanes Study‐ Draft
00185070   00185072   10/31/2022 13:54 Edoc    Enviro...(1).pdf                                       .\VOL013\IMAGES\IMAGES003\00185070.pdf
                                               FW_ Letter from Congressman Raskin re_ I‐495_I‐
00185073   00185073   10/31/2022 13:54 Edoc    ....pdf                                                .\VOL013\IMAGES\IMAGES003\00185073.pdf
                                               I‐495_I‐270 FHWA Coordination Meeting_ MLS
00185074   00185075   10/31/2022 13:54 Edoc    note...(3).pdf                                         .\VOL013\IMAGES\IMAGES003\00185074.pdf
                                               2020‐06‐16_FHWA Coordination Meeting
00185076   00185076   10/31/2022 13:54 Edoc    Notes_ML.DOCX                                          .\VOL013\IMAGES\IMAGES003\00185076.pdf
00185077   00185089   10/31/2022 13:58 Edoc    large land owner_8400 Westphalia Rd LLC.pdf            .\VOL013\IMAGES\IMAGES003\00185077.pdf
00185090   00185091   10/31/2022 17:44 Edoc    Appendix A ‐ SWM Summary.pdf                           .\VOL013\IMAGES\IMAGES003\00185090.pdf
                                               I‐495 I‐270 MLS_ DNR RTE Meeting_Notes_2018‐09‐
00185092   00185092   10/31/2022 21:14 Edoc    14.pdf                                                 .\VOL013\IMAGES\IMAGES003\00185092.pdf
00185093   00185093     11/1/2022 7:35 Edoc    RE_ Coordination Plan.pdf                              .\VOL013\IMAGES\IMAGES003\00185093.pdf
00185094   00185098     11/1/2022 7:35 Edoc    Fw_ [EXTERNAL] 1985 Plats.pdf                          .\VOL013\IMAGES\IMAGES003\00185094.pdf

00185099   00185099     11/1/2022 7:36 Edoc    FHWA MLS Internal 6 30 2021 Meeting Agenda.pdf           .\VOL013\IMAGES\IMAGES003\00185099.pdf
00185100   00185102     11/1/2022 7:36 Email   FW: [EXTERNAL] 1985 Plats                                .\VOL013\IMAGES\IMAGES003\00185100.pdf
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00185103   00185104   11/1/2022 7:36 Email    Fw: Clara Barton                                         .\VOL013\IMAGES\IMAGES003\00185103.pdf

00185105   00185108   11/1/2022 7:36 Attach   I‐495 Clara Barton Interchange Construction Plan.pdf     .\VOL013\IMAGES\IMAGES003\00185105.pdf
                                              RE: I‐495 & I‐270 MLS: Request for Concurrence on
00185109   00185110   11/1/2022 7:36 Email    RPA                                                      .\VOL013\IMAGES\IMAGES003\00185109.pdf

                                              Fwd: I‐495/I‐270 Managed Lanes Study – Request for
                                              Concurrence with Selection of Alternative 9: Phase I
00185111   00185111   11/1/2022 7:36 Email    South as the New Recommended Preferred Alternative .\VOL013\IMAGES\IMAGES003\00185111.pdf

                                              Fwd: I‐495/I‐270 Managed Lanes Study – Request for
                                              Concurrence with Selection of Alternative 9: Phase I
00185112   00185112   11/1/2022 7:36 Email    South as the New Recommended Preferred Alternative .\VOL013\IMAGES\IMAGES003\00185112.pdf
                                              RE_ [EXTERNAL] I‐495 & I‐270 MLS_ Request for
00185113   00185117   11/1/2022 7:36 Edoc     C....pdf                                             .\VOL013\IMAGES\IMAGES003\00185113.pdf
                                              RE_ [EXTERNAL] I‐495 & I‐270 MLS_ Request for
00185118   00185122   11/1/2022 7:36 Edoc     C...(1).pdf                                          .\VOL013\IMAGES\IMAGES003\00185118.pdf
                                              RE_ [EXTERNAL] I‐495 & I‐270 MLS_ Request for
00185123   00185127   11/1/2022 7:36 Edoc     C...(2).pdf                                          .\VOL013\IMAGES\IMAGES003\00185123.pdf
                                              FW_ [EXTERNAL] I‐495 & I‐270 MLS_ Request for
00185128   00185131   11/1/2022 7:36 Edoc     C....pdf                                             .\VOL013\IMAGES\IMAGES003\00185128.pdf
                                              FW_ I‐495 & I‐270 MLS_ Request for Concurrence
00185132   00185134   11/1/2022 7:36 Edoc     ....pdf                                              .\VOL013\IMAGES\IMAGES003\00185132.pdf
                                              RE_ I‐495 & I‐270 MLS_ Request for Concurrence
00185135   00185136   11/1/2022 7:36 Edoc     ....pdf                                              .\VOL013\IMAGES\IMAGES003\00185135.pdf
                                              RE_ [EXTERNAL] I‐495 & I‐270 MLS_ Request for
00185137   00185140   11/1/2022 7:36 Edoc     C...(3).pdf                                          .\VOL013\IMAGES\IMAGES003\00185137.pdf
                                              Fw_ I‐495 & I‐270 MLS_ Request for Concurrence
00185141   00185143   11/1/2022 7:36 Edoc     ....pdf                                              .\VOL013\IMAGES\IMAGES003\00185141.pdf
                                              Fw_ I‐495 & I‐270 MLS_ Request for Concurrence
00185144   00185145   11/1/2022 7:36 Edoc     ...(1).pdf                                           .\VOL013\IMAGES\IMAGES003\00185144.pdf
                                              RE_ Recommended Preferred Alternative
00185146   00185148   11/1/2022 7:36 Edoc     Concurrence.pdf                                      .\VOL013\IMAGES\IMAGES003\00185146.pdf
                                              FW_ MLS MSAT Affected Network_ Proposed
00185149   00185150   11/1/2022 7:36 Edoc     Updates.pdf                                          .\VOL013\IMAGES\IMAGES003\00185149.pdf

00185151   00185154   11/1/2022 7:36 Edoc     RE_ I‐495 & I‐270 MLS_ ALB Trail Connection to ....pdf .\VOL013\IMAGES\IMAGES003\00185151.pdf

00185155   00185158   11/1/2022 7:37 Edoc     Fw_ I‐495 & I‐270 MLS_ ALB Trail Connection to ....pdf   .\VOL013\IMAGES\IMAGES003\00185155.pdf
                                              RE_ I‐495 & I‐270 MLS_ ALB Trail Connection to
00185159   00185161   11/1/2022 7:37 Edoc     ...(1).pdf                                               .\VOL013\IMAGES\IMAGES003\00185159.pdf
                                              RE_ I‐495 & I‐270 MLS_ Request for Concurrence
00185162   00185165   11/1/2022 7:37 Edoc     ...(1).pdf                                               .\VOL013\IMAGES\IMAGES003\00185162.pdf
                                              Re_ I‐495 & I‐270 MLS_ Request for Concurrence
00185166   00185169   11/1/2022 7:37 Edoc     ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00185166.pdf

00185170   00185171   11/1/2022 7:37 Edoc     I‐495 & I‐270 MLS_ ALB Trail Connection to Maca....pdf .\VOL013\IMAGES\IMAGES003\00185170.pdf

00185172   00185201   11/1/2022 7:37 Edoc     I‐495 & I‐270 MLS ALB Trail Connection Present.pdf       .\VOL013\IMAGES\IMAGES003\00185172.pdf
                                              RE_ I‐495 & I‐270 MLS_ Request for Concurrence
00185202   00185204   11/1/2022 7:37 Edoc     ...(2).pdf                                               .\VOL013\IMAGES\IMAGES003\00185202.pdf
                                              RE_ Gibson Grove Church and Moses Hall
00185205   00185206   11/1/2022 7:37 Edoc     Cemetery....pdf                                          .\VOL013\IMAGES\IMAGES003\00185205.pdf
                                              I‐495 & I‐270 MLS_ 5_18 FHWA Air & Noise
00185207   00185208   11/1/2022 7:37 Edoc     Coordi....pdf                                            .\VOL013\IMAGES\IMAGES003\00185207.pdf
                                              MLS_ NPS Coordination Meeting Agenda and
00185209   00185218   11/1/2022 7:37 Edoc     Meetin....pdf                                            .\VOL013\IMAGES\IMAGES003\00185209.pdf
00185219   00185351   11/1/2022 7:37 Edoc     doc.kml                                                  .\VOL013\IMAGES\IMAGES003\00185219.pdf
00185352   00185352   11/1/2022 7:37 Edoc     MLS_PotentialNPSTreePlantingSites.dbf                    .\VOL013\IMAGES\IMAGES003\00185352.pdf    .\VOL013\NATIVES\NATIVES003\00185352.dbf
00185353   00185353   11/1/2022 7:37 Edoc     MLS NPS Tree Mitigation_Summary 06‐16‐21.pdf             .\VOL013\IMAGES\IMAGES003\00185353.pdf
00185354   00185355   11/1/2022 7:37 Edoc     SDEIS Appendums.pdf                                      .\VOL013\IMAGES\IMAGES003\00185354.pdf
00185356   00185364   11/1/2022 7:37 Edoc     MLS_ NPS Requests and Updated Figures.pdf                .\VOL013\IMAGES\IMAGES003\00185356.pdf
00185365   00185366   11/1/2022 7:37 Edoc     NEPA Schedule.pdf                                        .\VOL013\IMAGES\IMAGES003\00185365.pdf
00185367   00185367   11/1/2022 7:37 Edoc     image.png                                                .\VOL013\IMAGES\IMAGES003\00185367.pdf
                                              RE_ [EXTERNAL] MLS‐ Updated Impacts Matrix and
00185368   00185371   11/1/2022 7:37 Edoc     ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00185368.pdf
                                              MLS NPS Coordination Meeting Agenda_2021‐06‐
00185372   00185372   11/1/2022 7:37 Edoc     21.pdf                                                   .\VOL013\IMAGES\IMAGES003\00185372.pdf
                                              Re_ I‐495 & I‐270 MLS_ Request for Concurrence
00185373   00185375   11/1/2022 7:37 Edoc     ...(1).pdf                                               .\VOL013\IMAGES\IMAGES003\00185373.pdf
                                              Re_ [EXTERNAL] MLS‐ Updated Impacts Matrix and
00185376   00185379   11/1/2022 7:37 Edoc     ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00185376.pdf
                                              Re_ [EXTERNAL] MLS‐ Updated Impacts Matrix and
00185380   00185382   11/1/2022 7:37 Edoc     ...(1).pdf                                               .\VOL013\IMAGES\IMAGES003\00185380.pdf
                                              Re_ [EXTERNAL] MLS‐ Updated Impacts Matrix and
00185383   00185385   11/1/2022 7:37 Edoc     ...(2).pdf                                               .\VOL013\IMAGES\IMAGES003\00185383.pdf
                                              RE_ I‐495 & I‐270 MLS_ Request for Concurrence
00185386   00185387   11/1/2022 7:37 Edoc     ...(3).pdf                                               .\VOL013\IMAGES\IMAGES003\00185386.pdf
                                              I‐495 & I‐270 MLS_ Request for Concurrence on
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                                              I‐495 & I‐270 MLS_ Request for Concurrence on
00185390   00185391   11/1/2022 7:37 Edoc     RPA(1).pdf                                               .\VOL013\IMAGES\IMAGES003\00185390.pdf
                                              I‐495 & I‐270 MLS_ Request for Concurrence on
00185392   00185393   11/1/2022 7:37 Edoc     RPA(2).pdf                                               .\VOL013\IMAGES\IMAGES003\00185392.pdf
                                              I‐495 & I‐270 MLS_ Request for Concurrence on
00185394   00185395   11/1/2022 7:37 Edoc     RPA(3).pdf                                               .\VOL013\IMAGES\IMAGES003\00185394.pdf
                                              I‐495 & I‐270 MLS_ Request for Concurrence on
00185396   00185397   11/1/2022 7:37 Edoc     RPA(4).pdf                                               .\VOL013\IMAGES\IMAGES003\00185396.pdf

00185398   00185399   11/1/2022 7:37 Edoc     I‐495 & I‐270 MLS_ Request for Concurrence on t....pdf .\VOL013\IMAGES\IMAGES003\00185398.pdf
                                              I‐495 & I‐270 MLS_ Request for Concurrence on
00185400   00185401   11/1/2022 7:37 Edoc     RPA(5).pdf                                             .\VOL013\IMAGES\IMAGES003\00185400.pdf
00185402   00185405   11/1/2022 7:37 Edoc     Re_ Final NPS Commitment Letter.pdf                    .\VOL013\IMAGES\IMAGES003\00185402.pdf
00185406   00185407   11/1/2022 7:38 Edoc     Re_ Final NPS Commitment Letter(1).pdf                 .\VOL013\IMAGES\IMAGES003\00185406.pdf

00185408   00185409   11/1/2022 7:39 Edoc     Preliminary Section 4(f) LOH Conclusion for DOI....pdf   .\VOL013\IMAGES\IMAGES003\00185408.pdf

00185410   00185411   11/1/2022 7:40 Edoc     MLS MSAT Affected Network_ Proposed Updates.pdf          .\VOL013\IMAGES\IMAGES003\00185410.pdf

00185412   00185413   11/1/2022 7:40 Edoc     Recommended Preferred Alternative Concurrence.pdf        .\VOL013\IMAGES\IMAGES003\00185412.pdf
                                              I‐495 & I‐270 Managed Lanes Study Executive
00185414   00185416   11/1/2022 7:40 Edoc     Ste....pdf                                               .\VOL013\IMAGES\IMAGES003\00185414.pdf
                                              RE_ Gibson Grove Church and Moses Hall
00185417   00185418   11/1/2022 7:40 Edoc     Cemetery...(1).pdf                                       .\VOL013\IMAGES\IMAGES003\00185417.pdf
00185419   00185425   11/1/2022 7:40 Edoc     Re_ Question.pdf                                         .\VOL013\IMAGES\IMAGES003\00185419.pdf
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00185426   00185427   11/1/2022 7:40 Edoc     MLS‐ Updated Impacts Matrix and Figures.pdf              .\VOL013\IMAGES\IMAGES003\00185426.pdf
                                              RE_ I‐495 & I‐270 Managed Lanes Study
00185428   00185430   11/1/2022 7:40 Edoc     Executive....pdf                                         .\VOL013\IMAGES\IMAGES003\00185428.pdf
00185431   00185433   11/1/2022 7:40 Edoc     Re_ Executive Steering Commitee.pdf                      .\VOL013\IMAGES\IMAGES003\00185431.pdf
00185434   00185435   11/1/2022 7:40 Edoc     RE_ Updated NPA Commitment Letter.pdf                    .\VOL013\IMAGES\IMAGES003\00185434.pdf
00185436   00185438   11/1/2022 7:40 Edoc     RE_ Executive Steering Commitee.pdf                      .\VOL013\IMAGES\IMAGES003\00185436.pdf
                                              RE_ I‐495 & I‐270 Managed Lanes Study
00185439   00185441   11/1/2022 7:40 Edoc     Executive...(1).pdf                                      .\VOL013\IMAGES\IMAGES003\00185439.pdf
00185442   00185443   11/1/2022 7:40 Edoc     Executive Steering Commitee.pdf                          .\VOL013\IMAGES\IMAGES003\00185442.pdf
                                              I‐495 & I‐270 MLS IAWG Meeting ‐ Revised
00185444   00185448   11/1/2022 7:40 Edoc     Meetin....pdf                                            .\VOL013\IMAGES\IMAGES003\00185444.pdf
00185449   00185450   11/1/2022 7:40 Edoc     RE_ Noise Analysis.pdf                                   .\VOL013\IMAGES\IMAGES003\00185449.pdf
                                              I‐495 & I‐270 MLS IAWG Meeting ‐ Meeting Notes
00185451   00185453   11/1/2022 7:41 Edoc     ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00185451.pdf
                                              FW_ FHWA_MDOT SHA Coordination Mtg Notes and
00185454   00185456   11/1/2022 7:41 Edoc     Re....pdf                                                .\VOL013\IMAGES\IMAGES003\00185454.pdf

00185457   00185459   11/1/2022 7:41 Edoc     RE_ I‐495_I‐270 MLS Supplemental Draft Section ....pdf .\VOL013\IMAGES\IMAGES003\00185457.pdf
                                              RE: I‐495/I‐270 MLS Supplemental Draft Section 4(f)
00185460   00185461   11/1/2022 7:41 Email    Evaluation ‐ Annotated Outline                         .\VOL013\IMAGES\IMAGES003\00185460.pdf
00185462   00185469   11/1/2022 7:41 Edoc     RE_ Question.pdf                                       .\VOL013\IMAGES\IMAGES003\00185462.pdf
                                              RE_ I‐495_I‐270 MLS Supplemental Draft Section
00185470   00185471   11/1/2022 7:41 Edoc     ...(1).pdf                                             .\VOL013\IMAGES\IMAGES003\00185470.pdf
00185472   00185472   11/1/2022 7:41 Attach   ClaraBarton_Imp.PNG                                    .\VOL013\IMAGES\IMAGES003\00185472.pdf

00185473   00185474   11/1/2022 7:41 Edoc     RE_ MLS Air Quality and Noise Discussions with ....pdf   .\VOL013\IMAGES\IMAGES003\00185473.pdf
                                              I‐495 & I‐270 MLS May IAWG Meeting ‐
00185475   00185477   11/1/2022 7:41 Edoc     Presentation.pdf                                         .\VOL013\IMAGES\IMAGES003\00185475.pdf
00185478   00185479   11/1/2022 7:41 Edoc     Press Release.pdf                                        .\VOL013\IMAGES\IMAGES003\00185478.pdf
00185480   00185481   11/1/2022 7:41 Edoc     confidential.pdf                                         .\VOL013\IMAGES\IMAGES003\00185480.pdf
                                              RE_ MLS_ Environmental Justice Working Group
00185482   00185483   11/1/2022 7:41 Edoc     Me....pdf                                                .\VOL013\IMAGES\IMAGES003\00185482.pdf
                                              RE_ I‐495_I‐270 MLS Supplemental Draft Section
00185484   00185485   11/1/2022 7:41 Edoc     ...(2).pdf                                               .\VOL013\IMAGES\IMAGES003\00185484.pdf
00185486   00185487   11/1/2022 7:41 Edoc     RE_ Draft 5_12 IAWG Presentation.pdf                     .\VOL013\IMAGES\IMAGES003\00185486.pdf
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00185488   00185497   11/1/2022 7:41 Edoc     Communicat.docx                                          .\VOL013\IMAGES\IMAGES003\00185488.pdf
00185498   00185499   11/1/2022 7:41 Edoc     Press Release(1).pdf                                     .\VOL013\IMAGES\IMAGES003\00185498.pdf
00185500   00185501   11/1/2022 7:42 Edoc     Re_ Draft 5_12 IAWG Presentation.pdf                     .\VOL013\IMAGES\IMAGES003\00185500.pdf
00185502   00185503   11/1/2022 7:42 Edoc     Draft 5_12 IAWG Presentation.pdf                         .\VOL013\IMAGES\IMAGES003\00185502.pdf
00185504   00185505   11/1/2022 7:42 Edoc     New RPA Roll Out.pdf                                     .\VOL013\IMAGES\IMAGES003\00185504.pdf
00185506   00185507   11/1/2022 7:42 Edoc     RE_ New RPA DRAFT Press Release.pdf                      .\VOL013\IMAGES\IMAGES003\00185506.pdf
00185508   00185509   11/1/2022 7:42 Edoc     New RPA DRAFT Press Release.pdf                          .\VOL013\IMAGES\IMAGES003\00185508.pdf
00185510   00185512   11/1/2022 7:42 Edoc     CONFIDENTIAL.pdf                                         .\VOL013\IMAGES\IMAGES003\00185510.pdf
                                              Re_ [EXTERNAL] MLS‐ March 4th Meeting Notes
00185513   00185518   11/1/2022 7:42 Edoc     and....pdf                                               .\VOL013\IMAGES\IMAGES003\00185513.pdf
00185519   00185519   11/1/2022 7:42 Edoc     image.png                                                .\VOL013\IMAGES\IMAGES003\00185519.pdf
00185520   00185520   11/1/2022 7:42 Edoc     CHOH_Park_Boundary_py.dbf                                .\VOL013\IMAGES\IMAGES003\00185520.pdf    .\VOL013\NATIVES\NATIVES003\00185520.dbf
00185521   00185521   11/1/2022 7:42 Edoc     CHOH_Park_Boundary_py.prj                                .\VOL013\IMAGES\IMAGES003\00185521.pdf

00185522   00185522   11/1/2022 7:42 Edoc     I‐495_I‐270 MLS Supplemental Draft Section 4(f)....pdf .\VOL013\IMAGES\IMAGES003\00185522.pdf

00185523   00185524   11/1/2022 7:42 Edoc     Supplemental Draft 4(f) Outline ‐ Annotated 0.docx       .\VOL013\IMAGES\IMAGES003\00185523.pdf
                                              Re_ [EXTERNAL] MLS‐ March 4th Meeting Notes
00185525   00185529   11/1/2022 7:42 Edoc     and...(1).pdf                                            .\VOL013\IMAGES\IMAGES003\00185525.pdf
00185530   00185531   11/1/2022 7:42 Edoc     CONFIDENTIAL(1).pdf                                      .\VOL013\IMAGES\IMAGES003\00185530.pdf
00185532   00185533   11/1/2022 7:43 Edoc     RE_ Revised SDEIS Outline.pdf                            .\VOL013\IMAGES\IMAGES003\00185532.pdf

00185534   00185535   11/1/2022 7:43 Edoc     MLS‐ March 4th Meeting Notes and Action Items.pdf        .\VOL013\IMAGES\IMAGES003\00185534.pdf
                                              RE_ P3 Compensatory Stormwater Management
00185536   00185537   11/1/2022 7:43 Edoc     Plan_....pdf                                             .\VOL013\IMAGES\IMAGES003\00185536.pdf
00185538   00185538   11/1/2022 7:43 Edoc     Additional DEIS Comment Totals.pdf                       .\VOL013\IMAGES\IMAGES003\00185538.pdf

00185539   00185541   11/1/2022 7:43 Edoc     RE_ 2_26 MLS Navy Coordination Meeting Notes .pdf        .\VOL013\IMAGES\IMAGES003\00185539.pdf
00185542   00185543   11/1/2022 7:44 Email    RE: Fed lands to Park Program Issue                      .\VOL013\IMAGES\IMAGES003\00185542.pdf
00185544   00185544   11/1/2022 7:44 Attach   Cherry Hill Rd Park Map.pdf                              .\VOL013\IMAGES\IMAGES003\00185544.pdf
00185545   00185545   11/1/2022 7:45 Edoc     Holy Cross Lutheran Plat 68‐60.pdf                       .\VOL013\IMAGES\IMAGES003\00185545.pdf
00185546   00185546   11/1/2022 7:45 Edoc     Item 3&4 SRC Plat 27062_GreenbeltPark.pdf                .\VOL013\IMAGES\IMAGES003\00185546.pdf
00185547   00185551   11/1/2022 7:45 Edoc     Fw_ Question.pdf                                         .\VOL013\IMAGES\IMAGES003\00185547.pdf
                                              P3 Compensatory Stormwater Management Plan_
00185552   00185553   11/1/2022 7:45 Edoc     FHW....pdf                                               .\VOL013\IMAGES\IMAGES003\00185552.pdf
00185554   00185555   11/1/2022 7:45 Edoc     Draft NPS Letter.pdf                                     .\VOL013\IMAGES\IMAGES003\00185554.pdf
00185556   00185557   11/1/2022 7:45 Edoc     I‐495 & I‐270 RPA Noise Analysis Memo.pdf                .\VOL013\IMAGES\IMAGES003\00185556.pdf
                                              RE_ Managed Lanes Study_ Navy Coordination
00185558   00185560   11/1/2022 7:45 Edoc     Meeting.pdf                                              .\VOL013\IMAGES\IMAGES003\00185558.pdf
                                              Re_ [EXTERNAL] RE_ Thursday's MLS NPS
00185561   00185568   11/1/2022 7:45 Edoc     Coordinat...(1).pdf                                      .\VOL013\IMAGES\IMAGES003\00185561.pdf
00185569   00185570   11/1/2022 7:45 Edoc     I‐495 & I‐270 MLS March IAWG Meeting.pdf                 .\VOL013\IMAGES\IMAGES003\00185569.pdf
                                              RE_ Managed Lanes Study_ Environmental Justice
00185571   00185572   11/1/2022 7:46 Edoc     ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00185571.pdf

00185573   00185574   11/1/2022 7:46 Edoc     RE_ MLS Consulting Parties Prep Meeting [with F....pdf .\VOL013\IMAGES\IMAGES003\00185573.pdf
                                              RE_ MLS Consulting Parties Prep Meeting [with
00185575   00185575   11/1/2022 7:46 Edoc     F...(1).pdf                                            .\VOL013\IMAGES\IMAGES003\00185575.pdf

00185576   00185577   11/1/2022 7:46 Edoc     I‐495 & I‐270 MLS_ February IAWG Meeting Notes .pdf .\VOL013\IMAGES\IMAGES003\00185576.pdf
                                              RE_ I‐495 & I‐270 MLS_ EPA’s DEIS Comments
00185578   00185579   11/1/2022 7:46 Edoc     Disc....pdf                                         .\VOL013\IMAGES\IMAGES003\00185578.pdf
00185580   00185581   11/1/2022 7:46 Edoc     Requested Language.pdf                              .\VOL013\IMAGES\IMAGES003\00185580.pdf
                                              RE_ I‐495 & I‐270 MLS_ DNR’s DEIS Comments
00185582   00185583   11/1/2022 7:46 Edoc     Disc....pdf                                         .\VOL013\IMAGES\IMAGES003\00185582.pdf
                                              RE_ Managed Lanes Study_ Navy Coordination
00185584   00185585   11/1/2022 7:46 Edoc     Meeting(2).pdf                                      .\VOL013\IMAGES\IMAGES003\00185584.pdf
00185586   00185611   11/1/2022 7:46 Edoc     Navy Coordination Presentation_02.26.2021.pdf       .\VOL013\IMAGES\IMAGES003\00185586.pdf
                                              RE_ I‐495 & I‐270 MLS_ USACE_MDE DEIS Comments
00185612   00185612   11/1/2022 7:46 Edoc     ....pdf                                             .\VOL013\IMAGES\IMAGES003\00185612.pdf
                                              2021‐02‐10 MLS MDE and USACE DEIS Comments
00185613   00185615   11/1/2022 7:46 Edoc     Dis.pdf                                             .\VOL013\IMAGES\IMAGES003\00185613.pdf
                                              Re_ [EXTERNAL] Re_ I‐495 & I‐270 MLS_ ALB and
00185616   00185621   11/1/2022 7:47 Edoc     B....pdf                                            .\VOL013\IMAGES\IMAGES003\00185616.pdf

00185622   00185647   11/1/2022 7:47 Edoc     I‐495 I‐270 MLS Executive Steering Committee .pdf        .\VOL013\IMAGES\IMAGES003\00185622.pdf
00185648   00185650   11/1/2022 7:47 Edoc     RE_ MLS Meeting Follow up.pdf                            .\VOL013\IMAGES\IMAGES003\00185648.pdf
                                              FW_ Managed Lane EIS SHA_MDOT discussion on
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00185655   00185659   11/1/2022 7:47 Edoc   2020‐01‐27_I‐495 I‐270 MLS_ Navy Bethesda Resp.pdf .\VOL013\IMAGES\IMAGES003\00185655.pdf
                                            I‐495 & I‐270 MLS_ ALB and BW Parkway
00185660   00185661   11/1/2022 7:47 Edoc   Discussio....pdf                                   .\VOL013\IMAGES\IMAGES003\00185660.pdf
                                            Re_ [EXTERNAL] RE_ I‐495 & I‐270 MLS_ ALB and
00185662   00185664   11/1/2022 7:47 Edoc   B....pdf                                           .\VOL013\IMAGES\IMAGES003\00185662.pdf
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00185665   00185666   11/1/2022 7:48 Edoc   S....pdf                                           .\VOL013\IMAGES\IMAGES003\00185665.pdf
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00185667   00185668   11/1/2022 7:48 Edoc   Pres....pdf                                        .\VOL013\IMAGES\IMAGES003\00185667.pdf
00185669   00185670   11/1/2022 7:48 Edoc   RE_ NPS ROW Meeting.pdf                            .\VOL013\IMAGES\IMAGES003\00185669.pdf
                                            Fw_ I‐495 & I‐270 MLS January IAWG Meeting
00185671   00185675   11/1/2022 7:48 Edoc   Note....pdf                                        .\VOL013\IMAGES\IMAGES003\00185671.pdf

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                                            I‐495 & I‐270 MLS January IAWG Meeting Notes
00185678   00185679   11/1/2022 7:48 Edoc   an....pdf                                              .\VOL013\IMAGES\IMAGES003\00185678.pdf
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00185680   00185683   11/1/2022 7:48 Edoc   Discu....pdf                                           .\VOL013\IMAGES\IMAGES003\00185680.pdf
00185684   00185685   11/1/2022 7:49 Edoc   ALB Strike Team and BW Parkway Team.pdf                .\VOL013\IMAGES\IMAGES003\00185684.pdf
                                            RE_ MLS briefing w_ FHWA leadership next
00185686   00185689   11/1/2022 7:49 Edoc   week(1).pdf                                            .\VOL013\IMAGES\IMAGES003\00185686.pdf
                                            Re_ MLS briefing w_ FHWA leadership next
00185690   00185692   11/1/2022 7:49 Edoc   week(1).pdf                                            .\VOL013\IMAGES\IMAGES003\00185690.pdf
                                            RE_ MLS briefing w_ FHWA leadership next
00185693   00185694   11/1/2022 7:49 Edoc   week(3).pdf                                            .\VOL013\IMAGES\IMAGES003\00185693.pdf
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00185695   00185700   11/1/2022 7:49 Edoc   Collabor....pdf                                        .\VOL013\IMAGES\IMAGES003\00185695.pdf
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00185701   00185703   11/1/2022 7:49 Edoc   Discuss...(1).pdf                                      .\VOL013\IMAGES\IMAGES003\00185701.pdf
00185704   00185704   11/1/2022 7:49 Edoc   image002.png                                           .\VOL013\IMAGES\IMAGES003\00185704.pdf
                                            RE_ I‐495 & I‐270 MLS_ IAWG Meeting [January
00185705   00185706   11/1/2022 7:49 Edoc   27....pdf                                              .\VOL013\IMAGES\IMAGES003\00185705.pdf
                                            RE_ I‐495 & I‐270 Managed Lanes Study_
00185707   00185708   11/1/2022 7:49 Edoc   Collabor....pdf                                        .\VOL013\IMAGES\IMAGES003\00185707.pdf
00185709   00185710   11/1/2022 7:50 Edoc   I‐495 & I‐270 MLS_ IAWG Meeting ‐ Agenda .pdf          .\VOL013\IMAGES\IMAGES003\00185709.pdf
00185711   00185713   11/1/2022 7:51 Edoc   RE_ NPS ROW Meeting(1).pdf                             .\VOL013\IMAGES\IMAGES003\00185711.pdf
                                            I‐495 & I‐270 MLS_ January Update and Agency
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00185724   00185727   11/1/2022 7:51 Edoc   2020.12.17 Phased Permit Discussion with Agenc.pdf       .\VOL013\IMAGES\IMAGES003\00185724.pdf
00185728   00185729   11/1/2022 7:51 Edoc   M‐NCPPC Meeting.pdf                                      .\VOL013\IMAGES\IMAGES003\00185728.pdf
00185730   00185731   11/1/2022 7:51 Edoc   MLS‐ RPA Highlights and Commitments.pdf                  .\VOL013\IMAGES\IMAGES003\00185730.pdf
00185732   00185735   11/1/2022 7:51 Edoc   RE_ Follow Up Items.pdf                                  .\VOL013\IMAGES\IMAGES003\00185732.pdf
                                            NOTES_2021.03.11_M‐NCPPC MC_Offsite Comp
00185736   00185736   11/1/2022 8:13 Edoc   SWM_Stream Rest.xlsx                                     .\VOL013\IMAGES\IMAGES003\00185736.pdf    .\VOL013\NATIVES\NATIVES003\00185736.xlsx
                                            2021.03.24 MLS M‐NCPPC PG SWM
00185737   00185742   11/1/2022 8:13 Edoc   Discussion_Meeting Notes.pdf                             .\VOL013\IMAGES\IMAGES003\00185737.pdf
                                            2021‐04‐09 MLS M‐NCPPC PG County DEIS Comments
00185743   00185759   11/1/2022 8:14 Edoc   Discussion_Meeting Notes.pdf                             .\VOL013\IMAGES\IMAGES003\00185743.pdf
                                            2021.04.14 MDOT SHA_Rockville Comp SWM
00185760   00185766   11/1/2022 8:15 Edoc   Plan_Dropped Sites.pdf                                   .\VOL013\IMAGES\IMAGES003\00185760.pdf
                                            2021.04.13 MNCPPC MoCo SWM Site Discussion
00185767   00185776   11/1/2022 8:15 Edoc   Meeting Minutes.pdf                                      .\VOL013\IMAGES\IMAGES003\00185767.pdf
                                            2019‐01‐28 UPC 113414‐Grandfathering Approval
00185777   00185785   11/1/2022 8:20 Edoc   from DEQ.pdf                                             .\VOL013\IMAGES\IMAGES003\00185777.pdf
                                            RE_ I‐495 & I‐270 Managed Lanes Study‐
00185786   00185788   11/1/2022 8:31 Edoc   Environm....pdf                                          .\VOL013\IMAGES\IMAGES003\00185786.pdf
00185789   00185790   11/1/2022 8:31 Edoc   NCPC.pdf                                                 .\VOL013\IMAGES\IMAGES003\00185789.pdf
00185791   00185792   11/1/2022 8:33 Edoc   MLS Mitigation Package.pdf                               .\VOL013\IMAGES\IMAGES003\00185791.pdf
                                            Confirmations needed from FHWA for 495 MLS 106
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00185796   00185796   11/1/2022 8:33 Edoc   comments on SDEIS for MLS project.pdf                    .\VOL013\IMAGES\IMAGES003\00185796.pdf
00185797   00185798   11/1/2022 8:33 Edoc   Corps comments on the MLS SDEIS.pdf                      .\VOL013\IMAGES\IMAGES003\00185797.pdf
00185799   00185801   11/1/2022 8:33 Edoc   MLS_SDEIS_NMFS_FWCA Letter.pdf                           .\VOL013\IMAGES\IMAGES003\00185799.pdf
00185802   00185803   11/1/2022 8:33 Edoc   SDEIS DNR comments.pdf                                   .\VOL013\IMAGES\IMAGES003\00185802.pdf
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00185804   00185834   11/1/2022 8:33 Edoc   Letter_11_30_.pdf                                        .\VOL013\IMAGES\IMAGES003\00185804.pdf
                                            RE_ Agenda for December 1 2021 FHWA MLS
00185835   00185837   11/1/2022 8:33 Edoc   Interna....pdf                                           .\VOL013\IMAGES\IMAGES003\00185835.pdf

00185838   00185838   11/1/2022 8:34 Edoc   Exhibits to Sierra Club Maryland Chapter et al.....pdf   .\VOL013\IMAGES\IMAGES003\00185838.pdf

00185839   00185855   11/1/2022 8:34 Edoc   2002‐11‐04 ‐ Letter re Effects of Proposed Pot.pdf       .\VOL013\IMAGES\IMAGES003\00185839.pdf

00185856   00185865   11/1/2022 8:34 Edoc   2014‐09‐30 ‐ Policy Brief re Impact of Highway.pdf       .\VOL013\IMAGES\IMAGES003\00185856.pdf

00185866   00185867   11/1/2022 8:34 Edoc   2020‐05‐14 ‐ Montgomery County Letter re Manag.pdf .\VOL013\IMAGES\IMAGES003\00185866.pdf

00185868   00185875   11/1/2022 8:34 Edoc   2021‐06‐29 ‐ MD Sierra Club Testimony Re Phase.pdf       .\VOL013\IMAGES\IMAGES003\00185868.pdf

00185876   00185887   11/1/2022 8:34 Edoc   2021‐07‐09 ‐ MD State Treasurer Report Re P3 A.pdf       .\VOL013\IMAGES\IMAGES003\00185876.pdf

00185888   00185902   11/1/2022 8:34 Edoc   2021‐10‐07 ‐ NCPC Presentation re Non‐Concurre.pdf       .\VOL013\IMAGES\IMAGES003\00185888.pdf

00185903   00185908   11/1/2022 8:34 Edoc   2021‐10‐08 ‐ Friends of Moses Hall Comments re.pdf       .\VOL013\IMAGES\IMAGES003\00185903.pdf

00185909   00185911   11/1/2022 8:34 Edoc   2021‐10‐28 ‐ MD Sierra Club Testimony re Toll .pdf       .\VOL013\IMAGES\IMAGES003\00185909.pdf

00185912   00185913   11/1/2022 8:34 Edoc   2021‐11‐29 ‐ MDOT Response Email re Stormwater.pdf .\VOL013\IMAGES\IMAGES003\00185912.pdf
00185914   00185917   11/1/2022 8:34 Edoc   2021‐11‐30 ‐ Norman L. Marshall Resume.pdf         .\VOL013\IMAGES\IMAGES003\00185914.pdf
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00185920   00185920   11/1/2022 8:34 Edoc   Managed Lanes Study ‐ SEIS Comment Letter.pdf      .\VOL013\IMAGES\IMAGES003\00185920.pdf
00185921   00185922   11/1/2022 8:34 Edoc   RE_ MLS‐ FEIS Draft Outline.pdf                    .\VOL013\IMAGES\IMAGES003\00185921.pdf
00185923   00185929   11/1/2022 8:34 Edoc   MLS FEIS_Outline_Draft_11‐09‐2021_FHWA.docx        .\VOL013\IMAGES\IMAGES003\00185923.pdf
00185930   00185931   11/1/2022 8:34 Edoc   RE_ Today's DOT News Briefing .pdf                 .\VOL013\IMAGES\IMAGES003\00185930.pdf
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00185941   00185942   11/1/2022 8:35 Edoc     Additional Environmental Justice (EJ) Outreach ....pdf   .\VOL013\IMAGES\IMAGES003\00185941.pdf
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00185946   00185948   11/1/2022 8:36 Edoc     Re_ Capper Cramton Parkland .pdf                         .\VOL013\IMAGES\IMAGES003\00185946.pdf
00185949   00185949   11/1/2022 8:36 Edoc     FW_ 270_495 Comment Extension Letter.pdf                 .\VOL013\IMAGES\IMAGES003\00185949.pdf

00185950   00185950   11/1/2022 8:36 Edoc     FW_ Rep. Raskin (MD) ‐ Letter re_ SDEIS for the....pdf   .\VOL013\IMAGES\IMAGES003\00185950.pdf
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                                              RE_ I‐495 & I‐270 MLS_ M‐NCPPC Coordination
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00185956   00185957   11/1/2022 8:37 Edoc     Environmenta...(2).pdf                                   .\VOL013\IMAGES\IMAGES003\00185956.pdf
                                              I‐495 & I‐270 Managed Lanes Study‐
00185958   00185959   11/1/2022 8:37 Edoc     Environmenta...(3).pdf                                   .\VOL013\IMAGES\IMAGES003\00185958.pdf
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00185960   00185961   11/1/2022 8:37 Edoc     Environmenta...(4).pdf                                   .\VOL013\IMAGES\IMAGES003\00185960.pdf
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00185962   00185963   11/1/2022 8:37 Edoc     Environmenta...(5).pdf                                   .\VOL013\IMAGES\IMAGES003\00185962.pdf
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00185964   00185965   11/1/2022 8:37 Edoc     Environmenta...(6).pdf                                   .\VOL013\IMAGES\IMAGES003\00185964.pdf
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00185968   00185969   11/1/2022 8:37 Edoc     Environmenta...(8).pdf                                   .\VOL013\IMAGES\IMAGES003\00185968.pdf
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00185970   00185971   11/1/2022 8:37 Edoc     Environmenta...(9).pdf                                   .\VOL013\IMAGES\IMAGES003\00185970.pdf
                                              I‐495 & I‐270 Managed Lanes Study‐
00185972   00185973   11/1/2022 8:37 Edoc     Environmenta...(10).pdf                                  .\VOL013\IMAGES\IMAGES003\00185972.pdf
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00185980   00185981   11/1/2022 8:37 Attach   Ltr to FTA re 495&270 P3.docx                            .\VOL013\IMAGES\IMAGES003\00185980.pdf
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00185982   00185984   11/1/2022 8:37 Edoc     Ava....pdf                                               .\VOL013\IMAGES\IMAGES003\00185982.pdf
00185985   00185987   11/1/2022 8:37 Edoc     RE_ SDEIS.pdf                                            .\VOL013\IMAGES\IMAGES003\00185985.pdf

00185988   00185990   11/1/2022 8:37 Edoc     NPS Coordination Meeting Notes and Action Items.pdf .\VOL013\IMAGES\IMAGES003\00185988.pdf
00185991   00186016   11/1/2022 8:37 Edoc     NPS_PotentialTreeMitigation_09.29.21.pdf            .\VOL013\IMAGES\IMAGES003\00185991.pdf

00186017   00186022   11/1/2022 8:37 Edoc     2021‐09‐22_NPS Coordination Meeting Notes.pdf            .\VOL013\IMAGES\IMAGES003\00186017.pdf
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00186023   00186024   11/1/2022 8:37 Edoc     Availa....pdf                                            .\VOL013\IMAGES\IMAGES003\00186023.pdf
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00186025   00186026   11/1/2022 8:37 Edoc     Availa...(1).pdf                                         .\VOL013\IMAGES\IMAGES003\00186025.pdf
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00186027   00186028   11/1/2022 8:37 Edoc     Availa...(2).pdf                                         .\VOL013\IMAGES\IMAGES003\00186027.pdf
                                              I‐495 & I‐270 Managed Lane Study_ SDEIS
00186029   00186030   11/1/2022 8:37 Edoc     Availab....pdf                                           .\VOL013\IMAGES\IMAGES003\00186029.pdf
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00186031   00186032   11/1/2022 8:37 Edoc     Availa...(3).pdf                                         .\VOL013\IMAGES\IMAGES003\00186031.pdf
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00186033   00186034   11/1/2022 8:37 Edoc     Availa...(4).pdf                                         .\VOL013\IMAGES\IMAGES003\00186033.pdf

00186035   00186036   11/1/2022 8:38 Edoc     I‐495 & I‐270 Managed Lanes Study‐ SDEIS Availa....pdf .\VOL013\IMAGES\IMAGES003\00186035.pdf
00186037   00186039   11/1/2022 8:38 Edoc     RE_ SDEIS‐ FTP.pdf                                     .\VOL013\IMAGES\IMAGES003\00186037.pdf
00186040   00186042   11/1/2022 8:38 Edoc     RE_ SDEIS‐ FTP(1).pdf                                  .\VOL013\IMAGES\IMAGES003\00186040.pdf
                                              I‐495 & I‐270 MLS_ M‐NCPPC Coordination
00186043   00186044   11/1/2022 8:38 Edoc     Meeting...(1).pdf                                      .\VOL013\IMAGES\IMAGES003\00186043.pdf
                                              MLS_ NPS Coordination Meeting ‐ GWMP ‐
00186045   00186047   11/1/2022 8:38 Edoc     Meeting....pdf                                         .\VOL013\IMAGES\IMAGES003\00186045.pdf
00186048   00186049   11/1/2022 8:38 Edoc     Cooperating and Participating Agency Emails.pdf        .\VOL013\IMAGES\IMAGES003\00186048.pdf
00186050   00186052   11/1/2022 8:38 Edoc     RE_ MLS Cooperating Agency Email Contacts.pdf          .\VOL013\IMAGES\IMAGES003\00186050.pdf

00186053   00186054   11/1/2022 8:38 Edoc     I‐495 & I‐270 MLS_ City of Rockville Coordinati....pdf   .\VOL013\IMAGES\IMAGES003\00186053.pdf
00186055   00186056   11/1/2022 8:38 Edoc     SDEIS Signature Page.pdf                                 .\VOL013\IMAGES\IMAGES003\00186055.pdf
00186057   00186059   11/1/2022 8:38 Edoc     RE_ SDEIS‐ Executive Summary.pdf                         .\VOL013\IMAGES\IMAGES003\00186057.pdf
00186060   00186062   11/1/2022 8:39 Edoc     Re_ SDEIS‐ Executive Summary.pdf                         .\VOL013\IMAGES\IMAGES003\00186060.pdf
00186063   00186064   11/1/2022 8:39 Edoc     RE_ SDEIS‐ Executive Summary(1).pdf                      .\VOL013\IMAGES\IMAGES003\00186063.pdf
00186065   00186067   11/1/2022 8:39 Edoc     RE_ SDEIS(1).pdf                                         .\VOL013\IMAGES\IMAGES003\00186065.pdf

00186068   00186068   11/1/2022 8:39 Edoc     Hard Copies of the SDEIS and Tech Reports FHW.docx       .\VOL013\IMAGES\IMAGES003\00186068.pdf
00186069   00186070   11/1/2022 8:39 Edoc     SDEIS for FHWA Prior Concurrence.pdf                     .\VOL013\IMAGES\IMAGES003\00186069.pdf
                                              RE_ REVIEW REQUESTED_ Final SDEIS for I‐495_I‐
00186071   00186072   11/1/2022 8:39 Edoc     2...(1).pdf                                              .\VOL013\IMAGES\IMAGES003\00186071.pdf
                                              I‐495 & I‐270 MLS_ Cooperating Agency SDEIS
00186073   00186075   11/1/2022 8:39 Edoc     Com....pdf                                               .\VOL013\IMAGES\IMAGES003\00186073.pdf

00186076   00186078   11/1/2022 8:39 Edoc     Re_ I‐495 & I‐270 MLS‐ Final SDEIS for Prior Co....pdf   .\VOL013\IMAGES\IMAGES003\00186076.pdf

00186079   00186080   11/1/2022 8:39 Edoc     I‐495 & I‐270 MLS‐ Final SDEIS for Prior Concur....pdf   .\VOL013\IMAGES\IMAGES003\00186079.pdf
                                              I‐495 & I‐270 MLS_ M‐NCPPC Coordination
00186081   00186083   11/1/2022 8:39 Edoc     Meeting...(2).pdf                                        .\VOL013\IMAGES\IMAGES003\00186081.pdf
00186084   00186088   11/1/2022 8:40 Edoc     RE_ FHWA comments on Admin draft SDEIS.pdf               .\VOL013\IMAGES\IMAGES003\00186084.pdf
00186089   00186092   11/1/2022 8:40 Edoc     FW_ FHWA comments on Admin draft SDEIS.pdf               .\VOL013\IMAGES\IMAGES003\00186089.pdf
00186093   00186097   11/1/2022 8:40 Edoc     RE_ Morningstar Cemetery(1).pdf                          .\VOL013\IMAGES\IMAGES003\00186093.pdf

00186098   00186101   11/1/2022 8:40 Edoc     RE_ MLS SDEIS Public Hearing_ Materials Review.pdf       .\VOL013\IMAGES\IMAGES003\00186098.pdf
00186102   00186103   11/1/2022 8:40 Edoc     Morningstar Cemetery Inquiry .pdf                        .\VOL013\IMAGES\IMAGES003\00186102.pdf
                                              Re_ Cooperating Agency Comment_Response
00186104   00186105   11/1/2022 8:40 Edoc     Meeting.pdf                                              .\VOL013\IMAGES\IMAGES003\00186104.pdf
00186106   00186109   11/1/2022 8:40 Edoc     RE_ Morningstar Cemetery(2).pdf                          .\VOL013\IMAGES\IMAGES003\00186106.pdf
                                              20210820__Morningstar Cemetery
00186110   00186118   11/1/2022 8:40 Edoc     Communications.docx                                      .\VOL013\IMAGES\IMAGES003\00186110.pdf
                                              20210820__Morningstar Cemetery
00186119   00186127   11/1/2022 8:40 Edoc     Communications.docx                                      .\VOL013\IMAGES\IMAGES003\00186119.pdf
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00186128   00186129   11/1/2022 8:40 Edoc   Draft SDEIS Comment Meeting.pdf                          .\VOL013\IMAGES\IMAGES003\00186128.pdf
                                            RE_ I‐495 & I‐270 MLS_ Cooperating Agency
00186130   00186131   11/1/2022 8:40 Edoc   SDEIS....pdf                                             .\VOL013\IMAGES\IMAGES003\00186130.pdf
                                            RE_ I‐495 & I‐270 MLS_ Cooperating Agency
00186132   00186133   11/1/2022 8:40 Edoc   SDEIS...(1).pdf                                          .\VOL013\IMAGES\IMAGES003\00186132.pdf
00186134   00186135   11/1/2022 8:40 Edoc   MLS SDEIS Public Hearing_ Materials Review.pdf           .\VOL013\IMAGES\IMAGES003\00186134.pdf
00186136   00186138   11/1/2022 8:40 Edoc   Re_ Morningstar Cemetery.pdf                             .\VOL013\IMAGES\IMAGES003\00186136.pdf
00186139   00186141   11/1/2022 8:40 Edoc   RE_ Morningstar Cemetery(5).pdf                          .\VOL013\IMAGES\IMAGES003\00186139.pdf
00186142   00186144   11/1/2022 8:40 Edoc   RE_ Morningstar Cemetery(6).pdf                          .\VOL013\IMAGES\IMAGES003\00186142.pdf
00186145   00186146   11/1/2022 8:40 Edoc   Morningstar Cemetery.pdf                                 .\VOL013\IMAGES\IMAGES003\00186145.pdf
00186147   00186149   11/1/2022 8:40 Edoc   RE_ Capper Cramton Parkland .pdf                         .\VOL013\IMAGES\IMAGES003\00186147.pdf
00186150   00186151   11/1/2022 8:40 Edoc   Capper Cramton Parkland .pdf                             .\VOL013\IMAGES\IMAGES003\00186150.pdf
00186152   00186152   11/1/2022 8:40 Edoc   MLS SDEIS Air Quality Section.pdf                        .\VOL013\IMAGES\IMAGES003\00186152.pdf
00186153   00186155   11/1/2022 8:40 Edoc   MLS SDEIS Public Hearing Coordination.pdf                .\VOL013\IMAGES\IMAGES003\00186153.pdf
00186156   00186157   11/1/2022 8:40 Edoc   Agenda for todays meeting.pdf                            .\VOL013\IMAGES\IMAGES003\00186156.pdf
                                            Re_ [EXTERNAL] DRAFT AND CONFIDENTIAL_ I‐495 &
00186158   00186160   11/1/2022 8:40 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00186158.pdf

00186161   00186162   11/1/2022 8:40 Edoc   RE_ I‐495 & I‐270 MLS_ City of Rockville Coordi....pdf   .\VOL013\IMAGES\IMAGES003\00186161.pdf
00186163   00186163   11/1/2022 8:40 Edoc   Re_ FHWA comments on Admin draft SDEIS.pdf               .\VOL013\IMAGES\IMAGES003\00186163.pdf
00186164   00186164   11/1/2022 8:40 Edoc   FHWA comments on Admin draft SDEIS(1).pdf                .\VOL013\IMAGES\IMAGES003\00186164.pdf
                                            Fw_ I‐495 & I‐270 MLS_ Draft SDEIS
00186165   00186166   11/1/2022 8:41 Edoc   Comment_Resp....pdf                                      .\VOL013\IMAGES\IMAGES003\00186165.pdf
                                            Re_ [EXTERNAL] DRAFT AND CONFIDENTIAL_ I‐495 &
00186167   00186170   11/1/2022 8:41 Edoc   ...(1).pdf                                               .\VOL013\IMAGES\IMAGES003\00186167.pdf
                                            FW_ REVIEW REQUESTED_ draft SDEIS for the I‐
00186171   00186173   11/1/2022 8:41 Edoc   495....pdf                                               .\VOL013\IMAGES\IMAGES003\00186171.pdf
                                            I‐495 & I‐270 Managed Lanes Study_ Updated
00186174   00186175   11/1/2022 8:42 Edoc   Agen....pdf                                              .\VOL013\IMAGES\IMAGES003\00186174.pdf
00186176   00186177   11/1/2022 8:42 Edoc   FW_ Agency Coordination Plan.pdf                         .\VOL013\IMAGES\IMAGES003\00186176.pdf
                                            7_27 MLS FHWA Coordination Meeting ‐ Moses
00186178   00186179   11/1/2022 8:42 Edoc   Hall....pdf                                              .\VOL013\IMAGES\IMAGES003\00186178.pdf
00186180   00186181   11/1/2022 8:42 Edoc   RE_ Environmental Justice Working Group.pdf              .\VOL013\IMAGES\IMAGES003\00186180.pdf
                                            RE_ FHWA Coordination Meeting ‐‐ July 21,
00186182   00186185   11/1/2022 8:42 Edoc   2021_....pdf                                             .\VOL013\IMAGES\IMAGES003\00186182.pdf
                                            Re_ DRAFT AND CONFIDENTIAL_ I‐495 & I‐270 MLS
00186186   00186189   11/1/2022 8:42 Edoc   D....pdf                                                 .\VOL013\IMAGES\IMAGES003\00186186.pdf
00186190   00186191   11/1/2022 8:42 Edoc   Agency Coordination Plan.pdf                             .\VOL013\IMAGES\IMAGES003\00186190.pdf
00186192   00186193   11/1/2022 8:42 Edoc   Signature Page.pdf                                       .\VOL013\IMAGES\IMAGES003\00186192.pdf
00186194   00186195   11/1/2022 8:42 Edoc   Updated Schedule.pdf                                     .\VOL013\IMAGES\IMAGES003\00186194.pdf
00186196   00186197   11/1/2022 8:42 Edoc   Mail.pdf                                                 .\VOL013\IMAGES\IMAGES003\00186196.pdf
                                            MLS‐ Coordination Meeting Notes and
00186198   00186199   11/1/2022 8:43 Edoc   Transportat....pdf                                       .\VOL013\IMAGES\IMAGES003\00186198.pdf

00186200   00186203   11/1/2022 8:43 Edoc   2021‐07‐08 MLS NPS Transportation Permitted A.docx       .\VOL013\IMAGES\IMAGES003\00186200.pdf
00186204   00186204   11/1/2022 8:43 Edoc   NPS Impact Areas_2021.07.08.pdf                          .\VOL013\IMAGES\IMAGES003\00186204.pdf
00186205   00186207   11/1/2022 8:43 Edoc   FW_ CRITICAL.pdf                                         .\VOL013\IMAGES\IMAGES003\00186205.pdf
00186208   00186209   11/1/2022 8:43 Edoc   RE_ C&O Canal.pdf                                        .\VOL013\IMAGES\IMAGES003\00186208.pdf
00186210   00186212   11/1/2022 8:43 Edoc   Re_ C&O Canal.pdf                                        .\VOL013\IMAGES\IMAGES003\00186210.pdf
00186213   00186214   11/1/2022 8:43 Edoc   CRITICAL.pdf                                             .\VOL013\IMAGES\IMAGES003\00186213.pdf
00186215   00186216   11/1/2022 8:43 Edoc   Fw_ C&O Canal.pdf                                        .\VOL013\IMAGES\IMAGES003\00186215.pdf

00186217   00186220   11/1/2022 8:43 Edoc   Fw_ [EXTERNAL] FW_ NCPC Park Impact Discussion.pdf .\VOL013\IMAGES\IMAGES003\00186217.pdf

00186221   00186222   11/1/2022 8:43 Edoc   I‐495 & I‐270 MLS_ Administrative Draft of the ....pdf   .\VOL013\IMAGES\IMAGES003\00186221.pdf
                                            6_21 MLS NPS Impacts and Mitigation
00186223   00186224   11/1/2022 8:43 Edoc   Coordinatio....pdf                                       .\VOL013\IMAGES\IMAGES003\00186223.pdf
                                            Re_ [EXTERNAL] I‐495 & I‐270 MLS_ Request for
00186225   00186227   11/1/2022 8:43 Edoc   C....pdf                                                 .\VOL013\IMAGES\IMAGES003\00186225.pdf

00186228   00186232   11/1/2022 8:43 Edoc   RE_ I‐495 & I‐270 MLS_ ALB Trail Coordination M....pdf .\VOL013\IMAGES\IMAGES003\00186228.pdf
00186233   00186234   11/1/2022 8:43 Edoc   ALB Shared Use Path.pdf                                .\VOL013\IMAGES\IMAGES003\00186233.pdf
                                            RE_ I‐495 & I‐270 MLS_ ALB Trail Coordination
00186235   00186238   11/1/2022 8:43 Edoc   M...(1).pdf                                            .\VOL013\IMAGES\IMAGES003\00186235.pdf
                                            Fw_ Managed Lanes Study Inquiry_ Maintenance
00186239   00186241   11/1/2022 8:43 Edoc   in....pdf                                              .\VOL013\IMAGES\IMAGES003\00186239.pdf
00186242   00186242   11/1/2022 8:43 Edoc   image001.png                                           .\VOL013\IMAGES\IMAGES003\00186242.pdf
00186243   00186243   11/1/2022 8:43 Edoc   image004.png                                           .\VOL013\IMAGES\IMAGES003\00186243.pdf
00186244   00186245   11/1/2022 8:43 Edoc   SHA Claira Barton Maintains.pdf                        .\VOL013\IMAGES\IMAGES003\00186244.pdf

00186246   00186247   11/1/2022 8:43 Edoc   I‐495 & I‐270 MLS_ ALB Trail Coordination Meeti....pdf   .\VOL013\IMAGES\IMAGES003\00186246.pdf
                                            RE_ Requesting an Update on the NEPA Review
00186248   00186254   11/1/2022 8:43 Edoc   fo...(3).pdf                                             .\VOL013\IMAGES\IMAGES003\00186248.pdf
00186255   00186256   11/1/2022 8:43 Edoc   Moses Hall Cemetery Impact Quantities.pdf                .\VOL013\IMAGES\IMAGES003\00186255.pdf
                                            RE_ MLS responses to Chapter 5 Admin. FEIS &
00186257   00186258   11/1/2022 9:04 Edoc   Ap....pdf                                                .\VOL013\IMAGES\IMAGES003\00186257.pdf
                                            RE_ MLS responses to Chapter 5 Admin FEIS &
00186259   00186259   11/1/2022 9:04 Edoc   App....pdf                                               .\VOL013\IMAGES\IMAGES003\00186259.pdf
00186260   00186260   11/1/2022 9:04 Edoc   image001.png                                             .\VOL013\IMAGES\IMAGES003\00186260.pdf
00186261   00186511   11/1/2022 9:04 Edoc   MLS_FEIS_AppK_AQTR_4.26.2022.pdf                         .\VOL013\IMAGES\IMAGES003\00186261.pdf
                                            RE_ MLS responses to Chapter 5 Admin. FEIS
00186512   00186512   11/1/2022 9:04 Edoc   comm....pdf                                              .\VOL013\IMAGES\IMAGES003\00186512.pdf

00186513   00186516   11/1/2022 9:04 Edoc   RE_ Rockville Concurrence Form and Statement.pdf         .\VOL013\IMAGES\IMAGES003\00186513.pdf

00186517   00186519   11/1/2022 9:04 Edoc   RE_ Rockville Concurrence Form and Statement(1).pdf .\VOL013\IMAGES\IMAGES003\00186517.pdf

00186520   00186522   11/1/2022 9:04 Edoc   RE_ Rockville Concurrence Form and Statement(2).pdf .\VOL013\IMAGES\IMAGES003\00186520.pdf

00186523   00186525   11/1/2022 9:04 Edoc   RE_ Rockville Concurrence Form and Statement(3).pdf .\VOL013\IMAGES\IMAGES003\00186523.pdf
00186526   00186535   11/1/2022 9:04 Edoc   MLS_Signed de minimis Letter Rockville.pdf          .\VOL013\IMAGES\IMAGES003\00186526.pdf

00186536   00186537   11/1/2022 9:04 Edoc   RE_ Rockville Concurrence Form and Statement(4).pdf .\VOL013\IMAGES\IMAGES003\00186536.pdf
00186538   00186539   11/1/2022 9:04 Edoc   Rockville Concurrence Form and Statement.pdf        .\VOL013\IMAGES\IMAGES003\00186538.pdf

00186540   00186541   11/1/2022 9:04 Edoc   RE_ Request for Concurrence on 4(f) De Minimis ....pdf .\VOL013\IMAGES\IMAGES003\00186540.pdf

00186542   00186542   11/1/2022 9:05 Edoc   I‐495 & I‐270 Managed Lanes Study‐ Section 4(f)....pdf .\VOL013\IMAGES\IMAGES003\00186542.pdf
00186543   00186544   11/1/2022 9:05 Edoc   RE_ letter.pdf                                         .\VOL013\IMAGES\IMAGES003\00186543.pdf
00186545   00186546   11/1/2022 9:05 Edoc   RE_ final draft Rockville Letter.pdf                   .\VOL013\IMAGES\IMAGES003\00186545.pdf

00186547   00186552   11/1/2022 9:05 Edoc   2020‐03‐12_MHT Comments on I‐495 & I‐270 MLS.pdf .\VOL013\IMAGES\IMAGES003\00186547.pdf
00186553   00186556   11/1/2022 9:05 Edoc   RE_ FEIS Appendices_Erratas Uploaded.pdf         .\VOL013\IMAGES\IMAGES003\00186553.pdf
                                            MLS_AdminFEIS_Errata_App_Responses_FHWA_0308
00186557   00186558   11/1/2022 9:05 Edoc   2.docx                                           .\VOL013\IMAGES\IMAGES003\00186557.pdf
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00186559   00186562   11/1/2022 9:05 Edoc   RE_ I‐495 & I‐270 MLS_ IAPA Safety Analysis.pdf          .\VOL013\IMAGES\IMAGES003\00186559.pdf
00186563   00186563   11/1/2022 9:06 Edoc   Draft Rockville Letter.pdf                               .\VOL013\IMAGES\IMAGES003\00186563.pdf
                                            RE_ Comments of Carderock Springs Citizens
00186564   00186566   11/1/2022 9:06 Edoc   Asso....pdf                                              .\VOL013\IMAGES\IMAGES003\00186564.pdf

00186567   00186567   11/1/2022 9:07 Edoc   Cabin John Citizens Association Consulting Part....pdf   .\VOL013\IMAGES\IMAGES003\00186567.pdf
                                            Sierra Club Comments on the 3_31_2022 495_270
00186568   00186568   11/1/2022 9:07 Edoc   P....pdf                                                 .\VOL013\IMAGES\IMAGES003\00186568.pdf

00186569   00186569   11/1/2022 9:07 Edoc   Friends of Moses Hall CP Comments to I‐495 and ....pdf .\VOL013\IMAGES\IMAGES003\00186569.pdf
00186570   00186572   11/1/2022 9:07 Edoc   RE_ FEIS Appendices_Erratas Uploaded(1).pdf            .\VOL013\IMAGES\IMAGES003\00186570.pdf
00186573   00186579   11/1/2022 9:07 Edoc   RE_ FHWA Action Required_ Revised FEIS.pdf             .\VOL013\IMAGES\IMAGES003\00186573.pdf

00186580   00186580   11/1/2022 9:07 Edoc   Greg's Notes and framework for the City Of Rock....pdf .\VOL013\IMAGES\IMAGES003\00186580.pdf
00186581   00186581   11/1/2022 9:07 Edoc   FW_ FHWA Action Required_ Revised FEIS(1).pdf          .\VOL013\IMAGES\IMAGES003\00186581.pdf

00186582   00186583   11/1/2022 9:07 Edoc   Comment Letter regarding the most recent I‐495 ....pdf .\VOL013\IMAGES\IMAGES003\00186582.pdf
00186584   00186584   11/1/2022 9:07 Edoc   image003.png                                           .\VOL013\IMAGES\IMAGES003\00186584.pdf

00186585   00186586   11/1/2022 9:07 Edoc   RE_ MLS‐ MNCPPC Section 4(f) de minimis letter.pdf       .\VOL013\IMAGES\IMAGES003\00186585.pdf
00186587   00186589   11/1/2022 9:07 Edoc   RE_ FHWA Action Required_ Revised FEIS(1).pdf            .\VOL013\IMAGES\IMAGES003\00186587.pdf

00186590   00186590   11/1/2022 9:07 Edoc   Sierra Club Letter Regarding I‐495 & I‐270 Sect....pdf   .\VOL013\IMAGES\IMAGES003\00186590.pdf

00186591   00186591   11/1/2022 9:08 Edoc   RE_ MLS‐ MNCPPC Section 4(f) de minimis letter(1).pdf .\VOL013\IMAGES\IMAGES003\00186591.pdf
00186592   00186593   11/1/2022 9:08 Edoc   MLS‐ MNCPPC Section 4(f) de minimis letter.pdf        .\VOL013\IMAGES\IMAGES003\00186592.pdf
                                            Friends of Moses Hall CP INTERIM Comments to I‐
00186594   00186594   11/1/2022 9:08 Edoc   ....pdf                                               .\VOL013\IMAGES\IMAGES003\00186594.pdf
00186595   00186596   11/1/2022 9:08 Edoc   FW_ FHWA Action Required_ Revised FEIS(3).pdf         .\VOL013\IMAGES\IMAGES003\00186595.pdf

00186597   00186598   11/1/2022 9:08 Edoc   RE_ FHWA Action Required_ Revised FEIS(11).pdf           .\VOL013\IMAGES\IMAGES003\00186597.pdf

00186599   00186601   11/1/2022 9:10 Edoc   RE_ FHWA Action Required_ Revised FEIS(12).pdf           .\VOL013\IMAGES\IMAGES003\00186599.pdf
00186602   00186603   11/1/2022 9:10 Edoc   FW_ FHWA Action Required_ Revised FEIS(4).pdf            .\VOL013\IMAGES\IMAGES003\00186602.pdf
00186604   00186604   11/1/2022 9:10 Edoc   Mitigation Table.pdf                                     .\VOL013\IMAGES\IMAGES003\00186604.pdf
                                            FW_ Request for Executive Level Meeting with
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                                            RE_ I‐495 & I‐270 Managed Lanes Study‐ Section
00186609   00186611   11/1/2022 9:11 Edoc   ...(1).pdf                                               .\VOL013\IMAGES\IMAGES003\00186609.pdf
00186612   00186612   11/1/2022 9:12 Edoc   Follow‐up GWMP Signing Meeting.pdf                       .\VOL013\IMAGES\IMAGES003\00186612.pdf
                                            Request for Executive Level Meeting with FHWA
00186613   00186613   11/1/2022 9:12 Edoc   f...(1).pdf                                              .\VOL013\IMAGES\IMAGES003\00186613.pdf
00186614   00186615   11/1/2022 9:12 Edoc   Section 4(f) Individual Evaluations.pdf                  .\VOL013\IMAGES\IMAGES003\00186614.pdf
                                            Fwd_ I‐495 and I‐270 Opportunity Lanes Managed
00186616   00186616   11/1/2022 9:14 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES003\00186616.pdf
                                            FW_ FHWA Comments ‐ Administrative FEIS and IAPA
00186617   00186617   11/1/2022 9:14 Edoc   .pdf                                                     .\VOL013\IMAGES\IMAGES003\00186617.pdf

00186618   00186618   11/1/2022 9:14 Edoc   FHWA Comments ‐ Administrative FEIS and IAPA .pdf        .\VOL013\IMAGES\IMAGES003\00186618.pdf
                                            Admin FEIS ‐ Comment
00186619   00186654   11/1/2022 9:14 Edoc   Errata_FHWA_comments_030.docx                            .\VOL013\IMAGES\IMAGES003\00186619.pdf

00186655   00186657   11/1/2022 9:14 Edoc   FW_ Toll lane traffic forecast lacks all credib....pdf   .\VOL013\IMAGES\IMAGES003\00186655.pdf

00186658   00186658   11/1/2022 9:14 Edoc   FW_ I‐495 and I‐270 Managed Lane Study ‐ draft ....pdf .\VOL013\IMAGES\IMAGES003\00186658.pdf
                                            Fwd_ VDOT Review Requested_ I‐495 & I‐270 MLS
00186659   00186661   11/1/2022 9:14 Edoc   A....pdf                                               .\VOL013\IMAGES\IMAGES003\00186659.pdf
00186662   00186662   11/1/2022 9:14 Edoc   Admin FEIS ‐ Comment Errata Table_VDOT.docx            .\VOL013\IMAGES\IMAGES003\00186662.pdf
00186663   00186665   11/1/2022 9:14 Edoc   RE_ Signing Issue background for NPS.pdf               .\VOL013\IMAGES\IMAGES003\00186663.pdf
00186666   00186667   11/1/2022 9:14 Edoc   RE_ Signing Issue background for NPS(2).pdf            .\VOL013\IMAGES\IMAGES003\00186666.pdf
                                            RE_ Spiller Comments_ RE_ Requesting Review of
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                                            RE_ Spiller Comments_ RE_ Requesting Review of
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                                            RE_ Spiller Comments_ RE_ Requesting Review of
00186679   00186683   11/1/2022 9:15 Edoc   ...(2).pdf                                             .\VOL013\IMAGES\IMAGES003\00186679.pdf
                                            Spiller Comments_ RE_ Requesting Review of MD
00186684   00186687   11/1/2022 9:15 Edoc   S....pdf                                               .\VOL013\IMAGES\IMAGES003\00186684.pdf
00186688   00186691   11/1/2022 9:15 Edoc   MD I‐495 and I‐270 Study Tolling Excerpts.docx         .\VOL013\IMAGES\IMAGES003\00186688.pdf
                                            MD I‐495 and I‐270 ExecutiveSummary_02‐04‐
00186692   00186714   11/1/2022 9:15 Edoc   202.docx                                               .\VOL013\IMAGES\IMAGES003\00186692.pdf
00186715   00186716   11/1/2022 9:15 Edoc   FW_ 495_270 Briefing Materials.pdf                     .\VOL013\IMAGES\IMAGES003\00186715.pdf
                                            RE_ Requesting Review of MLS Administrative
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00186720   00186721   11/1/2022 9:15 Edoc   FW_ I‐495 and I‐270 Managed Lane Study.pdf             .\VOL013\IMAGES\IMAGES003\00186720.pdf
00186722   00186722   11/1/2022 9:15 Edoc   FW_ I‐495 and I‐270 Managed Lane Study(1).pdf          .\VOL013\IMAGES\IMAGES003\00186722.pdf
                                            I‐495 & I‐270 Managed Lanes Study‐ Section
00186723   00186724   11/1/2022 9:15 Edoc   4(f)...(1).pdf                                         .\VOL013\IMAGES\IMAGES003\00186723.pdf
                                            I‐495 & I‐270 Managed Lanes Study‐ Section
00186725   00186726   11/1/2022 9:15 Edoc   4(f)...(2).pdf                                         .\VOL013\IMAGES\IMAGES003\00186725.pdf

00186727   00186727   11/1/2022 9:17 Edoc   Maryland Sierra Club I‐495 & I‐270 MLS Section ....pdf   .\VOL013\IMAGES\IMAGES003\00186727.pdf
                                            RE_ Requesting Review of MLS Administrative
00186728   00186729   11/1/2022 9:17 Edoc   FEI...(1).pdf                                            .\VOL013\IMAGES\IMAGES003\00186728.pdf
                                            FW_ Section 106 Comments on I‐495 and I‐270
00186730   00186730   11/1/2022 9:17 Edoc   Man....pdf                                               .\VOL013\IMAGES\IMAGES003\00186730.pdf
                                            Friends of Moses Hall CP Comments to I‐495 and
00186731   00186731   11/1/2022 9:17 Edoc   ...(1).pdf                                               .\VOL013\IMAGES\IMAGES003\00186731.pdf
                                            WBFC Comments on MLS‐106_Att‐7_Jan‐
00186732   00186732   11/1/2022 9:18 Edoc   2022_495_270....pdf                                      .\VOL013\IMAGES\IMAGES003\00186732.pdf
                                            FW_ Correspondence from the Rockville Mayor
00186733   00186733   11/1/2022 9:18 Edoc   and....pdf                                               .\VOL013\IMAGES\IMAGES003\00186733.pdf
00186734   00186735   11/1/2022 9:20 Edoc   RE_ GWMP Signing.pdf                                     .\VOL013\IMAGES\IMAGES003\00186734.pdf
00186736   00186737   11/1/2022 9:20 Edoc   FW_ GWMP Signing.pdf                                     .\VOL013\IMAGES\IMAGES003\00186736.pdf
                                            FW_ Signing Question ‐ Brown background on
00186738   00186741   11/1/2022 9:20 Edoc   guid....pdf                                              .\VOL013\IMAGES\IMAGES003\00186738.pdf
00186742   00186742   11/1/2022 9:20 Edoc   image005.png                                             .\VOL013\IMAGES\IMAGES003\00186742.pdf

00186743   00186743   11/1/2022 9:20 Edoc   FHWA 1_12_2022 internal meeting on MLS project.pdf .\VOL013\IMAGES\IMAGES003\00186743.pdf
                                            RE_ FEIS‐Chapter 9 ‐ Comments requested by
00186744   00186747   11/1/2022 9:20 Edoc   Janu...(2).pdf                                     .\VOL013\IMAGES\IMAGES003\00186744.pdf

00186748   00186752   11/1/2022 9:20 Edoc   FW_ DEIS Comment Responses‐ Additional(1).pdf            .\VOL013\IMAGES\IMAGES003\00186748.pdf
                                            FW_ Letter re_ the need for further formal
00186753   00186754   11/1/2022 9:20 Edoc   revi...(1).pdf                                           .\VOL013\IMAGES\IMAGES003\00186753.pdf
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                                             FW_ Letter re_ the need for further formal
00186755   00186756    11/1/2022 9:20 Edoc   revi...(2).pdf                                           .\VOL013\IMAGES\IMAGES003\00186755.pdf

00186757   00186757    11/1/2022 9:20 Edoc   FW_ Rep. Raskin (MD) ‐ Letter re_ SDEIS for the....pdf .\VOL013\IMAGES\IMAGES003\00186757.pdf
00186758   00186761    11/1/2022 9:21 Edoc   DEIS Comment Responses‐ Additional.pdf                 .\VOL013\IMAGES\IMAGES003\00186758.pdf
                                             FW_ MDOT SHA_FHWA Morningstar Cemetery Section
00186762   00186763    11/1/2022 9:21 Edoc   ....pdf                                                .\VOL013\IMAGES\IMAGES003\00186762.pdf
                                             FW_ FEIS‐Chapter 9 ‐ Comments requested by
00186764   00186766    11/1/2022 9:21 Edoc   Janu....pdf                                            .\VOL013\IMAGES\IMAGES003\00186764.pdf
00186767   00186767   11/1/2022 11:05 Edoc   Signed ROD.pdf                                         .\VOL013\IMAGES\IMAGES003\00186767.pdf
00186768   00186769   11/1/2022 11:05 Edoc   Final ROD.pdf                                          .\VOL013\IMAGES\IMAGES003\00186768.pdf
                                             FW_ Volpe Review of MTOC letter and SDEIS_FEIS
00186770   00186771   11/1/2022 11:06 Edoc   ....pdf                                                .\VOL013\IMAGES\IMAGES003\00186770.pdf
00186772   00186775   11/1/2022 11:07 Edoc   FW_ MDOT TRP ROD(1).pdf                                .\VOL013\IMAGES\IMAGES003\00186772.pdf
00186776   00186777   11/1/2022 11:07 Edoc   Subsidy.pdf                                            .\VOL013\IMAGES\IMAGES003\00186776.pdf

00186778   00186778   11/1/2022 11:08 Edoc   Summary of Elected Officials Letters to FHWA_OST.pdf .\VOL013\IMAGES\IMAGES003\00186778.pdf
00186779   00186780   11/1/2022 11:08 Edoc   MLS Elected Officials Letters.docx                   .\VOL013\IMAGES\IMAGES003\00186779.pdf

00186781   00186781   11/1/2022 11:09 Edoc   Maryland Transit Opportunities Coalition Bullet....pdf   .\VOL013\IMAGES\IMAGES003\00186781.pdf
00186782   00186782   11/1/2022 11:09 Edoc   RE_ bullet points.pdf                                    .\VOL013\IMAGES\IMAGES003\00186782.pdf
00186783   00186783   11/1/2022 11:09 Edoc   bullet points.pdf                                        .\VOL013\IMAGES\IMAGES003\00186783.pdf
00186784   00186784   11/1/2022 11:09 Edoc   SHA response.pdf                                         .\VOL013\IMAGES\IMAGES003\00186784.pdf
                                             MLS Revised ROD Files and FEIS Comments and
00186785   00186786   11/1/2022 11:09 Edoc   Res....pdf                                               .\VOL013\IMAGES\IMAGES003\00186785.pdf
00186787   00186788   11/1/2022 11:10 Edoc   FW_ Draft July 18 Sierra Club FEIS response.pdf          .\VOL013\IMAGES\IMAGES003\00186787.pdf
00186789   00186789   11/1/2022 11:10 Edoc   Draft July 18 Sierra Club FEIS response.pdf              .\VOL013\IMAGES\IMAGES003\00186789.pdf
                                             MLS Revised ROD Files and FEIS Comments and
00186790   00186791   11/1/2022 11:10 Edoc   Res...(1).pdf                                            .\VOL013\IMAGES\IMAGES003\00186790.pdf
                                             FHWA_AppA_ROD_CommitmentsMitigation FHWA
00186792   00186813   11/1/2022 11:10 Edoc   Comm.docx                                                .\VOL013\IMAGES\IMAGES003\00186792.pdf
00186814   00186815   11/1/2022 11:10 Edoc   FW_ Letters and or comments received.pdf                 .\VOL013\IMAGES\IMAGES003\00186814.pdf
00186816   00186818   11/1/2022 11:10 Edoc   RE_ Revised ROD Schedule(2).pdf                          .\VOL013\IMAGES\IMAGES003\00186816.pdf
                                             Updated Comments on the I‐495 and I‐270
00186819   00186822   11/1/2022 11:11 Edoc   Managed....pdf                                           .\VOL013\IMAGES\IMAGES003\00186819.pdf
00186823   00186824   11/1/2022 11:12 Edoc   RE_ FEIS Comments Received To‐Date.pdf                   .\VOL013\IMAGES\IMAGES003\00186823.pdf
00186825   00186826   11/1/2022 11:12 Edoc   RE_ FEIS Comments Received To‐Date(1).pdf                .\VOL013\IMAGES\IMAGES003\00186825.pdf

00186827   00186827   11/1/2022 11:12 Edoc   Traffic Forecasts and Analysis changes from SDE....pdf .\VOL013\IMAGES\IMAGES003\00186827.pdf
00186828   00186828   11/1/2022 11:12 Edoc   FW_ Letters and or comments received(1).pdf            .\VOL013\IMAGES\IMAGES003\00186828.pdf
                                             RE_ Rep. Raskin (MD) ‐ Letter re_ SDEIS for
00186829   00186836   11/1/2022 11:12 Edoc   the...(6).pdf                                          .\VOL013\IMAGES\IMAGES003\00186829.pdf

00186837   00186837   11/1/2022 11:13 Edoc   Comments of Friends of Moses Hall to FEIS_Secti....pdf .\VOL013\IMAGES\IMAGES004\00186837.pdf
00186838   00186838   11/1/2022 11:13 Edoc   FEIS Comments Received To‐Date.pdf                     .\VOL013\IMAGES\IMAGES004\00186838.pdf
                                             Re_ MDOT SHA Response to MD Transit Group
00186839   00186841   11/1/2022 11:13 Edoc   Letter.pdf                                             .\VOL013\IMAGES\IMAGES004\00186839.pdf
                                             RE_ MDOT SHA Response to MD Transit Group
00186842   00186843   11/1/2022 11:13 Edoc   Letter(4).pdf                                          .\VOL013\IMAGES\IMAGES004\00186842.pdf

00186844   00186844   11/1/2022 11:14 Edoc   MDOT SHA Response to MD Transit Group Letter.pdf         .\VOL013\IMAGES\IMAGES004\00186844.pdf

00186845   00186846   11/1/2022 11:14 Edoc   FW_ [Response ASAP] S1 T&I Hearing ‐ Just the F....pdf .\VOL013\IMAGES\IMAGES004\00186845.pdf
00186847   00186847   11/1/2022 11:14 Edoc   Letters and or comments received.pdf                   .\VOL013\IMAGES\IMAGES004\00186847.pdf
00186848   00186848   11/1/2022 11:14 Edoc   Questions for 1 PM meeting.pdf                         .\VOL013\IMAGES\IMAGES004\00186848.pdf
                                             RE_ Response requested by June 28_ draft
00186849   00186850   11/1/2022 11:14 Edoc   Record...(1).pdf                                       .\VOL013\IMAGES\IMAGES004\00186849.pdf
                                             FW_ EDMS_ Folder Assignment OST‐S10‐220610‐
00186851   00186852   11/1/2022 11:15 Edoc   005.pdf                                                .\VOL013\IMAGES\IMAGES004\00186851.pdf
00186853   00186853   11/1/2022 11:15 Edoc   FW_ Rockville Response.pdf                             .\VOL013\IMAGES\IMAGES004\00186853.pdf
                                             FW_ Response requested by June 28_ draft
00186854   00186855   11/1/2022 11:15 Edoc   Record...(2).pdf                                       .\VOL013\IMAGES\IMAGES004\00186854.pdf

00186856   00186856   11/1/2022 11:15 Edoc   Response requested by June 28_ draft Record of ....pdf .\VOL013\IMAGES\IMAGES004\00186856.pdf
00186857   00186858   11/1/2022 11:15 Edoc   Review Required_ Initial Draft ROD.pdf                 .\VOL013\IMAGES\IMAGES004\00186857.pdf
00186859   00186859   11/1/2022 11:16 Edoc   Managed Lanes.pdf                                      .\VOL013\IMAGES\IMAGES004\00186859.pdf
                                             FW_ I‐495 and I‐270 Managed Lanes Study, Anne
00186860   00186861   11/1/2022 11:16 Edoc   A....pdf                                               .\VOL013\IMAGES\IMAGES004\00186860.pdf
00186862   00186863   11/1/2022 11:16 Edoc   RE_ MLS Revised Files Uploaded to FTP site.pdf         .\VOL013\IMAGES\IMAGES004\00186862.pdf
00186864   00186864   11/1/2022 11:16 Edoc   FW_ Control Correspondence(1).pdf                      .\VOL013\IMAGES\IMAGES004\00186864.pdf
                                             RE_ MLS App J Programmatic Agreement on FTP
00186865   00186867   11/1/2022 11:17 Edoc   site.pdf                                               .\VOL013\IMAGES\IMAGES004\00186865.pdf
                                             FW_ MLS App J Programmatic Agreement on FTP
00186868   00186869   11/1/2022 11:17 Edoc   site.pdf                                               .\VOL013\IMAGES\IMAGES004\00186868.pdf
00186870   00186872   11/1/2022 11:17 Edoc   FW_ MLS Revised Files Uploaded to FTP site.pdf         .\VOL013\IMAGES\IMAGES004\00186870.pdf

00186873   00186874   11/1/2022 11:17 Edoc   FW_ MLS Revised Files Uploaded to FTP site(1).pdf        .\VOL013\IMAGES\IMAGES004\00186873.pdf

00186875   00186876   11/1/2022 11:17 Edoc   RE_ MLS Revised Files Uploaded to FTP site(1).pdf        .\VOL013\IMAGES\IMAGES004\00186875.pdf
00186877   00186878   11/1/2022 11:17 Edoc   Fwd_ MLS Revised Files Uploaded to FTP site.pdf          .\VOL013\IMAGES\IMAGES004\00186877.pdf
                                             FW_ FOLLOW UP to Maryland I‐495_I‐27 MLS FEIS
00186879   00186880   11/1/2022 11:18 Edoc   B...(2).pdf                                              .\VOL013\IMAGES\IMAGES004\00186879.pdf
                                             FW_ FOLLOW UP to Maryland I‐495_I‐27 MLS FEIS
00186881   00186882   11/1/2022 11:18 Edoc   B...(1).pdf                                              .\VOL013\IMAGES\IMAGES004\00186881.pdf
                                             FW_ FOLLOW UP to Maryland I‐495_I‐27 MLS FEIS
00186883   00186883   11/1/2022 11:18 Edoc   B...(4).pdf                                              .\VOL013\IMAGES\IMAGES004\00186883.pdf
                                             FOLLOW UP to Maryland I‐495_I‐27 MLS FEIS
00186884   00186884   11/1/2022 11:18 Edoc   Brief....pdf                                             .\VOL013\IMAGES\IMAGES004\00186884.pdf

00186885   00186885   11/1/2022 11:18 Edoc   I‐495 and I‐270 Managed Lanes Study FEIS Prior ....pdf .\VOL013\IMAGES\IMAGES004\00186885.pdf

00186886   00186886   11/1/2022 11:21 Edoc   Friends of Moses Hall CP Comments to I‐495 and ....pdf .\VOL013\IMAGES\IMAGES004\00186886.pdf
                                             2021.10.20_MLS_CEEJHLab_Discussion_Meeting_Note
00186887   00186888    11/2/2022 9:19 Edoc   s_ELR_BCR.docx                                         .\VOL013\IMAGES\IMAGES004\00186887.pdf
                                             2021.03.02_MLS_EJWG_Discussion_Meeting_Notes_FI
00186889   00186895   11/2/2022 10:07 Edoc   NAL.docx                                               .\VOL013\IMAGES\IMAGES004\00186889.pdf
                                             2021.09.15_MLS_EJWG_Discussion_Meeting_Notes_v
00186896   00186897   11/2/2022 10:49 Edoc   1.docx                                                 .\VOL013\IMAGES\IMAGES004\00186896.pdf

00186898   00186909   11/2/2022 12:46 Edoc   large land owner_American Tower Corporation.pdf          .\VOL013\IMAGES\IMAGES004\00186898.pdf
00186910   00186922   11/2/2022 12:47 Edoc   large land owner_Brandywine Research LLC.pdf             .\VOL013\IMAGES\IMAGES004\00186910.pdf
00186923   00186935   11/2/2022 12:49 Edoc   Large Land Owner_Forest Village United LLC.pdf           .\VOL013\IMAGES\IMAGES004\00186923.pdf
00186936   00186948   11/2/2022 12:51 Edoc   Large Land Owner_Jabbok Ministries.pdf                   .\VOL013\IMAGES\IMAGES004\00186936.pdf
00186949   00186961   11/2/2022 12:51 Edoc   large land owner_presentation_ATU_8.07.19.pdf            .\VOL013\IMAGES\IMAGES004\00186949.pdf
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                                             Large Land Owner_Presentation_Bethesda Country
00186962   00186973   11/2/2022 12:52 Edoc   Club_07.11.19.pdf                                 .\VOL013\IMAGES\IMAGES004\00186962.pdf
                                             Large Land Owner_Presentation_Burning Tree Golf
00186974   00186985   11/2/2022 13:00 Edoc   Club_06.25.19.pdf                                 .\VOL013\IMAGES\IMAGES004\00186974.pdf
                                             Large Land Owner_Presentation_Calvary Lutheran
00186986   00186997   11/2/2022 13:08 Edoc   Church_7.31.19.pdf                                .\VOL013\IMAGES\IMAGES004\00186986.pdf
                                             Large Land Owner_Presentation_DC Radio Assets,
00186998   00187009   11/2/2022 13:09 Edoc   LLC_7.25.19.pdf                                   .\VOL013\IMAGES\IMAGES004\00186998.pdf
                                             Large Land Owner_Presentation_Grosvenor
00187010   00187021   11/2/2022 13:10 Edoc   Place_07.17.19.pdf                                .\VOL013\IMAGES\IMAGES004\00187010.pdf
                                             Large Land Owner_Presentation_PG County
00187022   00187033   11/2/2022 13:11 Edoc   Schools_06.19.19.pdf                              .\VOL013\IMAGES\IMAGES004\00187022.pdf
                                             large land owner_presentation_PR2
00187034   00187046   11/2/2022 13:11 Edoc   Woodmore_8.08.19.pdf                              .\VOL013\IMAGES\IMAGES004\00187034.pdf

                                             Large Land Owner_Presentation_Revenue Authority of
00187047   00187058   11/2/2022 13:12 Edoc   Prince George's County_07.24.19.pdf                .\VOL013\IMAGES\IMAGES004\00187047.pdf
00187059   00187071   11/2/2022 13:12 Edoc   Large Land Owner_Promenade Towers.pdf              .\VOL013\IMAGES\IMAGES004\00187059.pdf
00187072   00187084   11/2/2022 13:15 Edoc   large land owner_Tower Companies.pdf               .\VOL013\IMAGES\IMAGES004\00187072.pdf
00187085   00187110   11/3/2022 10:01 Edoc   20190628_senator cardin staff_presentation.pdf     .\VOL013\IMAGES\IMAGES004\00187085.pdf
                                             2019‐05‐24_Email Re Direct Access Locations Mtg
00187111   00187111   11/3/2022 11:37 Edoc   #1.pdf                                             .\VOL013\IMAGES\IMAGES004\00187111.pdf
                                             Additional Direct Access Locations_meeting summary
00187112   00187116   11/3/2022 11:37 Edoc   8‐1‐19.docx                                        .\VOL013\IMAGES\IMAGES004\00187112.pdf
                                             2019‐12‐06_Email Re County Pedestrian_Bicycle
00187117   00187117   11/3/2022 11:38 Edoc   Considerations .pdf                                .\VOL013\IMAGES\IMAGES004\00187117.pdf
00187118   00187132   11/3/2022 14:27 Edoc   2021_04_12_FMH PA Draft Comments_FINAL.pdf         .\VOL013\IMAGES\IMAGES004\00187118.pdf
                                             2021_04_12_NPSMA Comments_Sec106 PA
00187133   00187135   11/3/2022 14:27 Edoc   (210412).pdf                                       .\VOL013\IMAGES\IMAGES004\00187133.pdf
                                             2021_04_2021_ISCA comments draft PA Beltway
00187136   00187138   11/3/2022 14:28 Edoc   Expansion 4‐12‐21.docx                             .\VOL013\IMAGES\IMAGES004\00187136.pdf
00187139   00187142   11/3/2022 14:29 Edoc   2021_4_12_Carderock Springs CA ‐ 4.12.2021.pdf     .\VOL013\IMAGES\IMAGES004\00187139.pdf
                                             2021_4_12_First Agape AMEZ Church Draft PA 1
00187143   00187144   11/3/2022 14:29 Edoc   Comments.pdf                                       .\VOL013\IMAGES\IMAGES004\00187143.pdf
                                             2021_04_12_SOS comments Sec. 106 Draft 1 PA I‐
00187145   00187147   11/3/2022 14:29 Edoc   495I270 Managed Lanes Study.PDF                    .\VOL013\IMAGES\IMAGES004\00187145.pdf
00187148   00187149   11/3/2022 14:30 Edoc   2021_04_17 section 106 RCC.pdf                     .\VOL013\IMAGES\IMAGES004\00187148.pdf
00187150   00187152   11/3/2022 16:26 Edoc   MLS DOE Batch Transmittal Template_12_6.pdf        .\VOL013\IMAGES\IMAGES004\00187150.pdf
00187153   00187153   11/3/2022 16:26 Edoc   MLS DOE Eligibility Table_Batch 2.pdf              .\VOL013\IMAGES\IMAGES004\00187153.pdf
00187154   00187158   11/3/2022 16:27 Edoc   MLS DOE Batch Transmittal_3.pdf                    .\VOL013\IMAGES\IMAGES004\00187154.pdf
00187159   00187163   11/3/2022 16:27 Edoc   MLS DOE Transmittal_Batch 4.pdf                    .\VOL013\IMAGES\IMAGES004\00187159.pdf
00187164   00187166   11/3/2022 16:28 Edoc   MLS DOE Transmittal_Batch 5.pdf                    .\VOL013\IMAGES\IMAGES004\00187164.pdf
00187167   00187168   11/3/2022 16:28 Edoc   MLS DOE Transmittal_Batch 5_Attach 1.pdf           .\VOL013\IMAGES\IMAGES004\00187167.pdf
00187169   00187171   11/3/2022 16:28 Edoc   MLS DOE Batch Transmittal_6.pdf                    .\VOL013\IMAGES\IMAGES004\00187169.pdf
00187172   00187173   11/3/2022 16:28 Edoc   MLS DOE Eligibility Table_Batch 6.pdf              .\VOL013\IMAGES\IMAGES004\00187172.pdf
00187174   00187176   11/3/2022 16:28 Edoc   MLS DOE Batch Transmittal_7.pdf                    .\VOL013\IMAGES\IMAGES004\00187174.pdf
00187177   00187178   11/3/2022 16:28 Edoc   MLS DOE Eligibility Table_Batch 7.pdf              .\VOL013\IMAGES\IMAGES004\00187177.pdf
00187179   00187180   11/3/2022 16:29 Edoc   MLS DOE Eligibility Table_Batch 8.docx             .\VOL013\IMAGES\IMAGES004\00187179.pdf
00187181   00187183   11/3/2022 16:29 Edoc   MLS DOE Batch Transmittal_8.pdf                    .\VOL013\IMAGES\IMAGES004\00187181.pdf
00187184   00187186   11/3/2022 16:29 Edoc   MLS DOE Batch Transmittal_9.pdf                    .\VOL013\IMAGES\IMAGES004\00187184.pdf
00187187   00187188   11/3/2022 16:29 Edoc   MLS DOE Eligibility Table_Batch 9.docx             .\VOL013\IMAGES\IMAGES004\00187187.pdf
00187189   00187192   11/3/2022 16:29 Edoc   MLS DOE Batch Transmittal_10.pdf                   .\VOL013\IMAGES\IMAGES004\00187189.pdf
00187193   00187194   11/3/2022 16:29 Edoc   MLS DOE Eligibility Table_Batch 10.pdf             .\VOL013\IMAGES\IMAGES004\00187193.pdf
00187195   00187197   11/3/2022 17:13 Edoc   City of Rockville Action Items_Ongoing.docx        .\VOL013\IMAGES\IMAGES004\00187195.pdf
00187198   00187198   11/7/2022 10:27 Edoc   2022‐2172 NPN.pdf                                  .\VOL013\IMAGES\IMAGES004\00187198.pdf
00187199   00187201   11/7/2022 12:44 Edoc   Slater_Rockville Meeting Materials.docx            .\VOL013\IMAGES\IMAGES004\00187199.pdf
00187202   00187202   11/7/2022 13:05 Edoc   sign in sheet rockville 20200214.pdf               .\VOL013\IMAGES\IMAGES004\00187202.pdf
                                             20200522 responses MDOT I‐495_I‐270 COR City of
                                             Rockville preliminary comments 05‐
00187203   00187213   11/7/2022 13:05 Edoc   2020_rev1hos.docx                                  .\VOL013\IMAGES\IMAGES004\00187203.pdf
                                             20200410_MLS‐Rockville‐FCE‐
00187214   00187215   11/7/2022 13:07 Edoc   Coordination_MeetingSummary.docx                   .\VOL013\IMAGES\IMAGES004\00187214.pdf
                                             20200409_MLS‐Rockville‐FCE‐
00187216   00187216   11/7/2022 13:07 Edoc   Coordination_Agenda.docx                           .\VOL013\IMAGES\IMAGES004\00187216.pdf
                                             2021‐03‐19 MLS Rockville Coordination Meeting
00187217   00187224   11/7/2022 13:16 Edoc   Notes.docx                                         .\VOL013\IMAGES\IMAGES004\00187217.pdf
                                             2021‐04‐16 MLS Rockville Noise Abatement
00187225   00187229   11/7/2022 13:17 Edoc   Summary_COMMENTS.docx                              .\VOL013\IMAGES\IMAGES004\00187225.pdf

00187230   00187230   11/7/2022 13:17 Edoc   2021‐03‐19_MLS‐Rockville‐Coordination_Agenda.docx .\VOL013\IMAGES\IMAGES004\00187230.pdf
                                             2021‐04‐14_MLS Rockville SWM Coordination Meeting
00187231   00187231   11/7/2022 13:23 Edoc   Agenda.pdf                                        .\VOL013\IMAGES\IMAGES004\00187231.pdf
                                             2021.04.14 MDOT SHA_Rockville Comp SWM
00187232   00187252   11/7/2022 13:25 Edoc   Plan.PPTX                                         .\VOL013\IMAGES\IMAGES004\00187232.pdf
                                             2022‐01‐19 City of Rockville Coordination Meeting
00187253   00187253   11/7/2022 13:40 Edoc   Agenda.docx                                       .\VOL013\IMAGES\IMAGES004\00187253.pdf
                                             2022‐04‐25_Rockville Coordination Meeting
00187254   00187262   11/7/2022 13:48 Edoc   Notes_Final.docx                                  .\VOL013\IMAGES\IMAGES004\00187254.pdf
                                             2022‐04‐25 City of Rockville Coordination Meeting
00187263   00187263   11/7/2022 13:48 Edoc   Agenda.pdf                                        .\VOL013\IMAGES\IMAGES004\00187263.pdf
00187264   00187264   11/7/2022 14:53 Edoc   June 4th MNCPPC Meeting sign‐in sheet.pdf         .\VOL013\IMAGES\IMAGES004\00187264.pdf
                                             2018‐06‐04 MNCPPC MC Parks Coordination
00187265   00187268   11/7/2022 14:54 Edoc   Meeting_Notes.pdf                                 .\VOL013\IMAGES\IMAGES004\00187265.pdf
                                             I‐495 & I‐270 MLS_ MDOT SHA and M‐NCPPC
00187269   00187269   11/7/2022 14:54 Edoc   Coordination Meeting Agenda_2018‐06‐04.pdf        .\VOL013\IMAGES\IMAGES004\00187269.pdf
                                             I‐495 & I‐270 MLS_ MDOT SHA and M‐NCPPC
00187270   00187270   11/7/2022 15:01 Edoc   Coordination Meeting Agenda_2018‐07‐19.pdf        .\VOL013\IMAGES\IMAGES004\00187270.pdf
                                             M‐NCPPC P+1 Meeting_Internal Handout_12‐3‐
00187271   00187275   11/7/2022 15:10 Edoc   18.docx                                           .\VOL013\IMAGES\IMAGES004\00187271.pdf
                                             2018‐12‐04_MNCPPC email regarding agenda topics
00187276   00187278   11/7/2022 15:11 Edoc   for P+1.pdf                                       .\VOL013\IMAGES\IMAGES004\00187276.pdf
                                             MNCPPC_RockCreek_CoordinationMtg_091619_Agen
00187279   00187280   11/7/2022 15:16 Edoc   da&Impacts.pdf                                    .\VOL013\IMAGES\IMAGES004\00187279.pdf
                                             2019‐10‐28_495 270 MNCPPC Coordination Mtg
00187281   00187282   11/7/2022 15:20 Edoc   Sligo_NW_Cabin John Agenda.pdf                    .\VOL013\IMAGES\IMAGES004\00187281.pdf
                                             2019‐10‐28 I‐495 I‐270 MLS_M‐NCPPC Coordination
00187283   00187286   11/7/2022 15:20 Edoc   Meeting Summary.docx                              .\VOL013\IMAGES\IMAGES004\00187283.pdf

00187287   00187287   11/7/2022 15:23 Edoc   MNCPPC‐MO_MeetingNotes_FCEs_110419_Draft.docx .\VOL013\IMAGES\IMAGES004\00187287.pdf
                                             2019‐11‐04_495 & 270 MNCPPC Coordination Mtg
00187288   00187289   11/7/2022 15:23 Edoc   FCE_Minor Park_Agenda.pdf                     .\VOL013\IMAGES\IMAGES004\00187288.pdf
                                             2019‐11‐12_495 & 270 MNCPPC Coordination Mtg
00187290   00187290   11/7/2022 15:24 Edoc   SWM_Agenda.pdf                                .\VOL013\IMAGES\IMAGES004\00187290.pdf
                                             2019‐11‐15 I‐495 I‐270 MLS_M‐NCPPC Bike‐Ped
00187291   00187294   11/7/2022 15:27 Edoc   Coordination Meeting Summary.docx             .\VOL013\IMAGES\IMAGES004\00187291.pdf
    Case 8:22-cv-02597-DKC                           Document 42-1                                    Filed 05/03/23                           Page 254 of 263

                                             MLS Existing Bridge Inventory_Ped‐Bike Planned
00187295   00187297   11/7/2022 15:27 Edoc   Facilities_I‐495.pdf                                     .\VOL013\IMAGES\IMAGES004\00187295.pdf
                                             MLS Existing Bridge Inventory_Ped‐Bike Planned
00187298   00187298   11/7/2022 15:27 Edoc   Facilities_I‐270.pdf                                     .\VOL013\IMAGES\IMAGES004\00187298.pdf

00187299   00187299   11/7/2022 15:27 Edoc   2019‐11‐15_Bike‐Ped Coordination Mtg Agenda.docx         .\VOL013\IMAGES\IMAGES004\00187299.pdf
                                             MLS Existing Bridge Inventory_Ped‐Bike
00187300   00187300   11/7/2022 15:27 Edoc   Considerations.xlsx                                      .\VOL013\IMAGES\IMAGES004\00187300.pdf    .\VOL013\NATIVES\NATIVES004\00187300.xlsx
                                             Montgomery County I‐495 I‐270 Bicycle and
00187301   00187306   11/7/2022 15:27 Edoc   Pedestrian Accommodations FINAL.pdf                      .\VOL013\IMAGES\IMAGES004\00187301.pdf
                                             2020‐04‐13_MNCPPC Montgomery County Mitigation
00187307   00187307   11/7/2022 15:44 Edoc   Mtg Agenda.docx                                          .\VOL013\IMAGES\IMAGES004\00187307.pdf
00187308   00187310   11/7/2022 15:47 Edoc   MLS AN‐3 Parks Comments.pdf                              .\VOL013\IMAGES\IMAGES004\00187308.pdf
00187311   00187314   11/7/2022 15:47 Edoc   2020‐06‐24_I495_I270_Meeting Notes.docx                  .\VOL013\IMAGES\IMAGES004\00187311.pdf

                                             2020‐08‐17 I‐495 I‐270 MLS_M‐NCPPC Montgomery
00187315   00187318   11/7/2022 15:49 Edoc   Parks Mitigation Meeting Summary_SLT_CB.docx      .\VOL013\IMAGES\IMAGES004\00187315.pdf
                                             2020‐10‐20_Bike‐Ped Coordination Prince George's
00187319   00187322   11/7/2022 16:06 Edoc   County Mtg Agenda with Code.pdf                   .\VOL013\IMAGES\IMAGES004\00187319.pdf
                                             MNCPPC_DEIS Comment Review Meeting Phase
00187323   00187325   11/7/2022 16:20 Edoc   1South_Agenda_03‐10‐2021.docx                     .\VOL013\IMAGES\IMAGES004\00187323.pdf
                                             2021.03.15 MLS M‐NCPPC DEIS Comments
00187326   00187332   11/7/2022 16:22 Edoc   Discussion_Meeting Notes.pdf                      .\VOL013\IMAGES\IMAGES004\00187326.pdf
                                             MNCPPC_DEIS Comment Review Meeting Phase
00187333   00187335   11/7/2022 16:22 Edoc   1South_Agenda_03‐15‐2021.docx                     .\VOL013\IMAGES\IMAGES004\00187333.pdf
                                             MNCPPC_DEIS Comment Review Meeting Rock Creek
00187336   00187339   11/7/2022 16:35 Edoc   Area_Agenda_04‐12‐2021.docx                       .\VOL013\IMAGES\IMAGES004\00187336.pdf
                                             2021‐04‐12 MLS M‐NCPPC MoCo DEIS Comments Rock
00187340   00187344   11/7/2022 16:35 Edoc   Creek_Meeting Notes.pdf                           .\VOL013\IMAGES\IMAGES004\00187340.pdf
                                             2021‐04‐12 MLS M‐NCPPC MoCo DEIS Comments Rock
00187345   00187350   11/7/2022 16:35 Edoc   Creek_Meeting Notes_COMMENTS.docx                 .\VOL013\IMAGES\IMAGES004\00187345.pdf
                                             2021‐04‐12 MLS M‐NCPPC MoCo DEIS Comments Rock
00187351   00187355   11/7/2022 16:35 Edoc   Creek_Meeting Notes.docx                          .\VOL013\IMAGES\IMAGES004\00187351.pdf
00187356   00187362   11/7/2022 16:35 Edoc   RockCreekDisplays.pdf                             .\VOL013\IMAGES\IMAGES004\00187356.pdf
                                             2021‐05‐12 MLS M‐NCPPC Phase 1 South Park Impacts
00187363   00187370   11/7/2022 16:47 Edoc   & Mitigation Meeting Notes.pdf                    .\VOL013\IMAGES\IMAGES004\00187363.pdf
                                             2021‐05‐12 MLS MNCPPC Phase 1 South Park Impacts
00187371   00187371   11/7/2022 16:47 Edoc   & Mitigation Meeting Agenda.pdf                   .\VOL013\IMAGES\IMAGES004\00187371.pdf
00187372   00187372   11/7/2022 16:48 Edoc   ALB_SUP‐MD‐Option 1.pdf                           .\VOL013\IMAGES\IMAGES004\00187372.pdf
00187373   00187373   11/7/2022 16:48 Edoc   ALB_SUP‐MD‐Option 2 Profile.pdf                   .\VOL013\IMAGES\IMAGES004\00187373.pdf
00187374   00187374   11/7/2022 16:48 Edoc   ALB_SUP‐MD‐Option 2.pdf                           .\VOL013\IMAGES\IMAGES004\00187374.pdf
00187375   00187375   11/7/2022 16:48 Edoc   ALB_SUP‐MD‐Option 3 Profile.pdf                   .\VOL013\IMAGES\IMAGES004\00187375.pdf
00187376   00187376   11/7/2022 16:48 Edoc   ALB_SUP‐MD_Option 4 Profile.pdf                   .\VOL013\IMAGES\IMAGES004\00187376.pdf
00187377   00187377   11/7/2022 16:48 Edoc   ALB_SUP‐MD_Option 4.pdf                           .\VOL013\IMAGES\IMAGES004\00187377.pdf
                                             2021‐05‐26 MLS M‐NCPPC‐MC DOT ALB Trail Options
00187378   00187381   11/7/2022 16:48 Edoc   Meeting Notes.pdf                                 .\VOL013\IMAGES\IMAGES004\00187378.pdf
                                             2021‐09‐30 MLS M‐NCPPC Park Impacts & Mitigation
00187382   00187382   11/7/2022 16:53 Edoc   Meeting Agenda.pdf                                .\VOL013\IMAGES\IMAGES004\00187382.pdf
                                             M‐NCPPC Montgomery Parkland Impacts Mitigation
00187383   00187386   11/7/2022 16:58 Edoc   Summary Phase 1 South 10.28.21.pdf                .\VOL013\IMAGES\IMAGES004\00187383.pdf
                                             2021‐11‐02_M‐NCPPC Tuckerman Lane Meeting
00187387   00187389   11/7/2022 16:59 Edoc   Notes.docx                                        .\VOL013\IMAGES\IMAGES004\00187387.pdf
                                             2021‐11‐05_I495_I270_M‐NCPPC Park Mitigation
00187390   00187394   11/7/2022 16:59 Edoc   Stormwater Outfall Meeting Notes.docx             .\VOL013\IMAGES\IMAGES004\00187390.pdf
                                             2021‐11‐10_MNCPPC Mitigation Meeting
00187395   00187396   11/7/2022 17:01 Edoc   Notes_formatted.docx                              .\VOL013\IMAGES\IMAGES004\00187395.pdf
                                             2021‐11‐29_M‐NCPPC Coordination Meeting
00187397   00187400   11/7/2022 17:03 Edoc   Notes_DRAFT.docx                                  .\VOL013\IMAGES\IMAGES004\00187397.pdf
                                             2021‐12‐14 M‐NCPPC Coordination Meeting Capture
00187401   00187401   11/7/2022 17:05 Edoc   3.JPG                                             .\VOL013\IMAGES\IMAGES004\00187401.pdf
                                             2021‐12‐14 M‐NCPPC Coordination Meeting Capture
00187402   00187402   11/7/2022 17:05 Edoc   9.JPG                                             .\VOL013\IMAGES\IMAGES004\00187402.pdf
                                             2021‐12‐14_M‐NCPPC Coordination Meeting
00187403   00187411   11/7/2022 17:05 Edoc   Notes.docx                                        .\VOL013\IMAGES\IMAGES004\00187403.pdf
                                             2021‐12‐14 M‐NCPPC Coordination Meeting Capture
00187412   00187412   11/7/2022 17:05 Edoc   6.JPG                                             .\VOL013\IMAGES\IMAGES004\00187412.pdf
00187413   00187415   11/7/2022 17:05 Edoc   2021‐12‐13_Final Mitigation Plan_M‐NCPPC.pdf      .\VOL013\IMAGES\IMAGES004\00187413.pdf
                                             2022‐01‐19_M‐NCPPC Coordination Meeting
00187416   00187421   11/7/2022 17:06 Edoc   Notes_DRAFT.docx                                  .\VOL013\IMAGES\IMAGES004\00187416.pdf
                                             2022‐05‐12_M‐NCPPC Mitigation Meeting
00187422   00187426   11/7/2022 17:07 Edoc   Notes_DRAFT.docx                                  .\VOL013\IMAGES\IMAGES004\00187422.pdf
                                             RE_ Comments on I‐495 & I‐270 Managed Lane
00187427   00187429    11/8/2022 6:33 Edoc   Stud....pdf                                       .\VOL013\IMAGES\IMAGES004\00187427.pdf
00187430   00187431    11/8/2022 6:33 Edoc   RE_ HOT Lane Exit to I‐495.pdf                    .\VOL013\IMAGES\IMAGES004\00187430.pdf
00187432   00187433    11/8/2022 6:33 Edoc   RE_ HOT Lane Exit to I‐495(1).pdf                 .\VOL013\IMAGES\IMAGES004\00187432.pdf
00187434   00187437    11/8/2022 6:33 Edoc   RE_ FEIS‐Chapter 9.pdf                            .\VOL013\IMAGES\IMAGES004\00187434.pdf
00187438   00187441    11/8/2022 6:33 Edoc   RE_ FEIS‐Chapter 9(2).pdf                         .\VOL013\IMAGES\IMAGES004\00187438.pdf
00187442   00187442    11/8/2022 6:33 Edoc   RE_ MLS SMEs list of preparers(1).pdf             .\VOL013\IMAGES\IMAGES004\00187442.pdf
                                             RE_ Review of MLS DEIS Agency Comments
00187443   00187444    11/8/2022 6:34 Edoc   Response(1).pdf                                   .\VOL013\IMAGES\IMAGES004\00187443.pdf
                                             RE_ Review of MLS DEIS Agency Comments
00187445   00187445    11/8/2022 6:34 Edoc   Response.pdf                                      .\VOL013\IMAGES\IMAGES004\00187445.pdf
                                             RE_ Requesting Review of MLS Administrative
00187446   00187447    11/8/2022 6:34 Edoc   FEI....pdf                                        .\VOL013\IMAGES\IMAGES004\00187446.pdf
                                             RE_ MLS ‐ MDOT SHA Responses to your Comments
00187448   00187449    11/8/2022 6:34 Edoc   o....pdf                                          .\VOL013\IMAGES\IMAGES004\00187448.pdf
                                             RE_ Response requested by June 28_ draft
00187450   00187451    11/8/2022 6:34 Edoc   Record...(2).pdf                                  .\VOL013\IMAGES\IMAGES004\00187450.pdf
                                             RE_ Response requested by June 28_ draft
00187452   00187453    11/8/2022 6:34 Edoc   Record...(4).pdf                                  .\VOL013\IMAGES\IMAGES004\00187452.pdf
                                             RE_ Response requested by June 28_ draft
00187454   00187456    11/8/2022 6:34 Edoc   Record...(6).pdf                                  .\VOL013\IMAGES\IMAGES004\00187454.pdf
                                             RE_ MDOT SHA Response to MD Transit Group
00187457   00187459    11/8/2022 6:34 Edoc   Letter.pdf                                        .\VOL013\IMAGES\IMAGES004\00187457.pdf
                                             RE_ MDOT SHA Response to MD Transit Group
00187460   00187463    11/8/2022 6:34 Edoc   Letter(1).pdf                                     .\VOL013\IMAGES\IMAGES004\00187460.pdf

00187464   00187464    11/8/2022 6:34 Edoc   RE_ Traffic Forecasts and Analysis changes from....pdf   .\VOL013\IMAGES\IMAGES004\00187464.pdf
                                             RE_ MDOT SHA Response to MD Transit Group
00187465   00187470    11/8/2022 6:34 Edoc   Letter(5).pdf                                            .\VOL013\IMAGES\IMAGES004\00187465.pdf
                                             RE_ MDOT SHA Response to MD Transit Group
00187471   00187476    11/8/2022 6:34 Edoc   Letter(6).pdf                                            .\VOL013\IMAGES\IMAGES004\00187471.pdf
00187477   00187477    11/8/2022 6:34 Edoc   Meeting summary 07‐18‐2022.pdf                           .\VOL013\IMAGES\IMAGES004\00187477.pdf
00187478   00187479    11/8/2022 6:34 Edoc   RE_ Meeting summary 07‐18‐2022(2).pdf                    .\VOL013\IMAGES\IMAGES004\00187478.pdf
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                                             FW_ MDOT SHA Response to MD Transit Group
00187480   00187485    11/8/2022 6:34 Edoc   Letter(5).pdf                                            .\VOL013\IMAGES\IMAGES004\00187480.pdf
                                             FW_ MDOT SHA Response to MD Transit Group
00187486   00187489    11/8/2022 6:34 Edoc   Letter(6).pdf                                            .\VOL013\IMAGES\IMAGES004\00187486.pdf

00187490   00187490    11/8/2022 6:34 Edoc   FW_ Traffic Forecasts and Analysis changes from....pdf .\VOL013\IMAGES\IMAGES004\00187490.pdf
                                             Re_ Request for review by 1pm tomorrow 7_28‐
00187491   00187492    11/8/2022 6:34 Edoc   AQ....pdf                                              .\VOL013\IMAGES\IMAGES004\00187491.pdf
                                             RE_ Comments on the I‐495 and I‐27chris0
00187493   00187495    11/8/2022 6:34 Edoc   Manage....pdf                                          .\VOL013\IMAGES\IMAGES004\00187493.pdf
                                             RE_ Request for review by 1pm tomorrow 7_28‐
00187496   00187498    11/8/2022 6:34 Edoc   AQ...(2).pdf                                           .\VOL013\IMAGES\IMAGES004\00187496.pdf
                                             RE_ Request for review by 1pm tomorrow 7_28‐
00187499   00187501    11/8/2022 6:34 Edoc   AQ...(3).pdf                                           .\VOL013\IMAGES\IMAGES004\00187499.pdf
00187502   00187504    11/8/2022 6:34 Edoc   RE_ Draft July 18 Sierra Club FEIS response(1).pdf     .\VOL013\IMAGES\IMAGES004\00187502.pdf
00187505   00187506    11/8/2022 6:34 Edoc   RE_ Draft July 18 Sierra Club FEIS response(3).pdf     .\VOL013\IMAGES\IMAGES004\00187505.pdf
00187507   00187509    11/8/2022 6:34 Edoc   RE_ Draft July 18 Sierra Club FEIS response(6).pdf     .\VOL013\IMAGES\IMAGES004\00187507.pdf
00187510   00187512    11/8/2022 6:34 Edoc   RE_ Draft July 18 Sierra Club FEIS response(7).pdf     .\VOL013\IMAGES\IMAGES004\00187510.pdf
00187513   00187513    11/8/2022 6:35 Edoc   RE_ Bullet Points .pdf                                 .\VOL013\IMAGES\IMAGES004\00187513.pdf

00187514   00187514    11/8/2022 6:35 Edoc   Key Allegations from Maryland Transit Opportu.docx       .\VOL013\IMAGES\IMAGES004\00187514.pdf

00187515   00187517    11/8/2022 6:35 Edoc   FW_ Rep. Raskin (MD) ‐ Letter re_ SDEIS for the....pdf   .\VOL013\IMAGES\IMAGES004\00187515.pdf
                                             RE_ Rep. Raskin (MD) ‐ Letter re_ SDEIS for
00187518   00187520    11/8/2022 6:35 Edoc   the...(1).pdf                                            .\VOL013\IMAGES\IMAGES004\00187518.pdf
00187521   00187522    11/8/2022 6:35 Edoc   RE_ SDEIS‐ Executive Summary(1).pdf                      .\VOL013\IMAGES\IMAGES004\00187521.pdf
00187523   00187523    11/8/2022 6:35 Edoc   Executive Summary Update.bgSept20.docx                   .\VOL013\IMAGES\IMAGES004\00187523.pdf
                                             RE_ Chapter 3, Appendix A and Appendix B
00187524   00187527    11/8/2022 6:35 Edoc   Comments.pdf                                             .\VOL013\IMAGES\IMAGES004\00187524.pdf
                                             RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00187528   00187529    11/8/2022 6:35 Edoc   Supplemen...(2).pdf                                      .\VOL013\IMAGES\IMAGES004\00187528.pdf
                                             RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00187530   00187532    11/8/2022 6:35 Edoc   Supplemen...(1).pdf                                      .\VOL013\IMAGES\IMAGES004\00187530.pdf
00187533   00187535    11/8/2022 6:35 Edoc   RE_ M‐NCPPC Staff Comments to Draft SDEIS.pdf            .\VOL013\IMAGES\IMAGES004\00187533.pdf
                                             RE_ Question on LOS requirement for NHS
00187536   00187536    11/8/2022 6:35 Edoc   projects(1).pdf                                          .\VOL013\IMAGES\IMAGES004\00187536.pdf
                                             RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00187537   00187537    11/8/2022 6:35 Edoc   Supplemen...(5).pdf                                      .\VOL013\IMAGES\IMAGES004\00187537.pdf
                                             RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00187538   00187538    11/8/2022 6:35 Edoc   Supplemen...(7).pdf                                      .\VOL013\IMAGES\IMAGES004\00187538.pdf
00187539   00187540    11/8/2022 6:36 Edoc   RE_ Preliminary Traffic Results Discussions.pdf          .\VOL013\IMAGES\IMAGES004\00187539.pdf

00187541   00187542    11/8/2022 6:36 Edoc   RE_ Preliminary Traffic Analysis Results Discus...(1).pdf .\VOL013\IMAGES\IMAGES004\00187541.pdf
                                             RE_ COVID‐19 Travel Forecasting Approach ‐
00187543   00187545    11/8/2022 6:36 Edoc   FHWA...(1).pdf                                            .\VOL013\IMAGES\IMAGES004\00187543.pdf
                                             RE_ COVID‐19 Travel Forecasting Approach ‐
00187546   00187548    11/8/2022 6:36 Edoc   FHWA...(3).pdf                                            .\VOL013\IMAGES\IMAGES004\00187546.pdf
                                             RE_ REVIEW REQUESTED_ COVID‐19 Travel
00187549   00187551    11/8/2022 6:37 Edoc   Forecasti...(2).pdf                                       .\VOL013\IMAGES\IMAGES004\00187549.pdf
                                             RE_ REVIEW REQUESTED_ COVID‐19 Travel
00187552   00187555    11/8/2022 6:37 Edoc   Forecasti...(1).pdf                                       .\VOL013\IMAGES\IMAGES004\00187552.pdf
00187556   00187556   11/8/2022 11:00 Edoc   RE_ I‐495 SW comments.pdf                                 .\VOL013\IMAGES\IMAGES004\00187556.pdf
00187557   00187557   11/8/2022 11:00 Edoc   RE_ 495_270 SDEIS(1).pdf                                  .\VOL013\IMAGES\IMAGES004\00187557.pdf
00187558   00187558   11/8/2022 11:00 Edoc   RE_ 495_270 SDEIS.pdf                                     .\VOL013\IMAGES\IMAGES004\00187558.pdf
00187559   00187561   11/8/2022 11:00 Edoc   RE_ quick _ on the 495_270 project.pdf                    .\VOL013\IMAGES\IMAGES004\00187559.pdf
                                             2020‐10‐15_Culvert Augmentation Meeting
00187562   00187563   11/8/2022 11:00 Edoc   Handou.pdf                                                .\VOL013\IMAGES\IMAGES004\00187562.pdf
00187564   00187566   11/8/2022 11:00 Edoc   RE_ quick _ on the 495_270 project(1).pdf                 .\VOL013\IMAGES\IMAGES004\00187564.pdf
                                             I‐495 I‐270 MLS_ DNR RTE Meeting_Notes_2018‐09‐
00187567   00187567   11/8/2022 11:59 Edoc   14.pdf                                                    .\VOL013\IMAGES\IMAGES004\00187567.pdf

00187568   00187568   11/8/2022 12:02 Edoc   Re_ DNR Forest Mitigaiton_Email from Marian.pdf  .\VOL013\IMAGES\IMAGES004\00187568.pdf
                                             2019‐10‐23_MDOT SHA and DNR 495 & 270
00187569   00187571   11/8/2022 12:02 Edoc   Reforestation Coordination Mtg.pdf               .\VOL013\IMAGES\IMAGES004\00187569.pdf
                                             2019‐12‐16_Meeting Summary from Conference
00187572   00187574   11/8/2022 12:11 Edoc   Call.pdf                                         .\VOL013\IMAGES\IMAGES004\00187572.pdf
                                             20210630 Mussel Survey Coordination Meeting
00187575   00187576   11/8/2022 12:21 Edoc   Agenda.docx                                      .\VOL013\IMAGES\IMAGES004\00187575.pdf
00187577   00187578   11/8/2022 12:21 Edoc   2021‐06‐30 DNR Mussel Meeting Notes.pdf          .\VOL013\IMAGES\IMAGES004\00187577.pdf
00187579   00187579   11/8/2022 12:21 Edoc   P3_MusselSurvey_SiteAssessmentLimits_v2.pdf      .\VOL013\IMAGES\IMAGES004\00187579.pdf
                                             Pages from Early Site Investigations JPA
00187580   00187580   11/8/2022 12:23 Edoc   20210708_mjf_sl sro rev.pdf                      .\VOL013\IMAGES\IMAGES004\00187580.pdf
00187581   00187583   11/8/2022 12:23 Edoc   20210528‐RTESurveyAMPInvestigations.pdf          .\VOL013\IMAGES\IMAGES004\00187581.pdf
00187584   00187584   11/8/2022 12:25 Edoc   DNR Response to Off site SWM 2021.pdf            .\VOL013\IMAGES\IMAGES004\00187584.pdf
                                             Checklist B_Smart Growth Major Transportation
00187585   00187594   11/8/2022 12:28 Edoc   Project Review_MLS_Final_12.02.2021.docm         .\VOL013\IMAGES\IMAGES004\00187585.pdf
                                             MLS Smart Growth Coordination
00187595   00187595   11/8/2022 12:28 Edoc   Mapping_12.02.2021.pdf                           .\VOL013\IMAGES\IMAGES004\00187595.pdf
                                             2022‐01‐06_MDP Smart Growth Coordination Meeting
00187596   00187600   11/8/2022 12:28 Edoc   Notes.docx                                       .\VOL013\IMAGES\IMAGES004\00187596.pdf
                                             Checklist A_Smart Growth Major Transportation
00187601   00187616   11/8/2022 12:28 Edoc   Project Review_MLS_Final_12.02.2021.docm         .\VOL013\IMAGES\IMAGES004\00187601.pdf
                                             2019‐03‐11_NCPC Comments on Alts Screened Paper
00187617   00187618   11/8/2022 12:37 Edoc   letter.pdf                                       .\VOL013\IMAGES\IMAGES004\00187617.pdf
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                                             270_Managed_Lanes_Study__Information_Sheet_Jul2
00187619   00187625   11/8/2022 12:42 Edoc   019.pdf                                          .\VOL013\IMAGES\IMAGES004\00187619.pdf
                                             2021‐02‐03 MLS NCPC DEIS Comments
00187626   00187630   11/8/2022 13:01 Edoc   Discussion_Meeting Notes.docx                    .\VOL013\IMAGES\IMAGES004\00187626.pdf
                                             2019.07.02_DRAFT NPS‐GW Parkway
00187631   00187632   11/8/2022 13:27 Edoc   Considerations.docx                              .\VOL013\IMAGES\IMAGES004\00187631.pdf
00187633   00187634   11/8/2022 13:30 Edoc   NPS Avoidance and Minimization.docx              .\VOL013\IMAGES\IMAGES004\00187633.pdf
00187635   00187636   11/8/2022 14:27 Edoc   2018‐12‐10_NPS Property Handout.pdf              .\VOL013\IMAGES\IMAGES004\00187635.pdf
00187637   00187637   11/8/2022 14:27 Edoc   2018‐12‐10_Sign‐in Sheet.pdf                     .\VOL013\IMAGES\IMAGES004\00187637.pdf
00187638   00187638   11/8/2022 14:27 Edoc   2019‐04‐17_NPS_Sign‐In.pdf                       .\VOL013\IMAGES\IMAGES004\00187638.pdf
00187639   00187639   11/8/2022 14:32 Edoc   2019‐08‐21_GW Parkway NPS Agenda.pdf             .\VOL013\IMAGES\IMAGES004\00187639.pdf
00187640   00187642   11/8/2022 14:32 Edoc   2019‐08‐21 VDOT‐NPS Sign‐in Sheet.pdf            .\VOL013\IMAGES\IMAGES004\00187640.pdf

00187643   00187643   11/8/2022 14:32 Edoc   Direct Access at GW Parkway ‐ Handout 8‐21‐19.docx       .\VOL013\IMAGES\IMAGES004\00187643.pdf

00187644   00187645   11/8/2022 14:34 Edoc   2019‐10‐28_NPS Coordination Mtg_Signin Sheet.pdf         .\VOL013\IMAGES\IMAGES004\00187644.pdf
                                             RE_ ALB Strike Team ‐ Bridge Option Comparison
00187646   00187648   11/8/2022 14:51 Edoc   ....pdf                                                  .\VOL013\IMAGES\IMAGES004\00187646.pdf
                                             RE_ ALB Strike Team ‐ Bridge Option Comparison
00187649   00187650   11/8/2022 14:52 Edoc   ...(1).pdf                                               .\VOL013\IMAGES\IMAGES004\00187649.pdf
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                                             RE_ ALB Strike Team ‐ Bridge Option Comparison
00187651   00187652   11/8/2022 14:52 Edoc   ...(2).pdf                                            .\VOL013\IMAGES\IMAGES004\00187651.pdf
                                             RE_ ALB Strike Team ‐ Bridge Option Comparison
00187653   00187654   11/8/2022 14:52 Edoc   ...(3).pdf                                            .\VOL013\IMAGES\IMAGES004\00187653.pdf
                                             RE_ ALB Strike Team ‐ Bridge Option Comparison
00187655   00187656   11/8/2022 14:52 Edoc   ...(4).pdf                                            .\VOL013\IMAGES\IMAGES004\00187655.pdf
00187657   00187657   11/8/2022 14:52 Edoc   Appendix 4_Bridge Options.pdf                         .\VOL013\IMAGES\IMAGES004\00187657.pdf
00187658   00187658   11/8/2022 14:53 Edoc   Jamal Bio docx.docx                                   .\VOL013\IMAGES\IMAGES004\00187658.pdf
00187659   00187659   11/8/2022 14:53 Edoc   Appendix 4 DRAFT, 2‐18‐21.xlsx                        .\VOL013\IMAGES\IMAGES004\00187659.pdf    .\VOL013\NATIVES\NATIVES004\00187659.xlsx
00187660   00187660   11/8/2022 14:54 Edoc   Ruddell Bio 2021.doc                                  .\VOL013\IMAGES\IMAGES004\00187660.pdf

00187661   00187714   11/8/2022 14:55 Edoc   I‐495 & I‐270 MLS NPS Coordination Presentatio.pdf    .\VOL013\IMAGES\IMAGES004\00187661.pdf
                                             2020‐02‐10_NPS and MDOT SHA Coordination
00187715   00187715   11/8/2022 14:55 Edoc   Meeting Agenda.docx                                   .\VOL013\IMAGES\IMAGES004\00187715.pdf
                                             2020‐02‐10_NPS Mitigation Coordination
00187716   00187717   11/8/2022 14:55 Edoc   Meeting.docx                                          .\VOL013\IMAGES\IMAGES004\00187716.pdf
00187718   00187722   11/8/2022 15:04 Edoc   ALB_ConstructionAccess.pdf                            .\VOL013\IMAGES\IMAGES004\00187718.pdf

00187723   00187724   11/8/2022 15:05 Edoc   Strike Team_Cable Stay Options_NR Comments.docx       .\VOL013\IMAGES\IMAGES004\00187723.pdf
00187725   00187731   11/8/2022 15:06 Edoc   ALB_ConstructionAccess.pdf                            .\VOL013\IMAGES\IMAGES004\00187725.pdf
00187732   00187733   11/8/2022 15:07 Edoc   ALB_ConstructionAccess_1.pdf                          .\VOL013\IMAGES\IMAGES004\00187732.pdf
00187734   00187823   11/8/2022 15:11 Edoc   2021‐02‐02_ALB Strike Team_Pre‐NPS_V2.pdf             .\VOL013\IMAGES\IMAGES004\00187734.pdf
00187824   00187829   11/8/2022 15:13 Edoc   NPS pre‐Meeting 2‐2‐2021.pptx                         .\VOL013\IMAGES\IMAGES004\00187824.pdf
00187830   00187907   11/8/2022 15:14 Edoc   2021‐02‐02_ALB Strike Team_Pre‐NPS_V1.pdf             .\VOL013\IMAGES\IMAGES004\00187830.pdf
00187908   00187909   11/8/2022 15:14 Edoc   2021‐02‐02_Env Slides.pptx                            .\VOL013\IMAGES\IMAGES004\00187908.pdf
00187910   00187910   11/8/2022 15:16 Edoc   00_Elevation View.pdf                                 .\VOL013\IMAGES\IMAGES004\00187910.pdf
00187911   00187911   11/8/2022 15:17 Edoc   Graphics for ALB.pdf                                  .\VOL013\IMAGES\IMAGES004\00187911.pdf
00187912   00187916   11/8/2022 15:17 Edoc   Base Option_Plan Sequence.pdf                         .\VOL013\IMAGES\IMAGES004\00187912.pdf
00187917   00187922   11/8/2022 15:17 Edoc   Option 4_Plan Sequence.pdf                            .\VOL013\IMAGES\IMAGES004\00187917.pdf
00187923   00187927   11/8/2022 15:17 Edoc   Option 3_Plan Sequence.pdf                            .\VOL013\IMAGES\IMAGES004\00187923.pdf
00187928   00187935   11/8/2022 15:17 Edoc   Base Option_Phases 1 through 8.pdf                    .\VOL013\IMAGES\IMAGES004\00187928.pdf
00187936   00187944   11/8/2022 15:17 Edoc   Option 3_Phases 1 through 9.pdf                       .\VOL013\IMAGES\IMAGES004\00187936.pdf
00187945   00187956   11/8/2022 15:17 Edoc   Option 4_Phases 1 through 12.pdf                      .\VOL013\IMAGES\IMAGES004\00187945.pdf
00187957   00187960   11/8/2022 15:19 Edoc   RE_ MLS ‐ ALB Strike Team(3).pdf                      .\VOL013\IMAGES\IMAGES004\00187957.pdf

00187961   00187961   11/8/2022 15:20 Edoc   Strike Team_Cable Stay Options_ NR Comment Are.pdf .\VOL013\IMAGES\IMAGES004\00187961.pdf
                                             Strike Team_Cable Stay Options_NR
00187962   00187962   11/8/2022 15:20 Edoc   Comments_202.pdf                                   .\VOL013\IMAGES\IMAGES004\00187962.pdf
00187963   00187971   11/8/2022 15:21 Edoc   2021‐01‐27‐ALB Option1_ConstructionAccess.pdf      .\VOL013\IMAGES\IMAGES004\00187963.pdf

00187972   00187972   11/8/2022 15:21 Edoc   2021.01.28_1130_NB 2 Phase Construction_Pre‐Sl.pdf .\VOL013\IMAGES\IMAGES004\00187972.pdf

00187973   00187973   11/8/2022 15:21 Edoc   2021.01.28_1130_West Option_Pre‐Slide Impact V.pdf .\VOL013\IMAGES\IMAGES004\00187973.pdf

00187974   00187974   11/8/2022 15:21 Edoc   2021.01.28_1130_East Option_Pre‐Slide Impact V.pdf .\VOL013\IMAGES\IMAGES004\00187974.pdf

00187975   00187975   11/8/2022 15:21 Edoc   2021.01.28_1130_NB 2 Phase Construction_Post‐S.pdf .\VOL013\IMAGES\IMAGES004\00187975.pdf
00187976   00187979   11/8/2022 15:22 Edoc   RE_ ALB Slide‐In Meeting(1).pdf                    .\VOL013\IMAGES\IMAGES004\00187976.pdf

00187980   00187980   11/8/2022 15:22 Edoc   2021.01.28_1110_East Option_Pre‐Slide Impact V.pdf .\VOL013\IMAGES\IMAGES004\00187980.pdf

00187981   00187988   11/8/2022 15:24 Edoc   2021.01.28_0615_Base Option_Phases 1 through 8.pdf .\VOL013\IMAGES\IMAGES004\00187981.pdf
00187989   00187989   11/8/2022 15:24 Edoc   2021‐01‐27‐ALB TypicalSections.pdf                 .\VOL013\IMAGES\IMAGES004\00187989.pdf
00187990   00187990   11/8/2022 15:24 Edoc   2021‐01‐27‐ALB Profiles.pdf                        .\VOL013\IMAGES\IMAGES004\00187990.pdf
00187991   00187992   11/8/2022 15:24 Edoc   2021‐01‐27 ALB Plans.pdf                           .\VOL013\IMAGES\IMAGES004\00187991.pdf
00187993   00187995   11/8/2022 15:25 Edoc   ALB Demo Duration PLM.docx                         .\VOL013\IMAGES\IMAGES004\00187993.pdf
00187996   00187996   11/8/2022 15:25 Edoc   image001.png                                       .\VOL013\IMAGES\IMAGES004\00187996.pdf
00187997   00187997   11/8/2022 15:25 Edoc   All Options_Typical Sections.pdf                   .\VOL013\IMAGES\IMAGES004\00187997.pdf
00187998   00187998   11/8/2022 15:27 Edoc   All Options_Typical Sections.pdf                   .\VOL013\IMAGES\IMAGES004\00187998.pdf

00187999   00188006   11/8/2022 15:27 Edoc   2020.01.27_1125_Base Option_Phases 1 through 8.pdf .\VOL013\IMAGES\IMAGES004\00187999.pdf
00188007   00188007   11/8/2022 15:27 Edoc   2020.01.27_1125_Base Option_Plan View.pdf          .\VOL013\IMAGES\IMAGES004\00188007.pdf

00188008   00188017   11/8/2022 15:27 Edoc   2020.01.27_1125_Option 1_Phases 1 through 10.pdf      .\VOL013\IMAGES\IMAGES004\00188008.pdf

00188018   00188018   11/8/2022 15:27 Edoc   2020.01.27_1125_Option 1_Pre‐Slide Plan View.pdf .\VOL013\IMAGES\IMAGES004\00188018.pdf
00188019   00188020   11/8/2022 15:28 Edoc   RE_ American Legion Bridge Question(2).pdf       .\VOL013\IMAGES\IMAGES004\00188019.pdf
00188021   00188030   11/8/2022 15:31 Edoc   Option 5_Phases 1 through 10.pdf                 .\VOL013\IMAGES\IMAGES004\00188021.pdf
00188031   00188033   11/8/2022 15:31 Edoc   RE_ Options 1 and 5 ‐ Updated Plan Views(2).pdf  .\VOL013\IMAGES\IMAGES004\00188031.pdf
00188034   00188036   11/8/2022 15:31 Edoc   RE_ Options 1 and 5 ‐ Updated Plan Views(3).pdf  .\VOL013\IMAGES\IMAGES004\00188034.pdf
00188037   00188039   11/8/2022 15:31 Edoc   RE_ Options 1 and 5 ‐ Updated Plan Views(4).pdf  .\VOL013\IMAGES\IMAGES004\00188037.pdf
00188040   00188042   11/8/2022 15:31 Edoc   RE_ Options 1 and 5 ‐ Updated Plan Views(5).pdf  .\VOL013\IMAGES\IMAGES004\00188040.pdf
00188043   00188043   11/8/2022 15:31 Edoc   RE_ Options 1 and 5 ‐ Updated Plan Views(6).pdf  .\VOL013\IMAGES\IMAGES004\00188043.pdf
00188044   00188044   11/8/2022 15:31 Edoc   image002.png                                     .\VOL013\IMAGES\IMAGES004\00188044.pdf
00188045   00188046   11/8/2022 15:31 Edoc   Re_ ALB January 22, 2021 Meeting Follow up.pdf   .\VOL013\IMAGES\IMAGES004\00188045.pdf
                                             I495_I270_MLS_NPS Wetland Mitigation CHOH GWMP
00188047   00188047   11/8/2022 15:31 Edoc   Meeting_20201005_Agenda.pdf                      .\VOL013\IMAGES\IMAGES004\00188047.pdf
00188048   00188057   11/8/2022 15:32 Edoc   Option 5_Phases 1 through 10.pdf                 .\VOL013\IMAGES\IMAGES004\00188048.pdf
00188058   00188058   11/8/2022 15:32 Edoc   RE_ Options 1 and 5 ‐ Updated Plan Views(9).pdf  .\VOL013\IMAGES\IMAGES004\00188058.pdf

00188059   00188061   11/8/2022 15:32 Edoc   RE_ ALB January 22, 2021 Meeting Follow up(1).pdf     .\VOL013\IMAGES\IMAGES004\00188059.pdf

00188062   00188063   11/8/2022 15:33 Edoc   RE_ ALB January 22, 2021 Meeting Follow up(4).pdf     .\VOL013\IMAGES\IMAGES004\00188062.pdf
00188064   00188064   11/8/2022 15:37 Edoc   All Options_Final Bridge Plan.pdf                     .\VOL013\IMAGES\IMAGES004\00188064.pdf

00188065   00188068   11/8/2022 15:38 Edoc   Re_ Confirmation of 100 year Flood Elevation.pdf      .\VOL013\IMAGES\IMAGES004\00188065.pdf
00188069   00188069   11/8/2022 15:40 Edoc   NB 2 Phase Construction_Pre‐Slide Plan.pdf            .\VOL013\IMAGES\IMAGES004\00188069.pdf

00188070   00188070   11/8/2022 15:40 Edoc   All Options_Existing and Proposed Bridge Eleva.pdf    .\VOL013\IMAGES\IMAGES004\00188070.pdf

00188071   00188083   11/8/2022 15:40 Edoc   NB 2 Phase Construction_Phase_Combined_R1.pdf         .\VOL013\IMAGES\IMAGES004\00188071.pdf
00188084   00188084   11/8/2022 15:40 Edoc   NB 2 Phase Construction_Phase_13.pdf                  .\VOL013\IMAGES\IMAGES004\00188084.pdf
00188085   00188085   11/8/2022 15:40 Edoc   NB 2 Phase Construction_Post‐NB Slide Plan.pdf        .\VOL013\IMAGES\IMAGES004\00188085.pdf

00188086   00188086   11/8/2022 15:43 Edoc   NB 2 Phase Construction_Temporary Impacts_Post.pdf .\VOL013\IMAGES\IMAGES004\00188086.pdf

00188087   00188087   11/8/2022 15:43 Edoc   NB 2 Phase Construction_Temporary Impacts_Pre‐.pdf .\VOL013\IMAGES\IMAGES004\00188087.pdf
00188088   00188092   11/8/2022 15:44 Edoc   RE_ Meeting Follow up(17).pdf                      .\VOL013\IMAGES\IMAGES004\00188088.pdf
00188093   00188097   11/8/2022 15:45 Edoc   RE_ Meeting Follow up(18).pdf                      .\VOL013\IMAGES\IMAGES004\00188093.pdf

00188098   00188100   11/8/2022 15:46 Edoc   Re_ Confirmation of 100 year Flood Elevation(1).pdf   .\VOL013\IMAGES\IMAGES004\00188098.pdf
00188101   00188111   11/8/2022 15:46 Edoc   ALB Segmental Option with Cranes.pdf                  .\VOL013\IMAGES\IMAGES004\00188101.pdf
00188112   00188116   11/8/2022 15:47 Edoc   RE_ Meeting Follow up(21).pdf                         .\VOL013\IMAGES\IMAGES004\00188112.pdf
00188117   00188129   11/8/2022 15:47 Edoc   NB 2 Phase Construction_Combined.pdf                  .\VOL013\IMAGES\IMAGES004\00188117.pdf
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00188130   00188132   11/8/2022 15:48 Edoc   ALB Strike Team Meeting Follow up ‐ Slide in Re....pdf   .\VOL013\IMAGES\IMAGES004\00188130.pdf
00188133   00188135   11/8/2022 15:48 Edoc   RE_ ALB Questions.pdf                                    .\VOL013\IMAGES\IMAGES004\00188133.pdf
00188136   00188136   11/8/2022 15:49 Edoc   NB 2 Phase Construction_Pre‐Slide Plan.pdf               .\VOL013\IMAGES\IMAGES004\00188136.pdf

00188137   00188137   11/8/2022 15:49 Edoc   All Options_Existing and Proposed Bridge Plan.pdf        .\VOL013\IMAGES\IMAGES004\00188137.pdf
00188138   00188139   11/8/2022 15:49 Edoc   FW_ ALB Questions.pdf                                    .\VOL013\IMAGES\IMAGES004\00188138.pdf
00188140   00188140   11/8/2022 15:50 Edoc   2021.01.04 BR 15100 ALB PR TYP SECT.pdf                  .\VOL013\IMAGES\IMAGES004\00188140.pdf
00188141   00188143   11/8/2022 15:50 Edoc   Re_ Meeting Follow up(1).pdf                             .\VOL013\IMAGES\IMAGES004\00188141.pdf
00188144   00188145   11/8/2022 15:52 Edoc   Meeting Follow up.pdf                                    .\VOL013\IMAGES\IMAGES004\00188144.pdf

00188146   00188148   11/8/2022 15:52 Edoc   RE_ GWMP‐ALB_withTrestle_Causeway_Layout.pdf             .\VOL013\IMAGES\IMAGES004\00188146.pdf
                                             RE_ GWMP‐
00188149   00188151   11/8/2022 15:52 Edoc   ALB_withTrestle_Causeway_Layout.pdf(1).pdf               .\VOL013\IMAGES\IMAGES004\00188149.pdf

00188152   00188152   11/8/2022 15:52 Edoc   FWHA Graphic ‐ Temporary Works ‐ Split Constru.pdf       .\VOL013\IMAGES\IMAGES004\00188152.pdf

00188153   00188153   11/8/2022 15:52 Edoc   FHWA Graphic ‐ West Construction Slide_Optimiz.pdf       .\VOL013\IMAGES\IMAGES004\00188153.pdf

00188154   00188154   11/8/2022 15:52 Edoc   FHWA Graphic ‐ East Construction Slide_Optimiz.pdf       .\VOL013\IMAGES\IMAGES004\00188154.pdf
00188155   00188155   11/8/2022 15:52 Edoc   FHWA Graphic ‐ Elevation.pdf                             .\VOL013\IMAGES\IMAGES004\00188155.pdf
00188156   00188156   11/8/2022 15:52 Edoc   FHWA Graphic ‐ Typical Sections.pdf                      .\VOL013\IMAGES\IMAGES004\00188156.pdf
00188157   00188160   11/8/2022 15:53 Edoc   RE_ ALB Strike Team Meeting.pdf                          .\VOL013\IMAGES\IMAGES004\00188157.pdf
00188161   00188163   11/8/2022 15:54 Edoc   RE_ ALB Strike Team Meeting(1).pdf                       .\VOL013\IMAGES\IMAGES004\00188161.pdf
00188164   00188167   11/8/2022 15:54 Edoc   Re_ ALB Strike Team Meeting.pdf                          .\VOL013\IMAGES\IMAGES004\00188164.pdf
00188168   00188170   11/8/2022 15:54 Edoc   RE_ ALB Strike Team Meeting(4).pdf                       .\VOL013\IMAGES\IMAGES004\00188168.pdf
00188171   00188172   11/8/2022 15:55 Edoc   RE_ ALB Strike Team Meeting(5).pdf                       .\VOL013\IMAGES\IMAGES004\00188171.pdf

00188173   00188173   11/8/2022 15:55 Edoc   Load Comparison for Existing ALB Configuratio.xlsx       .\VOL013\IMAGES\IMAGES004\00188173.pdf    .\VOL013\NATIVES\NATIVES004\00188173.xlsx
00188174   00188175   11/8/2022 15:55 Edoc   ALB Strike Team ‐ Progress and Next Steps .pdf           .\VOL013\IMAGES\IMAGES004\00188174.pdf
                                             Re_ [EXTERNAL] Re_ I‐495 & I‐270 MLS_ ALB and
00188176   00188181   11/8/2022 16:00 Edoc   B....pdf                                                 .\VOL013\IMAGES\IMAGES004\00188176.pdf
                                             RE_ ALB Strike Team ‐ Bridge Option Comparison
00188182   00188185   11/8/2022 16:00 Edoc   ...(7).pdf                                               .\VOL013\IMAGES\IMAGES004\00188182.pdf
                                             2021‐05‐17 MLS NPS ALB Trail Discussion_Meeting
00188186   00188188   11/8/2022 16:08 Edoc   Notes.pdf                                                .\VOL013\IMAGES\IMAGES004\00188186.pdf
00188189   00188189    11/9/2022 8:14 Edoc   MDOT OST_FHWA MLS Discussion.pdf                         .\VOL013\IMAGES\IMAGES004\00188189.pdf
00188190   00188192    11/9/2022 8:14 Edoc   ReviewV3.docx                                            .\VOL013\IMAGES\IMAGES004\00188190.pdf
00188193   00188196    11/9/2022 8:14 Edoc   ReviewV3CleanInMemoFormat.docx                           .\VOL013\IMAGES\IMAGES004\00188193.pdf
00188197   00188197    11/9/2022 8:14 Edoc   RE_ MDOT OST_FHWA MLS Discussion.pdf                     .\VOL013\IMAGES\IMAGES004\00188197.pdf
00188198   00188205    11/9/2022 8:14 Edoc   RE_ MDOT OST_FHWA MLS Discussion(1).pdf                  .\VOL013\IMAGES\IMAGES004\00188198.pdf
00188206   00188212    11/9/2022 8:14 Edoc   RE_ MDOT OST_FHWA MLS Discussion(2).pdf                  .\VOL013\IMAGES\IMAGES004\00188206.pdf
00188213   00188218    11/9/2022 8:14 Edoc   RE_ MDOT OST_FHWA MLS Discussion(3).pdf                  .\VOL013\IMAGES\IMAGES004\00188213.pdf
00188219   00188220    11/9/2022 8:14 Edoc   Review.docx                                              .\VOL013\IMAGES\IMAGES004\00188219.pdf
00188221   00188223    11/9/2022 8:14 Edoc   RE_ MDOT OST_FHWA MLS Discussion(4).pdf                  .\VOL013\IMAGES\IMAGES004\00188221.pdf
00188224   00188224    11/9/2022 8:14 Edoc   Notes from Meeting 08_10_2022.docx                       .\VOL013\IMAGES\IMAGES004\00188224.pdf
00188225   00188227    11/9/2022 8:14 Edoc   MDOT OST_FHWA MLS Discussion(1).pdf                      .\VOL013\IMAGES\IMAGES004\00188225.pdf
00188228   00188235    11/9/2022 8:15 Edoc   RE_ MDOT OST_FHWA MLS Discussion(5).pdf                  .\VOL013\IMAGES\IMAGES004\00188228.pdf
00188236   00188242    11/9/2022 8:15 Edoc   RE_ MDOT OST_FHWA MLS Discussion(6).pdf                  .\VOL013\IMAGES\IMAGES004\00188236.pdf
00188243   00188248    11/9/2022 8:15 Edoc   RE_ MDOT OST_FHWA MLS Discussion(7).pdf                  .\VOL013\IMAGES\IMAGES004\00188243.pdf
00188249   00188253    11/9/2022 8:15 Edoc   RE_ MDOT OST_FHWA MLS Discussion(8).pdf                  .\VOL013\IMAGES\IMAGES004\00188249.pdf
00188254   00188257    11/9/2022 8:15 Edoc   RE_ MDOT OST_FHWA MLS Discussion(9).pdf                  .\VOL013\IMAGES\IMAGES004\00188254.pdf

                                             2021‐06‐21 MLS ALB Trail Coordination Meeting with
00188258   00188263    11/9/2022 8:57 Edoc   NPS, M‐NCPPC, and MCDOT Notes_REVISED.docx         .\VOL013\IMAGES\IMAGES004\00188258.pdf
00188264   00188265   11/9/2022 10:48 Edoc   CHOH_13_Fact_Sheet.docx                            .\VOL013\IMAGES\IMAGES004\00188264.pdf
00188266   00188266   11/9/2022 10:55 Edoc   2021‐09‐22_NPS Mitigation Meeting Agenda.pdf       .\VOL013\IMAGES\IMAGES004\00188266.pdf
                                             ResourceMapping_200ft_Phase1South_AMP_NEXTMo
00188267   00188267   11/9/2022 11:18 Edoc   difiedBase_Graphic1 updated.pdf                    .\VOL013\IMAGES\IMAGES004\00188267.pdf
                                             2021‐09‐30_NPS Coordination Meeting
00188268   00188268   11/9/2022 11:19 Edoc   Agenda_Revised.pdf                                 .\VOL013\IMAGES\IMAGES004\00188268.pdf
                                             VDOT_MDOT_GWMP_Interchange_SDEIS
00188269   00188269   11/9/2022 11:19 Edoc   Graphic2.pdf                                       .\VOL013\IMAGES\IMAGES004\00188269.pdf
                                             ResourceMapping_200ft_GWMP_AMPNEXT_over_SDE
00188270   00188270   11/9/2022 11:20 Edoc   IS_EA_Graphic 3 updated.pdf                        .\VOL013\IMAGES\IMAGES004\00188270.pdf

00188271   00188273   11/9/2022 12:41 Edoc   2022‐01‐27_Final Mitigation Plan_NPS Comments.pdf        .\VOL013\IMAGES\IMAGES004\00188271.pdf
00188274   00188275   11/9/2022 12:42 Edoc   tow path span options 2022‐01‐13_MDM2.pdf                .\VOL013\IMAGES\IMAGES004\00188274.pdf
                                             2022‐01‐27_NPS Coordination Meeting
00188276   00188281   11/9/2022 12:42 Edoc   Notes_DRAFT.docx                                         .\VOL013\IMAGES\IMAGES004\00188276.pdf
                                             2022‐02‐24_Final Mitigation Plan_NPS_MDOT SHA
00188282   00188285   11/9/2022 12:43 Edoc   Recommendations.docx                                     .\VOL013\IMAGES\IMAGES004\00188282.pdf
00188286   00188289   11/9/2022 12:46 Edoc   2022‐03‐02 Plummers Island Boundary.pdf                  .\VOL013\IMAGES\IMAGES004\00188286.pdf
                                             2022‐03‐17_GWMP Signing Discussion_Meeting
00188290   00188293   11/9/2022 12:47 Edoc   Notes_FINAL.docx                                         .\VOL013\IMAGES\IMAGES004\00188290.pdf

                                             ALB_ConstructionAccess_NPS Comments 07012021‐
00188294   00188294   11/9/2022 12:56 Edoc   Structures_Responses 2021.07.22 DRAFT.xlsx               .\VOL013\IMAGES\IMAGES004\00188294.pdf    .\VOL013\NATIVES\NATIVES004\00188294.xlsx
                                             ALB_ConstructionAccess_NPS Comments 07012021‐
00188295   00188301   11/9/2022 12:56 Edoc   Structures_Responses 2021‐08‐13.pdf                      .\VOL013\IMAGES\IMAGES004\00188295.pdf
00188302   00188304   11/9/2022 13:11 Edoc   FW_ ALB and Linn Cove Viaduct example.pdf                .\VOL013\IMAGES\IMAGES004\00188302.pdf
00188305   00188306   11/9/2022 13:11 Edoc   FW_ ALB and Linn Cove Viaduct example(1).pdf             .\VOL013\IMAGES\IMAGES004\00188305.pdf

00188307   00188309   11/9/2022 13:11 Edoc   FYI ‐ MD DO assistance on ALB 30 mile I‐495 NEP....pdf .\VOL013\IMAGES\IMAGES004\00188307.pdf
                                             FYI ‐ MD DO assistance on ALB 30 mile I‐495
00188310   00188311   11/9/2022 13:11 Edoc   NEP...(1).pdf                                          .\VOL013\IMAGES\IMAGES004\00188310.pdf
00188312   00188313   11/9/2022 13:30 Edoc   NPS DEIS Comments on Boundaries.docx                   .\VOL013\IMAGES\IMAGES004\00188312.pdf
00188314   00188314   11/9/2022 14:35 Edoc   2021‐06‐02_GG FMH Capture_5.JPG                        .\VOL013\IMAGES\IMAGES004\00188314.pdf
00188315   00188315   11/9/2022 14:41 Edoc   Navy Impacts Comparison_11‐14‐19Mtg.docx               .\VOL013\IMAGES\IMAGES004\00188315.pdf
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00188316   00188316   11/9/2022 14:44 Edoc   section.png                                            .\VOL013\IMAGES\IMAGES004\00188316.pdf
                                             I‐495 MLS_WRNMMC culvert crossing_proposed
00188317   00188317   11/9/2022 14:44 Edoc   section.png                                            .\VOL013\IMAGES\IMAGES004\00188317.pdf

00188318   00188318   11/9/2022 14:44 Edoc   I‐495 MLS_WRNMMC culvert crossing_03‐2021.pdf            .\VOL013\IMAGES\IMAGES004\00188318.pdf
                                             2020‐10‐15 Culvert Permitting Meeting with
00188319   00188327   11/9/2022 14:46 Edoc   Agencies_Meeting Notes.pdf                               .\VOL013\IMAGES\IMAGES004\00188319.pdf
                                             2020‐03‐24 MDE DEIS‐Admin DEIS Comment Errata
00188328   00188337   11/9/2022 14:47 Edoc   Master.docx                                              .\VOL013\IMAGES\IMAGES004\00188328.pdf
                                             I495_I270_MLS_MDE Comment
00188338   00188338   11/9/2022 14:49 Edoc   Letter_Mtg_Agenda_20200616.pdf                           .\VOL013\IMAGES\IMAGES004\00188338.pdf
                                             I495_I270_MLS_USACE Stream
00188339   00188339   11/9/2022 14:50 Edoc   Calculator_Mtg_Agenda_20200731.docx                      .\VOL013\IMAGES\IMAGES004\00188339.pdf
00188340   00188341   11/9/2022 14:59 Edoc   2019‐03‐14_Email Re Coordination Meeting.pdf             .\VOL013\IMAGES\IMAGES004\00188340.pdf
00188342   00188346   11/9/2022 14:59 Edoc   2020‐01‐07_Email Re Potential BARC Impacts.pdf           .\VOL013\IMAGES\IMAGES004\00188342.pdf
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00188347   00188347    11/9/2022 15:07 Edoc   American Legion Bridge ‐ Draft 6.png                 .\VOL013\IMAGES\IMAGES004\00188347.pdf
                                              20‐103F (I‐495 and I‐270 Managed Lanes Study‐
00188348   00188429    11/9/2022 15:12 Edoc   FHWA).deis.pdf                                       .\VOL013\IMAGES\IMAGES004\00188348.pdf
00188430   00188453    11/9/2022 15:21 Edoc   I‐495 & I‐270 MLS_VDOT Presentation.pdf              .\VOL013\IMAGES\IMAGES004\00188430.pdf
                                              NOVA Citizens Association Letter 20220623
00188454   00188469    11/9/2022 15:21 Edoc   CORRECTED.pdf                                        .\VOL013\IMAGES\IMAGES004\00188454.pdf
                                              2020‐02‐28 495 NEXT Maryland Noise
00188470   00188470    11/9/2022 15:21 Edoc   Analysis_Signed.pdf                                  .\VOL013\IMAGES\IMAGES004\00188470.pdf
                                              2019‐08‐21 495 NEXT Assessment of Conditions ‐
00188471   00188472    11/9/2022 15:21 Edoc   GWMP minutes.pdf                                     .\VOL013\IMAGES\IMAGES004\00188471.pdf
00188473   00188482    11/9/2022 15:31 Edoc   Project NEXT ‐ PH Boards_2020‐10‐02.pdf              .\VOL013\IMAGES\IMAGES004\00188473.pdf
00188483   00188483    11/9/2022 15:33 Edoc   NPS_PlummersIsland_WashPost_Map.pdf                  .\VOL013\IMAGES\IMAGES004\00188483.pdf
                                              2021‐03‐01_Washington Biologists' Field Club Meeting
00188484   00188487    11/9/2022 15:34 Edoc   Notes_REVISED.pdf                                    .\VOL013\IMAGES\IMAGES004\00188484.pdf
00188488   00188488    11/9/2022 15:34 Edoc   WBFC_Agenda_03‐01‐2021.docx                          .\VOL013\IMAGES\IMAGES004\00188488.pdf
                                              2021‐04‐16 MLS Rockville Noise Abatement
00188489   00188493    11/9/2022 16:46 Edoc   Summary.pdf                                          .\VOL013\IMAGES\IMAGES004\00188489.pdf

00188494   00188505    11/10/2022 9:04 Edoc   MLS_EJ Advisory Group_UMD_10.20.2021_final.pdf           .\VOL013\IMAGES\IMAGES004\00188494.pdf
                                              RE_ I‐495 & I‐270 MLS Preliminary Range of
00188506   00188507   11/16/2022 15:34 Edoc   Alte...(1).pdf                                           .\VOL013\IMAGES\IMAGES004\00188506.pdf
00188508   00188508   11/16/2022 15:34 Edoc   FW_ I‐495 270 ML Study Comments.docx.pdf                 .\VOL013\IMAGES\IMAGES004\00188508.pdf
00188509   00188510   11/16/2022 15:34 Edoc   I‐495 270 ML Study Comments.docx                         .\VOL013\IMAGES\IMAGES004\00188509.pdf
00188511   00188511   11/16/2022 15:34 Edoc   I‐495 270 ML Study Comments.docx.pdf                     .\VOL013\IMAGES\IMAGES004\00188511.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00188512   00188515    11/17/2022 8:13 Edoc   St...(3).pdf                                             .\VOL013\IMAGES\IMAGES004\00188512.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00188516   00188519    11/17/2022 8:13 Edoc   St...(5).pdf                                             .\VOL013\IMAGES\IMAGES004\00188516.pdf
00188520   00188528    11/17/2022 8:13 Edoc   IAPA ‐ Comment Errata Table Breck.docx                   .\VOL013\IMAGES\IMAGES004\00188520.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00188529   00188531    11/17/2022 8:13 Edoc   St...(7).pdf                                             .\VOL013\IMAGES\IMAGES004\00188529.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00188532   00188534    11/17/2022 8:13 Edoc   St...(11).pdf                                            .\VOL013\IMAGES\IMAGES004\00188532.pdf
00188535   00188535    11/17/2022 8:13 Edoc   image003.png                                             .\VOL013\IMAGES\IMAGES004\00188535.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00188536   00188538    11/17/2022 8:13 Edoc   St...(13).pdf                                            .\VOL013\IMAGES\IMAGES004\00188536.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 Managed Lanes
00188539   00188541    11/17/2022 8:13 Edoc   St...(14).pdf                                            .\VOL013\IMAGES\IMAGES004\00188539.pdf
                                              RE_ Signing Question ‐ Brown background on
00188542   00188544    11/17/2022 8:13 Edoc   guid....pdf                                              .\VOL013\IMAGES\IMAGES004\00188542.pdf
                                              FW_ Signing Question ‐ Brown background on
00188545   00188546    11/17/2022 8:14 Edoc   guid....pdf                                              .\VOL013\IMAGES\IMAGES004\00188545.pdf
                                              FW_ Signing Question ‐ Brown background on
00188547   00188548    11/17/2022 8:14 Edoc   guid...(1).pdf                                           .\VOL013\IMAGES\IMAGES004\00188547.pdf
                                              Brown background on guide sign for George
00188549   00188549    11/17/2022 8:14 Edoc   Washi....pdf                                             .\VOL013\IMAGES\IMAGES004\00188549.pdf
                                              RE_ Signing Question ‐ Brown background on
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00188554   00188554    11/17/2022 8:14 Edoc   image005.png                                             .\VOL013\IMAGES\IMAGES004\00188554.pdf
00188555   00188555    11/17/2022 8:14 Edoc   image007.png                                             .\VOL013\IMAGES\IMAGES004\00188555.pdf
00188556   00188556    11/17/2022 8:14 Edoc   image012.png                                             .\VOL013\IMAGES\IMAGES004\00188556.pdf
                                              FW_ Signing Question ‐ Brown background on
00188557   00188558    11/17/2022 8:14 Edoc   guid...(3).pdf                                           .\VOL013\IMAGES\IMAGES004\00188557.pdf

00188559   00188560    11/17/2022 8:14 Edoc   Signing Question ‐ Brown background on guide si....pdf .\VOL013\IMAGES\IMAGES004\00188559.pdf
00188561   00188561    11/17/2022 8:14 Edoc   image004.png                                           .\VOL013\IMAGES\IMAGES004\00188561.pdf

00188562   00188564    11/17/2022 8:14 Edoc   RE_ draft SDEIS for the I‐495_I‐270 MLS project.pdf      .\VOL013\IMAGES\IMAGES004\00188562.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00188565   00188565    11/17/2022 8:15 Edoc   Supplemen...(1).pdf                                      .\VOL013\IMAGES\IMAGES004\00188565.pdf
                                              Admin SDEIS_Comment Errata Table_07.14.2021
00188566   00188567    11/17/2022 8:15 Edoc   B.docx                                                   .\VOL013\IMAGES\IMAGES004\00188566.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00188568   00188568    11/17/2022 8:15 Edoc   Supplemen...(2).pdf                                      .\VOL013\IMAGES\IMAGES004\00188568.pdf
                                              RE_ REVIEW REQUESTED_ I‐495_I‐270 MLS
00188569   00188569    11/17/2022 8:15 Edoc   Supplemen...(5).pdf                                      .\VOL013\IMAGES\IMAGES004\00188569.pdf
00188570   00188570    11/17/2022 8:17 Edoc   Call for Service.pdf                                     .\VOL013\IMAGES\IMAGES004\00188570.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00188571   00188572    11/17/2022 8:17 Edoc   Framewo...(1).pdf                                        .\VOL013\IMAGES\IMAGES004\00188571.pdf
                                              RE_ FHWA Review_ I‐495 & I‐270 MLS IAPA
00188573   00188573    11/17/2022 8:17 Edoc   Framewo...(3).pdf                                        .\VOL013\IMAGES\IMAGES004\00188573.pdf
                                              RE_ Follow‐up call to discuss outstanding
00188574   00188574    11/17/2022 8:17 Edoc   items...(1).pdf                                          .\VOL013\IMAGES\IMAGES004\00188574.pdf
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00188575   00188575    11/17/2022 8:18 Edoc   Acce...(5).pdf                                           .\VOL013\IMAGES\IMAGES004\00188575.pdf
00188576   00188576    11/17/2022 8:18 Edoc   RE_ Traffic technical report.pdf                         .\VOL013\IMAGES\IMAGES004\00188576.pdf

00188577   00188577    11/17/2022 8:18 Edoc   RE_ Follow‐up_ Interstate Access Process for I‐...(2).pdf .\VOL013\IMAGES\IMAGES004\00188577.pdf
                                              RE_ I‐495 _ I‐270 FHWA Coordination ‐ Specific
00188578   00188579    11/17/2022 8:18 Edoc   ...(2).pdf                                                .\VOL013\IMAGES\IMAGES004\00188578.pdf

00188580   00188582    11/17/2022 8:18 Edoc   FW_ I‐495 _ I‐270 FHWA Coordination ‐ Specific ....pdf   .\VOL013\IMAGES\IMAGES004\00188580.pdf
                                              FW_ I‐495 _ I‐270 FHWA Coordination ‐ Specific
00188583   00188584    11/17/2022 8:18 Edoc   ...(1).pdf                                               .\VOL013\IMAGES\IMAGES004\00188583.pdf
                                              RE_ I‐495 _ I‐270 FHWA Coordination ‐ Specific
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                                              RE_ I‐495 _ I‐270 FHWA Coordination ‐ Specific
00188586   00188588    11/17/2022 8:18 Edoc   ...(5).pdf                                               .\VOL013\IMAGES\IMAGES004\00188586.pdf
                                              RE_ I‐495 _ I‐270 FHWA Coordination ‐ Specific
00188589   00188591    11/17/2022 8:18 Edoc   ...(6).pdf                                               .\VOL013\IMAGES\IMAGES004\00188589.pdf
                                              RE_ I‐495 _ I‐270 Managed Lane Study ‐
00188592   00188595    11/17/2022 8:18 Edoc   Intersta...(4).pdf                                       .\VOL013\IMAGES\IMAGES004\00188592.pdf

00188596   00188597    11/17/2022 8:19 Edoc   RE_ I‐495 & I‐270 Managed Lanes Study ‐ Interst....pdf .\VOL013\IMAGES\IMAGES004\00188596.pdf
                                              RE_ I‐495 & I‐270 Managed Lanes Study ‐
00188598   00188599    11/17/2022 8:19 Edoc   Interst...(2).pdf                                      .\VOL013\IMAGES\IMAGES004\00188598.pdf

00188600   00188602    11/17/2022 8:19 Edoc   RE_ I‐495 & I‐270 MLS Design Year Position Paper.pdf     .\VOL013\IMAGES\IMAGES004\00188600.pdf
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00188605   00188609    11/17/2022 8:19 Edoc   Priced Managed Lanes Position Paper_2018‐09‐1.docx .\VOL013\IMAGES\IMAGES004\00188605.pdf
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                                              RE_ I‐495 & I‐270 Traffic Modeling Meeting No.
00188612   00188613    11/17/2022 8:20 Edoc   5(3).pdf                                                 .\VOL013\IMAGES\IMAGES004\00188612.pdf
                                              DRAFT I‐495 I‐270 MLS Logical Termini_060518
00188614   00188614    11/17/2022 8:20 Edoc   K....pdf                                                 .\VOL013\IMAGES\IMAGES004\00188614.pdf

00188615   00188623    11/17/2022 8:20 Edoc   DRAFT I‐495 I‐270 MLS Logical Termini_060518.docx        .\VOL013\IMAGES\IMAGES004\00188615.pdf
00188624   00188624    11/17/2022 8:22 Edoc   RE_ Signing Issue background for NPS.pdf                 .\VOL013\IMAGES\IMAGES004\00188624.pdf
00188625   00188627    11/17/2022 8:22 Edoc   Signing Issue Background Breck edits.docx                .\VOL013\IMAGES\IMAGES004\00188625.pdf
00188628   00188628    11/17/2022 8:22 Edoc   RE_ Signing Issue background for NPS(1).pdf              .\VOL013\IMAGES\IMAGES004\00188628.pdf
00188629   00188629    11/17/2022 8:22 Edoc   RE_ NPS Meeting ‐ arrow‐per‐lane.pdf                     .\VOL013\IMAGES\IMAGES004\00188629.pdf
                                              FW_ Assistance for March 17 meeting with
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00188632   00188632    11/17/2022 8:22 Edoc   image003.png                                             .\VOL013\IMAGES\IMAGES004\00188632.pdf
00188633   00188634    11/17/2022 8:22 Edoc   RE_ signage meeting.pdf                                  .\VOL013\IMAGES\IMAGES004\00188633.pdf
00188635   00188635    11/17/2022 8:22 Edoc   Arrow‐per‐lane question.pdf                              .\VOL013\IMAGES\IMAGES004\00188635.pdf

00188636   00188638    11/17/2022 8:22 Edoc   George Washington Memorial Parkway Signing.pdf           .\VOL013\IMAGES\IMAGES004\00188636.pdf
00188639   00188639    11/17/2022 8:22 Edoc   image001.png                                             .\VOL013\IMAGES\IMAGES004\00188639.pdf
00188640   00188640    11/17/2022 8:22 Edoc   image002.png                                             .\VOL013\IMAGES\IMAGES004\00188640.pdf
00188641   00188642    11/17/2022 8:22 Edoc   RE_ Lighting along 495_95.pdf                            .\VOL013\IMAGES\IMAGES004\00188641.pdf
00188643   00188645    11/17/2022 8:22 Edoc   RE_ GWMP signing .pdf                                    .\VOL013\IMAGES\IMAGES004\00188643.pdf
00188646   00188646    11/17/2022 8:22 Edoc   image001.png                                             .\VOL013\IMAGES\IMAGES004\00188646.pdf
00188647   00188647    11/17/2022 8:22 Edoc   image002.png                                             .\VOL013\IMAGES\IMAGES004\00188647.pdf
00188648   00188648    11/17/2022 8:22 Edoc   RE_ GWMP signing (1).pdf                                 .\VOL013\IMAGES\IMAGES004\00188648.pdf
00188649   00188650    11/17/2022 8:22 Edoc   RE_ FHWA comments on Admin draft SDEIS.pdf               .\VOL013\IMAGES\IMAGES004\00188649.pdf
00188651   00188651    11/17/2022 8:22 Edoc   RE_ TMPs on the NHS.pdf                                  .\VOL013\IMAGES\IMAGES004\00188651.pdf
00188652   00188656    11/17/2022 8:22 Edoc   RE_ IAPA Path Forward.pdf                                .\VOL013\IMAGES\IMAGES004\00188652.pdf
00188657   00188657    11/17/2022 8:22 Edoc   RE_ Traffic technical report.pdf                         .\VOL013\IMAGES\IMAGES004\00188657.pdf
00188658   00188658    11/17/2022 8:22 Edoc   FW_ Traffic technical report.pdf                         .\VOL013\IMAGES\IMAGES004\00188658.pdf

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00188824   00188824    11/17/2022 8:22 Edoc   RE_ Traffic and AlternativesJ technical s for M....pdf   .\VOL013\IMAGES\IMAGES004\00188824.pdf
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00188827   00188827    11/17/2022 8:23 Edoc   FW_ Traffic Technical Report.pdf                         .\VOL013\IMAGES\IMAGES004\00188827.pdf
00188828   00188828    11/17/2022 8:23 Edoc   RE_ Traffic Technical Report.pdf                         .\VOL013\IMAGES\IMAGES004\00188828.pdf
00188829   00188829    11/17/2022 8:23 Edoc   FW_ ARDS Comments.pdf                                    .\VOL013\IMAGES\IMAGES004\00188829.pdf

00188830   00188878    11/17/2022 8:23 Edoc   MLS_DRAFT ARDS Paper KP, BJ, JP, JM comments.docx .\VOL013\IMAGES\IMAGES004\00188830.pdf
                                              2018‐03‐14_495 270 MLS_DRAFT ARDS Breck
00188879   00188879    11/17/2022 8:23 Edoc   commen....pdf                                      .\VOL013\IMAGES\IMAGES004\00188879.pdf
                                              2018‐03‐14_495 270 MLS_DRAFT ARDS Breck
00188880   00188928    11/17/2022 8:23 Edoc   comm.docx                                          .\VOL013\IMAGES\IMAGES004\00188880.pdf
                                              FW_ I‐495 & I‐270 MLS FHWA Errata with
00188929   00188931   11/17/2022 12:16 Edoc   Responses.pdf                                      .\VOL013\IMAGES\IMAGES004\00188929.pdf
                                              FW_ I‐495 & I‐270 MLS Revised DEIS_ Review
00188932   00188936   11/17/2022 12:19 Edoc   Requested.pdf                                      .\VOL013\IMAGES\IMAGES004\00188932.pdf
                                              FW_ Disposition of FHWA and Agencies'
00188937   00188938   11/17/2022 12:19 Edoc   Comments.pdf                                       .\VOL013\IMAGES\IMAGES004\00188937.pdf
                                              FW_ MLS ‐ Administrative Draft No. 2 Documents for
00188939   00188941   11/17/2022 12:21 Edoc   Review ‐ with attachments.pdf                      .\VOL013\IMAGES\IMAGES004\00188939.pdf
                                              FW_ I‐495_I‐270 FHWA Coordination_ MLS Notes
00188942   00188943   11/17/2022 12:22 Edoc   (February 11) .pdf                                 .\VOL013\IMAGES\IMAGES004\00188942.pdf
00188944   00188949   11/17/2022 12:23 Edoc   RE_ MLS ‐ Endangered Species SME Meeting.pdf       .\VOL013\IMAGES\IMAGES004\00188944.pdf
00188950   00188952   11/17/2022 12:23 Edoc   RE_ MLS ‐ Noise SME Meeting.pdf                    .\VOL013\IMAGES\IMAGES004\00188950.pdf

                                              RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐270
00188953   00188957   11/17/2022 12:25 Edoc   MLS Administrative Draft DEIS Submittal ‐ EJ .pdf  .\VOL013\IMAGES\IMAGES004\00188953.pdf
                                              I‐495 & I‐270 MLS ICE Tech Doc Review and Comments
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00188964   00188969   11/17/2022 12:27 Edoc   MLS Administrative Draft DEIS Submittal ‐ Noise .pdf .\VOL013\IMAGES\IMAGES004\00188964.pdf
                                              FW_ PA Division access to I‐495 & I‐270 MLS Project
00188970   00188973   11/17/2022 12:28 Edoc   .pdf                                                   .\VOL013\IMAGES\IMAGES004\00188970.pdf
                                              RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐270
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                                              RE_ FHWA MD and PA Division ‐ I‐495 & I‐270 MLS
00188978   00188982   11/17/2022 12:31 Edoc   Project Involvement.pdf                                .\VOL013\IMAGES\IMAGES004\00188978.pdf
                                              RE_ FHWA MD and PA Division ‐ I‐495 & I‐270 MLS
00188983   00188984   11/17/2022 12:33 Edoc   Project Involvement ‐ PPT.pdf                          .\VOL013\IMAGES\IMAGES004\00188983.pdf
                                              RE_ Assisting the MD Division Office for I‐495_I‐270
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                                              FW_ Comments due today on revised EJ Technical
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00188990   00188992    11/21/2022 8:10 Edoc   Toll....pdf                                            .\VOL013\IMAGES\IMAGES004\00188990.pdf
                                              FW_ I‐270 Draft Response‐8‐9‐2018 nmf edits‐
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00188996   00188996    11/21/2022 8:10 Edoc   Re_ Maryland I‐495.pdf                                 .\VOL013\IMAGES\IMAGES004\00188996.pdf
                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
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                                              RE_ REVIEW REQUESTED_ I‐495 & I‐270 MLS
00189001   00189002    11/21/2022 8:11 Edoc   Prelimi....pdf                                         .\VOL013\IMAGES\IMAGES004\00189001.pdf
00189003   00189006   11/22/2022 10:44 Edoc   RE_ Brown Guide Signs on I‐495(1).pdf                  .\VOL013\IMAGES\IMAGES004\00189003.pdf
00189007   00189008   11/22/2022 10:44 Edoc   RE_ Signing Issue background for NPS.pdf               .\VOL013\IMAGES\IMAGES004\00189007.pdf

00189009   00189011   11/22/2022 10:44 Edoc   Signing Issue Background Breck edits ‐ KK edi.docx       .\VOL013\IMAGES\IMAGES004\00189009.pdf
00189012   00189013   11/22/2022 10:44 Edoc   RE_ 495 NEXT Project NPS Brown Sign.pdf                  .\VOL013\IMAGES\IMAGES004\00189012.pdf
                                              RE_ I‐495 NEXT ‐‐ Signage for George
00189014   00189015   11/22/2022 10:44 Edoc   Washington....pdf                                        .\VOL013\IMAGES\IMAGES004\00189014.pdf
                                              RE_ I‐495 NEXT ‐‐ Signage for George
00189016   00189016   11/22/2022 10:44 Edoc   Washington...(2).pdf                                     .\VOL013\IMAGES\IMAGES004\00189016.pdf
                                              RE_ I‐495 NEXT ‐‐ Signage for George
00189017   00189017   11/22/2022 10:44 Edoc   Washington...(1).pdf                                     .\VOL013\IMAGES\IMAGES004\00189017.pdf
                                              RE_ I‐495 NEXT ‐‐ Signage for George
00189018   00189018   11/22/2022 10:44 Edoc   Washington...(3).pdf                                     .\VOL013\IMAGES\IMAGES004\00189018.pdf
00189019   00189021   11/22/2022 10:44 Edoc   FW_ 495 NB Signing ‐ GW Parkway.pdf                      .\VOL013\IMAGES\IMAGES005\00189019.pdf
00189022   00189024   11/22/2022 10:44 Edoc   GWMP Signing.pdf                                         .\VOL013\IMAGES\IMAGES005\00189022.pdf
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00189025   00189027   11/22/2022 10:44 Edoc     495 NB Signing ‐ GW Parkway.pdf                      .\VOL013\IMAGES\IMAGES005\00189025.pdf
                                                RE_ PA Division access to I‐495 & I‐270 MLS
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                                                RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00189031   00189035   11/22/2022 14:40 Edoc     27...(3).pdf                                         .\VOL013\IMAGES\IMAGES005\00189031.pdf
00189036   00189036   11/22/2022 14:40 Edoc     I‐495 MLS ICE Tech Report ‐ final comments.pdf       .\VOL013\IMAGES\IMAGES005\00189036.pdf

00189037   00189037   11/22/2022 14:41 Edoc     I‐495 MLS Noise Tech Report ‐ final comments.pdf     .\VOL013\IMAGES\IMAGES005\00189037.pdf
00189038   00189039   11/22/2022 19:17 Edoc     RE_ FEIS‐Chapter 9 ‐ Managed Lanes Study.pdf         .\VOL013\IMAGES\IMAGES005\00189038.pdf
00189040   00189041   11/22/2022 19:17 Email    FW: AQ Meeting                                       .\VOL013\IMAGES\IMAGES005\00189040.pdf
                                                RE_ Response requested by June 28_ draft
00189042   00189043   11/22/2022 19:18 Edoc     Record...(3).pdf                                     .\VOL013\IMAGES\IMAGES005\00189042.pdf
00189044   00189044   11/22/2022 19:19 Edoc     Managed Lanes Comments.pdf                           .\VOL013\IMAGES\IMAGES005\00189044.pdf
                                                RE_ I‐495_I‐270 MLS administrative draft FEIS
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                                                RE_ PRIORITY_ I‐495 & I‐270 MLS Final
00189131   00189132   11/29/2022 13:58 Edoc     DEIS_Draf...(1).pdf                                    .\VOL013\IMAGES\IMAGES005\00189131.pdf

00189133   00189135   11/29/2022 13:58 Edoc     FW_ I‐495 and I‐270 MLS Section 106 Next Steps.pdf   .\VOL013\IMAGES\IMAGES005\00189133.pdf
                                                RE_ PRIORITY_ I‐495 & I‐270 MLS Final
00189136   00189139   11/29/2022 13:58 Edoc     DEIS_Draf...(2).pdf                                  .\VOL013\IMAGES\IMAGES005\00189136.pdf

00189140   00189142   11/29/2022 13:59 Edoc     RE_ I‐495 and I‐270 MLS Section 106 Next Steps(2).pdf .\VOL013\IMAGES\IMAGES005\00189140.pdf
                                                RE_ I‐495 & I‐270 MLS FHWA Errata with
00189143   00189145   11/29/2022 13:59 Edoc     Responses.pdf                                         .\VOL013\IMAGES\IMAGES005\00189143.pdf
00189146   00189147   11/29/2022 13:59 Edoc     RE_ I‐495 MLS Cultural Resources comments.pdf         .\VOL013\IMAGES\IMAGES005\00189146.pdf

00189148   00189149   11/29/2022 13:59 Edoc     RE_ I‐495 MLS Cultural Resources comments(2).pdf     .\VOL013\IMAGES\IMAGES005\00189148.pdf

00189150   00189150   11/29/2022 13:59 Edoc     RE_ I‐495 MLS Cultural Resources comments(4).pdf     .\VOL013\IMAGES\IMAGES005\00189150.pdf

00189151   00189151   11/29/2022 13:59 Edoc     RE_ I‐495 MLS Cultural Resources comments(5).pdf     .\VOL013\IMAGES\IMAGES005\00189151.pdf
00189152   00189152   11/29/2022 13:59 Edoc     I‐495 MLS Cultural Resources comments.pdf            .\VOL013\IMAGES\IMAGES005\00189152.pdf
                                                RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
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                                                RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
00189161   00189168   11/29/2022 13:59 Edoc     Requ...(4).pdf                                       .\VOL013\IMAGES\IMAGES005\00189161.pdf
                                                RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
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00189177   00189179   11/29/2022 13:59 Edoc     RE_ Disposition of FHWA and Agencies' Comments.pdf .\VOL013\IMAGES\IMAGES005\00189177.pdf
                                                RE_ Disposition of FHWA and Agencies'
00189180   00189182   11/29/2022 13:59 Edoc     Comments(2).pdf                                        .\VOL013\IMAGES\IMAGES005\00189180.pdf
                                                RE_ Disposition of FHWA and Agencies'
00189183   00189185   11/29/2022 13:59 Edoc     Comments(1).pdf                                        .\VOL013\IMAGES\IMAGES005\00189183.pdf
                                                RE_ Disposition of FHWA and Agencies'
00189186   00189188   11/29/2022 13:59 Edoc     Comments(3).pdf                                        .\VOL013\IMAGES\IMAGES005\00189186.pdf
                                                RE_ Disposition of FHWA and Agencies'
00189189   00189190   11/29/2022 13:59 Edoc     Comments(4).pdf                                        .\VOL013\IMAGES\IMAGES005\00189189.pdf
                                                RE_ Disposition of FHWA and Agencies'
00189191   00189192   11/29/2022 13:59 Edoc     Comments(6).pdf                                        .\VOL013\IMAGES\IMAGES005\00189191.pdf
                                                RE_ Disposition of FHWA and Agencies'
00189193   00189194   11/29/2022 13:59 Edoc     Comments(7).pdf                                        .\VOL013\IMAGES\IMAGES005\00189193.pdf
                                                RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
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                                                RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00189200   00189204   11/29/2022 13:59 Edoc     27...(1).pdf                                           .\VOL013\IMAGES\IMAGES005\00189200.pdf
                                                RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00189205   00189210   11/29/2022 13:59 Edoc     27...(2).pdf                                           .\VOL013\IMAGES\IMAGES005\00189205.pdf
                                                RE_ PRE‐DECISIONAL & DELIBERATIVE_ I‐495 & I‐
00189211   00189216   11/29/2022 14:00 Edoc     27...(3).pdf                                           .\VOL013\IMAGES\IMAGES005\00189211.pdf
00189217   00189230    11/30/2022 9:05 Edoc     GWMP Interchange Renderings Binder V3.pdf              .\VOL013\IMAGES\IMAGES005\00189217.pdf
                                                I‐495 & I‐270 MLS NPS Coordination
                                                Presentation_03.04.2021 ‐ DRAFT GWMP Geometric
00189231   00189241    11/30/2022 9:14 Edoc     Design.pdf                                             .\VOL013\IMAGES\IMAGES005\00189231.pdf
                                                I‐495 & I‐270 MLS NPS Coordination
                                                Presentation_03.04.2021 ‐ DRAFT GWMP History
00189242   00189247    11/30/2022 9:15 Edoc     Slides.pdf                                             .\VOL013\IMAGES\IMAGES005\00189242.pdf
                                                i‐495 & i‐270 mls nps coordination presentation_03‐04‐
00189248   00189302    11/30/2022 9:25 Edoc     2021_draft.pdf                                         .\VOL013\IMAGES\IMAGES005\00189248.pdf
                                                2021‐09‐29 PIM Presentation_Draft‐as_of_2021‐09‐
00189303   00189336    11/30/2022 9:58 Edoc     10_MDOT.pdf                                            .\VOL013\IMAGES\IMAGES005\00189303.pdf
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00189337   00189365    11/30/2022 9:58 Edoc     presentation final 2021‐09‐22.pdf                      .\VOL013\IMAGES\IMAGES005\00189337.pdf
00189366   00189376   11/30/2022 10:22 Edoc     2022‐02‐02 M‐NCPPC ‐ Park Renderings.pdf               .\VOL013\IMAGES\IMAGES005\00189366.pdf

00189377   00189397   11/30/2022 10:24 Edoc     I‐495 & I‐270 MLS_NCPC Presentation 10‐10‐19.pdf     .\VOL013\IMAGES\IMAGES005\00189377.pdf

00189398   00189452   11/30/2022 10:39 Edoc     2022‐02‐04 NPS Coordination_Renderings Package.pdf .\VOL013\IMAGES\IMAGES005\00189398.pdf
00189453   00189471   11/30/2022 10:40 Edoc     MLS_MDE_Presentation_08‐06‐2020.pdf                .\VOL013\IMAGES\IMAGES005\00189453.pdf
00189472   00189493   11/30/2022 10:41 Edoc     2021‐08‐23_Fairfax County Presentation v2.pdf      .\VOL013\IMAGES\IMAGES005\00189472.pdf
00189494   00189494    12/8/2022 16:17 Edoc     Paula Posas (820463) 30 Day Ltr.pdf                .\VOL013\IMAGES\IMAGES005\00189494.pdf
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00189495   00189580    12/8/2022 16:17 Edoc     Memo 05‐24‐05 (3).pdf                              .\VOL013\IMAGES\IMAGES005\00189495.pdf
                                                Christina McClintock (838173) 10 Day
00189581   00189583    12/8/2022 16:23 Edoc     Ltr_06172022.pdf                                   .\VOL013\IMAGES\IMAGES005\00189581.pdf
00189584   00189585    12/8/2022 16:23 Edoc     Craig_Simoneau_(841690)_30_Day_Ltr.pdf             .\VOL013\IMAGES\IMAGES005\00189584.pdf

00189586   00189590    12/12/2022 9:40 Edoc     McClintock_839412_10_Day_Ltr_7132022_(srb).pdf       .\VOL013\IMAGES\IMAGES005\00189586.pdf
00189591   00189592    12/12/2022 9:41 Edoc     PIA Table of Contents (1).docx                       .\VOL013\IMAGES\IMAGES005\00189591.pdf
00189593   00189593   12/12/2022 22:57 Edoc     FW_ Following up on MD Tolling Inquiry.pdf           .\VOL013\IMAGES\IMAGES005\00189593.pdf

00189594   00189597   12/13/2022 13:02 Attach   Managed Lanes June Ltr from Friends of Moses H.pdf   .\VOL013\IMAGES\IMAGES005\00189594.pdf

00189598   00189603   12/13/2022 13:02 Attach   62groups_495‐270FEIS_letter_SecButtigieg_30Jun.pdf   .\VOL013\IMAGES\IMAGES005\00189598.pdf
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00189604   00189685   12/13/2022 13:03 Attach   3.pdf                                                .\VOL013\IMAGES\IMAGES005\00189604.pdf
00189686   00189696   12/13/2022 13:03 Attach   AX‐22‐000‐5622 incoming letter.pdf                   .\VOL013\IMAGES\IMAGES005\00189686.pdf
00189697   00189703   12/13/2022 13:03 Attach   Managed Lanes.Mark Elrich.pdf                        .\VOL013\IMAGES\IMAGES005\00189697.pdf
00189704   00189705   12/13/2022 13:03 Attach   Managed Lanes.Reps on FEIS.pdf                       .\VOL013\IMAGES\IMAGES005\00189704.pdf
00189706   00189709   12/13/2022 13:03 Attach   Managed Lanes.Reply to Reps on FEIS.pdf              .\VOL013\IMAGES\IMAGES005\00189706.pdf
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00189725   00189739   12/13/2022 13:03 Attach   Managed Lanes.Montgomery County.pdf                     .\VOL013\IMAGES\IMAGES005\00189725.pdf
00189740   00189754   12/13/2022 13:03 Attach   Managed Lanes.Montgomery County.pdf                     .\VOL013\IMAGES\IMAGES005\00189740.pdf
00189755   00189757   12/13/2022 13:04 Attach   OST‐S10‐220610‐005_‐_Incoming_‐_5.pdf                   .\VOL013\IMAGES\IMAGES005\00189755.pdf
00189758   00189758   12/13/2022 13:04 Attach   Rep. Raskin‐Letter to FHWA.pdf                          .\VOL013\IMAGES\IMAGES005\00189758.pdf

00189759   00189762   12/13/2022 13:04 Attach   Constituent Letter regarding MDOT‐FHWA SDEIS.pdf        .\VOL013\IMAGES\IMAGES005\00189759.pdf
00189763   00189767   12/13/2022 13:04 Attach   GHG.Restore to Perf Measure.pdf                         .\VOL013\IMAGES\IMAGES005\00189763.pdf
00189768   00189769   12/13/2022 13:04 Attach   Managed Lanes.Reps on FEIS.pdf                          .\VOL013\IMAGES\IMAGES005\00189768.pdf
00189770   00189771   12/13/2022 13:04 Attach   Managed Lanes.Reps on FEIS.pdf                          .\VOL013\IMAGES\IMAGES005\00189770.pdf
00189772   00189773   12/13/2022 13:04 Attach   Managed Lanes.Reps on FEIS.pdf                          .\VOL013\IMAGES\IMAGES005\00189772.pdf
00189774   00189775   12/13/2022 13:04 Attach   Managed Lanes.Reps on FEIS.pdf                          .\VOL013\IMAGES\IMAGES005\00189774.pdf
00189776   00189777   12/13/2022 13:04 Attach   Managed Lanes.Reps on FEIS.pdf                          .\VOL013\IMAGES\IMAGES005\00189776.pdf
00189778   00189778   12/13/2022 13:04 Attach   Rep. Raskin‐Letter to FHWA.pdf                          .\VOL013\IMAGES\IMAGES005\00189778.pdf

00189779   00189782   12/13/2022 13:04 Attach   Constituent Letter regarding MDOT‐FHWA SDEIS.pdf        .\VOL013\IMAGES\IMAGES005\00189779.pdf

00189783   00189783   12/13/2022 13:05 Attach   Managed Lanes.Rep Raskin on Citizens Against E.pdf      .\VOL013\IMAGES\IMAGES005\00189783.pdf
00189784   00189787   12/13/2022 13:05 Attach   Managed Lanes.Citizens Against Expansion.pdf            .\VOL013\IMAGES\IMAGES005\00189784.pdf

00189788   00189789   12/13/2022 13:05 Attach   Managed Lanes.MOC Extend Comment Period.pdf             .\VOL013\IMAGES\IMAGES005\00189788.pdf
00189790   00189791   12/13/2022 13:05 Attach   Managed Lanes.Stewart Schwartz.pdf                      .\VOL013\IMAGES\IMAGES005\00189790.pdf
                                                I‐495_I‐270 MLS Title VI Analysis Methodology_10‐26‐
00189792   00189796    12/14/2022 8:41 Edoc     2020 (003).pdf                                          .\VOL013\IMAGES\IMAGES005\00189792.pdf
00189797   00189805    12/14/2022 8:56 Edoc     MDOT ‐ Title VI Considerations_final.pptx               .\VOL013\IMAGES\IMAGES005\00189797.pdf
00189806   00189808   12/14/2022 10:44 Edoc     ErichSlides.pdf                                         .\VOL013\IMAGES\IMAGES005\00189806.pdf
                                                FW_ I‐495 & I‐270 MLS Revised DEIS_ Review
00189809   00189811   12/14/2022 13:28 Edoc     Requ....pdf                                             .\VOL013\IMAGES\IMAGES005\00189809.pdf
                                                DEIS Admin Draft_FHWA Comments_Responses_03‐
00189812   00189860   12/14/2022 13:28 Edoc     2.docx                                                  .\VOL013\IMAGES\IMAGES005\00189812.pdf
                                                RE_ I‐495 & I‐270 MLS Revised DEIS_ Review
00189861   00189864   12/14/2022 13:29 Edoc     Requ...(1).pdf                                          .\VOL013\IMAGES\IMAGES005\00189861.pdf
                                                RE_ PA Division access to I‐495 & I‐270 MLS
00189865   00189865   12/14/2022 13:49 Edoc     Pr...(1).pdf                                            .\VOL013\IMAGES\IMAGES005\00189865.pdf
00189866   00189866   12/15/2022 13:17 Edoc     FW_ MLS SMEs list of preparers.pdf                      .\VOL013\IMAGES\IMAGES005\00189866.pdf
                                                FW_ REVIEW REQUESTED_ draft SDEIS for the I‐
00189867   00189867   12/15/2022 13:18 Edoc     495....pdf                                              .\VOL013\IMAGES\IMAGES005\00189867.pdf
00189868   00189869   12/15/2022 13:18 Edoc     FW_ Proposed Projects in TIP.pdf                        .\VOL013\IMAGES\IMAGES005\00189868.pdf
00189870   00189871   12/15/2022 13:18 Edoc     FW_ Proposed Projects in TIP(2).pdf                     .\VOL013\IMAGES\IMAGES005\00189870.pdf

00189872   00189873   12/15/2022 13:18 Edoc     FW_ MD I‐270 I‐495 Briefing draft 7‐30‐2018‐.pp....pdf .\VOL013\IMAGES\IMAGES005\00189872.pdf
                                                RE_ REVIEW REQUESTED_ Final SDEIS for I‐495_I‐
00189874   00189874   12/15/2022 13:19 Edoc     2...(3).pdf                                            .\VOL013\IMAGES\IMAGES005\00189874.pdf
                                                FW_ REVIEW REQUESTED_ draft SDEIS for the I‐
00189875   00189876   12/15/2022 13:19 Edoc     495...(2).pdf                                          .\VOL013\IMAGES\IMAGES005\00189875.pdf
                                                Admin SDEIS_Comment Errata
00189877   00189878   12/15/2022 13:19 Edoc     Table_07.14.2021_H.docx                                .\VOL013\IMAGES\IMAGES005\00189877.pdf
                                                FW_ REVIEW REQUESTED_ draft SDEIS for the I‐
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                                                RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00189880   00189881   12/15/2022 13:19 Edoc     495...(10).pdf                                         .\VOL013\IMAGES\IMAGES005\00189880.pdf
                                                RE_ REVIEW REQUESTED_ draft SDEIS for the I‐
00189882   00189883   12/15/2022 13:19 Edoc     495...(11).pdf                                         .\VOL013\IMAGES\IMAGES005\00189882.pdf
00189884   00189885   12/15/2022 13:19 Edoc     RE_ Proposed Projects in TIP(2).pdf                    .\VOL013\IMAGES\IMAGES005\00189884.pdf
00189886   00189888   12/15/2022 13:19 Edoc     RE_ Proposed Projects in TIP(3).pdf                    .\VOL013\IMAGES\IMAGES005\00189886.pdf
00189889   00189889   12/15/2022 13:19 Edoc     FW_ For 9_30 am meeting.pdf                            .\VOL013\IMAGES\IMAGES005\00189889.pdf

00189890   00189890   12/15/2022 13:19 Edoc     FW_ Update on air quality modeling for I495_I27....pdf .\VOL013\IMAGES\IMAGES005\00189890.pdf

00189891   00189891   12/15/2022 13:19 Edoc     RE_ Update on air quality modeling for I495_I27....pdf .\VOL013\IMAGES\IMAGES005\00189891.pdf
00189892   00189893   12/15/2022 13:19 Edoc     RE_ Air Quality Conformity question(8).pdf             .\VOL013\IMAGES\IMAGES005\00189892.pdf

00189894   00189895   12/15/2022 13:19 Edoc     FW_ MLS Air Quality and Noise Discussions with ....pdf .\VOL013\IMAGES\IMAGES005\00189894.pdf
00189896   00189898   12/15/2022 13:19 Edoc     FW_ Air Quality Conformity question(1).pdf             .\VOL013\IMAGES\IMAGES005\00189896.pdf
00189899   00189901   12/15/2022 13:19 Edoc     RE_ Air Quality Conformity question(9).pdf             .\VOL013\IMAGES\IMAGES005\00189899.pdf
00189902   00189904   12/15/2022 13:19 Edoc     FW_ Air Quality Conformity question(2).pdf             .\VOL013\IMAGES\IMAGES005\00189902.pdf
                                                RE_ DRAFT AND PRE‐DECISIONAL ‐ Air Quality
00189905   00189907   12/15/2022 13:20 Edoc     Tech....pdf                                            .\VOL013\IMAGES\IMAGES005\00189905.pdf
                                                FW_ I‐270_I‐495 P3 Project Overview, Maryland
00189908   00189909   12/15/2022 13:20 Edoc     D....pdf                                               .\VOL013\IMAGES\IMAGES005\00189908.pdf
00189910   00189915   12/16/2022 12:17 Edoc     Managed Lanes.MD Sierra Club.pdf                       .\VOL013\IMAGES\IMAGES005\00189910.pdf
00189916   00189936   12/16/2022 12:18 Edoc     Managed Lanes.Moses Friends.pdf                        .\VOL013\IMAGES\IMAGES005\00189916.pdf
00189937   00189951   12/16/2022 12:21 Edoc     Managed Lanes.Montgomery County.pdf                    .\VOL013\IMAGES\IMAGES005\00189937.pdf
00189952   00189958   12/16/2022 12:21 Edoc     Managed Lanes.Mark Elrich.pdf                          .\VOL013\IMAGES\IMAGES005\00189952.pdf
00189959   00189966   12/16/2022 12:22 Edoc     Managed Lanes.Transit Opportunities.pdf                .\VOL013\IMAGES\IMAGES005\00189959.pdf
00189967   00189970   12/16/2022 14:13 Edoc     Managed Lanes Feb 22.FOMH report.pdf                   .\VOL013\IMAGES\IMAGES005\00189967.pdf
00189971   00189991   12/16/2022 15:14 Edoc     Raskin 8 27 20.pdf                                     .\VOL013\IMAGES\IMAGES005\00189971.pdf
00189992   00189999   12/16/2022 15:18 Edoc     Elrich.Montg Cty Exec.pdf                              .\VOL013\IMAGES\IMAGES005\00189992.pdf
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00190015   00190017   12/16/2022 15:20 Edoc     Briefing.HDA.pdf                                       .\VOL013\IMAGES\IMAGES005\00190015.pdf
00190018   00190019   12/16/2022 15:23 Edoc     Gentry.pdf                                             .\VOL013\IMAGES\IMAGES005\00190018.pdf
00190020   00190038   12/16/2022 15:29 Edoc     Rep Brown 7 18 22.Part 1.pdf                           .\VOL013\IMAGES\IMAGES005\00190020.pdf
00190039   00190061   12/16/2022 15:33 Edoc     Sen Cardin 12 30 20.Part 1.pdf                         .\VOL013\IMAGES\IMAGES005\00190039.pdf
00190062   00190090   12/16/2022 15:33 Edoc     Sen Cardin 12 30 20.Part 2.pdf                         .\VOL013\IMAGES\IMAGES005\00190062.pdf
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00190091   00190094   12/21/2022 14:22 Email    Errata with Responses                                  .\VOL013\IMAGES\IMAGES005\00190091.pdf
00190095   00190096     1/5/2023 11:02 Edoc     RE_ Postponing Tomorrow's Meeting(19).pdf              .\VOL013\IMAGES\IMAGES005\00190095.pdf
                                                RE_ Draft Comments on the Revised Safety
00190097   00190098     1/5/2023 11:02 Edoc     Analysis(8).pdf                                        .\VOL013\IMAGES\IMAGES005\00190097.pdf

00190099   00190099     1/5/2023 11:02 Edoc     Draft Comments on the Revised Safety Analysis(2).pdf    .\VOL013\IMAGES\IMAGES005\00190099.pdf
                                                Appendix K ‐ Predictive Crash Analysis and Supporting
                                                Information ‐ Updated 5.20.22 (Petrucci FHWA
00190100   00190654     1/5/2023 16:46 Edoc     Comments).pdf                                           .\VOL014\IMAGES\IMAGES001\00190100.pdf
00190655   00190686    2/13/2023 12:55 Edoc     Eleanor July Comments.pdf                               .\VOL014\IMAGES\IMAGES001\00190655.pdf
00190687   00190687    2/13/2023 12:56 Edoc     Eleanor July Elected.pdf                                .\VOL014\IMAGES\IMAGES001\00190687.pdf
00190688   00190688    2/13/2023 12:57 Edoc     Eleanor July Media.pdf                                  .\VOL014\IMAGES\IMAGES001\00190688.pdf
00190689   00190703    2/13/2023 12:59 Edoc     Eleanor July Sign‐In.pdf                                .\VOL014\IMAGES\IMAGES001\00190689.pdf
00190704   00190741    2/13/2023 13:02 Edoc     Clarksburg July Comments.pdf                            .\VOL014\IMAGES\IMAGES001\00190704.pdf
00190742   00190743    2/13/2023 13:02 Edoc     Clarksburg July Elected Official Sign In.pdf            .\VOL014\IMAGES\IMAGES001\00190742.pdf
00190744   00190769    2/13/2023 13:02 Edoc     Clarksburg July General Sign In.pdf                     .\VOL014\IMAGES\IMAGES001\00190744.pdf
00190770   00190771    2/13/2023 13:02 Edoc     Clarksburg July Media Sign In.pdf                       .\VOL014\IMAGES\IMAGES001\00190770.pdf
00190772   00190781    2/13/2023 13:02 Edoc     Clarksburg July Transit Action Committee.pdf            .\VOL014\IMAGES\IMAGES001\00190772.pdf
00190782   00190808    2/13/2023 13:02 Edoc     Clarksburg July Title VI.pdf                            .\VOL014\IMAGES\IMAGES001\00190782.pdf
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00190849   00190850   2/13/2023 13:09 Edoc   Pyle July Elected Officials.pdf                    .\VOL014\IMAGES\IMAGES001\00190849.pdf
00190851   00190859   2/13/2023 13:09 Edoc   Pyle Title VI.pdf                                  .\VOL014\IMAGES\IMAGES001\00190851.pdf
00190860   00190860   2/13/2023 13:18 Edoc   I‐495_I‐270_Facebook_Ad_2018_3_28.jpg              .\VOL014\IMAGES\IMAGES001\00190860.pdf
                                             Managed Lanes Elected Sign In Spring 2019
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                                             Managed Lanes Elected Sign In Spring 2019
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                                             Managed Lanes Elected Sign In Spring 2019
00190863   00190863   2/13/2023 14:05 Edoc   Landover.pdf                                       .\VOL014\IMAGES\IMAGES001\00190863.pdf
                                             Managed Lanes Elected Sign In Spring 2019
00190864   00190865   2/13/2023 14:05 Edoc   Rockville.pdf                                      .\VOL014\IMAGES\IMAGES001\00190864.pdf
                                             Managed Lanes Elected Sign In Spring 2019 Oxon
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                                             Managed Lanes Elected Sign In Spring 2019
00190867   00190867   2/13/2023 14:05 Edoc   Germantown.pdf                                     .\VOL014\IMAGES\IMAGES001\00190867.pdf
                                             Managed Lanes General Sign In Spring 2019
00190868   00190889   2/13/2023 14:05 Edoc   Bethesda.pdf                                       .\VOL014\IMAGES\IMAGES001\00190868.pdf
                                             Managed Lanes General Sign In Spring 2019
00190890   00190895   2/13/2023 14:05 Edoc   Landover.pdf                                       .\VOL014\IMAGES\IMAGES001\00190890.pdf
                                             Managed Lanes General Sign In Spring 2019
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                                             Managed Lanes Elected Sign In Spring 2019 Silver
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                                             Managed Lanes Elected Sign In Spring 2019
00190910   00190910   2/13/2023 14:05 Edoc   Suitland.pdf                                       .\VOL014\IMAGES\IMAGES001\00190910.pdf
                                             Managed Lanes General Sign In Spring 2019
00190911   00190922   2/13/2023 14:05 Edoc   Germantown.pdf                                     .\VOL014\IMAGES\IMAGES001\00190911.pdf
                                             Managed Lanes Media Sign In Spring 2019
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                                             Managed Lanes Media Sign In Spring 2019
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                                             Managed Lanes Media Sign In Spring 2019
00190925   00190925   2/13/2023 14:05 Edoc   Greenbelt.pdf                                      .\VOL014\IMAGES\IMAGES001\00190925.pdf
                                             Managed Lanes General Sign In Spring 2019
00190926   00190957   2/13/2023 14:06 Edoc   Rockville.pdf                                      .\VOL014\IMAGES\IMAGES001\00190926.pdf
                                             Managed Lanes Media Sign In Spring 2019
00190958   00190958   2/13/2023 14:06 Edoc   Rockville.pdf                                      .\VOL014\IMAGES\IMAGES001\00190958.pdf
                                             Managed Lanes General Sign In Spring 2019 Silver
00190959   00191000   2/13/2023 14:06 Edoc   Spring.pdf                                         .\VOL014\IMAGES\IMAGES001\00190959.pdf
                                             Managed Lanes Media Sign In Spring 2019 Silver
00191001   00191001   2/13/2023 14:06 Edoc   Spring.pdf                                         .\VOL014\IMAGES\IMAGES001\00191001.pdf
                                             Managed Lanes General Sign In Spring 2019
00191002   00191006   2/13/2023 14:06 Edoc   Suitland.pdf                                       .\VOL014\IMAGES\IMAGES001\00191002.pdf
                                             Managed Lanes General Sign In Spring 2019 Oxon
00191007   00191009   2/13/2023 14:06 Edoc   Hill.pdf                                           .\VOL014\IMAGES\IMAGES001\00191007.pdf
                                             Managed Lanes Media Sign In Spring 2019 Oxon
00191010   00191010   2/13/2023 14:06 Edoc   Hill.pdf                                           .\VOL014\IMAGES\IMAGES001\00191010.pdf
                                             Managed Lanes Media Sign In Spring 2019
00191011   00191011   2/13/2023 14:06 Edoc   Germantown.pdf                                     .\VOL014\IMAGES\IMAGES001\00191011.pdf
00191012   00191012   2/13/2023 14:10 Edoc   MLS LODs Display ALT 5 & ALT 10.pdf                .\VOL014\IMAGES\IMAGES001\00191012.pdf
00191013   00191013   2/13/2023 14:11 Edoc   MLS LODs Display ALT 5.pdf                         .\VOL014\IMAGES\IMAGES001\00191013.pdf
00191014   00191014   2/13/2023 14:12 Edoc   MLS LODs Display ALT 10.pdf                        .\VOL014\IMAGES\IMAGES001\00191014.pdf

00191015   00191018    2/14/2023 9:19 Edoc   Maryland Transit Coalition_Scoping Comments.pdf       .\VOL014\IMAGES\IMAGES001\00191015.pdf
                                             2019_2_27 Cabin John Letter Supporting Legislation on
00191019   00191021   2/14/2023 10:17 Edoc   Beltway Expansion Issues.pdf                          .\VOL014\IMAGES\IMAGES001\00191019.pdf
00191022   00191022   2/14/2023 11:22 Edoc   SevenOaks_ParkHills_CommunityMap.pdf                  .\VOL014\IMAGES\IMAGES001\00191022.pdf
00191023   00191023   2/14/2023 11:25 Edoc   MontgomerySquare_CommunityMap.pdf                     .\VOL014\IMAGES\IMAGES001\00191023.pdf
00191024   00191024   2/14/2023 12:55 Edoc   Woodmoor‐Pinecrest_CommunityMap.pdf                   .\VOL014\IMAGES\IMAGES001\00191024.pdf
                                             Post‐Spring
                                             Workshop_CAM_Presentation_052219Woodmoor‐
00191025   00191056   2/14/2023 12:57 Edoc   Pinecrest.pdf                                         .\VOL014\IMAGES\IMAGES001\00191025.pdf
00191057   00191057   2/14/2023 12:57 Edoc   Glenarden_CommunityMap.pdf                            .\VOL014\IMAGES\IMAGES001\00191057.pdf
00191058   00191058   2/14/2023 13:07 Edoc   FourCities_CommunityMap.pdf                           .\VOL014\IMAGES\IMAGES001\00191058.pdf
                                             FourCities_CollegeParkDetail_CommunityMap_Parcels
00191059   00191059   2/14/2023 13:07 Edoc   .pdf                                                  .\VOL014\IMAGES\IMAGES001\00191059.pdf
00191060   00191060   2/14/2023 13:23 Edoc   LocustHill_CommunityMap.pdf                           .\VOL014\IMAGES\IMAGES001\00191060.pdf
                                             LargePropertyOutreach_LocustHillCitizensAssoc_Resid
00191061   00191061   2/14/2023 13:25 Edoc   entMeeting_200ft.pdf                                  .\VOL014\IMAGES\IMAGES001\00191061.pdf
                                             LargePropertyOutreach_LocustHillCitizensAssoc_Resid
00191062   00191062   2/14/2023 13:25 Edoc   entMeeting_100ftPg1.pdf                               .\VOL014\IMAGES\IMAGES001\00191062.pdf
                                             LargePropertyOutreach_LocustHillCitizensAssoc_Resid
00191063   00191063   2/14/2023 13:25 Edoc   entMeeting100ftPg2.pdf                                .\VOL014\IMAGES\IMAGES001\00191063.pdf
                                             LargePropertyOutreach_LocustHillCitizensAssoc_100ft
00191064   00191064   2/14/2023 13:25 Edoc   Pg1_red.pdf                                           .\VOL014\IMAGES\IMAGES001\00191064.pdf
                                             LargePropertyOutreach_LocustHillCitizensAssoc_100ft
00191065   00191065   2/14/2023 13:25 Edoc   Pg2_red.pdf                                           .\VOL014\IMAGES\IMAGES001\00191065.pdf
                                             LargePropertyOutreach_LocustHillCitizensAssoc_200ft
00191066   00191066   2/14/2023 13:25 Edoc   _red.pdf                                              .\VOL014\IMAGES\IMAGES001\00191066.pdf
00191067   00191067   2/14/2023 13:27 Edoc   NorthCollegePark_CommunityMap.pdf                     .\VOL014\IMAGES\IMAGES001\00191067.pdf
                                             LargePropertyOutreach_NorthCollegeCitizensAssoc_1.
00191068   00191068   2/14/2023 13:28 Edoc   pdf                                                   .\VOL014\IMAGES\IMAGES001\00191068.pdf
                                             LargePropertyOutreach_NorthCollegeCitizensAssoc_2.
00191069   00191069   2/14/2023 13:28 Edoc   pdf                                                   .\VOL014\IMAGES\IMAGES001\00191069.pdf
                                             LargePropertyOutreach_NorthCollegeCitizensAssoc_3.
00191070   00191070   2/14/2023 13:28 Edoc   pdf                                                   .\VOL014\IMAGES\IMAGES001\00191070.pdf
                                             LargePropertyOutreach_NorthCollegeCitizensAssoc_4.
00191071   00191071   2/14/2023 13:28 Edoc   pdf                                                   .\VOL014\IMAGES\IMAGES001\00191071.pdf
                                             LargePropertyOutreach_NorthCollegeCitizensAssoc_5.
00191072   00191072   2/14/2023 13:28 Edoc   pdf                                                   .\VOL014\IMAGES\IMAGES001\00191072.pdf
                                             LargePropertyOutreach_NorthCollegeCitizensAssoc_6.
00191073   00191073   2/14/2023 13:28 Edoc   pdf                                                   .\VOL014\IMAGES\IMAGES001\00191073.pdf
                                             LargePropertyOutreach_NorthCollegeCitizensAssoc_7.
00191074   00191074   2/14/2023 13:28 Edoc   pdf                                                   .\VOL014\IMAGES\IMAGES001\00191074.pdf
00191075   00191075   2/14/2023 13:33 Edoc   CabinBranch_CommunityMap.pdf                          .\VOL014\IMAGES\IMAGES001\00191075.pdf
00191076   00191086   2/14/2023 13:36 Edoc   2019.09.04_JHU Oasis_Feedback.pdf                     .\VOL014\IMAGES\IMAGES001\00191076.pdf
                                             LargePropertyOutreach_WildwoodManorCommunityA
00191087   00191087   2/14/2023 13:38 Edoc   ssoc_1.pdf                                            .\VOL014\IMAGES\IMAGES001\00191087.pdf
                                             LargePropertyOutreach_WildwoodManorCommunityA
00191088   00191088   2/14/2023 13:38 Edoc   ssoc_2.pdf                                            .\VOL014\IMAGES\IMAGES001\00191088.pdf
                                             LargePropertyOutreach_WildwoodManorCommunityA
00191089   00191089   2/14/2023 13:39 Edoc   ssoc_3.pdf                                            .\VOL014\IMAGES\IMAGES001\00191089.pdf
                                             LargePropertyOutreach_WildwoodManorCommunityA
00191090   00191090   2/14/2023 13:39 Edoc   ssoc_Overview.pdf                                     .\VOL014\IMAGES\IMAGES001\00191090.pdf
00191091   00191091   2/15/2023 12:23 Edoc   Duffie Affected Properties.pdf                        .\VOL014\IMAGES\IMAGES001\00191091.pdf
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00191092   00191122   2/15/2023 15:00 Edoc     2021‐08‐04_BPW Briefing.pdf                        .\VOL014\IMAGES\IMAGES001\00191092.pdf
00191123   00191124   2/16/2023 12:55 Edoc     2020‐07‐09 Elected Officials DEIS Email.pdf        .\VOL014\IMAGES\IMAGES001\00191123.pdf
00191125   00191126   2/16/2023 12:55 Edoc     2020‐07‐10 Public DEIS Email.pdf                   .\VOL014\IMAGES\IMAGES001\00191125.pdf
00191127   00191128   2/16/2023 12:56 Edoc     2020‐07‐31 DEIS Hearing Info Public Email.pdf      .\VOL014\IMAGES\IMAGES001\00191127.pdf
00191129   00191130   2/16/2023 12:56 Edoc     2020‐07‐21 EJ Organization email.pdf               .\VOL014\IMAGES\IMAGES001\00191129.pdf
00191131   00191133   2/16/2023 12:56 Edoc     2020‐08‐13 DEIS Hearing Reminder.pdf               .\VOL014\IMAGES\IMAGES001\00191131.pdf
00191134   00191134   2/16/2023 12:56 Edoc     2020‐08‐28 DEIS Comment Period Extension.pdf       .\VOL014\IMAGES\IMAGES001\00191134.pdf
00191135   00191135   2/16/2023 12:56 Edoc     2020‐08‐28 DEIS Video Recording Release.pdf        .\VOL014\IMAGES\IMAGES001\00191135.pdf
                                               2020‐10‐06 Additional DEIS Comment Period
00191136   00191136   2/16/2023 12:56 Edoc     Outreach.pdf                                       .\VOL014\IMAGES\IMAGES001\00191136.pdf

00191137   00191137   2/16/2023 13:37 Edoc     2020.03.18_Yonah Freemark_PIA 10‐Day Letter.pdf    .\VOL014\IMAGES\IMAGES001\00191137.pdf

00191138   00191139   2/16/2023 13:37 Edoc     2020.03.17_Paul Panugaling_PIA 10‐Day Letter.pdf   .\VOL014\IMAGES\IMAGES001\00191138.pdf
00191140   00191140   2/16/2023 13:38 Edoc     2019.07.10_Paula Posas_PIA 30‐Day Letter.pdf       .\VOL014\IMAGES\IMAGES001\00191140.pdf

00191141   00191142   2/16/2023 13:38 Edoc     2019.06.14_Michael Ter Avest_PIA 10‐Day Letter.pdf .\VOL014\IMAGES\IMAGES001\00191141.pdf
00191143   00191144   2/16/2023 13:38 Edoc     2019.06.11_Paula Posas_PIA 10‐Day Letter.pdf       .\VOL014\IMAGES\IMAGES001\00191143.pdf
00191145   00191145   2/16/2023 13:38 Edoc     2018.05.08_Manuch Amir_PIA Response.pdf            .\VOL014\IMAGES\IMAGES001\00191145.pdf
00191146   00191168   2/16/2023 14:17 Edoc     20191010_JPalakovichCarr_v1.pdf                    .\VOL014\IMAGES\IMAGES001\00191146.pdf
00191169   00191169   2/16/2023 14:17 Attach   EmbeddedFile1.xlsx                                 .\VOL014\IMAGES\IMAGES001\00191169.pdf    .\VOL014\NATIVES\NATIVES001\00191169.XLSX
00191170   00191170    2/17/2023 9:18 Edoc     BethesdaMaintenanceDepot_100ft.pdf                 .\VOL014\IMAGES\IMAGES001\00191170.pdf
00191171   00191171    2/17/2023 9:18 Edoc     MontgomeryBlairHighSchool_100ft.pdf                .\VOL014\IMAGES\IMAGES001\00191171.pdf
00191172   00191172    2/17/2023 9:18 Edoc     JuliusWestMiddleSchool_100ft.pdf                   .\VOL014\IMAGES\IMAGES001\00191172.pdf
00191173   00191173    2/17/2023 9:18 Edoc     RoscoeNixElementarySchool_100ft.pdf                .\VOL014\IMAGES\IMAGES001\00191173.pdf
00191174   00191174    2/17/2023 9:18 Edoc     CarderockSpringsElementarySchool_100ft.pdf         .\VOL014\IMAGES\IMAGES001\00191174.pdf
                                               LargePropertyOutreach_HolyCross_Germantown_300f
00191175   00191175    2/17/2023 9:26 Edoc     t.pdf                                              .\VOL014\IMAGES\IMAGES001\00191175.pdf
00191176   00191176    2/17/2023 9:26 Edoc     HolyCrossHospital_200ft.pdf                        .\VOL014\IMAGES\IMAGES001\00191176.pdf
00191177   00191177    2/17/2023 9:26 Edoc     HolyCrossHospital_100ft.pdf                        .\VOL014\IMAGES\IMAGES001\00191177.pdf
00191178   00191178    2/17/2023 9:36 Edoc     YMCASilverSpring_100ft.pdf                         .\VOL014\IMAGES\IMAGES001\00191178.pdf
00191179   00191179    2/17/2023 9:36 Edoc     YMCASilverSpring_75ft.pdf                          .\VOL014\IMAGES\IMAGES001\00191179.pdf
